                Case 23-31798-acs                 Doc 1      Filed 08/03/23 Entered 08/03/23 11:39:22                              Page 1 of
                                                                       1639

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Launch Pad LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA SyncroB.it
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  358 Westside Dr
                                  Shepherdsville, KY 40165
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bullitt                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                     Page 2 of
                                                                           1639
Debtor    Launch Pad LLC                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4492

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 23-31798-acs                      Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                              Page 3 of
                                                                                  1639
Debtor    Launch Pad LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                                                                        50,001-100,000
                                                                                            5001-10,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 23-31798-acs      Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                      Page 4 of
                                                              1639
Debtor   Launch Pad LLC                                                            Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 23-31798-acs               Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                Page 5 of
                                                                        1639
Debtor    Launch Pad LLC                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Brandon May                                                            Brandon May
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X /s/ Charity S. Bird                                                         Date August 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charity S. Bird
                                 Printed name

                                 Kaplan Johnson Abate & Bird LLP
                                 Firm name

                                 710 West Main Street
                                 Fourth Floor
                                 Louisville, KY 40202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (502) 540-8285                Email address      cbird@kaplanjohnsonlaw.com

                                 92622 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 6 of
                                      1639
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 7 of
                                      1639
           Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                            Page 8 of
                                                                     1639




Fill in this information to identify the case:

Debtor name         Launch Pad LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 3, 2023                  X /s/ Brandon May
                                                           Signature of individual signing on behalf of debtor

                                                            Brandon May
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-31798-acs           Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                         Page 9 of
                                                                        1639

 Fill in this information to identify the case:
 Debtor name Launch Pad LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Paola Andrae                                                                                                                                                      $9,747.19
 1405 N Negley Ave
 Pittsburgh, PA
 15206
 Daniel Anton                                                                                                                                                    $10,603.46
 108 Playa India
 Aguadilla, PR 00603
 August August                                                                                                                                                   $19,694.60
 135 West 41st Street
 New York, NY 10036
 Daniel Beamer                                                                                                                                                   $16,946.76
 6425 Wise Lane
 King George, VA
 22485
 David Camacho                                                                                                                                                   $10,333.81
 Calle De La
 Amargura 60 Int.
 Sotano 1
 Lomas De La
 Herradura
 Huixquilucan MEX
 52785
 MEXICO
 Gaston Cenicola                                                                                                                                                   $9,775.90
 7924 NW 66th St
 Miami, FL 33166
 Bridget Chynoweth                                                                                                                                               $15,239.13
 3104B Mohawk
 Road
 Austin, TX 78757
 Marco Del Corto                                                                                                                                                   $9,424.38
 Via Marco Polo, 139
 Viareggio LU 5509
 ITALY
 Patrick Duncan                                                                                                                                                    $9,759.14
 P.O. Box 1186
 Arnold, MO 63010


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 23-31798-acs           Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                         Page 10 of
                                                                        1639


 Debtor    Launch Pad LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Adam Finke                                                                                                                                                      $27,359.45
 538 90th Ave
 Luverne, MN 56156
 Genesi Srl Maro Del                                                                                                                                               $9,426.21
 Corto
 Via Marco Polo, 139
 Viareggio LU 55049
 ITALY
 Genesi Srl Maro Del                                                                                                                                             $10,274.30
 Corto
 Via Marco Polo, 139
 Viareggio LU 55049
 ITALY
 Lyudmil Genov                                                                                                                                                   $10,176.85
 25 South Grove
 Avenue
 202A
 Elgin, IL 60120
 Julia Huelsmeyer                                                                                                                                                $20,709.09
 Keferloher Strasse
 2A Haar
 Munich 85540
 GERMANY
 Randy Robson                                                                                                                                                    $10,545.96
 2567 E Carla Vista
 Dr
 Gilbert, AZ 85295
 Dannel Tan                                                                                                                                                      $12,712.60
 2259 52nd Ave E
 Vancouver BC V5P
 1X2
 CANADA
 Sorana Urdareanu                                                                                                                                                $15,475.00
 20, Soseaua
 Nordului
 Sector 1
 Bucharest B 104130
 ROMANIA
 Lizzett Vallejo                                                                                                                                                   $9,747.19
 5016 Stanton
 Avenue
 Pittsburgh, PA
 15201
 Jerry White                                                                                                                                                     $14,186.83
 450 Regency Ctr
 Collinsville, IL 62234




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                    Case 23-31798-acs           Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                         Page 11 of
                                                                        1639


 Debtor    Launch Pad LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Zephyrus Network                                    Judgment                  Subject to                                                                      $180,236.84
 LLC                                                                           Setoff
 Attn: Laura Gilbert
 234 Morrell Rd PMB
 194
 Knoxville, TN
 37919-5876




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
              Case 23-31798-acs                                  Doc 1              Filed 08/03/23 Entered 08/03/23 11:39:22                                                           Page 12 of
                                                                                               1639
 Fill in this information to identify the case:

 Debtor name            Launch Pad LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           271,435.96

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           271,435.96


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            93,770.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,573,025.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,666,795.37




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 23-31798-acs                Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                     Page 13 of
                                                                    1639
Fill in this information to identify the case:

Debtor name         Launch Pad LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank                                        Checking                              5695                                     $1,937.86




          3.2.     Chase Bank                                        Savings                               5868                                         $87.10



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $2,024.96
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
          Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                           Page 14 of
                                                                     1639
Debtor       Launch Pad LLC                                                                 Case number (If known)
             Name


          11a. 90 days old or less:                    11,540.00       -                                   0.00 = ....                  $11,540.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $11,540.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Shipping supplies                  11/04/2022                                   $0.00      Recent cost                         $2,000.00


          10,320 antennas                                                                 $0.00      Recent cost                       $144,480.00



23.       Total of Part 5.                                                                                                         $146,480.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                                Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
           Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                          Page 15 of
                                                                      1639
Debtor        Launch Pad LLC                                                                 Case number (If known)
              Name

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used    Current value of
                                                                          debtor's interest          for current value        debtor's interest
                                                                          (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptop                                                                          $0.00                                           $750.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                $750.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 3
         Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22            Page 16 of
                                                                    1639
Debtor      Launch Pad LLC                                                          Case number (If known)
            Name

                                                                                                              Current value of
                                                                                                              debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

         Potential claims against Nebra Ltd                                                                              Unknown
         Nature of claim         Breach of contract, tort
         Amount requested                             $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

         Setoff for refunds obtained through Stripe                                                                     $98,141.00
         Nature of claim
         Amount requested                                 $98,141.00



         Setoff of Zephyr claim                                                                                         $12,500.00
         Nature of claim               Breach of contract, tort
         Amount requested                                   $0.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                          $110,641.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 4
            Case 23-31798-acs                            Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                        Page 17 of
                                                                                    1639
Debtor          Launch Pad LLC                                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,024.96

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $11,540.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $146,480.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $750.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $110,641.00

91. Total. Add lines 80 through 90 for each column                                                            $271,435.96           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $271,435.96




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
           Case 23-31798-acs                       Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                  Page 18 of
                                                                            1639
Fill in this information to identify the case:

Debtor name         Launch Pad LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Access Management, LLC                       Describe debtor's property that is subject to a lien                   $40,770.00              $144,480.00
      Creditor's Name                              10,320 antennas
      358 Westside Drive
      Shepherdsville, KY 40165
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      04/21/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Access Management,
      LLC
      2. Brandon May

2.2   Brandon May                                  Describe debtor's property that is subject to a lien                   $53,000.00              $144,480.00
      Creditor's Name                              10,320 antennas
      3433 Hardwood Forest
      Drive
      Louisville, KY 40214
      Creditor's mailing address                   Describe the lien
                                                   Non-Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      04/21/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
           Case 23-31798-acs                     Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                  Page 19 of
                                                                          1639
Debtor      Launch Pad LLC                                                                       Case number (if known)
            Name

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $93,770.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
            Case 23-31798-acs                     Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                          Page 20 of
                                                                           1639
Fill in this information to identify the case:

Debtor name        Launch Pad LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $708.50
          Eric Aaltonen                                                        Contingent
          125 Stonecliffe Aisle                                                Unliquidated
          Irvine, CA 92603                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $461.75
          Eric Aaltonen                                                        Contingent
          125 Stonecliffe Aisle                                                Unliquidated
          Irvine, CA 92603                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $63.46
          Aaron Geib                                                           Contingent
          93 Exton Avenue                                                      Unliquidated
          North Arlington, NJ 07031                                            Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,309.52
          Aaron Hope                                                           Contingent
          202 N Becket St                                                      Unliquidated
          Cary, NC 27513                                                       Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page    1 of 1054
                                                                                                          53128
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 21 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $808.66
         Aaron Hubert                                                 Contingent
         2248 71st Ave                                                Unliquidated
         Mercer Island, WA 98040                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $744.23
         Aaron Lee                                                    Contingent
         P.O. Box 1116                                                Unliquidated
         Woodacre, CA 94973                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $712.99
         Aaron Loo                                                    Contingent
         14 Castlehill Avenue                                         Unliquidated
         Greenvale VIC 3059                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,408.44
         Aaron Nguyen                                                 Contingent
         16 Elderwood                                                 Unliquidated
         Aliso Viejo, CA 92656                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,049.52
         Aaron Oswald                                                 Contingent
         815 Garfield Avenue                                          Unliquidated
         Bay City, MI 48708                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $724.30
         Aaron Penland                                                Contingent
         4861 Kiowa Rd                                                Unliquidated
         Redding, CA 96001                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $802.07
         Aaron Rogers                                                 Contingent
         32459 Whispering Glen Trl                                    Unliquidated
         Wildomar, CA 92595                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    2 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 22 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,748.70
         Aaron Shaw
         Nebra Ltd                                                    Contingent
         Unit 4 Bells Yew Green Business Court                        Unliquidated
         East Sussex ENG TN3 9BJ                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $713.78
         Aaron Steinke                                                Contingent
         Felix-Dahn-Strasse 1                                         Unliquidated
         Dachau 85221                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Aaron Steinke                                                Contingent
         Felix-Dahn-Strasse 1                                         Unliquidated
         Dachau 85221                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $743.88
         Aaron Van Sambeek                                            Contingent
         1575 Eagles Nest Lane                                        Unliquidated
         Gilroy, CA 95020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,458.32
         Abagail Dempsey                                              Contingent
         33 Ridley Road                                               Unliquidated
         London ENG E7 0LU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Jonas Abaya                                                  Contingent
         13011 River Springs Way                                      Unliquidated
         Jacksonville, FL 32224                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $681.72
         Abdallah Mouallem                                            Contingent
         18007 77 St Nw                                               Unliquidated
         Edmonton AB T5Z 0L1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    3 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 23 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $886.67
         Abdellah El Badaoui
         Via Donatori Del Sangue 13                                   Contingent
         Apartament 6                                                 Unliquidated
         Pieve Di Soligo TV 31053                                     Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $934.51
         Abdellatif Fathellah                                         Contingent
         Aspholmsvagen 37, #1302                                      Unliquidated
         Skarholmen 127 45                                            Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,114.52
         Mustafa Abderrahman                                          Contingent
         18 Anderson Ridge Road                                       Unliquidated
         Catonsville, MD 21228                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $511.11
         Abdi Barre                                                   Contingent
         11 Blake Place                                               Unliquidated
         Birmingham ENG B9 5QX                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Abdul Cheema                                                 Contingent
         3469 Belfry Ln                                               Unliquidated
         Woodbridge, VA 22192                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Abdul Masri                                                  Contingent
         838 Damien Way                                               Unliquidated
         Mississauga ON L5C 3H3                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $806.83
         Abdul Rashid                                                 Contingent
         44 Berners Close                                             Unliquidated
         Coventry ENG CV4 9LY                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    4 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 24 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $899.41
         Abdula Omarov Omarov                                         Contingent
         Egeou 13                                                     Unliquidated
         Athens 17234                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $848.04
         Abdullah El Shazly
         Dxb 16426, Aramex Uk, Galleymead Rd Coln                     Contingent
         Dxb 16426, Berkshire                                         Unliquidated
         Slough ENG SL3 0EN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,809.87
         Abdullah Kamal                                               Contingent
         Salwa, Block # 12, Street # 1, House # 1                     Unliquidated
         Salwa 25612                                                  Disputed
         KUWAIT
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.21
         Abdur Rehman Raja
         7133 Triumph Lane                                            Contingent
         -                                                            Unliquidated
         Mississauga ON L5N 0C5                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $911.17
         Joe F Abel                                                   Contingent
         1775 Calle Tierra Vista                                      Unliquidated
         Camarillo, CA 93010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $456.83
         Abhishek Sahai                                               Contingent
         9 Cape Club Dr                                               Unliquidated
         Sharon, MA 02067                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,087.84
         Abian Mahn                                                   Contingent
         Loffelstrasse 1                                              Unliquidated
         Stade 21682                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    5 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 25 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.93
         Abigail And Gajes                                            Contingent
         9316 173 St Nw                                               Unliquidated
         Edmonton AB T5T3C5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.14
         Abitsaid Garcia                                              Contingent
         3426 Country View                                            Unliquidated
         Schertz, TX 78108                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $723.63
         Aboubacar Konde
         8480 Rue Jean-Brillon                                        Contingent
         A-201                                                        Unliquidated
         Lasalle QC H8N2P6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Abraham Perez                                                Contingent
         1802 Ennis Joslin Road #138                                  Unliquidated
         Corpus Christi, TX 78412                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,442.55
         Andrew Abranches                                             Contingent
         273 Firestone Drive                                          Unliquidated
         Walnut Creek, CA 94598                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,856.83
         Andrew Abranches                                             Contingent
         273 Firestone Dr                                             Unliquidated
         Walnut Creek, CA 94598-3647                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,400.78
         Ace Tilson                                                   Contingent
         34 Woodhead Dr                                               Unliquidated
         Lake Villa, IL 60046                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    6 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 26 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Katrina Acosta                                               Contingent
         7554 Stirling Rd                                             Unliquidated
         Apt 207                                                      Disputed
         Hollywood, FL 33024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,821.15
         Adalbert Jahnz                                               Contingent
         Kluisstraat 48                                               Unliquidated
         Elsene 1050                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $817.49
         Adam Baran                                                   Contingent
         4059 Mesa Rd                                                 Unliquidated
         Niebla Hall 301C                                             Disputed
         Irvine, CA 92617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Adam Brinn                                                   Contingent
         5906 Castle Rock Road                                        Unliquidated
         Cave Spring, VA 24018                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,272.52
         Adam Chubbuck                                                Contingent
         3015 Aransas Road                                            Unliquidated
         Charlotte, NC 28214                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $510.64
         Adam Czajkowski                                              Contingent
         63 Redwood Drive                                             Unliquidated
         Burntwood ENG WS72AS                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $687.99
         Adam Dall                                                    Contingent
         25 Clara Street                                              Unliquidated
         Mayfield East NSW 2304                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    7 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 27 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $501.65
         Adam Doench                                                  Contingent
         14414 Allegan Street                                         Unliquidated
         Whittier, CA 90604                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $472.27
         Adam Doench                                                  Contingent
         14414 Allegan Street                                         Unliquidated
         Whittier, CA 90604                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $688.14
         Adam Envoldsen                                               Contingent
         1487 Berkley Dr Nw                                           Unliquidated
         Calgary AB T3K1T7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,408.87
         Adam Freilich                                                Contingent
         2160 Skyline Dr                                              Unliquidated
         Fullerton, CA 92831                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $725.06
         Adam Jonker                                                  Contingent
         1742 Sessions Walk                                           Unliquidated
         Hoffman Estates, IL 60169                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $805.98
         Adam Jordan                                                  Contingent
         82 Bonar Street, #46                                         Unliquidated
         Wolli Creek NSW 2205                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Adam Kaplan                                                  Contingent
         100 Islington Street                                         Unliquidated
         Apt. 2                                                       Disputed
         Portsmouth, NH 03801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    8 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 28 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Adam Kaplan                                                  Contingent
         100 Islington Street                                         Unliquidated
         Apt. 2                                                       Disputed
         Portsmouth, NH 03801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $446.88
         Adam Kaston                                                  Contingent
         127 Eberts St                                                Unliquidated
         Victoria BC V8S3H8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,465.39
         Adam Kivi                                                    Contingent
         5716 Kendrick Lane                                           Unliquidated
         Cumming, GA 30041                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $827.66
         Adam Lawrence                                                Contingent
         1111 Myrtle St                                               Unliquidated
         Austin, TX 78702                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,862.02
         Adam Lichterman                                              Contingent
         3201 Cove Road                                               Unliquidated
         Jupiter, FL 33469                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $627.02
         Adam Lichterman                                              Contingent
         6211 Michael Street                                          Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $450.94
         Adam Maal                                                    Contingent
         29 South Fairknoll Place                                     Unliquidated
         Pueblo West, CO 81007                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page    9 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 29 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,057.64
         Adam Merretz                                                 Contingent
         4283 Express Lane                                            Unliquidated
         Suite 3713-710                                               Disputed
         Sarasota, FL 34249
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,405.15
         Adam Mickles                                                 Contingent
         6703 Ditman Street                                           Unliquidated
         Philadelphia, PA 19135-2221                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $712.28
         Adam Mickles                                                 Contingent
         6703 Ditman Street                                           Unliquidated
         Philadelphia, PA 19135                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $680.29
         Adam Moskovitz                                               Contingent
         105 Norway Rd                                                Unliquidated
         Bangor, ME 04401-5818                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $463.85
         Adam Park                                                    Contingent
         6117 Kings Canyon Drive                                      Unliquidated
         Bakersfield, CA 93306                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $473.15
         Adam Radomski                                                Contingent
         60 Cambridge Avenue                                          Unliquidated
         Streamwood, IL 60107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,362.99
         Adam Rappolt                                                 Contingent
         52 South Creek Road                                          Unliquidated
         Dee Why NSW 2099                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 10 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 30 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $849.32
         Adam Rosen                                                   Contingent
         131 Northeast 56th Street                                    Unliquidated
         Newport, OR 97365                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Adam Saleh                                                   Contingent
         5747 Lawndale St                                             Unliquidated
         Apt. A                                                       Disputed
         Detroit, MI 48210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,709.52
         Adam Schlain                                                 Contingent
         2110 Marina Shores Drive, #414                               Unliquidated
         Virginia Beach, VA 23451                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,618.37
         Adam Schulz                                                  Contingent
         Zahnbrecherweg 16                                            Unliquidated
         Munich 81929                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,104.42
         Adam Sipthorpe                                               Contingent
         51 Sycamore Close                                            Unliquidated
         Taunton ENG TA1 2QJ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $510.49
         Adam Sonny Levene                                            Contingent
         14 Greenways                                                 Unliquidated
         Eaton ENG NR4 6PE                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $791.06
         Adam Walczyk                                                 Contingent
         403 Maitland St                                              Unliquidated
         Bel Air, MD 21014-3924                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 11 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 31 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,284.52
         Adam Wrobel                                                  Contingent
         44360 Manitou Dr                                             Unliquidated
         Clinton Twp, MI 48038                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,352.42
         Adan Villamarin                                              Contingent
         Route De Cossonay 63                                         Unliquidated
         Prilly 1008                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $720.42
         Ade Adeyokunnu                                               Contingent
         405 Hurst St                                                 Unliquidated
         Bridgeport, PA 19405                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $837.31
         Adem Kocaturk                                                Contingent
         Adickesstrasse 25                                            Unliquidated
         Berlin 13599                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $765.89
         Adham Fares
         10 Hybrid House, Bromyard Avenue                             Contingent
         10 Hybrid House                                              Unliquidated
         London ENG W3 7JU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,244.52
         Thag Adhikari                                                Contingent
         5401 Chimney Rock Road                                       Unliquidated
         Apt 788                                                      Disputed
         Houston, TX 77081
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Adil Ashraf                                                  Contingent
         13626 Nearpoint Ln                                           Unliquidated
         Tomball, TX 77377                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 12 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 32 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,648.69
         Adil Serbouti                                                Contingent
         4 Avenue De Benouville                                       Unliquidated
         Waterloo 1410                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $732.60
         Adnan Abid                                                   Contingent
         401 Mahogany Crt SE                                          Unliquidated
         Calgary AB T3M 0T6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,427.99
         Adnan Alsamari                                               Contingent
         3792 Atlantic Avenue                                         Unliquidated
         Fairport, NY 14450                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $879.09
         Adnan Renjbal                                                Contingent
         De Bruynlaan 128, #301                                       Unliquidated
         Antwerpen 2610                                               Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $409.47
         Muhammad Adnan                                               Contingent
         5340 Holmes Run Pkwy                                         Unliquidated
         Unit 1019                                                    Disputed
         Alexandria, VA 22304
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $713.52
         Adrian Abeyta                                                Contingent
         8650 Southwestern Blvd                                       Unliquidated
         Apt 2626                                                     Disputed
         Dallas, TX 75206
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,172.19
         Adrian Agnic                                                 Contingent
         Put Mavaraice 27                                             Unliquidated
         Okrug Gornji 21223                                           Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 13 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 33 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.14
         Adrian Carrasco                                              Contingent
         11504 Misty Ridge Drive                                      Unliquidated
         Roanoke, TX 76262                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $681.72
         Adrian Codirenzi                                             Contingent
         10620 Oakfield Drive Southwest                               Unliquidated
         Calgary AB T2W 2A9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,190.66
         Adrian Gladysz
         Trelder Weg 5                                                Contingent
         Adris Garten Und Landschaftsbau                              Unliquidated
         Hamburg 21079                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,344.50
         Adrian Gladysz
         Trelder Weg 5                                                Contingent
         Adris Garten Und Landschaftsbau                              Unliquidated
         Hamburg 21079                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,344.43
         Adrian Gladysz
         Trelder Weg 5                                                Contingent
         Adris Garten Und Landschaftsbau                              Unliquidated
         Hamburg 21079                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $716.92
         Adrian Gordon                                                Contingent
         18640 E. 46th Ave                                            Unliquidated
         Denver, CO 80249                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $658.87
         Adrian Kadue                                                 Contingent
         7120 Mark Terrace Drive                                      Unliquidated
         Minneapolis, MN 55439                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 14 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 34 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Adrian Laird                                                 Contingent
         12919 Woodleigh Avenue                                       Unliquidated
         Tampa, FL 33612                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $873.00
         Adrian Lica
         Calea Galati Nr 366                                          Contingent
         Bloc I-3 Scara 1 Etaj 1 Apartament 7                         Unliquidated
         Braila BR 810362                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $873.00
         Adrian Lica
         Calea Galati Nr 366                                          Contingent
         Bloc I-3 Scara 1 Etaj 1 Apartament 7                         Unliquidated
         Braila BR 810362                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $778.50
         Adrian Spinu
         Str Nicolae Oncescu 9A                                       Contingent
         Bloc 110,Sc 1,Et 4,Ap 24,Interfon 24C                        Unliquidated
         Bucharest B 60463                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,209.07
         Adryana Giraldo                                              Contingent
         Via Altovizza 6                                              Unliquidated
         San Pietro Al Natisone UD 33049                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Afam Oyibo                                                   Contingent
         835 Washington Street                                        Unliquidated
         Apt 306                                                      Disputed
         Buffalo, NY 14203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $724.76
         Abraham Aguilar                                              Contingent
         15413 Longworth Avenue                                       Unliquidated
         Norwalk, CA 90650                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 15 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 35 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,101.30
         Ahmad Al Sahli                                               Contingent
         Herzogstrasse 15                                             Unliquidated
         Heiligenhaus 42579                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,079.42
         Ahmad Alaatr                                                 Contingent
         Alboran 6                                                    Unliquidated
         Ceuta CE 51002                                               Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,492.93
         Ahmad Alhuraiz
         Aramex Uk, Galleymead Rd Colnbrook                           Contingent
         Dxb 1349221                                                  Unliquidated
         Slough, Berkshire ENG SL3 0EN                                Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $889.51
         Ahmad Assi                                                   Contingent
         H Gewiesen 116                                               Unliquidated
         Hannover 30657                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $778.50
         Ahmad Omar                                                   Contingent
         Strada Pacurari Nr108                                        Unliquidated
         Iasi IS                                                      Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,848.62
         Amir Ahmari                                                  Contingent
         386 Fontanelle Drive                                         Unliquidated
         San Jose, CA 95111                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $765.86
         Ahmed Abobakr                                                Contingent
         Avenue Du Lignon 9                                           Unliquidated
         Geneve 1219                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 16 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 36 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $950.48
         Ahmed Alkhaja
         Ahmed Alkhaja, Aramex Uk, Galleymead Rd                      Contingent
         Dxb 1031756                                                  Unliquidated
         Slough, Berkshire ENG SL3 0EN                                Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $716.61
         Ahmed Alquthami                                              Contingent
         1301 N Troy St, #401                                         Unliquidated
         Arlington, VA 22201                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $865.45
         Ahmed Desouky
         Alteburgstrasse                                              Contingent
         115/3                                                        Unliquidated
         Reutlingen 72762                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Ahmed Halayqa                                                Contingent
         61 Playfire Tree                                             Unliquidated
         Milton ON L9T0S5                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Ahmed Hussain                                                Contingent
         1580 Major Oaks Road                                         Unliquidated
         Pickering ON L1X 2J7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $923.61
         Ahmed Khannaji                                               Contingent
         Eimerssingel-West 46                                         Unliquidated
         Arnhem 6832 EV                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $681.90
         Ahmed Koka                                                   Contingent
         2100 Camilla Rd, #405                                        Unliquidated
         Mississauga ON L5A 2J8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 17 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 37 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $930.75
         Ahmed Nadhim Lutfi                                           Contingent
         Tomvagen 7                                                   Unliquidated
         Sigtuna 193 91                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Ahmed Sheikh                                                 Contingent
         6812 Revere Drive                                            Unliquidated
         Mckinney, TX 75071                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,087.84
         Ahmet Topal Hasan                                            Contingent
         Vinzenzstrasse 34                                            Unliquidated
         Burstadt 68642                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $735.78
         Aidan Babcock                                                Contingent
         440 Clark Street Extended                                    Unliquidated
         Groton, NY 13073                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $576.71
         Aiga Mali                                                    Contingent
         Slomskova Ulica 3                                            Unliquidated
         Rogatec 3252                                                 Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $732.67
         Daud Akhtar
         8131 Nunavut Lane                                            Contingent
         Suite 601                                                    Unliquidated
         Vancouver BC V5X 0E2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $754.27
         Al Daraan                                                    Contingent
         935 West Sunnyside Avenue                                    Unliquidated
         3N                                                           Disputed
         Chicago, IL 60640
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 18 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 38 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,502.59
         Al Al-Aride                                                  Contingent
         3 Oakwood Park Road                                          Unliquidated
         London ENG N146QB                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,236.60
         Alan Jaffrey                                                 Contingent
         25 Lone Pine Squarelone                                      Unliquidated
         Bacchus Marsh VIC 3340                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,109.25
         Alan Kuramoto                                                Contingent
         3401 Grant Park Drive                                        Unliquidated
         Carmichael, CA 95608                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,705.63
         Alan Lok                                                     Contingent
         808 S Cailfornia St                                          Unliquidated
         San Gabriel, CA 91776                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,485.68
         Alan Munda                                                   Contingent
         Via Morella 6                                                Unliquidated
         Davesco-Soragno 6964                                         Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.93
         Alan Sardinha                                                Contingent
         80 Mackay Avenue                                             Unliquidated
         Toronto ON M6H 2N8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $787.64
         Alastair Hatfield                                            Contingent
         44 Swift Street                                              Unliquidated
         Dunfermline SCT KY11 8SN                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 19 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 39 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $768.18
         Alastair McGhee                                              Contingent
         22 Union Hall Road                                           Unliquidated
         Newcastle Upon Tyne ENG NE15 8AB                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $672.67
         Abdullah Albalawi                                            Contingent
         4295 Express Lane                                            Unliquidated
         Sarasota, FL 34249                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $760.15
         Alban Shehi                                                  Contingent
         149A Cornwall Road                                           Unliquidated
         Ruislip ENG HA46AG                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $745.08
         Albert Doran                                                 Contingent
         5606 Winter Star Ct                                          Unliquidated
         Las Vergas, NV 89141                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,402.37
         Albert Haro                                                  Contingent
         6323 Lookout Pass Way                                        Unliquidated
         Rocklin, CA 95765                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $732.44
         Albert Jones                                                 Contingent
         435 Pine Valley Drive                                        Unliquidated
         Bridgeville, PA 15017                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $576.81
         Albert Koe                                                   Contingent
         Tweemolentjeskade 11                                         Unliquidated
         Delft 2612 XW                                                Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 20 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 40 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $715.00
         Albert Nguyen                                                Contingent
         340 Lantana Drive                                            Unliquidated
         Stanton, CA 90680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $781.14
         Albert Quiroga                                               Contingent
         11576 Pearland Pkwy                                          Unliquidated
         Apt 1208                                                     Disputed
         Houston, TX 77089
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,924.75
         Alberta Sotomayor                                            Contingent
         5050 Biscayne Blvd, #101                                     Unliquidated
         Miami, FL 33137                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Alberto Bassotti                                             Contingent
         1488 NW 158th Lane                                           Unliquidated
         Pembroke Pines, FL 33028                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,359.52
         Alberto Mendez                                               Contingent
         2842 Ohio Street                                             Unliquidated
         West Palm Beach, FL 33406                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $711.75
         Albir Alyas                                                  Contingent
         772 Glenpine Court                                           Unliquidated
         Tracy, CA 95377                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,552.00
         Aldea Ionut                                                  Contingent
         Bd. Unirii, Bl. 19 H, Ap. 7                                  Unliquidated
         Buzau BZ 120013                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 21 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 41 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $700.38
         Aldo Ocampo                                                  Contingent
         Calle 81A #163 Entre 14 Por 16 Col.Morel                     Unliquidated
         Merida YUC 97174                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Alec Johnson                                                 Contingent
         13110 West 137th Court                                       Unliquidated
         Overland Park, KS 66221                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $683.22
         Alejandro Cortes Guzman
         Francisco Pimentel 87                                        Contingent
         C511 Colonia San Rafael                                      Unliquidated
         Mexico City DF 6470                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $683.22
         Alejandro Cortes Guzman
         Francisco Pimentel 87                                        Contingent
         C511 Colonia San Rafael                                      Unliquidated
         Mexico City DF 6470                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,608.12
         Alejandro Gonzalez                                           Contingent
         4721 Avenida Del Diablo                                      Unliquidated
         Las Vegas, NV 89121                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $703.21
         Alejandro Mendoza                                            Contingent
         1407 70th Street                                             Unliquidated
         North Bergen, NJ 07047                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,955.40
         Alejandro Suarez                                             Contingent
         10510 Southwest 145th Avenue                                 Unliquidated
         Miami, FL 33186                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 22 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 42 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.08
         Alejandro Trejo Garcia                                       Contingent
         Calle Emiliano Zapata 3                                      Unliquidated
         San Francisco Zacalco MEX 55680                              Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,608.87
         Alejandro Velasquez                                          Contingent
         4977 N Louis River Way                                       Unliquidated
         Tucson, AZ 85718                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $657.32
         Aleks Stefanova                                              Contingent
         3720 South Bond Ave, #1918                                   Unliquidated
         Portland, OR 97239                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $710.25
         Aleksandar Arsenijevic
         93 Vitosa Blvd.                                              Contingent
         Mag. Oikos Bg Ood                                            Unliquidated
         Sofia 1408                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $973.11
         Aleksandar Gavrilov                                          Contingent
         Ulica 4, Bardovci, Karposh, #283                             Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $762.72
         Aleksandar Gjakovski                                         Contingent
         3 Makedonska Brigada Br33-1/12                               Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $890.33
         Aleksandar Jovcic                                            Contingent
         Kralja Milana Obrenovica, 1/47                               Unliquidated
         Pancevo 26000                                                Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 23 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 43 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Aleksandar Radovanovic                                       Contingent
         418 East 81st Street                                         Unliquidated
         1B                                                           Disputed
         New York, NY 10028
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Aleksandar Radovanovic                                       Contingent
         418 East 81st Street                                         Unliquidated
         1B                                                           Disputed
         New York, NY 10028
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $710.31
         Aleksandar Tasev                                             Contingent
         Trapezitsa 4, #3                                             Unliquidated
         Sofia 1000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $708.50
         Aleksander Ryvkin                                            Contingent
         3672 Palm Crest Drive                                        Unliquidated
         Highland, CA 92346                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $688.40
         Ales Palchevskiy                                             Contingent
         61 Cavan Crescent                                            Unliquidated
         Sherwood Park AB T8H 2K6                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,022.71
         Alessandro Cinque
         Reichsstrasse 9                                              Contingent
         Piccolo Mondo Restaurant                                     Unliquidated
         Berlin 14052                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,140.33
         Alessandro De Loos                                           Contingent
         Groenhovenstraat 17                                          Unliquidated
         Leiden 2311 BT                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 24 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 44 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Alessandro Mendez                                            Contingent
         95-273 Waikalani Drive                                       Unliquidated
         Apt. D1204                                                   Disputed
         Mililani, HI 96789
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,923.20
         Alessio Maddalena                                            Contingent
         Via Colligiana 67                                            Unliquidated
         Ponte Buggianese PT 51019                                    Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $708.50
         Alex Beyer                                                   Contingent
         P.O. Box 1418                                                Unliquidated
         Lincoln, CA 95648                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $511.66
         Alex Brumaru                                                 Contingent
         55 Matlock Road                                              Unliquidated
         London ENG E106BU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,866.68
         Alex Costanzo                                                Contingent
         233 East Walton Place #9                                     Unliquidated
         Chicago, IL 60611                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $770.45
         Alex Desnoyers                                               Contingent
         1981 Blvd De P Rigny                                         Unliquidated
         Chambly QC J3L 4C3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,329.33
         Alex Dietz                                                   Contingent
         6 Melchior Drive                                             Unliquidated
         Toronto ON M1E3W4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 25 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 45 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Alex Drako                                                   Contingent
         18232 Northwest 27th Avenue                                  Unliquidated
         Box 143                                                      Disputed
         Miami Gardens, FL 33056
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $709.96
         Alex Gonzales                                                Contingent
         1478 E. Palisade Dr.                                         Unliquidated
         Fresno, CA 93720                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,443.25
         Alex Gonzalez                                                Contingent
         24145 Horton Court                                           Unliquidated
         Moreno Valley, CA 92553                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $429.12
         Alex Guisasola                                               Contingent
         5433 Jackpot Winner Ln #103                                  Unliquidated
         Las Vegas, NV 89122                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Alex Juchniewicz                                             Contingent
         5410 Nobel Earl Court                                        Unliquidated
         Katy, TX 77493                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $708.50
         Alex Liu                                                     Contingent
         1764 Summerwood Dr.                                          Unliquidated
         Fullerton, CA 92833                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Alex Makepeace                                               Contingent
         250 West 19th Street                                         Unliquidated
         Apt 1B                                                       Disputed
         New York, NY 10011
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 26 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 46 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $677.89
         Alex Martnez                                                 Contingent
         14439 Oakshire Blvd                                          Unliquidated
         Orlando, FL 32824-5263                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $760.62
         Alex McIlveen                                                Contingent
         112 Long Lane                                                Unliquidated
         Nottingham ENG NG9 6BW                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $835.97
         Alex McLaren
         Nordic House                                                 Contingent
         Baltic Quay                                                  Unliquidated
         Grangemouth SCT FK3 8TX                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $471.59
         Alex Nitz                                                    Contingent
         37908 21st Pl S                                              Unliquidated
         Federal Way, WA 98003                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $676.17
         Alex Nunnally                                                Contingent
         12616 Apache Pl NE                                           Unliquidated
         Albuquerque, NM 87112-3610                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $726.21
         Alex Palacios                                                Contingent
         305 E Goodlander Rd                                          Unliquidated
         Selah, WA 98942                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $429.12
         Alex Pinedo                                                  Contingent
         26051 Enterprise Way                                         Unliquidated
         Suite 400                                                    Disputed
         Lake Forest, CA 92630
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 27 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 47 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $741.58
         Alex Posada                                                  Contingent
         8169 Mt Vernon Street                                        Unliquidated
         Lemon Grove, CA 91945                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $665.56
         Alex Smith                                                   Contingent
         170 6E Blvd, Unit A                                          Unliquidated
         Terrasse-Vaudreuil QC J7V 8W8                                Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $619.44
         Alex Vakouftsis                                              Contingent
         Thoukididi 3                                                 Unliquidated
         Maniaki Kastoria 52100                                       Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $903.76
         Alex Van Der Horst                                           Contingent
         Schuilenburg 43                                              Unliquidated
         Dordrecht 3328 CJ                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,861.64
         Alex Williamson                                              Contingent
         2912 Tucson Drive                                            Unliquidated
         Cedar Falls, IA 50613                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,372.24
         Alex Workman                                                 Contingent
         15 Drodges Close                                             Unliquidated
         Bramley ENG GU50AA                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $706.72
         Alexander Azimov                                             Contingent
         43 Barli Cres                                                Unliquidated
         Maple ON L6A 4S2                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 28 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 48 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $837.28
         Alexander Bastron                                            Contingent
         John-F.-Kennedy-Strasse                                      Unliquidated
         Zweibrucken 66482                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $564.08
         Alexander Brix                                               Contingent
         Worthstrasse 38                                              Unliquidated
         Munich 81667                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Alexander Burov                                              Contingent
         17618 Collins Street                                         Unliquidated
         Encino, CA 91316                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $815.34
         Alexander Den Olden                                          Contingent
         Adelheidstraat 80                                            Unliquidated
         The Hague 2595 EE                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,660.81
         Alexander Grillwitzer                                        Contingent
         Dr. Josef-Weigl-Strasse 18                                   Unliquidated
         Simbach Am Inn 84359                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,487.26
         Alexander Heidt
         Robert-Koch-Str. 27                                          Contingent
         Hac Ventures Ug (Haftungsbeschraenkt)                        Unliquidated
         Grunwald 82031                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,622.96
         Alexander Heigl                                              Contingent
         Grunauer Allee 39                                            Unliquidated
         Unterhaching 82008                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 29 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 49 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $732.67
         Alexander Leung                                              Contingent
         1411 West 62nd Avenue                                        Unliquidated
         Vancouver BC V6P6G3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,309.52
         Alexander Litster                                            Contingent
         8409 Talbot Street Apartment                                 Unliquidated
         B52                                                          Disputed
         Kew Gardens, NY 11415
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,086.95
         Alexander Massold
         Bergstrasse 18                                               Contingent
         Enw Energie Westerwald Ug                                    Unliquidated
         Kaden 56459                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $656.72
         Alexander Mazzone                                            Contingent
         1205 Reserve Way                                             Unliquidated
         Unit 106                                                     Disputed
         Naples, FL 34105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $752.46
         Alexander Mill                                               Contingent
         8 Moonya Ave, Seacombe Gardens Sa, Austr                     Unliquidated
         Seacombe Gardens SA 5047                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $745.08
         Alexander Oliynyk                                            Contingent
         1940 Mills Circle                                            Unliquidated
         Las Vegas, NV 89106                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $456.83
         Alexander Ranjhan                                            Contingent
         278 Highland Ave                                             Unliquidated
         Winchester, MA 01890                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 30 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 50 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $564.11
         Alexander Rosswog                                            Contingent
         Holderstrasse 18                                             Unliquidated
         Ludwigsburg 71640                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,221.54
         Alexander Seyfert                                            Contingent
         4183 24th St                                                 Unliquidated
         San Francisco, CA 94114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Alexander Stulic                                             Contingent
         4634 Mill Water Xing                                         Unliquidated
         Douglasville, GA 30135-4184                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $459.04
         Alexander Wergin                                             Contingent
         430 Meeker Street                                            Unliquidated
         South Orange, NJ 07079                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $743.65
         Amy Alexander                                                Contingent
         2517 33rd Avenue South                                       Unliquidated
         Seattle, WA 98144                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $672.59
         Harry Alexander                                              Contingent
         129 Firethorn Road                                           Unliquidated
         Baden, PA 15005                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $774.68
         Alexandre Derouin                                            Contingent
         230 12E Avenue, Saint-Jean-Sur-Richelieu                     Unliquidated
         Saint-Jean-Sur-Richelieu QC J2X 1E1                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 31 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 51 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $709.25
         Alexandre Guittard                                           Contingent
         7085 Charmant Drive                                          Unliquidated
         Apt 35                                                       Disputed
         San Diego, CA 92122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,687.89
         Alexandre Rodeira
         Autodromo, Sitio Do Escampadinho                             Contingent
         Mexilhoeira Grande                                           Unliquidated
         Portimao PT-08 8500-148                                      Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,311.17
         Alexandre Voisard-Lepine                                     Contingent
         6090 Rue B Lair                                              Unliquidated
         Brossard QC J4Z 1Z7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,427.99
         Alexandria Lynch                                             Contingent
         34 Rugby Rd                                                  Unliquidated
         Binghamton, NY 13905                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,609.52
         Alexandro Armour                                             Contingent
         800 Corporate Drive #301                                     Unliquidated
         Stafford, VA 22554                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $899.79
         Alexandro Scalese                                            Contingent
         Hasengartenstrasse 30A                                       Unliquidated
         Wiesbaden 65189                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $862.05
         Alexandros Charalambous                                      Contingent
         Andrea Kariou 11                                             Unliquidated
         Nicosia 2024                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 32 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 52 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Alexannie Kairupan                                           Contingent
         74-44 43rd Avenue                                            Unliquidated
         Elmhurst, NY 11373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $564.08
         Alexey Neyman                                                Contingent
         Schellingstr. 109                                            Unliquidated
         Munich 80798                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.21
         Alexis Audoin                                                Contingent
         37 16 Rue                                                    Unliquidated
         Montreal QC H8Y 1N8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.93
         Alexis Metz                                                  Contingent
         8880 Horton Road Sw, #1420                                   Unliquidated
         Calgary AB T2V 2W3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $721.23
         Alexis Portmann                                              Contingent
         Kistlerstrasse 48                                            Unliquidated
         Bolligen 3065                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,183.87
         Alexsander Miller                                            Contingent
         1730 North Frances Blvd                                      Unliquidated
         Tucson, AZ 85712                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.55
         Alexsander Tsamkiranis
         9303 Salish Court                                            Contingent
         Unit 110 Buzzer 3010                                         Unliquidated
         Burnaby BC V3J 7B7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 33 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 53 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.55
         Alexsander Tsamkiranis
         9303 Salish Court                                            Contingent
         Unit 110 Buzzer 3010                                         Unliquidated
         Burnaby BC V3J 7B7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,625.83
         Alfio Licciardello
         Via Fondannone 90 C                                          Contingent
         Aquilo S.R.L                                                 Unliquidated
         Linera CT 95010                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Alfred Cobbs                                                 Contingent
         1200 Hawkins Wood Circle                                     Unliquidated
         Midlothian, VA 23114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Alfred Cobbs                                                 Contingent
         1200 Hawkins Wood Circle                                     Unliquidated
         Midlothian, VA 23114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,497.13
         Alfredo Montalvo                                             Contingent
         151 W Passaic Ave                                            Unliquidated
         Bloomfield, NJ 07003                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $703.21
         Abdel Alfroukh                                               Contingent
         1702 Hessian Drive                                           Unliquidated
         Monroe, NJ 08094                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $743.23
         Algirdas Semenas                                             Contingent
         Gar V S G. 9                                                 Unliquidated
         Kaunas LT-45479                                              Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 34 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 54 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,030.56
         Ali Akarsu                                                   Contingent
         38 Academia Way                                              Unliquidated
         London ENG N17 8HE                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,142.35
         Ali Alumari                                                  Contingent
         16 Camarel Cres                                              Unliquidated
         Toronto ON M1K 5B7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,135.43
         Ali Askari                                                   Contingent
         2857 Paradise Road, #204                                     Unliquidated
         Las Vegas, NV 89109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $712.99
         Ali Bagheri                                                  Contingent
         23 Cary Street                                               Unliquidated
         Baulkham Hills NSW 2153                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $712.99
         Ali Bagheri                                                  Contingent
         23 Cary Street                                               Unliquidated
         Baulkham Hills NSW 2153                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $699.13
         Ali Daryal                                                   Contingent
         8537 W Catalpa Ave                                           Unliquidated
         Chicago, IL 60656                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.33
         Ali Malik
         600 Smith Avenue                                             Contingent
         112 C                                                        Unliquidated
         Coquitlam BC V3J 2W4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 35 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 55 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $889.50
         Ali Maz                                                      Contingent
         Fischerstrasse 52                                            Unliquidated
         Duisburg 47055                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $925.82
         Ali Raza                                                     Contingent
         Groenewalstraat 31                                           Unliquidated
         Gent 9000                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $951.89
         Aliah Amjad                                                  Contingent
         11 Cromwell Road                                             Unliquidated
         Hayes ENG UB3 2PT                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $827.29
         Alice Clanet                                                 Contingent
         Rua Julio Dinis 947 4o esq                                   Unliquidated
         Porto PT-13 4050-327                                         Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $720.34
         Alicia Allen                                                 Contingent
         1216 Chicago Drive South West                                Unliquidated
         Wyoming, MI 49509                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $738.81
         Alija Mendar                                                 Contingent
         Rue Du Lac 136                                               Unliquidated
         Clarens 1815                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $752.74
         Alik Tsiupa                                                  Contingent
         6919 Teesdale Avenue                                         Unliquidated
         Los Angeles, CA 91605                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 36 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 56 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $849.94
         Alina Mackowiak                                              Contingent
         Rue Docteur Dryepondt 25                                     Unliquidated
         Etterbeek 1040                                               Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,325.50
         Alina Parvu
         Bld. Marea Unire Nr. 17                                      Contingent
         Bl. U5, Ap. 20                                               Unliquidated
         Galati GL 800329                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $740.04
         Amir Alipourskandani                                         Contingent
         2205 W 11th St, #413                                         Unliquidated
         Houston, TX 77008                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,413.40
         Alison Volken                                                Contingent
         1711 140 Street, #18                                         Unliquidated
         Surrey BC V4A 4H1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $679.66
         Allan Garcia                                                 Contingent
         5772 Garden Grove Blvd, #292                                 Unliquidated
         Westminster, CA 92683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $593.07
         Allan Jensen
         C/O All-Travel                                               Contingent
         Nr. Trandersvej 27                                           Unliquidated
         Aalborg 9000                                                 Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $472.27
         Aaron Allar                                                  Contingent
         1811 1/2 E Ocean Blvd                                        Unliquidated
         Unit B                                                       Disputed
         Long Beach, CA 90802
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 37 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 57 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Allen Flower                                                 Contingent
         486 Windemere Dr.                                            Unliquidated
         Aberdeen, MD 21001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.33
         Allen McDonald                                               Contingent
         1603-233 Robson Street                                       Unliquidated
         Vancouver BC V6B 0E8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,389.84
         Allwyn Mathew
         141 Silverthorn Rd Nw                                        Contingent
         Unit 4107                                                    Unliquidated
         Calgary AB T3B 5H5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Abdulhameed Almohammedsaleh                                  Contingent
         1717 N Bayshore Dr                                           Unliquidated
         Apt. 1655                                                    Disputed
         Miami, FL 33132
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $754.27
         Ahmad Alomari                                                Contingent
         8422 W Berwyn Ave                                            Unliquidated
         Fl 1                                                         Disputed
         Chicago, IL 60656
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $873.23
         Jawad Alomari                                                Contingent
         Filipijnen 297                                               Unliquidated
         Utrecht 3524 JM                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $408.82
         Andrew Altman                                                Contingent
         7502 Countryside Drive                                       Unliquidated
         Amarillo, TX 79119                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 38 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 58 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Hakop Altunyan                                               Contingent
         10861 Oro Vista Avenue                                       Unliquidated
         Los Angeles, CA 91040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $746.78
         Bernard Alvarado                                             Contingent
         1390 Market Street                                           Unliquidated
         Apt 1613                                                     Disputed
         San Francisco, CA 94102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $838.66
         Matias Damian Alvarez                                        Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,319.80
         Matias Damian Alvarez                                        Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,319.80
         Matias Damian Alvarez                                        Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $840.23
         Matias Damian Alvarez                                        Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Alyson Char                                                  Contingent
         2325 Armstrong St                                            Unliquidated
         Honolulu, HI 96822-1982                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 39 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 59 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $779.46
         Alyssa Mohar                                                 Contingent
         P.O. Box 5253                                                Unliquidated
         Pasco, WA 99302                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $474.22
         Amaan Zia                                                    Contingent
         8031 Kildare Ave                                             Unliquidated
         Skokie, IL 60076                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $564.11
         Amade Ouedraogo                                              Contingent
         CMR 415 Box 7608                                             Unliquidated
         Apo, AE 09114                                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $691.71
         Amal Gupta                                                   Contingent
         1690 Faraday Ct                                              Unliquidated
         San Jose, CA 95124                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $663.80
         Aman Singh                                                   Contingent
         168 Coral Reef Close Northeast                               Unliquidated
         Calgary AB T3J 3Y6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Amanda Will                                                  Contingent
         904 West Mary Street                                         Unliquidated
         Unit A                                                       Disputed
         Austin, TX 78704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.35
         Amandeep Singh                                               Contingent
         7040 Torbram Road Unit17                                     Unliquidated
         Mississauga ON L4T3Z4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 40 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 60 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $464.90
         Amarco Dimayacyac                                            Contingent
         139 Remington                                                Unliquidated
         Irvine, CA 92620                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $738.13
         Abeselom Amare                                               Contingent
         7321 Boreal Pl                                               Unliquidated
         Philadelphia, PA 19153                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,309.52
         Ameen Yahya                                                  Contingent
         9965 Frederick Street                                        Unliquidated
         Dearborn, MI 48120                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.93
         Ameer Asghar                                                 Contingent
         2315 Dobbinton Street                                        Unliquidated
         Oshawa ON L1L0L3                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $690.11
         Muhammad Ameer                                               Contingent
         9221 Ashland Woods Lane                                      Unliquidated
         Apt C-G                                                      Disputed
         Lorton, VA 22079
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Amelia Woods                                                 Contingent
         721 Granger St                                               Unliquidated
         Manchester, MI 48158                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.41
         American Pioneer Electronics Inc.                            Contingent
         666 Plainsboro Road                                          Unliquidated
         Suite.405                                                    Disputed
         Plainsboro, NJ 08536
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 41 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 61 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $467.01
         Adnan Amjad                                                  Contingent
         4611 Sandyford Ct                                            Unliquidated
         Dublin, CA 94568                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $739.29
         Asnardo Amores                                               Contingent
         644 Banyan Canal Drive                                       Unliquidated
         West Palm Beach, FL 33415                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,959.52
         Amos Dicob                                                   Contingent
         40 Carolyn Rd W                                              Unliquidated
         Carmel, NY 10512                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $805.98
         Amos Kanigher                                                Contingent
         Level 28, 60 Margaret Street                                 Unliquidated
         Sydney NSW 2000                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $646.14
         Arthur Amponvanit                                            Contingent
         2504 North Shelley Street                                    Unliquidated
         Alexandria, VA 22311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $705.25
         Amritpal Singh                                               Contingent
         1353 Tori Ln                                                 Unliquidated
         Yuba City, CA 95993                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Amy McNamara                                                 Contingent
         830 Bartlett Street                                          Unliquidated
         Apt 1                                                        Disputed
         Los Angeles, CA 90012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 42 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 62 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,884.00
         Ana Larisa Ursu
         Soseaua Pipera 42 , Globalworth Plaza                        Contingent
         Et 7 , Sector 2 , Bucharest                                  Unliquidated
         Bucharest B 20112                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,329.33
         Anand D'Souza                                                Contingent
         273 Donessle Dr                                              Unliquidated
         Oakville ON L6J3Y8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Anas Diab
         Media City                                                   Contingent
         Amwaj                                                        Unliquidated
         Dubai DU                                                     Disputed
         UNITED ARAB EMIRATES
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,475.17
         Anastasios Nistas                                            Contingent
         Themistokli Sofouli 4                                        Unliquidated
         Ioannina 45445                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $219.97
         Anastasios Nistas                                            Contingent
         Themistokli Sofouli 4                                        Unliquidated
         Ioannina 45445                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $456.35
         Anastasios Pandelidis                                        Contingent
         18 Stonewall Ln                                              Unliquidated
         West Chester, PA 19382                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $74.13
         Anastasiya Osher                                             Contingent
         1850 Hanover Dr. #152                                        Unliquidated
         Davis, CA 95616                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 43 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 63 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $745.50
         Anastasiya Osher                                             Contingent
         1850 Hanover Dr.                                             Unliquidated
         Apt 152                                                      Disputed
         Davis, CA 95616
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $802.02
         Anatoli Iliev                                                Contingent
         7454 Ggbg Unit 8 Optima Park Thames Road                     Unliquidated
         Dartford ENG DA1 4QX                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Jon Paul Anatra                                              Contingent
         215 Middle Neck Road                                         Unliquidated
         Apt 15-2A                                                    Disputed
         Great Neck, NY 11021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,496.82
         Andi Meyer                                                   Contingent
         Unterdorfwag 4                                               Unliquidated
         Fallanden 8117                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,503.50
         Aaron Andrade                                                Contingent
         3653 W Avenida Fria                                          Unliquidated
         Tucson, AZ 85745                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,747.19
         Paola Andrae                                                 Contingent
         1405 N Negley Ave                                            Unliquidated
         Pittsburgh, PA 15206                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,812.07
         Paola Andrae                                                 Contingent
         1405 N Negley Ave                                            Unliquidated
         Pittsburgh, PA 15206                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 44 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 64 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,141.95
         Andras Kondakor
         Vorosmarty Utca 62.                                          Contingent
         Fsz. 6. (Ground Floor 6.)                                    Unliquidated
         Budapest 1064                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Andre Desilets                                               Contingent
         1719 Lanier Lane                                             Unliquidated
         Memphis, TN 38117                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,826.47
         Andre Esty                                                   Contingent
         1 Montague Road                                              Unliquidated
         London, Greater London, United Kingdom E                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Andre Ferreira                                               Contingent
         2 Fosdick Terrace                                            Unliquidated
         Unit 304                                                     Disputed
         Lynn, MA 01902
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $774.68
         Andre Lacerte                                                Contingent
         9274 Rue Verville                                            Unliquidated
         Montreal QC H2N 1Y4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $842.28
         Andre Wilson                                                 Contingent
         CMR 467 Box 442                                              Unliquidated
         APO AE 09096                                                 Disputed
         New York, AE 09096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $753.73
         Andrea Ascenzi                                               Contingent
         1A Houghton Square                                           Unliquidated
         London ENG SW9 9AN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 45 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 65 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Andrea Green                                                 Contingent
         11481 SW 204 Street                                          Unliquidated
         Miami, FL 33189                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,406.47
         Andrea Guldenpfennig
         Otto-Von-Wollank-Str. 42A                                    Contingent
         Handelsvertretungen Guldenpfennig Ohg                        Unliquidated
         Berlin 14089                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $577.15
         Andrea Raciti                                                Contingent
         Via San Vincenzo 20                                          Unliquidated
         Milano MI 20123                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $837.28
         Andreas Braun                                                Contingent
         Spichernstr. 65                                              Unliquidated
         Cologne 50672                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $834.94
         Andreas Bruns                                                Contingent
         Henckellweg 13                                               Unliquidated
         Hannover 30459                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $834.37
         Andreas Bruns                                                Contingent
         Adelbylund 4                                                 Unliquidated
         Flensburg 24943                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $127.16
         Andreas Burger                                               Contingent
         Via Pater Haspinger 34                                       Unliquidated
         Valle Di Casies BZ 39030                                     Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 46 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 66 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $867.10
         Andreas Dietz                                                Contingent
         Brucknerstrasse 21                                           Unliquidated
         Munich 81677                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,740.13
         Andreas Georgiades                                           Contingent
         Szabadssag 61                                                Unliquidated
         Bogote 9675                                                  Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $720.11
         Andreas Haberli                                              Contingent
         Kirchenland 2                                                Unliquidated
         Rothenthurm 6418                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $867.87
         Andreas Ittner                                               Contingent
         Erich-Muhsam-Strasse 30                                      Unliquidated
         Chemnitz 9112                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,953.78
         Andreas John
         Frankfurter Strasse 99                                       Contingent
         Net-Lab Gmbh                                                 Unliquidated
         Offenbach Am Main 63067                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $765.86
         Andreas Lien                                                 Contingent
         Skogvegen 5A                                                 Unliquidated
         Jessheim 2053                                                Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,725.93
         Andreas Mild                                                 Contingent
         Richtergasse 9                                               Unliquidated
         Wien 1070                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 47 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 67 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,369.03
         Andreas Wasita                                               Contingent
         6 Clive Street                                               Unliquidated
         Roseville NSW 2069                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $564.11
         Andreas Weis                                                 Contingent
         Kadiner Str. 22                                              Unliquidated
         Berlin 10243                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $505.99
         Andreea Cariman                                              Contingent
         9 Aldwyck Court Riverside Close                              Unliquidated
         Bedford ENG MK429DQ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.35
         Andrei Kononov                                               Contingent
         108 Secret Garden Court                                      Unliquidated
         Kleinburg ON L4H 4N7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,325.50
         Andrei Muresan                                               Contingent
         Privighetorii 9                                              Unliquidated
         Baia Mare MM 430324                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,006.98
         Andrei Pastrama
         Str. I. C. Braftianu,Nr 48,Bl.B5,Sc.A                        Contingent
         Apartament 16                                                Unliquidated
         Constanta CT                                                 Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $505.99
         Andrei Teofiliu Voicu
         Street Parcul Mic ,11                                        Contingent
         Apartment 20                                                 Unliquidated
         Brasov BV 500386                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 48 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 68 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $964.79
         Andrej Fidanovski
         Kuzman Josifovski Pitu                                       Contingent
         15/2-45                                                      Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $834.78
         Andrej Meschede                                              Contingent
         Fuchsstr. 5                                                  Unliquidated
         Koln 50823                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,351.55
         Andres Auerbach                                              Contingent
         6775 College Court                                           Unliquidated
         Davie, FL 33317                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $461.75
         Andres Lopez                                                 Contingent
         26261 Las Flores                                             Unliquidated
         Apt A                                                        Disputed
         Mission Viejo, CA 92691
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $657.59
         Andres Lujan                                                 Contingent
         2807 West Timberlake Loop                                    Unliquidated
         Coeur Dalene, ID 83815                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $469.11
         Andreu Neri                                                  Contingent
         1342 Brampton Road                                           Unliquidated
         Los Angeles, CA 90041                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,135.39
         Andrew Bax                                                   Contingent
         29 Longleigh Lane                                            Unliquidated
         Bexleyheath . ENG DA7 5SR                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 49 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 69 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $109.52
         Andrew Berlinski                                             Contingent
         1108 Lakeview Street                                         Unliquidated
         Waterford Twp, MI 48328                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Andrew Betteridge                                            Contingent
         11391 Seventh Avenue #26                                     Unliquidated
         Richmond BC V7E 4J4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $792.98
         Andrew Bisaccia                                              Contingent
         970 North Kellogg Ave                                        Unliquidated
         Santa Barbara, CA 93111                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Andrew Bond                                                  Contingent
         101 Warren St                                                Unliquidated
         Apt 2640                                                     Disputed
         New York, NY 10007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $724.76
         Andrew Caro                                                  Contingent
         12030 Algardi Street                                         Unliquidated
         Norwalk, CA 90650                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $656.72
         Andrew Carrol                                                Contingent
         49 Camp Road                                                 Unliquidated
         Conrod Settlement NS B0J1N0                                  Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Andrew Cervenka                                              Contingent
         N7731 Vicksburg Way                                          Unliquidated
         Apartment 4                                                  Disputed
         Oconomowoc, WI 53066
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 50 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 70 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Andrew Day                                                   Contingent
         19892 Farm To Market Road 1818                               Unliquidated
         Huntington, TX 75949                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,369.76
         Andrew Duncan                                                Contingent
         1176 Valencia Dr.                                            Unliquidated
         Escondido, CA 92025                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Andrew Gray                                                  Contingent
         629 Baystone Ct                                              Unliquidated
         Annapolis, MD 21409                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $718.25
         Andrew Guan                                                  Contingent
         638 Hickey Blvd                                              Unliquidated
         Pacifica, CA 94044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,368.12
         Andrew Harris                                                Contingent
         3600 Founders Pointe Dr                                      Unliquidated
         Ammon, ID 83406                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Andrew Jamerson                                              Contingent
         103 Louis Avenue                                             Unliquidated
         Lehigh Acres, FL 33936                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Andrew Jamerson                                              Contingent
         103 Louis Avenue                                             Unliquidated
         Lehigh Acres, FL 33936                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 51 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 71 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,359.14
         Andrew Joseph                                                Contingent
         1341 Grass Valley Drive                                      Unliquidated
         Rockwall, TX 75087                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Andrew Kammerer                                              Contingent
         141 W Luminous Way                                           Unliquidated
         Hampstead, NC 28443                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Andrew Keiser                                                Contingent
         689 Jackie Lane                                              Unliquidated
         Baldwin, NY 11510                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,307.32
         Andrew La                                                    Contingent
         18840 Southwest Boones Ferry Road                            Unliquidated
         Ste. 202                                                     Disputed
         Tualatin, OR 97062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.35
         Andrew Laich                                                 Contingent
         47 Spruce Gardens Crescent                                   Unliquidated
         Spruce Grove AB T7X 0J9                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,339.41
         Andrew Malinowski                                            Contingent
         24 Stephen Street                                            Unliquidated
         Kingston ON K7K 2C3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,077.02
         Andrew McDonagh                                              Contingent
         200 Longfield Lane                                           Unliquidated
         Hertfordshire ENG EN76AQ                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 52 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 72 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $676.56
         Andrew McDonald                                              Contingent
         794 County Road 523                                          Unliquidated
         Whitehouse Station, NJ 08889                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $106.76
         Andrew McLean                                                Contingent
         133 C Malden Road                                            Unliquidated
         London ENG NW5 4HS                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $72.13
         Andrew McRorie                                               Contingent
         58 School Street                                             Unliquidated
         Rockland, MA 02370                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $716.95
         Andrew Menning                                               Contingent
         30 East End Ave. Apt. 7E                                     Unliquidated
         New York, NY 10028                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $890.24
         Andrew Nolen                                                 Contingent
         155 S. Hibbert                                               Unliquidated
         Apt 210                                                      Disputed
         Mesa, AZ 85210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $735.46
         Andrew Omara
         5 Abbotsbury Close                                           Contingent
         Saltdean                                                     Unliquidated
         Saltdean, Brighton ENG BN2 8SR                               Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $747.25
         Andrew Phillips                                              Contingent
         22410 Georgia Ln Santa Clarita Ca 91350                      Unliquidated
         Los Angeles, CA 91350                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 53 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 73 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,407.74
         Andrew Porter                                                Contingent
         4721 Old Ravine Ct                                           Unliquidated
         Upper Arlington, OH 43220                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $741.20
         Andrew Rerecich                                              Contingent
         3720 S 138th St                                              Unliquidated
         Tukwila, WA 98168                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $737.00
         Andrew Simmons                                               Contingent
         500 E Little Ponderosa Dr                                    Unliquidated
         New Braunfels, TX 78132-3915                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $722.68
         Andrew Speer                                                 Contingent
         5 Ginger Lea                                                 Unliquidated
         Glen Carbon, IL 62034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Andrew Thomas                                                Contingent
         111 Foster Avenue                                            Unliquidated
         Elmira, NY 14905                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Andrew Tucker                                                Contingent
         417 East Matthews Street                                     Unliquidated
         Matthews, NC 28105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $688.91
         Andrew Ung                                                   Contingent
         4845 Hersholt Avenue                                         Unliquidated
         Long Beach, CA 90808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 54 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 74 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,498.06
         Andrew Wilson
         33 Acorn Close                                               Contingent
         Waltham                                                      Unliquidated
         Christchurch CAN 8023                                        Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $456.83
         Dmitry Andreyanov                                            Contingent
         24 St Ives Way Apt 22                                        Unliquidated
         Marlborough, MA 01752                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $805.98
         Andrias Suwito
         Unit 202 9 Oconnell St                                       Contingent
         Luxe Apartment                                               Unliquidated
         North Melbourne VIC 3051                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $35.00
         Andriy Ned                                                   Contingent
         1623 Military Road                                           Unliquidated
         Niagara Falls, NY 14304                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $576.70
         Andrzej Feszak
         Avinguda De Jaume Iii 27                                     Contingent
         Local 14                                                     Unliquidated
         Palma De Mallorca PM 7012                                    Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,372.89
         Andy Dutton                                                  Contingent
         20 Carlisle Ave                                              Unliquidated
         Rhyl WLS LL183UD                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.33
         Andy Lam                                                     Contingent
         63 Silverstar Blvd., Unit #E6                                Unliquidated
         Scarborough ON M1V 5E5                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 55 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 75 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $714.76
         Andy Tobias                                                  Contingent
         31 Ardsley Ave W                                             Unliquidated
         New York, NY 10533                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $882.53
         Andzella Mackevica                                           Contingent
         Via Alba 53                                                  Unliquidated
         Cuneo CN 12100                                               Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $576.78
         Anej Serec                                                   Contingent
         Poljska Ulica 12                                             Unliquidated
         Murska Sobota 9000                                           Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $875.36
         Angel Alcazar Casas
         Avenida San Esteban 86                                       Contingent
         4o 2a                                                        Unliquidated
         Granollers B 8402                                            Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $683.12
         Angel Davila                                                 Contingent
         12863 S. Brocklebank Lane                                    Unliquidated
         Unit K 201                                                   Disputed
         Herriman, UT 84096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $656.72
         Angel Fonseca                                                Contingent
         2931 Tatla Pl                                                Unliquidated
         Coquitlam BC V3C 4W8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $467.01
         Angel Roa                                                    Contingent
         617 North Dillon Street, #202                                Unliquidated
         Los Angeles, CA 90026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 56 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 76 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,441.37
         Angela Arcaro                                                Contingent
         571 N Madison Ave                                            Unliquidated
         Pasadena, CA 91101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $743.73
         Angelo Avegno                                                Contingent
         966 West 102nd Avenue                                        Unliquidated
         Northglenn, CO 80260                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $609.94
         Angelo De Silva                                              Contingent
         Paul-Klee-Strasse 4                                          Unliquidated
         Munich 81477                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $559.99
         Angelo Franke
         Gewerbestrasse 68                                            Contingent
         Expo24Seven Gmbh                                             Unliquidated
         Herrsching A. Ammersee 82211                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $468.06
         Angelo Gustilo                                               Contingent
         1007 East Lomita Avenue, #210                                Unliquidated
         Glendale, CA 91205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $907.93
         Angelo Mendez                                                Contingent
         829 Amherst Road                                             Unliquidated
         Linden, NJ 07036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $926.29
         Anh Tuan Pham                                                Contingent
         Avenue Des Sorbiers 23                                       Unliquidated
         Waterloo 1410                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 57 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 77 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $932.44
         Ani Zhibaj                                                   Contingent
         Efploias 59-61                                               Unliquidated
         Peiraias 18537                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,720.10
         Aniko Kunne Szabo                                            Contingent
         9 Roanoke Road, #312                                         Unliquidated
         Toronto ON M3A 1E4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $745.08
         Anil Kurup                                                   Contingent
         1004 Bluebell Brook Street                                   Unliquidated
         Henderson, NV 89052                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $688.19
         Anis Saoud
         Blvd Saint-Martin, 24                                        Contingent
         Rz                                                           Unliquidated
         Vevey 1800                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,414.92
         Anish Lathker                                                Contingent
         1 Plum Tree Ln                                               Unliquidated
         San Ramon, CA 94583-9111                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,432.34
         Ankit Passi                                                  Contingent
         152 Taralea Green NE                                         Unliquidated
         Calgary AB T3J4Y4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $745.56
         Anna Horvath                                                 Contingent
         3234 East Avenue                                             Unliquidated
         Livermore, CA 94550                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 58 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 78 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Anna Kasko                                                   Contingent
         88 Kamloops Street                                           Unliquidated
         Vancouver BC V5K 0E7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $785.62
         Anna Miranda                                                 Contingent
         145 Glanville Road                                           Unliquidated
         London ENG SW2 5DF                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,104.37
         Anneloes Dijkstra                                            Contingent
         Amstelboulevard 82                                           Unliquidated
         Amsterdam 1096 HJ                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $924.73
         Annemieke Tjaden-Vlieger                                     Contingent
         Leonard Springerlaan 219                                     Unliquidated
         Deventer 7424AA                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,360.44
         Annette Cole                                                 Contingent
         118 North Kings Road                                         Unliquidated
         Unit 206                                                     Disputed
         Los Angeles, CA 90048
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,408.87
         Annette Dokes                                                Contingent
         2381 Coco Palm Dr                                            Unliquidated
         Tustin, CA 92780                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $510.54
         Anousha Bhugun                                               Contingent
         56 Brambles Farm Drive                                       Unliquidated
         Uxbridge ENG UB10 0DZ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 59 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 79 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $715.93
         Ante Vukasovic                                               Contingent
         Sulzbergstrasse 20                                           Unliquidated
         Wettingen 5430                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Anthony Bailey                                               Contingent
         10324 Fairway Heights Blvd                                   Unliquidated
         Miami, FL 33157                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Anthony Bento                                                Contingent
         19 Platt Ave                                                 Unliquidated
         West Babylon, NY 11704                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $850.87
         Anthony Buckley                                              Contingent
         4860 Park Commons Drive #106                                 Unliquidated
         Minneapolis, MN 55416                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Anthony Ceparano                                             Contingent
         437 SW Natura Ave                                            Unliquidated
         Apt. A                                                       Disputed
         Deerfield Beach, FL 33441
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $915.38
         Anthony Cho                                                  Contingent
         159 Hass Lane                                                Unliquidated
         La Habra, CA 90631                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $705.48
         Anthony Cognetta                                             Contingent
         898 Burr Street North                                        Unliquidated
         Saint Paul, MN 55130                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 60 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 80 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Anthony Costello                                             Contingent
         2160 Fiddlers Ct                                             Unliquidated
         Apt C                                                        Disputed
         Winston Salem, NC 27107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $429.12
         Anthony Cruz                                                 Contingent
         6665 Lucky Strike Way                                        Unliquidated
         Las Vegas, NV 89108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Anthony Davis                                                Contingent
         130 48th Street South                                        Unliquidated
         St. Petersburg, FL 33711                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $434.47
         Anthony Deangelo                                             Contingent
         98 Standish Street                                           Unliquidated
         Weymouth, MA 02191                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Anthony Egendoerfer                                          Contingent
         620 Hattaway Drive                                           Unliquidated
         Altamonte Springs, FL 32701                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $625.62
         Anthony Falcon                                               Contingent
         4808 Crystal Field St.                                       Unliquidated
         North Las Vegas, NV 89031                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $730.89
         Anthony Francis                                              Contingent
         2264 Mackey Pike                                             Unliquidated
         Nicholasville, KY 40356                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 61 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 81 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $765.88
         Anthony Galante                                              Contingent
         2360 La Fey Avenue                                           Unliquidated
         Manteca, CA 95337                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $469.11
         Anthony Hernandez                                            Contingent
         1343 Tulane Rd                                               Unliquidated
         Claremont, CA 91711-3421                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Anthony Joyner                                               Contingent
         101 Meadows Circle                                           Unliquidated
         Boynton Beach, FL 33436                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,336.17
         Anthony Kha                                                  Contingent
         615 104 Ave Sw                                               Unliquidated
         Calgary AB T2W0A4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $712.29
         Anthony Larocco                                              Contingent
         5500 Laurent Drive Apt 302                                   Unliquidated
         Parma, OH 44129                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $713.38
         Anthony Levandowski                                          Contingent
         1186 Folsom Street                                           Unliquidated
         San Francisco, CA 94103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $740.72
         Anthony Lukach                                               Contingent
         4001 Hubbard Ave N                                           Unliquidated
         Robbinsdale, MN 55422                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 62 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 82 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $805.98
         Anthony Manning                                              Contingent
         24 Florence Street                                           Unliquidated
         Rockingham WA 6168                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $706.72
         Anthony McDonald                                             Contingent
         864 Upper Ottawa Street                                      Unliquidated
         Hamilton ON L8T 3V5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.35
         Anthony McDonald                                             Contingent
         864 Upper Ottawa Street                                      Unliquidated
         Hamilton ON L8T 3V5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Anthony Melendez                                             Contingent
         16 Bank St                                                   Unliquidated
         Derby, CT 06418                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $748.94
         Anthony Mercado                                              Contingent
         2357 Belvedere Ave                                           Unliquidated
         San Leandro, CA 94577                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Anthony Nader                                                Contingent
         20154 S Riverhill Dr                                         Unliquidated
         Clinton Twp, MI 48036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,416.25
         Anthony Nguyen                                               Contingent
         11724 Scripps Creek Drive                                    Unliquidated
         San Diego, CA 92131                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 63 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 83 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,473.52
         Anthony Roberts                                              Contingent
         336 Adams Circle                                             Unliquidated
         Suite 101                                                    Disputed
         Corona, CA 92882
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $687.99
         Anthony Rose                                                 Contingent
         342 Brunker Road,                                            Unliquidated
         Adamstown NSW 2289                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,369.52
         Anthony Scelza                                               Contingent
         1 Dry Kiln Lane                                              Unliquidated
         Hartland, VT 05052                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $676.07
         Anthony Van Dorsten
         913 Fitzroy Avenue                                           Contingent
         Mahora                                                       Unliquidated
         Hastings HKB 4120                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $651.07
         Anthony Van Dorsten
         913 Fitzroy Avenue                                           Contingent
         Mahora                                                       Unliquidated
         Hastings HKB 4120                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,308.87
         Anthony Young                                                Contingent
         6100 West Post Road                                          Unliquidated
         Chandler, AZ 85226                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,339.41
         Antoine Duquette                                             Contingent
         2135 Rue Saint-Donat                                         Unliquidated
         Montreal QC H1L 5J9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 64 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 84 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $916.97
         Antoine Pelletrau                                            Contingent
         7 Allee Des Pervenches                                       Unliquidated
         Vaux-Le-Penil 77000                                          Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,104.33
         Anton De Roeck                                               Contingent
         Kammenstraat 72                                              Unliquidated
         Antwerpen 2000                                               Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,603.46
         Daniel Anton                                                 Contingent
         108 Playa India                                              Unliquidated
         Aguadilla, PR 00603                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $576.65
         Antonin Hendrych                                             Contingent
         Grift 65                                                     Unliquidated
         Uithoorn 1423DJ                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $857.49
         Antonio Bencini                                              Contingent
         7 Strada 16                                                  Unliquidated
         Segrate MI 20054                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $468.06
         Antonio Castaneda                                            Contingent
         55 Oceanview Dr                                              Unliquidated
         Bay Point, CA 94565                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.14
         Antonio Contreras                                            Contingent
         7601 Churchill Way, #624                                     Unliquidated
         Dallas, TX 75251                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 65 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 85 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.82
         Antonio Del Paso
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Aventuras Club Marina , Departamento 305                     Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $717.82
         Antonio Del Paso Escobedo
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Departamento 305                                             Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $692.82
         Antonio Del Paso Escobedo
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Oficina, Aventuras Club Marina                               Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $732.33
         Antonio Del Paso Escobedo
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Oficina, Aventuras Club Marina                               Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $714.89
         Antonio Kelleher                                             Contingent
         5714 N Gibralter Way                                         Unliquidated
         Apt 304                                                      Disputed
         Aurora, CO 80019
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $740.83
         Antonio Lim                                                  Contingent
         167 Robinson Drive                                           Unliquidated
         Tustin, CA 92782                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Antonio Odette                                               Contingent
         16714 Quarry Rd                                              Unliquidated
         5C3                                                          Disputed
         Southgate, MI 48195
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 66 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 86 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,254.78
         Antonio Pandovski
         Petar Acev                                                   Contingent
         24/7                                                         Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $708.13
         Antonio Papania-Davis                                        Contingent
         371 30th Street                                              Unliquidated
         Apt 401                                                      Disputed
         Oakland, CA 94609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $698.59
         Antonio Reuer                                                Contingent
         169 1/2 West First St                                        Unliquidated
         Mansfield, OH 44902                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $872.03
         Antonio Rodrigues                                            Contingent
         Rua Do Outeiro De Sao Pedro, #19                             Unliquidated
         Chamusca PT-14 2140                                          Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Antonio Ruta                                                 Contingent
         539 South Way                                                Unliquidated
         Newfield, NY 14867                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Antonio Villanueva                                           Contingent
         Urb Paseo Las Olas                                           Unliquidated
         P-3, 302 Orca Street                                         Disputed
         Dorado, PR 00646
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,503.93
         Antonios Taskonidis                                          Contingent
         19 Monastiriou Str                                           Unliquidated
         Thessaloniki 54627                                           Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 67 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 87 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,581.28
         Antoon Vereycken                                             Contingent
         Kopstraat 276                                                Unliquidated
         Schoten 2900                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $651.07
         Antthony Van Dorsten
         913 Fitzroy Avenue                                           Contingent
         Mahora                                                       Unliquidated
         Hastings HKB 4120                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.14
         Anuj Singh                                                   Contingent
         1301 Greenbrier Dr                                           Unliquidated
         Mesquite, TX 75149                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $715.09
         Anuradha Jayasekara                                          Contingent
         567 South Rancho Alegre Drive                                Unliquidated
         Covina, CA 91724                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $465.96
         Anurag Anurag                                                Contingent
         518 Sheree Lane                                              Unliquidated
         Placentia, CA 92870                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $760.62
         Anurak To-Ngam
         Little Elephant                                              Contingent
         55 Grove Road                                                Unliquidated
         Eastbourne ENG BN21 4TX                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $938.39
         Apiwatch Duangjan                                            Contingent
         17766 County Highway 11                                      Unliquidated
         Pleasant Hill, IL 62366                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 68 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 88 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,700.82
         Apostolos Boumpoulis                                         Contingent
         Agias Eirinis 19A                                            Unliquidated
         Melissia 15127                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,369.03
         Apurva Chiranewala
         100 Harris St                                                Contingent
         Sendle @ Wework                                              Unliquidated
         Pyrmont NSW 2009                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $835.80
         Aqsa Saleem                                                  Contingent
         25 Strood Avenue                                             Unliquidated
         Essex London ENG RM7 0UX                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $697.64
         Gonzalo Juan Pablo Aragones                                  Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $780.68
         Araz Taroyan
         Carin Baats Gata 71B                                         Contingent
         71B                                                          Unliquidated
         Stockholm 15259                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,809.13
         Arben Kovaci                                                 Contingent
         35 Ives Street                                               Unliquidated
         London ENG SW3 2ND                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $900.27
         Arbnor Temaj                                                 Contingent
         Sachsische Strasse 74                                        Unliquidated
         Berlin 10707                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 69 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 89 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $778.50
         Arcadie Tabacaru
         Str Radovanu Nr 9 Bloc 43                                    Contingent
         Apartament 6                                                 Unliquidated
         Bucuresti B 22883                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,558.76
         Archan Mankad                                                Contingent
         99 Vista Montana #3101                                       Unliquidated
         San Jose, CA 95134                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,120.81
         Archibald Rodriguez                                          Contingent
         2536 Village Drive                                           Unliquidated
         Union City, CA 94587                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,449.59
         Arden Tirpanciyan                                            Contingent
         5 Columbus Pl                                                Unliquidated
         Cliffside Park, NJ 07010                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $677.73
         Arelowo Alao                                                 Contingent
         3263 Beech Street Northwest                                  Unliquidated
         Washington, DC 20015                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $703.21
         Ari Frankel                                                  Contingent
         94 County Road                                               Unliquidated
         Demarest, NJ 07627                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $703.21
         Ari Frankel                                                  Contingent
         94 County Road                                               Unliquidated
         Demarest, NJ 07627                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 70 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 90 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $683.22
         Arick Escamilla Gomez
         Genaro Garza Garcia 200-1                                    Contingent
         Col La Cima Privada La Finca                                 Unliquidated
         San Pedro Garza Garcia NL 66240                              Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $688.91
         Ariel Escamilla                                              Contingent
         17625 Virginia Avenue                                        Unliquidated
         Bellflower, CA 90706                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.52
         Ariel Stanley                                                Contingent
         75 Hanover Street                                            Unliquidated
         Lebanon, NH 03766                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Ariel Yamil Alis                                             Contingent
         Alberti 1119                                                 Unliquidated
         Ituzaingo B 1714                                             Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Arif Amjad                                                   Contingent
         3979 Whips Run Drive                                         Unliquidated
         Woodbridge, VA 22193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $867.03
         Arif Tekiner Akkoyunlu                                       Contingent
         Zindelstrasse 13                                             Unliquidated
         Essen 45128                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.93
         Arjang Abedini                                               Contingent
         2937 Delahaye Drive                                          Unliquidated
         Coquitlam BC V3B 7E8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 71 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 91 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $634.52
         Arjon Elmasllari                                             Contingent
         10850 Blue Pacific Ct                                        Unliquidated
         Jacksonville, FL 32257                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $833.14
         Arkadij Avanesov                                             Contingent
         Maximilianstrasse 24                                         Unliquidated
         Simbach Am Inn 84359                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Arman Razaali                                                Contingent
         1309 Newbury Lane                                            Unliquidated
         Plano, TX 75025                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $469.11
         Arman Sukunyan                                               Contingent
         400 S Glenwood Place                                         Unliquidated
         Burbank, CA 91506                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $501.65
         Arman Sukunyan                                               Contingent
         400 South Glenwood Place                                     Unliquidated
         Burbank, CA 91506                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Armando Garcia                                               Contingent
         423 NE 23rd St., #808                                        Unliquidated
         Miami, FL 33137                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Armando Garcia                                               Contingent
         423 NE 23rd St., #808                                        Unliquidated
         Miami, FL 33137                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 72 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 92 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $429.12
         Armando Trujillo                                             Contingent
         8857 Oso Ave                                                 Unliquidated
         Winnetka, CA 91306                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Armen Sarkisian                                              Contingent
         16917 Calahan Street                                         Unliquidated
         Los Angeles, CA 91343                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Armen Sarkisian                                              Contingent
         16917 Calahan Street                                         Unliquidated
         Northridge, CA 91343-3504                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $830.47
         Armin Rahimic                                                Contingent
         Im Stoffel 11                                                Unliquidated
         Mels 8887                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,482.09
         Armin Sameri                                                 Contingent
         18909 Lloyd Circle, #226                                     Unliquidated
         Dallas, TX 75252                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $905.11
         Arnaud Fontaine
         31 Route Du Guillaume                                        Contingent
         Cd 3 Le Ruisseau                                             Unliquidated
         Bois De Nefles Saint Paul 97411                              Disputed
         REUNION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,338.80
         Arnel Adviento                                               Contingent
         90 Saddleridge Close Northeast                               Unliquidated
         Calgary AB T3J 4X2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 73 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 93 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Arno Lemus                                                   Contingent
         1024 NW 102 Place                                            Unliquidated
         Miami, FL 33172                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $945.99
         Arno Pasternacj                                              Contingent
         Kluterstrasse 1                                              Unliquidated
         Burgdorf 38272                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $851.52
         Arnold Kirlew                                                Contingent
         1435 E 59th St                                               Unliquidated
         Brooklyn, NY 11234-4125                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $464.74
         Arnold Salcedo                                               Contingent
         4615 NE 155th Ave                                            Unliquidated
         Vancouver, WA 98682                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $747.70
         Arsene Saheurs                                               Contingent
         Alfred-Escher-Strasse 88, #20                                Unliquidated
         Zurich 8002                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.52
         Arshad Mehter                                                Contingent
         #3 Yorkshire Road                                            Unliquidated
         Christ Church NA                                             Disputed
         BARBADOS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,219.52
         Arshad Yousef                                                Contingent
         125 Shady Ln                                                 Unliquidated
         Rossville, TN 38066                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 74 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 94 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $490.90
         Arshia Kiani                                                 Contingent
         23540 39th Place West                                        Unliquidated
         Brier, WA 98036                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $853.79
         Arshid Manocha
         Bisschoppenhoflaan 284                                       Contingent
         11C                                                          Unliquidated
         Antwerp 2100                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Artem Kuznetsov                                              Contingent
         5401 Chimney Rock Rd, #967                                   Unliquidated
         Houston, TX 77081                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,004.16
         Artem Zhigarev
         13 Gray Crescent                                             Contingent
         Torbay                                                       Unliquidated
         Auckland AUK 630                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $684.52
         Arthur Lowmack                                               Contingent
         2104 Hemlock Bay Road                                        Unliquidated
         Dumfries, VA 22026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $719.88
         Arthur Muir                                                  Contingent
         116 North Rochester Street                                   Unliquidated
         San Mateo, CA 94401                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Arthur Nemirovskiy                                           Contingent
         7724 Big Bend Blvd                                           Unliquidated
         2W                                                           Disputed
         Webster Groves, MO 63119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 75 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 95 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,498.06
         Arthur Wang
         6C Wolsley Avenue                                            Contingent
         Milford                                                      Unliquidated
         Auckland AUK 620                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $720.66
         Artur Cybulski                                               Contingent
         Ormisstrasse 75                                              Unliquidated
         Meilen 8706                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $957.02
         Arturo Aranda Aguilera                                       Contingent
         Plaza Constitucion, No 5, 2o-5a                              Unliquidated
         Viladecans B 8840                                            Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $957.02
         Arturo Aranda Aguilera                                       Contingent
         Plaza Constitucion, No 5, 2o-5a                              Unliquidated
         Viladecans B 8840                                            Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $634.14
         Arturo Hinojosa                                              Contingent
         4821 Blaney Ave                                              Unliquidated
         North Richland Hills, TX 76180                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,992.82
         Arturo Manuel Rivera Cardona                                 Contingent
         252 Ley Federal Del Trabajo Col. Azaleas                     Unliquidated
         Soledad De Graciano Sanchez SLP 78436                        Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Arturo Martinez                                              Contingent
         3603 Dogwood Blossom Ct                                      Unliquidated
         Pearland, TX 77581                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 76 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 96 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,285.42
         Alvarez Arturo                                               Contingent
         10976 Ivy Hill Dr, #6                                        Unliquidated
         San Diego, CA 92131                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,404.25
         Aryaman Chanana                                              Contingent
         24708 Cordillera Drive                                       Unliquidated
         Calabasas, CA 91302                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,422.80
         Aryeh Primus                                                 Contingent
         1770 Chestnut Pl Apt 1308                                    Unliquidated
         Denver, CO 80202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,568.49
         Aryeh Primus                                                 Contingent
         1770 Chestnut Pl Apt 1308                                    Unliquidated
         Denver, CO 80202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,381.64
         Alex Asahan                                                  Contingent
         9231 El Cortez Ave                                           Unliquidated
         Fountain Valley, CA 92708                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,451.12
         Aldo Ascencio                                                Contingent
         12323 Juniper Blossom Pl                                     Unliquidated
         Clarkburg, MD 20871                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $724.75
         Asha Swan                                                    Contingent
         916 E. Palm Ave.                                             Unliquidated
         Burbank, CA 91501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 77 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 97 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $454.37
         Asher Wright
         1205 Comox Street                                            Contingent
         Apt 102                                                      Unliquidated
         Vancouver BC V6E 1K6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $659.52
         Mian Ashfaq                                                  Contingent
         7282 Olde Lantern Way                                        Unliquidated
         Springfield, VA 22152                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $663.40
         Ashish Chhabra                                               Contingent
         316 Evanston View Nw                                         Unliquidated
         Calgary AB T3P 1G2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $430.14
         Ashish Gupta                                                 Contingent
         1017 High Hawk Trail                                         Unliquidated
         Euless, TX 76039                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,340.28
         Ashish Nair
         20 Stewart Street                                            Contingent
         Apt 703                                                      Unliquidated
         Toronto ON M5V1H6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,329.33
         Ashish Vattakassery                                          Contingent
         1306 Queen Street West                                       Unliquidated
         Brampton ON L6X 0B2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.28
         Ashish Vattakassery                                          Contingent
         1306 Queen Street West                                       Unliquidated
         Brampton ON L6X 0B2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 78 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 98 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,368.57
         Ashish Vattakassery                                          Contingent
         1306 Queen Street West                                       Unliquidated
         Brampton ON L6X 0B2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,259.52
         Ashish Vempati                                               Contingent
         6118 Quartz Ln., Grand Blanc, Mi, 48439                      Unliquidated
         Grand Blanc Twp, MI 48439                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $469.11
         Ashley Odono                                                 Contingent
         8416 Zeiler Avenue                                           Unliquidated
         Panorama City, CA 91402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $806.88
         Ashley Sparkes                                               Contingent
         2A Dolphin Way, Stapleford                                   Unliquidated
         Cambridge ENG CB22 5DW                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,885.00
         Ashley Sparkes                                               Contingent
         2A Dolphin Way, Stapleford                                   Unliquidated
         Cambridge ENG CB225DW                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.549    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,198.93
         Ashley Sparkes                                               Contingent
         2A Dolphin Way, Stapleford                                   Unliquidated
         Cambridge ENG CB225DW                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.550    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $689.28
         Ashley Zatouneh-Murray
         457 Marlee Avenue                                            Contingent
         Apt.308                                                      Unliquidated
         Toronto ON M6B 3J2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 79 of 1054
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 99 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.551    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $925.63
         Ashraf Hasan                                                 Contingent
         25319 W Wilson Ct                                            Unliquidated
         Plainfield, IL 60586                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $871.33
         Ashraf Ismail                                                Contingent
         596 Pennycross Lane                                          Unliquidated
         Ottawa ON K0A 1L0                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.553    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,357.81
         Ashton Tracey                                                Contingent
         5901 West Behrend Drive, #2006                               Unliquidated
         Glendale, AZ 85308                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $724.64
         Asif Usman                                                   Contingent
         999 41st Ave NE                                              Unliquidated
         Apt 101                                                      Disputed
         Columbia Hts, MN 55421
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,589.31
         Askar Ayupov                                                 Contingent
         Route Du Bout-Du-Monde 15                                    Unliquidated
         Geneve 1206                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.556    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $931.96
         Athanasios Goudosis                                          Contingent
         Dilou 12 Galatsi                                             Unliquidated
         Athens 11147                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $776.57
         Athir Elali                                                  Contingent
         16 Rue Hickory                                               Unliquidated
         Dollard-Des-Ormeaux QC H9G 3B7                               Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 80 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 100 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.558    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $456.83
         Atir Petkar                                                  Contingent
         319 Alewife Brook Parkway                                    Unliquidated
         Somerville, MA 02144                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $889.51
         Attila Hortobagyi                                            Contingent
         Hauptsrasse 12                                               Unliquidated
         Au In Der Hallertau 84072                                    Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.560    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $788.30
         Au Nguyen                                                    Contingent
         5114 Verdome Ln                                              Unliquidated
         Houston, TX 77092                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19,694.60
         August August                                                Contingent
         135 West 41st Street                                         Unliquidated
         New York, NY 10036                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $585.13
         Augustinos Krassas                                           Contingent
         Perikleous 75                                                Unliquidated
         Chalandri 15231                                              Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $873.00
         Aurel Croitoru                                               Contingent
         93, Strabuna                                                 Unliquidated
         Bucharest B 12464                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.564    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $739.73
         Aurelia Pollet                                               Contingent
         3748 Williams Avenue                                         Unliquidated
         Claremont, CA 91711                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 81 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 101 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.565    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $766.42
         Aurimas Skorupskas
         7 Broadpiece                                                 Contingent
         Pennyland                                                    Unliquidated
         Milton Keynes ENG MK158AT                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.566    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $715.18
         Austin Arnold                                                Contingent
         138 Camelin Dr                                               Unliquidated
         Washington, IL 61571                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $466.86
         Austin Federa                                                Contingent
         184 Kent Ave, C612                                           Unliquidated
         Brooklyn, NY 11249                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.14
         Austin Geisler                                               Contingent
         2370 Wharton Court                                           Unliquidated
         Florissant, MO 63031                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $752.74
         Austin Hajjar                                                Contingent
         703 Pier Ave Suite B258                                      Unliquidated
         Hermosa Beach, CA 90254                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $747.54
         Austin Labry                                                 Contingent
         2315 Zlaten Dr.                                              Unliquidated
         Apt. H 305                                                   Disputed
         Longmont, CO 80504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.571    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Austin Martinez                                              Contingent
         645 Northwest 1st Street, #301                               Unliquidated
         Miami, FL 33128                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 82 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 102 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.572    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $429.12
         Austin Moon                                                  Contingent
         1861 N Crest Rd N11                                          Unliquidated
         Saratoga Springs, UT 84045                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.14
         Austin Murders                                               Contingent
         5405 Wheeler Rd                                              Unliquidated
         Fayetteville, AR 72704-5941                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $723.71
         Austin Nowakowski                                            Contingent
         7006 Unit A                                                  Unliquidated
         Newcastle, WA 98059                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $730.89
         Austin Olivieri                                              Contingent
         3607 Beech Run Ln                                            Unliquidated
         Mechanicsburg, PA 17050                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $871.28
         Austin Watson                                                Contingent
         31 Leon Place                                                Unliquidated
         St. Albert AB T8N 1X6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.577    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $467.01
         Avalon Parton                                                Contingent
         735 Guinda St                                                Unliquidated
         Palo Alto, CA 94301                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $746.00
         Avelino Acbang                                               Contingent
         1081 Cavern Drive                                            Unliquidated
         Mesquite, TX 75181                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 83 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 103 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.579    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.14
         Avery Ford                                                   Contingent
         P.O Box 64694                                                Unliquidated
         Lubbock, TX 79464                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Avi Schwartz                                                 Contingent
         5 Hilltop Lane                                               Unliquidated
         Monsey, NY 10952                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $732.96
         Avinash Sujeeth                                              Contingent
         2930 Grand Oaks Loop                                         Unliquidated
         Apt. 2101                                                    Disputed
         Cedar Park, TX 78613
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.582    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,004.23
         Avraam Achkhanian                                            Contingent
         Archiepiskopou Makariou III 59                               Unliquidated
         Xylotimpou 7510                                              Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Ayan Khayrallah                                              Contingent
         3700 Shuswap Avenue                                          Unliquidated
         Richmond BC V7E 3T3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.584    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $688.14
         Ayan Khayrallah                                              Contingent
         3700 Shuswap Avenue                                          Unliquidated
         Richmond BC V7E 3T3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.585    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         Ayaz Kapadia                                                 Contingent
         89-22 Gettysburg St                                          Unliquidated
         First Floor                                                  Disputed
         Bellerose, NY 11426
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 84 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 104 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.586    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $123.82
         Ayaz Sabir                                                   Contingent
         17 West View                                                 Unliquidated
         Bradford ENG BD47ER                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,141.87
         Ayman Abdelaziz                                              Contingent
         394 Avenue C                                                 Unliquidated
         Bayonne, NJ 07002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $569.11
         Ayman Ghanem                                                 Contingent
         Ortliebgasse 38/3/12                                         Unliquidated
         Vienna 1170                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         Ayodeji Adenuga                                              Contingent
         2610 Harrison Mill Drive                                     Unliquidated
         Douglasville, GA 30135                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $564.46
         Aytunc Aslan                                                 Contingent
         Fontaneweg 2                                                 Unliquidated
         Neunkirchen 57290                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $468.06
         Azam Qureshi                                                 Contingent
         29 Buena Vista Pl                                            Unliquidated
         Oakland, CA 94618                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $568.59
         Aziz Fussek                                                  Contingent
         Siegfriedgasse 23/Tor 1                                      Unliquidated
         Wien 1210                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 85 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 105 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.593    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,588.14
         Babajide Moibi                                               Contingent
         Richard-Wagner-Strasse 26                                    Unliquidated
         Koln 50674                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.594    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $960.50
         Badar Essiouri
         10 Allee Des Cedres                                          Contingent
         Apartment A304                                               Unliquidated
         Villepinte 93420                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.595    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $571.59
         Badr-Eddine El Haimer
         47 Blvd Vincent Auriol                                       Contingent
         Apart 21                                                     Unliquidated
         Paris 75013                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.596    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $882.33
         Bahalddin Alshamakhi                                         Contingent
         Haharina Ave #84                                             Unliquidated
         Dnipro (Dnepropetrovsk) 49038                                Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.597    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $491.44
         Bakdounes Bachar
         Lauterbachstrasse                                            Contingent
         137C                                                         Unliquidated
         Utzigen 3068                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,884.22
         Bakr Jasim                                                   Contingent
         4123 109 Street Northwest                                    Unliquidated
         Edmonton AB T6J 2S2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,409.86
         Balaji Balasubramanian                                       Contingent
         Dyrmyrgata 38B                                               Unliquidated
         Kongsberg 3611                                               Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 86 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 106 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.600    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,418.62
         Anthony Baldino                                              Contingent
         251 Bonview St                                               Unliquidated
         San Francisco, CA 94110                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $712.99
         Banu Mertono                                                 Contingent
         18/60 Lakefield Place                                        Unliquidated
         Runcorn QLD 4113                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.602    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $903.76
         Baraa Allahham                                               Contingent
         57                                                           Unliquidated
         Amstelveen 1186AP                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.603    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $675.93
         Barak Landau                                                 Contingent
         1408 Strathmore Mews North                                   Unliquidated
         Vancouver BC V6Z 3A9                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.604    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $854.43
         Barend Kloet                                                 Contingent
         Singel 484 E                                                 Unliquidated
         Amsterdam 1017AW                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $741.16
         Baris Taze                                                   Contingent
         50 Mounds Rd                                                 Unliquidated
         Apt 206                                                      Disputed
         San Mateo, CA 94402
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.606    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $709.94
         Barjo Khalil
         Radlkoferstrasse 2                                           Contingent
         Pluslingua Gmbh                                              Unliquidated
         Munich 81373                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 87 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 107 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.607    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $456.35
         Barron Shipley                                               Contingent
         1446 Stoystown Road                                          Unliquidated
         Friedens, PA 15541                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,461.96
         Barry Austin                                                 Contingent
         130 Pacchetti Way                                            Unliquidated
         Mountain View, CA 94040                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.609    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Barry Ballard                                                Contingent
         4724 George Washington Memorial Highway                      Unliquidated
         Yorktown, VA 23692                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,407.81
         Barry Castle                                                 Contingent
         5259 Apo Dr                                                  Unliquidated
         Honolulu, HI 96821-1827                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,329.33
         Barry Chow                                                   Contingent
         91 Banstock Drive                                            Unliquidated
         Toronto ON M2K 2H7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Barry Merritt                                                Contingent
         2611 Bens Branch Drive                                       Unliquidated
         Apt 3102                                                     Disputed
         Kingwood, TX 77339-4907
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $697.29
         Barry Poplaw                                                 Contingent
         1950 Northeast 119th Road                                    Unliquidated
         North Miami, FL 33181                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 88 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 108 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.614    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,309.14
         Barry Welch                                                  Contingent
         704 Van Buren St.                                            Unliquidated
         Harper, KS 67058                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,904.93
         Bart Achiel L Lanckriet                                      Contingent
         Hazegrasstraat 85                                            Unliquidated
         Knokke-Heist 8300                                            Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $878.52
         Bart Leenen
         Sint-Katarinaplein 3                                         Contingent
         Bus 32                                                       Unliquidated
         Hasselt 3500                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.617    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $936.44
         Basalat Raja                                                 Contingent
         1835 Molino Avenue, #15                                      Unliquidated
         Signal Hill, CA 90755                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         Basel Alashqar                                               Contingent
         3670 S John Hix Rd                                           Unliquidated
         Wayne, MI 48184                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.619    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $677.10
         Basem Khan                                                   Contingent
         777 North Air Depot Blvd, #4109                              Unliquidated
         Midwest City, OK 73110                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.620    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $679.46
         Basem Metwally                                               Contingent
         13230 Corbel Circle                                          Unliquidated
         Apt 1221                                                     Disputed
         Fort Myers, FL 33907
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 89 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 109 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.621    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,429.44
         Basil Bhatiya                                                Contingent
         103 Cody                                                     Unliquidated
         Irvine, CA 92602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $747.63
         Alisha Bassim                                                Contingent
         3987 8th Ave                                                 Unliquidated
         Sacramento, CA 95817                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,071.94
         Bastian Fritsche
         C/ Teixos, No 3                                              Contingent
         El Dorado, Bloque 3, Atico A                                 Unliquidated
         Sa Coma PM 7560                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $851.52
         Bayside Cigars Emre Pars                                     Contingent
         401 Biscayne Blvd                                            Unliquidated
         S130                                                         Disputed
         Miami, FL 33132
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.625    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,946.76
         Daniel Beamer                                                Contingent
         6425 Wise Lane                                               Unliquidated
         King George, VA 22485                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         George T Beatty                                              Contingent
         2616 Norwood Dr                                              Unliquidated
         Rockford, IL 61107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         George T Beatty                                              Contingent
         2616 Norwood Dr                                              Unliquidated
         Rockford, IL 61107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 90 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 110 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.628    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.14
         George T Beatty                                              Contingent
         2616 Norwood Dr                                              Unliquidated
         Rockford, IL 61107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.629    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.14
         Beau Pearson                                                 Contingent
         5704 Bluebell Drive                                          Unliquidated
         North Little Rock, AR 72118                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $741.86
         Bekim Kamberi                                                Contingent
         21320 Lemarsh Street                                         Unliquidated
         Los Angeles, CA 91311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.631    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,086.79
         Bekir Davutovski                                             Contingent
         Uhlandstrasse 20                                             Unliquidated
         Kempten (Allgau) 87437                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,456.32
         Oleg Belotsky                                                Contingent
         9805 Peach Avenue                                            Unliquidated
         North Hills, CA 91343                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.633    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $740.02
         Ben Abdull                                                   Contingent
         23 Church Road                                               Unliquidated
         Acton ENG W3 8PU                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.634    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,909.52
         Ben Barlass                                                  Contingent
         19811 River Rock Dr                                          Unliquidated
         Katy, TX 77449                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 91 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 111 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.635    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $716.92
         Ben Bohmann                                                  Contingent
         1029 East 8th Avenue                                         Unliquidated
         Apt 506                                                      Disputed
         Denver, CO 80218
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.636    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $740.77
         Ben Eldridge                                                 Contingent
         46 London Road                                               Unliquidated
         Cirencester ENG GL7 1AG                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.637    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $703.21
         Ben Frayne                                                   Contingent
         2120 Denk Court                                              Unliquidated
         Union, NJ 07083                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,309.52
         Ben Jamison                                                  Contingent
         19701 Ahern Rd                                               Unliquidated
         Moseley, VA 23120                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $723.71
         Ben Longstroth                                               Contingent
         11588 Breckenridge Ln Nw                                     Unliquidated
         Silverdale, WA 98383                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $808.87
         Ben Mullins                                                  Contingent
         226 Queens Road, Bishopsworth                                Unliquidated
         Bristol ENG BS138QF                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $459.04
         Ben Rhoades                                                  Contingent
         1566 Anderson Ave                                            Unliquidated
         Apt G                                                        Disputed
         Fort Lee, NJ 07024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 92 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 112 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.642    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $740.53
         Ben Sharpe                                                   Contingent
         3256 72nd Place SE                                           Unliquidated
         Mercer Island, WA 98040                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $109.52
         Ben Showalter                                                Contingent
         27 South View Road                                           Unliquidated
         Rising Sun, MD 21911                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,284.52
         Ben Showalter                                                Contingent
         27 South View Road                                           Unliquidated
         Rising Sun, MD 21911                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.645    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $505.99
         Ben Silion
         Arthur Rubinstein Nr.5B                                      Contingent
         5B                                                           Unliquidated
         Timisoara TM 300064                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $505.99
         Ben Silion
         Arthur Rubinstein Nr.5B                                      Contingent
         5B                                                           Unliquidated
         Timisoara TM 300064                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.647    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $830.47
         Ben Starkie                                                  Contingent
         Chemin De Pierrafuz 1                                        Unliquidated
         Vaux-Sur-Morges 1126                                         Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.648    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $764.75
         Ben Swanson                                                  Contingent
         Rako Controls ;Td                                            Unliquidated
         Rochester ENG ME2 2AH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 93 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 113 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.649    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,034.52
         Ben Thayer                                                   Contingent
         121 Roberts Road                                             Unliquidated
         Rollinsford, NH 03869                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $575.98
         Ben Van Ruyssevelt                                           Contingent
         Zuidelijke Wandelweg 123                                     Unliquidated
         Amsterdam 1079RK                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.651    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $707.51
         Ben Zapirain                                                 Contingent
         8 Derwent Place                                              Unliquidated
         Kearns NSW 2558                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.652    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,403.60
         Bengt Andersson                                              Contingent
         Kulinggatan 5                                                Unliquidated
         Karlstad 65221                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,493.12
         Beniamin Mogovan                                             Contingent
         8427 188th Street Southeast                                  Unliquidated
         Snohomish, WA 98296                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,796.31
         Benito Lieuw A Soe                                           Contingent
         J.S. Ruppertstraat 47                                        Unliquidated
         Amsterdam 1069KJ                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $467.01
         Benjamen Gould                                               Contingent
         1083 Vine St, #176                                           Unliquidated
         Healdsburg, CA 95448                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 94 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 114 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.656    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $798.82
         Benjamin Arnold                                              Contingent
         Niels-Bohr-Weg 10                                            Unliquidated
         Erfurt 99097                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $675.34
         Benjamin Bauer                                               Contingent
         P.O. Box 5672                                                Unliquidated
         Atlanta, GA 31107                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $708.00
         Benjamin Cheung                                              Contingent
         545 Washington Avenue                                        Unliquidated
         Apt 209                                                      Disputed
         Brooklyn, NY 11238
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.659    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $685.28
         Benjamin Deck                                                Contingent
         2227 Taggert Street                                          Unliquidated
         Philadelphia, PA 19125                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $917.95
         Benjamin E Endress                                           Contingent
         133 Wentworth Avenue                                         Unliquidated
         Cincinnati, OH 45220                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $464.11
         Benjamin Endress                                             Contingent
         133 Wentworth Avenue                                         Unliquidated
         Cincinnati, OH 45220                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.662    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,509.52
         Benjamin Gallagher                                           Contingent
         3174 Warwick Terrace                                         Unliquidated
         Hamburg, NY 14075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 95 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 115 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.663    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,447.53
         Benjamin Greene                                              Contingent
         6445 Northeast 7th Avenue                                    Unliquidated
         Apartment 509N                                               Disputed
         Miami, FL 33138
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.664    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Benjamin Jenkins                                             Contingent
         25 Newmarket Road                                            Unliquidated
         Durham, NH 03824                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $743.88
         Benjamin Lee                                                 Contingent
         108 Beverly St                                               Unliquidated
         Mountain View, CA 94043-5257                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.666    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $689.52
         Benjamin Liquet                                              Contingent
         110 West 86th St.                                            Unliquidated
         Apt. 12C                                                     Disputed
         New York, NY 10024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.667    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $738.80
         Benjamin Martinez Jr                                         Contingent
         904 Windy Wood Ln.                                           Unliquidated
         Sweeny, TX 77480                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,768.87
         Benjamin Neamtu                                              Contingent
         17602 N 62 Dr                                                Unliquidated
         Glendale, AZ 85308                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $683.91
         Benjamin Pelayo                                              Contingent
         151 N Westwood Ave                                           Unliquidated
         Apt 161                                                      Disputed
         Lindsay, CA 93247
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 96 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 116 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.670    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $729.87
         Benjamin Povman                                              Contingent
         56 Fremont Road                                              Unliquidated
         Sleepy Hollow, NY 10591                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $659.52
         Benjamin Rednour                                             Contingent
         1910 Madison Avenue, #634                                    Unliquidated
         Memphis, TN 38104                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.672    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $851.52
         Benjamin Schwartz                                            Contingent
         6621 Wakefield Drive                                         Unliquidated
         #410                                                         Disputed
         Alexandria, VA 22037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $800.73
         Benjamin Tran                                                Contingent
         1198 S 12th St Apt 6                                         Unliquidated
         San Jose, CA 95112                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $591.64
         Benjamin Van Dam                                             Contingent
         Bunder 1                                                     Unliquidated
         Boom 2850                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.675    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $930.12
         Benjamin Vigil                                               Contingent
         1411 N Highland Ave                                          Unliquidated
         Apt 316                                                      Disputed
         Los Angeles, CA 90028
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $976.24
         Benjamin Weihs                                               Contingent
         Dumontstraat 11                                              Unliquidated
         Haarlem 2033 ZB                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 97 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 117 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.677    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $850.87
         Benjamin Wenger                                              Contingent
         2402 7th Street North                                        Unliquidated
         Fargo, ND 58102                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,406.67
         Benjamin Zimmermann                                          Contingent
         Uferstrasse 35                                               Unliquidated
         Mainz 55116                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,632.69
         Benjamin Zimmermann                                          Contingent
         Uferstrasse 35                                               Unliquidated
         Mainz 55116                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $684.14
         Bennet Emrich                                                Contingent
         3454 S Delaware Ave                                          Unliquidated
         Milwaukee, WI 53207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $806.42
         Bennie Wall                                                  Contingent
         1207 Santa Anna Rd                                           Unliquidated
         Henrico, VA 23229                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $634.14
         Benny Kirksey                                                Contingent
         2400 Houston Oaks Court                                      Unliquidated
         Grapevine, TX 76051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,399.84
         Benoit Ouellette                                             Contingent
         266 16E Av                                                   Unliquidated
         Saint-Jean-Sur-Richelieu QC J2X5C3                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 98 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 118 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.684    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         Benyamin Holley                                              Contingent
         2380 Ivanhoe Way South                                       Unliquidated
         St. Petersburg, FL 33705                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,629.35
         Berger Cattle Company                                        Contingent
         318 West Main Street                                         Unliquidated
         Mandan, ND 58554                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,382.05
         Rob Bergeron                                                 Contingent
         3115 Redbud Ln                                               Unliquidated
         Louisville, KY 40220                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         David Bernal                                                 Contingent
         2234 Louetta Brook Lane                                      Unliquidated
         Spring, TX 77388                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $430.52
         Bernard Maiden                                               Contingent
         8433 Lucerne Rd                                              Unliquidated
         Randallstown, MD 21133                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $689.52
         Bernard Prat                                                 Contingent
         49 Louvain Street                                            Unliquidated
         Fairfield, CT 06825                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $787.82
         Bernardo Barbucci                                            Contingent
         Pestalozzistrasse 30                                         Unliquidated
         Zurich 8032                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 99 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 119 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.691    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.76
         Berne Launay                                                 Contingent
         1521 North Argonne Road                                      Unliquidated
         C142                                                         Disputed
         Spokane Valley, WA 99212
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,105.16
         Berry Blom                                                   Contingent
         Koepoortsweg 100                                             Unliquidated
         Hoorn 1624AH                                                 Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.27
         Berry Smit                                                   Contingent
         Lage Naarderweg 68                                           Unliquidated
         Hilversum 1211AD                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $771.05
         Beysim Yildirim
         Turkmen Mahallesi 126/1 F Blok Kat 2 Dai                     Contingent
         Yat Sitesi                                                   Unliquidated
         Aydin 9400                                                   Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.12
         Bharat Goud Maddela                                          Contingent
         605 Tasman Drive, #1319                                      Unliquidated
         Sunnyvale, CA 94089                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.696    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Bhavina Vadgama                                              Contingent
         65 Gladstone Avenue                                          Unliquidated
         Feltham ENG TW14 9LJ                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.66
         Bianca Albano                                                Contingent
         35 Dewhurst Road                                             Unliquidated
         Waltham Cross ENG EN8 9PG                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 100 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 120 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.698    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,404.80
         Biboc Oy Eranen                                              Contingent
         Vanhalantie 26                                               Unliquidated
         Kotka 48310                                                  Disputed
         FINLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.48
         Benjamin Bidinger                                            Contingent
         14100 Madison Ave NE                                         Unliquidated
         Bainbridge Island, WA 98110                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Bilal Ayub                                                   Contingent
         942 Barton Oaks Pl                                           Unliquidated
         Herndon, VA 20170                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.701    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Bilal Bawany                                                 Contingent
         2300 Vantage Drive, #3066                                    Unliquidated
         Woodbridge, VA 22191                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.69
         Bilal Raza                                                   Contingent
         9242 Gross Point Rd, #412                                    Unliquidated
         Skokie, IL 60077                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.703    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $923.80
         Bilal Said                                                   Contingent
         2141 Citrine Way                                             Unliquidated
         Sacramento, CA 95834                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.704    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Bill Barringham                                              Contingent
         20 Ames Street, #1                                           Unliquidated
         Somerville, MA 02145                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 101 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 121 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.705    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.01
         Bill Connelly                                                Contingent
         203 Aberfoyle Avenue                                         Unliquidated
         Hamilton ON L8K 4S4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.706    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.01
         Bill Connelly                                                Contingent
         203 Aberfoyle Avenue                                         Unliquidated
         Hamilton ON L8K 4S4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.707    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.64
         Bill Connelly                                                Contingent
         203 Aberfoyle Avenue                                         Unliquidated
         Hamilton ON L8K 4S4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.708    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.64
         Bill Connelly                                                Contingent
         203 Aberfoyle Avenue                                         Unliquidated
         Hamilton ON L8K 4S4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.709    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Billy Bishop                                                 Contingent
         11607 Oak Shadows Ln                                         Unliquidated
         Houston, TX 77024                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.710    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Billy Campbell                                               Contingent
         2504 Palmer Drive                                            Unliquidated
         Gulfport, MS 39507                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.711    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Bin Chen                                                     Contingent
         73 Townwood Dr                                               Unliquidated
         Richmond Hill ON L4E 4T2                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 102 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 122 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.712    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Bin Di-Rupp                                                  Contingent
         6633 Quitman Court                                           Unliquidated
         Arvada, CO 80003                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.713    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.17
         Birinderpal Purba                                            Contingent
         4488 Windermere Street                                       Unliquidated
         Vancouver BC V5R 0J4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.714    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $639.76
         Birju Solanki                                                Contingent
         221 W 48th Street Apt 805                                    Unliquidated
         Kansas City, MO 64112                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.715    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.87
         Bisheswar Leishangthem                                       Contingent
         1 Crocus Ct                                                  Unliquidated
         Piscataway, NJ 08854                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.716    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Biswa Samanta                                                Contingent
         307 Santa Barbara                                            Unliquidated
         Irvine, CA 92606                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.717    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Bj Marcelin                                                  Contingent
         2064 East McGalliard Avenue                                  Unliquidated
         Trenton, NJ 08610                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.718    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Bjork Ostrom                                                 Contingent
         4015 Evergreen Pl                                            Unliquidated
         Shoreview, MN 55126                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 103 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 123 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.719    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,086.74
         Bjorn Manthei                                                Contingent
         Alte Allee 14                                                Unliquidated
         Berlin 14055                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.720    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,406.52
         Bjorn Obornik                                                Contingent
         Treptowweg 46                                                Unliquidated
         Hannover 30179                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.721    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,942.62
         Bjorn Schwarze                                               Contingent
         Kaistrasse 101                                               Unliquidated
         Kiel 24114                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.722    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Blair Scheib                                                 Contingent
         840 Turquoise St, #204                                       Unliquidated
         San Diego, CA 92109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.723    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.32
         Blake Bertram                                                Contingent
         12333 NE Stanton St                                          Unliquidated
         Portland, OR 97230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.724    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Blou Fleurissaint                                            Contingent
         2030 Childress Drive Sw                                      Unliquidated
         Atlanata, GA 30311                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.725    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Bobbi Razzino                                                Contingent
         49-51 Ashwin Parade                                          Unliquidated
         Torrensville SA 5031                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 104 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 124 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.726    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.93
         Bobbi Razzino                                                Contingent
         49-51 Ashwin Parade                                          Unliquidated
         Torrensville SA 5031                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.727    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Bobby Wawak                                                  Contingent
         1914 Edgeware Drive                                          Unliquidated
         Austin, TX 78704                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.728    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.71
         Bogdan Dornescu                                              Contingent
         42 Rose Glen                                                 Unliquidated
         Rm7 0Sp ENG RM7 0SP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.729    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.25
         Bogdan Florian                                               Contingent
         17 Cobham Road                                               Unliquidated
         Birmingham ENG B94UP                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.730    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $913.83
         Bohumir Kovar                                                Contingent
         Hradistko 96                                                 Unliquidated
         Sadska 28912                                                 Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.731    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.08
         Bojan Jaksic                                                 Contingent
         8069 Misty Canyon Ave                                        Unliquidated
         Las Vegas, NV 89113                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.732    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $526.51
         Bojan Jovanovski                                             Contingent
         Ul. Mitre Vlaot 10B                                          Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 105 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 125 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.733    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.49
         Boldizsar Tatar
         Daroczi Ut 1-3.
         Thyssenkrupp Components Technology                           Contingent
         Hunga                                                        Unliquidated
         Budapest 1113                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.734    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.26
         Ali Azimi Bolourian                                          Contingent
         301 Lethbridge Court                                         Unliquidated
         Ashton, MD 20861-3604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.735    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Bonnie McDonald                                              Contingent
         139 Hideaway Cove Trail                                      Unliquidated
         Turtletown, TN 37391                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.736    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Renato Silva Borges da Rocha                                 Contingent
         1537 Victoria Isle Way                                       Unliquidated
         Weston, FL 33327                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.737    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.94
         Chelsey Borgos                                               Contingent
         6305 S Millbrook Way                                         Unliquidated
         Aurora, CO 80016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.738    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.83
         Borislav Angelov                                             Contingent
         26 Gordon Road                                               Unliquidated
         London ENG W5 2AD                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.739    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Alexander Borremans                                          Contingent
         228 Edge Hill Dr.                                            Unliquidated
         Canyon Lake, TX 78133                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 106 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 126 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.740    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Ma Antonietta Borruel                                        Contingent
         5500 Telegraph Rd Ste 145                                    Unliquidated
         Ventura, CA 93003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.741    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Boryana Kolf                                                 Contingent
         60 Hope Ave Apt 313                                          Unliquidated
         Waltham, MA 02453                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.742    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.55
         Boy Schook                                                   Contingent
         Herengracht 184B                                             Unliquidated
         Amsterdam 1016 BS                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.743    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brad Battles                                                 Contingent
         29155 Edward Avenue                                          Unliquidated
         Madison Heights, MI 48071                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.744    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,388.09
         Brad Boston                                                  Contingent
         54 W 5th Ave                                                 Unliquidated
         Collegeville, PA 19426                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.745    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Brad Downer                                                  Contingent
         350 Village Drive                                            Unliquidated
         King Of Prussia, PA 19406                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.746    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,552.58
         Brad Gray                                                    Contingent
         3021 Clairmont Avenue, #12                                   Unliquidated
         Birmingham, AL 35205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 107 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 127 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.747    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.80
         Brad Hall                                                    Contingent
         506 Siltstone Place                                          Unliquidated
         Cary, NC 27519                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.748    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.81
         Brad Lefave
         25                                                           Contingent
         Van Daele St                                                 Unliquidated
         Sault Ste. Marie ON P6B4V3                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.749    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Brad Marshall                                                Contingent
         2412 Juno Ave.                                               Unliquidated
         Orlando, FL 32817                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.750    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.77
         Brad Rich                                                    Contingent
         14116 S Winfield Scott Way                                   Unliquidated
         Draper, UT 84020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.751    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.62
         Brad Slavin                                                  Contingent
         6038 Blue Dawn Trail                                         Unliquidated
         San Diego, CA 92130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.752    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Brad Tolar                                                   Contingent
         2575 East Sahara Avenue                                      Unliquidated
         D                                                            Disputed
         Las Vegas, NV 89104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.753    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Brad Wilkinson                                               Contingent
         910 Moss Drive                                               Unliquidated
         Savannah, GA 31410                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 108 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 128 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.754    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.78
         Braden Nora                                                  Contingent
         2057 Parkside Drive East                                     Unliquidated
         Seattle, WA 98112                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.755    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Bradley Burk                                                 Contingent
         216 Shanley Ct                                               Unliquidated
         Roseville, CA 95747                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.756    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Bradley Chamberlin                                           Contingent
         700 San Juan Oaks Rd                                         Unliquidated
         Brentwood, CA 94513                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.757    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,314.66
         Bradley Coupland                                             Contingent
         3721 Evergreen St                                            Unliquidated
         Port Coquitlam BC V3B 4X3                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.758    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Bradley Dougherty
         45 West Park Heights                                         Contingent
         Keswick                                                      Unliquidated
         Georgina ON L4P3T9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.759    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Bradley Dougherty
         45 West Park Heights                                         Contingent
         Keswick                                                      Unliquidated
         Georgina ON L4P3T9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.760    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Bradley Ellis                                                Contingent
         2203 Sage Canyon Dr                                          Unliquidated
         Cedar Park, TX 78613                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 109 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 129 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.761    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Bradley Jordan                                               Contingent
         200 Jordan Lane                                              Unliquidated
         Helena, AL 35080                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.762    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Bradley Lauk                                                 Contingent
         314 North Division Street                                    Unliquidated
         Powell, WY 82435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.763    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Bradley Lauster                                              Contingent
         72 Townsend St                                               Unliquidated
         Unit 706                                                     Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.764    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Bradley Morris                                               Contingent
         13128 S Horizon Point Dr                                     Unliquidated
         Draper, UT 84020-8879                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.765    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,847.89
         Bradley Nering                                               Contingent
         1275 Fruitdale Ave                                           Unliquidated
         San Jose, CA 95126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.766    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $794.94
         Bradley Neumann                                              Contingent
         358 West 4th Avenue                                          Unliquidated
         Columbus, OH 43201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.767    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $209.52
         Bradley Nolet                                                Contingent
         10201 Washingtonian Blvd #326                                Unliquidated
         Gaithersburg, MD 20878                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 110 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 130 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.768    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.23
         Bradley Perry                                                Contingent
         5512 Bastian Blvd                                            Unliquidated
         South Beloit, IL 61080                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.769    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.38
         Bradley Yencer                                               Contingent
         22501 Chase                                                  Unliquidated
         Apt 3114                                                     Disputed
         Aliso Viejo, CA 92656
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.770    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.22
         Braeden Tiemann                                              Contingent
         1514 West Mission Blvd                                       Unliquidated
         Apt 19                                                       Disputed
         Pomona, CA 91766
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.771    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Bram Roggen                                                  Contingent
         Bovenveld 24                                                 Unliquidated
         Holsbeek 3220                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.772    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.53
         Bram Ruts                                                    Contingent
         Gerheide 127                                                 Unliquidated
         Balen 2490                                                   Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.773    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Branden Kunkler                                              Contingent
         4579 SE Mair St                                              Unliquidated
         Hillsboro, OR 97123                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.774    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,636.17
         Brandon Austin                                               Contingent
         3903 S Congress Ave, #41089                                  Unliquidated
         Austin, TX 78704                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 111 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 131 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.775    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Brandon Barry                                                Contingent
         429 S Seaward Ave                                            Unliquidated
         Ventura, CA 93003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.776    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.72
         Brandon Bonanno                                              Contingent
         34 Mazza Court                                               Unliquidated
         Staten Island, NY 10312                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.777    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,497.32
         Brandon Boren                                                Contingent
         9227 Reseda Blvd #122                                        Unliquidated
         Northridge, CA 91324                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.778    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.28
         Brandon Brown                                                Contingent
         675 Brown Street                                             Unliquidated
         Peterborough ON K9J 4K6                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.779    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,148.97
         Brandon Chin                                                 Contingent
         317 Portlock Rd                                              Unliquidated
         Honolulu, HI 96825                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.780    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.39
         Brandon Chowsen                                              Contingent
         7844 160A Street                                             Unliquidated
         Surrey BC V4N 0T7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.781    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $791.75
         Brandon Cuff                                                 Contingent
         1697 Allen Avenue                                            Unliquidated
         Pasadena, CA 91104                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 112 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 132 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.782    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,734.70
         Brandon Detmers                                              Contingent
         1040 Back Road                                               Unliquidated
         Springhill NS B0M 1X0                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.783    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.96
         Brandon Diehl                                                Contingent
         2026 East Hazzard Street                                     Unliquidated
         Philadelphia, PA 19125                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.784    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $34.93
         Brandon Dillon                                               Contingent
         6431 Menlo Street                                            Unliquidated
         Simi Valley, CA 93063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.785    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,454.70
         Brandon Fine                                                 Contingent
         260 Raven Spur                                               Unliquidated
         Powell, OH 43065                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.786    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Brandon Gerber                                               Contingent
         2052 Brendla Road                                            Unliquidated
         Clearwater, FL 33755                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.787    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Brandon Gerber                                               Contingent
         2052 Brendla Road                                            Unliquidated
         Clearwater, FL 33755                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.788    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Brandon Hiltz                                                Contingent
         720 Roberts Rd, #100                                         Unliquidated
         Sartell, MN 56377                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 113 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 133 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.789    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,306.28
         Brandon Jung                                                 Contingent
         7700 Irvine Center Drive                                     Unliquidated
         Suite 800                                                    Disputed
         Irvine, CA 92618
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.790    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Brandon Light                                                Contingent
         P.O. Box 680556                                              Unliquidated
         Fort Payne, AL 35968                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.791    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,176.94
         Brandon Neff                                                 Contingent
         44 Castle View Drive                                         Unliquidated
         Mckees Rocks, PA 15136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.792    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Brandon Nesbit                                               Contingent
         8354 Urry Circle                                             Unliquidated
         Sandy, UT 84093                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.793    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Brandon Northington                                          Contingent
         3400 S Clark St                                              Unliquidated
         Apt 915                                                      Disputed
         Arlington, VA 22202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.794    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,609.52
         Brandon Rinehart                                             Contingent
         510 Front St                                                 Unliquidated
         Georgetown, SC 29440                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.795    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.41
         Brandon Ristow                                               Contingent
         223 Discher Street, #14                                      Unliquidated
         Schofield, WI 54476                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 114 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 134 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.796    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Brandon Rutledge                                             Contingent
         20510 Ottawa Road                                            Unliquidated
         Apple Valley, CA 92308                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.797    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Brandon Tesar                                                Contingent
         215 Rachel Circle                                            Unliquidated
         Forest Hill, MD 21050                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.798    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Brandon Valdez                                               Contingent
         86-324 Kauaopuu                                              Unliquidated
         Waianae, HI 96792                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.799    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brandy Griffith                                              Contingent
         3250 Conservation Pl Apt 201                                 Unliquidated
         Melbourne, FL 32934                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.800    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brandy Griffith                                              Contingent
         3250 Conservation Pl Apt 201                                 Unliquidated
         Melbourne, FL 32934                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.801    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,626.65
         Branko Djuric                                                Contingent
         Rietgrabenstrasse 84                                         Unliquidated
         Opfikon 8152                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.802    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,735.46
         Branko Vulin                                                 Contingent
         Ingenjorsgatan 1                                             Unliquidated
         Malmo 21568                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 115 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 135 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.803    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Brayden Klein
         827 Fairfield Rd                                             Contingent
         Suite 208                                                    Unliquidated
         Victoria BC V8V 5B2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.804    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.24
         Brayner Daal                                                 Contingent
         Koekoekzoom 11                                               Unliquidated
         Pijnacker 2643 KP                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.805    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.41
         Brendan Maye                                                 Contingent
         3321 Peridot Ave                                             Unliquidated
         Apt 114                                                      Disputed
         Ames, IA 50010
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.806    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.29
         Brendan Patterson                                            Contingent
         43 Bluebird Avenue                                           Unliquidated
         Cockatoo VIC 3781                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.807    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,211.12
         Brendan Raftery                                              Contingent
         5656 La Jolla Hermosa Ave                                    Unliquidated
         La Jolla, CA 92037                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.808    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,420.35
         Brenden Lisoff                                               Contingent
         28 Smart Street, #801                                        Unliquidated
         Fairfield NSW 2165                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.809    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Brennan Roy                                                  Contingent
         3458 Goodridge Link Nw                                       Unliquidated
         Edmonton AB T5T 4G2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 116 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 136 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.810    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Brent Benson                                                 Contingent
         1018 North Durham Street                                     Unliquidated
         Baltimore, MD 21205                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.811    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Brent Mills                                                  Contingent
         62 Stetson Ave                                               Unliquidated
         Swampscott, MA 01907                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.812    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,405.40
         Brent Sorenson                                               Contingent
         3045 Standridge Place                                        Unliquidated
         Saint Paul, MN 55109                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.813    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,909.52
         Brent Thomas                                                 Contingent
         251 Lauderdale Road                                          Unliquidated
         Nashville, TN 37205                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.814    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,858.05
         Brent Tidwell                                                Contingent
         4023 Mossy Rock Lane                                         Unliquidated
         Franklin, TN 37064                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.815    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Brent Wasson                                                 Contingent
         724 Park Hills                                               Unliquidated
         Bowling Green, KY 42101                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.816    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Brenton Long                                                 Contingent
         4546 El Camino Real B10 #648                                 Unliquidated
         Los Altos, CA 94022                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 117 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 137 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.817    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,377.14
         Bret Whaley                                                  Contingent
         P.O. Box 165                                                 Unliquidated
         Florence, WI 54121                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.818    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,439.36
         Brett Carlson                                                Contingent
         4520 141st Avenue Southeast                                  Unliquidated
         Bellevue, WA 98006                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.819    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Brett McDonald                                               Contingent
         172 Hideaway Cove Trail                                      Unliquidated
         Turtletown, TN 37391                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.820    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Brett Robinson                                               Contingent
         8 Cross Street                                               Unliquidated
         Red Hill QLD 4059                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.821    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brett Teger                                                  Contingent
         189 Thunder Road                                             Unliquidated
         Holbrook, NY 11741-4435                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.822    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,433.44
         Brewer Ward                                                  Contingent
         2142 Saddleback Dr                                           Unliquidated
         Corona, CA 92879                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.823    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,433.44
         Brewer Ward                                                  Contingent
         2142 Saddleback Dr                                           Unliquidated
         Corona, CA 92879                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 118 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 138 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.824    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brian Athearn                                                Contingent
         455 State Road                                               Unliquidated
         Unit 2                                                       Disputed
         Vineyard Haven, MA 02568
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.825    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $491.13
         Brian Bell                                                   Contingent
         1065 Queen Annes Lane                                        Unliquidated
         Beaumont, CA 92223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.826    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.52
         Brian Benton                                                 Contingent
         1004 Brookstone Blvd                                         Unliquidated
         Mt. Juliet, TN 37122                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.827    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Brian Burgos                                                 Contingent
         2871 Willard Avenue                                          Unliquidated
         Oceanside, NY 11572                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.828    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.82
         Brian Cain                                                   Contingent
         401 Tralee Lane                                              Unliquidated
         Yukon, OK 73099                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.829    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Brian Callaghan                                              Contingent
         P.O. Box 308                                                 Unliquidated
         New Gretna, NJ 08224                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.830    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brian Carr                                                   Contingent
         11800 Carters Valley Place                                   Unliquidated
         Chesterfield, VA 23838                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 119 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 139 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.831    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brian Chapin                                                 Contingent
         1570 East River Road                                         Unliquidated
         Grand Island, NY 14072                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.832    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,449.58
         Brian Delmonte                                               Contingent
         4 Ruth Pl                                                    Unliquidated
         Middlesex, NJ 08846                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.833    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.52
         Brian Feldman                                                Contingent
         6316 Rolden Court                                            Unliquidated
         Mount Dora, FL 32757                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.834    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.74
         Brian Geddes                                                 Contingent
         214 SE 150th Ct                                              Unliquidated
         Vancouver, WA 98684                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.835    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,409.52
         Brian Gray                                                   Contingent
         4721 Clopton Dr                                              Unliquidated
         Hayes, VA 23072                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.836    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Brian Griffith                                               Contingent
         11700 Wisteria Pond Way, #417                                Unliquidated
         Manassas, VA 20109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.837    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Brian Guay                                                   Contingent
         10501 Kateri Drive                                           Unliquidated
         Grande Prairie AB T8W 2N1                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 120 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 140 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.838    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.29
         Brian Heath                                                  Contingent
         514 Cardinal Dr                                              Unliquidated
         Conway, SC 29526                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.839    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.76
         Brian Hitch                                                  Contingent
         36 Barry Road                                                Unliquidated
         Pontypridd WLS CF37 1HY                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.840    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Brian Jacobs                                                 Contingent
         409 Maple St                                                 Unliquidated
         Lakehurst, NJ 08733                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.841    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $722.80
         Brian Kaffee                                                 Contingent
         32 Partridge Run                                             Unliquidated
         Montvale, NJ 07645                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.842    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.62
         Brian Le                                                     Contingent
         107B Stonyhill Road                                          Unliquidated
         Eatontown, NJ 07724                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.843    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,987.35
         Brian Lee                                                    Contingent
         5721 Buchanan Street                                         Unliquidated
         Burnaby BC V5B 2R9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.844    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Brian Lee                                                    Contingent
         205 Hillside Drive                                           Unliquidated
         Pacifica, CA 94044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 121 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 141 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.845    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.34
         Brian Lund                                                   Contingent
         12432 Double Eagle Drive                                     Unliquidated
         Mukilteo, WA 98275                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.846    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.61
         Brian Macpherson                                             Contingent
         15154 Creek Hills Road                                       Unliquidated
         El Cajon, CA 92021                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.847    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.81
         Brian McArthur                                               Contingent
         5714 Colonial Garden Dr                                      Unliquidated
         Huntersville, NC 28078                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.848    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $251.08
         Brian Menzel                                                 Contingent
         25 Runnymede Road                                            Unliquidated
         Toronto ON M6S 2Y1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.849    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Brian Mertz                                                  Contingent
         413 East Stockbridge Street                                  Unliquidated
         Eagle Lake, TX 77434                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.850    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Brian Mora-Morel                                             Contingent
         2307 Colfax Lane                                             Unliquidated
         Indianapolis, IN 46260                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.851    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.99
         Brian Moran                                                  Contingent
         11205 Lebanon Rd #79                                         Unliquidated
         Mt Juliet, TN 37122                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 122 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 142 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.852    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Brian Newhard                                                Contingent
         42697 Latrobe Street                                         Unliquidated
         Chantilly, VA 20152                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.853    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.37
         Brian Nguyen                                                 Contingent
         445 Oak Court                                                Unliquidated
         Menlo Park, CA 94025                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.854    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $913.28
         Brian Peasley                                                Contingent
         P.O. Box 1797                                                Unliquidated
         Nevada City, CA 95959                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.855    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Brian Pon                                                    Contingent
         25 Autumnwood Cres.                                          Unliquidated
         Spruce Grove AB T7X 0J3                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.856    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         Brian Ratkiewicz                                             Contingent
         43 Pine Valley Drive                                         Unliquidated
         Pittsburgh, PA 15235                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.857    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brian Rego                                                   Contingent
         101 Margaret Street                                          Unliquidated
         Pawtucket, RI 02860                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.858    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.87
         Brian Singletron                                             Contingent
         701 S Polk St                                                Unliquidated
         Amarillo, TX 79101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 123 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 143 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.859    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Brian Slane                                                  Contingent
         202 Dens Ridge Road                                          Unliquidated
         Cassville, MO 65625                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.860    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Brian Slane                                                  Contingent
         202 Dens Ridge Road                                          Unliquidated
         Cassville, MO 65625                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.861    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $818.58
         Brian Smith                                                  Contingent
         2209 Briarwood Drive                                         Unliquidated
         Mckeesport, PA 15135                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.862    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Brian Vandenberg                                             Contingent
         6 Chaumont St                                                Unliquidated
         Mission Viejo, CA 92692                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.863    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.91
         Brian Wasielewski                                            Contingent
         233 East 235th St                                            Unliquidated
         The Bronx, NY 10470                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.864    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $809.49
         Brian Zapchenk                                               Contingent
         8504 W Stuenkel Rd.                                          Unliquidated
         Frankfort, IL 60423                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.865    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Brian Zweig                                                  Contingent
         5907 Willow Ln                                               Unliquidated
         Dallas, TX 75230                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 124 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 144 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.866    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Brianne McInerney                                            Contingent
         11424 E. Forge Ave                                           Unliquidated
         Mesa, AZ 85208                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.867    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Brittany Reed-Allen                                          Contingent
         2108 Gidding St.                                             Unliquidated
         Clovis, NM 88101                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.868    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.52
         Brock Bales                                                  Contingent
         1046 Lost Pines Lane                                         Unliquidated
         Cedar Park, TX 78613                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.869    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brock Ginter                                                 Contingent
         1099 Oregon Blvd                                             Unliquidated
         Waterford, MI 48327                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.870    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Brooke Little                                                Contingent
         458 Carriage Lane                                            Unliquidated
         Hudson, WI 54016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.871    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Brooke Rutherford                                            Contingent
         2400 Clarendon Blvd                                          Unliquidated
         Apt 1003                                                     Disputed
         Arlington, VA 22201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.872    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Brooks Prumo                                                 Contingent
         1419 Schley Avenue                                           Unliquidated
         San Antonio, TX 78210                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 125 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 145 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.873    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.32
         Aaron Brown                                                  Contingent
         13647 E Burnside Street                                      Unliquidated
         Portland, OR 97233                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.874    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Taylor S. Brown                                              Contingent
         3176 Clairwood Ter                                           Unliquidated
         Chamblee, GA 30341                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.875    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Bruce Cass                                                   Contingent
         3074 14th Rd                                                 Unliquidated
         Escanaba, MI 49829                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.876    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Bruce Cunningham                                             Contingent
         477 Janice Drive                                             Unliquidated
         Sparta, TN 38583                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.877    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $775.35
         Bruce Hollingdrake                                           Contingent
         2324 Avenue Maple                                            Unliquidated
         Saint-Lambert QC J4P 2S2                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.878    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Bruce Mai                                                    Contingent
         7835 Milan Ave                                               Unliquidated
         University City, MO 63130                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.879    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,794.47
         Bruno Cunha
         Rua Norte Junior 17                                          Contingent
         6O Dir                                                       Unliquidated
         Lisboa PT-11 1950-205                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 126 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 146 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.880    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,636.17
         Bruno Geremia                                                Contingent
         Suite1000, 600-3 Ave Sw                                      Unliquidated
         Calgary AB T2P 0G5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.881    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Bruno Giffard                                                Contingent
         1108 Rue Mailhot                                             Unliquidated
         Sherbrooke QC J1G 2S4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.882    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Bruno Giffard                                                Contingent
         1108 Mailhot                                                 Unliquidated
         Sherbrooke QC J1G2S4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.883    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Bruno Giffard                                                Contingent
         1108 Rue Mailhot                                             Unliquidated
         Sherbrooke QC J1G 2S4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.884    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Bruno Mastrocolla                                            Contingent
         5650 Vantage Point Rd                                        Unliquidated
         Columbia, MD 21044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.885    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.87
         Bruno Pinto Goncalves                                        Contingent
         Bachstrasse 2                                                Unliquidated
         Dubendorf 8600                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.886    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Bruno Racineux                                               Contingent
         6715 Hollywood Blvd # 208                                    Unliquidated
         Los Angeles, CA 90028                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 127 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 147 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.887    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $303.81
         Bruno Soumis-Beauchemin                                      Contingent
         158 Rue Auger                                                Unliquidated
         Ch Teauguay QC J6K 5J6                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.888    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.28
         Bryan Albuquerque                                            Contingent
         108 Swift Cres                                               Unliquidated
         Cambridge ON N1P 1J8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.889    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,388.09
         Bryan Beane                                                  Contingent
         419 Dowdy Trail                                              Unliquidated
         Murray, KY 42071                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.890    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.41
         Bryan Bower                                                  Contingent
         371 South 13th Street                                        Unliquidated
         San Jose, CA 95112                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.891    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Bryan Brooks                                                 Contingent
         29981 Los Nogales Road                                       Unliquidated
         Temecula, CA 92591                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.892    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Bryan Davaris                                                Contingent
         25339 Via Dona Christa                                       Unliquidated
         Valencia, CA 91355                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.893    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,402.51
         Bryan Kaufman                                                Contingent
         6371 Hillside Drive                                          Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 128 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 148 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.894    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.41
         Bryan Keubeng                                                Contingent
         1546 Woodland Ln                                             Unliquidated
         Bolingbrook, IL 60490                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.895    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.84
         Bryan Kim                                                    Contingent
         871 Crenshaw Blvd                                            Unliquidated
         Unit 303                                                     Disputed
         Los Angeles, CA 90005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.896    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Bryan Mulder                                                 Contingent
         6800 East 99th Ave                                           Unliquidated
         Anchorage, AK 99507-6722                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.897    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,687.66
         Bryan O'Donnell                                              Contingent
         Soho Palm                                                    Unliquidated
         Dubai DU                                                     Disputed
         UNITED ARAB EMIRATES
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.898    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Bryan Parker                                                 Contingent
         14584 Bon Dickey Dr.                                         Unliquidated
         Baton Rouge, LA 70818-3711                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.899    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Bryant Lin                                                   Contingent
         424 Sonora Drive                                             Unliquidated
         San Mateo, CA 94402                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.900    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Bryce Elkins                                                 Contingent
         580 East 600 North                                           Unliquidated
         Columbia City, IN 46725                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 129 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 149 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.901    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,433.44
         Bryce Lahiff                                                 Contingent
         23527 Mountainside Court                                     Unliquidated
         Murrieta, CA 92562                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.902    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Bryon Johnson                                                Contingent
         9007 14th Avenue South                                       Unliquidated
         Bloomington, MN 55425                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.903    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Bryon Johnson                                                Contingent
         9007 14th Avenue South                                       Unliquidated
         Bloomington, MN 55425                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.904    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.80
         Bubblehub Gmbh Sandra Sabin
         Am Schopfwerk 33 Parzelle 83                                 Contingent
         Kleingarten                                                  Unliquidated
         Wien 1120                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.905    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Buck Parker                                                  Contingent
         4465 S Mathews Way                                           Unliquidated
         Salt Lake City, UT 84124                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.906    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Budes Florian Ciprian
         Raul Doamnei, Nr.6A, Sector 6                                Contingent
         Bl Ts4, Ap 64                                                Unliquidated
         Bucharest B 61764                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.907    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $780.83
         Andrew Buffum                                                Contingent
         1445 West Gramercy Place                                     Unliquidated
         San Antonio, TX 78201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 130 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 150 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.908    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,142.97
         Bukhari Hassan                                               Contingent
         1188 E 12Ave Columbus Oh                                     Unliquidated
         Columbus, OH 43211                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.909    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.07
         Bulent Kocabas                                               Contingent
         Robert-Koch-Strasse 33                                       Unliquidated
         Neuss 42464                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.910    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.31
         Bun Di-Rupp                                                  Contingent
         Di-Rupp                                                      Unliquidated
         Arvada, CO 80003                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.911    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         Anthony Butler                                               Contingent
         7556 Durham Hall Ave, #101                                   Unliquidated
         Las Vegas, NV 89130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.912    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $796.07
         Buvaneswari Ramanan                                          Contingent
         2001 Prospect Avenue                                         Unliquidated
         Scotch Plains, NJ 07076                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.913    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,076.50
         Byron Callaghan                                              Contingent
         60 Shakespeare Avenue                                        Unliquidated
         London ENG N11 1AY                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.914    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $247.50
         Byron Callaghan                                              Contingent
         60 Shakespeare Avenue                                        Unliquidated
         Lodon ENG N111AY                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 131 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 151 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.915    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.64
         Federico D Cabral                                            Contingent
         777 Brickell Avenue                                          Unliquidated
         500-9910                                                     Disputed
         Miami, FL 33131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.916    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.52
         Cade Foust                                                   Contingent
         2107 Wild Peregrine Circle                                   Unliquidated
         Katy, TX 77494                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.917    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Adam Cain                                                    Contingent
         1237 Lake Parke Drive                                        Unliquidated
         St Johns, FL 32259                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.918    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $135.00
         Caitlin Turner                                               Contingent
         14126 Marquesas Way #3419                                    Unliquidated
         Marina Del Rey, CA 90292                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.919    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,067.33
         Caius Ivanita                                                Contingent
         1701 Fisher Ave                                              Unliquidated
         Ottawa ON K2C1X9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.920    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Caleb Buttram                                                Contingent
         600 Confederate Circle                                       Unliquidated
         Taylors, SC 29687                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.921    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Calebe Nobre                                                 Contingent
         2945 Sycamore Rd                                             Unliquidated
         Huntingdon Valley, PA 19006                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 132 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 152 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.922    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Callan Jotta                                                 Contingent
         3A Dion Place                                                Unliquidated
         Coolbellup WA 6163                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.923    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.01
         Callum Watson                                                Contingent
         70 Redcroft Road                                             Unliquidated
         Danderhall SCT EH22 1FQ                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.924    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Calvin Ball                                                  Contingent
         4850 Natomas Blvd, #818                                      Unliquidated
         Sacramento, CA 95835                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.925    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Calvin Castillo                                              Contingent
         15052 Fairacres Dr.                                          Unliquidated
         La Mirada, CA 90638                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.926    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,206.23
         Calvin Chu                                                   Contingent
         5 Clay                                                       Unliquidated
         Irvine, CA 92620                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.927    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Calvin Jaojoco                                               Contingent
         4162 El Molino Blvd                                          Unliquidated
         Chino Hills, CA 91709                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.928    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,628.38
         Cam Mundle                                                   Contingent
         5 Campbell Crescent Southeast                                Unliquidated
         Medicine Hat AB T1B 1J7                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 133 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 153 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.929    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,333.81
         David Camacho
         Calle De La Amargura 60 Int. Sotano 1                        Contingent
         Lomas De La Herradura                                        Unliquidated
         Huixquilucan MEX 52785                                       Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.930    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Cameron Church                                               Contingent
         1252 Campbell Cir.                                           Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.931    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Cameron Conte                                                Contingent
         36 Willowbank Avenue                                         Unliquidated
         Richmond Hill ON L4E 3B2                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.932    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Cameron Essex                                                Contingent
         1570 Heather Trace Lane                                      Unliquidated
         Winston Salem, NC 27127                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.933    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.31
         Cameron Hurley                                               Contingent
         7449 La Jolla Blvd                                           Unliquidated
         San Diego, CA 92037                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.934    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.53
         Cameron Kavich                                               Contingent
         9804 102 Street                                              Unliquidated
         Morinville AB T8R 1E7                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.935    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Cameron Siebels                                              Contingent
         2216 Wheaton Trail                                           Unliquidated
         Cedar Park, TX 78613                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 134 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 154 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.936    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.56
         Cameron Talley                                               Contingent
         4115 Sunny Crossing Dr                                       Unliquidated
         Louisville, KY 40299                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.937    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $593.25
         Camilla Gavgani                                              Contingent
         Bergsvagen 23 A                                              Unliquidated
         Savedalen 43361                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.938    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Candice Jiang                                                Contingent
         21 Reynolds Street                                           Unliquidated
         Apt. G                                                       Disputed
         Rochester, NY 14608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.939    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.02
         Canh Nguyen                                                  Contingent
         Holywood Nails, Regent Arcade, Cheltenha                     Unliquidated
         Cheltenham ENG GL50 1JZ                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.940    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Carl Maybin                                                  Contingent
         3318 Hayden Street                                           Unliquidated
         Honolulu, HI 96815                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.941    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Carl Russo                                                   Contingent
         97 E Shore Rd                                                Unliquidated
         Manhasset, NY 11030                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.942    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.51
         Carl Smith                                                   Contingent
         727 Furnace St.                                              Unliquidated
         Elyria, OH 44035                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 135 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 155 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.943    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,981.72
         Carlin Vicera                                                Contingent
         8495 Cambie Street, #40                                      Unliquidated
         Vancouver BC V6P 3J9                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.944    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.15
         Carlos Alberto Pereyra Pacheco
         Castillo 1035                                                Contingent
         1Ro A                                                        Unliquidated
         Ciudad Autonoma De Buenos Aires C 1414                       Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.945    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Carlos Davila Perez                                          Contingent
         P.O. Box 398                                                 Unliquidated
         Vega Baja, PR 00694-0398                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.946    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.55
         Carlos Garcia                                                Contingent
         6640 Southwest 26th Court                                    Unliquidated
         Miramar, FL 33023                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.947    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Carlos Naibryf                                               Contingent
         16741 Harbor Ct                                              Unliquidated
         Weston, FL 33326                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.948    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.77
         Carlos Pohls                                                 Contingent
         Montreal #40, Raquet 2                                       Unliquidated
         Hermosillo SON 83200                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.949    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.88
         Carlos Preciado                                              Contingent
         281 E. South                                                 Unliquidated
         Rialto, CA 92376                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 136 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 156 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.950    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Carlos Preciado                                              Contingent
         281 E. South                                                 Unliquidated
         Rialto, CA 92376                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.951    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Carlos Rios-Bedoya                                           Contingent
         10362 Edgewood Ct                                            Unliquidated
         Grand Blanc, MI 48439                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.952    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.77
         Carlos Sevilla                                               Contingent
         2282 Montview Dr.                                            Unliquidated
         Clearwater, FL 33763                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.953    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,407.55
         Carlos Trevino                                               Contingent
         1700 East 4th Street, #1113                                  Unliquidated
         Austin, TX 78702                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.954    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Carlos Villegas                                              Contingent
         11844 South Camino San Matias                                Unliquidated
         Tucson, AZ 85756                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.955    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Carlos Zelaya                                                Contingent
         16000 Bunche Park School Dr                                  Unliquidated
         Miami Gardens, FL 33054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.956    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,805.72
         Abdel Carmona                                                Contingent
         41 Erial Road                                                Unliquidated
         Blackwood, NJ 08012                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 137 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 157 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.957    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Carnel Britton                                               Contingent
         20 Parkdale Ave N                                            Unliquidated
         Hamilton ON L8H5W8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.958    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Caroline Gong                                                Contingent
         77 Vine Street                                               Unliquidated
         Newton, MA 02467                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.959    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Carrie Coholich                                              Contingent
         1527 Derby Drive                                             Unliquidated
         Rockwall, TX 75032                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.960    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Carrie Menkari                                               Contingent
         83 Stearns Rd                                                Unliquidated
         Marlborough, MA 01752                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.961    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.52
         Carrie Ryan                                                  Contingent
         5528 Traceside Drive                                         Unliquidated
         Nashville, TN 37221                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.962    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Melissa Carriles Biggham                                     Contingent
         13308 Digges Terrace                                         Unliquidated
         Fort Washington, MD 20744                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.963    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Brelin Carroll                                               Contingent
         5650 Graduate Circle                                         Unliquidated
         Apt. 2206B                                                   Disputed
         Tampa, FL 33617
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 138 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 158 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.964    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.27
         Carsten Bluhm                                                Contingent
         Hekeler Strasse 63                                           Unliquidated
         Berne 27804                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.965    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.87
         Carter Ritt                                                  Contingent
         5448 E Lupine Ave                                            Unliquidated
         Scottsdale, AZ 85254                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.966    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Cary Wan                                                     Contingent
         3123 South Beverly Drive                                     Unliquidated
         Los Angeles, CA 90034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.967    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Casey Garland                                                Contingent
         5341 Cobra Rock Ln                                           Unliquidated
         J-305                                                        Disputed
         Herriman, UT 84096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.968    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Casey Garland                                                Contingent
         5341 Cobra Rock Ln                                           Unliquidated
         J-305                                                        Disputed
         Herriman, UT 84096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.969    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $61.17
         Casey Hansen
         163 Bell St North                                            Contingent
         Suite 57083                                                  Unliquidated
         Ottawa ON K1R 7E1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.970    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.19
         Casey Miller                                                 Contingent
         959 Stewart Drive, #128                                      Unliquidated
         Sunnyvale, CA 94085                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 139 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 159 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.971    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         Casey Parsons                                                Contingent
         6555 Masefield Street                                        Unliquidated
         Worthington, OH 43085                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.972    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Cassidy Ellis                                                Contingent
         19141 Skyview Knoll                                          Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.973    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Cassie Adcock                                                Contingent
         2777 Washington Street                                       Unliquidated
         Adamstown, MD 21710                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.974    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Alejandro Castillo                                           Contingent
         3313 Westbrook Drive                                         Unliquidated
         Taylorsville, UT 84129                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.975    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,210.37
         Lucrecia Castillo                                            Contingent
         25386 Grandfir Court                                         Unliquidated
         Corona, CA 92883                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.976    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Catalin Necsoiu                                              Contingent
         Str. Gradinilor, Nr 2                                        Unliquidated
         Moreni DB 135300                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.977    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.61
         Catherine Mullaly                                            Contingent
         P.O. Box 381309                                              Unliquidated
         Cambridge, MA 02238                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 140 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 160 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.978    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Catrina Scroggins                                            Contingent
         P.O. Box 864682                                              Unliquidated
         Plano, TX 75086                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.979    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $923.62
         Cavin Preghter                                               Contingent
         Leif Erikssonstraat 45                                       Unliquidated
         Almere 1363 LG                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.980    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,589.31
         Cayden Burkart                                               Contingent
         14 Patriot Place                                             Unliquidated
         Rouse Hill NSW 2155                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.981    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Caylan Siddell                                               Contingent
         15 Avon Street                                               Unliquidated
         Leichhardt QLD 4305                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.982    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Cedomir Gladovic                                             Contingent
         20 Jeffrey Street                                            Unliquidated
         Dandenong North VIC 3175                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.983    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Cedric Leboul                                                Contingent
         251 1st St                                                   Unliquidated
         7F                                                           Disputed
         Brooklyn, NY 11215
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.984    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,526.28
         Cedric Mayence                                               Contingent
         Rue Dela Ferme Bal 7                                         Unliquidated
         Marcinelle 6001                                              Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 141 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 161 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.985    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,483.72
         Ceferino Miranda                                             Contingent
         2051 Bancroft Ave                                            Unliquidated
         San Francisco, CA 94124                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.986    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.30
         Cemal Atmaca                                                 Contingent
         Winkeler Strasse 11                                          Unliquidated
         Wiesbaden 65197                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.987    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,775.90
         Gaston Cenicola                                              Contingent
         7924 NW 66th St                                              Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.988    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $470.17
         Cesar Bolivar                                                Contingent
         172 Wembley Drive                                            Unliquidated
         Daly City, CA 94015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.989    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.27
         Cesar Ibanez
         Trebol 140                                                   Contingent
         Col. Privadas Del Sauce                                      Unliquidated
         Escobedo NL 66053                                            Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.990    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,457.13
         Cesar Montoya                                                Contingent
         5450 Telegraph Road                                          Unliquidated
         Suite 101                                                    Disputed
         Winnetka, CA 93003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.991    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Cezary Prus                                                  Contingent
         6914 Estoril Road                                            Unliquidated
         Mississauga ON L5N 1N1                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 142 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 162 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.992    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.48
         Chace Harrison                                               Contingent
         2612 23rd Ave                                                Unliquidated
         Rock Island, IL 61201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.993    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Chad Crapo                                                   Contingent
         1064 Ridgetop Cove                                           Unliquidated
         South Jordan, UT 84095                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.994    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.06
         Chad Holland                                                 Contingent
         16 Cottontail Rd                                             Unliquidated
         Melville, NY 11747-2319                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.995    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Chad Hudspeth                                                Contingent
         1448 Mayflower Ln                                            Unliquidated
         Lewisville, TX 75077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.996    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Chad Nicholson                                               Contingent
         95 Central Ave.                                              Unliquidated
         Montclair, NJ 07042                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.997    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Chad Qualmann                                                Contingent
         W197N16925 Stonewall Dr                                      Unliquidated
         #304                                                         Disputed
         Jackson, WI 53037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.998    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Chad Schmutzer                                               Contingent
         2570 S 10th Ave                                              Unliquidated
         Arcadia, CA 91006                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 143 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 163 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.999    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,537.62
         Chad Truong                                                  Contingent
         1600 Norman Ave.                                             Unliquidated
         San Jose, CA 95125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Chad Werts                                                   Contingent
         160 Lawrence Bell Drive                                      Unliquidated
         Suite 120                                                    Disputed
         Amherst, NY 14221
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.100
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Chad Xiong                                                   Contingent
         117 Peregrine Pl                                             Unliquidated
         Denver, PA 17517                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Chadi Letayf                                                 Contingent
         51 Engert Av                                                 Unliquidated
         Apt 3                                                        Disputed
         Brooklyn, NY 11222
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.100
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Chadrick Fnu                                                 Contingent
         2250 Northwest 114th Avenue                                  Unliquidated
         Doral, FL 33192                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Chadwick Rastatter                                           Contingent
         6719 Houlton Cir                                             Unliquidated
         Lake Worth, FL 33467                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Chadwick Snyder                                              Contingent
         21831 Northwest 2nd Court                                    Unliquidated
         Pembroke Pines, FL 33029                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 144 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 164 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.100
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Chanborin Chum                                               Contingent
         6506 84th Court North                                        Unliquidated
         Minneapolis, MN 55445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Chance Kramer                                                Contingent
         9457 Riviera Drive                                           Unliquidated
         Union, KY 41091                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Chance McGrath                                               Contingent
         4614 Jeff Davis St                                           Unliquidated
         Marshall, TX 75672                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Chandan Uprety                                               Contingent
         523 Gristmill Street                                         Unliquidated
         Waterloo ON N2K0C9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.101
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Chandara Hong                                                Contingent
         2777 Dearwood Drive Southwest                                Unliquidated
         Atlanta, GA 30315                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Chandler Grendus                                             Contingent
         10227 115 Street Nw, #405                                    Unliquidated
         Edmonton AB T5K 1T7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.101
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Chandler Richards                                            Contingent
         158 Broad Street                                             Unliquidated
         Charleston, SC 29401                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 145 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 165 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.101
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.52
         Chandrasekhar Gogu                                           Contingent
         16711 South Azure Mist Court                                 Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Channing Harral                                              Contingent
         P.O. Box 91722                                               Unliquidated
         East Point, GA 30364                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.43
         Char Davis                                                   Contingent
         4901 Bisset Ln                                               Unliquidated
         Inver Grove Heights, MN 55076                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Charles Lie Cano-Caron                                       Contingent
         150 C Te Du Colonel Dambourg S, #6                           Unliquidated
         Quebec QC G1K 3W2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.101
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Charles Barfield                                             Contingent
         8616 Cara Park Way                                           Unliquidated
         Tampa, FL 33635                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $791.67
         Charles Blades                                               Contingent
         180 2nd Street Ste. 6                                        Unliquidated
         Oakland, CA 94607                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.32
         Charles Byford                                               Contingent
         P.O. Box 4323                                                Unliquidated
         Salem, OR 97302                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 146 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 166 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.102
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Charles Campbell                                             Contingent
         12466 Nesting Eagles Way                                     Unliquidated
         Jacksonville, FL 32225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.40
         Charles Carter                                               Contingent
         505 Elsmere Street                                           Unliquidated
         Columbus, OH 43206                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,291.88
         Charles Donnor                                               Contingent
         378 Hwy 7                                                    Unliquidated
         Tonasket Wa, WA 98855                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Charles Dwight                                               Contingent
         226 Western Avenue                                           Unliquidated
         Kennebunk, ME 04043                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Charles Groves                                               Contingent
         511 W Knox St                                                Unliquidated
         Durham, NC 27701                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Charles H Sabatine                                           Contingent
         133 Beach 116th St Apt 2L                                    Unliquidated
         Rockaway Park, NY 11694                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $792.62
         Charles Heenan                                               Contingent
         7 Summitt Drive                                              Unliquidated
         Dune Acres, IN 46304                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 147 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 167 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.102
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.40
         Charles Huffhines                                            Contingent
         3420 Odell Avenue                                            Unliquidated
         Stockton, CA 95206                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.44
         Charles Kannair                                              Contingent
         421 Blue Ridge Drive                                         Unliquidated
         Moon Twp, PA 15108                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,411.93
         Charles Kulbacki                                             Contingent
         117 Young Rd                                                 Unliquidated
         Sewickley, PA 15143                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.02
         Charles Kulbacki                                             Contingent
         231 Kansas Street                                            Unliquidated
         Verona, PA 15147                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Charles Lathrem                                              Contingent
         4032 W Moore Rd                                              Unliquidated
         Tucson, AZ 85742                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Charles Lathrem                                              Contingent
         4032 W Moore Rd                                              Unliquidated
         Tucson, AZ 85742                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,925.54
         Charles Moreau                                               Contingent
         545 Rue De Normandie                                         Unliquidated
         Longueuil QC J4H 3P6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 148 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 168 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.103
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.18
         Charles Needham                                              Contingent
         4 Wordsworth Road                                            Unliquidated
         Harpenden ENG AL5 4AF                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.103
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.66
         Charles Olsen                                                Contingent
         841 Green St                                                 Unliquidated
         Dickinson, ND 58601                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Charles Pinkney                                              Contingent
         4095 Bonita Road                                             Unliquidated
         Unit 214                                                     Disputed
         Bonita, CA 91902
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.103
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $282.56
         Charles Price                                                Contingent
         2527 33rd St                                                 Unliquidated
         Bsmt                                                         Disputed
         New York, NY 11102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.103
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Charles Redmond                                              Contingent
         4840 Berrywick Terrace                                       Unliquidated
         St. Louis, MO 63128                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Charles Rzadkowolski                                         Contingent
         4821 Birchman Avenue                                         Unliquidated
         Fort Worth, TX 76107-5331                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,394.40
         Charles Shank                                                Contingent
         1300 Bentley Way                                             Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 149 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 169 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.104
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,477.01
         Charles Spencer                                              Contingent
         12 Hollydale Drive                                           Unliquidated
         Bromley ENG BR28QL                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.104
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Charles St. Onge                                             Contingent
         407 Willingham Road                                          Unliquidated
         Morrisville, NC 27560                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Charles Steadman                                             Contingent
         72 Meadowbrook Rd                                            Unliquidated
         Marlborough, MA 01752                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Charles Tran                                                 Contingent
         2674 Kimball Dr                                              Unliquidated
         San Jose                                                     Disputed
         San Jose, CA 95121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.104
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Charley Bedford                                              Contingent
         4009 Cotton Wood Drive                                       Unliquidated
         Columbia, MO 65202                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Chase Labeau                                                 Contingent
         425 E 13th St                                                Unliquidated
         Apt D                                                        Disputed
         New York, NY 10009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.104
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Chase Lenzley                                                Contingent
         2228 McKinley Ave #2                                         Unliquidated
         Berkeley, CA 94703                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 150 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 170 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.104
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.31
         Chase Taylor                                                 Contingent
         909 I St                                                     Unliquidated
         Washougal, WA 98671-1134                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.22
         Andrew Chater                                                Contingent
         3410 Eaglepoint Dr.                                          Unliquidated
         Glendale, CA 91208                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.22
         Andrew Chater                                                Contingent
         3410 Eaglepoint Dr.                                          Unliquidated
         Glendale, CA 91208                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jose Chavez Salazar                                          Contingent
         3248 Brown Trout Court                                       Unliquidated
         Jacksonville, FL 32226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Chee Ooi                                                     Contingent
         99 Cedar Street                                              Unliquidated
         Braintree, MA 02184                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Aamir Cheema                                                 Contingent
         1 Bryan Dr.                                                  Unliquidated
         Barboursville, WV 25504                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.06
         Chenzhi Geng                                                 Contingent
         73 Wexford Cres Sw                                           Unliquidated
         Calgary AB T3H 0H1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 151 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 171 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.105
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Cheri Chappell                                               Contingent
         1702 S Gary Place                                            Unliquidated
         Tulsa, OK 74104                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.78
         Chester Prosser                                              Contingent
         3923 Southern Bluff                                          Unliquidated
         San Antonio, TX 78222                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Chi Chan                                                     Contingent
         1824 W 9th St                                                Unliquidated
         Brooklyn, NY 11223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Chibuike Bruno Asuzu                                         Contingent
         10971 Oak Lane                                               Unliquidated
         Apt 4108                                                     Disputed
         Van Buren Charter Twp, MI 48111
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.105
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Choongfatt Mun                                               Contingent
         8500 Lansdowne Road #222                                     Unliquidated
         Richmond BC V6X 3G4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.106
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Chris Bahlo                                                  Contingent
         6537 Kemper Lakes Ct                                         Unliquidated
         Alexandria, VA 22312                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Chris Bailey                                                 Contingent
         5424 Beckner St                                              Unliquidated
         Norfolk, VA 23509-2123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 152 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 172 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.106
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Chris Berger                                                 Contingent
         1510 Partridge Run                                           Unliquidated
         Bentonville, AR 72713                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,564.57
         Chris Bickerton                                              Contingent
         6177 Carmanah Way                                            Unliquidated
         Nanaimo BC V9V 0A5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.106
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.11
         Chris Bowers                                                 Contingent
         3165 Dickinson Avenue                                        Unliquidated
         Cincinnati, OH 45211                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Chris Bruzzi                                                 Contingent
         1401 West Highway 50                                         Unliquidated
         Unit 19                                                      Disputed
         Clermont, FL 34711
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.106
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Chris Buryk                                                  Contingent
         6415 Sparrows Glen Lane                                      Unliquidated
         Spring, TX 77379                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Chris Cullen
         14 Haweswater Drive                                          Contingent
         Middleton                                                    Unliquidated
         Manchester ENG M245GX                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 153 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 173 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.106
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Chris Espinal                                                Contingent
         614 Warren St                                                Unliquidated
         Harrison, NJ 07029-1818                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Chris Ford                                                   Contingent
         213 W Limestone St                                           Unliquidated
         Somerset, KY 42501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.16
         Chris Forest                                                 Contingent
         8 Stirling Street                                            Unliquidated
         Hull ENG HU36SL                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.107
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.81
         Chris Gribble                                                Contingent
         10 Margot Court                                              Unliquidated
         Harlaxton QLD 4350                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.107
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,291.18
         Chris Hall                                                   Contingent
         14947 Southeast Mill Street                                  Unliquidated
         Portland, OR 97233                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Chris Hall                                                   Contingent
         106 Lynn Street                                              Unliquidated
         Spanish Fort, AL 36527                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,768.29
         Chris Hillier                                                Contingent
         12 Boniface Ave                                              Unliquidated
         Etobicoke ON M9W 1T6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 154 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 174 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.107
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,979.72
         Chris Jones                                                  Contingent
         2950 West Central Avenue                                     Unliquidated
         Santa Ana, CA 92704                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,553.35
         Chris Keefe                                                  Contingent
         117 Rockwater Way                                            Unliquidated
         Zebulon, NC 27597                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.12
         Chris Kuci                                                   Contingent
         10 Egmount Avenue                                            Unliquidated
         London ENG KT67AU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.107
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,534.12
         Chris Lee                                                    Contingent
         4405 Sugarmaple Court                                        Unliquidated
         Moorpark, CA 93021                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.02
         Chris Mableson                                               Contingent
         16 Russell Street                                            Unliquidated
         York ENG YO23 1NW                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,460.26
         Chris Maguire                                                Contingent
         56 Woodlawn Avenue                                           Unliquidated
         Clifton, NJ 07013                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Chris Michael                                                Contingent
         4 St Mary'S Place                                            Unliquidated
         London ENG W5 5HA                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 155 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 175 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.108
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $916.13
         Chris Miranda                                                Contingent
         3845 Mountain View Way                                       Unliquidated
         Bonita, CA 91902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Chris Mulvey                                                 Contingent
         618 W 26th St.                                               Unliquidated
         Houston, TX 77008                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Chris Napoli                                                 Contingent
         6100 SW 55th Court                                           Unliquidated
         Davie, FL 33314                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.85
         Chris Noiles                                                 Contingent
         263 Whitepine Road                                           Unliquidated
         Riverview NB E1B 2X2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $885.62
         Chris Orfanopoulos                                           Contingent
         6052 Lake Lindero Drive                                      Unliquidated
         Agoura Hills, CA 91301                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.87
         Chris Raisch                                                 Contingent
         380 Oak Knoll Dr.                                            Unliquidated
         P.O. Box 138                                                 Disputed
         Marine On St Croix, MN 55047
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,358.87
         Chris Schierholz                                             Contingent
         9276 Queensland Ln N                                         Unliquidated
         Maple Grove, MN 55311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 156 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 176 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.108
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,305.39
         Chris Schiller                                               Contingent
         Carl-Meier-Str. 39                                           Unliquidated
         Neustrelitz 17235                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Chris Schulz                                                 Contingent
         196 Medland Street                                           Unliquidated
         Toronto ON M6P 2N7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $101.72
         Chris Schulz                                                 Contingent
         196 Medland Street                                           Unliquidated
         Toronto ON M6P 2N7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Chris Stewart                                                Contingent
         14718 S. 217th W. Avenue                                     Unliquidated
         Kellyville, OK 74039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.42
         Chris Uzelmeier                                              Contingent
         111 Blue Gilia Ct                                            Unliquidated
         Montgomery, TX 77316                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.60
         Chris Vara                                                   Contingent
         17735 North 168th Lane                                       Unliquidated
         Surprise, AZ 85374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 157 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 177 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.109
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Chris Watkins
         16 Manor Close Notton                                        Contingent
         West Yorkshire                                               Unliquidated
         Wakefield ENG WF4 2NH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.13
         Christa Haeussler                                            Contingent
         151 Frogtown Road                                            Unliquidated
         New Canaan, CT 06840                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Christian Belia                                              Contingent
         3 Stanley Grove                                              Unliquidated
         Blackburn VIC 3130                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,712.72
         Christian Blomquist                                          Contingent
         Norra Sandasgatan 43                                         Unliquidated
         Farjestaden 38632                                            Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $922.64
         Christian Faistenauer
         Freiung 16                                                   Contingent
         Impuls Innovationsgesellschaft Mbh                           Unliquidated
         Wels 4600                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Christian Gutierrez                                          Contingent
         4146 50th St                                                 Unliquidated
         1H                                                           Disputed
         Woodside, NY 11377
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 158 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 178 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.110
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Christian Gutierrez                                          Contingent
         4146 50th St                                                 Unliquidated
         1H                                                           Disputed
         Woodside, NY 11377
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.96
         Christian Hanshans                                           Contingent
         Kitzinger Strasse 1A                                         Unliquidated
         Sulzfeld Am Main 97320                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,823.63
         Christian Hartl                                              Contingent
         Dinselstrasse 32A                                            Unliquidated
         Lennestadt 57368                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.20
         Christian Huaux                                              Contingent
         3076 Rte 222                                                 Unliquidated
         St Denis De Brompton QC J0B2P0                               Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.110
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Christian Le                                                 Contingent
         824 Eagle Point Drive                                        Unliquidated
         Saint Augustine, FL 32092                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christian Le                                                 Contingent
         824 Eagle Point Drive                                        Unliquidated
         Saint Augustine, FL 32092                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,861.64
         Christian Leonard                                            Contingent
         12808 14th Street #79                                        Unliquidated
         Grandview, MO 64030                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 159 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 179 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.110
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christian Littlejohn                                         Contingent
         780 Poplar Acres Road                                        Unliquidated
         Piperton, TN 38017-5142                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,010.22
         Christian Lugaro                                             Contingent
         520 SW 113 Ave                                               Unliquidated
         Pembroke Pines, FL 33025                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.33
         Christian Malynowsky                                         Contingent
         248 Harvie Ave                                               Unliquidated
         Toronto ON M6E4K6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Christian Malynowsky                                         Contingent
         248 Harvie Ave                                               Unliquidated
         Toronto ON M6E4K6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Christian Montana                                            Contingent
         2832 Wiley St                                                Unliquidated
         Hollywood, FL 33020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.39
         Christian Rodriguez                                          Contingent
         1144 Evergreen Avenue                                        Unliquidated
         4A                                                           Disputed
         Bronx, NY 10472
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 160 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 180 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.111
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.40
         Christian Rubio
         Paseo De La Estrella 1177                                    Contingent
         Casa 84                                                      Unliquidated
         Zapopan JAL 45019                                            Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.63
         Christian Rumpler                                            Contingent
         Birkenweg 27                                                 Unliquidated
         Duttendorf 5122                                              Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.84
         Christian Schindler
         Christburger Str. 23                                         Contingent
         Wattmoves Ug                                                 Unliquidated
         Berlin 10405                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.111
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Christian Smith                                              Contingent
         260 Seminole Drive                                           Unliquidated
         Boulder, CO 80303                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.32
         Christian Taweesup                                           Contingent
         4026 Collis Avenue                                           Unliquidated
         Los Angeles, CA 90032                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,478.42
         Christian Ulmark                                             Contingent
         Birkeveien 17                                                Unliquidated
         Bergen 5093                                                  Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 161 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 181 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.112
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Christian Young                                              Contingent
         172 Johnston St                                              Unliquidated
         Annandale NSW 2038                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,141.88
         Christine Ouch                                               Contingent
         P.O Box 581352                                               Unliquidated
         Modesto, CA 95358                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Christine Wareing                                            Contingent
         414 High Street                                              Unliquidated
         Orillia ON L3V 4X5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.28
         Christoph Krekeler                                           Contingent
         3813 Battleview Ct                                           Unliquidated
         North Charleston, SC 29420                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,943.62
         Christoph Leeser                                             Contingent
         Toblerstrasse 15                                             Unliquidated
         Zurich 8044                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.87
         Christoph Ruckau                                             Contingent
         Bienertstr. 6                                                Unliquidated
         Dresden 1187                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.17
         Christoph Walpert                                            Contingent
         Armbruststrasse 21                                           Unliquidated
         Hamburg 20257                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 162 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 182 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.112
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $884.05
         Christoph Weber                                              Contingent
         Kornerstr.32                                                 Unliquidated
         Leipzig 4107                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.11
         Christophe Garibal                                           Contingent
         Lowenstrasse 45                                              Unliquidated
         Hamburg 20251                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.112
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.85
         Christopher Avis                                             Contingent
         8315-73 Ave Nw                                               Unliquidated
         Edmonton AB T6C0E1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.19
         Christopher Aznavour                                         Contingent
         711 East Acacia Avenue                                       Unliquidated
         Unit B                                                       Disputed
         Glendale, CA 91205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,659.52
         Christopher Bailey                                           Contingent
         5424 Beckner Street                                          Unliquidated
         Norfolk, VA 23509                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $30.00
         Christopher Bell                                             Contingent
         8 Mallard Close                                              Unliquidated
         Herne Bay ENG CT6 5RJ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 163 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 183 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.113
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Christopher Beshears                                         Contingent
         102 Ascot Ln                                                 Unliquidated
         Madison, AL 35756                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Christopher Blake                                            Contingent
         26 Lakecrest Trail                                           Unliquidated
         Brampton ON L6Z1S5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Christopher Blake                                            Contingent
         26 Lakecrest Trail                                           Unliquidated
         Brampton ON L6Z1S5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Christopher Blake                                            Contingent
         26 Lakecrest Trail                                           Unliquidated
         Brampton ON L6Z1S5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,403.71
         Christopher Braun                                            Contingent
         245 Claremont Rd                                             Unliquidated
         Ridgewood, NJ 07450                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Christopher Bush                                             Contingent
         1369 Airport Parkway                                         Unliquidated
         Belleville ON K8N4Z6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Christopher Cappa                                            Contingent
         3629 Kathy's Way                                             Unliquidated
         Chesapeake, VA 23323                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 164 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 184 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.114
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.25
         Christopher Cartmell                                         Contingent
         239 Stretford Road                                           Unliquidated
         Manchester ENG M41 9WE                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.114
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Christopher Casanova                                         Contingent
         636 N. Stanley Avenue                                        Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,395.31
         Christopher Castanza                                         Contingent
         2 Carlton Place                                              Unliquidated
         Hicksville, NY 11801                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Christopher Choun                                            Contingent
         14641 West 85th Terrace                                      Unliquidated
         Lenexa, KS 66215                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Christopher Cook                                             Contingent
         4949 Fm 2351 Rd Apt 823                                      Unliquidated
         Friendswood, TX 77546                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Christopher Cummins                                          Contingent
         3016 Black Briar Drive                                       Unliquidated
         Oxford, MS 38655                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Christopher Cunningham                                       Contingent
         4437 Hallmark Drive                                          Unliquidated
         Dallas, TX 75229                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 165 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 185 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.114
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Christopher De Guzman                                        Contingent
         3632 Hallee Crescent                                         Unliquidated
         Windsor ON N8W 0B2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.114
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christopher Diaz                                             Contingent
         2906 Tulip Avenue                                            Unliquidated
         Mission, TX 78574                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Christopher Dinelli                                          Contingent
         4906 Vizcaya Drive                                           Unliquidated
         Pensacola, FL 32507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Christopher Eddinger                                         Contingent
         103 Florence St                                              Unliquidated
         Saint Marys, GA 31558                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Christopher Flores                                           Contingent
         44217 36th Street East                                       Unliquidated
         Lancaster, CA 93535                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $127.33
         Christopher Gallant                                          Contingent
         1209 Center Ave                                              Unliquidated
         North Versailles, PA 15137                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.69
         Christopher Gilmore                                          Contingent
         6627 North Constance Avenue                                  Unliquidated
         Fresno, CA 93722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 166 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 186 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.115
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Christopher Gilson                                           Contingent
         1407 Bernard Street                                          Unliquidated
         Denton, TX 76201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Christopher Gonzalez                                         Contingent
         623 Nickel Street                                            Unliquidated
         Los Banos, CA 93635                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Christopher Haug                                             Contingent
         27299 Cresta Del Norte                                       Unliquidated
         Murrieta, CA 92563                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.14
         Christopher Heath                                            Contingent
         5226 SE 31st Ct                                              Unliquidated
         Des Moines, IA 50320                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,316.32
         Christopher Hendricks                                        Contingent
         10107 Castleberry Blvd                                       Unliquidated
         Pensacola, FL 32526                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christopher Hogg                                             Contingent
         45991 Rhodes Dr.                                             Unliquidated
         Macomb, MI 48044                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Christopher Holland                                          Contingent
         3415 Menchaca Road                                           Unliquidated
         Apt. #106                                                    Disputed
         Austin, TX 78704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 167 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 187 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.116
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.22
         Christopher Holthof                                          Contingent
         7056 Glade Trl                                               Unliquidated
         Kalamazoo, MI 49009                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.32
         Christopher Krailo                                           Contingent
         16120 SW Wren Lane                                           Unliquidated
         Beaverton, OR 97007-8995                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Christopher Kwelty                                           Contingent
         226 Spring St                                                Unliquidated
         Bordentown, NJ 08505-1702                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.32
         Christopher Loos                                             Contingent
         Domitianstrasse 14                                           Unliquidated
         Frankfurt Am Main 60439                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christopher Magpusao                                         Contingent
         2870 Pharr Court South Nw                                    Unliquidated
         Apt 204                                                      Disputed
         Atlanta, GA 30305
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Christopher McDaniels                                        Contingent
         3919 Catlyn Woods Ave                                        Unliquidated
         Las Vegas, NV 89141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christopher Miller                                           Contingent
         12351 55th Rd N                                              Unliquidated
         Royal Palm Beach, FL 33411                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 168 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 188 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.116
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Christopher Moise                                            Contingent
         419 Sussex Drive                                             Unliquidated
         Ottawa ON K1N 9M6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Christopher Navarrete                                        Contingent
         2605 Dinwiddie Way                                           Unliquidated
         Elk Grove, CA 95758                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Christopher Parrish                                          Contingent
         5072 Whalen Street                                           Unliquidated
         Elkton, MI 48731                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.40
         Christopher Payne                                            Contingent
         2409 Underwood St                                            Unliquidated
         Lafayette, IN 47904                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Christopher Reilly                                           Contingent
         115 38th St                                                  Unliquidated
         Lindenhurst, NY 11757                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.36
         Christopher Richard                                          Contingent
         2233 Baywood Way                                             Unliquidated
         Willits, CA 95490-9702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Christopher Rowlett                                          Contingent
         205 Everwoods Close Sw                                       Unliquidated
         Calgary AB T2Y 5A5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 169 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 189 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.117
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Christopher Ruiz                                             Contingent
         1285 Wallflower Way                                          Unliquidated
         Beaumont, CA 92223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,009.52
         Christopher Scantlin                                         Contingent
         13411 Redfish Ln                                             Unliquidated
         Stafford, TX 77477-4420                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.35
         Christopher Scantlin                                         Contingent
         13411 Redfish Ln                                             Unliquidated
         Stafford, TX 77477                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Christopher Scantlin                                         Contingent
         13411 Redfish Ln                                             Unliquidated
         Stafford, TX 77477-4420                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.39
         Christopher Sevi                                             Contingent
         1572 Southwest Spence Avenue                                 Unliquidated
         Troutdale, OR 97060                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.25
         Christopher Sparks                                           Contingent
         1404 Sapphire Dragon Street                                  Unliquidated
         Thousand Oaks, CA 91320                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,344.03
         Christopher Yannakis                                         Contingent
         28 Bencubbin Cres Dianella Wa 6059                           Unliquidated
         Dianella WA 6059                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 170 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 190 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.118
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $885.47
         Christos Iakovidis
         Im Kranzliacker 9                                            Contingent
         K41665                                                       Unliquidated
         Weil Am Rhein 79576                                          Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $824.43
         Christos Ragias
         60 River Gardens Walk                                        Contingent
         Flat 7 Wyndham Apartments                                    Unliquidated
         London ENG SE10 0TY                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $826.82
         Christy Guiley                                               Contingent
         20 La Campana Drive                                          Unliquidated
         Odessa, TX 79765                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Chun Ming Lau                                                Contingent
         1463 72nd St                                                 Unliquidated
         Apt 1D                                                       Disputed
         Brooklyn, NY 11228
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,239.13
         Bridget Chynoweth                                            Contingent
         3104B Mohawk Road                                            Unliquidated
         Austin, TX 78757                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Cian Belisle                                                 Contingent
         1409 Premier Way Sw                                          Unliquidated
         Calgary AB T2T 1M1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 171 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 191 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.118
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $609.94
         Cigdem Felser                                                Contingent
         Salierring 43                                                Unliquidated
         Koln 50677                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Cindy Abreu                                                  Contingent
         77 Charles Best Place                                        Unliquidated
         Kitchener ON N2M 5A4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Cindy Formella                                               Contingent
         S83W32785 N Oak Tree Crt                                     Unliquidated
         Mukwonago, WI 53149                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Ciprian Muntean                                              Contingent
         Alexandru Ciurcu 129 C                                       Unliquidated
         Brasov BV 500170                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Citlali Trujillo Ortiz
         475 Rue Laplante                                             Contingent
         Apt. 1                                                       Unliquidated
         Montreal QC H8R 3B7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Citlali Trujillo Ortiz
         475 Rue Laplante                                             Contingent
         Apt. 1                                                       Unliquidated
         Montreal QC H8R 3B7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 172 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 192 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.119
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Cj Baker                                                     Contingent
         3323 Northwood Dr.                                           Unliquidated
         Highland Village, TX 75077                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Cj Girgus                                                    Contingent
         13008 Elm Tree Drive                                         Unliquidated
         Apt 402                                                      Disputed
         Herndon, VA 20171
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Cj Sasa                                                      Contingent
         116 Partridge Circle                                         Unliquidated
         Winter Springs, FL 32708                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.28
         Clarence Bolton                                              Contingent
         2707 Southview Dr                                            Unliquidated
         Birmingham, AL 35216                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.17
         Clarence Saltibus                                            Contingent
         5 Fremantle Road                                             Unliquidated
         London ENG IG6 2BD                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.59
         Rudy Clarion Jr                                              Contingent
         9896 Avenida Colino                                          Unliquidated
         Spring Valley, CA 91977                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Clarissa Mathieu                                             Contingent
         2129 Fm 2920 Suite 190 #254                                  Unliquidated
         Spring, TX 77388                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 173 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 193 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.120
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.14
         Clark Thompson                                               Contingent
         4900 Arbol Court                                             Unliquidated
         Benbrook, TX 76126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.08
         Annalyn Clark                                                Contingent
         8123 Amy Springs St                                          Unliquidated
         Las Vegas, NV 89113                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.28
         Inauen Claude
         c/o Josef                                                    Contingent
         Alte Landstrasse 2                                           Unliquidated
         Berneck 9442                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.120
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Claudia Ortiz                                                Contingent
         311 Southwest 55th Avenue Road                               Unliquidated
         Coral Gables, FL 33134                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $559.60
         Claudio Machado                                              Contingent
         Rua General Humberto Delgado 229 2.8                         Unliquidated
         Pedroucos - Maia PT-13 4425-653                              Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.120
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Claudiu Gabriel Marin
         Strada Sapte Drumuri 10                                      Contingent
         Ap.13 Etaj 2                                                 Unliquidated
         Bucharest B 31647                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 174 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 194 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.120
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,158.49
         Clayton Wilkes                                               Contingent
         153 Birmingham Road                                          Unliquidated
         Lichfield ENG WS14 9BJ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.120
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.62
         Clayton Wilkes                                               Contingent
         153 Birmingham Road                                          Unliquidated
         Lichfield ENG WS14 9BJ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.120
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,323.18
         Clemens Saur                                                 Contingent
         Schlotthauer Str. 5                                          Unliquidated
         Munich 81541                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,735.56
         Clemens Saur                                                 Contingent
         Schlotthauer Str. 5                                          Unliquidated
         Munich 81541                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,735.98
         Clemens Saur                                                 Contingent
         Schlotthauer Str. 5                                          Unliquidated
         Munich 81541                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.52
         Clementine Cera                                              Contingent
         86 Vanbrugh Hill                                             Unliquidated
         London ENG SE10 9FT                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.89
         Cleve Tuck                                                   Contingent
         3414 County Road 14.75                                       Unliquidated
         Erie, CO 80516                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 175 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 195 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.121
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Cliff Kennedy                                                Contingent
         106 Lagoon View Crossing                                     Unliquidated
         Savannah, GA 31410                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.52
         Cliff Kennedy                                                Contingent
         106 Lagoon View Crossing                                     Unliquidated
         Savannah, GA 31410                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Clifton Ivery                                                Contingent
         2212 Jasmine Path                                            Unliquidated
         Round Rock, TX 78664                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Clifton Ivery                                                Contingent
         2212 Jasmine Path                                            Unliquidated
         Round Rock, TX 78664                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,300.88
         Clint Stjean                                                 Contingent
         254 Lilac Terrace                                            Unliquidated
         Sherwood Park AB T8H1Z2                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.00
         Clinton Pearson                                              Contingent
         479 E Market St                                              Unliquidated
         Germantown, OH 45327                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.34
         Clinton Work                                                 Contingent
         215 Woodside Cres Nw                                         Unliquidated
         Airdrie AB T4B 2G8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 176 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 196 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.122
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Co Loi                                                       Contingent
         27 White Street                                              Unliquidated
         Osborne Park WA 6017                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Co Loi                                                       Contingent
         27 White Street                                              Unliquidated
         Osborne Park WA 6017                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.50
         R Tyler Coates                                               Contingent
         1810 W. Fortune Rd.                                          Unliquidated
         Ste H                                                        Disputed
         Salt Lake City, UT 84104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Coby Norrid                                                  Contingent
         3608 Winchester Ct                                           Unliquidated
         Corinth, TX 76210                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Coby Norrid                                                  Contingent
         3608 Winchester Ct                                           Unliquidated
         Corinth, TX 76210                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $813.92
         Coddens Electric                                             Contingent
         Fernand Tavernestraat 66                                     Unliquidated
         Ninove 9400                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Cody Edmonds                                                 Contingent
         66 Gailmont Drive                                            Unliquidated
         Hamilton ON L8K 4B5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 177 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 197 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.122
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Cody Green                                                   Contingent
         17 Goldcrest Rd                                              Unliquidated
         Brampton ON L6S1G4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Cody Johnson                                                 Contingent
         307 Pakachoag Street                                         Unliquidated
         Auburn, MA 01501                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Cody Murdock                                                 Contingent
         865 Gina Lane                                                Unliquidated
         San Marcos, CA 92069                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Cody Rosenbum                                                Contingent
         4200 Lippincott Blvd                                         Unliquidated
         Burton, MI 48519-1162                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Cody Sweetman                                                Contingent
         15 Tea Tree Avenue                                           Unliquidated
         Aberglasslyn NSW 2320                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.123
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Cody Williams                                                Contingent
         4971 East Golden Meadow                                      Unliquidated
         Eagle Mountain, UT 84005                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Cody Youngblood                                              Contingent
         1535 7th Avenue South #327                                   Unliquidated
         Sartell, MN 56377                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 178 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 198 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.123
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Colby Orr                                                    Contingent
         701 Woodview Ridge Trail                                     Unliquidated
         Lewisville, NC 27023                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,509.52
         Cole Cunningham                                              Contingent
         1531 Jacobs Drive                                            Unliquidated
         Fort Wayne, IN 46814                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.88
         Cole Ghilarducci                                             Contingent
         530 Lawrence Expressway                                      Unliquidated
         #928                                                         Disputed
         Sunnyvale, CA 94085
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.123
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,383.12
         Cole Spencer                                                 Contingent
         4549 S Arcadia Ln                                            Unliquidated
         Salt Lake City, UT 84117                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Coleman Meola                                                Contingent
         1703 Prairie Hen Cove                                        Unliquidated
         Austin, TX 78758                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,186.36
         Colette Rappo Burki                                          Contingent
         Chemin De Bellerive 6                                        Unliquidated
         Lausanne 1007                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $781.18
         Coley Fudge                                                  Contingent
         2521 Aviation Dr                                             Unliquidated
         E Wenatchee, WA 98802                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 179 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 199 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.124
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Colin Goodsell                                               Contingent
         260 Sterling Street Apt 2                                    Unliquidated
         Clinton, MA 01510-1864                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,379.33
         Colin McGirr                                                 Contingent
         2410-205 Sherway Gardens Road                                Unliquidated
         Etobicoke ON M9C 0A5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,681.97
         Colin Skoglund                                               Contingent
         Lovdalen 326                                                 Unliquidated
         Arebro 70595                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Colin Thom                                                   Contingent
         73 Camp Ave.                                                 Unliquidated
         Darien, CT 06820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Colin Wager                                                  Contingent
         93 Kingswood Court, Kempton Walk                             Unliquidated
         London ENG CR07XH                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.44
         Colin Wager                                                  Contingent
         93 Kingswood Court, Kempton Walk                             Unliquidated
         London ENG CR0 7XH                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $823.18
         Colin Warren                                                 Contingent
         9375 Southern Belle Dr                                       Unliquidated
         Weeki Wachee, FL 34613                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 180 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 200 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.124
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Colten Rouska                                                Contingent
         3548 West Barley Bend                                        Unliquidated
         Lehi, UT 84043                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Colton Pace                                                  Contingent
         400 Crystal Springs Road                                     Unliquidated
         Graniteville, SC 29829                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.62
         Conan Sloan                                                  Contingent
         4209 Illinois St                                             Unliquidated
         San Diego, CA 92104                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $826.55
         Confluentes Consulting UG                                    Contingent
         Schenkendorfstrasse                                          Unliquidated
         Koblenz 56068                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.125
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Conner Brentzel                                              Contingent
         4756 Kamehameha Loop                                         Unliquidated
         Honolulu, HI 96818                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,153.27
         Connor Bragdon                                               Contingent
         15 Greylock Road                                             Unliquidated
         Wellesley, MA 02481                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,609.52
         Connor Laymon                                                Contingent
         3020 Thunder Road                                            Unliquidated
         Middleburg, FL 32068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 181 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 201 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.125
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Connor Laymon                                                Contingent
         3020 Thunder Road                                            Unliquidated
         Middleburg, FL 32068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Connor Loudon                                                Contingent
         5477 College Ave                                             Unliquidated
         #1                                                           Disputed
         Oakland, CA 94618
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.125
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Connor Mills                                                 Contingent
         W171S7390 Lannon Drive, #203                                 Unliquidated
         Muskego, WI 53150                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Connor Taiariol                                              Contingent
         1815 Larkin Rd                                               Unliquidated
         Windsor ON N8W 4G7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Connor Vidasolo                                              Contingent
         4 Huron Road                                                 Unliquidated
         Bellerose Village, NY 11001                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.25
         Conrad Evangelista                                           Contingent
         104 E. Bennett St                                            Unliquidated
         Nipomo, CA 93444                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,304.33
         Conrad Macleod                                               Contingent
         10851 Shellbridge Way #300                                   Unliquidated
         Richmond BC V6X2W8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 182 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 202 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.126
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,305.00
         Constantin Gozman                                            Contingent
         Nr. 257                                                      Unliquidated
         Vultureni CJ 407595                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,031.57
         Consultronics Single Member Private Comp                     Contingent
         Dorieon 28, Ano Petralona                                    Unliquidated
         Athens 11852                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Cooper Beown                                                 Contingent
         1616 East Main Street                                        Unliquidated
         Mesa, AZ 85203                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Adam Copenhaver                                              Contingent
         3330 Pacific Avenue                                          Unliquidated
         Suite 500                                                    Disputed
         Virginia Beach, VA 23451
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.04
         Cordeiro Luis                                                Contingent
         Avenue De Severy 16                                          Unliquidated
         Lausanne 1004                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,529.89
         Coreit Lda                                                   Contingent
         Rua Tomas Del Negro, 14, 2B                                  Unliquidated
         Lisboa PT-11 1750-105                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Corey Brown                                                  Contingent
         198 Bridlewood Drive                                         Unliquidated
         Jacksonville, NC 28540                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 183 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 203 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.127
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Corey Grazette                                               Contingent
         177-01 145th Dr                                              Unliquidated
         Jamaica                                                      Disputed
         Queens, NY 11434
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.127
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.84
         Corey Schell                                                 Contingent
         Bld 2020 Pendleton Avenue                                    Unliquidated
         Jblm, WA 98433                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,918.12
         Cory Aymar                                                   Contingent
         3040 N Victoria Dr                                           Unliquidated
         Alpine, CA 91901                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Cory Boxberger                                               Contingent
         737 N Maize Rd #600                                          Unliquidated
         Wichita, KS 67212                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $101.72
         Cory Fabbro                                                  Contingent
         7-7374 194A St.                                              Unliquidated
         Surrey BC V4N6P8                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.127
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.63
         Cory Fung                                                    Contingent
         1699 E Washington Street                                     Unliquidated
         Apt #1023                                                    Disputed
         Colton, CA 92324
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.127
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $722.16
         Cory Mayo                                                    Contingent
         201 Byfield Rd                                               Unliquidated
         Westminster, MD 21157                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 184 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 204 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.127
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.59
         Cory Neuleib                                                 Contingent
         291 Sunset Dr                                                Unliquidated
         Cortland, OH 44410                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.60
         Cory Zaparyniuk                                              Contingent
         100 Ridge View Close                                         Unliquidated
         Cochrane AB T4C 0P8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.127
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $426.00
         Cosmin Haias                                                 Contingent
         Bartok Bela 37                                               Unliquidated
         Dumbravita TM 307160                                         Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.128
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Andrew Cotterell                                             Contingent
         2188 Telogia Court                                           Unliquidated
         West Palm Beach, FL 33411                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Courtland Low
         199 Hillcrest Ave.                                           Contingent
         Unit 14                                                      Unliquidated
         Mississauga ON L5B4L5                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.128
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.43
         Coyle Boyd                                                   Contingent
         1645 11th Street                                             Unliquidated
         Baywood-Los Osos, CA 93402                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 185 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 205 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.128
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Craig Barthol                                                Contingent
         6600 College Blvd                                            Unliquidated
         Suite 138                                                    Disputed
         Overland Park, KS 66211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.128
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Craig Boozer                                                 Contingent
         1036 Orchard Cir                                             Unliquidated
         Monroe, GA 30656                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.73
         Craig Grant                                                  Contingent
         7920 San Felipe Blvd #1014                                   Unliquidated
         Austin, TX 78729                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Craig Jones                                                  Contingent
         4845 Saddlehorn Trail                                        Unliquidated
         Middleburg, FL 32068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Craig Karduck                                                Contingent
         1806 Margaret Ln                                             Unliquidated
         Kingsville, TX 78363                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,324.22
         Craig Marquis                                                Contingent
         848 Main Street Ste 28                                       Unliquidated
         Billings, MT 59105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.22
         Craig Marquis                                                Contingent
         848 Main St Ste 28                                           Unliquidated
         Billings, MT 59105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 186 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 206 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.129
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $644.07
         Craig Marquis                                                Contingent
         848 Main St Ste 28                                           Unliquidated
         Billings, MT 59105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.53
         Creighton Edington                                           Contingent
         10 Jolly Court                                               Unliquidated
         Peralta, NM 87042                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Cretu Adrian
         Str. Ficusului Nr. 27                                        Contingent
         Ap.1                                                         Unliquidated
         Giroc TM 307220                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Cristal Shea                                                 Contingent
         5166 Halifax Street, #109                                    Unliquidated
         Burnaby BC V5B 2N6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.30
         Cristian Cantamessa                                          Contingent
         Via Verdi 7                                                  Unliquidated
         Castelnuovo Del Garda VR 37014                               Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Cristian Perez                                               Contingent
         2851 West 120th Street Suite E565                            Unliquidated
         Hawthorne, CA 90250                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 187 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 207 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.129
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,612.40
         Cristian Sarca                                               Contingent
         Am Bahnhof 9                                                 Unliquidated
         Gangkofen 84140                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,388.09
         Cristina Gonzalez                                            Contingent
         232 East Market Street, #411                                 Unliquidated
         York, PA 17403                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,088.87
         Cristopher Bergeson                                          Contingent
         13570 Wayzata Blvd                                           Unliquidated
         Minnetonka, MN 55305                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.98
         Etalides Cruz                                                Contingent
         59 O'Connell Street                                          Unliquidated
         Albany, NY 12209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Allen Cryer                                                  Contingent
         1829 Stewart Drive                                           Unliquidated
         Carrollton, TX 75010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Crystal Gilbert                                              Contingent
         2073 Dominion Dr                                             Unliquidated
         Christiansburg, VA 24073                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Crystal Rosenbrook                                           Contingent
         670 Pelham Blvd                                              Unliquidated
         Apt 208                                                      Disputed
         Saint Paul, MN 55114
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 188 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 208 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.130
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.67
         Csenge Polgar
         59 Hesperus Broadway                                         Contingent
         Flat 12                                                      Unliquidated
         Edinburgh SCT EH5 1FW                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Cung Pham                                                    Contingent
         303 Tealby Cres                                              Unliquidated
         Waterloo ON N2J 4Y5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Cuong Nguyen                                                 Contingent
         640 Royalwood Ct                                             Unliquidated
         Grand Prairie, TX 75052                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Cuong Tham                                                   Contingent
         2428 North Ditman Avenue                                     Unliquidated
         Los Angeles, CA 90032                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,435.86
         Curro Munoz Roldan                                           Contingent
         El Pasaje Amaranto 45                                        Unliquidated
         Montequinto SE 41089                                         Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.51
         Curt Hesse                                                   Contingent
         5607 Briarbend Dr                                            Unliquidated
         Houston, TX 77096-4912                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 189 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 209 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.130
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Curtis Binkley                                               Contingent
         13031 Ray Trog Court                                         Unliquidated
         Saint Louis, MO 63146                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Curtis James                                                 Contingent
         300 Gentle Creek Dr                                          Unliquidated
         Mckinney, TX 75072                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Curtis Mulatz                                                Contingent
         249 Morningside Gardens Southwest                            Unliquidated
         Airdrie AB T4B 0K3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.94
         Cutberto Apodaca                                             Contingent
         1186 Myrna Way                                               Unliquidated
         Rodeo, CA 94572                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.01
         Cveta Hristova
         Ul. "William Gladstone" 1                                    Contingent
         Floor 3, Appt. 12                                            Unliquidated
         Varna 9000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.23
         Cypress Demanincor                                           Contingent
         4500 Tierra Verde Street                                     Unliquidated
         Bakersfield, CA 93301                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $946.00
         Cyrus Khaleghi                                               Contingent
         17928 16th Avenue Ct E                                       Unliquidated
         Spanaway, WA 98387                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 190 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 210 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.131
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         D'Marcus Elder                                               Contingent
         15828 Goddard Road                                           Unliquidated
         Apt 304                                                      Disputed
         Southgate, MI 48195
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,703.84
         D.G. Verhagen
         Javaplein 35                                                 Contingent
         II                                                           Unliquidated
         Amsterdam 1095 CJ                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,086.74
         DAGEPi Consult GmbH und Co.KG                                Contingent
         Theaterstrasse 5                                             Unliquidated
         Halberstadt 38820                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,746.04
         Dagmar Feldhaus                                              Contingent
         Jasminweg 33                                                 Unliquidated
         Marl 45770                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Dahron Shand                                                 Contingent
         63 Handy St                                                  Unliquidated
         New Brunswick, NJ 08901                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.132
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Dairon Hernandez                                             Contingent
         190 SW 104 Ct                                                Unliquidated
         Miami, FL 33174                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 191 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 211 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.132
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,570.22
         Dajana Djuric                                                Contingent
         Pavla Papa 33                                                Unliquidated
         Novi Sad 21000                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Dakota Francis                                               Contingent
         11227 137 Avenue Northwest                                   Unliquidated
         Edmonton AB T5E 1Z3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Dale Lee                                                     Contingent
         17 Bryant Street                                             Unliquidated
         Cranbrook QLD 4814                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Dale Mcconnery                                               Contingent
         839 Amelia Street                                            Unliquidated
         North Bay ON P1A 1W4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Dale Radcliff                                                Contingent
         1420 NW Gilman Blvd, #2757                                   Unliquidated
         Issaquah, WA 98027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.132
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.12
         Dale Snyder                                                  Contingent
         6126 N Rainbow Blvd                                          Unliquidated
         Las Vegas, NV 89130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.132
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Dalton Ness                                                  Contingent
         3135 Dupont Avenue South                                     Unliquidated
         Apt 1                                                        Disputed
         Minneapolis, MN 55408
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 192 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 212 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.132
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.60
         Dam Ha                                                       Contingent
         410 NE Dekum St, #205                                        Unliquidated
         Portland, OR 97211                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Damani Majors                                                Contingent
         7446 Tyndale Court                                           Unliquidated
         Norfolk, VA 23505                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Damani Majors                                                Contingent
         7446 Tyndale Court                                           Unliquidated
         Norfolk, VA 23505                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,839.36
         Damassino Massimo                                            Contingent
         Via Monte Ortigara 46                                        Unliquidated
         Torino TO 10141                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.133
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Damian Leonel Sandoval                                       Contingent
         Tigre 443                                                    Unliquidated
         Hurlingham B 1688                                            Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.133
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Damien Aguado                                                Contingent
         13038 Nursery Dr                                             Unliquidated
         Victoria, TX 77904                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,748.83
         Damien Barre                                                 Contingent
         56B Rue Des Maraichers                                       Unliquidated
         Paris 75020                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 193 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 213 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.133
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.51
         Damien Van Raemdonck
         37 Newport Road                                              Contingent
         Stafford                                                     Unliquidated
         Stafford ENG ST16 1BH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.133
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.25
         Damon Barriteau                                              Contingent
         530 N. Fulton Ave                                            Unliquidated
         Lindenhurst, NY 11757                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Damon Belveal                                                Contingent
         12815 Woodmere St                                            Unliquidated
         Austin, TX 78729                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.17
         Damon Zsiga                                                  Contingent
         4056 Bruce County Road 3                                     Unliquidated
         Paisley ON N0G 2N0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Damon Zsiga                                                  Contingent
         4056 Bruce County Road 3                                     Unliquidated
         Paisley ON N0G 2N0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,059.67
         Dan Bennett                                                  Contingent
         4 Balchier Road                                              Unliquidated
         London ENG SE220QN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 194 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 214 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.134
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.74
         Dan Berry                                                    Contingent
         2795 Speer Blvd                                              Unliquidated
         A-353                                                        Disputed
         Denver, CO 80211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.22
         Dan Black                                                    Contingent
         3620 G Street                                                Unliquidated
         Antioch, CA 94509                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Dan Chirileanu                                               Contingent
         Baia Mare, Str. Stefan Luchian, Nr.11A,                      Unliquidated
         Baia Mare MM 430133                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,460.26
         Dan Difabio                                                  Contingent
         47 Woodcliff Ave                                             Unliquidated
         Westwood, NJ 07675-3423                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.33
         Dan Feisst                                                   Contingent
         2/22 Penning, Castor Bay                                     Unliquidated
         Auckland AUK 620                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.134
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dan Hacker                                                   Contingent
         95 Horatio St. Apt 2P                                        Unliquidated
         New York, NY 10014                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Dan Huynh                                                    Contingent
         7614 Woodhaven Street                                        Unliquidated
         San Antonio, TX 78209                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 195 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 215 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.134
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Dan Iulian Moraru
         Str Alexandru Cel Bun                                        Contingent
         Bl187,Sc C,Ap4                                               Unliquidated
         Vaslui VS 730065                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.135
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,099.00
         Dan Iulian Moraru
         Strada Alexandru Cel Bun                                     Contingent
         Bloc 187,Sc C ,Ap. 4 Parter                                  Unliquidated
         Vaslui VS                                                    Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.135
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $318.88
         Dan Kim                                                      Contingent
         5791 Yonge Street #810                                       Unliquidated
         Toronto ON M2M 0A8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.135
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dan Marra                                                    Contingent
         220 Bordentown Ave                                           Unliquidated
         South Amboy, NJ 08879                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,204.46
         Dan McAllister                                               Contingent
         2912 NE 278th Ave                                            Unliquidated
         Camas, WA 98607                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Dan Padilla                                                  Contingent
         7 Gates Lane                                                 Unliquidated
         Apt 2                                                        Disputed
         Worcester, MA 01603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 196 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 216 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.135
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Dan Pirchner                                                 Contingent
         133 Juniper Lane                                             Unliquidated
         Swedesboro, NJ 08085                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,113.87
         Dan Price                                                    Contingent
         23770 East Tansy Drive                                       Unliquidated
         Aurora, CO 80016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Dan Randles                                                  Contingent
         3963 West Belmont Avenue                                     Unliquidated
         Chicago, IL 60618                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.97
         Dan Scott                                                    Contingent
         38 Yarmouth Drive                                            Unliquidated
         Cramlington ENG NE23 1TS                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.135
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.00
         Dan Seciu
         Bd. Ferdinand Nr.131, Sect.2                                 Contingent
         Bl E2 Sc.6 Ap.5                                              Unliquidated
         Bucharest B 21388                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.28
         Dan Sterwald                                                 Contingent
         4622 S Abilene Cir                                           Unliquidated
         Aurora, CO 80015                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Dan Waln                                                     Contingent
         6803 NE Aldercreek Pl                                        Unliquidated
         Hillsboro, OR 97124                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 197 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 217 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.136
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Dan Williams                                                 Contingent
         4163 N. Wolf Ridge Circle                                    Unliquidated
         Eden, UT 84310                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,138.50
         Dana Harvey                                                  Contingent
         724 N Poinsettia St                                          Unliquidated
         Santa Ana, CA 92701-3941                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Dana Yuen                                                    Contingent
         665 Esquimalt Ave                                            Unliquidated
         West Vancouver BC V7T1J6                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $42.00
         Danail Ivanov
         Ul. D-R L.Zamenhof- 1                                        Contingent
         Et.2, Office 2                                               Unliquidated
         Varna 9000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $45.00
         Danail Ivanov
         Ul. D-R L.Zamenhof- 1                                        Contingent
         Et.2, Office 2                                               Unliquidated
         Varna 9000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $42.00
         Danail Ivanov
         Ul. D-R L.Zamenhof- 1                                        Contingent
         Et.2, Office 2                                               Unliquidated
         Varna 9000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 198 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 218 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.136
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $42.00
         Danail Ivanov
         Ul. D-R L.Zamenhof- 1                                        Contingent
         Et.2, Office 2                                               Unliquidated
         Varna 9000                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.77
         Dane Correira                                                Contingent
         2 Clark Street                                               Unliquidated
         Somerset, MA 02726                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,671.30
         Dane Doerfert                                                Contingent
         Berta-Von-Suttner-Stieg 1                                    Unliquidated
         Norderstedt 22846                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.93
         Dane Vaughan                                                 Contingent
         612 North I Street                                           Unliquidated
         Tacoma, WA 98403-2010                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.37
         Dane Vaughan                                                 Contingent
         612 North I Street                                           Unliquidated
         Tacoma, WA 98403                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.50
         Dani Paschkes Gonzalez
         Passeig Pau Gesa                                             Contingent
         53, Baixos                                                   Unliquidated
         Cardedeu B 8440                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 199 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 219 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.137
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $882.43
         Dani Paschkes Gonzalez
         Passeig Pau Gesa                                             Contingent
         53, Baixos                                                   Unliquidated
         Cardedeu B 8440                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.00
         Danicico Florin Marian                                       Contingent
         Str.Cimitirului Nr 8 .Com, Jud Satu Mare                     Unliquidated
         Paulesti SM 447230                                           Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Daniel Allen                                                 Contingent
         4643 Gardens Park Blvd.                                      Unliquidated
         Unit 4307                                                    Disputed
         Orlando, FL 32839
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $900.26
         Daniel Alves                                                 Contingent
         Feldbergstr. 21A                                             Unliquidated
         Munich 81825                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Daniel Amer
         Av. Francisco Lazo Marti Resd. Mayoral P                     Contingent
         Piso 6, Apto. 61                                             Unliquidated
         Caracas 1041                                                 Disputed
         VENEZUELA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.137
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,645.25
         Daniel Backhaus                                              Contingent
         Sonninstrasse 18                                             Unliquidated
         Hamburg 20097                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 200 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 220 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.138
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $487.86
         Daniel Barry                                                 Contingent
         14 Glendale Avenue East                                      Unliquidated
         Belfast NIR BT8 6LF                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.82
         Daniel Bergschneider                                         Contingent
         1743 Paddington Ave                                          Unliquidated
         Naperville, IL 60563-2027                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,909.56
         Daniel Bettech
         Calle De La Amargura 60 Int. Sotano 1                        Contingent
         Lomas De La Herradura                                        Unliquidated
         Huixquilucan MEX 52785                                       Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $868.05
         Daniel Brinkhus                                              Contingent
         Carumer Damm 9                                               Unliquidated
         Bakum 49456                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Daniel Ceko                                                  Contingent
         10 Mimosa Avenue                                             Unliquidated
         Emerald VIC 3782                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Daniel Chan                                                  Contingent
         83 Terryhill Cres                                            Unliquidated
         Toronto ON M1S3Z3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 201 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 221 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.138
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Daniel Cruver                                                Contingent
         461 Brookwood Drive                                          Unliquidated
         Hamburg, NY 14075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.31
         Daniel Dalili                                                Contingent
         7 Ormonde Terrace                                            Unliquidated
         London ENG NW8 7LP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,202.05
         Daniel De Nijs                                               Contingent
         Het Lint 1                                                   Unliquidated
         Tholen 4691 DK                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.138
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.76
         Daniel Deleon                                                Contingent
         4783 Joppa Circle                                            Unliquidated
         Dallas, TX 75216                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Daniel Delmonte                                              Contingent
         465 N Vista St                                               Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.83
         Daniel Denson                                                Contingent
         3940 Becraft Ln                                              Unliquidated
         Billings, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,081.64
         Daniel Duncan                                                Contingent
         5560 Kirkwood Highway                                        Unliquidated
         Wilmington, DE 19808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 202 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 222 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.139
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Daniel Echeverria                                            Contingent
         21220 Multnomah Road                                         Unliquidated
         Apple Valley, CA 92308                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Daniel Elkinton                                              Contingent
         5301 Gladstone Dr                                            Unliquidated
         Austin, TX 78723-5419                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Daniel Espaillat                                             Contingent
         16 Matthew Patten Drive                                      Unliquidated
         Bedford, NH 03110                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.57
         Daniel Forth                                                 Contingent
         Bauernreihe 10 B                                             Unliquidated
         Allstedt 6542                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.139
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.46
         Daniel Geng                                                  Contingent
         Am Reutele 18                                                Unliquidated
         Bad Schussenried 88427                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.139
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,217.40
         Daniel Gruner                                                Contingent
         Hemmerdenerweg 62                                            Unliquidated
         Grevenbroich 41516                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.139
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $946.12
         Daniel Gruner                                                Contingent
         Hemmerdenerweg 62                                            Unliquidated
         Grevenbroich 41516                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 203 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 223 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.140
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Daniel Hardee                                                Contingent
         2 Starfish Drive                                             Unliquidated
         Vero Beach, FL 32960                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.52
         Daniel Heintze                                               Contingent
         37257 Remington Park Avenue                                  Unliquidated
         Geismar, LA 70734                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.87
         Daniel Helsten                                               Contingent
         5300 K St                                                    Unliquidated
         Sacramento, CA 95819                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Daniel Hernandez                                             Contingent
         4251 Tulane Avenue                                           Unliquidated
         Long Beach, CA 90808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.14
         Daniel Hickox                                                Contingent
         8001 Two Coves Dr                                            Unliquidated
         Austin, TX 78730                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Daniel Hipsher                                               Contingent
         1000 Riverwalk Blvd                                          Unliquidated
         Shreveport, LA 71110                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.65
         Daniel Hogoboom                                              Contingent
         3220 SW Pine Island Rd                                       Unliquidated
         Ste C                                                        Disputed
         Cape Coral, FL 33991
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 204 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 224 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.140
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,465.77
         Daniel Hosler                                                Contingent
         2141 N Dayton St                                             Unliquidated
         Chicago, IL 60614                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Daniel Kim                                                   Contingent
         351 King Street                                              Unliquidated
         Unit 427                                                     Disputed
         San Francisco, CA 94158
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.140
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $137.55
         Daniel Kutryk                                                Contingent
         16292 10 Street Southwest                                    Unliquidated
         Calgary AB T2Y 2W2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.14
         Daniel Lee                                                   Contingent
         10 Arbour Crest Close Nw                                     Unliquidated
         Calgary AB T3G 4A3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Daniel Leo                                                   Contingent
         4624 Russell Avenue                                          Unliquidated
         Los Angeles, CA 90027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $840.65
         Daniel Lichtenberg                                           Contingent
         3763 Ruby Street                                             Unliquidated
         Oakland, CA 94609                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Daniel Lynch                                                 Contingent
         1207 Via Arroyo                                              Unliquidated
         Ventura, CA 93003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 205 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 225 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.141
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Daniel Macdonald                                             Contingent
         2505 N Kenilworth St                                         Unliquidated
         Arlington, VA 22207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,234.52
         Daniel Macdonald                                             Contingent
         2505 N Kenilworth St                                         Unliquidated
         Arlington, VA 22207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Daniel Mar                                                   Contingent
         587 Evanston Drive                                           Unliquidated
         Calgary AB T3P 0H7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,769.90
         Daniel Mladjen                                               Contingent
         436 Flinders Parade                                          Unliquidated
         Brighton QLD 4017                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,675.35
         Daniel Mladjen                                               Contingent
         436 Flinders Parade                                          Unliquidated
         Brighton QLD 4017                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Daniel Molina                                                Contingent
         4307 Roseneath Dr                                            Unliquidated
         Houston, TX 77021                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 206 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 226 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.142
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Daniel Nasser
         22 Bray Street, Reservoir Vic 3073                           Contingent
         22 Bray St                                                   Unliquidated
         Reservoir VIC 3073                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.44
         Daniel Navarrete                                             Contingent
         11813 Wright Rd                                              Unliquidated
         Apt. C                                                       Disputed
         Lynwood, CA 90262
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $118.37
         Daniel Navarrete                                             Contingent
         11813 Wright Rd                                              Unliquidated
         Apt. C                                                       Disputed
         Lynwood, CA 90262
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $643.43
         Daniel Nawrocki                                              Contingent
         2412-70 Temperance Street                                    Unliquidated
         Toronto ON M5H 0B1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.24
         Daniel Olewski                                               Contingent
         22595 NE 96th St                                             Unliquidated
         Redmond, WA 98053                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.74
         Daniel Panovski                                              Contingent
         Sindarovska 18                                               Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 207 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 227 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.142
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Daniel Perez                                                 Contingent
         23 N 9th St                                                  Unliquidated
         Surf City, NJ 08008                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,628.92
         Daniel Pfeifer                                               Contingent
         Eichendorffstrasse 1A                                        Unliquidated
         Bad Schwalbach 65307                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.79
         Daniel Piedra Quintero                                       Contingent
         Albert Van Meerveldstraat 29                                 Unliquidated
         Zwartebroek 3785 LP                                          Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Daniel Purcell                                               Contingent
         8 Edison Green                                               Unliquidated
         Apt 2                                                        Disputed
         Boston, MA 02125
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.143
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Daniel Ramlagan                                              Contingent
         97-36 110St                                                  Unliquidated
         Richmond Hill, NY 11419                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.01
         Daniel Raney                                                 Contingent
         812 Apricot Ave                                              Unliquidated
         Mount Vernon, IL 62864                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $781.48
         Daniel Reyes                                                 Contingent
         2838 Charleston Place                                        Unliquidated
         Chula Vista, CA 91914                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 208 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 228 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.143
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Daniel Rietberg                                              Contingent
         326 Cherry St.                                               Unliquidated
         Apt C                                                        Disputed
         Grand Rapids, MI 49503
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.143
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Daniel Riposan                                               Contingent
         3395 Cliff Road North, #130                                  Unliquidated
         Mississauga ON L5A 3M7                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.143
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,359.52
         Daniel Rodriguez                                             Contingent
         16780 County Road 1714                                       Unliquidated
         Odem, TX 78370                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Daniel Rodriguez-Magana                                      Contingent
         736 State St.                                                Unliquidated
         Apt 3                                                        Disputed
         San Jose, CA 95110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.143
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,488.25
         Daniel Roller                                                Contingent
         Leistenstrasse 18                                            Unliquidated
         Wurzburg 97082                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.143
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,484.23
         Daniel Sayegh                                                Contingent
         365 Ardsley Road                                             Unliquidated
         Scarsdale, NY 10583                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,093.38
         Daniel Schmidt                                               Contingent
         Papendamm 26                                                 Unliquidated
         Hamburg 20146                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 209 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 229 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.144
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,367.32
         Daniel Stewart                                               Contingent
         10935 SE Spruce View Ln.                                     Unliquidated
         Happy Valley, OR 97086                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.14
         Daniel Tardy                                                 Contingent
         1240 S. 15th St.                                             Unliquidated
         Marion, IA 52302                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Daniel Tharp                                                 Contingent
         39939 Stevenson Common #1113                                 Unliquidated
         Fremont, CA 94538                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $948.13
         Daniel Thein                                                 Contingent
         9 Rue Louis Braille                                          Unliquidated
         Strassen 8033                                                Disputed
         LUXEMBOURG
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.144
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.41
         Daniel Timms                                                 Contingent
         41 Mears Ashby Road                                          Unliquidated
         Earls Barton ENG NN6 0HQ                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.144
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Daniel Toomer                                                Contingent
         9863 Yale Drive                                              Unliquidated
         Rancho Cucamonga, CA 91701                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.24
         Daniel Tustin                                                Contingent
         32 Kaitawa Crescent                                          Unliquidated
         Paraparaumu WGN 5032                                         Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 210 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 230 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.144
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,301.07
         Daniel Velez                                                 Contingent
         486 N Pine Meadow Dr                                         Unliquidated
         Debary, FL 32713                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $399.95
         Daniel Wei                                                   Contingent
         22 Kenfin Ave                                                Unliquidated
         Scarborough ON M1S 4G1                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.144
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.55
         Daniel Wheaton                                               Contingent
         7737 Nakita Ct                                               Unliquidated
         Northfield, OH 44067-3310                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.59
         Daniel Wheaton                                               Contingent
         7737 Nakita Ct                                               Unliquidated
         Northfield, OH 44067-3310                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.63
         Daniel Zargham                                               Contingent
         1085 Tasman Drive #283                                       Unliquidated
         Sunnyvale, CA 94089                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Daniela Gentilucci                                           Contingent
         Panoramastrasse 9                                            Unliquidated
         Gerlingen 70839                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 211 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 231 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.145
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Daniela Stana
         Al Domnisoara Pogany Nr.1                                    Contingent
         Ap. 20, Sector 6                                             Unliquidated
         Bucuresti B 62132                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.145
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,568.12
         Daniele Berardi                                              Contingent
         Rutiwiesenstrasse 8                                          Unliquidated
         Gattikon 8136                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.145
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,239.25
         Danielius Vebras                                             Contingent
         Krummaholar 8                                                Unliquidated
         Reykjavik 109                                                Disputed
         ICELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.145
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Danielle Kim                                                 Contingent
         24241 Park St                                                Unliquidated
         Torrance, CA 90505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.93
         Danilo Diaz Barrios                                          Contingent
         173 Hazelglen Dr                                             Unliquidated
         Kitchener ON N2M2E6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.145
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $722.83
         Danish Qamar                                                 Contingent
         6 Sierra Rd                                                  Unliquidated
         Olds AB T4H 1X4                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 212 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 232 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.145
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,452.44
         Danny Burrell                                                Contingent
         17480 La Sierra Avenue                                       Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.29
         Danny Dutil                                                  Contingent
         800 Palmetto Ave                                             Unliquidated
         Orange City, FL 32763                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.99
         Danny Genao                                                  Contingent
         251 E 16th St.                                               Unliquidated
         Paterson, NJ 07524                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Danny Hsiao                                                  Contingent
         526 Woodston Rd                                              Unliquidated
         Rockville, MD 20850                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Danny Kennison                                               Contingent
         91-0697 Nanaulu St                                           Unliquidated
         Ewa Beach, HI 96706                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Danny Kennison                                               Contingent
         91-0697 Nanaulu St                                           Unliquidated
         Ewa Beach, HI 96706-4853                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Danny Lopez                                                  Contingent
         11400 Northwest 7th Street                                   Unliquidated
         Plantation, FL 33325                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 213 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 233 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.146
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.73
         Danny Merritt                                                Contingent
         9508 Tower Ridge Rd                                          Unliquidated
         Pensacola, FL 32526                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Danny Nathie                                                 Contingent
         7287 Arcadia Drive                                           Unliquidated
         Huntington Beach, CA 92648                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Danny Romo                                                   Contingent
         129 Avenida San Fernando                                     Unliquidated
         Unit A                                                       Disputed
         San Clemente, CA 92672
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.146
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Danny Soria                                                  Contingent
         14201 Foothill Blvd.                                         Unliquidated
         Unit 52                                                      Disputed
         Sylmar, CA 91342
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.147
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.53
         Danny Ziya                                                   Contingent
         567 Shawn Vines Ave                                          Unliquidated
         Oakdale, CA 95361                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,145.59
         Danny Ziya                                                   Contingent
         567 Shawn Vines Ave                                          Unliquidated
         Oakdale, CA 95361                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.64
         Dante Capecce                                                Contingent
         Ruta 81 Km 50                                                Unliquidated
         San Bautista 91200                                           Disputed
         URUGUAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 214 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 234 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.147
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dante Colaiacovo                                             Contingent
         16 Cherry Tree Lane                                          Unliquidated
         Kinnelon, NJ 07405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $73.57
         Dante Colaiacovo                                             Contingent
         16 Cherry Tree Lane                                          Unliquidated
         Kinnelon, NJ 07405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $499.84
         Dante Elizalde                                               Contingent
         Santa Rosa 75A                                               Unliquidated
         Zapopan JAL 45140                                            Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.147
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,715.60
         Danzie Hazell Can Do Builders                                Contingent
         168 Mill Road                                                Unliquidated
         Cambridge ENG CB1 3LP                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.147
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Darcy Lamke                                                  Contingent
         716 N Water St                                               Unliquidated
         Watertown, WI 53098                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.14
         Darian Nabaz                                                 Contingent
         18D School Road                                              Unliquidated
         London ENG TW12 1QL                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.147
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Darin Carter                                                 Contingent
         327 West Lantana Road                                        Unliquidated
         Lantana, FL 33462                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 215 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 235 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.148
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.44
         Darius Bryan                                                 Contingent
         34 Rosedale House Manor Road                                 Unliquidated
         London ENG N16 5NR                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.42
         Darius Vaicenavicius                                         Contingent
         Ozo G. 24-15                                                 Unliquidated
         Vilnius 7151                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,659.93
         Dariusz Paszko                                               Contingent
         Chemin Des Postes 249                                        Unliquidated
         Waterloo 1410                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.76
         Dariusz Wida                                                 Contingent
         450 Village Center Dr                                        Unliquidated
         Unit 210                                                     Disputed
         Burr Ridge, IL 60527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $701.75
         Dariusz Wida                                                 Contingent
         450 Village Center Dr                                        Unliquidated
         Unit 210                                                     Disputed
         Burr Ridge, IL 60527
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Daron Baptiste                                               Contingent
         270 Clarkson Avenue, #322                                    Unliquidated
         Brooklyn, NY 11226                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.43
         Darrell Griffin                                              Contingent
         1011 Beyer Way                                               Unliquidated
         Sp. 104                                                      Disputed
         San Diego, CA 92154
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 216 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 236 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.148
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.24
         Darren Aldous                                                Contingent
         25 Ngahere Street                                            Unliquidated
         Inglewood TKI 4330                                           Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.54
         Darren Jones                                                 Contingent
         66 Headley Drive, New Addington                              Unliquidated
         Croydon, London ENG CR00QF                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.54
         Darren Jones                                                 Contingent
         66 Headley Drive, New Addington                              Unliquidated
         Croydon, London ENG CR00QF                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.149
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Darren Langley                                               Contingent
         4177 Brown Bridge Road Southeast Lot N                       Unliquidated
         Dalton, GA 30721                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,513.57
         Darren Lazarus                                               Contingent
         23 Bogert Road                                               Unliquidated
         Demarest, NJ 07627                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Darren Lazarus                                               Contingent
         23 Bogert Road                                               Unliquidated
         Demarest, NJ 07627                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Darren Wutzke                                                Contingent
         1004 Abby Lane                                               Unliquidated
         Lucas, TX 75002-3712                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 217 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 237 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.149
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.94
         Darryl Gonzales                                              Contingent
         8085 Atlas Pear Drive, #327                                  Unliquidated
         Bryan, TX 77807                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Daryl Gonzalez-Orellana                                      Contingent
         211 Taaffe Pl.                                               Unliquidated
         3R                                                           Disputed
         Brooklyn, NY 11205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.149
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Daryl Maksymec                                               Contingent
         158 Crystalridge Drive                                       Unliquidated
         Okotoks AB T1S 1W3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.149
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.23
         Daryl Sowers                                                 Contingent
         1904 Kinross Ct                                              Unliquidated
         Bakersfield, CA 93309                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.92
         Daryl Upole                                                  Contingent
         3916 Edgewater Drive                                         Unliquidated
         Ashtabula, OH 44004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Dasiel Hidalgo                                               Contingent
         8065 W 15 Th Ave                                             Unliquidated
         Hialeah, FL 33014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.36
         Derek Dasilva                                                Contingent
         22 Sawyer St                                                 Unliquidated
         Malden, MA 02148                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 218 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 238 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.150
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Dave Grueneich                                               Contingent
         6706 South Jacqueline Way                                    Unliquidated
         Gilbert, AZ 85298                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,614.85
         Dave Hardjo                                                  Contingent
         Nystadstraat 64                                              Unliquidated
         Rotterdam 3067 DT                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.150
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.32
         Dave Hendrie                                                 Contingent
         9911 Norwalk Blvd                                            Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,265.40
         Dave Hendrie                                                 Contingent
         9911 Norwalk Boulevard                                       Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dave Koziol                                                  Contingent
         2884 E Eisenhower Pkwy                                       Unliquidated
         Ann Arbor, MI 48108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,814.07
         Dave Letarte                                                 Contingent
         5260 Quebec 395                                              Unliquidated
         Amos QC J9T 3A1                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.150
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Dave Pickering                                               Contingent
         305 Pine Valley Drive                                        Unliquidated
         Kitchener ON N2P 2V5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 219 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 239 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.150
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Dave Schleigh                                                Contingent
         11830 Ramsburg Road                                          Unliquidated
         Marriottsville, MD 21104                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,573.12
         Dave Supinger                                                Contingent
         240 East 600 South                                           Unliquidated
         Centerville, UT 84014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,358.12
         Dave Supinger                                                Contingent
         240 East 600 South                                           Unliquidated
         Centerville, UT 84014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,290.62
         Dave Supinger                                                Contingent
         240 East 600 South                                           Unliquidated
         Centerville, UT 84014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.12
         Dave Supinger                                                Contingent
         240 East 600 South                                           Unliquidated
         Centerville, UT 84014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.42
         David Abrahamson                                             Contingent
         9021 Octavia Court                                           Unliquidated
         Springfield, VA 22153                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.14
         David Alley                                                  Contingent
         807 Catalina Lane                                            Unliquidated
         Austin, TX 78737                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 220 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 240 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.151
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $92.02
         David Alley                                                  Contingent
         807 Catalina Lane                                            Unliquidated
         Austin, TX 78737                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.41
         David Amaro                                                  Contingent
         5420 Nessee Street                                           Unliquidated
         Fayetteville, NC 28314                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,123.21
         David Antunes                                                Contingent
         Rua Do Rosmaninho Lote 5 - Alto Da Guerr                     Unliquidated
         Setubal PT-15 2910-282                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.151
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,059.91
         David Arechederra
         Izalde Kalea 4                                               Contingent
         B95873964 Quattro Motiv Sl                                   Unliquidated
         Getxo BI 48992                                               Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.151
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $797.31
         David Arriaga                                                Contingent
         18366 Whitewater Way                                         Unliquidated
         Riverside, CA 92508                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         David August                                                 Contingent
         78 Willow Ave.                                               Unliquidated
         Toronto ON M4E 3K2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 221 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 241 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.152
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,416.13
         David B. Canady                                              Contingent
         404 Kingsford Court                                          Unliquidated
         Fayetteville, NC 28314                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         David Beach                                                  Contingent
         13944 E Riviera Dr                                           Unliquidated
         Burleson, TX 76028-3362                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         David Beltz                                                  Contingent
         691 Baluster Drive                                           Unliquidated
         Marysville, OH 43040                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         David Beltz                                                  Contingent
         691 Baluster Drive                                           Unliquidated
         Marysville, OH 43040                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Bergtold                                               Contingent
         9933 Dellcastle Rd                                           Unliquidated
         Montgomery Village, MD 20886                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $645.41
         David Black                                                  Contingent
         9316 Pawnee Lane                                             Unliquidated
         Leawood, KS 66206                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.70
         David Bollinger                                              Contingent
         Sankt Johanns-Vorstadt 41                                    Unliquidated
         Basel 4056                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 222 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 242 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.152
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.21
         David Bourque                                                Contingent
         97 Des Becs Scies                                            Unliquidated
         Sept-Iles QC G4S 1K1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.152
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.09
         David Brandt                                                 Contingent
         1916 Benedict Avenue                                         Unliquidated
         Riverside, CA 92506                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         David Burke                                                  Contingent
         13615 E Ocotillo Bloom Dr                                    Unliquidated
         Vail, AZ 85641                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         David Carlson                                                Contingent
         39306 Fieldcrest Circle                                      Unliquidated
         Palmdale, CA 93551                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.32
         David Chatfield                                              Contingent
         914 Northeast 151st Avenue                                   Unliquidated
         Portland, OR 97230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.85
         David Chee                                                   Contingent
         239 W. Palm Dr.                                              Unliquidated
         Arcadia, CA 91007                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         David Chen                                                   Contingent
         75 Cannon Blvd                                               Unliquidated
         1F                                                           Disputed
         Staten Island, NY 10306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 223 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 243 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.153
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,486.38
         David Cho                                                    Contingent
         1756 Dixon Street                                            Unliquidated
         Redondo Beach, CA 90278                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         David Chou                                                   Contingent
         424 15th Street #3204                                        Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.02
         David Cooper                                                 Contingent
         479 Alway Road                                               Unliquidated
         Grassie ON L0R 1M0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.153
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         David Crunk                                                  Contingent
         3331 Fort St                                                 Unliquidated
         Wyandotte, MI 48192                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.47
         David Delgiglio                                              Contingent
         5491 Keith Rd                                                Unliquidated
         West Vancouver BC V7W 3E1                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.154
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,292.02
         David Demaree                                                Contingent
         191 Market St                                                Unliquidated
         Aurora, IN 47001                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         David Desroche                                               Contingent
         1611 Lake Avenue                                             Unliquidated
         Metairie, LA 70005                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 224 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 244 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.154
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Desroche                                               Contingent
         1611 Lake Avenue                                             Unliquidated
         Metairie, LA 70005                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,636.17
         David Dickson                                                Contingent
         34 Springbluff Blvd Southwest                                Unliquidated
         Calgary AB T3H 4V6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.154
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,348.87
         David Donald                                                 Contingent
         Box 766                                                      Unliquidated
         Kimberton, PA 19442                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         David Donald                                                 Contingent
         Box 766                                                      Unliquidated
         Kimberton, PA 19442                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         David Dunn                                                   Contingent
         4200 Country Hill Rd                                         Unliquidated
         Fort Worth, TX 76140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.29
         David Effron                                                 Contingent
         3749 Maplecrest Road                                         Unliquidated
         Woodmere, OH 44122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         David Foster                                                 Contingent
         4422 McDermed Dr                                             Unliquidated
         Houston, TX 77035-3816                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 225 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 245 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.154
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         David Fuscus                                                 Contingent
         1120 G St Nw                                                 Unliquidated
         Ste 450                                                      Disputed
         Washington, DC 20005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.155
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,457.85
         David Gagua                                                  Contingent
         Chavchavadze St 78, 6/6/10                                   Unliquidated
         Tbilisi 179                                                  Disputed
         GEORGIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.155
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         David Ganio                                                  Contingent
         3163 700 East Street                                         Unliquidated
         North Ogden, UT 84414                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,095.62
         David Gourley                                                Contingent
         672 1575 West                                                Unliquidated
         Layton, UT 84041                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.26
         David Gray                                                   Contingent
         822 S Norton Ave                                             Unliquidated
         Los Angeles, CA 90005                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         David Grubb                                                  Contingent
         2205 Chasefield Dr                                           Unliquidated
         Plano, TX 75023                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.26
         David Harris                                                 Contingent
         4408 NE Hideaway Drive                                       Unliquidated
         Lees Summit, MO 64064-7808                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 226 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 246 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.155
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,059.52
         David Harris                                                 Contingent
         781 Laurel Oak Court                                         Unliquidated
         Columbus, GA 31907                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         David Head                                                   Contingent
         2580 W 61st Ave                                              Unliquidated
         Merrillville, IN 46410                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Huber                                                  Contingent
         12716 106th St                                               Unliquidated
         Largo, FL 33773                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.05
         David Johnson                                                Contingent
         340 Appleblossom Lane                                        Unliquidated
         Bay Village, OH 44140-1109                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.11
         David Kaita                                                  Contingent
         98-1155 Malualua Street                                      Unliquidated
         Aiea, HI 96701                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.29
         David Kennedy                                                Contingent
         P.O. Box 291                                                 Unliquidated
         Jackson, MS 39205                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.92
         David Kielmeyer                                              Contingent
         1454 Muirfield Dr                                            Unliquidated
         Bowling Green, OH 43402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 227 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 247 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.156
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         David Lethe                                                  Contingent
         3133 Freedom Lane                                            Unliquidated
         Plano, TX 75025                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.54
         David Lin                                                    Contingent
         21 Lorillard Rd                                              Unliquidated
         Tuxedo Park, NY 10987                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.89
         David Lindgren                                               Contingent
         3140 Durham Road,                                            Unliquidated
         Guilford, CT 06437                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.21
         David Love                                                   Contingent
         1067 Airport Parkway                                         Unliquidated
         Belleville ON K8N 4Z6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.156
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.31
         David Maguire                                                Contingent
         6002 Cameron Ct.                                             Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         David Matevski                                               Contingent
         49 Condarcuri Cres                                           Unliquidated
         Markham ON L6B 0G9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 228 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 248 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.156
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.33
         David May
         3 Newgate                                                    Contingent
         Wilmslow                                                     Unliquidated
         Manchester ENG SK9 5LL                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.23
         David Mazereeuw                                              Contingent
         Dorpsstraat 1052                                             Unliquidated
         Assendelft 1566 JL                                           Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Mazzotta                                               Contingent
         1827 Brookside Drive                                         Unliquidated
         Germantown, TN 38138                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         David Mazzotta                                               Contingent
         1827 Brookside Drive                                         Unliquidated
         Germantown, TN 38138                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,842.83
         David Merritt                                                Contingent
         1143 Muscogee Road                                           Unliquidated
         Cantonment, FL 32533                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.59
         David Miller                                                 Contingent
         1056 South State Street                                      Unliquidated
         5F                                                           Disputed
         Dover, DE 19901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 229 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 249 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.157
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         David Molenberg                                              Contingent
         2233 Central Ave.                                            Unliquidated
         Apt. A                                                       Disputed
         Alameda, CA 94501-4405
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         David Mustapick                                              Contingent
         286 Palmetto Ct                                              Unliquidated
         Jupiter                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $889.51
         David Nather                                                 Contingent
         Wallstrasse 29                                               Unliquidated
         Cologne 51063                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         David Nguyen                                                 Contingent
         30 Ruth Goldbloom Drive, #302                                Unliquidated
         Halifax NS B3M 0M9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.157
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         David Nguyen                                                 Contingent
         5836 Willow Ridge Dr                                         Unliquidated
         Ypsilanti, MI 48197                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Nguyen                                                 Contingent
         5836 Willow Ridge Dr                                         Unliquidated
         Ypsilanti, MI 48197                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         David Nonachi                                                Contingent
         13510 Carruth Lane                                           Unliquidated
         Houston, TX 77083                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 230 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 250 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.158
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         David Otterbein                                              Contingent
         1641 Aldersbrook Road                                        Unliquidated
         London ON N6G 2Z2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         David Payne                                                  Contingent
         6357 South 80th East Avenue                                  Unliquidated
         Unit H                                                       Disputed
         Tulsa, OK 74133
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,314.13
         David Pezzola                                                Contingent
         448 N Carpenter                                              Unliquidated
         Unit J                                                       Disputed
         Chicago, IL 60642
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.50
         David Pimentel                                               Contingent
         781 Akahi Place                                              Unliquidated
         B630470                                                      Disputed
         Lanai City, HI 96763
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.23
         David Posin                                                  Contingent
         7301 Connecticut Ave                                         Unliquidated
         Chevy Chase, MD 20815                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $584.93
         David Prendergast                                            Contingent
         15 Taylor Hill Way                                           Unliquidated
         Balbriggan D K32 AE29                                        Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         David Richards                                               Contingent
         P.O. Box 10534                                               Unliquidated
         State College, PA 16805                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 231 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 251 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.158
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.12
         David Richardson                                             Contingent
         P.O. Box 241                                                 Unliquidated
         Granby, CO 80446                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,415.76
         David Rios                                                   Contingent
         4917 North Kimball Avenue                                    Unliquidated
         Chicago, IL 60625                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.64
         David Rivas                                                  Contingent
         8273 NW 56th St                                              Unliquidated
         Ps-45156                                                     Disputed
         Miami, FL 33195-4007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.159
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         David Rosenberg                                              Contingent
         3019 North Thomas Road                                       Unliquidated
         Freeland, MI 48623                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         David Sampson                                                Contingent
         12 Brittany Lane                                             Unliquidated
         Dunstable, MA 01827                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.51
         David Schlosser                                              Contingent
         904 Salem Avenue                                             Unliquidated
         Elyria, OH 44035                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         David Schneider                                              Contingent
         7700 Southwest 134th Terrace                                 Unliquidated
         Miami, FL 33156                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 232 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 252 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.159
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.93
         David Schwenning                                             Contingent
         2353 Leighton Rd                                             Unliquidated
         Nanaimo BC V9R7C1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.159
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,313.09
         David Sekiguchi                                              Contingent
         19924 Bear Valley Lane                                       Unliquidated
         Northridge, CA 91326                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.61
         David Shuman                                                 Contingent
         11082 Sedalia Street                                         Unliquidated
         Commerce City, CO 80022                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,236.10
         David Sinopoli                                               Contingent
         594 Avenue A                                                 Unliquidated
         Bayonne, NJ 07002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         David Skrzypek                                               Contingent
         210 Vickery Way                                              Unliquidated
         Roswell, GA 30075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         David Sosine                                                 Contingent
         315 Sherwood Drive                                           Unliquidated
         Brentwood, CA 94513                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,095.21
         David Sterr
         Raifberg 48                                                  Contingent
         Funtastic Solutions Gmbh                                     Unliquidated
         Waidhofen/Ybbs 3340                                          Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 233 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 253 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.160
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.81
         David Stewart                                                Contingent
         5869 N Pinery Canyon Ave                                     Unliquidated
         Meridian, ID 83646                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.81
         David Stewart                                                Contingent
         5869 N Pinery Canyon Ave                                     Unliquidated
         Meridian, ID 83646                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,384.20
         David Stone                                                  Contingent
         3445 Wallace Dr                                              Unliquidated
         Bonita, CA 91902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,931.87
         David Supinger                                               Contingent
         1093 South 55 West                                           Unliquidated
         Farmington, UT 84025                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         David Surowiak                                               Contingent
         7871 Concession Road 3                                       Unliquidated
         Lisle ON L0M 1M0                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.160
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         David Surowiak                                               Contingent
         7871 Concession Road 3                                       Unliquidated
         Lisle ON L0M 1M0                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.160
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $137.35
         David Surowiak                                               Contingent
         7871 Concession Rd 3                                         Unliquidated
         Lisle ON L0M1M0                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 234 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 254 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.161
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.06
         David T                                                      Contingent
         4723 156 Avenue Northwest                                    Unliquidated
         Edmonton AB T5Y 0B6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.161
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.10
         David Templin                                                Contingent
         8105 NW 77th St                                              Unliquidated
         Oklahoma City, OK 73132                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.62
         David Timberlake                                             Contingent
         142 Oxford Street,                                           Unliquidated
         Sheffield ENG S6 3GB                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.161
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         David Tran
         122 Bronte St S                                              Contingent
         428A                                                         Unliquidated
         Milton ON L9T1Y9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.161
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         David Truong                                                 Contingent
         96 W. White Willow Cir.                                      Unliquidated
         Spring, TX 77381-2728                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Turner                                                 Contingent
         1 Hermann Park Court                                         Unliquidated
         Apt 734                                                      Disputed
         Houston, TX 77021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 235 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 255 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.161
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $497.44
         David Vahidi                                                 Contingent
         353 Riverpark Blvd, #206                                     Unliquidated
         Oxnard, CA 93036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Vanwye                                                 Contingent
         3704 Kinnett Lane                                            Unliquidated
         Indianapolis, IN 46228                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $769.24
         David Volbracht                                              Contingent
         Montargisstrasse 99                                          Unliquidated
         Greven 48268                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.161
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         David Wang                                                   Contingent
         99 Vista Montana                                             Unliquidated
         Apt 4446                                                     Disputed
         San Jose, CA 95134
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         David Webb                                                   Contingent
         10 Japonica Dr                                               Unliquidated
         Pass Christian, MS 39571-4729                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.49
         David Werren                                                 Contingent
         Stationsstrasse 95                                           Unliquidated
         Wiesendangen 8542                                            Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         David Williams                                               Contingent
         1129 NW 19th Pl                                              Unliquidated
         Cape Coral, FL 33993-5934                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 236 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 256 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.162
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.85
         David Wittich                                                Contingent
         Romain-Rolland-Strasse 62                                    Unliquidated
         Berlin 13089                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $822.96
         David Wood
         The Old Barracks                                             Contingent
         Armoury Drive                                                Unliquidated
         Gravesend ENG DA12 1LZ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,466.72
         David Wray                                                   Contingent
         4730 Walnut Avenue                                           Unliquidated
         Simi Valley, CA 93063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.43
         David Yamaguchi                                              Contingent
         3507 Bergamo Dr                                              Unliquidated
         El Dorado Hills, CA 95762                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         David Yamaguchi                                              Contingent
         3507 Bergamo Drive                                           Unliquidated
         El Dorado Hills, CA 95762                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         David Yanez                                                  Contingent
         711 S Bayshore Blvd                                          Unliquidated
         Apt 18                                                       Disputed
         San Mateo, CA 94401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 237 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 257 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.162
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         David Yousif                                                 Contingent
         4806 N 96th Ave                                              Unliquidated
         Phoenix, AZ 85037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         David Zak                                                    Contingent
         12104 Track Road East                                        Unliquidated
         Cat Spring, TX 78933                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $910.91
         Davor Lesnjakovic                                            Contingent
         S Andora Petefija 21                                         Unliquidated
         Osijek 31000                                                 Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.163
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,059.62
         Davy Verbelen                                                Contingent
         Waarbeek 13                                                  Unliquidated
         Asse 1730                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.163
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Dawa Sherpa                                                  Contingent
         41992 Ural Drive                                             Unliquidated
         Aldie, VA 20105                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $625.62
         Dayle Renfro                                                 Contingent
         10074 Emerald Edgewater Ct                                   Unliquidated
         Las Vegas, NV 89178                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,474.34
         Daylen Storaci                                               Contingent
         3617 North Road 88                                           Unliquidated
         Pasco, WA 99301                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 238 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 258 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.163
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Daylin Gonzalez                                              Contingent
         2746 NW 5th St                                               Unliquidated
         Miami, FL 33125                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Daylin Murchison                                             Contingent
         1975 Nocturne Dr Unit 2301                                   Unliquidated
         Alpharetta, GA 30009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dayne Ladson                                                 Contingent
         51 Parish Way                                                Unliquidated
         Pooler, GA 31322                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Maria Rowena de Dios                                         Contingent
         195 Sienna Way                                               Unliquidated
         American Canyon, CA 94503                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jessica de la Cruz                                           Contingent
         8024 Fallbrooke Dr                                           Unliquidated
         North Chesterfield, VA 23235                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jonathan de la Rosa                                          Contingent
         7851 Davie Road Extension #1102                              Unliquidated
         Hollywood, FL 33024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Roberto de las Salas                                         Contingent
         16385 Biscayne Blvd Apt 2804                                 Unliquidated
         North Miami Beach, FL 33160                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 239 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 259 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.164
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Pablo de Leon                                                Contingent
         9857 Northwest 52nd Lane                                     Unliquidated
         Doral, FL 33178                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.58
         Hanly de los Santos                                          Contingent
         1300 E Lafayette St Apt 1204                                 Unliquidated
         Detroit, MI 48207                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.61
         Laura de los Santos                                          Contingent
         12813 Sophiamarie Loop                                       Unliquidated
         Orlando, FL 32828                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.70
         Miguel De Pablo                                              Contingent
         12045 Dragon Crest Drive                                     Unliquidated
         El Paso, TX 79936                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Renato de Rada Wagner                                        Contingent
         1562 Eagle Wind Terrace                                      Unliquidated
         Winter Springs, FL 32708                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.74
         Mario de Sousa                                               Contingent
         468 Firenza Ct                                               Unliquidated
         Livermore, CA 94551                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Dean Rittenhouse                                             Contingent
         805 S Gulph Rd                                               Unliquidated
         King Of Prussa, PA 19406                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 240 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 260 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.165
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.28
         Dean Sanvido                                                 Contingent
         35 Darling Cres                                              Unliquidated
         Alliston ON L9R1P7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Dean Truong                                                  Contingent
         2930 Fairmount Avenue                                        Unliquidated
         Apt D                                                        Disputed
         La Crescenta-Montrose, CA 91214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,333.87
         Allan Dean                                                   Contingent
         1908 E Carmen St                                             Unliquidated
         Tempe, AZ 85283                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Deandre Gilberry                                             Contingent
         3554 Mentone Ave                                             Unliquidated
         Apt 5                                                        Disputed
         Los Angeles, CA 90034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.44
         Deborah Duan                                                 Contingent
         463 W Camino Real Ave                                        Unliquidated
         Arcadia, CA 91007                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.52
         Alex Decamp                                                  Contingent
         1458 Seyburn St                                              Unliquidated
         Detroit, MI 48214                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Alex Decamp                                                  Contingent
         1458 Seyburn St                                              Unliquidated
         Detroit, MI 48214                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 241 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 261 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.165
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Declan Child                                                 Contingent
         8 Delaforce Street                                           Unliquidated
         Regents Park QLD 4118                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Deep Patel                                                   Contingent
         630 South Knott Avenue Unit#56                               Unliquidated
         Anaheim, CA 92804                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,308.32
         Deepak Kamath                                                Contingent
         50 Harrogate Square                                          Unliquidated
         Buffalo, NY 14221                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $480.10
         Deepdave KFT
         Tuttossy Ferenc Utca                                         Contingent
         4.1.2.A                                                      Unliquidated
         Zalaegerszeg 8900                                            Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.166
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $755.00
         Deian Carmazan                                               Contingent
         28968 Rock Canyon Dr                                         Unliquidated
         Santa Clarita, CA 91390                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,131.08
         Deian Lazici
         Gottinger Strasse 26                                         Contingent
         Hinterhaus                                                   Unliquidated
         Bad Aibling 83043                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 242 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 262 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.166
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,426.44
         Dejan Cvetkovik                                              Contingent
         Boris Bojadziski 16                                          Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.166
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,797.03
         Dejan Minovic                                                Contingent
         Weststrasse 38                                               Unliquidated
         Wuppertal 42119                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.166
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.18
         Luis Martin Del Campo                                        Contingent
         653 E Casad St                                               Unliquidated
         Covina, CA 91723                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,424.38
         Marco Del Corto                                              Contingent
         Via Marco Polo, 139                                          Unliquidated
         Viareggio LU 5509                                            Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.166
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.01
         Whine Del Rosario                                            Contingent
         14858 3/4 Dickens Street                                     Unliquidated
         Sherman Oaks, CA 91403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Richard Del Vecchio                                          Contingent
         5149 Partridge Circle                                        Unliquidated
         Roanoke, VA 24018                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,409.52
         Delaine Fowler                                               Contingent
         142 Churchill Drive                                          Unliquidated
         Salisbury, NC 28144                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 243 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 263 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.167
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.47
         Delfin Suarez                                                Contingent
         8133 Cozumel Ln                                              Unliquidated
         Sebring, FL 33876                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Angelarose Deluca                                            Contingent
         7915 Ruxway Rd                                               Unliquidated
         Towson, MD 21204                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Anastasija Deluna                                            Contingent
         1509 Pershing Dr                                             Unliquidated
         Apt C                                                        Disputed
         San Francisco, CA 94129
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.167
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,575.91
         Demarion Farmer                                              Contingent
         1304 Cozart Street                                           Unliquidated
         Unit 505                                                     Disputed
         Durham, NC 27704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.167
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Demond Henson                                                Contingent
         1643 Kenwell St                                              Unliquidated
         San Diego, CA 92139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.54
         Den Bah                                                      Contingent
         Dzelzavas 15/1 Dz.55                                         Unliquidated
         Riga LV-1084                                                 Disputed
         LATVIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.167
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,332.83
         Dene Sonnessa                                                Contingent
         26 Stoneham Road                                             Unliquidated
         Hove ENG BN3 5HJ                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 244 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 264 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.167
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.10
         Denis Steinlechner                                           Contingent
         6511 NW 87th Ave #Cli248067                                  Unliquidated
         Miami, FL 33178                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Denise Lewis                                                 Contingent
         1964 Northshire Drive                                        Unliquidated
         Tupelo, MS 38804                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.46
         Denise McHayle                                               Contingent
         330 K Street                                                 Unliquidated
         Apt 26                                                       Disputed
         Chula Vista, CA 91911
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Denni Punongbayan                                            Contingent
         25386 Grandfir Court                                         Unliquidated
         Corona, CA 92883                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,517.48
         Dennis Fabia                                                 Contingent
         3535 Lebon Drive Apt 4108                                    Unliquidated
         Apt 4108                                                     Disputed
         San Diego, CA 92122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,910.35
         Dennis Galloway                                              Contingent
         162 Central Avenue                                           Unliquidated
         Rochelle Park, NJ 07662                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $970.82
         Dennis Garcia                                                Contingent
         1117 E Anaheim St                                            Unliquidated
         Wilmington, CA 90744                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 245 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 265 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.168
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,186.74
         Dennis Grote                                                 Contingent
         Silbekerweg 35                                               Unliquidated
         Buren 33142                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dennis Jones                                                 Contingent
         980 Branch Dr                                                Unliquidated
         Herndon, VA 20170                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,588.63
         Dennis Knapp                                                 Contingent
         Im Rad 11                                                    Unliquidated
         Wiesbaden 65197                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,587.86
         Dennis Knapp                                                 Contingent
         Im Rad 11                                                    Unliquidated
         Wiesbaden 65197                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Dennis Kourbatsky                                            Contingent
         27653 Weston Dr                                              Unliquidated
         Valencia, CA 91354                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Dennis Kourbatsky                                            Contingent
         27653 Weston Dr                                              Unliquidated
         Valencia, CA 91354                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $961.41
         Dennis Markmann                                              Contingent
         Hammer Weg 26                                                Unliquidated
         Hamburg 20537                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 246 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 266 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.169
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $953.15
         Dennis Markmann                                              Contingent
         Hammer Weg 26                                                Unliquidated
         Hamburg 20537                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Dennis Nelson                                                Contingent
         3617 Laurel Lee Blvd, Pace, Fl 32571                         Unliquidated
         Pace, FL 32571-6861                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $859.48
         Denny Sadlo
         Evers Kamp                                                   Contingent
         6B                                                           Unliquidated
         Bissendorf 49143                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.10
         Deo Avila                                                    Contingent
         1155 Lansdowne Ave                                           Unliquidated
         Winnipeg MB R2X 1S5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $85.00
         Deo Avila                                                    Contingent
         1155 Lansdowne Ave                                           Unliquidated
         Winnipeg MB R2X 1S5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Deo Punongbayan                                              Contingent
         325 Genoa Street                                             Unliquidated
         C                                                            Disputed
         Monrovia, CA 91016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 247 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 267 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.169
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Tran Dep                                                     Contingent
         2 San Carmelo Way                                            Unliquidated
         Toronto ON M3N 2V1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.63
         Derek Hansen                                                 Contingent
         10 Wiebe Crescent                                            Unliquidated
         Weyburn SK S4H 3L4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.56
         Derek Marineau                                               Contingent
         10 Nowell St. Apt. C                                         Unliquidated
         North Berwick, ME 03906                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Derek Miller                                                 Contingent
         18515 Deason Dr                                              Unliquidated
         Spring Hill, FL 34610                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Derek Schindler                                              Contingent
         1717 Century Circle                                          Unliquidated
         #203                                                         Disputed
         Woodbury, MN 55125
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.170
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Derek Spencer                                                Contingent
         2633 29 Street Southwest                                     Unliquidated
         Calgary AB T3E2K6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.170
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Derek Spencer                                                Contingent
         2633 29 Street Southwest                                     Unliquidated
         Calgary AB T3E2K6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 248 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 268 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.170
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,369.24
         Derek Winer                                                  Contingent
         50 Ivy Lea Place                                             Unliquidated
         Hamilton ON L8T 3R6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.170
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,473.61
         Derik Day                                                    Contingent
         316 Timbercreek Drive                                        Unliquidated
         Holly Springs, GA 30115                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,242.72
         Derren Perry                                                 Contingent
         Calle Brisas De Las Vinas, 6                                 Unliquidated
         Torre Del Mar MA 29740                                       Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.170
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Derrick Baldree                                              Contingent
         1739 Ridgedale Deive                                         Unliquidated
         Snellville, GA 30078                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,462.75
         Derrick Bane                                                 Contingent
         84817 Searles Street                                         Unliquidated
         Searles Valley, CA 93562                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Derrick Johnson                                              Contingent
         100 Stonewall Avenue                                         Unliquidated
         Carencro, LA 70520                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.87
         Derrick Lehrke                                               Contingent
         11640 Lockridge Avenue South                                 Unliquidated
         Hastings, MN 55033                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 249 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 269 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.171
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.14
         Desiree Moro                                                 Contingent
         1115 Huntington Drive                                        Unliquidated
         Fayetteville, AR 72701                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.24
         Desmond Lee                                                  Contingent
         118 Westbrooke Road                                          Unliquidated
         Welling ENG DA16 1QE                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.171
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.51
         Desmond Mathison                                             Contingent
         102 Westview Lane                                            Unliquidated
         Jackson, CA 95642                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Desmond Stanford                                             Contingent
         48 St Johns Place                                            Unliquidated
         Brooklyn, NY 11217                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Desmond Stanford                                             Contingent
         48 St Johns Place                                            Unliquidated
         Brooklyn, NY 11217                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Devin Carthorn                                               Contingent
         3824 Briarcliff Way                                          Unliquidated
         Chattanooga, TN 37406                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $81.50
         Devin Gavgani                                                Contingent
         Bergsvagen 23 A                                              Unliquidated
         Savedalen 433 61                                             Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 250 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 270 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.171
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Devin McBride                                                Contingent
         1005 Lily Pad Lane                                           Unliquidated
         Leander, TX 78641                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Devin McLaughlin                                             Contingent
         1500 Winwood Street                                          Unliquidated
         Las Vegas, NV 89108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Devin Scott                                                  Contingent
         16305 100 Avenue Northwest                                   Unliquidated
         Edmonton AB T5P 1L6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.172
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.09
         Devin Slockbower                                             Contingent
         139 English Court                                            Unliquidated
         Bushkill, PA 18324                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Devin Tyler                                                  Contingent
         1402 Caywood Circle South                                    Unliquidated
         Lehigh Acres, FL 33936                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Devyn Boettcher                                              Contingent
         3631 Stoneleigh Drive                                        Unliquidated
         Lansing, MI 48910                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Dex Carr                                                     Contingent
         6272 Equine Dr                                               Unliquidated
         Crestview, FL 32536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 251 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 271 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.172
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,669.55
         Dexter Barbosa                                               Contingent
         9590 Gurney Court                                            Unliquidated
         Elk Grove, CA 95758                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Dexter Lin                                                   Contingent
         42 Heron Pointe Court                                        Unliquidated
         Marlton, NJ 08053-1778                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $772.09
         Dhan Bahadur Rai
         6608 42 Street                                               Contingent
         207A                                                         Unliquidated
         Lloydminster AB T9V 3L1                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.172
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Dharma Miryala                                               Contingent
         18 Canoe Birch Place                                         Unliquidated
         The Woodlands, TX 77382                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Dharminder Chandale
         234 Horton Road                                              Contingent
         Datchet                                                      Unliquidated
         Berkshire ENG SL39HN                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.55
         Dharshan Dasrath                                             Contingent
         1638 Prairie Avenue, #208                                    Unliquidated
         Port Coquitlam BC V3B 1T7                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 252 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 272 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.173
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Dharshan Dasrath
         1638 Prairie Ave                                             Contingent
         Suite 208                                                    Unliquidated
         Port Coquitlam BC V3B1T7                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Dhaval Panchal                                               Contingent
         18482 Buttonwood Lane                                        Unliquidated
         Rowland Heights, CA 91748                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Dheeraj Gundapaneni                                          Contingent
         1093 Mariners Point Dr                                       Unliquidated
         St. Louis, MO 63141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,382.19
         Diaa Alzein                                                  Contingent
         38 Rosemary Drive                                            Unliquidated
         Lalor VIC 3075                                               Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,019.03
         Diaa Alzein                                                  Contingent
         1 Spring Street                                              Unliquidated
         Melbourne VIC 3074                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Diamante Borrega
         4650 Rue Jean Talon Est                                      Contingent
         Apt. 1002                                                    Unliquidated
         Montreal QC H1P2V5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 253 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 273 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.173
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.22
         Diana Hermosillo
         Puerto Marquez 1305                                          Contingent
         Valle Primavera                                              Unliquidated
         Monterrey NL 64840                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Diana Sharber                                                Contingent
         509 West 155th Street                                        Unliquidated
         5F                                                           Disputed
         New York, NY 10032
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Diane Dykas                                                  Contingent
         135 Glenforest Road                                          Unliquidated
         Toronto ON M4N 2A1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $73.38
         Diane Hartman                                                Contingent
         1239 Heath Street                                            Unliquidated
         Redlands, CA 92374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Diane Mevorach                                               Contingent
         83 Navesink Avenue                                           Unliquidated
         Fair Haven, NJ 07704                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $756.41
         Dianni Scarborough                                           Contingent
         28 Nye Bevan Estate                                          Unliquidated
         London ENG E5 0AG                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 254 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 274 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.174
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Dick Amen                                                    Contingent
         7361 Rockmont Ave                                            Unliquidated
         Westminster, CA 92683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.73
         Daniel Dickson                                               Contingent
         11 Greenwich Road                                            Unliquidated
         East Longmeadow, MA 01028-1416                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Didier Mondestin                                             Contingent
         2273 Rue Denonville                                          Unliquidated
         Montreal QC H4E 1M7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Diego Bermudez                                               Contingent
         9633 Holly Patch                                             Unliquidated
         San Antonio, TX 78254                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.28
         Diego Laurent                                                Contingent
         295 Rue Fontaine                                             Unliquidated
         Saint-Jean-Sur-Richelieu QC J2Y 1G7                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,004.70
         Diego Ponce                                                  Contingent
         3005 Princess Lane                                           Unliquidated
         Plano, TX 75074                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Diego Saal                                                   Contingent
         19340 NE 18 Ct                                               Unliquidated
         Miami, FL 33179                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 255 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 275 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.175
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Fernando Diez Barroso                                        Contingent
         907 5th Avenue                                               Unliquidated
         6Ad                                                          Disputed
         New York, NY 10021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Fernando Diez Barroso                                        Contingent
         907 5th Avenue                                               Unliquidated
         6Ad                                                          Disputed
         New York, NY 10021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,158.01
         Dike Ezenekwe                                                Contingent
         2611 East Broadway, #202                                     Unliquidated
         Long Beach, CA 90803                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Dilesh Patel                                                 Contingent
         2650 Evans Way                                               Unliquidated
         Olive Branch, MS 38654-4925                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.62
         Dillon Frost                                                 Contingent
         210 N Oak St                                                 Unliquidated
         Villa Grove, IL 61956                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Dillon Miller                                                Contingent
         688 Old Quarry Road                                          Unliquidated
         Apt 11                                                       Disputed
         Pleasant Hill, CA 94523
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.03
         Dillon Moreland                                              Contingent
         1716 Longhill Road                                           Unliquidated
         Millington, NJ 07946                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 256 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 276 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.175
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Dillon Terman                                                Contingent
         2117 Madison Cir                                             Unliquidated
         Northbrook, IL 60062                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.81
         Dimitar Ilchev
         Knyaz Boris 1 Str, Nuber 33,                                 Contingent
         Nuber 33                                                     Unliquidated
         Bansko 2770                                                  Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.48
         Dimitrios Athanasios Drougas                                 Contingent
         Tanaidos 29                                                  Unliquidated
         Athens 11142                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,651.99
         Dimitrios Saleh El Ayed                                      Contingent
         Ax. Samothrakis 23                                           Unliquidated
         Thessaloniki 54248                                           Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dimple Sethi                                                 Contingent
         27127 Liberty Heights Ln                                     Unliquidated
         Fulshear, TX 77441                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Dinca Dumitru                                                Contingent
         Strada Targului, Nr. 75                                      Unliquidated
         Dragasani VL 245700                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 257 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 277 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.176
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.21
         Dinesanandan Anandavel                                       Contingent
         1067 Manotick Station Rd                                     Unliquidated
         Ottawa ON K4M1B2                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,842.47
         Dion K                                                       Contingent
         40 West 89th Street                                          Unliquidated
         4A                                                           Disputed
         Ny, NY 10024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,147.45
         Dionisio Newaza                                              Contingent
         79 Tristan                                                   Unliquidated
         Sacramento, CA 95823                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Diontei French                                               Contingent
         1308 South Cactus Avenue                                     Unliquidated
         Bloomington, CA 92316                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Diony Sepulveda                                              Contingent
         2300 North Berrys Chapel Road                                Unliquidated
         Franklin, TN 37069                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Mary Diorelle Rodriguez                                      Contingent
         6343 Broadway                                                Unliquidated
         San Diego, CA 92114                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,196.44
         Dipak Bhattarai                                              Contingent
         3 Laguna Street                                              Unliquidated
         Kellyville Ridge NSW 2155                                    Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 258 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 278 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.177
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Divya Rijal                                                  Contingent
         815 W. 59th St.                                              Unliquidated
         La Grange Highlands, IL 60525                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.49
         Dmitry Khazhinov                                             Contingent
         5953 Armaga Spring Road                                      Unliquidated
         Unit B                                                       Disputed
         Rancho Palos Verdes, CA 90275
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.177
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.32
         Dmytro Gapon                                                 Contingent
         4200 Westbay Rd                                              Unliquidated
         Lake Oswego, OR 97035                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Dmytro Nikitchenko                                           Contingent
         Klingerstr. 14                                               Unliquidated
         Munich 81369                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.177
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Doan Tran                                                    Contingent
         2382 Ridgeglen Way                                           Unliquidated
         San Jose, CA 95133                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Andrew Dodge                                                 Contingent
         483 28th St SE                                               Unliquidated
         Apt 203                                                      Disputed
         Rochester, MN 55904
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.177
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Dogaru Adela Mihalea                                         Contingent
         Str. Mikszath Kalman, Nr 32, Ap.4                            Unliquidated
         Dumbravita TM 307116                                         Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 259 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 279 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.177
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Domenic Tassoni                                              Contingent
         115 Terrace Drive Northeast                                  Unliquidated
         Atlanta, GA 30305                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $881.08
         Dominic Hermida                                              Contingent
         Margaritas 92 Entre Azucenas Y Bugambili                     Unliquidated
         Veracruz VER 91948                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.177
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $881.08
         Dominic Hermida                                              Contingent
         Margaritas 92 Entre Azucenas Y Bugambili                     Unliquidated
         Veracruz VER 91948                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.178
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.94
         Dominic Jeanbaptiste                                         Contingent
         7958 S. Paxton Ave                                           Unliquidated
         Chicago, IL 60617                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dominic Silvani                                              Contingent
         6501 S Lynncrest Terrace                                     Unliquidated
         Chattanooga, TN 37416-1212                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.00
         Dominick Rushton
         76 Marland Way                                               Contingent
         Flat 3                                                       Unliquidated
         Manchester ENG M32 0NQ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 260 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 280 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.178
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.10
         Dominika Skiba                                               Contingent
         14 Vulcan Close                                              Unliquidated
         Nottingham NG60GW                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.178
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.37
         Dominique Keyes                                              Contingent
         2888 El Sobrante St                                          Unliquidated
         Santa Clara, CA 95051-3714                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Don Balkema                                                  Contingent
         2702 Ravine Road                                             Unliquidated
         Kalamazoo, MI 49004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Don Bell                                                     Contingent
         712 NE 72 St                                                 Unliquidated
         Miami, FL 33138                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Don Law                                                      Contingent
         7121 E. 81st Pl                                              Unliquidated
         Tulsa, OK 74133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.81
         Don McBride                                                  Contingent
         2735 Beach River Dr.                                         Unliquidated
         Reno, NV 89521                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,358.87
         Don Morse                                                    Contingent
         500 West South Street                                        Unliquidated
         Freeport, IL 61032                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 261 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 281 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.179
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.87
         Don Morse                                                    Contingent
         500 West South Street                                        Unliquidated
         Freeport, IL 61032                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Don Vu                                                       Contingent
         3925 3rd Ave. S.                                             Unliquidated
         Minneapolis, MN 55409                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,795.13
         Donald Choi                                                  Contingent
         660 Wyndrise Dr                                              Unliquidated
         Blue Bell, PA 19422-2903                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.37
         Donald Clausen                                               Contingent
         10510 57th Pl N                                              Unliquidated
         Plymouth, MN 55442                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,046.14
         Donald Haight                                                Contingent
         616 Shelby Rd Ste A                                          Unliquidated
         Fort Worth, TX 76140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Donald Hughes                                                Contingent
         30 Haefele St                                                Unliquidated
         Hanover Twp, PA 18706-1002                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Donald Johnson                                               Contingent
         2625 Brompton Court                                          Unliquidated
         Orlando, FL 32833                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 262 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 282 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.179
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Donald Johnson                                               Contingent
         2625 Brompton Court                                          Unliquidated
         Orlando, FL 32833                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Donald Johnson                                               Contingent
         2625 Brompton Court                                          Unliquidated
         Orlando, FL 32833                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.71
         Donald Keating                                               Contingent
         275 Northwest Cherry Pl                                      Unliquidated
         Issaquah, WA 98027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 263 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 283 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.180
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.04
         Donald Ladanyi                                               Contingent
         5115 E Lake Road                                             Unliquidated
         Apt 1101                                                     Disputed
         Sheffield Lake, OH 44054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $788.51
         Donald Lavigne                                               Contingent
         12 Perry Road                                                Unliquidated
         Annandale, NJ 08801                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Donald Maher                                                 Contingent
         104 Nobility Dr                                              Unliquidated
         104 Nobility Dr, SC 29210                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,739.59
         Donald Medon                                                 Contingent
         443 Auburn Rd                                                Unliquidated
         Landenberg, PA 19350                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Donald Michael                                               Contingent
         3 Woodcock Rd                                                Unliquidated
         Unit 3113                                                    Disputed
         Savannah, GA 31404-1091
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.181
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Donald Simonton                                              Contingent
         6002 Native Woods Dr                                         Unliquidated
         Tampa, FL 33625                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 264 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 284 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.181
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.52
         Donald Tran                                                  Contingent
         2508 Country Club Drive West                                 Unliquidated
         Irving, TX 75038                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Donald Williams                                              Contingent
         2401 John Marshall Drive                                     Unliquidated
         Arlington, VA 22207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.28
         Dong Kim                                                     Contingent
         333A Highland Avenue                                         Unliquidated
         Palisades Park, NJ 07650                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,031.30
         Donggun Lee                                                  Contingent
         43 Constitution Avenue, #41                                  Unliquidated
         Reid ACT 2612                                                Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.181
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Dongping Cai                                                 Contingent
         49 Cliffwood Road                                            Unliquidated
         Toronto ON M2H 3K3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.181
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Donnetta Gregory                                             Contingent
         15504 Hall Road                                              Unliquidated
         Bowie, MD 20721                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $169.00
         Vanina Margarita Donoso                                      Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 265 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 285 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.181
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,319.80
         Vanina Margarita Donoso                                      Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $669.66
         Vanina Margarita Donoso                                      Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,292.38
         Donovan Ryckis                                               Contingent
         333 S Garland Ave                                            Unliquidated
         Fl 13                                                        Disputed
         Orlando, FL 32801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.182
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Dontae Armour                                                Contingent
         5600 Dana Way                                                Unliquidated
         Sacramento, CA 95822                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.32
         Bryan Doo                                                    Contingent
         20516 Sartell Drive                                          Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Dorian Valdez                                                Contingent
         11036 Shaw Street                                            Unliquidated
         Rancho Cucamonga, CA 91701                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.52
         Doug Allen                                                   Contingent
         2819 Fox Ridge Road                                          Unliquidated
         Ooltewah, TN 37363                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 266 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 286 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.182
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Doug Boyer                                                   Contingent
         1323 Brayshore Dr.                                           Unliquidated
         Collierville, TN 38017                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.69
         Doug Kulak                                                   Contingent
         6109 Alvin Dr                                                Unliquidated
         Redding, CA 96001                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.96
         Doug Mccluer                                                 Contingent
         547 Goliad Dr.                                               Unliquidated
         Allen, TX 75002                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Doug Vonberg                                                 Contingent
         2311 Mid Ln.                                                 Unliquidated
         #1210                                                        Disputed
         Houston, TX 77027
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.182
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.28
         Douglas Geiling                                              Contingent
         1983 Eaton Street                                            Unliquidated
         Lakewood, CO 80214                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,791.78
         Douglas Grisham                                              Contingent
         8 The Green, Suite A                                         Unliquidated
         Dover, DE 19901                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Douglas Hillman                                              Contingent
         6820 Wyndham Drive                                           Unliquidated
         Apt 4                                                        Disputed
         Sacramento, CA 95823
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 267 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 287 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.183
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Douglas M Lucas                                              Contingent
         5 Kellie Court                                               Unliquidated
         Califon, NJ 07830                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Douglas Polk                                                 Contingent
         18 Henry Street                                              Unliquidated
         Glens Falls, NY 12801                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Douglas Polk                                                 Contingent
         18 Henry Street                                              Unliquidated
         Glens Falls, NY 12801                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.27
         Alan Doyle                                                   Contingent
         45 Barronsgrange Park                                        Unliquidated
         Carryduff NIR BT8 8LF                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.183
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $813.00
         Dragostin Cristian
         No. 103B, Matei Voievod Street, 2nd Coun                     Contingent
         Apartment 10, 4th Floor                                      Unliquidated
         Bucharest B 21453                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.183
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Drew Mackey                                                  Contingent
         4154 Piedmont Avenue                                         Unliquidated
         Apartment 7                                                  Disputed
         Oakland, CA 94611
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 268 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 288 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.183
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,195.77
         Drew Sisneros                                                Contingent
         19144 West 85th Bluff                                        Unliquidated
         Arvada, CO 80007                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,557.54
         Drew Soltis                                                  Contingent
         104 E Manor Dr                                               Unliquidated
         Mill Valley, CA 94941-1370                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,438.44
         Drew Soltis                                                  Contingent
         104 E Manor Dr                                               Unliquidated
         Mill Valley, CA 94941-1370                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Dudley Lucien                                                Contingent
         1360 Rue De La Foret                                         Unliquidated
         Longueuil QC J4N 1S5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,560.62
         Dumaine Landa
         Apt 8, 1A Range Road                                         Contingent
         Whalley Range                                                Unliquidated
         Manchester ENG M16 8FS                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,759.14
         Patrick Duncan                                               Contingent
         P.O. Box 1186                                                Unliquidated
         Arnold, MO 63010                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Scott Dupriest                                               Contingent
         201 Warren Court                                             Unliquidated
         Nashville, TN 37138                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 269 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 289 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.184
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.05
         Aaron Duran                                                  Contingent
         211 W Wacker Dr. Suite 1850                                  Unliquidated
         Chicago, IL 60606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Durgesh Dewangan                                             Contingent
         15014 Montezuma Quail Dr.                                    Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $881.04
         Dusan Vukotic                                                Contingent
         Kraljevica Marka 12 1                                        Unliquidated
         Belgrade 11000                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,683.30
         Dusan Vukotic                                                Contingent
         Kraljevica Marka 12 1                                        Unliquidated
         Belgrade 11000                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,407.74
         Dustin Bibb                                                  Contingent
         5933 Oswald St                                               Unliquidated
         Columbus, OH 43081                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Dustin Brewer                                                Contingent
         4524 T Moore Road                                            Unliquidated
         Oakwood, GA 30566                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dustin Brewer                                                Contingent
         4524 T Mor Cove                                              Unliquidated
         Oakwood, GA 30566                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 270 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 290 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.185
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dustin Malamis                                               Contingent
         6519 Alan Linton Blvd East                                   Unliquidated
         Frederick, MD 21703                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.33
         Dustin Mendez                                                Contingent
         Hda Barbabosa 34                                             Unliquidated
         San Mateo Atenco MEX 52105                                   Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.185
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Dustin Van Der Linde                                         Contingent
         246 Stewart Green Sw                                         Unliquidated
         Calgary AB T3H 3C8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.185
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Dusty Brillhart                                              Contingent
         239 Elkhart Ave                                              Unliquidated
         Box 165                                                      Disputed
         Elkhart, KS 67950
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.185
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Dusty Durr                                                   Contingent
         333 Evelyn Dr                                                Unliquidated
         Luling, LA 70070-6013                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.12
         Dusty Rautiainen                                             Contingent
         3291 Douglas Hwy                                             Unliquidated
         Juneau, AK 99801-1917                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Dwayne Samuel                                                Contingent
         10326 68th Road Apt A16                                      Unliquidated
         Forest Hills, NY 11375                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 271 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 291 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.185
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Dylan Buijk
         540 Essa Road                                                Contingent
         Unit 29                                                      Unliquidated
         Barrie ON L9J 0H2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.52
         Dylan Crane                                                  Contingent
         1214 Lake Ave                                                Unliquidated
         Apt B (Yellow House, Lower Unit)                             Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Dylan Dew                                                    Contingent
         7023 North Oceanshore Blvd                                   Unliquidated
         Palm Coast, FL 32137                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.35
         Dylan Lowery                                                 Contingent
         49715 Garfield Lane                                          Unliquidated
         Canton, MI 48188                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.81
         Dylan Sandry                                                 Contingent
         4213 Barbara Lane                                            Unliquidated
         Missoula, MT 59803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.99
         Dylan Xavier                                                 Contingent
         Cmri, 214 Hawkesbury Road                                    Unliquidated
         Westmead NSW 2145                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 272 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 292 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.186
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Dyllan Wostbrock                                             Contingent
         10570 Dixon Dr S, #403                                       Unliquidated
         Seminole, FL 33772                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         E Holley                                                     Contingent
         5331 Breakers Lane                                           Unliquidated
         Patrick Air Force Base, FL 32925                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         E Holley                                                     Contingent
         5331 Breakers Lane                                           Unliquidated
         Patrick Air Force Base, FL 32925                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.81
         E Van Der Linden                                             Contingent
         Klapwijkse Zoom 4                                            Unliquidated
         Berkel En Rodenrijs 2652EE                                   Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Easton Riley                                                 Contingent
         456 Pequonnock Street                                        Unliquidated
         Bridgeport, CT 06604                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ebrahim Moosa                                                Contingent
         1516 Hennessey Drive                                         Unliquidated
         Allen, TX 75013                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,342.70
         Ebubekir Kilic
         Meydan Mahallesi Kucuk Bolcek Caddesi No                     Contingent
         Bim Ustu Kesik Minare Camisi Kar S                           Unliquidated
         Aksaray 68200                                                Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 273 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 293 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.187
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,143.38
         Ed Sarkisov                                                  Contingent
         1319 North Detroit Street                                    Unliquidated
         Apt 102                                                      Disputed
         Los Angeles, CA 90046
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.187
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $22.80
         Eddie Cavill                                                 Contingent
         85 William Smith Close                                       Unliquidated
         Cambridge ENG CB1 3QE                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.187
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,455.99
         Eddie Chu                                                    Contingent
         2729 Wilbur Ave                                              Unliquidated
         San Jose, CA 95127                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Eddie Lee                                                    Contingent
         120 Patricia Avenue                                          Unliquidated
         Toronto ON M2M 1J4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.187
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Eddie Roedig                                                 Contingent
         2949 Split Hickory Ct.                                       Unliquidated
         Johns Island, SC 29455                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Eddie Valencia                                               Contingent
         8835 Woodman Ave                                             Unliquidated
         Arleta, CA 91331                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Eddy Pan                                                     Contingent
         330 Berry St                                                 Unliquidated
         Unit 423                                                     Disputed
         San Francisco, CA 94158
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 274 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 294 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.187
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.33
         Eder Martinez Molina
         Yagul 5889                                                   Contingent
         Colonia Pinar De La Calma                                    Unliquidated
         Zapopan JAL 45080                                            Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.188
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,424.05
         Eder Teixeira                                                Contingent
         208 Sky Acres Drive                                          Unliquidated
         Westworth Village, TX 76114                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Edgar Green                                                  Contingent
         2454 Key Largo Lane                                          Unliquidated
         Fort Lauderdale, FL 33312                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Edgar Martinez                                               Contingent
         19711 Windmoor Ct                                            Unliquidated
         Katy, TX 77449                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Edgar Moya                                                   Contingent
         4817 Fairgrave Ave                                           Unliquidated
         Santa Rosa, CA 95407                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,086.59
         Edgar Paredes                                                Contingent
         Mar Azof 55                                                  Unliquidated
         Miguel Hidalgo DF 11410                                      Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 275 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 295 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.188
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Edgar Rosas                                                  Contingent
         841 W 42nd Pl Apt 8                                          Unliquidated
         Los Angeles, CA 90037                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.19
         Edgar Wright                                                 Contingent
         4122 West Michigan Avenue, #2                                Unliquidated
         Kalamazoo, MI 49006                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,243.87
         Edilberto Diaz                                               Contingent
         13510 North 49th Avenue                                      Unliquidated
         Glendale, AZ 85304                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.14
         Edin Selimovic                                               Contingent
         9648 Red Sunset Ct                                           Unliquidated
         West Des Moines, IA 50266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Edin Selimovic                                               Contingent
         9648 Red Sunset Ct                                           Unliquidated
         West Des Moines, IA 50266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.06
         Edmund Chao
         4818 Eldorado Mews                                           Contingent
         Suite 707, Buzzer 2791                                       Unliquidated
         Vancouver BC V5R 0B3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,465.10
         Edoardo Damasco                                              Contingent
         Via Podio 19/2                                               Unliquidated
         Pino Torinese TO 10025                                       Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 276 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 296 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.189
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Edsel Abuyen                                                 Contingent
         7450 Shoshone Ave                                            Unliquidated
         Van Nuys, CA 91406                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Edson Manners                                                Contingent
         3708 Carrington Pl                                           Unliquidated
         Tallahassee, FL 32303                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,632.93
         Eduard Baier                                                 Contingent
         Ranhazweg 117                                                Unliquidated
         Ottobrunn 85521                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,632.69
         Eduard Baier                                                 Contingent
         Ranhazweg 117                                                Unliquidated
         Ottobrunn 85521                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,448.56
         Eduard Boan                                                  Contingent
         Carrer Pau Casals 129                                        Unliquidated
         Ripollet B 8291                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.15
         Eduard Renschler                                             Contingent
         Am Grunlingsbaum 60                                          Unliquidated
         Wertheim 97877                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.73
         Eduardo Acosta                                               Contingent
         1770 NW 96th Ave                                             Unliquidated
         Doral, FL 33172-2317                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 277 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 297 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.189
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Eduardo Alcaine                                              Contingent
         998 Ibis Avenue                                              Unliquidated
         Miami Springs, FL 33166                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.37
         Eduardo Calderon
         Punta Vizcaya Edif 24                                        Contingent
         Departamento 601                                             Unliquidated
         Oaxaca, Oaxaca OAX 71324                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.51
         Eduardo Cartagena                                            Contingent
         2270 NW 74th Avenue                                          Unliquidated
         Sunrise, FL 33313                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.53
         Eduardo Colombo                                              Contingent
         Vasallo 4027                                                 Unliquidated
         Rosario S 2000                                               Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,486.74
         Eduardo Jonas Ortiz Contreras                                Contingent
         Mariano Matamoros 521-C Interior 107                         Unliquidated
         San Luis Potosi SLP 78049                                    Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Eduardo Llausas Villareal                                    Contingent
         Coscomate 195                                                Unliquidated
         Ciudad De Mexico DF 4730                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 278 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 298 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.190
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Eduardo Quiroz                                               Contingent
         9018 Pemberton St                                            Unliquidated
         Spring Hill, FL 34608                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.51
         Eduardo Salej                                                Contingent
         5414 North 10th Street                                       Unliquidated
         Mcallen, TX 78504                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.73
         Eduardo Tinoco                                               Contingent
         223 Vauxhall Street                                          Unliquidated
         New London, CT 06320                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Eduardo Vargas                                               Contingent
         1211 San Dario Ave., #1188                                   Unliquidated
         Laredo, TX 78040                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.01
         Eduardo Vargas                                               Contingent
         1211 San Dario Ave., #1188                                   Unliquidated
         Laredo, TX 78040                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $966.82
         Edvard Pohl                                                  Contingent
         A Martinska Cesta 24                                         Unliquidated
         Ljubljana 1000                                               Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.191
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $880.52
         Edvardas Karmazinas                                          Contingent
         Vido Maciuleviciaus 49, #27                                  Unliquidated
         Vilnius 4310                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 279 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 299 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.191
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.06
         Edvinas Jacevicius                                           Contingent
         20 N Tower Rd                                                Unliquidated
         Unit 4L                                                      Disputed
         Oak Brook, IL 60523
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.191
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Edward Acevedo                                               Contingent
         40 Felton Ave                                                Unliquidated
         Valley Stream, NY 11580                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,496.51
         Edward Avetisian                                             Contingent
         1044 E Palm Ave                                              Unliquidated
         Burbank, CA 91501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Edward Bogart                                                Contingent
         14402 South Oakfield Way                                     Unliquidated
         Riverton, UT 84096                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Edward Cabral                                                Contingent
         26 Sunset Avenue                                             Unliquidated
         East Providence, RI 02915                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $128.51
         Edward Derderian                                             Contingent
         22121 North 79th Place                                       Unliquidated
         Scottsdale, AZ 85255                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Edward McLean                                                Contingent
         68 Easy Street                                               Unliquidated
         Howell Twp, NJ 07731                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 280 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 300 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.191
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Edward Morrison                                              Contingent
         205 20th Street Northeast                                    Unliquidated
         Apt 2                                                        Disputed
         Washington, DC 20002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.192
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Edward Parker                                                Contingent
         38 Stevenson Rd.                                             Unliquidated
         Laurel, MS 39443                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.38
         Edward Perper                                                Contingent
         20175 Avenida De Arboles                                     Unliquidated
         Murrieta, CA 92562                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Edward Polanco                                               Contingent
         3300 S Garrison St, #1113                                    Unliquidated
         Corinth, TX 76210                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $765.28
         Edward Richter                                               Contingent
         935 Buckhead Trail                                           Unliquidated
         Mt. Juliet, TN 37122                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Edward Savage                                                Contingent
         12 Morris Street                                             Unliquidated
         Sewaren, NJ 07077                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,117.27
         Edward Sterling                                              Contingent
         14422 S 11th Pl                                              Unliquidated
         Phoenix, AZ 85048                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 281 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 301 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.192
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $879.50
         Edward Stevens                                               Contingent
         8 Brussels Road                                              Unliquidated
         London ENG SW11 2AF                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.192
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,549.43
         Barrington Edwards                                           Contingent
         688 N 7th Street                                             Unliquidated
         Colton, CA 92324                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,446.75
         Edwin Choi                                                   Contingent
         3663 W 6th St Ste 303                                        Unliquidated
         Los Angeles, CA 90020                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Edyson Sanchez                                               Contingent
         5 Ossington Close                                            Unliquidated
         Nottingham ENG NG1 4EU                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,746.86
         Effie Mourginos                                              Contingent
         9 Avesnes Street                                             Unliquidated
         Holland Park QLD 4121                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.59
         Efthymios Stamatopoulos
         Kallikratias 13                                              Contingent
         3 Floor                                                      Unliquidated
         Athens 14233                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 282 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 302 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.193
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,941.24
         Ege Delimollaoglu                                            Contingent
         130 Overlook Avenue                                          Unliquidated
         Hackensack, NJ 07601                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.193
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,632.93
         Eggert Stoefen                                               Contingent
         Hoheluftchaussee 69                                          Unliquidated
         Hamburg 20253                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,632.93
         Eggert Stoefen                                               Contingent
         Hoheluftchaussee 69                                          Unliquidated
         Hamburg 20253                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.86
         Elad Kimber Arye                                             Contingent
         Place De-Grenus #8                                           Unliquidated
         Geneva 1201                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,452.96
         Elaine Martens                                               Contingent
         101 Secrest Place                                            Unliquidated
         Penticton BC V2A 3R2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Elan Kels                                                    Contingent
         7129 Park Drive East                                         Unliquidated
         Apt A                                                        Disputed
         Flushing, NY 11367
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Elangovan Thevar                                             Contingent
         3541 Jefferson St                                            Unliquidated
         Kansas City, MO 64111-2802                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 283 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 303 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.193
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.71
         Eli Cuaresma                                                 Contingent
         1932 Avenida Echeveria                                       Unliquidated
         Unit 2                                                       Disputed
         Chula Vista, CA 91913
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.57
         Eli Cytrynbaum
         6111 Avenue Du Bois                                          Contingent
         M12                                                          Unliquidated
         Montreal QC H3S2V8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Eli Cytrynbaum
         6111 Avenue Du Bois                                          Contingent
         M12                                                          Unliquidated
         Montreal QC H3S2V8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Eli Cytrynbaum
         6111 Avenue Du Bois                                          Contingent
         M12                                                          Unliquidated
         Montreal QC H3S2V8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Eli Obus                                                     Contingent
         25 McWilliams Place                                          Unliquidated
         Ph 503                                                       Disputed
         Jersey City, NJ 07302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $593.65
         Elian Bazer Bashi
         Venngarn 420B                                                Contingent
         Lgh1001stenladan                                             Unliquidated
         Sigtuna 19391                                                Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 284 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 304 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.194
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Eliana Panario                                               Contingent
         5430 SW 40th St                                              Unliquidated
         Casa                                                         Disputed
         Davie, FL 33314-3710
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Elias Duncan                                                 Contingent
         12 Meadowbrook Lane                                          Unliquidated
         West Memphis, AR 72301                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Elias Feliciano                                              Contingent
         3201 Eden St,                                                Unliquidated
         Apt 73                                                       Disputed
         Pascagoula, MS 39581-3615
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.194
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.52
         Elias Yarrito                                                Contingent
         118 Axlewood Court                                           Unliquidated
         Montgomery, TX 77316                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.66
         Eliezer Moskowitz                                            Contingent
         13 Prag Blvd #402                                            Unliquidated
         Monroe, NY 10950                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.38
         Elijah Cedario                                               Contingent
         1019 Emory Street                                            Unliquidated
         Imperial Beach, CA 91932                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 285 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 305 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.195
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $23.37
         Elio Santos
         Rua Republica Da Bolivia                                     Contingent
         57 5D                                                        Unliquidated
         Lisboa PT-11 1500-544                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.195
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.48
         Eliot Aretskin-Hariton                                       Contingent
         3377 Wooster Road                                            Unliquidated
         Rocky River, OH 44116                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Eliyahu Scholl                                               Contingent
         145 North Highland Avenue                                    Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Shneor Eliyahu                                               Contingent
         17320 NE 12th Ct                                             Unliquidated
         Miami, FL 33162                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.14
         Elizabeth Peters                                             Contingent
         4510 Falcon Pl                                               Unliquidated
         Midland, TX 79707                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.28
         Elizabeth Schneider                                          Contingent
         152 Liberty Ave                                              Unliquidated
         Manahawkin, NJ 08050                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Elizabeth Silva                                              Contingent
         3500 8th Avenue                                              Unliquidated
         Unit A                                                       Disputed
         Fort Worth, TX 76110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 286 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 306 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.195
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Elizabeth Stenger                                            Contingent
         6622 59th Court                                              Unliquidated
         Vero Beach, FL 32967                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Elizabeth Stenger                                            Contingent
         6622 59th Ct                                                 Unliquidated
         Vero Beach, FL 32967                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Ellie Thomas                                                 Contingent
         7 Longstone Park                                             Unliquidated
         Edinburgh SCT EH142BL                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.196
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Elliot Antokas                                               Contingent
         3446 Connecticut Ave Nw, #304                                Unliquidated
         Washington, DC 20008                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Elmer Gonzalez                                               Contingent
         5792 Chiquita Lane                                           Unliquidated
         San Bernardino, CA 92404                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Elmohamadi Jad                                               Contingent
         1587 East 19th Street                                        Unliquidated
         8H                                                           Disputed
         Brooklyn, NY 11230
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.196
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.39
         Elnasri Elnasri                                              Contingent
         1740-7451 Falconridge Blvd NE                                Unliquidated
         Calgary AB T3J0Z8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 287 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 307 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.196
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,860.89
         Elpico Bv                                                    Contingent
         Vinkelsestraat 64                                            Unliquidated
         Vinkel 5383 KM                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.196
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Elvis Pudic                                                  Contingent
         702 Buckley Rd                                               Unliquidated
         Saint-Louis, MO 63125                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.14
         Elvis Pudic                                                  Contingent
         702 Buckley Rd.                                              Unliquidated
         St. Louis, MO 63125                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.30
         Elyona Binjaku                                               Contingent
         Via Messedaglia 16A                                          Unliquidated
         Sona VR 37060                                                Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.196
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Emad Meikhaeil                                               Contingent
         132 Northern Blvd                                            Unliquidated
         Staten Island, NY 10301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.28
         Emanoel Mendes                                               Contingent
         2170 Dufferin Street                                         Unliquidated
         Toronto ON M6E 3R8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 288 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 308 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.197
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Emanuel Huard
         11075 Boul Henri Bourassa                                    Contingent
         P.O. Box 65054                                               Unliquidated
         Quebec QC G1G 3X0                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $838.00
         Emanuel Nica                                                 Contingent
         Str. Elicei Nr. 26                                           Unliquidated
         Sannicoara Jud.Cluj CJ 407042                                Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,034.52
         Emanuel Safiyev                                              Contingent
         3594 Stanton Lane                                            Unliquidated
         Peachtree Corners, GA 30092                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,758.55
         Emanuele Spirito                                             Contingent
         Via Giuseppe Antonio Sassi 2                                 Unliquidated
         Milano MI 20123                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $701.97
         Emerald Mojica                                               Contingent
         5151 N 95th Ave                                              Unliquidated
         Apt 2068                                                     Disputed
         Glendale, AZ 85305
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Emerald Ritter                                               Contingent
         5715 Cardinal Fls                                            Unliquidated
         San Antonio, TX 78239                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 289 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 309 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.197
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $655.00
         Emil Ganea                                                   Contingent
         Baratiei 31                                                  Unliquidated
         Romania B 30195                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,794.47
         Emile Rossouw
         79 South Street                                              Contingent
         Epsom                                                        Unliquidated
         London ENG KT18 7PY                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.197
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.59
         Emilia Ranaudo                                               Contingent
         8 The Circus Belton Park Road                                Unliquidated
         Skegness ENG PE251GU                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.198
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.01
         Emiliano Quintal                                             Contingent
         49 Rowntree Mill Rd                                          Unliquidated
         North York ON M9L 1C4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.198
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Emilio Moscosa                                               Contingent
         5811 West Corcoran Place                                     Unliquidated
         Chicago, IL 60644                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Emilio Velez                                                 Contingent
         817 Decatur Street Nw                                        Unliquidated
         Washington, DC 20011                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 290 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 310 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.198
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.12
         Emily Clark                                                  Contingent
         805 E Harney St                                              Unliquidated
         Laramie, WY 82072                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $58.12
         Emily Clark                                                  Contingent
         805 E Harney St                                              Unliquidated
         Laramie, WY 82072                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Emily Foster                                                 Contingent
         9144 Hanover Street                                          Unliquidated
         Omaha, NE 68122                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Emily Kind                                                   Contingent
         25752 Cervantes Lane                                         Unliquidated
         Mission Viejo, CA 92691                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         Emily Wiess                                                  Contingent
         5263 Franklin Street                                         Unliquidated
         Apt 105                                                      Disputed
         Hilliard, OH 43026
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.198
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,128.89
         Emmanouil Tousis                                             Contingent
         Grigoriou Lampraki 60                                        Unliquidated
         Aspropyrgos 19300                                            Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.198
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,909.35
         Emmanuel Balligui                                            Contingent
         1474 Island Ave #2303                                        Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 291 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 311 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.199
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.17
         Emmanuel Reantoquio
         2365 Kennedy Road                                            Contingent
         Ph 11                                                        Unliquidated
         Toronto ON M1T 3S6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.51
         Emmett Grube                                                 Contingent
         3420 Bennett Drive                                           Unliquidated
         Bellingham, WA 98225                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.199
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Emre Sarihan                                                 Contingent
         665 SE 20th Ave                                              Unliquidated
         Office                                                       Disputed
         Deerfield Beach, FL 33441
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,719.56
         Enes Yaman
         Bakirkoy Atakoy 3-4-11 Kisim Mahallesi K                     Contingent
         (Mesa Villasi Villa 19)                                      Unliquidated
         Istanbul 34158                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,196.44
         Engin Sivrioglu
         Shop 3103 Westpoint Shopping Centre                          Contingent
         17 Patrick St                                                Unliquidated
         Blacktown NSW 2148                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,006.30
         Engin Sivrioglu
         Shop 3103 Westpoint Shopping Centre                          Contingent
         17 Patrick St                                                Unliquidated
         Blacktown NSW 2148                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 292 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 312 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.199
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.75
         Enrico Agnolazza                                             Contingent
         Kiraly Utca 34                                               Unliquidated
         Budapest 1061                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.75
         Enrico Brega                                                 Contingent
         Steigerwaldweg 12                                            Unliquidated
         Eschborn 65760                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $693.06
         Enrique Gomez
         Lope De Vega 121                                             Contingent
         Pb2                                                          Unliquidated
         Mexico City DF 11560                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.199
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.43
         Enrique Jose Ortin                                           Contingent
         C/ Matr N 1. Urb El Port N. La Ora                           Unliquidated
         Murcia MU 30830                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,305.82
         Enrique Lascurain Del Paso
         Monte LaBano 605                                             Contingent
         Int 1                                                        Unliquidated
         Ciudad De Mexico MEX 11000                                   Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Enrique Pages                                                Contingent
         80 N Centre Ave                                              Unliquidated
         Apt 238                                                      Disputed
         Rockville Centre, NY 11570
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 293 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 313 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.200
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Enrique Rodriguez                                            Contingent
         1506 Parnell Avenue                                          Unliquidated
         San Antonio, TX 78224                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Ephraim Santos                                               Contingent
         2570 West Lincoln Avenue                                     Unliquidated
         Apt 17                                                       Disputed
         Anaheim, CA 92801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $577.01
         Erberto Guida                                                Contingent
         Via Francesco Genala 19                                      Unliquidated
         Diano Marina IM 18013                                        Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $791.68
         Erhan Tuysuzo lu                                             Contingent
         Kirkkonaklar Mahallesi 382.Cadde No 8 Da                     Unliquidated
         Ankara 6610                                                  Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Eric Benn                                                    Contingent
         292 Locust Street                                            Unliquidated
         Unit C                                                       Disputed
         Dover, NH 03820
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Eric Betts                                                   Contingent
         33446 Whimbrel Road                                          Unliquidated
         Fremont, CA 94555                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.89
         Eric Billingsley                                             Contingent
         6506 Baycrest Cir                                            Unliquidated
         Sachse, TX 75048                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 294 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 314 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.200
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,479.52
         Eric Cantwell                                                Contingent
         136 Doe Trail                                                Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Eric Cantwell                                                Contingent
         136 Doe Trail                                                Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Eric Duff                                                    Contingent
         4201 Aldie Road                                              Unliquidated
         Catharpin, VA 20143                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Eric Favela                                                  Contingent
         5790 Cinnabar Ave                                            Unliquidated
         Las Vegas, NV 89110                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.67
         Eric Fitterer                                                Contingent
         155 Erin Grove                                               Unliquidated
         Calgary AB T2B3L2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.201
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Eric Forero                                                  Contingent
         354 Southeast 1st Drive                                      Unliquidated
         Deerfield Beach, FL 33441                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.97
         Eric Frahm                                                   Contingent
         5333 Spilman Ave                                             Unliquidated
         Sacramento, CA 95819                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 295 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 315 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.201
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,514.13
         Eric Frey                                                    Contingent
         Bachaustrasse 15                                             Unliquidated
         Bach 8806                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.201
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.86
         Eric Fried                                                   Contingent
         3 Water Row                                                  Unliquidated
         Wayland, MA 01778                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.33
         Eric Frost                                                   Contingent
         2108 Oliver Ave S                                            Unliquidated
         Minneapolis, MN 55405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.90
         Eric Hedman                                                  Contingent
         31 Brackett St                                               Unliquidated
         Needham, MA 02492                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Eric Heino                                                   Contingent
         806 Santa Barabara Ave. #1390                                Unliquidated
         Sugarloaf, CA 92386                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,321.36
         Eric Helms                                                   Contingent
         1951 Waterford Point Rd                                      Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Eric Hu                                                      Contingent
         110-42 15th Avenue                                           Unliquidated
         Queens, NY 11356                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 296 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 316 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.202
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Eric Hu                                                      Contingent
         110-42 15th Avenue                                           Unliquidated
         Queens, NY 11356                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Eric Ingram                                                  Contingent
         5904 Mount Eagle Drive                                       Unliquidated
         Apt 102                                                      Disputed
         Alexandria, VA 22303
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.202
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Eric Jung                                                    Contingent
         11025 Grayledge Circle                                       Unliquidated
         Littleton, CO 80130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.29
         Eric Llanos                                                  Contingent
         301 Pine Shadow Lane                                         Unliquidated
         Lake Mary, FL 32746                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,270.81
         Eric Lowe                                                    Contingent
         5703 Stamm Lane                                              Unliquidated
         Nampa, ID 83687                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Eric Mancini                                                 Contingent
         7262 Yellowtail Dr                                           Unliquidated
         Unit 203                                                     Disputed
         Huntington Beach, CA 92648
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.202
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.59
         Eric Martel                                                  Contingent
         36269 Sandringham Drive                                      Unliquidated
         Abbotsford BC V3G 2M4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 297 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 317 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.203
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Eric Martinez                                                Contingent
         5653 Garfield St                                             Unliquidated
         Hollywood, FL 33021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,091.97
         Eric Mertens                                                 Contingent
         Pastoor Rayenstraat 15                                       Unliquidated
         Sittard 6137VT                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.203
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Eric Pan                                                     Contingent
         71-58A 160th St                                              Unliquidated
         Flushing, NY 11365                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Eric Peterson                                                Contingent
         15205 NE 16th Pl                                             Unliquidated
         733B                                                         Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.203
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.99
         Eric Pritchard                                               Contingent
         516 W Arlington                                              Unliquidated
         Weatherford, OK 73096                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.77
         Eric Richards                                                Contingent
         1004 Mayes Drive                                             Unliquidated
         Greenbrier, TN 37073                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,376.87
         Eric Rubio                                                   Contingent
         14002 N. 49th Ave                                            Unliquidated
         Unit 1026                                                    Disputed
         Glendale, AZ 85306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 298 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 318 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.203
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Eric Rubio                                                   Contingent
         14002 N. 49th Ave                                            Unliquidated
         Unit 1026                                                    Disputed
         Glendale, AZ 85306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.203
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,313.09
         Eric Sadovnick                                               Contingent
         600 N Mott Street                                            Unliquidated
         Los Angeles, CA 90033                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,082.56
         Eric Scherzinger                                             Contingent
         20037 Yonge Street                                           Unliquidated
         East Gwillimbury ON L9N 1N2                                  Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.67
         Eric Scheunemann                                             Contingent
         Falkenstrasse 19C                                            Unliquidated
         Munich 81541                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Eric Serpa                                                   Contingent
         117 Gerrard Street East, #509                                Unliquidated
         Toronto ON M5B 2L4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Eric Sowers                                                  Contingent
         641 Butterfly Lane                                           Unliquidated
         Christiansburg, VA 24073                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Eric Steffensen                                              Contingent
         2150 South 1300 East                                         Unliquidated
         Suite 500                                                    Disputed
         Salt Lake City, UT 84106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 299 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 319 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.204
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,847.89
         Eric Tam                                                     Contingent
         680 Claridge Dr                                              Unliquidated
         Pacifica, CA 94044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Eric Tam                                                     Contingent
         680 Claridge Dr                                              Unliquidated
         Pacifica, CA 94044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.38
         Eric Tanaka                                                  Contingent
         9723 62nd Avenue South                                       Unliquidated
         Seattle, WA 98118                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,259.52
         Eric Taylor                                                  Contingent
         1464 Alencastre Street                                       Unliquidated
         Honolulu, HI 96816                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Eric Tran                                                    Contingent
         16371 Saratoga Lane                                          Unliquidated
         Huntington Beach, CA 92649                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.02
         Eric Wolterman                                               Contingent
         301 Klotter Ave                                              Unliquidated
         Cincinnati, OH 45219                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Eric Wong                                                    Contingent
         21239 East Fort Bowie Dr                                     Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 300 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 320 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.205
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Erich Shrewsbury                                             Contingent
         3936 Araby Ct                                                Unliquidated
         Highland, MI 48356                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Erick Machado                                                Contingent
         16 Wisteria Ct                                               Unliquidated
         Tinton Falls, NJ 07712                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $62.75
         Erick Sarrion                                                Contingent
         1281 Ninth Avenue                                            Unliquidated
         Unit 427                                                     Disputed
         San Diego, CA 92101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.205
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $693.05
         Ericson Baguio                                               Contingent
         805 Linden Loop                                              Unliquidated
         Cedar Park, Tx, TX 78613                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Erik Ciceraro                                                Contingent
         124 Druid Circle                                             Unliquidated
         Savannah, GA 31410                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,534.63
         Erik Dwyer                                                   Contingent
         2414 Garfield St NE                                          Unliquidated
         Minneapolis, MN 55418                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,881.38
         Erik Gravgaard                                               Contingent
         Gersonsvej 25                                                Unliquidated
         Hellerup 2900                                                Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 301 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 321 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.205
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,533.70
         Erik Hernandez                                               Contingent
         206 Dana Point Avenue                                        Unliquidated
         Ventura, CA 93004                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,456.00
         Erik Johnson                                                 Contingent
         670 Laguna Dr                                                Unliquidated
         Simi Valley, CA 93065                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $159.14
         Erik Perdomo                                                 Contingent
         5505 Russell Dr                                              Unliquidated
         The Colony, TX 75056-1354                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Erik Perdomo                                                 Contingent
         5505 Russell Dr                                              Unliquidated
         The Colony, TX 75056-1354                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,340.49
         Erik Pinter                                                  Contingent
         66 Sidney Belsey Crescent, #301                              Unliquidated
         Toronto ON M6M 5J4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.59
         Erik Radtke                                                  Contingent
         Rufino Tamayo 2017 Colonia Las Aguilas                       Unliquidated
         Gudalupe NL 67174                                            Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 302 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 322 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.206
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.86
         Erkan Olcay
         Siteler Mah. 1327 Sok. Ilhan Ozturk Apt.                     Contingent
         Kat:2/7                                                      Unliquidated
         Antalya 7070                                                 Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.94
         Ernest Le                                                    Contingent
         562 Fell St                                                  Unliquidated
         San Francisco, CA 94102                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,510.32
         Ernesto Valguarnera                                          Contingent
         Mulihalde 16                                                 Unliquidated
         Schongau 6288                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,355.07
         Ernie Jeffries                                               Contingent
         29140 Trans Canada Highway #1E                               Unliquidated
         Portage La Prairie MB R1N 3C2                                Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,406.76
         Ernst Heller                                                 Contingent
         Bernhard-Plettner-Ring 38                                    Unliquidated
         Erlangen 91052                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.206
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,499.79
         Errison Ahwan                                                Contingent
         27B Coleraine Road                                           Unliquidated
         Blackheath ENG SE37PF                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 303 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 323 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.207
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $825.16
         Esat Qerimi                                                  Contingent
         3416 West 7th Street                                         Unliquidated
         Fort Worth, TX 76107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,495.48
         Esau Padilla                                                 Contingent
         1440 Columbia Street                                         Unliquidated
         Apt. 610                                                     Disputed
         San Diego, CA 92101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,339.29
         Esau Padilla                                                 Contingent
         1440 Columbia Street                                         Unliquidated
         Apt. 610                                                     Disputed
         San Diego, CA 92101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $23.75
         Esben Hjelholt Halle Pedersen                                Contingent
         Monrads Alle 15, St.                                         Unliquidated
         Valby 2500                                                   Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Abraham Esfandiary                                           Contingent
         20 Stuyvesant Oval                                           Unliquidated
         Mb                                                           Disputed
         New York, NY 10009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Abraham Esfandiary                                           Contingent
         20 Stuyvesant Oval                                           Unliquidated
         Mb                                                           Disputed
         New York, NY 10009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.04
         Eshaan Mann                                                  Contingent
         8358 Rinauro Court                                           Unliquidated
         Tracy, CA 95304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 304 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 324 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.207
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.90
         Esmond Law                                                   Contingent
         186 Silverado Plains Close Southwest                         Unliquidated
         Calgary AB T2X0G4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.94
         Espen Haland                                                 Contingent
         Dalveien 12                                                  Unliquidated
         Randaberg 4073                                               Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.207
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Geovanni Espinal II                                          Contingent
         45 Riley Rd                                                  Unliquidated
         New Windsor, NY 12553-7233                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Geovanni Espinal II                                          Contingent
         45 Riley Rd                                                  Unliquidated
         New Windsor, NY 12553-7233                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Estatio Gutierrez                                            Contingent
         107 Kaufman Drive                                            Unliquidated
         Westwood, NJ 07675                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.31
         Esteban Angulo                                               Contingent
         1410 Meadow Drive                                            Unliquidated
         National City, CA 91950                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,712.78
         Estilito Diaz                                                Contingent
         3588 Plymouth Rd                                             Unliquidated
         #164                                                         Disputed
         Ann Arbor, MI 48105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 305 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 325 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.208
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.33
         Ethan Evans                                                  Contingent
         P.O Box 402                                                  Unliquidated
         Pagosa Springs, CO 81147                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Ethan Fern                                                   Contingent
         2876 South Ellen Street                                      Unliquidated
         Milwaukee, WI 53207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ethan Nguyen                                                 Contingent
         15415 Hillside Terrace Lane                                  Unliquidated
         Cypress, TX 77429                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Etienne Liburd                                               Contingent
         15 Skyridge Road                                             Unliquidated
         Toronto ON M1E 4N7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.208
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.44
         Etienne Perot                                                Contingent
         3355 Octavius Dr                                             Unliquidated
         Apt 405                                                      Disputed
         Santa Clara, CA 95054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.208
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Eugen Bogos                                                  Contingent
         34092 Corktree Rd,Lake                                       Unliquidated
         Lake Elsinore, CA 92532                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Eugen Bogos                                                  Contingent
         34092 Corktree Rd,Lake                                       Unliquidated
         Lake Elsinore, CA 92532                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 306 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 326 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.209
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.25
         Eugene Armstead                                              Contingent
         8195 Gladwater Road                                          Unliquidated
         Peyton, CO 80831                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Eugene Dane                                                  Contingent
         11275 Hwy 98 W                                               Unliquidated
         6-185                                                        Disputed
         Miramar Beach, FL 32550
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.209
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $67.38
         Eugene Dane                                                  Contingent
         11275 Hwy 98 W                                               Unliquidated
         6-185                                                        Disputed
         Miramar Beach, FL 32550
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.209
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Eugene Nelson                                                Contingent
         22115 Placeritos Blvd.                                       Unliquidated
         Newhall, CA 91321                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Eugene Wright                                                Contingent
         10888 Shady Trail                                            Unliquidated
         Dallas, TX 75220                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.61
         Eugeniu Stegari                                              Contingent
         9926 Haldeman Avenue                                         Unliquidated
         A31                                                          Disputed
         Philadelphia, PA 19115
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 307 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 327 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.209
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,737.32
         Evald Rovbut
         Alyvu 9A-13                                                  Contingent
         Gineitiskes                                                  Unliquidated
         Vilnius 14159                                                Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.209
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Evan Delage                                                  Contingent
         2005 Deerview Common                                         Unliquidated
         Oakville ON L6M 0Y2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.209
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,638.41
         Evan Goransrud                                               Contingent
         45 Hilldowns Drive                                           Unliquidated
         Spruce Grove AB T7X 0J2                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.40
         Evan Goransrud                                               Contingent
         45 Hilldowns Drive                                           Unliquidated
         Spruce Grove AB T7X 0J2                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Evan Hecht                                                   Contingent
         55 Lumber Road                                               Unliquidated
         Suite 4                                                      Disputed
         Roslyn, NY 11576
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Evan Klisouris                                               Contingent
         26 Sato Street                                               Unliquidated
         Whitby ON L1R 2E1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 308 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 328 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.210
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,638.74
         Evan Ostafichuk                                              Contingent
         67 Hawkdale Close Northwest                                  Unliquidated
         Calgary AB T3G 3A6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Evan Tilley                                                  Contingent
         260 Vaughan Hill Road                                        Unliquidated
         Rochester, MA 02770                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.210
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,614.65
         Evelina Floreva
         Bul. General M Skobelev 7, Et.3, Ap.9                        Contingent
         Tel. 0886803373                                              Unliquidated
         Sofia 1463                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.05
         Evelina Floreva
         Bul. General M Skobelev 7, Et.3, Ap.9                        Contingent
         Tel. 0886803373                                              Unliquidated
         Sofia 1463                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,157.18
         Evelpidou Antigoni
         Georgiou Papandreou 63                                       Contingent
         New Filadelpheia                                             Unliquidated
         Athens 14341                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Evelyn Suarez                                                Contingent
         350 S Miami Ave, #1208                                       Unliquidated
         Miami, FL 33130                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 309 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 329 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.210
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Everett Pavo                                                 Contingent
         94-1190 Kahuahale St                                         Unliquidated
         Waipahu, HI 96797                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Ewan Lawson                                                  Contingent
         28 Lowden Road                                               Unliquidated
         London ENG SE24 0BH                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,757.35
         Explico Zrt
         Perc Utca 6                                                  Contingent
         1. Emelet Opl                                                Unliquidated
         Budapest 1036                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Eyad Hammad                                                  Contingent
         22631 Cutter Mill Drive                                      Unliquidated
         Spring, TX 77389                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,493.92
         Fabian Baier                                                 Contingent
         Ferdinand-Nickles-Str. 38                                    Unliquidated
         Wurzburg 97076                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $592.96
         Fabian David                                                 Contingent
         4028.Debrecen,Laktanya Utca 7/1                              Unliquidated
         Debrecen 4028                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 310 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 330 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.211
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $884.46
         Fabian Horth                                                 Contingent
         Bebelstrasse 58                                              Unliquidated
         Stuttgart 70193                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,486.38
         Fabian Rodriguez                                             Contingent
         5125 Melrose Avenue                                          Unliquidated
         Los Angeles, CA 90038                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,849.23
         Fabio Bendinelli                                             Contingent
         Long Island New York                                         Unliquidated
         New York Long Island                                         Disputed
         Long Island, NY 11101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Fabio Colin                                                  Contingent
         1427 10th Street #6                                          Unliquidated
         Santa Monica, CA 90401                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.68
         Fabio Mello                                                  Contingent
         103 S 294th Pl                                               Unliquidated
         Federal Way, WA 98003                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,765.81
         Fabio Pais                                                   Contingent
         160 Avenida Do Brasil, Buarcos                               Unliquidated
         Figueira Da Foz PT-06 3080-323                               Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.212
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Fabricio Gonzalez                                            Contingent
         10310 Av Hamel, #10                                          Unliquidated
         Montreal QC H2C 2X3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 311 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 331 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.212
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Fabricio Gonzalez                                            Contingent
         10310 Av Hamel, #10                                          Unliquidated
         Montreal QC H2C 2X3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.212
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Fabricio Gonzalez                                            Contingent
         10310 Av Hamel, #10                                          Unliquidated
         Montreal QC H2C 2X3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.212
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $839.68
         Fadi Almaaloly                                               Contingent
         Moselgasse 18/2/25                                           Unliquidated
         Wien 1100                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.212
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.22
         Tobias Teoflio Allen Fagmann                                 Contingent
         729 Heritage Way                                             Unliquidated
         Weston, FL 33326                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,448.80
         Fahad Sami                                                   Contingent
         118-10125 156 St                                             Unliquidated
         Surrey BC V3R 0E7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.212
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Faizan Khan                                                  Contingent
         12831 West Hemingway Drive                                   Unliquidated
         San Fernando, CA 91340                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Falkner Werkhaven                                            Contingent
         660 Ralph McGill Blvd NE #3422                               Unliquidated
         Atlanta, GA 30312                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 312 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 332 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.212
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,414.28
         Faraj Faraj                                                  Contingent
         29832 Center Ridge Road                                      Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.81
         Farid Elagamy                                                Contingent
         107 Bevan Way                                                Unliquidated
         Delaware, OH 43015                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Faris Hitti                                                  Contingent
         18242 Seebree Lane                                           Unliquidated
         Monte Sereno, CA 95030                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $862.36
         Farzad Pourkalbasi Esfahani                                  Contingent
         Breite Strasse 24A                                           Unliquidated
         Lubben (Spreewald) 15907                                     Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $975.58
         Fase Prospera                                                Contingent
         Rua Da Beneficencia 183, Andar 2                             Unliquidated
         Lisboa PT-11 1600-019                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,544.40
         Fatih Yalmaztark
         Eski Londra Asfalti Cad. No:5                                Contingent
         C1-26                                                        Unliquidated
         Istanbul 34180                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 313 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 333 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.213
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.61
         Favio Gramajo                                                Contingent
         616 Capistrano Dr                                            Unliquidated
         Oceanside, CA 92058                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Faycal Bouabdallah                                           Contingent
         452 Duncan Street                                            Unliquidated
         San Francisco, CA 94131                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,743.57
         Faysal Hoque                                                 Contingent
         141 Byng Ave                                                 Unliquidated
         Scarborough ON M1L2V2                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,454.73
         Faysal Hoque                                                 Contingent
         255 Sackville Street #1209                                   Unliquidated
         Toronto ON M5A 3G1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Aaron Fears                                                  Contingent
         2036 West Avenue H 7                                         Unliquidated
         Lancaster, CA 93536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,112.00
         Federico Barzazi                                             Contingent
         Via S.Quasimodo N.19                                         Unliquidated
         Marcon VE 30020                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.214
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,597.24
         Federico Testarella                                          Contingent
         Via San Petronio Vecchio, 42/3                               Unliquidated
         Bologna BO 40125                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 314 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 334 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.214
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Fei Ye                                                       Contingent
         48 Summer Hill Ct                                            Unliquidated
         Danville, CA 94526                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Adolfo Feliciano                                             Contingent
         611 East 47th Street                                         Unliquidated
         Hialeah, FL 33013                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.18
         Felicity Nguyen                                              Contingent
         1900 Naval Ave, Apt 105                                      Unliquidated
         Bremerton, WA 98312                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Felicity Nguyen                                              Contingent
         8119 Yarrow Drive                                            Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Felipe Garcia                                                Contingent
         22542 Maurice Ct                                             Unliquidated
         Lake Forest, CA 92630                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.68
         Felipe Valderrama                                            Contingent
         15521 Johnson Road                                           Unliquidated
         Bakersfield, CA 93314                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.88
         Felix Glaser                                                 Contingent
         Hechtstrasse 16                                              Unliquidated
         Dresden 1097                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 315 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 335 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.214
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,587.73
         Felix Spickermann                                            Contingent
         Hermannstrasse 28                                            Unliquidated
         Wiesbaden 65183                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.89
         Felten Feldt                                                 Contingent
         Wabestrasse 34                                               Unliquidated
         Braunschweig 38106                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,527.77
         Ferdinand Wichelhaus                                         Contingent
         Adelheidweg 20                                               Unliquidated
         Stuttgart 70186                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $5.13
         Ferenc Vehmann                                               Contingent
         Kodaly Z. 17.                                                Unliquidated
         Veszprem 8200                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $654.46
         Reinier Fernandez de la Vara                                 Contingent
         1695 Pecan Ct                                                Unliquidated
         Orange Park, FL 32073                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.27
         Fernando Castanos                                            Contingent
         Londres 339, #4                                              Unliquidated
         Me DF 4100                                                   Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,298.06
         Fernando Famania                                             Contingent
         174 Avenida Altamira                                         Unliquidated
         Chula Vista, CA 91914                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 316 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 336 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.215
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.44
         Fernando Farina Da Silva Leal                                Contingent
         Ave. Gen. Guedes Da Fontoura 905, #302                       Unliquidated
         Rio De Janeiro RJ 22621-242                                  Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.215
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.95
         Fernando Guzman                                              Contingent
         12791 Woodcliff Circle                                       Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,449.62
         Fernando Sanchez                                             Contingent
         821 La Cima                                                  Unliquidated
         Irving, TX 75039                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Fernando Taken                                               Contingent
         12791 Woodcliff Circle                                       Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Fernando Tavares                                             Contingent
         3351 Lehigh St                                               Unliquidated
         Bethlehem, PA 18020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.01
         Fernando Verano                                              Contingent
         9934 Dragonfly Meadow Court                                  Unliquidated
         Humble, TX 77396                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $74.70
         Fernando Verano                                              Contingent
         9934 Dragonfly Meadow Court                                  Unliquidated
         Humble, TX 77396                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 317 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 337 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.216
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $454.16
         Fernely Macdiel Leon Hernandez                               Contingent
         Segunda Privada De Guadalupe V Ctoria #                      Unliquidated
         Oaxaca OAX 68039                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.216
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Andrew Ferrier                                               Contingent
         234 Franklin St                                              Unliquidated
         Belchertown, MA 01007                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,444.57
         Ferzan Unlu
         Caferaga Mah. Gurbuzturk Sokak.                              Contingent
         No:6 Daire:3 34710 Istanbul                                  Unliquidated
         Istanbul 34710                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.216
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Fifi Hartono                                                 Contingent
         15715 Malaga Drive                                           Unliquidated
         Fontana, CA 92336                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Alessandro Figuccio                                          Contingent
         238 Rhode Hall Road                                          Unliquidated
         Monroe Twp, NJ 08831                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $840.09
         Filip Gajdosik
         Slneana 3                                                    Contingent
         338/3                                                        Unliquidated
         Sokolovce 92231                                              Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 318 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 338 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.216
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $931.06
         Filip Hennig                                                 Contingent
         Langvagen 9A                                                 Unliquidated
         Uppsala 75652                                                Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,701.85
         Filip Prokopiev                                              Contingent
         21 Babson College Drive                                      Unliquidated
         Wellesley, MA 02481                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $78.50
         Filippo Ferro                                                Contingent
         Holderlinstrasse 48                                          Unliquidated
         Rottenburg Am Neckar 72108                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,378.17
         Finigan Ford                                                 Contingent
         1309 11th Street                                             Unliquidated
         Arcata, CA 95521                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $27,359.45
         Adam Finke                                                   Contingent
         538 90th Ave                                                 Unliquidated
         Luverne, MN 56156                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Fiona Primrose
         46A Princess Road                                            Contingent
         Bellevue                                                     Unliquidated
         Tauranga BOP 3110                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 319 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 339 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.217
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,672.17
         Flavio Picone                                                Contingent
         Via Galliano Giuseppe Maggiore 18                            Unliquidated
         Palermo PA 90143                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Adan Flores                                                  Contingent
         7284 Luz De Ciudad Ct                                        Unliquidated
         El Paso, TX 79912                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.11
         Florian Bunschuch                                            Contingent
         Mozartstr. 2A                                                Unliquidated
         Vaterstetten 85591                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,698.91
         Florian Frere                                                Contingent
         7 Rue Baudin                                                 Unliquidated
         Courbevoie 92400                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $874.22
         Florian Mouchet
         9 Rue Corot                                                  Contingent
         Interphone Guittard                                          Unliquidated
         Clermont-Ferrand 63000                                       Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.99
         Florian Salman                                               Contingent
         Moslweg 3A                                                   Unliquidated
         Munich 80939                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 320 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 340 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.218
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,411.06
         Florian Schicker
         Fernkorngasse 10/3/501                                       Contingent
         Nessus Gmbh                                                  Unliquidated
         Vienna 1100                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Florian Schwarzer                                            Contingent
         Auguste-Piccard-Str. 39                                      Unliquidated
         Berlin 14089                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,434.38
         Florian Tiganescu                                            Contingent
         54 Winterfold Close                                          Unliquidated
         London ENG SW19 6LE                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,790.34
         Florian Zizlavsky                                            Contingent
         Franz Pittner-Gasse 12                                       Unliquidated
         Sankt Polten 3100                                            Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $865.17
         Florim Pllana                                                Contingent
         2986 Marion Avenue                                           Unliquidated
         Bronx, NY 10458                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.218
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $786.51
         Florin Andrita                                               Contingent
         216 St Andrews Avenue                                        Unliquidated
         Hornchurch ENG RM125EB                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 321 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 341 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.218
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.00
         Florin Badiu
         Bulevardul George Coebuc Nr 3A                               Contingent
         Cladirea Clc, Etaj 1                                         Unliquidated
         Galati GL 800378                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $961.44
         Florin Cristian Burtica                                      Contingent
         Weg Zum Stadtwald 15                                         Unliquidated
         Hattingen 45529                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.218
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.00
         Florin Manole                                                Contingent
         57 Markwick Avenue                                           Unliquidated
         Waltham Cross ENG EN8 9FP                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.219
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.23
         Florin Manole                                                Contingent
         57 Markwick Avenue                                           Unliquidated
         Waltham Cross ENG EN8 9FP                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.219
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,008.96
         Florin Petrescu
         Bvd. N. Titulescu Nr.104 Bl.26 Sc.1 Ap.7                     Contingent
         Dolj                                                         Unliquidated
         Craiova DJ 200554                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.219
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Florin Vrabie                                                Contingent
         356, Worth Avenue                                            Unliquidated
         Palm Beach, FL 33480                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 322 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 342 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.219
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $796.39
         Andre Flowers                                                Contingent
         209 Shasta Drive                                             Unliquidated
         Pittsburgh, PA 15239                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Fmp Media                                                    Contingent
         6929 N. Hayden Rd. #C4                                       Unliquidated
         Scottsdale, AZ 85250                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Folarin Adesalu                                              Contingent
         2620 Bowen Rd #202                                           Unliquidated
         Washington, DC 20020                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.19
         Fong Bui                                                     Contingent
         1197 Acadia Avenue                                           Unliquidated
         Milpitas, CA 95035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Ford Frederick                                               Contingent
         26709 Basswood Avenue                                        Unliquidated
         Rancho Palos Verdes, CA 90275                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Forinne Vertentes                                            Contingent
         556 Osborn St                                                Unliquidated
         Fall River, MA 02724                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.59
         Forrest Andrews                                              Contingent
         71 Reveille Lane                                             Unliquidated
         Sandpoint, ID 83864                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 323 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 343 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.220
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,544.41
         Fouad Ahmad
         Cankaya, Aziziye Mah., Willy Brand Sk.,                      Contingent
         4/5, Cep Tel: 5387845270                                     Unliquidated
         Ankara 6690                                                  Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         John M Fox                                                   Contingent
         38 Moraine Rd                                                Unliquidated
         Morris Plains, NJ 07950                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.220
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.32
         Francesco Cordella                                           Contingent
         Via Vial Di Romans 78                                        Unliquidated
         Cordenons PN 33084                                           Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,186.36
         Francesco Fiastri                                            Contingent
         Via Clemente Maraini 17A                                     Unliquidated
         Lugano 6900                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $875.15
         Francesco Manzi
         Via Garibaldi 28                                             Contingent
         c/o Catholic University Of America                           Unliquidated
         Roma RM 153                                                  Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Francesco Mazzara                                            Contingent
         11483 Avenue Ovide-Clermont                                  Unliquidated
         Montreal QC H1G 3Y9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 324 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 344 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.220
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $107.76
         Francesco Simbolotti                                         Contingent
         Viale Tito Livio 16                                          Unliquidated
         Roma RM 136                                                  Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,872.34
         Francesco Tamburello                                         Contingent
         Via Tre Torri 11                                             Unliquidated
         Sant'Agata Li Battiati CT 95030                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.09
         Francesco Tamburello                                         Contingent
         Via Tre Torri 11                                             Unliquidated
         Sant'Agata Li Battiati CT 95030                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Francesco Vallera                                            Contingent
         808 Chestnut Avenue                                          Unliquidated
         Los Angeles, CA 90042                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Franchesca Marcolongo                                        Contingent
         5432 Ny-28                                                   Unliquidated
         Newport, NY 13416                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Francis Almeda                                               Contingent
         5116 N Bernard St                                            Unliquidated
         Chicago, IL 60625                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Francis Koh                                                  Contingent
         13304 Chestnut Oak Drive                                     Unliquidated
         Darnestown, MD 20878                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 325 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 345 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.221
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Francis Lake                                                 Contingent
         2473 Northern Oak Dr                                         Unliquidated
         Braselton, GA 30517-6056                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.32
         Francis Mbakop                                               Contingent
         8860 Piney Branch Rd, #1008                                  Unliquidated
         Silver Spring, MD 20903                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.02
         Francis Santoso                                              Contingent
         831 Camaritas Circle                                         Unliquidated
         Glen Iris VIC 3146                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.221
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Francisc-Ladislau Horvat                                     Contingent
         Strada Nirajului 20, Bl.N6., #3                              Unliquidated
         Cluj-Napoca CJ 400599                                        Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.221
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Francisco Bido                                               Contingent
         2350 Valentine Ave 4A                                        Unliquidated
         Bronx, NY 10468-7222                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,259.52
         Francisco Cordoba                                            Contingent
         382 Northeast 191st Street                                   Unliquidated
         Pmb 74256                                                    Disputed
         Miami, FL 33179
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.221
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Francisco Font                                               Contingent
         47 Wild Indigo Crescent                                      Unliquidated
         Brampton ON L6R 2J9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 326 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 346 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.222
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.75
         Francisco Font                                               Contingent
         47 Wild Indigo Crescent                                      Unliquidated
         Brampton ON L6R 2J9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.75
         Francisco Font                                               Contingent
         47 Wild Indigo Crescent                                      Unliquidated
         Brampton ON L6R 2J9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.46
         Francisco J Guzman                                           Contingent
         Quintas Las Muesas Calle Rafael Coca Nav                     Unliquidated
         M7                                                           Disputed
         Cayey, PR 00736
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Francisco Marte                                              Contingent
         165 Suydam St                                                Unliquidated
         Apt 2L                                                       Disputed
         Brooklyn, NY 11221
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.43
         Francisco Ramos                                              Contingent
         600 Cherry Lane, #21                                         Unliquidated
         Tehachapi, CA 93561                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.222
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.50
         Francisco Rodriguez Alberro                                  Contingent
         Calle Loteria 1, 2B                                          Unliquidated
         Motril GR 18600                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Francois Botha                                               Contingent
         803 Lords Wood Lane                                          Unliquidated
         Chatham ENG ME5 8JP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 327 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 347 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.222
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.42
         Francois Bramucci                                            Contingent
         24 Gordon                                                    Unliquidated
         Verdun QC H4G2R3                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $847.69
         Francois D'Arundel                                           Contingent
         14 Rue Rene Laennec                                          Unliquidated
         Bois-D'Arcy 78390                                            Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,503.40
         Francois Paillier                                            Contingent
         48 Salmen Road                                               Unliquidated
         London ENG E13 0DT                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.75
         Francois Paradis                                             Contingent
         85 Rue De Pergame                                            Unliquidated
         Gatineau QC J9J 1K3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $296.02
         Frangiskos Frangeskides                                      Contingent
         6 Aristeidou Street                                          Unliquidated
         Nicosia 2415                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,595.48
         Franja Horvat                                                Contingent
         Boetonstraat 91                                              Unliquidated
         Amsterdam 1095 ZA                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 328 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 348 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.223
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Frank Adams                                                  Contingent
         1020 Neilson Street                                          Unliquidated
         6C                                                           Disputed
         Far Rockaway, NY 11691
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.53
         Frank Albers                                                 Contingent
         629 Brighton Drive                                           Unliquidated
         Pingree Grove, IL 60140                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $787.78
         Frank Cabrera Hernandez                                      Contingent
         Badenerstrasse 503                                           Unliquidated
         Zurich 8048                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Frank Carrico                                                Contingent
         1027 East 45th Street                                        Unliquidated
         Austin, TX 78751                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.45
         Frank Cerveny                                                Contingent
         Leopold-Imgram-Strasse 5                                     Unliquidated
         Hanau 63456                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.223
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,543.74
         Frank Delarosa                                               Contingent
         133 Kirton Ct                                                Unliquidated
         West Columbia, TX 77486                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Frank Dipalma                                                Contingent
         175 Dieppe Road                                              Unliquidated
         St. Catharines ON L2M 7S2                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 329 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 349 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.224
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.95
         Frank Fehr                                                   Contingent
         8 Babylon Drive                                              Unliquidated
         Sound Beach, NY 11789                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Frank Kostlevy                                               Contingent
         W12737 County Hwy M                                          Unliquidated
         P.O. Box 147                                                 Disputed
         Caroline, WI 54928
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.224
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,441.09
         Frank Miesen                                                 Contingent
         531 North 11th Street                                        Unliquidated
         Allentown, PA 18102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.47
         Frank Pryor                                                  Contingent
         6/135 Brunswick Road                                         Unliquidated
         Brunswick VIC 3056                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.224
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,067.93
         Frank Puissegur                                              Contingent
         P.O. Box 6196                                                Unliquidated
         Lakeland, FL 33807                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.02
         Frank Rahn                                                   Contingent
         Hermann-Liebmann-Str. 7                                      Unliquidated
         Leipzig 4315                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.224
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Robert Franke                                                Contingent
         218 Rethke Ave                                               Unliquidated
         Madison, WI 53714                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 330 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 350 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.224
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Frankie Hernandez                                            Contingent
         1233 Crossbow Drive                                          Unliquidated
         Baton Rouge, LA 70816                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Frankie Hernandez                                            Contingent
         1233 Crossbow Drive                                          Unliquidated
         Baton Rouge, LA 70816                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,018.09
         Frankie Mak                                                  Contingent
         240 26th Avenue, #2                                          Unliquidated
         San Francisco, CA 94121                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.61
         Frankie Otero                                                Contingent
         1218 Santa Fe Circle                                         Unliquidated
         Fruita, CO 81521                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Franklin Donbosco                                            Contingent
         75 Lortel Avenue                                             Unliquidated
         Staten Island, NY 10314                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.21
         Franky Hernandez                                             Contingent
         795 E 42nd Pl                                                Unliquidated
         Los Angeles, CA 90011                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.64
         Franz Kitting-Muhr                                           Contingent
         Reichendorf 199                                              Unliquidated
         Pischelsdorf 8212                                            Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 331 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 351 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.225
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.85
         Franziska Kopp                                               Contingent
         Davidstrasse 6                                               Unliquidated
         Leipzig 4109                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Fraser Matte                                                 Contingent
         39 Fancamp Drive                                             Unliquidated
         Maple ON L6A4Z1                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Fraser Matte                                                 Contingent
         39 Fancamp Dr                                                Unliquidated
         Maple ON L6A 4Z1                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $920.20
         Fre Van Tendeloo                                             Contingent
         Bernard Van Hoolstraat 14                                    Unliquidated
         Lier 2500                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.225
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Fred Crosdale                                                Contingent
         5 Cedar St                                                   Unliquidated
         Burlington, MA 01803                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.54
         Fred Franzel                                                 Contingent
         11076 West Rowland Ave                                       Unliquidated
         Littleton, CO 80127                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Fred Seilkop                                                 Contingent
         313 Swanson Drive                                            Unliquidated
         Lawrenceville, GA 30043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 332 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 352 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.226
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Freddie Aguilar                                              Contingent
         2055 Valentino Street                                        Unliquidated
         San Diego, CA 92154                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,447.80
         Frederick Fournier                                           Contingent
         48 Birch Hill Cr                                             Unliquidated
         Moncton NB E1G 4R1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.226
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Frederick Grant                                              Contingent
         1995 Altavista Circle                                        Unliquidated
         Lakeland, FL 33810                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,089.34
         Frederick Klie                                               Contingent
         25 Graham Ave                                                Unliquidated
         Wayne, NJ 07470                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Frederick Klie                                               Contingent
         25 Graham Ave                                                Unliquidated
         Wayen, NJ 07470                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $585.54
         Frederico Anastacio
         Rua Dos Combatentes Da Grande Guerra                         Contingent
         9 Rc                                                         Unliquidated
         Sacavem PT-11 2685-042                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 333 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 353 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.226
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,728.60
         Frederik Bay
         Kronprinsessegade 44 Kl                                      Contingent
         Nerd 911                                                     Unliquidated
         Copenhagen K 1306                                            Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.226
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Frederik Van Breugel                                         Contingent
         De Ruijterlaan 11                                            Unliquidated
         Voorthuizen 3781 TJ                                          Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.226
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.54
         Frederique Van Ginneken                                      Contingent
         64 Rue De Bezons                                             Unliquidated
         Courbevoie 92400                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.50
         Fredrik Wahlqvist
         39 Heath Lane                                                Contingent
         Bladon                                                       Unliquidated
         Oxon ENG OX20 1RZ                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,733.02
         Freek Muller                                                 Contingent
         Edisonweg 17                                                 Unliquidated
         Gorinchem 4207 HE                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.50
         Fresh Fx                                                     Contingent
         Siezenheimerstr. 29A                                         Unliquidated
         Salzburg 5020                                                Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 334 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 354 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.227
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Fuad Algamish                                                Contingent
         303 Fulton Road                                              Unliquidated
         Muscle Shoals, AL 35661                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Fujing Xia                                                   Contingent
         96 Marygrove Crescent                                        Unliquidated
         Winnipeg MB R3Y 1M2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $968.56
         Fujio Nakamura                                               Contingent
         Ul. Mariana Lalewicza 3                                      Unliquidated
         Warszawa 02-829                                              Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.43
         Furat Alazzawi                                               Contingent
         4054 NW 85th Ave                                             Unliquidated
         Pembroke Pines, FL 33024                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.51
         Furkan Karabina                                              Contingent
         Van-Kinsbergen-Ring 5                                        Unliquidated
         Neunkirchen 57290                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,377.52
         Fuzlullah Syed                                               Contingent
         340 Maury Lane                                               Unliquidated
         Florence, AL 35634                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.04
         Gabe Kirstein                                                Contingent
         609 Raub Street                                              Unliquidated
         Joliet, IL 60435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 335 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 355 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.228
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Gabe Pringle                                                 Contingent
         5810 Sunflower Circle North                                  Unliquidated
         Lyon Charter Twp, MI 48165                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $209.52
         Gable Rynning                                                Contingent
         501 Northeast 5th Terrace, #728                              Unliquidated
         Fort Lauderdale, FL 33301                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Gabriel Bustamante                                           Contingent
         1241 Oriole Avenue                                           Unliquidated
         Miami Springs, FL 33166                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $592.95
         Gabriel Curra                                                Contingent
         Stallgatan 13                                                Unliquidated
         Sundbyberg 174 64                                            Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.228
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Gabriel Hartnett                                             Contingent
         525 Devon Rd                                                 Unliquidated
         Norwood, PA 19074                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.87
         Gabriel Ostrovsky                                            Contingent
         P.O. Box 1771                                                Unliquidated
         Scottsdale, AZ 85252                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gabriel Paaga                                                Contingent
         5211 99th Terrace                                            Unliquidated
         Pinellas Park, FL 33782                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 336 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 356 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.228
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gabriel Pringle                                              Contingent
         58180 Sunflower Circle North                                 Unliquidated
         Lyon Charter Twp, MI 48165                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Gabriela Nassau                                              Contingent
         1011 M Street Nw                                             Unliquidated
         Apt. 404                                                     Disputed
         Washington, DC 20001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.228
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Gabriella Gonzalez                                           Contingent
         10612 S. Avenue E                                            Unliquidated
         Chicago, IL 60617                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Gabrielle Bedard                                             Contingent
         334 66E Rue Ouest                                            Unliquidated
         Quebec QC G1H 7G1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $567.75
         Gaetan Heintz                                                Contingent
         1 Rue Felix Dournay                                          Unliquidated
         Soultz-Sous-Forets 67250                                     Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,019.03
         Gagan Modi                                                   Contingent
         6B Tawny Court                                               Unliquidated
         Truganina VIC 3029                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 337 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 357 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.229
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.54
         Gaizka Ruiz
         Asparrena Kalea 16                                           Contingent
         3D                                                           Unliquidated
         Gasteiz VI 1006                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,951.55
         Gal Fridman
         Calle Fotografo Vicente Perez Melian 26                      Contingent
         Urbanizacion Los Collazos                                    Unliquidated
         Valle Guerra, La Laguna TF 38270                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.29
         Ganesh Dhuri                                                 Contingent
         1435 North Wildwood Lane                                     Unliquidated
         Anaheim, CA 92801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Ganesh Raju                                                  Contingent
         18902 East Josey Overlook Drive                              Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.63
         Ganna Prystupova
         5 Hunters Way                                                Contingent
         Hunters Wood                                                 Unliquidated
         Ballycullen D 24                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.01
         Alejandro Garcia Mainou                                      Contingent
         920 Limberlost Ln                                            Unliquidated
         Lewisville, NC 27023                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 338 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 358 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.229
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.14
         Abitsaid Garcia                                              Contingent
         3426 Country View                                            Unliquidated
         Schertz, TX 78108                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Abitsaid Garcia                                              Contingent
         3426 Country View                                            Unliquidated
         Schertz, TX 78108                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.60
         Gareth Brown                                                 Contingent
         40 Clos Cae Nant                                             Unliquidated
         Cwmbraqn WLS NP443PD                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.230
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Garman Tsoi                                                  Contingent
         10-8500 Bennett Road                                         Unliquidated
         Richmond BC V6Y 1N7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.230
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Leon-Anthony Garner Sr.                                      Contingent
         1530 Faris Ave                                               Unliquidated
         Pagedale, MO 63133                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Garret Bolding                                               Contingent
         804 SE Hendrix St                                            Unliquidated
         Bentonville, AR 72712                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Garrett Jamieson                                             Contingent
         6436 Darwood Ave                                             Unliquidated
         Fort Worth, TX 76116                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 339 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 359 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.230
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Garrett Smith                                                Contingent
         5731 Hornbuckle Blvd                                         Unliquidated
         North Port, FL 34291                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.75
         Gary Beller                                                  Contingent
         17165 Southwest Merlo Road                                   Unliquidated
         Unit 1                                                       Disputed
         Beaverton, OR 97003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.230
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Gary Fox                                                     Contingent
         2529 Sable Ridge Street                                      Unliquidated
         Henderson, NV 89044                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $759.64
         Gary Knight                                                  Contingent
         6411 Baltimore Ave                                           Unliquidated
         Riverdale, MD 20737                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Gary Nowers                                                  Contingent
         3647 Dwiggins Street                                         Unliquidated
         Los Angeles, CA 90063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,829.69
         John Gatchel                                                 Contingent
         1904 Stevens Avenue                                          Unliquidated
         Louisville, KY 40205-1049                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Gavin Berryman                                               Contingent
         2915 Southwest 13th Street                                   Unliquidated
         Apt 71                                                       Disputed
         Gainesville, FL 32608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 340 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 360 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.231
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Gavin Berryman                                               Contingent
         2915 Southwest 13th Street                                   Unliquidated
         Apt 71                                                       Disputed
         Gainesville, FL 32608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $832.27
         Gavin Coburn                                                 Contingent
         463 Bulldog Drive                                            Unliquidated
         Mesquite, NV 89027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,502.61
         Geddes Cureton                                               Contingent
         6 Carters Hurst                                              Unliquidated
         Birmingham ENG B33 0UW                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.97
         Geetha Pilli                                                 Contingent
         3819 Nannyberry Court                                        Unliquidated
         Naperville, IL 60564                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.88
         Gene Hew-Len                                                 Contingent
         P.O. Box 294                                                 Unliquidated
         Silverdale, WA 98383-0294                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,274.30
         Genesi Srl Maro Del Corto                                    Contingent
         Via Marco Polo, 139                                          Unliquidated
         Viareggio LU 55049                                           Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,426.21
         Genesi Srl Maro Del Corto                                    Contingent
         Via Marco Polo, 139                                          Unliquidated
         Viareggio LU 55049                                           Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 341 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 361 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.232
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,176.85
         Lyudmil Genov                                                Contingent
         25 South Grove Avenue                                        Unliquidated
         202A                                                         Disputed
         Elgin, IL 60120
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $938.39
         Geoffrey Fichtl                                              Contingent
         2541 N Spaulding Ave                                         Unliquidated
         Chicago, IL 60647                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,371.64
         Geoffrey Lambert
         13 The Cresent                                               Contingent
         Flat 5                                                       Unliquidated
         Scarborough ENG YO11 2PW                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Geoffrey Pillersdorf                                         Contingent
         500 Crestwood Court North                                    Unliquidated
         Unit 507                                                     Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.65
         George Chondros                                              Contingent
         1 Bradley Avenue                                             Unliquidated
         Thornbury VIC 3071                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.12
         George Cooley                                                Contingent
         10 Ramsgate Road                                             Unliquidated
         Reddish ENG SK56TN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 342 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 362 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.232
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         George Davis                                                 Contingent
         900 Josh Dr                                                  Unliquidated
         Palmer, AK 99645                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.69
         George Hutchison                                             Contingent
         304 Mayville Ave                                             Unliquidated
         Pittsburgh, PA 15226                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,714.97
         George Kakouris                                              Contingent
         13 Langada                                                   Unliquidated
         Strovolos 2023                                               Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $992.00
         George Mardas
         Asklipiou 26-28                                              Contingent
         Parking Asklipiou                                            Unliquidated
         Athens 106 80                                                Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.233
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.95
         George Mathew                                                Contingent
         618 East Washington Street                                   Unliquidated
         Sequim, WA 98382                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         George Perham                                                Contingent
         P.O. Box 249                                                 Unliquidated
         East Haddam, CT 06423                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.24
         George Quickel                                               Contingent
         805 N Maple St                                               Unliquidated
         Ephrata, PA 17522                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 343 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 363 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.233
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         George Ruesca                                                Contingent
         20755 Southwest 85th Court                                   Unliquidated
         Cutler Bay, FL 33189                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $62.86
         George Sarrion                                               Contingent
         1140 West 30th Street                                        Unliquidated
         Los Angeles, CA 90007                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,056.07
         George Tannous                                               Contingent
         15 Sandpiper Drive                                           Unliquidated
         Taylors Lakes VIC 3038                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.233
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.62
         George Tindley                                               Contingent
         1937 South Corning Street                                    Unliquidated
         Los Angeles, CA 90034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Georgetta Cook                                               Contingent
         626 1st Avenue                                               Unliquidated
         E.41B                                                        Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.233
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.11
         Georgi Spiridonov
         30, Atanas Uzunov Str                                        Contingent
         Ap. 19                                                       Unliquidated
         Sofia 1505                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 344 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 364 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.233
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.75
         Geovanni Briseno                                             Contingent
         3354 Chamoune Avenue                                         Unliquidated
         San Diego, CA 92105                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,588.09
         Gerald Blaufelder                                            Contingent
         Im Grundlein 2                                               Unliquidated
         Wilhelmsdorf 91489                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.234
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.95
         Gerald Klaver
         16 High Road                                                 Contingent
         2 Clarendon View                                             Unliquidated
         Salisbury ENG SP5 4DS                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.234
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.81
         Gerald Llaguno
         115 Lindrum Road                                             Contingent
         Unit 2                                                       Unliquidated
         Frankston VIC 3199                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.234
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gerald Mastro                                                Contingent
         26 Colonial Drive                                            Unliquidated
         New City, NY 10956                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,958.87
         Gerald Rigdon                                                Contingent
         693 Mulberry Lane                                            Unliquidated
         Mendota Heights, MN 55118                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 345 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 365 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.234
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.78
         Gerald Smith                                                 Contingent
         1100 Bacchus Drive                                           Unliquidated
         Unit E                                                       Disputed
         Lafayette, CO 80026
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.234
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gerard Higgins                                               Contingent
         226 Bellmore Street                                          Unliquidated
         Floral Park, NY 11001                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gerardo Gallardo                                             Contingent
         847 Woodaprings Ct                                           Unliquidated
         Covington, LA 70433                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.38
         Gerardo Garcia                                               Contingent
         13656 Bora Drive                                             Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.38
         Gerardo Garcia                                               Contingent
         13656 Bora Drive                                             Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,057.64
         Gerardo Proietto                                             Contingent
         7951 Riviera Blvd, #210                                      Unliquidated
         Miramar, FL 33023                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.15
         Gerardo Roman Tanus                                          Contingent
         Avenida San Cristobal 6, #1                                  Unliquidated
         Puebla PUE 72520                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 346 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 366 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.235
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,125.21
         Gero Wienke                                                  Contingent
         Waldstrasse 1                                                Unliquidated
         Grossenkneten 26197                                          Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.235
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,034.14
         Gerrick Teague                                               Contingent
         3000 Sunnyside Drive                                         Unliquidated
         Manhattan, KS 66502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Gevonn Trenfield                                             Contingent
         70 Tideland Drive                                            Unliquidated
         Brampton ON L7A 2W1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.235
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,640.94
         Gevork Banjarjian                                            Contingent
         817 North Alexandria Avenue                                  Unliquidated
         Los Angeles, CA 90029                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Ghassan Barazi                                               Contingent
         6492 Emerald Dunes Dr, Apt 201                               Unliquidated
         West Palm Beach, FL 33411                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.47
         Ghufran Shah
         101 Elvaston Road                                            Contingent
         Wollaton                                                     Unliquidated
         Nottingham ENG NG8 1JS                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 347 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 367 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.235
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,677.20
         Gian Carlos Carrion Farfan                                   Contingent
         Via Umberto Saba 9                                           Unliquidated
         Nonantola MO 41015                                           Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.235
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Gian Salgatar                                                Contingent
         5238 West Palm Pinnacle Avenue                               Unliquidated
         Las Vegas, NV 89139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,672.25
         Gianmarco Pietrobattista                                     Contingent
         Via Monte Zebio 25                                           Unliquidated
         Roma RM 195                                                  Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.236
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $559.18
         Gianni Orlando                                               Contingent
         Um Waisseraech 20                                            Unliquidated
         Bergem 3317                                                  Disputed
         LUXEMBOURG
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.236
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $612.30
         Giannis Ioannou                                              Contingent
         Themistokleous 11 Strovolos                                  Unliquidated
         Nicosia 2060                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.236
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.24
         Gianno Kardjo
         Laan Van Avant-Garde 384                                     Contingent
         Layer-It                                                     Unliquidated
         Rotterdam 3059 RA                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 348 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 368 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.236
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $74.70
         Gifferson Romero                                             Contingent
         14800 Memorial Drive, #2310                                  Unliquidated
         Houston, TX 77079                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Pierce Giffin                                                Contingent
         258 Walk Circle                                              Unliquidated
         Santa Cruz, CA 95060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $941.75
         Gilbert Drewicz                                              Contingent
         Distelfinkweg 83                                             Unliquidated
         Berlin 12357                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.236
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Gilbert Dumoulin                                             Contingent
         589 Rue Des Violettes                                        Unliquidated
         Salaberry-De-Valleyfield QC J6S 6W3                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.236
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Gilles Claro                                                 Contingent
         5126 Bellvale Ave                                            Unliquidated
         San Diego, CA 92117-4001                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Gineen Whiunui                                               Contingent
         12 The Trongate                                              Unliquidated
         Granville NSW 2142                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.12
         Gino Colombi                                                 Contingent
         Solis 518                                                    Unliquidated
         Rojas B 2705                                                 Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 349 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 369 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.237
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,034.87
         Giosue' Mitra
         Corso Marion Crawford 46                                     Contingent
         Scala B                                                      Unliquidated
         Sant'Agnello NA 80065                                        Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $868.16
         Giovanni Del Duca                                            Contingent
         De Reulver 73                                                Unliquidated
         Enschede 7544 RT                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $876.24
         Giovanni Monti                                               Contingent
         Thorwaldsenstr 16                                            Unliquidated
         Berlin 12157                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Giovanni Pujol                                               Contingent
         7700 Vista Mejor Drive                                       Unliquidated
         Austin, TX 78744                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.237
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Gisela Penaloza                                              Contingent
         4000 Towerside Terrace, #1710                                Unliquidated
         Miami, FL 33138                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.237
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Giuseppe Benjumea                                            Contingent
         270 17th St Nw                                               Unliquidated
         Unit 2208                                                    Disputed
         Atlanta, GA 30363
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 350 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 370 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.237
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $577.15
         Giuseppe Giuffrida                                           Contingent
         Via Bernardo Zanghi 17                                       Unliquidated
         Catania CT 95124                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,450.51
         Giuseppe Mazzone
         2280 163 Street                                              Contingent
         Unit 92                                                      Unliquidated
         Surrey BC V3Z 0S4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,467.52
         Glaud Kuykendall                                             Contingent
         19592 Carlton Ave                                            Unliquidated
         Castro Valley, CA 94546                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $824.82
         Glen Chesnut                                                 Contingent
         4237 Jasper Ave,                                             Unliquidated
         Las Vegas, NV 89108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.52
         Glenn Darensbourg                                            Contingent
         20210 Desert Foal Dr                                         Unliquidated
         Tomball, TX 77377                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.36
         Glenn Harper                                                 Contingent
         24417 SE 46th St                                             Unliquidated
         Sammamish, WA 98029                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.79
         Glenn Riddle                                                 Contingent
         2630 Woodmont Ln                                             Unliquidated
         Wexford, PA 15090                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 351 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 371 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.238
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,937.79
         Glenn Ryan                                                   Contingent
         61 Old Warrenpoint Road                                      Unliquidated
         Newry NIR BT342PN                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.238
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.20
         Globe Media Advertising srl                                  Contingent
         Str.Drumul Dealu Bradului 141                                Unliquidated
         Bucuresti B 42158                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.238
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Godwin Eferiana                                              Contingent
         5706 Black Canyon Ct                                         Unliquidated
         Sugarland, TX 77479                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Godwin Eferiana                                              Contingent
         5706 Black Canyon Ct                                         Unliquidated
         Sugarland, TX 77479                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.57
         Goetz Klingelhoefer                                          Contingent
         Nieuwe Leliestraat 154                                       Unliquidated
         Amsterdam 1015HE                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.238
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Gokce Yalcin
         308-1216 Homer Street                                        Contingent
         1405 (Buzz 2516)                                             Unliquidated
         Vancouver BC V6B 6K5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 352 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 372 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.239
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $819.77
         Gokhan Guner
         50 Wansbeck Court                                            Contingent
         Waverley Road                                                Unliquidated
         Enfield ENG EN2 7BS                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.239
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Carlos Javier Gonzalez                                       Contingent
         1222 Commerce Street                                         Unliquidated
         Manor House Apartments 1401                                  Disputed
         Dallas, TX 75202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.239
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Gonzalo Castanos                                             Contingent
         586 N Campus Ave                                             Unliquidated
         Upland, CA 91786-4827                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,948.54
         Gonzalo Vega                                                 Contingent
         7825 NW 29th Street #121                                     Unliquidated
         Miami, FL 33122                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Gordon Weekes                                                Contingent
         15226 Southwest 52nd Street                                  Unliquidated
         Miramar, FL 33027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Nasir Gould Jr                                               Contingent
         2475 W Pecos Road                                            Unliquidated
         #3049                                                        Disputed
         Chandler, AZ 85224
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 353 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 373 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.239
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Andrew Goulet                                                Contingent
         957 Macclesfield Rd                                          Unliquidated
         Furlong, PA 18925                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Govind Tamang                                                Contingent
         11 Timothy Close                                             Unliquidated
         Cherrybrook NSW 2126                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.239
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Govind Tamang
         Shop 32A, 41-47 Shepherds Drive                              Contingent
         Bakers Delight                                               Unliquidated
         Cherrybrook NSW 2126                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.239
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.07
         Gowtham Sarveswaran                                          Contingent
         10063 Park Meadows Drive                                     Unliquidated
         Apt 63312                                                    Disputed
         Lone Tree, CO 80124
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.240
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,360.87
         Grace Johnston                                               Contingent
         16731 Stoneridge Road                                        Unliquidated
         Anchorage, AK 99516                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Grace Stamper                                                Contingent
         6 Emery Cliff Pl                                             Unliquidated
         The Woodlands, TX 77381-4055                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 354 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 374 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.240
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.81
         Claudia Gracia-Hofer                                         Contingent
         843 Cannondale Ct.                                           Unliquidated
         San Marcos, CA 92078                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Graeme Garside
         16 Cromer Place                                              Contingent
         Barmouth Court                                               Unliquidated
         Preston ENG PR2 3XR                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.240
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.62
         Graeme Harpham                                               Contingent
         22 Saint Lucia Park                                          Unliquidated
         Bordon ENG GU350LB                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.240
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,213.06
         Graham Dickinson                                             Contingent
         1441 Little Raven St, #5006                                  Unliquidated
         Denver, CO 80202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Grant Aikin                                                  Contingent
         3113 Royston Ave                                             Unliquidated
         Baltimore, MD 21214                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Grant Austing                                                Contingent
         9609 Crystal Lake Drive                                      Unliquidated
         Woodinville, WA 98077                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Grant Lilly                                                  Contingent
         1872 Dolphin Drive                                           Unliquidated
         Seabrook, TX 77586                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 355 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 375 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.240
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Grant Paranjape                                              Contingent
         1300 17th Street North                                       Unliquidated
         Suite 820                                                    Disputed
         Arlington, VA 22209
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.241
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,482.65
         Adam Green                                                   Contingent
         161 Winslow Avenue                                           Unliquidated
         Norwood, MA 02062                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Greg Alkema                                                  Contingent
         5810 N 381st Dr                                              Unliquidated
         Tonopah, AZ 85354                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.26
         Greg Ator                                                    Contingent
         9283 Parkside Dr                                             Unliquidated
         Prairie Village, KS 66207                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $241.08
         Greg Bergen                                                  Contingent
         6 Castlerock Cove                                            Unliquidated
         Steinbach MB R5G 2B1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.241
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Greg Davis                                                   Contingent
         2307 Riverstone Dr.                                          Unliquidated
         Murfreesboro, TN 37128                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Greg Hannon                                                  Contingent
         1762 Exton Ave                                               Unliquidated
         Hamilton, NJ 08610                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 356 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 376 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.241
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Greg Lassik                                                  Contingent
         315 Ashford Rd                                               Unliquidated
         Toms River, NJ 08755                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Greg Magnan                                                  Contingent
         1221 Main Ave                                                Unliquidated
         Moorhead, MN 56560                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.06
         Greg Robinson                                                Contingent
         49 Leveson Street                                            Unliquidated
         North Melbourne VIC 3051                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.241
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,884.22
         Greg Sawatsky                                                Contingent
         15 Woodbank St                                               Unliquidated
         Stoney Creek ON L8J 3Y5                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.242
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,143.38
         Greg Unsicker                                                Contingent
         4436 West 25 South                                           Unliquidated
         West Point, UT 84015                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,463.50
         Gregg Fiddes                                                 Contingent
         2565 Manchester Avenue                                       Unliquidated
         Cardiff, CA 92007                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.59
         Gregg Henry                                                  Contingent
         3982 Powell Rd.                                              Unliquidated
         PMB 412                                                      Disputed
         Powell, OH 43065
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 357 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 377 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.242
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,595.32
         Gregor Kahles                                                Contingent
         Philipp-Reisstrasse 13                                       Unliquidated
         Krefeld 47807                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.242
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.54
         Gregorio Ventura                                             Contingent
         2875 Sedgwick Avenue                                         Unliquidated
         Apt-D3                                                       Disputed
         Bronx, NY 10468
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.242
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.41
         Gregory Anderson                                             Contingent
         61664 Woodriver Drive                                        Unliquidated
         Bend, OR 97702                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gregory Aring                                                Contingent
         9741 Clocktower Lane, #202                                   Unliquidated
         Columbia, MD 21046                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Gregory Aune                                                 Contingent
         20023 Terra Canyon                                           Unliquidated
         San Antonio, TX 78255                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Gregory Aune                                                 Contingent
         20023 Terra Canyon                                           Unliquidated
         San Antonio, TX 78255                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.50
         Gregory Booth                                                Contingent
         359 Annalyn Cir                                              Unliquidated
         Sandy, UT 84070                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 358 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 378 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.243
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,597.95
         Gregory Boss                                                 Contingent
         4344 Maple Woods Dr W                                        Unliquidated
         Saginaw, MI 48603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Gregory Candage                                              Contingent
         96 South Riverview Street                                    Unliquidated
         Bradford, MA 01835-6968                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Gregory H                                                    Contingent
         6832 Paseo Delicias #7217                                    Unliquidated
         Rancho Santa Fe, CA 92067                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,110.00
         Gregory Hake                                                 Contingent
         8031 Valdosta Ave.                                           Unliquidated
         San Diego, CA 92126                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Gregory Holowka                                              Contingent
         6832 Paseo Delicias #7217                                    Unliquidated
         Rancho Santa Fe, CA 92067                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Gregory Mouras                                               Contingent
         862 Topaz Street                                             Unliquidated
         New Orleans, LA 70124                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Gregory Pratt                                                Contingent
         387 Marsh Cove Drive                                         Unliquidated
         Ponte Vedra Beach, FL 32082                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 359 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 379 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.243
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,330.93
         Gregory Stroud                                               Contingent
         8439 Lake Crystal Dr                                         Unliquidated
         Houston, TX 77095                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,606.80
         Gregory Worrell                                              Contingent
         P.O. Box 25134                                               Unliquidated
         Christiansted, VI 00824-1134                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Griffin Lepak                                                Contingent
         1466 Oriole Dr                                               Unliquidated
         Hartford, WI 53027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.244
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $933.79
         Grigorios-Sotirios Gkizas
         Pindou 34                                                    Contingent
         Dog Grooming Saloon (Ground Floor)                           Unliquidated
         Athens 15121                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Alexandra Grumet                                             Contingent
         178 East 70th St.                                            Unliquidated
         Apt.5F                                                       Disputed
         New York, NY 10021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,086.74
         Guenter Reinhold                                             Contingent
         Harthauser Str. 79                                           Unliquidated
         Munich 81545                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 360 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 380 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.244
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,958.35
         Guibor Camargo Salamanca                                     Contingent
         7630 NW 25 Street, Ste2B                                     Unliquidated
         C057996                                                      Disputed
         Miami, FL 33122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $560.73
         Guido Kliefoth                                               Contingent
         Dudenstrasse 28                                              Unliquidated
         Berlin 10965                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Guilherme Brandao                                            Contingent
         441 North 2nd Street                                         Unliquidated
         Carlton, OR 97111                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.244
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Guillaume Chatain
         13 Coleherne Road                                            Contingent
         Flat 3                                                       Unliquidated
         London ENG SW10 9BS                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.22
         Guillermo Cavazos                                            Contingent
         Plaza Espana 6                                               Unliquidated
         Tlalnepantla MEX 54020                                       Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.244
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Guillermo Garcia                                             Contingent
         32-01 82nd Street                                            Unliquidated
         Queens, NY 11370                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 361 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 381 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.244
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,161.96
         Gulbahar Bakirci                                             Contingent
         Gasverksgatan 47                                             Unliquidated
         Eslov 24138                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $609.49
         Gunnar Schuster                                              Contingent
         Beermannstrasse 5                                            Unliquidated
         Berlin 12435                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,575.63
         Gurkan Kirgezmis                                             Contingent
         1279 E 17th St.                                              Unliquidated
         Apt. Ee                                                      Disputed
         Brooklyn, NY 11230
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $559.82
         Gurminder Bhogal                                             Contingent
         4 Silverstone Mews                                           Unliquidated
         Maidenhead ENG SL6 4JR                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.52
         Gurudutt Raval                                               Contingent
         151 Floral Avenue                                            Unliquidated
         Bethpage, NY 11714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,665.25
         Gurur Demir                                                  Contingent
         Brinkstrasse 33                                              Unliquidated
         Offenbach Am Main 63069                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Gustavo Diaz                                                 Contingent
         17026 Carlton Way Road                                       Unliquidated
         Huntersville, NC 28078                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 362 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 382 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.245
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Gustavo Diaz                                                 Contingent
         17026 Carlton Way Road                                       Unliquidated
         Huntersville, NC 28078                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.12
         Gustavo Fortes                                               Contingent
         Rua Itapirucu 177                                            Unliquidated
         S O Paulo SP 03672-020                                       Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,810.37
         Gustavo Garibay                                              Contingent
         4578 Northern Moon Way                                       Unliquidated
         San Diego, CA 92154                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $864.30
         Gustavo Santos
         Rua Alfredo Ceschiatti, 155                                  Contingent
         Bloco 1 Apt 503                                              Unliquidated
         Rio De Janeiro RJ 22775045                                   Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.246
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,315.57
         Gustavo Vargas                                               Contingent
         1319 Whitney Isles Dr                                        Unliquidated
         Windermere, FL 34786                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.92
         Guy Delauniere                                               Contingent
         1471 Regent Street                                           Unliquidated
         Niskayuna, NY 12309                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 363 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 383 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.246
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Guy Stuller                                                  Contingent
         12765 W Brentwood Dr                                         Unliquidated
         New Berlin, WI 53151                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.29
         H Carr                                                       Contingent
         3400 Garrison Street Northwest                               Unliquidated
         Washington, DC 20008                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         HM                                                           Contingent
         321 Kent Ave                                                 Unliquidated
         Colonial Heights, VA 23834                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Habib Moudoub                                                Contingent
         153 Vanderbilt Ave                                           Unliquidated
         Brooklyn, NY 11205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Hai Lam                                                      Contingent
         901 S Joshua Ave                                             Unliquidated
         Broken Arrow, OK 74012                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Hai Le                                                       Contingent
         14323 Cashel Wood Dr                                         Unliquidated
         Houston, TX 77069                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Hai Nguyen                                                   Contingent
         8029 Torino                                                  Unliquidated
         Stanton, CA 90680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 364 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 384 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.246
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.19
         Anthony Haile                                                Contingent
         2324 Sherwood Drive                                          Unliquidated
         Priceless Power Corp                                         Disputed
         Lemon Grove, CA 91945
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.99
         Hakan Guralay                                                Contingent
         An Der Windmuhle 22                                          Unliquidated
         Hagenburg 31558                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Hal Coopersmith                                              Contingent
         233 E 70 St                                                  Unliquidated
         Unit 11S                                                     Disputed
         New York, NY 10021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Haley Akes                                                   Contingent
         121 North 15th Street, #3006                                 Unliquidated
         Las Vegas, NV 89101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $875.63
         Hamed Farhadi                                                Contingent
         Nina Eignhorns Gata 4                                        Unliquidated
         Stockholm 11366                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $470.17
         Hamilton Cline                                               Contingent
         153 Bepler St                                                Unliquidated
         Daly City, CA 94014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Anna Hamilton                                                Contingent
         2204 Langford Cv                                             Unliquidated
         Austin, TX 78723                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 365 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 385 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.247
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Hampton Fowler                                               Contingent
         236 Chancellors Park Court                                   Unliquidated
         Simpsonville, SC 29681                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.14
         Hamza Arshad                                                 Contingent
         14 Farnham Loop                                              Unliquidated
         Little Rock, AR 72223                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,957.95
         Hamza Bitar                                                  Contingent
         Weststrasse 2                                                Unliquidated
         Chemnitz 9112                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.247
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Han Che                                                      Contingent
         Unit 1 45 Union Grove                                        Unliquidated
         Springvale VIC 3171                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.248
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Hanan Auzam                                                  Contingent
         697 Amaretto Avenue                                          Unliquidated
         Pickering ON L1X1L7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.248
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.01
         Hanh Tran                                                    Contingent
         805 Aaron Park Drive                                         Unliquidated
         Milpitas, CA 95035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.48
         Hanh-Uyen Nguyen                                             Contingent
         14 Faenza                                                    Unliquidated
         Newport Beach, CA 92657                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 366 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 386 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.248
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.21
         Hani Almandeel
         Via Del Gaggiolo, 38                                         Contingent
         Bah 783                                                      Unliquidated
         Arcene BG 24040                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.248
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $669.36
         Hannah Craig                                                 Contingent
         6426 Ohio 287                                                Unliquidated
         West Liberty, OH 43357                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Hannah Gavette                                               Contingent
         2217 Hensch Street                                           Unliquidated
         Fort Wayne, IN 46808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.25
         Hannah Todd                                                  Contingent
         1 Swinnie Cottages                                           Unliquidated
         Jedburgh SCT TD8 6PD                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.248
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Hannelore Krolik-Vorhaus                                     Contingent
         Hermesweg 1                                                  Unliquidated
         Berlin 12167                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.248
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.94
         Hannes Kroll                                                 Contingent
         Mommsenstr. 11                                               Unliquidated
         Berlin 12203                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 367 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 387 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.248
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Hanno Bibo                                                   Contingent
         Rutersbarg 9A                                                Unliquidated
         Hamburg 22529                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.71
         Hans Fetterhoff                                              Contingent
         1214 Bristol Avenue                                          Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.91
         Hans Fetterhoff                                              Contingent
         1214 Bristol Avenue                                          Unliquidated
         Colorado Springs, CO 80905                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,416.44
         Hans Flueckiger                                              Contingent
         Hoelzlistrasse 40                                            Unliquidated
         Binningen 4102                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Hans Heller                                                  Contingent
         58 Robinson Pond Dr.                                         Unliquidated
         Hudson, NH 03063                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,388.76
         Hans J. Huber                                                Contingent
         Mercystrasse 19                                              Unliquidated
         Freiburg Im Breisgau 79100                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Hanumantha Rao Chopparapu                                    Contingent
         11424 Aclare Street                                          Unliquidated
         Artesia, CA 90701                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 368 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 388 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.249
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.58
         Hany Iskandar                                                Contingent
         2549 E. Valley Parkway # 112                                 Unliquidated
         Escondido, CA 92027                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.52
         Aaqib Haq                                                    Contingent
         1950 Old Arcata Road                                         Unliquidated
         Unit A                                                       Disputed
         Bayside, CA 95524
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.55
         Haraindra Witharana                                          Contingent
         11608 12 Avenue Northwest                                    Unliquidated
         Edmonton AB T6J6X6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,446.51
         Harald Friedl                                                Contingent
         Hasselaersplein 1                                            Unliquidated
         Haarlem 2013 GB                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         A Harden                                                     Contingent
         1034 South Pine Road                                         Unliquidated
         Albany Creek QLD 4035                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Hardial Singh                                                Contingent
         2812 15 Street Northwest                                     Unliquidated
         Edmonton AB T6T 0V5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Haresh Khemani                                               Contingent
         102 Alex Campbell Crescent                                   Unliquidated
         King City ON L7B0C1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 369 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 389 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.250
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Amos Hargrove                                                Contingent
         2322 Loretta Lane                                            Unliquidated
         Rowlett, TX 75088                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Harinder Johal                                               Contingent
         1 3rd Avenue4                                                Unliquidated
         Mineola, NY 11501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Harinder Virk                                                Contingent
         1496 E 54 St                                                 Unliquidated
         Vancouver BC V5P1Y2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $812.43
         Harish Umashankar                                            Contingent
         4261 Norwalk Drive                                           Unliquidated
         Y310                                                         Disputed
         San Jose, CA 95129
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.10
         Harmandeep Narang                                            Contingent
         3683 Azalea Street                                           Unliquidated
         Aurora, OH 44202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Harold Brothwell                                             Contingent
         756 W Ornament Lane                                          Unliquidated
         Santa Claus, IN 47579                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.55
         Harold Kleppe                                                Contingent
         397 East Hiawatha Trails                                     Unliquidated
         Wood Dale, IL 60191                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 370 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 390 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.251
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Harper Dimmerman                                             Contingent
         2037 Chestnut Street, Floor 1                                Unliquidated
         P.O. Box 2134                                                Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Harpreet Bhogal                                              Contingent
         225-35 88th Avenue                                           Unliquidated
         Apt #1                                                       Disputed
         Queens, NY 11427
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.06
         Harpreet Dhillon                                             Contingent
         2879 Catalina Blvd Northeast                                 Unliquidated
         Calgary AB T1Y 6R1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,375.11
         Harpreet Goraya
         74087 Rd 11 E                                                Contingent
         P.O. Box 928                                                 Unliquidated
         Stony Mountain MB R0C3A0                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Harrison Wu                                                  Contingent
         726 Arabian Lane                                             Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.251
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Harry Mediavilla                                             Contingent
         450 Janice Kay Place                                         Unliquidated
         Kissimmee, FL 34744                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 371 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 391 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.251
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.73
         Harry Saddock                                                Contingent
         47 Lefoll Blvd                                               Unliquidated
         South Windsor, CT 06074                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.251
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $779.22
         Harsharaj Agadi                                              Contingent
         3048 Wilkins Lane                                            Unliquidated
         Tracy, CA 95377                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.251
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Harshit Goyal                                                Contingent
         96 Highland Ave                                              Unliquidated
         Apt 201                                                      Disputed
         Jersey City, NJ 07306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Adam Hartwick                                                Contingent
         1147 Washington Street                                       Unliquidated
         Indiana, PA 15701                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $349.75
         Artavazd Harutyunyan                                         Contingent
         500 West Colorado Street C-211                               Unliquidated
         Glendale, CA 91204                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,324.22
         Artavazd Harutyunyan                                         Contingent
         500 W Colorado Str. C-211                                    Unliquidated
         Glendale, CA 91204                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.45
         Harvey James                                                 Contingent
         179 North Root St                                            Unliquidated
         Aurora, IL 60505                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 372 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 392 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.252
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.02
         Harvey James                                                 Contingent
         179 North Root St                                            Unliquidated
         Aurora, IL 60505                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.31
         Hasan Kilinc                                                 Contingent
         Schanzenstr.6                                                Unliquidated
         Waghausel 68753                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.252
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Haseeb Abbas
         6 Plover Court                                               Contingent
         Unit 2                                                       Unliquidated
         Endeavour Hills VIC 3802                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.252
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.08
         Hatsuki Koshihara                                            Contingent
         9061 Arbor Ashbury Ave                                       Unliquidated
         Las Vegas, NV 89149                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.34
         Haydar Isa                                                   Contingent
         Seelbergstrasse 29                                           Unliquidated
         Stuttgart 70372                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.252
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.81
         Hayden Harris                                                Contingent
         14618 13th Ave SE                                            Unliquidated
         Mill Creek, WA 98012                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 373 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 393 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.252
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Hayder Alhadi                                                Contingent
         16999 Cristina Court                                         Unliquidated
         Clinton Twp, MI 48038                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,860.62
         Zack Haynes                                                  Contingent
         9940 Savannah Marie Ave                                      Unliquidated
         Las Vegas, NV 89149                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Heather Carter                                               Contingent
         1050 Stainton Drive, #325                                    Unliquidated
         Mississauga ON L5C 2T7                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.32
         Hector Ariceaga                                              Contingent
         495 W Ash St                                                 Unliquidated
         Lebanon, OR 97355                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Hector Villasenor                                            Contingent
         Belgica 8850 Col Cacho                                       Unliquidated
         Tijuana BC 22040                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Heegun Yang                                                  Contingent
         3210 Esperanza Crossing                                      Unliquidated
         Apt 5403                                                     Disputed
         Austin, TX 78758
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.45
         Heidi Medina                                                 Contingent
         65 SW 8th Ave                                                Unliquidated
         Oak Harbor, WA 98277                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 374 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 394 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.253
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.60
         Heinz Wieduwilt                                              Contingent
         8688 Hazelbridge Way #909                                    Unliquidated
         Richmond BC V6X 0R6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.67
         Helder Jose Faria Da Silva                                   Contingent
         Route De Rolle 28                                            Unliquidated
         Saint-Prex 1162                                              Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.45
         Helme Alsaade
         Granangsringen 44                                            Contingent
         Trappor 7                                                    Unliquidated
         Tyreso 13544                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Hemanta Guragain                                             Contingent
         547 Early Fall Court                                         Unliquidated
         Herndon, VA 20170                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Hendrik Wiese                                                Contingent
         Fehrbellinstrasse 9                                          Unliquidated
         Koln 50737                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.254
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,452.05
         Henri Gharchloo                                              Contingent
         17618 Rushing Drive                                          Unliquidated
         Granada Hills, CA 91344                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 375 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 395 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.254
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.42
         Henri Pusar                                                  Contingent
         7926 Friars Court Ln                                         Unliquidated
         Spring, TX 77379                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $978.70
         Henrik Holla                                                 Contingent
         Szerelem Alfred Ut 8.                                        Unliquidated
         Heves 3360                                                   Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.254
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.11
         Henrik Podewils                                              Contingent
         Schmidt-Ott-Strasse 16                                       Unliquidated
         Berlin 12165                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.254
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.57
         Henrique Defreitas                                           Contingent
         60 Preservation Dr                                           Unliquidated
         Taunton, MA 02780                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Henry Evans                                                  Contingent
         2343 Morningside St                                          Unliquidated
         San Diego, CA 92139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.61
         Henry Flores                                                 Contingent
         12039 SW 273 Street                                          Unliquidated
         Homestead, FL 33032                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Henry Haskin                                                 Contingent
         6206 Lacoste Love Court                                      Unliquidated
         Spring, TX 77379                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 376 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 396 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.254
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Henry Jensen                                                 Contingent
         17154 Linda Way                                              Unliquidated
         Noblesville, IN 46062                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Henry Lam                                                    Contingent
         8702 Bermuda Ave                                             Unliquidated
         Westminster, CA 92683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Henry Ma                                                     Contingent
         628 N 13th St                                                Unliquidated
         San Jose, CA 95112-3012                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Henry Maglente                                               Contingent
         177 Freshwater Lane                                          Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Henry Maya                                                   Contingent
         1900 N Bayshore Dr,                                          Unliquidated
         Apt 4207                                                     Disputed
         Miami, FL 33132
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.255
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Henry Patner                                                 Contingent
         351 East 4th Street                                          Unliquidated
         New York, NY 10009                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.93
         Henry Quiring                                                Contingent
         13 Fielding Court                                            Unliquidated
         Ajax ON L1T4W5                                               Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 377 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 397 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.255
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Herlin Burch                                                 Contingent
         1948 Varick Way                                              Unliquidated
         Casselberry, FL 32707                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.93
         Herman Le Roux                                               Contingent
         10-1818 Harbour Street                                       Unliquidated
         Port Coquitlam BC V3C 0E8                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.255
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $643.43
         Herman Le Roux
         1818 Harbour Street                                          Contingent
         Unit 10                                                      Unliquidated
         Port Coquitlam BC V3C 0E8                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.255
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $858.09
         Hermann Nelke                                                Contingent
         Im Muhlbachtal 44                                            Unliquidated
         Haltern Am See 45721                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,110.02
         Herminio Carrasquillo                                        Contingent
         18875 Riversouth Terrace                                     Unliquidated
         #3                                                           Disputed
         Fairview Park, OH 44126
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.69
         Hermon Hermon                                                Contingent
         5055 Seminary Rd Apt 901                                     Unliquidated
         Alexandria, VA 22311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 378 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 398 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.256
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Hernan Campos                                                Contingent
         450 S La Fayette Park Pl #206                                Unliquidated
         Los Angeles, CA 90057                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.256
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.62
         Hernan Campos                                                Contingent
         450 S La Fayette Park Pl #206                                Unliquidated
         Los Angeles, CA 90057                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.256
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.89
         Herschel Meadow                                              Contingent
         6103 Aqua Avenue                                             Unliquidated
         Ph 2                                                         Disputed
         Miami Beach, FL 33141
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.40
         Joseph Hickeyhall                                            Contingent
         4119 Shark Ct, Apt B                                         Unliquidated
         Apt B                                                        Disputed
         Great Lakes, IL 60088
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Hillary Swieca                                               Contingent
         71 Rue Du Manoir                                             Unliquidated
         Pointe-Des-Cascades QC J0P 1M0                               Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Hilmer Castillo                                              Contingent
         9419 Bayou Lake Ln                                           Unliquidated
         Houston, TX 77040                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.256
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Ahmed Himdi                                                  Contingent
         3812 Albemarle Ave                                           Unliquidated
         Drexel Hill, PA 19026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 379 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 399 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.256
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Himesh Quessou                                               Contingent
         14 Crabtree Avenue                                           Unliquidated
         London ENG HA0 1LP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $917.96
         Hiren Patel                                                  Contingent
         8950 Tucker Drive                                            Unliquidated
         Caseyville, IL 62232                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Hisham Abidallah                                             Contingent
         3051 East 97th Place                                         Unliquidated
         Apt2                                                         Disputed
         Highland, IN 46322
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,381.94
         Hoang Tran                                                   Contingent
         6132 Shelly Dr                                               Unliquidated
         Huntington Beach, CA 92647                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.63
         Vu Hoang                                                     Contingent
         34935 7th Ave Sw                                             Unliquidated
         Federal Way, WA 98023                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,546.00
         Holger Ahlers                                                Contingent
         Weihermatten 37                                              Unliquidated
         Bad Sackingen 70713                                          Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Holynabu Interiano                                           Contingent
         3435 South Orange Avenue                                     Unliquidated
         T107                                                         Disputed
         Orlando, FL 32806
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 380 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 400 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.257
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,451.69
         Homer Gardner                                                Contingent
         953 South Park Avenue                                        Unliquidated
         Somerset, PA 15501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Horace Mackey                                                Contingent
         1316 Boyd Ave Nw                                             Unliquidated
         Atlanta, GA 30318                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Horatiu Bogdan                                               Contingent
         Str. Arenei, Nr.6, Bl.B1, Sc. A, Ap.8                        Unliquidated
         Hunedoara HD 331095                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         John Horton                                                  Contingent
         2908 Willow Circle                                           Unliquidated
         Northport, AL 35473-8066                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,825.09
         Hountcheme Gbeyetin                                          Contingent
         10505 34th Avenue North                                      Unliquidated
         Medecine Lake, MN 55441                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $924.25
         Hovhannes Martirossyan                                       Contingent
         Lindenlaan 16                                                Unliquidated
         Leimuiden 2451 CC                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.258
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Howard Andrus                                                Contingent
         47-670 Wailehua Pl                                           Unliquidated
         Kaneohe, HI 96744-4931                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 381 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 401 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.258
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $559.52
         Howard Fleming                                               Contingent
         673 Legends Crest Drive                                      Unliquidated
         Franklin, TN 37069                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Howard Kellogg                                               Contingent
         8 Charnwood Rd                                               Unliquidated
         #1                                                           Disputed
         Somerville, MA 02144
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.258
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,417.15
         Howard Roos                                                  Contingent
         905 3rd Street                                               Unliquidated
         Colona, IL 61241-9773                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,967.46
         Hristian Menna                                               Contingent
         6010 Northwest 99th Avenue                                   Unliquidated
         Suite 109                                                    Disputed
         Doral, FL 33178
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.258
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Hsiao-Hong Lin                                               Contingent
         972 King Street West                                         Unliquidated
         Kitchener ON N2G1G4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.258
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,599.47
         Huang Zhaohui                                                Contingent
         Plaza Grup Parpallo,9 P06 16                                 Unliquidated
         Valencia V 46015                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.258
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,811.98
         Huang Zhaohui                                                Contingent
         Plaza Grup Parpallo,9 P06 16                                 Unliquidated
         Valencia V 46015                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 382 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 402 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.259
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,709.09
         Julia Huelsmeyer                                             Contingent
         Keferloher Strasse 2A Haar                                   Unliquidated
         Munich 85540                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Hugh Davis                                                   Contingent
         215 N. New River Dr E, #3190                                 Unliquidated
         Fort Lauderdale, FL 33301                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $870.68
         Hugo Nunes                                                   Contingent
         Praca Bartolomeu Dias, 271 - 2 Esq                           Unliquidated
         Alcochete PT-15 2890-138                                     Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Hugo Ortiz                                                   Contingent
         21196 Vineland Square                                        Unliquidated
         Ashburn, VA 20147                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,812.89
         Hugues Corbel
         140 Blvd De Grenelle                                         Contingent
         Hotel Bleu De Grenelle                                       Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Humberto Corral                                              Contingent
         2626 Reagan St                                               Unliquidated
         Apt 211                                                      Disputed
         Dallas, TX 75219
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 383 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 403 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.259
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Humberto Salazar                                             Contingent
         638 Orme Avenue                                              Unliquidated
         Los Angeles, CA 90023                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,810.17
         Humera Ali                                                   Contingent
         22 Arlington Street                                          Unliquidated
         Glasgow SCT G3 6DU                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Humphrey Yeung                                               Contingent
         60 Nolanhurst Green Nw                                       Unliquidated
         Calgary AB T3R 0Z2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.259
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Hunter Dundas                                                Contingent
         1364 Islington.Ave                                           Unliquidated
         Toronto ON M9A3K6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Hunter Lapeyre                                               Contingent
         4803 Carondelet St                                           Unliquidated
         New Orleans, LA 70115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.62
         Huok Ung                                                     Contingent
         5260 Pomona Blvd                                             Unliquidated
         Suite 102                                                    Disputed
         Los Angeles, CA 90022
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $507.63
         Hurben Akcagoz                                               Contingent
         Erzene Mh 124 Sok. Yersu Apt No 4/A Kat:                     Unliquidated
         Izmir 35000                                                  Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 384 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 404 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.260
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.75
         William Huseby                                               Contingent
         606 Stokeswood Ave                                           Unliquidated
         Atlanta, GA 30316                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $925.57
         Huseyin Tarkan Gokalp                                        Contingent
         40. Street No:5 Pyla                                         Unliquidated
         Larnaca 7080                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Hussam Fayad                                                 Contingent
         319 Olmstead Street                                          Unliquidated
         Ottawa ON K1L 7K2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Hussan Jawa                                                  Contingent
         360 Etheridge Ave                                            Unliquidated
         Milton ON L9E 0A8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,115.08
         Hussein Hamdoun                                              Contingent
         Marktstr9                                                    Unliquidated
         Siegen 57078                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.260
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Hussein Younes                                               Contingent
         18322 63 Avenue                                              Unliquidated
         Surrey BC V3S 8B1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 385 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 405 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.260
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,330.32
         Hutch Johnson                                                Contingent
         P.O. Box 1936                                                Unliquidated
         Sun Valley, ID 83353                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.92
         Hutch Johnson                                                Contingent
         P.O. Box 1936                                                Unliquidated
         Sun Valley, ID 83353                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.00
         Huu Nguyen                                                   Contingent
         13645 E Dakota Ave                                           Unliquidated
         Aurora, CO 80012                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.07
         Iain O'Neill                                                 Contingent
         33 Willowfield Road                                          Unliquidated
         Eastbourne ENG BN22 8AP                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.261
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.21
         Ian Achurra                                                  Contingent
         1251 Halifax Way                                             Unliquidated
         San Ramon, CA 94582-5047                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Ian Barton                                                   Contingent
         11604 Jefferson Street                                       Unliquidated
         Kansas City, MO 64114                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Ian Botnick                                                  Contingent
         5197 Durie Road                                              Unliquidated
         Mississauga ON L5M 2C6                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 386 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 406 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.261
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $119.00
         Ian Botnick                                                  Contingent
         5197 Durie Road                                              Unliquidated
         Mississauga ON L5M 2C6                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.261
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,589.31
         Ian Brennan                                                  Contingent
         10 Milano Avenue                                             Unliquidated
         Stirling WA 6021                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.261
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.55
         Ian Foster                                                   Contingent
         24928 121st Pl SE                                            Unliquidated
         Kent, WA 98030                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Ian Franklin                                                 Contingent
         12 Albatross Way                                             Unliquidated
         Chelmsford ENG CM3 3FX                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.23
         Ian Freemire                                                 Contingent
         2260 West 74th Avenue                                        Unliquidated
         Denver, CO 80221                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.54
         Ian Glover                                                   Contingent
         18 Greenside Lane                                            Unliquidated
         Cullingworth ENG BD13 5AN                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ian Johnson                                                  Contingent
         34341 Whittaker Street                                       Unliquidated
         Clinton Twp, MI 48035                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 387 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 407 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.262
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.65
         Ian Klepac                                                   Contingent
         35 Fawnwood Drive West                                       Unliquidated
         Aiken, SC 29803                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ian Lamanero                                                 Contingent
         7255 Lee Highway Street                                      Unliquidated
         Apartment 804                                                Disputed
         Chattanooga, TN 37421
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Ian Mccue                                                    Contingent
         310 NW 116th Ave #105                                        Unliquidated
         Portland, OR 97229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.81
         Ian McKillop                                                 Contingent
         270 Southgate Drive                                          Unliquidated
         Bedford NS B4A 4L8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.48
         Ian Waters                                                   Contingent
         2 Hillside Road                                              Unliquidated
         Bexhill ENG TN402AN                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.262
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.44
         Ian Weiss                                                    Contingent
         930 Tahoe Blvd 802 # 558                                     Unliquidated
         Incline Village, NV 89451-9488                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Abel Ibars                                                   Contingent
         1071 Lexi Court                                              Unliquidated
         Ladson, SC 29456                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 388 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 408 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.263
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,175.69
         Ibrael Espinosa Moscoso
         19 Rue Saint Maurice                                         Contingent
         Rdc 02                                                       Unliquidated
         Nanterre 92000                                               Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,566.37
         Ibrahim Islam                                                Contingent
         Flat 504 Penn Court, 4 Williamsburg Plaz                     Unliquidated
         London ENG E14 9XT                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         iCare Technology Geeks                                       Contingent
         4355 Cobb Parkway Southeast                                  Unliquidated
         Suite J610                                                   Disputed
         Atlanta, GA 30339
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.35
         Ichiro Ashihara                                              Contingent
         9 Cedar Cliff Terr                                           Unliquidated
         Meeford, MA 02155                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.263
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Ielcean Razvan Doru                                          Contingent
         Ciobanului 6 #40                                             Unliquidated
         Cluj-Napoca CJ 400531                                        Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Ielcean Razvan Doru                                          Contingent
         Ciobanului 6 #40                                             Unliquidated
         Cluj-Napoca CJ 400531                                        Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 389 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 409 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.263
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.50
         Ignace Laplaese                                              Contingent
         Ezelstraat 135                                               Unliquidated
         Brugge 8000                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,163.99
         Ignacio Kessler Usabox                                       Contingent
         25 SE 2nd Ave                                                Unliquidated
         Ste 406                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,977.47
         Ignacio Martinez Murias                                      Contingent
         Capitan General Ramon Freire 1062                            Unliquidated
         Caba C C1426                                                 Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.263
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ignacio Scorpus                                              Contingent
         1736 Parkway Court                                           Unliquidated
         Greenacres, FL 33413                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,610.95
         Igor Banfi                                                   Contingent
         Plese 7B                                                     Unliquidated
         Murska Sobota 9000                                           Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.264
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Igor Dyuzhev                                                 Contingent
         151 Fargo Avenue #2                                          Unliquidated
         Buffalo, NY 14201                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $794.59
         Igor Hridjikj                                                Contingent
         Bul.Asnom 4/3-4                                              Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 390 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 410 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.264
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.51
         Igor Martirosian                                             Contingent
         Wielandstrasse 8                                             Unliquidated
         Wiesbaden 65187                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.264
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,551.48
         Igor Orlanov                                                 Contingent
         4167 Westerleigh Court Northwest                             Unliquidated
         Norcross, GA 30092                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,160.46
         Ilias Gatzias
         Manoli Triantafyllidi 15                                     Contingent
         2D Floor                                                     Unliquidated
         Ioannina 45221                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.264
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,174.83
         Ilias Gatzias
         Manoli Triantafillidi 15                                     Contingent
         2D Floor                                                     Unliquidated
         Ioannina 45221                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.264
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,492.87
         Ilias Gatzias
         Manoli Triantafillidi 15                                     Contingent
         2D Floor                                                     Unliquidated
         Ioannina 45221                                               Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.264
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,016.88
         Ilie Robert Alexandru
         Prelungirea Colentina Nr 28 B                                Contingent
         28B                                                          Unliquidated
         Mogosoaia IF 77135                                           Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 391 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 411 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.264
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Ilie Robert Alexandru                                        Contingent
         Prelungirea Colentina ,Nr 28B                                Unliquidated
         Mogosoaia IF 77135                                           Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.265
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $926.29
         Ilir Telushi                                                 Contingent
         Rooigemlaan 493                                              Unliquidated
         Gent 9000                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.265
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $839.92
         Iliyan Cholakov
         Slaveikov, St. Dame Gruev 1                                  Contingent
         Ent. 1, Fl 1, Ap. 1                                          Unliquidated
         Burgas 8000                                                  Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.265
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Imad Ayaz                                                    Contingent
         14090 Big Crest Lane #208                                    Unliquidated
         Woodbridge, VA 22191                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Imam Adhitya                                                 Contingent
         435A Bathurst St                                             Unliquidated
         Toroto ON M5T 2S9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.265
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Iman Dori                                                    Contingent
         5333 Balboa Blvd                                             Unliquidated
         Apt 229                                                      Disputed
         Encino, CA 91316
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 392 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 412 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.265
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Imehobong Archibong                                          Contingent
         4092 Brookwood Valley Cir NE                                 Unliquidated
         Atlanta, GA 30309                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Imehobong Archibong                                          Contingent
         4092 Brookwood Valley Cir NE                                 Unliquidated
         Atlanta, GA 30309                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,430.81
         Imran Janjua                                                 Contingent
         12 Factory Road                                              Unliquidated
         Enniskillen NIR BT746DP                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.265
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.81
         Imran Siddique                                               Contingent
         4312 Enchanted Oaks Drive                                    Unliquidated
         Arlington, TX 76016                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.07
         Imran Uddin
         11 Quayside House                                            Contingent
         119 Tarling Road                                             Unliquidated
         London ENG E16 1GX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Senol Imrol                                                  Contingent
         Severinusstrasse 34                                          Unliquidated
         Wenden 57482                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 393 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 413 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.266
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Inderpaul Rattan                                             Contingent
         12830 96 Avenue, #607                                        Unliquidated
         Surrey BC V3V 6A8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Indigo Vanderborgh                                           Contingent
         519 East San Jose Avenue                                     Unliquidated
         Burbank, CA 91501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,735.56
         Ingmar Ehrmann
         Naupliaallee 12                                              Contingent
         Im Kiosk/Post                                                Unliquidated
         Ottobrunn 85521                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,411.44
         Ingo Wachter
         Bismarckstrasse 84                                           Contingent
         Project X Ug (Haftungsbeschr Nkt)                            Unliquidated
         Nurnberg 90491                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Ionescu George-Nicolae                                       Contingent
         Str. Dumitru Lazarescu, Nr.26-28, Sector                     Unliquidated
         Bucuresti B 52017                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.37
         Ionut Clopotaru                                              Contingent
         85 Windstar Drive                                            Unliquidated
         London ENG RM155GW                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 394 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 414 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.266
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Ionut Clopotaru                                              Contingent
         85 Windstar Drive                                            Unliquidated
         London ENG RM15 5GW                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Ionut Grosu
         Sosea Stefan Cel Mare Si Sfant, Nr 4, Et                     Contingent
         Etaj 3, Ap 23, Int 1723                                      Unliquidated
         Iasi IS 700497                                               Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.266
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $64.50
         Ionut Ivancea                                                Contingent
         Imparatul Traian, Nr.9, Bl 9, Scale 2, A                     Unliquidated
         Bucharest B 41413                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Ionut Jora                                                   Contingent
         Crivatului 6                                                 Unliquidated
         Piatra Neamt NT 610096                                       Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Ionut Sgarbura                                               Contingent
         Strada Siemens 1                                             Unliquidated
         Timisoara TM 300704                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Ionut Sgarbura                                               Contingent
         Strada Siemens 1                                             Unliquidated
         Timisoara TM 300704                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 395 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 415 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.267
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,386.48
         Ip4 Gmbh                                                     Contingent
         Meiereistrasse 8A                                            Unliquidated
         Wallsbull 24980                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,399.38
         Ira Kunyansky                                                Contingent
         722 North Orlando Avenue                                     Unliquidated
         #106                                                         Disputed
         Los Angeles, CA 90069
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,557.73
         Ira Lee                                                      Contingent
         P.O. Box 1972                                                Unliquidated
         Whiteriver, AZ 85941                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $944.98
         Iraj Maleki                                                  Contingent
         Murtener Strasse 20                                          Unliquidated
         Berlin 12205                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Irakli Magradze                                              Contingent
         Melikishvili 45                                              Unliquidated
         Tbilisi 179                                                  Disputed
         GEORGIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,479.08
         Irfan Aslam                                                  Contingent
         20 Park St                                                   Unliquidated
         Apt 1-7                                                      Disputed
         Albany, NY 12207
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.267
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,435.98
         Irfan Iqbal                                                  Contingent
         30 Hawkshead Street                                          Unliquidated
         Blackburn ENG BB2 2SJ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 396 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 416 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.268
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.20
         Irina Diana Iordache
         Strada Cauzasi, Nr. 27-25                                    Contingent
         Hotel International, 0757997478                              Unliquidated
         Bucharest B 30801                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.268
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,386.78
         Irina Tsvetkova                                              Contingent
         P.O. Box 251                                                 Unliquidated
         Malden, MA 02148                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.24
         Irma Sargelyte                                               Contingent
         14 Plantsman Close                                           Unliquidated
         Norwich ENG NR2 2NH                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.268
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,460.26
         Iryna Biyovska                                               Contingent
         129 Willow Avenue                                            Unliquidated
         Garwood, NJ 07027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Isaac Baatz                                                  Contingent
         191 Olive Street                                             Unliquidated
         Victoria BC V8S 3H4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.268
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.14
         Isaac Crowder                                                Contingent
         835 Bellevue Street                                          Unliquidated
         Apt B                                                        Disputed
         Green Bay, WI 54302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 397 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 417 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.268
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Isaac Lowe                                                   Contingent
         1700 South 2nd Street                                        Unliquidated
         Alhambra, CA 91801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Isaac Obispo                                                 Contingent
         312 De Paul Drive                                            Unliquidated
         A                                                            Disputed
         Santa Barbara, CA 93110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.268
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,451.69
         Isaac Valdez                                                 Contingent
         289 Barnhill Road                                            Unliquidated
         Perkasie, PA 18944                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Isaac Yuen                                                   Contingent
         909 Kapiolani Blvd #902                                      Unliquidated
         Honolulu, HI 96814                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.82
         Isabel Reiss                                                 Contingent
         Bremgartnerstrasse 18                                        Unliquidated
         Zurich 8003                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.269
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Isai Garcia                                                  Contingent
         501 Southwest 64th Parkway                                   Unliquidated
         Pembroke Pines, FL 33023                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 398 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 418 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.269
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,638.76
         Isaiah Redfern
         1665 Russel Rd                                               Contingent
         Unit 1                                                       Unliquidated
         Ottawa ON K1G 0M8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.269
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Isaiah Sisk                                                  Contingent
         112 Cliff Dr                                                 Unliquidated
         Buckner, MO 64016                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Isaiah Sisk                                                  Contingent
         112 Cliff Dr                                                 Unliquidated
         Buckner, MO 64016                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.59
         Isaiah Thomas                                                Contingent
         6720 28th Street, #428                                       Unliquidated
         Lubbock, TX 79407                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Isaias Salgado                                               Contingent
         18937 Felbridge Street                                       Unliquidated
         Santa Clarita, CA 91351                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Isaias Salgado                                               Contingent
         18937 Felbridge Street                                       Unliquidated
         Santa Clarita, CA 91351                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Islam Elmenshawy                                             Contingent
         378 Embaracadero West, #702                                  Unliquidated
         Oakland, CA 94607                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 399 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 419 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.269
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,903.52
         Jason Island                                                 Contingent
         11107 Cremona Court                                          Unliquidated
         Richmond, TX 77406                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Ismail Jasim                                                 Contingent
         12925 Darby Chase Dr                                         Unliquidated
         Charlotte, NC 28277                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.37
         Istvan Fejes
         Apt. 6 , Condor House ,                                      Contingent
         156A Main Rd                                                 Unliquidated
         Biggin Hill ENG TN16 3BA                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.270
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $952.00
         IT Evolution Srl Balzarin                                    Contingent
         Viale Ambrogio Fusinieri, 12                                 Unliquidated
         Vicenza VI 36100                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.270
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Italo Silva                                                  Contingent
         1780 Lawrence Avenue East, #202                              Unliquidated
         Scarborough ON M1R 2Y2                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.270
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Itana Teferra                                                Contingent
         2571 Taos Dr                                                 Unliquidated
         Grand Prairie, TX 75051                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 400 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 420 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.270
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Ivan Bukta                                                   Contingent
         4907 Garden Grove Rd                                         Unliquidated
         Grand Prairie, TX 75052                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.68
         Ivan Goetz                                                   Contingent
         Herbert-Schober-Str. 29                                      Unliquidated
         Munich 80997                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.270
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.59
         Ivan Heyward                                                 Contingent
         318 S 13th Street                                            Unliquidated
         Easton, PA 18042                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $939.29
         Ivan Stopic                                                  Contingent
         Karlovaka 71                                                 Unliquidated
         Zagreb 100020                                                Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.270
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Ivan Ting Hong Leung
         3975 Grand Park Drive                                        Contingent
         Unit 1105                                                    Unliquidated
         Mississauga ON L5B 0K4                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,945.99
         Ivan Yordanov                                                Contingent
         32 Heighams                                                  Unliquidated
         Harlow ENG CM19 5NU                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 401 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 421 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.271
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.89
         Ivanka Galesic                                               Contingent
         Seydlitzstrasse 7                                            Unliquidated
         Berlin 12307                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.79
         Ivanka Galesic                                               Contingent
         Seydlitzstrasse 7                                            Unliquidated
         Berlin 12307                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.81
         Ivonne Lippmann                                              Contingent
         Haubenschlossstrasse                                         Unliquidated
         Kempten (Allgau) 87435                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         J Dizzle                                                     Contingent
         15467 Madrona Drive                                          Unliquidated
         Surrey BC V4A 5N2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $507.49
         J Smerdon                                                    Contingent
         1 Berechurch Hall Road                                       Unliquidated
         Colchester ENG CO2 8RD                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         J. Bryant Boyd                                               Contingent
         902 Forest Street                                            Unliquidated
         Georgetown, TX 78626                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.271
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $88.63
         Jabari Le                                                    Contingent
         5022 West Highwood Drive                                     Unliquidated
         Kearns, UT 84118                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 402 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 422 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.271
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,958.87
         Jace Hermanson                                               Contingent
         120 N 44th St                                                Unliquidated
         Suite 420                                                    Disputed
         Phoenix, AZ 85034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.271
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $892.97
         Jacek Mering                                                 Contingent
         Sybirakow, 12/68                                             Unliquidated
         Bydgoszcz 85-796                                             Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.272
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Jack Alepyan                                                 Contingent
         13441 Vose Street                                            Unliquidated
         Los Angeles, CA 91405                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Jack Baker                                                   Contingent
         21 Second Street                                             Unliquidated
         Elmira ON N3B 1H3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.272
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.00
         Jack Bennett
         12 Walsh Crescent                                            Contingent
         New Addington                                                Unliquidated
         London ENG CR00BX                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.272
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Jack Chang                                                   Contingent
         240 N Bayshore Blvd, 221                                     Unliquidated
         San Mateo, CA 94401                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 403 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 423 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.272
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.72
         Jack Reynolds                                                Contingent
         5016 Pitt Street                                             Unliquidated
         New Orleans, LA 70115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Jack Schaefer                                                Contingent
         8722 Burkshire Pl                                            Unliquidated
         Lakeside, CA 92040                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Jack Stone                                                   Contingent
         140 Hazelwood Close                                          Unliquidated
         Cambridge ENG CB4 3SP                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.272
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,478.59
         Jack Urbano                                                  Contingent
         3109 Raleigh Street                                          Unliquidated
         Denver, CO 80212                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.85
         Jack Wisner                                                  Contingent
         11170 Orville Street                                         Unliquidated
         Culver City, CA 90230                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.78
         Jackson Kestian                                              Contingent
         1016 Broadway                                                Unliquidated
         Normal, IL 61761                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,407.54
         Jacob Cartwright                                             Contingent
         38 Wayside Walk                                              Unliquidated
         Harrogate ENG HG2 8NW                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 404 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 424 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.273
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Jacob Creamer                                                Contingent
         1311 Main St                                                 Unliquidated
         Follansbee, WV 26037                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jacob Edwards                                                Contingent
         10 Middle St                                                 Unliquidated
         P.O. Box 715                                                 Disputed
         South Freeport, ME 04078
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.273
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Jacob Elder                                                  Contingent
         455 Westwood Drive                                           Unliquidated
         Cobourg ON K9A 4M5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.273
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jacob Emanuel                                                Contingent
         17888 Buchholz Rd.                                           Unliquidated
         Farmington, MO 63640                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $470.30
         Jacob Funke                                                  Contingent
         8600 18th Avenue West                                        Unliquidated
         E104                                                         Disputed
         Everett, WA 98204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.273
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,112.81
         Jacob Grant                                                  Contingent
         11476 W Cumberland River Dr                                  Unliquidated
         Nampa, ID 83686                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $47.50
         Jacob Holmgren                                               Contingent
         Tranebergsv Gen 27                                           Unliquidated
         Bromma 16745                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 405 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 425 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.273
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.02
         Jacob Koshy                                                  Contingent
         1715 Kenicott Lane                                           Unliquidated
         Plainfield, IL 60586                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,771.51
         Jacob Perrin                                                 Contingent
         821 North 31st Street                                        Unliquidated
         Billings, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,479.08
         Jacob Peters                                                 Contingent
         9305 Bud Wood Street                                         Unliquidated
         Gotha, FL 34734                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jacob Sakolsky                                               Contingent
         3339 Virginia St                                             Unliquidated
         Apt, Ph-2                                                    Disputed
         Miami, FL 33133
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.274
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.05
         Jacob Sinclair                                               Contingent
         15704 Burrowing Owl Court                                    Unliquidated
         Morrison, CO 80465                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Jacob Spencer                                                Contingent
         4810 Fox Creek East, #189                                    Unliquidated
         Independence Charter Twp, MI 48346                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Jacob Sturdevant                                             Contingent
         13 Kingfisher Dr                                             Unliquidated
         Birdsboro, PA 19508                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 406 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 426 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.274
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jacob Warren                                                 Contingent
         9510 Silver Mist Way                                         Unliquidated
         San Antonio, TX 78254                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.21
         Jacob Yilma                                                  Contingent
         11936 Pericles Drive                                         Unliquidated
         Rancho Cordova, CA 95742                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Jacqueline Murray                                            Contingent
         14 Babson St                                                 Unliquidated
         Gloucester, MA 01930                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.96
         Jacqueline Roberts                                           Contingent
         7425 Royalton Rd                                             Unliquidated
         North Royalton, OH 44133-4743                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Jaden Emrich                                                 Contingent
         511 W River Dr                                               Unliquidated
         West Bend, WI 53090                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Jaehwan Choi                                                 Contingent
         35 Gully Drive                                               Unliquidated
         Toronto ON M1K 4W3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.275
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $646.14
         Jaime Curbelo                                                Contingent
         3325 SW 59 Ter.                                              Unliquidated
         West Park                                                    Disputed
         West Park, FL 33023
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 407 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 427 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.275
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.37
         Jaime Gonzalez                                               Contingent
         1610 Harding St                                              Unliquidated
         Seaside, CA 93955                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.47
         Jaime Hervey Arizpe Chapa
         Lib Emilio Mendoza Cisneros 105, Colonia                     Contingent
         Colonia Independencia,                                       Unliquidated
         Acuna COAH 26200                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.275
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Vijay Ashish Jaiswal                                         Contingent
         19519 Bella Arbor Ln                                         Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jakaleen Archilles                                           Contingent
         32 Middleton Loop, Meadow Springs                            Unliquidated
         Mandurah WA 6210                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.275
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.28
         Jake Demonaco                                                Contingent
         45 East 21st Street                                          Unliquidated
         Bayonne, NJ 07002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.52
         Jake Edwards                                                 Contingent
         164 Coyle St                                                 Unliquidated
         Apt A                                                        Disputed
         Portland, ME 04103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 408 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 428 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.275
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Jake Kopf                                                    Contingent
         756 South Broadway                                           Unliquidated
         Los Angeles, CA 90019                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.46
         Jake Pinson                                                  Contingent
         1825 Saulter Road                                            Unliquidated
         Birmingham, AL 35209                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $829.23
         Jake Sheridan
         10838 City Parkway                                           Contingent
         Unit 233                                                     Unliquidated
         Surrey BC V3T 5X9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Jake Smallwood                                               Contingent
         1452 West Horizon Ridge Parkway                              Unliquidated
         #321                                                         Disputed
         Henderson, NV 89012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jake Vick                                                    Contingent
         21617 Graves Drive                                           Unliquidated
         Lewes, DE 19958                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jake Zuhoski                                                 Contingent
         22 Mystic Ct                                                 Unliquidated
         Riverhead, NY 11901                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 409 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 429 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.276
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $960.75
         Jakob Ebert                                                  Contingent
         Meistersingerstr. 6                                          Unliquidated
         Potsdam 14471                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,462.75
         Jakob Flohr                                                  Contingent
         140 Patria                                                   Unliquidated
         Rancho Mission Viejo, CA 92694                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $876.01
         Jakob Krohn Deleuran
         Henrik Rungs Gade 18                                         Contingent
         2. Tv                                                        Unliquidated
         Copenhagen N 2200                                            Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,101.30
         Jakub Farag                                                  Contingent
         Hefnersteig 2                                                Unliquidated
         Berlin 13629                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Jalal Bahhur                                                 Contingent
         3225 Turtle Creek Blvd                                       Unliquidated
         #2202                                                        Disputed
         Dallas, TX 75219
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.276
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.55
         Jalil Reed                                                   Contingent
         3144 Fern Valley Drive Southwest                             Unliquidated
         Marietta, GA 30008                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 410 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 430 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.277
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,769.52
         Jalil Trejo                                                  Contingent
         1008 E Pecan Blvd D-45                                       Unliquidated
         Mcallen, TX 78501-5750                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,218.62
         Jalil Trejo                                                  Contingent
         1008 E Pecan Blvd D-45                                       Unliquidated
         Mcallen, TX 78501-5750                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jalil Trejo                                                  Contingent
         1008 E Pecan Blvd D-45                                       Unliquidated
         Mcallen, TX 78501-5750                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jalpan Jani                                                  Contingent
         111 Covert Avenue                                            Unliquidated
         New Hyde Park, NY 11040                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Jamal Simpson                                                Contingent
         115 Barbara Drive                                            Unliquidated
         Ladson, SC 29456                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jameelah Rose Lineses                                        Contingent
         3906 62nd St.                                                Unliquidated
         Apt. 3E                                                      Disputed
         Woodside, NY 11377
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.277
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         James Albiez                                                 Contingent
         180 Niagara Street, #204                                     Unliquidated
         Toronto ON M5V 3E1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 411 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 431 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.277
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         James Alexander                                              Contingent
         504 Willow Way                                               Unliquidated
         Upland, PA 19015                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.81
         James Arnette                                                Contingent
         2599 Williams Hwy                                            Unliquidated
         Grants Pass, OR 97527                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         James Arnold                                                 Contingent
         608 McKenzie St                                              Unliquidated
         North Augusta, SC 29841                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         James Aston                                                  Contingent
         2824 Kilborne Drive                                          Unliquidated
         Apt 2                                                        Disputed
         Charlotte, NC 28205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.278
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.49
         James Baldock                                                Contingent
         67 Newtown Road                                              Unliquidated
         Worcester ENG WR5 1HH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.278
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.24
         James Barlow                                                 Contingent
         26 Lathkill Drive                                            Unliquidated
         Derby ENG DE5 8HW                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.278
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         James Brady                                                  Contingent
         614 Barrington Rd.                                           Unliquidated
         Grosse Pointe Park, MI 48230                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 412 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 432 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.278
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         James Brunet                                                 Contingent
         3225 Colby Chase Drive                                       Unliquidated
         Apex, NC 27539                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         James Carr                                                   Contingent
         2001 Park Dr                                                 Unliquidated
         Lithia Springs, GA 30122                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         James Carr                                                   Contingent
         2001 Park Dr                                                 Unliquidated
         Lithia Springs, GA 30122                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.69
         James Chavis                                                 Contingent
         3515 Frazier Street                                          Unliquidated
         Pittsburgh, PA 15213                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,837.24
         James Debaro                                                 Contingent
         3201 Richmond Road                                           Unliquidated
         Ste. A                                                       Disputed
         Texarkana, TX 75503
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.278
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.82
         James Deleo                                                  Contingent
         279 Elm St                                                   Unliquidated
         Glen Ellyn, IL 60137                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,470.16
         James Duerr                                                  Contingent
         302 Summit Ave.                                              Unliquidated
         Fort Washington, PA 19034                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 413 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 433 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.279
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         James Dunn                                                   Contingent
         3025 Ashley Phosphate Rd                                     Unliquidated
         Suite A3                                                     Disputed
         North Charleston, SC 29418
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.279
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.87
         James Durand                                                 Contingent
         155 Washington Street                                        Unliquidated
         Apt 2211                                                     Disputed
         Jersey City, NJ 07302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.279
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         James Dyer                                                   Contingent
         632 Stetson Street                                           Unliquidated
         632 Stetson Street, Orlando, Fl, 32804                       Disputed
         Orlando, FL 32804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.279
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $810.52
         James Embree                                                 Contingent
         16993 Kinross Avenue                                         Unliquidated
         Beverly Hills, MI 48025                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         James Erickson                                               Contingent
         1710 West Cindy St                                           Unliquidated
         Chandler, AZ 85224                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         James Eskew                                                  Contingent
         1400 Valley Ridge Blvd                                       Unliquidated
         Apt 3203                                                     Disputed
         Lewisville, TX 75077
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.279
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,934.14
         James Fisher                                                 Contingent
         14555 West Park Avenue                                       Unliquidated
         New Berlin, WI 53151                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 414 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 434 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.279
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         James Grosso                                                 Contingent
         1080 Northwest 11th Street                                   Unliquidated
         Miami, FL 33136                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $159.52
         James Grosso                                                 Contingent
         1080 Northwest 11th Street                                   Unliquidated
         Miami, FL 33136                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         James Hatch                                                  Contingent
         1907 Washburn Court                                          Unliquidated
         Frederick, MD 21702                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         James Hilley                                                 Contingent
         5555 East Garnet Avenue                                      Unliquidated
         Mesa, AZ 85206                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         James Holmes                                                 Contingent
         606 Hinton Ave                                               Unliquidated
         Charlottesville, VA 22902                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,182.03
         James House                                                  Contingent
         114 Merryhill St                                             Unliquidated
         Marietta, OH 45750                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.34
         James House                                                  Contingent
         114 Merryhill St                                             Unliquidated
         Marietta, OH 45750                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 415 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 435 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.280
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         James Hurley                                                 Contingent
         58 Hansol Road                                               Unliquidated
         Bexleyheath ENG DA6 8JG                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.280
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.75
         James Johnson                                                Contingent
         2151 Palo Alto Drive #121                                    Unliquidated
         Chula Vista, CA 91914                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         James Jordan                                                 Contingent
         1113 Kenwood Ave                                             Unliquidated
         Florence, SC 29501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $625.62
         James Kinthiseng                                             Contingent
         3637 Via El Monte Avenue                                     Unliquidated
         Las Vegas, NV 89115                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,979.39
         James Klein                                                  Contingent
         4470 6th Pl Sw                                               Unliquidated
         Vero Beach, FL 32968                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         James Kuk                                                    Contingent
         148 S Formosa Ave                                            Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.88
         James Lewis                                                  Contingent
         3403 Glenrose Dr                                             Unliquidated
         Atlanta, GA 30341                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 416 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 436 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.281
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         James Mackay-Jones                                           Contingent
         40 Jane Avenue                                               Unliquidated
         Courtice ON L1E 0A6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.281
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         James Malone                                                 Contingent
         528 West B Ave                                               Unliquidated
         North Little Rock, AR 72116                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.75
         James Matulac                                                Contingent
         325 West Washington Street                                   Unliquidated
         San Diego, CA 92103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         James McNeil                                                 Contingent
         14 Clough Crescent                                           Unliquidated
         Guelph ON N1L0H9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.281
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         James Montgomery                                             Contingent
         912 Lois Circle                                              Unliquidated
         Virginia Beach, VA 23452                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.61
         James Morales                                                Contingent
         5921 Grass Creek Dr                                          Unliquidated
         Bakersfield, CA 93311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,423.69
         James Morris                                                 Contingent
         12 Country Club Pl                                           Unliquidated
         Bloomington, IL 61701                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 417 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 437 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.281
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,394.69
         James Munn                                                   Contingent
         3851 Lilac Ln                                                Unliquidated
         Woodbury, MN 55129                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,616.56
         James Noh                                                    Contingent
         753 Ridgecrest St                                            Unliquidated
         Monterey Park, CA 91754                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         James Padolina                                               Contingent
         2109 Wild Flower Ln                                          Unliquidated
         Chino Hills, CA 91709                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         James Previte                                                Contingent
         2835 Vintage View Loop                                       Unliquidated
         Lakeland, FL 33812                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         James Salame                                                 Contingent
         238 East 61st Street                                         Unliquidated
         New York, NY 10065                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.19
         James Scheller                                               Contingent
         1412 Stewart Road                                            Unliquidated
         Sacramento, CA 95864                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         James Smith                                                  Contingent
         212 Smith Myers Road                                         Unliquidated
         Hopkins, SC 29061                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 418 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 438 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.282
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         James Soldi                                                  Contingent
         2208-B Clark Ln.                                             Unliquidated
         Redondo Beach, CA 90278                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,328.82
         James Stratton                                               Contingent
         29250 Us Hwy 19 N., Lot 66, Lot 66                           Unliquidated
         Lot 66                                                       Disputed
         Clearwater, FL 33765
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.282
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         James Wassel                                                 Contingent
         1595 N Tower Rd                                              Unliquidated
         Fombell, PA 16123-2911                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.71
         James Williams                                               Contingent
         370 Daisy Avenue                                             Unliquidated
         Imperial Beach, CA 91932                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         James Yancey                                                 Contingent
         904 Bank St                                                  Unliquidated
         Annapolis, MD 21403                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Jamey Jeffords                                               Contingent
         31 Northampton Street                                        Unliquidated
         Easthampton, MA 01027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,412.23
         Jamie Bullard                                                Contingent
         6 Duncan Lane                                                Unliquidated
         Pinehurst, NC 28374                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 419 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 439 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.283
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,217.18
         Jamie Kubess                                                 Contingent
         278 Luiseno Avenue                                           Unliquidated
         Oceanside, CA 92057                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Jamie Lipschitz                                              Contingent
         2228 80th St                                                 Unliquidated
         Apt 2                                                        Disputed
         Brooklyn, NY 11214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.283
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jamie Wright                                                 Contingent
         2421 Prince Howard Trl                                       Unliquidated
         Marietta, GA 30062                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.09
         Jamil Jarrett                                                Contingent
         1948 S. 21 Street                                            Unliquidated
         Philadelphia, PA 19145                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Jamil Jarrett                                                Contingent
         32 Delaware Avenue                                           Unliquidated
         Ridley Park, PA 19078                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $882.50
         Jan Barbrock
         Wilsweg 2                                                    Contingent
         Wilsweg 2                                                    Unliquidated
         Bissendorf 49143                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 420 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 440 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.283
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,587.87
         Jan Groeschke                                                Contingent
         Zum Exerzierhaus 23                                          Unliquidated
         Potsdam 14469                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.284
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $788.27
         Jan Henderson                                                Contingent
         6 Steelox Road                                               Unliquidated
         East Brunswick, NJ 08816                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.14
         Jan Hockesfeld                                               Contingent
         Erphostrasse 47                                              Unliquidated
         Munster 48145                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.284
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,650.90
         Jan Kulich                                                   Contingent
         Nabrezi 604                                                  Unliquidated
         Luhacovice 763 26                                            Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.284
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.06
         Jan Kulich                                                   Contingent
         72 Greenbough                                                Unliquidated
         Irvine, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.70
         Jan Novotny                                                  Contingent
         Carrer Cer 1                                                 Unliquidated
         Picassent V 46229                                            Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.284
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.88
         Jan Spodniak                                                 Contingent
         Mladeznicka 21                                               Unliquidated
         Banska Bystrica 97404                                        Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 421 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 441 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.284
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.91
         Jan-Tore Ugelstad                                            Contingent
         Oevre Lyngboe 27                                             Unliquidated
         Laksevaag 5164                                               Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.284
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,436.75
         Janae Fueston                                                Contingent
         3816 110th Avenue East                                       Unliquidated
         Edgewood, WA 98372                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.21
         Janet Dunlap                                                 Contingent
         8530 Us Highway 1, Ste 9                                     Unliquidated
         Micco, FL 32976                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jani Jalil                                                   Contingent
         1114 Veirs Mill Road                                         Unliquidated
         Rockville, MD 20851                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.55
         Janier Guzman                                                Contingent
         7750 NW 175 St                                               Unliquidated
         Hialeah, FL 33015                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Janina Ghenciu
         5A Veseliei Street, Sector 5                                 Contingent
         Moa Design                                                   Unliquidated
         Bucuresti B 52164                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 422 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 442 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.285
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Janine Almandos                                              Contingent
         14703 Elmcroft Avenue                                        Unliquidated
         Norwalk, CA 90650                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.48
         Janine Galindo                                               Contingent
         115 Alamo Rd                                                 Unliquidated
         Fredericksburg, TX 78624                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.73
         Alex Jankuv                                                  Contingent
         1117 Bellreng Dr                                             Unliquidated
         Wake Forest, NC 27587                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Janon Janon                                                  Contingent
         2698 3rd Avenue                                              Unliquidated
         Marion, IA 52302                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $979.28
         Janos Varga                                                  Contingent
         Szent Istvan Ut, 105                                         Unliquidated
         Bicske 2060                                                  Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.285
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,637.59
         Janosch Sadowski                                             Contingent
         Schoneberger Ufer 5A                                         Unliquidated
         Berlin 10785                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.285
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Jaquan Barnett                                               Contingent
         13745 Heatherwood Drive                                      Unliquidated
         Eastvale, CA 92880                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 423 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 443 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.285
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $818.85
         Jarad Brinkerhoff                                            Contingent
         190 E. Center St.                                            Unliquidated
         Glendale, UT 84729                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.48
         Jared Barney                                                 Contingent
         9619 163rd Ave NE                                            Unliquidated
         Granite Falls, WA 98252                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Jared Bellamy
         7102 Hunterville Road Northwest                              Contingent
         A                                                            Unliquidated
         Calgary AB T2K 4J8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.286
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $800.47
         Jared Martin                                                 Contingent
         3414 Flickering Candle Dr                                    Unliquidated
         Spring, TX 77388                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.52
         Jared Murray                                                 Contingent
         4116 Nebo Road                                               Unliquidated
         Hiram, GA 30141                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Jared Read                                                   Contingent
         850 N Highway 89                                             Unliquidated
         Apt 3L                                                       Disputed
         North Salt Lake, UT 84054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 424 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 444 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.286
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jared Tulio                                                  Contingent
         1230 East Cityline Drive                                     Unliquidated
         Apt 1416                                                     Disputed
         Richardson, TX 75082
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.286
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jared Wiggins                                                Contingent
         215 Pine Crossing                                            Unliquidated
         Woodbine, GA 31569                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jarid Marinos                                                Contingent
         15580 Quorum Drive                                           Unliquidated
         Apt 2637                                                     Disputed
         Addison, TX 75001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.286
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,326.97
         Jarred Graber                                                Contingent
         44 Briar Hills Circle                                        Unliquidated
         Springfield, NJ 07081                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.89
         Jarrid Echard                                                Contingent
         P.O. Box 76                                                  Unliquidated
         New Freeport, PA 15352                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,589.62
         Jarrod Schwarze                                              Contingent
         5 Norman Court                                               Unliquidated
         Lakes Entrance VIC 3909                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.287
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Jarryd Beckwith                                              Contingent
         11 Hansford Court                                            Unliquidated
         Narre Warren VIC 3805                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 425 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 445 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.287
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Jaryd Culler                                                 Contingent
         8109 Garrett Pines Drive                                     Unliquidated
         Midland, GA 31820                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.06
         Jashobeam Harris                                             Contingent
         3450 Fleetwood Drive                                         Unliquidated
         Richmond, CA 94803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.06
         Jashobeam Harris                                             Contingent
         3450 Fleetwood Drive                                         Unliquidated
         Richmond, CA 94803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.66
         Jashobeam Harris                                             Contingent
         3450 Fleetwood Drive                                         Unliquidated
         Richmond, CA 94803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,102.96
         Jaskarn Bains                                                Contingent
         16 Borneo Crescent                                           Unliquidated
         Brampton ON L6R 3C7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.287
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Jasmine Guerrero                                             Contingent
         2513 Riverview Avenue                                        Unliquidated
         Kansas City, KS 66102                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.87
         Jason Acker                                                  Contingent
         19457 Ellington Trail                                        Unliquidated
         Farmington, MN 55024                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 426 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 446 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.287
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.37
         Jason Arganbright                                            Contingent
         6829 Revere Drive                                            Unliquidated
         Mckinney, TX 75071                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jason Bloink                                                 Contingent
         9887 Meadow View Court                                       Unliquidated
         Northville, MI 48167                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Jason Cicchetti                                              Contingent
         1936 East McFadden Avenue                                    Unliquidated
         Santa Ana, CA 92705                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Jason Cisneros                                               Contingent
         9527 Mines Ave                                               Unliquidated
         Pico Rivera, CA 90660                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.52
         Jason Degg                                                   Contingent
         1102 Cole Ave                                                Unliquidated
         Raymond, WA 98577                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Jason Degraaf                                                Contingent
         805 Cambridge Dr.                                            Unliquidated
         Round Rock, TX 78664                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,334.52
         Jason Dudney                                                 Contingent
         6316 East 113th Avenue                                       Unliquidated
         Tampa, FL 33617                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 427 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 447 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.288
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.18
         Jason Galli                                                  Contingent
         510 Hart St                                                  Unliquidated
         Dighton, MA 02715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jason Gambone                                                Contingent
         1904 Pembroke Rd                                             Unliquidated
         Birmingham, MI 48009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.22
         Jason Green                                                  Contingent
         3148 Daleview Way Southwest                                  Unliquidated
         Atlanta, GA 30331                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.288
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.05
         Jason Gurdak                                                 Contingent
         642 Escalona Drive                                           Unliquidated
         Santa Cruz, CA 95060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Jason Heath                                                  Contingent
         269 South 1000 Road                                          Unliquidated
         Alta Vista, KS 66834                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.80
         Jason Hunter                                                 Contingent
         6713 85th Ave SE                                             Unliquidated
         Snohomish, WA 98290                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,682.30
         Jason Jardine                                                Contingent
         15784 Pearl Road                                             Unliquidated
         Strongsville, OH 44136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 428 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 448 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.289
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,655.29
         Jason Jardine                                                Contingent
         15784 Pearl Road                                             Unliquidated
         Strongsville, OH 44136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.31
         Jason Jones                                                  Contingent
         90 Endor Drive                                               Unliquidated
         Chapel Hill, NC 27516                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.32
         Jason Karrels                                                Contingent
         55 N Merchant St                                             Unliquidated
         American Fork, UT 84003                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jason Kuegah                                                 Contingent
         505 Dunagan Dr                                               Unliquidated
         Lawrenceville, GA 30045-5238                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.70
         Jason Lambert                                                Contingent
         4235 4th Ave Nw                                              Unliquidated
         Seattle, WA 98107                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.64
         Jason McFatridge                                             Contingent
         1608 W Canal Ct                                              Unliquidated
         Littleton, CO 80120                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.64
         Jason McFatridge                                             Contingent
         1608 W Canal Ct                                              Unliquidated
         Littleton, CO 80120                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 429 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 449 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.290
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.52
         Jason McNatt                                                 Contingent
         326 Laverne Avenue                                           Unliquidated
         Alexandria, VA 22305                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.29
         Jason Mondanaro                                              Contingent
         875 University Ave Apt 307                                   Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $463.86
         Jason Neal                                                   Contingent
         2329 Benita Dr                                               Unliquidated
         Rancho Cordova, CA 95670-5243                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.59
         Jason Neal                                                   Contingent
         2329 Benita Dr                                               Unliquidated
         Rancho Cordova, CA 95670-5243                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,420.35
         Jason Nguyen                                                 Contingent
         31 Reserve Street                                            Unliquidated
         Smithfield NSW 2164                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.290
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Jason O'Toole                                                Contingent
         764 East 250 North                                           Unliquidated
         Bountiful, UT 84010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Jason Opdyke                                                 Contingent
         2251 NW 41st Street                                          Unliquidated
         Ste 50                                                       Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 430 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 450 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.290
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.01
         Jason Owen                                                   Contingent
         4029 South 2725 West                                         Unliquidated
         Roy, UT 84067                                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jason Paez                                                   Contingent
         6927 Sandlily Ln                                             Unliquidated
         Chino, CA 91710                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Jason Pliso                                                  Contingent
         3035 Artesian Drive, #153                                    Unliquidated
         Mississauga ON L5M7S6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.291
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Jason Pliso                                                  Contingent
         3035 Artesian Drive, #153                                    Unliquidated
         Mississauga ON L5M7S6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.291
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.09
         Jason Rexilius                                               Contingent
         3005 South Lamar Blvd                                        Unliquidated
         Sted109-272                                                  Disputed
         Austin, TX 78704
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.291
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jason Ripple                                                 Contingent
         1809 Don Alejandro                                           Unliquidated
         Houston, TX 77091                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Jason Roe                                                    Contingent
         3413 Doe Run                                                 Unliquidated
         Austin, TX 78748                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 431 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 451 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.291
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,539.81
         Jason Ruiz                                                   Contingent
         10255 Central Avenue                                         Unliquidated
         Montclair, CA 91763                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Jason Russell                                                Contingent
         508 Doverwood Drive                                          Unliquidated
         Oakville ON L6H 6N4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.291
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.72
         Jason Schultz-Lloyd                                          Contingent
         8 Acacia Avenue                                              Unliquidated
         Warrington ENG WA14EN                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.291
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.61
         Jason Schwechter                                             Contingent
         1454 Laurel Avenue                                           Unliquidated
         Deerfield, IL 60015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.67
         Jason Schwechter                                             Contingent
         1454 Laurel Avenue                                           Unliquidated
         Deerfield, IL 60015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Jason Shaw                                                   Contingent
         P.O. Box 50926                                               Unliquidated
         Ft. Myers, FL 33994                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jason Smith                                                  Contingent
         200 Rocky View Ln                                            Unliquidated
         Georgetown, TX 78628                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 432 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 452 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.292
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.69
         Jason Sweitzer                                               Contingent
         679 Morningstar Road                                         Unliquidated
         Auburn, IN 46706                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Jason Tam                                                    Contingent
         38 Doncrest Road                                             Unliquidated
         Richmond Hill ON L4B1A2                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.292
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.12
         Jason Torres                                                 Contingent
         2011 Kodiak Dr                                               Unliquidated
         Colorado Springs, CO 80910                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,051.69
         Jason Truong                                                 Contingent
         2070 South Jamaica Court                                     Unliquidated
         Aurora, CO 80014                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.90
         Jason Vanwye                                                 Contingent
         1510 16th Street                                             Unliquidated
         Sumner, WA 98390                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $64.91
         Jason Waldron                                                Contingent
         3200 North Dirksen Parkway                                   Unliquidated
         Lot 300                                                      Disputed
         Springfield, IL 62702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.292
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.97
         Jason Waldron                                                Contingent
         3200 North Dirksen Parkway                                   Unliquidated
         Lot 300                                                      Disputed
         Springfield, IL 62702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 433 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 453 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.292
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Jason Weisman                                                Contingent
         5200 Park Ln                                                 Unliquidated
         Dallas, TX 75220                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Jason Williams                                               Contingent
         3623 Southwest Stonybrook Drive                              Unliquidated
         Topeka, KS 66614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.293
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,987.35
         Jason Wong                                                   Contingent
         417 21A Street North                                         Unliquidated
         Lethbridge AB T1H 6L6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Jason Wong                                                   Contingent
         417 21A Street North                                         Unliquidated
         Lethbridge AB T1H 6L6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Jasper Luc                                                   Contingent
         6208 McKnight Drive                                          Unliquidated
         Lakewood, CA 90713                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.293
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.04
         Jasper Van Gool                                              Contingent
         Asterstraat 27                                               Unliquidated
         Beerse 2340                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,729.52
         Javier Avila                                                 Contingent
         819 Lake Biscayne Way                                        Unliquidated
         Orlando, FL 32824                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 434 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 454 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.293
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,409.52
         Javier Avila                                                 Contingent
         819 Lake Biscayne Way                                        Unliquidated
         Orlando, FL 32824                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.293
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,636.82
         Javier Ignacio La Torre                                      Contingent
         Italia 1566 7A                                               Unliquidated
         Rosario S 2000                                               Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Javier Martinez                                              Contingent
         729 Andalucia Dr                                             Unliquidated
         Laredo, TX 78045                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.293
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Boris Javorski                                               Contingent
         177 Wolf Willow Cres Nw                                      Unliquidated
         Edmonton AB T5Z 3P5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $37.39
         Jax Hindmarch                                                Contingent
         245 East 40th Street                                         Unliquidated
         18D                                                          Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.294
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jay Bonds                                                    Contingent
         4019 Juniata St                                              Unliquidated
         Saint Louis, MO 63116                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Jay Chapman                                                  Contingent
         3117 East 21st Street                                        Unliquidated
         Sioux Falls, SD 57103                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 435 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 455 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.294
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Jay Govender                                                 Contingent
         7 Bradford Ct                                                Unliquidated
         Princeton Jct, NJ 08550-3032                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $835.97
         Jay Patel                                                    Contingent
         11 Woodbury Crescent                                         Unliquidated
         Ilford ENG IG5 0FF                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.294
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Jay Pober                                                    Contingent
         506 Country Club Dr                                          Unliquidated
         Cherry Hill, NJ 08003                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.75
         Jay Prasad                                                   Contingent
         10904 Panther Court                                          Unliquidated
         Houston, TX 77099                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.80
         Jay Roux                                                     Contingent
         21 Barry Rd                                                  Unliquidated
         Plymouth, CT 06782                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Jay Spix                                                     Contingent
         3219 Boise St                                                Unliquidated
         San Rafael, CA 94702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Jaygiri Goswami                                              Contingent
         32471 Lake Ree Street                                        Unliquidated
         Fremont, CA 94555                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 436 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 456 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.294
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jaylyn Zakikhani                                             Contingent
         5154 Hemingway Circle                                        Unliquidated
         Apt 2906                                                     Disputed
         Naples, FL 34116
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Jayme Schneider                                              Contingent
         39 Windingwood Road North                                    Unliquidated
         Rye Brook, NY 10573                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jayson Huggins                                               Contingent
         12714 Summit Street                                          Unliquidated
         Tampa, FL 33612                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.01
         Jayson Kennett                                               Contingent
         1128 Mystic Breeze                                           Unliquidated
         Spring Branch, TX 78070                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Jayson Markham                                               Contingent
         621 E. 200 S.                                                Unliquidated
         Pleasant Grove, UT 84062                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.96
         Jc Buford                                                    Contingent
         6242 Delancey St                                             Unliquidated
         Phildelphia, PA 19143                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,251.16
         Jean Reverdy
         134 Bis Rue Vaugirard                                        Contingent
         4 Eme Tages                                                  Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 437 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 457 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.295
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,435.14
         Jean Rutayisire                                              Contingent
         Flat 17 Barton Court, Godstone Road                          Unliquidated
         Whyteleafe ENG CR3 0GQ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.04
         Jean Rutayisire                                              Contingent
         Flat 17 Barton Court, Godstone Road                          Unliquidated
         Whyteleafe ENG CR3 0GQ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $809.69
         Jean Tremblay                                                Contingent
         Route Du Bas Du Village 12                                   Unliquidated
         Lugnorre 1789                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.21
         Jean Yves Girard                                             Contingent
         570 Rue Des Galets                                           Unliquidated
         Sept-Iles QC G4R 0C1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.296
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Jean-Baptiste Audrerie                                       Contingent
         2610 Avenue Bennett, #425                                    Unliquidated
         Montreal QC H1V3S4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.296
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Jean-Maurice Weibel                                          Contingent
         3815 Rue Masson                                              Unliquidated
         Montreal QC H1X 1S9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 438 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 458 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.296
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Jean-Pierre Sanchez                                          Contingent
         3600 Windhaven Pkwy #3215                                    Unliquidated
         Lewisville, TX 75056                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Jean-Sebastien Fortier                                       Contingent
         351 Blvd Du Coteau                                           Unliquidated
         Ste-Therese QC J7E2J7                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.296
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.19
         Jeanne Tiscareno                                             Contingent
         1552 16th Ave E                                              Unliquidated
         Seattle, WA 98112                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.14
         Jeanne Tiscareno                                             Contingent
         1552 16th Ave E                                              Unliquidated
         Seattle, WA 98112                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Jecu Florin                                                  Contingent
         Bd. Ferdinand, Nr. 73, Bl A6, Sc B, Et 4                     Unliquidated
         Constanta CT 900058                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.296
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jed Bergman                                                  Contingent
         3000 Arlington Avenue                                        Unliquidated
         Bronx, NY 10463                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Jed Ryan                                                     Contingent
         1501 Green St                                                Unliquidated
         #3                                                           Disputed
         Philadelphia, PA 19130
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 439 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 459 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.296
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Jeff Barber
         81 Westridge Drive                                           Contingent
         Tauriko                                                      Unliquidated
         Tauranga BOP 3110                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.297
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Jeff Bassford                                                Contingent
         8961 Weddel Street                                           Unliquidated
         Taylor, MI 48180                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jeff Biskowitz                                               Contingent
         5435 N Diversey Blvd                                         Unliquidated
         Whitefish Bay, WI 53217                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.81
         Jeff Boudreau                                                Contingent
         57 Clearview Drive                                           Unliquidated
         Bedford NS B4A 3C9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.297
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeff Catalano                                                Contingent
         1047 85th Street                                             Unliquidated
         Brooklyn, NY 11228                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.48
         Jeff Craig                                                   Contingent
         6426 State Route 287                                         Unliquidated
         West Liberty, OH 43357                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Jeff Doiron                                                  Contingent
         30 Prospect St                                               Unliquidated
         Bridgewater, MA 02324                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 440 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 460 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.297
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Jeff Doiron                                                  Contingent
         30 Prospect St                                               Unliquidated
         Bridgewater, MA 02324                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,372.97
         Jeff Graybill                                                Contingent
         6934 La Marre Drive                                          Unliquidated
         Roanoke, VA 24019                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.14
         Jeff Greenwalt                                               Contingent
         143 Parkland Drive                                           Unliquidated
         Cedar Creek, TX 78612                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Jeff Harris                                                  Contingent
         101 Dugas Court                                              Unliquidated
         Ottawa ON K4A 4N2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.298
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.09
         Jeff M Christensen                                           Contingent
         808 E Street, #3                                             Unliquidated
         Sacramento, CA 95814                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $809.40
         Jeff Mackewicz                                               Contingent
         4112 Wilson Ln                                               Unliquidated
         Concord, CA 94521                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.81
         Jeff Magnus                                                  Contingent
         14105 21st Dr SE                                             Unliquidated
         Mill Creek, WA 98012                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 441 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 461 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.298
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,741.45
         Jeff Mercado                                                 Contingent
         6444 S Vanishing Pointe Way                                  Unliquidated
         Tucson, AZ 85746                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jeff Moeller                                                 Contingent
         1516 Vigilant Street                                         Unliquidated
         Upland, CA 91784                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jeff Schelling                                               Contingent
         201 North Leland St                                          Unliquidated
         Fortville, IN 46040                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Jeff Schmidt                                                 Contingent
         351 E Civic Center Dr                                        Unliquidated
         # 3050                                                       Disputed
         Gilbert, AZ 85296
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.298
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,439.36
         Jeff Secrist                                                 Contingent
         10902 NE 197th Street                                        Unliquidated
         Bothell, WA 98011                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.92
         Jeff Stucker                                                 Contingent
         1331 Detroit St                                              Unliquidated
         Denver, CO 80206                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.24
         Jeff Webb                                                    Contingent
         2033 Poplar Avenue                                           Unliquidated
         Redwood City, CA 94061                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 442 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 462 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.299
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jeff White                                                   Contingent
         1625 International Drive, #409                               Unliquidated
         Mclean, VA 22102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.26
         Jeff Wray                                                    Contingent
         1214 Scarlet Sage Drive Sw                                   Unliquidated
         Cedar Rapids, IA 52404                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Jeffery Mina                                                 Contingent
         8368 47th Street Circle East                                 Unliquidated
         Palmetto, FL 34221                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jeffrey Batista                                              Contingent
         614 Lattice Bend                                             Unliquidated
         Bonaire, GA 31005                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $668.56
         Jeffrey Cooke                                                Contingent
         58 Woodstown Rd                                              Unliquidated
         Apt. 202                                                     Disputed
         Mullica Hill, NJ 08062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.299
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Jeffrey Cowell                                               Contingent
         3382 Constellation Road                                      Unliquidated
         Lompoc, CA 93436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Jeffrey Cowell                                               Contingent
         3382 Constellation Road                                      Unliquidated
         Lompoc, CA 93436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 443 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 463 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.299
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.11
         Jeffrey Galope                                               Contingent
         3128 Paliuli St                                              Unliquidated
         Honolulu, HI 96816                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Jeffrey Graves                                               Contingent
         1532 East 20th Street                                        Unliquidated
         Marshfield, WI 54449                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Jeffrey Katz                                                 Contingent
         600 7th Ave, #205                                            Unliquidated
         Seattle, WA 98104                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $810.33
         Jeffrey Lacroix                                              Contingent
         21731 Flanders St                                            Unliquidated
         Farmington Hills, MI 48335                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeffrey Poston                                               Contingent
         163 Venus Lane                                               Unliquidated
         Orange Park, FL 32073                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeffrey Puleo                                                Contingent
         12230 Franklin Brook Lane                                    Unliquidated
         Jacksonville, FL 32225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.19
         Jeffrey Reed                                                 Contingent
         17701 108th Ave SE #223                                      Unliquidated
         Renton, WA 98055                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 444 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 464 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.300
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.64
         Jeffrey Riddle                                               Contingent
         1127 Pluma Drive SE                                          Unliquidated
         Atlanta, GA 30316                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Jeffrey Strang                                               Contingent
         1701 Valley Ridge Trl S                                      Unliquidated
         Chanhassen, MN 55317                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.99
         Jehad Darwish                                                Contingent
         Prendener Strasse 28                                         Unliquidated
         Berlin 13059                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.300
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.28
         Jelan Maxwell                                                Contingent
         2648 Regina Street                                           Unliquidated
         Ottawa ON K2B 6X8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.300
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Jenelle Valdez
         4665 Canada Way                                              Contingent
         #4                                                           Unliquidated
         Burnaby BC V5G 1K9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.300
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jenn Desetto                                                 Contingent
         26 Rock Lane                                                 Unliquidated
         Levittown, NY 11756                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 445 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 465 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.301
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jennifer Overbye                                             Contingent
         2598 Three Willows Ct.                                       Unliquidated
         Henrico, VA 23294                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.53
         Jennifer Shojai                                              Contingent
         In Der Romerstadt 164                                        Unliquidated
         Frankfurt 60439                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,389.17
         Jennifer Smith                                               Contingent
         4 Kimberley Grove                                            Unliquidated
         Troon SCT KA10 7FQ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $821.42
         Jennifer Wan                                                 Contingent
         1193 Kingston Lane                                           Unliquidated
         Ventura, CA 93001                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jennifer Wilcox                                              Contingent
         15979 Trey Hughes Drive Northwest                            Unliquidated
         Harvest, AL 35749                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jenny Encarnacion                                            Contingent
         536 W. 143rd St. #52                                         Unliquidated
         New York, NY 10031                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,768.67
         Jens Distelberg                                              Contingent
         Hangarsteinstrasse 39                                        Unliquidated
         Kassel 34130                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 446 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 466 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.301
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,768.67
         Jens Holger Hansen                                           Contingent
         Wilhelmshoher Weg 44                                         Unliquidated
         Kasssel 34128                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $842.80
         Jens Wienhold                                                Contingent
         Ruwerstr. 4                                                  Unliquidated
         Bensheim 64625                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.14
         Jerald Wolotka                                               Contingent
         9443 Forrest Dr                                              Unliquidated
         Highland, IN 46322                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeremiah Michelson                                           Contingent
         2546 Midway Road                                             Unliquidated
         Decatur, GA 30030                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Jeremiah Onciu                                               Contingent
         16880 North Stoneridge Court                                 Unliquidated
         Fountain Hills, AZ 85268                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.77
         Jeremiah Ryan                                                Contingent
         31 Wentworth Avenue                                          Unliquidated
         Slough ENG SL2 2DP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.302
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeremiah Yondah                                              Contingent
         100 John Street                                              Unliquidated
         Apartment 2708                                               Disputed
         New York, NY 10038
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 447 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 467 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.302
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Jeremie Dubeaux                                              Contingent
         3523 Olympia Road                                            Unliquidated
         Lexington, KY 40517                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.94
         Jeremy Allison                                               Contingent
         4535 S. Delaware St                                          Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $800.14
         Jeremy Block                                                 Contingent
         8900 Cruden Bay Court                                        Unliquidated
         Dublin, OH 43017                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.04
         Jeremy Brooks                                                Contingent
         1453 Royal Ridge Drive                                       Unliquidated
         Davenport, FL 33896                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeremy Burgess                                               Contingent
         929 Euclid Ave.                                              Unliquidated
         Apt. 2                                                       Disputed
         Atlanta, GA 30307
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.302
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.38
         Jeremy Chambers                                              Contingent
         1251 11th St                                                 Unliquidated
         Imperial Beach, CA 91932                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.74
         Jeremy Farrugia                                              Contingent
         17-19 Buckley Street                                         Unliquidated
         Marrickville NSW 2204                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 448 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 468 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.303
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $914.99
         Jeremy Gaughan                                               Contingent
         5913 Crosswind Court                                         Unliquidated
         Johnsburg, IL 60051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.79
         Jeremy Gola                                                  Contingent
         7813 Meadowglen Drive                                        Unliquidated
         Orlando, FL 32810                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jeremy Jauregui                                              Contingent
         821 Coiner Ct.                                               Unliquidated
         P.O. Box 505                                                 Disputed
         Los Alamos, CA 93440
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.303
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jeremy Knapp                                                 Contingent
         3612 Memorial Dr                                             Unliquidated
         Two Rivers, WI 54241                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Jeremy Mahrle                                                Contingent
         2322 Starr Rd                                                Unliquidated
         Royal Oak, MI 48073                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jeremy March                                                 Contingent
         2742 Fell Road                                               Unliquidated
         Madison, WI 53713                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Jeremy March                                                 Contingent
         2742 Fell Road                                               Unliquidated
         Madison, WI 53713                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 449 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 469 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.303
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Jeremy Mcclelland                                            Contingent
         1423 Milldam Pass                                            Unliquidated
         Johns Island, SC 29455                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeremy Mcclelland                                            Contingent
         1423 Milldam Pass                                            Unliquidated
         Johns Island, SC 29455                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jeremy Mcconnell                                             Contingent
         336 Devonshire Street                                        Unliquidated
         Dearborn, MI 48124                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jeremy Passinault                                            Contingent
         1049 Hamlin Center Road                                      Unliquidated
         Hamlin, NY 14464                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Jeremy Schwarz                                               Contingent
         26 Beverly Rd                                                Unliquidated
         Hawthorne, NJ 07506                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,394.69
         Jeremy Simpson                                               Contingent
         947 Heron Circle                                             Unliquidated
         Seal Beach, CA 90740                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.32
         Jeremy Skinner                                               Contingent
         801 S King St Unit 3803                                      Unliquidated
         Honolulu, HI 96813                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 450 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 470 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.304
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jeremy Snarski                                               Contingent
         820 Holly Lane Farms Dr.                                     Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Jeremy Vandervort                                            Contingent
         120 South Olive Avenue                                       Unliquidated
         Ste 311                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.304
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.62
         Jeremy Wallin                                                Contingent
         7205 Gilpin Way                                              Unliquidated
         #150                                                         Disputed
         Denver, CO 80229
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.304
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,478.59
         Jeremy Windham                                               Contingent
         32 N Grant St                                                Unliquidated
         Denver, CO 80203                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.21
         Jeremy Young                                                 Contingent
         155 Woodlane Court                                           Unliquidated
         Oshawa ON L1G 6Y5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.305
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Jerhome Pena                                                 Contingent
         344 Linden Ave                                               Unliquidated
         Long Beach, CA 90802                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,496.45
         Jeri Bavousett                                               Contingent
         1314 North 160th Street                                      Unliquidated
         Shoreline, WA 98133                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 451 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 471 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.305
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,259.52
         Adam Jernow                                                  Contingent
         20 West 20th Street Suite 1102                               Unliquidated
         Ste 1102                                                     Disputed
         New York, NY 10011
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.305
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $781.23
         Jeroen Decorte                                               Contingent
         Veumedreef 5                                                 Unliquidated
         Oostkamp 8020                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.305
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         Jerome Clement                                               Contingent
         2999 North Texas Street                                      Unliquidated
         Apt 57                                                       Disputed
         Fairfield, CA 94533
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.305
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,450.88
         Jerome Mansbendel
         6 Rue Du Cimetiere                                           Contingent
         Sasu Dealeo                                                  Unliquidated
         Villebon Sur Yvette 91140                                    Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.305
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Jerome Vivino                                                Contingent
         5221 Meadow Creek Drive                                      Unliquidated
         Austin, TX 78745                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jerome Vivino                                                Contingent
         5221 Meadow Creek Drive                                      Unliquidated
         Austin, TX 78745                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 452 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 472 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.305
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Jeronimo Herrera                                             Contingent
         471 Meridian Street                                          Unliquidated
         Boston, MA 02128                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Jeronimo Pineda                                              Contingent
         13800 Highland Drive                                         Unliquidated
         Ph10                                                         Disputed
         North Miami Beach, FL 33181
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.306
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.89
         Jeronimo Pinto
         Rua Da Casa Branca, 21 Apto 104                              Contingent
         Nif 515673544                                                Unliquidated
         Funchal PT-30 9000-113                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.306
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jerrad Coffin                                                Contingent
         24 Crockett Rd                                               Unliquidated
         Naples, ME 04055                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Jerrad Coffin                                                Contingent
         24 Crockett Rd                                               Unliquidated
         Naples, ME 04055                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Jerrad Pulham
         725 King Street West                                         Contingent
         Unit 813                                                     Unliquidated
         Toronto ON M5V 2W9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 453 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 473 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.306
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.57
         Jerrel Cuevas                                                Contingent
         944 Ramona Avenue                                            Unliquidated
         Spring Valley, CA 91977                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.32
         Jerri Weddle                                                 Contingent
         2724 Bald Eagle Ave NW                                       Unliquidated
         Salem, OR 97304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Jerry Backe                                                  Contingent
         1593 50th St NE                                              Unliquidated
         Medford, MN 55049-8209                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,509.14
         Jerry Byerly                                                 Contingent
         5325 Wharfside Dr                                            Unliquidated
         Imperial, MO 63052-4323                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,292.02
         Jerry Chado                                                  Contingent
         10 Houndswood Court                                          Unliquidated
         Baltimore, MD 21209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Jerry Pennell                                                Contingent
         16927 Shinedale Drive                                        Unliquidated
         Santa Clarita, CA 91387                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Jerry Wallace                                                Contingent
         1032-61 Street Nw                                            Unliquidated
         Edmonton AB T6L 2G5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 454 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 474 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.307
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.66
         Jersy Sandhu                                                 Contingent
         16 Mount Road, Essex                                         Unliquidated
         South Benfleet ENG SS7 1HA                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.307
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Jess Abraham                                                 Contingent
         20823 Medallion Pointe Dr.                                   Unliquidated
         Katy, TX 77450                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.35
         Jesse Dupont                                                 Contingent
         P.O. Box 547                                                 Unliquidated
         Spearfish, SD 57783                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,659.86
         Jesse Gunsch                                                 Contingent
         200 East Broadway                                            Unliquidated
         Steele, ND 58482                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jesse Hayden                                                 Contingent
         616 S Wilson Ave                                             Unliquidated
         Royal Oak, MI 48067                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Jesse Leger                                                  Contingent
         10 Duncan St Unit 202                                        Unliquidated
         Haverhill, MA 01830                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.81
         Jesse Olsen                                                  Contingent
         1022 5th Avenue East                                         Unliquidated
         Kalispell, MT 59901                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 455 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 475 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.307
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.84
         Jesse Watson                                                 Contingent
         516 Hazel Cir                                                Unliquidated
         Fruita, CO 81521-2376                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Jesse Wright                                                 Contingent
         29039 Aztec Rd.                                              Unliquidated
         Hayward, CA 94544                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jessica Mercer                                               Contingent
         11504 Tyre St                                                Unliquidated
         Upper Marlboro, MD 20772-5419                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jessica Mikhaylov                                            Contingent
         15706 Whisper Woods Drive                                    Unliquidated
         Cypress, TX 77429                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.93
         Jessica Molina                                               Contingent
         532 S 323rd Pl 10B                                           Unliquidated
         Federal Way, WA 98003                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.11
         Jessica Molina                                               Contingent
         532 S 323rd Pl                                               Unliquidated
         10B                                                          Disputed
         Federal Way, WA 98003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.308
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jessica Spalding                                             Contingent
         1800 Doubletree Trl                                          Unliquidated
         Flower Mound, TX 75028                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 456 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 476 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.308
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jessica Thompson                                             Contingent
         8638 Henrietta Ave                                           Unliquidated
         Brentwood, MO 63144                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Jessicaq Langrock                                            Contingent
         6228 Riverside Station Blvd.                                 Unliquidated
         Secaucus, NJ 07094                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.47
         Jessie Brewer                                                Contingent
         455 High St                                                  Unliquidated
         Boscawen, NH 03303                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,794.23
         Jesus A Rubio Gutierrez
         Basilio A Jacome 4324                                        Contingent
         Rincones De San Francisco                                    Unliquidated
         Chihuahua CHIH 31115                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.308
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.22
         Jesus Herrera De La Cruz                                     Contingent
         Ca N De A Isclo - 7, 2 Izq                                   Unliquidated
         Zaragoza Z 50015                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.309
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,678.39
         Jesus Javier Luque Baez                                      Contingent
         Calle Espa A 6                                               Unliquidated
         Fuengirola MA 29640                                          Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 457 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 477 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.309
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.66
         Jesus Nieves                                                 Contingent
         13A Banstead Road                                            Unliquidated
         Purley ENG CR8 3EB                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.309
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.73
         Jesus Perez                                                  Contingent
         10810 SW 134th Ter                                           Unliquidated
         Miami, FL 33176                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.64
         Jesus Rivas                                                  Contingent
         2040 Palm Blvd                                               Unliquidated
         Brownsville, TX 78520                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Jesus Urquijo                                                Contingent
         1105 Tangerine Drive                                         Unliquidated
         Redlands, CA 92374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Jiarong Tan                                                  Contingent
         277 Panton Way Nw                                            Unliquidated
         Calgary AB T3K 0X4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.309
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jiawei Huang                                                 Contingent
         83 Elizabeth Street                                          Unliquidated
         Apt 7                                                        Disputed
         New York, NY 10013
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.309
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.96
         Jiazhou Yang                                                 Contingent
         2635 Edgewood Road                                           Unliquidated
         Beachwood, OH 44122                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 458 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 478 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.309
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Jibri Hodge                                                  Contingent
         20445 Jay Carroll Drive                                      Unliquidated
         Santa Clarita, CA 91350                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,091.89
         Jigar Patel                                                  Contingent
         Flat 8, 1 Snowdrop Mews, Pinner                              Unliquidated
         London HA5 3WW                                               Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.310
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,171.35
         Jigar Patel                                                  Contingent
         Flat 8, 1 Snowdrop Mews, Pinner                              Unliquidated
         London HA5 3WW                                               Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.310
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.96
         Jill Mason                                                   Contingent
         6163 North Bethel Avenue                                     Unliquidated
         Clovis, CA 93619                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.85
         Jim Krysiak                                                  Contingent
         5002 Hickoryway                                              Unliquidated
         Johnsburg, IL 60051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.08
         Jim Riley                                                    Contingent
         7275 Burns Way                                               Unliquidated
         San Antonio, TX 78250                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jim Thomas                                                   Contingent
         2832 Woodrose Court                                          Unliquidated
         Holiday, FL 34691                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 459 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 479 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.310
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Jim Tolomeo                                                  Contingent
         171 Rivervale Rd                                             Unliquidated
         River Vale, NJ 07675                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,327.60
         Jim Walters                                                  Contingent
         2226 Bearskin Dr                                             Unliquidated
         Sherwood, AR 72120                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.81
         Jim Washburn                                                 Contingent
         102 E Lake Creek St                                          Unliquidated
         Meridian, ID 83642                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,729.14
         Jim Widmann                                                  Contingent
         3000 Gateway Dr                                              Unliquidated
         Carlisle, IA 50047                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.83
         Jimit Shah                                                   Contingent
         1849 Girard Drive                                            Unliquidated
         Milpitas, CA 95035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jimmy Christo                                                Contingent
         3800 County Road 94                                          Unliquidated
         Manvel, TX 77578                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jimmy Dean                                                   Contingent
         7832 Kavanagh Court                                          Unliquidated
         Sarasota, FL 34240                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 460 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 480 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.311
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Jimmy Easton                                                 Contingent
         506 Suffolk Drive                                            Unliquidated
         Owensboro, KY 42303                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Jimmy Hill                                                   Contingent
         791 Lieber Way                                               Unliquidated
         Henderson, NV 89052                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Jimmy Jimenez                                                Contingent
         698 Eastern Court                                            Unliquidated
         Ridgewood, NJ 07450                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Jimmy Phan                                                   Contingent
         2049 Country Club Way                                        Unliquidated
         Langford BC V9B 0H8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.311
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.30
         Jimmy St-Laurent                                             Contingent
         426 Rue De L' Glise                                          Unliquidated
         Sept-Iles QC G0G 1H0                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.311
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Jin Oh                                                       Contingent
         7202 Barrberry Lane                                          Unliquidated
         Beltsville, MD 20705                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.25
         Jin Woo Ok                                                   Contingent
         216 Pepperwood Way                                           Unliquidated
         Durham, NC 27703                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 461 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 481 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.311
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $927.55
         Joakim Slattegard                                            Contingent
         Pionvagen 28                                                 Unliquidated
         Tullinge 14650                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $875.28
         Joakim Stende
         Fricksgatan                                                  Contingent
         4C                                                           Unliquidated
         Angelholm 26251                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,607.81
         Joan Sullivan                                                Contingent
         159 Sycamore St.                                             Unliquidated
         East Aurora, NY 14052                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,624.28
         Joanna Garcia                                                Contingent
         P.O. Box 947                                                 Unliquidated
         Christiansted, VI 00821                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $938.96
         Joao Costa                                                   Contingent
         Rua Da Fonte Nova Nr 82                                      Unliquidated
         Figueira Da Foz PT-06 3080-213                               Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Joao Pereira                                                 Contingent
         2076 Osbond Road                                             Unliquidated
         Innisfil ON L9S 0B6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 462 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 482 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.312
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.83
         Joao Rodrigues                                               Contingent
         17 The Conservatory, Chesil Street                           Unliquidated
         Winchester ENG SO238BL                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,464.48
         Joaquin Pastor                                               Contingent
         1042 Laguna Ave                                              Unliquidated
         Los Angeles, CA 90026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $61.75
         Joe Abel                                                     Contingent
         1775 Calle Tierra Vista                                      Unliquidated
         Camarillo, CA 93010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.68
         Joe Abel                                                     Contingent
         1775 Calle Tierra Vista                                      Unliquidated
         Camarillo, CA 93010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $90.63
         Joe Brown                                                    Contingent
         1700 W Blanck St                                             Unliquidated
         Linden, NJ 07036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.87
         Joe Dubsky                                                   Contingent
         27430 472nd Avenue                                           Unliquidated
         Harrisburg, SD 57032                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.73
         Joe Dusek                                                    Contingent
         4 Lake Eloise Ln                                             Unliquidated
         Winter Haven, FL 33884-2822                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 463 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 483 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.313
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Joe Edgar                                                    Contingent
         6059 Westminster Place                                       Unliquidated
         St. Louis, MO 63112                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Joe Ferguson                                                 Contingent
         1591 S Gravel Cir                                            Unliquidated
         Grapevine, TX 76092                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Joe Ferreira                                                 Contingent
         5 Marshall Street                                            Unliquidated
         Toronto ON M6K 1S3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.313
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.41
         Joe Huu                                                      Contingent
         1839 Bloom Cres                                              Unliquidated
         London ON N5X4N2                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.313
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Joe Levi                                                     Contingent
         6440 North 6900 West                                         Unliquidated
         #381                                                         Disputed
         Newton, UT 84327
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.313
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,019.04
         Joe Ra(Main)                                                 Contingent
         1900 Yorkshires Dr                                           Unliquidated
         Blue Bell, PA 19422                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joe Rosshirt                                                 Contingent
         126 North St Apt 2F                                          Unliquidated
         Portland, ME 04101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 464 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 484 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.313
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joe Rosshirt                                                 Contingent
         126 North St Apt 2F                                          Unliquidated
         Portland, ME 04101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Joe Ryan                                                     Contingent
         239 Timberlane Drive                                         Unliquidated
         Staten Island, PA 18301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.59
         Joe Schuerger                                                Contingent
         609 Shallow Creek Circle                                     Unliquidated
         Northfield, OH 44067                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,596.81
         Joe Triolo                                                   Contingent
         60B Thames Industrial Park                                   Unliquidated
         East Tilbury ENG RM188RH                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.314
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Joe Wambsgan                                                 Contingent
         5434 E Palo Brea Ln                                          Unliquidated
         Cave Creek, AZ 85331                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Joel Laguna                                                  Contingent
         El Dorado D21 Calle C                                        Unliquidated
         San Juan, PR 00926                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Joel Lamoreaux                                               Contingent
         3225 Benton Rd                                               Unliquidated
         Whitehall, MI 49461                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 465 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 485 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.314
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Joel Leon                                                    Contingent
         10885 Windy Court                                            Unliquidated
         Bloomington, CA 92316                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Joel Nelson                                                  Contingent
         318 E 2275 N                                                 Unliquidated
         Unit 25                                                      Disputed
         North Ogden, UT 84414
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.314
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Joel Ortega                                                  Contingent
         1013 Griffith St                                             Unliquidated
         San Fernando, CA 91340-4030                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Joel Paulino                                                 Contingent
         1562 Curran Street                                           Unliquidated
         Los Angeles, CA 90026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,338.80
         Joel Peterson                                                Contingent
         1888 Main St, Unit A2                                        Unliquidated
         Vancouver BC V5T3B7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $931.34
         Joel Sarubbi                                                 Contingent
         Eimattstrasse 31                                             Unliquidated
         Oberdorf Bl 4436                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $651.67
         Joel Sauer                                                   Contingent
         8460 North Lindbergh Blvd                                    Unliquidated
         Suite 2                                                      Disputed
         Florissant, MO 63031
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 466 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 486 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.315
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.33
         Joel Swanson                                                 Contingent
         2552 East Windrose Street                                    Unliquidated
         Eagle, ID 83616                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Joey Benford                                                 Contingent
         12489 South Oak Grove Road                                   Unliquidated
         Canby, OR 97013                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.34
         Joffre Castilla Breininger                                   Contingent
         Fanny Blankers-Koenplein 35                                  Unliquidated
         Haarlem 2021 VW                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $818.25
         Joginder Singh                                               Contingent
         44 Lancaster Avenue                                          Unliquidated
         Slough ENG SL2 1AX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $926.56
         Johan Forshallen                                             Contingent
         Gustav III:s Blvd 139                                        Unliquidated
         Solna 16974                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.65
         Johan Rylander                                               Contingent
         Hallerstrasse 47                                             Unliquidated
         Nuremberg 90419                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,489.41
         Johan Swedell                                                Contingent
         20 Belmont Drive                                             Unliquidated
         Sandyford D CTX3 D18                                         Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 467 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 487 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.316
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.43
         Johanes Sunarto                                              Contingent
         320 Spruce St                                                Unliquidated
         Alameda, CA 94501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.316
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.44
         Johann Wollein                                               Contingent
         Dr. Karl Dorrstr. 3                                          Unliquidated
         Brunn/Geb 2345                                               Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $923.56
         Johannes Diepeveen                                           Contingent
         Venuslaan 57                                                 Unliquidated
         Dordrecht 3318 JZ                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,669.08
         Johannes Goeckel                                             Contingent
         Im Klipfel 44                                                Unliquidated
         Malsch 69254                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,765.64
         Johannes Platz
         Passeio Levante                                              Contingent
         4-3 E                                                        Unliquidated
         Lisboa/ Portugal PT-11 1990-503                              Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.32
         Johannes Wagner                                              Contingent
         Waldstrasse 48                                               Unliquidated
         Furth 90763                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 468 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 488 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.316
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,355.37
         Johannes Yarar                                               Contingent
         Rafaelsgrand 32                                              Unliquidated
         Stockholm/Sodertalje 152 50                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.85
         John Andrade                                                 Contingent
         Schifflande 1                                                Unliquidated
         Basel 4051                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.316
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.98
         John Barkeley                                                Contingent
         2336 Village Dr                                              Unliquidated
         Louisville, KY 40205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.316
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,454.52
         John Barnhardt                                               Contingent
         6800 Marlboro Pike                                           Unliquidated
         Bishop McNamara High School                                  Disputed
         Forestville, MD 20747
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.317
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         John Bartleman                                               Contingent
         704 N Ocean Blvd                                             Unliquidated
         Apt 904                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.317
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         John Baskett                                                 Contingent
         5517 Travis Green Lane                                       Unliquidated
         Austin, TX 78735                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.14
         John Baskett                                                 Contingent
         5517 Travis Green Lane                                       Unliquidated
         Austin, TX 78735                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 469 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 489 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.317
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $759.80
         John Batdorff                                                Contingent
         2208 N. Sedgwick                                             Unliquidated
         Apt 3                                                        Disputed
         Chicago, IL 60614
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.317
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         John Blincoe                                                 Contingent
         10 Indiana                                                   Unliquidated
         Irvine, CA 92606                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.13
         John Bosworth                                                Contingent
         12 Murfitt Close                                             Unliquidated
         Ely ENG CB6 3FN                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.317
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         John Bradford                                                Contingent
         3141 East 8th Street                                         Unliquidated
         Long Beach, CA 90804                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,145.13
         John Buck                                                    Contingent
         212 Caribbean Road                                           Unliquidated
         Palm Beach, FL 33480                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $927.75
         John Burke                                                   Contingent
         475 Oakdale Ave,                                             Unliquidated
         Glencoe, IL 60022                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Callanan                                                Contingent
         323 Fairfield Avenue                                         Unliquidated
         #515                                                         Disputed
         Bridgeport, CT 06604
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 470 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 490 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.318
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         John Carretta                                                Contingent
         10910 E Roselle Ave                                          Unliquidated
         Mesa, AZ 85212                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         John Christian                                               Contingent
         11136 State Highway 64, #428                                 Unliquidated
         Tyler, TX 75707                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         John Coats                                                   Contingent
         1821 NE 25th St                                              Unliquidated
         Suite 101                                                    Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.318
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         John Cottenham                                               Contingent
         801 Maple Street                                             Unliquidated
         Grayling, MI 49738                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $701.27
         John Dakan                                                   Contingent
         1709 Fontenay Way                                            Unliquidated
         Roseville, CA 95747                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.83
         John Daunton
         Flat 3 Quay Gate House                                       Contingent
         1A Grand Parade                                              Unliquidated
         Portsmouth ENG PO1 2NF                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.318
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.32
         John Davies                                                  Contingent
         1259 Western Ave                                             Unliquidated
         Westfield, MA 01085                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 471 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 491 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.318
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         John Davy                                                    Contingent
         400 Pryor Street Southwest                                   Unliquidated
         #4476                                                        Disputed
         Atlanta, GA 30302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.318
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         John Day                                                     Contingent
         4617 Highland Rhodes Drive                                   Unliquidated
         Clayton, NC 27520                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         John Dixon                                                   Contingent
         2407 W Sunset Dr                                             Unliquidated
         Rogers, AR 72756                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.40
         John Dwan                                                    Contingent
         5122 Morningside Drive                                       Unliquidated
         Houston, TX 77005                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,435.47
         John Dye                                                     Contingent
         22302 Wenbury Drive                                          Unliquidated
         Tomball, TX 77375                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.72
         John Espinosa                                                Contingent
         207 East 202nd Street                                        Unliquidated
         2A                                                           Disputed
         Bronx, NY 10458
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.319
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $126.25
         John Evans                                                   Contingent
         5526 13400 South                                             Unliquidated
         #231                                                         Disputed
         Herriman, UT 84096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 472 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 492 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.319
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.07
         John Franklin                                                Contingent
         124 Bushney Loop                                             Unliquidated
         Mooresville, NC 28115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.57
         John Franks                                                  Contingent
         6944 Heaton Moor Drive                                       Unliquidated
         San Jose, CA 95119                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Garcia                                                  Contingent
         7784 NW 167th Terrace                                        Unliquidated
         Miami Lakes, FL 33016                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Gausche                                                 Contingent
         5500 16th Lane Northeast                                     Unliquidated
         St. Petersburg, FL 33703                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,782.40
         John Gehringer                                               Contingent
         73 Wheeler Ave                                               Unliquidated
         Westwood, NJ 07675                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         John Goodwin                                                 Contingent
         4734 S Wallace Dr                                            Unliquidated
         Saint George, UT 84790                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.35
         John Groth                                                   Contingent
         6144 Karas Walk                                              Unliquidated
         Elkridge, MD 21075                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 473 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 493 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.320
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         John Hennessy                                                Contingent
         133 Noble Street #3                                          Unliquidated
         Brooklyn, NY 11222                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         John Hildevert                                               Contingent
         865 Amsterdam Ave                                            Unliquidated
         14G                                                          Disputed
         New York, NY 10025
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.320
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.84
         John Hronakis                                                Contingent
         1922 Queen Street East                                       Unliquidated
         Toronto ON M4L 1H5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.320
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         John Jalufka                                                 Contingent
         3230 Golden Eye                                              Unliquidated
         Katy, TX 77493                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         John John                                                    Contingent
         Svl Box 9019                                                 Unliquidated
         18250 Harbor Drive                                           Disputed
         Victorville, CA 92395
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.320
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         John Kemp                                                    Contingent
         206 E. Meda Ave.                                             Unliquidated
         Glendora, CA 91741                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         John Kinney                                                  Contingent
         1621 North Willow Highway                                    Unliquidated
         Lansing, MI 48917                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 474 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 494 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.320
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.52
         John Knight                                                  Contingent
         950 Steeple Run                                              Unliquidated
         Lawrenceville, GA 30043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $107.81
         John Lannes                                                  Contingent
         7599 Devonshire Lane                                         Unliquidated
         Reno, NV 89511                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,270.32
         John Li                                                      Contingent
         11557 SE Cascade View Dr                                     Unliquidated
         Happy Valley, OR 97086                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.22
         John Lopez                                                   Contingent
         4316 Palmdale Street                                         Unliquidated
         Union City, CA 94587                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.82
         John Lucas                                                   Contingent
         16423 Golden Sun Way                                         Unliquidated
         Monument, CO 80132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.07
         John Mathews                                                 Contingent
         2918 Maple Ct                                                Unliquidated
         Carrollton, TX 75007                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.12
         John McAleer                                                 Contingent
         300 Broadmeadow Cove                                         Unliquidated
         Roswell, GA 30075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 475 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 495 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.321
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         John Mccleary                                                Contingent
         4531 Avenue F                                                Unliquidated
         Austin, TX 78751                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         John McDonald                                                Contingent
         204 Catalini St                                              Unliquidated
         Las Vegas, NV 89107                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John McGinty                                                 Contingent
         243 Flanders Drive                                           Unliquidated
         Indialantic, FL 32903                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         John Millar                                                  Contingent
         100 13 Avenue South                                          Unliquidated
         Cranbrook BC V1C 2V5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.321
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.35
         John Nishidate                                               Contingent
         6610 London Gate                                             Unliquidated
         Delta BC V4K4W8                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.322
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         John Nishidate                                               Contingent
         6610 London Gate                                             Unliquidated
         Delta BC V4K4W8                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.322
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         John Norman                                                  Contingent
         620 Division St                                              Unliquidated
         Port Huron, MI 48060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 476 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 496 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.322
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,283.41
         John Oconnor                                                 Contingent
         2076 35th Ave                                                Unliquidated
         Vero Beach, FL 32960                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.89
         John Pappas                                                  Contingent
         739 East Morningside Drive NE                                Unliquidated
         Atlanta, GA 30324                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $823.33
         John Parish                                                  Contingent
         715 Woodsedge Drive                                          Unliquidated
         Hickory Withe, TN 38028                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.63
         John Parker                                                  Contingent
         The Old School House, Chapels                                Unliquidated
         Darwen ENG BB3 0EE                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.322
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,473.52
         John Paul Maltes                                             Contingent
         2235 West Coronet Avenue                                     Unliquidated
         Anaheim, CA 92801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         John Quesnel                                                 Contingent
         1 Testa Road, #27                                            Unliquidated
         Uxbridge ON L9P 1Y9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.322
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,247.03
         John Richards                                                Contingent
         5425 Closeburn Road                                          Unliquidated
         Charlotte, NC 28210                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 477 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 497 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.322
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         John Richardson                                              Contingent
         1210 Falls Creek Court                                       Unliquidated
         Conyers, GA 30094                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         John Robinson                                                Contingent
         2110 Mistletoe Ave                                           Unliquidated
         Fort Worth, TX 76110                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         John Robinson                                                Contingent
         150 Tavern Rock Rd                                           Unliquidated
         Stratford, CT 06614                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Serrano                                                 Contingent
         9413 40th Dr                                                 Unliquidated
         Elmhurst, NY 11373-1738                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         John Stephens                                                Contingent
         4320 Vine Street                                             Unliquidated
         Unit 80-137                                                  Disputed
         Hays, KS 67601
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.323
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         John Storey                                                  Contingent
         49 Yeoville Crt                                              Unliquidated
         Hamilton ON L9C5W4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.323
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Swope                                                   Contingent
         4413 Trapp Lane                                              Unliquidated
         Orlando, FL 32814                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 478 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 498 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.323
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         John Thomas                                                  Contingent
         3934 Montego Bay Court                                       Unliquidated
         Missouri City, TX 77459                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Ticer                                                   Contingent
         1199 Wakefield St.                                           Unliquidated
         Birmingham, MI 48009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Wagner                                                  Contingent
         198 Apple Blossom Lane                                       Unliquidated
         Oakland, MD 21550                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         John Walcsak                                                 Contingent
         985 Beatrice Parkway                                         Unliquidated
         Edison, NJ 08820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         John Winn                                                    Contingent
         6020 Chester St                                              Unliquidated
         Wilmington, NC 28405                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         John Wood                                                    Contingent
         405 W 7th Street                                             Unliquidated
         Unit 205                                                     Disputed
         Charlotte, NC 28202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         John Yohanna                                                 Contingent
         27205 Icy Willow Ln                                          Unliquidated
         Canyon Country, CA 91387                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 479 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 499 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.324
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.11
         Johnathan Harrison                                           Contingent
         3918 East 21st Avenue                                        Unliquidated
         Spokane, WA 99223                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Johnaton Olding                                              Contingent
         2170 Dufferin Street                                         Unliquidated
         Toronto ON M6E 3R8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Johnaton Olding                                              Contingent
         2170 Dufferin Street                                         Unliquidated
         Toronto ON M6E 3R8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Johnaton Olding                                              Contingent
         2170 Dufferin Street                                         Unliquidated
         Toronto ON M6E 3R8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,417.71
         Johnny Lei                                                   Contingent
         7382 Fleeting Joys Ave.                                      Unliquidated
         Las Vegas, NV 89113                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Johnny Moncier                                               Contingent
         4285 Autumn Sun Road                                         Unliquidated
         Millington, TN 38053                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Johnny Walker                                                Contingent
         912 West Village Court                                       Unliquidated
         Chicago, IL 60608                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 480 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 500 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.325
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Johnny Wright                                                Contingent
         4320 Kachina Canyon Rd                                       Unliquidated
         Las Cruces, NM 88011                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.22
         Johnpaul Quick                                               Contingent
         3808 Highway 19                                              Unliquidated
         Owensville, MO 65066                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $935.10
         Aaron Johnson                                                Contingent
         10611 20th Ave S                                             Unliquidated
         Seattle, WA 98168                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $445.78
         Aidan Johnson                                                Contingent
         2381 W. Us Highway 34                                        Unliquidated
         Drake, CO 80515                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         Johny Chavez                                                 Contingent
         10274 Stanwin Ave                                            Unliquidated
         Arleta, CA 91331                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Jomar Lovallo                                                Contingent
         827 Downing                                                  Unliquidated
         Winnipeg MB R3G 2P6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.325
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Jon Capps                                                    Contingent
         1081 Thornridge Rd                                           Unliquidated
         Bentonville, AR 72713                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 481 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 501 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.325
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,354.81
         Jon Foster                                                   Contingent
         64 Highbury School Road                                      Unliquidated
         Canaan NS B4N 4K1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.325
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,534.38
         Jon Gustafson                                                Contingent
         14 Cold Springs Rd                                           Unliquidated
         Dillsburg, PA 17019                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,553.38
         Jon Hathaway                                                 Contingent
         44 Hambleton Place                                           Unliquidated
         Thirsk ENG YO71DP                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.326
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.38
         Jon Hathaway                                                 Contingent
         44 Hambleton Place                                           Unliquidated
         Thirsk ENG YO71DP                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.326
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,809.14
         Jon Hazan                                                    Contingent
         2218 Yale Ave                                                Unliquidated
         St Louis, MO 63143                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $680.99
         Jon Kostic                                                   Contingent
         1258 Slater Road                                             Unliquidated
         Wheatland, WY 82201                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Jon Miles                                                    Contingent
         1218 E Campbell St                                           Unliquidated
         Arlington Heights, IL 60004                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 482 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 502 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.326
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.64
         Jon Osmanson                                                 Contingent
         100 Safety Way                                               Unliquidated
         Decatur, AL 35601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.51
         Jon Oswalt                                                   Contingent
         4450 Copper Ct                                               Unliquidated
         Gig Harbor, WA 98332                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $856.75
         Jon Ta                                                       Contingent
         818 N Broadway                                               Unliquidated
         Suite 111A                                                   Disputed
         Los Angeles, CA 90012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.326
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Jon Tolo                                                     Contingent
         1207 98th Avenue West                                        Unliquidated
         Duluth, MN 55808                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $882.42
         Jonas Claes                                                  Contingent
         Kleine Amer 69                                               Unliquidated
         Puurs 2870                                                   Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.326
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $491.44
         Jonas Fischer                                                Contingent
         Mulhauserstrasse 146                                         Unliquidated
         Basel 4056                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.327
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $870.98
         Jonas Haentjes                                               Contingent
         Hochallee 108                                                Unliquidated
         Hamburg 20149                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 483 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 503 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.327
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Jonas Sargelis                                               Contingent
         39 Pettus Road                                               Unliquidated
         Norwich ENG NR4 7BU                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.327
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,361.67
         Jonas Wohler                                                 Contingent
         Wuehrenbachstrasse 6                                         Unliquidated
         Horgenberg 8815                                              Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.327
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,765.86
         Jonatan Arild Hansen                                         Contingent
         Sementvegen 4                                                Unliquidated
         Brevik 3950                                                  Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.327
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.69
         Jonathan Adams                                               Contingent
         610 Kelso Road                                               Unliquidated
         Pittsburgh Pa, PA 15243                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $455.52
         Jonathan Albert                                              Contingent
         235 44th Ave N                                               Unliquidated
         St Petersburg, FL 33703                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jonathan Arndt                                               Contingent
         1319 Glenbrook Drive                                         Unliquidated
         Irving, TX 75061                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.50
         Jonathan Banas                                               Contingent
         41 Kieren Drive                                              Unliquidated
         Blacktown NSW 2148                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 484 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 504 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.327
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jonathan Betancourt                                          Contingent
         16117 Northglenn Dr                                          Unliquidated
         Tampa, FL 33618                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Jonathan Brake                                               Contingent
         11311 Courtside St                                           Unliquidated
         Victorville, CA 92392                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jonathan Brown                                               Contingent
         10908 McMullen Loop                                          Unliquidated
         Riverview, FL 33569                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.52
         Jonathan Brown                                               Contingent
         10908 McMullen Loop                                          Unliquidated
         Riverview, FL 33569                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jonathan Burgess                                             Contingent
         7009 Osborn Avenue                                           Unliquidated
         Hammond, IN 46323                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Jonathan Canivel                                             Contingent
         2 Hedge End Rd #108                                          Unliquidated
         Toronto ON M1B5Z8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.328
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Jonathan Choi                                                Contingent
         22 Library Place                                             Unliquidated
         Edison, NJ 08820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 485 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 505 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.328
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.65
         Jonathan Cole                                                Contingent
         10 Dakara Drive                                              Unliquidated
         Frenchs Forest NSW 2086                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.328
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.44
         Jonathan Cox                                                 Contingent
         432 Mission St                                               Unliquidated
         Unit A                                                       Disputed
         South Pasadena, CA 91030
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.328
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jonathan Crenshaw                                            Contingent
         618 North Boylan Avenue, #402                                Unliquidated
         Raleigh, NC 27603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.52
         Jonathan Demerecz                                            Contingent
         1021 Prospect Rd                                             Unliquidated
         Evans City, PA 16033                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,401.19
         Jonathan Durst                                               Contingent
         5014 Thoms Run Rd                                            Unliquidated
         Oakdale, PA 15071                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Jonathan Escamilla                                           Contingent
         30897 Via Bonica                                             Unliquidated
         Lake Elsinore, CA 92530                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.89
         Jonathan Fodera                                              Contingent
         3810 Round Table Court                                       Unliquidated
         Land O' Lakes, FL 34638                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 486 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 506 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.329
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Jonathan Gamel                                               Contingent
         1264 County Road 39                                          Unliquidated
         Deatsville, AL 36022                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Jonathan Guerrero                                            Contingent
         5726 Roanoke Street                                          Unliquidated
         San Diego, CA 92139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jonathan Hinostroza                                          Contingent
         13457 Daffodil Way                                           Unliquidated
         Chino, CA 91710                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Jonathan Hipolito                                            Contingent
         208 3rd Avenue                                               Unliquidated
         New Westminster BC V3L 1M1                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.329
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jonathan Johnston                                            Contingent
         381 Valmore Avenue                                           Unliquidated
         Ventura, CA 93003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jonathan Laird                                               Contingent
         61 George Street                                             Unliquidated
         #2                                                           Disputed
         Manchester, NH 03102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.329
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Jonathan Lam                                                 Contingent
         1228 West Blaine Street                                      Unliquidated
         Apt 5                                                        Disputed
         Riverside, CA 92507
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 487 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 507 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.329
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.52
         Jonathan Lee                                                 Contingent
         139 Arbour Butte Road Nw                                     Unliquidated
         Calgary AB T3G 4N6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Jonathan Lenaway                                             Contingent
         201 Loyola Rd                                                Unliquidated
         Costa Mesa, CA 92626                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,003.52
         Jonathan Littenstrom                                         Contingent
         Dimvagen 38                                                  Unliquidated
         Jarfalla 17770                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $793.59
         Jonathan Lucente                                             Contingent
         4204 Aberdeen Lane                                           Unliquidated
         Blackwood, NJ 08012                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jonathan Molfetta                                            Contingent
         181 E 90th St                                                Unliquidated
         Apt 3B                                                       Disputed
         New York, NY 10128
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,553.58
         Jonathan Muino                                               Contingent
         70 Bignell Drive                                             Unliquidated
         West Busselton WA 6280                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Jonathan Nixon                                               Contingent
         12 Ivy Green Crescent                                        Unliquidated
         Scarborough ON M1G2Z3                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 488 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 508 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.330
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jonathan Perlstein                                           Contingent
         925 East 41st Street                                         Unliquidated
         Apt C                                                        Disputed
         Austin, TX 78751
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.330
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.05
         Jonathan Phelps                                              Contingent
         1353 Berkshire Rd                                            Unliquidated
         Stow, OH 44224                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.55
         Jonathan Phelps                                              Contingent
         1353 Berkshire Rd                                            Unliquidated
         Stow, OH 44224                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,338.75
         Jonathan Pilarski                                            Contingent
         1392 Pinery Cres.                                            Unliquidated
         Oakville ON L6H7J5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.331
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Jonathan Rettinger                                           Contingent
         107 Calderon                                                 Unliquidated
         Irvine, CA 92618                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Jonathan Reyes                                               Contingent
         1305 Paseo Dorado                                            Unliquidated
         San Dimas, CA 91773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.15
         Jonathan Russell                                             Contingent
         903 Glennshire Drive                                         Unliquidated
         Knoxville, TN 37923                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 489 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 509 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.331
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Jonathan Salman                                              Contingent
         28014 Caraway Ln                                             Unliquidated
         Saugus, CA 91350                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.01
         Jonathan Smith
         Apartment 7, Westfield                                       Contingent
         15 Kidderpore Avenue                                         Unliquidated
         Hampstead ENG NW3 7SF                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.331
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $632.32
         Jonathan So                                                  Contingent
         15303 SW Mississippi Ct                                      Unliquidated
         Tigard, OR 97224                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.94
         Jonathan Solis                                               Contingent
         851 7th Street                                               Unliquidated
         Richmond, CA 94801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Jonathan Stacey                                              Contingent
         1000 Hockley Lane                                            Unliquidated
         Forney, TX 75126                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jonathan Stodolski                                           Contingent
         5 Chickadee Ct                                               Unliquidated
         Bedford, NH 03110                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.46
         Jonathan Styles                                              Contingent
         25172 Nueva Vista Drive                                      Unliquidated
         Laguna Niguel, CA 92677                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 490 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 510 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.332
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.20
         Jonathan Ustaev                                              Contingent
         147-60 76th Avenue                                           Unliquidated
         Upstairs                                                     Disputed
         Queens, NY 11367
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,462.02
         Jonathan Wilkes                                              Contingent
         103A Freyberg Street                                         Unliquidated
         Lyall Bay WGN 6022                                           Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Jonathan Woods                                               Contingent
         4302 Hollywood Blvd #102                                     Unliquidated
         Hollywood, FL 33021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.332
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.95
         Jonathan Woods                                               Contingent
         120 Neilson Street                                           Unliquidated
         Apt 603                                                      Disputed
         New Brunswick, NJ 08901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.51
         Jonathon Mcclellan                                           Contingent
         3523 Acacia Drive                                            Unliquidated
         Sugar Land, TX 77479                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.332
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Jonell Dagasdas                                              Contingent
         74433 16th Street, #23                                       Unliquidated
         Burnaby BC V3N 4Z5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Rochelle Jones                                               Contingent
         173-11 113th Avenue                                          Unliquidated
         Queens, NY 11433                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 491 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 511 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.332
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Rochelle Jones                                               Contingent
         173-11 113th Avenue                                          Unliquidated
         Queens, NY 11433                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.332
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Joost Muis                                                   Contingent
         Welgelegenstraat 17                                          Unliquidated
         Den Haag 2548SE                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.332
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Jordan Barnes                                                Contingent
         2908 Bonanza                                                 Unliquidated
         San Clemente, CA 92673-3422                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Jordan Brown                                                 Contingent
         106-33400 Bourquin Place                                     Unliquidated
         Abbotsford BC V2S 5G3                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.333
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Jordan Brown                                                 Contingent
         365 East 100 North                                           Unliquidated
         Hyde Park, UT 84318                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Jordan Fields                                                Contingent
         1195 County Route 9/11                                       Unliquidated
         Martinsburg, WV 25403                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.59
         Jordan Guerra                                                Contingent
         186 Mechanic St                                              Unliquidated
         Reinholds, PA 17569                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 492 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 512 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.333
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jordan Harris                                                Contingent
         6223 Everall Avenue                                          Unliquidated
         Baltimore, MD 21206                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Jordan Hurless                                               Contingent
         1644 Camden Avenue                                           Unliquidated
         Apt 2                                                        Disputed
         Los Angeles, CA 90025
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.333
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.52
         Jordan King                                                  Contingent
         692 Murray Drive                                             Unliquidated
         Honolulu, HI 96818                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jordan Listi                                                 Contingent
         23103 Norway Maple Lane                                      Unliquidated
         Tomball, TX 77375                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Jordan Marty                                                 Contingent
         10104 West 96th Street                                       Unliquidated
         Unit A                                                       Disputed
         Overland Park, KS 66212
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.333
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jordan Pinelli
         7                                                            Contingent
         Powell                                                       Unliquidated
         Brampton ON L6R0K9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 493 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 513 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.334
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.73
         Jordan Redner                                                Contingent
         3644 Jefferson Avenue                                        Unliquidated
         Redwood City, CA 94062                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,559.52
         Jordan Rivas Bauer                                           Contingent
         3660 103rd Avenue                                            Unliquidated
         Clearwater, FL 33762                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.26
         Jordan Robbins                                               Contingent
         5207 Scott Trail                                             Unliquidated
         Minneapolis, MN 55422                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jordan Simpson                                               Contingent
         7811 Forest Oaks Lane                                        Unliquidated
         Waxhaw, NC 28173                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.06
         Jordan Stechschulte                                          Contingent
         109 First Street                                             Unliquidated
         Miller City, OH 45864                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Jordan Wirth                                                 Contingent
         207 Anthony Way                                              Unliquidated
         Richmond, KY 40475                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,826.42
         Jorge Banuelos                                               Contingent
         3473 West Browning Avenue                                    Unliquidated
         Fresno, CA 93711                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 494 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 514 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.334
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.86
         Jorge Canales                                                Contingent
         Zugerstrasse 90                                              Unliquidated
         Horgen 8810                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.334
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Jorge Dominguez                                              Contingent
         14625 Tierra Coruna Ave                                      Unliquidated
         El Paso, TX 79938                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.03
         Jorge Espinoza                                               Contingent
         3611 Sonoma Blvd                                             Unliquidated
         Vallejo, CA 94590-5046                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jorge Godoy                                                  Contingent
         89 Macarthur Avenue                                          Unliquidated
         Garfield, NJ 07026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Jorge Godoy                                                  Contingent
         89 Macarthur Avenue                                          Unliquidated
         Garfield, NJ 07026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Jorge Godoy                                                  Contingent
         89 Macarthur Avenue                                          Unliquidated
         Garfield, NJ 07026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jorge Laurel                                                 Contingent
         102 Sanderling Ct                                            Unliquidated
         Glen Burnie, MD 21060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 495 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 515 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.335
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jorge Lucio                                                  Contingent
         1815 S. Ejido Ave.                                           Unliquidated
         Laredo, TX 78046                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Jorge Miranda                                                Contingent
         437 Lakeview Rd                                              Unliquidated
         Kissimmee, FL 34759                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.06
         Jorge Neri                                                   Contingent
         617 N Harvey Ave                                             Unliquidated
         Oak Park, IL 60302                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.46
         Jorge Perez                                                  Contingent
         9 Needham Street                                             Unliquidated
         Johnston, RI 02919                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jorge Pineda Cruz del Sur LLC LLC /RIUS                      Contingent
         4421 NW 97th Ave                                             Unliquidated
         Doral, FL 33178                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,709.52
         Jorge Rivera                                                 Contingent
         9202 Linden Grove Court                                      Unliquidated
         Silver Spring, MD 20910                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Jorge T Marin
         Colima 209                                                   Contingent
         Int 502                                                      Unliquidated
         Ciudad De Mexico DF 6700                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 496 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 516 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.336
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.81
         Jorge Uribe                                                  Contingent
         8809 Sierra Oak Dr.                                          Unliquidated
         Bakersfield, CA 93311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,771.23
         Joscha Winzer                                                Contingent
         Siegertweg 24                                                Unliquidated
         Berlin 12101                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.336
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,438.12
         Jose Armenta                                                 Contingent
         16415 Hayland Street                                         Unliquidated
         La Puente, CA 91744                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jose Becho                                                   Contingent
         11503 Merlin Drive                                           Unliquidated
         Mission, TX 78572                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Jose Bravo
         Av De Anza 1003                                              Contingent
         A                                                            Unliquidated
         Hermosillo SON 83150                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.336
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Jose Bravoi
         Av De Anza 1003                                              Contingent
         A                                                            Unliquidated
         Hermosillo SON 83150                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 497 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 517 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.336
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,122.79
         Jose Cadeiras Lda Vat Pt514402849                            Contingent
         Praceta Marques De Pombal, 10                                Unliquidated
         Aroeira PT-15 2820-116                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.336
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,174.35
         Jose Correa                                                  Contingent
         1100 Windward Drive                                          Unliquidated
         Pembroke Pines, FL 33026                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $159.52
         Jose Correa                                                  Contingent
         1100 Windward Drive                                          Unliquidated
         Pembroke Pines, FL 33026                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Jose Cruz                                                    Contingent
         1024 East 215 St, #3                                         Unliquidated
         Bronx, NY 10469                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jose Feneque                                                 Contingent
         4280 Caveat Court                                            Unliquidated
         Fairburn, GA 30213                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.88
         Jose Fermaintt                                               Contingent
         286 Exeter Ln                                                Unliquidated
         Sugar Grove, IL 60554                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Jose Fernando Velasquez                                      Contingent
         445 Eglinton Ave East, #206                                  Unliquidated
         Toronto ON M4P 1N1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 498 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 518 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.337
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jose Flores                                                  Contingent
         1497 Main Street #343                                        Unliquidated
         Dunedin, FL 34698                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jose Fontanez                                                Contingent
         3700 NE 15 St                                                Unliquidated
         Homestead, FL 33033                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jose Garces                                                  Contingent
         10850 NW 89th Ter                                            Unliquidated
         Unit 209                                                     Disputed
         Doral, FL 33178
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.337
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Jose Garcia                                                  Contingent
         811 Afterglow Street                                         Unliquidated
         San Antonio, TX 78216                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jose Gutierrez                                               Contingent
         126 Brookbank Hill Place                                     Unliquidated
         Cary, NC 27519                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.10
         Jose Jauregui
         Victoria 1655, Providencia                                   Contingent
         Providencia                                                  Unliquidated
         Guadalajara JAL 44630                                        Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.338
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Jose Lira                                                    Contingent
         7742 Snug Harbor Cir                                         Unliquidated
         Frisco, TX 75036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 499 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 519 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.338
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $35.37
         Jose Lorenzo                                                 Contingent
         3533 Cabrillo Avenue                                         Unliquidated
         Santa Clara, CA 95051                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.37
         Jose Lorenzo                                                 Contingent
         3533 Cabrillo Avenue                                         Unliquidated
         Santa Clara, CA 95051                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,840.22
         Jose Loya                                                    Contingent
         2574 Oak Springs Dr                                          Unliquidated
         Chula Vista, CA 91915                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,874.62
         Jose Manzano                                                 Contingent
         10133 Walnut St                                              Unliquidated
         Bellflower, CA 90706-6007                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.24
         Jose Mazariegos                                              Contingent
         28624 Moon Shadow Dr                                         Unliquidated
         Menifee, CA 92584                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.75
         Jose Medina                                                  Contingent
         1145 4th Avenue                                              Unliquidated
         Apt 103                                                      Disputed
         Chula Vista, CA 91911
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.338
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.25
         Jose Medina                                                  Contingent
         1145 4th Avenue                                              Unliquidated
         Apt 103                                                      Disputed
         Chula Vista, CA 91911
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 500 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 520 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.338
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $773.59
         Jose Molina                                                  Contingent
         310 N 2nd St                                                 Unliquidated
         B                                                            Disputed
         Albemarle, NC 28001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.338
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jose Montalvo                                                Contingent
         1850 Lexington Avenue Apartment 3B                           Unliquidated
         Manhattan, NY 10029                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Jose Petricher                                               Contingent
         7 Feldspar Road                                              Unliquidated
         Eglinton WA 6034                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.339
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.12
         Jose Razo                                                    Contingent
         1343 East 5060 South                                         Unliquidated
         Ogden, UT 84403                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Jose Reyes                                                   Contingent
         225 48th Street                                              Unliquidated
         Lindenhurst, NY 11757                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $892.78
         Jose Ribeiro                                                 Contingent
         Rua Futuro, No 90                                            Unliquidated
         Sanguedo PT-01 4505-619                                      Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.339
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,472.70
         Jose Vaquero                                                 Contingent
         1231 Liberty Lane                                            Unliquidated
         Burlington, WA 98233                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 501 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 521 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.339
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Jose Verdin                                                  Contingent
         2403 North Arkansas                                          Unliquidated
         Wichita, KS 67204                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Jose Vilchez                                                 Contingent
         8605 Denstone Dr                                             Unliquidated
         Mckinney, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Jose Villafane                                               Contingent
         243 Calle Paris                                              Unliquidated
         PMB 1198                                                     Disputed
         San Juan, PR 00917
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.339
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,268.78
         Josef Suess                                                  Contingent
         Raphaelweg 5                                                 Unliquidated
         Baiern 85625                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.339
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Joseph Ambrose                                               Contingent
         10730 Pelican Dr                                             Unliquidated
         Wellington, FL 33414-4140                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.08
         Joseph Bigica                                                Contingent
         93 Morrell Place                                             Unliquidated
         Garfield, NJ 07026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,169.31
         Joseph Cichowski                                             Contingent
         982 County Road 523                                          Unliquidated
         Flemington, NJ 08822                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 502 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 522 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.340
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.76
         Joseph Crowe                                                 Contingent
         1601 Rhododendron Dr. Spc 665                                Unliquidated
         Florence, OR 97439                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Joseph Daoud                                                 Contingent
         521 Gary Glen Drive                                          Unliquidated
         Martinez, GA 30907                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.14
         Joseph Driskell                                              Contingent
         2210 Industrial Rd                                           Unliquidated
         Sapulpa, OK 74066                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Joseph Ducat                                                 Contingent
         8882 Sanibel Shore Ave                                       Unliquidated
         Las Vegas, NV 89147                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.32
         Joseph Estabrook                                             Contingent
         14004 SE Summerfield Loop                                    Unliquidated
         Happy Valley, OR 97086                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Joseph Falanga                                               Contingent
         287 York Street                                              Unliquidated
         West Haven, CT 06516                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.81
         Joseph Fraga                                                 Contingent
         861 Branstetter Avenue                                       Unliquidated
         Dayton, NV 89403                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 503 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 523 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.340
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,462.75
         Joseph Garcia                                                Contingent
         520 Harling Court                                            Unliquidated
         Rio Linda, CA 95673                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Joseph Geltman                                               Contingent
         11 Benjamin Green Lane                                       Unliquidated
         Mahopac, NY 10541                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.55
         Joseph Ginther                                               Contingent
         1502 Campbell Avenue                                         Unliquidated
         Orlando, FL 32806                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.90
         Joseph Grover                                                Contingent
         150 Hermon St                                                Unliquidated
         Apt. 3                                                       Disputed
         Winthrop, MA 02152
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.341
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.82
         Joseph Kashy
         Av. Jesus Del Monte 41                                       Contingent
         602B                                                         Unliquidated
         Huixquilucan DF 52764                                        Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.341
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Joseph Keys                                                  Contingent
         694 Urton Woods Way                                          Unliquidated
         Louisville, KY 40243                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joseph Kim                                                   Contingent
         3012 Rolston Rd                                              Unliquidated
         Greenville, NC 27858                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 504 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 524 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.341
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Joseph Lee                                                   Contingent
         3138 Paty Drive                                              Unliquidated
         Honolulu, HI 96822                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joseph Lineses                                               Contingent
         6019 39th Avenue                                             Unliquidated
         Floor 2                                                      Disputed
         Queens, NY 11377
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.341
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.00
         Joseph Mark                                                  Contingent
         1C Chatsworth Road                                           Unliquidated
         Melbourne VIC 3181                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.341
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Joseph Martin                                                Contingent
         90 Pearl St                                                  Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.77
         Joseph Mearman
         Apartment 1, The Old Mill                                    Contingent
         Cadnant Road                                                 Unliquidated
         Menai Bridge WLS LL59 5NG                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.342
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.18
         Joseph Ngoma                                                 Contingent
         Albert-Schweitzer-Strasse 17                                 Unliquidated
         Leverkusen 51377                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 505 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 525 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.342
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Joseph Palomarez                                             Contingent
         547 Cedar St                                                 Unliquidated
         Apt.20                                                       Disputed
         San Carlos, CA 94070
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.342
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Joseph Pham                                                  Contingent
         98 Thorney Road                                              Unliquidated
         Fairfield West NSW 2165                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.342
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,480.90
         Joseph Polizzi                                               Contingent
         1432 West Oraibi Drive                                       Unliquidated
         Phoenix, AZ 85027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         Joseph Preston                                               Contingent
         622 Deer Watch Road                                          Unliquidated
         Bridgeville, PA 15017                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Joseph Ramer                                                 Contingent
         109 Alberta St                                               Unliquidated
         Harrison, AR 72601                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.62
         Joseph Rayos                                                 Contingent
         17200 Septo Street                                           Unliquidated
         Los Angeles, CA 91325                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.342
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.87
         Joseph Rice                                                  Contingent
         589 10th Street                                              Unliquidated
         Apt 3                                                        Disputed
         Brooklyn, NY 11215
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 506 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 526 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.342
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Joseph Richter                                               Contingent
         1201 West 63rd Street                                        Unliquidated
         Hialeah, FL 33012                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Joseph Russo                                                 Contingent
         2050 Pacific Beach Dr                                        Unliquidated
         Apt 104                                                      Disputed
         San Diego, CA 92109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.343
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Joseph Sangiovanni                                           Contingent
         460 Birch Bark Drive                                         Unliquidated
         Brick Twp, NJ 08723                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.23
         Joseph Terminiello                                           Contingent
         1233 Lowland St                                              Unliquidated
         Apex, NC 27523                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.82
         Joseph Toma                                                  Contingent
         Heinrich-Kropp-Strasse 9                                     Unliquidated
         Gutersloh 33330                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.343
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.10
         Joseph Valenzuela                                            Contingent
         948 Ventura Drive                                            Unliquidated
         Pittsburg, CA 94565                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Joseph Walsh                                                 Contingent
         22 Overlook Circle                                           Unliquidated
         Garnet Valley, PA 19060                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 507 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 527 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.343
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Joseph Warren                                                Contingent
         9203 Chaddsford                                              Unliquidated
         San Antonio, TX 78250                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $625.31
         Joseph Williams                                              Contingent
         533 Wonder St                                                Unliquidated
         Reno, NV 89502-2514                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Joseph Wilson                                                Contingent
         1190 Upper Ottawa Street, #25                                Unliquidated
         Hamilton ON L8W 1T8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.343
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Josh Armenta                                                 Contingent
         7724 Aptos Circle                                            Unliquidated
         Citrus Heights, CA 95610                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $75.34
         Josh Fox                                                     Contingent
         105 Munroe St                                                Unliquidated
         Boston, MA 02119                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $219.14
         Josh Klaas                                                   Contingent
         208 E Mineral St.                                            Unliquidated
         Montfort, WI 53569                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.32
         Josh Moulton                                                 Contingent
         9100 Midland Blvd                                            Unliquidated
         St. Louis, MO 63114                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 508 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 528 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.344
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Josh Paulin                                                  Contingent
         1518 Aubin Road                                              Unliquidated
         Windsor ON N8Y 4G2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.344
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.14
         Josh Regenold                                                Contingent
         4506 Oldwyck Drive                                           Unliquidated
         Janesville, WI 53546                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,271.12
         Josh Sullivan                                                Contingent
         3140 Filbert Street                                          Unliquidated
         Antioch, CA 94509                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,909.52
         Josh Waldo-Speth                                             Contingent
         752 Crider Road                                              Unliquidated
         Maylene, AL 35114                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.54
         Josh White                                                   Contingent
         8 Hoare Street                                               Unliquidated
         Norman Gardens QLD 4701                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.344
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,434.61
         Joshua Baer                                                  Contingent
         815-A Brazos St. #149                                        Unliquidated
         Austin, TX 78701                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Joshua Baker                                                 Contingent
         111 Ames Road                                                Unliquidated
         Brockton, MA 02302                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 509 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 529 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.345
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Joshua Bechard                                               Contingent
         3835 SW Nottingham Road                                      Unliquidated
         Topeka, KS 66610                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Joshua Bechard                                               Contingent
         3835 SW Nottingham Road                                      Unliquidated
         Topeka, KS 66610                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.58
         Joshua Bourke                                                Contingent
         6939 Florey Street                                           Unliquidated
         San Diego, CA 92122                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Joshua Brown                                                 Contingent
         26507 28A Ave                                                Unliquidated
         Aldergrove BC V4W 3A8                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.345
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joshua Burnett                                               Contingent
         717 Lundy Lane                                               Unliquidated
         Columbus, IN 47203                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.37
         Joshua Dickerson                                             Contingent
         1219 110th Street South                                      Unliquidated
         Tacoma, WA 98444                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,113.12
         Joshua Elkington                                             Contingent
         9326 South 300 West                                          Unliquidated
         Sandy, UT 84070                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 510 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 530 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.345
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.77
         Joshua Fox                                                   Contingent
         247 Cambridge Street                                         Unliquidated
         Cambridge, MA 02141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Joshua Furlong                                               Contingent
         3707 Ryeland Cove                                            Unliquidated
         Mckinney, TX 75071                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.69
         Joshua Garcia                                                Contingent
         11436 Charlesworth Road                                      Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,271.87
         Joshua Gliniak                                               Contingent
         615 E Weber Dr                                               Unliquidated
         Unit 2022                                                    Disputed
         Tempe, AZ 85281
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,193.01
         Joshua Hess                                                  Contingent
         3734 Bluff Drive, Lewis Center, Oh, Usa                      Unliquidated
         Lewis Center, OH 43035                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,920.59
         Joshua Hess                                                  Contingent
         3734 Bluff Drive, Lewis Center, Oh, Usa                      Unliquidated
         Lewis Center, OH 43035                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.64
         Joshua Jahnke                                                Contingent
         1111 S Grand Ave #1014                                       Unliquidated
         Los Angeles, CA 90015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 511 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 531 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.346
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Joshua Lipton                                                Contingent
         303 Fifth Avenue                                             Unliquidated
         Suite 1102                                                   Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,809.15
         Joshua Mccarthy                                              Contingent
         52 Daisy Farm Road                                           Unliquidated
         Birmingham ENG B14 4QA                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,108.41
         Joshua Miller                                                Contingent
         1860 N Washington St                                         Unliquidated
         Apt 202                                                      Disputed
         Denver, CO 80203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.72
         Joshua Miller                                                Contingent
         1860 N Washington St                                         Unliquidated
         Apt 202                                                      Disputed
         Denver, CO 80203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,424.18
         Joshua Miller                                                Contingent
         1860 N Washington St                                         Unliquidated
         Apt 202                                                      Disputed
         Denver, CO 80203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.346
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.12
         Joshua Salinas                                               Contingent
         1161 Cypress Street                                          Unliquidated
         Hollister, CA 95023                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.12
         Joshua Salinas                                               Contingent
         1161 Cypress Street                                          Unliquidated
         Hollister, CA 95023                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 512 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 532 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.347
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.12
         Joshua Salinas                                               Contingent
         1161 Cypress Street                                          Unliquidated
         Hollister, CA 95023                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.63
         Joshua Salinas                                               Contingent
         1161 Cypress Street                                          Unliquidated
         Hollister, CA 95023                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.19
         Joshua Schroijen
         Kapucijnenvoer 12                                            Contingent
         Bus 0201                                                     Unliquidated
         Leuven 3000                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.347
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Joshua Smith                                                 Contingent
         1825 S 5Ht St                                                Unliquidated
         Apt 52                                                       Disputed
         Waco, TX 76706
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.347
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Joshua Sparling
         961 Notre Dame Dr                                            Contingent
         Apt 14                                                       Unliquidated
         London ON N6J 3C3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.347
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Joshua Steffen                                               Contingent
         1301 S Scott St                                              Unliquidated
         Apt 731                                                      Disputed
         Arlington, VA 22204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 513 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 533 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.347
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Joshua Tillery                                               Contingent
         4600 Navidad Road                                            Unliquidated
         Atascadero, CA 93422                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Joshua Tree                                                  Contingent
         14633 Palmyra Court                                          Unliquidated
         Adelanto, CA 92301                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Joshua Tree                                                  Contingent
         14633 Palmyra Court                                          Unliquidated
         Adelanto, CA 92301                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Joshua Twiname                                               Contingent
         10 Ventnor Street                                            Unliquidated
         Preston VIC 3072                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.348
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Joshua Weingarten                                            Contingent
         37 Rhode Island                                              Unliquidated
         Irvine, CA 92606                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.93
         Joshua Williams                                              Contingent
         111 Garfield Place                                           Unliquidated
         Apt# 906                                                     Disputed
         Cincinnati, OH 45202-1939
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.348
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.59
         Joshua Yan                                                   Contingent
         29238 NE Tolt Hill Road                                      Unliquidated
         Carnation, WA 98014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 514 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 534 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.348
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Josiah Holtz                                                 Contingent
         434 Walnut Dr                                                Unliquidated
         Saint Johns, FL 32259                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.56
         Josiah Russell                                               Contingent
         2417 Winterberry Lane                                        Unliquidated
         York, PA 17406                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.76
         Josiah Schulz                                                Contingent
         5312 Willow St                                               Unliquidated
         Weston, WI 54476                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $551.34
         Joud Shehade                                                 Contingent
         Bernard Ijzerdraathof 14                                     Unliquidated
         Haarlem 2032RR                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.348
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.21
         Jounaidi Ben Hassen                                          Contingent
         14 Rue Williamson                                            Unliquidated
         Gatineau QC J9A2C8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.348
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.21
         Jovana Ivanovic                                              Contingent
         310-890 Sheppard Avenue West                                 Unliquidated
         Toronto ON M3H 2T5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.349
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Joven Haye                                                   Contingent
         60 Annie Craig Drive #912                                    Unliquidated
         Toronto ON M8V 0A8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 515 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 535 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.349
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.40
         Joyce Fruithof                                               Contingent
         Esdoornlaan 11, #1.3                                         Unliquidated
         Wetteren 9230                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.349
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Joyce Wicker                                                 Contingent
         313 Columbus Drive                                           Unliquidated
         Savannah, GA 31405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,434.87
         Joyti Kumar                                                  Contingent
         P.O. Box 56173                                               Unliquidated
         Hayward, CA 94544                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.06
         Joyti Kumar                                                  Contingent
         P.O. Box 56173                                               Unliquidated
         Hayward, CA 94544                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Jozef Russell                                                Contingent
         45 Park Terrace West                                         Unliquidated
         New York, NY 10034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.04
         Jozsef Vandorffy
         Thaly Kalman U. 34. 4/22.                                    Contingent
         Folinfo Kft.                                                 Unliquidated
         Budapest 1096                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 516 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 536 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.349
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.06
         Jozsef Vandorffy
         Thaly Kalman U. 34. 4/22                                     Contingent
         Folinfo Kft.                                                 Unliquidated
         Budapest 1096                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.349
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jr Scott                                                     Contingent
         60143 South 24th Street                                      Unliquidated
         Lacombe, LA 70445                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,582.76
         Juan Abadie
         Carrer De Sogorb 4                                           Contingent
         Piso 4, Puerta 10                                            Unliquidated
         Valencia V 46004                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.350
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Juan Aguiar                                                  Contingent
         1850 Rodman Street #3                                        Unliquidated
         Hollywood, FL 33020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Juan Buitrago                                                Contingent
         729 Northwest 170th Terrace                                  Unliquidated
         Pembroke Pines, FL 33028                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.71
         Juan Carlos Medina Villa
         Toltecas 166 E916                                            Contingent
         Col. Carola                                                  Unliquidated
         Ciudad De Mexico DF 1180                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 517 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 537 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.350
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.71
         Juan Carlos Medina Villa
         Toltecas 166 E916                                            Contingent
         Col. Carola                                                  Unliquidated
         Ciudad De Mexico DF 1180                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.350
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.87
         Juan Dominguez                                               Contingent
         53750 South River Road                                       Unliquidated
         Clarksburg, CA 95612                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.22
         Juan Gamboa                                                  Contingent
         1375 East 23rd Street                                        Unliquidated
         Los Angeles, CA 90011                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Juan Gaviria                                                 Contingent
         660 19th St Nw                                               Unliquidated
         Naples, FL 34120                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Juan Gonzalez                                                Contingent
         7638 Peters St                                               Unliquidated
         Riverside, CA 92504                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.350
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.14
         Juan Guillermo Becker                                        Contingent
         Primera Cerrada San Jose 30                                  Unliquidated
         Cdmx DF 1780                                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.350
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Juan Irizarry                                                Contingent
         389 Clifton Ave                                              Unliquidated
         Newark, NJ 07104                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 518 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 538 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.351
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $957.29
         Juan Jose Cabrera Perez                                      Contingent
         Calle Arquitecto Vega March 4                                Unliquidated
         Arucas GC 35400                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.351
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Juan Lara                                                    Contingent
         1177 Morgan Hill Drive                                       Unliquidated
         Pennsburg, PA 18073                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $694.49
         Juan Manuel Calderon
         Xola 535 Piso 14, Col Del Valle; Deleg B                     Contingent
         Torre Axa                                                    Unliquidated
         Mexico DF 3100                                               Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.351
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,484.24
         Juan Manuel Imeroni                                          Contingent
         2945 Alpine Terrace                                          Unliquidated
         Cincinnati, OH 45208                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Juan Pablo Jimenez Bruno                                     Contingent
         753 NW 42nd Way                                              Unliquidated
         Deerfield Beach, FL 33442                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,638.72
         Juan Pablo Zapata
         Carrera 1 No. 3-30 Hacienda Casablanca                       Contingent
         Torre 5 Apartamento 601                                      Unliquidated
         Madrid CUN 250037                                            Disputed
         COLOMBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 519 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 539 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.351
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.18
         Juan Pedro Carrasco Alvarez                                  Contingent
         183 Manwood Road                                             Unliquidated
         London ENG SE4 1SF                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.351
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Juan Perez                                                   Contingent
         Calle Tauro #54 Los Angeles                                  Unliquidated
         Carolina, PR 00979                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.69
         Juan Suarez                                                  Contingent
         1805 Tahoe Circle                                            Unliquidated
         Tracy, CA 95376                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.51
         Juan Vicenty                                                 Contingent
         3 Cooper Road                                                Unliquidated
         Danbury, CT 06811                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.05
         Juan Videla                                                  Contingent
         Borgemarka 31A                                               Unliquidated
         Skien 3711                                                   Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.25
         Juan Videla                                                  Contingent
         Borgemarka 31A                                               Unliquidated
         Skien 3711                                                   Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $116.78
         Juana Mason                                                  Contingent
         500 Central Ave                                              Unliquidated
         Union City, NJ 07087                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 520 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 540 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.352
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.56
         Juana Mason                                                  Contingent
         500 Central Avenue #713                                      Unliquidated
         Union City, NJ 07087                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.46
         Jubin Molai                                                  Contingent
         Saumstrasse 81                                               Unliquidated
         Monchengladbach 41063                                        Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $663.40
         Jud Beasley                                                  Contingent
         106 Scarlet Cove                                             Unliquidated
         Sherwood Park AB T8H0X9                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,687.65
         Judd Lorson                                                  Contingent
         18 North 3rd Street                                          Unliquidated
         Waterville, PA 17776                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,687.92
         Judd Maw                                                     Contingent
         3 Landley Link                                               Unliquidated
         Meadow Springs WA 6210                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.70
         Judith Rebre                                                 Contingent
         Fontanestrasse 9                                             Unliquidated
         Holzminden 37603                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.86
         Juha-Matti Herpio                                            Contingent
         Granfeltintie 5                                              Unliquidated
         Helsinki 570                                                 Disputed
         FINLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 521 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 541 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.353
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.72
         Julia Corey                                                  Contingent
         359 Sconticut Neck Road                                      Unliquidated
         Fairhaven, MA 02719                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,391.97
         Julia Hickman                                                Contingent
         124 Lake Valley Rd.                                          Unliquidated
         Morristown, NJ 07960                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Julian Alfaro                                                Contingent
         20422 Bryant St                                              Unliquidated
         Wildomar, CA 92595                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Julian Douglas                                               Contingent
         2195 Smith Ln                                                Unliquidated
         Concord, CA 94518                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.15
         Julian Ford                                                  Contingent
         14 Hardwick Rd                                               Unliquidated
         Cape Town WC 7700                                            Disputed
         SOUTH AFRICA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.353
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Julian Martinez                                              Contingent
         111 Willard St                                               Unliquidated
         Pompton Lakes, NJ 07442                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,254.07
         Julian Pretto                                                Contingent
         34 Hurricane                                                 Unliquidated
         Marina Del Rey, CA 90292                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 522 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 542 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.353
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,155.06
         Julian Pretto                                                Contingent
         34 Hurricane                                                 Unliquidated
         Marina Del Rey, CA 90292                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Julian Rebel                                                 Contingent
         1398 Pearson Street                                          Unliquidated
         Ferndale, MI 48220                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.90
         Julian Roder                                                 Contingent
         Strasse Der Pariser Kommune 21                               Unliquidated
         Berlin 10243                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.25
         Julian Rodriguez                                             Contingent
         2132 Sherborne St                                            Unliquidated
         Camarillo, CA 93010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.354
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,067.38
         Julien Braschi                                               Contingent
         4 Route De Flins                                             Unliquidated
         Bazemont 78580                                               Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.28
         Julien Gedeon                                                Contingent
         Brusseler Strasse 92                                         Unliquidated
         Koln 50672                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.86
         Juliette Stevens                                             Contingent
         Eerste Jan Van Der Heijdenstraat 113A                        Unliquidated
         Amsterdam 1072TN                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 523 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 543 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.354
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Julio Castro-Perdomo                                         Contingent
         4626 Redspruce Dr Sw                                         Unliquidated
         Lilburn, GA 30047                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.354
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Julio David                                                  Contingent
         325 S Biscayne Blvd                                          Unliquidated
         Apt 3220                                                     Disputed
         Miami, FL 33131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.81
         Julio Garcia                                                 Contingent
         5707 Alagon St                                               Unliquidated
         Bakersfield, CA 93311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.354
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,816.15
         Julio Jornet Monteverde
         Capricornio, 7 Bw-106                                        Contingent
         Urb. Jardines De Mutxamel                                    Unliquidated
         Mutxamel A 3110                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.88
         Juma Rajab                                                   Contingent
         17 Chelwood Road                                             Unliquidated
         Bristol ENG BS11 9RA                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.19
         Yi Jun Cai                                                   Contingent
         10304 Hunter Run                                             Unliquidated
         Frisco, TX 75035                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 524 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 544 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.355
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Jupiter Legaspi                                              Contingent
         4141 Los Feliz Blvd, #26                                     Unliquidated
         Los Angeles, CA 90027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $836.87
         Juraj S Pindor                                               Contingent
         Klenova 13                                                   Unliquidated
         Bratislava 83101                                             Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.355
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,445.99
         Jurgen Van Beek                                              Contingent
         Bekestere 2                                                  Unliquidated
         Putten 3882 WB                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.355
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $881.26
         Jurgen Van Erp                                               Contingent
         Loosbroekseweg 74                                            Unliquidated
         Nistelrode 5388VP                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.355
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Justan Bawn                                                  Contingent
         308 Seymour River Place                                      Unliquidated
         North Vancouver BC V7H 1S7                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.355
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Justin Barley                                                Contingent
         60 Elmcrest Rise                                             Unliquidated
         West Henrietta, NY 14586                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $498.49
         Justin Barnow                                                Contingent
         11245 Zelzah Ave                                             Unliquidated
         Granada Hills, CA 91344                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 525 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 545 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.355
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Justin Becker                                                Contingent
         205 E Pinehurst Dr                                           Unliquidated
         Sioux Falls, SD 57108                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.01
         Justin Bragado                                               Contingent
         13 Conference Drive                                          Unliquidated
         Felton, CA 95018                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,809.62
         Justin Carangi                                               Contingent
         24881 Alicia Pkwy                                            Unliquidated
         E323                                                         Disputed
         Laguna Hills, CA 92653
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.356
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,109.25
         Justin Carangi                                               Contingent
         24881 Alicia Pkwy                                            Unliquidated
         E323                                                         Disputed
         Laguna Hills, CA 92653
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.356
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.26
         Justin Clouser                                               Contingent
         700 Infantry Drive                                           Unliquidated
         Galloway, OH 43119                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Justin Corley                                                Contingent
         616 Northeast 14th Street                                    Unliquidated
         Moore, OK 73160                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Justin Estremadura                                           Contingent
         7677 Yukon Street                                            Unliquidated
         Vancouver BC V5X 2Y4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 526 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 546 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.356
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.99
         Justin Fuertes                                               Contingent
         Unit 101/ 19-23 Short Street West                            Unliquidated
         Homebush NSW 2140                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.356
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.90
         Justin Goodman                                               Contingent
         4511 Orchard Road                                            Unliquidated
         Bowie, TX 76230                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Justin Goodnow                                               Contingent
         160 Main Road South                                          Unliquidated
         Hampden, ME 04444                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Justin Grimes                                                Contingent
         101 Obarr Road                                               Unliquidated
         Leeds, AL 35094                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Justin Hernandez                                             Contingent
         95 Spring Lake Hills Dr                                      Unliquidated
         Altamonte Springs, FL 32714                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Justin Hernandez                                             Contingent
         95 Spring Lake Hills Dr                                      Unliquidated
         Altamonte Springs, FL 32714                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.61
         Justin Renken                                                Contingent
         268 W Saginaw St                                             Unliquidated
         #203                                                         Disputed
         East Lansing, MI 48823
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 527 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 547 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.357
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Justin Rizzo                                                 Contingent
         701 Southwest 3rd Street                                     Unliquidated
         Boynton Beach, FL 33435                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Justin Romain                                                Contingent
         218 W Mason St                                               Unliquidated
         Santa Barbara, CA 93101                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Justin Soto                                                  Contingent
         31 Searing Avenue                                            Unliquidated
         Apt. 1                                                       Disputed
         East Newark, NJ 07029
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.357
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Justin Thurman                                               Contingent
         1900 Yorktown Street, #628                                   Unliquidated
         Houston, TX 77056                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Justin Tsang                                                 Contingent
         16 Hans Drive                                                Unliquidated
         Markham ON L6C 1T3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.357
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,777.86
         Justin Tsuchida                                              Contingent
         5765F Burke Centre Parkway #155                              Unliquidated
         Burke, VA 22015                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.54
         Justin Vredevoogd                                            Contingent
         2645 E. Colonial Ct.                                         Unliquidated
         Chandler, AZ 85249                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 528 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 548 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.357
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Justin Wegener                                               Contingent
         9949 N American Way                                          Unliquidated
         Syracuse In, IN 46567                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Justin Youngblood                                            Contingent
         2505 Westover Road                                           Unliquidated
         Austin, TX 78703                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Justina Millan                                               Contingent
         4532 Abbey Place                                             Unliquidated
         Los Angeles, CA 90019                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.70
         Jweb Holes                                                   Contingent
         8296 Lee Court                                               Unliquidated
         Mason, OH 45040                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.87
         K McIntyre                                                   Contingent
         108 Watersound Court                                         Unliquidated
         Montgomery, TX 77316                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Kacey Vencill                                                Contingent
         8416 Tapies Way                                              Unliquidated
         Elk Grove, CA 95624                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Kacy Lumpkin                                                 Contingent
         1801 Harwood Drive                                           Unliquidated
         Oxford, MI 48371                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 529 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 549 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.358
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,453.58
         Kai Ziekursch                                                Contingent
         Sandweg 25                                                   Unliquidated
         Dusseldorf 40468                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.358
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Kailiang Li                                                  Contingent
         4616 McHardy Street                                          Unliquidated
         Vancouver BC V5R 4C3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.358
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Kaitlyn Sam                                                  Contingent
         2490 Reservoir Street                                        Unliquidated
         Unit H                                                       Disputed
         Harrisonburg, VA 22801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.358
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,485.83
         Amir Kajtezovic                                              Contingent
         2117 E. Lawrence Rd.                                         Unliquidated
         Phoenix, AZ 85016                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Kaleb Corbin                                                 Contingent
         19242 Olde Waterford Road                                    Unliquidated
         Hagerstown, MD 21742                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.359
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Kaleb Johnson                                                Contingent
         3233 North 750 West                                          Unliquidated
         Pleasant View, UT 84414                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.359
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Kaleb Johnson                                                Contingent
         3233 North 750 West                                          Unliquidated
         Pleasant View, UT 84414                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 530 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 550 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.359
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kalene Beeman                                                Contingent
         241 Cook Road                                                Unliquidated
         Prospect, CT 06712                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.359
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.51
         Kaloyan Marinov
         2 Tetovo St                                                  Contingent
         Apartment 7                                                  Unliquidated
         Ruse 7020                                                    Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $487.53
         Kaloyan Stoyanov                                             Contingent
         High Street 26A                                              Unliquidated
         Enniskillen NIR BT747EH                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.20
         Aurash Kamalipour                                            Contingent
         2903 Northeast Dr                                            Unliquidated
         Unit A                                                       Disputed
         Austin, TX 78723
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $660.88
         Kamar Sakrak                                                 Contingent
         Kantstrasse 52                                               Unliquidated
         Duisburg 47166                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.07
         Kamil Krasowski                                              Contingent
         1314 South Arlington Heights Road                            Unliquidated
         Arlington Heights, IL 60005                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 531 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 551 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.359
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,768.38
         Kamil Mazur                                                  Contingent
         Suszyckich 17/14                                             Unliquidated
         Boguchwala 36-040                                            Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,530.21
         Kamran Hasanov
         7 Huntley Street                                             Contingent
         44 Bloomsbury Terrace                                        Unliquidated
         London ENG WC1E 6AJ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Kamran Mohammed
         1 Germain Street                                             Contingent
         Suite 300                                                    Unliquidated
         Saint John NB E2L4V1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Kamran Rahimian                                              Contingent
         93 Ridgepark Lane                                            Unliquidated
         Halifax NS B3N 3L1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.91
         Kantaraja Chindera
         Flat 6 Calla Court                                           Contingent
         Tranquil Lane                                                Unliquidated
         London ENG HA2 0GX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.80
         Karel Vanstraelen                                            Contingent
         Gaarveldstraat, 108, 01                                      Unliquidated
         Hasselt 3500                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 532 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 552 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.360
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,764.93
         Karen Babasyan                                               Contingent
         Copernicusstraat 51                                          Unliquidated
         Den Haag 2561VR                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.83
         Karen Barnes                                                 Contingent
         1706 10th Avenue                                             Unliquidated
         Oakland, CA 94606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.360
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,379.23
         Karen Cecilio                                                Contingent
         10801 Hess Dr                                                Unliquidated
         La Mesa, CA 91941                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.360
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Karen Dalzell                                                Contingent
         134 Sullivan St                                              Unliquidated
         Apt 2                                                        Disputed
         New York, NY 10012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,839.49
         Karim Alami                                                  Contingent
         65 Woodwind Crescent                                         Unliquidated
         Stittsville ON K2S 1T8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.360
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Karim Elmasri                                                Contingent
         1751 North Rosevere Street                                   Unliquidated
         Dearborn, MI 48128                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.55
         Karin Buerkler                                               Contingent
         Buchholzstrasse 151                                          Unliquidated
         Zurich 8053                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 533 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 553 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.361
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Karl Bajenting                                               Contingent
         140 Maplewood Ave                                            Unliquidated
         Clifton, NJ 07013-1106                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $817.31
         Karl Eduard Von Arb                                          Contingent
         Wuhrstrasse 1                                                Unliquidated
         Luchingen 9450                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.361
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.44
         Karl Meiringer
         Treustrasse 92                                               Contingent
         Stiege 6 / Tur 14                                            Unliquidated
         Wien 1200                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.361
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Karl Mok                                                     Contingent
         21133 Mccowan Rd.                                            Unliquidated
         Mount Albert ON L0G1M0                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.361
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $925.83
         Karl Nembach                                                 Contingent
         945 South Downing Street                                     Unliquidated
         Denver, CO 80209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Karl Villagracia                                             Contingent
         8110 Mill Falls Court                                        Unliquidated
         Glen Burnie, MD 21060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 534 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 554 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.361
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $844.14
         Karlheinz Pirker
         Wilhelmstrasse 50                                            Contingent
         Apartment 29                                                 Unliquidated
         Wien 1120                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.361
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.87
         Amitabha Karmakar                                            Contingent
         405 Basin Street                                             Unliquidated
         Princeton, NJ 08540                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,104.33
         Karolis Kaminskas                                            Contingent
         Kazliskiu 17-4                                               Unliquidated
         Vilnius 9204                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,090.75
         Karsten Eichhorn                                             Contingent
         Hampstraat 4                                                 Unliquidated
         Egestorf 21272                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $560.73
         Karsten Ramm
         Albert-Schweitzer-Strasse 9                                  Contingent
         Via Sadak                                                    Unliquidated
         Cottbus 3050                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Katelyn Piszczor                                             Contingent
         420 Cherry Ave                                               Unliquidated
         Houston, PA 15342                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 535 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 555 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.362
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Katerina Valle                                               Contingent
         21 Balmuto Street                                            Unliquidated
         Toronto ON M4Y1W4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Katharine Rocha                                              Contingent
         P.O. Box 1                                                   Unliquidated
         Avondale, AZ 85323                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.25
         Katharyn Delucia                                             Contingent
         2319 Neill Way                                               Unliquidated
         Hanford, CA 93230                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Katherine Felzani                                            Contingent
         162 NE 25th Street, #511                                     Unliquidated
         Miami, FL 33137                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Kathleen Armstrong                                           Contingent
         86 San Juan Dr                                               Unliquidated
         Ponte Vedra Beach, FL 32082                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.71
         Kathy Tsai                                                   Contingent
         5 Hawthorne Avenue                                           Unliquidated
         Holmdel, NJ 07733                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.22
         Katia Cavazos
         Durazno 26                                                   Contingent
         Los Olivos Solidaridad                                       Unliquidated
         Playa Del Carmen Q ROO 77714                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 536 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 556 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.363
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Kaush K                                                      Contingent
         6305 Serenade Court                                          Unliquidated
         Lawrence, KS 66049                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,855.12
         Kaveh Varjavand                                              Contingent
         4237 Empress Avenue                                          Unliquidated
         Encino, CA 91436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.01
         Kaviarasu Venkatachalam                                      Contingent
         550 Ortega Ave                                               Unliquidated
         Apt 421                                                      Disputed
         Mountain View, CA 94040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.363
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $860.28
         Kaycee Mcclymont                                             Contingent
         84 Palmerston Crescent                                       Unliquidated
         London ENG SE18 2TS                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.363
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $829.23
         Kazi Rahman                                                  Contingent
         5770 Spring Garden Road #2009                                Unliquidated
         Halifax NS B3H4J8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.363
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $990.80
         Kazimir Lesko                                                Contingent
         Balokoviceva 65                                              Unliquidated
         Zagreb 10020                                                 Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 537 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 557 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.363
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $859.78
         Kazmi Syed Ali                                               Contingent
         Eschersheimer Landstr 219                                    Unliquidated
         Frankfurt Am Main 60320                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.363
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.65
         Kb Chowdhury                                                 Contingent
         29 Towhee Ln                                                 Unliquidated
         Glastonbury, CT 06033                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Kealon Rodriguez                                             Contingent
         37 Cedar Road                                                Unliquidated
         Westbury, NY 11590                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,454.50
         Keaton Klemencic                                             Contingent
         7545 Katella Avenue, #25                                     Unliquidated
         Stanton, CA 90680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Kee Choi                                                     Contingent
         4025 Evening Breeze Ct                                       Unliquidated
         Las Vegas, NV 89107                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Keenan Miranda                                               Contingent
         35 Sugarcane Avenue                                          Unliquidated
         Brampton ON L6R 3C8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.364
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Keenan Tran                                                  Contingent
         12330 SW North Dakota                                        Unliquidated
         Tigard, OR 97223                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 538 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 558 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.364
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Keenan Tran                                                  Contingent
         12330 SW North Dakota                                        Unliquidated
         Tigard, OR 97223                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.36
         Keerthi Rangan
         Makepeace Road, Wanstead,                                    Contingent
         No1, Langham House                                           Unliquidated
         London ENG E11 1UX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.364
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Andrew Kehl                                                  Contingent
         1257 Delaware Avenue Southwest                               Unliquidated
         Washington, DC 20024                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $722.29
         Keith Blalock                                                Contingent
         4151 Meadow Court Drive                                      Unliquidated
         Bartlett, TN 38135                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.52
         Keith Forney                                                 Contingent
         2119 Newport Pl NW                                           Unliquidated
         Washington, DC 20037                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.55
         Keith Hernandez                                              Contingent
         157 E 118th St, #4                                           Unliquidated
         New York, NY 10035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Keith Milligan                                               Contingent
         3745C Us Highway 80 W                                        Unliquidated
         Phenix City, AL 36870                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 539 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 559 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.365
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Keith Prince                                                 Contingent
         208 Woodcrest Circle                                         Unliquidated
         New Iberia, LA 70560                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Keith Rothschild                                             Contingent
         2366 Leisure Court                                           Unliquidated
         Dunwoody, GA 30338                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Keith Switzer                                                Contingent
         20626 Chatfield Bend Way                                     Unliquidated
         Katy, TX 77449                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Keith Woolley                                                Contingent
         2 Moccasin Way                                               Unliquidated
         Stafford ENG ST163GS                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.365
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Kelley Shinn                                                 Contingent
         6718 Hyacinth Lane                                           Unliquidated
         Dallas, TX 75252                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Kelli Greene                                                 Contingent
         2506 Privet Way                                              Unliquidated
         Basking Ridge, NJ 07920                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,418.64
         Kellie Taylor                                                Contingent
         100 Van Ness Ave                                             Unliquidated
         Unit 1304                                                    Disputed
         San Francisco, CA 94102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 540 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 560 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.365
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Kelly Armitage                                               Contingent
         120 Riverwood Close Southeast                                Unliquidated
         Calgary AB T2C 3Z5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.365
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Kelly Armitage                                               Contingent
         120 Riverwood Close Southeast                                Unliquidated
         Calgary AB T2C 3Z5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.365
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.30
         Kelly Fineman                                                Contingent
         283 S Autumn Ridge Dr                                        Unliquidated
         Mt Washington, KY 40047                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Kelly Melrose                                                Contingent
         12314 Pissaro Drive                                          Unliquidated
         North Potomac, MD 20878                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Kelly White                                                  Contingent
         170 N Imperial Dr                                            Unliquidated
         Denison, TX 75020                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kelvin Baez                                                  Contingent
         402 E 162 St                                                 Unliquidated
         2A                                                           Disputed
         Bronx, NY 10451
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.366
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Kelvin Chan                                                  Contingent
         180 Trothen Circle                                           Unliquidated
         Markham ON L3P 4H7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 541 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 561 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.366
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Kemal Cakmak                                                 Contingent
         27 Masi Court                                                Unliquidated
         Vaughan ON L4H 1V5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.366
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,609.52
         Ken Cornell                                                  Contingent
         22508 NE 69th Ave                                            Unliquidated
         Melrose, FL 32666                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,538.41
         Ken Hernandez                                                Contingent
         12120 Norwalk Blvd                                           Unliquidated
         Norwalk, CA 90650                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,488.77
         Ken Jones                                                    Contingent
         5701 Poplar St                                               Unliquidated
         Port Alberni BC V9Y8V3                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.366
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.15
         Ken Nguyen                                                   Contingent
         4201 McKenna Close                                           Unliquidated
         Chesapeake, VA 23321                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ken Schroeder                                                Contingent
         5505 Erinvale Ct                                             Unliquidated
         Holly Springs, NC 27540                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.51
         Ken Scott                                                    Contingent
         867 SE 14th Terrace                                          Unliquidated
         Deerfield Beach, FL 33441                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 542 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 562 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.367
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,451.01
         Ken Wang                                                     Contingent
         77 Duttonwood Ln                                             Unliquidated
         Milpitas, CA 95035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.67
         Kenji Fujii                                                  Contingent
         9307 Northeast 140th Street                                  Unliquidated
         Kirkland, WA 98034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Andrew Kennedy                                               Contingent
         305 High St                                                  Unliquidated
         Hampton, NH 03842-4000                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Kenneth Caba                                                 Contingent
         729 Sunny Meadows Dr NE                                      Unliquidated
         Rio Rancho, NM 87144                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.41
         Kenneth Chong                                                Contingent
         124 Wheat Boom Drive                                         Unliquidated
         Oakville ON L6H 0M9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.367
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.01
         Kenneth Dillon                                               Contingent
         5122 Morningside Dr                                          Unliquidated
         Apt 824                                                      Disputed
         Houston, TX 77005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.367
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kenneth Fobian                                               Contingent
         5601 Collins Avenue                                          Unliquidated
         Apt. 806                                                     Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 543 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 563 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.367
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,469.52
         Kenneth Harlow                                               Contingent
         636 Nautilus Dr.                                             Unliquidated
         Murrells Inlet, SC 29576                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Kenneth Johnson                                              Contingent
         5613 W Cape Vista Way                                        Unliquidated
         West Valley City, UT 84128                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kenneth Leung                                                Contingent
         25 Montgomery St Apt 4A                                      Unliquidated
         New York, NY 10002                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Kenneth Marshall                                             Contingent
         P.O. Box 766                                                 Unliquidated
         Huntington, TX 75949                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Kenneth Michel                                               Contingent
         19 Morning Mist Court                                        Unliquidated
         Woodstock, MD 21163                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.32
         Kenneth Schmidt                                              Contingent
         14946 Shoemaker Avenue                                       Unliquidated
         Unit E                                                       Disputed
         Santa Fe Springs, CA 90670
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.368
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $970.82
         Kenneth Thorpe                                               Contingent
         11027 Fall Creek Road                                        Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 544 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 564 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.368
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kenny Cheung                                                 Contingent
         130 Water Street                                             Unliquidated
         Apt 10C                                                      Disputed
         Ny, NY 10005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.368
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Kenny Nguyen                                                 Contingent
         19024 Kimberlite Drive                                       Unliquidated
         Pflugerville, TX 78660                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Kenny Nguyen                                                 Contingent
         1095 Alexis Lane                                             Unliquidated
         Redlands, CA 92374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Kenny Pastor                                                 Contingent
         29 Templemont Drive NE                                       Unliquidated
         Calgary AB T1Y 4Z5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.368
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,049.31
         Kenny Reid                                                   Contingent
         46 Greenfields Drive                                         Unliquidated
         Moriac VIC 3240                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.369
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Keoni Tamashiro                                              Contingent
         1511 Nuuanu Avenue #81                                       Unliquidated
         Honolulu, HI 96817                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Keonne Joseph                                                Contingent
         6701 JFK Blvd East                                           Unliquidated
         Apt C4                                                       Disputed
         West New York, NJ 07093
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 545 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 565 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.369
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $946.33
         Kerem Yilmaz                                                 Contingent
         Paul-Zweigart-Strasse 3                                      Unliquidated
         Sindelfingen 71063                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.369
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.24
         Kerry Emerson                                                Contingent
         64 Parkdale Drive                                            Unliquidated
         Whanganui MWT 4500                                           Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.369
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.37
         Kerry Masters                                                Contingent
         19 Danefield Road                                            Unliquidated
         Northampton ENG NN3 2LT                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.369
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Keston Abe                                                   Contingent
         623 1st Place                                                Unliquidated
         Hermosa Beach, CA 90254                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,603.13
         Keval Shah                                                   Contingent
         2301 Southwest Pepperwood Road                               Unliquidated
         Topeka, KS 66614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Kevin Acevedo                                                Contingent
         3363 SW 26th St                                              Unliquidated
         Miami, FL 33133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Kevin Barboza                                                Contingent
         921 League Ave                                               Unliquidated
         La Puente, CA 91744                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 546 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 566 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.369
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Kevin Borsay                                                 Contingent
         1333 Harvard Road                                            Unliquidated
         Grosse Pointe Park, MI 48230                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,934.52
         Kevin Brown                                                  Contingent
         9 Mountain Avenue                                            Unliquidated
         Mahwah, NJ 07430                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Kevin Brown                                                  Contingent
         616 W. Ave F.                                                Unliquidated
         Midlothian, TX 76065                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.06
         Kevin Buchanan                                               Contingent
         13347 Austin Road                                            Unliquidated
         Mt. Vernon, WA 98273                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Kevin Cai                                                    Contingent
         4221 Irving Street                                           Unliquidated
         San Francisco, CA 94122                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Kevin Corkish                                                Contingent
         5292 North Northwest Highway                                 Unliquidated
         Chicago, IL 60630                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Kevin Davis                                                  Contingent
         Rr1 Box 6130                                                 Unliquidated
         Kingshill, VI 00850                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 547 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 567 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.370
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Kevin Dempsey
         811 Helmcken Street                                          Contingent
         Apt 701, Buzzer 202                                          Unliquidated
         Vancouver BC V6Z 1B1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.370
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,331.25
         Kevin Ebeling                                                Contingent
         S Ngerweg                                                    Unliquidated
         Bretzfeld 74626                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.370
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $584.95
         Kevin Griffiths
         90 Glenbeigh Road                                            Contingent
         Old Cabra                                                    Unliquidated
         Dublin D D07 X4V2                                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.370
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Kevin Gurr                                                   Contingent
         185 W 200 S                                                  Unliquidated
         Pleasant Grove, UT 84062                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.51
         Kevin He                                                     Contingent
         341 Rolkin Road                                              Unliquidated
         Charlottesville, VA 22911                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.89
         Kevin Hobbs                                                  Contingent
         1072 High Point Drive NE                                     Unliquidated
         Atlanta, GA 30306                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 548 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 568 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.371
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,451.01
         Kevin Huang                                                  Contingent
         3265 Tully Rd                                                Unliquidated
         San Jose, CA 95148                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Kevin Jones                                                  Contingent
         235 S Grant St                                               Unliquidated
         Denver, CO 80209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kevin Julien                                                 Contingent
         12415 Asbury Drive                                           Unliquidated
         Fort Washington, MD 20744                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.63
         Kevin Kawasaki                                               Contingent
         755 Holbrook Place                                           Unliquidated
         Sunnyvale, CA 94087                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.15
         Kevin Konings
         Hausburgstrasse 30                                           Contingent
         C/O Beermann                                                 Unliquidated
         Berlin 10249                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.371
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,539.76
         Kevin Krajewski                                              Contingent
         1366 Milton Way                                              Unliquidated
         San Jose, CA 95125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Kevin Le                                                     Contingent
         39 E 21st St                                                 Unliquidated
         #2A                                                          Disputed
         Brooklyn, NY 11226
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 549 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 569 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.371
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.64
         Kevin Linden                                                 Contingent
         Rue De Beggen 309                                            Unliquidated
         Luxembourg 1221                                              Disputed
         LUXEMBOURG
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.372
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.96
         Kevin Liu                                                    Contingent
         6303 Sevilla Circle                                          Unliquidated
         San Antonio, TX 78257                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Kevin Luc                                                    Contingent
         2112 Thomas Ave                                              Unliquidated
         San Francisco, CA 94124                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Kevin Lunion                                                 Contingent
         4289 SW Winslow St                                           Unliquidated
         Port Saint Lucie, FL 34953                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,630.78
         Kevin Mac Nally                                              Contingent
         3A Church Gardens, Rathmines                                 Unliquidated
         Dublin D D06E062                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.372
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kevin Mac Nally                                              Contingent
         3A Church Gardens, Rathmines                                 Unliquidated
         Dublin D D06E062                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.372
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $30.50
         Kevin Mac Nally                                              Contingent
         3A Church Gardens, Rathmines                                 Unliquidated
         Dublin D D06E062                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 550 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 570 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.372
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.61
         Kevin Marsh                                                  Contingent
         1546 Dorrance Street                                         Unliquidated
         Philadelphia, PA 19146                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Kevin Matthews                                               Contingent
         104 Alread Court                                             Unliquidated
         Fort Worth, TX 76102                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kevin Norris                                                 Contingent
         1944 Loring Pl South                                         Unliquidated
         Apt 1A                                                       Disputed
         Bronx, NY 10453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.372
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Kevin Proctor                                                Contingent
         24 Whitney Ave. Apt 3                                        Unliquidated
         Portland, ME 04102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.373
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $647.60
         Kevin Robinson                                               Contingent
         3775 NW Columbia Ave                                         Unliquidated
         Portland, OR 97229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.373
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,453.50
         Kevin Smith                                                  Contingent
         760 Johnson Street, #1403                                    Unliquidated
         Victoria BC V8W 0A4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.87
         Kevin Theiler                                                Contingent
         10541 Monticello Ln N                                        Unliquidated
         Maple Grove, MN 55369                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 551 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 571 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.373
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.75
         Kevin Tiamsim                                                Contingent
         2805 Cedarwood Drive, #115                                   Unliquidated
         Ottawa ON K1V 0G7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Kevin Tinajero                                               Contingent
         13716 Destino Pl                                             Unliquidated
         Cerritos, CA 90703                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.373
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.20
         Kevin Turcotte                                               Contingent
         12312 5E Avenue Rdp                                          Unliquidated
         Montr Al QC H1E 1R2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Kevin Vu                                                     Contingent
         3418 Valley Forge Way                                        Unliquidated
         San Jose, CA 95117                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.373
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,273.82
         Kevin Wong                                                   Contingent
         36 Lewis Street                                              Unliquidated
         Bonnyrigg Heights NSW 2177                                   Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,322.03
         Kevin Wong                                                   Contingent
         36 Lewis Street                                              Unliquidated
         Bonnyrigg Heights NSW 2177                                   Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Kevin Wyatt                                                  Contingent
         855 Columbia Court                                           Unliquidated
         Avon, IN 46123                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 552 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 572 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.374
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Kevin Yeager                                                 Contingent
         4115 Broadmoor Dr                                            Unliquidated
         Mont Belvieu, TX 77523                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.47
         Kevin Zanotta                                                Contingent
         Feldpark 1                                                   Unliquidated
         Zug 6300                                                     Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.374
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Kevin Zhang                                                  Contingent
         619 57 St.                                                   Unliquidated
         Brooklyn, NY 11220                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.90
         Keystone Marcy                                               Contingent
         29604 Terra Vis                                              Unliquidated
         Fair Oaks Ranch, TX 78015                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,551.71
         Khadija Rhaya                                                Contingent
         Romerstrasse 26                                              Unliquidated
         Meerbusch 40667                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.374
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Khaild Ahmed                                                 Contingent
         697 Amaretto Avenue                                          Unliquidated
         Pickering ON L1X 1L7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.374
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.30
         Khaja Khan                                                   Contingent
         123 Woodville Road                                           Unliquidated
         Chester Hill NSW 2162                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 553 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 573 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.374
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Khaled Alktefan                                              Contingent
         25748 Graceland Cir                                          Unliquidated
         Dearborn, MI 48125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Khaled Alktefan                                              Contingent
         25748 Graceland Cir                                          Unliquidated
         Dearborn Heights, MI 48125                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Khaleel Hammoudeh                                            Contingent
         85 North Park Road, #1007                                    Unliquidated
         Vaughan ON L4J 0H9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.375
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Khalid Hamoudi                                               Contingent
         719 Cope Rd                                                  Unliquidated
         Red Springs, NC 28377-7464                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.05
         Khalid Khalil                                                Contingent
         3015 Rubino Circle                                           Unliquidated
         San Jose, CA 95125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Khalid Motte                                                 Contingent
         2629 N Gentry                                                Unliquidated
         Wichita, KS 67220                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Khalid Motte                                                 Contingent
         2629 N Gentry                                                Unliquidated
         Wichita, KS 67220                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 554 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 574 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.375
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Khalid Yaqoob                                                Contingent
         1110-53 Thorncliffe Park Dr                                  Unliquidated
         Toronto ON M4H1L1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.375
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Khalifa Alahmed
         Vpost Uk, Unit 9, Britannia Industrial E                     Contingent
         Suite Qc-2008-3794, Poyle Road, State Be                     Unliquidated
         Colnbrook ENG SL3 0BH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.375
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.00
         Khanum Arshad                                                Contingent
         157 Burgess Road                                             Unliquidated
         Southampton ENG SO16 7AA                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.375
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Khawaja Qais Siddiqi                                         Contingent
         3105 Cottage Clay Road                                       Unliquidated
         Mississauga ON L5B 4J4                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.375
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.25
         Khian Bartlett                                               Contingent
         2820 Sultana Ave.                                            Unliquidated
         Ontario, CA 91761                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Khoa Chau                                                    Contingent
         12219 West Morgan Drive                                      Unliquidated
         Houston, TX 77065                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 555 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 575 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.376
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.32
         Khoa Truong                                                  Contingent
         8439 Southeast 88th Avenue                                   Unliquidated
         Portland, OR 97266                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.62
         Ki Chang                                                     Contingent
         1106 South Ardmore Avenue                                    Unliquidated
         Apt 6                                                        Disputed
         Los Angeles, CA 90006
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.376
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.49
         Kibria Ahmed                                                 Contingent
         15 Booker Close                                              Unliquidated
         London ENG E14 7DP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.376
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Kieng Ngoy                                                   Contingent
         2410 New York Dr                                             Unliquidated
         Altadena, CA 91001-3616                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $941.22
         Kieran Breen
         7 Belvedere Lawn                                             Contingent
         Douglas                                                      Unliquidated
         Cork CO T12 V6RX                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.376
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.37
         Kieran Hearne                                                Contingent
         12 Goscomb Drive                                             Unliquidated
         Penarth WLS CF642LF                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 556 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 576 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.376
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.02
         Abdul Kikhia                                                 Contingent
         254 Chalet Ave                                               Unliquidated
         San Jose, CA 95127                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.64
         Kim Le                                                       Contingent
         1252 Brighton Street                                         Unliquidated
         Philadelphia, PA 19111                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.77
         Kim Perks                                                    Contingent
         15 Leake Street                                              Unliquidated
         Eaton WA 6232                                                Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.376
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.91
         Kim Roser                                                    Contingent
         2038 Baypointe Drive                                         Unliquidated
         Newport Beach, CA 92660                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Kim Van Nie                                                  Contingent
         Bommelsedijk 7                                               Unliquidated
         Den Bommel 3258LA                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.377
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,452.76
         John Kim                                                     Contingent
         5277 North Elston Ave                                        Unliquidated
         Chicago, IL 60630                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kimberly Peters                                              Contingent
         12233 NW 68th Court                                          Unliquidated
         Parkland, FL 33076                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 557 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 577 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.377
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.32
         Kimberly Schoene                                             Contingent
         1750 SW 88th                                                 Unliquidated
         Portland, OR 97205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.14
         Kimi Henley                                                  Contingent
         12748 Wood Duck Ln                                           Unliquidated
         Springdale, AR 72762                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $97.01
         Kimora Richards                                              Contingent
         154 Saint Lucie Drive                                        Unliquidated
         Toronto ON M9M 1T5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.377
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.20
         Kimora Richards                                              Contingent
         154 Saint Lucie Drive                                        Unliquidated
         Toronto ON M9M 1T5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.377
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Kingsley Amukamara                                           Contingent
         4844 West Rose Lane                                          Unliquidated
         Glendale, AZ 85301                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $38.75
         Kiran Chepyala                                               Contingent
         2 Dreamcrest Court                                           Unliquidated
         Whitby ON L1R 3P7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.377
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.23
         Kiran Dhakal                                                 Contingent
         3121 W 65th Ave                                              Unliquidated
         Denver, CO 80221                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 558 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 578 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.378
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.23
         Kiran Dhakal                                                 Contingent
         3121 W 65th Ave                                              Unliquidated
         Denver, CO 80221                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Kiran Shah                                                   Contingent
         6727 Southwest Wentley Lane                                  Unliquidated
         Topeka, KS 66614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Kirby George                                                 Contingent
         982 Normandy Court                                           Unliquidated
         Sherwood Park AB T8A 5X3                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.378
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,965.90
         Kiril Marinov                                                Contingent
         1 Gloucester Mews West                                       Unliquidated
         London ENG W26DY                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.378
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $996.95
         Kiril Marinov                                                Contingent
         1 Gloucester Mews West                                       Unliquidated
         London ENG W26DY                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.378
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,563.43
         Kirk Amundsen                                                Contingent
         14121 Willow Tank Drive                                      Unliquidated
         Austin, TX 78717                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.03
         Kirk Russell                                                 Contingent
         917 S Westnedge Ave                                          Unliquidated
         Kalamazoo, MI 49008                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 559 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 579 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.378
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Kirk Toma                                                    Contingent
         1750 Wili Pa Loop                                            Unliquidated
         Wailuku, HI 96793                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Kirk Warner                                                  Contingent
         203 South See-Gwun Avenue                                    Unliquidated
         Mount Prospect, IL 60056                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Kishen Patel                                                 Contingent
         8019 Wood Hollow Drive                                       Unliquidated
         Baytown, TX 77521                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Kishore Karunakaran                                          Contingent
         7 Winthrop St                                                Unliquidated
         Winchester, MA 01890                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Kjetil Hovland                                               Contingent
         Hamrehaugen 14                                               Unliquidated
         Laksevaag 5161                                               Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.379
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,360.55
         Klade Rodriguez                                              Contingent
         131 County Road 4047                                         Unliquidated
         Satin, TX 76685                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Klade Rodriguez                                              Contingent
         131 County Road 4047                                         Unliquidated
         Satin, TX 76685                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 560 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 580 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.379
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.63
         Klaus Korsch                                                 Contingent
         Kuhstrasse 15                                                Unliquidated
         Weeze 47652                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.379
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.16
         Kmel I Mikhaiel                                              Contingent
         31 Heaton Moor Rd                                            Unliquidated
         Stockport ENG SK4 4PB                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.379
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Anna Koch                                                    Contingent
         744S 231st Street                                            Unliquidated
         Des Moines, WA 98198                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Kodi Matthews                                                Contingent
         15 Savage St                                                 Unliquidated
         Edmonton QLD 4869                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.379
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Kole Foss                                                    Contingent
         1266 Cleveland Ave S                                         Unliquidated
         Saint Paul, MN 55116                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,385.79
         Konstantin Karadafov                                         Contingent
         Venjamin Macukovski 21, 1/2                                  Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.380
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $900.09
         Konstantinos Kyriazopoulos                                   Contingent
         Konstantinou Palaiologou                                     Unliquidated
         Athens - Glyfada 16561                                       Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 561 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 581 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.380
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.94
         Koray Ozaydemir
         Dr Remzi Kazancigil Cd Atakoy 3-4-11. Ki                     Contingent
         O-148 Blok                                                   Unliquidated
         Istanbul 34158                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.380
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,353.53
         Korekontrol Germany Gmbh                                     Contingent
         Linienstr. 127                                               Unliquidated
         Berlin 10115                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.380
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Dmytro Kosenko                                               Contingent
         2792 Fyler Pl                                                Unliquidated
         Los Angeles, CA 90065-5106                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,442.88
         Dmytro Kosenko                                               Contingent
         2792 Fyler Pl                                                Unliquidated
         Los Angeles, CA 90065                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Dmytro Kosenko                                               Contingent
         2792 Fyler Pl                                                Unliquidated
         Los Angeles, CA 90065-5106                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $770.16
         Kostadin Kostadinov                                          Contingent
         105 Pilton Avenue                                            Unliquidated
         Edinburgh SCT EH5 2HR                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 562 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 582 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.380
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Krenar Komoni                                                Contingent
         56 Roland Street                                             Unliquidated
         Boston, MA 02129                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,441.37
         Krikor Derbabian                                             Contingent
         1138 N. Brand Blvd                                           Unliquidated
         Suite A                                                      Disputed
         Glendale, CA 91202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.380
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Kris Hayward                                                 Contingent
         43 Cranbrook Green Southeast                                 Unliquidated
         Calgary AB T3M 2X1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.381
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Kris Knox                                                    Contingent
         7330 Woburn Cir Apt D                                        Unliquidated
         Anchorage, AK 99502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Kris Pauly                                                   Contingent
         3350 W Rd 2 S                                                Unliquidated
         Prescott, AZ 86305                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $940.52
         Krisli Dimo                                                  Contingent
         4432 N Ottawa Ave                                            Unliquidated
         Norridge, IL 60706                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.78
         Kristan Megeath                                              Contingent
         3867 W Tuscaloosa Way                                        Unliquidated
         West Jordan, UT 84084                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 563 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 583 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.381
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.59
         Kristen Scollon                                              Contingent
         207 Willowoak Ct                                             Unliquidated
         Warwick, PA 18974                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,099.50
         Kristian Arreguin                                            Contingent
         4828 Calle Brisa                                             Unliquidated
         Camarillo, CA 93012                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Kristian Martinovic                                          Contingent
         6331 W Valley View Road                                      Unliquidated
         Rogers, AR 72758                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $876.30
         Kristian Thornblad                                           Contingent
         Gullringsvagen 20                                            Unliquidated
         Savedalen 43362                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.381
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Kristin Babakitis                                            Contingent
         304 E Clearhaven Dr                                          Unliquidated
         Azusa, CA 91702                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.82
         Kristin Theyers                                              Contingent
         6 Halse Road                                                 Unliquidated
         Brackley ENG NN13 6EH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 564 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 584 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.382
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.50
         Kristine Mccutcheon
         10741                                                        Contingent
         Cabot Trail Hwy                                              Unliquidated
         Belle Cote NS B0E1C0                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.51
         Kristofer Soderlund                                          Contingent
         866 E 6th Street                                             Unliquidated
         Unit 3                                                       Disputed
         Boston, MA 02127
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.57
         Kristopher Nyquist                                           Contingent
         1410 N Humboldt St                                           Unliquidated
         Apt 2                                                        Disputed
         Denver, CO 80218-2326
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.93
         Kristopher Stuart                                            Contingent
         1056 Shadywood Lane                                          Unliquidated
         Raleigh, NC 27603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.07
         Kristyna Orthova
         1 Apriliou 54                                                Contingent
         Sunny House, Flat 102                                        Unliquidated
         Larnaka 6035                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Kumphawa Boonsirichai                                        Contingent
         20243 Blythe St.                                             Unliquidated
         Winnetka, CA 91306                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 565 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 585 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.382
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $772.90
         Kunal Pabla                                                  Contingent
         3877 Polton Place Way                                        Unliquidated
         San Jose, CA 95121                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Kurt Brandly                                                 Contingent
         400 SW 1st Ave, #802                                         Unliquidated
         Fort Lauderdale, FL 33301                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.74
         Kurt Fowler                                                  Contingent
         15138 Carter Loop SE                                         Unliquidated
         Yelm, WA 98597-8574                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.25
         Kurt Kiesow                                                  Contingent
         1115 Fairview Avenue                                         Unliquidated
         San Jose, CA 95125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Kurt Turley                                                  Contingent
         1525 Wilder Avenue                                           Unliquidated
         Apt 407                                                      Disputed
         Honolulu, HI 96822
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.383
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Kwok Fai Kwan                                                Contingent
         509 Pinawa Circle                                            Unliquidated
         Ottawa ON K2J 5Y2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.383
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Ky Luong                                                     Contingent
         4697 Berrywood Road                                          Unliquidated
         Virginia Beach, VA 23464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 566 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 586 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.383
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Ky Luong                                                     Contingent
         4697 Berrywood Road                                          Unliquidated
         Virginia Beach, VA 23464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,479.55
         Kyle Acheson                                                 Contingent
         7871 Alexandra Dr                                            Unliquidated
         Hudson, OH 44236                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Kyle Bobash                                                  Contingent
         11 Harwin Drive                                              Unliquidated
         East Brunswick, NJ 08816                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Kyle Edwards                                                 Contingent
         944 Aurora Ave                                               Unliquidated
         Girard, PA 16417                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Kyle Griffin                                                 Contingent
         2756 Liberty Rd                                              Unliquidated
         Norton Shores, MI 49441                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.94
         Kyle Higgenbotham                                            Contingent
         3738 South State Route 157                                   Unliquidated
         Apt B                                                        Disputed
         Glen Carbon, IL 62034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.383
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Kyle Hogge                                                   Contingent
         1749 Midway Rd                                               Unliquidated
         Stony Point, NC 28678                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 567 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 587 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.384
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Kyle Hulbert                                                 Contingent
         308 Lake Harris Drive                                        Unliquidated
         Lakeland, FL 33813                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.06
         Kyle Humphrey                                                Contingent
         5865 East Garrett Avenue                                     Unliquidated
         Fresno, CA 93727                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Kyle Kletz                                                   Contingent
         11732 Marigold Circle                                        Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Kyle Lindstrom                                               Contingent
         100 Cedarwood Drive                                          Unliquidated
         Galena, MD 21635                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kyle McBean                                                  Contingent
         173 Canfield Ave                                             Unliquidated
         Bridgeport, CT 06605                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $20.33
         Kyle Mientkiewicz                                            Contingent
         220 Arlington Street                                         Unliquidated
         Pittsburgh, PA 15209                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Kyle Miller                                                  Contingent
         2524 Doc Reeves Street                                       Unliquidated
         Austin, TX 78723                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 568 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 588 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.384
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Kyle Nagamine                                                Contingent
         45-206 Halemuku Place                                        Unliquidated
         Kaneohe, HI 96744                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,472.66
         Kyle Powell                                                  Contingent
         Flat 26, Fitzgerald Court, 2B Rodney Str                     Unliquidated
         London ENG N1 9FS                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.384
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Kyle Pratt                                                   Contingent
         15649 NW 14th Lane                                           Unliquidated
         Newberry, FL 32669                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.70
         Kyle Strohecker                                              Contingent
         5920 Hughes Rd.                                              Unliquidated
         Galena, OH 43021                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.23
         Kyongjae Kim                                                 Contingent
         34112 11th Ave Sw                                            Unliquidated
         Federal Way, WA 98023                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,003.01
         Kyriakos Giannoulakis                                        Contingent
         Mirmidonon 9                                                 Unliquidated
         Heraklion 713 04                                             Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.385
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         L Tadlock                                                    Contingent
         30911 Roanoak Woods Drive                                    Unliquidated
         Tomball, TX 77375                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 569 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 589 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.385
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,402.82
         Daniel La Salle                                              Contingent
         113 West G Street, #103                                      Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Lacretia Compton                                             Contingent
         1960 W Keating Ave, #528                                     Unliquidated
         Mesa, AZ 85202                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Ladarius Ray                                                 Contingent
         4710 Lotus Street                                            Unliquidated
         Houston, TX 77045                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.71
         Ladna Farah                                                  Contingent
         14915 SE 177th P, #22D                                       Unliquidated
         Renton, WA 98058                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,150.14
         Lahoussaine Habbadi                                          Contingent
         Carrer Nou D' Abril Numero 23 Puerta 2-1                     Unliquidated
         Barcelona B 8170                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.385
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Lai Chun Caleb Wong                                          Contingent
         10 Portland Heights, Dean Street                             Unliquidated
         Bristol ENG BS2 8RD                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Laila Morneault Gomes                                        Contingent
         204 Avenue Seigniory, #115                                   Unliquidated
         Pointe-Claire QC H9R 1K2                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 570 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 590 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.386
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Laine Houberg                                                Contingent
         Advanced Interiors Inc                                       Unliquidated
         507 S 1200 E                                                 Disputed
         Salt Lake City, UT 84102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,272.67
         Lakhvir Dosanjh                                              Contingent
         4375 North Golden State Blvd                                 Unliquidated
         Fresno, CA 93722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.386
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $773.94
         Lakshana Subbiyan                                            Contingent
         6014 Walnut Loop Road                                        Unliquidated
         Apt 5108                                                     Disputed
         Charlotte, NC 28277
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Lakshmi Kamala
         3125 Fifth Line West                                         Contingent
         Unit 43                                                      Unliquidated
         Mississauga ON L5L3S8                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.19
         Lakshmi Kanth Sunkara                                        Contingent
         12499 Folsom Blvd                                            Unliquidated
         Apt 200                                                      Disputed
         Rancho Cordova, CA 95742
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Lamar White                                                  Contingent
         5528 North 137th Avenue                                      Unliquidated
         Litchfield Park, AZ 85340                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 571 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 591 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.386
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.57
         Lana Willow                                                  Contingent
         4742 Bosun Way                                               Unliquidated
         Pender Island BC V0N 2M2                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.386
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Lance Brooks                                                 Contingent
         4242 S Dover                                                 Unliquidated
         Wichita, KS 67216                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.386
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Lance Jones                                                  Contingent
         400 S Cowal Dr                                               Unliquidated
         Spicewood, TX 78669                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Lance Miles                                                  Contingent
         22926 Banff Brook Way                                        Unliquidated
         Tomball, TX 77375                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,019.03
         Lance Munday                                                 Contingent
         1 Technology Court                                           Unliquidated
         Pullenvale QLD 4069                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.387
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.31
         Lance Tsukimura                                              Contingent
         3837 NW 24th Ave                                             Unliquidated
         Camas, WA 98607                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Lance Tsukimura                                              Contingent
         3837 NW 24th Ave                                             Unliquidated
         Camas, WA 98607                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 572 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 592 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.387
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Lance Wayne                                                  Contingent
         1820 SW 3rd Ave                                              Unliquidated
         Miami, FL 33129                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Landen Booth                                                 Contingent
         5872 Old Jacksonville Hwy #424                               Unliquidated
         Tyler, TX 75703                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Landon Gervais                                               Contingent
         6770 McIver Place                                            Unliquidated
         Kamloops BC V2C 5Z1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.387
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Landon Poague                                                Contingent
         505 West 100 South, #309                                     Unliquidated
         Salt Lake City, UT 84101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $58.12
         Landon Poague                                                Contingent
         505 West 100 South, #309                                     Unliquidated
         Salt Lake City, UT 84101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.88
         Landon Spicer                                                Contingent
         7521 Edinger Ave, #1406                                      Unliquidated
         Huntington Beach, CA 92647                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Lane Hashida                                                 Contingent
         3161 Ala Ilima St                                            Unliquidated
         Apt 206                                                      Disputed
         Honolulu, HI 96818-3009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 573 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 593 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.388
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $593.80
         Larincz Aron                                                 Contingent
         Frakno Utca 12/A                                             Unliquidated
         Budapest 1115                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.388
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Larry Armstrong                                              Contingent
         1002 South Christine Avenue                                  Unliquidated
         Wichita, KS 67218                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.14
         Larry Armstrong                                              Contingent
         1002 South Christine Avenue                                  Unliquidated
         Wichita, KS 67218                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.53
         Larry Graiber                                                Contingent
         16925 South Callie Drive                                     Unliquidated
         Plainfield, IL 60586                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Larry Maxey                                                  Contingent
         P.O. Box 174                                                 Unliquidated
         Hurley, NM 88043                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.74
         Larry Maxey                                                  Contingent
         P.O. Box 174                                                 Unliquidated
         Hurley, NM 88043                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Larry Sherry                                                 Contingent
         3417 Blue Ridge Blvd                                         Unliquidated
         Independence, MO 64052                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 574 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 594 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.388
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Larry Sherry                                                 Contingent
         3417 Blue Ridge Blvd                                         Unliquidated
         Independence, MO 64052                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,317.70
         Larry Tolbert                                                Contingent
         2446 Buffalo Gap Rd Apt 285                                  Unliquidated
         Abilene, TX 79603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $765.08
         Lars Eiben Ug
         Dorfstr. 1                                                   Contingent
         Tos Marketing & Event Ug                                     Unliquidated
         Kirchbarkau 24245                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Lars Plantzen                                                Contingent
         3 Southern Road                                              Unliquidated
         Basingstoke ENG RG21 3DX                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,138.72
         Laszlo Horvath                                               Contingent
         Hamzsabegi Ut 8                                              Unliquidated
         Budapest 1117                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,981.85
         Latchezar Guishin                                            Contingent
         9243 Susy Lane                                               Unliquidated
         Schiller Park, IL 60176                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 575 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 595 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.389
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.96
         Latesha Watson                                               Contingent
         438 West Clapier Street                                      Unliquidated
         Philadelphia, PA 19144                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,290.21
         Latifa Arrais                                                Contingent
         Ketzberger Strasse 80                                        Unliquidated
         Solingen 42653                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Latrinia Elliott                                             Contingent
         3101 N Hampton Dr 1214                                       Unliquidated
         Alexandria, VA 22302                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,125.18
         Laura Colban                                                 Contingent
         747 Armada Terrace                                           Unliquidated
         San Diego, CA 92106                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Laura Foster                                                 Contingent
         104 Sycamore Avenue                                          Unliquidated
         Egg Harbor Twp, NJ 08234                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,520.29
         Laura Gajewski                                               Contingent
         2826 Sand Run Parkway                                        Unliquidated
         Fairlawn, OH 44333                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.47
         Laura Irene Diaz Abundis                                     Contingent
         Loma Huentitlan 9154 Poniente                                Unliquidated
         Tonala JAL 45402                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 576 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 596 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.390
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,139.93
         Laura Jacobs                                                 Contingent
         Vaartsestraat 180                                            Unliquidated
         Utrecht 3511 TG                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.390
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.60
         Laura Jehlik                                                 Contingent
         9424 Sprague Street                                          Unliquidated
         Omaha, NE 68134                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Lauren Alexandru Valnoiu
         Ion Campineanu 33                                            Contingent
         Bl 3 Sc B Et 6 Ap 58 Sect 1 +40727191407                     Unliquidated
         Bucuresti B 10035                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.390
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $119.00
         Lauren Baugh                                                 Contingent
         4115 Southeast 92nd Avenue                                   Unliquidated
         Portland, OR 97266                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,323.87
         Lauren Baugh                                                 Contingent
         4115 Southeast 92nd Avenue                                   Unliquidated
         Portland, OR 97266                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Lauren Jones                                                 Contingent
         372 Saint Claire Dr                                          Unliquidated
         Edmond, OK 73025                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Lauren Jones                                                 Contingent
         372 Saint Claire Dr                                          Unliquidated
         Edmond, OK 73025                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 577 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 597 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.390
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Lauren Jones                                                 Contingent
         372 Saint Claire Dr                                          Unliquidated
         Edmond, OK 73025                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.99
         Lawrence Aqui                                                Contingent
         10 Lisa Street #903                                          Unliquidated
         Brampton ON L6T 4N4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.391
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,601.40
         Lawrence Boan                                                Contingent
         1366 40th Avenue                                             Unliquidated
         Vero Beach, FL 32960                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,804.83
         Lawrence Brady                                               Contingent
         21062 Crestview Dr.                                          Unliquidated
         Barrington, IL 60010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,063.77
         Lawrence Kennedy                                             Contingent
         4 Birdsnest Court                                            Unliquidated
         Mill Valley, CA 94941                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Angel Lazo                                                   Contingent
         3090 24th Street                                             Unliquidated
         San Francisco, CA 94110                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.36
         Le Tran                                                      Contingent
         140 Chestnut Street                                          Unliquidated
         Vacaville, CA 95688                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 578 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 598 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.391
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.33
         Leander Burgers                                              Contingent
         De Moesmate 183                                              Unliquidated
         Zutphen 7206 AN                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.391
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Leander Burgers                                              Contingent
         De Moesmate 183                                              Unliquidated
         Zutphen 7206 AN                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.391
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.64
         Leandro Emanuel Lopez                                        Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Arg1158458                                                   Disputed
         Miami, FL 33166
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.391
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Leandro Garcia                                               Contingent
         11010 Taft St                                                Unliquidated
         Pembroke Pines, FL 33026                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.91
         Leann McGovern                                               Contingent
         2514 Truman Ave                                              Unliquidated
         Oakland, CA 94605                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.74
         Leann McGovern                                               Contingent
         2514 Truman Ave                                              Unliquidated
         Oakland, CA 94605                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Lee Horgan                                                   Contingent
         3-912 Dugas Street                                           Unliquidated
         Winnipeg MB R2J 0Z8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 579 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 599 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.392
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.59
         Lee Horgan                                                   Contingent
         3-912 Dugas Street                                           Unliquidated
         Winnipeg MB R2J 0Z8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.392
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,218.62
         Lee Kleiner                                                  Contingent
         5700 Yonge Street                                            Unliquidated
         Toronto ON M2M 4K2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.392
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Lee Pauling                                                  Contingent
         219 San Jacinto Ct.                                          Unliquidated
         Keller, TX 76248-2517                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,570.11
         Anderson Lee                                                 Contingent
         1403 Mason Street                                            Unliquidated
         San Francisco, CA 94133                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Jin S Lee                                                    Contingent
         370 Northwood Way                                            Unliquidated
         1B                                                           Disputed
         Palisades Park, NJ 07650
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.392
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.78
         Sam Lee                                                      Contingent
         5540 Sylmar Avenue                                           Unliquidated
         Unit 6                                                       Disputed
         Los Angeles, CA 91401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.392
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Leeor Shapira                                                Contingent
         209 East Grant Ave                                           Unliquidated
         Roselle Park, NJ 07204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 580 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 600 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.392
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Leeor Shapira                                                Contingent
         209 East Grant Ave                                           Unliquidated
         Roselle Park, NJ 07204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.74
         Lefteris Sigalas                                             Contingent
         L. Vouliagmenis 506                                          Unliquidated
         Alimos 17456                                                 Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.393
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $470.17
         Lehong Hu                                                    Contingent
         2516 Somerset Drive                                          Unliquidated
         Belmont, CA 94002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.73
         Lei Gu                                                       Contingent
         3275 Coral Lane                                              Unliquidated
         Chicago, IL 60026                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Leif Graves                                                  Contingent
         70518 F Street                                               Unliquidated
         Covington, LA 70433                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Lekey Mullen                                                 Contingent
         2201 Muriel Dr                                               Unliquidated
         Apt 48                                                       Disputed
         Barstow, CA 92311
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 581 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 601 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.393
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.27
         Leliet Duschkin-Martin
         Bahia Chemuyil                                               Contingent
         Villas Villamar#8                                            Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.393
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Lenin Morillo                                                Contingent
         124 Gale Dr                                                  Unliquidated
         Wilmington, DE 19808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.40
         Leon Mirochnik                                               Contingent
         1541 Ocean Avenue, #200                                      Unliquidated
         Santa Monica, CA 90401                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.393
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.77
         Leonard Korch                                                Contingent
         28 Joyce St                                                  Unliquidated
         Basement                                                     Disputed
         Webster, MA 01570
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.393
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $93.00
         Leonard Owen                                                 Contingent
         19120 59th St E                                              Unliquidated
         Lake Tapps, WA 98391                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Leonardo Astete                                              Contingent
         7831 NW 104th Ave                                            Unliquidated
         Apt 22                                                       Disputed
         Doral, FL 33178
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 582 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 602 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.394
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.21
         Leonardo Dalessandro                                         Contingent
         Via Cesare Battisti 26                                       Unliquidated
         San Donato Milanese MI 20097                                 Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.394
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Leonardo Oliveira                                            Contingent
         7 Defort Ct                                                  Unliquidated
         Parlin, NJ 08859                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Leonid Shtivelman                                            Contingent
         1325 Utica Avenue                                            Unliquidated
         Brooklyn, NY 11203                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.69
         Anthony Lerette                                              Contingent
         2101 North Ursula Street                                     Unliquidated
         Aurora, CO 80045                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,067.33
         Leroy Marshall                                               Contingent
         16 Castleglen Place Northeast                                Unliquidated
         Calgary AB T3J 1Y5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.394
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Leslie Kaholoaa                                              Contingent
         85 Pilipaa Street                                            Unliquidated
         Hilo, HI 96720                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Lestryet Samuels                                             Contingent
         6625 Horsemans Circle                                        Unliquidated
         Mobile, AL 36695                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 583 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 603 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.394
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Leta Phetbounthavong                                         Contingent
         40049 North High Noon Way                                    Unliquidated
         Anthem, AZ 85086                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $638.77
         Lewis Farrell                                                Contingent
         4835 S. Memory Lane                                          Unliquidated
         Apartment 6                                                  Disputed
         Holladay, UT 84117
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.395
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.64
         Lewis Sayre                                                  Contingent
         P.O. Box 3110                                                Unliquidated
         Salem, OR 97302                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.51
         Liam Mohr                                                    Contingent
         103 Paulin Bay                                               Unliquidated
         Fort McMurray AB T9K 0A9                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.395
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,381.94
         Lian Pangelinan                                              Contingent
         34428 Yucaipa Blvd Ste E251                                  Unliquidated
         Yucaipa, CA 92399                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.08
         Ligaya Vosberg                                               Contingent
         6701 Del Rey Avenue                                          Unliquidated
         Apt 224 (Bldg 4)                                             Disputed
         Las Vegas, NV 89146
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.395
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Liju John                                                    Contingent
         9 Regent Street,                                             Unliquidated
         Apt 301                                                      Disputed
         Jersey City, NJ 07302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 584 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 604 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.395
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.19
         Lillian Shepherd                                             Contingent
         997 S 900 E                                                  Unliquidated
         Salem, UT 84653                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Lin Nay                                                      Contingent
         1390 Southgate Avenue                                        Unliquidated
         Daly City, CA 94015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Lin Nay                                                      Contingent
         1390 Southgate Avenue                                        Unliquidated
         Daly City, CA 94015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Lin Nay                                                      Contingent
         1390 Southgate Avenue                                        Unliquidated
         Daly City, CA 94015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Linas Venckus                                                Contingent
         1575 East Mountain Street                                    Unliquidated
         Pasadena, CA 91104                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Linda Leblanc                                                Contingent
         45 Church Street                                             Unliquidated
         Hamilton ON L8E 2X7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.396
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.96
         Lino Munoz                                                   Contingent
         2037 W Bullard Ave #203                                      Unliquidated
         Fresno, CA 93722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 585 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 605 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.396
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Lion Rojo                                                    Contingent
         18 Waterview Place                                           Unliquidated
         Keansburg, NJ 07734                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.61
         Lisa Maiella                                                 Contingent
         620 Hammond Street                                           Unliquidated
         Brookline, MA 02467                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $662.73
         Lisa McDermed                                                Contingent
         723 W 12th Street                                            Unliquidated
         Alliance, NE 69301                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Lisa Nowlan                                                  Contingent
         175 Redpath Drive                                            Unliquidated
         Ottawa ON K2G 6K5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.396
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,560.98
         Lisa Schwab                                                  Contingent
         725 S 14th Ave                                               Unliquidated
         Brighton, CO 80601-3374                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.81
         Lisa Schwab                                                  Contingent
         725 S. 14th Ave                                              Unliquidated
         Brighton, CO 80601                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Lissette Rosell                                              Contingent
         55 West Street                                               Unliquidated
         Chicopee, MA 01013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 586 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 606 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.396
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,623.40
         Liviu Bogdan Mihai
         Strada Lectorului Nr.3                                       Contingent
         Bloc A, Etaj 3, Ap.7                                         Unliquidated
         Bucuresti B 12688                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.397
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,253.62
         Ljiljana Stepic                                              Contingent
         639 McPhillips Road                                          Unliquidated
         Lockport MB R1A3H4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.397
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Loc Le                                                       Contingent
         445 Veterans Memorial Blvd                                   Unliquidated
         Suite 3                                                      Disputed
         Kenner, LA 70062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.397
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Logan Rittenhouse                                            Contingent
         3486 Laurel Lane                                             Unliquidated
         Center Valley, PA 18034                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Lon Teague                                                   Contingent
         5757 Campanella Pl                                           Unliquidated
         Rancho Cucamonga, CA 91739                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,400.21
         Long La                                                      Contingent
         10 Ibis Grove                                                Unliquidated
         Cairnlea VIC 3023                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 587 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 607 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.397
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Long Truong                                                  Contingent
         6909 Westside Place                                          Unliquidated
         Sachse, TX 75048                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Lonna Bartley                                                Contingent
         8501 North Macarthur Blvd, #631444                           Unliquidated
         Irving, TX 75063                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Lonnie Gorby                                                 Contingent
         4727 Landing Water Path                                      Unliquidated
         Buford, GA 30519                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Lonnie Woodard                                               Contingent
         4216 Hamilton Mill Rd                                        Unliquidated
         Buford, GA 30519                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $85.00
         Roberto Lopes Jr.                                            Contingent
         15 Boulden Circle                                            Unliquidated
         Ff519-199 Fishisfast                                         Disputed
         New Castle, DE 19720-3400
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $90.01
         Alex Lopez                                                   Contingent
         16857 Park Rock Dr                                           Unliquidated
         La Puente, CA 91744                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.398
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Avery Lopez                                                  Contingent
         259 West 18th Street                                         Unliquidated
         Holland, MI 49423                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 588 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 608 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.398
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Lorance Shabo                                                Contingent
         6124 Thorndike Court                                         Unliquidated
         Las Vegas, NV 89130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.398
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,618.25
         Lorenz Engels                                                Contingent
         Luxemburger Strasse 376                                      Unliquidated
         Cologne 50937                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Lorenzo Contis                                               Contingent
         7550 Johnson Street                                          Unliquidated
         Hollywood, FL 33024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.398
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $581.87
         Lorenzo Frisoni                                              Contingent
         Via Cesare Corte 25C/6                                       Unliquidated
         Genova GE 16122                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,390.26
         Lorenzo Penati                                               Contingent
         73 Elm Park Mansions                                         Unliquidated
         London ENG SW100AP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,112.41
         Lorenzo Tuccari                                              Contingent
         67 St. Paul'S Close                                          Unliquidated
         London ENG W5 3JX                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Clifton Lott Jr                                              Contingent
         2525 3rd Avenue South                                        Unliquidated
         Apt #110                                                     Disputed
         Minneapolis, MN 55404
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 589 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 609 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.398
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,206.23
         Louai Youssef                                                Contingent
         1895 Monrovia Avenue                                         Unliquidated
         Costa Mesa, CA 92627                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.99
         Louie Hill
         28 Hare Street                                               Contingent
         Ilam                                                         Unliquidated
         Christchurch CAN 8041                                        Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.399
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.03
         Louis Baltimore                                              Contingent
         1475 S Fillmore St                                           Unliquidated
         Denver, CO 80210                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,215.00
         Louis Castet Bellocq                                         Contingent
         74 Avenue Du Marechal Douglas Haig                           Unliquidated
         Versailles 78000                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.399
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.40
         Louis Desjardins                                             Contingent
         2978 Charella Drive                                          Unliquidated
         Prince George BC V2N 5K9                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.399
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,037.02
         Louis Huntley                                                Contingent
         318 Ponte Vedra Blvd                                         Unliquidated
         Ponte Vedra, FL 32082-2057                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 590 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 610 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.399
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,283.12
         Louis Jasperson                                              Contingent
         488 South 500 West                                           Unliquidated
         Provo, UT 84601                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,729.52
         Louis Schlain                                                Contingent
         2110 Marina Shores Drive, #414                               Unliquidated
         Virginia Beach, VA 23451                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,055.76
         Louis Silverstein                                            Contingent
         23858 Harbor Vista Dr                                        Unliquidated
         Malibu, CA 90265-4819                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $882.01
         Louis Spencer                                                Contingent
         2434 Warring St                                              Unliquidated
         Berkeley, CA 94704                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,213.48
         Louis Thomas                                                 Contingent
         6008 Hasbrook Ave                                            Unliquidated
         Philadelphia, PA 19111                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.400
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.16
         Louis Wilks-Reeves                                           Contingent
         4 Glebelands Close                                           Unliquidated
         Shoreham-By-Sea ENG BN436GW                                  Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.400
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.52
         Lovel Miguel                                                 Contingent
         6102 Hubbell Dr                                              Unliquidated
         Pearland, TX 77584                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 591 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 611 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.400
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.53
         Bruce Lu                                                     Contingent
         55 Bayard St., #7                                            Unliquidated
         New York, NY 10013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.400
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Luan Nguyen                                                  Contingent
         1132 Garber Place                                            Unliquidated
         San Jose, CA 95127                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.400
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.29
         Luba Garet Selezneva-Konova                                  Contingent
         Pereulok Dostoevskogo 1                                      Unliquidated
         Odessa 65016                                                 Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.400
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.66
         Luba Ltd
         1108 Marco Island                                            Contingent
         Huntingdon Street                                            Unliquidated
         Nottingham ENG NG1 1AW                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.400
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.20
         Luc Van Zeebroeck                                            Contingent
         Kasteelstraat 78                                             Unliquidated
         Buggenhout 9255                                              Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.400
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.07
         Luca Pagani                                                  Contingent
         Kehlhofstrasse 11                                            Unliquidated
         Wiesendangen 8542                                            Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 592 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 612 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.400
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.74
         Lucas Cimiano                                                Contingent
         740 Sherman St.                                              Unliquidated
         Apt 101                                                      Disputed
         Denver, CO 80203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.400
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.53
         Lucas Polski                                                 Contingent
         180 Neptune Ave, Apt 2                                       Unliquidated
         Apt 2                                                        Disputed
         Jersey City, NJ 07305
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.401
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Lucas Worthy                                                 Contingent
         620 Skyline Drive South                                      Unliquidated
         Lewisburg, TN 37091                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Andrew Lucas                                                 Contingent
         2143 Bethel Blvd                                             Unliquidated
         Boca Raton, FL 33486                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Lucia Ibanez                                                 Contingent
         817 SE 14th Court                                            Unliquidated
         Fort Lauderdale, FL 33316                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,097.64
         Luciano Tolfo
         Vallejos 4105                                                Contingent
         4B                                                           Unliquidated
         Buenos Aires C 1419                                          Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 593 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 613 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.401
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Ludwin Escamilla                                             Contingent
         405 West Foothill Blvd #201                                  Unliquidated
         Claremont, CA 91711                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Jose Lugo Garcia                                             Contingent
         20583 SW 119th Place                                         Unliquidated
         Miami, FL 33177                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $84.13
         Luice Yau
         Pretoriastraat 44                                            Contingent
         Level 2                                                      Unliquidated
         Berchem 2600                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.401
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Luis Alonso                                                  Contingent
         11885 SW 18th Ter., #60                                      Unliquidated
         Miami, FL 33175                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $454.22
         Luis Angel Yepez Isleo                                       Contingent
         Tulipanes #92 Fraccionamiento Flores Del                     Unliquidated
         Veracruz VER 91948                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.401
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $454.16
         Luis Angel Yepez Isleo                                       Contingent
         Tulipanes #92 Fraccionamiento Flores Del                     Unliquidated
         Veracruz VER 91948                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 594 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 614 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.402
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Luis Colorado                                                Contingent
         129 West Avenue                                              Unliquidated
         Stamford, CT 06902                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.402
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Luis Cordeiro                                                Contingent
         Avenue De Severy 16                                          Unliquidated
         Lausanne 1004                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $454.22
         Luis Du Solier
         Cda De Veracruz 111 Dept 308                                 Contingent
         Jesus Del Monte, Huixquilucan, Edo De Me                     Unliquidated
         Mexico MEX 52764                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Luis Fernando Da Cunha                                       Contingent
         24 Thompson Court - Ste 7123                                 Unliquidated
         Ste 7123                                                     Disputed
         Enfield, CT 06082
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Luis Flores-Caban                                            Contingent
         B5 Calle Tabonuco Suite 216                                  Unliquidated
         PMB 251                                                      Disputed
         Guaynabo, PR 00968
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.22
         Luis Gonzales                                                Contingent
         1702 8th St                                                  Unliquidated
         San Fernando, CA 91340                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 595 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 615 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.402
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Luis Julian Sigcha                                           Contingent
         4866 South Semoran Blvd                                      Unliquidated
         #1808                                                        Disputed
         Orlando, FL 32822
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Luis Mercado                                                 Contingent
         3124 Arnow Place                                             Unliquidated
         Apt Bsm                                                      Disputed
         Bronx, NY 10461
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.402
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Luis Ortiz-Herrera                                           Contingent
         106 Lyon St                                                  Unliquidated
         Mercedes, TX 78570                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.402
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,632.40
         Luis Reyes                                                   Contingent
         3611 King Street                                             Unliquidated
         La Mesa, CA 91941                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.403
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Luis Smith                                                   Contingent
         11201 Grander Dr                                             Unliquidated
         Windermere, FL 34786                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.403
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $977.95
         Luis Tappi                                                   Contingent
         2250 Northwest 114th Avenue                                  Unliquidated
         Ccs 86290 Unit 1C                                            Disputed
         Miami, FL 33192
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.52
         Luis Toledo                                                  Contingent
         1900 Chapman Avenue                                          Unliquidated
         Apt 416                                                      Disputed
         Rockville, MD 20852
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 596 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 616 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.403
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,407.85
         Luis Vieira
         Campo Grande                                                 Contingent
         10 - 6C                                                      Unliquidated
         Lisboa PT-11 1700-092                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.36
         Lukaa Klein                                                  Contingent
         Vysehradska 11                                               Unliquidated
         Petrzalka 851 06                                             Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $568.59
         Lukas Hafner                                                 Contingent
         Engerthstrasse 228/29                                        Unliquidated
         Wien 1020                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $953.49
         Lukas Hermansen                                              Contingent
         Aldrupvej 87                                                 Unliquidated
         Fjerritslev 9690                                             Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.403
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Lukas Kruczkowski                                            Contingent
         P.O. Box 861325                                              Unliquidated
         Wahiawa, HI 96786                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.403
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $858.07
         Lukas Sparer                                                 Contingent
         Josefstrasse, 33C                                            Unliquidated
         St. Polten 3100                                              Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 597 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 617 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.403
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $45.00
         Lukas Zahurancik                                             Contingent
         Domkarsky Rad 8                                              Unliquidated
         Piestany 921 01                                              Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.01
         Luke Boustead
         3 Dunleary Court                                             Contingent
         Westcote Road                                                Unliquidated
         Reading ENG RG30 2DJ                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.12
         Luke Frazier                                                 Contingent
         1139 E 50 S                                                  Unliquidated
         Orem, UT 84097                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.404
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.14
         Luke Monterola                                               Contingent
         15306 Chahtah Ct                                             Unliquidated
         Orlando, FL 32828                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.404
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Luke Stribling                                               Contingent
         925 8th St. Nw                                               Unliquidated
         Albuquerque, NM 87102                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.404
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Luke Summerville                                             Contingent
         3855 Nobel Drive, #2126                                      Unliquidated
         San Diego, CA 92122                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 598 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 618 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.404
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Luke Van Der Meij                                            Contingent
         Gretha Hofstralaan 89                                        Unliquidated
         Vlaardingen 3136LS                                           Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,435.18
         Luke Van Der Meij                                            Contingent
         Gretha Hofstralaan 89                                        Unliquidated
         Vlaardingen 3136LS                                           Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $644.46
         Luther Freeman                                               Contingent
         2001 Empire Court                                            Unliquidated
         Unit 8                                                       Disputed
         Grand Forks, ND 58201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $70.33
         Luther Freeman                                               Contingent
         2001 Empire Court                                            Unliquidated
         Unit 8                                                       Disputed
         Grand Forks, ND 58201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.404
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $138.39
         Luuk Kicken                                                  Contingent
         10 Bloemfonteinstraat                                        Unliquidated
         Eindhoven 5642 EG                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,449.59
         Luz Londono                                                  Contingent
         732 North Harrisburg Avenue                                  Unliquidated
         2nd Floor                                                    Disputed
         Atlantic City, NJ 08401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.05
         Lylburn Ollie                                                Contingent
         9516 Wandering Way                                           Unliquidated
         Columbia, MD 21045                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 599 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 619 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.405
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.77
         Lynda Micic                                                  Contingent
         15 Ragamuffin Point                                          Unliquidated
         Safety Beach VIC 3936                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.29
         Lynda Micic                                                  Contingent
         15 Ragamuffin Point                                          Unliquidated
         Safety Beach VIC 3936                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,455.69
         Lyndon Liu                                                   Contingent
         1932 Irving Street                                           Unliquidated
         #30                                                          Disputed
         San Francisco, CA 94122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Lynette Pohio                                                Contingent
         152 St Andrews Rd                                            Unliquidated
         Havelock North HKB 4130                                      Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Lynn Gee                                                     Contingent
         400 Spear St                                                 Unliquidated
         #210                                                         Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.405
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Lynn Risley                                                  Contingent
         4046 North Askew Avenue                                      Unliquidated
         Kansas City, MO 64117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 600 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 620 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.405
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Lyric Williams                                               Contingent
         8422 East Hawthorne Street                                   Unliquidated
         Tucson, AZ 85710                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.405
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.77
         Lyss Murphey                                                 Contingent
         17242 Santiago Canyon Rd                                     Unliquidated
         Silverado, CA 92676                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.77
         Lyss Murphey                                                 Contingent
         17242 Santiago Canyon Rd                                     Unliquidated
         Silverado, CA 92676                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.01
         M Riyaz Ismail                                               Contingent
         3515 Whitman Court                                           Unliquidated
         Thousand Oaks, CA 91360                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.01
         M Riyaz Ismail                                               Contingent
         3515 Whitman Court                                           Unliquidated
         Thousand Oaks, CA 91360                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.11
         Maath Alchemali                                              Contingent
         Kaiserstrasse 1A                                             Unliquidated
         Schwelm 58332                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.406
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.50
         Mael Perret
         Chemin De La Tour-De-Champel 4                               Contingent
         E_Nno                                                        Unliquidated
         Geneve 1206                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 601 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 621 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.406
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Maged Ishak                                                  Contingent
         7 Killadoon Court                                            Unliquidated
         Lutherville-Timonium, MD 21093                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.15
         Maghadevane Segarane
         152 Route Doberhausbergen                                    Contingent
         Residence Saint Antoine                                      Unliquidated
         Strasbourg 67200                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.406
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $878.16
         Magnus Gabrielli                                             Contingent
         Amsbergsvagen 16                                             Unliquidated
         Borl Nge 78468                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.406
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.63
         Magnus Olsson                                                Contingent
         6 Heath Mead                                                 Unliquidated
         London ENG SW19 5JP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.406
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $575.98
         Magnuss Erins                                                Contingent
         Barona 106K2, #18                                            Unliquidated
         Riga LV-1001                                                 Disputed
         LATVIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.407
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $826.93
         Maha Alzarooni
         Lumis Student Living, Capital Quarter, T                     Contingent
         North Block, Room N515                                       Unliquidated
         Cardiff WLS CF10 4BZ                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 602 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 622 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.407
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Maha Mansour                                                 Contingent
         3303 Don Mills Road #2801                                    Unliquidated
         North York ON M2J4T6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.407
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $940.78
         Mahdi Kozbari                                                Contingent
         Kapellenackerstrasse 16                                      Unliquidated
         Munich 80992                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.407
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.54
         Maida                                                        Contingent
         10668 Zelzah Avenue                                          Unliquidated
         Los Angeles, CA 91344                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Maiwand Nawid                                                Contingent
         2718 S. Uhle Street                                          Unliquidated
         Arlington, VA 22206                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Majed Awad                                                   Contingent
         4071 Northern Spruce Dr.                                     Unliquidated
         Spring, TX 77386                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.60
         Majed Yohanna
         Sigden 8                                                     Contingent
         More Og Romsdal                                              Unliquidated
         Kristiansund 6518                                            Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 603 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 623 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.407
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Majed Zaid                                                   Contingent
         6714 Miller Shadow Lane                                      Unliquidated
         Missouri City, TX 77479                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Majid Malang                                                 Contingent
         426 Bluebird Ln                                              Unliquidated
         Woodbury, MN 55125                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.66
         Maksym Zymin                                                 Contingent
         91-1001 Keaunui Drive Unit 377                               Unliquidated
         Ewa Beach, HI 96706                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.408
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Malachi Mickelonis                                           Contingent
         2760 Associated Road                                         Unliquidated
         Apt D14                                                      Disputed
         Fullerton, CA 92835
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Malav Shah                                                   Contingent
         5200 Iron Horse Pkwy                                         Unliquidated
         Apt 323                                                      Disputed
         Dublin, CA 94568
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $95.00
         Malcolm Harnden                                              Contingent
         99 Great Brays                                               Unliquidated
         Harlow ENG CM18 6DP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.83
         Malcolm Harnden                                              Contingent
         99 Great Brays                                               Unliquidated
         Harlow ENG CM18 6DP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 604 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 624 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.408
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,362.77
         Malkuth Frahm                                                Contingent
         4340 Kingswell Avenue                                        Unliquidated
         Los Angeles, CA 90027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.408
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Malvia Scott                                                 Contingent
         6947 Long Pine Circle                                        Unliquidated
         Coconut Creek, FL 33073                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.408
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,388.09
         Mandy Sauler-Milbourne                                       Contingent
         121 John Robert Thomas Drive                                 Unliquidated
         Exton, PA 19341                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.408
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.10
         Mangoldt Thomas                                              Contingent
         Karl Marx Allee 106                                          Unliquidated
         Berlin 10243                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Manh Vu                                                      Contingent
         3737 Peach Blossom Road                                      Unliquidated
         Fort Worth, TX 76244                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.408
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.75
         Manil Men                                                    Contingent
         14806 NE 80th Cir                                            Unliquidated
         Vancouver, WA 98682-3465                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Manjeet Singh                                                Contingent
         3634 Green Marsh Cres                                        Unliquidated
         Regina SK S4V3H4                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 605 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 625 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.409
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Manjot Singh                                                 Contingent
         20814 Chester Street                                         Unliquidated
         Castro Valley, CA 94546                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $643.43
         Manjunath Kapu                                               Contingent
         16801 North 49th Street                                      Unliquidated
         Scottsdale, AZ 85254                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.29
         Mankin Lam                                                   Contingent
         302 Azalea Ct                                                Unliquidated
         Greenville, SC 29615                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $787.64
         Naga Manohar Madduri                                         Contingent
         11446 Antler Dr                                              Unliquidated
         Columbia Station, OH 44028                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Manoj Kumar Chauhan                                          Contingent
         1425 Afton Way                                               Unliquidated
         Fort Mill, SC 29708                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.66
         Manoj Patel                                                  Contingent
         61 Charbay Drive                                             Unliquidated
         Collegeviile, PA 19426                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Mantas Kudrinas                                              Contingent
         3370 NE 190 St                                               Unliquidated
         Apt 714                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 606 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 626 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.409
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Manthan Raval                                                Contingent
         3 Candlewood Drive, #411                                     Unliquidated
         Guelph ON N1K 0E1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.409
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.58
         Manu Arora
         213-215 William Street                                       Contingent
         Unit 4                                                       Unliquidated
         Granville NSW 2142                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.410
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Manuel Garza                                                 Contingent
         1437 N Bibb Ave                                              Unliquidated
         Eagle Pass, TX 78852                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,073.17
         Manuel Graf                                                  Contingent
         Hinterdorfstrasse 4B                                         Unliquidated
         Pfungen 8422                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.410
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.46
         Manuel Latorre                                               Contingent
         198 Kensington Road                                          Unliquidated
         Marryatville SA 5068                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.410
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.15
         Manuel Martin Cinta
         Rocio 199                                                    Contingent
         Pedregal                                                     Unliquidated
         Mexico City DF 1900                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 607 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 627 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.410
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.22
         Manuel Martin Cinta
         Rocio 199                                                    Contingent
         Pedregal                                                     Unliquidated
         Mexico City DF 1900                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.410
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Manuel Martins                                               Contingent
         14 E Chrystal St                                             Unliquidated
         Dover, NJ 07801                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         Manuel Rappard                                               Contingent
         6465 Blewett Avenue                                          Unliquidated
         Los Angeles, CA 91406                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,639.83
         Manvir Dhillon                                               Contingent
         15081 90A Ave                                                Unliquidated
         Surrey BC V3R 6Y6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.410
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Alex Manzano                                                 Contingent
         6201 Alverton Dr                                             Unliquidated
         Carlsbad, CA 92009                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,031.30
         Maor Kirsner
         28/34 Bay St                                                 Contingent
         Town House                                                   Unliquidated
         Botany, Sydney NSW 2030                                      Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 608 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 628 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.411
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         Marat Dreicer                                                Contingent
         16456 Royal Hills Dr                                         Unliquidated
         Encino, CA 91436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Marc Adam                                                    Contingent
         1111 East Sunrise Blvd                                       Unliquidated
         Fort Lauderdale, FL 33304                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Marc Andre Raymond                                           Contingent
         345 Avenue Leo-Lacombe                                       Unliquidated
         Laval QC H7N 3Y5                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.411
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Marc Andre Raymond                                           Contingent
         345 Avenue Leo-Lacombe                                       Unliquidated
         Laval QC H7N 3Y5                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.411
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $889.51
         Marc Benkendorf                                              Contingent
         Maerckerstrasse 5                                            Unliquidated
         Brandenburg An Der Havel 14776                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.411
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,273.14
         Marc Conran                                                  Contingent
         1237 N 31st Street                                           Unliquidated
         Philadelphia, PA 19121                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.14
         Marc Cottini                                                 Contingent
         P.O. Box 210863                                              Unliquidated
         Anchorage, AK 99521                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 609 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 629 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.411
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.53
         Marc E Andrews                                               Contingent
         236 SE 46th Drive                                            Unliquidated
         Gresham, OR 97080                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.53
         Marc E Andrews                                               Contingent
         236 SE 46th Drive                                            Unliquidated
         Gresham, OR 97080                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.19
         Marc Guillem Ballester                                       Contingent
         Carrer De Clementina Arderiu 5 1 3                           Unliquidated
         Sant Quirze Del Vall S B 8192                                Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Marc Gwisdek                                                 Contingent
         3092 Palmer Drive                                            Unliquidated
         Burlington ON L7M 1S9                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.87
         Marc Husslein                                                Contingent
         Bachmannweg 33                                               Unliquidated
         Zurich 8046                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Marc Krause                                                  Contingent
         Goldammerweg 1                                               Unliquidated
         Koln 50858                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Marc Martucci                                                Contingent
         1117 NE 13th Ave                                             Unliquidated
         Fort Lauderdale, FL 33304                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 610 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 630 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.412
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.45
         Marc Matt                                                    Contingent
         Ohkampring 19                                                Unliquidated
         Hamburg 22339                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.83
         Marc Meerkamper                                              Contingent
         Dorfstrasse 34                                               Unliquidated
         Vilters 7324                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,729.52
         Marc Romkey                                                  Contingent
         5630 Ogilvie Street                                          Unliquidated
         Halifax NS B3H1C1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Marc Singh                                                   Contingent
         4 Ladywood Court                                             Unliquidated
         Brampton ON L6Z 4T9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.412
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Marc Smollin                                                 Contingent
         8901 White Oak Avenue                                        Unliquidated
         Northridge, CA 91325                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.412
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,438.12
         Marcco Ware                                                  Contingent
         300 E Hillcrest Blvd. #1353                                  Unliquidated
         Inglewood, CA 90308                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.413
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Marcel Allen                                                 Contingent
         620 Elgin Avenue                                             Unliquidated
         Forest Park, IL 60130                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 611 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 631 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.413
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.86
         Marcel Scheuber
         Baarerstrasse 115                                            Contingent
         Systray Gmbh                                                 Unliquidated
         Zug 6300                                                     Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Marcel Schneider                                             Contingent
         Alte Strasse, 4                                              Unliquidated
         Bad Schussenried 88427                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Marcelin Kamdoum                                             Contingent
         8515 South Interstate 35 Frontage Road                       Unliquidated
         Apt 1208                                                     Disputed
         Austin, TX 78744
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.11
         Marcin Muszynski                                             Contingent
         8 Bushey Grove Road                                          Unliquidated
         Bushey ENG WD23 2JQ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Marckus Elestin                                              Contingent
         3350 Jackson Blvd                                            Unliquidated
         Fort Lauderdale, FL 33312                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.413
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $487.86
         Marco Barnett                                                Contingent
         Sedelvagen 2 A                                               Unliquidated
         Hagersten 12932                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 612 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 632 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.413
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.48
         Marco Berardi                                                Contingent
         Waidlistrasse 6                                              Unliquidated
         Horgen 8810                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,655.31
         Marco Draijer                                                Contingent
         Haarlemmerstraatweg 95                                       Unliquidated
         Halfweg 1165 MK                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.413
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Marco Houde                                                  Contingent
         1818 Chemin Filteau                                          Unliquidated
         Saint-Nicolas QC G7A2C2                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $786.05
         Marco Minwegen                                               Contingent
         Meterstrasse 8                                               Unliquidated
         Hannover 30169                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.08
         Marco Pilloud                                                Contingent
         Via Da Scola 20                                              Unliquidated
         Disentis/Muster 7180                                         Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $952.96
         Marco Robutti                                                Contingent
         Via San Rocco 36                                             Unliquidated
         Villamagna CH 66010                                          Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 613 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 633 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.414
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,353.69
         Marcolino Nafafe
         801 Baltic Quay                                              Contingent
         Sweden Gate                                                  Unliquidated
         London ENG E17 7AU                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Gianmaria Marconi                                            Contingent
         5704 Larry Drive                                             Unliquidated
         Texarkana, TX 75503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.414
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $29.00
         Marcos Ligero                                                Contingent
         Wagner 5                                                     Unliquidated
         Sabadell B 8206                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Marcus Hicks                                                 Contingent
         8005 Chennault Avenue Unit 1775                              Unliquidated
         Anchorage, AK 99506                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.414
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,458.04
         Marcus Kemper                                                Contingent
         Am Quellenbusch 122                                          Unliquidated
         Bottrop 46242                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.414
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $790.92
         Marcus Lee                                                   Contingent
         316 N. El Camino Real                                        Unliquidated
         #211                                                         Disputed
         San Mateo, CA 94401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 614 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 634 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.414
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Marcus Lumbert                                               Contingent
         3829 Yorkland Dr Nw                                          Unliquidated
         Apt 10                                                       Disputed
         Comstock Park, MI 49321
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.415
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,048.24
         Marcus Mahn                                                  Contingent
         Margaretenstrasse 12                                         Unliquidated
         Berlin 10317                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.415
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Marcus Rosser                                                Contingent
         2700 Whitney Ave                                             Unliquidated
         Apt 378                                                      Disputed
         Harvey, La, LA 70058
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.415
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Marcus Sailor                                                Contingent
         31114 Applewood Lane                                         Unliquidated
         Farmington Hills, MI 48331                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Marcus Smith                                                 Contingent
         662 Willow Heights Drive Northeast                           Unliquidated
         Sandy Springs, GA 30328                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Marcus Warkentin                                             Contingent
         1581 Monticello Drive                                        Unliquidated
         Hollister, CA 95023                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Marcus Yeoh                                                  Contingent
         4029 Walnut Grove Ave                                        Unliquidated
         Apt 2                                                        Disputed
         Rosemead, CA 91770-5104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 615 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 635 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.415
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Marcus Zeigler                                               Contingent
         2214 Aspen Dr                                                Unliquidated
         Portland, TX 78374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,629.34
         Marek Jansen                                                 Contingent
         Eisenacher Str. 64                                           Unliquidated
         Berlin 10823                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.415
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.17
         Marek Lezoch                                                 Contingent
         Barytowa 1                                                   Unliquidated
         Tarnowskie Gory 42-605                                       Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.415
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.48
         Marek Trofimiuk                                              Contingent
         Opaczewska 15, #46                                           Unliquidated
         Warszawa 02-368                                              Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Maria Castellon                                              Contingent
         8261 Lone Boulder Street                                     Unliquidated
         Enterprise, NV 89113                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.416
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Maria Wells                                                  Contingent
         88 Harbour Street, #6907                                     Unliquidated
         Toronto ON M5J 0C3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.99
         Marian Hodas                                                 Contingent
         Na Lipovec 983                                               Unliquidated
         Rosina 1322                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 616 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 636 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.416
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Marian Petrov
         Bd. Mamaia Nr.27                                             Contingent
         Cladirea Barwil, Etaj 4 Mob: 0788306428                      Unliquidated
         Constanta CT 900189                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $580.95
         Marianne Kremiec                                             Contingent
         Aleja Zygmunta Krasiaskiego 9/20                             Unliquidated
         Krakow 31-111                                                Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.91
         Marija Temelkoska                                            Contingent
         Ivan Hadzinikolov 2/4                                        Unliquidated
         Skopje 1000                                                  Disputed
         NORTH MACEDONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Marilou Gauthier                                             Contingent
         1526 Lapierre                                                Unliquidated
         Trois-Rivi Res QC G8W2H9                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.416
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Marin Perez                                                  Contingent
         697 Feather Drive                                            Unliquidated
         San Marcos, CA 92069                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.416
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Marina Baker                                                 Contingent
         P.O. Box 243                                                 Unliquidated
         West Fork, AR 72774                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 617 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 637 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.416
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,120.77
         Marina Brooks                                                Contingent
         2025 Primrose Drive                                          Unliquidated
         Irving, TX 75063                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Marina Cottini                                               Contingent
         P.O. Box 210863                                              Unliquidated
         Anchorage, AK 99521                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         AJ Marino                                                    Contingent
         3521 Shandwick Place                                         Unliquidated
         Birmingham, AL 35242                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         AJ Marino                                                    Contingent
         3521 Shandwick Place                                         Unliquidated
         Birmingham, AL 35242                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         AJ Marino                                                    Contingent
         3521 Shandwick Place                                         Unliquidated
         Birmingham, AL 35242                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Mario Albero                                                 Contingent
         728 8th Street                                               Unliquidated
         Secaucus, NJ 07094                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.95
         Mario Emmanuel Vega Cota                                     Contingent
         San Gabriel 10 Paseo San Angel                               Unliquidated
         Hermosillo SON 83287                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 618 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 638 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.417
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,236.85
         Mario Kashou                                                 Contingent
         545 Sally Garden Court                                       Unliquidated
         San Jose, CA 95136                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mario Martucci                                               Contingent
         9803 Spring Beauty                                           Unliquidated
         San Antonio, TX 78254                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $843.46
         Mario Mayerthaler
         Stammgasse 5                                                 Contingent
         Klingel 21                                                   Unliquidated
         Vienna 1030                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.417
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mario Morgan                                                 Contingent
         6201 Haney Drive                                             Unliquidated
         Austin, TX 78723                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.418
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Mario Muniz                                                  Contingent
         3093 Sandersville Rd                                         Unliquidated
         Lexington, KY 40511-8877                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.418
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Mario Tsikis                                                 Contingent
         30-74 43rd St                                                Unliquidated
         Astoria, NY 11103                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.418
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,641.66
         Marius Andrei                                                Contingent
         169 Kingsbridge Road, #169                                   Unliquidated
         London ENG SM4 4PU                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 619 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 639 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.418
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.23
         Marius Balciunas                                             Contingent
         Kybartu 35                                                   Unliquidated
         Kaunas LT-46207                                              Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.418
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Marius Catalin Hriscu
         Calea Calarasilor Nr51                                       Contingent
         Ap9 Et3                                                      Unliquidated
         Braila BR 810019                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.418
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $894.28
         Marius Mueller                                               Contingent
         Rudolf-Leonhard-Strasse 23                                   Unliquidated
         Dresden 1097                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.418
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.50
         Marius Poinescu                                              Contingent
         Str Petru Rares, Bloc 263, Scara A, Apar                     Unliquidated
         Vaslui VS UB7 8AA                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.418
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,099.00
         Marius Voda                                                  Contingent
         Lucretiu Patrascanu Nr.4 Bloc T1, Scara                      Unliquidated
         Bucuresti 30507                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.418
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $663.60
         Marjorie Ocampo                                              Contingent
         21308 59 Avenue Northwest                                    Unliquidated
         Edmonton AB T6M 0H5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 620 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 640 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.418
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Mark Amuso                                                   Contingent
         2885 Bridle Lane                                             Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,664.65
         Mark Bailey
         2 Hield House Barns                                          Contingent
         Hield Lane, Aston-By-Budworth                                Unliquidated
         Northwich ENG CW9 6FZ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.419
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,368.00
         Mark Bailey
         2 Hield House Barns                                          Contingent
         Hield Lane                                                   Unliquidated
         Northwich ENG CW9 6FZ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.419
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,603.75
         Mark Bennett                                                 Contingent
         4716 North Gold Drive                                        Unliquidated
         Apache Junction, AZ 85120                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.22
         Mark Bernardo                                                Contingent
         626 Lincoln Avenue                                           Unliquidated
         Apt F                                                        Disputed
         Alameda, CA 94501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.419
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Mark Blum                                                    Contingent
         95-956 Wikao St                                              Unliquidated
         Apt F302                                                     Disputed
         Mililani, HI 96789-5069
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 621 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 641 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.419
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,311.38
         Mark Booth
         32 Main Road                                                 Contingent
         Naphill                                                      Unliquidated
         Naphill, High Wycombe ENG HP14 4QB                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.419
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.87
         Mark Borden                                                  Contingent
         82534 Alda Drive                                             Unliquidated
         Indio, CA 92201                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.43
         Mark Brown                                                   Contingent
         4021 Fran Avenue                                             Unliquidated
         Lincoln, NE 68516                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Mark Budd                                                    Contingent
         551 Canterbury Circle                                        Unliquidated
         Canton, MI 48187                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.34
         Mark Buskens                                                 Contingent
         2 Cremona Rd                                                 Unliquidated
         Sydney NSW 2226                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.420
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Mark Culver                                                  Contingent
         199 Easton Point Way                                         Unliquidated
         Greenwood, IN 46142                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.87
         Mark Dave Rivera                                             Contingent
         24464 Reserve Court                                          Unliquidated
         Menifee, CA 92584-0364                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 622 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 642 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.420
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $71.00
         Mark De Groot                                                Contingent
         Gratamastraat 22A                                            Unliquidated
         Groningen 9714 HS                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.420
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $643.43
         Mark Eleshya                                                 Contingent
         11 Harmony Way                                               Unliquidated
         Thorold ON L2V 0H1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.420
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.89
         Mark Golton                                                  Contingent
         1154 Pacific                                                 Unliquidated
         San Francisco, CA 94103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.28
         Mark Hanna                                                   Contingent
         25254 Denny Road                                             Unliquidated
         Torrance, CA 90505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Mark Hinton                                                  Contingent
         2445 Saffire Way                                             Unliquidated
         Lewisville, TX 75056-6561                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Mark Houghton                                                Contingent
         197 Tanglewood Drive                                         Unliquidated
         Hamilton ON L0R 1C0                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.420
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Mark Johnson                                                 Contingent
         1380 Lake Drive                                              Unliquidated
         Woodworth, LA 71485                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 623 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 643 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.420
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.42
         Mark Johnson                                                 Contingent
         5702 Mustang Ridge Ln                                        Unliquidated
         Fulsher, TX 77441                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,805.22
         Mark Juarez                                                  Contingent
         2748 Del Rio Drive                                           Unliquidated
         Stockton, CA 95204                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Mark Koellmann                                               Contingent
         1061 Prospect Avenue                                         Unliquidated
         Mountainside, NJ 07092                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Mark Lawson                                                  Contingent
         2955 Marchabnks Pl                                           Unliquidated
         Saint Louis, MO 63129                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.89
         Mark Lloyd                                                   Contingent
         305 Bald Eagle Way                                           Unliquidated
         Middletown, DE 19709                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Mark M                                                       Contingent
         101 Interocean Ave                                           Unliquidated
         Chicago Heights, IL 60411                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,636.17
         Mark Malone                                                  Contingent
         307 Citadel Heights Northwest                                Unliquidated
         Calgary AB T3G 4A1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 624 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 644 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.421
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mark McDougald                                               Contingent
         108 East 30th Street                                         Unliquidated
         Kansas City, MO 64108                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.91
         Mark Meister                                                 Contingent
         709 E Cleveland St                                           Unliquidated
         Lafayette, CO 80026                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Mark Michael                                                 Contingent
         5135 Timber Mill Court                                       Unliquidated
         Mississauga ON L5V 2B8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.421
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $693.05
         Mark Michaelis                                               Contingent
         1925 Stratsman Lane                                          Unliquidated
         Cave Springs, AR 72718                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,427.02
         Mark Miller                                                  Contingent
         18 Strowans Road                                             Unliquidated
         Dumbarton SCT G82 2PB                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.422
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,050.59
         Mark Mounce                                                  Contingent
         36 Pinewood Court                                            Unliquidated
         London, KY 40744                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Mark Newton                                                  Contingent
         4092 Cherry Grove Road                                       Unliquidated
         Ball Ground, GA 30107                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 625 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 645 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.422
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.11
         Mark Pace                                                    Contingent
         7745 58th Avenue NE                                          Unliquidated
         Seattle, WA 98115                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.03
         Mark Palsson                                                 Contingent
         6935 North Aliante Parkway                                   Unliquidated
         Ste 104 - 350                                                Disputed
         North Las Vegas, NV 89084
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.422
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Mark Paton                                                   Contingent
         1451 Brickell Ave                                            Unliquidated
         Apt 2303                                                     Disputed
         Miami, FL 33131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.422
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $568.76
         Mark Pellechi                                                Contingent
         14 Gingerbread Rd                                            Unliquidated
         Kings Park, NY 11754                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $568.74
         Mark Pellechi                                                Contingent
         14 Gingerbread Rd                                            Unliquidated
         Kings Park, NY 11754                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $793.25
         Mark Reith                                                   Contingent
         1690 Lago Mar Dr                                             Unliquidated
         Dayton, OH 45458                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $680.14
         Mark Reynaert                                                Contingent
         21 Church Street                                             Unliquidated
         Huntsville ON P1H 1G8                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 626 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 646 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.423
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.83
         Mark Rojek                                                   Contingent
         5110 Red Field Ct                                            Unliquidated
         Plainfield, IL 60586-5812                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Mark Ryan                                                    Contingent
         12 Colony Drive                                              Unliquidated
         Kitchener ON N2E 2W2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.423
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Mark Schneider                                               Contingent
         2237 Doster Drive                                            Unliquidated
         New Smyrna Beach, FL 32168                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Mark Schutte                                                 Contingent
         5632 Roan Mountain Pl                                        Unliquidated
         Raleigh, NC 27613                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.30
         Mark Skertich                                                Contingent
         22 Seasons Ridge Court                                       Unliquidated
         Maryville, IL 62062                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.70
         Mark Sutton                                                  Contingent
         7440 Star Pine Circle                                        Unliquidated
         Highland, CA 92346                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $908.31
         Mark Tornabene                                               Contingent
         165 Maximus Drive                                            Unliquidated
         Lone Tree, CO 80124                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 627 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 647 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.423
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Mark Twight                                                  Contingent
         972 South 300 West                                           Unliquidated
         Salt Lake City, UT 84101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Mark Waldrop                                                 Contingent
         9614 Camden Town Dr                                          Unliquidated
         Concord, NC 28027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.37
         Mark Williams                                                Contingent
         1733 North County Drive                                      Unliquidated
         Castle Hayne, NC 28429                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $70.70
         Mark Williams                                                Contingent
         1733 County Dr N                                             Unliquidated
         Castle Hayne, NC 28429                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.36
         Mark Williams                                                Contingent
         4030 Foxridge Way                                            Unliquidated
         Napa, CA 94558                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Mark Wilson                                                  Contingent
         2255 West 136th Street                                       Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Mark Yocke                                                   Contingent
         4 Red Oak Ct                                                 Unliquidated
         Novato, CA 94949-8414                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 628 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 648 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.424
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Mark Yocke                                                   Contingent
         4 Red Oak Ct                                                 Unliquidated
         Novato, CA 94949-8414                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $438.14
         Mark Zarobsky                                                Contingent
         1704 Timberglen Drive                                        Unliquidated
         Imperial, PA 15126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,445.62
         Marko Bozic
         45 Procure Drive                                             Contingent
         Box 3106                                                     Unliquidated
         Stonewall MB R0C 2Z0                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.424
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Marko Kukec                                                  Contingent
         Labinska 13                                                  Unliquidated
         Varazdin 42000                                               Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.424
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $955.87
         Marko Pusnik                                                 Contingent
         Bolfenska 4                                                  Unliquidated
         Maribor 2000                                                 Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.424
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Marko Rieken                                                 Contingent
         Auerstr. 38                                                  Unliquidated
         Berlin 10249                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 629 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 649 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.425
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,757.52
         Marko Sovulj                                                 Contingent
         Porton Biondi 1                                              Unliquidated
         Rovinj 52210                                                 Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.55
         Alket Marku                                                  Contingent
         808 North Franklin Street, #3013                             Unliquidated
         Tampa, FL 33602                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.425
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.61
         Markus Deffner
         Sonnenstrasse 19                                             Contingent
         Crossflow Gmbh                                               Unliquidated
         Munich 80331                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $820.59
         Markus Freund
         Steinbahn 85                                                 Contingent
         Meinpart Online Marketing                                    Unliquidated
         Siegburg 53721                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.82
         Markus Greiner                                               Contingent
         Lehrer-Wirth-Strasse 17                                      Unliquidated
         Munich 81829                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $832.63
         Markus Greiner                                               Contingent
         Lehrer-Wirth-Strasse 17                                      Unliquidated
         Munich 81829                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 630 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 650 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.425
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $879.86
         Markus Hemberg                                               Contingent
         Piongrand 6B                                                 Unliquidated
         Saltsjo-Boo 13242                                            Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.20
         Markus Rapatz
         An Der Frauenkirche 5                                        Contingent
         Hilton Hotel                                                 Unliquidated
         Dresden 1067                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $560.02
         Markus Rapatz
         An Der Frauenkirche 5                                        Contingent
         Hilton Hotel                                                 Unliquidated
         Dresden 1067                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.425
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Marlon Manuel                                                Contingent
         6168 Burroughs Ave.                                          Unliquidated
         Sterling Heights, MI 48314                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.426
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Marlon Wilks                                                 Contingent
         2747 Hwy 28 East                                             Unliquidated
         Apt 702                                                      Disputed
         Pineville, LA 71360
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Marquis Wong                                                 Contingent
         2316 W Armitage Ave                                          Unliquidated
         Chicago, IL 60647                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 631 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 651 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.426
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Marsha Evans                                                 Contingent
         115 Tait Road                                                Unliquidated
         Stockbridge, GA 30281                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.426
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $960.79
         Martijn Van Rij                                              Contingent
         Soerenseweg 97                                               Unliquidated
         Apeldoorn 7313 EJ                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $880.87
         Martijn Vos                                                  Contingent
         Leyweg 35                                                    Unliquidated
         Den Haag 2545 CB                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $875.33
         Martin Allika                                                Contingent
         Lille 9, #1                                                  Unliquidated
         Tallinn 10614                                                Disputed
         ESTONIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,333.13
         Martin Barbe
         1501 Federal Road                                            Contingent
         P.O. Box 11120                                               Unliquidated
         Iqaluit NU X0A 0H0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Martin Beil
         August Birkmaier Weg                                         Contingent
         3A                                                           Unliquidated
         Ebersberg 85560                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 632 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 652 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.426
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.54
         Martin Belusko                                               Contingent
         24 Liscombe Street                                           Unliquidated
         Newport WLS NP190HQ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.426
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.73
         Martin Blakey                                                Contingent
         504 Farr Rd                                                  Unliquidated
         Muskegon, MI 49444                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.427
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.46
         Martin Bures                                                 Contingent
         370 Shelburne Road                                           Unliquidated
         #4339                                                        Disputed
         Burlington, VT 05401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Martin Chaput                                                Contingent
         1668 Elsmere Avenue                                          Unliquidated
         Windsor ON N8X 4H4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,588.84
         Martin Heuseler                                              Contingent
         An Der Eiche 46                                              Unliquidated
         Pinneberg 25421                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,189.27
         Martin Jelanek                                               Contingent
         Prvnaho Pluku 18                                             Unliquidated
         Praha 8 18600                                                Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $866.63
         Martin Kessler                                               Contingent
         Lindenallee 27                                               Unliquidated
         Berlin 14050                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 633 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 653 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.427
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Martin Kimani                                                Contingent
         1150 Panoche Avenue                                          Unliquidated
         San Jose, CA 95122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.427
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,433.19
         Martin Neilly                                                Contingent
         7 Ferrymans Quay                                             Unliquidated
         Southampton ENG SO315RA                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Martin Odisho                                                Contingent
         80 Flynn Avenue                                              Unliquidated
         Middleton Grange NSW 2171                                    Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,510.00
         Martin Oehlmann                                              Contingent
         227 Route Du Col De Leschaux                                 Unliquidated
         Saint-Eustache 74410                                         Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.427
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $121.34
         Martin Peacock                                               Contingent
         26A Ewell Road                                               Unliquidated
         Cheam ENG SM3 8BU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.17
         Martin Peacock                                               Contingent
         26A Ewell Road                                               Unliquidated
         Cheam ENG SM3 8BU                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 634 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 654 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.428
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,381.64
         Martin Salter                                                Contingent
         744 Mercury Avenue                                           Unliquidated
         Lompoc, CA 93436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.428
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Martin Sirois                                                Contingent
         2355 Rue De Celles #200                                      Unliquidated
         Quebec QC G2C 2B8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,760.07
         Martin Stamatis                                              Contingent
         Iskur 27                                                     Unliquidated
         Yardzhilovtsi 2355                                           Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.12
         Martin Suffield                                              Contingent
         14 Moorside Rise                                             Unliquidated
         Cleckheaton ENG BD196AA                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Anthony Martin                                               Contingent
         P.O. Box 7026                                                Unliquidated
         Fremont, CA 94537                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.428
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $900.30
         Martina Steinhoff                                            Contingent
         Blauwiesenweg 13                                             Unliquidated
         Frankfurt Am Main                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Victor Martinez Ulloa                                        Contingent
         313 S Western Ave                                            Unliquidated
         Santa Ana, CA 92703                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 635 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 655 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.428
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Martins Nwokeji                                              Contingent
         37 Abington Rd, Winnipeg                                     Unliquidated
         Winnipeg MB R2J 3S7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $777.51
         Martish Kuchinsky                                            Contingent
         6725 Yolanda Avenue                                          Unliquidated
         Los Angeles, CA 91335                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.429
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,371.94
         Martyn Briggs                                                Contingent
         12 Little Mill Meadow                                        Unliquidated
         Telford ENG TF1 6NZ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $761.57
         Martynas Laurinavicius                                       Contingent
         Bajoru Sodu 6-Oji G. 35                                      Unliquidated
         Vilnius 8426                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,477.54
         Martynas Laurinavicius                                       Contingent
         Bajoru Sodu 6-Oji G. 35                                      Unliquidated
         Vilnius 8426                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,476.71
         Marvin Petersen                                              Contingent
         16622 Leitner Road Southwest                                 Unliquidated
         Rochester, WA 98579                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.429
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Marvin Torres                                                Contingent
         950 East 3rd Street                                          Unliquidated
         #2611                                                        Disputed
         Los Angeles, CA 90013
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 636 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 656 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.429
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         Marvin Waite                                                 Contingent
         P.O. Box 795                                                 Unliquidated
         Logandale, NV 89021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.429
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.81
         Mary Evans                                                   Contingent
         1107 Rand Way                                                Unliquidated
         Superior, CO 80027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.429
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Mary Grace Sultan                                            Contingent
         21 Walcrest Gate Southeast                                   Unliquidated
         Calgary AB T2X 4G3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Mary Trupiano                                                Contingent
         1410 Hawthorne Road                                          Unliquidated
         Grosse Pointe Woods, MI 48236                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.429
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Mashab Anwar
         440 Wardlaw Ave                                              Contingent
         Lower Floor.                                                 Unliquidated
         Kelowna BC V1Y 5B4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,206.80
         Masis Artin                                                  Contingent
         Astra Vintergatan 78                                         Unliquidated
         Arebro 70343                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 637 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 657 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.430
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Mason Anderson                                               Contingent
         418 Kensington Blvd                                          Unliquidated
         Saskatoon SK S7L 6N7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.17
         Mason Anderson                                               Contingent
         418 Kensington Blvd                                          Unliquidated
         Saskatoon SK S7L 6N7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Mason Oxley                                                  Contingent
         1425 90th Street                                             Unliquidated
         Mount Pleasant, WI 53406                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.430
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.88
         Mason Shohet                                                 Contingent
         4737 Vista Cove Place                                        Unliquidated
         Loomis, CA 95650                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.430
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.40
         Mason Smith                                                  Contingent
         13333 West Road                                              Unliquidated
         Apartment 935                                                Disputed
         Houston, TX 77041
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $987.56
         Masoud Alshoum                                               Contingent
         Sicksackvagen 4 Lgh 1302                                     Unliquidated
         Gavle 80632                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Mass Geremia                                                 Contingent
         735 2 Ave Sw, Suite 1102                                     Unliquidated
         Calgary AB T2P 0E4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 638 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 658 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.430
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $812.85
         Massimo Lazzeri                                              Contingent
         Via Giuseppe Richa, 68                                       Unliquidated
         Firenze FI 50134                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.430
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Massoumeh Fekri                                              Contingent
         4170 Rue Mackenzie                                           Unliquidated
         Laval QC H7W 1M8                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $506.94
         Matei Coseru
         Str. Cetatea De Balta, Nr. 14-20, Bl. 28                     Contingent
         Ap. 56, Sector 6                                             Unliquidated
         Bucuresti B 60968                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.84
         Mateo Nevarez                                                Contingent
         5425 41st Street                                             Unliquidated
         Lubbock, TX 79414                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.431
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,322.01
         Mathieu Allard                                               Contingent
         1129 Des Hirondelles                                         Unliquidated
         Boucherville QC J4B5Y8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.23
         Mathieu Correge                                              Contingent
         23 Hameau Du Mardaing                                        Unliquidated
         Azereix 65380                                                Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 639 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 659 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.431
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Mathieu Ricard                                               Contingent
         144 Rue Des Francais                                         Unliquidated
         Mont-Saint-Hilaire QC J3H 6J2                                Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $807.59
         Matias Campins                                               Contingent
         4004 Wavertree Rd.                                           Unliquidated
         Frisco, TX 75036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.431
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Matil Brouillard                                             Contingent
         1392 Rue Du Moulin                                           Unliquidated
         Ste-Julie QC J3E2B3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matin Kheyrani                                               Contingent
         3934 Valley Ridge Dr                                         Unliquidated
         Fairfax, VA 22033                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.431
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $560.73
         Mats Kallenberger                                            Contingent
         Rellinghauserstr. 187                                        Unliquidated
         Essen 45136                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,676.60
         Mats Van Krieken                                             Contingent
         Zuiderlingedijk 127                                          Unliquidated
         Spijk Gem Lingewaal 4211 BC                                  Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.432
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,824.39
         Matson Pearce                                                Contingent
         3614 South Versailles Avenue                                 Unliquidated
         Dallas, TX 75209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 640 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 660 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.432
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,120.77
         Clay Matson Pearce                                           Contingent
         3614 South Versailles Avenue                                 Unliquidated
         Dallas, TX 75209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.29
         Matt Baum                                                    Contingent
         1869 Montclair Drive                                         Unliquidated
         Unit A                                                       Disputed
         Mount Pleasant, SC 29464
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.432
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.42
         Matt Crippen                                                 Contingent
         2041 W Palmyra Ave                                           Unliquidated
         Apt A                                                        Disputed
         Orange, CA 92868
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.432
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.81
         Matt Digman                                                  Contingent
         2763 Rockefeller Road                                        Unliquidated
         Willoughby Hills, OH 44092                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $776.66
         Matt Ghiglieri                                               Contingent
         830 Munley Drive                                             Unliquidated
         Reno, NV 89503                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Matt Guest                                                   Contingent
         221 Reddington Lane, #306                                    Unliquidated
         Tooele, UT 84074                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Matt Harrity                                                 Contingent
         322 Mill Pond Lane #919                                      Unliquidated
         Salisbury, MD 21804                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 641 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 661 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.432
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,320.40
         Matt Johnson                                                 Contingent
         651 East Gulf Drive                                          Unliquidated
         Unit 114                                                     Disputed
         Sanibel, FL 33957
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.432
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.06
         Matt Kennedy
         16 Eacham Ave                                                Contingent
         Coombabah                                                    Unliquidated
         Gold Coast QLD 4216                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $794.71
         Matt Kimura                                                  Contingent
         25652 Rimgate Dr                                             Unliquidated
         14F                                                          Disputed
         Lake Forest, CA 92630
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Matt Kimura                                                  Contingent
         25652 Rimgate Dr                                             Unliquidated
         Unit 14 F                                                    Disputed
         Lake Forest, CA 92630-6065
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.35
         Matt King                                                    Contingent
         18 Woodlands Green                                           Unliquidated
         Harrogate ENG HG2 8QD                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Matt Mical                                                   Contingent
         950 W Leland Ave #610                                        Unliquidated
         Chicago, IL 60640-7100                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 642 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 662 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.433
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Matt Roberts                                                 Contingent
         6472 Capri Isle                                              Unliquidated
         Saint Augustine, FL 32095                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.433
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Matt Short                                                   Contingent
         241 Cantamar Court                                           Unliquidated
         Roseville, CA 95747                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.433
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Matt Smith                                                   Contingent
         7970 Rawlings Road                                           Unliquidated
         Lambton Shores ON N0N 1J2                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Matteo Cacialli                                              Contingent
         15 Lister Road                                               Unliquidated
         London ENG E113DS                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,311.17
         Matteo Signorelli                                            Contingent
         13065 Katonien Street                                        Unliquidated
         Maple Ridge BC V2W0J2                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matthew Abbott                                               Contingent
         10 Havenwoods Way                                            Unliquidated
         Fredericksburg, VA 22406                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.26
         Matthew Amacker                                              Contingent
         1045 Reed St                                                 Unliquidated
         Santa Clara, CA 95050                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 643 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 663 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.434
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.26
         Matthew Amacker                                              Contingent
         1045 Reed St                                                 Unliquidated
         Santa Clara, CA 95050                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.30
         Matthew Ash
         26 Roker Park Avenue                                         Contingent
         Ickenham                                                     Unliquidated
         Uxbridge ENG UB10 8ED                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.434
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Matthew Barron                                               Contingent
         446 Glenway Street                                           Unliquidated
         Madison, WI 53711                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.88
         Matthew Beckerman                                            Contingent
         0S140 North Mathewson Lane                                   Unliquidated
         Geneva, IL 60134                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,499.80
         Matthew Bird                                                 Contingent
         35 Dart Avenue                                               Unliquidated
         Exeter ENG EX2 7FX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.434
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,653.10
         Matthew Bohn                                                 Contingent
         109 Bridal Ln                                                Unliquidated
         Oakdale, PA 15071                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 644 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 664 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.434
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.434
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Matthew Box                                                  Contingent
         306 Jacaranda Pl                                             Unliquidated
         Fullerton, CA 92832                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Matthew Breen                                                Contingent
         70 Vestry St                                                 Unliquidated
         Apt. 5F                                                      Disputed
         New York, NY 10013
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.435
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matthew Brown                                                Contingent
         12 Amherst Road                                              Unliquidated
         New City, NY 10956                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 645 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 665 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.435
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,978.72
         Matthew Buldo                                                Contingent
         206 SW 37th St                                               Unliquidated
         Cape Coral, FL 33914                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.91
         Matthew Burkard                                              Contingent
         3491 Grandview Avenue                                        Unliquidated
         Sharonville, OH 45241                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Matthew Clair                                                Contingent
         427 E Brubaker Valley Rd                                     Unliquidated
         Lititz, PA 17543                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.78
         Matthew Cody                                                 Contingent
         3806 W Carolina Drive                                        Unliquidated
         West Jordan, UT 84084                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.17
         Matthew Day
         Apt 1, The Old Mill                                          Contingent
         Cadnant Road                                                 Unliquidated
         Menai Bridge WLS LL59 5NG                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.436
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Matthew Dodson                                               Contingent
         2333 E Greensboro Ch-Hill Rd                                 Unliquidated
         Graham, NC 27253                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.05
         Matthew Eguchi                                               Contingent
         361 Arbol Drive                                              Unliquidated
         Watsonville, CA 95076                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 646 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 666 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.436
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.61
         Matthew Farringer                                            Contingent
         5051 Nittany Valley Drive                                    Unliquidated
         Lamar, PA 16848                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Matthew Ferguson                                             Contingent
         4792 Cox Mill Road                                           Unliquidated
         Sanford, NC 27332                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Matthew Fiebig                                               Contingent
         3049 Kentucky Ave S                                          Unliquidated
         Minneapolis, MN 55426-3444                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Matthew Garren                                               Contingent
         1263 SW Belle Ave.                                           Unliquidated
         Topeka, KS 66604                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Matthew Hall                                                 Contingent
         21A Opahi Bay Road, Mahurangi West                           Unliquidated
         Auckland AUK 983                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.436
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Matthew Harbin                                               Contingent
         113 Will Blvd                                                Unliquidated
         Searcy, AR 72143                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Matthew Hardin                                               Contingent
         4300 E Caitlin Lane                                          Unliquidated
         Cottonwood, AZ 86326                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 647 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 667 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.436
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Matthew Hargis                                               Contingent
         2669 Garfield Street                                         Unliquidated
         Detroit, MI 48207                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.12
         Matthew Harris                                               Contingent
         1334 Clarence Drive                                          Unliquidated
         Idaho Falls, ID 83402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.28
         Matthew Hermsen                                              Contingent
         240 Crocker Drive                                            Unliquidated
         Apt C                                                        Disputed
         Bel Air, MD 21014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.437
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.42
         Matthew Horvath                                              Contingent
         4655 W Mineral Dr                                            Unliquidated
         Unit 735                                                     Disputed
         Littleton, CO 80128
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.437
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Matthew Jacobs                                               Contingent
         17 Kandlewick Close                                          Unliquidated
         St. Albert AB T8N 6Z7                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.437
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.22
         Matthew Jordan                                               Contingent
         556 Village Park Dr                                          Unliquidated
         Kennesaw, GA 30144-5551                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,417.00
         Matthew Kadish                                               Contingent
         9559 Summer Cypress St.                                      Unliquidated
         Las Vegas, NV 89123                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 648 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 668 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.437
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.62
         Matthew Kaynak                                               Contingent
         25 Poplar St                                                 Unliquidated
         Butler, NJ 07405                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matthew Kerl                                                 Contingent
         1245 River Ridge Drive                                       Unliquidated
         Brownsburg, IN 46112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,420.07
         Matthew Kilgore                                              Contingent
         1041 Lake Colony Lane                                        Unliquidated
         Vestavia, AL 35242                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.69
         Matthew Landsborough                                         Contingent
         280 Jackman Road                                             Unliquidated
         West St Paul MB R4A 3A3                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.68
         Matthew Liu                                                  Contingent
         367 Santana Row Unit 6007                                    Unliquidated
         San Jose, CA 95128                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Matthew Marin                                                Contingent
         31 Mises Street                                              Unliquidated
         Mount Pleasant, SC 29464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Matthew Markell                                              Contingent
         1401 Mt Airy Rd                                              Unliquidated
         Rosedale, MD 21237                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 649 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 669 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.438
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Matthew Martin                                               Contingent
         6235 Whitehead St #1609                                      Unliquidated
         Granger, IN 46530                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.01
         Matthew Meyer                                                Contingent
         2609 Bowie Trail                                             Unliquidated
         Temple, TX 76502                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Matthew Meyers                                               Contingent
         880 Alabama St                                               Unliquidated
         Apt 411                                                      Disputed
         Houston, TX 77002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matthew Mixon                                                Contingent
         4530 Simsbury Road                                           Unliquidated
         Apartment E                                                  Disputed
         Charlotte, NC 28226
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Matthew Moniz                                                Contingent
         57 Petman Ave                                                Unliquidated
         Toronto ON M4S2S9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.49
         Matthew Moroney                                              Contingent
         76 Elibank Road                                              Unliquidated
         London ENG SE9 1QL                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Matthew Nymoen                                               Contingent
         57 Cherry Court                                              Unliquidated
         Appleton, WI 54915                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 650 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 670 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.439
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Matthew Opitz                                                Contingent
         3021 Holmes Ave S                                            Unliquidated
         Apt 504                                                      Disputed
         Minneapolis, MN 55408
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.439
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Matthew Page                                                 Contingent
         268 Windrose Ct                                              Unliquidated
         Newbury Park, CA 91367                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $809.42
         Matthew Passmore                                             Contingent
         10205 Chase Commons Dr                                       Unliquidated
         Apt 201                                                      Disputed
         Burke, VA 22015
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.439
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.44
         Matthew Patti                                                Contingent
         1506 Nightshade                                              Unliquidated
         San Antonio, TX 78260                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Matthew Pender                                               Contingent
         701 Baffin St                                                Unliquidated
         Foster City, CA 94404                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,474.68
         Matthew Phan                                                 Contingent
         457 Mallorytown Avenue                                       Unliquidated
         Mississauga ON L4Z2M7                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.439
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Matthew Ridgers                                              Contingent
         136 East Country Club Drive                                  Unliquidated
         Brentwood, CA 94513                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 651 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 671 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.439
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Matthew Rinaldi                                              Contingent
         522 Saint Pauls Ave                                          Unliquidated
         Cliffside Park, NJ 07010-1620                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.89
         Matthew Robbins                                              Contingent
         4122 Bedford Ave                                             Unliquidated
         Winter Haven, FL 33884                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Matthew Sentas                                               Contingent
         416 Mass Ave #2                                              Unliquidated
         Boston, MA 02118                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.16
         Matthew Spicer                                               Contingent
         2119 5th St                                                  Unliquidated
         Greeley, CO 80631                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Matthew Thoman                                               Contingent
         2203 Bowmont Dr                                              Unliquidated
         Beverly Hills, CA 90210                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,893.05
         Matthew Tully                                                Contingent
         1432 S Calle De Maria                                        Unliquidated
         Palm Springs, CA 92264                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Matthew Tully                                                Contingent
         1432 S Calle De Maria                                        Unliquidated
         Palm Springs, CA 92264                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 652 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 672 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.440
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Matthew Tully                                                Contingent
         1432 S Calle De Maria                                        Unliquidated
         Palm Springs, CA 92264                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $646.14
         Matthew Velez                                                Contingent
         9800 SW 167th St                                             Unliquidated
         Miami, FL 33157                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.26
         Matthew Waggoner                                             Contingent
         2726 Stearman St                                             Unliquidated
         Poplar Grove, IL 61065                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.90
         Matthew White
         17 - 19 Leicester Square                                     Contingent
         New Way Lane                                                 Unliquidated
         London ENG WC2H 7LE                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.440
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Matthew Wolfe                                                Contingent
         11752 Cottonwood Ave                                         Unliquidated
         Palm Beach Gardens, FL 33410                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.89
         Matthew Woolman                                              Contingent
         13403 Clayton St                                             Unliquidated
         Thornton, CO 80241-1339                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,671.94
         Matthias Birk                                                Contingent
         Albert-Einstein-Strasse 5                                    Unliquidated
         Germaringen 87656                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 653 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 673 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.441
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,086.74
         Matthias Pfeiffer                                            Contingent
         Am Rehkampf 1                                                Unliquidated
         Ingelheim Am Rhein 55262                                     Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.441
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,672.50
         Mattia Muratore                                              Contingent
         Viale Prospero Colonna 60                                    Unliquidated
         Roma RM 149                                                  Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.441
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,190.07
         Maude Ek                                                     Contingent
         130 Abogado Avenue                                           Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Mauricio Garcia                                              Contingent
         11 North Ann Street                                          Unliquidated
         Baltimore, MD 21231                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $822.56
         Mauricio Vargas                                              Contingent
         4120 Camero Ave                                              Unliquidated
         Los Angeles, CA 90027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $862.57
         Mauro Matteucci                                              Contingent
         Via Pace 21                                                  Unliquidated
         Orzivecchi BS 25030                                          Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.441
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.46
         Mauro Susin                                                  Contingent
         10/99 Ashby Street                                           Unliquidated
         Fairfield QLD 4103                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 654 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 674 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.441
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,706.66
         Maury Noun                                                   Contingent
         21 N Church Rd                                               Unliquidated
         Saddle River, NJ 07458                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Max Benedict                                                 Contingent
         182 Brady Street                                             Unliquidated
         Charleston, SC 29492                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.82
         Max Breward                                                  Contingent
         5 Flora Street                                               Unliquidated
         Leicester ENG LE3 5RN                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.442
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Max Diaz                                                     Contingent
         39334 Dijon Lane                                             Unliquidated
         Palmdale, CA 93551                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $807.99
         Max Gutierez                                                 Contingent
         1160 East Oleander Street                                    Unliquidated
         Fort Worth, TX 76104                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.46
         Max Hehr Hehr                                                Contingent
         Helsinkistr. 3                                               Unliquidated
         Herzogenauchrach 91074                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.442
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,336.17
         Max Zupicic                                                  Contingent
         439 6E Rue                                                   Unliquidated
         Laval QC H7N 1Y6                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 655 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 675 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.442
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Maxalex Fequiere                                             Contingent
         403 Quaker Ridge Court                                       Unliquidated
         23435, VA 23435                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.73
         Maxamaid Ontoro                                              Contingent
         Hertistrasse 30                                              Unliquidated
         Wallisellen 8304                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.442
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,646.32
         Maxim Ershov
         Praha 10 Strasnice Kruhova 14/534                            Contingent
         Praha 10 Strasnice Kruhova 14/534                            Unliquidated
         Praha 10000                                                  Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.442
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.20
         Maxime Delavenne
         30 Chemin Bates                                              Contingent
         App 405                                                      Unliquidated
         Montreal QC H2V4T4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.442
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Maxime Labrie                                                Contingent
         4926 Blvd Kimber                                             Unliquidated
         Saint-Hubert QC J3Y 7Z8                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,698.38
         Maximilian Heiler                                            Contingent
         Bokelstrasse 1                                               Unliquidated
         Bielefeld 33649                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 656 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 676 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.443
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,594.37
         Maximilian Kies                                              Contingent
         Landskronstrasse 28                                          Unliquidated
         Darmstadt 64285                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.55
         Maximilian Leonard                                           Contingent
         58 High Meadow Ln                                            Unliquidated
         Mystic, CT 06355                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.443
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.55
         Maximiliano Manzella                                         Contingent
         20900 Northeast 30th Avenue                                  Unliquidated
         Aventura, FL 33180                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.443
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.23
         Maxine Rose Mayor                                            Contingent
         132 Carlisle Way                                             Unliquidated
         Benicia, CA 94510                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.443
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.92
         Maxton Lown                                                  Contingent
         699 W 29th Ave Apt#3353                                      Unliquidated
         Denver, CO 80202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.443
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,746.86
         Maxwell Puttman                                              Contingent
         8 Blamey Place                                               Unliquidated
         Oconnor WA 6163                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Maxwell Traubert                                             Contingent
         1110 North Kensington Street                                 Unliquidated
         Apt 1                                                        Disputed
         Arlington, VA 22205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 657 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 677 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.443
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $874.26
         Maya Layani                                                  Contingent
         12 Rue Henri Matisse                                         Unliquidated
         Blagnac 31700                                                Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         J Scott McCraney                                             Contingent
         P.O. Box 37                                                  Unliquidated
         Elberta, AL 36530                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Vincent McNeely                                              Contingent
         4359 Benning Rd NE                                           Unliquidated
         Washington, DC 20019                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Graedon McRorie                                              Contingent
         38 Swastika Trail                                            Unliquidated
         Cambridge ON N3C2V4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.444
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Meaghan Rettig                                               Contingent
         1510 Demonbreun St, #507                                     Unliquidated
         Nashville, TN 37203-3193                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Anthony Medrano                                              Contingent
         10447 Amigo Ave                                              Unliquidated
         Porter Ranch, CA 91326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.69
         Megan Hutchison                                              Contingent
         304 Mayville Ave                                             Unliquidated
         Pittsburgh, PA 15226                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 658 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 678 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.444
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Mehdi Astani                                                 Contingent
         13 Crystal Drive                                             Unliquidated
         Richmond Hill ON L4C 7Z4                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.444
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $246.00
         Mehmet Kilic                                                 Contingent
         Wedekindweg 9                                                Unliquidated
         Darmstadt 64293                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.444
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.37
         Mehmet Ozel
         Asan Pharmacy, Selcuk Avkiran Sok., Task                     Contingent
         1 Stasinou Street, Engomi, To Be Collect                     Unliquidated
         Nicosia 2404                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.444
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,838.47
         Meika Barclay                                                Contingent
         3127 Bay Road                                                Unliquidated
         Ferndale, WA 98248                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,308.96
         Meili Cashy Sa                                               Contingent
         Wallstr. 13                                                  Unliquidated
         Basel 4051                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.445
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.20
         Michael Lee Meinert                                          Contingent
         251 Warren Avenue                                            Unliquidated
         Hawthorne, NY 10532                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 659 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 679 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.445
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $572.60
         Melisa Alina Manea
         122 Rue Des Bourguignons                                     Contingent
         2nd Floor, Door On The Right                                 Unliquidated
         Asnieres-Sur-Seine 92600                                     Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.445
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Melissa Clouthier                                            Contingent
         2 Cedar Chase Place                                          Unliquidated
         Spring, TX 77381                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Melissa Mazzeo                                               Contingent
         2560 Northwest 2nd Drive                                     Unliquidated
         Pompano Beach, FL 33064                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Melissa Switzer                                              Contingent
         3449 Heatherwood Drive                                       Unliquidated
         Hamburg, NY 14075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Enrique Mendez                                               Contingent
         286 Lombardy Lane                                            Unliquidated
         Banning, CA 92220                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,415.22
         Metzgerei Widmayer GmbH & Co.KG                              Contingent
         Lichtackerstrasse 6                                          Unliquidated
         Denkendorf 73770                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 660 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 680 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.445
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.97
         Mevrouw Jacobs                                               Contingent
         Herstraat 7                                                  Unliquidated
         Den Hout 4911BD                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.445
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $23.75
         Mia Lorentzson                                               Contingent
         Wiboms Vag 7                                                 Unliquidated
         Solna 17160                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.445
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $23.75
         Mia Lorentzson                                               Contingent
         Wiboms Vag 7                                                 Unliquidated
         Solna 17160                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.446
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,497.32
         Micah Linderman                                              Contingent
         525 N Wilton Pl Ph515                                        Unliquidated
         Los Angeles, CA 90004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Micah Pearce                                                 Contingent
         13123 Regency Frst                                           Unliquidated
         San Antonio, TX 78249                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Micah Rivoire                                                Contingent
         1024 Santee Street #500                                      Unliquidated
         Los Angeles, CA 90015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Micah Sze                                                    Contingent
         665 Pine St., #1100                                          Unliquidated
         San Francisco, CA 94108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 661 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 681 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.446
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.60
         Michael Adam
         Balders Vei 21                                               Contingent
         M Re Og Romsdal                                              Unliquidated
         Kristiansund N 6511                                          Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.446
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Michael Ahlgrim                                              Contingent
         29989 Happy Hunter Drive                                     Unliquidated
         Canyon Lake, CA 92587                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Michael Alfieri                                              Contingent
         4 Westview Circle                                            Unliquidated
         Hingham, MA 02043                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,345.77
         Michael Arlinghaus                                           Contingent
         261 Stage Coach Rd                                           Unliquidated
         Oceanside, CA 92057                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,835.62
         Michael Atwood                                               Contingent
         11108 Violet Ct                                              Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.17
         Michael Avermann                                             Contingent
         Bokenkamp 9                                                  Unliquidated
         Munster 48161                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.447
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Michael Baker                                                Contingent
         2404 Waterbend Dr                                            Unliquidated
         Flower Mound, TX 75028                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 662 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 682 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.447
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Michael Baker                                                Contingent
         1340 New Hampshire Dr                                        Unliquidated
         Concord, CA 94521                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Michael Beard                                                Contingent
         8541 88 Street                                               Unliquidated
         Edmonton AB T6J 3C4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.447
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Michael Behrend                                              Contingent
         5722 Sandbirch Way                                           Unliquidated
         Lake Worth, FL 33463                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Michael Behrend                                              Contingent
         5722 Sandbirch Way                                           Unliquidated
         Lake Worth, FL 33463                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Bennett                                              Contingent
         2255 Village Centre Drive                                    Unliquidated
         Loganville, GA 30052                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,007.40
         Michael Berio                                                Contingent
         1206 SE 6 St, #203                                           Unliquidated
         Cape Coral, FL 33990                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Bonfiglio                                            Contingent
         4012 7th Ave Apt 10                                          Unliquidated
         Brooklyn, NY 11232                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 663 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 683 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.447
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Michael Breus                                                Contingent
         1905 Oak Ave                                                 Unliquidated
         Manhattan Beach, CA 90266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $196.10
         Michael Brickey                                              Contingent
         4484 Myron Road                                              Unliquidated
         North Lakeport, MI 48059                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.23
         Michael Brickey                                              Contingent
         4484 Myron Road                                              Unliquidated
         Burtchville, MI 48059                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.60
         Michael Brown                                                Contingent
         3118 Kershaw St                                              Unliquidated
         Columbia, SC 29205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,458.29
         Michael Burgess                                              Contingent
         P.O. Box 22025 Rpo Plaza Ii                                  Unliquidated
         Fort McMurray AB T9H 5B6                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.448
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.52
         Michael Burns                                                Contingent
         3523 Kudrow Ln                                               Unliquidated
         Morrisville, NC 27560                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Burton                                               Contingent
         4009 Seashell Circle                                         Unliquidated
         Orlando, FL 32804                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 664 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 684 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.448
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.37
         Michael Byrne                                                Contingent
         522 Stonebridge Court                                        Unliquidated
         Pleasant Hill, CA 94523                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.85
         Michael Calabrese                                            Contingent
         741 E. Lime Avenue                                           Unliquidated
         Monrovia, CA 91016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.74
         Michael Caldwell                                             Contingent
         6585 Mohican Dr                                              Unliquidated
         Colorado Springs, CO 80915                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Michael Camfield                                             Contingent
         3211 W. Division St.                                         Unliquidated
         Trlr. 223                                                    Disputed
         Arlington, TX 76012-3408
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.448
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Michael Carreiro                                             Contingent
         407R Mystic Ave Ste 20                                       Unliquidated
         Medford, MA 02155                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Michael Cates                                                Contingent
         201 Front Street Suite 322                                   Unliquidated
         Key West, FL 33040                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,092.50
         Michael Chagan                                               Contingent
         920 West Lakeside Place                                      Unliquidated
         Chicago, IL 60640                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 665 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 685 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.449
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $696.33
         Michael Childs                                               Contingent
         P.O. Box1167                                                 Unliquidated
         Stanton, TX 79782                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $924.06
         Michael Clifton                                              Contingent
         7261 Vrain Street                                            Unliquidated
         Westminster, CO 80030                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.60
         Michael Cortez                                               Contingent
         1726 Judith Resnik Drive                                     Unliquidated
         El Paso, TX 79936                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,417.00
         Michael Deboer                                               Contingent
         16328 North Loper Street                                     Unliquidated
         Nampa, ID 83651                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.50
         Michael Dominguez                                            Contingent
         2456 Cash Court                                              Unliquidated
         Las Vegas, NV 89156                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.04
         Michael Dorgan                                               Contingent
         139 Park Road                                                Unliquidated
         Teddington ENG TW11 0BS                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.449
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Dubiel                                               Contingent
         42 Broad Street East                                         Unliquidated
         Mount Vernon, NY 10552                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 666 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 686 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.449
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $918.54
         Michael Emerson                                              Contingent
         209 Aegean Way #189                                          Unliquidated
         Vacaville, CA 95687                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $918.54
         Michael Emerson                                              Contingent
         209 Aegean Way #189                                          Unliquidated
         Vacaville, CA 95687                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.72
         Michael Fleury                                               Contingent
         2890 West 21st Street                                        Unliquidated
         4G                                                           Disputed
         Brooklyn, NY 11224
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.450
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,174.35
         Michael Fluharty                                             Contingent
         1560 Hwy 9 East, Unit C                                      Unliquidated
         Longs, SC 29568                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Michael Foley                                                Contingent
         725 Highland Street                                          Unliquidated
         Stoughton, MA 02072                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Michael Franco                                               Contingent
         108-22 51st Ave                                              Unliquidated
         New York, NY 11368                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $941.94
         Michael Fritz                                                Contingent
         Heinestrasse 3                                               Unliquidated
         Wuerzburg 97070                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 667 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 687 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.450
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.81
         Michael Fry                                                  Contingent
         10514 West Lockwood Street                                   Unliquidated
         Boise, ID 83709                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Michael Garcia                                               Contingent
         3624 Northwest 12th Street                                   Unliquidated
         Miami, FL 33125                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.61
         Michael Ginter                                               Contingent
         25 Christian Street                                          Unliquidated
         Wallingford, CT 06492                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,185.30
         Michael Green                                                Contingent
         5 Theresa Court                                              Unliquidated
         Edison, NJ 08837                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Michael Grimes                                               Contingent
         5776 Ormes Rd                                                Unliquidated
         Vassar, MI 48768                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Gutman                                               Contingent
         1160 Richmond Road                                           Unliquidated
         3I                                                           Disputed
         Staten Island, NY 10304
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.451
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.56
         Michael Habschmidt                                           Contingent
         215 Stanley Ave                                              Unliquidated
         Park Ridge, IL 60068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 668 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 688 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.451
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Michael Hansen                                               Contingent
         1318 Kater Street                                            Unliquidated
         Philadelphia, PA 19147                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Michael Hansen                                               Contingent
         1318 Kater Street                                            Unliquidated
         Philadelphia, PA 19147                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Michael Harris                                               Contingent
         5360 Adobe Falls Rd                                          Unliquidated
         Unit 16                                                      Disputed
         San Diego, CA 92120
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.451
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,317.38
         Michael Hasz                                                 Contingent
         1503 North Village Road                                      Unliquidated
         Reston, VA 20194                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.69
         Michael Hischier                                             Contingent
         Im Gassacher 10                                              Unliquidated
         Binz 8122                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.451
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.36
         Michael Holcomb                                              Contingent
         17931 Fir Road                                               Unliquidated
         Alvin, TX 77511                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.98
         Michael Howe                                                 Contingent
         114 Malverne Dr                                              Unliquidated
         Syracuse, NY 13208                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 669 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 689 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.452
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,690.42
         Michael Jablonski                                            Contingent
         Christian-Volter-Strasse 30                                  Unliquidated
         Metzingen 72555                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.452
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Michael Jachelski                                            Contingent
         106B White Street                                            Unliquidated
         Fort Huachuca, AZ 85613                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.35
         Michael Jarembek                                             Contingent
         6630 Camino Santo                                            Unliquidated
         Scottsdale, AZ 85254                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.42
         Michael Kallmeyer                                            Contingent
         1734 Broadlee Trail                                          Unliquidated
         Annapolis, MD 21401                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.17
         Michael Karimizadeh
         45 Driftwood Ave                                             Contingent
         Apt #1310                                                    Unliquidated
         North York ON M3N 2M4                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.452
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Michael Kimura                                               Contingent
         1131 Buehler Drive                                           Unliquidated
         Las Vegas, NV 89102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Michael Kinsey                                               Contingent
         1625 Watkins Rd                                              Unliquidated
         Battle Creek, MI 49015                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 670 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 690 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.452
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.05
         Michael Kirkman                                              Contingent
         148 North 6th Street                                         Unliquidated
         San Jose, CA 95112                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Michael Klewinski                                            Contingent
         510 S 170 W                                                  Unliquidated
         Springville, UT 84663                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Michael Leeman                                               Contingent
         156 Yeardley Dr Apt 3                                        Unliquidated
         Newport News, VA 23601                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Michael Liu                                                  Contingent
         647 57th St                                                  Unliquidated
         Street                                                       Disputed
         Brooklyn, NY 11220
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.453
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.81
         Michael Lyng                                                 Contingent
         530 Grand Canyon Blvd                                        Unliquidated
         #3                                                           Disputed
         Reno, NV 89502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.453
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.10
         Michael Mallon                                               Contingent
         165 Cattail Lane                                             Unliquidated
         Valparaiso, IN 46385                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         Michael Maltzman                                             Contingent
         704 Foothill Road                                            Unliquidated
         Beverly Hills, CA 90210                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 671 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 691 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.453
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Michael McLaughlin                                           Contingent
         18165 Hilda Dr.                                              Unliquidated
         Ft Myers, FL 33967                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,342.03
         Michael Melhorn                                              Contingent
         555 Clark St                                                 Unliquidated
         Green River, WY 82935                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.33
         Michael Messina                                              Contingent
         609 Baintree Run                                             Unliquidated
         Downingtown, PA 19335                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Michael Minichiello                                          Contingent
         159 Park Avenue                                              Unliquidated
         Leonia, NJ 07605                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Mirabile                                             Contingent
         17 Dillon Lane                                               Unliquidated
         Smithfield, RI 02917                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Michael Morales                                              Contingent
         9359Konocti St.                                              Unliquidated
         Rancho Cucamonga, CA 91730                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.19
         Michael Morris                                               Contingent
         3615 Ash Street                                              Unliquidated
         Unit 13                                                      Disputed
         San Diego, CA 92105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 672 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 692 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.454
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.67
         Michael Munger                                               Contingent
         1242 Doric Dr                                                Unliquidated
         Lafayette, CO 80026                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,197.24
         Michael Najdi                                                Contingent
         356 Village St Medway                                        Unliquidated
         Boston, MA 02053                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.37
         Michael Najdi                                                Contingent
         356 Village St Medway                                        Unliquidated
         Boston, MA 02053                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Michael Niebla                                               Contingent
         13461 Edwards Street                                         Unliquidated
         Westminster, CA 92683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,541.12
         Michael Omranian                                             Contingent
         4515 Canoga Drive                                            Unliquidated
         Los Angeles, CA 91364                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,788.41
         Michael Osullivan
         8 Oakley Park                                                Contingent
         Clontarf                                                     Unliquidated
         Dublin D D03 PE03                                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.454
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,609.52
         Michael Pagliarini                                           Contingent
         54 Nooseneckhill Rd                                          Unliquidated
         #1 Brick Cabin                                               Disputed
         West Greenwich, RI 02817
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 673 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 693 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.454
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Michael Plastina                                             Contingent
         39 Pagebrook Drive                                           Unliquidated
         Etobicoke ON M9P 1P4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.454
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Michael Polen                                                Contingent
         26723 North 52nd Drive                                       Unliquidated
         Phoenix, AZ 85083                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Michael Powers                                               Contingent
         81 Ambleside Avenue                                          Unliquidated
         Toronto ON M8Z 2H9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,264.33
         Michael Pulec                                                Contingent
         90 Trinity Street, #511                                      Unliquidated
         Toronto ON M5A 0E4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,711.93
         Michael Racic Novak
         Stora Sallskapets Vag 50, 3Tr                                Contingent
         Lgh 1302                                                     Unliquidated
         Stockholm 12731                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Michael Rios                                                 Contingent
         130 19th St                                                  Unliquidated
         Palm Harbor, FL 34683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 674 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 694 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.455
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.06
         Michael Robbins                                              Contingent
         9158 Yates Bay Court                                         Unliquidated
         Brooklyn Park, MN 55443                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Michael Rounds                                               Contingent
         119 Hoot Owl Lane North                                      Unliquidated
         Leander, TX 78641                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.40
         Michael Salazar                                              Contingent
         3448 Cowboy Way                                              Unliquidated
         San Angelo, TX 76905                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Michael Schliwa                                              Contingent
         263 Jersey Tea Circle.                                       Unliquidated
         Ottawa ON K1V 2L5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.49
         Michael Schweisinger                                         Contingent
         23332 Adolph Avenue                                          Unliquidated
         Torrance, CA 90505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Michael Seeley                                               Contingent
         1204 Regency Park North                                      Unliquidated
         Queensbury, NY 12804                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Michael Smith                                                Contingent
         829 South Park Avenue                                        Unliquidated
         Unit B                                                       Disputed
         Independence, MO 64052
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 675 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 695 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.456
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Michael Smith                                                Contingent
         16707 E Yucca Ash Farm Rd                                    Unliquidated
         Sonoita, AZ 85637                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Michael Stokes                                               Contingent
         2273 Red Knot Lane                                           Unliquidated
         Apex, NC 27502                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Michael Suhrbier                                             Contingent
         4709 Block Island Ln                                         Unliquidated
         Clermont, FL 34714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Michael Suhrbier                                             Contingent
         4709 Block Island Ln                                         Unliquidated
         Clermont, FL 34714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Michael Swain                                                Contingent
         4000 E 5th St                                                Unliquidated
         Long Beach, CA 90814                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Michael Tang                                                 Contingent
         327 N Todd St                                                Unliquidated
         Visalia, CA 93291                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Michael Tayag                                                Contingent
         8109 28th Avenue Southwest                                   Unliquidated
         Seattle, WA 98126                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 676 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 696 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.456
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Michael Thomas                                               Contingent
         6720 Laurel Avenue                                           Unliquidated
         Portage, IN 46368                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.456
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $775.28
         Michael Tiano                                                Contingent
         975 Downing Drive                                            Unliquidated
         Woodstock ON N4T 0K4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.457
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Michael Tsun                                                 Contingent
         2817 Dayton Ave NE                                           Unliquidated
         Renton, WA 98056                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Michael Turner                                               Contingent
         4315 E. Mission Blvd                                         Unliquidated
         Fayetteville, AR 72703                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Twells                                               Contingent
         391 Northeast 43rd Court                                     Unliquidated
         Oakland Park, FL 33334                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $952.75
         Michael Vaticano                                             Contingent
         173 Edison A                                                 Unliquidated
         Edison, NJ 08820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Michael Vick                                                 Contingent
         4429 Maize Dr.                                               Unliquidated
         Plano, TX 75093                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 677 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 697 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.457
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.69
         Michael Wallace                                              Contingent
         5190 Northwest 167th Street #102                             Unliquidated
         Hialeah, FL 33014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $759.89
         Michael Walters
         2 Adelaide Mews                                              Contingent
         Stowmarket                                                   Unliquidated
         Suffolk ENG IP14 2GA                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.457
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $812.80
         Michael Waskow                                               Contingent
         Selliner Strasse 44                                          Unliquidated
         Dresden 1109                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.457
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Wherley                                              Contingent
         18987 Rossback Ter                                           Unliquidated
         Leesburg, VA 20176                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $794.78
         Michael Wieser                                               Contingent
         Am Lowentor 10                                               Unliquidated
         Berlin 14109                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Michael Williams                                             Contingent
         1305 W. Marvin St.                                           Unliquidated
         Longwood, FL 32750-6129                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 678 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 698 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.458
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Michael Williams                                             Contingent
         323 Trappers Pond Ct                                         Unliquidated
         Tooele, UT 84074                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.458
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.88
         Michael Wilson                                               Contingent
         606 Nara Building                                            Unliquidated
         London ENG SE137FH                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.22
         Michael Wilson                                               Contingent
         2175 Carlmont Drive #9                                       Unliquidated
         Belmont, CA 94002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.458
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.01
         Michael Winkler
         Meierei 1E                                                   Contingent
         2Consult E.K.                                                Unliquidated
         Stein 90547                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $998.01
         Michael Withers
         15 Borthwick Place                                           Contingent
         Balmullo                                                     Unliquidated
         St. Andrews SCT KY16 0EB                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.27
         Michael Wurster                                              Contingent
         6 Grass Rd                                                   Unliquidated
         Cherry Hill, NJ 08034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 679 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 699 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.458
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $771.07
         Michael Zelbel
         Forstwaldstrasse 365                                         Contingent
         Zelbel Ltd & Co.Kg                                           Unliquidated
         Krefeld 47804                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.458
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Michaela Dubois                                              Contingent
         3928 1st Avenue North                                        Unliquidated
         Saint Petersburg, FL 33713                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.458
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,701.85
         Michal Dolinay                                               Contingent
         Luana 1111                                                   Unliquidated
         Rajec 1501                                                   Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.459
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $473.15
         Michal Morawski                                              Contingent
         314 W Beech Dr                                               Unliquidated
         Schaumburg, IL 60193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,459.52
         Micheal Mohansingh                                           Contingent
         12 Carlton Rd                                                Unliquidated
         Frederiksted, VI 00840                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.93
         Michel Portmann                                              Contingent
         1320 Main Street                                             Unliquidated
         Apt 4                                                        Disputed
         Cincinnati, OH 45202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 680 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 700 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.459
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $813.35
         Michele Twitchell                                            Contingent
         25451 Hardy Place                                            Unliquidated
         Stevenson Ranch, CA 91381                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.55
         Michele-Lee Barasso                                          Contingent
         3221 Farmington Dr                                           Unliquidated
         Chevy Chase, MD 20815                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Michelle Broussard                                           Contingent
         120 Great Oak Way                                            Unliquidated
         Warner Robins, GA 31088                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.28
         Michelle Dunner-Meli                                         Contingent
         Stockenstrasse 1                                             Unliquidated
         Burglen 8575                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.459
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Michelle Maccio                                              Contingent
         9310 Cherokee Lane                                           Unliquidated
         Beverly Hills, CA 90210                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.98
         Mick McGee                                                   Contingent
         2162 31st Avenue                                             Unliquidated
         San Francisco, CA 94116                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.73
         Miguel A Ambrosi Avila
         Alborada 389, Parques Del Pedregal                           Contingent
         Parques Del Pedregal                                         Unliquidated
         Tlalpan DF 14010                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 681 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 701 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.460
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $901.42
         Miguel Alkmim
         Kiss Jozsef Utca 7                                           Contingent
         4 Emelet, 405 Ajto (Buzzer45)                                Unliquidated
         Budapest 1081                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.460
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.65
         Miguel Alonso Alvarez Olivas
         Street Orleans, #217 Cerradas De Concord                     Contingent
         House 217                                                    Unliquidated
         Apodaca NL 66609                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.460
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Miguel Angel Sanchez                                         Contingent
         1020 Rue Chateauneuf                                         Unliquidated
         Saint-Jerome QC J5L 1H7                                      Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.460
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.38
         Miguel Bonilla                                               Contingent
         1527 North Cypress Avenue                                    Unliquidated
         Ontario, CA 91762                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.460
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Miguel Delaguardia                                           Contingent
         2160 SW 123 Ct                                               Unliquidated
         Miami, FL 33175                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.460
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Miguel Grau                                                  Contingent
         Urb. Valparaiso Calle 1 K-16                                 Unliquidated
         Toa Baja, PR 00949                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 682 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 702 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.460
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,536.38
         Miguel Kafati                                                Contingent
         Colonia Miramontes 5Ta Calle #2212                           Unliquidated
         Tegucigalpa 0                                                Disputed
         HONDURAS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.460
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Miguel Otano                                                 Contingent
         4406 NW 74th Ave.                                            Unliquidated
         005-002026                                                   Disputed
         Miami, FL 33195-6407
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.460
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,326.97
         Miguel Padilla                                               Contingent
         43 E Mcclellan Ave.                                          Unliquidated
         Livingston, NJ 07039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.460
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Miguel Padilla                                               Contingent
         43 E Mcclellan Ave.                                          Unliquidated
         Livingston, NJ 07039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.461
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $916.13
         Miguel Sanchez                                               Contingent
         5415 Central Avenue                                          Unliquidated
         Bonita, CA 91902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.461
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,301.87
         Miguel Sanchez                                               Contingent
         298 S Peppertree Dr.                                         Unliquidated
         Vero Beach, FL 32963                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.461
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,615.36
         Miguel Segui                                                 Contingent
         Gran Via De Les Corts Catalanes 1040, Ba                     Unliquidated
         Barcelona B 8020                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 683 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 703 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.461
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,099.00
         Mihai Olteanu                                                Contingent
         1900 Van Buren St.                                           Unliquidated
         Apt 508B                                                     Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,978.72
         Mihai Olteanu                                                Contingent
         1900 Van Buren St.                                           Unliquidated
         Apt 508B                                                     Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,493.34
         Mihail Cristian Croitoru                                     Contingent
         6 Abbey Road                                                 Unliquidated
         London ENG SW192LZ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.37
         Mihail Golovin
         Flat 4                                                       Contingent
         7 Annandale Avenue                                           Unliquidated
         Bognor Regis ENG PO21 2ES                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.41
         Mihail Muntean                                               Contingent
         40 Glenavon Road                                             Unliquidated
         London ENG E15 4DD                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Mika Astono                                                  Contingent
         9 Windmill Avenue                                            Unliquidated
         Ladera Ranch, CA 92694                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 684 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 704 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.461
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Alireza Mikaeili                                             Contingent
         755 International Blvd                                       Unliquidated
         Apt#139                                                      Disputed
         Houston, TX 77024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         Mike Barger                                                  Contingent
         131 S. 11th St                                               Unliquidated
         Pittsburgh, PA 15203-1241                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.462
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Mike Benish                                                  Contingent
         17 Woodycrest Ave                                            Unliquidated
         Toronto ON M4J 3A5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.68
         Mike Benish                                                  Contingent
         17 Woodycrest Ave                                            Unliquidated
         Toronto ON M4J 3A5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Mike Benoit                                                  Contingent
         188 Rue Lasalle                                              Unliquidated
         Saint-Constant QC J5A 0J1                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.73
         Mike Blakey                                                  Contingent
         5245 SW 103 Drive                                            Unliquidated
         Gainesville, FL 32608                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.462
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.64
         Mike Bolis                                                   Contingent
         226 West Washington Street                                   Unliquidated
         Itasca, IL 60143                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 685 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 705 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.462
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Mike Concannon                                               Contingent
         1024 Kirby Court                                             Unliquidated
         Folsom, CA 95630                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.462
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Mike De Oliveira                                             Contingent
         185 Lambton Ave                                              Unliquidated
         Toronto ON M6N 2T1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,981.72
         Mike Economopoulos                                           Contingent
         95 Chester Avenue                                            Unliquidated
         Toronto ON M4K 2Z8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.462
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,981.72
         Mike Economopoulos                                           Contingent
         205 Wynford Drive, #2106                                     Unliquidated
         Toronto ON M3C3P4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.463
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.92
         Mike Eielts                                                  Contingent
         Wilgenhof 139                                                Unliquidated
         Papendrecht 3355PG                                           Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.463
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,743.62
         Mike Gustavson                                               Contingent
         2554 Vine St.                                                Unliquidated
         Vancouver BC V6K 3L1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.463
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.79
         Mike Hall                                                    Contingent
         40 Hither Green Lane                                         Unliquidated
         Redditch ENG B98 9BW                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 686 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 706 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.463
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,056.40
         Mike Hintz                                                   Contingent
         16672 Southwest Jordan Way                                   Unliquidated
         Tigard, OR 97224                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.91
         Mike Holman
         Flat 48 The Ironworks                                        Contingent
         58 Dace Road                                                 Unliquidated
         Bow ENG E32NX                                                Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.463
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mike Howey                                                   Contingent
         6171 Standing Stone Dr                                       Unliquidated
         Holland, MI 49423                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Mike Kennedy                                                 Contingent
         1319 Howard St                                               Unliquidated
         Mount Morris, MI 48458                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Mike Miles                                                   Contingent
         4608 Gates Road                                              Unliquidated
         Warrenton, VA 20187                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Mike Miller                                                  Contingent
         6366 NE Marina Ct                                            Unliquidated
         Hillsboro, OR 97124                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Mike Oconnell                                                Contingent
         14489 Wilder Lane                                            Unliquidated
         Grass Valley, CA 95945                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 687 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 707 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.464
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,383.66
         Mike Panayiotides                                            Contingent
         6S114 Lakewood Dr                                            Unliquidated
         Naperville, IL 60540                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,323.92
         Mike Panayiotides                                            Contingent
         6S114 Lakewood Dr                                            Unliquidated
         Naperville, IL 60540                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Mike Rose                                                    Contingent
         261 Wallington Ave                                           Unliquidated
         Wallington, NJ 07057                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.42
         Mike Sha                                                     Contingent
         10 Tieman Circle                                             Unliquidated
         Delanco, NJ 08075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Mike Truxillo                                                Contingent
         925 State Street                                             Unliquidated
         New Orleans, LA 70118                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Mike Ward                                                    Contingent
         3190 Roswell Road Northwest                                  Unliquidated
         Atlanta, GA 30305                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,449.59
         Mikhail Abdurakhmanov                                        Contingent
         16 Troy Drive                                                Unliquidated
         Apartment A                                                  Disputed
         Springfield, NJ 07081
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 688 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 708 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.464
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.88
         Mikhail Maximov                                              Contingent
         Seren Park Gardens 97                                        Unliquidated
         London ENG SE3 7RR                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.464
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.66
         Mikhail Pakhomov                                             Contingent
         23 Mahogany Drive SE                                         Unliquidated
         Calgary AB T3M 2K3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.464
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $953.45
         Mikkel Galsgaard
         Arkildsdal                                                   Contingent
         128 St                                                       Unliquidated
         Norresundby 9400                                             Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.465
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.32
         Alex Mikul                                                   Contingent
         10055 Southwest Sire Terrace                                 Unliquidated
         Beaverton, OR 97008                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.81
         Milan Hodas                                                  Contingent
         Mlynska 454                                                  Unliquidated
         Rosina 1322                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.465
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.20
         Milan Jajic                                                  Contingent
         8 Equestrian Way                                             Unliquidated
         Lemont, IL 60439                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 689 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 709 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.465
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,565.61
         Milan Reichbach                                              Contingent
         444 South Blount Street, #117                                Unliquidated
         Raleigh, NC 27601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,420.83
         Milan Reichbach                                              Contingent
         444 South Blount Street, #117                                Unliquidated
         Raleigh, NC 27601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.59
         Miles Orourke                                                Contingent
         237 Roesch Avenue                                            Unliquidated
         Unit A                                                       Disputed
         Oreland, PA 19075
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.465
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Mili Ombasic                                                 Contingent
         220 Woodridge Crescent, #205                                 Unliquidated
         Ottawa ON K2B 8G1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.465
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.40
         Matthew Miller                                               Contingent
         172 Rt 28                                                    Unliquidated
         Inlet, NY 13360                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Milly Petkovic                                               Contingent
         5 Hausman St, #2                                             Unliquidated
         Brooklyn, NY 11222                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Milly Petkovic                                               Contingent
         5 Hausman St, #2                                             Unliquidated
         Brooklyn, NY 11222                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 690 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 710 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.466
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $934.14
         Milos Fiala                                                  Contingent
         Oradourska 145                                               Unliquidated
         Lidice 27354                                                 Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,478.35
         Milutin Markovic                                             Contingent
         Greifenstrasse 15                                            Unliquidated
         St. Gallen 9000                                              Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Minhaz Mishu                                                 Contingent
         1004 Beverley Rd                                             Unliquidated
         Apt 2                                                        Disputed
         Brooklyn, NY 11218
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.48
         Miodrag Zarev                                                Contingent
         3 Beverley Close                                             Unliquidated
         Epsom ENG KT173HB                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $119.00
         Mira Ghattas
         1277 West Cordova Street                                     Contingent
         Th31                                                         Unliquidated
         Vancouver BC V6C 3P9                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Mircea Predut                                                Contingent
         Vintila Mihailescu Nr 19 Bl 62 Sc A Ap 5                     Unliquidated
         Bucuresti B 60395                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 691 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 711 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.466
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,477.08
         Mirko Tomioli                                                Contingent
         Via Carotte 17 Verona                                        Unliquidated
         Cerea VR 37053                                               Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,465.83
         Miroslav Stanojevic
         Samarska 1                                                   Contingent
         Unicom-Telecom D.O.O. Beograd                                Unliquidated
         Belgrade 11077                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $135.00
         Mirza Gubeladze                                              Contingent
         9035 Colby Dr, Apt 2319                                      Unliquidated
         Apt 2319                                                     Disputed
         Fort Myers, FL 33919
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.466
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.57
         Mirza Otovic                                                 Contingent
         60 Monitor Street                                            Unliquidated
         Suite 2                                                      Disputed
         Jersey City, NJ 07304
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.467
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,413.93
         Mirza Otovic                                                 Contingent
         60 Monitor St                                                Unliquidated
         Jersey City, NJ 07304                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.467
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,427.47
         Misty Hutton                                                 Contingent
         15 Rolling Hills Drive                                       Unliquidated
         Barrington, IL 60010-9333                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 692 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 712 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.467
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Mitch Petracca                                               Contingent
         340 West 3rd Street, #3                                      Unliquidated
         Boston, MA 02127                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.467
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Mitchell Ethier
         2951 Riverside Drive                                         Contingent
         Unit 212                                                     Unliquidated
         Ottawa ON K1V 8W6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.467
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.30
         Mitchell Manning                                             Contingent
         18213 19th Drive Southeast                                   Unliquidated
         Bothell, WA 98012                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.467
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $972.55
         Andy Mitchell                                                Contingent
         2900 Laurel Ridge Way                                        Unliquidated
         Apt 9006                                                     Disputed
         East Point, GA 30344
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.467
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $314.38
         Mithilan Thanabalasingam                                     Contingent
         14 Arnold Estate Lane                                        Unliquidated
         Ajax ON L1S 7L6                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.467
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $926.85
         Mitja Jankovi                                                Contingent
         Via Fabio Severo 33                                          Unliquidated
         Trieste TS 34133                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 693 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 713 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.467
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,427.02
         Mj Miller                                                    Contingent
         18 Strowans Road                                             Unliquidated
         Dumbarton SCT G82 2PB                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.467
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $942.51
         Mohamad Alsalti                                              Contingent
         Plonzeile 38                                                 Unliquidated
         Berlin 12459                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.28
         Mohamad El Hout
         14, Rue Veillette                                            Contingent
         Rue Veillette                                                Unliquidated
         Saint-Constant QC J5A 1N7                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Mohamad El-Zaru                                              Contingent
         17 Fox Meadow Drive                                          Unliquidated
         Westwood, MA 02090                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.468
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $868.05
         Mohamad Fneich                                               Contingent
         Theodor Heuss Strasse 25                                     Unliquidated
         Albstadt 72459                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.69
         Mohamad Fneich                                               Contingent
         Theodor Heuss Strasse 25                                     Unliquidated
         Albstadt 72459                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 694 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 714 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.468
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.49
         Mohamad Geron                                                Contingent
         Auguste-Viktoria-Allee 51B                                   Unliquidated
         Berlin 13403                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.98
         Mohamad Soufi
         Mount Avenue                                                 Contingent
         1 Mount View                                                 Unliquidated
         London ENG W5 1PR                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Mohamed Abdelsamad                                           Contingent
         108 Ladomus Circle                                           Unliquidated
         Ridley Park, PA 19078                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.468
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.17
         Mohamed Hadida                                               Contingent
         7930 Payne Ave                                               Unliquidated
         Dearborn, MI 48126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.468
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $573.00
         Mohamed Hedi Jarboua                                         Contingent
         Via Fratelli Zuccari, 3A                                     Unliquidated
         Fano PU 61032                                                Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.468
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $573.03
         Mohamed Jarboua                                              Contingent
         Via Fratelli Zuccari, 3A                                     Unliquidated
         Fano PU 61032                                                Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 695 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 715 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.469
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $787.05
         Mohamed Tabti                                                Contingent
         Chemin De La For t 14                                        Unliquidated
         Ecublens 1024                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Mohammad Ali                                                 Contingent
         3902 Cook St                                                 Unliquidated
         Alexandria, VA 22311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.469
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Mohammad Ali                                                 Contingent
         3902 Cook St                                                 Unliquidated
         Alexandria, VA 22311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.469
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,142.28
         Mohammad Arshad                                              Contingent
         448 Bristol Road West                                        Unliquidated
         Mississauga ON L5R 2J6                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,426.79
         Mohammad Awad                                                Contingent
         St 1 , Block 3 , Bulding 93                                  Unliquidated
         Salwa 25600                                                  Disputed
         KUWAIT
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Mohammad Hirzallah                                           Contingent
         2311 Milam Street Apt 8102                                   Unliquidated
         Ganymede LLC                                                 Disputed
         Houston, TX 77006
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Mohammad Hirzallah                                           Contingent
         2311 Milam Street Apt 8102                                   Unliquidated
         Ganymede LLC                                                 Disputed
         Houston, TX 77006
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 696 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 716 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.469
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Mohammad Hussein                                             Contingent
         1962 Lobelia Way                                             Unliquidated
         Ottawa ON K4A 4R6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Mohammadamin Nikmanesh                                       Contingent
         1955 Alpha Way, #4904                                        Unliquidated
         Burnaby BC V5C 0K6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.469
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Mohammed Alakhras                                            Contingent
         339 Rathburn Road West, #1806                                Unliquidated
         Mississauga ON L5B0K6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Mohammed Ali                                                 Contingent
         519 Warden Ave                                               Unliquidated
         Toronto ON M1L3Z2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,259.52
         Mohammed Almani                                              Contingent
         3525 Sage Road                                               Unliquidated
         Unit 912                                                     Disputed
         Houston, TX 77056
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,633.14
         Mohammed Dahir                                               Contingent
         7201 York Avenue South #308                                  Unliquidated
         Edina, MN 55435                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 697 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 717 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.470
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,555.38
         Mohammed Ennabety                                            Contingent
         1628 Diamond Springs Road                                    Unliquidated
         Apt 202                                                      Disputed
         Virginia Beach, VA 23455
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Mohammed Ennabety                                            Contingent
         1628 Diamond Springs Road                                    Unliquidated
         Apt# 202                                                     Disputed
         Virginia Beach, VA 23455
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Mohammed Ennaoui                                             Contingent
         4035 Levesque Ouest #5                                       Unliquidated
         Laval QC H7W 2P3                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $795.18
         Mohammed Mahli                                               Contingent
         Testilkent Mahallesi, Demokrasi Blv. No:                     Unliquidated
         Gaziantep 27000                                              Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,426.50
         Mohammed Miab                                                Contingent
         133 Copsterhill Road                                         Unliquidated
         Oldham ENG OL8 1QQ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.470
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mohammed Moosa                                               Contingent
         508 Centennial Blvd Ste 102                                  Unliquidated
         Richardson, TX 75081                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.470
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Mohammed Moosa                                               Contingent
         508 Centennial Blvd Ste 102                                  Unliquidated
         Richardson, TX 75081                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 698 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 718 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.471
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.01
         Mohammed Munier Hamoud Shikh                                 Contingent
         Avrillastrasse 1                                             Unliquidated
         Schwalbach Am Taunus 65824                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.471
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.06
         Mohammed Qasim                                               Contingent
         322 Heaton Road                                              Unliquidated
         Bradford ENG BD9 4RY                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.471
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $799.34
         Mohammed Safeek Korakkottil                                  Contingent
         10 Lime Tree Road                                            Unliquidated
         Birmingham ENG B82XG                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.471
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Mohammed Shaik                                               Contingent
         843 North Markoe Street                                      Unliquidated
         Philadelphia, PA 19139                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Abdulrahaman Mohammed                                        Contingent
         5137 Lincoln Avenue                                          Unliquidated
         Alexandria, VA 22312                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Mohan Singh                                                  Contingent
         51 Adams Terrace #12                                         Unliquidated
         Kelburn WGN 6021                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 699 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 719 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.471
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.71
         Mohd Rashad Al Bati                                          Contingent
         Flat A, 10 Dalrymple Court, Kirkintilloc                     Unliquidated
         Glasgow SCT G66 3AA                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.471
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Moises Govea                                                 Contingent
         9155 Telegraph Road                                          Unliquidated
         2nd Floor                                                    Disputed
         Pico Rivera, CA 90660
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.471
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Andrew Mondi                                                 Contingent
         3903 Vaughan Street                                          Unliquidated
         Austin, TX 78723                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.25
         Mondiru Cristian                                             Contingent
         Splaiul Independentei 313 Bl C9 Ap 93                        Unliquidated
         Bucuresti B 60042                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.472
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Monet Harkin                                                 Contingent
         7017 Wakefield St                                            Unliquidated
         Dallas, TX 75231                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Monica Torres
         111 Pacific Avenue                                           Contingent
         Suite 1803                                                   Unliquidated
         Toronto ON M6P2P2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 700 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 720 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.472
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,391.11
         Andrew Montanez                                              Contingent
         746 South Los Angeles St., #304                              Unliquidated
         Los Angeles, CA 90014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Andrew Montanez                                              Contingent
         746 South Los Angeles St., #304                              Unliquidated
         Los Angeles, CA 90014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Andrew Montanez                                              Contingent
         746 South Los Angeles St., #304                              Unliquidated
         Los Angeles, CA 90014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Monty Johnson                                                Contingent
         9808 Skyline Circle                                          Unliquidated
         Johnston, IA 50131                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,456.43
         Monty Slimp                                                  Contingent
         5803 244th St Sw                                             Unliquidated
         Mountlake Terrace, WA 98043                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.99
         Morgan Arnold                                                Contingent
         51 Ashwin Parade                                             Unliquidated
         Torrensville SA 5031                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.472
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.37
         Morgan Hatcher                                               Contingent
         4713 E Van Buren St                                          Unliquidated
         Unit 2031                                                    Disputed
         Phoenix, AZ 85008
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 701 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 721 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.472
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,633.26
         Moritz Sumera                                                Contingent
         Johannkamp 1                                                 Unliquidated
         Hamburg 22459                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.97
         Mostafa Ibrahim                                              Contingent
         110 William Smith Close                                      Unliquidated
         Cambridge ENG CB1 3QF                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.32
         Motin Uddin                                                  Contingent
         172 Kenelm Rd                                                Unliquidated
         Birmingham ENG B10 9AG                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $858.55
         Mouaid Al Anbawi                                             Contingent
         Wolfnitzer Ring 36                                           Unliquidated
         Dresden 1169                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.93
         Mouhssin Souici
         435 Bourke Avenue                                            Contingent
         1E                                                           Unliquidated
         Dorval QC H9S3W8                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $29.00
         Mounir Benamara                                              Contingent
         21 Avenue Pablo Picasso                                      Unliquidated
         Nanterre 92000                                               Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 702 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 722 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.473
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Verley Moyton Jr.                                            Contingent
         17381 35th Place N                                           Unliquidated
         Loxahatchee, FL 33470                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.473
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Mozelle Smith                                                Contingent
         Yamacraw Hill Road                                           Unliquidated
         Nassau                                                       Disputed
         THE BAHAMAS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.473
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Alan Mrvica                                                  Contingent
         7436 NW 113 Ave                                              Unliquidated
         Parkland, FL 33076                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.473
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Alan Mrvica                                                  Contingent
         7436 NW 113 Ave                                              Unliquidated
         Parkland, FL 33076                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.473
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $846.24
         Muaz Kawrdi                                                  Contingent
         Jeekelstraat 32                                              Unliquidated
         Leerdam 4142 AC                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,012.83
         Muhamad Rich                                                 Contingent
         Malfattigasse 16/30                                          Unliquidated
         Wien 1120                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $839.65
         Muhamad Rich                                                 Contingent
         Malfattigasse 16, #30                                        Unliquidated
         Wien 1120                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 703 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 723 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.474
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Muhammad Affan                                               Contingent
         4991 Rue Ath Na                                              Unliquidated
         Montreal QC H8Z 3K9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.72
         Muhammad Affan                                               Contingent
         4991 Rue Ath Na                                              Unliquidated
         Montreal QC H8Z 3K9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Muhammad Afzal
         5602 Tenth Line West                                         Contingent
         Unit # 123                                                   Unliquidated
         Mississauga ON L5M 7L9                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Muhammad Jamil                                               Contingent
         4706 Kirkdale Drive                                          Unliquidated
         Woodbridge, VA 22193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.474
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Muhammad Saleem                                              Contingent
         1869 Emerald Drive                                           Unliquidated
         Orefield, PA 18069                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.474
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.02
         Muhammad Satti
         504/16 Railway Parade                                        Contingent
         Level 5 Commercial Entry (Qpay)                              Unliquidated
         Burwood NSW 2134                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 704 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 724 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.474
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Muhammed Bozkurt                                             Contingent
         3 San Marino Dr                                              Unliquidated
         Prestons NSW 2170                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.474
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.99
         Muhammed Dawood                                              Contingent
         135 Claremont Road                                           Unliquidated
         London ENG E7 0PY                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,196.44
         Muhammed Gunsay                                              Contingent
         12A Buchan Street                                            Unliquidated
         Melbourne VIC 3048                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.47
         Muhammed Kaya
         Balikyolu Mah Ozanlar Cad No 85A Esenyur                     Contingent
         T.C 27815582132                                              Unliquidated
         Istanbul 34517                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,051.00
         Muhammet Orcun Kir
         Strada Republicii 320, Barlad 731130 (Ur                     Contingent
         Et.1                                                         Unliquidated
         Barlad VS 731130                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Mukesh Graham                                                Contingent
         2340 Strathmore Cres                                         Unliquidated
         Pickering ON L1X2H2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 705 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 725 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.475
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $769.50
         Aditya Mukherjee                                             Contingent
         88 Prestwick Way                                             Unliquidated
         Edison, NJ 08820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.475
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.92
         Mark James Mullins                                           Contingent
         P.O. Box 1313                                                Unliquidated
         Douglas, WY 82633                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.475
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,302.57
         Mun Leo                                                      Contingent
         3561 Homestead Road 195                                      Unliquidated
         Santa Clara, CA 95051                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.475
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Munhall Inc
         25 Downey Road                                               Contingent
         Order #2                                                     Unliquidated
         Okotoks AB T1S 1H5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $942.51
         Murat Gokyildiz                                              Contingent
         Eisenstr 29                                                  Unliquidated
         Cologne 50825                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.475
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.57
         Murat Gunes                                                  Contingent
         Finkenwerder Norderdeich 49                                  Unliquidated
         Hamburg 21129                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 706 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 726 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.476
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Adam Muriby                                                  Contingent
         1354 Hamilton Grn                                            Unliquidated
         Allen, TX 75013                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.83
         Mustafa Akar                                                 Contingent
         Stettiner Strasse #32                                        Unliquidated
         Erlangen 91058                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.476
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Mustafa Almusli                                              Contingent
         390 Wyandotte Street East                                    Unliquidated
         Windsor ON N9A 3H6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.476
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Mustafa Hamandi                                              Contingent
         36-8 Fort Evans Rd NE                                        Unliquidated
         Apt 7                                                        Disputed
         Leesburg, VA 20176
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.476
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.50
         Mutwa Glascoe                                                Contingent
         10416 Bowies Knoll                                           Unliquidated
         Schertz, TX 78154                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Myles Holmes                                                 Contingent
         6003 Deleon Avenue                                           Unliquidated
         Fort Pierce, FL 34951                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Myo Thein                                                    Contingent
         731 87th Street                                              Unliquidated
         Daly City, CA 94015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 707 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 727 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.476
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,253.54
         Nabeel Alam                                                  Contingent
         1709 - 25 Thunder Grove                                      Unliquidated
         Scarborough ON M1V 3M2                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.476
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Nadine Smith                                                 Contingent
         4659 26th Ave S                                              Unliquidated
         St Petersburg, FL 33711                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.88
         Nadir Mir                                                    Contingent
         2015 South Finley Road                                       Unliquidated
         Apt 812                                                      Disputed
         Lombard, IL 60148
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.477
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Abdullah Naeem                                               Contingent
         46042 Earle Wallace Circle                                   Unliquidated
         Sterling, VA 20176                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.56
         Nagarajendra Palapati                                        Contingent
         775 E Long Lake Rd                                           Unliquidated
         Troy, MI 48085                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.75
         Najma Ali                                                    Contingent
         5054 Warwickshire Way                                        Unliquidated
         Mississauga ON L5V 1R3                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.477
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.22
         Namo Pato                                                    Contingent
         2381 Hidden Springs Court                                    Unliquidated
         Turlock, CA 95382                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 708 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 728 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.477
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.21
         Namratha Vedire                                              Contingent
         319 Monterey Circle                                          Unliquidated
         Jonesboro, GA 30236                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Nanci Lopez                                                  Contingent
         5817 Rae Drive                                               Unliquidated
         Las Vegas, NV 89108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Nanda Sugito                                                 Contingent
         2755 Waterway Dr                                             Unliquidated
         Grand Prairie, TX 75054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Nanda Sugito                                                 Contingent
         2755 Waterway Dr                                             Unliquidated
         Grand Prairie, TX 75054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Nanda Sugito                                                 Contingent
         2755 Waterway Dr                                             Unliquidated
         Grand Prairie, TX 75054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Nanda Sugito                                                 Contingent
         2755 Waterway Dr                                             Unliquidated
         Grand Prairie, TX 75054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Nanda Sugito                                                 Contingent
         2755 Waterway Dr                                             Unliquidated
         Grand Prairie, TX 75054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 709 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 729 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.478
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $880.13
         Naramsin Gorial                                              Contingent
         Prilyckegatan 101,                                           Unliquidated
         Goteborg 42532                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.478
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Narik Tachadjian                                             Contingent
         7809 Peachtree Avenue                                        Unliquidated
         Panorama City, CA 91402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Narik Tachadjian                                             Contingent
         7809 Peachtree Avenue                                        Unliquidated
         Panorama, CA 91402                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $62.88
         Narik Tachadjian                                             Contingent
         7809 Peachtree Ave                                           Unliquidated
         Panorama, CA 91402                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $843.80
         Narzan Yousef                                                Contingent
         Ospelgasse 1-9/1/55, 1/55                                    Unliquidated
         Wien 1200                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.478
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.73
         Nasrin Mostadamiyan                                          Contingent
         315/23-25 North Rocks Rd #315                                Unliquidated
         North Rocks NSW 2151                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.478
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Natalia Duque                                                Contingent
         536 Northeast 69th Street                                    Unliquidated
         Miami, FL 33138                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 710 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 730 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.478
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.79
         Natalie Higgins                                              Contingent
         100 Callio St.                                               Unliquidated
         Pittsburgh, PA 15210                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Natalie Pogue                                                Contingent
         213 East 3rd                                                 Unliquidated
         Covington, KY 41011                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Nate Adams                                                   Contingent
         41191 North Arbor Avenue                                     Unliquidated
         San Tan Valley, AZ 85140                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nate Buchanan                                                Contingent
         243 W 76th St                                                Unliquidated
         Apt 4B                                                       Disputed
         New York, NY 10023
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.479
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Nate Triebner                                                Contingent
         1088 St Anthony Rd                                           Unliquidated
         London ON N6H 2P6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.479
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $58.12
         Nathan Bennett                                               Contingent
         227 Medicine Butte Dr #B                                     Unliquidated
         Evanston, WY 82930-3004                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Nathan Bennett                                               Contingent
         227 Medicine Butte Drive                                     Unliquidated
         #B                                                           Disputed
         Evanston, WY 82930
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 711 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 731 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.479
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nathan Bohn                                                  Contingent
         50 Bush Avenue                                               Unliquidated
         Greenwich, CT 06830                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $773.40
         Nathan Carver                                                Contingent
         7880 E Viewmount Ct                                          Unliquidated
         Anaheim, CA 92808                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Nathan Everett                                               Contingent
         606 Country Meadow Tr                                        Unliquidated
         Ortonville, MI 48462                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Nathan Furr                                                  Contingent
         212 Rugby Lane                                               Unliquidated
         Mckinney, TX 75072                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Nathan Gallegos                                              Contingent
         245 Benton Avenue                                            Unliquidated
         San Francisco, CA 94112                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Nathan Harrington                                            Contingent
         1443 Grand Falls Drive                                       Unliquidated
         Missouri City, TX 77459                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Nathan Liu                                                   Contingent
         28 Tavistock Road                                            Unliquidated
         South Hurstville NSW 2221                                    Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 712 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 732 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.480
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.63
         Nathan McFate                                                Contingent
         5350 E Motsinger Rd                                          Unliquidated
         Salem, IN 47167                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.69
         Nathan McLaughlin                                            Contingent
         421 Lamar Avenue                                             Unliquidated
         Pittsburgh, PA 15221                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $799.99
         Nathan Nakao                                                 Contingent
         319 Ironside Cove                                            Unliquidated
         Stafford, VA 22554                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         Nathan Novak                                                 Contingent
         1841 Wetherburn Dr                                           Unliquidated
         Columbus, OH 43235                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $880.90
         Nathan Peltier                                               Contingent
         Avenue Albert Jonnart, 27                                    Unliquidated
         Woluwe-Saint-Lambert 1200                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.480
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,243.12
         Nathan Rich                                                  Contingent
         4109 W 1850 N                                                Unliquidated
         Lehi, UT 84043                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,808.61
         Nathan Ruston
         170-180 Carlton Road                                         Contingent
         Unit 5 (Now Education)                                       Unliquidated
         Nottingham ENG NG3 2BB                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 713 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 733 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.480
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.50
         Nathan Schrenk                                               Contingent
         407 E Argonne Dr                                             Unliquidated
         Kirkwood, MO 63122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.11
         Nathan Strobel                                               Contingent
         709 S. 6th St.                                               Unliquidated
         Brainerd, MN 56401                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Nathan Valverde                                              Contingent
         460 Harrison Ave #210                                        Unliquidated
         Boston, MA 02118                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,424.18
         Nathanael Durant                                             Contingent
         1300 Pennsylvania Street, #201                               Unliquidated
         Denver, CO 80203                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Nathaniel Danos                                              Contingent
         1389 Jefferson St, Unit C305                                 Unliquidated
         Oakland, CA 94612                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Nathaniel Hopkins                                            Contingent
         21 Starboard Avenue                                          Unliquidated
         Jamestown, RI 02835                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Nathaniel Moore                                              Contingent
         4108 Medary Ave                                              Unliquidated
         Brookings, SD 57006                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 714 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 734 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.481
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Nathaniel Parizi                                             Contingent
         117 Shallowford Way                                          Unliquidated
         Seneca, SC 29672                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Nathaniel Rodway                                             Contingent
         2339 Harrison Avenue                                         Unliquidated
         Baldwin, NY 11510                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.06
         Natt Taylor                                                  Contingent
         563 Fernwood Ln                                              Unliquidated
         563 Fernwood Ln                                              Disputed
         Fairless Hills, PA 19067
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.481
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Navdeep Devgan                                               Contingent
         76 Ravenswood Dr                                             Unliquidated
         Brampton ON L6Y 4A1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.482
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $921.70
         Naveed Ahmad                                                 Contingent
         180 Capp St. #004                                            Unliquidated
         San Francisco, CA 94110                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Naveed Bawany                                                Contingent
         14443 Simmons Ln                                             Unliquidated
         Woodbridge, VA 22193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.49
         Naveed Dezfoli                                               Contingent
         8454 Langdon Avenue                                          Unliquidated
         Unit 5                                                       Disputed
         North Hills, CA 91343
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 715 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 735 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.482
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.42
         Naveen Kumar Indurti                                         Contingent
         1803 Canyon Oaks Lane                                        Unliquidated
         Lake Forest, CA 92679                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Nazrry Carlos                                                Contingent
         14520 Dayton Avenue North                                    Unliquidated
         Apt B                                                        Disputed
         Shoreline, WA 98133
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.482
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $480.07
         Neal Cynkus                                                  Contingent
         25849 E Calhoun Pl                                           Unliquidated
         Aurora, CO 80016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,984.52
         Neal Heinecke                                                Contingent
         3921 N Steele Blvd, #107                                     Unliquidated
         Fayetteville, AR 72703                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,034.52
         Neal Heinecke                                                Contingent
         3921 N Steele Blvd, #107                                     Unliquidated
         Fayetteville, AR 72703                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.09
         Nebojsa Sjekloca
         Trg Nikole Kovalevica 7, Blok V Sprat 15                     Contingent
         Blok V Sprat 15                                              Unliquidated
         Podgorica 81000                                              Disputed
         MONTENEGRO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 716 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 736 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.482
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,336.17
         Ned Alicando                                                 Contingent
         6-9405 121 Street                                            Unliquidated
         Surrey BC V3V 0A9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.51
         Neeraj Mittra                                                Contingent
         119 Bella Luna                                               Unliquidated
         Spring, TX 77381                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.483
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Neil Gaila                                                   Contingent
         18017 Chatsworth Street                                      Unliquidated
         # 369                                                        Disputed
         Northridge, CA 91344
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Neil Gaila                                                   Contingent
         17726 Kinzie Street                                          Unliquidated
         # 76                                                         Disputed
         Los Angeles, CA 91325
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $774.96
         Neil Haque                                                   Contingent
         375 Lindenwood Drive East                                    Unliquidated
         Winnipeg MB R3P2H1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Neil Nylander                                                Contingent
         7345 164th Ave NE                                            Unliquidated
         Suite I145-316                                               Disputed
         Redmond, WA 98052
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.11
         Neil Parry                                                   Contingent
         4 Copperbeech Drive                                          Unliquidated
         Tredegar WLS NP224FD                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 717 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 737 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.483
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.06
         Neil Skoglund
         46 North Side                                                Contingent
         The Cardinals                                                Unliquidated
         Farnham ENG GU10 1ED                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $759.89
         Neill Macguire                                               Contingent
         7 Heather Avenue                                             Unliquidated
         Glasgow SCT G61 3AN                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.483
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,123.88
         Nelson Lee                                                   Contingent
         13845 Proctor Avenue                                         Unliquidated
         La Puente, CA 91746                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.483
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Nemanja Milojevic                                            Contingent
         Momacka 4                                                    Unliquidated
         Beograd 11050                                                Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.80
         Nenad Zec                                                    Contingent
         Buchrainweg 65                                               Unliquidated
         Offenbach 63069                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         Nery Carranza-Vences                                         Contingent
         1046 Caldwell Ave                                            Unliquidated
         Vallejo, CA 94591                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 718 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 738 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.484
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.05
         Neslihan Uslu                                                Contingent
         Neslihan Eczanesi Istasyon Mah. Leylak C                     Unliquidated
         Ankara 6790                                                  Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.81
         Nestor Gonzalez                                              Contingent
         9580 Blackbear Dr                                            Unliquidated
         Reno, NV 89506                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.484
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Nestor Pimentel                                              Contingent
         3030 McKinney Ave Apt 505                                    Unliquidated
         Dallas, TX 75204-7482                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.484
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,723.99
         Nevin Mcclintock                                             Contingent
         38 Kellett St                                                Unliquidated
         Northcote VIC 3070                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Laila and Eric New Home                                      Contingent
         11533 Brighton Knoll Loop                                    Unliquidated
         Riverview, FL 33579                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.484
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,438.41
         Nexhmedin Hajrizi                                            Contingent
         Im Bans 4                                                    Unliquidated
         Pinneberg 25421                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.58
         Neysi Anderson                                               Contingent
         8532 Via Mallorca                                            Unliquidated
         Unit B                                                       Disputed
         La Jolla, CA 92037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 719 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 739 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.484
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Anh Nguyen                                                   Contingent
         1620 W Center St, #255                                       Unliquidated
         Rochester, MN 55902                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Vu Nguyen                                                    Contingent
         9625 Pine Lake Dr                                            Unliquidated
         Houston, TX 77055                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.38
         Nhat Nguyen                                                  Contingent
         3109 Brandywine Drive                                        Unliquidated
         San Jose, CA 95121                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Nicholas Axcell                                              Contingent
         3522 Cornwall Court                                          Unliquidated
         Missouri City, TX 77459                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,479.08
         Nicholas Bardoutsos                                          Contingent
         133 N Bread Street                                           Unliquidated
         Unit 1I1                                                     Disputed
         Philadelphia, PA 19106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.485
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Nicholas Barlow                                              Contingent
         3628 Omalley Ln                                              Unliquidated
         Montgomery, AL 36116                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.12
         Nicholas Bolda                                               Contingent
         2787 West Fox Hunters Loop                                   Unliquidated
         Lehi, UT 84043                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 720 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 740 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.485
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.00
         Nicholas Brandenstein                                        Contingent
         6560 Calgary Court                                           Unliquidated
         Columbus, OH 43229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Nicholas Bui                                                 Contingent
         80 Maffey Cresent                                            Unliquidated
         Richmond Hill ON L4S 0A8                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.485
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Nicholas Canada                                              Contingent
         2801 Walnut Hill St                                          Unliquidated
         3D                                                           Disputed
         Philadelphia, PA 19152
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.485
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Nicholas Christianson                                        Contingent
         2308 North 167th Avenue                                      Unliquidated
         Omaha, NE 68116                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.11
         Nicholas Diederich                                           Contingent
         6 West Benson Street                                         Unliquidated
         Reading, OH 45215                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.07
         Nicholas Diguido                                             Contingent
         11710 S Hamlin Ave                                           Unliquidated
         Alsip, IL 60803                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Nicholas Dussault                                            Contingent
         156 Avenue Des Jonquilles                                    Unliquidated
         Gatineau QC J9A 2J7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 721 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 741 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.486
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Nicholas Fyda                                                Contingent
         316 Perth Ct                                                 Unliquidated
         Roseville, CA 95747                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.14
         Nicholas Gohr                                                Contingent
         904 Glenmont Road                                            Unliquidated
         Keller, TX 76248-0379                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $610.01
         Nicholas Hahn                                                Contingent
         Sophienstrasse 51                                            Unliquidated
         Frankfurt 60487                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.486
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.19
         Nicholas Karim                                               Contingent
         4024 Campus Willows Loop Northeast                           Unliquidated
         Lacey, WA 98516                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Nicholas Librandi                                            Contingent
         46 Wavey Willow Lane                                         Unliquidated
         Montgomery, NY 12549                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.74
         Nicholas Lindsay                                             Contingent
         11 Verburg Court                                             Unliquidated
         Stuart Park NT 820                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.486
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Nicholas Longo                                               Contingent
         837 SW 29th St                                               Unliquidated
         Cape Coral, FL 33914                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 722 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 742 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.487
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $54.33
         Nicholas Manson                                              Contingent
         885 Craigflower Road, #402                                   Unliquidated
         Victoria BC V9A 2X4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.487
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.08
         Nicholas Opie                                                Contingent
         L3, 200 Lygon St                                             Unliquidated
         Carlton VIC 3053                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.487
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Nicholas Platt                                               Contingent
         78 South 1st Street, #15                                     Unliquidated
         Brooklyn, NY 11249                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.70
         Nicholas Pownall                                             Contingent
         46 Burgh Heath Road                                          Unliquidated
         Epsom ENG KT17 4LX                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.487
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nicholas Pucci                                               Contingent
         2000 South Ocean Blvd                                        Unliquidated
         17F                                                          Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.487
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Nicholas Robbins                                             Contingent
         5800 Martin Luther Ave                                       Unliquidated
         Birmingham, AL 35228                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Nicholas Roua                                                Contingent
         37 Brumstead Drive                                           Unliquidated
         Richmond Hill ON L4E 4Y6                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 723 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 743 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.487
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.28
         Nicholas Rudolph                                             Contingent
         314 Richmond St                                              Unliquidated
         Philadelphia, PA 19125                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,736.55
         Nicholas Ruggles                                             Contingent
         1065 Sullivan Rd                                             Unliquidated
         Ogden, UT 84403                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Nicholas Soldani                                             Contingent
         2037 Friendship Dr                                           Unliquidated
         Spring Hill, TN 37174                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.488
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Nicholas Stanek                                              Contingent
         3601 Grant Line Road                                         Unliquidated
         Rancho Cordova, CA 95742                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.488
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,474.06
         Nicholas Ternes                                              Contingent
         #203 10624 78 Ave Nw, 203                                    Unliquidated
         Edmonton AB T6E1P5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.488
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,474.27
         Nicholas Welker                                              Contingent
         6737 Friars Road                                             Unliquidated
         Unit 191                                                     Disputed
         San Diego, CA 92108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 724 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 744 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.488
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $802.02
         Nick Blackburn
         31 Danesfort Avenue                                          Contingent
         Acomb                                                        Unliquidated
         York ENG YO243AN                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.488
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.18
         Nick Brookes
         1 Grosvenor Road                                             Contingent
         Barnwood                                                     Unliquidated
         Gloucester ENG GL2 0SA                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.488
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.65
         Nick Cardinale                                               Contingent
         48 St Pauls Ave                                              Unliquidated
         Sydney NSW 2154                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.488
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,361.60
         Nick Caruso                                                  Contingent
         6326 Glenview Place                                          Unliquidated
         Pittsburgh, PA 15206                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.488
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.14
         Nick Crowther                                                Contingent
         62 Regent Road                                               Unliquidated
         Chorley ENG PR7 2TL                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.488
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Nick Ellering                                                Contingent
         5652 Twin Lake Ter N                                         Unliquidated
         Crystal, MN 55429                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 725 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 745 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.488
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.71
         Nick Gauthier                                                Contingent
         47 Warren Street                                             Unliquidated
         Arlington, MA 02474                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Nick Gower                                                   Contingent
         1907 Encino Belle                                            Unliquidated
         San Antonio, TX 78259                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Nick Greife                                                  Contingent
         1011 Caroline Drive                                          Unliquidated
         Washington, MO 63090                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,957.59
         Nick Greufe                                                  Contingent
         37378 Parsons Creek Road                                     Unliquidated
         Springfield, OR 97478                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.21
         Nick Holman
         5 Frys Meadow                                                Contingent
         Stanford In The Vale                                         Unliquidated
         Faringdon ENG SN78FN                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.489
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Nick Howard                                                  Contingent
         13201 S Wakial Loop                                          Unliquidated
         Apt 2092                                                     Disputed
         Phoenix, AZ 85044
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.489
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.32
         Nick Kuzmik                                                  Contingent
         657 Pine Point Drive                                         Unliquidated
         Akron, OH 44333                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 726 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 746 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.489
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.55
         Nick Mooneyham                                               Contingent
         2365 Monarchos Ln                                            Unliquidated
         Montgomery, IL 60538                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Nick Nicolaides                                              Contingent
         18 Kenmare Gardens                                           Unliquidated
         London ENG N13 5DN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.489
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.80
         Nick Simec
         545 Young Avenue                                             Contingent
         Apartment 1                                                  Unliquidated
         Halifax NS B3H 2V4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.489
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.40
         Nick Speranzella                                             Contingent
         324 E 2nd Ave #425                                           Unliquidated
         Columbus, OH 43201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.59
         Nick Tann                                                    Contingent
         17 Harper Grove                                              Unliquidated
         Spennymoor ENG DL16 6FN                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.490
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Nick Wilkens                                                 Contingent
         123 West 1st Street                                          Unliquidated
         Ste D                                                        Disputed
         Monroe, MI 48161
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 727 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 747 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.490
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Nick Yang                                                    Contingent
         6 Whitehaven Lane                                            Unliquidated
         Kitchener ON N2H 0B3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.490
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,880.07
         Broderick Nickelberry Jr.                                    Contingent
         333 Alabama Street                                           Unliquidated
         Vallejo, CA 94590                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $588.32
         Nicklas Astling                                              Contingent
         Kohagsberget 1                                               Unliquidated
         Torslanda 42351                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.490
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Nico Pitney                                                  Contingent
         18 Elgin Park                                                Unliquidated
         San Francisco, CA 94103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $848.00
         Nicolae Nistor                                               Contingent
         Str. Vaii , Nr. 95                                           Unliquidated
         Sura Mare SB 557265                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.490
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Nicolas Garces                                               Contingent
         8818 Southwest 127th Terrace                                 Unliquidated
         Miami, FL 33176                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Nicolas Kruk                                                 Contingent
         908 Adeline Court                                            Unliquidated
         Durham, NC 27713                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 728 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 748 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.490
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.61
         Nicolas Londono                                              Contingent
         7128 Diamond Head Rd                                         Unliquidated
         Jacksonville, FL 32216                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Nicolas Martelli                                             Contingent
         532 569                                                      Unliquidated
         La Plata B 1900                                              Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.491
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,277.19
         Nicolas Massri                                               Contingent
         1990 Northeast 186th Drive                                   Unliquidated
         North Miami Beach, FL 33179                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.29
         Nicolas Massri                                               Contingent
         1990 NE 186th Dr                                             Unliquidated
         North Miami Beach, FL 33179                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.86
         Nicolas Sanchez                                              Contingent
         Siria 580                                                    Unliquidated
         Hurlingham B 1686                                            Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.491
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $559.90
         Nicolas Swallow                                              Contingent
         Flat 2, 98 Brixton Hill                                      Unliquidated
         London ENG SW2 1QN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.491
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Nicole Cesa                                                  Contingent
         1555 Mesa Verde Dr E                                         Unliquidated
         Apt 32C                                                      Disputed
         Costa Mesa, CA 92626-5201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 729 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 749 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.491
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nicole Maturin                                               Contingent
         208 Woodcrest Circle                                         Unliquidated
         New Iberia, LA 70560                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.55
         Nicole Williams                                              Contingent
         60 West 14th Street                                          Unliquidated
         4A                                                           Disputed
         New York, NY 10011
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.491
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $807.00
         Nicoleta Florenta Heica                                      Contingent
         Str. Sibiu 17, Bl Z5, Sc A, Et 3, Ap 20,                     Unliquidated
         Bucharest B 61535                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.491
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Nicoleta Florenta Heica                                      Contingent
         Strada Sibiu Nr.17 Bl.Z5 Sc.A Et.3 Apart                     Unliquidated
         Sector 6 B 61535                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.92
         Nicon Bordeianu                                              Contingent
         Alexanderstrasse 15                                          Unliquidated
         Berlin 10179                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.28
         Niels Nielsen                                                Contingent
         4 Washington Avenue                                          Unliquidated
         Unit D                                                       Disputed
         Saugerties, NY 12477
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.64
         Niels Paulus                                                 Contingent
         Zeilstraat 60, #3                                            Unliquidated
         Amsterdam 1075 SK                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 730 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 750 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.492
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Nigel Webb                                                   Contingent
         125 Ladyfield Road                                           Unliquidated
         Chippenham ENG SN14 0AP                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nii Amartey                                                  Contingent
         2925 Silverthorn Dr                                          Unliquidated
         Charlotte, NC 28273                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.492
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Nikhil Jagadeeshwar                                          Contingent
         5241 Stream Bank Ln                                          Unliquidated
         Greenbelt, MD 20770                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.492
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $906.55
         Niklas Laninge                                               Contingent
         Planterarvagen 75                                            Unliquidated
         Enskede Gard 12048                                           Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.49
         Nikola Bravo                                                 Contingent
         1303 Palm Ridge Lane                                         Unliquidated
         San Jose, CA 95123                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.492
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,589.18
         Nikolai Iakoubenia                                           Contingent
         Kantaras 9                                                   Unliquidated
         Latsia, Nicosia 2221                                         Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.20
         Nikolai Iakoubenia                                           Contingent
         Kantaras 9                                                   Unliquidated
         Latsia, Nicosia 2221                                         Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 731 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 751 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.493
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,382.32
         Nikolai Zapero                                               Contingent
         137 Beaver Street                                            Unliquidated
         San Francisco, CA 94114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $585.16
         Nikolaos Mantelos                                            Contingent
         Marmara #7                                                   Unliquidated
         Stamata Athens 14575                                         Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.493
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,413.75
         Nikolay Ivanov                                               Contingent
         770 Pearson St., #302                                        Unliquidated
         Des Plaines, IL 60016                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Nikoo Parker                                                 Contingent
         18531 Wells Drive                                            Unliquidated
         Los Angeles, CA 91356                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,133.44
         Nil Patel                                                    Contingent
         1003 North Church Street, #203                               Unliquidated
         Elkhorn, WI 53121                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $817.07
         Nil Patel                                                    Contingent
         1003 North Church Street, #203                               Unliquidated
         Elkhorn, WI 53121                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.52
         Nile Roberts                                                 Contingent
         603 Shale Gray Court                                         Unliquidated
         Cary, NC 27519                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 732 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 752 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.493
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $779.44
         Nils Borke
         Weserstrasse 54                                              Contingent
         Vintego Gmbh                                                 Unliquidated
         Wilhelmshaven 26382                                          Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.493
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Nima Gurung                                                  Contingent
         47-05 47th Ave                                               Unliquidated
         2F                                                           Disputed
         Woodside, NY 11377
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.493
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Nimalan Rajesparan                                           Contingent
         2 Cranbrook Drive                                            Unliquidated
         Romford ENG RM2 6AP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,786.49
         Nina Boceva                                                  Contingent
         Han Asparuh 18                                               Unliquidated
         Bansko 2770                                                  Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,045.87
         Nina Boceva                                                  Contingent
         Han Asparuh 18                                               Unliquidated
         Bansko 2770                                                  Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Ninel Bejan                                                  Contingent
         11333 North 92nd Street                                      Unliquidated
         Unit 1042                                                    Disputed
         Scottsdale, AZ 85260
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 733 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 753 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.494
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Nipun Walia                                                  Contingent
         193 Royal Street                                             Unliquidated
         Yokine WA 6060                                               Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Nirmal Gill                                                  Contingent
         13 Saddlelake Grove Northeast                                Unliquidated
         Calgary AB T3J 0P1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.494
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,400.78
         Nirmal Patel                                                 Contingent
         305 Jennifer Lane                                            Unliquidated
         Roselle, IL 60172                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.494
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.26
         Nirmit Parekh                                                Contingent
         2 Berkshire Ct                                               Unliquidated
         Streamwood, IL 60107                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.494
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.36
         Niseforo Rivera                                              Contingent
         1345 E Loftus Lane                                           Unliquidated
         Fresno, CA 93710                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.494
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Nithin Kantareddy                                            Contingent
         85 Seaport Blvd, #307                                        Unliquidated
         Boston, MA 02210                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 734 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 754 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.494
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,003.53
         Nithya Racharla
         12 Best Street, Reservoir                                    Contingent
         Unit 2                                                       Unliquidated
         Melbourne VIC 3073                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.495
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.64
         Nizam Uddin                                                  Contingent
         91 Fifth Avenue                                              Unliquidated
         London ENG W104DW                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.495
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Nizar Rafie                                                  Contingent
         13917 River Willow Pl Tampa, Florida 336                     Unliquidated
         Tampa, FL 33637                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.14
         Noah Terrazas                                                Contingent
         12404 Snowdrop Drive                                         Unliquidated
         Austin, TX 78739                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Noah Terrazas                                                Contingent
         12404 Snowdrop Drive                                         Unliquidated
         Austin, TX 78739                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.29
         Noah Wrubel                                                  Contingent
         17 Depeyster Ave                                             Unliquidated
         Tenafly, NJ 07670                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 735 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 755 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.495
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,194.39
         Noe Cebreros                                                 Contingent
         40125 Los Alamos Road                                        Unliquidated
         D131                                                         Disputed
         Murrieta, CA 92562
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.495
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         Noel Cabadas                                                 Contingent
         3302 North 64th Drive                                        Unliquidated
         Phoenix, AZ 85033                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,483.72
         Noel Fox                                                     Contingent
         770 Lakeview Avenue                                          Unliquidated
         San Francisco, CA 94112                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Noemi Aguirre                                                Contingent
         4165 Woodlawn Avenue                                         Unliquidated
         Los Angeles, CA 90011                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.21
         Nojem Libson                                                 Contingent
         2962 Texcoc Drive                                            Unliquidated
         Eagle Pass, TX 78852                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.496
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,873.13
         NordicCom Scandinavia AB                                     Contingent
         Jarnvagsgatan 8                                              Unliquidated
         Hovmantorp 36542                                             Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Noreen Thur                                                  Contingent
         4703 So Yucca Dr                                             Unliquidated
         Taylorsville, UT 84123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 736 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 756 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.496
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.33
         Norman Morales Vega
         Cerrada Alberto Zamora 26                                    Contingent
         Villa Coyoacan                                               Unliquidated
         Mexico City DF 4000                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.36
         Norman Roa
         Cataluia 32-A Col. Los Portales                              Contingent
         32-A                                                         Unliquidated
         Hermosillo SON 83247                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.37
         Normand Hall                                                 Contingent
         530 South 51st Street                                        Unliquidated
         Tacoma, WA 98408                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.496
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.08
         Andrew Norris                                                Contingent
         200 W. 64th Street                                           Unliquidated
         Inglewood, CA 90302-1126                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.496
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,509.33
         Nour Abuhassan
         Vpost Uk, Unit 9, Britannia Industrial E                     Contingent
         Suite Qc-2040-3470, Poyle Road                               Unliquidated
         Colnbrook ENG SL3 0BH                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $126.14
         Noureddine Mriouah                                           Contingent
         10 Collins Lake Place                                        Unliquidated
         Mableton, GA 30126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 737 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 757 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.496
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Nouri Brahmia                                                Contingent
         1160 Rue Belanger, Montreal, Qc                              Unliquidated
         Ville De Montreal QC H2S1H4                                  Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.49
         Nsilu Ferreira                                               Contingent
         84256 York House, Green Lane West                            Unliquidated
         Preston ENG PR3 1NJ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $941.10
         Nuno Correia                                                 Contingent
         Rua De Pedroucos No 4 1o Drt                                 Unliquidated
         Lisboa PT-11 1400-289                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.74
         Nuno Lopes
         120 University Place Room B215                               Contingent
         University Of Glasgow Sir Graeme Davis                       Unliquidated
         Glasgow SCT G12 8TA                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.62
         Oba Vincent                                                  Contingent
         2707 N 1700 E                                                Unliquidated
         84040, UT 84040                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.497
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Octavio Perez                                                Contingent
         581 N Forest Cove Loop                                       Unliquidated
         Coldspring, TX 77331                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 738 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 758 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.497
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.15
         Odair Civelli Junior                                         Contingent
         Rua Rio Mambu 27                                             Unliquidated
         Vinhedo SP 13287-594                                         Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $143.10
         Odair Civelli Junior                                         Contingent
         Rua Rio Mambu 27                                             Unliquidated
         Sao Joaquim SP 13287-594                                     Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.55
         Odair Civelli Junior                                         Contingent
         Rua Rio Mambu, 27                                            Unliquidated
         Sao Joquim SP 13287-594                                      Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Oday Bisharat                                                Contingent
         5 Patty Ellen Dr                                             Unliquidated
         St. Peters, MO 63376                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.497
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.75
         Odysseas Bormpoudakis                                        Contingent
         Urbanstrasse 94                                              Unliquidated
         Berlin 10967                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $984.07
         Oele Geirnaert
         Palmenlaan 16                                                Contingent
         Bus 12                                                       Unliquidated
         Liedekerke 1770                                              Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 739 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 759 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.498
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.63
         Oguz Aksehir                                                 Contingent
         430 St Davids Square                                         Unliquidated
         London ENG E14 3WQ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.55
         Oladapo Dosunmu                                              Contingent
         3306 Broken Branch Court                                     Unliquidated
         Apt 132                                                      Disputed
         Sacramento, CA 95834
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Aldo Olano                                                   Contingent
         10866 Washington Blvd                                        Unliquidated
         Apt 27                                                       Disputed
         Culver City, CA 90232
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.02
         Olatunde Adebanjo
         19 Eden Park Avenue                                          Contingent
         Beckenham                                                    Unliquidated
         Kent ENG BR3 3HJ                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.88
         Olatunde Ajanaku
         Flat 2, Mahoney House                                        Contingent
         Heald Street                                                 Unliquidated
         London ENG SE14 6TX                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.94
         Oleg Dimov                                                   Contingent
         1607 Abram Court                                             Unliquidated
         San Leandro, CA 94577                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 740 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 760 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.498
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,633.02
         Oleg Dmitiev                                                 Contingent
         Alte Schonhauser Str 32C                                     Unliquidated
         Berlin 10119                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,557.53
         Oleg Onischuk
         Khmelnitskoe Highway 89                                      Contingent
         Flat 71                                                      Unliquidated
         Vinnitsa 21021                                               Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,459.94
         Oleg Onischuk
         Khmelnitskoe Highway 89                                      Contingent
         Flat 71                                                      Unliquidated
         Vinnitsa 21021                                               Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,545.91
         Oleksii Graban                                               Contingent
         Bolgarskaya 87 (22 Kadorr), #127                             Unliquidated
         Odessa 65000                                                 Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.499
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,446.44
         Olgi Zenullari                                               Contingent
         400 5th Ave                                                  Unliquidated
         49Fgh                                                        Disputed
         New York, NY 10018
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.499
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,371.66
         Oliver Chapman                                               Contingent
         48 Central Park Drive                                        Unliquidated
         Birmingham ENG B18 5RR                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 741 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 761 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.499
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Oliver Juang                                                 Contingent
         2703 Mathews St                                              Unliquidated
         Berkeley, CA 94702                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,671.66
         Oliver Wolter                                                Contingent
         Daniel-Greiner-Weg 8                                         Unliquidated
         Seeheim-Jugenheim 64342                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.499
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.52
         John Oliver                                                  Contingent
         904 Stephenstown Rd                                          Unliquidated
         Linden, TN 37096                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $928.02
         Olivia Alvarez                                               Contingent
         1752 Sherry Lane, #21                                        Unliquidated
         Santa Ana, CA 92705                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.88
         Olivier Boukli                                               Contingent
         23 Washington St                                             Unliquidated
         Port Chester, NY 10573                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,866.01
         Olivier Sorin                                                Contingent
         321 Soudan Avenue                                            Unliquidated
         Toronto ON M4S1W6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.499
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,981.43
         Agustin Olmos                                                Contingent
         2101 Janette Drive Napa                                      Unliquidated
         Napa, CA 94558                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 742 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 762 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.499
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.84
         Olusegun Hundogan                                            Contingent
         6 Tweedsmuir Road                                            Unliquidated
         Cardiff WLS CF242RD                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.68
         Omaid Yaqubi                                                 Contingent
         8 Franmar Road                                               Unliquidated
         Brampton ON L6X 0W2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.56
         Omar Alquaseer                                               Contingent
         11218 Puckett River Dr                                       Unliquidated
         Cypress, TX 77433                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.500
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Omar Marino                                                  Contingent
         2685 Sunbranch Drive                                         Unliquidated
         Orlando, FL 32822                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.500
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Omar Valdez Jara                                             Contingent
         Vinuel 5                                                     Unliquidated
         Hermosillo SON 83220                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $786.52
         Omer Carikcioglu
         Buyukhanli Suadiye Konutlari A3 Blok Dai                     Contingent
         Buyukhanli Suadiye Konutlari                                 Unliquidated
         Istanbul 34740                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 743 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 763 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.500
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Omer Mert Sezgin                                             Contingent
         17 Baronbali Street                                          Unliquidated
         Dundas NSW 2117                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.83
         Omer Shahid                                                  Contingent
         349 Frederick Street                                         Unliquidated
         Oldham ENG OL84HG                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Onkar Singh                                                  Contingent
         11 Chartwell Street                                          Unliquidated
         Aspley QLD 4034                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Onur Eginlioglu                                              Contingent
         4215 43rd Ave                                                Unliquidated
         C19                                                          Disputed
         Sunnyside, NY 11104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.500
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,059.71
         Onur Ozturk
         Onur Prestige Motors                                         Contingent
         Unit 3 Period Work                                           Unliquidated
         1 Lammas Road ENG E10 7QT                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.501
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.90
         Onur Yildirim                                                Contingent
         1800 22nd Ave Apt 203                                        Unliquidated
         San Francisco, CA 94122                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 744 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 764 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.501
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Onyinye Gabriel                                              Contingent
         1244 Stone Castle Circle                                     Unliquidated
         Smyrna, GA 30080                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.00
         Oprea Ovidiu                                                 Contingent
         Str Pelbartus Nr 2 Bloc Europa 1 Ap 50                       Unliquidated
         Timisoara TM 300649                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.501
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,498.00
         Oprea Ovidiu                                                 Contingent
         Str Pelbartus Nr 2 Bloc Europa 1 Ap 50                       Unliquidated
         Timisoara TM 300649                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.501
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.70
         Orazio De Grazia                                             Contingent
         6440 NW 114th Ave Unit 432 Doral Fl 3317                     Unliquidated
         Doral, FL 33178                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Orestes Jimenez                                              Contingent
         7162 W 33 Ln                                                 Unliquidated
         Hialeah Gardens, FL 33018                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Oreva Oboghor                                                Contingent
         710 Childers Cres, #210                                      Unliquidated
         Saskatoon SK S7L 6W4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.501
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $884.36
         Orhan Bayhan                                                 Contingent
         Schwalbacher Strasse 26                                      Unliquidated
         Frankfurt Am Main 60326                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 745 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 765 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.501
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $95.00
         Orhan Bozkurt
         Grazer Strasse 1A                                            Contingent
         Top1                                                         Unliquidated
         Judendorf-Strassengel 8111                                   Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.501
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.46
         Orhan Bozkurt
         Grazer Strasse 1A                                            Contingent
         Top1                                                         Unliquidated
         Judendorf-Strassengel 8111                                   Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Orin Henderson                                               Contingent
         935 Quincy St Nw                                             Unliquidated
         Washington Dc, DC 20011                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.502
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,661.65
         Oriol Montes                                                 Contingent
         Naciones Unidas 7                                            Unliquidated
         Terrassa B 8225                                              Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.87
         Orion Sorrell                                                Contingent
         2011 University Avenue Northeast                             Unliquidated
         Minneapolis, MN 55418                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.502
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Orion Sorrell                                                Contingent
         2011 University Avenue Northeast                             Unliquidated
         Minneapolis, MN 55418                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 746 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 766 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.502
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Orlando Pena                                                 Contingent
         8372 NW 68th St                                              Unliquidated
         Ep-12710                                                     Disputed
         Santo Domingo, FL 33166
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Orlando Pliego                                               Contingent
         805 N Olive Ave                                              Unliquidated
         Apt 704                                                      Disputed
         West Palm Beach, FL 33401-3751
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Orlando Pliego                                               Contingent
         805 N Olive Ave                                              Unliquidated
         Unit 704                                                     Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Oro Whitley                                                  Contingent
         10926 Old Manchaca Road                                      Unliquidated
         Austin, TX 78748                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.502
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Albino Orozco Jr                                             Contingent
         21731 Fourth Ave                                             Unliquidated
         Stevinson, CA 95374-9608                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.502
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Orr Koren                                                    Contingent
         516 West 47th Street                                         Unliquidated
         S6F                                                          Disputed
         New York, NY 10036
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 747 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 767 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.503
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Orvel Paulin
         2433                                                         Contingent
         Meldrum                                                      Unliquidated
         Windsor ON N8W4E7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.503
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Osama Jamil                                                  Contingent
         7406 Sylvia Plath Drive                                      Unliquidated
         Laredo, TX 78041                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Oscar Couch                                                  Contingent
         12230 Ledbury Commons Drive                                  Unliquidated
         Gibsonton, FL 33534                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Oscar Couch                                                  Contingent
         12230 Ledbury Commons Drive                                  Unliquidated
         Gibsonton, FL 33534                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Oscar Leon                                                   Contingent
         10012 NW 7th St                                              Unliquidated
         Unit 107                                                     Disputed
         Miami, FL 33172
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.503
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,140.51
         Oscar Montesinos Alarcon                                     Contingent
         Calle Azucena, 6 - 2O - 2a                                   Unliquidated
         Valencia V 46025                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 748 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 768 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.503
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Oscar Tovar                                                  Contingent
         8609 Cedar Brook Point Dr                                    Unliquidated
         Houston, TX 77080                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Osilama Alemoh                                               Contingent
         2546 Ambling Circle                                          Unliquidated
         Crofton, MD 21114                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $593.65
         Oskar Mansbacka                                              Contingent
         Tegnergatan 57B                                              Unliquidated
         Stockholm 11161                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.503
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.58
         Osmark Villasenor                                            Contingent
         2180 Hemlock Avenue                                          Unliquidated
         San Diego, CA 92154                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.74
         Osvaldo Gama                                                 Contingent
         3149 Blake St                                                Unliquidated
         Apt 211                                                      Disputed
         Denver, CO 80205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.504
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,411.74
         Osvaldo Garcia                                               Contingent
         4731 Amal Saleh Dr                                           Unliquidated
         Irving, TX 75061                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,461.47
         Oswald Binford                                               Contingent
         295 Secr 2230                                                Unliquidated
         Corsicana, TX 75109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 749 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 769 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.504
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Othman R'Ghioui                                              Contingent
         172 Leo-Lacombe                                              Unliquidated
         Laval QC H7N 3Y2                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.504
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.26
         Oudom Ky                                                     Contingent
         5051 Colina Drive                                            Unliquidated
         La Mesa, CA 91942                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,597.03
         Oudom Phommalychan                                           Contingent
         1931 Autumn Oak Place                                        Unliquidated
         Stockton, CA 95209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.64
         Oumaima El Haidi
         12 Blvd Du General Leclerc                                   Contingent
         Appartement 48                                               Unliquidated
         Clichy 92110                                                 Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.504
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Owais Jaleel
         155 Yorkville Avenue                                         Contingent
         Unit 1514                                                    Unliquidated
         Toronto ON M5R 0B4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.504
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,281.14
         Owen Atalifo                                                 Contingent
         79 Woodcourt Street                                          Unliquidated
         Ambarvale NSW 2560                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 750 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 770 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.504
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Owen Kroeger                                                 Contingent
         11009 Walker Street                                          Unliquidated
         Grand Blanc, MI 48439                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $680.53
         Owen Lowe                                                    Contingent
         38178 Waterford Dr                                           Unliquidated
         Willoughby, OH 44094                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Owen Thomas                                                  Contingent
         Flat 4, 19- 21 Brockley Rise, London, En                     Unliquidated
         London ENG SE231JG                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.505
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.35
         Ozgur Bozdogan                                               Contingent
         12649 Avenue Fortin                                          Unliquidated
         Montreal QC H1G 4A3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.505
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.07
         Ozgur Cinarli
         Tacin Mahallesi 1872 Sokak No:1 D:27                         Contingent
         Caliskan Apt.                                                Unliquidated
         Aksaray 68200                                                Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.505
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         P Coman                                                      Contingent
         8948 E Decatur Rd                                            Unliquidated
         Mesa, AZ 85207                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 751 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 771 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.505
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Pablo Castaneda                                              Contingent
         3161 Wildwood Drive                                          Unliquidated
         Concord, CA 94518                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Pablo Martelli                                               Contingent
         Calle Porta 264, #701                                        Unliquidated
         Lima PE-LMA 15074                                            Disputed
         PERU
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.505
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Pablo Rancier                                                Contingent
         36 Oak St                                                    Unliquidated
         Rochelle Park, NJ 07662                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $924.17
         Pablo Sanoko                                                 Contingent
         Dreve De La Brise 6                                          Unliquidated
         Bruxelles 1170                                               Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.505
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $756.14
         Augusto Pacis                                                Contingent
         1917 N Valley Street                                         Unliquidated
         Burbank, CA 91505                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.12
         Paige Clayburn                                               Contingent
         1319 W 1440 N                                                Unliquidated
         Pleasant Grove, UT 84062                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Paige Pemberton                                              Contingent
         224 Bermuda Street                                           Unliquidated
         New Orleans, LA 70114                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 752 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 772 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.506
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Paiusi Razvan
         Strada Doaman Stanca 91B Intrare Pe Livi                     Contingent
         Ap.04                                                        Unliquidated
         Selimbar SB 557260                                           Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.506
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.82
         Pal Lande                                                    Contingent
         Plogveien 77B                                                Unliquidated
         Oslo 681                                                     Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.506
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,984.41
         Meaghan Pan                                                  Contingent
         115 Fare Stone Dr                                            Unliquidated
         Garner, NC 27529                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.59
         Panagiota Tragogeni
         Kritis 8                                                     Contingent
         4 Floor                                                      Unliquidated
         Vrilissia 15235                                              Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.506
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Pano Georgakopoulos                                          Contingent
         6304 Brackett Road                                           Unliquidated
         Knoxville, TN 37938                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Parag Patel                                                  Contingent
         6 Country Woods Drive                                        Unliquidated
         Kendall Park, NJ 08824                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 753 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 773 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.506
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.14
         Pardeep Dosanjh                                              Contingent
         760 East 52nd Ave                                            Unliquidated
         Vancouver BC V5X 1H2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.506
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Parham Sadrizadeh                                            Contingent
         2801 Kelvin Avenue #592                                      Unliquidated
         Irvine, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.507
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Parisa Kermani                                               Contingent
         790 Camino De La Reina                                       Unliquidated
         Apt#173                                                      Disputed
         San Diego, CA 92108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Park Pokaisawan                                              Contingent
         13700 Hunter Dr.                                             Unliquidated
         Platte City, MO 64079                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.507
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Parsuram Shiv                                                Contingent
         68 Evergreen Ave                                             Unliquidated
         2F                                                           Disputed
         Lynbrook, NY 11563
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Parth Patel                                                  Contingent
         572 Triangle Street                                          Unliquidated
         Ottawa ON K2E 0M1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,325.94
         Pascal Boctor                                                Contingent
         337 Stanford Court                                           Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 754 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 774 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.507
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.17
         Pascal Paratte                                               Contingent
         Avenue De Bel-Air 59                                         Unliquidated
         Chene-Bourg 1225                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,752.00
         Pascal Specht                                                Contingent
         15 Rue Paul Doumer                                           Unliquidated
         Montreuil 93100                                              Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.62
         Pascal Ulrich                                                Contingent
         Sagiweg 7C                                                   Unliquidated
         Kussnacht Am Rigi 6403                                       Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Adam Paschke                                                 Contingent
         500 West 43rd Street                                         Unliquidated
         Apt 35A                                                      Disputed
         New York, NY 10036
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.507
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         Pat Hanavan                                                  Contingent
         28018 Evergreen Run                                          Unliquidated
         Imperial, PA 15126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.63
         Patricia Nelson                                              Contingent
         16 Silverbirch Road                                          Unliquidated
         Bangor, Northern Ireland NIR BT19 6EU                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.508
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,876.63
         Patrick Alfred                                               Contingent
         124 Regimbald                                                Unliquidated
         Sainte-Therese QC J7E 4S6                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 755 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 775 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.508
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Patrick Bruno                                                Contingent
         128 Mill Street, #117                                        Unliquidated
         Deseronto ON K0K 1X0                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.508
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Patrick Burkholder                                           Contingent
         130 Nautilus Drive                                           Unliquidated
         Madison, WI 53705                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.01
         Patrick Cain                                                 Contingent
         14858 3/4 Dickens Street                                     Unliquidated
         Sherman Oaks, CA 91403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.52
         Patrick Demerecz                                             Contingent
         1021 Prospect Rd                                             Unliquidated
         Evans City, PA 16033                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Patrick Doran                                                Contingent
         299 Cobblestone Lane                                         Unliquidated
         Bethlehem, PA 18020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.23
         Patrick Dubois                                               Contingent
         1502 Patrick Way                                             Unliquidated
         Greenacres, FL 33413                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $865.45
         Patrick Geng                                                 Contingent
         Muhlenweg 12                                                 Unliquidated
         Baar 56729                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 756 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 776 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.508
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Patrick Hachicho                                             Contingent
         524 Berry Chase Way                                          Unliquidated
         Cary, NC 27519                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Patrick Henderson                                            Contingent
         2123 Azalea Drive S                                          Unliquidated
         Wiggins, MS 39577                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Patrick Kenny                                                Contingent
         45 Maplewood Ave                                             Unliquidated
         Maplewood, NJ 07040                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Patrick Kiely                                                Contingent
         2931 Fraser Street                                           Unliquidated
         Vancouver BC V5T 3W2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.509
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $791.41
         Patrick Koman                                                Contingent
         6520 Roe Street                                              Unliquidated
         Cincinnati, OH 45227                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,494.26
         Patrick Krause                                               Contingent
         1525 Josephine St.                                           Unliquidated
         Berkeley, CA 94703                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $770.91
         Patrick Lawson                                               Contingent
         3211 West Wapato Drive                                       Unliquidated
         Unit 64                                                      Disputed
         Moses Lake, WA 98837
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 757 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 777 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.509
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.85
         Patrick Maader                                               Contingent
         Oldachstrasse 16                                             Unliquidated
         Hamburg 22307                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.509
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,499.49
         Patrick Malone                                               Contingent
         83 Kingsdown Parade                                          Unliquidated
         Bristol ENG BS65UJ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.509
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.63
         Patrick Nadon                                                Contingent
         1003 Cree Avenue                                             Unliquidated
         Woodstock ON N4T 1E7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.509
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.45
         Patrick Osoro                                                Contingent
         Promenade Des Champs-Frechets 18                             Unliquidated
         Geneva 1217                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Patrick Rice                                                 Contingent
         50 E 13th St.                                                Unliquidated
         Unit 710                                                     Disputed
         Kansas City, MO 64106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.76
         Patrick Rice                                                 Contingent
         50 E 13th St.                                                Unliquidated
         Unit 710                                                     Disputed
         Kansas City, MO 64106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,490.54
         Patrick Salyer                                               Contingent
         645 Riviera Dr                                               Unliquidated
         Los Altos, CA 94024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 758 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 778 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.510
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Patrick Sidoti                                               Contingent
         3037 Knox Ave S, #5                                          Unliquidated
         Minneapolis, MN 55408                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.510
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $889.64
         Patrick Wieth                                                Contingent
         Hugelstrasse 85A                                             Unliquidated
         Darmstadt 64283                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.63
         Patrick Wilms                                                Contingent
         Nicodemstr. 25                                               Unliquidated
         Monchengladbach 41068                                        Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Thomas Patton                                                Contingent
         8227 Kensington Sq                                           Unliquidated
         Jacksonville, FL 32217                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.510
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Paul Becker                                                  Contingent
         4242 Lynnfield Cres                                          Unliquidated
         Victoria BC V8N 5C7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Paul Biagio                                                  Contingent
         590 26th Ave Apt 3                                           Unliquidated
         San Francisco, CA 94121-2940                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.510
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $826.80
         Paul Blodgett                                                Contingent
         1221 Warren Ave                                              Unliquidated
         Belvidere, IL 61008                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 759 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 779 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.511
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Paul Bradford                                                Contingent
         62 Woodend                                                   Unliquidated
         Birmingham ENG B20 1EN                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Paul Capistrant                                              Contingent
         1814 Mariposa Drive                                          Unliquidated
         Petaluma, CA 94954                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.511
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Paul Carroll                                                 Contingent
         18 Primrose Lane                                             Unliquidated
         Hackettstown, NJ 07840                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.511
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $79.33
         Paul Chauvet                                                 Contingent
         198 Rue Ann, #611                                            Unliquidated
         Montreal QC H3C 0T2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Paul Chauvet                                                 Contingent
         198 Rue Ann, #611                                            Unliquidated
         Montreal QC H3C 0T2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.02
         Paul Coogan
         3 Broomfield                                                 Contingent
         Park Street                                                  Unliquidated
         St. Albans ENG AL2 2HY                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 760 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 780 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.511
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $771.08
         Paul Cooper                                                  Contingent
         92 Percival Road                                             Unliquidated
         Nottingham ENG NG5 2EX                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Paul Cowley
         5765                                                         Contingent
         Westport Road                                                Unliquidated
         West Vancouver BC V7W 2X7                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.83
         Paul Cutting                                                 Contingent
         11 Dunedin Road                                              Unliquidated
         Rainham ENG RM13 8LA                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Paul Eisenberg                                               Contingent
         2 Sharon Drive                                               Unliquidated
         E Patchogue, NY 11772                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Paul Foster                                                  Contingent
         66 Beechwood Dr                                              Unliquidated
         Oakland, CA 94618                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.38
         Paul Gadebusch                                               Contingent
         23028 Lake Forest Dr                                         Unliquidated
         Suite A                                                      Disputed
         Laguna Hills, CA 92653
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 761 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 781 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.512
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Paul Imhoff                                                  Contingent
         139 Mardella Way                                             Unliquidated
         Holly Ridge, NC 28445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Paul Jhung                                                   Contingent
         107 Pauline Avenue                                           Unliquidated
         Toronto ON M6H 3M7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.512
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.32
         Paul Lindsey                                                 Contingent
         3598 Aster St                                                Unliquidated
         Salem, OR 97304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.32
         Paul Lindsey                                                 Contingent
         3598 Aster St                                                Unliquidated
         Salem, OR 97304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Paul Mata                                                    Contingent
         4643 Rim Cir, #204                                           Unliquidated
         Carlsbad, CA 92010                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.28
         Paul Schembri                                                Contingent
         1616 Council Street                                          Unliquidated
         Los Angeles, CA 90026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.512
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.41
         Paul Shore                                                   Contingent
         33553 1 Avenue                                               Unliquidated
         Mission BC V2V 1H4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 762 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 782 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.512
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Paul Soroudi                                                 Contingent
         P.O. Box 24654                                               Unliquidated
         Los Angeles, CA 90024                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.05
         Paul Strasser                                                Contingent
         8728 Espacio Verde Road                                      Unliquidated
         Albuquerque, NM 87120                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.69
         Paul Thierbach                                               Contingent
         Kosliner Strasse 8                                           Unliquidated
         Berlin 13357                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.55
         Paul Tsamkiranis
         9303 Salish Court                                            Contingent
         Unit 110 Buzzer 3010                                         Unliquidated
         Burnaby BC V3J 7C5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Paul Umansky                                                 Contingent
         2742 East 64th Street                                        Unliquidated
         Brooklyn, NY 11234                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.39
         Paul Weber                                                   Contingent
         Oppenheimer Strasse 25C                                      Unliquidated
         Stuttgart 70499                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 763 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 783 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.513
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Paul Whyte
         51 Fleece Street                                             Contingent
         Bradford                                                     Unliquidated
         Bradford ENG BD6 2EH                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.67
         Paul Wrablica                                                Contingent
         3015 West 82nd Street                                        Unliquidated
         Leawood, KS 66206                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.06
         Paul Ydel                                                    Contingent
         75 Parkwood                                                  Unliquidated
         Plumpton NSW 2761                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.63
         Paul Zehm                                                    Contingent
         Wolburgstrasse 30                                            Unliquidated
         Timmendorfer Strand 23669                                    Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Paulo Carvalho                                               Contingent
         257 Hodgson Drive                                            Unliquidated
         Newmarket ON L3Y 1E3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,338.10
         Pavol Azuroika                                               Contingent
         Rudina 552                                                   Unliquidated
         Rudina 2331                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 764 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 784 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.514
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,555.80
         Pavol Azuroika                                               Contingent
         Rudina 552                                                   Unliquidated
         Rudina 2331                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $770.07
         Pawel Lenik                                                  Contingent
         13 Fernlea Close                                             Unliquidated
         Crofton ENG WF4 1HY                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Payam Ahmadvand                                              Contingent
         9502 Erickson Drive, #809                                    Unliquidated
         Burnaby BC V3J 7B5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Pedro Aboy                                                   Contingent
         Adri N Luna 1824                                             Unliquidated
         Hurlingham B 1686                                            Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,530.63
         Pedro Almeida                                                Contingent
         Rua Ruben A., Lote 22.7, Apt. 724                            Unliquidated
         Coimbra PT-06 3030-506                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Pedro Herrera                                                Contingent
         697 Ridge St                                                 Unliquidated
         1st Floor                                                    Disputed
         Newark, NJ 07104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 765 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 785 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.514
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.75
         Pedro Quintana                                               Contingent
         5400 Planz Rd                                                Unliquidated
         Apt 49                                                       Disputed
         Bakersfield, CA 93309
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.27
         Pedro Villeda Leal
         Cda Deporte 30 A1                                            Contingent
         30 A1                                                        Unliquidated
         Mexico DF                                                    Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.514
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.06
         Joseph Peeler                                                Contingent
         1629 Diamond Street NE                                       Unliquidated
         Canton, OH 44721                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.515
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $73.49
         Joseph Peeler                                                Contingent
         1629 Diamond St NE                                           Unliquidated
         Canton, OH 44721                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.515
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,459.13
         Joseph Peeler                                                Contingent
         1629 Diamond St NE                                           Unliquidated
         Canton, OH 44721                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.515
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.08
         Peer Tritz
         Driesener Strasse 30                                         Contingent
         c/o Seelinger                                                Unliquidated
         Berlin 10439                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 766 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 786 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.515
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Peerapon Wechsuwanmanee                                      Contingent
         Wirichsbongardstrasse 19                                     Unliquidated
         Aachen 52062                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Pele Dagher
         4001 Don Mills Road                                          Contingent
         Apt 123                                                      Unliquidated
         Toronto ON M2H 3J8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Pemika Jittiyakoon
         209A                                                         Contingent
         Woronora Rd                                                  Unliquidated
         Engadine NSW 2233                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.88
         Per Olsson Gisleskog                                         Contingent
         28 Ashfield Road                                             Unliquidated
         London ENG W3 7JJ                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.39
         Pernell Cassey                                               Contingent
         2000 Valleyview Drive #5                                     Unliquidated
         Osoyoos BC V0H 1V6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $144.00
         Petar Renic                                                  Contingent
         Dubasnicka 13                                                Unliquidated
         Zagreb 10000                                                 Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 767 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 787 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.515
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.74
         Pete Krekos                                                  Contingent
         3998 Yolo Drive                                              Unliquidated
         San Jose, CA 95136                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.516
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.35
         Pete Oheeron                                                 Contingent
         17006 Evergreen Elm Way                                      Unliquidated
         Houston, TX 77059                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.516
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.38
         Peter Birch                                                  Contingent
         Montrose, Grove Road, Harwell                                Unliquidated
         Didcot ENG OX11 0EG                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.06
         Peter Bonn                                                   Contingent
         72 Lynbrook Blvd, #4                                         Unliquidated
         Lynbrook VIC 3975                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,292.04
         Peter Boos                                                   Contingent
         150 Van Ness Ave, #918                                       Unliquidated
         San Francisco, CA 94102                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.516
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.23
         Peter Chuong                                                 Contingent
         8109 Brown Court                                             Unliquidated
         Alexandria, VA 22306                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.516
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.89
         Peter Deyoung                                                Contingent
         20542 Pindale Cliff                                          Unliquidated
         San Antonio, TX 78259                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 768 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 788 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.516
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Peter Eckert
         434 Goward Rd                                                Contingent
         434 Goward Rd                                                Unliquidated
         Victoria BC V9E 2J5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.98
         Peter Glossner                                               Contingent
         Turkenlouisstrasse 28                                        Unliquidated
         Freiburg D-79102                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $945.85
         Peter Gmeiner                                                Contingent
         Sierenmoosstrasse 42                                         Unliquidated
         Konstanz 78464                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.72
         Peter Gregory                                                Contingent
         104 McKellar St                                              Unliquidated
         Strathroy ON N7G 2Y2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.517
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,374.03
         Peter Grisham                                                Contingent
         37304 North Stanton Point Road                               Unliquidated
         Ingleside, IL 60041                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Peter Hofmann                                                Contingent
         3211 E 51st St                                               Unliquidated
         Minneapolis, MN 55417                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 769 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 789 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.517
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Peter Hogan                                                  Contingent
         21020 Pacific City Circle, #2318                             Unliquidated
         Huntington Beach, CA 92648                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.95
         Peter Hong                                                   Contingent
         3600 Shadow Grove Rd                                         Unliquidated
         Pasadena, CA 91107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Peter Jaggard                                                Contingent
         1 Colonial Drive                                             Unliquidated
         Newtown, PA 18940                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $756.41
         Peter Kolodziejski                                           Contingent
         42 Studland St                                               Unliquidated
         London ENG W60JS                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.517
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.35
         Peter Korecko                                                Contingent
         Pribinova 43                                                 Unliquidated
         Bratislava 83101                                             Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.517
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,614.71
         Peter Kotesovsky                                             Contingent
         Tovarnicka 8                                                 Unliquidated
         Topolcany 95501                                              Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.517
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $682.74
         Peter Lai                                                    Contingent
         702 Chemeketa Drive                                          Unliquidated
         San Jose, CA 95123                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 770 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 790 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.517
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,635.42
         Peter Leipnitz                                               Contingent
         Charlottenburger Strasse 106                                 Unliquidated
         Berlin 13086                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Peter Patpatian                                              Contingent
         10028 Meritage Ct                                            Unliquidated
         Sun Valley, CA 91352                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,227.20
         Peter Pestel
         Am Forsthaus 18                                              Contingent
         Pestel Ingenieurburo E.K.                                    Unliquidated
         Haldenwang 87490                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $679.68
         Peter Rabasa                                                 Contingent
         4300 Waialae Ave Apt B805                                    Unliquidated
         Honolulu, HI 96816                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Peter Reider                                                 Contingent
         2 McArthurs Road                                             Unliquidated
         Altona North VIC 3025                                        Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Peter Sahin                                                  Contingent
         2107 Branden Street                                          Unliquidated
         Los Angeles, CA 90026                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 771 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 791 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.518
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Peter Schillaci                                              Contingent
         4707 N Brady St.                                             Unliquidated
         Davenport, IA 52806                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,386.55
         Peter Segner
         Beethovenstrasse 14                                          Contingent
         Isybox Gmbh                                                  Unliquidated
         Leipzig 4107                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.04
         Peter Shepherd
         80 The Beeches                                               Contingent
         Upton-Upon-Severn                                            Unliquidated
         Worcester ENG WR8 0QQ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.518
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.88
         Peter Skovron                                                Contingent
         23911 104th Ave W                                            Unliquidated
         Edmonds, WA 98020                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,395.35
         Peter Van Le                                                 Contingent
         U9/22-24 Wrentmore Street                                    Unliquidated
         Fairfield NSW 2165                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Peter Velikanov                                              Contingent
         4454 N Morris Blvd                                           Unliquidated
         Shorewood, WI 53211                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 772 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 792 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.519
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,286.55
         Peter Wilcheck                                               Contingent
         2681 North Flamingo Road                                     Unliquidated
         404S                                                         Disputed
         Sunrise, FL 33323
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $771.10
         Peter Winkler
         Friedrich-Engels-Bogen 13                                    Contingent
         Knowledge Pool GmbH                                          Unliquidated
         Munich 81735                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.89
         Peter Wojciechowski                                          Contingent
         950 Lake Marion Dr                                           Unliquidated
         Altamonte Springs, FL 32701                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.519
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,541.72
         Peter Wrenshall
         Tiot Limited                                                 Contingent
         Ocean Business Centre, Ocean Street,                         Unliquidated
         Broadheath, Altrincham ENG WA14 5QL                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Peter Yeh                                                    Contingent
         2640 Prospect Avenue                                         Unliquidated
         La Crescenta-Montrose, CA 91214                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.519
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $88.63
         Petr Karniayenka                                             Contingent
         5788 South 1145 East                                         Unliquidated
         Murray, UT 84121                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 773 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 793 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.519
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.61
         Petre Dumitriu                                               Contingent
         144 Stag Lane                                                Unliquidated
         London ENG NW9 0QP                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $997.87
         Petros Nastos                                                Contingent
         Kydathinaiwn 16                                              Unliquidated
         Athens 105 58                                                Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,472.69
         Adam Petrzilka                                               Contingent
         2200 Zhale Smith Road                                        Unliquidated
         La Grange, KY 40031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.520
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.47
         Petter Selvehed                                              Contingent
         Skalsatravagen 29D                                           Unliquidated
         Tyreso 13554                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.93
         Philip Barnes
         70 Faraday Road                                              Contingent
         Wimbledon                                                    Unliquidated
         London ENG SW198PB                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Philip Baugh                                                 Contingent
         7591 North Woodall Road                                      Unliquidated
         Ellettsville, IN 47429                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 774 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 794 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.520
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Philip Conroy                                                Contingent
         6018 Southeast 122nd Avenue                                  Unliquidated
         Portland, OR 97236                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.520
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Philip Elie                                                  Contingent
         3433 NE 210th Ter                                            Unliquidated
         Aventura, FL 33180                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.520
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,246.06
         Philip Jahrehorn
         192 Rue De Javel                                             Contingent
         6th Floor                                                    Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,670.09
         Philip Jahrehorn
         192 Rue De Javel                                             Contingent
         6th Floor                                                    Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $874.08
         Philip Jahrehorn
         192 Rue De Javel                                             Contingent
         6th Floor                                                    Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.520
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.97
         Philip Kagalovsky                                            Contingent
         34 Seymour Walk                                              Unliquidated
         London ENG SW10 9NF                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 775 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 795 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.520
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Philip Khazzam
         4175 Rue Sainte-Catherine                                    Contingent
         #1503                                                        Unliquidated
         Westmount QC H3Z 3Z9                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.521
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Philip Morgan                                                Contingent
         993 South Central Pkwy                                       Unliquidated
         Mountain House, CA 95391                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.14
         Philip Mwaniki                                               Contingent
         5409 Mohawk Court                                            Unliquidated
         The Colony, TX 75056                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Philip Oldring                                               Contingent
         18032 129th Place Northeast                                  Unliquidated
         Bothell, WA 98011                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Philip Patterson                                             Contingent
         1379 Golden Forest Drive                                     Unliquidated
         Bessemer, AL 35022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $865.32
         Philipp Maciej                                               Contingent
         Rugestrasse 4A                                               Unliquidated
         Dresden 1069                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 776 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 796 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.521
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.67
         Philippe Rochaix                                             Contingent
         1Bis Rue Robert Bajac                                        Unliquidated
         Toulouse 31400                                               Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.521
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,783.76
         Philippe Schommers
         Pfarrer-Henreco Strasse 8                                    Contingent
         Apyos, Be0658820832                                          Unliquidated
         Eupen 4700                                                   Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.521
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.38
         Phillip Choe                                                 Contingent
         1944 Clyde Jean Place                                        Unliquidated
         Fairfield, CA 94533                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.26
         Phillip Jackson                                              Contingent
         4528 Acacia Avenue                                           Unliquidated
         Ferris Square                                                Disputed
         La Mesa, CA 91941
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.521
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.71
         Phillip Martucci                                             Contingent
         2405 Constellation Drive                                     Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,065.62
         Phillip Moult                                                Contingent
         643 Maryvale Way Northeast                                   Unliquidated
         Calgary AB T2A 2V6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 777 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 797 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.522
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $797.91
         Phillip Smith                                                Contingent
         4805 Neptune Ct Flower Mound 75022                           Unliquidated
         Flower Mound (Denton), TX 75022                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Phirom Prang                                                 Contingent
         38 Tofoni Place                                              Unliquidated
         Richlands QLD 4077                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.522
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.99
         Phuoc Tran                                                   Contingent
         176 Darebin Drive                                            Unliquidated
         Lalor VIC 3075                                               Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.522
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Phuong Nguyen                                                Contingent
         8193 Del Rey Drive                                           Unliquidated
         Stanton, CA 90680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Phyllis Walk                                                 Contingent
         4 Meadowlake Dr                                              Unliquidated
         Heath, TX 75032                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.17
         Pier-Luc Rioux
         1000 Rue Des Faucons                                         Contingent
         App. 102                                                     Unliquidated
         Sainte-Catherine QC J5C1R9                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 778 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 798 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.522
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Pierce Coggins                                               Contingent
         1502 Alice St                                                Unliquidated
         Apt 25                                                       Disputed
         Oakland, CA 94612
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.522
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.61
         Pierre Bradshaw                                              Contingent
         1540 NE 151st St                                             Unliquidated
         Unit 103                                                     Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.522
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Pinchas Genger                                               Contingent
         439 Elmwood Terrace                                          Unliquidated
         Linden, NJ 07036                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,463.17
         Pinnacle Home SRL, LLC                                       Contingent
         2025Nw 102Av - Unit 111 Doral                                Unliquidated
         Attn: Jose                                                   Disputed
         Miami, FL 33172
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.523
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Francisco E Pinto                                            Contingent
         437 Eucalyptus Dr                                            Unliquidated
         Redlands, CA 92373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.55
         Piotr Kuznicki                                               Contingent
         575 Olive Street                                             Unliquidated
         Hoffman Estates, IL 60169                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Piragathees Ravilosanan                                      Contingent
         5052 Rue Laurin                                              Unliquidated
         Montreal QC H8Y 3R3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 779 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 799 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.523
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,552.00
         Pisau Alexandru
         Strada Prevederii Nr 4 Bloc D8                               Contingent
         Scara 1 Apartament 54                                        Unliquidated
         Bucuresti B 32301                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.523
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,006.98
         Pisau Alexandru                                              Contingent
         Strada Prevederii Nr 4 Bloc D8 Scara 1,                      Unliquidated
         Bucuresti B 32301                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.523
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $509.89
         Plamen Tsvetkv                                               Contingent
         82 Loverock Road                                             Unliquidated
         Reading RG301DZ                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.523
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,370.77
         Plamen Zafirov                                               Contingent
         83 Lynton Avenue                                             Unliquidated
         Romford RM7 8NH                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.523
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         PNSCO LLC                                                    Contingent
         8300 Greensboro Drive                                        Unliquidated
         Tysons, VA 22102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         PNSCO LLC                                                    Contingent
         8300 Greensboro Drive                                        Unliquidated
         Tysons, VA 22102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 780 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 800 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.524
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Podaru Andrada Mihaela                                       Contingent
         Strada Bradetului 84                                         Unliquidated
         Baciu CJ 407055                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Andrew Pogue                                                 Contingent
         3055 East Rose Garden Lane                                   Unliquidated
         Ste 130                                                      Disputed
         Phoenix, AZ 85050
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,729.67
         Pontus Sarosdi                                               Contingent
         Ekensbergsvagen 93                                           Unliquidated
         Solna 16931                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.13
         Seyed Ali Poostanchi                                         Contingent
         3048 West 12th Street                                        Unliquidated
         Apt 4                                                        Disputed
         Los Angeles, CA 90006
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $822.70
         Porav Dumitru
         58 Avenue Jean Jaures                                        Contingent
         Chez Mme Mumtaz Ibolya                                       Unliquidated
         Le Bourget 93350                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         A Powell                                                     Contingent
         2830 Lexington Park Drive                                    Unliquidated
         Spring, TX 77373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 781 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 801 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.524
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Prabhjit Powar                                               Contingent
         59 Point Owoods Drive                                        Unliquidated
         Vaughan ON L4K 2E1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.29
         Pradeep Singh                                                Contingent
         562 Woodfield Trail                                          Unliquidated
         Roselle, IL 60172                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.524
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Pradeep Subramaniam                                          Contingent
         54 Balboa Loop                                               Unliquidated
         Aubin Grove WA 6164                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.524
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.48
         Prash Amar
         29 Winchester Road                                           Contingent
         Winchester Road                                              Unliquidated
         Northampton ENG NN4 8AZ                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.90
         Prashant Savanagouder                                        Contingent
         1390 Market Street                                           Unliquidated
         Apt 2704                                                     Disputed
         San Francisco, CA 94102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.90
         Pratap Dong                                                  Contingent
         1331 Latrace Rd                                              Unliquidated
         Saskatoon SK S7L 6E4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 782 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 802 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.525
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Pratompong Namjaidee Namjaidee                               Contingent
         209A Woronora Rd                                             Unliquidated
         Engadine NSW 2233                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.17
         Precious Masalunga                                           Contingent
         1110 11th Street Sw, #1305                                   Unliquidated
         Calgary AB T2R 1P1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,664.47
         Predrag Tasic                                                Contingent
         Bjorcksgatan 32B                                             Unliquidated
         Gothenburg 41652                                             Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Preet Khabra                                                 Contingent
         4 Paul Cullen Drive                                          Unliquidated
         Bardia NSW 2565                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.525
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $784.71
         Santosh Kumar Premji Patel                                   Contingent
         116 Briarcliff Court                                         Unliquidated
         Glen Mills, PA 19342                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.525
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Premkumar Meesala                                            Contingent
         1735 Southcrest Trl                                          Unliquidated
         Hoover, AL 35244                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.525
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Prentice Denton                                              Contingent
         2349 Wright Rd                                               Unliquidated
         Steens, MS 39766                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 783 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 803 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.525
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,462.65
         Presner Nelson                                               Contingent
         51 Florida Street, #1                                        Unliquidated
         Dorchester Center, MA 02124                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $907.93
         Preyal Patel                                                 Contingent
         641 N 25 Street                                              Unliquidated
         Camden, NJ 08105                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Priscila Correa                                              Contingent
         3907 N Federal Hwy, #190                                     Unliquidated
         Pompano Beach, FL 33064                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Priscylla Robles                                             Contingent
         1633 SE Airoso Blvd                                          Unliquidated
         Port Saint Luice, FL 34984                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Pritesh Patel                                                Contingent
         2510 Windblown Drive                                         Unliquidated
         Corpus Christi, TX 78414                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,751.20
         Prodromos Michailidis                                        Contingent
         Muhlenstrasse 4                                              Unliquidated
         Berlin 13467                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.526
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,729.47
         ProWhale s.r.o                                               Contingent
         Detva 584                                                    Unliquidated
         Detva 96212                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 784 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 804 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.526
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,614.39
         ProWhale s.r.o                                               Contingent
         Detva 584                                                    Unliquidated
         Detva 96212                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.526
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $480.13
         ProWhale s.r.o                                               Contingent
         Detva 584                                                    Unliquidated
         Detva 96212                                                  Disputed
         SLOVAKIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.526
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $646.71
         Francisco Pulgar Romero                                      Contingent
         9990 Northwest 14th Street                                   Unliquidated
         Ste 110 Cch109601                                            Disputed
         Doral, FL 33192
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.526
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $668.56
         Puneet Udasi                                                 Contingent
         143 Davenport Street                                         Unliquidated
         Somerville, NJ 08876                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.96
         Purvang Lakhawala                                            Contingent
         25 Eleanor Dr                                                Unliquidated
         Kendall Park, NJ 08824                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Qandeel Karim                                                Contingent
         621 Stockton Street, #204                                    Unliquidated
         San Francisco, CA 94108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Qiang Gao                                                    Contingent
         14 Aerial St                                                 Unliquidated
         Lexington, MA 02421                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 785 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 805 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.527
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Qingshou Pei                                                 Contingent
         48 William Saville St                                        Unliquidated
         Markham ON L3R9S3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.527
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,874.62
         Quang Cao                                                    Contingent
         16830 East Nubia Street                                      Unliquidated
         Covina, CA 91722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,775.74
         Quang Cao                                                    Contingent
         16830 East Nubia Street                                      Unliquidated
         Covina, CA 91722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $848.01
         Quentin Brackers De Hugo
         42 Rue Marguerite De Rochechouart                            Contingent
         Hostnfly                                                     Unliquidated
         Paris 75009                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.527
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Quincy Marie-Anne
         9145 Croissant Du Louvre                                     Contingent
         Appartement 5                                                Unliquidated
         Brossard QC J4Y 0E1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.527
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Anthony Quinn                                                Contingent
         460 E Encinas Ave.                                           Unliquidated
         Gilbert, AZ 85234                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 786 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 806 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.527
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.14
         Qusay Al-Shaikhli                                            Contingent
         13201 Janet Dr                                               Unliquidated
         Frisco, TX 75033                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $780.97
         R. De Roos                                                   Contingent
         Pirandellostraat 65                                          Unliquidated
         Rotterdam 3076KW                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.528
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Ra-Son Theus                                                 Contingent
         5150 S Gramercy Pl.                                          Unliquidated
         Los Angeles, CA 90062                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Raashi Khanduri                                              Contingent
         634 Presley Way                                              Unliquidated
         Sugar Land, TX 77479                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $124.19
         Rachel Gross                                                 Contingent
         1209 Savannah Ave                                            Unliquidated
         Pittsburgh, PA 15218                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $845.68
         Radomir Perzina                                              Contingent
         U Farmy 1581                                                 Unliquidated
         Karvina 73401                                                Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.528
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,423.69
         Radoslav Chuchev                                             Contingent
         36 Melrose Close                                             Unliquidated
         London ENG SE12 0AL                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 787 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 807 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.528
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Radouan Sadiki                                               Contingent
         418 Charles Street                                           Unliquidated
         Malden, MA 02148                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Radu Cosman                                                  Contingent
         3465 Cedarcrest Avenue                                       Unliquidated
         Baton Rouge, LA 70816                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $655.00
         Radu Muncioiu                                                Contingent
         Aleea Pinului Nr 2                                           Unliquidated
         Malu Mare DJ 207365                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.528
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,106.08
         Rafael Alejandro Alfaro                                      Contingent
         Residencial Lagos Del Sol, Faisanes 58                       Unliquidated
         Cancun Q ROO 77567                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.529
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Cardoso                                               Contingent
         14 Valerie Lane                                              Unliquidated
         Danbury, CT 06811                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Cardoso                                               Contingent
         14 Valerie Lane                                              Unliquidated
         Danbury, CT 06811                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Cardoso                                               Contingent
         14 Valerie Lane                                              Unliquidated
         Danbury, CT 06811                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 788 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 808 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.529
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Cardoso                                               Contingent
         14 Valerie Lane                                              Unliquidated
         Danbury, CT 06811                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Fernandes                                             Contingent
         6695 NW 38th Terrace                                         Unliquidated
         Virginia Gardens, FL 33166                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $780.69
         Rafael Iniguez                                               Contingent
         822 San Jacinto Street                                       Unliquidated
         San Bernardino, CA 92408                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,794.23
         Rafael Jaime Kalach
         Paseo De Las Primaveras 12                                   Contingent
         House 46                                                     Unliquidated
         Mexico City DF 5100                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.529
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Rafael Paula
         Rua Patagonia                                                Contingent
         953, Ap 1301 A                                               Unliquidated
         Belo Horizonte MG 30320-080                                  Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.529
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Rafael Sanchez                                               Contingent
         2826 Peery Ave                                               Unliquidated
         Kansas City, MO 64127                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 789 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 809 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.529
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.26
         Rafael Scholz De Carvalho                                    Contingent
         7613 Chaddsley Dr                                            Unliquidated
         Huntersville, NC 28078                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Raffaele Barioli                                             Contingent
         2505 Par Circle                                              Unliquidated
         Delray Beach, FL 33445                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,143.38
         Raffi Hartoonian                                             Contingent
         8811 Canoga Avenue                                           Unliquidated
         Spc 353                                                      Disputed
         Canoga Park, CA 91304
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.530
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Ragim Uddin                                                  Contingent
         12116 Charest Street                                         Unliquidated
         Hamtramck, MI 48212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Raheem Cozier                                                Contingent
         400 Willow St                                                Unliquidated
         Bridgeport, CT 06610                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Rahul Galhotra                                               Contingent
         1986 Oak Tree Road                                           Unliquidated
         Edison, NJ 08820                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,438.64
         Rainer Ille                                                  Contingent
         Hauptstrasse 29                                              Unliquidated
         Gerasdorf 2201                                               Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 790 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 810 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.530
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Raj Tummala                                                  Contingent
         1309 Formal Garden Way                                       Unliquidated
         Raleigh, NC 27603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,378.56
         Raja Ahc C/O Basalat Raja                                    Contingent
         1835 Molino Ave                                              Unliquidated
         Apt 15                                                       Disputed
         Signal Hill, CA 90755
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.530
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.44
         Raja Ahc C/O Basalat Raja                                    Contingent
         1835 Molino Avenue, #15                                      Unliquidated
         Signal Hill, CA 90755                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Rajan Patel                                                  Contingent
         12001 Murphy Road                                            Unliquidated
         Houston, TX 77031                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Rajan Patel                                                  Contingent
         12001 Murphy Road                                            Unliquidated
         Houston, TX 77031                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,161.80
         Rajat Sharma                                                 Contingent
         Freyweg 32                                                   Unliquidated
         Bergheim 5101                                                Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.531
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Rajesh Narayanan                                             Contingent
         3505 Camino Del Rio South #332                               Unliquidated
         San Diego, CA 92108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 791 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 811 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.531
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Rajevekumar Rajeswaran                                       Contingent
         67 Fimco Cresent                                             Unliquidated
         Ontario ON L6E 0R5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.531
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.42
         Rajinder Singh                                               Contingent
         1110 East Tanbark Lane                                       Unliquidated
         Jackson, MI 49203                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Rajkumar Neelakantan                                         Contingent
         17 Vreeland Ct                                               Unliquidated
         E Brunswick, NJ 08816-3886                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $765.17
         Raleri srl                                                   Contingent
         Via Francesco De Sanctis 9A                                  Unliquidated
         Bologna BO 40132                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.531
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $771.10
         Ralf Reckenfelderbaeumer                                     Contingent
         Neufelder Strasse 13                                         Unliquidated
         Koeln 51067                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.531
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,145.52
         Ralph Dagher                                                 Contingent
         41 Okalpi Ln                                                 Unliquidated
         Orlando, FL 32825                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $455.52
         Ralph Dagher                                                 Contingent
         41 Okalpi Ln                                                 Unliquidated
         Orlando, FL 32825                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 792 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 812 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.532
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,980.11
         Ralph Goldschmidt                                            Contingent
         Weinsbergstrasse 118A                                        Unliquidated
         Koln 50823                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.532
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,589.32
         Ralph Rixner                                                 Contingent
         Seestrasse 14                                                Unliquidated
         Kirchheim Bei Munich 85551                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.532
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Ram Chinnachamy                                              Contingent
         300 Emerald Ridge Drive                                      Unliquidated
         Austin, TX 78732                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Ramazan Gozel                                                Contingent
         2725 Barrett Avenue                                          Unliquidated
         Richmond, CA 94804                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.57
         Rambo Anderson-You                                           Contingent
         4009 Natchez Ave S                                           Unliquidated
         Edina, MN 55416                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $790.37
         Ramesh Ahire                                                 Contingent
         81 Lexington Street                                          Unliquidated
         Watertown, MA 02472                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $953.73
         Ramin Samadzai                                               Contingent
         Paalstraat 16, #1                                            Unliquidated
         Schoten 2900                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 793 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 813 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.532
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Ramiro Ching                                                 Contingent
         14931 Eastwood Avenue                                        Unliquidated
         Lawndale, CA 90260                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.96
         Ramjee Pahadee                                               Contingent
         6760 Joseph Edgar Ct                                         Unliquidated
         Alexandria, VA 22310-2667                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.27
         Ramon Rodriguez                                              Contingent
         1222 1st Avenue, #323                                        Unliquidated
         Seattle, WA 98101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Ramzi Shalby                                                 Contingent
         4907 Loyola Ave                                              Unliquidated
         New Orleans, LA 70115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Randall Bogani                                               Contingent
         740 Spring Haven Dr                                          Unliquidated
         Saint Johns, FL 32259                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Randall Fujinaka                                             Contingent
         1125 Young Street                                            Unliquidated
         Unit 408                                                     Disputed
         Honolulu, HI 96814
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.533
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $736.19
         Randall Schiff                                               Contingent
         617 North Main Avenue                                        Unliquidated
         Fallbrook, CA 92028                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 794 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 814 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.533
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Randall Stine                                                Contingent
         302 W Spreading Oaks Ave                                     Unliquidated
         Friendswood, TX 77546                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Randy Agudelo                                                Contingent
         38 Tucker Street                                             Unliquidated
         Central Falls, RI 02863                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.23
         Randy Blomstedt                                              Contingent
         5397 South Elk Way                                           Unliquidated
         Aurora, CO 80016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Randy Brown                                                  Contingent
         175 2nd Street                                               Unliquidated
         Bordentown, NJ 08505                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Randy Brown                                                  Contingent
         175 2nd Street                                               Unliquidated
         Bordentown, NJ 08505                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.32
         Randy Dinh                                                   Contingent
         11045 NE Flanders St                                         Unliquidated
         Portland, OR 97220-3230                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Randy Foster                                                 Contingent
         1837 Palm Place Dr                                           Unliquidated
         Palm Bay, FL 32905                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 795 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 815 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.534
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Randy Foster                                                 Contingent
         1837 Palm Place Dr                                           Unliquidated
         Palm Bay, FL 32905                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Randy Foster                                                 Contingent
         1837 Palm Place Dr                                           Unliquidated
         Palm Bay, FL 32905                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Randy Foster                                                 Contingent
         1837 Palm Place Dr                                           Unliquidated
         Palm Bay, FL 32905                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Randy Graves                                                 Contingent
         3507 Southwest 25th Terrace                                  Unliquidated
         Miami, FL 33133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Randy Price                                                  Contingent
         913 West Kalamazoo                                           Unliquidated
         Lansing, MI 48915                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,363.77
         Rania Sief                                                   Contingent
         P.O Box 5006                                                 Unliquidated
         Bloomington, IN 47407                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Ranjit Singh                                                 Contingent
         4 Omapere Lane, Pyes Pa                                      Unliquidated
         Tauranga BOP 3112                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 796 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 816 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.534
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $855.64
         Raoul Kuiper                                                 Contingent
         Rubenslaan 15                                                Unliquidated
         Naarden 1412 HM                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.534
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,110.00
         Rares-Florin Ionescu
         Str. Dimitrie Cantemir Nr. 2                                 Contingent
         Bl D90 Sc E Ap 79                                            Unliquidated
         Campulung Moldovenesc SV 725100                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.535
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,305.00
         Rares-Florin Ionescu
         Str. Dimitrie Cantemir Nr. 2                                 Contingent
         Bl D90 Sc E Ap 79                                            Unliquidated
         Campulung Moldovenesc SV 725100                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.535
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,268.00
         Rares-Florin Ionescu
         Str. Dimitrie Cantemir Nr. 2                                 Contingent
         Bl D90 Sc E Ap 79                                            Unliquidated
         Campulung Moldovenesc SV 725100                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.535
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $655.00
         Rares-Florin Ionescu
         Str. Dimitrie Cantemir Nr. 2                                 Contingent
         Bl D90 Sc E Ap 79                                            Unliquidated
         Campulung Moldovenesc SV 725100                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.535
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.54
         Rashaan Smith                                                Contingent
         2615 S Bialy Street                                          Unliquidated
         Philadelphia, PA 19153                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 797 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 817 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.535
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.68
         Rashaen Smith                                                Contingent
         2615 S Bialy St                                              Unliquidated
         Philadelphia, PA 19153                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.32
         Rashia Bell                                                  Contingent
         5319 Irving Street                                           Unliquidated
         Philadelphia, PA 19139                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.64
         Rashid Ibrahim                                               Contingent
         12141 Coral Sea Street Northeast                             Unliquidated
         Blaine, MN 55449                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.70
         Rasmus Meier Hansen                                          Contingent
         Kagsabrinken 9                                               Unliquidated
         Soborg 2860                                                  Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.535
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $822.01
         Ratna Gurung                                                 Contingent
         9145 Jackies Bend                                            Unliquidated
         Reynoldsburg, OH 43068-8049                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,447.91
         Raul Medina                                                  Contingent
         544 West Grove Street                                        Unliquidated
         Rialto, CA 92376                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.536
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Raul Nunez                                                   Contingent
         600 West 141st Street, #63                                   Unliquidated
         New York, NY 10031                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 798 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 818 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.536
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.40
         Rav Brar                                                     Contingent
         15372 110A Ave                                               Unliquidated
         Surrey BC V3R9H6                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Raven Bagy                                                   Contingent
         45 Twin Pines Drive                                          Unliquidated
         10A                                                          Disputed
         Brooklyn, NY 11239
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.22
         Raven Owie                                                   Contingent
         164 Penrose Street                                           Unliquidated
         London ENG SE17 3LU                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Ravi Lally                                                   Contingent
         12008 New McLellan Road                                      Unliquidated
         Surrey BC V3X2X7                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ravi Manglani                                                Contingent
         200 E 27th St Apt 11F                                        Unliquidated
         Apt 11F                                                      Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.23
         Ravinder Singh                                               Contingent
         15003 Ella Jane Way                                          Unliquidated
         Bakersfield, CA 93314-4299                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.536
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ravinder Singh                                               Contingent
         159 South 7th Street                                         Unliquidated
         Steubenville, OH 43952                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 799 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 819 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.536
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $859.82
         Rawad Traboulsi                                              Contingent
         Habersaathstrasse 38C                                        Unliquidated
         Berlin 10115                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.536
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $812.01
         Rawan Hamade
         Abu Dhabi, United Arab Emirates                              Contingent
         Masdar 2, B 4A2, 4th Floor, Flat 436                         Unliquidated
         Abu Dhabi AZ                                                 Disputed
         UNITED ARAB EMIRATES
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.537
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.01
         Timothy Paul Rawls                                           Contingent
         305 East Highline Drive                                      Unliquidated
         Deer Park, TX 77536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ray Hoops                                                    Contingent
         2509 Rustic Drive                                            Unliquidated
         Saint Louis, MO 63125                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ray Kim                                                      Contingent
         3932 Grand Park Dr                                           Unliquidated
         Suwanee, GA 30024                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.82
         Ray Laming                                                   Contingent
         10153 East Peakview Avenue                                   Unliquidated
         Englewood, CO 80111                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 800 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 820 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.537
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,585.35
         Ray Pilaro                                                   Contingent
         124 S. Berkeley Avenue                                       Unliquidated
         Pasadena, CA 91107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.07
         Raymond Bysheim                                              Contingent
         Jagerbakken 11                                               Unliquidated
         Bergen 5042                                                  Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.537
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.59
         Raymond Combs                                                Contingent
         417 Cypress Place                                            Unliquidated
         Richmond, KY 40475                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Raymond Harvey                                               Contingent
         14 White St                                                  Unliquidated
         Fitzroy North VIC 3068                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.537
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $467.74
         Raymond Huff                                                 Contingent
         3498 E. Ellsworth Ave                                        Unliquidated
         #1012                                                        Disputed
         Denver, CO 80209
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.537
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.02
         Raymond Spaan                                                Contingent
         Vogelenzangseweg 117                                         Unliquidated
         Vogelenzang 2114CE                                           Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Raymond Strawley                                             Contingent
         1601 North Rhodes Street                                     Unliquidated
         Arlington, VA 22209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 801 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 821 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.538
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Raymond Younan                                               Contingent
         11500 Brymer St                                              Unliquidated
         Porter Ranch, CA 91326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.538
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Raymundo Gonzalez                                            Contingent
         6043 Prospect Ave                                            Unliquidated
         Maywood, CA 90270                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.538
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Razvan Al-Tarcheh                                            Contingent
         Strada Diamantului 126-128B , Bragadiru                      Unliquidated
         Bragadiru IF                                                 Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Razvan Badiu                                                 Contingent
         Str. 1 Mai, Nr. 17                                           Unliquidated
         Sannicoara CJ 407042                                         Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,124.00
         Razvan Barsan Partners                                       Contingent
         Str. Simigiului Nr. 24, Camera 2, Sector                     Unliquidated
         Bucuresti B                                                  Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.00
         Razvan Barsan Partners                                       Contingent
         Str. Simigiului Nr. 24, Camera 2, Sector                     Unliquidated
         Bucuresti B                                                  Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 802 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 822 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.538
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,611.50
         Razvan Ringhiopol
         Str. Harmanului                                              Contingent
         49S                                                          Unliquidated
         Brasov BV 500222                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $788.30
         Razwan Ashiq                                                 Contingent
         32 Gascoigne Gardens                                         Unliquidated
         Woodford Green ENG IG8 9NU                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Rebecca Irving                                               Contingent
         7 Ellenborough Old Road                                      Unliquidated
         Maryport ENG CA15 7PG                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.539
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Rebecca-Lynn Hislop
         1111 Barclay Street                                          Contingent
         Apartment 407                                                Unliquidated
         Vancouver BC V6E1G9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.539
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rebecka Lecieleci                                            Contingent
         3610 Beckett Ridge Dr                                        Unliquidated
         Humble, TX 77396                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Recasner Boggan                                              Contingent
         P.O. Box 62463                                               Unliquidated
         Virginia Beach, VA 23466                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 803 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 823 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.539
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Recasner Boggan                                              Contingent
         P.O. Box 62463                                               Unliquidated
         Virginia Beach, VA 23466                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Reece Kiriu                                                  Contingent
         241 Moomuku Place                                            Unliquidated
         Honolulu, HI 96821-2238                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Reed Vida                                                    Contingent
         11 Condon Drive                                              Unliquidated
         Ansonia, CT 06401                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Alan Reed                                                    Contingent
         P.O. Box 86                                                  Unliquidated
         Centerville, TN 37033                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Reem Alsabbagh                                               Contingent
         88 Westminster Drive                                         Unliquidated
         Oakville ON L6L 4H5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.539
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Reem Shawar                                                  Contingent
         308 East Wisconsin Avenue                                    Unliquidated
         Milwaukee, WI 53202                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.64
         Refugio Villalobos                                           Contingent
         723 E K Ave                                                  Unliquidated
         Unit B                                                       Disputed
         Visalia, CA 93292
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 804 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 824 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.540
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Reggie Alex                                                  Contingent
         451 East Market Street, #444                                 Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.540
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,351.94
         Reginald Constantino                                         Contingent
         1724 Thompson Ave                                            Unliquidated
         Chula Vista, CA 91913                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.540
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.50
         Reginald Simington                                           Contingent
         P.O. Box 27257                                               Unliquidated
         San Diego, CA 92198                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.540
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,505.18
         Regine Soucy                                                 Contingent
         411 Avenue Sirois Local 70B                                  Unliquidated
         Rimouski QC G5L8B2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Reid Huyssen                                                 Contingent
         301 West Broad Street                                        Unliquidated
         Apartment 324                                                Disputed
         Falls Church, VA 22046
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Reid Prawdzik                                                Contingent
         3152 34th Street                                             Unliquidated
         Apt B1                                                       Disputed
         Astoria, NY 11106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Reilly Iverson                                               Contingent
         431 17th St                                                  Unliquidated
         Ogden, UT 84404                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 805 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 825 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.540
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.29
         Pete Reilly                                                  Contingent
         1809 East Broadway Street                                    Unliquidated
         Suite 132                                                    Disputed
         Oviedo, FL 32765
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.12
         Reiner Musni                                                 Contingent
         4357 Spooner Lake Circle                                     Unliquidated
         Las Vegas, NV 89147                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.540
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Relax Hoja                                                   Contingent
         13023 SE 189th Ct                                            Unliquidated
         Renton, WA 98058                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.43
         Remco Captein                                                Contingent
         Meerbon 21                                                   Unliquidated
         Rijnsaterwoude 2465 BP                                       Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,446.97
         Remo Roth                                                    Contingent
         Hohrainstrasse 42                                            Unliquidated
         Dielsdorf 8157                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.62
         Remzi Cirit                                                  Contingent
         2257 Merlot Ct                                               Unliquidated
         Fort Collins, CO 80528                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $961.39
         Remzi Turhan                                                 Contingent
         Frischmuthstr.4                                              Unliquidated
         Grevenbroich 41515                                           Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 806 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 826 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.541
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Rena Gonzalez                                                Contingent
         11083 Floruish Drive,                                        Unliquidated
         Rancho Cucamonga, CA 91730                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.02
         Renato Bertello                                              Contingent
         Strada Terrapini 22                                          Unliquidated
         Bandito CN 12042                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Renato Galamba                                               Contingent
         2351 Dougals Rd                                              Unliquidated
         Apt 912                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.18
         Renato Silva                                                 Contingent
         Av. Raul Brandao N.61                                        Unliquidated
         Santa Iria De Azoia PT-11 2690-326                           Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $971.52
         Renaud Laurent                                               Contingent
         Quai Du Batty 24                                             Unliquidated
         Hamoir 4180                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.541
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,110.61
         Rene Andres                                                  Contingent
         Am Rothfeld 36                                               Unliquidated
         Trierweiler 54311                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.542
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.01
         Rene Obaya                                                   Contingent
         1241 Enchanted Oaks Drive                                    Unliquidated
         Driftwood, TX 78619                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 807 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 827 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.542
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $788.22
         Rene Provoost                                                Contingent
         23827 Springwater Road                                       Unliquidated
         Crestline, CA 92325                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Reno Ramsey                                                  Contingent
         8950 Horizon Hyatt Avenue                                    Unliquidated
         Las Vegas, NV 89178                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $755.72
         Reshad Gunga                                                 Contingent
         20 Royce Road                                                Unliquidated
         Peterborough ENG PE15YB                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.542
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.84
         Rex Novenario                                                Contingent
         587 Shark Lane                                               Unliquidated
         Stafford Twp, NJ 08050                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,424.23
         Rex Odenwalder                                               Contingent
         5691 West 5300 South                                         Unliquidated
         Hooper, UT 84315                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Rex Paqueo                                                   Contingent
         1079 Alder Avenue                                            Unliquidated
         Marysville, WA 98270                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Rex Turner                                                   Contingent
         6917 E 78th St                                               Unliquidated
         Tulsa, OK 74133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 808 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 828 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.542
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,434.87
         Reynard Azada                                                Contingent
         5120 Ebbetts Way                                             Unliquidated
         Antioch, CA 94531                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Harold Reynolds II                                           Contingent
         5007 Tealgate Dr                                             Unliquidated
         Spring, TX 77373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,348.93
         B C Reynolds                                                 Contingent
         P.O. Box 3341                                                Unliquidated
         Seward, AK 99664                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.55
         Rhodri Rowlands                                              Contingent
         Disgwylfa, Waveley Street, Clydach                           Unliquidated
         Swansea WLS SA6 5DB                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,332.66
         Ria Dasgupta                                                 Contingent
         1108 La Sierra Dr                                            Unliquidated
         El Dorado Hills, CA 95762                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,809.52
         Riaan Van Der Watt                                           Contingent
         3504 Fm 840 E                                                Unliquidated
         Henderson, TX 75654                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Ric Souli Res                                                Contingent
         240 5Iem Avenue                                              Unliquidated
         Crabtree QC J0K1B0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 809 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 829 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.543
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,174.83
         Ricardo Abrantes
         Rua Dr Augusto Jose Da Cunha                                 Contingent
         N7 4A                                                        Unliquidated
         Alges PT-11 1495-240                                         Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,710.30
         Ricardo Ayala Gonzalez                                       Contingent
         21 De Mayo 1398                                              Unliquidated
         Iquique TA 1100000                                           Disputed
         CHILE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Ricardo Ayon                                                 Contingent
         3972 Dwiggins Street                                         Unliquidated
         Los Angeles, CA 90063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $585.30
         Ricardo De Nagy Morais Correia
         R. Diogo De Silves No24A                                     Contingent
         24A                                                          Unliquidated
         Lisboa PT-11 1400-107                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.543
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.71
         Ricardo Erik Barba Castillo
         Lago Alberto 320 Tena 402                                    Contingent
         Anahuac                                                      Unliquidated
         Miguel Hidalgo DF 11320                                      Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.544
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $152.33
         Ricardo Erik Barba Castillo
         Lago Alberto 320 Tena 402                                    Contingent
         Anahuac                                                      Unliquidated
         Miguel Hidalgo DF 11320                                      Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 810 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 830 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.544
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Ricardo Freitag                                              Contingent
         7311 NW 12th St                                              Unliquidated
         Suite 22 Fpy124798                                           Disputed
         Miami, FL 33191
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.544
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Ricardo Garcia                                               Contingent
         40742 Chantaco Ct                                            Unliquidated
         Palmdale, CA 93551                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Ricardo Garcia                                               Contingent
         40742 Chantaco Ct                                            Unliquidated
         Palmdale, CA 93551-5619                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,413.58
         Ricardo Gierbolini                                           Contingent
         5022 South Himalaya Court                                    Unliquidated
         Aurora, CO 80015                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,378.62
         Ricardo Queiroz
         31 Kemsley Crescent, Broughton                               Contingent
         Broughton                                                    Unliquidated
         Milton Keynes ENG MK10 9LZ                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.544
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.69
         Ricardo Rodrigues
         Deluxe House Unit 32 Perivale Park                           Contingent
         Horsenden Lane                                               Unliquidated
         London ENG UB6 7RL                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 811 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 831 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.544
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Ricardo Rossi                                                Contingent
         13224 Fernmont Street                                        Unliquidated
         Sylmar, CA 91342                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $769.29
         Ricardo Sanchez                                              Contingent
         244 N Walcott St                                             Unliquidated
         Indianapolis, IN 46201                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.52
         Ricardo Sanchez                                              Contingent
         244 N Walcott St                                             Unliquidated
         Indianapolis, IN 46201                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.545
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Ricardo Smith                                                Contingent
         Box 134                                                      Unliquidated
         George Town KY1-9000                                         Disputed
         CAYMAN ISLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.68
         Ricardo Venegas                                              Contingent
         1830 Via Petirrojo                                           Unliquidated
         Apt M                                                        Disputed
         Newbury Park, CA 91320
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Rich Odness                                                  Contingent
         25021 Silverleaf Lane                                        Unliquidated
         Laguna Hills, CA 92653                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.545
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Richard Anderson                                             Contingent
         7525 N 155th St                                              Unliquidated
         Bennington, NE 68007                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 812 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 832 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.545
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.14
         Richard Barr                                                 Contingent
         208 Misty Court                                              Unliquidated
         Destin, FL 32541                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.545
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $137.35
         Richard Bell                                                 Contingent
         135 Wynford Drive #1008                                      Unliquidated
         Toronto ON M3C 0J4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Richard Bell                                                 Contingent
         135 Wynford Drive #1008                                      Unliquidated
         Toronto ON M3C 0J4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.00
         Richard Bligaard                                             Contingent
         Rismyrvegen 51D                                              Unliquidated
         Nodeland 4645                                                Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Richard Brown                                                Contingent
         10626 114C Street                                            Unliquidated
         Grande Prairie AB T8V 6M5                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Richard Burns                                                Contingent
         5729 Sunset Rd.                                              Unliquidated
         Fort Worth, TX 76114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Richard Chang                                                Contingent
         209-25 18th Ave                                              Unliquidated
         Apt 5B                                                       Disputed
         Bay Terrace, NY 11360
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 813 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 833 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.546
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Richard Clark                                                Contingent
         4246 Willow Bay Drive                                        Unliquidated
         Winter Garden, FL 34787                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,685.33
         Richard Dimov                                                Contingent
         110 Lexington Lane                                           Unliquidated
         Costa Mesa, CA 92626                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,185.30
         Richard Downing                                              Contingent
         227 East Main Street                                         Unliquidated
         Unit #3                                                      Disputed
         Tuckerton, NJ 08087
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.546
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,322.21
         Richard Fabian                                               Contingent
         3738 Davies Manor Dr                                         Unliquidated
         Bartlett, TN 38133                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Richard Fijolek                                              Contingent
         3720 Potomac Avenue                                          Unliquidated
         Dallas, TX 75205                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Richard Griffiths                                            Contingent
         4 Cypress Cv.                                                Unliquidated
         Little Rock, AR 72223-4466                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,655.29
         Richard Haberkorn                                            Contingent
         13951 Progress Parkway                                       Unliquidated
         North Royalton, OH 44133                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 814 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 834 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.546
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.51
         Richard Kurwitz                                              Contingent
         4021 Austins Landing                                         Unliquidated
         Bryan, TX 77808                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,411.58
         Richard Laird                                                Contingent
         P.O. Box 130432                                              Unliquidated
         Carlsbad, CA 92013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.547
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.35
         Richard Laird                                                Contingent
         P.O. Box 130432                                              Unliquidated
         Carlsbad, CA 92013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.547
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Richard Leclair                                              Contingent
         38 Windmill Lane                                             Unliquidated
         Arlington, MA 02474                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.547
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Richard Lee                                                  Contingent
         310 S Jefferson St                                           Unliquidated
         50D                                                          Disputed
         Placentia, CA 92870
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Richard Lee                                                  Contingent
         310 S Jefferson St, Placentia Ca                             Unliquidated
         50D                                                          Disputed
         Placentia, CA 92870
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.53
         Richard Lin                                                  Contingent
         5826 NW Lark Meadow Ter                                      Unliquidated
         Portland, OR 97229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 815 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 835 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.547
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Richard McLaughlin                                           Contingent
         7776 Blueberry Hill Lane                                     Unliquidated
         Ellicott City, MD 21043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.547
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.23
         Richard Metz Jr.                                             Contingent
         142 East 80th Street                                         Unliquidated
         Apt 3                                                        Disputed
         New York, NY 10075
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Richard Meunier                                              Contingent
         68 Rue Rollinet                                              Unliquidated
         Notre-Dame-De-L'Ile-Perrot QC J7V 8M6                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $960.75
         Richard Neubert                                              Contingent
         Ollenhauerstrasse 1                                          Unliquidated
         Wolfsburg 38444                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.63
         Richard Oconnell                                             Contingent
         77 Dalma Drive                                               Unliquidated
         Mountain View, CA 94041                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Richard Pacchioli                                            Contingent
         3 Holly Rd                                                   Unliquidated
         Medina, TN 38355                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 816 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 836 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.548
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,541.60
         Richard Patton
         East View, The Hills,                                        Contingent
         East View, Bessie Lane                                       Unliquidated
         The Hills, Bradwell ENG S33 9HZ                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.548
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.05
         Richard Ramirez                                              Contingent
         1555 Branciforte Dr                                          Unliquidated
         Santa Cruz, CA 95065                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Richard Rea                                                  Contingent
         13 Finnegan Boulevard                                        Unliquidated
         Deception Bay QLD 4508                                       Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.548
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.29
         Richard Schacht                                              Contingent
         1412 Black Pine Court                                        Unliquidated
         Castle Rock, CO 80104                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.50
         Richard Smith
         49 Castlemoyne                                               Contingent
         Balgriffin                                                   Unliquidated
         Dublin D D13 T8N4                                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.548
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,358.87
         Richard Stagg                                                Contingent
         15705 East Puma Drive                                        Unliquidated
         Fountain Hills, AZ 85268                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 817 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 837 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.548
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $759.49
         Richard Tarenta                                              Contingent
         1273 Terrace Pl                                              Unliquidated
         Lynnwood, WA 98282                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.54
         Richard Tyrrell                                              Contingent
         1605 Hallet Peak Dr                                          Unliquidated
         Longmont, CO 80503                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,079.07
         Richard Wang                                                 Contingent
         781 Janice Lane                                              Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,766.09
         Richard Wang                                                 Contingent
         781 Janice Lane                                              Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,460.17
         Richard Warren                                               Contingent
         1200 Woodruff Road                                           Unliquidated
         Ste C12                                                      Disputed
         Greenville, SC 29607
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.549
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Richard Winburn                                              Contingent
         102 Seth Ct.                                                 Unliquidated
         Radcliff, KY 40160                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Richard Woods                                                Contingent
         1002 Heights Avenue                                          Unliquidated
         El Campo, TX 77437                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 818 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 838 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.549
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Rick Ashley                                                  Contingent
         172 02 119 Ave                                               Unliquidated
         Apt 2                                                        Disputed
         Jamaica, NY 11434
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.549
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.96
         Rick Gales                                                   Contingent
         1234 Elevator Road                                           Unliquidated
         Saskatoon SK S7M 3X2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.549
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Rick Pathi                                                   Contingent
         1100 Wendy Ave.                                              Unliquidated
         Big Bear, CA 92314                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $711.88
         Rick Wilberg                                                 Contingent
         304 Potomac Ave                                              Unliquidated
         Savoy, IL 61874-8115                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,338.66
         Ricky Ariston
         7237, 202A Street, 202A Street                               Contingent
         202A Street                                                  Unliquidated
         Langley BC V2Y 3G4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.549
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.79
         Ricky May                                                    Contingent
         1302 Kinau Street                                            Unliquidated
         Apt 7                                                        Disputed
         Honolulu, HI 96814
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 819 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 839 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.550
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ricky Worthy                                                 Contingent
         P.O. Box 6601                                                Unliquidated
         Macon, GA 31208                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Rico Lengefeld                                               Contingent
         99 Ifield Road                                               Unliquidated
         London ENG SW10 9AS                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.550
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.99
         Rico Trevisan                                                Contingent
         Molierelaan 474                                              Unliquidated
         Elsene 1050                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.550
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,169.31
         Riddhi Bajracharya                                           Contingent
         398 Green Mountain Road                                      Unliquidated
         Mahwah, NJ 07430                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Riddhi Shah                                                  Contingent
         1387 Keoncrest Ave                                           Unliquidated
         San Jose, CA 95110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Riddhi Shah                                                  Contingent
         1387 Keoncrest Ave                                           Unliquidated
         San Jose, CA 95110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Rigoberto Delgado                                            Contingent
         256 Highland Circle                                          Unliquidated
         Providenciales                                               Disputed
         TURKS AND CAICOS ISLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 820 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 840 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.550
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rija Masood                                                  Contingent
         5016 Leatherback Rd                                          Unliquidated
         Woodbridge, VA 22193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Rino Azurin                                                  Contingent
         1225 Anthony St                                              Unliquidated
         Redlands, CA 92374                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,948.54
         Rio Butler                                                   Contingent
         8036 Southwest 64th Avenue                                   Unliquidated
         Portland, OR 97219                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,415.76
         David Rios                                                   Contingent
         4917 North Kimball Avenue                                    Unliquidated
         Chicago, IL 60625                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Ritchie Macadaeg                                             Contingent
         16979 Hazelwood Drive                                        Unliquidated
         Riverside, CA 92503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,839.47
         Mark Dave Rivera                                             Contingent
         24464 Reserve Court                                          Unliquidated
         Menifee, CA 92584-0364                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.01
         Riyad Trii                                                   Contingent
         245 Rue Beaupre                                              Unliquidated
         Charlemagne QC J5Z 1B4                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 821 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 841 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.551
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Rizwan Gangwani                                              Contingent
         12729 Beech Tree Lane                                        Unliquidated
         Euless, TX 76040                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Rizwan Ullah                                                 Contingent
         823 Queensdale Ave East                                      Unliquidated
         Hamilton ON L8V 1M7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.551
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.12
         Doyoung Ro                                                   Contingent
         165 N 1650 W                                                 Unliquidated
         D208                                                         Disputed
         Pleasant Grove, UT 84062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.551
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Rob Ross                                                     Contingent
         115 Egloff Circle                                            Unliquidated
         Folsom, CA 95630-6616                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,034.52
         Robb Baldwin                                                 Contingent
         4616 SW 97th Terracd                                         Unliquidated
         Gainesville, FL 32608                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.84
         Robby Teuchner                                               Contingent
         Breiteweg 194                                                Unliquidated
         Barleben 39179                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.552
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Robert Affa                                                  Contingent
         40 Point O Woods Drive                                       Unliquidated
         Toms River, NJ 08753                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 822 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 842 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.552
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.13
         Robert Arredondo                                             Contingent
         2048 W Chicago Ave Door Code 35885                           Unliquidated
         312 785 6790                                                 Disputed
         Chicago, IL 60622
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.552
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.66
         Robert Ball                                                  Contingent
         58 Cranberry Road                                            Unliquidated
         Carver, MA 02330                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.71
         Robert Barclay                                               Contingent
         11038 W Washington St                                        Unliquidated
         Avondale, AZ 85323                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Robert Blaney                                                Contingent
         1403 E Holly Ave                                             Unliquidated
         Sterling, VA 20164                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.77
         Robert Brito                                                 Contingent
         1336 Melstone Street                                         Unliquidated
         Beaumont, CA 92223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Brown                                                 Contingent
         1330 East Allendale Court                                    Unliquidated
         Bloomington, IN 47401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Robert Brown                                                 Contingent
         1330 East Allendale Court                                    Unliquidated
         Bloomington, IN 47401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 823 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 843 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.552
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Robert Cabrera                                               Contingent
         4022 Levonshire Dr                                           Unliquidated
         Houston, TX 77025                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.21
         Robert Carter                                                Contingent
         545 Leavenworth Street, Apt. 7                               Unliquidated
         San Francisco, CA 94109                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Ciuca                                                 Contingent
         723 W Ocean Ave                                              Unliquidated
         Lantana, FL 33462                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Robert Clark                                                 Contingent
         4555 Country Glen Circle                                     Unliquidated
         Grovetown, GA 30813                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Robert Coates                                                Contingent
         504 Brooktree Court                                          Unliquidated
         Lutz, FL 33548                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Coates                                                Contingent
         504 Brooktree Ct                                             Unliquidated
         Lutz, FL 33548                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $963.20
         Robert Damisch                                               Contingent
         Andritzer Reichsstrasse, 89                                  Unliquidated
         Graz 8046                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 824 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 844 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.553
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.59
         Robert Deese                                                 Contingent
         507 Lohnes Drive                                             Unliquidated
         Fairborn, OH 45324                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.89
         Robert Firestone                                             Contingent
         7087 S Spruce Dr W                                           Unliquidated
         Centennial, CO 80112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Robert Francis
         20 Henry Street                                              Contingent
         Unit 7                                                       Unliquidated
         Parramatta NSW 2150                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.553
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $788.05
         Robert Gabardi                                               Contingent
         58 School Street                                             Unliquidated
         Rockland, MA 02370                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,152.68
         Robert Galyan                                                Contingent
         P.O. Box 68                                                  Unliquidated
         Estes Park, CO 80517                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,268.87
         Robert Gangemi                                               Contingent
         1243 Hermosa Ave                                             Unliquidated
         Pacifica, CA 94044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.94
         Robert Gonzalez                                              Contingent
         1612 North 6th Street                                        Unliquidated
         Mcallen, TX 78501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 825 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 845 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.554
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $464.55
         Robert Guerrero                                              Contingent
         5 Scarsdale Rd                                               Unliquidated
         Montgomery, IL 60538                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Harford                                               Contingent
         920 Justison Street                                          Unliquidated
         Wilmington, DE 19801                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Robert Healy                                                 Contingent
         130 Whelan Crescent                                          Unliquidated
         Saskatoon SK S7L 6V8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.554
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Robert Henderson                                             Contingent
         11416 Esplanade Drive #105                                   Unliquidated
         Reston, VA 20194                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,443.90
         Robert Hufault                                               Contingent
         37 Duggan St                                                 Unliquidated
         Stoughton, MA 02072                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $488.00
         Robert Hunter
         2 Inveresk Park                                              Contingent
         Rathcoole                                                    Unliquidated
         Newtownabbey NIR BT379EU                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.554
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $37.10
         Robert Hurst                                                 Contingent
         482 Greenwood Road                                           Unliquidated
         Kennett Square, PA 19348                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 826 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 846 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.554
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Robert Ingenito                                              Contingent
         231 Lucille Avenue                                           Unliquidated
         Apt #2                                                       Disputed
         Elmont, NY 11003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Robert Ingenito                                              Contingent
         231 Lucille Avenue                                           Unliquidated
         Apt #2                                                       Disputed
         Elmont, NY 11003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Robert Jackson                                               Contingent
         1770 79th Street Cswy                                        Unliquidated
         Apt D-204                                                    Disputed
         North Bay Village, FL 33141
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.40
         Robert Jackson                                               Contingent
         12501 North Professor Street                                 Unliquidated
         Oberlin, OH 44074                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Robert Klein                                                 Contingent
         141 Robert E Lee Blvd, #1124                                 Unliquidated
         New Orleans, LA 70124                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $921.33
         Robert Kraska                                                Contingent
         1485 Ashington Court                                         Unliquidated
         Mississauga ON L5C1R5                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 827 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 847 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.555
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $801.86
         Robert Kuznetsov
         Onilovoi Lane 8/10                                           Contingent
         8A                                                           Unliquidated
         Odessa 65011                                                 Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Robert L.Lundy                                               Contingent
         5933 Easy Street                                             Unliquidated
         I25                                                          Disputed
         Bradenton, FL 34207
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.05
         Robert Lew                                                   Contingent
         7123 Zion Lane                                               Unliquidated
         San Gabriel, CA 91775                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,838.90
         Robert Lewandowski                                           Contingent
         16901 Oak Manor Drive                                        Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,543.45
         Robert Lewandowski                                           Contingent
         16901 Oak Manor Drive                                        Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,884.22
         Robert Liang                                                 Contingent
         23 Maques Lane                                               Unliquidated
         Thornhill ON L4J6T3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 828 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 848 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.556
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Martin                                                Contingent
         2047 Thompson Street                                         Unliquidated
         Innisfil ON L9S 4Z1                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.556
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.29
         Robert Martin                                                Contingent
         1405 N 26 Ave                                                Unliquidated
         Hollywood, FL 33020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.19
         Robert Moon                                                  Contingent
         6185 Magnolia Avenue, #234                                   Unliquidated
         Riverside, CA 92506                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Robert Morrison                                              Contingent
         5829 Laguna Quail Way                                        Unliquidated
         Elk Grove, CA 95758                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Mudry                                                 Contingent
         1435 Waterfront Rd.                                          Unliquidated
         Reston, VA 20194-1251                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Robert Parrish-Zafiratos                                     Contingent
         2350 Del Mar Way                                             Unliquidated
         Unit 303                                                     Disputed
         Corona, CA 92882
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.556
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Peterson                                              Contingent
         15599 Glencrest Avenue                                       Unliquidated
         Delray Beach, FL 33446                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 829 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 849 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.556
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Robert Peterson                                              Contingent
         25 Gilcreast Road                                            Unliquidated
         Londonderry, NH 03053                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.04
         Robert Rizya                                                 Contingent
         4481 South 3425 West                                         Unliquidated
         West Haven, UT 84401                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Robert Salazar                                               Contingent
         5071 Southwest 119th Avenue                                  Unliquidated
         Cooper City, FL 33330                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.18
         Robert Schroeter                                             Contingent
         7891 Oakhurst Dr                                             Unliquidated
         Brecksville, OH 44141                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $135.00
         Robert Shirer                                                Contingent
         84 Abilene Drive                                             Unliquidated
         Toronto ON M9A 2N7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.27
         Robert Sniezko                                               Contingent
         2439 West Augusta Blvd                                       Unliquidated
         Apt 4                                                        Disputed
         Chicago, IL 60622
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.08
         Robert Stein                                                 Contingent
         15589 Paulding Blvd                                          Unliquidated
         Brook Park, OH 44142                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 830 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 850 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.557
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,364.28
         Robert Szilveszter                                           Contingent
         158 Chiltern Drive                                           Unliquidated
         Surbiton ENG KT5 8LS                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,363.71
         Robert Szilveszter                                           Contingent
         158 Chiltern Drive                                           Unliquidated
         Surbiton ENG KT5 8LS                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,220.04
         Robert Toth                                                  Contingent
         Zranyi Utca 13. Foldszint 2.                                 Unliquidated
         Budapest 1195                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.557
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Robert Valles                                                Contingent
         15511 Highway 71 West, Ste 110 #232                          Unliquidated
         Austin, TX 78738                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Robert Viera                                                 Contingent
         2316 SW 22nd St                                              Unliquidated
         Cape Coral, FL 33991                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Robert Vrshek                                                Contingent
         22637 Lamplight Pl                                           Unliquidated
         Santa Clarita, CA 91350                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 831 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 851 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.558
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,009.30
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $955.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,947.90
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.70
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,818.28
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,414.28
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 832 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 852 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.558
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.29
         Robert Wallace                                               Contingent
         4773 Forest Grove Drive                                      Unliquidated
         Brunswick, OH 44212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.81
         Robert Wellesley                                             Contingent
         7575 Shadow Lane                                             Unliquidated
         Sparks, NV 89434                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Robert Wilson                                                Contingent
         221 Timberpark Drive                                         Unliquidated
         Davenport, FL 33837                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Robert Wisniewski                                            Contingent
         1540 Chapparel Way                                           Unliquidated
         Wellington, FL 33414                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Robert Wisniewski                                            Contingent
         1540 Chapparel Way                                           Unliquidated
         Wellington, FL 33414                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 833 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 853 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.559
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Roberto Bruno Di Pietro                                      Contingent
         Murguiondo 340                                               Unliquidated
         Liniers C 1408                                               Disputed
         ARGENTINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.559
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.16
         Roberto Campolo                                              Contingent
         Via Vigevanese 7/A                                           Unliquidated
         Buccinasco MI 20090                                          Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.559
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $454.16
         Roberto Carlos Cabanas Canela
         Av. Central 8 Sec C Mod B 112                                Contingent
         Col. Villa De Aragon                                         Unliquidated
         Gustavo A Madero DF 7570                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.559
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Roberto Chaparro                                             Contingent
         Hc-03 Box 32603                                              Unliquidated
         Aguada, PR 00602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.84
         Roberto De Aquino Lopes Junior
         Rua Cotiara, 400                                             Contingent
         Alphaville Campo Grande 1                                    Unliquidated
         Campo Grande MS 79035-510                                    Disputed
         BRAZIL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.560
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $577.44
         Roberto Guidarini                                            Contingent
         Via Antonio Cecchi 23                                        Unliquidated
         Genova GE 16129                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 834 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 854 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.560
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Roberto Medal                                                Contingent
         13952 SW 153 Terr                                            Unliquidated
         Miami, FL 33177                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.28
         Roberto Molina                                               Contingent
         105 Laurens Ct                                               Unliquidated
         Anderson, SC 29621                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.64
         Roberto Nigrelli
         Via Antonio Salinas 6                                        Contingent
         @Tec Di Roberto Nigrelli Vat: It05231890                     Unliquidated
         Palermo PA 90141                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.560
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Roberto Ruiz                                                 Contingent
         1716 Wurzburg Drive                                          Unliquidated
         Fort Worth, TX 76134                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $974.22
         Roberto Simao                                                Contingent
         Val Da Pia No 8                                              Unliquidated
         Porto De Mos PT-10 2480-043                                  Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.560
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.83
         Robin Abbott                                                 Contingent
         6116 Bernhard Avenue                                         Unliquidated
         Richmond, CA 94805                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.14
         Robin Alex                                                   Contingent
         400 North Saint Paul Street, #920                            Unliquidated
         Dallas, TX 75201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 835 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 855 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.560
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.91
         Robin Kraus                                                  Contingent
         Krausstrasse 4                                               Unliquidated
         Munich 81929                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.561
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,120.77
         Robin Kurian                                                 Contingent
         2704 Rock Island Road, Apt 242                               Unliquidated
         Irving, TX 75060                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Robinson Doyle                                               Contingent
         51 McDonald Street                                           Unliquidated
         Bucksport, ME 04416                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Robroy Heron                                                 Contingent
         85 North Middletown Road                                     Unliquidated
         C9                                                           Disputed
         Nanuet, NY 10954
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.561
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,545.96
         Randy Robson                                                 Contingent
         2567 E Carla Vista Dr                                        Unliquidated
         Gilbert, AZ 85295                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,635.51
         Randy Robson                                                 Contingent
         2567 E Carla Vista Dr                                        Unliquidated
         Gilbert, AZ 85295                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,152.76
         Rocco Galic                                                  Contingent
         Calvinstr. 6                                                 Unliquidated
         Dusseldorf 40597                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 836 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 856 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.561
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Rod Cartledge                                                Contingent
         24 Sagars Road                                               Unliquidated
         Dural NSW 2158                                               Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.561
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $954.78
         Roderick Agius Custo
         Goodwood                                                     Contingent
         Flt1 Triq Il-25 Ta Marzu ,                                   Unliquidated
         Tarxien TXN1182                                              Disputed
         MALTA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.561
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $89.38
         Rodney Brown                                                 Contingent
         1150 Hollybrook Avenue                                       Unliquidated
         Chula Vista, CA 91913                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $89.38
         Rodney Brown                                                 Contingent
         1150 Hollybrook Avenue                                       Unliquidated
         Chula Vista, CA 91913                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $468.06
         Rodney Rael                                                  Contingent
         370 North 17th Street                                        Unliquidated
         San Jose, CA 95112                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         Rodney Speight                                               Contingent
         2404 Skyview Circle                                          Unliquidated
         Fairfield, CA 94534                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Rodney Vaught                                                Contingent
         6419 South Lorel Ave.                                        Unliquidated
         Chicago, IL 60638                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 837 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 857 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.562
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.43
         Rodolfo Lomascolo                                            Contingent
         Cogoll 23 Num 3                                              Unliquidated
         Sant Andreu De Llavaneres B 8392                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.562
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Rodolfo Robles                                               Contingent
         6080 Pocket Pl                                               Unliquidated
         El Paso, TX 79932                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Rodrigo Cordova                                              Contingent
         19013 Horst Avenue                                           Unliquidated
         Artesia, CA 90701                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.82
         Rodrigo Del Paso Escobedo
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Dep 305 Aventuras Club Marina                                Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.562
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.82
         Rodrigo Del Paso Escobedo
         Calle Bahia Xcacel 7 Mza 23 Lote 1                           Contingent
         Aventuras Club Marina Oficina                                Unliquidated
         Puerto Aventuras Q ROO 77733                                 Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.562
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Rodrigo Ferrario                                             Contingent
         25 Linwood Avenue                                            Unliquidated
         Greenwich, CT 06878                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 838 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 858 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.562
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $651.37
         Rodrigo Ferrario                                             Contingent
         25 Linwood Avenue                                            Unliquidated
         Greenwich, CT 06878                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.563
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $939.28
         Rodrigo Ferreira                                             Contingent
         Rua Henrique Medina, No 48, Flor Da Mata                     Unliquidated
         Set bal PT-15 2840-705                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rodrigo Guanlao                                              Contingent
         3210 N Pemberton Circle Drive                                Unliquidated
         Houston, TX 77025                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.563
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.21
         Rodrigo Martinez Guajardo
         Antiguo Camino A Villa De Santiago 3015                      Contingent
         Col. Altavista Sur                                           Unliquidated
         Monterrey NL 64740                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.44
         Rodrigo Martinez Guajardo
         Antiguo Camino A Villa De Santiago 3015                      Contingent
         Col. Altavista Sur                                           Unliquidated
         Monterrey NL 64740                                           Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.09
         Rodrigo Parisi                                               Contingent
         21634 35th Ave SE                                            Unliquidated
         Bothell, WA 98021                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 839 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 859 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.563
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,909.90
         Rodrigo Sanchez Vasquez                                      Contingent
         Parque Escorial                                              Unliquidated
         Alturas Del Parque 2310                                      Disputed
         Carolina, PR 00987
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.61
         Nelson Rodriguez                                             Contingent
         188 Tortledepoint Ln                                         Unliquidated
         Thurndele                                                    Disputed
         Philadelphia, PA 19372
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Roger Cisneros                                               Contingent
         33081 Acapulco Drive                                         Unliquidated
         Dana Point, CA 92629                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.563
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.14
         Roger Delamare                                               Contingent
         4 Avenue Des Noes                                            Unliquidated
         La Verriere 78320                                            Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.563
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.61
         Roger Forcada                                                Contingent
         Carrer Dantoni De Capmany 76, 5 - 1                          Unliquidated
         Barcelona B 8014                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.564
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Roger Nakata                                                 Contingent
         7934 Mission Bonita Drive                                    Unliquidated
         San Diego, CA 92120                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Roger Rodriguez                                              Contingent
         1710 NW 96th Ave                                             Unliquidated
         Doral, FL 33172-2415                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 840 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 860 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.564
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Roger Rodriguez 009                                          Contingent
         1710 NW 96th Ave                                             Unliquidated
         Doral, FL 33172-2415                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Roger Rodriguez 009                                          Contingent
         1710 NW 96th Ave                                             Unliquidated
         Doral, FL 33172-2415                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,810.16
         Roger Webb                                                   Contingent
         1 Harewood Mews                                              Unliquidated
         Leeds ENG LS17 9LY                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.564
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.06
         Rohin Khosla                                                 Contingent
         52 Cityscape Mount NE                                        Unliquidated
         Calgary AB T3N 0V7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.564
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Rohit Gopal                                                  Contingent
         588 Bell St                                                  Unliquidated
         509S                                                         Disputed
         Seattle, WA 98121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.564
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,631.16
         Rolan Sahyouni
         Vastra Jarnvagsgatan 7C                                      Contingent
         Lgh 1203                                                     Unliquidated
         Hedemora 77635                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 841 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 861 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.564
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Roland Keller                                                Contingent
         25100 Watson Ranch Road                                      Unliquidated
         Montgomery, TX 77356                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $895.71
         Roland Uhl                                                   Contingent
         Fliederstrasse 11                                            Unliquidated
         Haan 42781                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Rolando Agreda                                               Contingent
         2813 Westbury Court                                          Unliquidated
         Mississauga ON L5M 6B4                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,752.99
         Roma Cabau Vidal                                             Contingent
         Passatge Del Mas Rub 10                                      Unliquidated
         Molins De Rei B 8750                                         Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $572.60
         Romain Fortunet                                              Contingent
         24 Rue Vasco De Gama                                         Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $775.62
         Roman Korolev                                                Contingent
         1428 Stanford                                                Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.565
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,472.45
         Roman Nahaylo                                                Contingent
         200 E Illinois St                                            Unliquidated
         Apt 3202                                                     Disputed
         Chicago, IL 60611
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 842 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 862 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.565
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $919.10
         Roman Soltys                                                 Contingent
         26 Quartiere Bloom, Lower Ormond Quay, D                     Unliquidated
         Dublin D D01FA36                                             Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.83
         Romano Baglioni
         Via Eugenio Torelli Viollier 132                             Contingent
         Scala A Interno 24                                           Unliquidated
         Roma RM 157                                                  Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,384.31
         Romeo Arias
         Calle Huizaches Casa 4                                       Contingent
         Manzana 27 Residencial Sta. Maria. Sta M                     Unliquidated
         Oaxaca, Oaxaca OAX 71220                                     Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.565
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Ron Rossknecht                                               Contingent
         P.O. Box 333                                                 Unliquidated
         Hill City, SD 57745                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.565
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $949.76
         Ronald Barrett                                               Contingent
         367 Ridgeway Place                                           Unliquidated
         Ventura, CA 93004                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.87
         Ronald Castro                                                Contingent
         83 Clark Ave                                                 Unliquidated
         Bloomfield, NJ 07003                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 843 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 863 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.566
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ronald King                                                  Contingent
         247 North Beville Avenue                                     Unliquidated
         Indianapolis, IN 46201                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.51
         Ronald Shudrowitz                                            Contingent
         1902 North Spaulding Avenue                                  Unliquidated
         Apt 1W                                                       Disputed
         Chicago, IL 60647
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.566
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ronaldy Cartaya                                              Contingent
         11201 SW 55th St                                             Unliquidated
         Lot H8 275                                                   Disputed
         Miramar, FL 33025
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.566
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $825.62
         Ronny Terrero                                                Contingent
         735 West Fisher Avenue                                       Unliquidated
         Philadelphia, PA 19120                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.26
         Rony Melendez                                                Contingent
         1309 W 93rd St , 1/2                                         Unliquidated
         Los Angeles, CA 90044                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.29
         Roopdeep Singh                                               Contingent
         5417 Carrotwood Ave                                          Unliquidated
         Bakersfield, CA 93313-9406                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $409.47
         Rory King                                                    Contingent
         P.O. Box 442                                                 Unliquidated
         Glenmont, NY 12077                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 844 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 864 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.566
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $847.65
         Rory McKenna                                                 Contingent
         25 Midland Toad                                              Unliquidated
         Bristol ENG BS16 4NW                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.566
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.74
         Rosa Porto                                                   Contingent
         7507 Wahl Road                                               Unliquidated
         Lot B3                                                       Disputed
         Vickery, OH 43464
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.567
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.32
         David Rosalez II                                             Contingent
         2821 SW Multnomah Blvd Apt 5                                 Unliquidated
         Portland, OR 97219                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Rosario Decasanova                                           Contingent
         9080 Lime Bay Blvd                                           Unliquidated
         Tamarac, FL 33321                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $457.96
         Rose Lam                                                     Contingent
         150 River Street #307                                        Unliquidated
         Toronto ON M5A 0M2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.567
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,431.64
         Rosemary Hilb                                                Contingent
         645 North Serrano Avenue                                     Unliquidated
         Los Angeles, CA 90004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ross Blaising                                                Contingent
         2608 Kings Ridge Drive                                       Unliquidated
         Birmingham, AL 35243                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 845 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 865 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.567
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,453.43
         Ross Elder
         Flat 5                                                       Contingent
         34 Charlotte Road                                            Unliquidated
         London ENG EC2A 3PB                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.567
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ross Heironimus                                              Contingent
         4646 Elkhorn Ct                                              Unliquidated
         Westfield, IN 46062                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.64
         Ross Nicklin                                                 Contingent
         61 Anglesea Road                                             Unliquidated
         Ipswich ENG IP1 3PJ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.567
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.40
         Ross Russell                                                 Contingent
         7890 Prairie Chapel Road                                     Unliquidated
         Crawford, TX 76638                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,182.81
         Rossopher Thiers                                             Contingent
         536 East Newmark Avenue                                      Unliquidated
         Monterey Park, CA 92335                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.00
         Roxana Circu                                                 Contingent
         Al Scolarilor Nr 16                                          Unliquidated
         Bucuresti B 31818                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 846 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 866 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.568
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Roxanne Lamonde                                              Contingent
         900 Woodbury Avenue                                          Unliquidated
         Portsmouth, NH 03801                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Roy Hansen                                                   Contingent
         1927 Morgan Avenue                                           Unliquidated
         Port Coquitlam BC V3C 1K1                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.568
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Roy Mayo                                                     Contingent
         1319 Osprey Way                                              Unliquidated
         Apopka, FL 32712                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,109.25
         Roy Virgen Jr                                                Contingent
         4705 Revere St                                               Unliquidated
         Chino, CA 91710                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Royal Norman                                                 Contingent
         15996 North 106th Way                                        Unliquidated
         Scottsdale, AZ 85255                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.568
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,502.97
         The Royal Roses                                              Contingent
         20855 NE 16th Ave                                            Unliquidated
         C25                                                          Disputed
         Miami, FL 33179
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.568
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Ruben Fuentes                                                Contingent
         316 Apache Field Lane                                        Unliquidated
         La Marque, TX 77568                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 847 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 867 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.568
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,714.10
         Ruben Oude Wesselink                                         Contingent
         Amtsvenn 24                                                  Unliquidated
         Gronau (Westfalen) 48599                                     Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.568
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.33
         Ruben Oude Wesselink                                         Contingent
         Amtsvenn 24                                                  Unliquidated
         Gronau (Westfalen) 48599                                     Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,855.12
         Ruben Shakhnazaryan                                          Contingent
         8433 Fenwick St                                              Unliquidated
         Sunland, CA 91040                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,497.32
         Ruben Shakhnazaryan                                          Contingent
         8433 Fenwick Street                                          Unliquidated
         Los Angeles, CA 91040                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.29
         Rubin Mann                                                   Contingent
         8358 Rinauro Court                                           Unliquidated
         Tracy, CA 95304                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,728.75
         Rubin Van Nieulande                                          Contingent
         Sebastiaan Van Noyestraat 22                                 Unliquidated
         Eindhoven 5622KH                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,441.37
         Rubina Khachikyan                                            Contingent
         3740 Mayfield Ave                                            Unliquidated
         La Crescenta, CA 91214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 848 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 868 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.569
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.86
         Rudolf Bom                                                   Contingent
         Ettenbergstrasse 12A                                         Unliquidated
         Wettswil Am Albis 8907                                       Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.82
         Rui Filipe Alves Costa De Pereira                            Contingent
         Rua Ary Dos Santos No 22 1A                                  Unliquidated
         Prior Velho PT-11 2685-312                                   Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $925.91
         Anthony Ruiz Salinas                                         Contingent
         999 Old San Jose Rd #38                                      Unliquidated
         Soquel, CA 95073                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,029.90
         Rune Kirkmand                                                Contingent
         Skaruparevej 12                                              Unliquidated
         Skarup Fyn 5881                                              Disputed
         DENMARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.47
         Ruperto Reyes
         Av. Urano Sn Esq. Juan Pablo Ii                              Contingent
         Costa Verde                                                  Unliquidated
         Boca Del Rio VER 94294                                       Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.570
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Rushabh Shah
         204,15 Montgomery Court                                      Contingent
         Halifax,Nova Scotia                                          Unliquidated
         Halifax NS B3M 4J6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 849 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 869 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.570
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Russ Davis                                                   Contingent
         1644 West Blackhawk Street                                   Unliquidated
         1W                                                           Disputed
         Chicago, IL 60622
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.570
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.53
         Russell Britton                                              Contingent
         4390 Beniah Street                                           Unliquidated
         Pahrump, NV 89048                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Russell Dempsey                                              Contingent
         5334 Palisades Avenue                                        Unliquidated
         Battlefield, MO 65619                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Russell Dempsey                                              Contingent
         5334 S. Palisades Ave.                                       Unliquidated
         Brookline, MO 65619                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.61
         Russell Hanzevack                                            Contingent
         1343 SE 16 Pl                                                Unliquidated
         Cape Coral, FL 33990                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Russell Hoffman                                              Contingent
         11532 Echo Lake Circle                                       Unliquidated
         Apt. 108                                                     Disputed
         Bradenton, FL 34211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.570
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,059.90
         Russell Norton                                               Contingent
         3118 W Lake St                                               Unliquidated
         Apt 210                                                      Disputed
         Minneapolis, MN 55416
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 850 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 870 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.570
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.23
         Russell Peterson                                             Contingent
         13910 Lyons Valley Rd Ste. D                                 Unliquidated
         Jamul, CA 91935                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Rustan Laine                                                 Contingent
         19748 Kingswood Lane                                         Unliquidated
         Huntington Beach, CA 92646                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.25
         Rusu Gheorghe
         Strada Buzau Nr. 7                                           Contingent
         Ap 6, Etaj 1                                                 Unliquidated
         Cluj-Napoca CJ 400294                                        Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.571
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,502.58
         Ruth Schneider                                               Contingent
         The Lodge, Whittington Court, Aylmer Roa                     Unliquidated
         London ENG N2 0BT                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.571
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Ry Olson                                                     Contingent
         1447 West Maximilian Place                                   Unliquidated
         Tucson, AZ 85704                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,635.67
         Ryad Sekkal                                                  Contingent
         24 Avenue De La Porte D'Asnieres                             Unliquidated
         Paris 75017                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 851 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 871 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.571
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.44
         Ryan Abel                                                    Contingent
         3812 N 16th St                                               Unliquidated
         Tacoma, WA 98406                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan Alford                                                  Contingent
         200 Brookwood Forest Drive                                   Unliquidated
         Blythewood, SC 29016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ryan Almerico                                                Contingent
         4 Whipporwill Road                                           Unliquidated
         Covington, LA 70433                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ryan Almerico                                                Contingent
         4 Whipporwill Road                                           Unliquidated
         Covington, LA 70433                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Ashrafi                                                 Contingent
         8822 South 70th East Avenue                                  Unliquidated
         Tulsa, OK 74133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,287.35
         Ryan Austin                                                  Contingent
         111 Bathurst Street, #606                                    Unliquidated
         Toronto ON M5V0M9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.572
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.81
         Ryan Baker                                                   Contingent
         4904 Tulsa Avenue                                            Unliquidated
         Olivehurst, CA 95961                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 852 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 872 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.572
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Burnham                                                 Contingent
         3969 Frio Way                                                Unliquidated
         Frisco, TX 75034                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,412.19
         Ryan Campbell                                                Contingent
         221 E Beloit Ave                                             Unliquidated
         Salina, KS 67401                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Ryan Canter                                                  Contingent
         113 Lake Victoria Drive                                      Unliquidated
         Kingsland, GA 31548                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ryan Casey                                                   Contingent
         798 Cicada Road                                              Unliquidated
         Quebeck, TN 38579                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $665.89
         Ryan Clancy                                                  Contingent
         6070 SE Pardee St                                            Unliquidated
         Portland, OR 97206                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,368.12
         Ryan Clarke                                                  Contingent
         1438 Sage Bloom Way                                          Unliquidated
         Saratoga Springs, UT 84045                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.12
         Ryan Clarke                                                  Contingent
         1438 Sage Bloom Way                                          Unliquidated
         Saratoga Springs, UT 84045                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 853 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 873 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.572
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Cole                                                    Contingent
         5346 S Palisades Ave                                         Unliquidated
         Brookline, MO 65619                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Cole                                                    Contingent
         5346 S Palisades Ave                                         Unliquidated
         Brookline, MO 65619                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Ryan Connelly                                                Contingent
         1406/1 Freshwater Place                                      Unliquidated
         Southbank VIC 3006                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.573
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan Davis                                                   Contingent
         19 Rock Lane                                                 Unliquidated
         Milford, NH 03055                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.68
         Ryan Dela Cruz                                               Contingent
         730 Agnew Crescent                                           Unliquidated
         Milton ON L9T 8M6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.573
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Ryan Doherty
         763 Bay Street                                               Contingent
         Unit 3910                                                    Unliquidated
         Toronto ON M5G 2R3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 854 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 874 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.573
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.83
         Ryan Fisher                                                  Contingent
         18820 Vinton Street                                          Unliquidated
         Omaha, NE 68130                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Ryan Gaytan                                                  Contingent
         5 Baywater Lane Southwest                                    Unliquidated
         Airdrie AB T4B 3V6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.573
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Ryan Ghasemi                                                 Contingent
         4810 Preserve Park Dr                                        Unliquidated
         Spring, TX 77389                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.42
         Ryan Gonzales                                                Contingent
         7227 San Ramon Drive                                         Unliquidated
         Houston, TX 77083                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan Issa                                                    Contingent
         153 Remsen Street                                            Unliquidated
         Apt. 4B                                                      Disputed
         Brooklyn, NY 11201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.573
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $75.13
         Ryan Issa                                                    Contingent
         153 Remsen Street                                            Unliquidated
         Apt. 4B                                                      Disputed
         Brooklyn, NY 11201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 855 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 875 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.574
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Ryan Keeney
         1 Elm Drive West                                             Contingent
         Suite 1102                                                   Unliquidated
         Mississauga ON L5B 4M1                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.574
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,109.25
         Ryan Ketchum                                                 Contingent
         6641 Tanzanite Street                                        Unliquidated
         Jurupa Valley, CA 91752                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.94
         Ryan Kodani                                                  Contingent
         3331 Country Club Ln                                         Unliquidated
         Sacramento, CA 95821                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Ryan Kodani                                                  Contingent
         3331 Country Club Ln                                         Unliquidated
         Sacramento, CA 95821                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,327.27
         Ryan Kopf                                                    Contingent
         2945 Brady Street                                            Unliquidated
         Davenport, IA 52803                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.56
         Ryan Lasko                                                   Contingent
         261 Harding Blvd                                             Unliquidated
         Matawan, NJ 07747                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Ryan Lee                                                     Contingent
         10 College Place                                             Unliquidated
         Albanvale VIC 3021                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 856 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 876 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.574
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,332.40
         Ryan Lefaivre                                                Contingent
         256 Seaside Dr.                                              Unliquidated
         Jamestown, RI 02835                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.51
         Ryan Levels                                                  Contingent
         207 Cordelia St Sw                                           Unliquidated
         North Canton, OH 44720                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.52
         Ryan Lindke                                                  Contingent
         9426 Foxgrove Court                                          Unliquidated
         Raleigh, NC 27617                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Ryan Mandel                                                  Contingent
         8 Charlotte Street, #1104                                    Unliquidated
         Toronto ON M5V 0K4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.575
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,429.95
         Ryan Matze                                                   Contingent
         10583 Joplin Street                                          Unliquidated
         Commerce City, CO 80022                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan McGee                                                   Contingent
         1655 Farm To Market Road 665                                 Unliquidated
         Corpus Christi, TX 78415                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $925.91
         Ryan Murphy                                                  Contingent
         3560 Rambla Pl, #517                                         Unliquidated
         Santa Clara, CA 95051                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 857 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 877 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.575
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $465.96
         Ryan Nguyen                                                  Contingent
         16815 Mount Fletcher Cir.                                    Unliquidated
         Fountain Valley, CA 92708                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Ryan Plazony                                                 Contingent
         101 City Avenue                                              Unliquidated
         Apt 207                                                      Disputed
         Bala Cynwyd, PA 19004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.575
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.77
         Ryan Poortinga                                               Contingent
         25 Northern Ave                                              Unliquidated
         #2120                                                        Disputed
         Boston, MA 02210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.575
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,476.59
         Ryan Rerucha                                                 Contingent
         5430 W Palo Alto Ave., #211                                  Unliquidated
         Fresno, CA 93722                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Ryan Rice                                                    Contingent
         1919 Fruitdale Ave                                           Unliquidated
         San Jose, CA 95128                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Ryan Ridenhour                                               Contingent
         1741 Tustin Avenue                                           Unliquidated
         8A                                                           Disputed
         Costa Mesa, CA 92627
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.576
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Rojas                                                   Contingent
         250 Richmond Circle                                          Unliquidated
         Idaho Falls, ID 83404                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 858 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 878 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.576
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.88
         Ryan Romano                                                  Contingent
         11435 NW Captain Ln                                          Unliquidated
         Silverdale, WA 98383                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Ryan Rosenbaum                                               Contingent
         2138 Sommers Avenue                                          Unliquidated
         Madison, WI 53704                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.45
         Ryan Rypka                                                   Contingent
         4514 Main St, #3020                                          Unliquidated
         Jupiter, FL 33458                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.44
         Ryan Sassounian                                              Contingent
         629 Westbourne Dr.                                           Unliquidated
         West Hollywood, CA 90069                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Ryan Sassounian                                              Contingent
         629 Westbourne Dr.                                           Unliquidated
         West Hollywood, CA 90069                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,458.58
         Ryan Smith                                                   Contingent
         332 Northeast 45th Avenue                                    Unliquidated
         Portland, OR 97213                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Ryan Smoot                                                   Contingent
         44-150 Paauhau St.                                           Unliquidated
         P.O. Box 1248                                                Disputed
         Honokaa, HI 96727
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 859 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 879 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.576
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.61
         Ryan Stoll                                                   Contingent
         304 1st Street East                                          Unliquidated
         Kalispell, MT 59901                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Ryan Stoops                                                  Contingent
         140 W Lanesfield St                                          Unliquidated
         Gardner, KS 66030                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,401.08
         Ryan Sumardi                                                 Contingent
         965 Geary Street                                             Unliquidated
         Apt. 50                                                      Disputed
         San Francisco, CA 94109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.577
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $117.37
         Ryan Sumardi                                                 Contingent
         965 Geary Street Apt. 50                                     Unliquidated
         San Francisco, CA 94109                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan Sumner                                                  Contingent
         8101 Fanfair Lane                                            Unliquidated
         Pasadena, MD 21122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ryan Sumner                                                  Contingent
         8101 Fanfair Lane                                            Unliquidated
         Pasadena, MD 21122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Ryan Tempel                                                  Contingent
         1905 E Pegasus Dr                                            Unliquidated
         Tempe, AZ 85283                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 860 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 880 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.577
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Ryan Templeton                                               Contingent
         5208 Fernland Way                                            Unliquidated
         North Charleston, SC 29420                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.17
         Ryan Trumpeter                                               Contingent
         74 Tantany Lane                                              Unliquidated
         West Bromwich ENG B71 1DS                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.577
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.29
         Ryan Varney                                                  Contingent
         19801 East Grant Highway                                     Unliquidated
         E Grant Hwy                                                  Disputed
         Marengo, IL 60152
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.577
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Ryan Vidon                                                   Contingent
         13745 162A Avenue Northwest                                  Unliquidated
         Edmonton AB T6V 0J8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.577
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Ryan Watson                                                  Contingent
         7601 East Indian Bend Road                                   Unliquidated
         Unit 2050                                                    Disputed
         Scottsdale, AZ 85250
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.578
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.32
         Ryan Weiss                                                   Contingent
         3824 SE Carlton Street                                       Unliquidated
         Portland, OR 97202                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.52
         Ryan West                                                    Contingent
         3213 Silver Creek Drive                                      Unliquidated
         Plano, TX 75093                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 861 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 881 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.578
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,301.07
         Ryan Wojtowicz                                               Contingent
         17430 Southwest 297th Terrace                                Unliquidated
         Homestead, FL 33030                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.71
         Ryan Wong                                                    Contingent
         1444 Blalock Road                                            Unliquidated
         Ste G                                                        Disputed
         Houston, TX 77055
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.578
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.50
         Ryan Wong                                                    Contingent
         8180 Cleary Blvd                                             Unliquidated
         Apt 1808                                                     Disputed
         Plantation, FL 33324-1378
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.578
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.13
         Rylen Robles                                                 Contingent
         700 West 2nd Street                                          Unliquidated
         #4                                                           Disputed
         Azusa, CA 91702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.578
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.02
         S Bari
         68 Rosedale Road                                             Contingent
         Forest Gate                                                  Unliquidated
         London ENG E7 8AT                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.578
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,671.30
         Saad Ouacha                                                  Contingent
         Elisabeth Str N5                                             Unliquidated
         Hagen 58095                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 862 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 882 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.578
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Saad Vali                                                    Contingent
         349 Mill Road                                                Unliquidated
         Valley Stream, NY 11581                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Saadia Khan                                                  Contingent
         4706 Kirkdale Drive                                          Unliquidated
         Woodbridge, VA 22193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Sabine Jobst                                                 Contingent
         19193 Poplar Cir                                             Unliquidated
         Eden Prairie, MN 55347                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Sabine Jobst                                                 Contingent
         19193 Poplar Cir                                             Unliquidated
         Eden Prairie, MN 55347                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.31
         Sabrina Rios                                                 Contingent
         3309 West Chenango Avenue                                    Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.38
         Sadie Iovenko                                                Contingent
         327 North Stanley Avenue                                     Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.65
         Sadik Prushi                                                 Contingent
         95 Liberty Street Apt D9                                     Unliquidated
         Stamford, CT 06902-4732                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 863 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 883 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.579
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.52
         Ali Saeed                                                    Contingent
         16 Belmont Avenue                                            Unliquidated
         Plainview, NY 11803                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Safee Rahman                                                 Contingent
         2001 Richard St                                              Unliquidated
         Burbank, CA 91504                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Safiullah Rauf                                               Contingent
         4502 Javins Pl                                               Unliquidated
         Woodbridge, VA 22192                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.14
         Safiullah Rauf                                               Contingent
         6609 Deer Gap Court                                          Unliquidated
         Alexandria, VA 22310                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Said Sabbagh                                                 Contingent
         70 Chaseling Street                                          Unliquidated
         Greenacre NSW 2190                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.580
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $112.99
         Said Sabbagh                                                 Contingent
         70 Chaseling Street                                          Unliquidated
         Greenacre NSW 2190                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.580
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Saif Hussaini                                                Contingent
         4 Normandy Place                                             Unliquidated
         Brampton ON L6S 3Z3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 864 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 884 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.580
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,361.60
         Saikrishna Shiramshetty                                      Contingent
         104 Oak Hill Drive                                           Unliquidated
         Pittsburgh, PA 15213                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.87
         Saim Mahmood                                                 Contingent
         55 Ash Tree Road                                             Unliquidated
         Manchester M8 5AX                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.580
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.01
         Saira Flores                                                 Contingent
         2335 S 61st Ave                                              Unliquidated
         2nd Floor                                                    Disputed
         Cicero, IL 60804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.580
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Sajjad Shamsi                                                Contingent
         3405 Plateau Blvd #18                                        Unliquidated
         Coquitlam BC V3E 3L7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.580
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.70
         Sal Martin                                                   Contingent
         5119 S.Forestdale Cir                                        Unliquidated
         Dublin, CA 94568                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Sam Aleen Salarda                                            Contingent
         9936 Sepulveda Blvd #3                                       Unliquidated
         Mission Hills, CA 91345                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.32
         Mark Anthony Salcedo                                         Contingent
         17009 SE Kelly St.                                           Unliquidated
         Portland, OR 97236                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 865 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 885 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.580
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Saleh Basamad                                                Contingent
         46 North Salisbury Street, #204                              Unliquidated
         West Lafayette, IN 47906                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $874.44
         Saleh Moustafa                                               Contingent
         4 Rue Leon Delagrange                                        Unliquidated
         Paris 75015                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $933.76
         Saleh Shbli                                                  Contingent
         Rheinstr.41                                                  Unliquidated
         Waldshut-Tiengen 79761                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,289.41
         Sally Lehmer                                                 Contingent
         11440 Ridge Road                                             Unliquidated
         Nevada City, CA 95959                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.41
         Salman Elgharbawy                                            Contingent
         6th Syria St, Shabas Amir                                    Unliquidated
         Qallin KFS 77377                                             Disputed
         EGYPT
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $30.00
         Salvatore Andrea Albanese                                    Contingent
         Strada Lesignana 7                                           Unliquidated
         Lesignana MO 41123                                           Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,149.14
         Sam Cappas                                                   Contingent
         7311 Mallard Lane                                            Unliquidated
         Schererville, IN 46375                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 866 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 886 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.581
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Sam Cappas                                                   Contingent
         7311 Mallard Lane                                            Unliquidated
         Schererville, IN 46375                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Sam Chandra                                                  Contingent
         461 Granite Ave.                                             Unliquidated
         Monrovia, CA 91016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $803.60
         Sam Cole
         47 Church Road                                               Contingent
         Kessingland                                                  Unliquidated
         Lowestoft ENG NR337TJ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Sam Coons                                                    Contingent
         414 Sumner Street                                            Unliquidated
         Apt. 1                                                       Disputed
         East Boston, MA 02128
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.582
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sam Deberry                                                  Contingent
         13219 Darby Chase Drive                                      Unliquidated
         Charlotte, NC 28277                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.11
         Sam Folorunso
         131 Oldbury Road                                             Contingent
         Rowley Regis                                                 Unliquidated
         Sandwell ENG B65 0NR                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 867 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 887 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.582
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.71
         Sam Offit                                                    Contingent
         528 21st Street                                              Unliquidated
         Santa Monica, CA 90402                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Sam Sawzin                                                   Contingent
         842 Elm Ave #105                                             Unliquidated
         Long Beach, CA 90813                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.87
         Sam Sousa                                                    Contingent
         1850 Mount Diablo Blvd                                       Unliquidated
         Suite 100                                                    Disputed
         Walnut Creek, CA 94596
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.582
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Sam Thesing                                                  Contingent
         426 Dump Hill Road                                           Unliquidated
         Rushford, MN 55971                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $506.52
         Sam Welch
         24 Ibrox Street                                              Contingent
         Flat 2/3                                                     Unliquidated
         Glasgow SCT G51 1AQ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.582
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,644.69
         Saman Heidari                                                Contingent
         145 Port                                                     Unliquidated
         Irvine, CA 92618                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Samantha Vasquez                                             Contingent
         1221 N Main St                                               Unliquidated
         Kissimmee, FL 34744                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 868 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 888 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.582
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.34
         Samar Khan                                                   Contingent
         1047 Syndenham Ln,                                           Unliquidated
         Milton ON L9T8J1                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,163.34
         Samer Al Khamran
         Hermannstr. 155                                              Contingent
         Sam Service Express                                          Unliquidated
         Berlin 12051                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.98
         Samer Al Khamran                                             Contingent
         Hermannstr. 155                                              Unliquidated
         Berlin 12051                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,390.77
         Samer Alamrat                                                Contingent
         529 Main Street                                              Unliquidated
         P200                                                         Disputed
         Boston, MA 02129
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Samer Rahmeh                                                 Contingent
         8701 Wiles Road                                              Unliquidated
         Apt 206                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.35
         Samer Serhan                                                 Contingent
         990 Gainsborough Rd                                          Unliquidated
         London ON N6H 5L4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 869 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 889 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.583
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.52
         Sami Arnaout                                                 Contingent
         58 Woodland Road                                             Unliquidated
         Unit 4                                                       Disputed
         Cape Elizabeth, ME 04107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,393.34
         Sami Hasan                                                   Contingent
         75 Alderney Gardens                                          Unliquidated
         Northolt ENG UB55BT                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.12
         Samiuela Tolutau                                             Contingent
         4700 W Delta Park Circle                                     Unliquidated
         West Valley City, UT 84120                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.583
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.79
         Sampson Barnes                                               Contingent
         7650 Hanks Drive                                             Unliquidated
         Baton Rouge, LA 70812                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.583
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Samudra Vijay                                                Contingent
         2511 E Nc Hwy 54                                             Unliquidated
         Ste 201                                                      Disputed
         Durham, NC 27713
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.584
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.52
         Samuel Brown                                                 Contingent
         18 Castle View                                               Unliquidated
         West Kilbride SCT KA23 9HD                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.584
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Samuel Bush                                                  Contingent
         14996 SW 283rd St, #305                                      Unliquidated
         Homestead, FL 33033                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 870 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 890 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.584
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Samuel Bush                                                  Contingent
         2705 Tally Ho Drive                                          Unliquidated
         Hurst, TX 76054                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Samuel Cody                                                  Contingent
         18 Weston Heights Drive                                      Unliquidated
         Asheville, NC 28803                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Samuel Colton                                                Contingent
         519 Saint Thomas Street                                      Unliquidated
         Lafayette, LA 70506                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Samuel Comer                                                 Contingent
         66 W 38th St                                                 Unliquidated
         Apt 41C                                                      Disputed
         New York, NY 10018
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.584
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Samuel Kelly                                                 Contingent
         16 Terry Drive                                               Unliquidated
         Saint Charles, MO 63303                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.52
         Samuel Kersey                                                Contingent
         6215 Founding Dr                                             Unliquidated
         Katy, TX 77449                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.17
         Samuel Law                                                   Contingent
         465 Raymerville Drive                                        Unliquidated
         Markham ON L3P 6J1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 871 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 891 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.584
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.28
         Samuel Louis                                                 Contingent
         6349 Small Wood Rd                                           Unliquidated
         Jacksonville, FL 32216                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Samuel Nassar                                                Contingent
         1723 N Ukiah Way                                             Unliquidated
         Upland, CA 91784                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.80
         Samuel Pagan                                                 Contingent
         708 East Lomita Avenue                                       Unliquidated
         #G                                                           Disputed
         Glendale, CA 91205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.585
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Samuel Ramo                                                  Contingent
         2743 Henry St. Pmb 331                                       Unliquidated
         Muskegon, MI 49441                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.12
         Samuel Riddle                                                Contingent
         3716 W 1650 N                                                Unliquidated
         Lehi, UT 84043                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,475.28
         Samuel Spatafora
         1244 York Mills Road                                         Contingent
         315A                                                         Unliquidated
         Toronto ON M3A 1Y7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 872 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 892 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.585
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.29
         Samuel Stalabrass                                            Contingent
         121 Benhurst Avenue                                          Unliquidated
         Hornchurch ENG RM12 4QN                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.585
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.52
         Samuel Tupita                                                Contingent
         Mornington Road                                              Unliquidated
         Greenford ENG UB6 9HL                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.585
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,307.81
         Samuel Whiteford                                             Contingent
         10984 W Leilani Dr.                                          Unliquidated
         Boise, ID 83709                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $843.74
         Samuel Zniber                                                Contingent
         53 Rue De Babylone                                           Unliquidated
         Paris 75007                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.585
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,546.56
         Rodney San Agustin                                           Contingent
         5050 Tujunga Avenue #12                                      Unliquidated
         North Hollywood, CA 91601                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Salvador San Agustin                                         Contingent
         10300 W 121st Street                                         Unliquidated
         Overland Park, KS 66213                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $782.32
         Martin Federico Sanchez Rubado                               Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 873 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 893 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.586
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         Luis Eduardo Sanchez                                         Contingent
         2201 Ludlam Road #223                                        Unliquidated
         Miami, FL 33155                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Sandeep Kumar                                                Contingent
         22 Kent Street                                               Unliquidated
         Coolangatta QLD 4225                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.586
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $920.35
         Sandeep Kumar Vishnu Prasad                                  Contingent
         Lange Violettestraat 178                                     Unliquidated
         Gent 9000                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.586
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,743.08
         Sandeep Nagra                                                Contingent
         34 Warrener Close                                            Unliquidated
         Swindon ENG SN25 4AH                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.586
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,367.96
         Andrew Sanderson                                             Contingent
         5811 Golden Pheasant Ct                                      Unliquidated
         Dayton, OH 45424                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Sandra Buffett
         17 Shore Blvd                                                Contingent
         Shore Blvd                                                   Unliquidated
         St Catharines ON L2N 5T9                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 874 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 894 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.586
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Sandra Martinez                                              Contingent
         P.O. Box 7664                                                Unliquidated
         Jackson Hole, WY 83002                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,308.12
         Sandra Martinez                                              Contingent
         P.O. Box 7664                                                Unliquidated
         Jackson Hole, WY 83002                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.587
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.00
         Sandra Sabin
         Am Schopfwerk 33                                             Contingent
         Parzelle 83                                                  Unliquidated
         Vienna 1120                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.87
         Sandra Snell                                                 Contingent
         541 Charminster Road                                         Unliquidated
         Bournemouth ENG BH8 9RF                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.48
         Sandro Chiesa                                                Contingent
         Buchzelgstrasse 76                                           Unliquidated
         Zurich 8053                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,095.30
         Sandro Schneider                                             Contingent
         Bildgasse 19                                                 Unliquidated
         Lustenau 6890                                                Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 875 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 895 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.587
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $663.14
         Sang Cao                                                     Contingent
         16411-120 Street                                             Unliquidated
         Edmonton AB T5X 5K5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.51
         Sang Ngo                                                     Contingent
         31 Royena Court                                              Unliquidated
         Crestmead QLD 4132                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $88.88
         Sanghyun Lee                                                 Contingent
         3700 W Mungall Dr                                            Unliquidated
         Apt 3                                                        Disputed
         Anaheim, CA 92804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.56
         Sani Djaya                                                   Contingent
         1707 Veirs Mill Road                                         Unliquidated
         Rockville, MD 20851                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.587
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.12
         Sanjay Veerkar                                               Contingent
         2700 S Las Vegas Blvd                                        Unliquidated
         Unit 3501                                                    Disputed
         Las Vegas, NV 89109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.587
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Sanju Kumar                                                  Contingent
         23137 Timber Creek Lane                                      Unliquidated
         Clarksburg, MD 20871                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.93
         Sanketh R Mekala                                             Contingent
         4623 Rundlehill Road Northeast                               Unliquidated
         Calgary AB T1Y 2S1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 876 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 896 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.588
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.24
         Santiago Pita                                                Contingent
         8470 Watson Circle                                           Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,421.59
         Santiago Torres
         Hacienda Montenegro 66                                       Contingent
         Colonia Mansiones Del Valle                                  Unliquidated
         Queretaro QRO 76185                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.588
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,347.71
         Santiago Torres
         Hacienda Montenegro 66                                       Contingent
         Colonia Mansiones Del Valle                                  Unliquidated
         Queretaro QRO 76185                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.588
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,322.71
         Santiago Torres
         Hacienda Montenegro 66                                       Contingent
         Colonia Mansiones Del Valle                                  Unliquidated
         Queretaro QRO 76185                                          Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.588
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Santos Figueroa                                              Contingent
         911 Lamplighter Dr Nw                                        Unliquidated
         Palm Bay, FL 32907                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Santosh Neupane                                              Contingent
         9 Lycett Avenue                                              Unliquidated
         Kellyville NSW 2155                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 877 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 897 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.588
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sapan Patel                                                  Contingent
         54 Noll St, #746                                             Unliquidated
         Brooklyn, NY 11206                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Sara Andreoli
         1250 St Clair Ave W, App 1                                   Contingent
         App 1                                                        Unliquidated
         Toronto ON M6E 1B7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.588
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,810.37
         Sara Gutierrez                                               Contingent
         645 Front St, Renaissance Tower                              Unliquidated
         South Tower, Apart. 1308                                     Disputed
         San Diego, CA 92101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Sara Macek                                                   Contingent
         402 Scone Dr                                                 Unliquidated
         Troy, MI 48098                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.589
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.90
         Sara Mueller                                                 Contingent
         11251 10 Avenue Northwest                                    Unliquidated
         Edmonton AB T6J 6S2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.42
         Sara Sanadgol                                                Contingent
         2980 District Ave, #619                                      Unliquidated
         Fairfax, VA 22031                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 878 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 898 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.589
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $800.32
         Sarah Curtis-Cheng
         62-64 Globe Road                                             Contingent
         Flat 5                                                       Unliquidated
         London ENG E1 4DS                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Sarah Dennis                                                 Contingent
         952 Huron Terrace #102                                       Unliquidated
         Kincardine ON N2Z0G4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Sarah Huynh                                                  Contingent
         78 Gulliver Road                                             Unliquidated
         Toronto ON M6M 2M6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.589
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $471.59
         Sarah Lam                                                    Contingent
         12057 Southeast 41st Street                                  Unliquidated
         Bellevue, WA 98006                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.589
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Sarah McKinney                                               Contingent
         1721 Maplewood Drive                                         Unliquidated
         Farmington, NY 14425                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.589
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Sarah Robins                                                 Contingent
         5976 Tisdall Street, #102                                    Unliquidated
         Vancouver BC V5Z 3N2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 879 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 899 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.589
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.96
         Saranyou Sanouvong                                           Contingent
         Meiliplatz1                                                  Unliquidated
         Emmen 6032                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.590
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Sardorzhon Narzullaev                                        Contingent
         3025 Artesia Blvd                                            Unliquidated
         Ste 101/ Phone Electrik                                      Disputed
         Torrance, CA 90504
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.590
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,081.40
         Sareth Thab                                                  Contingent
         131 Warren Street, #3                                        Unliquidated
         Fall River, MA 02721                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sarmad Adnan                                                 Contingent
         34 Penny Green Street                                        Unliquidated
         Sugar Land, TX 77479                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Sarra Tsiatsos                                               Contingent
         11163 Aqua Vista St. #205                                    Unliquidated
         Studio City, CA 91602                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.68
         Satpinder Mann                                               Contingent
         483 Kincardine Terrace                                       Unliquidated
         Milton ON L9T 8E8                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.590
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,244.52
         Saul Reyes                                                   Contingent
         4915 Upland Dr                                               Unliquidated
         Alexandria, VA 22310                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 880 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 900 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.590
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Saul Reyes                                                   Contingent
         4915 Upland Dr                                               Unliquidated
         Alexandria, VA 22310                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.47
         Saul Reyes                                                   Contingent
         4915 Upland Dr                                               Unliquidated
         Alexandria, VA 22310                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.90
         Saurabh Dubey                                                Contingent
         6368 Blue Water Circle                                       Unliquidated
         Castle Rock, CO 80108                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,683.02
         SAV GmbH Serge Vossoughi                                     Contingent
         Capistrangasse 5, 2/62                                       Unliquidated
         Wien 1060                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Savan Thakkar                                                Contingent
         4682 Chabot Dr                                               Unliquidated
         Unit # 12166                                                 Disputed
         Pleasanton, CA 94588
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,142.19
         Savannah McMachen                                            Contingent
         3020 E Main St                                               Unliquidated
         Lakeland, FL 33801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.591
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.83
         Savannah Michael                                             Contingent
         3000 Lillard Dr                                              Unliquidated
         Apt 113                                                      Disputed
         Davis, CA 95618-4821
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 881 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 901 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.591
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Sawyer Woodside                                              Contingent
         304 Holmwood Avenue                                          Unliquidated
         Ottawa ON K1S 2R3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Saxon Hubble                                                 Contingent
         6535 E Thompson Rd                                           Unliquidated
         Indianapolis, IN 46237                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.591
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $519.00
         Sayed Husseini                                               Contingent
         10780 No. 5 Rd #110                                          Unliquidated
         Richmond BC V6W 0B8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,253.62
         Sayed Husseini                                               Contingent
         10780 No. 5 Rd #110                                          Unliquidated
         Richmond BC V6W 0B8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.591
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.89
         Sayrika Kamara                                               Contingent
         1802 Wetherbourne Court                                      Unliquidated
         Bowie, MD 20721                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.591
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.25
         Alec Schleicher                                              Contingent
         216 Pepperwood Way                                           Unliquidated
         Durham, NC 27703                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.591
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,433.55
         Schumacher & Willsau P.A.GmbH                                Contingent
         Nymphenburger Strasse 42                                     Unliquidated
         Munich 80335                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 882 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 902 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.592
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.99
         Scott Abrams                                                 Contingent
         62 Wagon Lane                                                Unliquidated
         Centereach, NY 11720                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,477.01
         Scott Allmon                                                 Contingent
         1260 Twin Oaks Lane                                          Unliquidated
         Castle Rock, CO 80109                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.35
         Scott Bigler                                                 Contingent
         206 Leedom Way                                               Unliquidated
         Newtown, PA 18940                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.85
         Scott Cartner                                                Contingent
         10 Oakland Avenue                                            Unliquidated
         Maryport ENG CA157BU                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.592
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $88.00
         Scott Dubritton                                              Contingent
         2100 Black Pine Ct.                                          Unliquidated
         Severn, MD 21144                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.19
         Scott Dubritton                                              Contingent
         2100 Black Pine Ct.                                          Unliquidated
         Severn, MD 21144                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Scott Espinoza                                               Contingent
         27432 Lovettsville Lane                                      Unliquidated
         Temecula, CA 92591                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 883 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 903 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.592
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,400.38
         Scott Giles
         367 South Gippsland Highway                                  Contingent
         Absolute Storage                                             Unliquidated
         Dandenong South VIC 3175                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.592
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.59
         Scott Griffin                                                Contingent
         212 Cameron Dr                                               Unliquidated
         Kings Mountain, NC 28086                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Scott Grow                                                   Contingent
         252 West 1290 North                                          Unliquidated
         Honey Pot Investments, LLC                                   Disputed
         American Fork, UT 84003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.593
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.54
         Scott Howard                                                 Contingent
         3403 NW 112th St                                             Unliquidated
         Vancouver, WA 98685                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $460.66
         Scott Keller                                                 Contingent
         3872 Mount Royal Blvd                                        Unliquidated
         Allison Park, PA 15101                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Scott Kingston                                               Contingent
         101 West End Avenue                                          Unliquidated
         Apartment 15E                                                Disputed
         New York, NY 10023
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 884 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 904 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.593
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Scott Kline                                                  Contingent
         3708 Bridge Glen Drive                                       Unliquidated
         Las Vegas, NV 89108                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Scott Kollmorgen                                             Contingent
         10818 Candlewood Drive                                       Unliquidated
         Houston, TX 77042                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.12
         Scott Lair                                                   Contingent
         823 Orla St                                                  Unliquidated
         San Marcos, CA 92069                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.33
         Scott Lappe                                                  Contingent
         22W353 Balsam Dr                                             Unliquidated
         Glen Ellyn, IL 60137                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,741.45
         Scott Larson                                                 Contingent
         10202 N. 40th St.                                            Unliquidated
         Phoenix, AZ 85028                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,797.82
         Scott Lipman                                                 Contingent
         Polenstraat                                                  Unliquidated
         Almere 1363BB                                                Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.593
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,145.13
         Scott Lizura                                                 Contingent
         22600 Middlebelt Rd                                          Unliquidated
         Trlr D9                                                      Disputed
         Farmington Hills, MI 48336-3673
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 885 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 905 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.594
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $671.14
         Scott M Lepere                                               Contingent
         859 Conner Street                                            Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $86.17
         Scott McDowell                                               Contingent
         24 Purley Cres.                                              Unliquidated
         Scarborough ON M1M 1E8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.594
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Scott McDowell                                               Contingent
         24 Purley Cres.                                              Unliquidated
         Scarborough ON M1M 1E8                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.594
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Scott Milne                                                  Contingent
         2255 E Sunset Rd                                             Unliquidated
         Apt 2117                                                     Disputed
         Las Vegas, NV 89119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.594
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,608.87
         Scott Morgan                                                 Contingent
         4135 S. Power Rd                                             Unliquidated
         Suite 123                                                    Disputed
         Mesa, AZ 85212
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.594
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Scott Schatz                                                 Contingent
         32 Arrowhead Estates Lane                                    Unliquidated
         Chesterfield, MO 63017                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Scott Scheidt                                                Contingent
         2508 Quacco Road                                             Unliquidated
         Pooler, GA 31322                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 886 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 906 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.594
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.77
         Scott Smith                                                  Contingent
         6770 Delor Street                                            Unliquidated
         St. Louis, MO 63109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Scott Steigrod                                               Contingent
         11622 Stein St                                               Unliquidated
         Orlando, FL 32832                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Scott Thompson                                               Contingent
         2828 Mccall Rd                                               Unliquidated
         Suite 32 P.O. Box #6                                         Disputed
         Englewood, FL 34224
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.595
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Scott Trento                                                 Contingent
         6040 SW 9th St                                               Unliquidated
         Plantation, FL 33317                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.83
         Scott True                                                   Contingent
         509 N Oak St                                                 Unliquidated
         O Fallon, IL 62269                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Scott Vesely                                                 Contingent
         7842 Whitehart Street                                        Unliquidated
         Frisco, TX 75035                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,445.07
         Scott Westerbeck                                             Contingent
         13325 Malachite Drive                                        Unliquidated
         Bradenton, FL 34211                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 887 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 907 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.595
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.10
         Scott Wissler                                                Contingent
         3440 South Halifax Way                                       Unliquidated
         Aurora, CO 80013                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.77
         Scott Zilonka                                                Contingent
         P.O. Box 1503                                                Unliquidated
         Borrego Springs, CA 92004                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,607.63
         Seamus Rogers
         Dublin Specialist Dentistry                                  Contingent
         402 Q House, Furze Road                                      Unliquidated
         Sandyford Industrial Estate D D18                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.595
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.65
         Seamus Rogers
         Dublin Specialist Dentistry                                  Contingent
         402 Q House, Furze Road                                      Unliquidated
         Sandyford Industrial Estate D D18                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.595
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Sean Beams                                                   Contingent
         3 Elm St                                                     Unliquidated
         Owego, NY 13827                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Sean Burrows                                                 Contingent
         1588 East Pender St #201                                     Unliquidated
         Vancouver BC V5L 1W1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 888 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 908 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.596
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,479.99
         Sean Cooke                                                   Contingent
         Flat 69, Renaissance Square Apartments,                      Unliquidated
         London ENG W4 2DZ                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.596
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,494.42
         Sean Dahlin                                                  Contingent
         1631 15th Avenue West                                        Unliquidated
         Ste 305                                                      Disputed
         Seattle, WA 98119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.596
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,494.41
         Sean Dahlin                                                  Contingent
         33010 Southeast 118th Street                                 Unliquidated
         Issaquah, WA 98027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,466.89
         Sean Dahlin                                                  Contingent
         33010 Southeast 118th Street                                 Unliquidated
         Issaquah, WA 98027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,336.17
         Sean Duncombe                                                Contingent
         6796 Rue Clark                                               Unliquidated
         Montreal QC H2S 3E9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.596
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Sean Frogley
         28 Hercules Street                                           Contingent
         Shirley                                                      Unliquidated
         Christchurch CAN 8013                                        Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 889 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 909 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.596
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.45
         Sean Goodman                                                 Contingent
         1031 Eagle View Ct                                           Unliquidated
         Prairie Du Sac, WI 53578                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $645.41
         Sean Greves                                                  Contingent
         709 W Sunshine St                                            Unliquidated
         Springfield, MO 65807                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,334.85
         Sean Gross                                                   Contingent
         847 S Logan St                                               Unliquidated
         Denver, CO 80209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,790.39
         Sean Gross                                                   Contingent
         847 S Logan St                                               Unliquidated
         Denver, CO 80209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.14
         Sean Hinke                                                   Contingent
         100 Deerbow Circle SE                                        Unliquidated
         Calgary AB T2J6J2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.597
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.25
         Sean Katt                                                    Contingent
         1131 Warwick Ave                                             Unliquidated
         Thousand Oaks, CA 91360                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,790.66
         Sean Keaveney
         Corry                                                        Contingent
         Rathowen                                                     Unliquidated
         Mullingar WH BT36 4PP                                        Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 890 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 910 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.597
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.71
         Sean Kruse                                                   Contingent
         14921 Southeast 177th Place                                  Unliquidated
         23G                                                          Disputed
         Renton, WA 98058
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.597
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.90
         Sean Lenihan                                                 Contingent
         209 W 125th Terrace                                          Unliquidated
         Kansas City, MO 64145                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Sean McKay                                                   Contingent
         2142 Daylor Drive Northeast                                  Unliquidated
         Grand Rapids, MI 49525                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,793.83
         Sean Moran
         15 Larkfield Close                                           Contingent
         Clayfarm , Sandyford                                         Unliquidated
         Dublin D D18 W5R2                                            Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.597
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Sean Murashige                                               Contingent
         719 22nd Avenue                                              Unliquidated
         Honolulu, HI 96816                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Sean Park                                                    Contingent
         5555 Mockingbird Ln #4614                                    Unliquidated
         Dallas, TX 75206                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 891 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 911 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.597
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Sean Rapley                                                  Contingent
         22 Kilncar Crescent                                          Unliquidated
         Thirroul NSW 2515                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Sean Segura                                                  Contingent
         115 Mount Shasta Street                                      Unliquidated
         Dallas, TX 75211                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.598
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,639.69
         Sean Sherwood                                                Contingent
         4644 Mapleridge Dr                                           Unliquidated
         North Vancouver BC V7R 3T5                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,457.60
         Sean Sherwood                                                Contingent
         4644 Mapleridge Dr                                           Unliquidated
         North Vancouver BC V7R 3T5                                   Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,392.64
         Sebastian Armanasco                                          Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.598
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $731.20
         Sebastian Cruz                                               Contingent
         318 Belmont Drive                                            Unliquidated
         Alpharetta, GA 30022                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.598
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Sebastian Flores                                             Contingent
         4350 W Kennedy Blvd                                          Unliquidated
         #8                                                           Disputed
         Tampa, FL 33609
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 892 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 912 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.598
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.67
         Sebastian Meyer                                              Contingent
         Huebeliacker 11A                                             Unliquidated
         Suhr 5034                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.21
         Sebastian Stegrin                                            Contingent
         Gnejsvagen 57, #1102                                         Unliquidated
         Kungsbacka 43451                                             Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $560.73
         Sebastian Theilmeier-Aldehoff                                Contingent
         Pastorenstrasse 16                                           Unliquidated
         Hamburg 20459                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.598
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $69.00
         Sebastien Bisoglio                                           Contingent
         Chemin De Plaisance 1                                        Unliquidated
         Fully 1926                                                   Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $42.00
         Sebastien Chaumontet
         10 Rue Simone De Beauvoir                                    Contingent
         Avenue De Chamb Ry                                           Unliquidated
         Alfortville 94140                                            Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,536.10
         Sebastien Genoud                                             Contingent
         Witikonerstrasse 23                                          Unliquidated
         Zurich 8032                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 893 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 913 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.599
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.40
         Sebastien Kenny                                              Contingent
         383 Chartersville Rd                                         Unliquidated
         Dieppe NB E1A5G9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $85.00
         Sebastien Kenny                                              Contingent
         383 Chartersville Rd                                         Unliquidated
         Dieppe NB E1A5G9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Sebastien Piche                                              Contingent
         1808 Rue De Beaulac                                          Unliquidated
         Chambly QC J3L0S9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Sebastien Rousseau                                           Contingent
         18262 De La Promenade                                        Unliquidated
         Mirabel QC J7J1B6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.22
         Sebastien St-Laurent                                         Contingent
         1957 Rue Girard                                              Unliquidated
         Varennes QC J3X 1J9                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,089.98
         Selcuk Azyurt                                                Contingent
         Weiherstrasse 8                                              Unliquidated
         Jona 8645                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 894 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 914 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.599
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.73
         Senay Aydemir                                                Contingent
         Schwangauer Strasse 15                                       Unliquidated
         Fussen 87629                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.599
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.77
         Alper Sennaro
         Hawksbrow                                                    Contingent
         Guildford Road                                               Unliquidated
         Leatherhead ENG KT22 9DY                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,532.47
         Seppo Hosio                                                  Contingent
         Vikhusgatan 5                                                Unliquidated
         Vasteras 72223                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,714.77
         Sereda Olga                                                  Contingent
         Myru Avenue #1                                               Unliquidated
         Chornomorsk 68001                                            Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Serg Rebugio                                                 Contingent
         5122 Likini Street #109                                      Unliquidated
         Honolulu, HI 96818                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.600
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Serge Krasnay                                                Contingent
         24573 El Alicante                                            Unliquidated
         Laguna Niguel, CA 92677                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 895 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 915 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.600
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.39
         Sergei Berenson                                              Contingent
         8263 Trondheim Dr                                            Unliquidated
         Delta BC V4C0B8                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Sergey Bagdasaryan                                           Contingent
         8007 64th Rd                                                 Unliquidated
         Middle Village, NY 11379                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.600
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $917.12
         Sergey Kamburov
         280 Obikolna St. Sofia Bulgaria                              Contingent
         280 Entrance G Apartment 1.2                                 Unliquidated
         Sofia 1582                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,567.67
         Sergio Amico                                                 Contingent
         Via Gustavo Vagliasindi 9                                    Unliquidated
         Catania CT 95126                                             Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.600
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Sergio Cabrales                                              Contingent
         5940 Frank Ct                                                Unliquidated
         Sacramento, CA 95824                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.600
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $443.97
         Sergio Franco                                                Contingent
         1022 Mehlert Street                                          Unliquidated
         Kingsburg, CA 93631                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 896 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 916 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.601
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Sergio Kuba                                                  Contingent
         267 20th Street                                              Unliquidated
         2R                                                           Disputed
         Brooklyn, NY 11215
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.601
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Sergio Magallanes                                            Contingent
         4841 W 96th St                                               Unliquidated
         Inglewood, CA 90301                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.00
         Sergio Martinez                                              Contingent
         5762 Beadnell Way                                            Unliquidated
         Sacramento, CA 95835                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $861.92
         Sergio Nunes                                                 Contingent
         Reevanagh                                                    Unliquidated
         Coolcullen KK R93A4P9                                        Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.601
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.26
         Sergio Rodrigues                                             Contingent
         Rua Tenente Ferreira Durao N54 3D                            Unliquidated
         Lisboa PT-11 1350-317                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.601
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,933.12
         Sergio Sansanelli                                            Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33166                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Sergio Spina                                                 Contingent
         5039 Almaden Dr.                                             Unliquidated
         Los Angeles, CA 90042-1003                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 897 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 917 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.601
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.62
         Sergiu Sapojnic                                              Contingent
         35C Glenfield Rd                                             Unliquidated
         Ashford ENG TW151JJ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.601
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.67
         Sergiy Dushenkovskyy                                         Contingent
         151 Fenimore Rd                                              Unliquidated
         Apt B62                                                      Disputed
         Mamaroneck, NY 10543-3515
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.601
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,036.77
         Sergiy Sudakov                                               Contingent
         212 New Avenue                                               Unliquidated
         Reisterstown, MD 21136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,451.18
         Serina Calhoun                                               Contingent
         1765 Oak Street                                              Unliquidated
         San Francisco, CA 94117                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $651.99
         Seth Adams                                                   Contingent
         606 Avondale Ln                                              Unliquidated
         Raymore, MO 64083                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Seth Houts                                                   Contingent
         P.O. Box 607                                                 Unliquidated
         Trenton, GA 30752-1167                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Sevag Hartlieb                                               Contingent
         200 Tall Grass Trail                                         Unliquidated
         Vaughan ON L4L 3K6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 898 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 918 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.602
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Sevag Shaweshian                                             Contingent
         3050 Pharmacy Avenue, #607                                   Unliquidated
         Toronto ON M1W 2N7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.602
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,280.16
         Seyoum Bage                                                  Contingent
         1109 Greenmont Circle                                        Unliquidated
         Vienna, WV 26105                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Shackoy Campbell                                             Contingent
         5911 Blackpoole Ln                                           Unliquidated
         Virginia Beach, VA 23462                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,564.57
         Shadat Patwary                                               Contingent
         33 Saint Dunstan Drive                                       Unliquidated
         Toronto ON M1L 2V2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.602
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.78
         Shade Hagar                                                  Contingent
         348 NW 54th St                                               Unliquidated
         Seattle, WA 98107                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.73
         Shae Murray                                                  Contingent
         3504 E 2nd Ct                                                Unliquidated
         Mead, WA 99021                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.64
         Winston Shaeffer                                             Contingent
         1820 State Rd 13                                             Unliquidated
         Suite 8                                                      Disputed
         St Johns, FL 32259
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 899 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 919 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.603
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Shafkat Ali                                                  Contingent
         12024 Valcour Island Way                                     Unliquidated
         Manassas, VA 20109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.71
         Aatish Shah                                                  Contingent
         4024 249th Avenue Southeast                                  Unliquidated
         Issaquah, WA 98029                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Shahid Malik                                                 Contingent
         2317 Centre Ave                                              Unliquidated
         Bellmore, NY 11710-3410                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.77
         Shai Day                                                     Contingent
         4 Nehring Ave                                                Unliquidated
         Staten Island, NY 10314                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Mohamed Ali Shajahan                                         Contingent
         253 Barrington Circle                                        Unliquidated
         Orion Charter Twp, MI 48360                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.50
         Shakera Begum                                                Contingent
         Flat 33 Bloomfield House                                     Unliquidated
         London ENG E1 5PA                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.603
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Shakthi Chandrasekaran
         255 Maitland Street                                          Contingent
         Unit 5B                                                      Unliquidated
         Kitchener ON N2R 0C8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 900 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 920 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.603
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Adam Shamblin                                                Contingent
         3260 Hawks Ridge Dr                                          Unliquidated
         Lakeland, FL 33810                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Shan Patel                                                   Contingent
         951 West Main Street                                         Unliquidated
         Mesa, AZ 85201                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $141.17
         Shane Barth
         430 5th Avenue North                                         Contingent
         Unit 504, Buzz 25                                            Unliquidated
         Saskatoon SK S7K 6Z2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.604
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.81
         Shane Bernier                                                Contingent
         1921 Kensington Road                                         Unliquidated
         Bethlehem, PA 18018                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Shane Hammer                                                 Contingent
         1706 Pine Street                                             Unliquidated
         Huntington Beach, CA 92648                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Shane Haydon                                                 Contingent
         9922 Vega Lane                                               Unliquidated
         Louisville, KY 40272                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Shane Hudecek                                                Contingent
         1101 SE 114th Pl                                             Unliquidated
         Portland, OR 97216                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 901 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 921 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.604
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.32
         Shane Hudecek                                                Contingent
         1101 SE 114th Pl                                             Unliquidated
         Portland, OR 97216                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Shane Simms                                                  Contingent
         6586 Dysinger Rd                                             Unliquidated
         Apt 2                                                        Disputed
         Lockport, NY 14094-9030
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.604
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.80
         Shane Stalder                                                Contingent
         23 Sandpiper Drive                                           Unliquidated
         Whispering Pines, NC 28327                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $911.13
         Shankar Rajupet                                              Contingent
         1 Miller Ln                                                  Unliquidated
         Cheswick, PA 15024                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Shanker Yerragunta                                           Contingent
         2131 King Arthurs Court                                      Unliquidated
         1A                                                           Disputed
         Harrisburg, PA 17110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,685.25
         Shannon Burch                                                Contingent
         108 Henderson Avenue                                         Unliquidated
         Norwood, PA 19074                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.605
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Shannon Reed                                                 Contingent
         21409 Dewdney Trunk Road, #9                                 Unliquidated
         Maple Ridge BC V2X 3G5                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 902 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 922 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.605
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Shanon Stephens                                              Contingent
         10 Woodridge Rd                                              Unliquidated
         Moultrie, GA 31768                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.605
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.14
         Shant Artinian                                               Contingent
         328 West Milford Street                                      Unliquidated
         Unit 4                                                       Disputed
         Glendale, CA 91203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $704.11
         Shantha Ranepura                                             Contingent
         110 Driftwood Crescent                                       Unliquidated
         Dartmouth NS B2V 1S7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Shardul Wagh                                                 Contingent
         520 Terry Ave                                                Unliquidated
         Unit 504                                                     Disputed
         Seattle, WA 98104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,019.35
         Shari Mosquera-Vela                                          Contingent
         7937 Ivywood Rd                                              Unliquidated
         Seminole, FL 33777-3104                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.605
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Sharlenne Zamora                                             Contingent
         240 Northeast 51st Street Apt 2                              Unliquidated
         Apt 2                                                        Disputed
         Miami, FL 33137
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 903 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 923 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.605
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,314.22
         Sharon Chau
         9699 Jane Street                                             Contingent
         19A                                                          Unliquidated
         Maple ON L6A 0A4                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.605
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.38
         Sharon Hatcher                                               Contingent
         1830 Ithaca Street                                           Unliquidated
         Chula Vista, CA 91913                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Sharon Noble                                                 Contingent
         815 Bryan Avenue South                                       Unliquidated
         Salt Lake City, UT 84105                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Shashank Gupta                                               Contingent
         98 North 1st St                                              Unliquidated
         Unit 409                                                     Disputed
         San Jose, CA 95113
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.606
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,485.98
         Shashank Pawar                                               Contingent
         503/220 Mona Vale Road                                       Unliquidated
         St Ives NSW 2075                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.606
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Shaun Cunningham                                             Contingent
         179 Lake Rd                                                  Unliquidated
         Sparta, TN 38583                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 904 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 924 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.606
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Shaun Kelleher                                               Contingent
         1157 Poli St                                                 Unliquidated
         Ventura, CA 93001                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Shawn Dinsmore                                               Contingent
         907 Oso Negro                                                Unliquidated
         San Antonio, TX 78260                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,161.22
         Shawn Ludeman                                                Contingent
         250 Dickinson Street                                         Unliquidated
         Mount Clemens, MI 48043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $826.80
         Shawn Richer                                                 Contingent
         2708 Chesapeake Ct                                           Unliquidated
         Grapevine, TX 76051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.87
         Shawn Riddle                                                 Contingent
         1514 West Berridge Lane                                      Unliquidated
         Phoenix, AZ 85015                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Shawn Roberts                                                Contingent
         708 Cross Street                                             Unliquidated
         Brooklyn Park, MD 21225                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Shawn Warden                                                 Contingent
         3055 Harrelson Ste 13E                                       Unliquidated
         Nm                                                           Disputed
         Las Cruces, NM 88005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 905 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 925 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.607
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.00
         Shawn Weyandt                                                Contingent
         684 Picadilly Court                                          Unliquidated
         Columbus, OH 43230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Shay Morley                                                  Contingent
         261 Walter Ave N                                             Unliquidated
         Hamilton ON L8H5R5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.607
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Shayan Mirzadeh                                              Contingent
         212 Omira Dr                                                 Unliquidated
         San Jose, CA 95123                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Shealyn Brake                                                Contingent
         2020 Talon Way                                               Unliquidated
         San Diego, CA 92123                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Shear Haincadto                                              Contingent
         1532 Rock Glen Ave                                           Unliquidated
         Glendale, CA 91205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,472.88
         Sheena Ho                                                    Contingent
         2254 22nd Ave                                                Unliquidated
         San Francisco, CA 94116                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $589.25
         Sheila Poleon
         37 Hatherley Gardens                                         Contingent
         East Ham                                                     Unliquidated
         London ENG E6 3EN                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 906 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 926 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.607
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,127.61
         Shelby Benoit                                                Contingent
         2107 North Laventure Rd. Apt #27                             Unliquidated
         Mount Vernon, WA 98273                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sheldon Gordon                                               Contingent
         10260 Wild Apple Circle                                      Unliquidated
         Montgomery Village, MD 20886                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sheldon Gordon                                               Contingent
         10260 Wild Apple Circle                                      Unliquidated
         Montgomery Village, MD 20886                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,402.77
         Shell Station
         Fruchtallee 95                                               Contingent
         Mnb Tankstellen GmbH                                         Unliquidated
         Hamburg 20259                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.608
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Shellsan Phromkharanourak                                    Contingent
         46609 Balsam Avenue                                          Unliquidated
         Chilliwack BC V2P 6P6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.608
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Shellsan Phromkharanourak                                    Contingent
         46609 Balsam Avenue                                          Unliquidated
         Chilliwack BC V2P 6P6                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 907 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 927 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.608
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,218.19
         Shelton Stewart                                              Contingent
         1338 North Saint Paul                                        Unliquidated
         Mesa, AZ 85205                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Shen Ou                                                      Contingent
         886 Randall Ave                                              Unliquidated
         Daphne, AL 36526                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Shenika Ludford                                              Contingent
         176 Mill Street South #505                                   Unliquidated
         Brampton ON L6Y 1T8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.608
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sherry Milowicki                                             Contingent
         3960 Equestrian Court                                        Unliquidated
         Middleburg, FL 32068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.91
         Shervin Rahimpour                                            Contingent
         114 Constitution Dr.                                         Unliquidated
         Durham, NC 27705                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,491.67
         Shezan Andani                                                Contingent
         5 N Wells St                                                 Unliquidated
         Chicago, IL 60606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.609
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Shimon Deutsch                                               Contingent
         1 Miele Rd                                                   Unliquidated
         Monsey, NY 10952                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 908 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 928 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.609
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.37
         Shirley Fong                                                 Contingent
         415 Grand Street                                             Unliquidated
         E1506                                                        Disputed
         New York, NY 10002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.40
         Shirley Hart                                                 Contingent
         5601 Canyonside Road                                         Unliquidated
         La Crescenta-Montrose, CA 91214                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.609
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Shivani Mall                                                 Contingent
         3600 Morning Star Drive, #62                                 Unliquidated
         Mississauga ON L4T 1Y5                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.89
         Shivase Singh                                                Contingent
         3080 North Course Drive                                      Unliquidated
         Apt. 509                                                     Disputed
         Pompano Beach, FL 33069
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.67
         Shoaib Khan                                                  Contingent
         10107, 127B St                                               Unliquidated
         Surrey BC V3V 5M4                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Shounak Gupte                                                Contingent
         2903/151 City Road                                           Unliquidated
         Southbank VIC 3006                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Shrey Shandilya                                              Contingent
         433 South Mary Avenue #33                                    Unliquidated
         Sunnyvale, CA 94086                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 909 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 929 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.609
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $762.73
         Siavash Ariashah                                             Contingent
         63 Briens Road                                               Unliquidated
         Northmead NSW 2152                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.609
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Sibel Deshong                                                Contingent
         8318 Kingsgate Rd                                            Unliquidated
         Apt A                                                        Disputed
         Springfield, VA 22152
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.610
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Siddharth Raval                                              Contingent
         24 Danton Lane North                                         Unliquidated
         Locust Valley, NY 11560                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Siddharth Verma                                              Contingent
         10518 113th Street, #112                                     Unliquidated
         Edmonton AB T5H 0C6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.610
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $93.30
         Ameer Siddiqui                                               Contingent
         2001 SW 82nd Avenue                                          Unliquidated
         Davie, FL 33324                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.88
         Sidhaartha Chauhaan                                          Contingent
         14 Scott Close                                               Unliquidated
         Epsom ENG KT19 9NY                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 910 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 930 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.610
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.21
         Sidharta Noleto                                              Contingent
         34 Gleason Crescent                                          Unliquidated
         Kitchener ON N2M 0B7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.610
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Sierra Craddock-Polk                                         Contingent
         2660 Augusta Dr.                                             Unliquidated
         Apt. L311                                                    Disputed
         Houston, TX 77057
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.610
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Luis Sigcha                                                  Contingent
         4866 South Semoran Blvd, #1808                               Unliquidated
         Orlando, FL 32822                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,139.28
         Sigert Erzeel                                                Contingent
         Victor Witterzeelstraat 5                                    Unliquidated
         Iddergem 9472                                                Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.610
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.23
         Silverio Rodriguez                                           Contingent
         2104 Cowling Road                                            Unliquidated
         Scottdale, PA 15683                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $886.67
         Silvia Gruschka
         Karyatidon 18                                                Contingent
         Flat 401                                                     Unliquidated
         Larnaca 6042                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 911 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 931 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.611
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $939.40
         Silvina Paraiba
         Rua 31 De Janeiro De 1891 Numero 5 Charn                     Contingent
         Almada PT-15 2820-483 CHARNECA DA                            Unliquidated
         CAPARI                                                       Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.611
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Simeon Nicdao                                                Contingent
         9000 128 Street                                              Unliquidated
         Surrey BC V3V 5M7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.611
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.73
         Simon Attfield                                               Contingent
         25 Coleridge Way                                             Unliquidated
         Borehamwood ENG WD62AE                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.611
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $941.76
         Simon Boe
         Bergmannstr. 102                                             Contingent
         Onehundred.Digital Gmbh                                      Unliquidated
         Berlin 10961                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.611
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Simon Chan                                                   Contingent
         9029 Broadway                                                Unliquidated
         Temple City, CA 91780                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.37
         Simon Chokoisky                                              Contingent
         6310 N. 15th St                                              Unliquidated
         Phoenix, AZ 85014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 912 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 932 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.611
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,358.87
         Simon Chokoisky                                              Contingent
         6310 N. 15th St                                              Unliquidated
         Phoenix, AZ 85014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $108.87
         Simon Chokoisky                                              Contingent
         6310 N. 15th St                                              Unliquidated
         Phoenix, AZ 85014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,243.87
         Simon Chokoisky                                              Contingent
         6310 N. 15th St                                              Unliquidated
         Phoenix, AZ 85014                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $653.02
         Simon Dorfman                                                Contingent
         608 Chippewa Court                                           Unliquidated
         Fort Atkinson, WI 53538                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.612
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.41
         Simon Fisher                                                 Contingent
         9 Invergarry Drive                                           Unliquidated
         Glasgow SCT G46 8UA                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.54
         Simon Garden
         The Old Angel                                                Contingent
         The Square                                                   Unliquidated
         Axbridge ENG BS26 2AP                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 913 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 933 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.612
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.73
         Simon Gisler                                                 Contingent
         Rossauerstrasse 16                                           Unliquidated
         Mettmenstetten 8932                                          Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.15
         Simon Hauser                                                 Contingent
         Muhlenweg2                                                   Unliquidated
         Mils Bei Hall 6068                                           Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $588.73
         Simon Lundgren                                               Contingent
         Skvadronsgatan 29, #1301                                     Unliquidated
         Malmo 217 49                                                 Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $701.64
         Simon Sayavanh                                               Contingent
         4824 Charles Lewis Way                                       Unliquidated
         San Diego, CA 92102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.612
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $714.15
         Simon Sosnitza                                               Contingent
         Egon-Reinert-Strasse 2                                       Unliquidated
         Saarbrucken 66111                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,958.41
         Simon Stahn                                                  Contingent
         Baumweg 15                                                   Unliquidated
         Frankfurt 60316                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.612
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.08
         Simone Serratore                                             Contingent
         Feldstrasse 17                                               Unliquidated
         Dottikon 5605                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 914 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 934 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.612
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Anthony Simonetti                                            Contingent
         32 Sandpiper Lane                                            Unliquidated
         East Islip, NY 11730                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $680.03
         Amber Simpson                                                Contingent
         322 I Street Southeast                                       Unliquidated
         Washington, DC 20003                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,406.23
         Simranjeet Pal                                               Contingent
         Heidestrasse 6                                               Unliquidated
         Wolfratshausen 82515                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $663.75
         Sina Abed                                                    Contingent
         7 Ken Betz Court                                             Unliquidated
         Whitchurch-Stouffville ON L4A 4P5                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sina Ehsani                                                  Contingent
         7514 Hearthside Way                                          Unliquidated
         Elkridge, MD 21075                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.08
         Sinan Turkoglu                                               Contingent
         Mannheimerstrasse 53                                         Unliquidated
         Waghausel 68753                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $773.27
         Anthony Sinatra                                              Contingent
         P.O. Box 3591                                                Unliquidated
         Phoenix, AZ 85030                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 915 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 935 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.613
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,461.23
         Anthony Sinatra                                              Contingent
         P.O. Box 3591                                                Unliquidated
         Phoenix, AZ 85030                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $64.33
         Sithamparappillai Raveendran                                 Contingent
         95 Winston Castle Drive                                      Unliquidated
         Markham ON L6C 2G4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.56
         Sivananda Katir                                              Contingent
         22424 149th Ave SE                                           Unliquidated
         Snohomish, WA 98296                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.81
         Sjarief Bodha                                                Contingent
         Zandweerdsweg 127                                            Unliquidated
         Deventer 7412 XW                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.614
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.07
         Skjalg Strand                                                Contingent
         Laksegata 2                                                  Unliquidated
         Skien 3732                                                   Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.614
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Sky Kovac                                                    Contingent
         25100 Vista Murrieta                                         Unliquidated
         Apt 2113                                                     Disputed
         Murrieta, CA 92562
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.614
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,263.96
         Slavoljub Radosavljevic                                      Contingent
         Pana Djukica 5, #3                                           Unliquidated
         Belgrade 11060                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 916 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 936 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.614
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,397.75
         Slavoljub Radosavljevic                                      Contingent
         Pana Djukica 5, #3                                           Unliquidated
         Beograd 11060                                                Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.614
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.66
         Slavomir Fabisik                                             Contingent
         Bereiteranger 14                                             Unliquidated
         Munich 81541                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.614
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Slawomir Horodyski                                           Contingent
         2500 Peachtree Road Northwest                                Unliquidated
         Atlanta, GA 30305                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.81
         Allen Smith                                                  Contingent
         3912 Kingston Avenue                                         Unliquidated
         Caldwell, ID 83605                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Alysandra Smith                                              Contingent
         3410 State Park Rd                                           Unliquidated
         Greenville, SC 29609                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Thomas Smith                                                 Contingent
         2721 Beutel Road                                             Unliquidated
         Lorena, TX 76655                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,701.12
         SoLoKo GmbH                                                  Contingent
         Fiedlerstrasse 54                                            Unliquidated
         Dresden 1307                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 917 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 937 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.615
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.92
         Solomon Hindel                                               Contingent
         589 Steven Court, #3                                         Unliquidated
         Newmarket ON L3Y 6Z3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.615
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Solomon Shelton                                              Contingent
         2667 Pamoa Rd                                                Unliquidated
         Honolulu, HI 96822                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Solomon Smith                                                Contingent
         136 Fain St                                                  Unliquidated
         Nashville, TN 37210                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Sonny Davis
         119 Prince Regent Drive                                      Contingent
         Half Moon Bay                                                Unliquidated
         Auckland AUK 2012                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.615
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $965.98
         Sonny Mansson                                                Contingent
         Unnebacksas 206                                              Unliquidated
         Unnaryd 31452                                                Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.615
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,872.89
         Sonny Santiago                                               Contingent
         1832 Laniloa Place                                           Unliquidated
         Wahiawa, HI 96786                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 918 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 938 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.615
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.84
         Sookdeo Sunder                                               Contingent
         123-33 146th Street                                          Unliquidated
         Queens, NY 11436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Sophea Kim                                                   Contingent
         7 Tollcross Rd                                               Unliquidated
         Chelmsford, MA 01824                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $976.14
         Sophia Smit                                                  Contingent
         Van Hogendorpstraat 803                                      Unliquidated
         Amsterdam 1051 CC                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.615
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Sophia Tarquinio                                             Contingent
         53 Cuttysark Road                                            Unliquidated
         East Falmouth, MA 02536                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.616
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.07
         Sophie Leach                                                 Contingent
         Arabian Ranches, Palmera 1, Street 1, Vi                     Unliquidated
         Dubai DU                                                     Disputed
         UNITED ARAB EMIRATES
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $341.70
         Sora Choi                                                    Contingent
         P.O. Box 1102                                                Unliquidated
         Rosebery NSW 1445                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,347.61
         Sora Choi                                                    Contingent
         Unit 1639 / 8 Ascot Ave                                      Unliquidated
         Zetland NSW 2170                                             Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 919 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 939 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.616
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,493.27
         Sorinel Gavrila                                              Contingent
         333 Prestwick Road                                           Unliquidated
         Watford ENG WD19 6UT                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.11
         Souharda Poudyal                                             Contingent
         12020 Grevillea Avenue                                       Unliquidated
         Apt 24                                                       Disputed
         Hawthorne, CA 90250
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Soulinthone Phonthongsy                                      Contingent
         1257 South 31st Street                                       Unliquidated
         Manitowoc, WI 54220                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.616
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Sourabh Pandey                                               Contingent
         2880 Glenbar Cir                                             Unliquidated
         Rochester Hills, MI 48307                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.616
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Souren Khetcho
         14831 104 Avenue                                             Contingent
         #315                                                         Unliquidated
         Surrey BC V3R 1M5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.616
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $61.75
         Christopher J. Sparks                                        Contingent
         1404 Sapphire Dragon Street                                  Unliquidated
         Thousand Oaks, CA 91320                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 920 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 940 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.616
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,418.25
         Spartakos Karslidis
         Konstantinou Kalogera 8                                      Contingent
         Apartment 21                                                 Unliquidated
         Larnaca 6021                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.617
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $65.21
         Spassimir Tchobanov                                          Contingent
         25 North Bishop Street                                       Unliquidated
         Chicago, IL 60607                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.13
         Spassimir Tchobanov                                          Contingent
         25 North Bishop Street                                       Unliquidated
         Chicago, IL 60607                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $936.38
         Spencer Andrews                                              Contingent
         3456 37th Ave Sw                                             Unliquidated
         Seattle, WA 98126                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $842.57
         Spencer Green                                                Contingent
         1500 Park Avenue                                             Unliquidated
         Apt 335                                                      Disputed
         Emeryville, CA 94608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.617
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $820.69
         Spencer Lome                                                 Contingent
         2627 N Ridge Ave                                             Unliquidated
         Arlington Heights, IL 60004                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,334.14
         Srikanth Vadlakonda                                          Contingent
         3375 Cedar Creek Trail                                       Unliquidated
         Frisco, TX 75034                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 921 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 941 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.617
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         Thomas St Pierre                                             Contingent
         204 Saint Jacques St                                         Unliquidated
         Worthington, OH 43085                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         Thomas St Pierre                                             Contingent
         204 Saint Jacques St                                         Unliquidated
         Worthington, OH 43085                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $462.82
         John St ~Pierre                                              Contingent
         280 Frontenac Place                                          Unliquidated
         Worthington, OH 43085                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.617
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stacey Bronner                                               Contingent
         495 Carondelett Cv Sw                                        Unliquidated
         Atlanta, GA 30331-8353                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Adam Stainback                                               Contingent
         2118 Highland View Ln.                                       Unliquidated
         Charlotte, NC 28214                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,829.87
         Stan Graham                                                  Contingent
         4530 Garfield Street                                         Unliquidated
         La Mesa, CA 91941                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,201.93
         Stanimir Nikolov                                             Contingent
         Bul. Slavqnski 26, #6                                        Unliquidated
         Shumen 9700                                                  Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 922 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 942 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.618
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.85
         Stanislav Domashenko                                         Contingent
         4200 Northern Cross Blvd #4307                               Unliquidated
         Haltom Coty, TX 76137                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $884.04
         Stanislav Porodinski
         Malinova Dolina, Ul. Georgi Rusev 23                         Contingent
         Complex Slav Stroi, Casa Solare, Mobile                      Unliquidated
         Sofia 1797                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.618
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.65
         Stanislav Schlosser                                          Contingent
         Sonnenbergsweg 17                                            Unliquidated
         Langwedel 27299                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.618
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Stanley Lin                                                  Contingent
         19902 Avenida Amadis                                         Unliquidated
         Walnut, CA 91789                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,665.00
         Stefan Ciobanu                                               Contingent
         Preot Petru Leuca Nr 9                                       Unliquidated
         Sacele BV 505600                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.618
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Stefan Daniel Stanciu
         Str Garii No 33 Bl B4                                        Contingent
         Ap 1                                                         Unliquidated
         Titu DB 135500                                               Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 923 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 943 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.618
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Stefan Daniel Stanciu                                        Contingent
         Str Garii Nr 33 Bloc B4 Scara B, #1                          Unliquidated
         Titu DB 135500                                               Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Stefan Guay                                                  Contingent
         29 Mayfair Dr                                                Unliquidated
         Welland ON L3C7A1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.19
         Stefan Heymanns                                              Contingent
         2983 Rustic Drive                                            Unliquidated
         San Jose, CA 95124                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.619
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,109.83
         Stefan Jagemann                                              Contingent
         Spreestrasse13                                               Unliquidated
         Berlin 12555                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,685.86
         Stefan Kastenmueller                                         Contingent
         Richildenstrasse 23                                          Unliquidated
         Munich 80639                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,309.17
         Stefan Kudlicki                                              Contingent
         Schwindgasse 19/16                                           Unliquidated
         Wien 1040                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 924 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 944 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.619
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.00
         Stefan Lajszczuk
         36 Station Road                                              Contingent
         Oakworth                                                     Unliquidated
         Keighley ENG BD22 7RE                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Stefan Rosenberger                                           Contingent
         Zollstockgurtel 114                                          Unliquidated
         Koln 50969                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,636.24
         Stefan Schubert                                              Contingent
         Abdeck 4B                                                    Unliquidated
         Furth 84095                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.33
         Stefan Van Immerseel                                         Contingent
         Zeggelaan 11                                                 Unliquidated
         Vosselaar 2350                                               Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.619
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,635.76
         Steffen Gentner                                              Contingent
         Beiswanger Str. 18                                           Unliquidated
         Heubach 73540                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.15
         Steffen Kirsten                                              Contingent
         Hermann-Burte-Strasse 74                                     Unliquidated
         Steinen 79585                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 925 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 945 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.620
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,385.26
         Steffen Wieschalla                                           Contingent
         Mittnachtstr. 17/3                                           Unliquidated
         Reutlingen 72760                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Stelian Papaconstantin                                       Contingent
         Str.Balciului Nr.7                                           Unliquidated
         Bucharest B 21482                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,153.22
         Stella Brookes
         1 Grosvenor Rd                                               Contingent
         Barnwood                                                     Unliquidated
         Gloucester ENG GL2 0SA                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.02
         Stella Olumide                                               Contingent
         164 Oakdale Road                                             Unliquidated
         Toronto ON M3N 2S5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $589.48
         Sten Bredenberg                                              Contingent
         Pipersgatan 20 #1304                                         Unliquidated
         Stockholm 11224                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.30
         Stephan Klaus
         Landoltstrasse 63                                            Contingent
         Apps With Love AG                                            Unliquidated
         Bern 3007                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 926 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 946 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.620
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $720.92
         Stephan Ulrich                                               Contingent
         Wiihalde 5                                                   Unliquidated
         Dietlikon 8305                                               Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.38
         Stephan Zeranski                                             Contingent
         Giselherweg 19                                               Unliquidated
         Hannover 30455                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.620
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Stephane Domon
         1425 Rue Leonard                                             Contingent
         Apt 2                                                        Unliquidated
         Sherbrooke QC J1K 2L9                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.621
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.51
         Stephane Turquay                                             Contingent
         Saumstrasse 25                                               Unliquidated
         Zurich 8003                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.621
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Stephanie Abbott                                             Contingent
         4068 Bernice Dr.                                             Unliquidated
         San Diego, CA 92107                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephanie Hogan                                              Contingent
         7935 Carriage Park Drive                                     Unliquidated
         Hollins, VA 24019                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 927 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 947 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.621
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.78
         Stephany Decrooy                                             Contingent
         1580 South Trenton Court                                     Unliquidated
         Denver, CO 80231                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,660.55
         Stephen Boyles                                               Contingent
         22 Brittany Lane                                             Unliquidated
         Odessa, TX 79761                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,859.52
         Stephen Dimare                                               Contingent
         3545 Us 1 South                                              Unliquidated
         Suite 1                                                      Disputed
         Saint Augustine, FL 32086-6345
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.621
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Dimare                                               Contingent
         3545 U.S. 1                                                  Unliquidated
         Suite 1                                                      Disputed
         St. Augustine, FL 32086
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.621
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Garrett                                              Contingent
         4934 Empire Ave                                              Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.87
         Stephen Gomez                                                Contingent
         8616 North 48th Lane                                         Unliquidated
         Glendale, AZ 85302                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,231.57
         Stephen Ho                                                   Contingent
         82 Wolverleigh Blvd                                          Unliquidated
         Toronto ON M4J 1R9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 928 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 948 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.622
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Jean-Jacques                                         Contingent
         197 Catania Way                                              Unliquidated
         Royal Palm Beach, FL 33411                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Jean-Jacques                                         Contingent
         197 Catania Way                                              Unliquidated
         Royal Palm Beach, FL 33411                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Stephen Kosman                                               Contingent
         31 E 25th Street                                             Unliquidated
         Tulsa, OK 74114                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Mansfield                                            Contingent
         15207 Knotty Chestnut St.                                    Unliquidated
         Cypress, TX 77429                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Stephen Mashney                                              Contingent
         335 North Brookhurst Street                                  Unliquidated
         Anaheim, CA 92801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.14
         Stephen Moss                                                 Contingent
         7220 Lombard Ln                                              Unliquidated
         Austin, TX 78744                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,396.85
         Stephen Rogalla                                              Contingent
         129 Philip Avenue                                            Unliquidated
         Elmwood Park, NJ 07407                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 929 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 949 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.622
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.56
         Stephen Shen                                                 Contingent
         214A 10th St                                                 Unliquidated
         Palisades Park, NJ 07650-4050                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $63.46
         Stephen Shen                                                 Contingent
         214A 10th St                                                 Unliquidated
         Palisades Park, NJ 07650-4050                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Stephen Traiforos                                            Contingent
         157 E Main St                                                Unliquidated
         Fl 2                                                         Disputed
         Marlborough, MA 01752
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.623
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.87
         Stephen Ward                                                 Contingent
         4400 N Scottsdale Rd                                         Unliquidated
         Suite 9-285                                                  Disputed
         Scottsdale, AZ 85251
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.623
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Stephen Weare                                                Contingent
         396 Pearl Street                                             Unliquidated
         Manchester, NH 03104                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $455.52
         Stephen Young                                                Contingent
         804 East 39th Street                                         Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $455.52
         Stephen Young Young                                          Contingent
         804 East 39th Street                                         Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 930 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 950 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.623
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Stephie-Lea Tabujara                                         Contingent
         33 Apple Blossom Cres                                        Unliquidated
         Georgetown ON L7G6L5                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.623
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Sterling Cliff                                               Contingent
         26319 Iowa Gardens Rd                                        Unliquidated
         San Benito, TX 78586                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,555.66
         Sterling Hintze
         Anastasius-Grun-Gasse                                        Contingent
         37A/4                                                        Unliquidated
         Wien 1180                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.623
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,367.81
         Sterling Mortensen                                           Contingent
         595 E Edgar St                                               Unliquidated
         Meridian, ID 83646                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.78
         Sterling Scott                                               Contingent
         12408 15 Ave SW #220                                         Unliquidated
         Edmonton AB T6W 1X2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.623
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $727.97
         Steve Anevski                                                Contingent
         4990 Race Road                                               Unliquidated
         Cincinnati, OH 45211                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 931 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 951 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.624
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.12
         Steve Bosson                                                 Contingent
         11588 South Radience Ln                                      Unliquidated
         South Jorden, UT 84009                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.624
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Steve Erickson                                               Contingent
         531 Center Street                                            Unliquidated
         Iowa City, IA 52245                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.624
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.09
         Steve Hammond                                                Contingent
         9812 - 100 St                                                Unliquidated
         Morinville AB T8R 1R3                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,498.06
         Steve Hodgson                                                Contingent
         10 Turnberry Way                                             Unliquidated
         Brookwater QLD 4300                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Steve Leblanc                                                Contingent
         45 Church Street                                             Unliquidated
         Hamilton ON L8E 2X7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Steve Nagy                                                   Contingent
         207 East Robertson Street                                    Unliquidated
         Suite B                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.44
         Steve Nagy                                                   Contingent
         17605 Old Oak Way                                            Unliquidated
         Lithia, FL 33547                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 932 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 952 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.624
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Steve Okrepky                                                Contingent
         15880 Summerlin Road                                         Unliquidated
         Ste 300-211                                                  Disputed
         Fort Myers, FL 33908
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.624
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.09
         Steve Pelton                                                 Contingent
         2530 232nd Ave SE                                            Unliquidated
         Sammamish, WA 98075                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.624
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Steve Romero                                                 Contingent
         304 Brenda Drive                                             Unliquidated
         Hewitt, TX 76643                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $825.66
         Steve Skillern                                               Contingent
         1795 North Fry Road, #211                                    Unliquidated
         Katy, TX 77449                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.54
         Steve Szymczak                                               Contingent
         44699 Parkmeadow Dr                                          Unliquidated
         Fremont, CA 94539                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Steve Xie                                                    Contingent
         14 Orchard Street                                            Unliquidated
         2I                                                           Disputed
         New York, NY 10002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.625
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Steven Basart                                                Contingent
         3450 Southwest 185th Avenue                                  Unliquidated
         Miramar, FL 33029                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 933 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 953 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.625
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Steven Behrend                                               Contingent
         9623 Northwest 28th Court                                    Unliquidated
         Coral Springs, FL 33065                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,468.51
         Steven Bergmann                                              Contingent
         Platanenstrasse 10                                           Unliquidated
         Jena 7747                                                    Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.625
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.80
         Steven Botticelli                                            Contingent
         Via Milano 112                                               Unliquidated
         Porto Santelpidio FM 63821                                   Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.625
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Steven Cook                                                  Contingent
         1510 Meadowbrook Ave                                         Unliquidated
         Lakeland, FL 33803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Steven Cook                                                  Contingent
         1510 Meadowbrook Ave                                         Unliquidated
         Lakeland, FL 33803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Steven Cullen                                                Contingent
         1855 Maple Ridge Drive, #42                                  Unliquidated
         Mississauga ON L4W 2N7                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.626
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $446.88
         Steven Duong                                                 Contingent
         117 Benjamin Hood Cres                                       Unliquidated
         Concord ON L4K 5M7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 934 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 954 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.626
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.14
         Steven Hyatt                                                 Contingent
         4605 Otter Road                                              Unliquidated
         Dodgeville, WI 53533                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,164.42
         Steven Kim                                                   Contingent
         28312 Hawks Ridge Drive                                      Unliquidated
         Santa Clarita, CA 91351                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Steven Luna                                                  Contingent
         607 High Street                                              Unliquidated
         Bethlehem, PA 18018                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Steven Mahoney                                               Contingent
         2 Pukeko Grove, St Kilda                                     Unliquidated
         Cambridge WKO 3434                                           Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.626
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Steven Nguyen                                                Contingent
         130 Stevenson Road                                           Unliquidated
         Toronto ON M9V2B5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.626
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Steven Potter                                                Contingent
         914 Welton St                                                Unliquidated
         Pratt, KS 67124                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Steven Sodders                                               Contingent
         202 5th Ave SE                                               Unliquidated
         Box 723                                                      Disputed
         State Center, IA 50247
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 935 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 955 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.626
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Steven Tsiang                                                Contingent
         5730 South Glennie Lane                                      Unliquidated
         Unit A                                                       Disputed
         Los Angeles, CA 90016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.626
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.20
         Steven Wang                                                  Contingent
         5181 163rd Pl SE                                             Unliquidated
         Bellevue, WA 98006                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,006.30
         Steven Waterson                                              Contingent
         16 Gray Road                                                 Unliquidated
         Bray Park QLD 4500                                           Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.627
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.88
         Steven Willis                                                Contingent
         16262 San Clemente                                           Unliquidated
         Huntington Beach, CA 92649                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.38
         Steven Wright                                                Contingent
         9069 Brushy Creek Trail                                      Unliquidated
         Fort Worth, TX 76118                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Stewart Jackson                                              Contingent
         43 Queensway Drive                                           Unliquidated
         Brantford ON N3R 4W6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.627
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Stewart Purcell                                              Contingent
         11609 S Penrose                                              Unliquidated
         Olathe, KS 66061                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 936 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 956 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.627
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Aaron Stills                                                 Contingent
         1900 Arcturus Avenue                                         Unliquidated
         Racine, WI 53404                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Aaron Stills                                                 Contingent
         1900 Arcturus Avenue                                         Unliquidated
         Racine, WI 53404                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.18
         Stratos Fourlakis                                            Contingent
         Andrea Papandreou 93                                         Unliquidated
         Thessaloniki 56728                                           Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.627
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,317.91
         Stu Reider                                                   Contingent
         5590 Avenue Castlewood                                       Unliquidated
         C Te Saint-Luc QC H4W 1T9                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.627
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Stuart Baird                                                 Contingent
         9 Vista Ln                                                   Unliquidated
         Lake Placid, NY 12946                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,565.09
         Stuart Clayton                                               Contingent
         47 Queen St                                                  Unliquidated
         Ulverstone TAS 7315                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.628
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $58.87
         Stuart Farr                                                  Contingent
         203 E Smoke Tree Rd                                          Unliquidated
         Gilbert, AZ 85296-2247                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 937 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 957 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.628
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Stuart Farr                                                  Contingent
         203 E Smoke Tree Rd                                          Unliquidated
         Gilbert, AZ 85296-2247                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,338.96
         Stuart Hollinger                                             Contingent
         19 Hume Drive                                                Unliquidated
         Cambridge ON N1T1N2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.628
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Stuart Waters                                                Contingent
         111 Colwell Ln                                               Unliquidated
         Conshohocken, PA 19428                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,467.30
         Sudesh Weerasekara                                           Contingent
         Sensor House, Langley Road                                   Unliquidated
         Swindon ENG SN5 5WB                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.628
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $901.00
         Suekrue Tayfun Kilic                                         Contingent
         Weinhartstrasse 1                                            Unliquidated
         Innsbruck 6020                                               Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.628
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $646.14
         Sufian Abdalla                                               Contingent
         10228 S Grant Ave                                            Unliquidated
         Manassas, VA 20110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.21
         Suhail Khalid                                                Contingent
         280 Wilson Drive                                             Unliquidated
         Milton ON L9T 3K2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 938 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 958 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.628
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.29
         Suhail Sahabdeen                                             Contingent
         13550 Litza Way                                              Unliquidated
         Woodbridge, VA 22192                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.629
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Suhib Muzuk                                                  Contingent
         7430 Boysenberry Lane                                        Unliquidated
         Houston, TX 77095                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.629
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Sujay Diwakar                                                Contingent
         2909 N Oliver St                                             Unliquidated
         Wichita, KS 67220                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.629
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,638.57
         Sukhjeet Singh                                               Contingent
         148 Hollybush Drive                                          Unliquidated
         Vaughan ON L6A 2H3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,399.84
         Sukhjinder Sidhu                                             Contingent
         17 Pellegrino Road                                           Unliquidated
         Brampton ON L7A4V5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $878.96
         Sukhjinder Singh                                             Contingent
         2565 Alexis Rd Windsor On                                    Unliquidated
         Windsor ON N8W3Z6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Suleman Akhter                                               Contingent
         24307 Hampton Terrace Lane                                   Unliquidated
         Spring, TX 77389                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 939 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 959 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.629
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,811.76
         Sultan Alshathri                                             Contingent
         Alathraa Street 2170                                         Unliquidated
         Riyadh 51975                                                 Disputed
         SAUDI ARABIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Sultan Shaik                                                 Contingent
         539 Brook Meadow Dr                                          Unliquidated
         Ballwin, MO 63021                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.629
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,230.40
         Sumama Altaf                                                 Contingent
         23 Linton Walk                                               Unliquidated
         Manchester ENG M7 3QR                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Suman Karanjit                                               Contingent
         154 Centenary Road                                           Unliquidated
         South Wentworthville NSW 2145                                Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Sumitabh Aggarwal                                            Contingent
         12123 Arbor Blue Ln.                                         Unliquidated
         Cypress, TX 77433-4012                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.64
         Sunit Mohindroo                                              Contingent
         3438 North Hackett Avenue                                    Unliquidated
         Milwaukee, WI 53211                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.77
         Surender Singh                                               Contingent
         18 Seaton Street                                             Unliquidated
         South Toowoomba QLD 4350                                     Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 940 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 960 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.630
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Susan Erturan                                                Contingent
         297 East Paces Ferry Road                                    Unliquidated
         Unit N1807                                                   Disputed
         Atl, GA 30305
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,981.72
         Susan Jackson                                                Contingent
         6 Trillium Crescent                                          Unliquidated
         Barrie ON L4N 5P5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,051.08
         Susan Jackson                                                Contingent
         6 Trillium Crescent                                          Unliquidated
         Barrie ON L4N 5P5                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Susan Lee                                                    Contingent
         355 Westview Ave                                             Unliquidated
         Fort Lee, NJ 07024                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,459.84
         Susan Rathe                                                  Contingent
         Albisstrasse 20                                              Unliquidated
         Baar 6340                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,183.30
         Susan Rathe                                                  Contingent
         Albisstrasse 20                                              Unliquidated
         Baar 6340                                                    Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.630
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,113.87
         Susan Struse                                                 Contingent
         6659 S Calle De La Mango                                     Unliquidated
         Hereford, Az 85615                                           Disputed
         Hereford, AZ 85615-9275
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 941 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 961 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.631
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Susana Rosales                                               Contingent
         135 South Abram Circle                                       Unliquidated
         Spring, TX 77382                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.631
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $857.98
         Susann Richter                                               Contingent
         Osterholzer Landstrasse 34E                                  Unliquidated
         Bremen 28327                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.631
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Susanna Kellogg                                              Contingent
         14765 Valerio Street                                         Unliquidated
         Van Nuys, CA 91405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.631
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,377.52
         Suthin John                                                  Contingent
         10 Evergreen Lane                                            Unliquidated
         New Hyde Park, NY 11040                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.631
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.10
         Suzanne Ennis                                                Contingent
         61 Saint Clair Avenue, #1503                                 Unliquidated
         Toronto ON M4V 2Y8                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.631
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,628.78
         Sven Breckler Alteox Sarl
         17 Rue Batty Weber                                           Contingent
         L-4346                                                       Unliquidated
         Esch Alzette 4346                                            Disputed
         LUXEMBOURG
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 942 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 962 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.631
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $859.57
         Sven Krueger                                                 Contingent
         Schleusentwiete 1                                            Unliquidated
         Hamburg 22399                                                Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.631
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Sven Meyer                                                   Contingent
         861 East 27th Street                                         Unliquidated
         Apt 5A                                                       Disputed
         Brooklyn, NY 11210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.631
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.70
         Sven Niemann
         Rosestr. 21                                                  Contingent
         Erd                                                          Unliquidated
         Essen 45276                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.631
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,107.28
         Sven Simmen                                                  Contingent
         Von-Coels-Strasse 310                                        Unliquidated
         Aachen 52080                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.09
         Sven Soltermann                                              Contingent
         Weberstrasse 5                                               Unliquidated
         Aarburg 4663                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Svetoslav Sokolov                                            Contingent
         815 Gravesend Neck Road                                      Unliquidated
         Apt 5L                                                       Disputed
         Brooklyn, NY 11223
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 943 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 963 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.632
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $780.27
         Svetoslav Todorov                                            Contingent
         Mariubakki 4, #202                                           Unliquidated
         Reykjavik 109                                                Disputed
         ICELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.35
         Swaijit Sandhu                                               Contingent
         11809 84A Avenue                                             Unliquidated
         North Delta BC V4C 2T2                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Syed Naqvi                                                   Contingent
         4 Ravenscroft Court                                          Unliquidated
         Stitsville ON K2S1R3                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $643.43
         Syed Rizvi                                                   Contingent
         147 Wentworth St N                                           Unliquidated
         Hamilton ON L8L 5V6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $884.24
         Syed Waqar Abbas                                             Contingent
         Ruckertstrasse 12                                            Unliquidated
         Berlin 10627                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $572.60
         Sylvain Blanchard
         60 Rue Du 11 Novembre                                        Contingent
         Pavillon 42                                                  Unliquidated
         Neuilly-Sur-Marne 93330                                      Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 944 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 964 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.632
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Szu-Kai Hsu                                                  Contingent
         788 Harrison St                                              Unliquidated
         Apt 716                                                      Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.632
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.38
         Szu-Kai Hsu                                                  Contingent
         788 Harrison St                                              Unliquidated
         Apt 716                                                      Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.60
         Tad Lucas                                                    Contingent
         67310 Country Side Drive                                     Unliquidated
         Saint Clairsville, OH 43950                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.633
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.09
         Tadas Sauseris
         Biciuliu 14 Raziai                                           Contingent
         Domeikava                                                    Unliquidated
         Kaunas 54340                                                 Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,172.49
         Taher Ali                                                    Contingent
         100 Ramapo Trl                                               Unliquidated
         Apt F12                                                      Disputed
         Allentown, PA 18104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Tahir Salkic                                                 Contingent
         225 Willowwood Dr.                                           Unliquidated
         Belle River ON N0R 1A0                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 945 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 965 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.633
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,852.79
         Taidas Akavickas                                             Contingent
         21 Bremore Pastures Park                                     Unliquidated
         Balbriggan D K32N353                                         Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.62
         Takeru Okuyama                                               Contingent
         890 Crescent Dr                                              Unliquidated
         Rahway, NJ 07065                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.633
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $789.96
         Talal Slivy
         IMI Int'l Mgmt Institute Ltd.                                Contingent
         Z Hd. Frau Isabella Burki Seeacherweg 1                      Unliquidated
         Kastanienbaum 6047                                           Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $713.40
         Talia Volken                                                 Contingent
         1196 Deep Cove Road                                          Unliquidated
         North Vancuver BC V7G1S3                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,712.60
         Dannel Tan                                                   Contingent
         2259 52nd Ave E                                              Unliquidated
         Vancouver BC V5P 1X2                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.49
         Tanveer Uddin                                                Contingent
         32 Maude House, Ropley Street                                Unliquidated
         London ENG E27RY                                             Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 946 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 966 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.634
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Tanya Wurster                                                Contingent
         113 W Lancaster Rd                                           Unliquidated
         Orlando, FL 32809                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Anthony Tarantino                                            Contingent
         100 Glen Street                                              Unliquidated
         Apt 2206                                                     Disputed
         Glen Cove, NY 11542
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.634
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Tarek Zaki                                                   Contingent
         74 Deerfield Rd                                              Unliquidated
         Sharon, MA 02067                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,600.79
         Tarik Aksoz
         Feneryolu Mahallesi Fahrettin Kerim Goka                     Contingent
         Kadikoy - Istanbul                                           Unliquidated
         Istanbul 34724                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.634
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $786.66
         Tarik Aksoz
         Fetih Mah. Acenaydin Sokak No:13 Atasehi                     Contingent
         Boss                                                         Unliquidated
         Istanbul 34704                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.634
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Tariq Saeed                                                  Contingent
         5980 Whitehorn Avenue #159                                   Unliquidated
         Mississauga ON L5V 2Y3                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 947 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 967 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.634
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.60
         Tarun Keram                                                  Contingent
         6289 125A Street                                             Unliquidated
         Surrey BC V3X 3M9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.634
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.18
         Taylor Bison                                                 Contingent
         536 Wing Park Blvd                                           Unliquidated
         Elgin, IL 60123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Taylor Duffy                                                 Contingent
         86 Bryant Lane                                               Unliquidated
         Kennebunkport, ME 04046                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.14
         Taylor Lampman
         456 Gorge Road East                                          Contingent
         #8                                                           Unliquidated
         Victoria BC V8T 2W4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.635
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Taylor Rice                                                  Contingent
         15623 West Gelding Drive                                     Unliquidated
         Surprise, AZ 85379                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.85
         Taylor Smith                                                 Contingent
         5745 E 2nd St Frnt                                           Unliquidated
         Long Beach, CA 90803                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Tayo Olabumuyi                                               Contingent
         66 Wintergreen Trail                                         Unliquidated
         Spring, TX 77382                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 948 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 968 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.635
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,480.42
         Tayseer Samara                                               Contingent
         7706 159th Place                                             Unliquidated
         Tinley Park, IL 60477                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Taysser Akkad                                                Contingent
         330 Burnhamthorpe Rd W                                       Unliquidated
         Mississauga ON L5B 0E1                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.635
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Alan M. Tebby                                                Contingent
         510 Lansdowne Road                                           Unliquidated
         Charlotte, NC 28270                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Ted Kim                                                      Contingent
         13902 Joel Beach Ln                                          Unliquidated
         Centreville, VA 20120                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.59
         Ted Mejia                                                    Contingent
         817 Columbus Ave                                             Unliquidated
         Stroudsburg, PA 18360                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,243.87
         Ted Rader                                                    Contingent
         7679 Brookstone Drive                                        Unliquidated
         Findlay, OH 45840                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $626.37
         Ted Rader                                                    Contingent
         5901 W Behrend Dr                                            Unliquidated
         Apt 1153                                                     Disputed
         Glendale, AZ 85308
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 949 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 969 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.636
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,428.37
         Ted Simpson                                                  Contingent
         7074 Via Serena                                              Unliquidated
         San Jose, CA 95139                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $881.60
         Teddy R Donselaar
         29 Park Road                                                 Contingent
         Titirangi                                                    Unliquidated
         Auckland AUK 604                                             Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.636
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Tejas Patel                                                  Contingent
         352 North Thompson Lane                                      Unliquidated
         Murfreesboro, TN 37129                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.97
         Tejaswini Gharfalkar
         Flat 104, Signal Building                                    Contingent
         Station Approach                                             Unliquidated
         Hayes ENG UB3 4FG                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.636
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,507.52
         Teo Marks                                                    Contingent
         2449 Olive Ave                                               Unliquidated
         La Crescenta, CA 91214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Teodor Bogdan                                                Contingent
         3601 Estate Dr                                               Unliquidated
         Oxford, MI 48371                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 950 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 970 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.636
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.22
         Teofilo Fangmann                                             Contingent
         729 Heritage Way                                             Unliquidated
         Weston, FL 33326                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,687.65
         Terence Farrell
         9 Shady Grove                                                Contingent
         Wheaton Hall                                                 Unliquidated
         Drogheda LH A92 D83H                                         Disputed
         IRELAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.636
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,423.29
         Terence Fernandes                                            Contingent
         70 Grover Drive                                              Unliquidated
         Toronto ON M1C 4V7                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.636
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,187.21
         Terence Martin                                               Contingent
         1801 McNab Ave                                               Unliquidated
         Long Beach, CA 90815                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.25
         Teresa Hilleary                                              Contingent
         3054 Fredrick Circle                                         Unliquidated
         Marina, CA 93933                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Terin Izil                                                   Contingent
         242 West 104th Street                                        Unliquidated
         3Wf                                                          Disputed
         New York, NY 10025
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 951 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 971 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.637
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Terraces Dunwoody                                            Contingent
         4333 Dunwoody Park #2410                                     Unliquidated
         Dunwoody, GA 30338                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.56
         Terrell Gaston                                               Contingent
         6623 Bela Avenue                                             Unliquidated
         Kalamazoo, MI 49009                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.39
         Terrell Gaston-Burnett                                       Contingent
         6623 Bela Ave                                                Unliquidated
         Kalamazoo, MI 49009                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Terrence Peacock                                             Contingent
         1713 Hixson Pike                                             Unliquidated
         Apt B                                                        Disputed
         Chattanooga, TN 37405
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.637
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $938.39
         Terry Buffington                                             Contingent
         6557 South University Avenue                                 Unliquidated
         Unit 204                                                     Disputed
         Chicago, IL 60637
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.637
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,377.81
         Terry Lee                                                    Contingent
         6300 U.S. Hwy 93 South                                       Unliquidated
         Whitefish, MT 59937                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $85.00
         Terry Rozmahel                                               Contingent
         10533 164 Street Northwest                                   Unliquidated
         Edmonton AB T5P 3R5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 952 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 972 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.637
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $35.00
         Terry Slack                                                  Contingent
         615 Swann Ave                                                Unliquidated
         #340                                                         Disputed
         Alexandria, VA 22301
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.638
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,049.14
         Terry Stevens                                                Contingent
         102 Rickel Road                                              Unliquidated
         Sun Prairie, WI 53590                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.28
         Thabet Salib
         Elbevagen 34                                                 Contingent
         Villa Number 34                                              Unliquidated
         Huddinge 14132                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.638
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Thadeus Olszewski                                            Contingent
         102 Bank St                                                  Unliquidated
         Batavia, NY 14020                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Thai Nguyen                                                  Contingent
         1520 Verbana Way                                             Unliquidated
         Roseville, CA 95747                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,307.83
         Thai Trinh                                                   Contingent
         10606 Trevor Drive                                           Unliquidated
         Stockton, CA 95209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $928.01
         Thai Trinh                                                   Contingent
         10606 Trevor Drive                                           Unliquidated
         Stockton, CA 95209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 953 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 973 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.638
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $751.03
         Thang Tran                                                   Contingent
         1933 E 26th St                                               Unliquidated
         Oakland, CA 94606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.638
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.49
         Thanh Dinh Hai                                               Contingent
         Velke Kunraticke 29/1362                                     Unliquidated
         Prague 14800                                                 Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.638
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.51
         Thanh Long Vu                                                Contingent
         Am Hammer 12                                                 Unliquidated
         Linz 53545                                                   Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.638
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.18
         Thavatchai Patummas                                          Contingent
         10449 Greenhurst Street                                      Unliquidated
         Bellflower, CA 90706                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.76
         Thavatchai Patummas                                          Contingent
         10449 Greenhurst Street                                      Unliquidated
         Bellflower, CA 90706                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.83
         Theo Quach                                                   Contingent
         1764 S Caroleen Ln                                           Unliquidated
         Anaheim, CA 92804                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.50
         Theodore Bricke                                              Contingent
         637 South Santa Fe Ave                                       Unliquidated
         Suite C                                                      Disputed
         Vista, CA 92083
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 954 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 974 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.639
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.07
         Theodore Freeman                                             Contingent
         8430 Parry Path                                              Unliquidated
         Converse, TX 78109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Theodore Hicks                                               Contingent
         49685 Jackson Lane                                           Unliquidated
         Canton, MI 48188                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.18
         Theodore Kennedy                                             Contingent
         1041 Valmont Street                                          Unliquidated
         New Orleans, LA 70115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $765.83
         Theodore McGrath                                             Contingent
         1567 Hudson Ridge Road                                       Unliquidated
         Hillsboro, MO 63050                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Theodore Nelson                                              Contingent
         300 South Santa Fe Ave #523                                  Unliquidated
         Los Angeles, CA 90013                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.69
         Theodoros Christodoulou
         Avlidos 4,                                                   Contingent
         Flat 201, Livadia                                            Unliquidated
         Larnaca 7060                                                 Disputed
         CYPRUS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.639
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.71
         Theresa Crafton                                              Contingent
         419 Everette Avenue                                          Unliquidated
         Romeoville, IL 60446                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 955 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 975 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.640
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,412.13
         Theresa Mendoza                                              Contingent
         73 Bonfire Ct                                                Unliquidated
         Westminster, MD 21157                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,487.91
         Thibault Leroux                                              Contingent
         Chemin De La Lisiere 19                                      Unliquidated
         Lausanne 1018                                                Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.640
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Thiry Gratton                                                Contingent
         49, 26E Avenue Sud                                           Unliquidated
         Bois-Des-Filion QC J6Z1Z1                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.640
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Tho Tran
         33 Erskine Avenue                                            Contingent
         Apt 308                                                      Unliquidated
         Toronto ON M4P 1Y6                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.640
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,638.20
         Thomas Blascyk                                               Contingent
         Victor-Achard-Str. 26                                        Unliquidated
         Bad Homburg Vor Der Hohe 61350                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.640
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Thomas Bourque                                               Contingent
         1118 Orange Grove Dr                                         Unliquidated
         New Iberia, LA 70560                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 956 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 976 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.640
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $925.83
         Thomas Brennan                                               Contingent
         4601 Lowell Blvd                                             Unliquidated
         Denver, CO 80211                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,609.52
         Thomas Burbridge                                             Contingent
         43 Millwheel Court                                           Unliquidated
         Nottingham, MD 21236                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Thomas Burbridge                                             Contingent
         43 Millwheel Court                                           Unliquidated
         Nottingham, MD 21236                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $20.57
         Thomas Burch                                                 Contingent
         2500 Royal Highlands Ln                                      Unliquidated
         Conroe, TX 77304                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.641
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $20.57
         Thomas Burch                                                 Contingent
         2500 Royal Highlands Ln                                      Unliquidated
         Conroe, TX 77304                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.641
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.75
         Thomas Dean
         12 Dauntsey House                                            Contingent
         Bentham Close                                                Unliquidated
         Swindon ENG SN5 7FR                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Thomas Do                                                    Contingent
         4520 Walnut Grove Avenue                                     Unliquidated
         Rosemead, CA 91770                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 957 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 977 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.641
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Thomas Duncan
         151 Linwell Road                                             Contingent
         Unit 42                                                      Unliquidated
         St. Catharines ON L2N 6P3                                    Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Thomas Forrester                                             Contingent
         140 Powhatan Parkway                                         Unliquidated
         Hampton, VA 23661                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.641
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.49
         Thomas Gibson                                                Contingent
         21025 Lemarsh St                                             Unliquidated
         Unit F33                                                     Disputed
         Chatsworth, CA 91311
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,486.38
         Thomas Gibson                                                Contingent
         21025 Lemarsh St                                             Unliquidated
         Unit F33                                                     Disputed
         Chatsworth, CA 91311
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,958.12
         Thomas Giesel                                                Contingent
         930 Carnegie Street                                          Unliquidated
         Apt 1213                                                     Disputed
         Henderson, NV 89052
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.641
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $944.77
         Thomas Gossler                                               Contingent
         Alte Meierstrasse 11                                         Unliquidated
         Weyhe 28844                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 958 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 978 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.641
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Thomas Griffin                                               Contingent
         16B Sunset Avenue                                            Unliquidated
         East Quogue, NY 11942                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.50
         Thomas Gruenewald                                            Contingent
         4424 Winding Creek Rd                                        Unliquidated
         Manlius, NY 13104                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.35
         Thomas Helenski                                              Contingent
         191 Hughes Road                                              Unliquidated
         King Of Prussia, PA 19406-3709                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $490.70
         Thomas Hemmi                                                 Contingent
         Holzwiesstrasse 37                                           Unliquidated
         Jona Sg 8645                                                 Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.642
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Thomas House                                                 Contingent
         3541 Oakdale Dr                                              Unliquidated
         Mountain Brk, AL 35223                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $564.90
         Thomas Huelsmann                                             Contingent
         Rosenstrasse 13A                                             Unliquidated
         Schaeftlarn 82069                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.642
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $899.89
         Thomas Kollath                                               Contingent
         Schulstrasse 1                                               Unliquidated
         Kloster Lehnin 14797                                         Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 959 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 979 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.642
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Thomas Lim                                                   Contingent
         434 1/2 N Sierra Bonita Ave                                  Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Thomas Madden                                                Contingent
         309-110 Switchmen St.                                        Unliquidated
         Vancouver BC V6A0C6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.642
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.29
         Thomas McAulay                                               Contingent
         3 Tilman Drive                                               Unliquidated
         Peterborough ENG PE70LU                                      Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.642
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Thomas Mccormick                                             Contingent
         200 104th Avenue                                             Unliquidated
         Suite 330                                                    Disputed
         Treasure Island, FL 33706
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.643
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Thomas McGinty                                               Contingent
         243 Flanders Drive                                           Unliquidated
         Indialantic, FL 32903                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,458.65
         Thomas Newbold                                               Contingent
         1105 Park Avenue                                             Unliquidated
         1C                                                           Disputed
         New York, NY 10128
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.643
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $928.01
         Thomas Nguyen                                                Contingent
         1628 Acton St                                                Unliquidated
         Berkeley, CA 94702                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 960 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 980 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.643
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Thomas Niewiara                                              Contingent
         220 E Illinois St                                            Unliquidated
         Apt 3606                                                     Disputed
         Chicago, IL 60611
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.643
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $902.61
         Thomas Niuman                                                Contingent
         188 Yacht Club Drive                                         Unliquidated
         Greentown, PA 18426                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.19
         Thomas Pena                                                  Contingent
         34249 Faircrest Street                                       Unliquidated
         Murrieta, CA 92563                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Thomas Phommasith                                            Contingent
         2151 Lumberjack Drive                                        Unliquidated
         Hebron, KY 41048                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $898.54
         Thomas Sauermann                                             Contingent
         Kortestr. 36                                                 Unliquidated
         Berlin Kreuzberg 10967                                       Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.643
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $885.28
         Thomas Schauer                                               Contingent
         Hofer Strasse 19                                             Unliquidated
         Lochau 6911                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 961 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 981 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.643
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,057.70
         Thomas Schupfer
         Marktgasse 27                                                Contingent
         3W-Publishing Ag                                             Unliquidated
         Langenthal 4900                                              Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.644
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Thomas Smith                                                 Contingent
         14532 S23 Highway                                            Unliquidated
         Milo, IA 50166                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Thomas Uzelmeier                                             Contingent
         217 N Lynx Trl                                               Unliquidated
         Montgomery, TX 77316                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.00
         Thomas Wolfe                                                 Contingent
         995 Wagon Wheel Lane,                                        Unliquidated
         Lincoln, CA 95648                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Thorn Leung                                                  Contingent
         28 Duke Of Cornwall Dr                                       Unliquidated
         Markham ON L6C 0L3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.644
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.86
         James Thornton                                               Contingent
         1262 West Ardmore Avenue                                     Unliquidated
         Chicago, IL 60660                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 962 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 982 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.644
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,581.03
         Thrasyvoulos Eikosipentaris
         40 Union Grove                                               Contingent
         1Fr                                                          Unliquidated
         Aberdeen SCT AB10 6SY                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.644
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Brian A Thuen                                                Contingent
         9497 Pickwick Circle East                                    Unliquidated
         Taylor, MI 48180                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.17
         Thusekaran Shanmugatatnam                                    Contingent
         29 Tangmere Gardens                                          Unliquidated
         Northolt ENG UB5 6LS                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.644
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,693.52
         Tia Goodwater                                                Contingent
         3455 Andrew Court #102                                       Unliquidated
         Maryland City, MD 20724                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.02
         Tiago Pereira                                                Contingent
         19 Heywood House, 2 Myers Lane                               Unliquidated
         London ENG SE14 5RU                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.645
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.27
         Tiago Rodrigues                                              Contingent
         Rua Batalha Reis No12                                        Unliquidated
         Guarda PT-09 6300-668                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 963 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 983 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.645
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $80.50
         Tiago Rodrigues                                              Contingent
         Rua Batalha Reis N12                                         Unliquidated
         Guarda PT-09 6300-668                                        Disputed
         PORTUGAL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.645
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $646.14
         Tiandra Delancy                                              Contingent
         2727 NW 47th Terrace                                         Unliquidated
         Lauderdale Lakes, FL 33313                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.645
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,425.79
         Tiffany Allred                                               Contingent
         1214 Foothill Drive                                          Unliquidated
         Santaquin, UT 84655                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.645
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,632.02
         Till Brauner                                                 Contingent
         Schweidnitzer Str. 2                                         Unliquidated
         Berlin 10709                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.645
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tim Barnett                                                  Contingent
         2458 Crescent Park Court                                     Unliquidated
         Atlanta, GA 30339                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.645
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $676.07
         Tim Crasborn                                                 Contingent
         30 Mount Erin Road                                           Unliquidated
         Pukahu HKB 4172                                              Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.645
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $651.07
         Tim Crasborn                                                 Contingent
         30 Mount Erin Road                                           Unliquidated
         Pukahu HKB 4172                                              Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 964 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 984 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.645
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $641.07
         Tim Crasborn                                                 Contingent
         30 Mount Erin Road                                           Unliquidated
         Pukahu HKB 4172                                              Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.645
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $641.07
         Tim Crasborn                                                 Contingent
         30 Mount Erin Road                                           Unliquidated
         Pukahu HKB 4172                                              Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Tim Downs                                                    Contingent
         5314 West 103rd Place                                        Unliquidated
         Overland Park, KS 66207                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.646
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,336.17
         Tim Gardner
         101 5101 50 Ave                                              Contingent
         Suite 922                                                    Unliquidated
         Leduc AB T9E 0B9                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.28
         Tim Giese                                                    Contingent
         Karoline-Herschel-Strasse 10                                 Unliquidated
         Lubeck 23562                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $904.15
         Tim Hoey                                                     Contingent
         43 Randolph Ave                                              Unliquidated
         Milton, MA 02186                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 965 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 985 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.646
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $456.83
         Tim Hoey                                                     Contingent
         43 Randolph Ave                                              Unliquidated
         Milton, MA 02186                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.646
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Tim Kribbs                                                   Contingent
         213 S Reed St                                                Unliquidated
         Centralia, MO 65240                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.646
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Tim Larin                                                    Contingent
         3224 Estero Drive                                            Unliquidated
         San Ramon, CA 94583                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.646
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.99
         Tim Le                                                       Contingent
         37 Milford Street                                            Unliquidated
         Latham ACT 2615                                              Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $947.35
         Tim Lindberg                                                 Contingent
         Catella Arena- Rinkebyvagen 20                               Unliquidated
         Danderyd 18236                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.646
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.29
         Tim Schultheis
         Rather Strasse 25                                            Contingent
         Diginexus Gmbh                                               Unliquidated
         Dusseldorf 40476                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 966 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 986 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.647
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.81
         Tim Settles                                                  Contingent
         103 Laurel St                                                Unliquidated
         Loveland, OH 45140                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.647
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $810.93
         Tim Stocker                                                  Contingent
         7 Stone Run Drive                                            Unliquidated
         Mechanicsburg, PA 17050                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.647
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $810.33
         Tim Stocker                                                  Contingent
         7 Stone Run Drive                                            Unliquidated
         Mechanicsburg, PA 17050                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.647
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $989.16
         Timo Parkkinen
         Porkkatie 7 C15                                              Contingent
         Porkkatie 7 C15                                              Unliquidated
         Joensuu 80230                                                Disputed
         FINLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.647
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,411.90
         Timothy Catanzaro                                            Contingent
         519 W Us Hwy 50                                              Unliquidated
         O Fallon, IL 62269                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.647
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.28
         Timothy Eakins                                               Contingent
         4954 N Hemingay Cir                                          Unliquidated
         Margate, FL 33063                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 967 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 987 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.647
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $849.32
         Timothy Free Pham
         319 Thaiphantha Road, Pho sub-district                       Contingent
         Sisaket Rajabhat University                                  Unliquidated
         Sisaket TH-33 33000                                          Disputed
         THAILAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.647
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.87
         Timothy Funderburg                                           Contingent
         700 Central Avenue Northeast                                 Unliquidated
         Apt 704                                                      Disputed
         Minneapolis, MN 55414
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.647
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Timothy Groff                                                Contingent
         11828 La Grange Ave.                                         Unliquidated
         Los Angeles, CA 90025                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.647
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.50
         Timothy Hipps                                                Contingent
         2130 Sunset Dr Space 9                                       Unliquidated
         Vista, CA 92081                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.93
         Timothy Hohne                                                Contingent
         182 Mission Ave                                              Unliquidated
         San Rafael, CA 94901                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Timothy Jacobs                                               Contingent
         5618 Oakland Dr.                                             Unliquidated
         Tampa, FL 33617                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 968 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 988 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.648
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Timothy Leaphart                                             Contingent
         5039 North Henry Blvd                                        Unliquidated
         Suite E                                                      Disputed
         Stockbridge, GA 30281
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.648
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.87
         Timothy Lindsay                                              Contingent
         474 Glenbrook Avenue North                                   Unliquidated
         Saint Paul, MN 55128                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Timothy Padgett                                              Contingent
         1929 Tacoma Road                                             Unliquidated
         Puyallup, WA 98371                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Timothy Park                                                 Contingent
         113 Heather Mist                                             Unliquidated
         Irvine, CA 92618                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Timothy Pulley                                               Contingent
         4 Rolla Mill Rd                                              Unliquidated
         Verona, VA 24482                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $89.30
         Timothy Root                                                 Contingent
         3557 W Warren Ln                                             Unliquidated
         Anthem, AZ 85086                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.89
         Timothy Shih                                                 Contingent
         4836 Mansfield St                                            Unliquidated
         San Diego, CA 92116                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 969 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 989 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.648
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.25
         Timothy Walsh                                                Contingent
         3799 Harrison Street                                         Unliquidated
         Oakland, CA 94611                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Tina Croteau                                                 Contingent
         44 Cross Street                                              Unliquidated
         Salem, NH 03079                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.44
         Tino Be                                                      Contingent
         231 East Alessandro Blvd #264                                Unliquidated
         Riverside, CA 92508                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Tirca Ionut
         Str Matei Basarab Nr.33                                      Contingent
         Bl P24 Sc C Ap3                                              Unliquidated
         Romania, Jude Ul Arges, Pitesti AG 1102                      Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.649
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Tisha Clark                                                  Contingent
         217 South Home Street                                        Unliquidated
         Independence, MO 64053                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Tisha Clark                                                  Contingent
         217 South Home Street                                        Unliquidated
         Independence, MO 64053                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 970 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 990 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.649
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Tj Caddo
         510 12th Avenue Sw                                           Contingent
         Suite 908                                                    Unliquidated
         Calgary AB T2R 0X5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.649
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Tj Donahue                                                   Contingent
         P.O. Box 300278                                              Unliquidated
         Denver, CO 80203                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         Tj Langer                                                    Contingent
         10104 Iron Gate Road                                         Unliquidated
         Potomac, MD 20854                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Tj Langer                                                    Contingent
         10104 Iron Gate Rd                                           Unliquidated
         Potomac, MD 20854                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.48
         Toan Nguyen                                                  Contingent
         3015 Senter Rd                                               Unliquidated
         San Jose, CA 95111                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $756.14
         Toan Sam                                                     Contingent
         1741S Sunset Ave                                             Unliquidated
         West Covina, CA 91790                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,260.59
         Yaakov Aryeh Tober                                           Contingent
         53 Hillside Blvd                                             Unliquidated
         Lakewood Twp, NJ 08701                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 971 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 991 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.650
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.35
         Tobias Breitmann                                             Contingent
         Bleichstrasse 19                                             Unliquidated
         Nieder-Olm 55268                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.650
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,086.79
         Tobias Leeb                                                  Contingent
         Von-Niethammer-Strasse 1                                     Unliquidated
         Mengkofen 84152                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.650
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Toby Kennedy                                                 Contingent
         917 Irishtown Rd.                                            Unliquidated
         New Oxford, PA 17350                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.14
         Todd Angerman                                                Contingent
         208 Timber Springs Rd.                                       Unliquidated
         Lowell, IN 46356                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.82
         Todd Bassett                                                 Contingent
         2404 W Delmar St                                             Unliquidated
         Broken Arrow, OK 74012                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $61.75
         Todd Bennett                                                 Contingent
         809 Sutter Ct                                                Unliquidated
         Frazier Park, CA 93225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.64
         Todd Bennett                                                 Contingent
         809 Sutter Ct                                                Unliquidated
         Frazier Park, CA 93225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 972 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 992 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.650
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,930.12
         Todd Brekhus                                                 Contingent
         16520 Inguadona Beach Circle Southwest                       Unliquidated
         Prior Lake, MN 55372                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,400.53
         Todd Calhoun                                                 Contingent
         2815 28th Ave W                                              Unliquidated
         Seattle, WA 98199                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,284.52
         Todd Eide                                                    Contingent
         1850 Commons Hill Ln                                         Unliquidated
         Houston, TX 77080                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Todd Matthews                                                Contingent
         7639 Peach Ave.                                              Unliquidated
         Hesperia, CA 92345                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $797.32
         Todd Moore                                                   Contingent
         9166 Saddlebrook Way                                         Unliquidated
         Douglasville, GA 30135                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Todd Osborn                                                  Contingent
         2418 South Main Avenue                                       Unliquidated
         Sioux Falls, SD 57105                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Todd Scoggins                                                Contingent
         3200 John Ct S                                               Unliquidated
         Hurst, TX 76054                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 973 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 993 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.651
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Todd Voght                                                   Contingent
         5400 Radford Ave #25                                         Unliquidated
         Valley Village, CA 91607                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.85
         Todd Weaver                                                  Contingent
         1048 Delaware Rd                                             Unliquidated
         Burbank, CA 91504                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $977.76
         Todor Kovaelvic                                              Contingent
         Zidarska 2, Beograd                                          Unliquidated
         Belgrade 11000                                               Disputed
         SERBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.651
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $742.84
         Tohn Sy                                                      Contingent
         1631 Freeman Avenue                                          Unliquidated
         Long Beach, CA 90804                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $129.25
         Tohn Sy                                                      Contingent
         1631 Freeman Avenue                                          Unliquidated
         Long Beach, CA 90804                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,615.55
         Token Ventures S.R.O.                                        Contingent
         Skolska 689/20                                               Unliquidated
         Praha 1 110 00                                               Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.652
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Tom Berkley                                                  Contingent
         166 Melrose Avenue                                           Unliquidated
         Needham, MA 02492                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 974 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 994 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.652
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Tom Blenderman                                               Contingent
         1803 4th St                                                  Unliquidated
         Sioux City, IA 51101                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,423.78
         Tom Dewine                                                   Contingent
         20227 Standish Road                                          Unliquidated
         San Antonio, TX 78258                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         Tom Elias                                                    Contingent
         9574 Topanga Canyon Blvd                                     Unliquidated
         Los Angeles, CA 91311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,330.20
         Tom Flanary                                                  Contingent
         8375 SW 185th Terrace                                        Unliquidated
         Cutler Bay, FL 33157                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Tom Greineder                                                Contingent
         501 West Main                                                Unliquidated
         Honey Grove, TX 75446-1506                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,454.52
         Tom Jones                                                    Contingent
         1630 Concord St                                              Unliquidated
         Framingham, MA 01701                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.652
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $19.00
         Tom Kelly                                                    Contingent
         556 Wasaga Crescent                                          Unliquidated
         Waterloo ON N2V 2Y7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 975 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 995 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.653
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $798.99
         Tom Kryger                                                   Contingent
         32 Anthony Rd                                                Unliquidated
         Glen Gardner, NJ 08826                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.653
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,190.07
         Tom Loffman                                                  Contingent
         1565 Vista Ridge Way                                         Unliquidated
         Roseville, CA 95661                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.653
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,674.19
         Tom Mannings                                                 Contingent
         205 Town Center Blvd                                         Unliquidated
         Davenport, FL 33896                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.653
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.52
         Tom Porter                                                   Contingent
         76 Indian Clover Drive                                       Unliquidated
         Spring, TX 77381                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.653
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,362.99
         Tom Wheatley
         36 Grove Street                                              Contingent
         The Wood                                                     Unliquidated
         Nelson NSN 7010                                              Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.75
         Tom Woodward                                                 Contingent
         156 Applewood Cres                                           Unliquidated
         Guelph ON N1H6B7                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 976 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 996 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.653
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.41
         Tomas Hnilica                                                Contingent
         Olomoucka 81                                                 Unliquidated
         Brno-Cernovice 627 00                                        Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Tomas Lascano                                                Contingent
         5459 Northwest 72nd Avenue                                   Unliquidated
         Arg1141317                                                   Disputed
         Miami, FL 33166
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $29.50
         Tomas Zalagenas                                              Contingent
         2 Francis Road                                               Unliquidated
         Hildenborough ENG TN11 9JY                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,688.29
         Tomasz Grudniewski                                           Contingent
         Dokerska 6/17                                                Unliquidated
         Wroclaw 54-142                                               Disputed
         POLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.654
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.20
         Tomasz Szacon                                                Contingent
         14 Killington Rd                                             Unliquidated
         Toms River, NJ 08757                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.46
         Tomi Dietz                                                   Contingent
         1201 Francine St                                             Unliquidated
         Pahrump, NV 89060                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $835.90
         Tomislav Turalija                                            Contingent
         Koledinecka 3                                                Unliquidated
         Zagreb 10040                                                 Disputed
         CROATIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 977 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 997 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.654
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,468.77
         Tommie Goldhammer
         Barometergatan 56                                            Contingent
         Autopower Sverige Ab                                         Unliquidated
         Malma 21117                                                  Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.654
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Tommy Giegerich                                              Contingent
         5904 Timber Oaks Ridge                                       Unliquidated
         Humble, TX 77346                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Tommy Phan                                                   Contingent
         1004 Springwood Ct.                                          Unliquidated
         Virginia Beach, VA 23455                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.54
         Tommy Taylor                                                 Contingent
         364 Miller Drive                                             Unliquidated
         Dawsonville, GA 30534                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.62
         Tommy Tong                                                   Contingent
         14041 Monfort Ct                                             Unliquidated
         San Diego, CA 92128                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Tommy Tong                                                   Contingent
         14041 Montfort Court                                         Unliquidated
         San Diego, CA 92128                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Tommy Walker                                                 Contingent
         1704 South 43rd Street                                       Unliquidated
         Temple, TX 76504                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 978 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 998 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.655
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,620.72
         Tommy Wilhelmsen                                             Contingent
         Ryttersvingene 120A                                          Unliquidated
         Hafrsfjord 4046                                              Disputed
         NORWAY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $888.82
         Toni Barrera Veny                                            Contingent
         Eslora, 4                                                    Unliquidated
         Porto Cristo PM 7680                                         Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $603.36
         Toni Nikolovski
         Nazarennu Street                                             Contingent
         Christ Church Fl:6                                           Unliquidated
         Sliema SLM3011                                               Disputed
         MALTA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Tonia Emrich                                                 Contingent
         730 S 93rd St                                                Unliquidated
         Milwaukee, WI 53214                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.655
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Tony Ardolino                                                Contingent
         39 Daisy St                                                  Unliquidated
         Homosassa, FL 34446                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.655
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Tony Bao                                                     Contingent
         2685 East 22nd St                                            Unliquidated
         1B                                                           Disputed
         Brooklyn, NY 11235
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 979 of 1054
          Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 999 of
                                                                      1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.655
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tony Bao                                                     Contingent
         2685 East 22nd St                                            Unliquidated
         1B                                                           Disputed
         Brooklyn, NY 11235
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Tony Bao                                                     Contingent
         2685 East 22nd St                                            Unliquidated
         1B                                                           Disputed
         Brooklyn, NY 11235
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,842.14
         Tony Beggs                                                   Contingent
         11009 E 5th Court                                            Unliquidated
         Spokane Valley, WA 99206                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.655
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,465.39
         Tony Bueno                                                   Contingent
         878 Holborn Rd                                               Unliquidated
         Streetsboro, OH 44241                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.24
         Tony Dang                                                    Contingent
         8632 Jennrich Avenue                                         Unliquidated
         Westminster, CA 92683                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $743.50
         Tony Hardie                                                  Contingent
         2659 34th Ave W                                              Unliquidated
         Seattle, WA 98199                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Tony Kim                                                     Contingent
         106 Grand Ave                                                Unliquidated
         Suwanee, GA 30024                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 980 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1000 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.656
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.93
         Tony Lu                                                      Contingent
         55 Regent Park Blvd #1813                                    Unliquidated
         Toronto ON M5A0C2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.656
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $650.93
         Tony Lu                                                      Contingent
         55 Regent Park Blvd #1813                                    Unliquidated
         Toronto ON M5A0C2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.656
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Tony Nguyen                                                  Contingent
         3100 Chino Hills Parkway #1024                               Unliquidated
         Chino Hills, CA 91709                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Tony Pennix                                                  Contingent
         201 London Downs Drive                                       Unliquidated
         Forest, VA 24551                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Tony Romero                                                  Contingent
         158 Temple Ave                                               Unliquidated
         Apt B                                                        Disputed
         Old Orchard Beach, ME 04064
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.656
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $923.80
         Arturo Torres Robles                                         Contingent
         14052 Buena St                                               Unliquidated
         Apt #3                                                       Disputed
         Garden Grove, CA 92843
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.656
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,885.55
         Torri Holliday                                               Contingent
         4344 Barren Brook Drive                                      Unliquidated
         Memphis, TN 38125                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 981 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1001 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.657
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.70
         Torsten Braeunig                                             Contingent
         Gunter-Vogt-Ring 36                                          Unliquidated
         Frankfurt Am Main 60437                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.68
         Torsten Tiedtke                                              Contingent
         4003 Governors Road                                          Unliquidated
         Hamilton ON L0R 1T0                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,815.46
         Toth Robert
         Zay Utca 3.                                                  Contingent
         3 Emelet                                                     Unliquidated
         Budapest 1037                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,284.32
         Toth Robert
         Zay Utca 3.                                                  Contingent
         3 Emelet                                                     Unliquidated
         Budapest 1037                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.70
         Adams Toum Benchekroun                                       Contingent
         777 Southwest 9th Ave, #406                                  Unliquidated
         Miami, FL 33130                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.657
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Trace McGuire                                                Contingent
         2486 SW Creekside Dr                                         Unliquidated
         Palm City, FL 34990                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 982 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1002 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.657
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,535.52
         Tracy Gibbs                                                  Contingent
         15934 Seahorse Dr                                            Unliquidated
         Houston, TX 77062                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.657
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $890.68
         Panagiota Tragogeni
         Kritis 8                                                     Contingent
         4 Floor                                                      Unliquidated
         Vrilissia 15235                                              Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $778.50
         Trandafir Marian                                             Contingent
         Eufrosina Popescu, Nr 61, Bl L1, Sc B, A                     Unliquidated
         Bucuresti                                                    Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.657
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.75
         Travis Ballard                                               Contingent
         543 Los Altos Drive                                          Unliquidated
         Chula Vista, CA 91914                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Travis Boswell                                               Contingent
         26207 Serenity View Court                                    Unliquidated
         Mechanicsville, MD 20659                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.33
         Travis McLeod                                                Contingent
         2643 Lacombe Crescent                                        Unliquidated
         Regina SK S4V 1T3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 983 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1003 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.658
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Travis Nemec                                                 Contingent
         10011 Clubhouse Cir                                          Unliquidated
         Magnolia, TX 77354                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $808.32
         Travis Paakki                                                Contingent
         1995 Eagle Crest                                             Unliquidated
         West Linn, OR 97068                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $37.98
         Travis Sari                                                  Contingent
         394 Bill Kennedy Way Southeast                               Unliquidated
         Atlanta, GA 30316                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Travis Todd                                                  Contingent
         6228 Cape Cod Dr                                             Unliquidated
         Columbus, GA 31904                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $466.71
         Travis Yatsko                                                Contingent
         519 Stratford Ct                                             Unliquidated
         Unit F                                                       Disputed
         Del Mar, CA 92014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.658
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,401.19
         Travon Fuller                                                Contingent
         2512 Grandview Avenue                                        Unliquidated
         Mckeesport, PA 15132                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.65
         Trent Miller                                                 Contingent
         2021 Magna Lane                                              Unliquidated
         Indian Trail, NC 28079                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 984 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1004 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.658
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.12
         Trent Rose                                                   Contingent
         5194 Tildy Lane                                              Unliquidated
         Idaho Falls, ID 83401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.28
         Trevor Bunyan                                                Contingent
         509 Anthonys Drive                                           Unliquidated
         Exton, PA 19341                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Trevor Hartman                                               Contingent
         5298 Cheyenne Trail                                          Unliquidated
         Billings, MT 59106                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Trevor Hopper                                                Contingent
         914 Vawter Cir                                               Unliquidated
         South Bend, IN 46614                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Trevor Kimoto                                                Contingent
         94-810 Leomana Way                                           Unliquidated
         Waipahu, HI 96797                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Trevor Simpson                                               Contingent
         36014 Hunter Avenue                                          Unliquidated
         Westland, MI 48185                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.80
         Trevor Stewart                                               Contingent
         20617 Welch Road                                             Unliquidated
         Snohomish, WA 98296                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 985 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1005 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.659
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.52
         Trevor Subero                                                Contingent
         15809 Seurat Drive                                           Unliquidated
         Gaithersburg, MD 20878                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.87
         Tri Nguyen                                                   Contingent
         5111 92nd Cres                                               Unliquidated
         Brooklyn Park, MN 55443                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,331.37
         Tri Nguyen                                                   Contingent
         5111 92nd Cres                                               Unliquidated
         Brooklyn Park, MN 55443                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Triangle Endodontics                                         Contingent
         121 Edinburgh South Drive                                    Unliquidated
         Suite 101                                                    Disputed
         Cary, NC 27511
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.660
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.08
         Trisha Fukumoto                                              Contingent
         7060 Noble Flair Court                                       Unliquidated
         Las Vegas, NV 89131                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tristan Garcia                                               Contingent
         900 Southwest 8th Street #1206                               Unliquidated
         Miami, FL 33130                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.68
         Tristan Leung                                                Contingent
         1636 South 8th Street                                        Unliquidated
         Philadelphia, PA 19148                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 986 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1006 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.660
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,219.52
         Tristan Pan                                                  Contingent
         115 Fare Stone Dr                                            Unliquidated
         Garner, NC 27529                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,559.52
         Tristan Pan                                                  Contingent
         115 Fare Stone Dr                                            Unliquidated
         Garner, NC 27529                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,559.52
         Tristan Pan                                                  Contingent
         115 Fare Stone Dr                                            Unliquidated
         Garner, NC 27529                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Troy Messick                                                 Contingent
         8419 Summerfield Ln.                                         Unliquidated
         Huntersville, NC 28078                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.99
         Troy Mirabito                                                Contingent
         63 McLeod Street, #33                                        Unliquidated
         Cairns City QLD 4870                                         Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.660
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $111.35
         Troy Pantin                                                  Contingent
         127 Bloomington Dr                                           Unliquidated
         Cambridge ON N1P1J6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.660
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Troy Pantin                                                  Contingent
         127 Bloomington Dr                                           Unliquidated
         Cambridge ON N1P1J6                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 987 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1007 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.661
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Troy Plewa                                                   Contingent
         6815 Tyree Street                                            Unliquidated
         Dallas, TX 75209                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,439.94
         Troy Rial                                                    Contingent
         13234 Clifton Hill Lane                                      Unliquidated
         Houston, TX 77044                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Troy Walker                                                  Contingent
         17142 Port O Call St.                                        Unliquidated
         Crosby, TX 77532                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Troy Ziniuk                                                  Contingent
         #22 64009 Twp Rd 704                                         Unliquidated
         Grande Prairie AB T8W5C3                                     Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.661
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $62.76
         Truc Ngo                                                     Contingent
         1449 Suzay Court                                             Unliquidated
         San Jose, CA 95122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Truc Ngo                                                     Contingent
         1449 Suzay Court                                             Unliquidated
         San Jose, CA 95122                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Tsun Kit Matthew Woo                                         Contingent
         3403 S Main St                                               Unliquidated
         Santa Ana, CA 92707                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 988 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1008 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.661
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.14
         Tu Truong                                                    Contingent
         2903 Warriston Dr                                            Unliquidated
         Mansfield, TX 76063                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Rafael Tucen                                                 Contingent
         511 SW 16th Ave                                              Unliquidated
         Miami, FL 33135                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.661
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.56
         Tucker Baird                                                 Contingent
         642 Palomar Street                                           Unliquidated
         Ste 406 #364                                                 Disputed
         Chula Vista, CA 91911
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Tucker Brooks                                                Contingent
         6707 Valor Ln                                                Unliquidated
         Midland, TX 79706-2229                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.662
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.69
         Tudor Georgescu                                              Contingent
         14006 61st Pl W                                              Unliquidated
         Apt B                                                        Disputed
         Edmonds, WA 98026
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.11
         Tudoran Alin                                                 Contingent
         Axwood 28                                                    Unliquidated
         Epsom ENG KT187DR                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tuerxun Yierpan                                              Contingent
         9506 Basilwood Dr                                            Unliquidated
         Manassas, VA 20110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 989 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1009 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.662
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.37
         Tyler D                                                      Contingent
         1406 Ormsby Dr                                               Unliquidated
         Sunnyvale, CA 94087                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.662
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Tyler Danaver                                                Contingent
         8708 Devine Lane                                             Unliquidated
         Austin, TX 78748                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.662
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Tyler Danaver                                                Contingent
         8708 Devine Lane                                             Unliquidated
         Austin, TX 78748                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.662
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,311.17
         Tyler Deheer                                                 Contingent
         98 Assiniboia Way West                                       Unliquidated
         Lethbridge AB T1K 6X3                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Tyler Garland                                                Contingent
         3811 14th Avenue West                                        Unliquidated
         Apt D103                                                     Disputed
         Seattle, WA 98119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.23
         Tyler Garland                                                Contingent
         3811 14th Avenue West                                        Unliquidated
         Apt D103                                                     Disputed
         Seattle, WA 98119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.663
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $672.55
         Tyler Gray                                                   Contingent
         900566 South 3390 Road                                       Unliquidated
         Chandler, OK 74834                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 990 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1010 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.663
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Tyler Heard                                                  Contingent
         183 Long St                                                  Unliquidated
         Harrogate, TN 37752                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.67
         Tyler Johnson                                                Contingent
         5746 Logan Street Southeast                                  Unliquidated
         Rochester, MN 55904                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,335.43
         Tyler Kilde                                                  Contingent
         7704 15th St S                                               Unliquidated
         Fargo, ND 58104                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,482.51
         Tyler Koch                                                   Contingent
         726 Long Prairie Dr                                          Unliquidated
         Katy, TX 77450-3164                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Tyler Little                                                 Contingent
         1200 South Jbs Parkway                                       Unliquidated
         Odessa, TX 79766                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.12
         Tyler Metzger                                                Contingent
         24330 226th Avenue Southeast                                 Unliquidated
         Maple Valley, WA 98038                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Tyler Newman-Stump                                           Contingent
         907 Washington Street                                        Unliquidated
         Columbus, IN 47201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 991 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1011 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.663
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $715.69
         Tyler Perkins                                                Contingent
         7029 Via Serena                                              Unliquidated
         San Jose, CA 95139                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.14
         Tyler Rowe                                                   Contingent
         1836 SW Napa Valley Dr                                       Unliquidated
         Lees Summit, MO 64082                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Tyler Talley                                                 Contingent
         990 Northwyck Drive                                          Unliquidated
         Liberty, MO 64068                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tyrone Paz                                                   Contingent
         24949 Katy Ranch Rd Apt 1012                                 Unliquidated
         Katy, TX 77494                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,462.75
         Tyson Barth                                                  Contingent
         8758 Williamson Drive                                        Unliquidated
         Elk Grove, CA 95624                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,231.51
         Tyson Bickelmann                                             Contingent
         20 Jarlan Terrace                                            Unliquidated
         Ottawa ON K2L 3L6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.664
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.56
         Tyson Bruce                                                  Contingent
         7780 Joshua Villa Lane                                       Unliquidated
         Corona, CA 92881                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 992 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1012 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.664
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Tyson Messick                                                Contingent
         2806 Taylorcrest                                             Unliquidated
         Missouri City, TX 77459                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.29
         Tyson Schallipp                                              Contingent
         7616 West Courtney Campbell Causeway                         Unliquidated
         Unit 640                                                     Disputed
         Tampa, FL 33607
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.664
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Tzekin Ip                                                    Contingent
         28241 Crown Valley Parkway                                   Unliquidated
         F443                                                         Disputed
         Laguna Niguel, CA 92677
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.664
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,575.75
         Ufuk Kortan
         Mustafa Mazhar Bey Caddesi Burc Apt 39/1                     Contingent
         Burc Apt 39/18                                               Unliquidated
         Istanbul 34724                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.664
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Ukesh Silwal                                                 Contingent
         5660 Chapel Run Ct                                           Unliquidated
         Centreville, VA 20120                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $876.59
         Ulrike Meyer-Borchert                                        Contingent
         Lofftzstrasse 4                                              Unliquidated
         Munich 80637                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 993 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1013 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.665
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.95
         Umar Khan                                                    Contingent
         1588 Major Oaks Rd                                           Unliquidated
         Pickering ON L1X 2G9                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.665
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,016.40
         Umar Qureshi                                                 Contingent
         8024 E 99 St                                                 Unliquidated
         Kansas City, MO 64134                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.28
         Umit Uzun                                                    Contingent
         253 Rue Dumont                                               Unliquidated
         Beloeil QC J3G 4C2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.665
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,145.45
         Unki Kim                                                     Contingent
         12028 SE 37th Pl                                             Unliquidated
         Bellevue, WA 98006                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Unni Krishnan
         2087 Fairview Street                                         Contingent
         Unit 703                                                     Unliquidated
         Burlington ON L7R 0E5                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.665
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Unshackled Solutions LLC                                     Contingent
         P.O. Box 60                                                  Unliquidated
         Kelton, PA 19346                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 994 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1014 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.665
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,475.00
         Sorana Urdareanu
         20, Soseaua Nordului                                         Contingent
         Sector 1                                                     Unliquidated
         Bucharest B 104130                                           Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.665
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Uresh Desilva                                                Contingent
         400 North Mcclurg Court #3514                                Unliquidated
         Chicago, IL 60611                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $746.00
         Ahsan Usmani                                                 Contingent
         312 Touchdown Dr                                             Unliquidated
         Irving, TX 75063                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.666
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.45
         Uvis Slakteris                                               Contingent
         Kareivju Street 3-32                                         Unliquidated
         Bauska, Bauskas Novads LV-3901                               Disputed
         LATVIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.666
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $897.95
         Uwe Dietzel                                                  Contingent
         Steinlein 38                                                 Unliquidated
         Wurzburg 97078                                               Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.666
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $747.63
         Uwe Kleinschmidt                                             Contingent
         2671 Painted Cave Road                                       Unliquidated
         Santa Barbara, CA 93105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 995 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1015 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.666
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Uyi-Oghosa Okunbor                                           Contingent
         83 Grange Park Road                                          Unliquidated
         Thornton Heath ENG CR7 8QF                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.666
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $872.94
         Vaclav Dvorak                                                Contingent
         Pod Visnovkou 5                                              Unliquidated
         Praha 4 140 00                                               Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.666
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Vahan Melikyan                                               Contingent
         12846 Woodley Ave                                            Unliquidated
         Granda Hills, CA 91344                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.666
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Vahe Mardigian                                               Contingent
         13462 Lochrin Ln                                             Unliquidated
         Sylmar, CA 91342-1848                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.666
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,284.23
         Vahid Majoni                                                 Contingent
         Kransbindarvagen 10                                          Unliquidated
         Hagersten 126 36                                             Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.666
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.33
         Vaida Maksims
         31 Kemsley Crescent, Milton Keynes, Milt                     Contingent
         Milton Keynes                                                Unliquidated
         Milton Keynes ENG MK10 9LZ                                   Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 996 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1016 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.666
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,660.87
         Vaidotas Bertasius                                           Contingent
         Taurages G. 13, Erzvilkas                                    Unliquidated
         Jurbarko Raj. Lithuania 74280                                Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.667
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.06
         Val-Michael Kowalewich                                       Contingent
         10713 125 Street Nw                                          Unliquidated
         Edmonton AB T5M 0L3                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.667
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $932.22
         Zenaida Valencia                                             Contingent
         1105 58th Avenue                                             Unliquidated
         Oakland, CA 94621                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,745.87
         Valentin Bogdanovic
         Justiniskiu 67-1                                             Contingent
         67-1                                                         Unliquidated
         Vilnius LT-05100                                             Disputed
         LITHUANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.667
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $572.65
         Valentina Vallo                                              Contingent
         Via Villabella 12                                            Unliquidated
         Caorsa VR 37010                                              Disputed
         ITALY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.667
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Valentine Zavgorodnev                                        Contingent
         1351 SW 4th Ave                                              Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 997 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1017 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.667
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,747.19
         Lizzett Vallejo                                              Contingent
         5016 Stanton Avenue                                          Unliquidated
         Pittsburgh, PA 15201                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,051.69
         Lizzett Vallejo                                              Contingent
         5016 Stanton Avenue                                          Unliquidated
         Pittsburgh, PA 15201                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,356.19
         Lizzett Vallejo                                              Contingent
         5016 Stanton Ave.                                            Unliquidated
         Pittsburgh, PA 15201                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,878.69
         Lizzett Vallejo                                              Contingent
         5016 Stanton Ave.                                            Unliquidated
         Pittsburgh, PA 15201                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,357.36
         Valliappan Ramanathan                                        Contingent
         7265 Sheffield Ln                                            Unliquidated
         Dublin, CA 94568                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $734.67
         Valone Brown                                                 Contingent
         9 Marcia Lane                                                Unliquidated
         Pomona, NY 10970                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $428.81
         Sjuli Senn van Basel Wag                                     Contingent
         4271 Desert Highlands Dr                                     Unliquidated
         Sparks, NV 89436                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 998 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1018 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.668
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Bruce Van Buren                                              Contingent
         5270 Manhasset Cv                                            Unliquidated
         Atlanta, GA 30338                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $458.89
         Tim Van Cleave                                               Contingent
         5400 E Hinsdale Pl                                           Unliquidated
         Centennial, CO 80122                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,709.52
         Gunnar Van der Steur                                         Contingent
         1236 Town Point Rd                                           Unliquidated
         Chesapeake City, MD 21915                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jeremiah Van Orden                                           Contingent
         1415 Grackle Ct                                              Unliquidated
         Hanahan, SC 29410                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $664.64
         Van Pek                                                      Contingent
         401 Stone Hollow Lane                                        Unliquidated
         Bowling Green, KY 42101                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,497.32
         Van Vuong                                                    Contingent
         2462 Agostino Drive                                          Unliquidated
         Rowland Heights, CA 91748                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Vance Wilson                                                 Contingent
         152 Renola Dr                                                Unliquidated
         Archdale, NC 27263                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 999 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1019 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.668
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Vance Wilson                                                 Contingent
         152 Renola Dr                                                Unliquidated
         Archdale, NC 27263                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.12
         Vanderson Pereira                                            Contingent
         7523 Brous Av                                                Unliquidated
         Philadelphia, PA 19152                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $74.52
         Vanderson Pereira                                            Contingent
         7523 Brous Av                                                Unliquidated
         Philadelphia, PA 19152                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.32
         Vanessa Garrett                                              Contingent
         2757 W. Oldfield St                                          Unliquidated
         Lancaster, CA 93536                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $735.22
         Vanessa Lee                                                  Contingent
         207 South 1st Street                                         Unliquidated
         Apt 2A                                                       Disputed
         Brooklyn, NY 11211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.669
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.01
         Vanessa Wojcik                                               Contingent
         464 Cherry Lane Rd                                           Unliquidated
         E Stroudsburg, PA 18301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.28
         Varnel Noel                                                  Contingent
         139 North 9th Street                                         Unliquidated
         Philadelphia, PA 19107                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1000 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1020 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.669
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Varun Agarwal                                                Contingent
         1 Sterling Circuit #1201                                     Unliquidated
         Camperdown NSW 2050                                          Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.669
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $753.50
         Vasile Dascaleanu                                            Contingent
         Bld. Alexandru Vlahuta Nr. 61 Bl. 140, #                     Unliquidated
         Brasov BV 500398                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.669
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $124.00
         Vasile Dascaleanu                                            Contingent
         Bld. Alexandru Vlahuta Nr. 61 Bl. 140, #                     Unliquidated
         Brasov BV 500398                                             Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.669
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,993.15
         Vasile Gurau
         Calle Paseo Cornisa, 32E, Edificio Mi Su                     Contingent
         Piso 2I                                                      Unliquidated
         Costa Del Silencio TF 38630                                  Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.670
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,040.79
         Vasileios Alexis                                             Contingent
         Baumackerstrasse 49                                          Unliquidated
         Zurich 8050                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.670
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,087.64
         Vasileios Cheropoulos                                        Contingent
         Quergasse 13                                                 Unliquidated
         Cottbus 3055                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1001 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1021 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.670
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $505.99
         Vasilescu Florin                                             Contingent
         Calea Torontalului Nr.6 Ap.3                                 Unliquidated
         Timi Oara TM 300628                                          Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.670
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.14
         Vasista Raju Kurapati                                        Contingent
         120 West Cityline Drive, #3015                               Unliquidated
         Richardson, TX 75082                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Vasyl Lysohor                                                Contingent
         208 Flax Hill Road #9                                        Unliquidated
         Norwalk, CT 06854                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Vasyl Sidelnikov                                             Contingent
         3618 Jefferson Commons Dr                                    Unliquidated
         302C                                                         Disputed
         Tampa, FL 33613
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.670
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $63.79
         Cheri Vaughn Reno                                            Contingent
         1050 Nathalie Fay                                            Unliquidated
         Ofallon, IL 62269                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $683.91
         Cheri Vaughn Reno                                            Contingent
         1050 Nathalie Fay                                            Unliquidated
         Ofallon, IL 62269                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.07
         Vay Lien Chang                                               Contingent
         Fassbindstrasse 10                                           Unliquidated
         Rheinfelden 4310                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1002 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1022 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.670
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $721.50
         Vedat Ozan Azkan                                             Contingent
         1461 Longitude Dr                                            Unliquidated
         Richmond, CA 94804                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Veenit Malik                                                 Contingent
         230 Rue Ernest                                               Unliquidated
         Ddo QC H9A 3G7                                               Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.671
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.56
         VELS INC                                                     Contingent
         1647 S Cicero Ave                                            Unliquidated
         License Plates Service Store                                 Disputed
         Cicero, IL 60804
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.671
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Venerando Yap                                                Contingent
         3530 Bainbridge Avenue                                       Unliquidated
         Apt 7F                                                       Disputed
         Bronx, NY 10467
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.671
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.91
         Venkat Vedam                                                 Contingent
         14 George Rd                                                 Unliquidated
         Winchester, MA 01890                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $652.28
         Venkata Kishore Vemuri                                       Contingent
         36305 Grand River Ave                                        Unliquidated
         Apt 104                                                      Disputed
         Farmington, MI 48335
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1003 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1023 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.671
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $766.90
         Venkata Patchamatla
         Flat 4                                                       Contingent
         36 Diamond Drive                                             Unliquidated
         Didcot ENG OX11 6HD                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.671
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Alexei Verdi                                                 Contingent
         86 Main St. Unit 1                                           Unliquidated
         Raymond, NH 03077-2349                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.48
         Vernalene Balmania                                           Contingent
         9590 Gurney Court                                            Unliquidated
         Elk Grove, CA 95758                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $917.95
         Vic Danh                                                     Contingent
         4 W 14th Street                                              Unliquidated
         Unit 302                                                     Disputed
         Cincinnati, OH 45202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.671
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $728.21
         Vicente Robinson                                             Contingent
         14207 Rolling Stream Pl                                      Unliquidated
         Eastvale, CA 92880                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.672
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,040.27
         Victor Ansell                                                Contingent
         Grabenackerstrasse 44                                        Unliquidated
         Steinhausen 6312                                             Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1004 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1024 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.672
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,030.56
         Victor Barbulescu                                            Contingent
         Karl-Marx-Allee 16                                           Unliquidated
         Berlin 10178                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.45
         Victor Calderon
         Av. Independencia #1614                                      Contingent
         Centro                                                       Unliquidated
         Oaxaca De Juarez OAX 68000                                   Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $461.75
         Victor Capetillo                                             Contingent
         852 N. Palm Ave.                                             Unliquidated
         Unit A                                                       Disputed
         Upland, CA 91786
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $893.55
         Victor Cubillos
         Calle 11 # 3-25                                              Contingent
         Apartamento                                                  Unliquidated
         Fusagasuga CUN 252211                                        Disputed
         COLOMBIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $870.77
         Victor deCagny                                               Contingent
         18, Rue Boissiere                                            Unliquidated
         Paris 75116                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.26
         Victor Huynh                                                 Contingent
         932 Faris Dr                                                 Unliquidated
         San Jose, CA 95111-1517                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1005 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1025 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.672
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $783.79
         Victor Manuel Mendoza Alvarez                                Contingent
         El Colomo, Colima Francisco I Madero # 1                     Unliquidated
         Manzanillo COL 28800                                         Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.672
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.28
         Victor Navarro                                               Contingent
         3124 Tulip St                                                Unliquidated
         Philadelphia, PA 19134                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.672
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Victor Quezada                                               Contingent
         6624 Bonsallo Avenue                                         Unliquidated
         Los Angeles, CA 90044                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.673
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,712.41
         Victor Reyes                                                 Contingent
         Tegvagen 1                                                   Unliquidated
         Jarfalla 17553                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $409.47
         Victor Tagle                                                 Contingent
         6768 Cavacade Drive                                          Unliquidated
         Apt C                                                        Disputed
         Tampa, FL 33614
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,386.17
         Victoria Wan                                                 Contingent
         505-621 Regan Avenue                                         Unliquidated
         Coquitlam BC V3J 0K1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $507.48
         Vida Sargelyte                                               Contingent
         104 Paragon Place                                            Unliquidated
         Norwich ENG NR2 4BP                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1006 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1026 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.673
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $917.12
         Vidmantas Rapsys                                             Contingent
         5S439 Columbia Street                                        Unliquidated
         Naperville, IL 60563                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.673
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $511.66
         Viesturs Silins Silins                                       Contingent
         3 Mount Milner                                               Unliquidated
         Mansfield ENG NG18 2JQ                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Vijay Talla                                                  Contingent
         105 Latitude Lane                                            Unliquidated
         Austin, TX 78717                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.673
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Vijitharan Velautham                                         Contingent
         6921 Cardinal Wynd Sw                                        Unliquidated
         Edmonton AB T6W2Y3                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Vikkie Patel                                                 Contingent
         823 West Fletcher Avenue                                     Unliquidated
         Orange, CA 92865                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.673
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $800.40
         Viktor Burdyey                                               Contingent
         802 Modena Dr                                                Unliquidated
         Cary, NC 27513                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1007 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1027 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.674
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,558.27
         Viktor Szathmary
         Tolgyfa Utca 24                                              Contingent
         Decent Labs Kft.                                             Unliquidated
         Budapest 1027                                                Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.674
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $740.98
         Viktoras Kovaliovas                                          Contingent
         14 Plantsman Close                                           Unliquidated
         Norwich ENG NR2 2NH                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.674
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Viktoria Martin                                              Contingent
         11450 129th Avenue North                                     Unliquidated
         Largo, FL 33778                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,692.87
         Vicente Teran Villalobos                                     Contingent
         21742 N 37th St                                              Unliquidated
         Phoenix, AZ 85050                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Jaqueline Villalpa Arroyo                                    Contingent
         1349 Eldridge Road                                           Unliquidated
         Forrest City, AR 72335                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Vinay Bachireddy                                             Contingent
         215 Avondale St                                              Unliquidated
         Houston, TX 77006                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1008 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1028 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.674
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $685.11
         Vince Mikhail
         71 Camlaren Crescent                                         Contingent
         Unit 4                                                       Unliquidated
         Vaughan ON L0J 1C0                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.674
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $939.03
         Vince Pasztor                                                Contingent
         Koztelek U. 9, 1/1                                           Unliquidated
         Gyar 9025                                                    Disputed
         HUNGARY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.674
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.63
         Vincent Arellano                                             Contingent
         364 N Whisman Rd                                             Unliquidated
         Unit B                                                       Disputed
         Mountain View, CA 94043
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.674
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,139.23
         Vincent De Vos                                               Contingent
         Vinkenhofje 5                                                Unliquidated
         Eindhoven 5613 CN                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.675
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $472.27
         Vincent Dip                                                  Contingent
         145 N Orange Ave                                             Unliquidated
         Azusa, CA 91702                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.675
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Vincent Eyzendooren                                          Contingent
         2283 Wendy Way                                               Unliquidated
         Upland, CA 91784                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1009 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1029 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.675
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,219.52
         Vincent Marble                                               Contingent
         3701 Dorothy Lane                                            Unliquidated
         Waterford, MI 48329                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.675
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.35
         Vincent Ng                                                   Contingent
         1-4088 East Hastings Street                                  Unliquidated
         Burnaby BC V5C2H9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.675
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,058.12
         Vincent Nguyen                                               Contingent
         10971 S. Oceano Dune Ct.                                     Unliquidated
         South Jordan, UT 84009                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.675
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,479.95
         Vincent Quadrelli
         137 Avenue De Saint Ouen                                     Contingent
         4E Gauche 0391 Et 9103                                       Unliquidated
         Paris 75017                                                  Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.675
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $119.00
         Vincent Rampelbergs                                          Contingent
         Rue D'Anderlues #143                                         Unliquidated
         Lobbes 6540                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.675
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,387.26
         Vincent Rampelbergs                                          Contingent
         Rue Danderlues 143                                           Unliquidated
         Lobbes 6540                                                  Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1010 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1030 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.675
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Vincent Sauceda                                              Contingent
         787 Ashley Street                                            Unliquidated
         Hemet, CA 92545                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.675
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $688.91
         Vincent Tjie                                                 Contingent
         1635 Huntington Dr                                           Unliquidated
         Duarte, CA 91010                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.45
         Vincent Tran                                                 Contingent
         6549 Sequoia Drive                                           Unliquidated
         Buena Park, CA 90620                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Vinny Dinnocenzo                                             Contingent
         312 Lancaster Street                                         Unliquidated
         Apt 1                                                        Disputed
         Leominster, MA 01453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Vinzenz Steinbrenner                                         Contingent
         7613 Starshell Point Ct                                      Unliquidated
         Las Vegas, NV 89139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,323.51
         Viran Patel                                                  Contingent
         1625 Wingfield Drive                                         Unliquidated
         Birmingham, AL 35242                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Viresh Asokan                                                Contingent
         406 Sultan St                                                Unliquidated
         Orleans ON K4A 0K1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1011 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1031 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.676
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $698.79
         Virgilio Nunez Vega
         Golfo De Finlandia 42, Colonia: Lomas Li                     Contingent
         Atizapan De Zaragoza                                         Unliquidated
         Mexico MEX 52947                                             Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $178.57
         Vitaliy Pindyura                                             Contingent
         307-2425 West 4th Avenue                                     Unliquidated
         Vancouver BC V6K 1P4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Vitaliy Pindyura                                             Contingent
         307-2425 West 4th Avenue                                     Unliquidated
         Vancouver BC V6K 1P4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.96
         Vito Caloia                                                  Contingent
         3189 Olive Drive                                             Unliquidated
         Baldwinsville, NY 13027                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $768.88
         Vito Catalani
         Herengracht 449A                                             Contingent
         Conspiracy Ideas                                             Unliquidated
         Amsterdam 1017 BR                                            Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.20
         Vivek Kari Raju                                              Contingent
         3705 Wyewood Rd                                              Unliquidated
         Mississauga ON L4T2A3                                        Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1012 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1032 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.677
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,476.75
         Vivienne Vu                                                  Contingent
         Flat B, 312 Camberwell New Road                              Unliquidated
         London ENG SE5 0RW                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $848.00
         Vlad Farkas
         Str. Dacilor, Nr.1                                           Contingent
         Bl. G, Et.2, Ap. 11                                          Unliquidated
         Giroc TM 307220                                              Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Vladimir Feldman                                             Contingent
         1005 Montpelier Dr                                           Unliquidated
         Greensboro, NC 27410                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.677
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,864.13
         Vladimir Koev
         5th Borovets Str. Ap.15                                      Contingent
         Strelbishte                                                  Unliquidated
         Sofia 1408                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $673.58
         Vladimir Kostek                                              Contingent
         250 Commonwealth Avenue                                      Unliquidated
         Apt 16                                                       Disputed
         Boston, MA 02116
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $752.74
         Vladimir Lenchitsky                                          Contingent
         17761 North 77th Way                                         Unliquidated
         Scottsdale, AZ 85255                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1013 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1033 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.677
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Vladimir Malkin                                              Contingent
         776 Linda Avenue                                             Unliquidated
         Thornwood, NY 10594                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.677
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $959.92
         Vladimir Stamboliev
         Antim Pyrvi 11                                               Contingent
         Etazh 2, Staya 204                                           Unliquidated
         Sofia 1303                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.677
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $800.94
         Vladimir Stamboliev
         Antim Pyrvi 11                                               Contingent
         Etazh 2, Staya 204                                           Unliquidated
         Sofia 1303                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.678
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $916.45
         Vladimir Tarasenko                                           Contingent
         Am Filmlager 4                                               Unliquidated
         Berlin 12555                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.678
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.13
         Vladimir Tassy                                               Contingent
         10345 Western Avenue Apt 42                                  Unliquidated
         Downey, CA 90241                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,050.61
         Vladyslav Rea                                                Contingent
         Rosenweg 20                                                  Unliquidated
         Wolfsburg 38446                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1014 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1034 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.678
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,460.26
         Voltaire Bermudo                                             Contingent
         442 Andre Avenue                                             Unliquidated
         Northvale, NJ 07647                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $703.64
         Vu Nguyen                                                    Contingent
         8228 Homefield Way                                           Unliquidated
         Sacramento, CA 95828                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,339.52
         Vu Nguyen                                                    Contingent
         1843 Spivey Village Cir                                      Unliquidated
         Jonesboro, GA 30236                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $754.00
         Wahab Awaiz                                                  Contingent
         654 A Kingsbury Road                                         Unliquidated
         London ENG NW9 9HN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.678
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $231.00
         Mhmoud Abdul Wahed                                           Contingent
         4426 Alan Dr                                                 Unliquidated
         Apt D                                                        Disputed
         Baltimore, MD 21229
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.678
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.74
         Wail Aldipsi                                                 Contingent
         626 Flatbush Avenue                                          Unliquidated
         9K                                                           Disputed
         Brooklyn, NY 11225
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.678
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,079.82
         Walaa Yassin                                                 Contingent
         104 Pitfield Way                                             Unliquidated
         London ENG NW10 0UA                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1015 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1035 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.679
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,499.16
         Walaa Yassin                                                 Contingent
         787 High Road                                                Unliquidated
         London ENG N12 8JT                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $868.07
         Waldemar Langolf                                             Contingent
         Infanterieweg 68C                                            Unliquidated
         Paderborn 33104                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $950.48
         Waleed Ibrahim Arr                                           Contingent
         13 Dekker House                                              Unliquidated
         London ENG SE57QR                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $709.25
         Wallen Blackman                                              Contingent
         3447 Alexandra Avenue                                        Unliquidated
         Spring Valley, CA 91977                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $686.08
         Wally Kramer                                                 Contingent
         7113 Kentucky Dr                                             Unliquidated
         Vancouver, WA 98664                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.47
         Walter Burke                                                 Contingent
         100 Shoal Rd                                                 Unliquidated
         Unit 302                                                     Disputed
         Toms River, NJ 08755
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Walter Church                                                Contingent
         4548 Crystal Brook Way                                       Unliquidated
         Jacksonville, FL 32224                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1016 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1036 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.679
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $674.23
         Walter Delorrell                                             Contingent
         11320 Village Ridge Road                                     Unliquidated
         San Diego, CA 92131                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Wan Hoi Cheung
         1007 Boul Saint-Laurent                                      Contingent
         #A                                                           Unliquidated
         Montreal QC H2Z1J4                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.679
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Warren Chen                                                  Contingent
         1178 Haffley Crescent #903                                   Unliquidated
         Coquitlam BC V3B0A7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,408.87
         Warren Scheibe                                               Contingent
         P.O. Box 826                                                 Unliquidated
         Twin Peaks, CA 92391                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.680
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         Waseedullah Obaid                                            Contingent
         4 Barlow Road                                                Unliquidated
         Scarborough ON M1G 2B4                                       Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $717.35
         Wassim Zidi
         190 Rue Murray, Apt 707                                      Contingent
         Montreal                                                     Unliquidated
         Montreal QC H3C 2C7                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1017 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1037 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.680
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $707.48
         Wayne Burke                                                  Contingent
         26 Hampton Pl                                                Unliquidated
         Paradise NL A1L 0Y4                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $732.03
         Wayne Marques                                                Contingent
         233 Leonard St                                               Unliquidated
         Acushnet, MA 02743                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.680
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,473.52
         Wayne Muse                                                   Contingent
         34 Lessay                                                    Unliquidated
         Newport Coast, CA 92657                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.680
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Wayne Rong                                                   Contingent
         251 Alfred Paterson Dr.                                      Unliquidated
         Markham ON L6E 2G1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.04
         Wayne Slater                                                 Contingent
         1837 Adonis Avenue                                           Unliquidated
         Henderson, NV 89074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.680
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $832.46
         Wayne Tolmie                                                 Contingent
         77 Birchdale Lurgan                                          Unliquidated
         Craigavon NIR BT66 7TP                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.06
         Wei Qiang Peng                                               Contingent
         1489 Dayton Street                                           Unliquidated
         Coquitlam BC V3E 0E6                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1018 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1038 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.681
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,396.28
         Weisien Yu                                                   Contingent
         5 Cressida Drive                                             Unliquidated
         Old Bridge, NJ 08857                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,437.75
         Weitao Wang                                                  Contingent
         40 Woodgreen Dr                                              Unliquidated
         Pittsford, NY 14534                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.14
         Weldon Bollinger                                             Contingent
         P.O. Box 117                                                 Unliquidated
         Cedar Park, TX 78630-0117                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.14
         Weldon Bollinger                                             Contingent
         P.O. Box 117                                                 Unliquidated
         Cedar Park, TX 78630-0117                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Jacob Welther Burchett                                       Contingent
         421 Stonefield Circle                                        Unliquidated
         Moncks Corner, SC 29461                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Wendell Baptiste                                             Contingent
         220 Marshall Road Apt. C14                                   Unliquidated
         Monaca, PA 15061                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         Wendell Baptiste                                             Contingent
         220 Marshall Road Apt. C14                                   Unliquidated
         Monaca, PA 15061                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1019 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1039 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.681
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Wendell McKee                                                Contingent
         915 N Fox Meadow Terrace                                     Unliquidated
         Crystal River, FL 34429                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Wendell McKee                                                Contingent
         915 N Fox Meadow Terrace                                     Unliquidated
         Crystal River, FL 34429                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $823.14
         Wendpanga Compaore                                           Contingent
         234 Tennal Road                                              Unliquidated
         Birmingham ENG B322HJ                                        Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.682
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         Wendy Behrend                                                Contingent
         8856 West McNab Road                                         Unliquidated
         Building 11 Apt 305                                          Disputed
         Tamarac, FL 33321
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.682
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Wendy Lewis                                                  Contingent
         299 Pecan Street                                             Unliquidated
         Pierson, FL 32180                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.25
         Anthony Wentzel                                              Contingent
         11036 Moorpark Street, Ph 26                                 Unliquidated
         Los Angeles, CA 91602                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Wes Davis                                                    Contingent
         101 Edgewood Blvd                                            Unliquidated
         Birmingham, AL 35242                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1020 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1040 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.682
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $658.87
         Wes Shaffer                                                  Contingent
         8401 E Indian School Rd                                      Unliquidated
         Scottsdale, AZ 85251                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Wesley Fouts                                                 Contingent
         1094 Hunt Road                                               Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,359.52
         Wesley Fouts                                                 Contingent
         1094 Hunt Road                                               Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.52
         Wesley Fouts                                                 Contingent
         1094 Hunt Road                                               Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Wesley Fouts                                                 Contingent
         1094 Hunt Road                                               Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Wesley Fouts                                                 Contingent
         1094 Hunt Road                                               Unliquidated
         Lexington, NC 27292                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         Wesley Park                                                  Contingent
         708 Curtis Ct                                                Unliquidated
         Nashville, TN 37207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1021 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1041 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.683
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.82
         Wesley Shinault                                              Contingent
         113 Snowdrift Trl                                            Unliquidated
         Round Rock, TX 78664                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Wesley Sledge                                                Contingent
         7317 Cedar Court                                             Unliquidated
         Colleyville, TX 76034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $725.48
         Wesley Takes                                                 Contingent
         429 Darlington Avenue                                        Unliquidated
         Apt 307                                                      Disputed
         Wilmington, NC 28403
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.683
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,725.00
         Whatfontis Com Srl
         Strada Podarului 11B                                         Contingent
         Ro38747080                                                   Unliquidated
         Bucharest B 41653                                            Disputed
         ROMANIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.683
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $833.40
         Whine Del Rosario                                            Contingent
         14858 3/4 Dickens Street                                     Unliquidated
         Sherman Oaks, CA 91403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,573.12
         Whine Del Rosario                                            Contingent
         14858 3/4 Dickens Street                                     Unliquidated
         Sherman Oaks, CA 91403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $806.01
         Whine Del Rosario                                            Contingent
         14858 3/4 Dickens Street                                     Unliquidated
         Sherman Oaks, CA 91403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1022 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1042 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.683
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,186.83
         Jerry White                                                  Contingent
         450 Regency Ctr                                              Unliquidated
         Collinsville, IL 62234                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,680.45
         Wierd De Boer                                                Contingent
         Bregeleane 22                                                Unliquidated
         Stiens 9051 PM                                               Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $568.96
         Wilfinger Mario                                              Contingent
         Pfrundeweg 4                                                 Unliquidated
         Weiler 6837                                                  Disputed
         AUSTRIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.56
         Aaron Wilkinson                                              Contingent
         4212 E Los Angeles, #3831                                    Unliquidated
         Simi Valley, CA 93063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.684
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,190.54
         Wilko Kraft                                                  Contingent
         Mozartstrasse 16                                             Unliquidated
         Mauer 69256                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,323.18
         Wilko Kraft                                                  Contingent
         Mozartstrasse 16                                             Unliquidated
         Mauer 69256                                                  Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1023 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1043 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.684
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,104.84
         Wilko Van Beusekom                                           Contingent
         Boveneind Zuidzijde 35                                       Unliquidated
         Benschop 3405AN                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Will Brooks                                                  Contingent
         420 S River Rd.                                              Unliquidated
         Apt 4                                                        Disputed
         West Bend, WI 53095
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,348.90
         William Ayers                                                Contingent
         403 Pebble Beach Drive                                       Unliquidated
         Harrison, AR 72601                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.684
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $741.06
         William Barnes
         Flat 1                                                       Contingent
         8-9 Hanover Crescent                                         Unliquidated
         Brighton ENG BN2 9SB                                         Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,490.38
         William Beck                                                 Contingent
         656 SW Little Tree Cir                                       Unliquidated
         Port Orchard, WA 98367                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.684
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         William Blanchard                                            Contingent
         3517 Katherine Way                                           Unliquidated
         Frederick, MD 21704                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1024 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1044 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.685
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $702.81
         William Breedon                                              Contingent
         4750 North Central Avenue                                    Unliquidated
         6C                                                           Disputed
         Phoenix, AZ 85012
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.685
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,004.94
         William Carpenter                                            Contingent
         5580 La Jolla Blvd.                                          Unliquidated
         #413                                                         Disputed
         La Jolla, CA 92037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.685
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.42
         William Chadwick
         Flat 1,                                                      Contingent
         100 Clapham Common Southside                                 Unliquidated
         London ENG SW4 9DN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.685
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $785.38
         William Chadwick
         Flat 1,                                                      Contingent
         100 Clapham Common Southside                                 Unliquidated
         London ENG SW4 9DN                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.685
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,459.96
         William Chalko                                               Contingent
         4021 W University Dr                                         Unliquidated
         Suite 200                                                    Disputed
         Mckinney, TX 75071
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.685
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         William Classen                                              Contingent
         9516 NW 80th Court                                           Unliquidated
         Tamarac, FL 33321                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1025 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1045 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.685
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,329.58
         William Cole                                                 Contingent
         848 Southwest Spring Street                                  Unliquidated
         Mill City, OR 97360                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $710.98
         William Cole                                                 Contingent
         1929 Riverside Dr                                            Unliquidated
         Cincinnati, OH 45202                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,655.29
         William Corcuera                                             Contingent
         15044 Wilmington Drive                                       Unliquidated
         Strongsville, OH 44136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         William Dubose                                               Contingent
         3626 Eagle Cove Lane                                         Unliquidated
         Northport, AL 35473                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,452.52
         William Ellis                                                Contingent
         2580 Via Tejon                                               Unliquidated
         Palso Verdes Estates, CA 90274                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $850.87
         William Erickson                                             Contingent
         914 16 1/2 St SE                                             Unliquidated
         Rochester, MN 55904                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         William Garrett                                              Contingent
         11717 Kimbolton Place                                        Unliquidated
         Glen Allen, VA 23059                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1026 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1046 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.686
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         William Gill                                                 Contingent
         6 Laurnic Dr                                                 Unliquidated
         Reisterstown, MD 21136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $764.77
         William Green                                                Contingent
         77 Guilfords                                                 Unliquidated
         Harlow ENG CM17 0HX                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.686
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.33
         William Guan                                                 Contingent
         193 Westlake Ave                                             Unliquidated
         Toronto ON M4C4S6                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.686
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,820.78
         William Hampton                                              Contingent
         5097 S Arrowhead Circle                                      Unliquidated
         Murray, UT 84107                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         William Harris                                               Contingent
         8160 Veterans Parkway                                        Unliquidated
         Apt 1333                                                     Disputed
         Columbus, GA 31909
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.686
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $692.90
         William Haynes                                               Contingent
         5575 Ave Isla Verde                                          Unliquidated
         Apt. 303                                                     Disputed
         Carolina, PR 00979-5621
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.686
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,423.88
         William Horne                                                Contingent
         12 The Square                                                Unliquidated
         Newtongrange SCT EH22 4QD                                    Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1027 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1047 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.687
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $687.50
         William Hyde                                                 Contingent
         1721 East Tumwater Ln                                        Unliquidated
         Eagle Mountain, UT 84005                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,551.44
         William Iovenko                                              Contingent
         12605 Towne Creek Road                                       Unliquidated
         Louisville, KY 40243                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         William Jemison                                              Contingent
         4262 West 59th Street                                        Unliquidated
         Los Angeles, CA 90043                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $930.12
         William Jemison                                              Contingent
         4262 West 59th Street                                        Unliquidated
         Los Angeles, CA 90043                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         William Kievit                                               Contingent
         422 Northern Parkway                                         Unliquidated
         Ridgewood, NJ 07450                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         William Kievit                                               Contingent
         422 Northern Parkway                                         Unliquidated
         Ridgewood, NJ 07450                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.82
         William Kilzer                                               Contingent
         6576 South Poplar Court                                      Unliquidated
         Centennial, CO 80111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1028 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1048 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.687
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $733.46
         William Kilzer                                               Contingent
         6576 South Poplar Court                                      Unliquidated
         Centennial, CO 80111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $627.02
         William Lee                                                  Contingent
         2236 Gallina Circle                                          Unliquidated
         Collierville, TN 38017                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $712.56
         William Leet                                                 Contingent
         245 Hyssop Court                                             Unliquidated
         Henderson, NV 89015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $61.30
         William Matthews                                             Contingent
         850 Vanderbilt Ter SE                                        Unliquidated
         Leesburg, VA 20175                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.78
         William McLachlan                                            Contingent
         4331 Kingswell Ave.                                          Unliquidated
         Los Angeles, CA 90027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,419.27
         William Mendel                                               Contingent
         5000 W 131 Ter                                               Unliquidated
         Leawood, KS 66209                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $259.52
         William Molyneaux                                            Contingent
         15391 Flight Path Drive                                      Unliquidated
         Brooksville, FL 34604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1029 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1049 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.688
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,234.52
         William Molyneaux                                            Contingent
         15391 Flight Path Drive                                      Unliquidated
         Brooksville, FL 34604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         William Morales                                              Contingent
         4250 Lindblade Drive                                         Unliquidated
         Apt 3                                                        Disputed
         Los Angeles, CA 90066
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.688
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.70
         William Nehrenz                                              Contingent
         13615 Madison Avenue                                         Unliquidated
         Lakewood, OH 44107                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $670.92
         William Norchi                                               Contingent
         2 Stowe Street                                               Unliquidated
         Fl 1                                                         Disputed
         Pittsburgh, PA 15205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.688
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,970.83
         William Oliveira                                             Contingent
         6511 NW 87th Ave #Cli246746                                  Unliquidated
         Miami, FL 33178                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.688
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,531.77
         William Pletcher                                             Contingent
         500 Spring Ave.                                              Unliquidated
         Reading, PA 19606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $695.70
         William Polick                                               Contingent
         15936 Avenida Villaha                                        Unliquidated
         Apt 60                                                       Disputed
         San Diego, CA 92128
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1030 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1050 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.689
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.50
         William Price                                                Contingent
         6411 S River Dr                                              Unliquidated
         Unit 55                                                      Disputed
         Tempe, AZ 85283
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.689
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $633.87
         William Price                                                Contingent
         6411 S River Dr                                              Unliquidated
         Unit 55                                                      Disputed
         Tempe, AZ 85283
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.689
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,959.52
         William Reeves                                               Contingent
         7715 Krefeld Glen Dr #516                                    Unliquidated
         Charlotte, NC 28227                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         William Roberts                                              Contingent
         18328 Begonia Dr                                             Unliquidated
         Rockwood, MI 48173                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $915.40
         William Rudy                                                 Contingent
         120 W Schantz Ave                                            Unliquidated
         Oakwood, OH 45409                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,303.18
         William Schneider                                            Contingent
         2237 Doster Drive                                            Unliquidated
         New Smyrna Beach, FL 32168                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $678.43
         William Shaffer                                              Contingent
         947 Golden Crest Ave.                                        Unliquidated
         Newbury Park, CA 91320                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1031 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1051 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.689
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $739.46
         William Smith                                                Contingent
         1442 Baylor Lane                                             Unliquidated
         Jacksonville, FL 32217                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.81
         William Studley                                              Contingent
         1308 S Secretariat Way                                       Unliquidated
         Nampa, ID 83686                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $748.66
         William Sylvester                                            Contingent
         20311 Kiawah Island Drive                                    Unliquidated
         Ashburn, VA 20147                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         William Thurmond                                             Contingent
         6090 Melbourne Ave                                           Unliquidated
         Deale, MD 20751                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $730.89
         William Uzelmeier                                            Contingent
         6079 Creekside Dr                                            Unliquidated
         Flourtown, PA 19031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         William Wheeler                                              Contingent
         805 Corner Square                                            Unliquidated
         Seabrook, TX 77586                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,309.52
         William White                                                Contingent
         2610 Drs Drive                                               Unliquidated
         Richmond, TX 77406-1929                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1032 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1052 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.690
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $705.34
         Lawrence Williams II                                         Contingent
         3608 Brandy Creek Ct.                                        Unliquidated
         North Las Vegas, NV 89032                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $64.28
         Keith Williams Jr                                            Contingent
         474 Martin Street                                            Unliquidated
         Philadelphia, PA 19128                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $116.78
         Anthony L Williams                                           Contingent
         25 Mountain Avenue                                           Unliquidated
         West Orange, NJ 07052                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.62
         Anthony L Williams                                           Contingent
         25 Mountain Avenue                                           Unliquidated
         West Orange, NJ 07052                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.62
         Willie Senn                                                  Contingent
         888 W E St #2004                                             Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Willie Winstead                                              Contingent
         3905 Brokeshire St                                           Unliquidated
         Cary, NC 27519                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $854.39
         Willy Ogenia                                                 Contingent
         Leeuwenborchweide 57                                         Unliquidated
         Helmond 5709 SB                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1033 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1053 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.691
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.15
         Wilmar Mejia                                                 Contingent
         12 Wendell Street #15                                        Unliquidated
         Cambridge, MA 02138                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Wilmer Sanabria                                              Contingent
         910 Saint Andrews Drive                                      Unliquidated
         Augusta, GA 30909                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,158.77
         Wilson Lee                                                   Contingent
         10708/19 Wilson Street                                       Unliquidated
         West End QLD 4101                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.691
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,100.60
         Wim Ter Laak                                                 Contingent
         Kam. Onneslaan 4                                             Unliquidated
         Enschede 7535CS                                              Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.691
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $767.29
         Wing Ng                                                      Contingent
         129 Swingate Lane                                            Unliquidated
         London ENG SE182BZ                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.691
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $744.09
         Adam Winkler                                                 Contingent
         4733 Potter Park Loop                                        Unliquidated
         Missoula, MT 59808                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.52
         Winston Walker                                               Contingent
         6002 Black Willow Drive                                      Unliquidated
         Greensboro, NC 27405                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1034 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1054 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.691
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Winton Forde                                                 Contingent
         268 NE 200th Ter                                             Unliquidated
         Miami, FL 33179                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.692
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $488.40
         Wisam Ali Nour                                               Contingent
         Svarvaregatan 7                                              Unliquidated
         Halmstad 30250                                               Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Wisdom Salami
         390 Dixon Road                                               Contingent
         Apt 1509                                                     Unliquidated
         Etobicoke ON M9R 1T4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,769.97
         Wolfram Hofgen                                               Contingent
         Am Lindenberg 51                                             Unliquidated
         Dresden 1328                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         King Wong Deng                                               Contingent
         6807 Perry Penney Drive                                      Unliquidated
         Annandale, VA 22003                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.692
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,114.52
         Jennifer K Woodside                                          Contingent
         4660 NW 133rd St                                             Unliquidated
         Tripp G                                                      Disputed
         Opa Locka, FL 33054
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1035 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1055 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.692
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,409.62
         Woody Somvichai                                              Contingent
         510 Upas Street                                              Unliquidated
         #2                                                           Disputed
         San Diego, CA 92103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.55
         Work Loughnane                                               Contingent
         2 South Greenwood Avenue 014                                 Unliquidated
         Park Ridge, IL 60068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.692
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,457.61
         Wouter Kloosters                                             Contingent
         Fijnjekade 304                                               Unliquidated
         Den Haag 2521 DV                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,673.42
         Wouter Siewers                                               Contingent
         Rietkamp 81                                                  Unliquidated
         Vianen Ut 4133CS                                             Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.692
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $873.70
         Wouter Smaardijk                                             Contingent
         Groene Hil 38                                                Unliquidated
         Breda 4822 RS                                                Disputed
         NETHERLANDS
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Wyett Sampson                                                Contingent
         75 North Hill Drive West Carriere Ms                         Unliquidated
         Carriere, MS 39426                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1036 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1056 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.693
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,212.31
         Xanthos Vlasidis
         Perikleous 64                                                Contingent
         Apartment                                                    Unliquidated
         Orestiada 68200                                              Disputed
         GREECE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,280.99
         Xavier Orante                                                Contingent
         7488 E. Ramona Way                                           Unliquidated
         Fresno, CA 93737                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.693
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Xavion Walls                                                 Contingent
         3724 Berry Drive                                             Unliquidated
         Los Angeles, CA 91604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.693
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Xiao Zhao                                                    Contingent
         101 Rue Du Tournoi                                           Unliquidated
         Gatineau QC J9J 3V5                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.06
         Xiaoshu Tang                                                 Contingent
         7538 Tyndale Crescent                                        Unliquidated
         Burnaby BC V5A 4K1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,369.03
         Xinyu Chen
         7 Geddes Terrace                                             Contingent
         Avondale                                                     Unliquidated
         Auckland AUK 1026                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1037 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1057 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.693
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $169.45
         Xinyu Chen
         7 Geddes Terrace                                             Contingent
         Avondale                                                     Unliquidated
         Auckland AUK 1026                                            Disputed
         NEW ZEALAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $837.64
         Yaarub Aloudat                                               Contingent
         Hauptstrasse 66                                              Unliquidated
         Ihlienworth 21775                                            Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.693
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,483.29
         Alpaslan Yagcioglu                                           Contingent
         487 East Boylston Street,                                    Unliquidated
         Newton Center, MA 02459                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.694
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $409.47
         Yamik Aleman                                                 Contingent
         1360 West 41st Street #203                                   Unliquidated
         Hialeah, FL 33012                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.694
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $172.87
         David Yang                                                   Contingent
         5085 Elkhart St                                              Unliquidated
         Denver, CO 80239                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.694
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.92
         David Yang                                                   Contingent
         5085 Elkhart St                                              Unliquidated
         Denver, CO 80239                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1038 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1058 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.694
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,620.07
         Yann Ebel                                                    Contingent
         Elisabethenstrasse 46                                        Unliquidated
         Stuttgart 70197                                              Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Yanni Chabot-Valin
         5865                                                         Contingent
         Villeneuve                                                   Unliquidated
         Sainte-Catherine QC J5C 1J6                                  Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,064.04
         Yannick Amberg                                               Contingent
         Felsenrainstrasse 83                                         Unliquidated
         Zurich 8052                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Yannick Kwan                                                 Contingent
         1841 N California Ave                                        Unliquidated
         3D                                                           Disputed
         Chicago, IL 60647
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $724.37
         Yansong Gao                                                  Contingent
         550 Uptown Court                                             Unliquidated
         Apt 507                                                      Disputed
         Kirkland, WA 98033
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $827.89
         Yaroslav Shchubelka                                          Contingent
         Pavlivska, 18 #17                                            Unliquidated
         Kyiv 1054                                                    Disputed
         UKRAINE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1039 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1059 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.694
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $675.93
         Yascha Savoie                                                Contingent
         246 Blvd Louis-XIV                                           Unliquidated
         Quebec QC G2K 1W7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $896.18
         Yasen Maksimov
         Lozenec, Tsvetna Gradina Str., No.47-51                      Contingent
         5th Floor, Apertment 15                                      Unliquidated
         Sofia 1421                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $900.26
         Yasin Argac                                                  Contingent
         Am Kortlander 3                                              Unliquidated
         Bochum 44787                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.22
         Yasmin Boukhari                                              Contingent
         3 Cygnet Avenue                                              Unliquidated
         London ENG TW14 0DZ                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $22.99
         Yasmina Sanz
         Passatge De Llu S Pellicer 19                                Contingent
         Local 1                                                      Unliquidated
         Barcelona B 8036                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $22.99
         Yasmina Sanz
         Passatge De Llu S Pellicer 19                                Contingent
         Local 1                                                      Unliquidated
         Barcelona B 8036                                             Disputed
         SPAIN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1040 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1060 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.695
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.14
         Yasser Syed                                                  Contingent
         17337 Borromeo Ave                                           Unliquidated
         Pflugerville, TX 78660                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.695
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Yasser Syed                                                  Contingent
         17337 Borromeo Ave                                           Unliquidated
         Pflugerville, TX 78660                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.695
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $953.12
         Yassin Ouider                                                Contingent
         14 Avenue De Leurope                                         Unliquidated
         Montevrain 77144                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $814.39
         Yassin Ouider
         14 Avenue De Leurope                                         Contingent
         Mixauto                                                      Unliquidated
         Montevrain 77144                                             Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.695
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $951.89
         Yau Ken Huynh                                                Contingent
         12 Hove Close                                                Unliquidated
         Grays ENG RM17 6PD                                           Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.11
         Yazan Kawar                                                  Contingent
         44 Hobart Avenue                                             Unliquidated
         Unit D                                                       Disputed
         San Mateo, CA 94402
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1041 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1061 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.696
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.12
         Yen Huang                                                    Contingent
         734 Canary Wharf Drive                                       Unliquidated
         Las Vegas, NV 89178                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.696
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,326.74
         Yennedit Garcia
         Circuito Bilbao #3                                           Contingent
         Fracc. Lomas Del Sol                                         Unliquidated
         Municipio De Alvarado VER 95264                              Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $706.72
         Yevgeniy Azimov                                              Contingent
         584 Walpole Crescent                                         Unliquidated
         Newmarket ON L3X 2B4                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Yi Tian                                                      Contingent
         6125 Canada Way                                              Unliquidated
         Burnaby BC V5E 3P1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $757.60
         Yichen Zhang                                                 Contingent
         1691 156A Street                                             Unliquidated
         Surrey BC V4A 4V9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $510.64
         Yijun Yu                                                     Contingent
         8 Venetian Court, Wavendon Gate                              Unliquidated
         Milton Keynes ENG MK77ST                                     Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1042 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1062 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.696
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.21
         Yohan Fournel                                                Contingent
         9977 Rue Saint-Maurice #14                                   Unliquidated
         Quebec QC G2B 3J9                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.696
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $756.52
         Yolfer Carvajkal                                             Contingent
         721 6th Street #10                                           Unliquidated
         Union City, NJ 07087                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.696
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,559.52
         Yolisel Reyes
         La Colmena Ph Pacific Coast                                  Contingent
         20B                                                          Unliquidated
         Panama PA-8                                                  Disputed
         PANAMA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,138.32
         Yordan Dinev
         Business Park Varna Building B1                              Contingent
         Building B1 3rd Floor It Yordan Dinev                        Unliquidated
         Varna 9009                                                   Disputed
         BULGARIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $804.98
         Yosbel Sanjudo                                               Contingent
         8923 La Manga Ave                                            Unliquidated
         Las Vegas, NV 89147                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.697
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $459.04
         Youngkeun Cha                                                Contingent
         100 Old Palisade Rd                                          Unliquidated
         Apt 1115                                                     Disputed
         Fort Lee, NJ 07024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1043 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1063 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.697
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $931.72
         Yousif Khair                                                 Contingent
         Stiglenstrasse 40                                            Unliquidated
         Zurich 8052                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Ameer Youssef                                                Contingent
         72 Barrow Street                                             Unliquidated
         2E                                                           Disputed
         New York, NY 10014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,410.59
         Yousuf Alshaibani
         Al Khawaneej 1                                               Contingent
         House 77 Street 2                                            Unliquidated
         Dubai DU                                                     Disputed
         UNITED ARAB EMIRATES
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.697
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $699.09
         Yovarni Yearwood                                             Contingent
         1130 Fullerton Avenue                                        Unliquidated
         Allentown, PA 18102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.697
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $690.39
         Yue Liu                                                      Contingent
         144 Elmira Lane                                              Unliquidated
         Gaithersburg, MD 20878                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.697
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $120.84
         Yue Sun                                                      Contingent
         Mittelweg 50                                                 Unliquidated
         Frankfurt Am Main 60318                                      Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1044 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1064 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.697
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $805.98
         Yue Ting Ferris Wong                                         Contingent
         49 Lakeview Avenue                                           Unliquidated
         Rowville VIC 3178                                            Disputed
         AUSTRAILA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Yufeng Wei                                                   Contingent
         19 Prebble Drive                                             Unliquidated
         Markham ON L6E 0M9                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $677.61
         Yuji Nakajima                                                Contingent
         1893 Harley Dr.                                              Unliquidated
         Ann Arbor, MI 48103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.698
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $19.00
         Yuli Hua
         Gibraltargatan 106                                           Contingent
         Apt 1202                                                     Unliquidated
         Goteborg 412 79                                              Disputed
         SWEDEN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $795.15
         Yunus Emre Taay                                              Contingent
         Antalya Havalimani A Kapisi Tgs Sirketi                      Unliquidated
         Muratpasa 7050                                               Disputed
         TURKEY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $634.52
         Yuqi Kong                                                    Contingent
         218 West Main Street                                         Unliquidated
         Newark, DE 19711                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1045 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1065 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.698
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $657.32
         Yura Bogdan                                                  Contingent
         150 Northeast Danbury Avenue                                 Unliquidated
         Hillsboro, OR 97124                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.698
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.68
         Yuri Nicholas Manahan                                        Contingent
         352 Cooper Street                                            Unliquidated
         Cambridge ON N3C 3X8                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $738.88
         Yuriy Tymchuk                                                Contingent
         1506 Topp Ln                                                 Unliquidated
         Apt 4                                                        Disputed
         Glenview, IL 60025
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,272.52
         Yusef Lewis                                                  Contingent
         43-57 Union St.                                              Unliquidated
         1F                                                           Disputed
         Flushing, NY 11355
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.698
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,499.70
         Yusuf Albayrak                                               Contingent
         43 Samford House Barnsbury Estate                            Unliquidated
         London ENG N1 0JF                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,089.78
         Yves Baes                                                    Contingent
         Nukkerstraat 142, #101                                       Unliquidated
         Bredene 8450                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,455.30
         Yves Baes                                                    Contingent
         Nukkerstraat 142, #101                                       Unliquidated
         Bredene 8450                                                 Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1046 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1066 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name


3.699
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,532.69
         Yves Fontaine                                                Contingent
         121 Rue De La Marqueze                                       Unliquidated
         Angresse 40150                                               Disputed
         FRANCE
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.14
         Zac Joslin                                                   Contingent
         1560 West Beebe Capps Expressway                             Unliquidated
         Ste 159                                                      Disputed
         Searcy, AR 72143
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $708.50
         Zach Hunter                                                  Contingent
         19011 Mathew Circle                                          Unliquidated
         Huntington Beach, CA 92646                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.699
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,294.66
         Zach Janisse                                                 Contingent
         517 Estate Pk                                                Unliquidated
         Windsor ON N8N 3C5                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.699
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Zachariah Baker                                              Contingent
         3807 W. Leila Ave.                                           Unliquidated
         Tampa, FL 33616                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.699
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $718.06
         Zachary Ambrose                                              Contingent
         295 St Marks Ave Apt 4A                                      Unliquidated
         Brooklyn, NY 11238                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.699
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $684.14
         Zachary Berg                                                 Contingent
         8025 Bonhomme Ave #1607                                      Unliquidated
         Clayton, MO 63105                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1047 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1067 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.699
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $745.56
         Zachary Conces                                               Contingent
         2208 Blucher Valley Rd                                       Unliquidated
         Sebastopol, CA 95472                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $763.82
         Zachary Desutter                                             Contingent
         2026 18th St. Sw                                             Unliquidated
         Cedar Rapids, IA 52404                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $964.50
         Zachary Garcia                                               Contingent
         22050 Runnymede Street                                       Unliquidated
         Canoga Park, CA 91303                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Zachary Kojoyian                                             Contingent
         1409 Aldenham Lane                                           Unliquidated
         Reston, VA 20190                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $755.82
         Zachary Neal                                                 Contingent
         Dunster Cottage Telegraph Road                               Unliquidated
         London ENG SW15 3SY                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.700
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Zachary Olsen                                                Contingent
         6228 Colbert Street                                          Unliquidated
         New Orleans, LA 70124                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Zachary Orender                                              Contingent
         3909 Duval Dr.                                               Unliquidated
         Jacksonville Beach, FL 32250                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1048 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1068 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.700
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.78
         Zachary Smith                                                Contingent
         6409 Lakeland Drive                                          Unliquidated
         Raleigh, NC 27612                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,389.84
         Zachary Sutherland                                           Contingent
         154 Goodwin Dr                                               Unliquidated
         Guelph ON N1L 0B2                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.700
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $430.52
         Zachary Testa                                                Contingent
         746 SW 158 Terrace                                           Unliquidated
         Sunrise, FL 33326                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,720.10
         Zack Niochet                                                 Contingent
         476 Boler Road                                               Unliquidated
         London ON N6K 2K7                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.701
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,067.50
         Zaharias Fountas                                             Contingent
         90 Prospect Avenue                                           Unliquidated
         Hackensack, NJ 07601                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.701
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,684.14
         Zahra Aljefri                                                Contingent
         49 Stamford Road E6 1Lp - Eastham London                     Unliquidated
         London ENG E6 1LP                                            Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.701
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $429.87
         Zainab Abdulrahman                                           Contingent
         4809 Boone Circle North                                      Unliquidated
         Minneapolis, MN 55428                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1049 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1069 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.701
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $871.28
         Zak Haruna                                                   Contingent
         4282 Blvd Dorchester #204                                    Unliquidated
         Westmount QC H3Z 1V7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.701
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,329.90
         Zakir Butte                                                  Contingent
         16827 Bothell Way Northeast                                  Unliquidated
         Lake Forest Park, WA 98155                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.701
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $716.11
         Zakory Slingerland                                           Contingent
         823 E Sitka Ave Apt 98                                       Unliquidated
         Spokane, WA 99208                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.701
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $867.59
         Zbigniew Conrady                                             Contingent
         Sandsteinweg 8                                               Unliquidated
         Berlin 12349                                                 Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.701
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,275.31
         Zbigniew Trzupek
         32 Birklands Avenue                                          Contingent
         New Ollerton                                                 Unliquidated
         Newark ENG NG22 9SA                                          Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.701
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $180,236.84
         Zephyrus Network LLC                                         Contingent
         Attn: Laura Gilbert                                          Unliquidated
         234 Morrell Rd PMB 194                                       Disputed
         Knoxville, TN 37919-5876
                                                                   Basis for the claim: Judgment
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1050 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1070 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.701
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.11
         Zeth Herron                                                  Contingent
         3514 Surrey Dr NE                                            Unliquidated
         Olympia, WA 98506                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $474.22
         Zhanna Biletska                                              Contingent
         6511 North Newgard Avenue                                    Unliquidated
         Apt Bsmt                                                     Disputed
         Chicago, IL 60626
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.702
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $719.88
         Zhao Wang                                                    Contingent
         8843 Barrette Ave                                            Unliquidated
         Rosemead, CA 91770                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Zhennan Wang                                                 Contingent
         311 Saint Nicholas Avenue                                    Unliquidated
         Apt 3B                                                       Disputed
         Queens, NY 11385
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.702
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $689.52
         Zheyi Liao                                                   Contingent
         198 Twin Oak Drive                                           Unliquidated
         Lynchburg, VA 24502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $656.72
         Zhi Xiong Huo                                                Contingent
         7428 19th Avenue, #104                                       Unliquidated
         Burnaby BC V3N 1E1                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.702
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $697.14
         Zhiming Hong                                                 Contingent
         2225 Northwest 62nd Street                                   Unliquidated
         Seattle, WA 98107                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1051 of 1054
         Case 23-31798-acs                 Doc 1           Filed 08/03/23 Entered 08/03/23 11:39:22                                      Page 1071 of
                                                                       1639
Debtor      Launch Pad LLC                                                                  Case number (if known)
            Name

3.702
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $758.03
         Zibran Islam                                                 Contingent
         236 Brighton Gate                                            Unliquidated
         Saskatoon SK S7V 0R1                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.702
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $681.72
         Zichen Liu
         565 Proudfoot Lane                                           Contingent
         Apt.1005                                                     Unliquidated
         London ON N6H 0A1                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.702
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $729.31
         Zlatan Muratovic                                             Contingent
         1280 Ashford Creek Way Northeast                             Unliquidated
         Atlanta, GA 30319                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $659.52
         Zoe Nalebuff                                                 Contingent
         91 Bainbridge Street                                         Unliquidated
         Brooklyn, NY 11233                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.703
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $726.71
         Zoe Togba                                                    Contingent
         3337 West 84th Place                                         Unliquidated
         Chicago, IL 60652                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.703
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $851.52
         Zoheb Imtiaz                                                 Contingent
         1521 Boyd Pointe Way Apt 1812                                Unliquidated
         Tysons, VA 22182                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.703
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $109.52
         Zoheb Imtiaz                                                 Contingent
         1521 Boyd Pointe Way Apt 1812                                Unliquidated
         Tysons, VA 22182                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1052 of 1054
          Case 23-31798-acs                    Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                            Page 1072 of
                                                                         1639
Debtor       Launch Pad LLC                                                                         Case number (if known)
             Name


3.703
3         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $665.61
          Zoila Gonzalez                                                      Contingent
          616 Columbus Avenue                                                 Unliquidated
          Boston, MA 02118                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.703
4         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $681.72
          Zonglun Li                                                          Contingent
          1382 Grand Blvd                                                     Unliquidated
          Oakville ON L6H 3E5                                                 Disputed
          CANADA
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes


3.703
5         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $805.98
          Zouhair Diab                                                        Contingent
          56 Sandakan Rd                                                      Unliquidated
          Revesby Heights NSW 2212                                            Disputed
          AUSTRAILA
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes


3.703
6         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,502.61
          Zubair Ali Awan                                                     Contingent
          22 Lyme Park                                                        Unliquidated
          Nottingham ENG NG2 7TR                                              Disputed
          UNITED KINGDOM
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes


3.703
7         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $506.24
          Zwe Maung Maung                                                     Contingent
          102218 Nolu Sk, No.11, Guneykent Mah, Ef                            Unliquidated
          Gaziantep 27470                                                     Disputed
          TURKEY
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       C. Gavin Shepherd
          Woolf McClane Bright Allen & Carpenter                                                    Line     3.7018
          PO Box 900
                                                                                                           Not listed. Explain
          Knoxville, TN 37901-0900


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1053 of 1054
         Case 23-31798-acs     Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22                                 Page 1073 of
                                                   1639
Debtor      Launch Pad LLC                                             Case number (if known)
            Name

                                                                                       Total of claim amounts
5a. Total claims from Part 1                                             5a.       $                          0.00
5b. Total claims from Part 2                                             5b.   +   $                  7,573,025.37

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                  5c.       $                    7,573,025.37




Official Form 206 E/F              Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 1054 of 1054
          Case 23-31798-acs                Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                Page 1074 of
                                                                    1639
Fill in this information to identify the case:

Debtor name       Launch Pad LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-31798-acs                Doc 1       Filed 08/03/23 Entered 08/03/23 11:39:22                              Page 1075 of
                                                                  1639
Fill in this information to identify the case:

Debtor name      Launch Pad LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
          Case 23-31798-acs               Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                Page 1076 of
                                                                   1639



Fill in this information to identify the case:

Debtor name         Launch Pad LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                             $3,831,135.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                           $22,453,778.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-31798-acs                 Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                  Page 1077 of
                                                                     1639
Debtor       Launch Pad LLC                                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Todd Lamb v Launch Pad                    Recovery of                 Bullitt County District Small                 Pending
             LLC d/b/a Syncrob.it                      money                       Claims                                        On appeal
             22-S-00043                                                            250 Frank E. Simon Ave.
                                                                                                                                 Concluded
                                                                                   PO Box 746
                                                                                   Shepherdsville, KY 40165

      7.2.   Zephyrus Network, LLC v.                  Breach of                   Chancery Court for Knox                       Pending
             Launch Pad, LLC                           Contract                    County TN                                     On appeal
             205598-1                                                              Knoxville City County
                                                                                                                                 Concluded
                                                                                   Building
                                                                                   400 Main St SW #125
                                                                                   Knoxville, TN 37902

      7.3.   Dulany Hill v. Launch Pad,                Small Claims                Inglewood Small Claims                        Pending
             LLC                                                                   Court                                         On appeal
             23IWSC00161                                                           Inglewood Courthouse
                                                                                                                                 Concluded
                                                                                   1 E Regent St., 6th Floor
                                                                                   Inglewood, CA 90301


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
          Case 23-31798-acs                Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                 Page 1078 of
                                                                    1639
Debtor        Launch Pad LLC                                                                     Case number (if known)



          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.    Kaplan Johnson Abate & Bird
               LLP
               710 West Main Street
               Fourth Floor
               Louisville, KY 40202                                                                                   06/27/2023              $50,000.00

               Email or website address
               kaplanjohnsonlaw.com

               Who made the payment, if not debtor?




      11.2.    Dinsmore & Shohl LLP
               100 W. Main St.
               Suite 900
               Lexington, KY 40507                                                                                    12/07/2022               $2,385.00

               Email or website address
               dinsmore.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
           Case 23-31798-acs                Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                Page 1079 of
                                                                     1639
Debtor      Launch Pad LLC                                                                      Case number (if known)



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                    Date transfer              Total amount or
             Address                                   payments received or debts paid in exchange               was made                            value
      13.1 Strategic Partnership North
      .    America
             4261-A14 HWY 7 East
             887, Unionville, Ontario, L3R
             9W6                                       Two (2) wire transfers of $1,375,017.50;                  02/11/2022 -
             CANADA                                    one reversed for $1,374,992.50                            02/16/2022                  $1,375,042.50

             Relationship to debtor



      13.2 Access Management LLC
      .    358 Westside Drive                                                                                    10/20/2021 -
             Shepherdsville, KY 40165                  Net transfers between accounts                            05/13/2022                  $1,068,300.00

             Relationship to debtor
             Insider


      13.3 Nebra Ltd
      .    Bells Yew Green Business Ct
             Frant Withyham Ward
             England, TN3 9BJ                          Computing and networking equipment,
             UNITED KINGDOM                            IP, firmware                                              March 2023                    $300,000.00

             Relationship to debtor




 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
          Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                 Page 1080 of
                                                                      1639
Debtor      Launch Pad LLC                                                                       Case number (if known)



           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name, address, email address, and phone number
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Warehouse                                              George Partrene                       Miscellaneous equipment,                       No
      Strada Apollo 61                                       7120 Route 954 Hwy N.                 9,000 antennas, and satellites                 Yes
      Braila 810066                                          Creekside, PA 15732
      ROMANIA

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
         Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                   Page 1081 of
                                                                     1639
Debtor      Launch Pad LLC                                                                      Case number (if known)




Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
         Case 23-31798-acs                  Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                                Page 1082 of
                                                                     1639
Debtor      Launch Pad LLC                                                                      Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Kim Hardesty PSC                                                                                                01/01/2021 - Present
                    1369 KY-44
                    Shepherdsville, KY 40165

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Brandon May                             3433 Hardwood Forest Drive                          Member                                    99.99
                                              Louisville, KY 40214

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      George Partrene                         7120 Route 954 Hwy N.                               Chief Information Officer
                                              Creekside, PA 15732



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Candi May                               358 Westside Drive                                  CEO and member                       01/01/2021 -
                                              Shepherdsville, KY 40165                                                                 12/07/2021




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
         Case 23-31798-acs                 Doc 1        Filed 08/03/23 Entered 08/03/23 11:39:22                               Page 1083 of
                                                                    1639
Debtor      Launch Pad LLC                                                                     Case number (if known)



      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Amin Ramji                             132 Anderson Club                                   Sales officer                      Ended in 2022



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Brandon May
      .    358 Westside Drive
             Shepherdsville, KY 40165                 $3,000                                                    05/03/2023          Loan repayment

             Relationship to debtor
             Member


      30.2 George Partrene
      .    7120 Route 954 Hwy N.                                                                                08/24/2022 -
             Creekside, PA 15732                      $9,000                                                    10/24/2022          Salary

             Relationship to debtor
             Chief Information Officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
         Case 23-31798-acs                 Doc 1          Filed 08/03/23 Entered 08/03/23 11:39:22                          Page 1084 of
                                                                      1639
Debtor      Launch Pad LLC                                                                      Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 3, 2023

/s/ Brandon May                                                 Brandon May
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
           Case 23-31798-acs                 Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                              Page 1085 of
                                                                       1639
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Western District of Kentucky
 In re       Launch Pad LLC                                                                                   Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                 50,000.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                      400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with creditors; preparation and filing of motions and applications as needed.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any associated cases or proceedings pending or initiated before state courts
             other than for purposes of monitoring and enforcing automatic stay, federal courts not related to the bankruptcy
             case, or administrative tribunals.
        Case 23-31798-acs                Doc 1       Filed 08/03/23 Entered 08/03/23 11:39:22                             Page 1086 of
                                                                 1639
In re     Launch Pad LLC                                                                            Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   August 3, 2023                                                        /s/ Charity S. Bird
   Date                                                                  Charity S. Bird
                                                                         Signature of Attorney
                                                                         Kaplan Johnson Abate & Bird LLP
                                                                         710 West Main Street
                                                                         Fourth Floor
                                                                         Louisville, KY 40202
                                                                         (502) 540-8285 Fax: (502) 540-8282
                                                                         cbird@kaplanjohnsonlaw.com
                                                                         Name of law firm
         Case 23-31798-acs                  Doc 1         Filed 08/03/23 Entered 08/03/23 11:39:22                                    Page 1087 of
                                                                      1639
                                                      United States Bankruptcy Court
                                                             Western District of Kentucky
 In re    Launch Pad LLC                                                                                          Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Amy May                                                                           0.01%                                      LLC Membership
3433 Hardwood Forest Dr
Louisville, KY 40214

Brandon May                                                                       99.99%                                     LLC Membership
3433 Hardwood Forest Drive
Louisville, KY 40214


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 3, 2023                                                      Signature /s/ Brandon May
                                                                                        Brandon May

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
         Case 23-31798-acs            Doc 1       Filed 08/03/23 Entered 08/03/23 11:39:22                        Page 1088 of
                                                              1639




                                               United States Bankruptcy Court
                                                    Western District of Kentucky
 In re   Launch Pad LLC                                                                          Case No.
                                                                    Debtor(s)                    Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 3, 2023                                /s/ Brandon May
                                                        Brandon May/Member
                                                        Signer/Title
    Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1089 of
                                            1639


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                          Eric Aaltonen
                          125 Stonecliffe Aisle
                          Irvine, CA 92603

                          Eric Aaltonen
                          125 Stonecliffe Aisle
                          Irvine, CA 92603

                          Aaron Geib
                          93 Exton Avenue
                          North Arlington, NJ 07031

                          Aaron Hope
                          202 N Becket St
                          Cary, NC 27513

                          Aaron Hubert
                          2248 71st Ave
                          Mercer Island, WA 98040

                          Aaron Lee
                          P.O. Box 1116
                          Woodacre, CA 94973

                          Aaron Loo
                          14 Castlehill Avenue
                          Greenvale VIC 3059
                          AUSTRAILA

                          Aaron Nguyen
                          16 Elderwood
                          Aliso Viejo, CA 92656

                          Aaron Oswald
                          815 Garfield Avenue
                          Bay City, MI 48708

                          Aaron Penland
                          4861 Kiowa Rd
                          Redding, CA 96001

                          Aaron Rogers
                          32459 Whispering Glen Trl
                          Wildomar, CA 92595

                          Aaron Shaw
                          Nebra Ltd
                          Unit 4 Bells Yew Green Business Court
                          East Sussex ENG TN3 9BJ
                          UNITED KINGDOM

                          Aaron Steinke
                          Felix-Dahn-Strasse 1
                          Dachau 85221
                          GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1090 of
                                        1639



                      Aaron Van Sambeek
                      1575 Eagles Nest Lane
                      Gilroy, CA 95020

                      Abagail Dempsey
                      33 Ridley Road
                      London ENG E7 0LU
                      UNITED KINGDOM

                      Jonas Abaya
                      13011 River Springs Way
                      Jacksonville, FL 32224

                      Abdallah Mouallem
                      18007 77 St Nw
                      Edmonton AB T5Z 0L1
                      CANADA

                      Abdellah El Badaoui
                      Via Donatori Del Sangue 13
                      Apartament 6
                      Pieve Di Soligo TV 31053
                      ITALY

                      Abdellatif Fathellah
                      Aspholmsvagen 37, #1302
                      Skarholmen 127 45
                      SWEDEN

                      Mustafa Abderrahman
                      18 Anderson Ridge Road
                      Catonsville, MD 21228

                      Abdi Barre
                      11 Blake Place
                      Birmingham ENG B9 5QX
                      UNITED KINGDOM

                      Abdul Cheema
                      3469 Belfry Ln
                      Woodbridge, VA 22192

                      Abdul Masri
                      838 Damien Way
                      Mississauga ON L5C 3H3
                      CANADA

                      Abdul Rashid
                      44 Berners Close
                      Coventry ENG CV4 9LY
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1091 of
                                        1639



                      Abdula Omarov Omarov
                      Egeou 13
                      Athens 17234
                      GREECE

                      Abdullah El Shazly
                      Dxb 16426, Aramex Uk, Galleymead Rd Coln
                      Dxb 16426, Berkshire
                      Slough ENG SL3 0EN
                      UNITED KINGDOM

                      Abdullah Kamal
                      Salwa, Block # 12, Street # 1, House # 1
                      Salwa 25612
                      KUWAIT

                      Abdur Rehman Raja
                      7133 Triumph Lane
                      -
                      Mississauga ON L5N 0C5
                      CANADA

                      Joe F Abel
                      1775 Calle Tierra Vista
                      Camarillo, CA 93010

                      Abhishek Sahai
                      9 Cape Club Dr
                      Sharon, MA 02067

                      Abian Mahn
                      Loffelstrasse 1
                      Stade 21682
                      GERMANY

                      Abigail And Gajes
                      9316 173 St Nw
                      Edmonton AB T5T3C5
                      CANADA

                      Abitsaid Garcia
                      3426 Country View
                      Schertz, TX 78108

                      Aboubacar Konde
                      8480 Rue Jean-Brillon
                      A-201
                      Lasalle QC H8N2P6
                      CANADA
                      Abraham Perez
                      1802 Ennis Joslin Road #138
                      Corpus Christi, TX 78412
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1092 of
                                        1639



                      Andrew Abranches
                      273 Firestone Drive
                      Walnut Creek, CA 94598

                      Andrew Abranches
                      273 Firestone Dr
                      Walnut Creek, CA 94598-3647

                      Access Management, LLC
                      358 Westside Drive
                      Shepherdsville, KY 40165

                      Ace Tilson
                      34 Woodhead Dr
                      Lake Villa, IL 60046

                      Katrina Acosta
                      7554 Stirling Rd
                      Apt 207
                      Hollywood, FL 33024

                      Adalbert Jahnz
                      Kluisstraat 48
                      Elsene 1050
                      BELGIUM

                      Adam Baran
                      4059 Mesa Rd
                      Niebla Hall 301C
                      Irvine, CA 92617

                      Adam Brinn
                      5906 Castle Rock Road
                      Cave Spring, VA 24018

                      Adam Chubbuck
                      3015 Aransas Road
                      Charlotte, NC 28214

                      Adam Czajkowski
                      63 Redwood Drive
                      Burntwood ENG WS72AS
                      UNITED KINGDOM

                      Adam Dall
                      25 Clara Street
                      Mayfield East NSW 2304
                      AUSTRAILA

                      Adam Doench
                      14414 Allegan Street
                      Whittier, CA 90604
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1093 of
                                        1639



                      Adam Envoldsen
                      1487 Berkley Dr Nw
                      Calgary AB T3K1T7
                      CANADA

                      Adam Freilich
                      2160 Skyline Dr
                      Fullerton, CA 92831

                      Adam Jonker
                      1742 Sessions Walk
                      Hoffman Estates, IL 60169

                      Adam Jordan
                      82 Bonar Street, #46
                      Wolli Creek NSW 2205
                      AUSTRAILA

                      Adam Kaplan
                      100 Islington Street
                      Apt. 2
                      Portsmouth, NH 03801

                      Adam Kaston
                      127 Eberts St
                      Victoria BC V8S3H8
                      CANADA

                      Adam Kivi
                      5716 Kendrick Lane
                      Cumming, GA 30041

                      Adam Lawrence
                      1111 Myrtle St
                      Austin, TX 78702

                      Adam Lichterman
                      3201 Cove Road
                      Jupiter, FL 33469

                      Adam Lichterman
                      6211 Michael Street
                      Jupiter, FL 33458

                      Adam Maal
                      29 South Fairknoll Place
                      Pueblo West, CO 81007

                      Adam Merretz
                      4283 Express Lane
                      Suite 3713-710
                      Sarasota, FL 34249
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1094 of
                                        1639



                      Adam Mickles
                      6703 Ditman Street
                      Philadelphia, PA 19135-2221

                      Adam Mickles
                      6703 Ditman Street
                      Philadelphia, PA 19135

                      Adam Moskovitz
                      105 Norway Rd
                      Bangor, ME 04401-5818

                      Adam Park
                      6117 Kings Canyon Drive
                      Bakersfield, CA 93306

                      Adam Radomski
                      60 Cambridge Avenue
                      Streamwood, IL 60107

                      Adam Rappolt
                      52 South Creek Road
                      Dee Why NSW 2099
                      AUSTRAILA

                      Adam Rosen
                      131 Northeast 56th Street
                      Newport, OR 97365

                      Adam Saleh
                      5747 Lawndale St
                      Apt. A
                      Detroit, MI 48210

                      Adam Schlain
                      2110 Marina Shores Drive, #414
                      Virginia Beach, VA 23451

                      Adam Schulz
                      Zahnbrecherweg 16
                      Munich 81929
                      GERMANY

                      Adam Sipthorpe
                      51 Sycamore Close
                      Taunton ENG TA1 2QJ
                      UNITED KINGDOM

                      Adam Sonny Levene
                      14 Greenways
                      Eaton ENG NR4 6PE
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1095 of
                                        1639



                      Adam Walczyk
                      403 Maitland St
                      Bel Air, MD 21014-3924

                      Adam Wrobel
                      44360 Manitou Dr
                      Clinton Twp, MI 48038

                      Adan Villamarin
                      Route De Cossonay 63
                      Prilly 1008
                      SWITZERLAND

                      Ade Adeyokunnu
                      405 Hurst St
                      Bridgeport, PA 19405

                      Adem Kocaturk
                      Adickesstrasse 25
                      Berlin 13599
                      GERMANY

                      Adham Fares
                      10 Hybrid House, Bromyard Avenue
                      10 Hybrid House
                      London ENG W3 7JU
                      UNITED KINGDOM

                      Thag Adhikari
                      5401 Chimney Rock Road
                      Apt 788
                      Houston, TX 77081

                      Adil Ashraf
                      13626 Nearpoint Ln
                      Tomball, TX 77377

                      Adil Serbouti
                      4 Avenue De Benouville
                      Waterloo 1410
                      BELGIUM

                      Adnan Abid
                      401 Mahogany Crt SE
                      Calgary AB T3M 0T6
                      CANADA

                      Adnan Alsamari
                      3792 Atlantic Avenue
                      Fairport, NY 14450

                      Adnan Renjbal
                      De Bruynlaan 128, #301
                      Antwerpen 2610
                      BELGIUM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1096 of
                                        1639



                      Muhammad Adnan
                      5340 Holmes Run Pkwy
                      Unit 1019
                      Alexandria, VA 22304

                      Adrian Abeyta
                      8650 Southwestern Blvd
                      Apt 2626
                      Dallas, TX 75206

                      Adrian Agnic
                      Put Mavaraice 27
                      Okrug Gornji 21223
                      CROATIA

                      Adrian Carrasco
                      11504 Misty Ridge Drive
                      Roanoke, TX 76262

                      Adrian Codirenzi
                      10620 Oakfield Drive Southwest
                      Calgary AB T2W 2A9
                      CANADA

                      Adrian Gladysz
                      Trelder Weg 5
                      Adris Garten Und Landschaftsbau
                      Hamburg 21079
                      GERMANY

                      Adrian Gordon
                      18640 E. 46th Ave
                      Denver, CO 80249

                      Adrian Kadue
                      7120 Mark Terrace Drive
                      Minneapolis, MN 55439

                      Adrian Laird
                      12919 Woodleigh Avenue
                      Tampa, FL 33612

                      Adrian Lica
                      Calea Galati Nr 366
                      Bloc I-3 Scara 1 Etaj 1 Apartament 7
                      Braila BR 810362
                      ROMANIA

                      Adrian Spinu
                      Str Nicolae Oncescu 9A
                      Bloc 110,Sc 1,Et 4,Ap 24,Interfon 24C
                      Bucharest B 60463
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1097 of
                                        1639



                      Adryana Giraldo
                      Via Altovizza 6
                      San Pietro Al Natisone UD 33049
                      ITALY

                      Afam Oyibo
                      835 Washington Street
                      Apt 306
                      Buffalo, NY 14203

                      Abraham Aguilar
                      15413 Longworth Avenue
                      Norwalk, CA 90650

                      Ahmad Al Sahli
                      Herzogstrasse 15
                      Heiligenhaus 42579
                      GERMANY

                      Ahmad Alaatr
                      Alboran 6
                      Ceuta CE 51002
                      SPAIN

                      Ahmad Alhuraiz
                      Aramex Uk, Galleymead Rd Colnbrook
                      Dxb 1349221
                      Slough, Berkshire ENG SL3 0EN
                      UNITED KINGDOM

                      Ahmad Assi
                      H Gewiesen 116
                      Hannover 30657
                      GERMANY

                      Ahmad Omar
                      Strada Pacurari Nr108
                      Iasi IS
                      ROMANIA

                      Amir Ahmari
                      386 Fontanelle Drive
                      San Jose, CA 95111

                      Ahmed Abobakr
                      Avenue Du Lignon 9
                      Geneve 1219
                      SWITZERLAND

                      Ahmed Alkhaja
                      Ahmed Alkhaja, Aramex Uk, Galleymead Rd
                      Dxb 1031756
                      Slough, Berkshire ENG SL3 0EN
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1098 of
                                        1639



                      Ahmed Alquthami
                      1301 N Troy St, #401
                      Arlington, VA 22201

                      Ahmed Desouky
                      Alteburgstrasse
                      115/3
                      Reutlingen 72762
                      GERMANY

                      Ahmed Halayqa
                      61 Playfire Tree
                      Milton ON L9T0S5
                      CANADA

                      Ahmed Hussain
                      1580 Major Oaks Road
                      Pickering ON L1X 2J7
                      CANADA

                      Ahmed Khannaji
                      Eimerssingel-West 46
                      Arnhem 6832 EV
                      NETHERLANDS

                      Ahmed Koka
                      2100 Camilla Rd, #405
                      Mississauga ON L5A 2J8
                      CANADA

                      Ahmed Nadhim Lutfi
                      Tomvagen 7
                      Sigtuna 193 91
                      SWEDEN

                      Ahmed Sheikh
                      6812 Revere Drive
                      Mckinney, TX 75071

                      Ahmet Topal Hasan
                      Vinzenzstrasse 34
                      Burstadt 68642
                      GERMANY

                      Aidan Babcock
                      440 Clark Street Extended
                      Groton, NY 13073

                      Aiga Mali
                      Slomskova Ulica 3
                      Rogatec 3252
                      SLOVENIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1099 of
                                        1639



                      Daud Akhtar
                      8131 Nunavut Lane
                      Suite 601
                      Vancouver BC V5X 0E2
                      CANADA

                      Al Daraan
                      935 West Sunnyside Avenue
                      3N
                      Chicago, IL 60640

                      Al Al-Aride
                      3 Oakwood Park Road
                      London ENG N146QB
                      UNITED KINGDOM

                      Alan Jaffrey
                      25 Lone Pine Squarelone
                      Bacchus Marsh VIC 3340
                      AUSTRAILA

                      Alan Kuramoto
                      3401 Grant Park Drive
                      Carmichael, CA 95608

                      Alan Lok
                      808 S Cailfornia St
                      San Gabriel, CA 91776

                      Alan Munda
                      Via Morella 6
                      Davesco-Soragno 6964
                      SWITZERLAND

                      Alan Sardinha
                      80 Mackay Avenue
                      Toronto ON M6H 2N8
                      CANADA

                      Alastair Hatfield
                      44 Swift Street
                      Dunfermline SCT KY11 8SN
                      UNITED KINGDOM

                      Alastair McGhee
                      22 Union Hall Road
                      Newcastle Upon Tyne ENG NE15 8AB
                      UNITED KINGDOM

                      Abdullah Albalawi
                      4295 Express Lane
                      Sarasota, FL 34249
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1100 of
                                        1639



                      Alban Shehi
                      149A Cornwall Road
                      Ruislip ENG HA46AG
                      UNITED KINGDOM

                      Albert Doran
                      5606 Winter Star Ct
                      Las Vergas, NV 89141

                      Albert Haro
                      6323 Lookout Pass Way
                      Rocklin, CA 95765

                      Albert Jones
                      435 Pine Valley Drive
                      Bridgeville, PA 15017

                      Albert Koe
                      Tweemolentjeskade 11
                      Delft 2612 XW
                      NETHERLANDS

                      Albert Nguyen
                      340 Lantana Drive
                      Stanton, CA 90680

                      Albert Quiroga
                      11576 Pearland Pkwy
                      Apt 1208
                      Houston, TX 77089

                      Alberta Sotomayor
                      5050 Biscayne Blvd, #101
                      Miami, FL 33137

                      Alberto Bassotti
                      1488 NW 158th Lane
                      Pembroke Pines, FL 33028

                      Alberto Mendez
                      2842 Ohio Street
                      West Palm Beach, FL 33406

                      Albir Alyas
                      772 Glenpine Court
                      Tracy, CA 95377

                      Aldea Ionut
                      Bd. Unirii, Bl. 19 H, Ap. 7
                      Buzau BZ 120013
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1101 of
                                        1639



                      Aldo Ocampo
                      Calle 81A #163 Entre 14 Por 16 Col.Morel
                      Merida YUC 97174
                      MEXICO

                      Alec Johnson
                      13110 West 137th Court
                      Overland Park, KS 66221

                      Alejandro Cortes Guzman
                      Francisco Pimentel 87
                      C511 Colonia San Rafael
                      Mexico City DF 6470
                      MEXICO

                      Alejandro Gonzalez
                      4721 Avenida Del Diablo
                      Las Vegas, NV 89121

                      Alejandro Mendoza
                      1407 70th Street
                      North Bergen, NJ 07047

                      Alejandro Suarez
                      10510 Southwest 145th Avenue
                      Miami, FL 33186

                      Alejandro Trejo Garcia
                      Calle Emiliano Zapata 3
                      San Francisco Zacalco MEX 55680
                      MEXICO

                      Alejandro Velasquez
                      4977 N Louis River Way
                      Tucson, AZ 85718

                      Aleks Stefanova
                      3720 South Bond Ave, #1918
                      Portland, OR 97239

                      Aleksandar Arsenijevic
                      93 Vitosa Blvd.
                      Mag. Oikos Bg Ood
                      Sofia 1408
                      BULGARIA

                      Aleksandar Gavrilov
                      Ulica 4, Bardovci, Karposh, #283
                      Skopje 1000
                      NORTH MACEDONIA

                      Aleksandar Gjakovski
                      3 Makedonska Brigada Br33-1/12
                      Skopje 1000
                      NORTH MACEDONIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1102 of
                                        1639



                      Aleksandar Jovcic
                      Kralja Milana Obrenovica, 1/47
                      Pancevo 26000
                      SERBIA

                      Aleksandar Radovanovic
                      418 East 81st Street
                      1B
                      New York, NY 10028

                      Aleksandar Tasev
                      Trapezitsa 4, #3
                      Sofia 1000
                      BULGARIA

                      Aleksander Ryvkin
                      3672 Palm Crest Drive
                      Highland, CA 92346

                      Ales Palchevskiy
                      61 Cavan Crescent
                      Sherwood Park AB T8H 2K6
                      CANADA

                      Alessandro Cinque
                      Reichsstrasse 9
                      Piccolo Mondo Restaurant
                      Berlin 14052
                      GERMANY

                      Alessandro De Loos
                      Groenhovenstraat 17
                      Leiden 2311 BT
                      NETHERLANDS

                      Alessandro Mendez
                      95-273 Waikalani Drive
                      Apt. D1204
                      Mililani, HI 96789

                      Alessio Maddalena
                      Via Colligiana 67
                      Ponte Buggianese PT 51019
                      ITALY

                      Alex Beyer
                      P.O. Box 1418
                      Lincoln, CA 95648

                      Alex Brumaru
                      55 Matlock Road
                      London ENG E106BU
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1103 of
                                        1639



                      Alex Costanzo
                      233 East Walton Place #9
                      Chicago, IL 60611

                      Alex Desnoyers
                      1981 Blvd De P Rigny
                      Chambly QC J3L 4C3
                      CANADA

                      Alex Dietz
                      6 Melchior Drive
                      Toronto ON M1E3W4
                      CANADA

                      Alex Drako
                      18232 Northwest 27th Avenue
                      Box 143
                      Miami Gardens, FL 33056

                      Alex Gonzales
                      1478 E. Palisade Dr.
                      Fresno, CA 93720

                      Alex Gonzalez
                      24145 Horton Court
                      Moreno Valley, CA 92553

                      Alex Guisasola
                      5433 Jackpot Winner Ln #103
                      Las Vegas, NV 89122

                      Alex Juchniewicz
                      5410 Nobel Earl Court
                      Katy, TX 77493

                      Alex Liu
                      1764 Summerwood Dr.
                      Fullerton, CA 92833

                      Alex Makepeace
                      250 West 19th Street
                      Apt 1B
                      New York, NY 10011

                      Alex Martnez
                      14439 Oakshire Blvd
                      Orlando, FL 32824-5263

                      Alex McIlveen
                      112 Long Lane
                      Nottingham ENG NG9 6BW
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1104 of
                                        1639



                      Alex McLaren
                      Nordic House
                      Baltic Quay
                      Grangemouth SCT FK3 8TX
                      UNITED KINGDOM

                      Alex Nitz
                      37908 21st Pl S
                      Federal Way, WA 98003

                      Alex Nunnally
                      12616 Apache Pl NE
                      Albuquerque, NM 87112-3610

                      Alex Palacios
                      305 E Goodlander Rd
                      Selah, WA 98942

                      Alex Pinedo
                      26051 Enterprise Way
                      Suite 400
                      Lake Forest, CA 92630

                      Alex Posada
                      8169 Mt Vernon Street
                      Lemon Grove, CA 91945

                      Alex Smith
                      170 6E Blvd, Unit A
                      Terrasse-Vaudreuil QC J7V 8W8
                      CANADA

                      Alex Vakouftsis
                      Thoukididi 3
                      Maniaki Kastoria 52100
                      GREECE

                      Alex Van Der Horst
                      Schuilenburg 43
                      Dordrecht 3328 CJ
                      NETHERLANDS

                      Alex Williamson
                      2912 Tucson Drive
                      Cedar Falls, IA 50613

                      Alex Workman
                      15 Drodges Close
                      Bramley ENG GU50AA
                      UNITED KINGDOM

                      Alexander Azimov
                      43 Barli Cres
                      Maple ON L6A 4S2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1105 of
                                        1639



                      Alexander Bastron
                      John-F.-Kennedy-Strasse
                      Zweibrucken 66482
                      GERMANY

                      Alexander Brix
                      Worthstrasse 38
                      Munich 81667
                      GERMANY

                      Alexander Burov
                      17618 Collins Street
                      Encino, CA 91316

                      Alexander Den Olden
                      Adelheidstraat 80
                      The Hague 2595 EE
                      NETHERLANDS

                      Alexander Grillwitzer
                      Dr. Josef-Weigl-Strasse 18
                      Simbach Am Inn 84359
                      GERMANY

                      Alexander Heidt
                      Robert-Koch-Str. 27
                      Hac Ventures Ug (Haftungsbeschraenkt)
                      Grunwald 82031
                      GERMANY

                      Alexander Heigl
                      Grunauer Allee 39
                      Unterhaching 82008
                      GERMANY

                      Alexander Leung
                      1411 West 62nd Avenue
                      Vancouver BC V6P6G3
                      CANADA

                      Alexander Litster
                      8409 Talbot Street Apartment
                      B52
                      Kew Gardens, NY 11415

                      Alexander Massold
                      Bergstrasse 18
                      Enw Energie Westerwald Ug
                      Kaden 56459
                      GERMANY

                      Alexander Mazzone
                      1205 Reserve Way
                      Unit 106
                      Naples, FL 34105
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1106 of
                                        1639



                      Alexander Mill
                      8 Moonya Ave, Seacombe Gardens Sa, Austr
                      Seacombe Gardens SA 5047
                      AUSTRAILA

                      Alexander Oliynyk
                      1940 Mills Circle
                      Las Vegas, NV 89106

                      Alexander Ranjhan
                      278 Highland Ave
                      Winchester, MA 01890

                      Alexander Rosswog
                      Holderstrasse 18
                      Ludwigsburg 71640
                      GERMANY

                      Alexander Seyfert
                      4183 24th St
                      San Francisco, CA 94114

                      Alexander Stulic
                      4634 Mill Water Xing
                      Douglasville, GA 30135-4184

                      Alexander Wergin
                      430 Meeker Street
                      South Orange, NJ 07079

                      Amy Alexander
                      2517 33rd Avenue South
                      Seattle, WA 98144

                      Harry Alexander
                      129 Firethorn Road
                      Baden, PA 15005

                      Alexandre Derouin
                      230 12E Avenue, Saint-Jean-Sur-Richelieu
                      Saint-Jean-Sur-Richelieu QC J2X 1E1
                      CANADA

                      Alexandre Guittard
                      7085 Charmant Drive
                      Apt 35
                      San Diego, CA 92122

                      Alexandre Rodeira
                      Autodromo, Sitio Do Escampadinho
                      Mexilhoeira Grande
                      Portimao PT-08 8500-148
                      PORTUGAL
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1107 of
                                        1639



                      Alexandre Voisard-Lepine
                      6090 Rue B Lair
                      Brossard QC J4Z 1Z7
                      CANADA

                      Alexandria Lynch
                      34 Rugby Rd
                      Binghamton, NY 13905

                      Alexandro Armour
                      800 Corporate Drive #301
                      Stafford, VA 22554

                      Alexandro Scalese
                      Hasengartenstrasse 30A
                      Wiesbaden 65189
                      GERMANY

                      Alexandros Charalambous
                      Andrea Kariou 11
                      Nicosia 2024
                      CYPRUS

                      Alexannie Kairupan
                      74-44 43rd Avenue
                      Elmhurst, NY 11373

                      Alexey Neyman
                      Schellingstr. 109
                      Munich 80798
                      GERMANY

                      Alexis Audoin
                      37 16 Rue
                      Montreal QC H8Y 1N8
                      CANADA

                      Alexis Metz
                      8880 Horton Road Sw, #1420
                      Calgary AB T2V 2W3
                      CANADA

                      Alexis Portmann
                      Kistlerstrasse 48
                      Bolligen 3065
                      SWITZERLAND

                      Alexsander Miller
                      1730 North Frances Blvd
                      Tucson, AZ 85712
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1108 of
                                        1639



                      Alexsander Tsamkiranis
                      9303 Salish Court
                      Unit 110 Buzzer 3010
                      Burnaby BC V3J 7B7
                      CANADA

                      Alfio Licciardello
                      Via Fondannone 90 C
                      Aquilo S.R.L
                      Linera CT 95010
                      ITALY

                      Alfred Cobbs
                      1200 Hawkins Wood Circle
                      Midlothian, VA 23114

                      Alfredo Montalvo
                      151 W Passaic Ave
                      Bloomfield, NJ 07003

                      Abdel Alfroukh
                      1702 Hessian Drive
                      Monroe, NJ 08094

                      Algirdas Semenas
                      Gar V S G. 9
                      Kaunas LT-45479
                      LITHUANIA

                      Ali Akarsu
                      38 Academia Way
                      London ENG N17 8HE
                      UNITED KINGDOM

                      Ali Alumari
                      16 Camarel Cres
                      Toronto ON M1K 5B7
                      CANADA

                      Ali Askari
                      2857 Paradise Road, #204
                      Las Vegas, NV 89109

                      Ali Bagheri
                      23 Cary Street
                      Baulkham Hills NSW 2153
                      AUSTRAILA

                      Ali Daryal
                      8537 W Catalpa Ave
                      Chicago, IL 60656
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1109 of
                                        1639



                      Ali Malik
                      600 Smith Avenue
                      112 C
                      Coquitlam BC V3J 2W4
                      CANADA

                      Ali Maz
                      Fischerstrasse 52
                      Duisburg 47055
                      GERMANY

                      Ali Raza
                      Groenewalstraat 31
                      Gent 9000
                      BELGIUM

                      Aliah Amjad
                      11 Cromwell Road
                      Hayes ENG UB3 2PT
                      UNITED KINGDOM

                      Alice Clanet
                      Rua Julio Dinis 947 4o esq
                      Porto PT-13 4050-327
                      PORTUGAL

                      Alicia Allen
                      1216 Chicago Drive South West
                      Wyoming, MI 49509

                      Alija Mendar
                      Rue Du Lac 136
                      Clarens 1815
                      SWITZERLAND

                      Alik Tsiupa
                      6919 Teesdale Avenue
                      Los Angeles, CA 91605

                      Alina Mackowiak
                      Rue Docteur Dryepondt 25
                      Etterbeek 1040
                      BELGIUM

                      Alina Parvu
                      Bld. Marea Unire Nr. 17
                      Bl. U5, Ap. 20
                      Galati GL 800329
                      ROMANIA
                      Amir Alipourskandani
                      2205 W 11th St, #413
                      Houston, TX 77008
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1110 of
                                        1639



                      Alison Volken
                      1711 140 Street, #18
                      Surrey BC V4A 4H1
                      CANADA

                      Allan Garcia
                      5772 Garden Grove Blvd, #292
                      Westminster, CA 92683

                      Allan Jensen
                      C/O All-Travel
                      Nr. Trandersvej 27
                      Aalborg 9000
                      DENMARK

                      Aaron Allar
                      1811 1/2 E Ocean Blvd
                      Unit B
                      Long Beach, CA 90802

                      Allen Flower
                      486 Windemere Dr.
                      Aberdeen, MD 21001

                      Allen McDonald
                      1603-233 Robson Street
                      Vancouver BC V6B 0E8
                      CANADA

                      Allwyn Mathew
                      141 Silverthorn Rd Nw
                      Unit 4107
                      Calgary AB T3B 5H5
                      CANADA

                      Abdulhameed Almohammedsaleh
                      1717 N Bayshore Dr
                      Apt. 1655
                      Miami, FL 33132

                      Ahmad Alomari
                      8422 W Berwyn Ave
                      Fl 1
                      Chicago, IL 60656

                      Jawad Alomari
                      Filipijnen 297
                      Utrecht 3524 JM
                      NETHERLANDS
                      Andrew Altman
                      7502 Countryside Drive
                      Amarillo, TX 79119
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1111 of
                                        1639



                      Hakop Altunyan
                      10861 Oro Vista Avenue
                      Los Angeles, CA 91040

                      Bernard Alvarado
                      1390 Market Street
                      Apt 1613
                      San Francisco, CA 94102

                      Matias Damian Alvarez
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166

                      Alyson Char
                      2325 Armstrong St
                      Honolulu, HI 96822-1982

                      Alyssa Mohar
                      P.O. Box 5253
                      Pasco, WA 99302

                      Amaan Zia
                      8031 Kildare Ave
                      Skokie, IL 60076

                      Amade Ouedraogo
                      CMR 415 Box 7608
                      Apo, AE 09114

                      Amal Gupta
                      1690 Faraday Ct
                      San Jose, CA 95124

                      Aman Singh
                      168 Coral Reef Close Northeast
                      Calgary AB T3J 3Y6
                      CANADA

                      Amanda Will
                      904 West Mary Street
                      Unit A
                      Austin, TX 78704

                      Amandeep Singh
                      7040 Torbram Road Unit17
                      Mississauga ON L4T3Z4
                      CANADA

                      Amarco Dimayacyac
                      139 Remington
                      Irvine, CA 92620

                      Abeselom Amare
                      7321 Boreal Pl
                      Philadelphia, PA 19153
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1112 of
                                        1639



                      Ameen Yahya
                      9965 Frederick Street
                      Dearborn, MI 48120

                      Ameer Asghar
                      2315 Dobbinton Street
                      Oshawa ON L1L0L3
                      CANADA

                      Muhammad Ameer
                      9221 Ashland Woods Lane
                      Apt C-G
                      Lorton, VA 22079

                      Amelia Woods
                      721 Granger St
                      Manchester, MI 48158

                      American Pioneer Electronics Inc.
                      666 Plainsboro Road
                      Suite.405
                      Plainsboro, NJ 08536

                      Adnan Amjad
                      4611 Sandyford Ct
                      Dublin, CA 94568

                      Asnardo Amores
                      644 Banyan Canal Drive
                      West Palm Beach, FL 33415

                      Amos Dicob
                      40 Carolyn Rd W
                      Carmel, NY 10512

                      Amos Kanigher
                      Level 28, 60 Margaret Street
                      Sydney NSW 2000
                      AUSTRAILA

                      Arthur Amponvanit
                      2504 North Shelley Street
                      Alexandria, VA 22311

                      Amritpal Singh
                      1353 Tori Ln
                      Yuba City, CA 95993

                      Amy McNamara
                      830 Bartlett Street
                      Apt 1
                      Los Angeles, CA 90012
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1113 of
                                        1639



                      Ana Larisa Ursu
                      Soseaua Pipera 42 , Globalworth Plaza
                      Et 7 , Sector 2 , Bucharest
                      Bucharest B 20112
                      ROMANIA

                      Anand D'Souza
                      273 Donessle Dr
                      Oakville ON L6J3Y8
                      CANADA

                      Anas Diab
                      Media City
                      Amwaj
                      Dubai DU
                      UNITED ARAB EMIRATES

                      Anastasios Nistas
                      Themistokli Sofouli 4
                      Ioannina 45445
                      GREECE

                      Anastasios Pandelidis
                      18 Stonewall Ln
                      West Chester, PA 19382

                      Anastasiya Osher
                      1850 Hanover Dr. #152
                      Davis, CA 95616

                      Anastasiya Osher
                      1850 Hanover Dr.
                      Apt 152
                      Davis, CA 95616

                      Anatoli Iliev
                      7454 Ggbg Unit 8 Optima Park Thames Road
                      Dartford ENG DA1 4QX
                      UNITED KINGDOM

                      Jon Paul Anatra
                      215 Middle Neck Road
                      Apt 15-2A
                      Great Neck, NY 11021

                      Andi Meyer
                      Unterdorfwag 4
                      Fallanden 8117
                      SWITZERLAND
                      Aaron Andrade
                      3653 W Avenida Fria
                      Tucson, AZ 85745
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1114 of
                                        1639



                      Paola Andrae
                      1405 N Negley Ave
                      Pittsburgh, PA 15206

                      Andras Kondakor
                      Vorosmarty Utca 62.
                      Fsz. 6. (Ground Floor 6.)
                      Budapest 1064
                      HUNGARY

                      Andre Desilets
                      1719 Lanier Lane
                      Memphis, TN 38117

                      Andre Esty
                      1 Montague Road
                      London, Greater London, United Kingdom E
                      UNITED KINGDOM

                      Andre Ferreira
                      2 Fosdick Terrace
                      Unit 304
                      Lynn, MA 01902

                      Andre Lacerte
                      9274 Rue Verville
                      Montreal QC H2N 1Y4
                      CANADA

                      Andre Wilson
                      CMR 467 Box 442
                      APO AE 09096
                      New York, AE 09096

                      Andrea Ascenzi
                      1A Houghton Square
                      London ENG SW9 9AN
                      UNITED KINGDOM

                      Andrea Green
                      11481 SW 204 Street
                      Miami, FL 33189

                      Andrea Guldenpfennig
                      Otto-Von-Wollank-Str. 42A
                      Handelsvertretungen Guldenpfennig Ohg
                      Berlin 14089
                      GERMANY

                      Andrea Raciti
                      Via San Vincenzo 20
                      Milano MI 20123
                      ITALY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1115 of
                                        1639



                      Andreas Braun
                      Spichernstr. 65
                      Cologne 50672
                      GERMANY

                      Andreas Bruns
                      Henckellweg 13
                      Hannover 30459
                      GERMANY

                      Andreas Bruns
                      Adelbylund 4
                      Flensburg 24943
                      GERMANY

                      Andreas Burger
                      Via Pater Haspinger 34
                      Valle Di Casies BZ 39030
                      ITALY

                      Andreas Dietz
                      Brucknerstrasse 21
                      Munich 81677
                      GERMANY

                      Andreas Georgiades
                      Szabadssag 61
                      Bogote 9675
                      HUNGARY

                      Andreas Haberli
                      Kirchenland 2
                      Rothenthurm 6418
                      SWITZERLAND

                      Andreas Ittner
                      Erich-Muhsam-Strasse 30
                      Chemnitz 9112
                      GERMANY

                      Andreas John
                      Frankfurter Strasse 99
                      Net-Lab Gmbh
                      Offenbach Am Main 63067
                      GERMANY

                      Andreas Lien
                      Skogvegen 5A
                      Jessheim 2053
                      NORWAY

                      Andreas Mild
                      Richtergasse 9
                      Wien 1070
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1116 of
                                        1639



                      Andreas Wasita
                      6 Clive Street
                      Roseville NSW 2069
                      AUSTRAILA

                      Andreas Weis
                      Kadiner Str. 22
                      Berlin 10243
                      GERMANY

                      Andreea Cariman
                      9 Aldwyck Court Riverside Close
                      Bedford ENG MK429DQ
                      UNITED KINGDOM

                      Andrei Kononov
                      108 Secret Garden Court
                      Kleinburg ON L4H 4N7
                      CANADA

                      Andrei Muresan
                      Privighetorii 9
                      Baia Mare MM 430324
                      ROMANIA

                      Andrei Pastrama
                      Str. I. C. Braftianu,Nr 48,Bl.B5,Sc.A
                      Apartament 16
                      Constanta CT
                      ROMANIA

                      Andrei Teofiliu Voicu
                      Street Parcul Mic ,11
                      Apartment 20
                      Brasov BV 500386
                      ROMANIA

                      Andrej Fidanovski
                      Kuzman Josifovski Pitu
                      15/2-45
                      Skopje 1000
                      NORTH MACEDONIA

                      Andrej Meschede
                      Fuchsstr. 5
                      Koln 50823
                      GERMANY

                      Andres Auerbach
                      6775 College Court
                      Davie, FL 33317
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1117 of
                                        1639



                      Andres Lopez
                      26261 Las Flores
                      Apt A
                      Mission Viejo, CA 92691

                      Andres Lujan
                      2807 West Timberlake Loop
                      Coeur Dalene, ID 83815

                      Andreu Neri
                      1342 Brampton Road
                      Los Angeles, CA 90041

                      Andrew Bax
                      29 Longleigh Lane
                      Bexleyheath . ENG DA7 5SR
                      UNITED KINGDOM

                      Andrew Berlinski
                      1108 Lakeview Street
                      Waterford Twp, MI 48328

                      Andrew Betteridge
                      11391 Seventh Avenue #26
                      Richmond BC V7E 4J4
                      CANADA

                      Andrew Bisaccia
                      970 North Kellogg Ave
                      Santa Barbara, CA 93111

                      Andrew Bond
                      101 Warren St
                      Apt 2640
                      New York, NY 10007

                      Andrew Caro
                      12030 Algardi Street
                      Norwalk, CA 90650

                      Andrew Carrol
                      49 Camp Road
                      Conrod Settlement NS B0J1N0
                      CANADA

                      Andrew Cervenka
                      N7731 Vicksburg Way
                      Apartment 4
                      Oconomowoc, WI 53066
                      Andrew Day
                      19892 Farm To Market Road 1818
                      Huntington, TX 75949
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1118 of
                                        1639



                      Andrew Duncan
                      1176 Valencia Dr.
                      Escondido, CA 92025

                      Andrew Gray
                      629 Baystone Ct
                      Annapolis, MD 21409

                      Andrew Guan
                      638 Hickey Blvd
                      Pacifica, CA 94044

                      Andrew Harris
                      3600 Founders Pointe Dr
                      Ammon, ID 83406

                      Andrew Jamerson
                      103 Louis Avenue
                      Lehigh Acres, FL 33936

                      Andrew Joseph
                      1341 Grass Valley Drive
                      Rockwall, TX 75087

                      Andrew Kammerer
                      141 W Luminous Way
                      Hampstead, NC 28443

                      Andrew Keiser
                      689 Jackie Lane
                      Baldwin, NY 11510

                      Andrew La
                      18840 Southwest Boones Ferry Road
                      Ste. 202
                      Tualatin, OR 97062

                      Andrew Laich
                      47 Spruce Gardens Crescent
                      Spruce Grove AB T7X 0J9
                      CANADA

                      Andrew Malinowski
                      24 Stephen Street
                      Kingston ON K7K 2C3
                      CANADA

                      Andrew McDonagh
                      200 Longfield Lane
                      Hertfordshire ENG EN76AQ
                      UNITED KINGDOM

                      Andrew McDonald
                      794 County Road 523
                      Whitehouse Station, NJ 08889
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1119 of
                                        1639



                      Andrew McLean
                      133 C Malden Road
                      London ENG NW5 4HS
                      UNITED KINGDOM

                      Andrew McRorie
                      58 School Street
                      Rockland, MA 02370

                      Andrew Menning
                      30 East End Ave. Apt. 7E
                      New York, NY 10028

                      Andrew Nolen
                      155 S. Hibbert
                      Apt 210
                      Mesa, AZ 85210

                      Andrew Omara
                      5 Abbotsbury Close
                      Saltdean
                      Saltdean, Brighton ENG BN2 8SR
                      UNITED KINGDOM

                      Andrew Phillips
                      22410 Georgia Ln Santa Clarita Ca 91350
                      Los Angeles, CA 91350

                      Andrew Porter
                      4721 Old Ravine Ct
                      Upper Arlington, OH 43220

                      Andrew Rerecich
                      3720 S 138th St
                      Tukwila, WA 98168

                      Andrew Simmons
                      500 E Little Ponderosa Dr
                      New Braunfels, TX 78132-3915

                      Andrew Speer
                      5 Ginger Lea
                      Glen Carbon, IL 62034

                      Andrew Thomas
                      111 Foster Avenue
                      Elmira, NY 14905

                      Andrew Tucker
                      417 East Matthews Street
                      Matthews, NC 28105

                      Andrew Ung
                      4845 Hersholt Avenue
                      Long Beach, CA 90808
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1120 of
                                        1639



                      Andrew Wilson
                      33 Acorn Close
                      Waltham
                      Christchurch CAN 8023
                      NEW ZEALAND

                      Dmitry Andreyanov
                      24 St Ives Way Apt 22
                      Marlborough, MA 01752

                      Andrias Suwito
                      Unit 202 9 Oconnell St
                      Luxe Apartment
                      North Melbourne VIC 3051
                      AUSTRAILA

                      Andriy Ned
                      1623 Military Road
                      Niagara Falls, NY 14304

                      Andrzej Feszak
                      Avinguda De Jaume Iii 27
                      Local 14
                      Palma De Mallorca PM 7012
                      SPAIN

                      Andy Dutton
                      20 Carlisle Ave
                      Rhyl WLS LL183UD
                      UNITED KINGDOM

                      Andy Lam
                      63 Silverstar Blvd., Unit #E6
                      Scarborough ON M1V 5E5
                      CANADA

                      Andy Tobias
                      31 Ardsley Ave W
                      New York, NY 10533

                      Andzella Mackevica
                      Via Alba 53
                      Cuneo CN 12100
                      ITALY

                      Anej Serec
                      Poljska Ulica 12
                      Murska Sobota 9000
                      SLOVENIA
                      Angel Alcazar Casas
                      Avenida San Esteban 86
                      4o 2a
                      Granollers B 8402
                      SPAIN
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1121 of
                                        1639



                      Angel Davila
                      12863 S. Brocklebank Lane
                      Unit K 201
                      Herriman, UT 84096

                      Angel Fonseca
                      2931 Tatla Pl
                      Coquitlam BC V3C 4W8
                      CANADA

                      Angel Roa
                      617 North Dillon Street, #202
                      Los Angeles, CA 90026

                      Angela Arcaro
                      571 N Madison Ave
                      Pasadena, CA 91101

                      Angelo Avegno
                      966 West 102nd Avenue
                      Northglenn, CO 80260

                      Angelo De Silva
                      Paul-Klee-Strasse 4
                      Munich 81477
                      GERMANY

                      Angelo Franke
                      Gewerbestrasse 68
                      Expo24Seven Gmbh
                      Herrsching A. Ammersee 82211
                      GERMANY

                      Angelo Gustilo
                      1007 East Lomita Avenue, #210
                      Glendale, CA 91205

                      Angelo Mendez
                      829 Amherst Road
                      Linden, NJ 07036

                      Anh Tuan Pham
                      Avenue Des Sorbiers 23
                      Waterloo 1410
                      BELGIUM

                      Ani Zhibaj
                      Efploias 59-61
                      Peiraias 18537
                      GREECE

                      Aniko Kunne Szabo
                      9 Roanoke Road, #312
                      Toronto ON M3A 1E4
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1122 of
                                        1639



                      Anil Kurup
                      1004 Bluebell Brook Street
                      Henderson, NV 89052

                      Anis Saoud
                      Blvd Saint-Martin, 24
                      Rz
                      Vevey 1800
                      SWITZERLAND

                      Anish Lathker
                      1 Plum Tree Ln
                      San Ramon, CA 94583-9111

                      Ankit Passi
                      152 Taralea Green NE
                      Calgary AB T3J4Y4
                      CANADA

                      Anna Horvath
                      3234 East Avenue
                      Livermore, CA 94550

                      Anna Kasko
                      88 Kamloops Street
                      Vancouver BC V5K 0E7
                      CANADA

                      Anna Miranda
                      145 Glanville Road
                      London ENG SW2 5DF
                      UNITED KINGDOM

                      Anneloes Dijkstra
                      Amstelboulevard 82
                      Amsterdam 1096 HJ
                      NETHERLANDS

                      Annemieke Tjaden-Vlieger
                      Leonard Springerlaan 219
                      Deventer 7424AA
                      NETHERLANDS

                      Annette Cole
                      118 North Kings Road
                      Unit 206
                      Los Angeles, CA 90048

                      Annette Dokes
                      2381 Coco Palm Dr
                      Tustin, CA 92780
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1123 of
                                        1639



                      Anousha Bhugun
                      56 Brambles Farm Drive
                      Uxbridge ENG UB10 0DZ
                      UNITED KINGDOM

                      Ante Vukasovic
                      Sulzbergstrasse 20
                      Wettingen 5430
                      SWITZERLAND

                      Anthony Bailey
                      10324 Fairway Heights Blvd
                      Miami, FL 33157

                      Anthony Bento
                      19 Platt Ave
                      West Babylon, NY 11704

                      Anthony Buckley
                      4860 Park Commons Drive #106
                      Minneapolis, MN 55416

                      Anthony Ceparano
                      437 SW Natura Ave
                      Apt. A
                      Deerfield Beach, FL 33441

                      Anthony Cho
                      159 Hass Lane
                      La Habra, CA 90631

                      Anthony Cognetta
                      898 Burr Street North
                      Saint Paul, MN 55130

                      Anthony Costello
                      2160 Fiddlers Ct
                      Apt C
                      Winston Salem, NC 27107

                      Anthony Cruz
                      6665 Lucky Strike Way
                      Las Vegas, NV 89108

                      Anthony Davis
                      130 48th Street South
                      St. Petersburg, FL 33711

                      Anthony Deangelo
                      98 Standish Street
                      Weymouth, MA 02191

                      Anthony Egendoerfer
                      620 Hattaway Drive
                      Altamonte Springs, FL 32701
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1124 of
                                        1639



                      Anthony Falcon
                      4808 Crystal Field St.
                      North Las Vegas, NV 89031

                      Anthony Francis
                      2264 Mackey Pike
                      Nicholasville, KY 40356

                      Anthony Galante
                      2360 La Fey Avenue
                      Manteca, CA 95337

                      Anthony Hernandez
                      1343 Tulane Rd
                      Claremont, CA 91711-3421

                      Anthony Joyner
                      101 Meadows Circle
                      Boynton Beach, FL 33436

                      Anthony Kha
                      615 104 Ave Sw
                      Calgary AB T2W0A4
                      CANADA

                      Anthony Larocco
                      5500 Laurent Drive Apt 302
                      Parma, OH 44129

                      Anthony Levandowski
                      1186 Folsom Street
                      San Francisco, CA 94103

                      Anthony Lukach
                      4001 Hubbard Ave N
                      Robbinsdale, MN 55422

                      Anthony Manning
                      24 Florence Street
                      Rockingham WA 6168
                      AUSTRAILA

                      Anthony McDonald
                      864 Upper Ottawa Street
                      Hamilton ON L8T 3V5
                      CANADA

                      Anthony Melendez
                      16 Bank St
                      Derby, CT 06418

                      Anthony Mercado
                      2357 Belvedere Ave
                      San Leandro, CA 94577
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1125 of
                                        1639



                      Anthony Nader
                      20154 S Riverhill Dr
                      Clinton Twp, MI 48036

                      Anthony Nguyen
                      11724 Scripps Creek Drive
                      San Diego, CA 92131

                      Anthony Roberts
                      336 Adams Circle
                      Suite 101
                      Corona, CA 92882

                      Anthony Rose
                      342 Brunker Road,
                      Adamstown NSW 2289
                      AUSTRAILA

                      Anthony Scelza
                      1 Dry Kiln Lane
                      Hartland, VT 05052

                      Anthony Van Dorsten
                      913 Fitzroy Avenue
                      Mahora
                      Hastings HKB 4120
                      NEW ZEALAND

                      Anthony Young
                      6100 West Post Road
                      Chandler, AZ 85226

                      Antoine Duquette
                      2135 Rue Saint-Donat
                      Montreal QC H1L 5J9
                      CANADA

                      Antoine Pelletrau
                      7 Allee Des Pervenches
                      Vaux-Le-Penil 77000
                      FRANCE

                      Anton De Roeck
                      Kammenstraat 72
                      Antwerpen 2000
                      BELGIUM

                      Daniel Anton
                      108 Playa India
                      Aguadilla, PR 00603

                      Antonin Hendrych
                      Grift 65
                      Uithoorn 1423DJ
                      NETHERLANDS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1126 of
                                        1639



                      Antonio Bencini
                      7 Strada 16
                      Segrate MI 20054
                      ITALY

                      Antonio Castaneda
                      55 Oceanview Dr
                      Bay Point, CA 94565

                      Antonio Contreras
                      7601 Churchill Way, #624
                      Dallas, TX 75251

                      Antonio Del Paso
                      Calle Bahia Xcacel 7 Mza 23 Lote 1
                      Aventuras Club Marina , Departamento 305
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Antonio Del Paso Escobedo
                      Calle Bahia Xcacel 7 Mza 23 Lote 1
                      Departamento 305
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Antonio Del Paso Escobedo
                      Calle Bahia Xcacel 7 Mza 23 Lote 1
                      Oficina, Aventuras Club Marina
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Antonio Kelleher
                      5714 N Gibralter Way
                      Apt 304
                      Aurora, CO 80019

                      Antonio Lim
                      167 Robinson Drive
                      Tustin, CA 92782

                      Antonio Odette
                      16714 Quarry Rd
                      5C3
                      Southgate, MI 48195

                      Antonio Pandovski
                      Petar Acev
                      24/7
                      Skopje 1000
                      NORTH MACEDONIA

                      Antonio Papania-Davis
                      371 30th Street
                      Apt 401
                      Oakland, CA 94609
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1127 of
                                        1639



                      Antonio Reuer
                      169 1/2 West First St
                      Mansfield, OH 44902

                      Antonio Rodrigues
                      Rua Do Outeiro De Sao Pedro, #19
                      Chamusca PT-14 2140
                      PORTUGAL

                      Antonio Ruta
                      539 South Way
                      Newfield, NY 14867

                      Antonio Villanueva
                      Urb Paseo Las Olas
                      P-3, 302 Orca Street
                      Dorado, PR 00646

                      Antonios Taskonidis
                      19 Monastiriou Str
                      Thessaloniki 54627
                      GREECE

                      Antoon Vereycken
                      Kopstraat 276
                      Schoten 2900
                      BELGIUM

                      Antthony Van Dorsten
                      913 Fitzroy Avenue
                      Mahora
                      Hastings HKB 4120
                      NEW ZEALAND

                      Anuj Singh
                      1301 Greenbrier Dr
                      Mesquite, TX 75149

                      Anuradha Jayasekara
                      567 South Rancho Alegre Drive
                      Covina, CA 91724

                      Anurag Anurag
                      518 Sheree Lane
                      Placentia, CA 92870

                      Anurak To-Ngam
                      Little Elephant
                      55 Grove Road
                      Eastbourne ENG BN21 4TX
                      UNITED KINGDOM

                      Apiwatch Duangjan
                      17766 County Highway 11
                      Pleasant Hill, IL 62366
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1128 of
                                        1639



                      Apostolos Boumpoulis
                      Agias Eirinis 19A
                      Melissia 15127
                      GREECE

                      Apurva Chiranewala
                      100 Harris St
                      Sendle @ Wework
                      Pyrmont NSW 2009
                      AUSTRAILA

                      Aqsa Saleem
                      25 Strood Avenue
                      Essex London ENG RM7 0UX
                      UNITED KINGDOM

                      Gonzalo Juan Pablo Aragones
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166

                      Araz Taroyan
                      Carin Baats Gata 71B
                      71B
                      Stockholm 15259
                      SWEDEN

                      Arben Kovaci
                      35 Ives Street
                      London ENG SW3 2ND
                      UNITED KINGDOM

                      Arbnor Temaj
                      Sachsische Strasse 74
                      Berlin 10707
                      GERMANY

                      Arcadie Tabacaru
                      Str Radovanu Nr 9 Bloc 43
                      Apartament 6
                      Bucuresti B 22883
                      ROMANIA

                      Archan Mankad
                      99 Vista Montana #3101
                      San Jose, CA 95134

                      Archibald Rodriguez
                      2536 Village Drive
                      Union City, CA 94587
                      Arden Tirpanciyan
                      5 Columbus Pl
                      Cliffside Park, NJ 07010
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1129 of
                                        1639



                      Arelowo Alao
                      3263 Beech Street Northwest
                      Washington, DC 20015

                      Ari Frankel
                      94 County Road
                      Demarest, NJ 07627

                      Arick Escamilla Gomez
                      Genaro Garza Garcia 200-1
                      Col La Cima Privada La Finca
                      San Pedro Garza Garcia NL 66240
                      MEXICO

                      Ariel Escamilla
                      17625 Virginia Avenue
                      Bellflower, CA 90706

                      Ariel Stanley
                      75 Hanover Street
                      Lebanon, NH 03766

                      Ariel Yamil Alis
                      Alberti 1119
                      Ituzaingo B 1714
                      ARGENTINA

                      Arif Amjad
                      3979 Whips Run Drive
                      Woodbridge, VA 22193

                      Arif Tekiner Akkoyunlu
                      Zindelstrasse 13
                      Essen 45128
                      GERMANY

                      Arjang Abedini
                      2937 Delahaye Drive
                      Coquitlam BC V3B 7E8
                      CANADA

                      Arjon Elmasllari
                      10850 Blue Pacific Ct
                      Jacksonville, FL 32257

                      Arkadij Avanesov
                      Maximilianstrasse 24
                      Simbach Am Inn 84359
                      GERMANY
                      Arman Razaali
                      1309 Newbury Lane
                      Plano, TX 75025
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1130 of
                                        1639



                      Arman Sukunyan
                      400 S Glenwood Place
                      Burbank, CA 91506

                      Arman Sukunyan
                      400 South Glenwood Place
                      Burbank, CA 91506

                      Armando Garcia
                      423 NE 23rd St., #808
                      Miami, FL 33137

                      Armando Trujillo
                      8857 Oso Ave
                      Winnetka, CA 91306

                      Armen Sarkisian
                      16917 Calahan Street
                      Los Angeles, CA 91343

                      Armen Sarkisian
                      16917 Calahan Street
                      Northridge, CA 91343-3504

                      Armin Rahimic
                      Im Stoffel 11
                      Mels 8887
                      SWITZERLAND

                      Armin Sameri
                      18909 Lloyd Circle, #226
                      Dallas, TX 75252

                      Arnaud Fontaine
                      31 Route Du Guillaume
                      Cd 3 Le Ruisseau
                      Bois De Nefles Saint Paul 97411
                      REUNION

                      Arnel Adviento
                      90 Saddleridge Close Northeast
                      Calgary AB T3J 4X2
                      CANADA

                      Arno Lemus
                      1024 NW 102 Place
                      Miami, FL 33172

                      Arno Pasternacj
                      Kluterstrasse 1
                      Burgdorf 38272
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1131 of
                                        1639



                      Arnold Kirlew
                      1435 E 59th St
                      Brooklyn, NY 11234-4125

                      Arnold Salcedo
                      4615 NE 155th Ave
                      Vancouver, WA 98682

                      Arsene Saheurs
                      Alfred-Escher-Strasse 88, #20
                      Zurich 8002
                      SWITZERLAND

                      Arshad Mehter
                      #3 Yorkshire Road
                      Christ Church NA
                      BARBADOS

                      Arshad Yousef
                      125 Shady Ln
                      Rossville, TN 38066

                      Arshia Kiani
                      23540 39th Place West
                      Brier, WA 98036

                      Arshid Manocha
                      Bisschoppenhoflaan 284
                      11C
                      Antwerp 2100
                      BELGIUM

                      Artem Kuznetsov
                      5401 Chimney Rock Rd, #967
                      Houston, TX 77081

                      Artem Zhigarev
                      13 Gray Crescent
                      Torbay
                      Auckland AUK 630
                      NEW ZEALAND

                      Arthur Lowmack
                      2104 Hemlock Bay Road
                      Dumfries, VA 22026

                      Arthur Muir
                      116 North Rochester Street
                      San Mateo, CA 94401
                      Arthur Nemirovskiy
                      7724 Big Bend Blvd
                      2W
                      Webster Groves, MO 63119
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1132 of
                                        1639



                      Arthur Wang
                      6C Wolsley Avenue
                      Milford
                      Auckland AUK 620
                      NEW ZEALAND

                      Artur Cybulski
                      Ormisstrasse 75
                      Meilen 8706
                      SWITZERLAND

                      Arturo Aranda Aguilera
                      Plaza Constitucion, No 5, 2o-5a
                      Viladecans B 8840
                      SPAIN

                      Arturo Hinojosa
                      4821 Blaney Ave
                      North Richland Hills, TX 76180

                      Arturo Manuel Rivera Cardona
                      252 Ley Federal Del Trabajo Col. Azaleas
                      Soledad De Graciano Sanchez SLP 78436
                      MEXICO

                      Arturo Martinez
                      3603 Dogwood Blossom Ct
                      Pearland, TX 77581

                      Alvarez Arturo
                      10976 Ivy Hill Dr, #6
                      San Diego, CA 92131

                      Aryaman Chanana
                      24708 Cordillera Drive
                      Calabasas, CA 91302

                      Aryeh Primus
                      1770 Chestnut Pl Apt 1308
                      Denver, CO 80202

                      Alex Asahan
                      9231 El Cortez Ave
                      Fountain Valley, CA 92708

                      Aldo Ascencio
                      12323 Juniper Blossom Pl
                      Clarkburg, MD 20871

                      Asha Swan
                      916 E. Palm Ave.
                      Burbank, CA 91501
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1133 of
                                        1639



                      Asher Wright
                      1205 Comox Street
                      Apt 102
                      Vancouver BC V6E 1K6
                      CANADA

                      Mian Ashfaq
                      7282 Olde Lantern Way
                      Springfield, VA 22152

                      Ashish Chhabra
                      316 Evanston View Nw
                      Calgary AB T3P 1G2
                      CANADA

                      Ashish Gupta
                      1017 High Hawk Trail
                      Euless, TX 76039

                      Ashish Nair
                      20 Stewart Street
                      Apt 703
                      Toronto ON M5V1H6
                      CANADA

                      Ashish Vattakassery
                      1306 Queen Street West
                      Brampton ON L6X 0B2
                      CANADA

                      Ashish Vempati
                      6118 Quartz Ln., Grand Blanc, Mi, 48439
                      Grand Blanc Twp, MI 48439

                      Ashley Odono
                      8416 Zeiler Avenue
                      Panorama City, CA 91402

                      Ashley Sparkes
                      2A Dolphin Way, Stapleford
                      Cambridge ENG CB22 5DW
                      UNITED KINGDOM

                      Ashley Sparkes
                      2A Dolphin Way, Stapleford
                      Cambridge ENG CB225DW
                      UNITED KINGDOM

                      Ashley Zatouneh-Murray
                      457 Marlee Avenue
                      Apt.308
                      Toronto ON M6B 3J2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1134 of
                                        1639



                      Ashraf Hasan
                      25319 W Wilson Ct
                      Plainfield, IL 60586

                      Ashraf Ismail
                      596 Pennycross Lane
                      Ottawa ON K0A 1L0
                      CANADA

                      Ashton Tracey
                      5901 West Behrend Drive, #2006
                      Glendale, AZ 85308

                      Asif Usman
                      999 41st Ave NE
                      Apt 101
                      Columbia Hts, MN 55421

                      Askar Ayupov
                      Route Du Bout-Du-Monde 15
                      Geneve 1206
                      SWITZERLAND

                      Athanasios Goudosis
                      Dilou 12 Galatsi
                      Athens 11147
                      GREECE

                      Athir Elali
                      16 Rue Hickory
                      Dollard-Des-Ormeaux QC H9G 3B7
                      CANADA

                      Atir Petkar
                      319 Alewife Brook Parkway
                      Somerville, MA 02144

                      Attila Hortobagyi
                      Hauptsrasse 12
                      Au In Der Hallertau 84072
                      GERMANY

                      Au Nguyen
                      5114 Verdome Ln
                      Houston, TX 77092

                      August August
                      135 West 41st Street
                      New York, NY 10036
                      Augustinos Krassas
                      Perikleous 75
                      Chalandri 15231
                      GREECE
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1135 of
                                        1639



                      Aurel Croitoru
                      93, Strabuna
                      Bucharest B 12464
                      ROMANIA

                      Aurelia Pollet
                      3748 Williams Avenue
                      Claremont, CA 91711

                      Aurimas Skorupskas
                      7 Broadpiece
                      Pennyland
                      Milton Keynes ENG MK158AT
                      UNITED KINGDOM

                      Austin Arnold
                      138 Camelin Dr
                      Washington, IL 61571

                      Austin Federa
                      184 Kent Ave, C612
                      Brooklyn, NY 11249

                      Austin Geisler
                      2370 Wharton Court
                      Florissant, MO 63031

                      Austin Hajjar
                      703 Pier Ave Suite B258
                      Hermosa Beach, CA 90254

                      Austin Labry
                      2315 Zlaten Dr.
                      Apt. H 305
                      Longmont, CO 80504

                      Austin Martinez
                      645 Northwest 1st Street, #301
                      Miami, FL 33128

                      Austin Moon
                      1861 N Crest Rd N11
                      Saratoga Springs, UT 84045

                      Austin Murders
                      5405 Wheeler Rd
                      Fayetteville, AR 72704-5941

                      Austin Nowakowski
                      7006 Unit A
                      Newcastle, WA 98059

                      Austin Olivieri
                      3607 Beech Run Ln
                      Mechanicsburg, PA 17050
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1136 of
                                        1639



                      Austin Watson
                      31 Leon Place
                      St. Albert AB T8N 1X6
                      CANADA

                      Avalon Parton
                      735 Guinda St
                      Palo Alto, CA 94301

                      Avelino Acbang
                      1081 Cavern Drive
                      Mesquite, TX 75181

                      Avery Ford
                      P.O Box 64694
                      Lubbock, TX 79464

                      Avi Schwartz
                      5 Hilltop Lane
                      Monsey, NY 10952

                      Avinash Sujeeth
                      2930 Grand Oaks Loop
                      Apt. 2101
                      Cedar Park, TX 78613

                      Avraam Achkhanian
                      Archiepiskopou Makariou III 59
                      Xylotimpou 7510
                      CYPRUS

                      Ayan Khayrallah
                      3700 Shuswap Avenue
                      Richmond BC V7E 3T3
                      CANADA

                      Ayaz Kapadia
                      89-22 Gettysburg St
                      First Floor
                      Bellerose, NY 11426

                      Ayaz Sabir
                      17 West View
                      Bradford ENG BD47ER
                      UNITED KINGDOM

                      Ayman Abdelaziz
                      394 Avenue C
                      Bayonne, NJ 07002
                      Ayman Ghanem
                      Ortliebgasse 38/3/12
                      Vienna 1170
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1137 of
                                        1639



                      Ayodeji Adenuga
                      2610 Harrison Mill Drive
                      Douglasville, GA 30135

                      Aytunc Aslan
                      Fontaneweg 2
                      Neunkirchen 57290
                      GERMANY

                      Azam Qureshi
                      29 Buena Vista Pl
                      Oakland, CA 94618

                      Aziz Fussek
                      Siegfriedgasse 23/Tor 1
                      Wien 1210
                      AUSTRIA

                      Babajide Moibi
                      Richard-Wagner-Strasse 26
                      Koln 50674
                      GERMANY

                      Badar Essiouri
                      10 Allee Des Cedres
                      Apartment A304
                      Villepinte 93420
                      FRANCE

                      Badr-Eddine El Haimer
                      47 Blvd Vincent Auriol
                      Apart 21
                      Paris 75013
                      FRANCE

                      Bahalddin Alshamakhi
                      Haharina Ave #84
                      Dnipro (Dnepropetrovsk) 49038
                      UKRAINE

                      Bakdounes Bachar
                      Lauterbachstrasse
                      137C
                      Utzigen 3068
                      SWITZERLAND

                      Bakr Jasim
                      4123 109 Street Northwest
                      Edmonton AB T6J 2S2
                      CANADA

                      Balaji Balasubramanian
                      Dyrmyrgata 38B
                      Kongsberg 3611
                      NORWAY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1138 of
                                        1639



                      Anthony Baldino
                      251 Bonview St
                      San Francisco, CA 94110

                      Banu Mertono
                      18/60 Lakefield Place
                      Runcorn QLD 4113
                      AUSTRAILA

                      Baraa Allahham
                      57
                      Amstelveen 1186AP
                      NETHERLANDS

                      Barak Landau
                      1408 Strathmore Mews North
                      Vancouver BC V6Z 3A9
                      CANADA

                      Barend Kloet
                      Singel 484 E
                      Amsterdam 1017AW
                      NETHERLANDS

                      Baris Taze
                      50 Mounds Rd
                      Apt 206
                      San Mateo, CA 94402

                      Barjo Khalil
                      Radlkoferstrasse 2
                      Pluslingua Gmbh
                      Munich 81373
                      GERMANY

                      Barron Shipley
                      1446 Stoystown Road
                      Friedens, PA 15541

                      Barry Austin
                      130 Pacchetti Way
                      Mountain View, CA 94040

                      Barry Ballard
                      4724 George Washington Memorial Highway
                      Yorktown, VA 23692

                      Barry Castle
                      5259 Apo Dr
                      Honolulu, HI 96821-1827

                      Barry Chow
                      91 Banstock Drive
                      Toronto ON M2K 2H7
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1139 of
                                        1639



                      Barry Merritt
                      2611 Bens Branch Drive
                      Apt 3102
                      Kingwood, TX 77339-4907

                      Barry Poplaw
                      1950 Northeast 119th Road
                      North Miami, FL 33181

                      Barry Welch
                      704 Van Buren St.
                      Harper, KS 67058

                      Bart Achiel L Lanckriet
                      Hazegrasstraat 85
                      Knokke-Heist 8300
                      BELGIUM

                      Bart Leenen
                      Sint-Katarinaplein 3
                      Bus 32
                      Hasselt 3500
                      BELGIUM

                      Basalat Raja
                      1835 Molino Avenue, #15
                      Signal Hill, CA 90755

                      Basel Alashqar
                      3670 S John Hix Rd
                      Wayne, MI 48184

                      Basem Khan
                      777 North Air Depot Blvd, #4109
                      Midwest City, OK 73110

                      Basem Metwally
                      13230 Corbel Circle
                      Apt 1221
                      Fort Myers, FL 33907

                      Basil Bhatiya
                      103 Cody
                      Irvine, CA 92602

                      Alisha Bassim
                      3987 8th Ave
                      Sacramento, CA 95817

                      Bastian Fritsche
                      C/ Teixos, No 3
                      El Dorado, Bloque 3, Atico A
                      Sa Coma PM 7560
                      SPAIN
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1140 of
                                        1639



                      Bayside Cigars Emre Pars
                      401 Biscayne Blvd
                      S130
                      Miami, FL 33132

                      Daniel Beamer
                      6425 Wise Lane
                      King George, VA 22485

                      George T Beatty
                      2616 Norwood Dr
                      Rockford, IL 61107

                      Beau Pearson
                      5704 Bluebell Drive
                      North Little Rock, AR 72118

                      Bekim Kamberi
                      21320 Lemarsh Street
                      Los Angeles, CA 91311

                      Bekir Davutovski
                      Uhlandstrasse 20
                      Kempten (Allgau) 87437
                      GERMANY

                      Oleg Belotsky
                      9805 Peach Avenue
                      North Hills, CA 91343

                      Ben Abdull
                      23 Church Road
                      Acton ENG W3 8PU
                      UNITED KINGDOM

                      Ben Barlass
                      19811 River Rock Dr
                      Katy, TX 77449

                      Ben Bohmann
                      1029 East 8th Avenue
                      Apt 506
                      Denver, CO 80218

                      Ben Eldridge
                      46 London Road
                      Cirencester ENG GL7 1AG
                      UNITED KINGDOM

                      Ben Frayne
                      2120 Denk Court
                      Union, NJ 07083
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1141 of
                                        1639



                      Ben Jamison
                      19701 Ahern Rd
                      Moseley, VA 23120

                      Ben Longstroth
                      11588 Breckenridge Ln Nw
                      Silverdale, WA 98383

                      Ben Mullins
                      226 Queens Road, Bishopsworth
                      Bristol ENG BS138QF
                      UNITED KINGDOM

                      Ben Rhoades
                      1566 Anderson Ave
                      Apt G
                      Fort Lee, NJ 07024

                      Ben Sharpe
                      3256 72nd Place SE
                      Mercer Island, WA 98040

                      Ben Showalter
                      27 South View Road
                      Rising Sun, MD 21911

                      Ben Silion
                      Arthur Rubinstein Nr.5B
                      5B
                      Timisoara TM 300064
                      ROMANIA

                      Ben Starkie
                      Chemin De Pierrafuz 1
                      Vaux-Sur-Morges 1126
                      SWITZERLAND

                      Ben Swanson
                      Rako Controls ;Td
                      Rochester ENG ME2 2AH
                      UNITED KINGDOM

                      Ben Thayer
                      121 Roberts Road
                      Rollinsford, NH 03869

                      Ben Van Ruyssevelt
                      Zuidelijke Wandelweg 123
                      Amsterdam 1079RK
                      NETHERLANDS

                      Ben Zapirain
                      8 Derwent Place
                      Kearns NSW 2558
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1142 of
                                        1639



                      Bengt Andersson
                      Kulinggatan 5
                      Karlstad 65221
                      SWEDEN

                      Beniamin Mogovan
                      8427 188th Street Southeast
                      Snohomish, WA 98296

                      Benito Lieuw A Soe
                      J.S. Ruppertstraat 47
                      Amsterdam 1069KJ
                      NETHERLANDS

                      Benjamen Gould
                      1083 Vine St, #176
                      Healdsburg, CA 95448

                      Benjamin Arnold
                      Niels-Bohr-Weg 10
                      Erfurt 99097
                      GERMANY

                      Benjamin Bauer
                      P.O. Box 5672
                      Atlanta, GA 31107

                      Benjamin Cheung
                      545 Washington Avenue
                      Apt 209
                      Brooklyn, NY 11238

                      Benjamin Deck
                      2227 Taggert Street
                      Philadelphia, PA 19125

                      Benjamin E Endress
                      133 Wentworth Avenue
                      Cincinnati, OH 45220

                      Benjamin Endress
                      133 Wentworth Avenue
                      Cincinnati, OH 45220

                      Benjamin Gallagher
                      3174 Warwick Terrace
                      Hamburg, NY 14075

                      Benjamin Greene
                      6445 Northeast 7th Avenue
                      Apartment 509N
                      Miami, FL 33138
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1143 of
                                        1639



                      Benjamin Jenkins
                      25 Newmarket Road
                      Durham, NH 03824

                      Benjamin Lee
                      108 Beverly St
                      Mountain View, CA 94043-5257

                      Benjamin Liquet
                      110 West 86th St.
                      Apt. 12C
                      New York, NY 10024

                      Benjamin Martinez Jr
                      904 Windy Wood Ln.
                      Sweeny, TX 77480

                      Benjamin Neamtu
                      17602 N 62 Dr
                      Glendale, AZ 85308

                      Benjamin Pelayo
                      151 N Westwood Ave
                      Apt 161
                      Lindsay, CA 93247

                      Benjamin Povman
                      56 Fremont Road
                      Sleepy Hollow, NY 10591

                      Benjamin Rednour
                      1910 Madison Avenue, #634
                      Memphis, TN 38104

                      Benjamin Schwartz
                      6621 Wakefield Drive
                      #410
                      Alexandria, VA 22037

                      Benjamin Tran
                      1198 S 12th St Apt 6
                      San Jose, CA 95112

                      Benjamin Van Dam
                      Bunder 1
                      Boom 2850
                      BELGIUM

                      Benjamin Vigil
                      1411 N Highland Ave
                      Apt 316
                      Los Angeles, CA 90028
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1144 of
                                        1639



                      Benjamin Weihs
                      Dumontstraat 11
                      Haarlem 2033 ZB
                      NETHERLANDS

                      Benjamin Wenger
                      2402 7th Street North
                      Fargo, ND 58102

                      Benjamin Zimmermann
                      Uferstrasse 35
                      Mainz 55116
                      GERMANY

                      Bennet Emrich
                      3454 S Delaware Ave
                      Milwaukee, WI 53207

                      Bennie Wall
                      1207 Santa Anna Rd
                      Henrico, VA 23229

                      Benny Kirksey
                      2400 Houston Oaks Court
                      Grapevine, TX 76051

                      Benoit Ouellette
                      266 16E Av
                      Saint-Jean-Sur-Richelieu QC J2X5C3
                      CANADA

                      Benyamin Holley
                      2380 Ivanhoe Way South
                      St. Petersburg, FL 33705

                      Berger Cattle Company
                      318 West Main Street
                      Mandan, ND 58554

                      Rob Bergeron
                      3115 Redbud Ln
                      Louisville, KY 40220

                      David Bernal
                      2234 Louetta Brook Lane
                      Spring, TX 77388

                      Bernard Maiden
                      8433 Lucerne Rd
                      Randallstown, MD 21133

                      Bernard Prat
                      49 Louvain Street
                      Fairfield, CT 06825
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1145 of
                                        1639



                      Bernardo Barbucci
                      Pestalozzistrasse 30
                      Zurich 8032
                      SWITZERLAND

                      Berne Launay
                      1521 North Argonne Road
                      C142
                      Spokane Valley, WA 99212

                      Berry Blom
                      Koepoortsweg 100
                      Hoorn 1624AH
                      NETHERLANDS

                      Berry Smit
                      Lage Naarderweg 68
                      Hilversum 1211AD
                      NETHERLANDS

                      Beysim Yildirim
                      Turkmen Mahallesi 126/1 F Blok Kat 2 Dai
                      Yat Sitesi
                      Aydin 9400
                      TURKEY

                      Bharat Goud Maddela
                      605 Tasman Drive, #1319
                      Sunnyvale, CA 94089

                      Bhavina Vadgama
                      65 Gladstone Avenue
                      Feltham ENG TW14 9LJ
                      UNITED KINGDOM

                      Bianca Albano
                      35 Dewhurst Road
                      Waltham Cross ENG EN8 9PG
                      UNITED KINGDOM

                      Biboc Oy Eranen
                      Vanhalantie 26
                      Kotka 48310
                      FINLAND

                      Benjamin Bidinger
                      14100 Madison Ave NE
                      Bainbridge Island, WA 98110

                      Bilal Ayub
                      942 Barton Oaks Pl
                      Herndon, VA 20170
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1146 of
                                        1639



                      Bilal Bawany
                      2300 Vantage Drive, #3066
                      Woodbridge, VA 22191

                      Bilal Raza
                      9242 Gross Point Rd, #412
                      Skokie, IL 60077

                      Bilal Said
                      2141 Citrine Way
                      Sacramento, CA 95834

                      Bill Barringham
                      20 Ames Street, #1
                      Somerville, MA 02145

                      Bill Connelly
                      203 Aberfoyle Avenue
                      Hamilton ON L8K 4S4
                      CANADA

                      Billy Bishop
                      11607 Oak Shadows Ln
                      Houston, TX 77024

                      Billy Campbell
                      2504 Palmer Drive
                      Gulfport, MS 39507

                      Bin Chen
                      73 Townwood Dr
                      Richmond Hill ON L4E 4T2
                      CANADA

                      Bin Di-Rupp
                      6633 Quitman Court
                      Arvada, CO 80003

                      Birinderpal Purba
                      4488 Windermere Street
                      Vancouver BC V5R 0J4
                      CANADA

                      Birju Solanki
                      221 W 48th Street Apt 805
                      Kansas City, MO 64112

                      Bisheswar Leishangthem
                      1 Crocus Ct
                      Piscataway, NJ 08854

                      Biswa Samanta
                      307 Santa Barbara
                      Irvine, CA 92606
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1147 of
                                        1639



                      Bj Marcelin
                      2064 East McGalliard Avenue
                      Trenton, NJ 08610

                      Bjork Ostrom
                      4015 Evergreen Pl
                      Shoreview, MN 55126

                      Bjorn Manthei
                      Alte Allee 14
                      Berlin 14055
                      GERMANY

                      Bjorn Obornik
                      Treptowweg 46
                      Hannover 30179
                      GERMANY

                      Bjorn Schwarze
                      Kaistrasse 101
                      Kiel 24114
                      GERMANY

                      Blair Scheib
                      840 Turquoise St, #204
                      San Diego, CA 92109

                      Blake Bertram
                      12333 NE Stanton St
                      Portland, OR 97230

                      Blou Fleurissaint
                      2030 Childress Drive Sw
                      Atlanata, GA 30311

                      Bobbi Razzino
                      49-51 Ashwin Parade
                      Torrensville SA 5031
                      AUSTRAILA

                      Bobby Wawak
                      1914 Edgeware Drive
                      Austin, TX 78704

                      Bogdan Dornescu
                      42 Rose Glen
                      Rm7 0Sp ENG RM7 0SP
                      UNITED KINGDOM

                      Bogdan Florian
                      17 Cobham Road
                      Birmingham ENG B94UP
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1148 of
                                        1639



                      Bohumir Kovar
                      Hradistko 96
                      Sadska 28912
                      CZECH REPUBLIC

                      Bojan Jaksic
                      8069 Misty Canyon Ave
                      Las Vegas, NV 89113

                      Bojan Jovanovski
                      Ul. Mitre Vlaot 10B
                      Skopje 1000
                      NORTH MACEDONIA

                      Boldizsar Tatar
                      Daroczi Ut 1-3.
                      Thyssenkrupp Components Technology Hunga
                      Budapest 1113
                      HUNGARY

                      Ali Azimi Bolourian
                      301 Lethbridge Court
                      Ashton, MD 20861-3604

                      Bonnie McDonald
                      139 Hideaway Cove Trail
                      Turtletown, TN 37391

                      Renato Silva Borges da Rocha
                      1537 Victoria Isle Way
                      Weston, FL 33327

                      Chelsey Borgos
                      6305 S Millbrook Way
                      Aurora, CO 80016

                      Borislav Angelov
                      26 Gordon Road
                      London ENG W5 2AD
                      UNITED KINGDOM

                      Alexander Borremans
                      228 Edge Hill Dr.
                      Canyon Lake, TX 78133

                      Ma Antonietta Borruel
                      5500 Telegraph Rd Ste 145
                      Ventura, CA 93003

                      Boryana Kolf
                      60 Hope Ave Apt 313
                      Waltham, MA 02453
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1149 of
                                        1639



                      Boy Schook
                      Herengracht 184B
                      Amsterdam 1016 BS
                      NETHERLANDS

                      Brad Battles
                      29155 Edward Avenue
                      Madison Heights, MI 48071

                      Brad Boston
                      54 W 5th Ave
                      Collegeville, PA 19426

                      Brad Downer
                      350 Village Drive
                      King Of Prussia, PA 19406

                      Brad Gray
                      3021 Clairmont Avenue, #12
                      Birmingham, AL 35205

                      Brad Hall
                      506 Siltstone Place
                      Cary, NC 27519

                      Brad Lefave
                      25
                      Van Daele St
                      Sault Ste. Marie ON P6B4V3
                      CANADA

                      Brad Marshall
                      2412 Juno Ave.
                      Orlando, FL 32817

                      Brad Rich
                      14116 S Winfield Scott Way
                      Draper, UT 84020

                      Brad Slavin
                      6038 Blue Dawn Trail
                      San Diego, CA 92130

                      Brad Tolar
                      2575 East Sahara Avenue
                      D
                      Las Vegas, NV 89104

                      Brad Wilkinson
                      910 Moss Drive
                      Savannah, GA 31410

                      Braden Nora
                      2057 Parkside Drive East
                      Seattle, WA 98112
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1150 of
                                        1639



                      Bradley Burk
                      216 Shanley Ct
                      Roseville, CA 95747

                      Bradley Chamberlin
                      700 San Juan Oaks Rd
                      Brentwood, CA 94513

                      Bradley Coupland
                      3721 Evergreen St
                      Port Coquitlam BC V3B 4X3
                      CANADA

                      Bradley Dougherty
                      45 West Park Heights
                      Keswick
                      Georgina ON L4P3T9
                      CANADA

                      Bradley Ellis
                      2203 Sage Canyon Dr
                      Cedar Park, TX 78613

                      Bradley Jordan
                      200 Jordan Lane
                      Helena, AL 35080

                      Bradley Lauk
                      314 North Division Street
                      Powell, WY 82435

                      Bradley Lauster
                      72 Townsend St
                      Unit 706
                      San Francisco, CA 94107

                      Bradley Morris
                      13128 S Horizon Point Dr
                      Draper, UT 84020-8879

                      Bradley Nering
                      1275 Fruitdale Ave
                      San Jose, CA 95126

                      Bradley Neumann
                      358 West 4th Avenue
                      Columbus, OH 43201

                      Bradley Nolet
                      10201 Washingtonian Blvd #326
                      Gaithersburg, MD 20878

                      Bradley Perry
                      5512 Bastian Blvd
                      South Beloit, IL 61080
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1151 of
                                        1639



                      Bradley Yencer
                      22501 Chase
                      Apt 3114
                      Aliso Viejo, CA 92656

                      Braeden Tiemann
                      1514 West Mission Blvd
                      Apt 19
                      Pomona, CA 91766

                      Bram Roggen
                      Bovenveld 24
                      Holsbeek 3220
                      BELGIUM

                      Bram Ruts
                      Gerheide 127
                      Balen 2490
                      BELGIUM

                      Branden Kunkler
                      4579 SE Mair St
                      Hillsboro, OR 97123

                      Brandon Austin
                      3903 S Congress Ave, #41089
                      Austin, TX 78704

                      Brandon Barry
                      429 S Seaward Ave
                      Ventura, CA 93003

                      Brandon Bonanno
                      34 Mazza Court
                      Staten Island, NY 10312

                      Brandon Boren
                      9227 Reseda Blvd #122
                      Northridge, CA 91324

                      Brandon Brown
                      675 Brown Street
                      Peterborough ON K9J 4K6
                      CANADA

                      Brandon Chin
                      317 Portlock Rd
                      Honolulu, HI 96825

                      Brandon Chowsen
                      7844 160A Street
                      Surrey BC V4N 0T7
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1152 of
                                        1639



                      Brandon Cuff
                      1697 Allen Avenue
                      Pasadena, CA 91104

                      Brandon Detmers
                      1040 Back Road
                      Springhill NS B0M 1X0
                      CANADA

                      Brandon Diehl
                      2026 East Hazzard Street
                      Philadelphia, PA 19125

                      Brandon Dillon
                      6431 Menlo Street
                      Simi Valley, CA 93063

                      Brandon Fine
                      260 Raven Spur
                      Powell, OH 43065

                      Brandon Gerber
                      2052 Brendla Road
                      Clearwater, FL 33755

                      Brandon Hiltz
                      720 Roberts Rd, #100
                      Sartell, MN 56377

                      Brandon Jung
                      7700 Irvine Center Drive
                      Suite 800
                      Irvine, CA 92618

                      Brandon Light
                      P.O. Box 680556
                      Fort Payne, AL 35968

                      Brandon May
                      3433 Hardwood Forest Drive
                      Louisville, KY 40214

                      Brandon Neff
                      44 Castle View Drive
                      Mckees Rocks, PA 15136

                      Brandon Nesbit
                      8354 Urry Circle
                      Sandy, UT 84093
                      Brandon Northington
                      3400 S Clark St
                      Apt 915
                      Arlington, VA 22202
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1153 of
                                        1639



                      Brandon Rinehart
                      510 Front St
                      Georgetown, SC 29440

                      Brandon Ristow
                      223 Discher Street, #14
                      Schofield, WI 54476

                      Brandon Rutledge
                      20510 Ottawa Road
                      Apple Valley, CA 92308

                      Brandon Tesar
                      215 Rachel Circle
                      Forest Hill, MD 21050

                      Brandon Valdez
                      86-324 Kauaopuu
                      Waianae, HI 96792

                      Brandy Griffith
                      3250 Conservation Pl Apt 201
                      Melbourne, FL 32934

                      Branko Djuric
                      Rietgrabenstrasse 84
                      Opfikon 8152
                      SWITZERLAND

                      Branko Vulin
                      Ingenjorsgatan 1
                      Malmo 21568
                      SWEDEN

                      Brayden Klein
                      827 Fairfield Rd
                      Suite 208
                      Victoria BC V8V 5B2
                      CANADA

                      Brayner Daal
                      Koekoekzoom 11
                      Pijnacker 2643 KP
                      NETHERLANDS

                      Brendan Maye
                      3321 Peridot Ave
                      Apt 114
                      Ames, IA 50010
                      Brendan Patterson
                      43 Bluebird Avenue
                      Cockatoo VIC 3781
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1154 of
                                        1639



                      Brendan Raftery
                      5656 La Jolla Hermosa Ave
                      La Jolla, CA 92037

                      Brenden Lisoff
                      28 Smart Street, #801
                      Fairfield NSW 2165
                      AUSTRAILA

                      Brennan Roy
                      3458 Goodridge Link Nw
                      Edmonton AB T5T 4G2
                      CANADA

                      Brent Benson
                      1018 North Durham Street
                      Baltimore, MD 21205

                      Brent Mills
                      62 Stetson Ave
                      Swampscott, MA 01907

                      Brent Sorenson
                      3045 Standridge Place
                      Saint Paul, MN 55109

                      Brent Thomas
                      251 Lauderdale Road
                      Nashville, TN 37205

                      Brent Tidwell
                      4023 Mossy Rock Lane
                      Franklin, TN 37064

                      Brent Wasson
                      724 Park Hills
                      Bowling Green, KY 42101

                      Brenton Long
                      4546 El Camino Real B10 #648
                      Los Altos, CA 94022

                      Bret Whaley
                      P.O. Box 165
                      Florence, WI 54121

                      Brett Carlson
                      4520 141st Avenue Southeast
                      Bellevue, WA 98006
                      Brett McDonald
                      172 Hideaway Cove Trail
                      Turtletown, TN 37391
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1155 of
                                        1639



                      Brett Robinson
                      8 Cross Street
                      Red Hill QLD 4059
                      AUSTRAILA

                      Brett Teger
                      189 Thunder Road
                      Holbrook, NY 11741-4435

                      Brewer Ward
                      2142 Saddleback Dr
                      Corona, CA 92879

                      Brian Athearn
                      455 State Road
                      Unit 2
                      Vineyard Haven, MA 02568

                      Brian Bell
                      1065 Queen Annes Lane
                      Beaumont, CA 92223

                      Brian Benton
                      1004 Brookstone Blvd
                      Mt. Juliet, TN 37122

                      Brian Burgos
                      2871 Willard Avenue
                      Oceanside, NY 11572

                      Brian Cain
                      401 Tralee Lane
                      Yukon, OK 73099

                      Brian Callaghan
                      P.O. Box 308
                      New Gretna, NJ 08224

                      Brian Carr
                      11800 Carters Valley Place
                      Chesterfield, VA 23838

                      Brian Chapin
                      1570 East River Road
                      Grand Island, NY 14072

                      Brian Delmonte
                      4 Ruth Pl
                      Middlesex, NJ 08846
                      Brian Feldman
                      6316 Rolden Court
                      Mount Dora, FL 32757
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1156 of
                                        1639



                      Brian Geddes
                      214 SE 150th Ct
                      Vancouver, WA 98684

                      Brian Gray
                      4721 Clopton Dr
                      Hayes, VA 23072

                      Brian Griffith
                      11700 Wisteria Pond Way, #417
                      Manassas, VA 20109

                      Brian Guay
                      10501 Kateri Drive
                      Grande Prairie AB T8W 2N1
                      CANADA

                      Brian Heath
                      514 Cardinal Dr
                      Conway, SC 29526

                      Brian Hitch
                      36 Barry Road
                      Pontypridd WLS CF37 1HY
                      UNITED KINGDOM

                      Brian Jacobs
                      409 Maple St
                      Lakehurst, NJ 08733

                      Brian Kaffee
                      32 Partridge Run
                      Montvale, NJ 07645

                      Brian Le
                      107B Stonyhill Road
                      Eatontown, NJ 07724

                      Brian Lee
                      5721 Buchanan Street
                      Burnaby BC V5B 2R9
                      CANADA

                      Brian Lee
                      205 Hillside Drive
                      Pacifica, CA 94044

                      Brian Lund
                      12432 Double Eagle Drive
                      Mukilteo, WA 98275

                      Brian Macpherson
                      15154 Creek Hills Road
                      El Cajon, CA 92021
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1157 of
                                        1639



                      Brian McArthur
                      5714 Colonial Garden Dr
                      Huntersville, NC 28078

                      Brian Menzel
                      25 Runnymede Road
                      Toronto ON M6S 2Y1
                      CANADA

                      Brian Mertz
                      413 East Stockbridge Street
                      Eagle Lake, TX 77434

                      Brian Mora-Morel
                      2307 Colfax Lane
                      Indianapolis, IN 46260

                      Brian Moran
                      11205 Lebanon Rd #79
                      Mt Juliet, TN 37122

                      Brian Newhard
                      42697 Latrobe Street
                      Chantilly, VA 20152

                      Brian Nguyen
                      445 Oak Court
                      Menlo Park, CA 94025

                      Brian Peasley
                      P.O. Box 1797
                      Nevada City, CA 95959

                      Brian Pon
                      25 Autumnwood Cres.
                      Spruce Grove AB T7X 0J3
                      CANADA

                      Brian Ratkiewicz
                      43 Pine Valley Drive
                      Pittsburgh, PA 15235

                      Brian Rego
                      101 Margaret Street
                      Pawtucket, RI 02860

                      Brian Singletron
                      701 S Polk St
                      Amarillo, TX 79101
                      Brian Slane
                      202 Dens Ridge Road
                      Cassville, MO 65625
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1158 of
                                        1639



                      Brian Smith
                      2209 Briarwood Drive
                      Mckeesport, PA 15135

                      Brian Vandenberg
                      6 Chaumont St
                      Mission Viejo, CA 92692

                      Brian Wasielewski
                      233 East 235th St
                      The Bronx, NY 10470

                      Brian Zapchenk
                      8504 W Stuenkel Rd.
                      Frankfort, IL 60423

                      Brian Zweig
                      5907 Willow Ln
                      Dallas, TX 75230

                      Brianne McInerney
                      11424 E. Forge Ave
                      Mesa, AZ 85208

                      Brittany Reed-Allen
                      2108 Gidding St.
                      Clovis, NM 88101

                      Brock Bales
                      1046 Lost Pines Lane
                      Cedar Park, TX 78613

                      Brock Ginter
                      1099 Oregon Blvd
                      Waterford, MI 48327

                      Brooke Little
                      458 Carriage Lane
                      Hudson, WI 54016

                      Brooke Rutherford
                      2400 Clarendon Blvd
                      Apt 1003
                      Arlington, VA 22201

                      Brooks Prumo
                      1419 Schley Avenue
                      San Antonio, TX 78210

                      Aaron Brown
                      13647 E Burnside Street
                      Portland, OR 97233
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1159 of
                                        1639



                      Taylor S. Brown
                      3176 Clairwood Ter
                      Chamblee, GA 30341

                      Bruce Cass
                      3074 14th Rd
                      Escanaba, MI 49829

                      Bruce Cunningham
                      477 Janice Drive
                      Sparta, TN 38583

                      Bruce Hollingdrake
                      2324 Avenue Maple
                      Saint-Lambert QC J4P 2S2
                      CANADA

                      Bruce Mai
                      7835 Milan Ave
                      University City, MO 63130

                      Bruno Cunha
                      Rua Norte Junior 17
                      6O Dir
                      Lisboa PT-11 1950-205
                      PORTUGAL

                      Bruno Geremia
                      Suite1000, 600-3 Ave Sw
                      Calgary AB T2P 0G5
                      CANADA

                      Bruno Giffard
                      1108 Rue Mailhot
                      Sherbrooke QC J1G 2S4
                      CANADA

                      Bruno Giffard
                      1108 Mailhot
                      Sherbrooke QC J1G2S4
                      CANADA

                      Bruno Mastrocolla
                      5650 Vantage Point Rd
                      Columbia, MD 21044

                      Bruno Pinto Goncalves
                      Bachstrasse 2
                      Dubendorf 8600
                      SWITZERLAND

                      Bruno Racineux
                      6715 Hollywood Blvd # 208
                      Los Angeles, CA 90028
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1160 of
                                        1639



                      Bruno Soumis-Beauchemin
                      158 Rue Auger
                      Ch Teauguay QC J6K 5J6
                      CANADA

                      Bryan Albuquerque
                      108 Swift Cres
                      Cambridge ON N1P 1J8
                      CANADA

                      Bryan Beane
                      419 Dowdy Trail
                      Murray, KY 42071

                      Bryan Bower
                      371 South 13th Street
                      San Jose, CA 95112

                      Bryan Brooks
                      29981 Los Nogales Road
                      Temecula, CA 92591

                      Bryan Davaris
                      25339 Via Dona Christa
                      Valencia, CA 91355

                      Bryan Kaufman
                      6371 Hillside Drive
                      Yorba Linda, CA 92886

                      Bryan Keubeng
                      1546 Woodland Ln
                      Bolingbrook, IL 60490

                      Bryan Kim
                      871 Crenshaw Blvd
                      Unit 303
                      Los Angeles, CA 90005

                      Bryan Mulder
                      6800 East 99th Ave
                      Anchorage, AK 99507-6722

                      Bryan O'Donnell
                      Soho Palm
                      Dubai DU
                      UNITED ARAB EMIRATES

                      Bryan Parker
                      14584 Bon Dickey Dr.
                      Baton Rouge, LA 70818-3711

                      Bryant Lin
                      424 Sonora Drive
                      San Mateo, CA 94402
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1161 of
                                        1639



                      Bryce Elkins
                      580 East 600 North
                      Columbia City, IN 46725

                      Bryce Lahiff
                      23527 Mountainside Court
                      Murrieta, CA 92562

                      Bryon Johnson
                      9007 14th Avenue South
                      Bloomington, MN 55425

                      Bubblehub Gmbh Sandra Sabin
                      Am Schopfwerk 33 Parzelle 83
                      Kleingarten
                      Wien 1120
                      AUSTRIA

                      Buck Parker
                      4465 S Mathews Way
                      Salt Lake City, UT 84124

                      Budes Florian Ciprian
                      Raul Doamnei, Nr.6A, Sector 6
                      Bl Ts4, Ap 64
                      Bucharest B 61764
                      ROMANIA

                      Andrew Buffum
                      1445 West Gramercy Place
                      San Antonio, TX 78201

                      Bukhari Hassan
                      1188 E 12Ave Columbus Oh
                      Columbus, OH 43211

                      Bulent Kocabas
                      Robert-Koch-Strasse 33
                      Neuss 42464
                      GERMANY

                      Bun Di-Rupp
                      Di-Rupp
                      Arvada, CO 80003

                      Anthony Butler
                      7556 Durham Hall Ave, #101
                      Las Vegas, NV 89130

                      Buvaneswari Ramanan
                      2001 Prospect Avenue
                      Scotch Plains, NJ 07076
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1162 of
                                        1639



                      Byron Callaghan
                      60 Shakespeare Avenue
                      London ENG N11 1AY
                      UNITED KINGDOM

                      Byron Callaghan
                      60 Shakespeare Avenue
                      Lodon ENG N111AY
                      UNITED KINGDOM

                      C. Gavin Shepherd
                      Woolf McClane Bright Allen & Carpenter
                      PO Box 900
                      Knoxville, TN 37901-0900

                      Federico D Cabral
                      777 Brickell Avenue
                      500-9910
                      Miami, FL 33131

                      Cade Foust
                      2107 Wild Peregrine Circle
                      Katy, TX 77494

                      Adam Cain
                      1237 Lake Parke Drive
                      St Johns, FL 32259

                      Caitlin Turner
                      14126 Marquesas Way #3419
                      Marina Del Rey, CA 90292

                      Caius Ivanita
                      1701 Fisher Ave
                      Ottawa ON K2C1X9
                      CANADA

                      Caleb Buttram
                      600 Confederate Circle
                      Taylors, SC 29687

                      Calebe Nobre
                      2945 Sycamore Rd
                      Huntingdon Valley, PA 19006

                      Callan Jotta
                      3A Dion Place
                      Coolbellup WA 6163
                      AUSTRAILA
                      Callum Watson
                      70 Redcroft Road
                      Danderhall SCT EH22 1FQ
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1163 of
                                        1639



                      Calvin Ball
                      4850 Natomas Blvd, #818
                      Sacramento, CA 95835

                      Calvin Castillo
                      15052 Fairacres Dr.
                      La Mirada, CA 90638

                      Calvin Chu
                      5 Clay
                      Irvine, CA 92620

                      Calvin Jaojoco
                      4162 El Molino Blvd
                      Chino Hills, CA 91709

                      Cam Mundle
                      5 Campbell Crescent Southeast
                      Medicine Hat AB T1B 1J7
                      CANADA

                      David Camacho
                      Calle De La Amargura 60 Int. Sotano 1
                      Lomas De La Herradura
                      Huixquilucan MEX 52785
                      MEXICO

                      Cameron Church
                      1252 Campbell Cir.
                      Jacksonville, FL 32207

                      Cameron Conte
                      36 Willowbank Avenue
                      Richmond Hill ON L4E 3B2
                      CANADA

                      Cameron Essex
                      1570 Heather Trace Lane
                      Winston Salem, NC 27127

                      Cameron Hurley
                      7449 La Jolla Blvd
                      San Diego, CA 92037

                      Cameron Kavich
                      9804 102 Street
                      Morinville AB T8R 1E7
                      CANADA

                      Cameron Siebels
                      2216 Wheaton Trail
                      Cedar Park, TX 78613
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1164 of
                                        1639



                      Cameron Talley
                      4115 Sunny Crossing Dr
                      Louisville, KY 40299

                      Camilla Gavgani
                      Bergsvagen 23 A
                      Savedalen 43361
                      SWEDEN

                      Candice Jiang
                      21 Reynolds Street
                      Apt. G
                      Rochester, NY 14608

                      Canh Nguyen
                      Holywood Nails, Regent Arcade, Cheltenha
                      Cheltenham ENG GL50 1JZ
                      UNITED KINGDOM

                      Carl Maybin
                      3318 Hayden Street
                      Honolulu, HI 96815

                      Carl Russo
                      97 E Shore Rd
                      Manhasset, NY 11030

                      Carl Smith
                      727 Furnace St.
                      Elyria, OH 44035

                      Carlin Vicera
                      8495 Cambie Street, #40
                      Vancouver BC V6P 3J9
                      CANADA

                      Carlos Alberto Pereyra Pacheco
                      Castillo 1035
                      1Ro A
                      Ciudad Autonoma De Buenos Aires C 1414
                      ARGENTINA

                      Carlos Davila Perez
                      P.O. Box 398
                      Vega Baja, PR 00694-0398

                      Carlos Garcia
                      6640 Southwest 26th Court
                      Miramar, FL 33023
                      Carlos Naibryf
                      16741 Harbor Ct
                      Weston, FL 33326
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1165 of
                                        1639



                      Carlos Pohls
                      Montreal #40, Raquet 2
                      Hermosillo SON 83200
                      MEXICO

                      Carlos Preciado
                      281 E. South
                      Rialto, CA 92376

                      Carlos Rios-Bedoya
                      10362 Edgewood Ct
                      Grand Blanc, MI 48439

                      Carlos Sevilla
                      2282 Montview Dr.
                      Clearwater, FL 33763

                      Carlos Trevino
                      1700 East 4th Street, #1113
                      Austin, TX 78702

                      Carlos Villegas
                      11844 South Camino San Matias
                      Tucson, AZ 85756

                      Carlos Zelaya
                      16000 Bunche Park School Dr
                      Miami Gardens, FL 33054

                      Abdel Carmona
                      41 Erial Road
                      Blackwood, NJ 08012

                      Carnel Britton
                      20 Parkdale Ave N
                      Hamilton ON L8H5W8
                      CANADA

                      Caroline Gong
                      77 Vine Street
                      Newton, MA 02467

                      Carrie Coholich
                      1527 Derby Drive
                      Rockwall, TX 75032

                      Carrie Menkari
                      83 Stearns Rd
                      Marlborough, MA 01752
                      Carrie Ryan
                      5528 Traceside Drive
                      Nashville, TN 37221
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1166 of
                                        1639



                      Melissa Carriles Biggham
                      13308 Digges Terrace
                      Fort Washington, MD 20744

                      Brelin Carroll
                      5650 Graduate Circle
                      Apt. 2206B
                      Tampa, FL 33617

                      Carsten Bluhm
                      Hekeler Strasse 63
                      Berne 27804
                      GERMANY

                      Carter Ritt
                      5448 E Lupine Ave
                      Scottsdale, AZ 85254

                      Cary Wan
                      3123 South Beverly Drive
                      Los Angeles, CA 90034

                      Casey Garland
                      5341 Cobra Rock Ln
                      J-305
                      Herriman, UT 84096

                      Casey Hansen
                      163 Bell St North
                      Suite 57083
                      Ottawa ON K1R 7E1
                      CANADA

                      Casey Miller
                      959 Stewart Drive, #128
                      Sunnyvale, CA 94085

                      Casey Parsons
                      6555 Masefield Street
                      Worthington, OH 43085

                      Cassidy Ellis
                      19141 Skyview Knoll
                      Yorba Linda, CA 92886

                      Cassie Adcock
                      2777 Washington Street
                      Adamstown, MD 21710

                      Alejandro Castillo
                      3313 Westbrook Drive
                      Taylorsville, UT 84129
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1167 of
                                        1639



                      Lucrecia Castillo
                      25386 Grandfir Court
                      Corona, CA 92883

                      Catalin Necsoiu
                      Str. Gradinilor, Nr 2
                      Moreni DB 135300
                      ROMANIA

                      Catherine Mullaly
                      P.O. Box 381309
                      Cambridge, MA 02238

                      Catrina Scroggins
                      P.O. Box 864682
                      Plano, TX 75086

                      Cavin Preghter
                      Leif Erikssonstraat 45
                      Almere 1363 LG
                      NETHERLANDS

                      Cayden Burkart
                      14 Patriot Place
                      Rouse Hill NSW 2155
                      AUSTRAILA

                      Caylan Siddell
                      15 Avon Street
                      Leichhardt QLD 4305
                      AUSTRAILA

                      Cedomir Gladovic
                      20 Jeffrey Street
                      Dandenong North VIC 3175
                      AUSTRAILA

                      Cedric Leboul
                      251 1st St
                      7F
                      Brooklyn, NY 11215

                      Cedric Mayence
                      Rue Dela Ferme Bal 7
                      Marcinelle 6001
                      BELGIUM

                      Ceferino Miranda
                      2051 Bancroft Ave
                      San Francisco, CA 94124

                      Cemal Atmaca
                      Winkeler Strasse 11
                      Wiesbaden 65197
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1168 of
                                        1639



                      Gaston Cenicola
                      7924 NW 66th St
                      Miami, FL 33166

                      Cesar Bolivar
                      172 Wembley Drive
                      Daly City, CA 94015

                      Cesar Ibanez
                      Trebol 140
                      Col. Privadas Del Sauce
                      Escobedo NL 66053
                      MEXICO

                      Cesar Montoya
                      5450 Telegraph Road
                      Suite 101
                      Winnetka, CA 93003

                      Cezary Prus
                      6914 Estoril Road
                      Mississauga ON L5N 1N1
                      CANADA

                      Chace Harrison
                      2612 23rd Ave
                      Rock Island, IL 61201

                      Chad Crapo
                      1064 Ridgetop Cove
                      South Jordan, UT 84095

                      Chad Holland
                      16 Cottontail Rd
                      Melville, NY 11747-2319

                      Chad Hudspeth
                      1448 Mayflower Ln
                      Lewisville, TX 75077

                      Chad Nicholson
                      95 Central Ave.
                      Montclair, NJ 07042

                      Chad Qualmann
                      W197N16925 Stonewall Dr
                      #304
                      Jackson, WI 53037

                      Chad Schmutzer
                      2570 S 10th Ave
                      Arcadia, CA 91006
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1169 of
                                        1639



                      Chad Truong
                      1600 Norman Ave.
                      San Jose, CA 95125

                      Chad Werts
                      160 Lawrence Bell Drive
                      Suite 120
                      Amherst, NY 14221

                      Chad Xiong
                      117 Peregrine Pl
                      Denver, PA 17517

                      Chadi Letayf
                      51 Engert Av
                      Apt 3
                      Brooklyn, NY 11222

                      Chadrick Fnu
                      2250 Northwest 114th Avenue
                      Doral, FL 33192

                      Chadwick Rastatter
                      6719 Houlton Cir
                      Lake Worth, FL 33467

                      Chadwick Snyder
                      21831 Northwest 2nd Court
                      Pembroke Pines, FL 33029

                      Chanborin Chum
                      6506 84th Court North
                      Minneapolis, MN 55445

                      Chance Kramer
                      9457 Riviera Drive
                      Union, KY 41091

                      Chance McGrath
                      4614 Jeff Davis St
                      Marshall, TX 75672

                      Chandan Uprety
                      523 Gristmill Street
                      Waterloo ON N2K0C9
                      CANADA

                      Chandara Hong
                      2777 Dearwood Drive Southwest
                      Atlanta, GA 30315

                      Chandler Grendus
                      10227 115 Street Nw, #405
                      Edmonton AB T5K 1T7
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1170 of
                                        1639



                      Chandler Richards
                      158 Broad Street
                      Charleston, SC 29401

                      Chandrasekhar Gogu
                      16711 South Azure Mist Court
                      Cypress, TX 77433

                      Channing Harral
                      P.O. Box 91722
                      East Point, GA 30364

                      Char Davis
                      4901 Bisset Ln
                      Inver Grove Heights, MN 55076

                      Charles   Lie Cano-Caron
                      150 C Te Du Colonel Dambourg S, #6
                      Quebec QC G1K 3W2
                      CANADA

                      Charles Barfield
                      8616 Cara Park Way
                      Tampa, FL 33635

                      Charles Blades
                      180 2nd Street Ste. 6
                      Oakland, CA 94607

                      Charles Byford
                      P.O. Box 4323
                      Salem, OR 97302

                      Charles Campbell
                      12466 Nesting Eagles Way
                      Jacksonville, FL 32225

                      Charles Carter
                      505 Elsmere Street
                      Columbus, OH 43206

                      Charles Donnor
                      378 Hwy 7
                      Tonasket Wa, WA 98855

                      Charles Dwight
                      226 Western Avenue
                      Kennebunk, ME 04043

                      Charles Groves
                      511 W Knox St
                      Durham, NC 27701
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1171 of
                                        1639



                      Charles H Sabatine
                      133 Beach 116th St Apt 2L
                      Rockaway Park, NY 11694

                      Charles Heenan
                      7 Summitt Drive
                      Dune Acres, IN 46304

                      Charles Huffhines
                      3420 Odell Avenue
                      Stockton, CA 95206

                      Charles Kannair
                      421 Blue Ridge Drive
                      Moon Twp, PA 15108

                      Charles Kulbacki
                      117 Young Rd
                      Sewickley, PA 15143

                      Charles Kulbacki
                      231 Kansas Street
                      Verona, PA 15147

                      Charles Lathrem
                      4032 W Moore Rd
                      Tucson, AZ 85742

                      Charles Moreau
                      545 Rue De Normandie
                      Longueuil QC J4H 3P6
                      CANADA

                      Charles Needham
                      4 Wordsworth Road
                      Harpenden ENG AL5 4AF
                      UNITED KINGDOM

                      Charles Olsen
                      841 Green St
                      Dickinson, ND 58601

                      Charles Pinkney
                      4095 Bonita Road
                      Unit 214
                      Bonita, CA 91902

                      Charles Price
                      2527 33rd St
                      Bsmt
                      New York, NY 11102

                      Charles Redmond
                      4840 Berrywick Terrace
                      St. Louis, MO 63128
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1172 of
                                        1639



                      Charles Rzadkowolski
                      4821 Birchman Avenue
                      Fort Worth, TX 76107-5331

                      Charles Shank
                      1300 Bentley Way
                      Carmel, IN 46032

                      Charles Spencer
                      12 Hollydale Drive
                      Bromley ENG BR28QL
                      UNITED KINGDOM

                      Charles St. Onge
                      407 Willingham Road
                      Morrisville, NC 27560

                      Charles Steadman
                      72 Meadowbrook Rd
                      Marlborough, MA 01752

                      Charles Tran
                      2674 Kimball Dr
                      San Jose
                      San Jose, CA 95121

                      Charley Bedford
                      4009 Cotton Wood Drive
                      Columbia, MO 65202

                      Chase Labeau
                      425 E 13th St
                      Apt D
                      New York, NY 10009

                      Chase Lenzley
                      2228 McKinley Ave #2
                      Berkeley, CA 94703

                      Chase Taylor
                      909 I St
                      Washougal, WA 98671-1134

                      Andrew Chater
                      3410 Eaglepoint Dr.
                      Glendale, CA 91208

                      Jose Chavez Salazar
                      3248 Brown Trout Court
                      Jacksonville, FL 32226

                      Chee Ooi
                      99 Cedar Street
                      Braintree, MA 02184
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1173 of
                                        1639



                      Aamir Cheema
                      1 Bryan Dr.
                      Barboursville, WV 25504

                      Chenzhi Geng
                      73 Wexford Cres Sw
                      Calgary AB T3H 0H1
                      CANADA

                      Cheri Chappell
                      1702 S Gary Place
                      Tulsa, OK 74104

                      Chester Prosser
                      3923 Southern Bluff
                      San Antonio, TX 78222

                      Chi Chan
                      1824 W 9th St
                      Brooklyn, NY 11223

                      Chibuike Bruno Asuzu
                      10971 Oak Lane
                      Apt 4108
                      Van Buren Charter Twp, MI 48111

                      Choongfatt Mun
                      8500 Lansdowne Road #222
                      Richmond BC V6X 3G4
                      CANADA

                      Chris Bahlo
                      6537 Kemper Lakes Ct
                      Alexandria, VA 22312

                      Chris Bailey
                      5424 Beckner St
                      Norfolk, VA 23509-2123

                      Chris Berger
                      1510 Partridge Run
                      Bentonville, AR 72713

                      Chris Bickerton
                      6177 Carmanah Way
                      Nanaimo BC V9V 0A5
                      CANADA

                      Chris Bowers
                      3165 Dickinson Avenue
                      Cincinnati, OH 45211
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1174 of
                                        1639



                      Chris Bruzzi
                      1401 West Highway 50
                      Unit 19
                      Clermont, FL 34711

                      Chris Buryk
                      6415 Sparrows Glen Lane
                      Spring, TX 77379

                      Chris Cullen
                      14 Haweswater Drive
                      Middleton
                      Manchester ENG M245GX
                      UNITED KINGDOM

                      Chris Espinal
                      614 Warren St
                      Harrison, NJ 07029-1818

                      Chris Ford
                      213 W Limestone St
                      Somerset, KY 42501

                      Chris Forest
                      8 Stirling Street
                      Hull ENG HU36SL
                      UNITED KINGDOM

                      Chris Gribble
                      10 Margot Court
                      Harlaxton QLD 4350
                      AUSTRAILA

                      Chris Hall
                      14947 Southeast Mill Street
                      Portland, OR 97233

                      Chris Hall
                      106 Lynn Street
                      Spanish Fort, AL 36527

                      Chris Hillier
                      12 Boniface Ave
                      Etobicoke ON M9W 1T6
                      CANADA

                      Chris Jones
                      2950 West Central Avenue
                      Santa Ana, CA 92704
                      Chris Keefe
                      117 Rockwater Way
                      Zebulon, NC 27597
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1175 of
                                        1639



                      Chris Kuci
                      10 Egmount Avenue
                      London ENG KT67AU
                      UNITED KINGDOM

                      Chris Lee
                      4405 Sugarmaple Court
                      Moorpark, CA 93021

                      Chris Mableson
                      16 Russell Street
                      York ENG YO23 1NW
                      UNITED KINGDOM

                      Chris Maguire
                      56 Woodlawn Avenue
                      Clifton, NJ 07013

                      Chris Michael
                      4 St Mary'S Place
                      London ENG W5 5HA
                      UNITED KINGDOM

                      Chris Miranda
                      3845 Mountain View Way
                      Bonita, CA 91902

                      Chris Mulvey
                      618 W 26th St.
                      Houston, TX 77008

                      Chris Napoli
                      6100 SW 55th Court
                      Davie, FL 33314

                      Chris Noiles
                      263 Whitepine Road
                      Riverview NB E1B 2X2
                      CANADA

                      Chris Orfanopoulos
                      6052 Lake Lindero Drive
                      Agoura Hills, CA 91301

                      Chris Raisch
                      380 Oak Knoll Dr.
                      P.O. Box 138
                      Marine On St Croix, MN 55047

                      Chris Schierholz
                      9276 Queensland Ln N
                      Maple Grove, MN 55311
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1176 of
                                        1639



                      Chris Schiller
                      Carl-Meier-Str. 39
                      Neustrelitz 17235
                      GERMANY

                      Chris Schulz
                      196 Medland Street
                      Toronto ON M6P 2N7
                      CANADA

                      Chris Stewart
                      14718 S. 217th W. Avenue
                      Kellyville, OK 74039

                      Chris Uzelmeier
                      111 Blue Gilia Ct
                      Montgomery, TX 77316

                      Chris Vara
                      17735 North 168th Lane
                      Surprise, AZ 85374

                      Chris Watkins
                      16 Manor Close Notton
                      West Yorkshire
                      Wakefield ENG WF4 2NH
                      UNITED KINGDOM

                      Christa Haeussler
                      151 Frogtown Road
                      New Canaan, CT 06840

                      Christian Belia
                      3 Stanley Grove
                      Blackburn VIC 3130
                      AUSTRAILA

                      Christian Blomquist
                      Norra Sandasgatan 43
                      Farjestaden 38632
                      SWEDEN

                      Christian Faistenauer
                      Freiung 16
                      Impuls Innovationsgesellschaft Mbh
                      Wels 4600
                      AUSTRIA

                      Christian Gutierrez
                      4146 50th St
                      1H
                      Woodside, NY 11377
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1177 of
                                        1639



                      Christian Hanshans
                      Kitzinger Strasse 1A
                      Sulzfeld Am Main 97320
                      GERMANY

                      Christian Hartl
                      Dinselstrasse 32A
                      Lennestadt 57368
                      GERMANY

                      Christian Huaux
                      3076 Rte 222
                      St Denis De Brompton QC J0B2P0
                      CANADA

                      Christian Le
                      824 Eagle Point Drive
                      Saint Augustine, FL 32092

                      Christian Leonard
                      12808 14th Street #79
                      Grandview, MO 64030

                      Christian Littlejohn
                      780 Poplar Acres Road
                      Piperton, TN 38017-5142

                      Christian Lugaro
                      520 SW 113 Ave
                      Pembroke Pines, FL 33025

                      Christian Malynowsky
                      248 Harvie Ave
                      Toronto ON M6E4K6
                      CANADA

                      Christian Montana
                      2832 Wiley St
                      Hollywood, FL 33020

                      Christian Rodriguez
                      1144 Evergreen Avenue
                      4A
                      Bronx, NY 10472

                      Christian Rubio
                      Paseo De La Estrella 1177
                      Casa 84
                      Zapopan JAL 45019
                      MEXICO

                      Christian Rumpler
                      Birkenweg 27
                      Duttendorf 5122
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1178 of
                                        1639



                      Christian Schindler
                      Christburger Str. 23
                      Wattmoves Ug
                      Berlin 10405
                      GERMANY

                      Christian Smith
                      260 Seminole Drive
                      Boulder, CO 80303

                      Christian Taweesup
                      4026 Collis Avenue
                      Los Angeles, CA 90032

                      Christian Ulmark
                      Birkeveien 17
                      Bergen 5093
                      NORWAY

                      Christian Young
                      172 Johnston St
                      Annandale NSW 2038
                      AUSTRAILA

                      Christine Ouch
                      P.O Box 581352
                      Modesto, CA 95358

                      Christine Wareing
                      414 High Street
                      Orillia ON L3V 4X5
                      CANADA

                      Christoph Krekeler
                      3813 Battleview Ct
                      North Charleston, SC 29420

                      Christoph Leeser
                      Toblerstrasse 15
                      Zurich 8044
                      SWITZERLAND

                      Christoph Ruckau
                      Bienertstr. 6
                      Dresden 1187
                      GERMANY

                      Christoph Walpert
                      Armbruststrasse 21
                      Hamburg 20257
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1179 of
                                        1639



                      Christoph Weber
                      Kornerstr.32
                      Leipzig 4107
                      GERMANY

                      Christophe Garibal
                      Lowenstrasse 45
                      Hamburg 20251
                      GERMANY

                      Christopher Avis
                      8315-73 Ave Nw
                      Edmonton AB T6C0E1
                      CANADA

                      Christopher Aznavour
                      711 East Acacia Avenue
                      Unit B
                      Glendale, CA 91205

                      Christopher Bailey
                      5424 Beckner Street
                      Norfolk, VA 23509

                      Christopher Bell
                      8 Mallard Close
                      Herne Bay ENG CT6 5RJ
                      UNITED KINGDOM

                      Christopher Beshears
                      102 Ascot Ln
                      Madison, AL 35756

                      Christopher Blake
                      26 Lakecrest Trail
                      Brampton ON L6Z1S5
                      CANADA

                      Christopher Braun
                      245 Claremont Rd
                      Ridgewood, NJ 07450

                      Christopher Bush
                      1369 Airport Parkway
                      Belleville ON K8N4Z6
                      CANADA

                      Christopher Cappa
                      3629 Kathy's Way
                      Chesapeake, VA 23323

                      Christopher Cartmell
                      239 Stretford Road
                      Manchester ENG M41 9WE
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1180 of
                                        1639



                      Christopher Casanova
                      636 N. Stanley Avenue
                      Los Angeles, CA 90036

                      Christopher Castanza
                      2 Carlton Place
                      Hicksville, NY 11801

                      Christopher Choun
                      14641 West 85th Terrace
                      Lenexa, KS 66215

                      Christopher Cook
                      4949 Fm 2351 Rd Apt 823
                      Friendswood, TX 77546

                      Christopher Cummins
                      3016 Black Briar Drive
                      Oxford, MS 38655

                      Christopher Cunningham
                      4437 Hallmark Drive
                      Dallas, TX 75229

                      Christopher De Guzman
                      3632 Hallee Crescent
                      Windsor ON N8W 0B2
                      CANADA

                      Christopher Diaz
                      2906 Tulip Avenue
                      Mission, TX 78574

                      Christopher Dinelli
                      4906 Vizcaya Drive
                      Pensacola, FL 32507

                      Christopher Eddinger
                      103 Florence St
                      Saint Marys, GA 31558

                      Christopher Flores
                      44217 36th Street East
                      Lancaster, CA 93535

                      Christopher Gallant
                      1209 Center Ave
                      North Versailles, PA 15137

                      Christopher Gilmore
                      6627 North Constance Avenue
                      Fresno, CA 93722
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1181 of
                                        1639



                      Christopher Gilson
                      1407 Bernard Street
                      Denton, TX 76201

                      Christopher Gonzalez
                      623 Nickel Street
                      Los Banos, CA 93635

                      Christopher Haug
                      27299 Cresta Del Norte
                      Murrieta, CA 92563

                      Christopher Heath
                      5226 SE 31st Ct
                      Des Moines, IA 50320

                      Christopher Hendricks
                      10107 Castleberry Blvd
                      Pensacola, FL 32526

                      Christopher Hogg
                      45991 Rhodes Dr.
                      Macomb, MI 48044

                      Christopher Holland
                      3415 Menchaca Road
                      Apt. #106
                      Austin, TX 78704

                      Christopher Holthof
                      7056 Glade Trl
                      Kalamazoo, MI 49009

                      Christopher Krailo
                      16120 SW Wren Lane
                      Beaverton, OR 97007-8995

                      Christopher Kwelty
                      226 Spring St
                      Bordentown, NJ 08505-1702

                      Christopher Loos
                      Domitianstrasse 14
                      Frankfurt Am Main 60439
                      GERMANY

                      Christopher Magpusao
                      2870 Pharr Court South Nw
                      Apt 204
                      Atlanta, GA 30305

                      Christopher McDaniels
                      3919 Catlyn Woods Ave
                      Las Vegas, NV 89141
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1182 of
                                        1639



                      Christopher Miller
                      12351 55th Rd N
                      Royal Palm Beach, FL 33411

                      Christopher Moise
                      419 Sussex Drive
                      Ottawa ON K1N 9M6
                      CANADA

                      Christopher Navarrete
                      2605 Dinwiddie Way
                      Elk Grove, CA 95758

                      Christopher Parrish
                      5072 Whalen Street
                      Elkton, MI 48731

                      Christopher Payne
                      2409 Underwood St
                      Lafayette, IN 47904

                      Christopher Reilly
                      115 38th St
                      Lindenhurst, NY 11757

                      Christopher Richard
                      2233 Baywood Way
                      Willits, CA 95490-9702

                      Christopher Rowlett
                      205 Everwoods Close Sw
                      Calgary AB T2Y 5A5
                      CANADA

                      Christopher Ruiz
                      1285 Wallflower Way
                      Beaumont, CA 92223

                      Christopher Scantlin
                      13411 Redfish Ln
                      Stafford, TX 77477-4420

                      Christopher Scantlin
                      13411 Redfish Ln
                      Stafford, TX 77477

                      Christopher Sevi
                      1572 Southwest Spence Avenue
                      Troutdale, OR 97060
                      Christopher Sparks
                      1404 Sapphire Dragon Street
                      Thousand Oaks, CA 91320
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1183 of
                                        1639



                      Christopher Yannakis
                      28 Bencubbin Cres Dianella Wa 6059
                      Dianella WA 6059
                      AUSTRAILA

                      Christos Iakovidis
                      Im Kranzliacker 9
                      K41665
                      Weil Am Rhein 79576
                      GERMANY

                      Christos Ragias
                      60 River Gardens Walk
                      Flat 7 Wyndham Apartments
                      London ENG SE10 0TY
                      UNITED KINGDOM

                      Christy Guiley
                      20 La Campana Drive
                      Odessa, TX 79765

                      Chun Ming Lau
                      1463 72nd St
                      Apt 1D
                      Brooklyn, NY 11228

                      Bridget Chynoweth
                      3104B Mohawk Road
                      Austin, TX 78757

                      Cian Belisle
                      1409 Premier Way Sw
                      Calgary AB T2T 1M1
                      CANADA

                      Cigdem Felser
                      Salierring 43
                      Koln 50677
                      GERMANY

                      Cindy Abreu
                      77 Charles Best Place
                      Kitchener ON N2M 5A4
                      CANADA

                      Cindy Formella
                      S83W32785 N Oak Tree Crt
                      Mukwonago, WI 53149

                      Ciprian Muntean
                      Alexandru Ciurcu 129 C
                      Brasov BV 500170
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1184 of
                                        1639



                      Citlali Trujillo Ortiz
                      475 Rue Laplante
                      Apt. 1
                      Montreal QC H8R 3B7
                      CANADA

                      Cj Baker
                      3323 Northwood Dr.
                      Highland Village, TX 75077

                      Cj Girgus
                      13008 Elm Tree Drive
                      Apt 402
                      Herndon, VA 20171

                      Cj Sasa
                      116 Partridge Circle
                      Winter Springs, FL 32708

                      Clarence Bolton
                      2707 Southview Dr
                      Birmingham, AL 35216

                      Clarence Saltibus
                      5 Fremantle Road
                      London ENG IG6 2BD
                      UNITED KINGDOM

                      Rudy Clarion Jr
                      9896 Avenida Colino
                      Spring Valley, CA 91977

                      Clarissa Mathieu
                      2129 Fm 2920 Suite 190 #254
                      Spring, TX 77388

                      Clark Thompson
                      4900 Arbol Court
                      Benbrook, TX 76126

                      Annalyn Clark
                      8123 Amy Springs St
                      Las Vegas, NV 89113

                      Inauen Claude
                      c/o Josef
                      Alte Landstrasse 2
                      Berneck 9442
                      SWITZERLAND
                      Claudia Ortiz
                      311 Southwest 55th Avenue Road
                      Coral Gables, FL 33134
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1185 of
                                        1639



                      Claudio Machado
                      Rua General Humberto Delgado 229 2.8
                      Pedroucos - Maia PT-13 4425-653
                      PORTUGAL

                      Claudiu Gabriel Marin
                      Strada Sapte Drumuri 10
                      Ap.13 Etaj 2
                      Bucharest B 31647
                      ROMANIA

                      Clayton Wilkes
                      153 Birmingham Road
                      Lichfield ENG WS14 9BJ
                      UNITED KINGDOM

                      Clemens Saur
                      Schlotthauer Str. 5
                      Munich 81541
                      GERMANY

                      Clementine Cera
                      86 Vanbrugh Hill
                      London ENG SE10 9FT
                      UNITED KINGDOM

                      Cleve Tuck
                      3414 County Road 14.75
                      Erie, CO 80516

                      Cliff Kennedy
                      106 Lagoon View Crossing
                      Savannah, GA 31410

                      Clifton Ivery
                      2212 Jasmine Path
                      Round Rock, TX 78664

                      Clint Stjean
                      254 Lilac Terrace
                      Sherwood Park AB T8H1Z2
                      CANADA

                      Clinton Pearson
                      479 E Market St
                      Germantown, OH 45327

                      Clinton Work
                      215 Woodside Cres Nw
                      Airdrie AB T4B 2G8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1186 of
                                        1639



                      Co Loi
                      27 White Street
                      Osborne Park WA 6017
                      AUSTRAILA

                      R Tyler Coates
                      1810 W. Fortune Rd.
                      Ste H
                      Salt Lake City, UT 84104

                      Coby Norrid
                      3608 Winchester Ct
                      Corinth, TX 76210

                      Coddens Electric
                      Fernand Tavernestraat 66
                      Ninove 9400
                      BELGIUM

                      Cody Edmonds
                      66 Gailmont Drive
                      Hamilton ON L8K 4B5
                      CANADA

                      Cody Green
                      17 Goldcrest Rd
                      Brampton ON L6S1G4
                      CANADA

                      Cody Johnson
                      307 Pakachoag Street
                      Auburn, MA 01501

                      Cody Murdock
                      865 Gina Lane
                      San Marcos, CA 92069

                      Cody Rosenbum
                      4200 Lippincott Blvd
                      Burton, MI 48519-1162

                      Cody Sweetman
                      15 Tea Tree Avenue
                      Aberglasslyn NSW 2320
                      AUSTRAILA

                      Cody Williams
                      4971 East Golden Meadow
                      Eagle Mountain, UT 84005
                      Cody Youngblood
                      1535 7th Avenue South #327
                      Sartell, MN 56377
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1187 of
                                        1639



                      Colby Orr
                      701 Woodview Ridge Trail
                      Lewisville, NC 27023

                      Cole Cunningham
                      1531 Jacobs Drive
                      Fort Wayne, IN 46814

                      Cole Ghilarducci
                      530 Lawrence Expressway
                      #928
                      Sunnyvale, CA 94085

                      Cole Spencer
                      4549 S Arcadia Ln
                      Salt Lake City, UT 84117

                      Coleman Meola
                      1703 Prairie Hen Cove
                      Austin, TX 78758

                      Colette Rappo Burki
                      Chemin De Bellerive 6
                      Lausanne 1007
                      SWITZERLAND

                      Coley Fudge
                      2521 Aviation Dr
                      E Wenatchee, WA 98802

                      Colin Goodsell
                      260 Sterling Street Apt 2
                      Clinton, MA 01510-1864

                      Colin McGirr
                      2410-205 Sherway Gardens Road
                      Etobicoke ON M9C 0A5
                      CANADA

                      Colin Skoglund
                      Lovdalen 326
                      Arebro 70595
                      SWEDEN

                      Colin Thom
                      73 Camp Ave.
                      Darien, CT 06820

                      Colin Wager
                      93 Kingswood Court, Kempton Walk
                      London ENG CR07XH
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1188 of
                                        1639



                      Colin Wager
                      93 Kingswood Court, Kempton Walk
                      London ENG CR0 7XH
                      UNITED KINGDOM

                      Colin Warren
                      9375 Southern Belle Dr
                      Weeki Wachee, FL 34613

                      Colten Rouska
                      3548 West Barley Bend
                      Lehi, UT 84043

                      Colton Pace
                      400 Crystal Springs Road
                      Graniteville, SC 29829

                      Conan Sloan
                      4209 Illinois St
                      San Diego, CA 92104

                      Confluentes Consulting UG
                      Schenkendorfstrasse
                      Koblenz 56068
                      GERMANY

                      Conner Brentzel
                      4756 Kamehameha Loop
                      Honolulu, HI 96818

                      Connor Bragdon
                      15 Greylock Road
                      Wellesley, MA 02481

                      Connor Laymon
                      3020 Thunder Road
                      Middleburg, FL 32068

                      Connor Loudon
                      5477 College Ave
                      # 1
                      Oakland, CA 94618

                      Connor Mills
                      W171S7390 Lannon Drive, #203
                      Muskego, WI 53150

                      Connor Taiariol
                      1815 Larkin Rd
                      Windsor ON N8W 4G7
                      CANADA

                      Connor Vidasolo
                      4 Huron Road
                      Bellerose Village, NY 11001
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1189 of
                                        1639



                      Conrad Evangelista
                      104 E. Bennett St
                      Nipomo, CA 93444

                      Conrad Macleod
                      10851 Shellbridge Way #300
                      Richmond BC V6X2W8
                      CANADA

                      Constantin Gozman
                      Nr. 257
                      Vultureni CJ 407595
                      ROMANIA

                      Consultronics Single Member Private Comp
                      Dorieon 28, Ano Petralona
                      Athens 11852
                      GREECE

                      Cooper Beown
                      1616 East Main Street
                      Mesa, AZ 85203

                      Adam Copenhaver
                      3330 Pacific Avenue
                      Suite 500
                      Virginia Beach, VA 23451

                      Cordeiro Luis
                      Avenue De Severy 16
                      Lausanne 1004
                      SWITZERLAND

                      Coreit Lda
                      Rua Tomas Del Negro, 14, 2B
                      Lisboa PT-11 1750-105
                      PORTUGAL

                      Corey Brown
                      198 Bridlewood Drive
                      Jacksonville, NC 28540

                      Corey Grazette
                      177-01 145th Dr
                      Jamaica
                      Queens, NY 11434

                      Corey Schell
                      Bld 2020 Pendleton Avenue
                      Jblm, WA 98433

                      Cory Aymar
                      3040 N Victoria Dr
                      Alpine, CA 91901
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1190 of
                                        1639



                      Cory Boxberger
                      737 N Maize Rd #600
                      Wichita, KS 67212

                      Cory Fabbro
                      7-7374 194A St.
                      Surrey BC V4N6P8
                      CANADA

                      Cory Fung
                      1699 E Washington Street
                      Apt #1023
                      Colton, CA 92324

                      Cory Mayo
                      201 Byfield Rd
                      Westminster, MD 21157

                      Cory Neuleib
                      291 Sunset Dr
                      Cortland, OH 44410

                      Cory Zaparyniuk
                      100 Ridge View Close
                      Cochrane AB T4C 0P8
                      CANADA

                      Cosmin Haias
                      Bartok Bela 37
                      Dumbravita TM 307160
                      ROMANIA

                      Andrew Cotterell
                      2188 Telogia Court
                      West Palm Beach, FL 33411

                      Courtland Low
                      199 Hillcrest Ave.
                      Unit 14
                      Mississauga ON L5B4L5
                      CANADA

                      Coyle Boyd
                      1645 11th Street
                      Baywood-Los Osos, CA 93402

                      Craig Barthol
                      6600 College Blvd
                      Suite 138
                      Overland Park, KS 66211

                      Craig Boozer
                      1036 Orchard Cir
                      Monroe, GA 30656
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1191 of
                                        1639



                      Craig Grant
                      7920 San Felipe Blvd #1014
                      Austin, TX 78729

                      Craig Jones
                      4845 Saddlehorn Trail
                      Middleburg, FL 32068

                      Craig Karduck
                      1806 Margaret Ln
                      Kingsville, TX 78363

                      Craig Marquis
                      848 Main Street Ste 28
                      Billings, MT 59105

                      Craig Marquis
                      848 Main St Ste 28
                      Billings, MT 59105

                      Creighton Edington
                      10 Jolly Court
                      Peralta, NM 87042

                      Cretu Adrian
                      Str. Ficusului Nr. 27
                      Ap.1
                      Giroc TM 307220
                      ROMANIA

                      Cristal Shea
                      5166 Halifax Street, #109
                      Burnaby BC V5B 2N6
                      CANADA

                      Cristian Cantamessa
                      Via Verdi 7
                      Castelnuovo Del Garda VR 37014
                      ITALY

                      Cristian Perez
                      2851 West 120th Street Suite E565
                      Hawthorne, CA 90250

                      Cristian Sarca
                      Am Bahnhof 9
                      Gangkofen 84140
                      GERMANY

                      Cristina Gonzalez
                      232 East Market Street, #411
                      York, PA 17403
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1192 of
                                        1639



                      Cristopher Bergeson
                      13570 Wayzata Blvd
                      Minnetonka, MN 55305

                      Etalides Cruz
                      59 O'Connell Street
                      Albany, NY 12209

                      Allen Cryer
                      1829 Stewart Drive
                      Carrollton, TX 75010

                      Crystal Gilbert
                      2073 Dominion Dr
                      Christiansburg, VA 24073

                      Crystal Rosenbrook
                      670 Pelham Blvd
                      Apt 208
                      Saint Paul, MN 55114

                      Csenge Polgar
                      59 Hesperus Broadway
                      Flat 12
                      Edinburgh SCT EH5 1FW
                      UNITED KINGDOM

                      Cung Pham
                      303 Tealby Cres
                      Waterloo ON N2J 4Y5
                      CANADA

                      Cuong Nguyen
                      640 Royalwood Ct
                      Grand Prairie, TX 75052

                      Cuong Tham
                      2428 North Ditman Avenue
                      Los Angeles, CA 90032

                      Curro Munoz Roldan
                      El Pasaje Amaranto 45
                      Montequinto SE 41089
                      SPAIN

                      Curt Hesse
                      5607 Briarbend Dr
                      Houston, TX 77096-4912

                      Curtis Binkley
                      13031 Ray Trog Court
                      Saint Louis, MO 63146
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1193 of
                                        1639



                      Curtis James
                      300 Gentle Creek Dr
                      Mckinney, TX 75072

                      Curtis Mulatz
                      249 Morningside Gardens Southwest
                      Airdrie AB T4B 0K3
                      CANADA

                      Cutberto Apodaca
                      1186 Myrna Way
                      Rodeo, CA 94572

                      Cveta Hristova
                      Ul. "William Gladstone" 1
                      Floor 3, Appt. 12
                      Varna 9000
                      BULGARIA

                      Cypress Demanincor
                      4500 Tierra Verde Street
                      Bakersfield, CA 93301

                      Cyrus Khaleghi
                      17928 16th Avenue Ct E
                      Spanaway, WA 98387

                      D'Marcus Elder
                      15828 Goddard Road
                      Apt 304
                      Southgate, MI 48195

                      D.G. Verhagen
                      Javaplein 35
                      II
                      Amsterdam 1095 CJ
                      NETHERLANDS

                      DAGEPi Consult GmbH und Co.KG
                      Theaterstrasse 5
                      Halberstadt 38820
                      GERMANY

                      Dagmar Feldhaus
                      Jasminweg 33
                      Marl 45770
                      GERMANY

                      Dahron Shand
                      63 Handy St
                      New Brunswick, NJ 08901

                      Dairon Hernandez
                      190 SW 104 Ct
                      Miami, FL 33174
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1194 of
                                        1639



                      Dajana Djuric
                      Pavla Papa 33
                      Novi Sad 21000
                      SERBIA

                      Dakota Francis
                      11227 137 Avenue Northwest
                      Edmonton AB T5E 1Z3
                      CANADA

                      Dale Lee
                      17 Bryant Street
                      Cranbrook QLD 4814
                      AUSTRAILA

                      Dale Mcconnery
                      839 Amelia Street
                      North Bay ON P1A 1W4
                      CANADA

                      Dale Radcliff
                      1420 NW Gilman Blvd, #2757
                      Issaquah, WA 98027

                      Dale Snyder
                      6126 N Rainbow Blvd
                      Las Vegas, NV 89130

                      Dalton Ness
                      3135 Dupont Avenue South
                      Apt 1
                      Minneapolis, MN 55408

                      Dam Ha
                      410 NE Dekum St, #205
                      Portland, OR 97211

                      Damani Majors
                      7446 Tyndale Court
                      Norfolk, VA 23505

                      Damassino Massimo
                      Via Monte Ortigara 46
                      Torino TO 10141
                      ITALY

                      Damian Leonel Sandoval
                      Tigre 443
                      Hurlingham B 1688
                      ARGENTINA

                      Damien Aguado
                      13038 Nursery Dr
                      Victoria, TX 77904
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1195 of
                                        1639



                      Damien Barre
                      56B Rue Des Maraichers
                      Paris 75020
                      FRANCE

                      Damien Van Raemdonck
                      37 Newport Road
                      Stafford
                      Stafford ENG ST16 1BH
                      UNITED KINGDOM

                      Damon Barriteau
                      530 N. Fulton Ave
                      Lindenhurst, NY 11757

                      Damon Belveal
                      12815 Woodmere St
                      Austin, TX 78729

                      Damon Zsiga
                      4056 Bruce County Road 3
                      Paisley ON N0G 2N0
                      CANADA

                      Dan Bennett
                      4 Balchier Road
                      London ENG SE220QN
                      UNITED KINGDOM

                      Dan Berry
                      2795 Speer Blvd
                      A-353
                      Denver, CO 80211

                      Dan Black
                      3620 G Street
                      Antioch, CA 94509

                      Dan Chirileanu
                      Baia Mare, Str. Stefan Luchian, Nr.11A,
                      Baia Mare MM 430133
                      ROMANIA

                      Dan Difabio
                      47 Woodcliff Ave
                      Westwood, NJ 07675-3423

                      Dan Feisst
                      2/22 Penning, Castor Bay
                      Auckland AUK 620
                      NEW ZEALAND

                      Dan Hacker
                      95 Horatio St. Apt 2P
                      New York, NY 10014
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1196 of
                                        1639



                      Dan Huynh
                      7614 Woodhaven Street
                      San Antonio, TX 78209

                      Dan Iulian Moraru
                      Str Alexandru Cel Bun
                      Bl187,Sc C,Ap4
                      Vaslui VS 730065
                      ROMANIA

                      Dan Iulian Moraru
                      Strada Alexandru Cel Bun
                      Bloc 187,Sc C ,Ap. 4 Parter
                      Vaslui VS
                      ROMANIA

                      Dan Kim
                      5791 Yonge Street #810
                      Toronto ON M2M 0A8
                      CANADA

                      Dan Marra
                      220 Bordentown Ave
                      South Amboy, NJ 08879

                      Dan McAllister
                      2912 NE 278th Ave
                      Camas, WA 98607

                      Dan Padilla
                      7 Gates Lane
                      Apt 2
                      Worcester, MA 01603

                      Dan Pirchner
                      133 Juniper Lane
                      Swedesboro, NJ 08085

                      Dan Price
                      23770 East Tansy Drive
                      Aurora, CO 80016

                      Dan Randles
                      3963 West Belmont Avenue
                      Chicago, IL 60618

                      Dan Scott
                      38 Yarmouth Drive
                      Cramlington ENG NE23 1TS
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1197 of
                                        1639



                      Dan Seciu
                      Bd. Ferdinand Nr.131, Sect.2
                      Bl E2 Sc.6 Ap.5
                      Bucharest B 21388
                      ROMANIA

                      Dan Sterwald
                      4622 S Abilene Cir
                      Aurora, CO 80015

                      Dan Waln
                      6803 NE Aldercreek Pl
                      Hillsboro, OR 97124

                      Dan Williams
                      4163 N. Wolf Ridge Circle
                      Eden, UT 84310

                      Dana Harvey
                      724 N Poinsettia St
                      Santa Ana, CA 92701-3941

                      Dana Yuen
                      665 Esquimalt Ave
                      West Vancouver BC V7T1J6
                      CANADA

                      Danail Ivanov
                      Ul. D-R L.Zamenhof- 1
                      Et.2, Office 2
                      Varna 9000
                      BULGARIA

                      Dane Correira
                      2 Clark Street
                      Somerset, MA 02726

                      Dane Doerfert
                      Berta-Von-Suttner-Stieg 1
                      Norderstedt 22846
                      GERMANY

                      Dane Vaughan
                      612 North I Street
                      Tacoma, WA 98403-2010

                      Dane Vaughan
                      612 North I Street
                      Tacoma, WA 98403
                      Dani Paschkes Gonzalez
                      Passeig Pau Gesa
                      53, Baixos
                      Cardedeu B 8440
                      SPAIN
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1198 of
                                        1639



                      Danicico Florin Marian
                      Str.Cimitirului Nr 8 .Com, Jud Satu Mare
                      Paulesti SM 447230
                      ROMANIA

                      Daniel Allen
                      4643 Gardens Park Blvd.
                      Unit 4307
                      Orlando, FL 32839

                      Daniel Alves
                      Feldbergstr. 21A
                      Munich 81825
                      GERMANY

                      Daniel Amer
                      Av. Francisco Lazo Marti Resd. Mayoral P
                      Piso 6, Apto. 61
                      Caracas 1041
                      VENEZUELA

                      Daniel Backhaus
                      Sonninstrasse 18
                      Hamburg 20097
                      GERMANY

                      Daniel Barry
                      14 Glendale Avenue East
                      Belfast NIR BT8 6LF
                      UNITED KINGDOM

                      Daniel Bergschneider
                      1743 Paddington Ave
                      Naperville, IL 60563-2027

                      Daniel Bettech
                      Calle De La Amargura 60 Int. Sotano 1
                      Lomas De La Herradura
                      Huixquilucan MEX 52785
                      MEXICO

                      Daniel Brinkhus
                      Carumer Damm 9
                      Bakum 49456
                      GERMANY

                      Daniel Ceko
                      10 Mimosa Avenue
                      Emerald VIC 3782
                      AUSTRAILA

                      Daniel Chan
                      83 Terryhill Cres
                      Toronto ON M1S3Z3
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1199 of
                                        1639



                      Daniel Cruver
                      461 Brookwood Drive
                      Hamburg, NY 14075

                      Daniel Dalili
                      7 Ormonde Terrace
                      London ENG NW8 7LP
                      UNITED KINGDOM

                      Daniel De Nijs
                      Het Lint 1
                      Tholen 4691 DK
                      NETHERLANDS

                      Daniel Deleon
                      4783 Joppa Circle
                      Dallas, TX 75216

                      Daniel Delmonte
                      465 N Vista St
                      Los Angeles, CA 90036

                      Daniel Denson
                      3940 Becraft Ln
                      Billings, MT 59101

                      Daniel Duncan
                      5560 Kirkwood Highway
                      Wilmington, DE 19808

                      Daniel Echeverria
                      21220 Multnomah Road
                      Apple Valley, CA 92308

                      Daniel Elkinton
                      5301 Gladstone Dr
                      Austin, TX 78723-5419

                      Daniel Espaillat
                      16 Matthew Patten Drive
                      Bedford, NH 03110

                      Daniel Forth
                      Bauernreihe 10 B
                      Allstedt 6542
                      GERMANY

                      Daniel Geng
                      Am Reutele 18
                      Bad Schussenried 88427
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1200 of
                                        1639



                      Daniel Gruner
                      Hemmerdenerweg 62
                      Grevenbroich 41516
                      GERMANY

                      Daniel Hardee
                      2 Starfish Drive
                      Vero Beach, FL 32960

                      Daniel Heintze
                      37257 Remington Park Avenue
                      Geismar, LA 70734

                      Daniel Helsten
                      5300 K St
                      Sacramento, CA 95819

                      Daniel Hernandez
                      4251 Tulane Avenue
                      Long Beach, CA 90808

                      Daniel Hickox
                      8001 Two Coves Dr
                      Austin, TX 78730

                      Daniel Hipsher
                      1000 Riverwalk Blvd
                      Shreveport, LA 71110

                      Daniel Hogoboom
                      3220 SW Pine Island Rd
                      Ste C
                      Cape Coral, FL 33991

                      Daniel Hosler
                      2141 N Dayton St
                      Chicago, IL 60614

                      Daniel Kim
                      351 King Street
                      Unit 427
                      San Francisco, CA 94158

                      Daniel Kutryk
                      16292 10 Street Southwest
                      Calgary AB T2Y 2W2
                      CANADA

                      Daniel Lee
                      10 Arbour Crest Close Nw
                      Calgary AB T3G 4A3
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1201 of
                                        1639



                      Daniel Leo
                      4624 Russell Avenue
                      Los Angeles, CA 90027

                      Daniel Lichtenberg
                      3763 Ruby Street
                      Oakland, CA 94609

                      Daniel Lynch
                      1207 Via Arroyo
                      Ventura, CA 93003

                      Daniel Macdonald
                      2505 N Kenilworth St
                      Arlington, VA 22207

                      Daniel Mar
                      587 Evanston Drive
                      Calgary AB T3P 0H7
                      CANADA

                      Daniel Mladjen
                      436 Flinders Parade
                      Brighton QLD 4017
                      AUSTRAILA

                      Daniel Molina
                      4307 Roseneath Dr
                      Houston, TX 77021

                      Daniel Nasser
                      22 Bray Street, Reservoir Vic 3073
                      22 Bray St
                      Reservoir VIC 3073
                      AUSTRAILA

                      Daniel Navarrete
                      11813 Wright Rd
                      Apt. C
                      Lynwood, CA 90262

                      Daniel Nawrocki
                      2412-70 Temperance Street
                      Toronto ON M5H 0B1
                      CANADA

                      Daniel Olewski
                      22595 NE 96th St
                      Redmond, WA 98053
                      Daniel Panovski
                      Sindarovska 18
                      Skopje 1000
                      NORTH MACEDONIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1202 of
                                        1639



                      Daniel Perez
                      23 N 9th St
                      Surf City, NJ 08008

                      Daniel Pfeifer
                      Eichendorffstrasse 1A
                      Bad Schwalbach 65307
                      GERMANY

                      Daniel Piedra Quintero
                      Albert Van Meerveldstraat 29
                      Zwartebroek 3785 LP
                      NETHERLANDS

                      Daniel Purcell
                      8 Edison Green
                      Apt 2
                      Boston, MA 02125

                      Daniel Ramlagan
                      97-36 110St
                      Richmond Hill, NY 11419

                      Daniel Raney
                      812 Apricot Ave
                      Mount Vernon, IL 62864

                      Daniel Reyes
                      2838 Charleston Place
                      Chula Vista, CA 91914

                      Daniel Rietberg
                      326 Cherry St.
                      Apt C
                      Grand Rapids, MI 49503

                      Daniel Riposan
                      3395 Cliff Road North, #130
                      Mississauga ON L5A 3M7
                      CANADA

                      Daniel Rodriguez
                      16780 County Road 1714
                      Odem, TX 78370

                      Daniel Rodriguez-Magana
                      736 State St.
                      Apt 3
                      San Jose, CA 95110
                      Daniel Roller
                      Leistenstrasse 18
                      Wurzburg 97082
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1203 of
                                        1639



                      Daniel Sayegh
                      365 Ardsley Road
                      Scarsdale, NY 10583

                      Daniel Schmidt
                      Papendamm 26
                      Hamburg 20146
                      GERMANY

                      Daniel Stewart
                      10935 SE Spruce View Ln.
                      Happy Valley, OR 97086

                      Daniel Tardy
                      1240 S. 15th St.
                      Marion, IA 52302

                      Daniel Tharp
                      39939 Stevenson Common #1113
                      Fremont, CA 94538

                      Daniel Thein
                      9 Rue Louis Braille
                      Strassen 8033
                      LUXEMBOURG

                      Daniel Timms
                      41 Mears Ashby Road
                      Earls Barton ENG NN6 0HQ
                      UNITED KINGDOM

                      Daniel Toomer
                      9863 Yale Drive
                      Rancho Cucamonga, CA 91701

                      Daniel Tustin
                      32 Kaitawa Crescent
                      Paraparaumu WGN 5032
                      NEW ZEALAND

                      Daniel Velez
                      486 N Pine Meadow Dr
                      Debary, FL 32713

                      Daniel Wei
                      22 Kenfin Ave
                      Scarborough ON M1S 4G1
                      CANADA

                      Daniel Wheaton
                      7737 Nakita Ct
                      Northfield, OH 44067-3310
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1204 of
                                        1639



                      Daniel Zargham
                      1085 Tasman Drive #283
                      Sunnyvale, CA 94089

                      Daniela Gentilucci
                      Panoramastrasse 9
                      Gerlingen 70839
                      GERMANY

                      Daniela Stana
                      Al Domnisoara Pogany Nr.1
                      Ap. 20, Sector 6
                      Bucuresti B 62132
                      ROMANIA

                      Daniele Berardi
                      Rutiwiesenstrasse 8
                      Gattikon 8136
                      SWITZERLAND

                      Danielius Vebras
                      Krummaholar 8
                      Reykjavik 109
                      ICELAND

                      Danielle Kim
                      24241 Park St
                      Torrance, CA 90505

                      Danilo Diaz Barrios
                      173 Hazelglen Dr
                      Kitchener ON N2M2E6
                      CANADA

                      Danish Qamar
                      6 Sierra Rd
                      Olds AB T4H 1X4
                      CANADA

                      Danny Burrell
                      17480 La Sierra Avenue
                      Riverside, CA 92503

                      Danny Dutil
                      800 Palmetto Ave
                      Orange City, FL 32763

                      Danny Genao
                      251 E 16th St.
                      Paterson, NJ 07524

                      Danny Hsiao
                      526 Woodston Rd
                      Rockville, MD 20850
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1205 of
                                        1639



                      Danny Kennison
                      91-0697 Nanaulu St
                      Ewa Beach, HI 96706

                      Danny Kennison
                      91-0697 Nanaulu St
                      Ewa Beach, HI 96706-4853

                      Danny Lopez
                      11400 Northwest 7th Street
                      Plantation, FL 33325

                      Danny Merritt
                      9508 Tower Ridge Rd
                      Pensacola, FL 32526

                      Danny Nathie
                      7287 Arcadia Drive
                      Huntington Beach, CA 92648

                      Danny Romo
                      129 Avenida San Fernando
                      Unit A
                      San Clemente, CA 92672

                      Danny Soria
                      14201 Foothill Blvd.
                      Unit 52
                      Sylmar, CA 91342

                      Danny Ziya
                      567 Shawn Vines Ave
                      Oakdale, CA 95361

                      Dante Capecce
                      Ruta 81 Km 50
                      San Bautista 91200
                      URUGUAY

                      Dante Colaiacovo
                      16 Cherry Tree Lane
                      Kinnelon, NJ 07405

                      Dante Elizalde
                      Santa Rosa 75A
                      Zapopan JAL 45140
                      MEXICO

                      Danzie Hazell Can Do Builders
                      168 Mill Road
                      Cambridge ENG CB1 3LP
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1206 of
                                        1639



                      Darcy Lamke
                      716 N Water St
                      Watertown, WI 53098

                      Darian Nabaz
                      18D School Road
                      London ENG TW12 1QL
                      UNITED KINGDOM

                      Darin Carter
                      327 West Lantana Road
                      Lantana, FL 33462

                      Darius Bryan
                      34 Rosedale House Manor Road
                      London ENG N16 5NR
                      UNITED KINGDOM

                      Darius Vaicenavicius
                      Ozo G. 24-15
                      Vilnius 7151
                      LITHUANIA

                      Dariusz Paszko
                      Chemin Des Postes 249
                      Waterloo 1410
                      BELGIUM

                      Dariusz Wida
                      450 Village Center Dr
                      Unit 210
                      Burr Ridge, IL 60527

                      Daron Baptiste
                      270 Clarkson Avenue, #322
                      Brooklyn, NY 11226

                      Darrell Griffin
                      1011 Beyer Way
                      Sp. 104
                      San Diego, CA 92154

                      Darren Aldous
                      25 Ngahere Street
                      Inglewood TKI 4330
                      NEW ZEALAND

                      Darren Jones
                      66 Headley Drive, New Addington
                      Croydon, London ENG CR00QF
                      UNITED KINGDOM

                      Darren Langley
                      4177 Brown Bridge Road Southeast Lot N
                      Dalton, GA 30721
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1207 of
                                        1639



                      Darren Lazarus
                      23 Bogert Road
                      Demarest, NJ 07627

                      Darren Wutzke
                      1004 Abby Lane
                      Lucas, TX 75002-3712

                      Darryl Gonzales
                      8085 Atlas Pear Drive, #327
                      Bryan, TX 77807

                      Daryl Gonzalez-Orellana
                      211 Taaffe Pl.
                      3R
                      Brooklyn, NY 11205

                      Daryl Maksymec
                      158 Crystalridge Drive
                      Okotoks AB T1S 1W3
                      CANADA

                      Daryl Sowers
                      1904 Kinross Ct
                      Bakersfield, CA 93309

                      Daryl Upole
                      3916 Edgewater Drive
                      Ashtabula, OH 44004

                      Dasiel Hidalgo
                      8065 W 15 Th Ave
                      Hialeah, FL 33014

                      Derek Dasilva
                      22 Sawyer St
                      Malden, MA 02148

                      Dave Grueneich
                      6706 South Jacqueline Way
                      Gilbert, AZ 85298

                      Dave Hardjo
                      Nystadstraat 64
                      Rotterdam 3067 DT
                      NETHERLANDS

                      Dave Hendrie
                      9911 Norwalk Blvd
                      Santa Fe Springs, CA 90670

                      Dave Hendrie
                      9911 Norwalk Boulevard
                      Santa Fe Springs, CA 90670
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1208 of
                                        1639



                      Dave Koziol
                      2884 E Eisenhower Pkwy
                      Ann Arbor, MI 48108

                      Dave Letarte
                      5260 Quebec 395
                      Amos QC J9T 3A1
                      CANADA

                      Dave Pickering
                      305 Pine Valley Drive
                      Kitchener ON N2P 2V5
                      CANADA

                      Dave Schleigh
                      11830 Ramsburg Road
                      Marriottsville, MD 21104

                      Dave Supinger
                      240 East 600 South
                      Centerville, UT 84014

                      David Abrahamson
                      9021 Octavia Court
                      Springfield, VA 22153

                      David Alley
                      807 Catalina Lane
                      Austin, TX 78737

                      David Amaro
                      5420 Nessee Street
                      Fayetteville, NC 28314

                      David Antunes
                      Rua Do Rosmaninho Lote 5 - Alto Da Guerr
                      Setubal PT-15 2910-282
                      PORTUGAL

                      David Arechederra
                      Izalde Kalea 4
                      B95873964 Quattro Motiv Sl
                      Getxo BI 48992
                      SPAIN

                      David Arriaga
                      18366 Whitewater Way
                      Riverside, CA 92508

                      David August
                      78 Willow Ave.
                      Toronto ON M4E 3K2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1209 of
                                        1639



                      David B. Canady
                      404 Kingsford Court
                      Fayetteville, NC 28314

                      David Beach
                      13944 E Riviera Dr
                      Burleson, TX 76028-3362

                      David Beltz
                      691 Baluster Drive
                      Marysville, OH 43040

                      David Bergtold
                      9933 Dellcastle Rd
                      Montgomery Village, MD 20886

                      David Black
                      9316 Pawnee Lane
                      Leawood, KS 66206

                      David Bollinger
                      Sankt Johanns-Vorstadt 41
                      Basel 4056
                      SWITZERLAND

                      David Bourque
                      97 Des Becs Scies
                      Sept-Iles QC G4S 1K1
                      CANADA

                      David Brandt
                      1916 Benedict Avenue
                      Riverside, CA 92506

                      David Burke
                      13615 E Ocotillo Bloom Dr
                      Vail, AZ 85641

                      David Carlson
                      39306 Fieldcrest Circle
                      Palmdale, CA 93551

                      David Chatfield
                      914 Northeast 151st Avenue
                      Portland, OR 97230

                      David Chee
                      239 W. Palm Dr.
                      Arcadia, CA 91007
                      David Chen
                      75 Cannon Blvd
                      1F
                      Staten Island, NY 10306
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1210 of
                                        1639



                      David Cho
                      1756 Dixon Street
                      Redondo Beach, CA 90278

                      David Chou
                      424 15th Street #3204
                      San Diego, CA 92101

                      David Cooper
                      479 Alway Road
                      Grassie ON L0R 1M0
                      CANADA

                      David Crunk
                      3331 Fort St
                      Wyandotte, MI 48192

                      David Delgiglio
                      5491 Keith Rd
                      West Vancouver BC V7W 3E1
                      CANADA

                      David Demaree
                      191 Market St
                      Aurora, IN 47001

                      David Desroche
                      1611 Lake Avenue
                      Metairie, LA 70005

                      David Dickson
                      34 Springbluff Blvd Southwest
                      Calgary AB T3H 4V6
                      CANADA

                      David Donald
                      Box 766
                      Kimberton, PA 19442

                      David Dunn
                      4200 Country Hill Rd
                      Fort Worth, TX 76140

                      David Effron
                      3749 Maplecrest Road
                      Woodmere, OH 44122

                      David Foster
                      4422 McDermed Dr
                      Houston, TX 77035-3816

                      David Fuscus
                      1120 G St Nw
                      Ste 450
                      Washington, DC 20005
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1211 of
                                        1639



                      David Gagua
                      Chavchavadze St 78, 6/6/10
                      Tbilisi 179
                      GEORGIA

                      David Ganio
                      3163 700 East Street
                      North Ogden, UT 84414

                      David Gourley
                      672 1575 West
                      Layton, UT 84041

                      David Gray
                      822 S Norton Ave
                      Los Angeles, CA 90005

                      David Grubb
                      2205 Chasefield Dr
                      Plano, TX 75023

                      David Harris
                      4408 NE Hideaway Drive
                      Lees Summit, MO 64064-7808

                      David Harris
                      781 Laurel Oak Court
                      Columbus, GA 31907

                      David Head
                      2580 W 61st Ave
                      Merrillville, IN 46410

                      David Huber
                      12716 106th St
                      Largo, FL 33773

                      David Johnson
                      340 Appleblossom Lane
                      Bay Village, OH 44140-1109

                      David Kaita
                      98-1155 Malualua Street
                      Aiea, HI 96701

                      David Kennedy
                      P.O. Box 291
                      Jackson, MS 39205

                      David Kielmeyer
                      1454 Muirfield Dr
                      Bowling Green, OH 43402
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1212 of
                                        1639



                      David Lethe
                      3133 Freedom Lane
                      Plano, TX 75025

                      David Lin
                      21 Lorillard Rd
                      Tuxedo Park, NY 10987

                      David Lindgren
                      3140 Durham Road,
                      Guilford, CT 06437

                      David Love
                      1067 Airport Parkway
                      Belleville ON K8N 4Z6
                      CANADA

                      David Maguire
                      6002 Cameron Ct.
                      Crystal Lake, IL 60014

                      David Matevski
                      49 Condarcuri Cres
                      Markham ON L6B 0G9
                      CANADA

                      David May
                      3 Newgate
                      Wilmslow
                      Manchester ENG SK9 5LL
                      UNITED KINGDOM

                      David Mazereeuw
                      Dorpsstraat 1052
                      Assendelft 1566 JL
                      NETHERLANDS

                      David Mazzotta
                      1827 Brookside Drive
                      Germantown, TN 38138

                      David Merritt
                      1143 Muscogee Road
                      Cantonment, FL 32533

                      David Miller
                      1056 South State Street
                      5F
                      Dover, DE 19901
                      David Molenberg
                      2233 Central Ave.
                      Apt. A
                      Alameda, CA 94501-4405
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1213 of
                                        1639



                      David Mustapick
                      286 Palmetto Ct
                      Jupiter
                      Jupiter, FL 33458

                      David Nather
                      Wallstrasse 29
                      Cologne 51063
                      GERMANY

                      David Nguyen
                      30 Ruth Goldbloom Drive, #302
                      Halifax NS B3M 0M9
                      CANADA

                      David Nguyen
                      5836 Willow Ridge Dr
                      Ypsilanti, MI 48197

                      David Nonachi
                      13510 Carruth Lane
                      Houston, TX 77083

                      David Otterbein
                      1641 Aldersbrook Road
                      London ON N6G 2Z2
                      CANADA

                      David Payne
                      6357 South 80th East Avenue
                      Unit H
                      Tulsa, OK 74133

                      David Pezzola
                      448 N Carpenter
                      Unit J
                      Chicago, IL 60642

                      David Pimentel
                      781 Akahi Place
                      B630470
                      Lanai City, HI 96763

                      David Posin
                      7301 Connecticut Ave
                      Chevy Chase, MD 20815

                      David Prendergast
                      15 Taylor Hill Way
                      Balbriggan D K32 AE29
                      IRELAND

                      David Richards
                      P.O. Box 10534
                      State College, PA 16805
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1214 of
                                        1639



                      David Richardson
                      P.O. Box 241
                      Granby, CO 80446

                      David Rios
                      4917 North Kimball Avenue
                      Chicago, IL 60625

                      David Rivas
                      8273 NW 56th St
                      Ps-45156
                      Miami, FL 33195-4007

                      David Rosenberg
                      3019 North Thomas Road
                      Freeland, MI 48623

                      David Sampson
                      12 Brittany Lane
                      Dunstable, MA 01827

                      David Schlosser
                      904 Salem Avenue
                      Elyria, OH 44035

                      David Schneider
                      7700 Southwest 134th Terrace
                      Miami, FL 33156

                      David Schwenning
                      2353 Leighton Rd
                      Nanaimo BC V9R7C1
                      CANADA

                      David Sekiguchi
                      19924 Bear Valley Lane
                      Northridge, CA 91326

                      David Shuman
                      11082 Sedalia Street
                      Commerce City, CO 80022

                      David Sinopoli
                      594 Avenue A
                      Bayonne, NJ 07002

                      David Skrzypek
                      210 Vickery Way
                      Roswell, GA 30075
                      David Sosine
                      315 Sherwood Drive
                      Brentwood, CA 94513
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1215 of
                                        1639



                      David Sterr
                      Raifberg 48
                      Funtastic Solutions Gmbh
                      Waidhofen/Ybbs 3340
                      AUSTRIA

                      David Stewart
                      5869 N Pinery Canyon Ave
                      Meridian, ID 83646

                      David Stone
                      3445 Wallace Dr
                      Bonita, CA 91902

                      David Supinger
                      1093 South 55 West
                      Farmington, UT 84025

                      David Surowiak
                      7871 Concession Road 3
                      Lisle ON L0M 1M0
                      CANADA

                      David Surowiak
                      7871 Concession Rd 3
                      Lisle ON L0M1M0
                      CANADA

                      David T
                      4723 156 Avenue Northwest
                      Edmonton AB T5Y 0B6
                      CANADA

                      David Templin
                      8105 NW 77th St
                      Oklahoma City, OK 73132

                      David Timberlake
                      142 Oxford Street,
                      Sheffield ENG S6 3GB
                      UNITED KINGDOM

                      David Tran
                      122 Bronte St S
                      428A
                      Milton ON L9T1Y9
                      CANADA

                      David Truong
                      96 W. White Willow Cir.
                      Spring, TX 77381-2728
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1216 of
                                        1639



                      David Turner
                      1 Hermann Park Court
                      Apt 734
                      Houston, TX 77021

                      David Vahidi
                      353 Riverpark Blvd, #206
                      Oxnard, CA 93036

                      David Vanwye
                      3704 Kinnett Lane
                      Indianapolis, IN 46228

                      David Volbracht
                      Montargisstrasse 99
                      Greven 48268
                      GERMANY

                      David Wang
                      99 Vista Montana
                      Apt 4446
                      San Jose, CA 95134

                      David Webb
                      10 Japonica Dr
                      Pass Christian, MS 39571-4729

                      David Werren
                      Stationsstrasse 95
                      Wiesendangen 8542
                      SWITZERLAND

                      David Williams
                      1129 NW 19th Pl
                      Cape Coral, FL 33993-5934

                      David Wittich
                      Romain-Rolland-Strasse 62
                      Berlin 13089
                      GERMANY

                      David Wood
                      The Old Barracks
                      Armoury Drive
                      Gravesend ENG DA12 1LZ
                      UNITED KINGDOM

                      David Wray
                      4730 Walnut Avenue
                      Simi Valley, CA 93063

                      David Yamaguchi
                      3507 Bergamo Dr
                      El Dorado Hills, CA 95762
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1217 of
                                        1639



                      David Yamaguchi
                      3507 Bergamo Drive
                      El Dorado Hills, CA 95762

                      David Yanez
                      711 S Bayshore Blvd
                      Apt 18
                      San Mateo, CA 94401

                      David Yousif
                      4806 N 96th Ave
                      Phoenix, AZ 85037

                      David Zak
                      12104 Track Road East
                      Cat Spring, TX 78933

                      Davor Lesnjakovic
                      S Andora Petefija 21
                      Osijek 31000
                      CROATIA

                      Davy Verbelen
                      Waarbeek 13
                      Asse 1730
                      BELGIUM

                      Dawa Sherpa
                      41992 Ural Drive
                      Aldie, VA 20105

                      Dayle Renfro
                      10074 Emerald Edgewater Ct
                      Las Vegas, NV 89178

                      Daylen Storaci
                      3617 North Road 88
                      Pasco, WA 99301

                      Daylin Gonzalez
                      2746 NW 5th St
                      Miami, FL 33125

                      Daylin Murchison
                      1975 Nocturne Dr Unit 2301
                      Alpharetta, GA 30009

                      Dayne Ladson
                      51 Parish Way
                      Pooler, GA 31322

                      Maria Rowena de Dios
                      195 Sienna Way
                      American Canyon, CA 94503
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1218 of
                                        1639



                      Jessica de la Cruz
                      8024 Fallbrooke Dr
                      North Chesterfield, VA 23235

                      Jonathan de la Rosa
                      7851 Davie Road Extension #1102
                      Hollywood, FL 33024

                      Roberto de las Salas
                      16385 Biscayne Blvd Apt 2804
                      North Miami Beach, FL 33160

                      Pablo de Leon
                      9857 Northwest 52nd Lane
                      Doral, FL 33178

                      Hanly de los Santos
                      1300 E Lafayette St Apt 1204
                      Detroit, MI 48207

                      Laura de los Santos
                      12813 Sophiamarie Loop
                      Orlando, FL 32828

                      Miguel De Pablo
                      12045 Dragon Crest Drive
                      El Paso, TX 79936

                      Renato de Rada Wagner
                      1562 Eagle Wind Terrace
                      Winter Springs, FL 32708

                      Mario de Sousa
                      468 Firenza Ct
                      Livermore, CA 94551

                      Dean Rittenhouse
                      805 S Gulph Rd
                      King Of Prussa, PA 19406

                      Dean Sanvido
                      35 Darling Cres
                      Alliston ON L9R1P7
                      CANADA

                      Dean Truong
                      2930 Fairmount Avenue
                      Apt D
                      La Crescenta-Montrose, CA 91214
                      Allan Dean
                      1908 E Carmen St
                      Tempe, AZ 85283
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1219 of
                                        1639



                      Deandre Gilberry
                      3554 Mentone Ave
                      Apt 5
                      Los Angeles, CA 90034

                      Deborah Duan
                      463 W Camino Real Ave
                      Arcadia, CA 91007

                      Alex Decamp
                      1458 Seyburn St
                      Detroit, MI 48214

                      Declan Child
                      8 Delaforce Street
                      Regents Park QLD 4118
                      AUSTRAILA

                      Deep Patel
                      630 South Knott Avenue Unit#56
                      Anaheim, CA 92804

                      Deepak Kamath
                      50 Harrogate Square
                      Buffalo, NY 14221

                      Deepdave KFT
                      Tuttossy Ferenc Utca
                      4.1.2.A
                      Zalaegerszeg 8900
                      HUNGARY

                      Deian Carmazan
                      28968 Rock Canyon Dr
                      Santa Clarita, CA 91390

                      Deian Lazici
                      Gottinger Strasse 26
                      Hinterhaus
                      Bad Aibling 83043
                      GERMANY

                      Dejan Cvetkovik
                      Boris Bojadziski 16
                      Skopje 1000
                      NORTH MACEDONIA

                      Dejan Minovic
                      Weststrasse 38
                      Wuppertal 42119
                      GERMANY

                      Luis Martin Del Campo
                      653 E Casad St
                      Covina, CA 91723
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1220 of
                                        1639



                      Marco Del Corto
                      Via Marco Polo, 139
                      Viareggio LU 5509
                      ITALY

                      Whine Del Rosario
                      14858 3/4 Dickens Street
                      Sherman Oaks, CA 91403

                      Richard Del Vecchio
                      5149 Partridge Circle
                      Roanoke, VA 24018

                      Delaine Fowler
                      142 Churchill Drive
                      Salisbury, NC 28144

                      Delfin Suarez
                      8133 Cozumel Ln
                      Sebring, FL 33876

                      Angelarose Deluca
                      7915 Ruxway Rd
                      Towson, MD 21204

                      Anastasija Deluna
                      1509 Pershing Dr
                      Apt C
                      San Francisco, CA 94129

                      Demarion Farmer
                      1304 Cozart Street
                      Unit 505
                      Durham, NC 27704

                      Demond Henson
                      1643 Kenwell St
                      San Diego, CA 92139

                      Den Bah
                      Dzelzavas 15/1 Dz.55
                      Riga LV-1084
                      LATVIA

                      Dene Sonnessa
                      26 Stoneham Road
                      Hove ENG BN3 5HJ
                      UNITED KINGDOM

                      Denis Steinlechner
                      6511 NW 87th Ave #Cli248067
                      Miami, FL 33178
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1221 of
                                        1639



                      Denise Lewis
                      1964 Northshire Drive
                      Tupelo, MS 38804

                      Denise McHayle
                      330 K Street
                      Apt 26
                      Chula Vista, CA 91911

                      Denni Punongbayan
                      25386 Grandfir Court
                      Corona, CA 92883

                      Dennis Fabia
                      3535 Lebon Drive Apt 4108
                      Apt 4108
                      San Diego, CA 92122

                      Dennis Galloway
                      162 Central Avenue
                      Rochelle Park, NJ 07662

                      Dennis Garcia
                      1117 E Anaheim St
                      Wilmington, CA 90744

                      Dennis Grote
                      Silbekerweg 35
                      Buren 33142
                      GERMANY

                      Dennis Jones
                      980 Branch Dr
                      Herndon, VA 20170

                      Dennis Knapp
                      Im Rad 11
                      Wiesbaden 65197
                      GERMANY

                      Dennis Kourbatsky
                      27653 Weston Dr
                      Valencia, CA 91354

                      Dennis Markmann
                      Hammer Weg 26
                      Hamburg 20537
                      GERMANY

                      Dennis Nelson
                      3617 Laurel Lee Blvd, Pace, Fl 32571
                      Pace, FL 32571-6861
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1222 of
                                        1639



                      Denny Sadlo
                      Evers Kamp
                      6B
                      Bissendorf 49143
                      GERMANY

                      Deo Avila
                      1155 Lansdowne Ave
                      Winnipeg MB R2X 1S5
                      CANADA

                      Deo Punongbayan
                      325 Genoa Street
                      C
                      Monrovia, CA 91016

                      Tran Dep
                      2 San Carmelo Way
                      Toronto ON M3N 2V1
                      CANADA

                      Derek Hansen
                      10 Wiebe Crescent
                      Weyburn SK S4H 3L4
                      CANADA

                      Derek Marineau
                      10 Nowell St. Apt. C
                      North Berwick, ME 03906

                      Derek Miller
                      18515 Deason Dr
                      Spring Hill, FL 34610

                      Derek Schindler
                      1717 Century Circle
                      #203
                      Woodbury, MN 55125

                      Derek Spencer
                      2633 29 Street Southwest
                      Calgary AB T3E2K6
                      CANADA

                      Derek Winer
                      50 Ivy Lea Place
                      Hamilton ON L8T 3R6
                      CANADA

                      Derik Day
                      316 Timbercreek Drive
                      Holly Springs, GA 30115
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1223 of
                                        1639



                      Derren Perry
                      Calle Brisas De Las Vinas, 6
                      Torre Del Mar MA 29740
                      SPAIN

                      Derrick Baldree
                      1739 Ridgedale Deive
                      Snellville, GA 30078

                      Derrick Bane
                      84817 Searles Street
                      Searles Valley, CA 93562

                      Derrick Johnson
                      100 Stonewall Avenue
                      Carencro, LA 70520

                      Derrick Lehrke
                      11640 Lockridge Avenue South
                      Hastings, MN 55033

                      Desiree Moro
                      1115 Huntington Drive
                      Fayetteville, AR 72701

                      Desmond Lee
                      118 Westbrooke Road
                      Welling ENG DA16 1QE
                      UNITED KINGDOM

                      Desmond Mathison
                      102 Westview Lane
                      Jackson, CA 95642

                      Desmond Stanford
                      48 St Johns Place
                      Brooklyn, NY 11217

                      Devin Carthorn
                      3824 Briarcliff Way
                      Chattanooga, TN 37406

                      Devin Gavgani
                      Bergsvagen 23 A
                      Savedalen 433 61
                      SWEDEN

                      Devin McBride
                      1005 Lily Pad Lane
                      Leander, TX 78641

                      Devin McLaughlin
                      1500 Winwood Street
                      Las Vegas, NV 89108
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1224 of
                                        1639



                      Devin Scott
                      16305 100 Avenue Northwest
                      Edmonton AB T5P 1L6
                      CANADA

                      Devin Slockbower
                      139 English Court
                      Bushkill, PA 18324

                      Devin Tyler
                      1402 Caywood Circle South
                      Lehigh Acres, FL 33936

                      Devyn Boettcher
                      3631 Stoneleigh Drive
                      Lansing, MI 48910

                      Dex Carr
                      6272 Equine Dr
                      Crestview, FL 32536

                      Dexter Barbosa
                      9590 Gurney Court
                      Elk Grove, CA 95758

                      Dexter Lin
                      42 Heron Pointe Court
                      Marlton, NJ 08053-1778

                      Dhan Bahadur Rai
                      6608 42 Street
                      207A
                      Lloydminster AB T9V 3L1
                      CANADA

                      Dharma Miryala
                      18 Canoe Birch Place
                      The Woodlands, TX 77382

                      Dharminder Chandale
                      234 Horton Road
                      Datchet
                      Berkshire ENG SL39HN
                      UNITED KINGDOM

                      Dharshan Dasrath
                      1638 Prairie Avenue, #208
                      Port Coquitlam BC V3B 1T7
                      CANADA
                      Dharshan Dasrath
                      1638 Prairie Ave
                      Suite 208
                      Port Coquitlam BC V3B1T7
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1225 of
                                        1639



                      Dhaval Panchal
                      18482 Buttonwood Lane
                      Rowland Heights, CA 91748

                      Dheeraj Gundapaneni
                      1093 Mariners Point Dr
                      St. Louis, MO 63141

                      Diaa Alzein
                      38 Rosemary Drive
                      Lalor VIC 3075
                      AUSTRAILA

                      Diaa Alzein
                      1 Spring Street
                      Melbourne VIC 3074
                      AUSTRAILA

                      Diamante Borrega
                      4650 Rue Jean Talon Est
                      Apt. 1002
                      Montreal QC H1P2V5
                      CANADA

                      Diana Hermosillo
                      Puerto Marquez 1305
                      Valle Primavera
                      Monterrey NL 64840
                      MEXICO

                      Diana Sharber
                      509 West 155th Street
                      5F
                      New York, NY 10032

                      Diane Dykas
                      135 Glenforest Road
                      Toronto ON M4N 2A1
                      CANADA

                      Diane Hartman
                      1239 Heath Street
                      Redlands, CA 92374

                      Diane Mevorach
                      83 Navesink Avenue
                      Fair Haven, NJ 07704

                      Dianni Scarborough
                      28 Nye Bevan Estate
                      London ENG E5 0AG
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1226 of
                                        1639



                      Dick Amen
                      7361 Rockmont Ave
                      Westminster, CA 92683

                      Daniel Dickson
                      11 Greenwich Road
                      East Longmeadow, MA 01028-1416

                      Didier Mondestin
                      2273 Rue Denonville
                      Montreal QC H4E 1M7
                      CANADA

                      Diego Bermudez
                      9633 Holly Patch
                      San Antonio, TX 78254

                      Diego Laurent
                      295 Rue Fontaine
                      Saint-Jean-Sur-Richelieu QC J2Y 1G7
                      CANADA

                      Diego Ponce
                      3005 Princess Lane
                      Plano, TX 75074

                      Diego Saal
                      19340 NE 18 Ct
                      Miami, FL 33179

                      Fernando Diez Barroso
                      907 5th Avenue
                      6Ad
                      New York, NY 10021

                      Dike Ezenekwe
                      2611 East Broadway, #202
                      Long Beach, CA 90803

                      Dilesh Patel
                      2650 Evans Way
                      Olive Branch, MS 38654-4925

                      Dillon Frost
                      210 N Oak St
                      Villa Grove, IL 61956

                      Dillon Miller
                      688 Old Quarry Road
                      Apt 11
                      Pleasant Hill, CA 94523

                      Dillon Moreland
                      1716 Longhill Road
                      Millington, NJ 07946
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1227 of
                                        1639



                      Dillon Terman
                      2117 Madison Cir
                      Northbrook, IL 60062

                      Dimitar Ilchev
                      Knyaz Boris 1 Str, Nuber 33,
                      Nuber 33
                      Bansko 2770
                      BULGARIA

                      Dimitrios Athanasios Drougas
                      Tanaidos 29
                      Athens 11142
                      GREECE

                      Dimitrios Saleh El Ayed
                      Ax. Samothrakis 23
                      Thessaloniki 54248
                      GREECE

                      Dimple Sethi
                      27127 Liberty Heights Ln
                      Fulshear, TX 77441

                      Dinca Dumitru
                      Strada Targului, Nr. 75
                      Dragasani VL 245700
                      ROMANIA

                      Dinesanandan Anandavel
                      1067 Manotick Station Rd
                      Ottawa ON K4M1B2
                      CANADA

                      Dion K
                      40 West 89th Street
                      4A
                      Ny, NY 10024

                      Dionisio Newaza
                      79 Tristan
                      Sacramento, CA 95823

                      Diontei French
                      1308 South Cactus Avenue
                      Bloomington, CA 92316

                      Diony Sepulveda
                      2300 North Berrys Chapel Road
                      Franklin, TN 37069

                      Mary Diorelle Rodriguez
                      6343 Broadway
                      San Diego, CA 92114
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1228 of
                                        1639



                      Dipak Bhattarai
                      3 Laguna Street
                      Kellyville Ridge NSW 2155
                      AUSTRAILA

                      Divya Rijal
                      815 W. 59th St.
                      La Grange Highlands, IL 60525

                      Dmitry Khazhinov
                      5953 Armaga Spring Road
                      Unit B
                      Rancho Palos Verdes, CA 90275

                      Dmytro Gapon
                      4200 Westbay Rd
                      Lake Oswego, OR 97035

                      Dmytro Nikitchenko
                      Klingerstr. 14
                      Munich 81369
                      GERMANY

                      Doan Tran
                      2382 Ridgeglen Way
                      San Jose, CA 95133

                      Andrew Dodge
                      483 28th St SE
                      Apt 203
                      Rochester, MN 55904

                      Dogaru Adela Mihalea
                      Str. Mikszath Kalman, Nr 32, Ap.4
                      Dumbravita TM 307116
                      ROMANIA

                      Domenic Tassoni
                      115 Terrace Drive Northeast
                      Atlanta, GA 30305

                      Dominic Hermida
                      Margaritas 92 Entre Azucenas Y Bugambili
                      Veracruz VER 91948
                      MEXICO

                      Dominic Jeanbaptiste
                      7958 S. Paxton Ave
                      Chicago, IL 60617
                      Dominic Silvani
                      6501 S Lynncrest Terrace
                      Chattanooga, TN 37416-1212
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1229 of
                                        1639



                      Dominick Rushton
                      76 Marland Way
                      Flat 3
                      Manchester ENG M32 0NQ
                      UNITED KINGDOM

                      Dominika Skiba
                      14 Vulcan Close
                      Nottingham NG60GW
                      UNITED KINGDOM

                      Dominique Keyes
                      2888 El Sobrante St
                      Santa Clara, CA 95051-3714

                      Don Balkema
                      2702 Ravine Road
                      Kalamazoo, MI 49004

                      Don Bell
                      712 NE 72 St
                      Miami, FL 33138

                      Don Law
                      7121 E. 81st Pl
                      Tulsa, OK 74133

                      Don McBride
                      2735 Beach River Dr.
                      Reno, NV 89521

                      Don Morse
                      500 West South Street
                      Freeport, IL 61032

                      Don Vu
                      3925 3rd Ave. S.
                      Minneapolis, MN 55409

                      Donald Choi
                      660 Wyndrise Dr
                      Blue Bell, PA 19422-2903

                      Donald Clausen
                      10510 57th Pl N
                      Plymouth, MN 55442

                      Donald Haight
                      616 Shelby Rd Ste A
                      Fort Worth, TX 76140

                      Donald Hughes
                      30 Haefele St
                      Hanover Twp, PA 18706-1002
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1230 of
                                        1639



                      Donald Johnson
                      2625 Brompton Court
                      Orlando, FL 32833

                      Donald Keating
                      275 Northwest Cherry Pl
                      Issaquah, WA 98027

                      Donald Ladanyi
                      5115 E Lake Road
                      Apt 1101
                      Sheffield Lake, OH 44054

                      Donald Lavigne
                      12 Perry Road
                      Annandale, NJ 08801

                      Donald Maher
                      104 Nobility Dr
                      104 Nobility Dr, SC 29210

                      Donald Medon
                      443 Auburn Rd
                      Landenberg, PA 19350

                      Donald Michael
                      3 Woodcock Rd
                      Unit 3113
                      Savannah, GA 31404-1091

                      Donald Simonton
                      6002 Native Woods Dr
                      Tampa, FL 33625

                      Donald Tran
                      2508 Country Club Drive West
                      Irving, TX 75038

                      Donald Williams
                      2401 John Marshall Drive
                      Arlington, VA 22207

                      Dong Kim
                      333A Highland Avenue
                      Palisades Park, NJ 07650

                      Donggun Lee
                      43 Constitution Avenue, #41
                      Reid ACT 2612
                      AUSTRAILA

                      Dongping Cai
                      49 Cliffwood Road
                      Toronto ON M2H 3K3
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1231 of
                                        1639



                      Donnetta Gregory
                      15504 Hall Road
                      Bowie, MD 20721

                      Vanina Margarita Donoso
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166

                      Donovan Ryckis
                      333 S Garland Ave
                      Fl 13
                      Orlando, FL 32801

                      Dontae Armour
                      5600 Dana Way
                      Sacramento, CA 95822

                      Bryan Doo
                      20516 Sartell Drive
                      Walnut, CA 91789

                      Dorian Valdez
                      11036 Shaw Street
                      Rancho Cucamonga, CA 91701

                      Doug Allen
                      2819 Fox Ridge Road
                      Ooltewah, TN 37363

                      Doug Boyer
                      1323 Brayshore Dr.
                      Collierville, TN 38017

                      Doug Kulak
                      6109 Alvin Dr
                      Redding, CA 96001

                      Doug Mccluer
                      547 Goliad Dr.
                      Allen, TX 75002

                      Doug Vonberg
                      2311 Mid Ln.
                      #1210
                      Houston, TX 77027

                      Douglas Geiling
                      1983 Eaton Street
                      Lakewood, CO 80214
                      Douglas Grisham
                      8 The Green, Suite A
                      Dover, DE 19901
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1232 of
                                        1639



                      Douglas Hillman
                      6820 Wyndham Drive
                      Apt 4
                      Sacramento, CA 95823

                      Douglas M Lucas
                      5 Kellie Court
                      Califon, NJ 07830

                      Douglas Polk
                      18 Henry Street
                      Glens Falls, NY 12801

                      Alan Doyle
                      45 Barronsgrange Park
                      Carryduff NIR BT8 8LF
                      UNITED KINGDOM

                      Dragostin Cristian
                      No. 103B, Matei Voievod Street, 2nd Coun
                      Apartment 10, 4th Floor
                      Bucharest B 21453
                      ROMANIA

                      Drew Mackey
                      4154 Piedmont Avenue
                      Apartment 7
                      Oakland, CA 94611

                      Drew Sisneros
                      19144 West 85th Bluff
                      Arvada, CO 80007

                      Drew Soltis
                      104 E Manor Dr
                      Mill Valley, CA 94941-1370

                      Dudley Lucien
                      1360 Rue De La Foret
                      Longueuil QC J4N 1S5
                      CANADA

                      Dumaine Landa
                      Apt 8, 1A Range Road
                      Whalley Range
                      Manchester ENG M16 8FS
                      UNITED KINGDOM

                      Patrick Duncan
                      P.O. Box 1186
                      Arnold, MO 63010

                      Scott Dupriest
                      201 Warren Court
                      Nashville, TN 37138
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1233 of
                                        1639



                      Aaron Duran
                      211 W Wacker Dr. Suite 1850
                      Chicago, IL 60606

                      Durgesh Dewangan
                      15014 Montezuma Quail Dr.
                      Cypress, TX 77433

                      Dusan Vukotic
                      Kraljevica Marka 12 1
                      Belgrade 11000
                      SERBIA

                      Dustin Bibb
                      5933 Oswald St
                      Columbus, OH 43081

                      Dustin Brewer
                      4524 T Moore Road
                      Oakwood, GA 30566

                      Dustin Brewer
                      4524 T Mor Cove
                      Oakwood, GA 30566

                      Dustin Malamis
                      6519 Alan Linton Blvd East
                      Frederick, MD 21703

                      Dustin Mendez
                      Hda Barbabosa 34
                      San Mateo Atenco MEX 52105
                      MEXICO

                      Dustin Van Der Linde
                      246 Stewart Green Sw
                      Calgary AB T3H 3C8
                      CANADA

                      Dusty Brillhart
                      239 Elkhart Ave
                      Box 165
                      Elkhart, KS 67950

                      Dusty Durr
                      333 Evelyn Dr
                      Luling, LA 70070-6013

                      Dusty Rautiainen
                      3291 Douglas Hwy
                      Juneau, AK 99801-1917

                      Dwayne Samuel
                      10326 68th Road Apt A16
                      Forest Hills, NY 11375
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1234 of
                                        1639



                      Dylan Buijk
                      540 Essa Road
                      Unit 29
                      Barrie ON L9J 0H2
                      CANADA

                      Dylan Crane
                      1214 Lake Ave
                      Apt B (Yellow House, Lower Unit)
                      West Palm Beach, FL 33401

                      Dylan Dew
                      7023 North Oceanshore Blvd
                      Palm Coast, FL 32137

                      Dylan Lowery
                      49715 Garfield Lane
                      Canton, MI 48188

                      Dylan Sandry
                      4213 Barbara Lane
                      Missoula, MT 59803

                      Dylan Xavier
                      Cmri, 214 Hawkesbury Road
                      Westmead NSW 2145
                      AUSTRAILA

                      Dyllan Wostbrock
                      10570 Dixon Dr S, #403
                      Seminole, FL 33772

                      E Holley
                      5331 Breakers Lane
                      Patrick Air Force Base, FL 32925

                      E Van Der Linden
                      Klapwijkse Zoom 4
                      Berkel En Rodenrijs 2652EE
                      NETHERLANDS

                      Easton Riley
                      456 Pequonnock Street
                      Bridgeport, CT 06604

                      Ebrahim Moosa
                      1516 Hennessey Drive
                      Allen, TX 75013

                      Ebubekir Kilic
                      Meydan Mahallesi Kucuk Bolcek Caddesi No
                      Bim Ustu Kesik Minare Camisi Kar  S
                      Aksaray 68200
                      TURKEY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1235 of
                                        1639



                      Ed Sarkisov
                      1319 North Detroit Street
                      Apt 102
                      Los Angeles, CA 90046

                      Eddie Cavill
                      85 William Smith Close
                      Cambridge ENG CB1 3QE
                      UNITED KINGDOM

                      Eddie Chu
                      2729 Wilbur Ave
                      San Jose, CA 95127

                      Eddie Lee
                      120 Patricia Avenue
                      Toronto ON M2M 1J4
                      CANADA

                      Eddie Roedig
                      2949 Split Hickory Ct.
                      Johns Island, SC 29455

                      Eddie Valencia
                      8835 Woodman Ave
                      Arleta, CA 91331

                      Eddy Pan
                      330 Berry St
                      Unit 423
                      San Francisco, CA 94158

                      Eder Martinez Molina
                      Yagul 5889
                      Colonia Pinar De La Calma
                      Zapopan JAL 45080
                      MEXICO

                      Eder Teixeira
                      208 Sky Acres Drive
                      Westworth Village, TX 76114

                      Edgar Green
                      2454 Key Largo Lane
                      Fort Lauderdale, FL 33312

                      Edgar Martinez
                      19711 Windmoor Ct
                      Katy, TX 77449
                      Edgar Moya
                      4817 Fairgrave Ave
                      Santa Rosa, CA 95407
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1236 of
                                        1639



                      Edgar Paredes
                      Mar Azof 55
                      Miguel Hidalgo DF 11410
                      MEXICO

                      Edgar Rosas
                      841 W 42nd Pl Apt 8
                      Los Angeles, CA 90037

                      Edgar Wright
                      4122 West Michigan Avenue, #2
                      Kalamazoo, MI 49006

                      Edilberto Diaz
                      13510 North 49th Avenue
                      Glendale, AZ 85304

                      Edin Selimovic
                      9648 Red Sunset Ct
                      West Des Moines, IA 50266

                      Edmund Chao
                      4818 Eldorado Mews
                      Suite 707, Buzzer 2791
                      Vancouver BC V5R 0B3
                      CANADA

                      Edoardo Damasco
                      Via Podio 19/2
                      Pino Torinese TO 10025
                      ITALY

                      Edsel Abuyen
                      7450 Shoshone Ave
                      Van Nuys, CA 91406

                      Edson Manners
                      3708 Carrington Pl
                      Tallahassee, FL 32303

                      Eduard Baier
                      Ranhazweg 117
                      Ottobrunn 85521
                      GERMANY

                      Eduard Boan
                      Carrer Pau Casals 129
                      Ripollet B 8291
                      SPAIN
                      Eduard Renschler
                      Am Grunlingsbaum 60
                      Wertheim 97877
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1237 of
                                        1639



                      Eduardo Acosta
                      1770 NW 96th Ave
                      Doral, FL 33172-2317

                      Eduardo Alcaine
                      998 Ibis Avenue
                      Miami Springs, FL 33166

                      Eduardo Calderon
                      Punta Vizcaya Edif 24
                      Departamento 601
                      Oaxaca, Oaxaca OAX 71324
                      MEXICO

                      Eduardo Cartagena
                      2270 NW 74th Avenue
                      Sunrise, FL 33313

                      Eduardo Colombo
                      Vasallo 4027
                      Rosario S 2000
                      ARGENTINA

                      Eduardo Jonas Ortiz Contreras
                      Mariano Matamoros 521-C Interior 107
                      San Luis Potosi SLP 78049
                      MEXICO

                      Eduardo Llausas Villareal
                      Coscomate 195
                      Ciudad De Mexico DF 4730
                      MEXICO

                      Eduardo Quiroz
                      9018 Pemberton St
                      Spring Hill, FL 34608

                      Eduardo Salej
                      5414 North 10th Street
                      Mcallen, TX 78504

                      Eduardo Tinoco
                      223 Vauxhall Street
                      New London, CT 06320

                      Eduardo Vargas
                      1211 San Dario Ave., #1188
                      Laredo, TX 78040

                      Edvard Pohl
                      A Martinska Cesta 24
                      Ljubljana 1000
                      SLOVENIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1238 of
                                        1639



                      Edvardas Karmazinas
                      Vido Maciuleviciaus 49, #27
                      Vilnius 4310
                      LITHUANIA

                      Edvinas Jacevicius
                      20 N Tower Rd
                      Unit 4L
                      Oak Brook, IL 60523

                      Edward Acevedo
                      40 Felton Ave
                      Valley Stream, NY 11580

                      Edward Avetisian
                      1044 E Palm Ave
                      Burbank, CA 91501

                      Edward Bogart
                      14402 South Oakfield Way
                      Riverton, UT 84096

                      Edward Cabral
                      26 Sunset Avenue
                      East Providence, RI 02915

                      Edward Derderian
                      22121 North 79th Place
                      Scottsdale, AZ 85255

                      Edward McLean
                      68 Easy Street
                      Howell Twp, NJ 07731

                      Edward Morrison
                      205 20th Street Northeast
                      Apt 2
                      Washington, DC 20002

                      Edward Parker
                      38 Stevenson Rd.
                      Laurel, MS 39443

                      Edward Perper
                      20175 Avenida De Arboles
                      Murrieta, CA 92562

                      Edward Polanco
                      3300 S Garrison St, #1113
                      Corinth, TX 76210

                      Edward Richter
                      935 Buckhead Trail
                      Mt. Juliet, TN 37122
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1239 of
                                        1639



                      Edward Savage
                      12 Morris Street
                      Sewaren, NJ 07077

                      Edward Sterling
                      14422 S 11th Pl
                      Phoenix, AZ 85048

                      Edward Stevens
                      8 Brussels Road
                      London ENG SW11 2AF
                      UNITED KINGDOM

                      Barrington Edwards
                      688 N 7th Street
                      Colton, CA 92324

                      Edwin Choi
                      3663 W 6th St Ste 303
                      Los Angeles, CA 90020

                      Edyson Sanchez
                      5 Ossington Close
                      Nottingham ENG NG1 4EU
                      UNITED KINGDOM

                      Effie Mourginos
                      9 Avesnes Street
                      Holland Park QLD 4121
                      AUSTRAILA

                      Efthymios Stamatopoulos
                      Kallikratias 13
                      3 Floor
                      Athens 14233
                      GREECE

                      Ege Delimollaoglu
                      130 Overlook Avenue
                      Hackensack, NJ 07601

                      Eggert Stoefen
                      Hoheluftchaussee 69
                      Hamburg 20253
                      GERMANY

                      Elad Kimber Arye
                      Place De-Grenus #8
                      Geneva 1201
                      SWITZERLAND

                      Elaine Martens
                      101 Secrest Place
                      Penticton BC V2A 3R2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1240 of
                                        1639



                      Elan Kels
                      7129 Park Drive East
                      Apt A
                      Flushing, NY 11367

                      Elangovan Thevar
                      3541 Jefferson St
                      Kansas City, MO 64111-2802

                      Eli Cuaresma
                      1932 Avenida Echeveria
                      Unit 2
                      Chula Vista, CA 91913

                      Eli Cytrynbaum
                      6111 Avenue Du Bois
                      M12
                      Montreal QC H3S2V8
                      CANADA

                      Eli Obus
                      25 McWilliams Place
                      Ph 503
                      Jersey City, NJ 07302

                      Elian Bazer Bashi
                      Venngarn 420B
                      Lgh1001stenladan
                      Sigtuna 19391
                      SWEDEN

                      Eliana Panario
                      5430 SW 40th St
                      Casa
                      Davie, FL 33314-3710

                      Elias Duncan
                      12 Meadowbrook Lane
                      West Memphis, AR 72301

                      Elias Feliciano
                      3201 Eden St,
                      Apt 73
                      Pascagoula, MS 39581-3615

                      Elias Yarrito
                      118 Axlewood Court
                      Montgomery, TX 77316

                      Eliezer Moskowitz
                      13 Prag Blvd #402
                      Monroe, NY 10950
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1241 of
                                        1639



                      Elijah Cedario
                      1019 Emory Street
                      Imperial Beach, CA 91932

                      Elio Santos
                      Rua Republica Da Bolivia
                      57 5D
                      Lisboa PT-11 1500-544
                      PORTUGAL

                      Eliot Aretskin-Hariton
                      3377 Wooster Road
                      Rocky River, OH 44116

                      Eliyahu Scholl
                      145 North Highland Avenue
                      Los Angeles, CA 90036

                      Shneor Eliyahu
                      17320 NE 12th Ct
                      Miami, FL 33162

                      Elizabeth Peters
                      4510 Falcon Pl
                      Midland, TX 79707

                      Elizabeth Schneider
                      152 Liberty Ave
                      Manahawkin, NJ 08050

                      Elizabeth Silva
                      3500 8th Avenue
                      Unit A
                      Fort Worth, TX 76110

                      Elizabeth Stenger
                      6622 59th Court
                      Vero Beach, FL 32967

                      Elizabeth Stenger
                      6622 59th Ct
                      Vero Beach, FL 32967

                      Ellie Thomas
                      7 Longstone Park
                      Edinburgh SCT EH142BL
                      UNITED KINGDOM

                      Elliot Antokas
                      3446 Connecticut Ave Nw, #304
                      Washington, DC 20008

                      Elmer Gonzalez
                      5792 Chiquita Lane
                      San Bernardino, CA 92404
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1242 of
                                        1639



                      Elmohamadi Jad
                      1587 East 19th Street
                      8H
                      Brooklyn, NY 11230

                      Elnasri Elnasri
                      1740-7451 Falconridge Blvd NE
                      Calgary AB T3J0Z8
                      CANADA

                      Elpico Bv
                      Vinkelsestraat 64
                      Vinkel 5383 KM
                      NETHERLANDS

                      Elvis Pudic
                      702 Buckley Rd
                      Saint-Louis, MO 63125

                      Elvis Pudic
                      702 Buckley Rd.
                      St. Louis, MO 63125

                      Elyona Binjaku
                      Via Messedaglia 16A
                      Sona VR 37060
                      ITALY

                      Emad Meikhaeil
                      132 Northern Blvd
                      Staten Island, NY 10301

                      Emanoel Mendes
                      2170 Dufferin Street
                      Toronto ON M6E 3R8
                      CANADA

                      Emanuel Huard
                      11075 Boul Henri Bourassa
                      P.O. Box 65054
                      Quebec QC G1G 3X0
                      CANADA

                      Emanuel Nica
                      Str. Elicei Nr. 26
                      Sannicoara Jud.Cluj CJ 407042
                      ROMANIA

                      Emanuel Safiyev
                      3594 Stanton Lane
                      Peachtree Corners, GA 30092
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1243 of
                                        1639



                      Emanuele Spirito
                      Via Giuseppe Antonio Sassi 2
                      Milano MI 20123
                      ITALY

                      Emerald Mojica
                      5151 N 95th Ave
                      Apt 2068
                      Glendale, AZ 85305

                      Emerald Ritter
                      5715 Cardinal Fls
                      San Antonio, TX 78239

                      Emil Ganea
                      Baratiei 31
                      Romania B 30195
                      ROMANIA

                      Emile Rossouw
                      79 South Street
                      Epsom
                      London ENG KT18 7PY
                      UNITED KINGDOM

                      Emilia Ranaudo
                      8 The Circus Belton Park Road
                      Skegness ENG PE251GU
                      UNITED KINGDOM

                      Emiliano Quintal
                      49 Rowntree Mill Rd
                      North York ON M9L 1C4
                      CANADA

                      Emilio Moscosa
                      5811 West Corcoran Place
                      Chicago, IL 60644

                      Emilio Velez
                      817 Decatur Street Nw
                      Washington, DC 20011

                      Emily Clark
                      805 E Harney St
                      Laramie, WY 82072

                      Emily Foster
                      9144 Hanover Street
                      Omaha, NE 68122

                      Emily Kind
                      25752 Cervantes Lane
                      Mission Viejo, CA 92691
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1244 of
                                        1639



                      Emily Wiess
                      5263 Franklin Street
                      Apt 105
                      Hilliard, OH 43026

                      Emmanouil Tousis
                      Grigoriou Lampraki 60
                      Aspropyrgos 19300
                      GREECE

                      Emmanuel Balligui
                      1474 Island Ave #2303
                      San Diego, CA 92101

                      Emmanuel Reantoquio
                      2365 Kennedy Road
                      Ph 11
                      Toronto ON M1T 3S6
                      CANADA

                      Emmett Grube
                      3420 Bennett Drive
                      Bellingham, WA 98225

                      Emre Sarihan
                      665 SE 20th Ave
                      Office
                      Deerfield Beach, FL 33441

                      Enes Yaman
                      Bakirkoy Atakoy 3-4-11 Kisim Mahallesi K
                      (Mesa Villasi Villa 19)
                      Istanbul 34158
                      TURKEY

                      Engin Sivrioglu
                      Shop 3103 Westpoint Shopping Centre
                      17 Patrick St
                      Blacktown NSW 2148
                      AUSTRAILA

                      Enrico Agnolazza
                      Kiraly Utca 34
                      Budapest 1061
                      HUNGARY

                      Enrico Brega
                      Steigerwaldweg 12
                      Eschborn 65760
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1245 of
                                        1639



                      Enrique Gomez
                      Lope De Vega 121
                      Pb2
                      Mexico City DF 11560
                      MEXICO

                      Enrique Jose Ortin
                      C/ Matr N 1. Urb El Port N. La        Ora
                      Murcia MU 30830
                      SPAIN

                      Enrique Lascurain Del Paso
                      Monte LaBano 605
                      Int 1
                      Ciudad De Mexico MEX 11000
                      MEXICO

                      Enrique Pages
                      80 N Centre Ave
                      Apt 238
                      Rockville Centre, NY 11570

                      Enrique Rodriguez
                      1506 Parnell Avenue
                      San Antonio, TX 78224

                      Ephraim Santos
                      2570 West Lincoln Avenue
                      Apt 17
                      Anaheim, CA 92801

                      Erberto Guida
                      Via Francesco Genala 19
                      Diano Marina IM 18013
                      ITALY

                      Erhan Tuysuzo lu
                      Kirkkonaklar Mahallesi 382.Cadde No 8 Da
                      Ankara 6610
                      TURKEY

                      Eric Benn
                      292 Locust Street
                      Unit C
                      Dover, NH 03820

                      Eric Betts
                      33446 Whimbrel Road
                      Fremont, CA 94555
                      Eric Billingsley
                      6506 Baycrest Cir
                      Sachse, TX 75048
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1246 of
                                        1639



                      Eric Cantwell
                      136 Doe Trail
                      Jupiter, FL 33458

                      Eric Duff
                      4201 Aldie Road
                      Catharpin, VA 20143

                      Eric Favela
                      5790 Cinnabar Ave
                      Las Vegas, NV 89110

                      Eric Fitterer
                      155 Erin Grove
                      Calgary AB T2B3L2
                      CANADA

                      Eric Forero
                      354 Southeast 1st Drive
                      Deerfield Beach, FL 33441

                      Eric Frahm
                      5333 Spilman Ave
                      Sacramento, CA 95819

                      Eric Frey
                      Bachaustrasse 15
                      Bach 8806
                      SWITZERLAND

                      Eric Fried
                      3 Water Row
                      Wayland, MA 01778

                      Eric Frost
                      2108 Oliver Ave S
                      Minneapolis, MN 55405

                      Eric Hedman
                      31 Brackett St
                      Needham, MA 02492

                      Eric Heino
                      806 Santa Barabara Ave. #1390
                      Sugarloaf, CA 92386

                      Eric Helms
                      1951 Waterford Point Rd
                      Lexington, NC 27292
                      Eric Hu
                      110-42 15th Avenue
                      Queens, NY 11356
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1247 of
                                        1639



                      Eric Ingram
                      5904 Mount Eagle Drive
                      Apt 102
                      Alexandria, VA 22303

                      Eric Jung
                      11025 Grayledge Circle
                      Littleton, CO 80130

                      Eric Llanos
                      301 Pine Shadow Lane
                      Lake Mary, FL 32746

                      Eric Lowe
                      5703 Stamm Lane
                      Nampa, ID 83687

                      Eric Mancini
                      7262 Yellowtail Dr
                      Unit 203
                      Huntington Beach, CA 92648

                      Eric Martel
                      36269 Sandringham Drive
                      Abbotsford BC V3G 2M4
                      CANADA

                      Eric Martinez
                      5653 Garfield St
                      Hollywood, FL 33021

                      Eric Mertens
                      Pastoor Rayenstraat 15
                      Sittard 6137VT
                      NETHERLANDS

                      Eric Pan
                      71-58A 160th St
                      Flushing, NY 11365

                      Eric Peterson
                      15205 NE 16th Pl
                      733B
                      Bellevue, WA 98007

                      Eric Pritchard
                      516 W Arlington
                      Weatherford, OK 73096

                      Eric Richards
                      1004 Mayes Drive
                      Greenbrier, TN 37073
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1248 of
                                        1639



                      Eric Rubio
                      14002 N. 49th Ave
                      Unit 1026
                      Glendale, AZ 85306

                      Eric Sadovnick
                      600 N Mott Street
                      Los Angeles, CA 90033

                      Eric Scherzinger
                      20037 Yonge Street
                      East Gwillimbury ON L9N 1N2
                      CANADA

                      Eric Scheunemann
                      Falkenstrasse 19C
                      Munich 81541
                      GERMANY

                      Eric Serpa
                      117 Gerrard Street East, #509
                      Toronto ON M5B 2L4
                      CANADA

                      Eric Sowers
                      641 Butterfly Lane
                      Christiansburg, VA 24073

                      Eric Steffensen
                      2150 South 1300 East
                      Suite 500
                      Salt Lake City, UT 84106

                      Eric Tam
                      680 Claridge Dr
                      Pacifica, CA 94044

                      Eric Tanaka
                      9723 62nd Avenue South
                      Seattle, WA 98118

                      Eric Taylor
                      1464 Alencastre Street
                      Honolulu, HI 96816

                      Eric Tran
                      16371 Saratoga Lane
                      Huntington Beach, CA 92649

                      Eric Wolterman
                      301 Klotter Ave
                      Cincinnati, OH 45219
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1249 of
                                        1639



                      Eric Wong
                      21239 East Fort Bowie Dr
                      Walnut, CA 91789

                      Erich Shrewsbury
                      3936 Araby Ct
                      Highland, MI 48356

                      Erick Machado
                      16 Wisteria Ct
                      Tinton Falls, NJ 07712

                      Erick Sarrion
                      1281 Ninth Avenue
                      Unit 427
                      San Diego, CA 92101

                      Ericson Baguio
                      805 Linden Loop
                      Cedar Park, Tx, TX 78613

                      Erik Ciceraro
                      124 Druid Circle
                      Savannah, GA 31410

                      Erik Dwyer
                      2414 Garfield St NE
                      Minneapolis, MN 55418

                      Erik Gravgaard
                      Gersonsvej 25
                      Hellerup 2900
                      DENMARK

                      Erik Hernandez
                      206 Dana Point Avenue
                      Ventura, CA 93004

                      Erik Johnson
                      670 Laguna Dr
                      Simi Valley, CA 93065

                      Erik Perdomo
                      5505 Russell Dr
                      The Colony, TX 75056-1354

                      Erik Pinter
                      66 Sidney Belsey Crescent, #301
                      Toronto ON M6M 5J4
                      CANADA

                      Erik Radtke
                      Rufino Tamayo 2017 Colonia Las Aguilas
                      Gudalupe NL 67174
                      MEXICO
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1250 of
                                        1639



                      Erkan Olcay
                      Siteler Mah. 1327 Sok. Ilhan Ozturk Apt.
                      Kat:2/7
                      Antalya 7070
                      TURKEY

                      Ernest Le
                      562 Fell St
                      San Francisco, CA 94102

                      Ernesto Valguarnera
                      Mulihalde 16
                      Schongau 6288
                      SWITZERLAND

                      Ernie Jeffries
                      29140 Trans Canada Highway #1E
                      Portage La Prairie MB R1N 3C2
                      CANADA

                      Ernst Heller
                      Bernhard-Plettner-Ring 38
                      Erlangen 91052
                      GERMANY

                      Errison Ahwan
                      27B Coleraine Road
                      Blackheath ENG SE37PF
                      UNITED KINGDOM

                      Esat Qerimi
                      3416 West 7th Street
                      Fort Worth, TX 76107

                      Esau Padilla
                      1440 Columbia Street
                      Apt. 610
                      San Diego, CA 92101

                      Esben Hjelholt Halle Pedersen
                      Monrads Alle 15, St.
                      Valby 2500
                      DENMARK

                      Abraham Esfandiary
                      20 Stuyvesant Oval
                      Mb
                      New York, NY 10009

                      Eshaan Mann
                      8358 Rinauro Court
                      Tracy, CA 95304
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1251 of
                                        1639



                      Esmond Law
                      186 Silverado Plains Close Southwest
                      Calgary AB T2X0G4
                      CANADA

                      Espen Haland
                      Dalveien 12
                      Randaberg 4073
                      NORWAY

                      Geovanni Espinal II
                      45 Riley Rd
                      New Windsor, NY 12553-7233

                      Estatio Gutierrez
                      107 Kaufman Drive
                      Westwood, NJ 07675

                      Esteban Angulo
                      1410 Meadow Drive
                      National City, CA 91950

                      Estilito Diaz
                      3588 Plymouth Rd
                      #164
                      Ann Arbor, MI 48105

                      Ethan Evans
                      P.O Box 402
                      Pagosa Springs, CO 81147

                      Ethan Fern
                      2876 South Ellen Street
                      Milwaukee, WI 53207

                      Ethan Nguyen
                      15415 Hillside Terrace Lane
                      Cypress, TX 77429

                      Etienne Liburd
                      15 Skyridge Road
                      Toronto ON M1E 4N7
                      CANADA

                      Etienne Perot
                      3355 Octavius Dr
                      Apt 405
                      Santa Clara, CA 95054

                      Eugen Bogos
                      34092 Corktree Rd,Lake
                      Lake Elsinore, CA 92532
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1252 of
                                        1639



                      Eugene Armstead
                      8195 Gladwater Road
                      Peyton, CO 80831

                      Eugene Dane
                      11275 Hwy 98 W
                      6-185
                      Miramar Beach, FL 32550

                      Eugene Nelson
                      22115 Placeritos Blvd.
                      Newhall, CA 91321

                      Eugene Wright
                      10888 Shady Trail
                      Dallas, TX 75220

                      Eugeniu Stegari
                      9926 Haldeman Avenue
                      A31
                      Philadelphia, PA 19115

                      Evald Rovbut
                      Alyvu 9A-13
                      Gineitiskes
                      Vilnius 14159
                      LITHUANIA

                      Evan Delage
                      2005 Deerview Common
                      Oakville ON L6M 0Y2
                      CANADA

                      Evan Goransrud
                      45 Hilldowns Drive
                      Spruce Grove AB T7X 0J2
                      CANADA

                      Evan Hecht
                      55 Lumber Road
                      Suite 4
                      Roslyn, NY 11576

                      Evan Klisouris
                      26 Sato Street
                      Whitby ON L1R 2E1
                      CANADA

                      Evan Ostafichuk
                      67 Hawkdale Close Northwest
                      Calgary AB T3G 3A6
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1253 of
                                        1639



                      Evan Tilley
                      260 Vaughan Hill Road
                      Rochester, MA 02770

                      Evelina Floreva
                      Bul. General M Skobelev 7, Et.3, Ap.9
                      Tel. 0886803373
                      Sofia 1463
                      BULGARIA

                      Evelpidou Antigoni
                      Georgiou Papandreou 63
                      New Filadelpheia
                      Athens 14341
                      GREECE

                      Evelyn Suarez
                      350 S Miami Ave, #1208
                      Miami, FL 33130

                      Everett Pavo
                      94-1190 Kahuahale St
                      Waipahu, HI 96797

                      Ewan Lawson
                      28 Lowden Road
                      London ENG SE24 0BH
                      UNITED KINGDOM

                      Explico Zrt
                      Perc Utca 6
                      1. Emelet Opl
                      Budapest 1036
                      HUNGARY

                      Eyad Hammad
                      22631 Cutter Mill Drive
                      Spring, TX 77389

                      Fabian Baier
                      Ferdinand-Nickles-Str. 38
                      Wurzburg 97076
                      GERMANY

                      Fabian David
                      4028.Debrecen,Laktanya Utca 7/1
                      Debrecen 4028
                      HUNGARY

                      Fabian Horth
                      Bebelstrasse 58
                      Stuttgart 70193
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1254 of
                                        1639



                      Fabian Rodriguez
                      5125 Melrose Avenue
                      Los Angeles, CA 90038

                      Fabio Bendinelli
                      Long Island New York
                      New York Long Island
                      Long Island, NY 11101

                      Fabio Colin
                      1427 10th Street #6
                      Santa Monica, CA 90401

                      Fabio Mello
                      103 S 294th Pl
                      Federal Way, WA 98003

                      Fabio Pais
                      160 Avenida Do Brasil, Buarcos
                      Figueira Da Foz PT-06 3080-323
                      PORTUGAL

                      Fabricio Gonzalez
                      10310 Av Hamel, #10
                      Montreal QC H2C 2X3
                      CANADA

                      Fadi Almaaloly
                      Moselgasse 18/2/25
                      Wien 1100
                      AUSTRIA

                      Tobias Teoflio Allen Fagmann
                      729 Heritage Way
                      Weston, FL 33326

                      Fahad Sami
                      118-10125 156 St
                      Surrey BC V3R 0E7
                      CANADA

                      Faizan Khan
                      12831 West Hemingway Drive
                      San Fernando, CA 91340

                      Falkner Werkhaven
                      660 Ralph McGill Blvd NE #3422
                      Atlanta, GA 30312

                      Faraj Faraj
                      29832 Center Ridge Road
                      Westlake, OH 44145
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1255 of
                                        1639



                      Farid Elagamy
                      107 Bevan Way
                      Delaware, OH 43015

                      Faris Hitti
                      18242 Seebree Lane
                      Monte Sereno, CA 95030

                      Farzad Pourkalbasi Esfahani
                      Breite Strasse 24A
                      Lubben (Spreewald) 15907
                      GERMANY

                      Fase Prospera
                      Rua Da Beneficencia 183, Andar 2
                      Lisboa PT-11 1600-019
                      PORTUGAL

                      Fatih Yalmaztark
                      Eski Londra Asfalti Cad. No:5
                      C1-26
                      Istanbul 34180
                      TURKEY

                      Favio Gramajo
                      616 Capistrano Dr
                      Oceanside, CA 92058

                      Faycal Bouabdallah
                      452 Duncan Street
                      San Francisco, CA 94131

                      Faysal Hoque
                      141 Byng Ave
                      Scarborough ON M1L2V2
                      CANADA

                      Faysal Hoque
                      255 Sackville Street #1209
                      Toronto ON M5A 3G1
                      CANADA

                      Aaron Fears
                      2036 West Avenue H 7
                      Lancaster, CA 93536

                      Federico Barzazi
                      Via S.Quasimodo N.19
                      Marcon VE 30020
                      ITALY

                      Federico Testarella
                      Via San Petronio Vecchio, 42/3
                      Bologna BO 40125
                      ITALY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1256 of
                                        1639



                      Fei Ye
                      48 Summer Hill Ct
                      Danville, CA 94526

                      Adolfo Feliciano
                      611 East 47th Street
                      Hialeah, FL 33013

                      Felicity Nguyen
                      1900 Naval Ave, Apt 105
                      Bremerton, WA 98312

                      Felicity Nguyen
                      8119 Yarrow Drive
                      Cypress, TX 77433

                      Felipe Garcia
                      22542 Maurice Ct
                      Lake Forest, CA 92630

                      Felipe Valderrama
                      15521 Johnson Road
                      Bakersfield, CA 93314

                      Felix Glaser
                      Hechtstrasse 16
                      Dresden 1097
                      GERMANY

                      Felix Spickermann
                      Hermannstrasse 28
                      Wiesbaden 65183
                      GERMANY

                      Felten Feldt
                      Wabestrasse 34
                      Braunschweig 38106
                      GERMANY

                      Ferdinand Wichelhaus
                      Adelheidweg 20
                      Stuttgart 70186
                      GERMANY

                      Ferenc Vehmann
                      Kodaly Z. 17.
                      Veszprem 8200
                      HUNGARY

                      Reinier Fernandez de la Vara
                      1695 Pecan Ct
                      Orange Park, FL 32073
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1257 of
                                        1639



                      Fernando Castanos
                      Londres 339, #4
                      Me DF 4100
                      MEXICO

                      Fernando Famania
                      174 Avenida Altamira
                      Chula Vista, CA 91914

                      Fernando Farina Da Silva Leal
                      Ave. Gen. Guedes Da Fontoura 905, #302
                      Rio De Janeiro RJ 22621-242
                      BRAZIL

                      Fernando Guzman
                      12791 Woodcliff Circle
                      Riverside, CA 92503

                      Fernando Sanchez
                      821 La Cima
                      Irving, TX 75039

                      Fernando Taken
                      12791 Woodcliff Circle
                      Riverside, CA 92503

                      Fernando Tavares
                      3351 Lehigh St
                      Bethlehem, PA 18020

                      Fernando Verano
                      9934 Dragonfly Meadow Court
                      Humble, TX 77396

                      Fernely Macdiel Leon Hernandez
                      Segunda Privada De Guadalupe V Ctoria #
                      Oaxaca OAX 68039
                      MEXICO

                      Andrew Ferrier
                      234 Franklin St
                      Belchertown, MA 01007

                      Ferzan Unlu
                      Caferaga Mah. Gurbuzturk Sokak.
                      No:6 Daire:3 34710 Istanbul
                      Istanbul 34710
                      TURKEY

                      Fifi Hartono
                      15715 Malaga Drive
                      Fontana, CA 92336
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1258 of
                                        1639



                      Alessandro Figuccio
                      238 Rhode Hall Road
                      Monroe Twp, NJ 08831

                      Filip Gajdosik
                      Slneana 3
                      338/3
                      Sokolovce 92231
                      SLOVAKIA

                      Filip Hennig
                      Langvagen 9A
                      Uppsala 75652
                      SWEDEN

                      Filip Prokopiev
                      21 Babson College Drive
                      Wellesley, MA 02481

                      Filippo Ferro
                      Holderlinstrasse 48
                      Rottenburg Am Neckar 72108
                      GERMANY

                      Finigan Ford
                      1309 11th Street
                      Arcata, CA 95521

                      Adam Finke
                      538 90th Ave
                      Luverne, MN 56156

                      Fiona Primrose
                      46A Princess Road
                      Bellevue
                      Tauranga BOP 3110
                      NEW ZEALAND

                      Flavio Picone
                      Via Galliano Giuseppe Maggiore 18
                      Palermo PA 90143
                      ITALY

                      Adan Flores
                      7284 Luz De Ciudad Ct
                      El Paso, TX 79912

                      Florian Bunschuch
                      Mozartstr. 2A
                      Vaterstetten 85591
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1259 of
                                        1639



                      Florian Frere
                      7 Rue Baudin
                      Courbevoie 92400
                      FRANCE

                      Florian Mouchet
                      9 Rue Corot
                      Interphone Guittard
                      Clermont-Ferrand 63000
                      FRANCE

                      Florian Salman
                      Moslweg 3A
                      Munich 80939
                      GERMANY

                      Florian Schicker
                      Fernkorngasse 10/3/501
                      Nessus Gmbh
                      Vienna 1100
                      AUSTRIA

                      Florian Schwarzer
                      Auguste-Piccard-Str. 39
                      Berlin 14089
                      GERMANY

                      Florian Tiganescu
                      54 Winterfold Close
                      London ENG SW19 6LE
                      UNITED KINGDOM

                      Florian Zizlavsky
                      Franz Pittner-Gasse 12
                      Sankt Polten 3100
                      AUSTRIA

                      Florim Pllana
                      2986 Marion Avenue
                      Bronx, NY 10458

                      Florin Andrita
                      216 St Andrews Avenue
                      Hornchurch ENG RM125EB
                      UNITED KINGDOM

                      Florin Badiu
                      Bulevardul George Coebuc Nr 3A
                      Cladirea Clc, Etaj 1
                      Galati GL 800378
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1260 of
                                        1639



                      Florin Cristian Burtica
                      Weg Zum Stadtwald 15
                      Hattingen 45529
                      GERMANY

                      Florin Manole
                      57 Markwick Avenue
                      Waltham Cross ENG EN8 9FP
                      UNITED KINGDOM

                      Florin Petrescu
                      Bvd. N. Titulescu Nr.104 Bl.26 Sc.1 Ap.7
                      Dolj
                      Craiova DJ 200554
                      ROMANIA

                      Florin Vrabie
                      356, Worth Avenue
                      Palm Beach, FL 33480

                      Andre Flowers
                      209 Shasta Drive
                      Pittsburgh, PA 15239

                      Fmp Media
                      6929 N. Hayden Rd. #C4
                      Scottsdale, AZ 85250

                      Folarin Adesalu
                      2620 Bowen Rd #202
                      Washington, DC 20020

                      Fong Bui
                      1197 Acadia Avenue
                      Milpitas, CA 95035

                      Ford Frederick
                      26709 Basswood Avenue
                      Rancho Palos Verdes, CA 90275

                      Forinne Vertentes
                      556 Osborn St
                      Fall River, MA 02724

                      Forrest Andrews
                      71 Reveille Lane
                      Sandpoint, ID 83864

                      Fouad Ahmad
                      Cankaya, Aziziye Mah., Willy Brand Sk.,
                      4/5, Cep Tel: 5387845270
                      Ankara 6690
                      TURKEY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1261 of
                                        1639



                      John M Fox
                      38 Moraine Rd
                      Morris Plains, NJ 07950

                      Francesco Cordella
                      Via Vial Di Romans 78
                      Cordenons PN 33084
                      ITALY

                      Francesco Fiastri
                      Via Clemente Maraini 17A
                      Lugano 6900
                      SWITZERLAND

                      Francesco Manzi
                      Via Garibaldi 28
                      c/o Catholic University Of America
                      Roma RM 153
                      ITALY

                      Francesco Mazzara
                      11483 Avenue Ovide-Clermont
                      Montreal QC H1G 3Y9
                      CANADA

                      Francesco Simbolotti
                      Viale Tito Livio 16
                      Roma RM 136
                      ITALY

                      Francesco Tamburello
                      Via Tre Torri 11
                      Sant'Agata Li Battiati CT 95030
                      ITALY

                      Francesco Vallera
                      808 Chestnut Avenue
                      Los Angeles, CA 90042

                      Franchesca Marcolongo
                      5432 Ny-28
                      Newport, NY 13416

                      Francis Almeda
                      5116 N Bernard St
                      Chicago, IL 60625

                      Francis Koh
                      13304 Chestnut Oak Drive
                      Darnestown, MD 20878

                      Francis Lake
                      2473 Northern Oak Dr
                      Braselton, GA 30517-6056
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1262 of
                                        1639



                      Francis Mbakop
                      8860 Piney Branch Rd, #1008
                      Silver Spring, MD 20903

                      Francis Santoso
                      831 Camaritas Circle
                      Glen Iris VIC 3146
                      AUSTRAILA

                      Francisc-Ladislau Horvat
                      Strada Nirajului 20, Bl.N6., #3
                      Cluj-Napoca CJ 400599
                      ROMANIA

                      Francisco Bido
                      2350 Valentine Ave 4A
                      Bronx, NY 10468-7222

                      Francisco Cordoba
                      382 Northeast 191st Street
                      Pmb 74256
                      Miami, FL 33179

                      Francisco Font
                      47 Wild Indigo Crescent
                      Brampton ON L6R 2J9
                      CANADA

                      Francisco J Guzman
                      Quintas Las Muesas Calle Rafael Coca Nav
                      M7
                      Cayey, PR 00736

                      Francisco Marte
                      165 Suydam St
                      Apt 2L
                      Brooklyn, NY 11221

                      Francisco Ramos
                      600 Cherry Lane, #21
                      Tehachapi, CA 93561

                      Francisco Rodriguez Alberro
                      Calle Loteria 1, 2B
                      Motril GR 18600
                      SPAIN

                      Francois Botha
                      803 Lords Wood Lane
                      Chatham ENG ME5 8JP
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1263 of
                                        1639



                      Francois Bramucci
                      24 Gordon
                      Verdun QC H4G2R3
                      CANADA

                      Francois D'Arundel
                      14 Rue Rene Laennec
                      Bois-D'Arcy 78390
                      FRANCE

                      Francois Paillier
                      48 Salmen Road
                      London ENG E13 0DT
                      UNITED KINGDOM

                      Francois Paradis
                      85 Rue De Pergame
                      Gatineau QC J9J 1K3
                      CANADA

                      Frangiskos Frangeskides
                      6 Aristeidou Street
                      Nicosia 2415
                      CYPRUS

                      Franja Horvat
                      Boetonstraat 91
                      Amsterdam 1095 ZA
                      NETHERLANDS

                      Frank Adams
                      1020 Neilson Street
                      6C
                      Far Rockaway, NY 11691

                      Frank Albers
                      629 Brighton Drive
                      Pingree Grove, IL 60140

                      Frank Cabrera Hernandez
                      Badenerstrasse 503
                      Zurich 8048
                      SWITZERLAND

                      Frank Carrico
                      1027 East 45th Street
                      Austin, TX 78751

                      Frank Cerveny
                      Leopold-Imgram-Strasse 5
                      Hanau 63456
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1264 of
                                        1639



                      Frank Delarosa
                      133 Kirton Ct
                      West Columbia, TX 77486

                      Frank Dipalma
                      175 Dieppe Road
                      St. Catharines ON L2M 7S2
                      CANADA

                      Frank Fehr
                      8 Babylon Drive
                      Sound Beach, NY 11789

                      Frank Kostlevy
                      W12737 County Hwy M
                      P.O. Box 147
                      Caroline, WI 54928

                      Frank Miesen
                      531 North 11th Street
                      Allentown, PA 18102

                      Frank Pryor
                      6/135 Brunswick Road
                      Brunswick VIC 3056
                      AUSTRAILA

                      Frank Puissegur
                      P.O. Box 6196
                      Lakeland, FL 33807

                      Frank Rahn
                      Hermann-Liebmann-Str. 7
                      Leipzig 4315
                      GERMANY

                      Robert Franke
                      218 Rethke Ave
                      Madison, WI 53714

                      Frankie Hernandez
                      1233 Crossbow Drive
                      Baton Rouge, LA 70816

                      Frankie Mak
                      240 26th Avenue, #2
                      San Francisco, CA 94121

                      Frankie Otero
                      1218 Santa Fe Circle
                      Fruita, CO 81521

                      Franklin Donbosco
                      75 Lortel Avenue
                      Staten Island, NY 10314
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1265 of
                                        1639



                      Franky Hernandez
                      795 E 42nd Pl
                      Los Angeles, CA 90011

                      Franz Kitting-Muhr
                      Reichendorf 199
                      Pischelsdorf 8212
                      AUSTRIA

                      Franziska Kopp
                      Davidstrasse 6
                      Leipzig 4109
                      GERMANY

                      Fraser Matte
                      39 Fancamp Drive
                      Maple ON L6A4Z1
                      CANADA

                      Fraser Matte
                      39 Fancamp Dr
                      Maple ON L6A 4Z1
                      CANADA

                      Fre Van Tendeloo
                      Bernard Van Hoolstraat 14
                      Lier 2500
                      BELGIUM

                      Fred Crosdale
                      5 Cedar St
                      Burlington, MA 01803

                      Fred Franzel
                      11076 West Rowland Ave
                      Littleton, CO 80127

                      Fred Seilkop
                      313 Swanson Drive
                      Lawrenceville, GA 30043

                      Freddie Aguilar
                      2055 Valentino Street
                      San Diego, CA 92154

                      Frederick Fournier
                      48 Birch Hill Cr
                      Moncton NB E1G 4R1
                      CANADA
                      Frederick Grant
                      1995 Altavista Circle
                      Lakeland, FL 33810
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1266 of
                                        1639



                      Frederick Klie
                      25 Graham Ave
                      Wayne, NJ 07470

                      Frederick Klie
                      25 Graham Ave
                      Wayen, NJ 07470

                      Frederico Anastacio
                      Rua Dos Combatentes Da Grande Guerra
                      9 Rc
                      Sacavem PT-11 2685-042
                      PORTUGAL

                      Frederik Bay
                      Kronprinsessegade 44 Kl
                      Nerd 911
                      Copenhagen K 1306
                      DENMARK

                      Frederik Van Breugel
                      De Ruijterlaan 11
                      Voorthuizen 3781 TJ
                      NETHERLANDS

                      Frederique Van Ginneken
                      64 Rue De Bezons
                      Courbevoie 92400
                      FRANCE

                      Fredrik Wahlqvist
                      39 Heath Lane
                      Bladon
                      Oxon ENG OX20 1RZ
                      UNITED KINGDOM

                      Freek Muller
                      Edisonweg 17
                      Gorinchem 4207 HE
                      NETHERLANDS

                      Fresh Fx
                      Siezenheimerstr. 29A
                      Salzburg 5020
                      AUSTRIA

                      Fuad Algamish
                      303 Fulton Road
                      Muscle Shoals, AL 35661
                      Fujing Xia
                      96 Marygrove Crescent
                      Winnipeg MB R3Y 1M2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1267 of
                                        1639



                      Fujio Nakamura
                      Ul. Mariana Lalewicza 3
                      Warszawa 02-829
                      POLAND

                      Furat Alazzawi
                      4054 NW 85th Ave
                      Pembroke Pines, FL 33024

                      Furkan Karabina
                      Van-Kinsbergen-Ring 5
                      Neunkirchen 57290
                      GERMANY

                      Fuzlullah Syed
                      340 Maury Lane
                      Florence, AL 35634

                      Gabe Kirstein
                      609 Raub Street
                      Joliet, IL 60435

                      Gabe Pringle
                      5810 Sunflower Circle North
                      Lyon Charter Twp, MI 48165

                      Gable Rynning
                      501 Northeast 5th Terrace, #728
                      Fort Lauderdale, FL 33301

                      Gabriel Bustamante
                      1241 Oriole Avenue
                      Miami Springs, FL 33166

                      Gabriel Curra
                      Stallgatan 13
                      Sundbyberg 174 64
                      SWEDEN

                      Gabriel Hartnett
                      525 Devon Rd
                      Norwood, PA 19074

                      Gabriel Ostrovsky
                      P.O. Box 1771
                      Scottsdale, AZ 85252

                      Gabriel Paaga
                      5211 99th Terrace
                      Pinellas Park, FL 33782

                      Gabriel Pringle
                      58180 Sunflower Circle North
                      Lyon Charter Twp, MI 48165
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1268 of
                                        1639



                      Gabriela Nassau
                      1011 M Street Nw
                      Apt. 404
                      Washington, DC 20001

                      Gabriella Gonzalez
                      10612 S. Avenue E
                      Chicago, IL 60617

                      Gabrielle Bedard
                      334 66E Rue Ouest
                      Quebec QC G1H 7G1
                      CANADA

                      Gaetan Heintz
                      1 Rue Felix Dournay
                      Soultz-Sous-Forets 67250
                      FRANCE

                      Gagan Modi
                      6B Tawny Court
                      Truganina VIC 3029
                      AUSTRAILA

                      Gaizka Ruiz
                      Asparrena Kalea 16
                      3D
                      Gasteiz VI 1006
                      SPAIN

                      Gal Fridman
                      Calle Fotografo Vicente Perez Melian 26
                      Urbanizacion Los Collazos
                      Valle Guerra, La Laguna TF 38270
                      SPAIN

                      Ganesh Dhuri
                      1435 North Wildwood Lane
                      Anaheim, CA 92801

                      Ganesh Raju
                      18902 East Josey Overlook Drive
                      Cypress, TX 77433

                      Ganna Prystupova
                      5 Hunters Way
                      Hunters Wood
                      Ballycullen D 24
                      IRELAND
                      Alejandro Garcia Mainou
                      920 Limberlost Ln
                      Lewisville, NC 27023
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1269 of
                                        1639



                      Abitsaid Garcia
                      3426 Country View
                      Schertz, TX 78108

                      Gareth Brown
                      40 Clos Cae Nant
                      Cwmbraqn WLS NP443PD
                      UNITED KINGDOM

                      Garman Tsoi
                      10-8500 Bennett Road
                      Richmond BC V6Y 1N7
                      CANADA

                      Leon-Anthony Garner Sr.
                      1530 Faris Ave
                      Pagedale, MO 63133

                      Garret Bolding
                      804 SE Hendrix St
                      Bentonville, AR 72712

                      Garrett Jamieson
                      6436 Darwood Ave
                      Fort Worth, TX 76116

                      Garrett Smith
                      5731 Hornbuckle Blvd
                      North Port, FL 34291

                      Gary Beller
                      17165 Southwest Merlo Road
                      Unit 1
                      Beaverton, OR 97003

                      Gary Fox
                      2529 Sable Ridge Street
                      Henderson, NV 89044

                      Gary Knight
                      6411 Baltimore Ave
                      Riverdale, MD 20737

                      Gary Nowers
                      3647 Dwiggins Street
                      Los Angeles, CA 90063

                      John Gatchel
                      1904 Stevens Avenue
                      Louisville, KY 40205-1049

                      Gavin Berryman
                      2915 Southwest 13th Street
                      Apt 71
                      Gainesville, FL 32608
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1270 of
                                        1639



                      Gavin Coburn
                      463 Bulldog Drive
                      Mesquite, NV 89027

                      Geddes Cureton
                      6 Carters Hurst
                      Birmingham ENG B33 0UW
                      UNITED KINGDOM

                      Geetha Pilli
                      3819 Nannyberry Court
                      Naperville, IL 60564

                      Gene Hew-Len
                      P.O. Box 294
                      Silverdale, WA 98383-0294

                      Genesi Srl Maro Del Corto
                      Via Marco Polo, 139
                      Viareggio LU 55049
                      ITALY

                      Lyudmil Genov
                      25 South Grove Avenue
                      202A
                      Elgin, IL 60120

                      Geoffrey Fichtl
                      2541 N Spaulding Ave
                      Chicago, IL 60647

                      Geoffrey Lambert
                      13 The Cresent
                      Flat 5
                      Scarborough ENG YO11 2PW
                      UNITED KINGDOM

                      Geoffrey Pillersdorf
                      500 Crestwood Court North
                      Unit 507
                      Royal Palm Beach, FL 33411

                      George Chondros
                      1 Bradley Avenue
                      Thornbury VIC 3071
                      AUSTRAILA

                      George Cooley
                      10 Ramsgate Road
                      Reddish ENG SK56TN
                      UNITED KINGDOM

                      George Davis
                      900 Josh Dr
                      Palmer, AK 99645
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1271 of
                                        1639



                      George Hutchison
                      304 Mayville Ave
                      Pittsburgh, PA 15226

                      George Kakouris
                      13 Langada
                      Strovolos 2023
                      CYPRUS

                      George Mardas
                      Asklipiou 26-28
                      Parking Asklipiou
                      Athens 106 80
                      GREECE

                      George Mathew
                      618 East Washington Street
                      Sequim, WA 98382

                      George Perham
                      P.O. Box 249
                      East Haddam, CT 06423

                      George Quickel
                      805 N Maple St
                      Ephrata, PA 17522

                      George Ruesca
                      20755 Southwest 85th Court
                      Cutler Bay, FL 33189

                      George Sarrion
                      1140 West 30th Street
                      Los Angeles, CA 90007

                      George Tannous
                      15 Sandpiper Drive
                      Taylors Lakes VIC 3038
                      AUSTRAILA

                      George Tindley
                      1937 South Corning Street
                      Los Angeles, CA 90034

                      Georgetta Cook
                      626 1st Avenue
                      E.41B
                      New York, NY 10016

                      Georgi Spiridonov
                      30, Atanas Uzunov Str
                      Ap. 19
                      Sofia 1505
                      BULGARIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1272 of
                                        1639



                      Geovanni Briseno
                      3354 Chamoune Avenue
                      San Diego, CA 92105

                      Gerald Blaufelder
                      Im Grundlein 2
                      Wilhelmsdorf 91489
                      GERMANY

                      Gerald Klaver
                      16 High Road
                      2 Clarendon View
                      Salisbury ENG SP5 4DS
                      UNITED KINGDOM

                      Gerald Llaguno
                      115 Lindrum Road
                      Unit 2
                      Frankston VIC 3199
                      AUSTRAILA

                      Gerald Mastro
                      26 Colonial Drive
                      New City, NY 10956

                      Gerald Rigdon
                      693 Mulberry Lane
                      Mendota Heights, MN 55118

                      Gerald Smith
                      1100 Bacchus Drive
                      Unit E
                      Lafayette, CO 80026

                      Gerard Higgins
                      226 Bellmore Street
                      Floral Park, NY 11001

                      Gerardo Gallardo
                      847 Woodaprings Ct
                      Covington, LA 70433

                      Gerardo Garcia
                      13656 Bora Drive
                      Santa Fe Springs, CA 90670

                      Gerardo Proietto
                      7951 Riviera Blvd, #210
                      Miramar, FL 33023
                      Gerardo Roman Tanus
                      Avenida San Cristobal 6, #1
                      Puebla PUE 72520
                      MEXICO
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1273 of
                                        1639



                      Gero Wienke
                      Waldstrasse 1
                      Grossenkneten 26197
                      GERMANY

                      Gerrick Teague
                      3000 Sunnyside Drive
                      Manhattan, KS 66502

                      Gevonn Trenfield
                      70 Tideland Drive
                      Brampton ON L7A 2W1
                      CANADA

                      Gevork Banjarjian
                      817 North Alexandria Avenue
                      Los Angeles, CA 90029

                      Ghassan Barazi
                      6492 Emerald Dunes Dr, Apt 201
                      West Palm Beach, FL 33411

                      Ghufran Shah
                      101 Elvaston Road
                      Wollaton
                      Nottingham ENG NG8 1JS
                      UNITED KINGDOM

                      Gian Carlos Carrion Farfan
                      Via Umberto Saba 9
                      Nonantola MO 41015
                      ITALY

                      Gian Salgatar
                      5238 West Palm Pinnacle Avenue
                      Las Vegas, NV 89139

                      Gianmarco Pietrobattista
                      Via Monte Zebio 25
                      Roma RM 195
                      ITALY

                      Gianni Orlando
                      Um Waisseraech 20
                      Bergem 3317
                      LUXEMBOURG

                      Giannis Ioannou
                      Themistokleous 11 Strovolos
                      Nicosia 2060
                      CYPRUS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1274 of
                                        1639



                      Gianno Kardjo
                      Laan Van Avant-Garde 384
                      Layer-It
                      Rotterdam 3059 RA
                      NETHERLANDS

                      Gifferson Romero
                      14800 Memorial Drive, #2310
                      Houston, TX 77079

                      Pierce Giffin
                      258 Walk Circle
                      Santa Cruz, CA 95060

                      Gilbert Drewicz
                      Distelfinkweg 83
                      Berlin 12357
                      GERMANY

                      Gilbert Dumoulin
                      589 Rue Des Violettes
                      Salaberry-De-Valleyfield QC J6S 6W3
                      CANADA

                      Gilles Claro
                      5126 Bellvale Ave
                      San Diego, CA 92117-4001

                      Gineen Whiunui
                      12 The Trongate
                      Granville NSW 2142
                      AUSTRAILA

                      Gino Colombi
                      Solis 518
                      Rojas B 2705
                      ARGENTINA

                      Giosue' Mitra
                      Corso Marion Crawford 46
                      Scala B
                      Sant'Agnello NA 80065
                      ITALY

                      Giovanni Del Duca
                      De Reulver 73
                      Enschede 7544 RT
                      NETHERLANDS

                      Giovanni Monti
                      Thorwaldsenstr 16
                      Berlin 12157
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1275 of
                                        1639



                      Giovanni Pujol
                      7700 Vista Mejor Drive
                      Austin, TX 78744

                      Gisela Penaloza
                      4000 Towerside Terrace, #1710
                      Miami, FL 33138

                      Giuseppe Benjumea
                      270 17th St Nw
                      Unit 2208
                      Atlanta, GA 30363

                      Giuseppe Giuffrida
                      Via Bernardo Zanghi 17
                      Catania CT 95124
                      ITALY

                      Giuseppe Mazzone
                      2280 163 Street
                      Unit 92
                      Surrey BC V3Z 0S4
                      CANADA

                      Glaud Kuykendall
                      19592 Carlton Ave
                      Castro Valley, CA 94546

                      Glen Chesnut
                      4237 Jasper Ave,
                      Las Vegas, NV 89108

                      Glenn Darensbourg
                      20210 Desert Foal Dr
                      Tomball, TX 77377

                      Glenn Harper
                      24417 SE 46th St
                      Sammamish, WA 98029

                      Glenn Riddle
                      2630 Woodmont Ln
                      Wexford, PA 15090

                      Glenn Ryan
                      61 Old Warrenpoint Road
                      Newry NIR BT342PN
                      UNITED KINGDOM

                      Globe Media Advertising srl
                      Str.Drumul Dealu Bradului 141
                      Bucuresti B 42158
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1276 of
                                        1639



                      Godwin Eferiana
                      5706 Black Canyon Ct
                      Sugarland, TX 77479

                      Goetz Klingelhoefer
                      Nieuwe Leliestraat 154
                      Amsterdam 1015HE
                      NETHERLANDS

                      Gokce Yalcin
                      308-1216 Homer Street
                      1405 (Buzz 2516)
                      Vancouver BC V6B 6K5
                      CANADA

                      Gokhan Guner
                      50 Wansbeck Court
                      Waverley Road
                      Enfield ENG EN2 7BS
                      UNITED KINGDOM

                      Carlos Javier Gonzalez
                      1222 Commerce Street
                      Manor House Apartments 1401
                      Dallas, TX 75202

                      Gonzalo Castanos
                      586 N Campus Ave
                      Upland, CA 91786-4827

                      Gonzalo Vega
                      7825 NW 29th Street #121
                      Miami, FL 33122

                      Gordon Weekes
                      15226 Southwest 52nd Street
                      Miramar, FL 33027

                      Nasir Gould Jr
                      2475 W Pecos Road
                      #3049
                      Chandler, AZ 85224

                      Andrew Goulet
                      957 Macclesfield Rd
                      Furlong, PA 18925

                      Govind Tamang
                      11 Timothy Close
                      Cherrybrook NSW 2126
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1277 of
                                        1639



                      Govind Tamang
                      Shop 32A, 41-47 Shepherds Drive
                      Bakers Delight
                      Cherrybrook NSW 2126
                      AUSTRAILA

                      Gowtham Sarveswaran
                      10063 Park Meadows Drive
                      Apt 63312
                      Lone Tree, CO 80124

                      Grace Johnston
                      16731 Stoneridge Road
                      Anchorage, AK 99516

                      Grace Stamper
                      6 Emery Cliff Pl
                      The Woodlands, TX 77381-4055

                      Claudia Gracia-Hofer
                      843 Cannondale Ct.
                      San Marcos, CA 92078

                      Graeme Garside
                      16 Cromer Place
                      Barmouth Court
                      Preston ENG PR2 3XR
                      UNITED KINGDOM

                      Graeme Harpham
                      22 Saint Lucia Park
                      Bordon ENG GU350LB
                      UNITED KINGDOM

                      Graham Dickinson
                      1441 Little Raven St, #5006
                      Denver, CO 80202

                      Grant Aikin
                      3113 Royston Ave
                      Baltimore, MD 21214

                      Grant Austing
                      9609 Crystal Lake Drive
                      Woodinville, WA 98077

                      Grant Lilly
                      1872 Dolphin Drive
                      Seabrook, TX 77586
                      Grant Paranjape
                      1300 17th Street North
                      Suite 820
                      Arlington, VA 22209
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1278 of
                                        1639



                      Adam Green
                      161 Winslow Avenue
                      Norwood, MA 02062

                      Greg Alkema
                      5810 N 381st Dr
                      Tonopah, AZ 85354

                      Greg Ator
                      9283 Parkside Dr
                      Prairie Village, KS 66207

                      Greg Bergen
                      6 Castlerock Cove
                      Steinbach MB R5G 2B1
                      CANADA

                      Greg Davis
                      2307 Riverstone Dr.
                      Murfreesboro, TN 37128

                      Greg Hannon
                      1762 Exton Ave
                      Hamilton, NJ 08610

                      Greg Lassik
                      315 Ashford Rd
                      Toms River, NJ 08755

                      Greg Magnan
                      1221 Main Ave
                      Moorhead, MN 56560

                      Greg Robinson
                      49 Leveson Street
                      North Melbourne VIC 3051
                      AUSTRAILA

                      Greg Sawatsky
                      15 Woodbank St
                      Stoney Creek ON L8J 3Y5
                      CANADA

                      Greg Unsicker
                      4436 West 25 South
                      West Point, UT 84015

                      Gregg Fiddes
                      2565 Manchester Avenue
                      Cardiff, CA 92007

                      Gregg Henry
                      3982 Powell Rd.
                      PMB 412
                      Powell, OH 43065
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1279 of
                                        1639



                      Gregor Kahles
                      Philipp-Reisstrasse 13
                      Krefeld 47807
                      GERMANY

                      Gregorio Ventura
                      2875 Sedgwick Avenue
                      Apt-D3
                      Bronx, NY 10468

                      Gregory Anderson
                      61664 Woodriver Drive
                      Bend, OR 97702

                      Gregory Aring
                      9741 Clocktower Lane, #202
                      Columbia, MD 21046

                      Gregory Aune
                      20023 Terra Canyon
                      San Antonio, TX 78255

                      Gregory Booth
                      359 Annalyn Cir
                      Sandy, UT 84070

                      Gregory Boss
                      4344 Maple Woods Dr W
                      Saginaw, MI 48603

                      Gregory Candage
                      96 South Riverview Street
                      Bradford, MA 01835-6968

                      Gregory H
                      6832 Paseo Delicias #7217
                      Rancho Santa Fe, CA 92067

                      Gregory Hake
                      8031 Valdosta Ave.
                      San Diego, CA 92126

                      Gregory Holowka
                      6832 Paseo Delicias #7217
                      Rancho Santa Fe, CA 92067

                      Gregory Mouras
                      862 Topaz Street
                      New Orleans, LA 70124
                      Gregory Pratt
                      387 Marsh Cove Drive
                      Ponte Vedra Beach, FL 32082
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1280 of
                                        1639



                      Gregory Stroud
                      8439 Lake Crystal Dr
                      Houston, TX 77095

                      Gregory Worrell
                      P.O. Box 25134
                      Christiansted, VI 00824-1134

                      Griffin Lepak
                      1466 Oriole Dr
                      Hartford, WI 53027

                      Grigorios-Sotirios Gkizas
                      Pindou 34
                      Dog Grooming Saloon (Ground Floor)
                      Athens 15121
                      GREECE

                      Alexandra Grumet
                      178 East 70th St.
                      Apt.5F
                      New York, NY 10021

                      Guenter Reinhold
                      Harthauser Str. 79
                      Munich 81545
                      GERMANY

                      Guibor Camargo Salamanca
                      7630 NW 25 Street, Ste2B
                      C057996
                      Miami, FL 33122

                      Guido Kliefoth
                      Dudenstrasse 28
                      Berlin 10965
                      GERMANY

                      Guilherme Brandao
                      441 North 2nd Street
                      Carlton, OR 97111

                      Guillaume Chatain
                      13 Coleherne Road
                      Flat 3
                      London ENG SW10 9BS
                      UNITED KINGDOM

                      Guillermo Cavazos
                      Plaza Espana 6
                      Tlalnepantla MEX 54020
                      MEXICO
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1281 of
                                        1639



                      Guillermo Garcia
                      32-01 82nd Street
                      Queens, NY 11370

                      Gulbahar Bakirci
                      Gasverksgatan 47
                      Eslov 24138
                      SWEDEN

                      Gunnar Schuster
                      Beermannstrasse 5
                      Berlin 12435
                      GERMANY

                      Gurkan Kirgezmis
                      1279 E 17th St.
                      Apt. Ee
                      Brooklyn, NY 11230

                      Gurminder Bhogal
                      4 Silverstone Mews
                      Maidenhead ENG SL6 4JR
                      UNITED KINGDOM

                      Gurudutt Raval
                      151 Floral Avenue
                      Bethpage, NY 11714

                      Gurur Demir
                      Brinkstrasse 33
                      Offenbach Am Main 63069
                      GERMANY

                      Gustavo Diaz
                      17026 Carlton Way Road
                      Huntersville, NC 28078

                      Gustavo Fortes
                      Rua Itapirucu 177
                      S O Paulo SP 03672-020
                      BRAZIL

                      Gustavo Garibay
                      4578 Northern Moon Way
                      San Diego, CA 92154

                      Gustavo Santos
                      Rua Alfredo Ceschiatti, 155
                      Bloco 1 Apt 503
                      Rio De Janeiro RJ 22775045
                      BRAZIL

                      Gustavo Vargas
                      1319 Whitney Isles Dr
                      Windermere, FL 34786
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1282 of
                                        1639



                      Guy Delauniere
                      1471 Regent Street
                      Niskayuna, NY 12309

                      Guy Stuller
                      12765 W Brentwood Dr
                      New Berlin, WI 53151

                      H Carr
                      3400 Garrison Street Northwest
                      Washington, DC 20008

                      H M
                      321 Kent Ave
                      Colonial Heights, VA 23834

                      Habib Moudoub
                      153 Vanderbilt Ave
                      Brooklyn, NY 11205

                      Hai Lam
                      901 S Joshua Ave
                      Broken Arrow, OK 74012

                      Hai Le
                      14323 Cashel Wood Dr
                      Houston, TX 77069

                      Hai Nguyen
                      8029 Torino
                      Stanton, CA 90680

                      Anthony Haile
                      2324 Sherwood Drive
                      Priceless Power Corp
                      Lemon Grove, CA 91945

                      Hakan Guralay
                      An Der Windmuhle 22
                      Hagenburg 31558
                      GERMANY

                      Hal Coopersmith
                      233 E 70 St
                      Unit 11S
                      New York, NY 10021

                      Haley Akes
                      121 North 15th Street, #3006
                      Las Vegas, NV 89101

                      Hamed Farhadi
                      Nina Eignhorns Gata 4
                      Stockholm 11366
                      SWEDEN
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1283 of
                                        1639



                      Hamilton Cline
                      153 Bepler St
                      Daly City, CA 94014

                      Anna Hamilton
                      2204 Langford Cv
                      Austin, TX 78723

                      Hampton Fowler
                      236 Chancellors Park Court
                      Simpsonville, SC 29681

                      Hamza Arshad
                      14 Farnham Loop
                      Little Rock, AR 72223

                      Hamza Bitar
                      Weststrasse 2
                      Chemnitz 9112
                      GERMANY

                      Han Che
                      Unit 1 45 Union Grove
                      Springvale VIC 3171
                      AUSTRAILA

                      Hanan Auzam
                      697 Amaretto Avenue
                      Pickering ON L1X1L7
                      CANADA

                      Hanh Tran
                      805 Aaron Park Drive
                      Milpitas, CA 95035

                      Hanh-Uyen Nguyen
                      14 Faenza
                      Newport Beach, CA 92657

                      Hani Almandeel
                      Via Del Gaggiolo, 38
                      Bah 783
                      Arcene BG 24040
                      ITALY

                      Hannah Craig
                      6426 Ohio 287
                      West Liberty, OH 43357

                      Hannah Gavette
                      2217 Hensch Street
                      Fort Wayne, IN 46808
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1284 of
                                        1639



                      Hannah Todd
                      1 Swinnie Cottages
                      Jedburgh SCT TD8 6PD
                      UNITED KINGDOM

                      Hannelore Krolik-Vorhaus
                      Hermesweg 1
                      Berlin 12167
                      GERMANY

                      Hannes Kroll
                      Mommsenstr. 11
                      Berlin 12203
                      GERMANY

                      Hanno Bibo
                      Rutersbarg 9A
                      Hamburg 22529
                      GERMANY

                      Hans Fetterhoff
                      1214 Bristol Avenue
                      Colorado Springs, CO 80905

                      Hans Flueckiger
                      Hoelzlistrasse 40
                      Binningen 4102
                      SWITZERLAND

                      Hans Heller
                      58 Robinson Pond Dr.
                      Hudson, NH 03063

                      Hans J. Huber
                      Mercystrasse 19
                      Freiburg Im Breisgau 79100
                      GERMANY

                      Hanumantha Rao Chopparapu
                      11424 Aclare Street
                      Artesia, CA 90701

                      Hany Iskandar
                      2549 E. Valley Parkway # 112
                      Escondido, CA 92027

                      Aaqib Haq
                      1950 Old Arcata Road
                      Unit A
                      Bayside, CA 95524

                      Haraindra Witharana
                      11608 12 Avenue Northwest
                      Edmonton AB T6J6X6
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1285 of
                                        1639



                      Harald Friedl
                      Hasselaersplein 1
                      Haarlem 2013 GB
                      NETHERLANDS

                      A Harden
                      1034 South Pine Road
                      Albany Creek QLD 4035
                      AUSTRAILA

                      Hardial Singh
                      2812 15 Street Northwest
                      Edmonton AB T6T 0V5
                      CANADA

                      Haresh Khemani
                      102 Alex Campbell Crescent
                      King City ON L7B0C1
                      CANADA

                      Amos Hargrove
                      2322 Loretta Lane
                      Rowlett, TX 75088

                      Harinder Johal
                      1 3rd Avenue4
                      Mineola, NY 11501

                      Harinder Virk
                      1496 E 54 St
                      Vancouver BC V5P1Y2
                      CANADA

                      Harish Umashankar
                      4261 Norwalk Drive
                      Y310
                      San Jose, CA 95129

                      Harmandeep Narang
                      3683 Azalea Street
                      Aurora, OH 44202

                      Harold Brothwell
                      756 W Ornament Lane
                      Santa Claus, IN 47579

                      Harold Kleppe
                      397 East Hiawatha Trails
                      Wood Dale, IL 60191
                      Harper Dimmerman
                      2037 Chestnut Street, Floor 1
                      P.O. Box 2134
                      Philadelphia, PA 19103
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1286 of
                                        1639



                      Harpreet Bhogal
                      225-35 88th Avenue
                      Apt #1
                      Queens, NY 11427

                      Harpreet Dhillon
                      2879 Catalina Blvd Northeast
                      Calgary AB T1Y 6R1
                      CANADA

                      Harpreet Goraya
                      74087 Rd 11 E
                      P.O. Box 928
                      Stony Mountain MB R0C3A0
                      CANADA

                      Harrison Wu
                      726 Arabian Lane
                      Walnut, CA 91789

                      Harry Mediavilla
                      450 Janice Kay Place
                      Kissimmee, FL 34744

                      Harry Saddock
                      47 Lefoll Blvd
                      South Windsor, CT 06074

                      Harsharaj Agadi
                      3048 Wilkins Lane
                      Tracy, CA 95377

                      Harshit Goyal
                      96 Highland Ave
                      Apt 201
                      Jersey City, NJ 07306

                      Adam Hartwick
                      1147 Washington Street
                      Indiana, PA 15701

                      Artavazd Harutyunyan
                      500 West Colorado Street C-211
                      Glendale, CA 91204

                      Artavazd Harutyunyan
                      500 W Colorado Str. C-211
                      Glendale, CA 91204

                      Harvey James
                      179 North Root St
                      Aurora, IL 60505
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1287 of
                                        1639



                      Hasan Kilinc
                      Schanzenstr.6
                      Waghausel 68753
                      GERMANY

                      Haseeb Abbas
                      6 Plover Court
                      Unit 2
                      Endeavour Hills VIC 3802
                      AUSTRAILA

                      Hatsuki Koshihara
                      9061 Arbor Ashbury Ave
                      Las Vegas, NV 89149

                      Haydar Isa
                      Seelbergstrasse 29
                      Stuttgart 70372
                      GERMANY

                      Hayden Harris
                      14618 13th Ave SE
                      Mill Creek, WA 98012

                      Hayder Alhadi
                      16999 Cristina Court
                      Clinton Twp, MI 48038

                      Zack Haynes
                      9940 Savannah Marie Ave
                      Las Vegas, NV 89149

                      Heather Carter
                      1050 Stainton Drive, #325
                      Mississauga ON L5C 2T7
                      CANADA

                      Hector Ariceaga
                      495 W Ash St
                      Lebanon, OR 97355

                      Hector Villasenor
                      Belgica 8850 Col Cacho
                      Tijuana BC 22040
                      MEXICO

                      Heegun Yang
                      3210 Esperanza Crossing
                      Apt 5403
                      Austin, TX 78758

                      Heidi Medina
                      65 SW 8th Ave
                      Oak Harbor, WA 98277
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1288 of
                                        1639



                      Heinz Wieduwilt
                      8688 Hazelbridge Way #909
                      Richmond BC V6X 0R6
                      CANADA

                      Helder Jose Faria Da Silva
                      Route De Rolle 28
                      Saint-Prex 1162
                      SWITZERLAND

                      Helme Alsaade
                      Granangsringen 44
                      Trappor 7
                      Tyreso 13544
                      SWEDEN

                      Hemanta Guragain
                      547 Early Fall Court
                      Herndon, VA 20170

                      Hendrik Wiese
                      Fehrbellinstrasse 9
                      Koln 50737
                      GERMANY

                      Henri Gharchloo
                      17618 Rushing Drive
                      Granada Hills, CA 91344

                      Henri Pusar
                      7926 Friars Court Ln
                      Spring, TX 77379

                      Henrik Holla
                      Szerelem Alfred Ut 8.
                      Heves 3360
                      HUNGARY

                      Henrik Podewils
                      Schmidt-Ott-Strasse 16
                      Berlin 12165
                      GERMANY

                      Henrique Defreitas
                      60 Preservation Dr
                      Taunton, MA 02780

                      Henry Evans
                      2343 Morningside St
                      San Diego, CA 92139

                      Henry Flores
                      12039 SW 273 Street
                      Homestead, FL 33032
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1289 of
                                        1639



                      Henry Haskin
                      6206 Lacoste Love Court
                      Spring, TX 77379

                      Henry Jensen
                      17154 Linda Way
                      Noblesville, IN 46062

                      Henry Lam
                      8702 Bermuda Ave
                      Westminster, CA 92683

                      Henry Ma
                      628 N 13th St
                      San Jose, CA 95112-3012

                      Henry Maglente
                      177 Freshwater Lane
                      Mooresville, NC 28117

                      Henry Maya
                      1900 N Bayshore Dr,
                      Apt 4207
                      Miami, FL 33132

                      Henry Patner
                      351 East 4th Street
                      New York, NY 10009

                      Henry Quiring
                      13 Fielding Court
                      Ajax ON L1T4W5
                      CANADA

                      Herlin Burch
                      1948 Varick Way
                      Casselberry, FL 32707

                      Herman Le Roux
                      10-1818 Harbour Street
                      Port Coquitlam BC V3C 0E8
                      CANADA

                      Herman Le Roux
                      1818 Harbour Street
                      Unit 10
                      Port Coquitlam BC V3C 0E8
                      CANADA

                      Hermann Nelke
                      Im Muhlbachtal 44
                      Haltern Am See 45721
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1290 of
                                        1639



                      Herminio Carrasquillo
                      18875 Riversouth Terrace
                      #3
                      Fairview Park, OH 44126

                      Hermon Hermon
                      5055 Seminary Rd Apt 901
                      Alexandria, VA 22311

                      Hernan Campos
                      450 S La Fayette Park Pl #206
                      Los Angeles, CA 90057

                      Herschel Meadow
                      6103 Aqua Avenue
                      Ph 2
                      Miami Beach, FL 33141

                      Joseph Hickeyhall
                      4119 Shark Ct, Apt B
                      Apt B
                      Great Lakes, IL 60088

                      Hillary Swieca
                      71 Rue Du Manoir
                      Pointe-Des-Cascades QC J0P 1M0
                      CANADA

                      Hilmer Castillo
                      9419 Bayou Lake Ln
                      Houston, TX 77040

                      Ahmed Himdi
                      3812 Albemarle Ave
                      Drexel Hill, PA 19026

                      Himesh Quessou
                      14 Crabtree Avenue
                      London ENG HA0 1LP
                      UNITED KINGDOM

                      Hiren Patel
                      8950 Tucker Drive
                      Caseyville, IL 62232

                      Hisham Abidallah
                      3051 East 97th Place
                      Apt2
                      Highland, IN 46322
                      Hoang Tran
                      6132 Shelly Dr
                      Huntington Beach, CA 92647
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1291 of
                                        1639



                      Vu Hoang
                      34935 7th Ave Sw
                      Federal Way, WA 98023

                      Holger Ahlers
                      Weihermatten 37
                      Bad Sackingen 70713
                      GERMANY

                      Holynabu Interiano
                      3435 South Orange Avenue
                      T107
                      Orlando, FL 32806

                      Homer Gardner
                      953 South Park Avenue
                      Somerset, PA 15501

                      Horace Mackey
                      1316 Boyd Ave Nw
                      Atlanta, GA 30318

                      Horatiu Bogdan
                      Str. Arenei, Nr.6, Bl.B1, Sc. A, Ap.8
                      Hunedoara HD 331095
                      ROMANIA

                      John Horton
                      2908 Willow Circle
                      Northport, AL 35473-8066

                      Hountcheme Gbeyetin
                      10505 34th Avenue North
                      Medecine Lake, MN 55441

                      Hovhannes Martirossyan
                      Lindenlaan 16
                      Leimuiden 2451 CC
                      NETHERLANDS

                      Howard Andrus
                      47-670 Wailehua Pl
                      Kaneohe, HI 96744-4931

                      Howard Fleming
                      673 Legends Crest Drive
                      Franklin, TN 37069

                      Howard Kellogg
                      8 Charnwood Rd
                      #1
                      Somerville, MA 02144
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1292 of
                                        1639



                      Howard Roos
                      905 3rd Street
                      Colona, IL 61241-9773

                      Hristian Menna
                      6010 Northwest 99th Avenue
                      Suite 109
                      Doral, FL 33178

                      Hsiao-Hong Lin
                      972 King Street West
                      Kitchener ON N2G1G4
                      CANADA

                      Huang Zhaohui
                      Plaza Grup Parpallo,9 P06 16
                      Valencia V 46015
                      SPAIN

                      Julia Huelsmeyer
                      Keferloher Strasse 2A Haar
                      Munich 85540
                      GERMANY

                      Hugh Davis
                      215 N. New River Dr E, #3190
                      Fort Lauderdale, FL 33301

                      Hugo Nunes
                      Praca Bartolomeu Dias, 271 - 2 Esq
                      Alcochete PT-15 2890-138
                      PORTUGAL

                      Hugo Ortiz
                      21196 Vineland Square
                      Ashburn, VA 20147

                      Hugues Corbel
                      140 Blvd De Grenelle
                      Hotel Bleu De Grenelle
                      Paris 75015
                      FRANCE

                      Humberto Corral
                      2626 Reagan St
                      Apt 211
                      Dallas, TX 75219

                      Humberto Salazar
                      638 Orme Avenue
                      Los Angeles, CA 90023
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1293 of
                                        1639



                      Humera Ali
                      22 Arlington Street
                      Glasgow SCT G3 6DU
                      UNITED KINGDOM

                      Humphrey Yeung
                      60 Nolanhurst Green Nw
                      Calgary AB T3R 0Z2
                      CANADA

                      Hunter Dundas
                      1364 Islington.Ave
                      Toronto ON M9A3K6
                      CANADA

                      Hunter Lapeyre
                      4803 Carondelet St
                      New Orleans, LA 70115

                      Huok Ung
                      5260 Pomona Blvd
                      Suite 102
                      Los Angeles, CA 90022

                      Hurben Akcagoz
                      Erzene Mh 124 Sok. Yersu Apt No 4/A Kat:
                      Izmir 35000
                      TURKEY

                      William Huseby
                      606 Stokeswood Ave
                      Atlanta, GA 30316

                      Huseyin Tarkan Gokalp
                      40. Street No:5 Pyla
                      Larnaca 7080
                      CYPRUS

                      Hussam Fayad
                      319 Olmstead Street
                      Ottawa ON K1L 7K2
                      CANADA

                      Hussan Jawa
                      360 Etheridge Ave
                      Milton ON L9E 0A8
                      CANADA

                      Hussein Hamdoun
                      Marktstr9
                      Siegen 57078
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1294 of
                                        1639



                      Hussein Younes
                      18322 63 Avenue
                      Surrey BC V3S 8B1
                      CANADA

                      Hutch Johnson
                      P.O. Box 1936
                      Sun Valley, ID 83353

                      Huu Nguyen
                      13645 E Dakota Ave
                      Aurora, CO 80012

                      Iain O'Neill
                      33 Willowfield Road
                      Eastbourne ENG BN22 8AP
                      UNITED KINGDOM

                      Ian Achurra
                      1251 Halifax Way
                      San Ramon, CA 94582-5047

                      Ian Barton
                      11604 Jefferson Street
                      Kansas City, MO 64114

                      Ian Botnick
                      5197 Durie Road
                      Mississauga ON L5M 2C6
                      CANADA

                      Ian Brennan
                      10 Milano Avenue
                      Stirling WA 6021
                      AUSTRAILA

                      Ian Foster
                      24928 121st Pl SE
                      Kent, WA 98030

                      Ian Franklin
                      12 Albatross Way
                      Chelmsford ENG CM3 3FX
                      UNITED KINGDOM

                      Ian Freemire
                      2260 West 74th Avenue
                      Denver, CO 80221

                      Ian Glover
                      18 Greenside Lane
                      Cullingworth ENG BD13 5AN
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1295 of
                                        1639



                      Ian Johnson
                      34341 Whittaker Street
                      Clinton Twp, MI 48035

                      Ian Klepac
                      35 Fawnwood Drive West
                      Aiken, SC 29803

                      Ian Lamanero
                      7255 Lee Highway Street
                      Apartment 804
                      Chattanooga, TN 37421

                      Ian Mccue
                      310 NW 116th Ave #105
                      Portland, OR 97229

                      Ian McKillop
                      270 Southgate Drive
                      Bedford NS B4A 4L8
                      CANADA

                      Ian Waters
                      2 Hillside Road
                      Bexhill ENG TN402AN
                      UNITED KINGDOM

                      Ian Weiss
                      930 Tahoe Blvd 802 # 558
                      Incline Village, NV 89451-9488

                      Abel Ibars
                      1071 Lexi Court
                      Ladson, SC 29456

                      Ibrael Espinosa Moscoso
                      19 Rue Saint Maurice
                      Rdc 02
                      Nanterre 92000
                      FRANCE

                      Ibrahim Islam
                      Flat 504 Penn Court, 4 Williamsburg Plaz
                      London ENG E14 9XT
                      UNITED KINGDOM

                      iCare Technology Geeks
                      4355 Cobb Parkway Southeast
                      Suite J610
                      Atlanta, GA 30339

                      Ichiro Ashihara
                      9 Cedar Cliff Terr
                      Meeford, MA 02155
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1296 of
                                        1639



                      Ielcean Razvan Doru
                      Ciobanului 6 #40
                      Cluj-Napoca CJ 400531
                      ROMANIA

                      Ignace Laplaese
                      Ezelstraat 135
                      Brugge 8000
                      BELGIUM

                      Ignacio Kessler Usabox
                      25 SE 2nd Ave
                      Ste 406
                      Miami, FL 33131

                      Ignacio Martinez Murias
                      Capitan General Ramon Freire 1062
                      Caba C C1426
                      ARGENTINA

                      Ignacio Scorpus
                      1736 Parkway Court
                      Greenacres, FL 33413

                      Igor Banfi
                      Plese 7B
                      Murska Sobota 9000
                      SLOVENIA

                      Igor Dyuzhev
                      151 Fargo Avenue #2
                      Buffalo, NY 14201

                      Igor Hridjikj
                      Bul.Asnom 4/3-4
                      Skopje 1000
                      NORTH MACEDONIA

                      Igor Martirosian
                      Wielandstrasse 8
                      Wiesbaden 65187
                      GERMANY

                      Igor Orlanov
                      4167 Westerleigh Court Northwest
                      Norcross, GA 30092

                      Ilias Gatzias
                      Manoli Triantafyllidi 15
                      2D Floor
                      Ioannina 45221
                      GREECE
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1297 of
                                        1639



                      Ilias Gatzias
                      Manoli Triantafillidi 15
                      2D Floor
                      Ioannina 45221
                      GREECE

                      Ilias Gatzias
                      Manoli Triantafillidi 15
                      2D Floor
                      Ioannina 45221
                      GREECE

                      Ilie Robert Alexandru
                      Prelungirea Colentina Nr 28 B
                      28B
                      Mogosoaia IF 77135
                      ROMANIA

                      Ilie Robert Alexandru
                      Prelungirea Colentina ,Nr 28B
                      Mogosoaia IF 77135
                      ROMANIA

                      Ilir Telushi
                      Rooigemlaan 493
                      Gent 9000
                      BELGIUM

                      Iliyan Cholakov
                      Slaveikov, St. Dame Gruev 1
                      Ent. 1, Fl 1, Ap. 1
                      Burgas 8000
                      BULGARIA

                      Imad Ayaz
                      14090 Big Crest Lane #208
                      Woodbridge, VA 22191

                      Imam Adhitya
                      435A Bathurst St
                      Toroto ON M5T 2S9
                      CANADA

                      Iman Dori
                      5333 Balboa Blvd
                      Apt 229
                      Encino, CA 91316

                      Imehobong Archibong
                      4092 Brookwood Valley Cir NE
                      Atlanta, GA 30309
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1298 of
                                        1639



                      Imran Janjua
                      12 Factory Road
                      Enniskillen NIR BT746DP
                      UNITED KINGDOM

                      Imran Siddique
                      4312 Enchanted Oaks Drive
                      Arlington, TX 76016

                      Imran Uddin
                      11 Quayside House
                      119 Tarling Road
                      London ENG E16 1GX
                      UNITED KINGDOM

                      Senol Imrol
                      Severinusstrasse 34
                      Wenden 57482
                      GERMANY

                      Inderpaul Rattan
                      12830 96 Avenue, #607
                      Surrey BC V3V 6A8
                      CANADA

                      Indigo Vanderborgh
                      519 East San Jose Avenue
                      Burbank, CA 91501

                      Ingmar Ehrmann
                      Naupliaallee 12
                      Im Kiosk/Post
                      Ottobrunn 85521
                      GERMANY

                      Ingo Wachter
                      Bismarckstrasse 84
                      Project X Ug (Haftungsbeschr Nkt)
                      Nurnberg 90491
                      GERMANY

                      Ionescu George-Nicolae
                      Str. Dumitru Lazarescu, Nr.26-28, Sector
                      Bucuresti B 52017
                      ROMANIA

                      Ionut Clopotaru
                      85 Windstar Drive
                      London ENG RM155GW
                      UNITED KINGDOM

                      Ionut Clopotaru
                      85 Windstar Drive
                      London ENG RM15 5GW
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1299 of
                                        1639



                      Ionut Grosu
                      Sosea Stefan Cel Mare Si Sfant, Nr 4, Et
                      Etaj 3, Ap 23, Int 1723
                      Iasi IS 700497
                      ROMANIA

                      Ionut Ivancea
                      Imparatul Traian, Nr.9, Bl 9, Scale 2, A
                      Bucharest B 41413
                      ROMANIA

                      Ionut Jora
                      Crivatului 6
                      Piatra Neamt NT 610096
                      ROMANIA

                      Ionut Sgarbura
                      Strada Siemens 1
                      Timisoara TM 300704
                      ROMANIA

                      Ip4 Gmbh
                      Meiereistrasse 8A
                      Wallsbull 24980
                      GERMANY

                      Ira Kunyansky
                      722 North Orlando Avenue
                      #106
                      Los Angeles, CA 90069

                      Ira Lee
                      P.O. Box 1972
                      Whiteriver, AZ 85941

                      Iraj Maleki
                      Murtener Strasse 20
                      Berlin 12205
                      GERMANY

                      Irakli Magradze
                      Melikishvili 45
                      Tbilisi 179
                      GEORGIA

                      Irfan Aslam
                      20 Park St
                      Apt 1-7
                      Albany, NY 12207
                      Irfan Iqbal
                      30 Hawkshead Street
                      Blackburn ENG BB2 2SJ
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1300 of
                                        1639



                      Irina Diana Iordache
                      Strada Cauzasi, Nr. 27-25
                      Hotel International, 0757997478
                      Bucharest B 30801
                      ROMANIA

                      Irina Tsvetkova
                      P.O. Box 251
                      Malden, MA 02148

                      Irma Sargelyte
                      14 Plantsman Close
                      Norwich ENG NR2 2NH
                      UNITED KINGDOM

                      Iryna Biyovska
                      129 Willow Avenue
                      Garwood, NJ 07027

                      Isaac Baatz
                      191 Olive Street
                      Victoria BC V8S 3H4
                      CANADA

                      Isaac Crowder
                      835 Bellevue Street
                      Apt B
                      Green Bay, WI 54302

                      Isaac Lowe
                      1700 South 2nd Street
                      Alhambra, CA 91801

                      Isaac Obispo
                      312 De Paul Drive
                      A
                      Santa Barbara, CA 93110

                      Isaac Valdez
                      289 Barnhill Road
                      Perkasie, PA 18944

                      Isaac Yuen
                      909 Kapiolani Blvd #902
                      Honolulu, HI 96814

                      Isabel Reiss
                      Bremgartnerstrasse 18
                      Zurich 8003
                      SWITZERLAND

                      Isai Garcia
                      501 Southwest 64th Parkway
                      Pembroke Pines, FL 33023
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1301 of
                                        1639



                      Isaiah Redfern
                      1665 Russel Rd
                      Unit 1
                      Ottawa ON K1G 0M8
                      CANADA

                      Isaiah Sisk
                      112 Cliff Dr
                      Buckner, MO 64016

                      Isaiah Thomas
                      6720 28th Street, #428
                      Lubbock, TX 79407

                      Isaias Salgado
                      18937 Felbridge Street
                      Santa Clarita, CA 91351

                      Islam Elmenshawy
                      378 Embaracadero West, #702
                      Oakland, CA 94607

                      Jason Island
                      11107 Cremona Court
                      Richmond, TX 77406

                      Ismail Jasim
                      12925 Darby Chase Dr
                      Charlotte, NC 28277

                      Istvan Fejes
                      Apt. 6 , Condor House ,
                      156A Main Rd
                      Biggin Hill ENG TN16 3BA
                      UNITED KINGDOM

                      IT Evolution Srl Balzarin
                      Viale Ambrogio Fusinieri, 12
                      Vicenza VI 36100
                      ITALY

                      Italo Silva
                      1780 Lawrence Avenue East, #202
                      Scarborough ON M1R 2Y2
                      CANADA

                      Itana Teferra
                      2571 Taos Dr
                      Grand Prairie, TX 75051
                      Ivan Bukta
                      4907 Garden Grove Rd
                      Grand Prairie, TX 75052
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1302 of
                                        1639



                      Ivan Goetz
                      Herbert-Schober-Str. 29
                      Munich 80997
                      GERMANY

                      Ivan Heyward
                      318 S 13th Street
                      Easton, PA 18042

                      Ivan Stopic
                      Karlovaka 71
                      Zagreb 100020
                      CROATIA

                      Ivan Ting Hong Leung
                      3975 Grand Park Drive
                      Unit 1105
                      Mississauga ON L5B 0K4
                      CANADA

                      Ivan Yordanov
                      32 Heighams
                      Harlow ENG CM19 5NU
                      UNITED KINGDOM

                      Ivanka Galesic
                      Seydlitzstrasse 7
                      Berlin 12307
                      GERMANY

                      Ivonne Lippmann
                      Haubenschlossstrasse
                      Kempten (Allgau) 87435
                      GERMANY

                      J Dizzle
                      15467 Madrona Drive
                      Surrey BC V4A 5N2
                      CANADA

                      J Smerdon
                      1 Berechurch Hall Road
                      Colchester ENG CO2 8RD
                      UNITED KINGDOM

                      J. Bryant Boyd
                      902 Forest Street
                      Georgetown, TX 78626

                      Jabari Le
                      5022 West Highwood Drive
                      Kearns, UT 84118
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1303 of
                                        1639



                      Jace Hermanson
                      120 N 44th St
                      Suite 420
                      Phoenix, AZ 85034

                      Jacek Mering
                      Sybirakow, 12/68
                      Bydgoszcz 85-796
                      POLAND

                      Jack Alepyan
                      13441 Vose Street
                      Los Angeles, CA 91405

                      Jack Baker
                      21 Second Street
                      Elmira ON N3B 1H3
                      CANADA

                      Jack Bennett
                      12 Walsh Crescent
                      New Addington
                      London ENG CR00BX
                      UNITED KINGDOM

                      Jack Chang
                      240 N Bayshore Blvd, 221
                      San Mateo, CA 94401

                      Jack Reynolds
                      5016 Pitt Street
                      New Orleans, LA 70115

                      Jack Schaefer
                      8722 Burkshire Pl
                      Lakeside, CA 92040

                      Jack Stone
                      140 Hazelwood Close
                      Cambridge ENG CB4 3SP
                      UNITED KINGDOM

                      Jack Urbano
                      3109 Raleigh Street
                      Denver, CO 80212

                      Jack Wisner
                      11170 Orville Street
                      Culver City, CA 90230
                      Jackson Kestian
                      1016 Broadway
                      Normal, IL 61761
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1304 of
                                        1639



                      Jacob Cartwright
                      38 Wayside Walk
                      Harrogate ENG HG2 8NW
                      UNITED KINGDOM

                      Jacob Creamer
                      1311 Main St
                      Follansbee, WV 26037

                      Jacob Edwards
                      10 Middle St
                      P.O. Box 715
                      South Freeport, ME 04078

                      Jacob Elder
                      455 Westwood Drive
                      Cobourg ON K9A 4M5
                      CANADA

                      Jacob Emanuel
                      17888 Buchholz Rd.
                      Farmington, MO 63640

                      Jacob Funke
                      8600 18th Avenue West
                      E104
                      Everett, WA 98204

                      Jacob Grant
                      11476 W Cumberland River Dr
                      Nampa, ID 83686

                      Jacob Holmgren
                      Tranebergsv Gen 27
                      Bromma 16745
                      SWEDEN

                      Jacob Koshy
                      1715 Kenicott Lane
                      Plainfield, IL 60586

                      Jacob Perrin
                      821 North 31st Street
                      Billings, MT 59101

                      Jacob Peters
                      9305 Bud Wood Street
                      Gotha, FL 34734

                      Jacob Sakolsky
                      3339 Virginia St
                      Apt, Ph-2
                      Miami, FL 33133
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1305 of
                                        1639



                      Jacob Sinclair
                      15704 Burrowing Owl Court
                      Morrison, CO 80465

                      Jacob Spencer
                      4810 Fox Creek East, #189
                      Independence Charter Twp, MI 48346

                      Jacob Sturdevant
                      13 Kingfisher Dr
                      Birdsboro, PA 19508

                      Jacob Warren
                      9510 Silver Mist Way
                      San Antonio, TX 78254

                      Jacob Yilma
                      11936 Pericles Drive
                      Rancho Cordova, CA 95742

                      Jacqueline Murray
                      14 Babson St
                      Gloucester, MA 01930

                      Jacqueline Roberts
                      7425 Royalton Rd
                      North Royalton, OH 44133-4743

                      Jaden Emrich
                      511 W River Dr
                      West Bend, WI 53090

                      Jaehwan Choi
                      35 Gully Drive
                      Toronto ON M1K 4W3
                      CANADA

                      Jaime Curbelo
                      3325 SW 59 Ter.
                      West Park
                      West Park, FL 33023

                      Jaime Gonzalez
                      1610 Harding St
                      Seaside, CA 93955

                      Jaime Hervey Arizpe Chapa
                      Lib Emilio Mendoza Cisneros 105, Colonia
                      Colonia Independencia,
                      Acuna COAH 26200
                      MEXICO

                      Vijay Ashish Jaiswal
                      19519 Bella Arbor Ln
                      Cypress, TX 77433
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1306 of
                                        1639



                      Jakaleen Archilles
                      32 Middleton Loop, Meadow Springs
                      Mandurah WA 6210
                      AUSTRAILA

                      Jake Demonaco
                      45 East 21st Street
                      Bayonne, NJ 07002

                      Jake Edwards
                      164 Coyle St
                      Apt A
                      Portland, ME 04103

                      Jake Kopf
                      756 South Broadway
                      Los Angeles, CA 90019

                      Jake Pinson
                      1825 Saulter Road
                      Birmingham, AL 35209

                      Jake Sheridan
                      10838 City Parkway
                      Unit 233
                      Surrey BC V3T 5X9
                      CANADA

                      Jake Smallwood
                      1452 West Horizon Ridge Parkway
                      #321
                      Henderson, NV 89012

                      Jake Vick
                      21617 Graves Drive
                      Lewes, DE 19958

                      Jake Zuhoski
                      22 Mystic Ct
                      Riverhead, NY 11901

                      Jakob Ebert
                      Meistersingerstr. 6
                      Potsdam 14471
                      GERMANY

                      Jakob Flohr
                      140 Patria
                      Rancho Mission Viejo, CA 92694
                      Jakob Krohn Deleuran
                      Henrik Rungs Gade 18
                      2. Tv
                      Copenhagen N 2200
                      DENMARK
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1307 of
                                        1639



                      Jakub Farag
                      Hefnersteig 2
                      Berlin 13629
                      GERMANY

                      Jalal Bahhur
                      3225 Turtle Creek Blvd
                      #2202
                      Dallas, TX 75219

                      Jalil Reed
                      3144 Fern Valley Drive Southwest
                      Marietta, GA 30008

                      Jalil Trejo
                      1008 E Pecan Blvd D-45
                      Mcallen, TX 78501-5750

                      Jalpan Jani
                      111 Covert Avenue
                      New Hyde Park, NY 11040

                      Jamal Simpson
                      115 Barbara Drive
                      Ladson, SC 29456

                      Jameelah Rose Lineses
                      3906 62nd St.
                      Apt. 3E
                      Woodside, NY 11377

                      James Albiez
                      180 Niagara Street, #204
                      Toronto ON M5V 3E1
                      CANADA

                      James Alexander
                      504 Willow Way
                      Upland, PA 19015

                      James Arnette
                      2599 Williams Hwy
                      Grants Pass, OR 97527

                      James Arnold
                      608 McKenzie St
                      North Augusta, SC 29841

                      James Aston
                      2824 Kilborne Drive
                      Apt 2
                      Charlotte, NC 28205
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1308 of
                                        1639



                      James Baldock
                      67 Newtown Road
                      Worcester ENG WR5 1HH
                      UNITED KINGDOM

                      James Barlow
                      26 Lathkill Drive
                      Derby ENG DE5 8HW
                      UNITED KINGDOM

                      James Brady
                      614 Barrington Rd.
                      Grosse Pointe Park, MI 48230

                      James Brunet
                      3225 Colby Chase Drive
                      Apex, NC 27539

                      James Carr
                      2001 Park Dr
                      Lithia Springs, GA 30122

                      James Chavis
                      3515 Frazier Street
                      Pittsburgh, PA 15213

                      James Debaro
                      3201 Richmond Road
                      Ste. A
                      Texarkana, TX 75503

                      James Deleo
                      279 Elm St
                      Glen Ellyn, IL 60137

                      James Duerr
                      302 Summit Ave.
                      Fort Washington, PA 19034

                      James Dunn
                      3025 Ashley Phosphate Rd
                      Suite A3
                      North Charleston, SC 29418

                      James Durand
                      155 Washington Street
                      Apt 2211
                      Jersey City, NJ 07302

                      James Dyer
                      632 Stetson Street
                      632 Stetson Street, Orlando, Fl, 32804
                      Orlando, FL 32804
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1309 of
                                        1639



                      James Embree
                      16993 Kinross Avenue
                      Beverly Hills, MI 48025

                      James Erickson
                      1710 West Cindy St
                      Chandler, AZ 85224

                      James Eskew
                      1400 Valley Ridge Blvd
                      Apt 3203
                      Lewisville, TX 75077

                      James Fisher
                      14555 West Park Avenue
                      New Berlin, WI 53151

                      James Grosso
                      1080 Northwest 11th Street
                      Miami, FL 33136

                      James Hatch
                      1907 Washburn Court
                      Frederick, MD 21702

                      James Hilley
                      5555 East Garnet Avenue
                      Mesa, AZ 85206

                      James Holmes
                      606 Hinton Ave
                      Charlottesville, VA 22902

                      James House
                      114 Merryhill St
                      Marietta, OH 45750

                      James Hurley
                      58 Hansol Road
                      Bexleyheath ENG DA6 8JG
                      UNITED KINGDOM

                      James Johnson
                      2151 Palo Alto Drive #121
                      Chula Vista, CA 91914

                      James Jordan
                      1113 Kenwood Ave
                      Florence, SC 29501
                      James Kinthiseng
                      3637 Via El Monte Avenue
                      Las Vegas, NV 89115
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1310 of
                                        1639



                      James Klein
                      4470 6th Pl Sw
                      Vero Beach, FL 32968

                      James Kuk
                      148 S Formosa Ave
                      Los Angeles, CA 90036

                      James Lewis
                      3403 Glenrose Dr
                      Atlanta, GA 30341

                      James Mackay-Jones
                      40 Jane Avenue
                      Courtice ON L1E 0A6
                      CANADA

                      James Malone
                      528 West B Ave
                      North Little Rock, AR 72116

                      James Matulac
                      325 West Washington Street
                      San Diego, CA 92103

                      James McNeil
                      14 Clough Crescent
                      Guelph ON N1L0H9
                      CANADA

                      James Montgomery
                      912 Lois Circle
                      Virginia Beach, VA 23452

                      James Morales
                      5921 Grass Creek Dr
                      Bakersfield, CA 93311

                      James Morris
                      12 Country Club Pl
                      Bloomington, IL 61701

                      James Munn
                      3851 Lilac Ln
                      Woodbury, MN 55129

                      James Noh
                      753 Ridgecrest St
                      Monterey Park, CA 91754
                      James Padolina
                      2109 Wild Flower Ln
                      Chino Hills, CA 91709
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1311 of
                                        1639



                      James Previte
                      2835 Vintage View Loop
                      Lakeland, FL 33812

                      James Salame
                      238 East 61st Street
                      New York, NY 10065

                      James Scheller
                      1412 Stewart Road
                      Sacramento, CA 95864

                      James Smith
                      212 Smith Myers Road
                      Hopkins, SC 29061

                      James Soldi
                      2208-B Clark Ln.
                      Redondo Beach, CA 90278

                      James Stratton
                      29250 Us Hwy 19 N., Lot 66, Lot 66
                      Lot 66
                      Clearwater, FL 33765

                      James Wassel
                      1595 N Tower Rd
                      Fombell, PA 16123-2911

                      James Williams
                      370 Daisy Avenue
                      Imperial Beach, CA 91932

                      James Yancey
                      904 Bank St
                      Annapolis, MD 21403

                      Jamey Jeffords
                      31 Northampton Street
                      Easthampton, MA 01027

                      Jamie Bullard
                      6 Duncan Lane
                      Pinehurst, NC 28374

                      Jamie Kubess
                      278 Luiseno Avenue
                      Oceanside, CA 92057

                      Jamie Lipschitz
                      2228 80th St
                      Apt 2
                      Brooklyn, NY 11214
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1312 of
                                        1639



                      Jamie Wright
                      2421 Prince Howard Trl
                      Marietta, GA 30062

                      Jamil Jarrett
                      1948 S. 21 Street
                      Philadelphia, PA 19145

                      Jamil Jarrett
                      32 Delaware Avenue
                      Ridley Park, PA 19078

                      Jan Barbrock
                      Wilsweg 2
                      Wilsweg 2
                      Bissendorf 49143
                      GERMANY

                      Jan Groeschke
                      Zum Exerzierhaus 23
                      Potsdam 14469
                      GERMANY

                      Jan Henderson
                      6 Steelox Road
                      East Brunswick, NJ 08816

                      Jan Hockesfeld
                      Erphostrasse 47
                      Munster 48145
                      GERMANY

                      Jan Kulich
                      Nabrezi 604
                      Luhacovice 763 26
                      CZECH REPUBLIC

                      Jan Kulich
                      72 Greenbough
                      Irvine, CA 92614

                      Jan Novotny
                      Carrer Cer 1
                      Picassent V 46229
                      SPAIN

                      Jan Spodniak
                      Mladeznicka 21
                      Banska Bystrica      97404
                      SLOVAKIA

                      Jan-Tore Ugelstad
                      Oevre Lyngboe 27
                      Laksevaag 5164
                      NORWAY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1313 of
                                        1639



                      Janae Fueston
                      3816 110th Avenue East
                      Edgewood, WA 98372

                      Janet Dunlap
                      8530 Us Highway 1, Ste 9
                      Micco, FL 32976

                      Jani Jalil
                      1114 Veirs Mill Road
                      Rockville, MD 20851

                      Janier Guzman
                      7750 NW 175 St
                      Hialeah, FL 33015

                      Janina Ghenciu
                      5A Veseliei Street, Sector 5
                      Moa Design
                      Bucuresti B 52164
                      ROMANIA

                      Janine Almandos
                      14703 Elmcroft Avenue
                      Norwalk, CA 90650

                      Janine Galindo
                      115 Alamo Rd
                      Fredericksburg, TX 78624

                      Alex Jankuv
                      1117 Bellreng Dr
                      Wake Forest, NC 27587

                      Janon Janon
                      2698 3rd Avenue
                      Marion, IA 52302

                      Janos Varga
                      Szent Istvan Ut, 105
                      Bicske 2060
                      HUNGARY

                      Janosch Sadowski
                      Schoneberger Ufer 5A
                      Berlin 10785
                      GERMANY

                      Jaquan Barnett
                      13745 Heatherwood Drive
                      Eastvale, CA 92880

                      Jarad Brinkerhoff
                      190 E. Center St.
                      Glendale, UT 84729
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1314 of
                                        1639



                      Jared Barney
                      9619 163rd Ave NE
                      Granite Falls, WA 98252

                      Jared Bellamy
                      7102 Hunterville Road Northwest
                      A
                      Calgary AB T2K 4J8
                      CANADA

                      Jared Martin
                      3414 Flickering Candle Dr
                      Spring, TX 77388

                      Jared Murray
                      4116 Nebo Road
                      Hiram, GA 30141

                      Jared Read
                      850 N Highway 89
                      Apt 3L
                      North Salt Lake, UT 84054

                      Jared Tulio
                      1230 East Cityline Drive
                      Apt 1416
                      Richardson, TX 75082

                      Jared Wiggins
                      215 Pine Crossing
                      Woodbine, GA 31569

                      Jarid Marinos
                      15580 Quorum Drive
                      Apt 2637
                      Addison, TX 75001

                      Jarred Graber
                      44 Briar Hills Circle
                      Springfield, NJ 07081

                      Jarrid Echard
                      P.O. Box 76
                      New Freeport, PA 15352

                      Jarrod Schwarze
                      5 Norman Court
                      Lakes Entrance VIC 3909
                      AUSTRAILA
                      Jarryd Beckwith
                      11 Hansford Court
                      Narre Warren VIC 3805
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1315 of
                                        1639



                      Jaryd Culler
                      8109 Garrett Pines Drive
                      Midland, GA 31820

                      Jashobeam Harris
                      3450 Fleetwood Drive
                      Richmond, CA 94803

                      Jaskarn Bains
                      16 Borneo Crescent
                      Brampton ON L6R 3C7
                      CANADA

                      Jasmine Guerrero
                      2513 Riverview Avenue
                      Kansas City, KS 66102

                      Jason Acker
                      19457 Ellington Trail
                      Farmington, MN 55024

                      Jason Arganbright
                      6829 Revere Drive
                      Mckinney, TX 75071

                      Jason Bloink
                      9887 Meadow View Court
                      Northville, MI 48167

                      Jason Cicchetti
                      1936 East McFadden Avenue
                      Santa Ana, CA 92705

                      Jason Cisneros
                      9527 Mines Ave
                      Pico Rivera, CA 90660

                      Jason Degg
                      1102 Cole Ave
                      Raymond, WA 98577

                      Jason Degraaf
                      805 Cambridge Dr.
                      Round Rock, TX 78664

                      Jason Dudney
                      6316 East 113th Avenue
                      Tampa, FL 33617

                      Jason Galli
                      510 Hart St
                      Dighton, MA 02715
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1316 of
                                        1639



                      Jason Gambone
                      1904 Pembroke Rd
                      Birmingham, MI 48009

                      Jason Green
                      3148 Daleview Way Southwest
                      Atlanta, GA 30331

                      Jason Gurdak
                      642 Escalona Drive
                      Santa Cruz, CA 95060

                      Jason Heath
                      269 South 1000 Road
                      Alta Vista, KS 66834

                      Jason Hunter
                      6713 85th Ave SE
                      Snohomish, WA 98290

                      Jason Jardine
                      15784 Pearl Road
                      Strongsville, OH 44136

                      Jason Jones
                      90 Endor Drive
                      Chapel Hill, NC 27516

                      Jason Karrels
                      55 N Merchant St
                      American Fork, UT 84003

                      Jason Kuegah
                      505 Dunagan Dr
                      Lawrenceville, GA 30045-5238

                      Jason Lambert
                      4235 4th Ave Nw
                      Seattle, WA 98107

                      Jason McFatridge
                      1608 W Canal Ct
                      Littleton, CO 80120

                      Jason McNatt
                      326 Laverne Avenue
                      Alexandria, VA 22305

                      Jason Mondanaro
                      875 University Ave Apt 307
                      Jupiter, FL 33458

                      Jason Neal
                      2329 Benita Dr
                      Rancho Cordova, CA 95670-5243
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1317 of
                                        1639



                      Jason Nguyen
                      31 Reserve Street
                      Smithfield NSW 2164
                      AUSTRAILA

                      Jason O'Toole
                      764 East 250 North
                      Bountiful, UT 84010

                      Jason Opdyke
                      2251 NW 41st Street
                      Ste 50
                      Gainesville, FL 32606

                      Jason Owen
                      4029 South 2725 West
                      Roy, UT 84067

                      Jason Paez
                      6927 Sandlily Ln
                      Chino, CA 91710

                      Jason Pliso
                      3035 Artesian Drive, #153
                      Mississauga ON L5M7S6
                      CANADA

                      Jason Rexilius
                      3005 South Lamar Blvd
                      Sted109-272
                      Austin, TX 78704

                      Jason Ripple
                      1809 Don Alejandro
                      Houston, TX 77091

                      Jason Roe
                      3413 Doe Run
                      Austin, TX 78748

                      Jason Ruiz
                      10255 Central Avenue
                      Montclair, CA 91763

                      Jason Russell
                      508 Doverwood Drive
                      Oakville ON L6H 6N4
                      CANADA

                      Jason Schultz-Lloyd
                      8 Acacia Avenue
                      Warrington ENG WA14EN
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1318 of
                                        1639



                      Jason Schwechter
                      1454 Laurel Avenue
                      Deerfield, IL 60015

                      Jason Shaw
                      P.O. Box 50926
                      Ft. Myers, FL 33994

                      Jason Smith
                      200 Rocky View Ln
                      Georgetown, TX 78628

                      Jason Sweitzer
                      679 Morningstar Road
                      Auburn, IN 46706

                      Jason Tam
                      38 Doncrest Road
                      Richmond Hill ON L4B1A2
                      CANADA

                      Jason Torres
                      2011 Kodiak Dr
                      Colorado Springs, CO 80910

                      Jason Truong
                      2070 South Jamaica Court
                      Aurora, CO 80014

                      Jason Vanwye
                      1510 16th Street
                      Sumner, WA 98390

                      Jason Waldron
                      3200 North Dirksen Parkway
                      Lot 300
                      Springfield, IL 62702

                      Jason Weisman
                      5200 Park Ln
                      Dallas, TX 75220

                      Jason Williams
                      3623 Southwest Stonybrook Drive
                      Topeka, KS 66614

                      Jason Wong
                      417 21A Street North
                      Lethbridge AB T1H 6L6
                      CANADA

                      Jasper Luc
                      6208 McKnight Drive
                      Lakewood, CA 90713
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1319 of
                                        1639



                      Jasper Van Gool
                      Asterstraat 27
                      Beerse 2340
                      BELGIUM

                      Javier Avila
                      819 Lake Biscayne Way
                      Orlando, FL 32824

                      Javier Ignacio La Torre
                      Italia 1566 7A
                      Rosario S 2000
                      ARGENTINA

                      Javier Martinez
                      729 Andalucia Dr
                      Laredo, TX 78045

                      Boris Javorski
                      177 Wolf Willow Cres Nw
                      Edmonton AB T5Z 3P5
                      CANADA

                      Jax Hindmarch
                      245 East 40th Street
                      18D
                      New York, NY 10016

                      Jay Bonds
                      4019 Juniata St
                      Saint Louis, MO 63116

                      Jay Chapman
                      3117 East 21st Street
                      Sioux Falls, SD 57103

                      Jay Govender
                      7 Bradford Ct
                      Princeton Jct, NJ 08550-3032

                      Jay Patel
                      11 Woodbury Crescent
                      Ilford ENG IG5 0FF
                      UNITED KINGDOM

                      Jay Pober
                      506 Country Club Dr
                      Cherry Hill, NJ 08003

                      Jay Prasad
                      10904 Panther Court
                      Houston, TX 77099
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1320 of
                                        1639



                      Jay Roux
                      21 Barry Rd
                      Plymouth, CT 06782

                      Jay Spix
                      3219 Boise St
                      San Rafael, CA 94702

                      Jaygiri Goswami
                      32471 Lake Ree Street
                      Fremont, CA 94555

                      Jaylyn Zakikhani
                      5154 Hemingway Circle
                      Apt 2906
                      Naples, FL 34116

                      Jayme Schneider
                      39 Windingwood Road North
                      Rye Brook, NY 10573

                      Jayson Huggins
                      12714 Summit Street
                      Tampa, FL 33612

                      Jayson Kennett
                      1128 Mystic Breeze
                      Spring Branch, TX 78070

                      Jayson Markham
                      621 E. 200 S.
                      Pleasant Grove, UT 84062

                      Jc Buford
                      6242 Delancey St
                      Phildelphia, PA 19143

                      Jean Reverdy
                      134 Bis Rue Vaugirard
                      4 Eme Tages
                      Paris 75015
                      FRANCE

                      Jean Rutayisire
                      Flat 17 Barton Court, Godstone Road
                      Whyteleafe ENG CR3 0GQ
                      UNITED KINGDOM

                      Jean Tremblay
                      Route Du Bas Du Village 12
                      Lugnorre 1789
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1321 of
                                        1639



                      Jean Yves Girard
                      570 Rue Des Galets
                      Sept-Iles QC G4R 0C1
                      CANADA

                      Jean-Baptiste Audrerie
                      2610 Avenue Bennett, #425
                      Montreal QC H1V3S4
                      CANADA

                      Jean-Maurice Weibel
                      3815 Rue Masson
                      Montreal QC H1X 1S9
                      CANADA

                      Jean-Pierre Sanchez
                      3600 Windhaven Pkwy #3215
                      Lewisville, TX 75056

                      Jean-Sebastien Fortier
                      351 Blvd Du Coteau
                      Ste-Therese QC J7E2J7
                      CANADA

                      Jeanne Tiscareno
                      1552 16th Ave E
                      Seattle, WA 98112

                      Jecu Florin
                      Bd. Ferdinand, Nr. 73, Bl A6, Sc B, Et 4
                      Constanta CT 900058
                      ROMANIA

                      Jed Bergman
                      3000 Arlington Avenue
                      Bronx, NY 10463

                      Jed Ryan
                      1501 Green St
                      #3
                      Philadelphia, PA 19130

                      Jeff Barber
                      81 Westridge Drive
                      Tauriko
                      Tauranga BOP 3110
                      NEW ZEALAND

                      Jeff Bassford
                      8961 Weddel Street
                      Taylor, MI 48180

                      Jeff Biskowitz
                      5435 N Diversey Blvd
                      Whitefish Bay, WI 53217
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1322 of
                                        1639



                      Jeff Boudreau
                      57 Clearview Drive
                      Bedford NS B4A 3C9
                      CANADA

                      Jeff Catalano
                      1047 85th Street
                      Brooklyn, NY 11228

                      Jeff Craig
                      6426 State Route 287
                      West Liberty, OH 43357

                      Jeff Doiron
                      30 Prospect St
                      Bridgewater, MA 02324

                      Jeff Graybill
                      6934 La Marre Drive
                      Roanoke, VA 24019

                      Jeff Greenwalt
                      143 Parkland Drive
                      Cedar Creek, TX 78612

                      Jeff Harris
                      101 Dugas Court
                      Ottawa ON K4A 4N2
                      CANADA

                      Jeff M Christensen
                      808 E Street, #3
                      Sacramento, CA 95814

                      Jeff Mackewicz
                      4112 Wilson Ln
                      Concord, CA 94521

                      Jeff Magnus
                      14105 21st Dr SE
                      Mill Creek, WA 98012

                      Jeff Mercado
                      6444 S Vanishing Pointe Way
                      Tucson, AZ 85746

                      Jeff Moeller
                      1516 Vigilant Street
                      Upland, CA 91784
                      Jeff Schelling
                      201 North Leland St
                      Fortville, IN 46040
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1323 of
                                        1639



                      Jeff Schmidt
                      351 E Civic Center Dr
                      # 3050
                      Gilbert, AZ 85296

                      Jeff Secrist
                      10902 NE 197th Street
                      Bothell, WA 98011

                      Jeff Stucker
                      1331 Detroit St
                      Denver, CO 80206

                      Jeff Webb
                      2033 Poplar Avenue
                      Redwood City, CA 94061

                      Jeff White
                      1625 International Drive, #409
                      Mclean, VA 22102

                      Jeff Wray
                      1214 Scarlet Sage Drive Sw
                      Cedar Rapids, IA 52404

                      Jeffery Mina
                      8368 47th Street Circle East
                      Palmetto, FL 34221

                      Jeffrey Batista
                      614 Lattice Bend
                      Bonaire, GA 31005

                      Jeffrey Cooke
                      58 Woodstown Rd
                      Apt. 202
                      Mullica Hill, NJ 08062

                      Jeffrey Cowell
                      3382 Constellation Road
                      Lompoc, CA 93436

                      Jeffrey Galope
                      3128 Paliuli St
                      Honolulu, HI 96816

                      Jeffrey Graves
                      1532 East 20th Street
                      Marshfield, WI 54449
                      Jeffrey Katz
                      600 7th Ave, #205
                      Seattle, WA 98104
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1324 of
                                        1639



                      Jeffrey Lacroix
                      21731 Flanders St
                      Farmington Hills, MI 48335

                      Jeffrey Poston
                      163 Venus Lane
                      Orange Park, FL 32073

                      Jeffrey Puleo
                      12230 Franklin Brook Lane
                      Jacksonville, FL 32225

                      Jeffrey Reed
                      17701 108th Ave SE #223
                      Renton, WA 98055

                      Jeffrey Riddle
                      1127 Pluma Drive SE
                      Atlanta, GA 30316

                      Jeffrey Strang
                      1701 Valley Ridge Trl S
                      Chanhassen, MN 55317

                      Jehad Darwish
                      Prendener Strasse 28
                      Berlin 13059
                      GERMANY

                      Jelan Maxwell
                      2648 Regina Street
                      Ottawa ON K2B 6X8
                      CANADA

                      Jenelle Valdez
                      4665 Canada Way
                      #4
                      Burnaby BC V5G 1K9
                      CANADA

                      Jenn Desetto
                      26 Rock Lane
                      Levittown, NY 11756

                      Jennifer Overbye
                      2598 Three Willows Ct.
                      Henrico, VA 23294

                      Jennifer Shojai
                      In Der Romerstadt 164
                      Frankfurt 60439
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1325 of
                                        1639



                      Jennifer Smith
                      4 Kimberley Grove
                      Troon SCT KA10 7FQ
                      UNITED KINGDOM

                      Jennifer Wan
                      1193 Kingston Lane
                      Ventura, CA 93001

                      Jennifer Wilcox
                      15979 Trey Hughes Drive Northwest
                      Harvest, AL 35749

                      Jenny Encarnacion
                      536 W. 143rd St. #52
                      New York, NY 10031

                      Jens Distelberg
                      Hangarsteinstrasse 39
                      Kassel 34130
                      GERMANY

                      Jens Holger Hansen
                      Wilhelmshoher Weg 44
                      Kasssel 34128
                      GERMANY

                      Jens Wienhold
                      Ruwerstr. 4
                      Bensheim 64625
                      GERMANY

                      Jerald Wolotka
                      9443 Forrest Dr
                      Highland, IN 46322

                      Jeremiah Michelson
                      2546 Midway Road
                      Decatur, GA 30030

                      Jeremiah Onciu
                      16880 North Stoneridge Court
                      Fountain Hills, AZ 85268

                      Jeremiah Ryan
                      31 Wentworth Avenue
                      Slough ENG SL2 2DP
                      UNITED KINGDOM

                      Jeremiah Yondah
                      100 John Street
                      Apartment 2708
                      New York, NY 10038
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1326 of
                                        1639



                      Jeremie Dubeaux
                      3523 Olympia Road
                      Lexington, KY 40517

                      Jeremy Allison
                      4535 S. Delaware St
                      Englewood, CO 80110

                      Jeremy Block
                      8900 Cruden Bay Court
                      Dublin, OH 43017

                      Jeremy Brooks
                      1453 Royal Ridge Drive
                      Davenport, FL 33896

                      Jeremy Burgess
                      929 Euclid Ave.
                      Apt. 2
                      Atlanta, GA 30307

                      Jeremy Chambers
                      1251 11th St
                      Imperial Beach, CA 91932

                      Jeremy Farrugia
                      17-19 Buckley Street
                      Marrickville NSW 2204
                      AUSTRAILA

                      Jeremy Gaughan
                      5913 Crosswind Court
                      Johnsburg, IL 60051

                      Jeremy Gola
                      7813 Meadowglen Drive
                      Orlando, FL 32810

                      Jeremy Jauregui
                      821 Coiner Ct.
                      P.O. Box 505
                      Los Alamos, CA 93440

                      Jeremy Knapp
                      3612 Memorial Dr
                      Two Rivers, WI 54241

                      Jeremy Mahrle
                      2322 Starr Rd
                      Royal Oak, MI 48073

                      Jeremy March
                      2742 Fell Road
                      Madison, WI 53713
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1327 of
                                        1639



                      Jeremy Mcclelland
                      1423 Milldam Pass
                      Johns Island, SC 29455

                      Jeremy Mcconnell
                      336 Devonshire Street
                      Dearborn, MI 48124

                      Jeremy Passinault
                      1049 Hamlin Center Road
                      Hamlin, NY 14464

                      Jeremy Schwarz
                      26 Beverly Rd
                      Hawthorne, NJ 07506

                      Jeremy Simpson
                      947 Heron Circle
                      Seal Beach, CA 90740

                      Jeremy Skinner
                      801 S King St Unit 3803
                      Honolulu, HI 96813

                      Jeremy Snarski
                      820 Holly Lane Farms Dr.
                      Westfield, IN 46074

                      Jeremy Vandervort
                      120 South Olive Avenue
                      Ste 311
                      West Palm Beach, FL 33401

                      Jeremy Wallin
                      7205 Gilpin Way
                      #150
                      Denver, CO 80229

                      Jeremy Windham
                      32 N Grant St
                      Denver, CO 80203

                      Jeremy Young
                      155 Woodlane Court
                      Oshawa ON L1G 6Y5
                      CANADA

                      Jerhome Pena
                      344 Linden Ave
                      Long Beach, CA 90802

                      Jeri Bavousett
                      1314 North 160th Street
                      Shoreline, WA 98133
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1328 of
                                        1639



                      Adam Jernow
                      20 West 20th Street Suite 1102
                      Ste 1102
                      New York, NY 10011

                      Jeroen Decorte
                      Veumedreef 5
                      Oostkamp 8020
                      BELGIUM

                      Jerome Clement
                      2999 North Texas Street
                      Apt 57
                      Fairfield, CA 94533

                      Jerome Mansbendel
                      6 Rue Du Cimetiere
                      Sasu Dealeo
                      Villebon Sur Yvette 91140
                      FRANCE

                      Jerome Vivino
                      5221 Meadow Creek Drive
                      Austin, TX 78745

                      Jeronimo Herrera
                      471 Meridian Street
                      Boston, MA 02128

                      Jeronimo Pineda
                      13800 Highland Drive
                      Ph10
                      North Miami Beach, FL 33181

                      Jeronimo Pinto
                      Rua Da Casa Branca, 21 Apto 104
                      Nif 515673544
                      Funchal PT-30 9000-113
                      PORTUGAL

                      Jerrad Coffin
                      24 Crockett Rd
                      Naples, ME 04055

                      Jerrad Pulham
                      725 King Street West
                      Unit 813
                      Toronto ON M5V 2W9
                      CANADA
                      Jerrel Cuevas
                      944 Ramona Avenue
                      Spring Valley, CA 91977
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1329 of
                                        1639



                      Jerri Weddle
                      2724 Bald Eagle Ave NW
                      Salem, OR 97304

                      Jerry Backe
                      1593 50th St NE
                      Medford, MN 55049-8209

                      Jerry Byerly
                      5325 Wharfside Dr
                      Imperial, MO 63052-4323

                      Jerry Chado
                      10 Houndswood Court
                      Baltimore, MD 21209

                      Jerry Pennell
                      16927 Shinedale Drive
                      Santa Clarita, CA 91387

                      Jerry Wallace
                      1032-61 Street Nw
                      Edmonton AB T6L 2G5
                      CANADA

                      Jersy Sandhu
                      16 Mount Road, Essex
                      South Benfleet ENG SS7 1HA
                      UNITED KINGDOM

                      Jess Abraham
                      20823 Medallion Pointe Dr.
                      Katy, TX 77450

                      Jesse Dupont
                      P.O. Box 547
                      Spearfish, SD 57783

                      Jesse Gunsch
                      200 East Broadway
                      Steele, ND 58482

                      Jesse Hayden
                      616 S Wilson Ave
                      Royal Oak, MI 48067

                      Jesse Leger
                      10 Duncan St Unit 202
                      Haverhill, MA 01830
                      Jesse Olsen
                      1022 5th Avenue East
                      Kalispell, MT 59901
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1330 of
                                        1639



                      Jesse Watson
                      516 Hazel Cir
                      Fruita, CO 81521-2376

                      Jesse Wright
                      29039 Aztec Rd.
                      Hayward, CA 94544

                      Jessica Mercer
                      11504 Tyre St
                      Upper Marlboro, MD 20772-5419

                      Jessica Mikhaylov
                      15706 Whisper Woods Drive
                      Cypress, TX 77429

                      Jessica Molina
                      532 S 323rd Pl 10B
                      Federal Way, WA 98003

                      Jessica Molina
                      532 S 323rd Pl
                      10B
                      Federal Way, WA 98003

                      Jessica Spalding
                      1800 Doubletree Trl
                      Flower Mound, TX 75028

                      Jessica Thompson
                      8638 Henrietta Ave
                      Brentwood, MO 63144

                      Jessicaq Langrock
                      6228 Riverside Station Blvd.
                      Secaucus, NJ 07094

                      Jessie Brewer
                      455 High St
                      Boscawen, NH 03303

                      Jesus A Rubio Gutierrez
                      Basilio A Jacome 4324
                      Rincones De San Francisco
                      Chihuahua CHIH 31115
                      MEXICO

                      Jesus Herrera De La Cruz
                      Ca   N De A Isclo - 7, 2 Izq
                      Zaragoza Z 50015
                      SPAIN
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1331 of
                                        1639



                      Jesus Javier Luque Baez
                      Calle Espa A 6
                      Fuengirola MA 29640
                      SPAIN

                      Jesus Nieves
                      13A Banstead Road
                      Purley ENG CR8 3EB
                      UNITED KINGDOM

                      Jesus Perez
                      10810 SW 134th Ter
                      Miami, FL 33176

                      Jesus Rivas
                      2040 Palm Blvd
                      Brownsville, TX 78520

                      Jesus Urquijo
                      1105 Tangerine Drive
                      Redlands, CA 92374

                      Jiarong Tan
                      277 Panton Way Nw
                      Calgary AB T3K 0X4
                      CANADA

                      Jiawei Huang
                      83 Elizabeth Street
                      Apt 7
                      New York, NY 10013

                      Jiazhou Yang
                      2635 Edgewood Road
                      Beachwood, OH 44122

                      Jibri Hodge
                      20445 Jay Carroll Drive
                      Santa Clarita, CA 91350

                      Jigar Patel
                      Flat 8, 1 Snowdrop Mews, Pinner
                      London HA5 3WW
                      UNITED KINGDOM

                      Jill Mason
                      6163 North Bethel Avenue
                      Clovis, CA 93619

                      Jim Krysiak
                      5002 Hickoryway
                      Johnsburg, IL 60051
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1332 of
                                        1639



                      Jim Riley
                      7275 Burns Way
                      San Antonio, TX 78250

                      Jim Thomas
                      2832 Woodrose Court
                      Holiday, FL 34691

                      Jim Tolomeo
                      171 Rivervale Rd
                      River Vale, NJ 07675

                      Jim Walters
                      2226 Bearskin Dr
                      Sherwood, AR 72120

                      Jim Washburn
                      102 E Lake Creek St
                      Meridian, ID 83642

                      Jim Widmann
                      3000 Gateway Dr
                      Carlisle, IA 50047

                      Jimit Shah
                      1849 Girard Drive
                      Milpitas, CA 95035

                      Jimmy Christo
                      3800 County Road 94
                      Manvel, TX 77578

                      Jimmy Dean
                      7832 Kavanagh Court
                      Sarasota, FL 34240

                      Jimmy Easton
                      506 Suffolk Drive
                      Owensboro, KY 42303

                      Jimmy Hill
                      791 Lieber Way
                      Henderson, NV 89052

                      Jimmy Jimenez
                      698 Eastern Court
                      Ridgewood, NJ 07450

                      Jimmy Phan
                      2049 Country Club Way
                      Langford BC V9B 0H8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1333 of
                                        1639



                      Jimmy St-Laurent
                      426 Rue De L' Glise
                      Sept-Iles QC G0G 1H0
                      CANADA

                      Jin Oh
                      7202 Barrberry Lane
                      Beltsville, MD 20705

                      Jin Woo Ok
                      216 Pepperwood Way
                      Durham, NC 27703

                      Joakim Slattegard
                      Pionvagen 28
                      Tullinge 14650
                      SWEDEN

                      Joakim Stende
                      Fricksgatan
                      4 C
                      Angelholm 26251
                      SWEDEN

                      Joan Sullivan
                      159 Sycamore St.
                      East Aurora, NY 14052

                      Joanna Garcia
                      P.O. Box 947
                      Christiansted, VI 00821

                      Joao Costa
                      Rua Da Fonte Nova Nr 82
                      Figueira Da Foz PT-06 3080-213
                      PORTUGAL

                      Joao Pereira
                      2076 Osbond Road
                      Innisfil ON L9S 0B6
                      CANADA

                      Joao Rodrigues
                      17 The Conservatory, Chesil Street
                      Winchester ENG SO238BL
                      UNITED KINGDOM

                      Joaquin Pastor
                      1042 Laguna Ave
                      Los Angeles, CA 90026

                      Joe Abel
                      1775 Calle Tierra Vista
                      Camarillo, CA 93010
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1334 of
                                        1639



                      Joe Brown
                      1700 W Blanck St
                      Linden, NJ 07036

                      Joe Dubsky
                      27430 472nd Avenue
                      Harrisburg, SD 57032

                      Joe Dusek
                      4 Lake Eloise Ln
                      Winter Haven, FL 33884-2822

                      Joe Edgar
                      6059 Westminster Place
                      St. Louis, MO 63112

                      Joe Ferguson
                      1591 S Gravel Cir
                      Grapevine, TX 76092

                      Joe Ferreira
                      5 Marshall Street
                      Toronto ON M6K 1S3
                      CANADA

                      Joe Huu
                      1839 Bloom Cres
                      London ON N5X4N2
                      CANADA

                      Joe Levi
                      6440 North 6900 West
                      #381
                      Newton, UT 84327

                      Joe Ra(Main)
                      1900 Yorkshires Dr
                      Blue Bell, PA 19422

                      Joe Rosshirt
                      126 North St Apt 2F
                      Portland, ME 04101

                      Joe Ryan
                      239 Timberlane Drive
                      Staten Island, PA 18301

                      Joe Schuerger
                      609 Shallow Creek Circle
                      Northfield, OH 44067

                      Joe Triolo
                      60B Thames Industrial Park
                      East Tilbury ENG RM188RH
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1335 of
                                        1639



                      Joe Wambsgan
                      5434 E Palo Brea Ln
                      Cave Creek, AZ 85331

                      Joel Laguna
                      El Dorado D21 Calle C
                      San Juan, PR 00926

                      Joel Lamoreaux
                      3225 Benton Rd
                      Whitehall, MI 49461

                      Joel Leon
                      10885 Windy Court
                      Bloomington, CA 92316

                      Joel Nelson
                      318 E 2275 N
                      Unit 25
                      North Ogden, UT 84414

                      Joel Ortega
                      1013 Griffith St
                      San Fernando, CA 91340-4030

                      Joel Paulino
                      1562 Curran Street
                      Los Angeles, CA 90026

                      Joel Peterson
                      1888 Main St, Unit A2
                      Vancouver BC V5T3B7
                      CANADA

                      Joel Sarubbi
                      Eimattstrasse 31
                      Oberdorf Bl 4436
                      SWITZERLAND

                      Joel Sauer
                      8460 North Lindbergh Blvd
                      Suite 2
                      Florissant, MO 63031

                      Joel Swanson
                      2552 East Windrose Street
                      Eagle, ID 83616

                      Joey Benford
                      12489 South Oak Grove Road
                      Canby, OR 97013
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1336 of
                                        1639



                      Joffre Castilla Breininger
                      Fanny Blankers-Koenplein 35
                      Haarlem 2021 VW
                      NETHERLANDS

                      Joginder Singh
                      44 Lancaster Avenue
                      Slough ENG SL2 1AX
                      UNITED KINGDOM

                      Johan Forshallen
                      Gustav III:s Blvd 139
                      Solna 16974
                      SWEDEN

                      Johan Rylander
                      Hallerstrasse 47
                      Nuremberg 90419
                      GERMANY

                      Johan Swedell
                      20 Belmont Drive
                      Sandyford D CTX3 D18
                      IRELAND

                      Johanes Sunarto
                      320 Spruce St
                      Alameda, CA 94501

                      Johann Wollein
                      Dr. Karl Dorrstr. 3
                      Brunn/Geb 2345
                      AUSTRIA

                      Johannes Diepeveen
                      Venuslaan 57
                      Dordrecht 3318 JZ
                      NETHERLANDS

                      Johannes Goeckel
                      Im Klipfel 44
                      Malsch 69254
                      GERMANY

                      Johannes Platz
                      Passeio Levante
                      4-3 E
                      Lisboa/ Portugal PT-11 1990-503
                      PORTUGAL
                      Johannes Wagner
                      Waldstrasse 48
                      Furth 90763
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1337 of
                                        1639



                      Johannes Yarar
                      Rafaelsgrand 32
                      Stockholm/Sodertalje 152 50
                      SWEDEN

                      John Andrade
                      Schifflande 1
                      Basel 4051
                      SWITZERLAND

                      John Barkeley
                      2336 Village Dr
                      Louisville, KY 40205

                      John Barnhardt
                      6800 Marlboro Pike
                      Bishop McNamara High School
                      Forestville, MD 20747

                      John Bartleman
                      704 N Ocean Blvd
                      Apt 904
                      Pompano Beach, FL 33062

                      John Baskett
                      5517 Travis Green Lane
                      Austin, TX 78735

                      John Batdorff
                      2208 N. Sedgwick
                      Apt 3
                      Chicago, IL 60614

                      John Blincoe
                      10 Indiana
                      Irvine, CA 92606

                      John Bosworth
                      12 Murfitt Close
                      Ely ENG CB6 3FN
                      UNITED KINGDOM

                      John Bradford
                      3141 East 8th Street
                      Long Beach, CA 90804

                      John Buck
                      212 Caribbean Road
                      Palm Beach, FL 33480
                      John Burke
                      475 Oakdale Ave,
                      Glencoe, IL 60022
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1338 of
                                        1639



                      John Callanan
                      323 Fairfield Avenue
                      #515
                      Bridgeport, CT 06604

                      John Carretta
                      10910 E Roselle Ave
                      Mesa, AZ 85212

                      John Christian
                      11136 State Highway 64, #428
                      Tyler, TX 75707

                      John Coats
                      1821 NE 25th St
                      Suite 101
                      Lighthouse Point, FL 33064

                      John Cottenham
                      801 Maple Street
                      Grayling, MI 49738

                      John Dakan
                      1709 Fontenay Way
                      Roseville, CA 95747

                      John Daunton
                      Flat 3 Quay Gate House
                      1A Grand Parade
                      Portsmouth ENG PO1 2NF
                      UNITED KINGDOM

                      John Davies
                      1259 Western Ave
                      Westfield, MA 01085

                      John Davy
                      400 Pryor Street Southwest
                      #4476
                      Atlanta, GA 30302

                      John Day
                      4617 Highland Rhodes Drive
                      Clayton, NC 27520

                      John Dixon
                      2407 W Sunset Dr
                      Rogers, AR 72756

                      John Dwan
                      5122 Morningside Drive
                      Houston, TX 77005
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1339 of
                                        1639



                      John Dye
                      22302 Wenbury Drive
                      Tomball, TX 77375

                      John Espinosa
                      207 East 202nd Street
                      2A
                      Bronx, NY 10458

                      John Evans
                      5526 13400 South
                      #231
                      Herriman, UT 84096

                      John Franklin
                      124 Bushney Loop
                      Mooresville, NC 28115

                      John Franks
                      6944 Heaton Moor Drive
                      San Jose, CA 95119

                      John Garcia
                      7784 NW 167th Terrace
                      Miami Lakes, FL 33016

                      John Gausche
                      5500 16th Lane Northeast
                      St. Petersburg, FL 33703

                      John Gehringer
                      73 Wheeler Ave
                      Westwood, NJ 07675

                      John Goodwin
                      4734 S Wallace Dr
                      Saint George, UT 84790

                      John Groth
                      6144 Karas Walk
                      Elkridge, MD 21075

                      John Hennessy
                      133 Noble Street #3
                      Brooklyn, NY 11222

                      John Hildevert
                      865 Amsterdam Ave
                      14G
                      New York, NY 10025

                      John Hronakis
                      1922 Queen Street East
                      Toronto ON M4L 1H5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1340 of
                                        1639



                      John Jalufka
                      3230 Golden Eye
                      Katy, TX 77493

                      John John
                      Svl Box 9019
                      18250 Harbor Drive
                      Victorville, CA 92395

                      John Kemp
                      206 E. Meda Ave.
                      Glendora, CA 91741

                      John Kinney
                      1621 North Willow Highway
                      Lansing, MI 48917

                      John Knight
                      950 Steeple Run
                      Lawrenceville, GA 30043

                      John Lannes
                      7599 Devonshire Lane
                      Reno, NV 89511

                      John Li
                      11557 SE Cascade View Dr
                      Happy Valley, OR 97086

                      John Lopez
                      4316 Palmdale Street
                      Union City, CA 94587

                      John Lucas
                      16423 Golden Sun Way
                      Monument, CO 80132

                      John Mathews
                      2918 Maple Ct
                      Carrollton, TX 75007

                      John McAleer
                      300 Broadmeadow Cove
                      Roswell, GA 30075

                      John Mccleary
                      4531 Avenue F
                      Austin, TX 78751

                      John McDonald
                      204 Catalini St
                      Las Vegas, NV 89107
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1341 of
                                        1639



                      John McGinty
                      243 Flanders Drive
                      Indialantic, FL 32903

                      John Millar
                      100 13 Avenue South
                      Cranbrook BC V1C 2V5
                      CANADA

                      John Nishidate
                      6610 London Gate
                      Delta BC V4K4W8
                      CANADA

                      John Norman
                      620 Division St
                      Port Huron, MI 48060

                      John Oconnor
                      2076 35th Ave
                      Vero Beach, FL 32960

                      John Pappas
                      739 East Morningside Drive NE
                      Atlanta, GA 30324

                      John Parish
                      715 Woodsedge Drive
                      Hickory Withe, TN 38028

                      John Parker
                      The Old School House, Chapels
                      Darwen ENG BB3 0EE
                      UNITED KINGDOM

                      John Paul Maltes
                      2235 West Coronet Avenue
                      Anaheim, CA 92801

                      John Quesnel
                      1 Testa Road, #27
                      Uxbridge ON L9P 1Y9
                      CANADA

                      John Richards
                      5425 Closeburn Road
                      Charlotte, NC 28210

                      John Richardson
                      1210 Falls Creek Court
                      Conyers, GA 30094

                      John Robinson
                      2110 Mistletoe Ave
                      Fort Worth, TX 76110
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1342 of
                                        1639



                      John Robinson
                      150 Tavern Rock Rd
                      Stratford, CT 06614

                      John Serrano
                      9413 40th Dr
                      Elmhurst, NY 11373-1738

                      John Stephens
                      4320 Vine Street
                      Unit 80-137
                      Hays, KS 67601

                      John Storey
                      49 Yeoville Crt
                      Hamilton ON L9C5W4
                      CANADA

                      John Swope
                      4413 Trapp Lane
                      Orlando, FL 32814

                      John Thomas
                      3934 Montego Bay Court
                      Missouri City, TX 77459

                      John Ticer
                      1199 Wakefield St.
                      Birmingham, MI 48009

                      John Wagner
                      198 Apple Blossom Lane
                      Oakland, MD 21550

                      John Walcsak
                      985 Beatrice Parkway
                      Edison, NJ 08820

                      John Winn
                      6020 Chester St
                      Wilmington, NC 28405

                      John Wood
                      405 W 7th Street
                      Unit 205
                      Charlotte, NC 28202

                      John Yohanna
                      27205 Icy Willow Ln
                      Canyon Country, CA 91387

                      Johnathan Harrison
                      3918 East 21st Avenue
                      Spokane, WA 99223
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1343 of
                                        1639



                      Johnaton Olding
                      2170 Dufferin Street
                      Toronto ON M6E 3R8
                      CANADA

                      Johnny Lei
                      7382 Fleeting Joys Ave.
                      Las Vegas, NV 89113

                      Johnny Moncier
                      4285 Autumn Sun Road
                      Millington, TN 38053

                      Johnny Walker
                      912 West Village Court
                      Chicago, IL 60608

                      Johnny Wright
                      4320 Kachina Canyon Rd
                      Las Cruces, NM 88011

                      Johnpaul Quick
                      3808 Highway 19
                      Owensville, MO 65066

                      Aaron Johnson
                      10611 20th Ave S
                      Seattle, WA 98168

                      Aidan Johnson
                      2381 W. Us Highway 34
                      Drake, CO 80515

                      Johny Chavez
                      10274 Stanwin Ave
                      Arleta, CA 91331

                      Jomar Lovallo
                      827 Downing
                      Winnipeg MB R3G 2P6
                      CANADA

                      Jon Capps
                      1081 Thornridge Rd
                      Bentonville, AR 72713

                      Jon Foster
                      64 Highbury School Road
                      Canaan NS B4N 4K1
                      CANADA

                      Jon Gustafson
                      14 Cold Springs Rd
                      Dillsburg, PA 17019
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1344 of
                                        1639



                      Jon Hathaway
                      44 Hambleton Place
                      Thirsk ENG YO71DP
                      UNITED KINGDOM

                      Jon Hazan
                      2218 Yale Ave
                      St Louis, MO 63143

                      Jon Kostic
                      1258 Slater Road
                      Wheatland, WY 82201

                      Jon Miles
                      1218 E Campbell St
                      Arlington Heights, IL 60004

                      Jon Osmanson
                      100 Safety Way
                      Decatur, AL 35601

                      Jon Oswalt
                      4450 Copper Ct
                      Gig Harbor, WA 98332

                      Jon Ta
                      818 N Broadway
                      Suite 111A
                      Los Angeles, CA 90012

                      Jon Tolo
                      1207 98th Avenue West
                      Duluth, MN 55808

                      Jonas Claes
                      Kleine Amer 69
                      Puurs 2870
                      BELGIUM

                      Jonas Fischer
                      Mulhauserstrasse 146
                      Basel 4056
                      SWITZERLAND

                      Jonas Haentjes
                      Hochallee 108
                      Hamburg 20149
                      GERMANY

                      Jonas Sargelis
                      39 Pettus Road
                      Norwich ENG NR4 7BU
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1345 of
                                        1639



                      Jonas Wohler
                      Wuehrenbachstrasse 6
                      Horgenberg 8815
                      SWITZERLAND

                      Jonatan Arild Hansen
                      Sementvegen 4
                      Brevik 3950
                      NORWAY

                      Jonathan Adams
                      610 Kelso Road
                      Pittsburgh Pa, PA 15243

                      Jonathan Albert
                      235 44th Ave N
                      St Petersburg, FL 33703

                      Jonathan Arndt
                      1319 Glenbrook Drive
                      Irving, TX 75061

                      Jonathan Banas
                      41 Kieren Drive
                      Blacktown NSW 2148
                      AUSTRAILA

                      Jonathan Betancourt
                      16117 Northglenn Dr
                      Tampa, FL 33618

                      Jonathan Brake
                      11311 Courtside St
                      Victorville, CA 92392

                      Jonathan Brown
                      10908 McMullen Loop
                      Riverview, FL 33569

                      Jonathan Burgess
                      7009 Osborn Avenue
                      Hammond, IN 46323

                      Jonathan Canivel
                      2 Hedge End Rd #108
                      Toronto ON M1B5Z8
                      CANADA

                      Jonathan Choi
                      22 Library Place
                      Edison, NJ 08820
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1346 of
                                        1639



                      Jonathan Cole
                      10 Dakara Drive
                      Frenchs Forest NSW 2086
                      AUSTRAILA

                      Jonathan Cox
                      432 Mission St
                      Unit A
                      South Pasadena, CA 91030

                      Jonathan Crenshaw
                      618 North Boylan Avenue, #402
                      Raleigh, NC 27603

                      Jonathan Demerecz
                      1021 Prospect Rd
                      Evans City, PA 16033

                      Jonathan Durst
                      5014 Thoms Run Rd
                      Oakdale, PA 15071

                      Jonathan Escamilla
                      30897 Via Bonica
                      Lake Elsinore, CA 92530

                      Jonathan Fodera
                      3810 Round Table Court
                      Land O' Lakes, FL 34638

                      Jonathan Gamel
                      1264 County Road 39
                      Deatsville, AL 36022

                      Jonathan Guerrero
                      5726 Roanoke Street
                      San Diego, CA 92139

                      Jonathan Hinostroza
                      13457 Daffodil Way
                      Chino, CA 91710

                      Jonathan Hipolito
                      208 3rd Avenue
                      New Westminster BC V3L 1M1
                      CANADA

                      Jonathan Johnston
                      381 Valmore Avenue
                      Ventura, CA 93003

                      Jonathan Laird
                      61 George Street
                      #2
                      Manchester, NH 03102
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1347 of
                                        1639



                      Jonathan Lam
                      1228 West Blaine Street
                      Apt 5
                      Riverside, CA 92507

                      Jonathan Lee
                      139 Arbour Butte Road Nw
                      Calgary AB T3G 4N6
                      CANADA

                      Jonathan Lenaway
                      201 Loyola Rd
                      Costa Mesa, CA 92626

                      Jonathan Littenstrom
                      Dimvagen 38
                      Jarfalla 17770
                      SWEDEN

                      Jonathan Lucente
                      4204 Aberdeen Lane
                      Blackwood, NJ 08012

                      Jonathan Molfetta
                      181 E 90th St
                      Apt 3B
                      New York, NY 10128

                      Jonathan Muino
                      70 Bignell Drive
                      West Busselton WA 6280
                      AUSTRAILA

                      Jonathan Nixon
                      12 Ivy Green Crescent
                      Scarborough ON M1G2Z3
                      CANADA

                      Jonathan Perlstein
                      925 East 41st Street
                      Apt C
                      Austin, TX 78751

                      Jonathan Phelps
                      1353 Berkshire Rd
                      Stow, OH 44224

                      Jonathan Pilarski
                      1392 Pinery Cres.
                      Oakville ON L6H7J5
                      CANADA

                      Jonathan Rettinger
                      107 Calderon
                      Irvine, CA 92618
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1348 of
                                        1639



                      Jonathan Reyes
                      1305 Paseo Dorado
                      San Dimas, CA 91773

                      Jonathan Russell
                      903 Glennshire Drive
                      Knoxville, TN 37923

                      Jonathan Salman
                      28014 Caraway Ln
                      Saugus, CA 91350

                      Jonathan Smith
                      Apartment 7, Westfield
                      15 Kidderpore Avenue
                      Hampstead ENG NW3 7SF
                      UNITED KINGDOM

                      Jonathan So
                      15303 SW Mississippi Ct
                      Tigard, OR 97224

                      Jonathan Solis
                      851 7th Street
                      Richmond, CA 94801

                      Jonathan Stacey
                      1000 Hockley Lane
                      Forney, TX 75126

                      Jonathan Stodolski
                      5 Chickadee Ct
                      Bedford, NH 03110

                      Jonathan Styles
                      25172 Nueva Vista Drive
                      Laguna Niguel, CA 92677

                      Jonathan Ustaev
                      147-60 76th Avenue
                      Upstairs
                      Queens, NY 11367

                      Jonathan Wilkes
                      103A Freyberg Street
                      Lyall Bay WGN 6022
                      NEW ZEALAND

                      Jonathan Woods
                      4302 Hollywood Blvd #102
                      Hollywood, FL 33021
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1349 of
                                        1639



                      Jonathan Woods
                      120 Neilson Street
                      Apt 603
                      New Brunswick, NJ 08901

                      Jonathon Mcclellan
                      3523 Acacia Drive
                      Sugar Land, TX 77479

                      Jonell Dagasdas
                      74433 16th Street, #23
                      Burnaby BC V3N 4Z5
                      CANADA

                      Rochelle Jones
                      173-11 113th Avenue
                      Queens, NY 11433

                      Joost Muis
                      Welgelegenstraat 17
                      Den Haag 2548SE
                      NETHERLANDS

                      Jordan Barnes
                      2908 Bonanza
                      San Clemente, CA 92673-3422

                      Jordan Brown
                      106-33400 Bourquin Place
                      Abbotsford BC V2S 5G3
                      CANADA

                      Jordan Brown
                      365 East 100 North
                      Hyde Park, UT 84318

                      Jordan Fields
                      1195 County Route 9/11
                      Martinsburg, WV 25403

                      Jordan Guerra
                      186 Mechanic St
                      Reinholds, PA 17569

                      Jordan Harris
                      6223 Everall Avenue
                      Baltimore, MD 21206

                      Jordan Hurless
                      1644 Camden Avenue
                      Apt 2
                      Los Angeles, CA 90025
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1350 of
                                        1639



                      Jordan King
                      692 Murray Drive
                      Honolulu, HI 96818

                      Jordan Listi
                      23103 Norway Maple Lane
                      Tomball, TX 77375

                      Jordan Marty
                      10104 West 96th Street
                      Unit A
                      Overland Park, KS 66212

                      Jordan Pinelli
                      7
                      Powell
                      Brampton ON L6R0K9
                      CANADA

                      Jordan Redner
                      3644 Jefferson Avenue
                      Redwood City, CA 94062

                      Jordan Rivas Bauer
                      3660 103rd Avenue
                      Clearwater, FL 33762

                      Jordan Robbins
                      5207 Scott Trail
                      Minneapolis, MN 55422

                      Jordan Simpson
                      7811 Forest Oaks Lane
                      Waxhaw, NC 28173

                      Jordan Stechschulte
                      109 First Street
                      Miller City, OH 45864

                      Jordan Wirth
                      207 Anthony Way
                      Richmond, KY 40475

                      Jorge Banuelos
                      3473 West Browning Avenue
                      Fresno, CA 93711

                      Jorge Canales
                      Zugerstrasse 90
                      Horgen 8810
                      SWITZERLAND

                      Jorge Dominguez
                      14625 Tierra Coruna Ave
                      El Paso, TX 79938
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1351 of
                                        1639



                      Jorge Espinoza
                      3611 Sonoma Blvd
                      Vallejo, CA 94590-5046

                      Jorge Godoy
                      89 Macarthur Avenue
                      Garfield, NJ 07026

                      Jorge Laurel
                      102 Sanderling Ct
                      Glen Burnie, MD 21060

                      Jorge Lucio
                      1815 S. Ejido Ave.
                      Laredo, TX 78046

                      Jorge Miranda
                      437 Lakeview Rd
                      Kissimmee, FL 34759

                      Jorge Neri
                      617 N Harvey Ave
                      Oak Park, IL 60302

                      Jorge Perez
                      9 Needham Street
                      Johnston, RI 02919

                      Jorge Pineda Cruz del Sur LLC LLC /RIUS
                      4421 NW 97th Ave
                      Doral, FL 33178

                      Jorge Rivera
                      9202 Linden Grove Court
                      Silver Spring, MD 20910

                      Jorge T Marin
                      Colima 209
                      Int 502
                      Ciudad De Mexico DF 6700
                      MEXICO

                      Jorge Uribe
                      8809 Sierra Oak Dr.
                      Bakersfield, CA 93311

                      Joscha Winzer
                      Siegertweg 24
                      Berlin 12101
                      GERMANY

                      Jose Armenta
                      16415 Hayland Street
                      La Puente, CA 91744
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1352 of
                                        1639



                      Jose Becho
                      11503 Merlin Drive
                      Mission, TX 78572

                      Jose Bravo
                      Av De Anza 1003
                      A
                      Hermosillo SON 83150
                      MEXICO

                      Jose Bravoi
                      Av De Anza 1003
                      A
                      Hermosillo SON 83150
                      MEXICO

                      Jose Cadeiras Lda Vat Pt514402849
                      Praceta Marques De Pombal, 10
                      Aroeira PT-15 2820-116
                      PORTUGAL

                      Jose Correa
                      1100 Windward Drive
                      Pembroke Pines, FL 33026

                      Jose Cruz
                      1024 East 215 St, #3
                      Bronx, NY 10469

                      Jose Feneque
                      4280 Caveat Court
                      Fairburn, GA 30213

                      Jose Fermaintt
                      286 Exeter Ln
                      Sugar Grove, IL 60554

                      Jose Fernando Velasquez
                      445 Eglinton Ave East, #206
                      Toronto ON M4P 1N1
                      CANADA

                      Jose Flores
                      1497 Main Street #343
                      Dunedin, FL 34698

                      Jose Fontanez
                      3700 NE 15 St
                      Homestead, FL 33033
                      Jose Garces
                      10850 NW 89th Ter
                      Unit 209
                      Doral, FL 33178
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1353 of
                                        1639



                      Jose Garcia
                      811 Afterglow Street
                      San Antonio, TX 78216

                      Jose Gutierrez
                      126 Brookbank Hill Place
                      Cary, NC 27519

                      Jose Jauregui
                      Victoria 1655, Providencia
                      Providencia
                      Guadalajara JAL 44630
                      MEXICO

                      Jose Lira
                      7742 Snug Harbor Cir
                      Frisco, TX 75036

                      Jose Lorenzo
                      3533 Cabrillo Avenue
                      Santa Clara, CA 95051

                      Jose Loya
                      2574 Oak Springs Dr
                      Chula Vista, CA 91915

                      Jose Manzano
                      10133 Walnut St
                      Bellflower, CA 90706-6007

                      Jose Mazariegos
                      28624 Moon Shadow Dr
                      Menifee, CA 92584

                      Jose Medina
                      1145 4th Avenue
                      Apt 103
                      Chula Vista, CA 91911

                      Jose Molina
                      310 N 2nd St
                      B
                      Albemarle, NC 28001

                      Jose Montalvo
                      1850 Lexington Avenue Apartment 3B
                      Manhattan, NY 10029

                      Jose Petricher
                      7 Feldspar Road
                      Eglinton WA 6034
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1354 of
                                        1639



                      Jose Razo
                      1343 East 5060 South
                      Ogden, UT 84403

                      Jose Reyes
                      225 48th Street
                      Lindenhurst, NY 11757

                      Jose Ribeiro
                      Rua Futuro, No 90
                      Sanguedo PT-01 4505-619
                      PORTUGAL

                      Jose Vaquero
                      1231 Liberty Lane
                      Burlington, WA 98233

                      Jose Verdin
                      2403 North Arkansas
                      Wichita, KS 67204

                      Jose Vilchez
                      8605 Denstone Dr
                      Mckinney, TX 75070

                      Jose Villafane
                      243 Calle Paris
                      PMB 1198
                      San Juan, PR 00917

                      Josef Suess
                      Raphaelweg 5
                      Baiern 85625
                      GERMANY

                      Joseph Ambrose
                      10730 Pelican Dr
                      Wellington, FL 33414-4140

                      Joseph Bigica
                      93 Morrell Place
                      Garfield, NJ 07026

                      Joseph Cichowski
                      982 County Road 523
                      Flemington, NJ 08822

                      Joseph Crowe
                      1601 Rhododendron Dr. Spc 665
                      Florence, OR 97439

                      Joseph Daoud
                      521 Gary Glen Drive
                      Martinez, GA 30907
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1355 of
                                        1639



                      Joseph Driskell
                      2210 Industrial Rd
                      Sapulpa, OK 74066

                      Joseph Ducat
                      8882 Sanibel Shore Ave
                      Las Vegas, NV 89147

                      Joseph Estabrook
                      14004 SE Summerfield Loop
                      Happy Valley, OR 97086

                      Joseph Falanga
                      287 York Street
                      West Haven, CT 06516

                      Joseph Fraga
                      861 Branstetter Avenue
                      Dayton, NV 89403

                      Joseph Garcia
                      520 Harling Court
                      Rio Linda, CA 95673

                      Joseph Geltman
                      11 Benjamin Green Lane
                      Mahopac, NY 10541

                      Joseph Ginther
                      1502 Campbell Avenue
                      Orlando, FL 32806

                      Joseph Grover
                      150 Hermon St
                      Apt. 3
                      Winthrop, MA 02152

                      Joseph Kashy
                      Av. Jesus Del Monte 41
                      602B
                      Huixquilucan DF 52764
                      MEXICO

                      Joseph Keys
                      694 Urton Woods Way
                      Louisville, KY 40243

                      Joseph Kim
                      3012 Rolston Rd
                      Greenville, NC 27858

                      Joseph Lee
                      3138 Paty Drive
                      Honolulu, HI 96822
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1356 of
                                        1639



                      Joseph Lineses
                      6019 39th Avenue
                      Floor 2
                      Queens, NY 11377

                      Joseph Mark
                      1C Chatsworth Road
                      Melbourne VIC 3181
                      AUSTRAILA

                      Joseph Martin
                      90 Pearl St
                      Boca Raton, FL 33432

                      Joseph Mearman
                      Apartment 1, The Old Mill
                      Cadnant Road
                      Menai Bridge WLS LL59 5NG
                      UNITED KINGDOM

                      Joseph Ngoma
                      Albert-Schweitzer-Strasse 17
                      Leverkusen 51377
                      GERMANY

                      Joseph Palomarez
                      547 Cedar St
                      Apt.20
                      San Carlos, CA 94070

                      Joseph Pham
                      98 Thorney Road
                      Fairfield West NSW 2165
                      AUSTRAILA

                      Joseph Polizzi
                      1432 West Oraibi Drive
                      Phoenix, AZ 85027

                      Joseph Preston
                      622 Deer Watch Road
                      Bridgeville, PA 15017

                      Joseph Ramer
                      109 Alberta St
                      Harrison, AR 72601

                      Joseph Rayos
                      17200 Septo Street
                      Los Angeles, CA 91325

                      Joseph Rice
                      589 10th Street
                      Apt 3
                      Brooklyn, NY 11215
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1357 of
                                        1639



                      Joseph Richter
                      1201 West 63rd Street
                      Hialeah, FL 33012

                      Joseph Russo
                      2050 Pacific Beach Dr
                      Apt 104
                      San Diego, CA 92109

                      Joseph Sangiovanni
                      460 Birch Bark Drive
                      Brick Twp, NJ 08723

                      Joseph Terminiello
                      1233 Lowland St
                      Apex, NC 27523

                      Joseph Toma
                      Heinrich-Kropp-Strasse 9
                      Gutersloh 33330
                      GERMANY

                      Joseph Valenzuela
                      948 Ventura Drive
                      Pittsburg, CA 94565

                      Joseph Walsh
                      22 Overlook Circle
                      Garnet Valley, PA 19060

                      Joseph Warren
                      9203 Chaddsford
                      San Antonio, TX 78250

                      Joseph Williams
                      533 Wonder St
                      Reno, NV 89502-2514

                      Joseph Wilson
                      1190 Upper Ottawa Street, #25
                      Hamilton ON L8W 1T8
                      CANADA

                      Josh Armenta
                      7724 Aptos Circle
                      Citrus Heights, CA 95610

                      Josh Fox
                      105 Munroe St
                      Boston, MA 02119

                      Josh Klaas
                      208 E Mineral St.
                      Montfort, WI 53569
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1358 of
                                        1639



                      Josh Moulton
                      9100 Midland Blvd
                      St. Louis, MO 63114

                      Josh Paulin
                      1518 Aubin Road
                      Windsor ON N8Y 4G2
                      CANADA

                      Josh Regenold
                      4506 Oldwyck Drive
                      Janesville, WI 53546

                      Josh Sullivan
                      3140 Filbert Street
                      Antioch, CA 94509

                      Josh Waldo-Speth
                      752 Crider Road
                      Maylene, AL 35114

                      Josh White
                      8 Hoare Street
                      Norman Gardens QLD 4701
                      AUSTRAILA

                      Joshua Baer
                      815-A Brazos St. #149
                      Austin, TX 78701

                      Joshua Baker
                      111 Ames Road
                      Brockton, MA 02302

                      Joshua Bechard
                      3835 SW Nottingham Road
                      Topeka, KS 66610

                      Joshua Bourke
                      6939 Florey Street
                      San Diego, CA 92122

                      Joshua Brown
                      26507 28A Ave
                      Aldergrove BC V4W 3A8
                      CANADA

                      Joshua Burnett
                      717 Lundy Lane
                      Columbus, IN 47203

                      Joshua Dickerson
                      1219 110th Street South
                      Tacoma, WA 98444
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1359 of
                                        1639



                      Joshua Elkington
                      9326 South 300 West
                      Sandy, UT 84070

                      Joshua Fox
                      247 Cambridge Street
                      Cambridge, MA 02141

                      Joshua Furlong
                      3707 Ryeland Cove
                      Mckinney, TX 75071

                      Joshua Garcia
                      11436 Charlesworth Road
                      Santa Fe Springs, CA 90670

                      Joshua Gliniak
                      615 E Weber Dr
                      Unit 2022
                      Tempe, AZ 85281

                      Joshua Hess
                      3734 Bluff Drive, Lewis Center, Oh, Usa
                      Lewis Center, OH 43035

                      Joshua Jahnke
                      1111 S Grand Ave #1014
                      Los Angeles, CA 90015

                      Joshua Lipton
                      303 Fifth Avenue
                      Suite 1102
                      New York, NY 10016

                      Joshua Mccarthy
                      52 Daisy Farm Road
                      Birmingham ENG B14 4QA
                      UNITED KINGDOM

                      Joshua Miller
                      1860 N Washington St
                      Apt 202
                      Denver, CO 80203

                      Joshua Salinas
                      1161 Cypress Street
                      Hollister, CA 95023

                      Joshua Schroijen
                      Kapucijnenvoer 12
                      Bus 0201
                      Leuven 3000
                      BELGIUM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1360 of
                                        1639



                      Joshua Smith
                      1825 S 5Ht St
                      Apt 52
                      Waco, TX 76706

                      Joshua Sparling
                      961 Notre Dame Dr
                      Apt 14
                      London ON N6J 3C3
                      CANADA

                      Joshua Steffen
                      1301 S Scott St
                      Apt 731
                      Arlington, VA 22204

                      Joshua Tillery
                      4600 Navidad Road
                      Atascadero, CA 93422

                      Joshua Tree
                      14633 Palmyra Court
                      Adelanto, CA 92301

                      Joshua Twiname
                      10 Ventnor Street
                      Preston VIC 3072
                      AUSTRAILA

                      Joshua Weingarten
                      37 Rhode Island
                      Irvine, CA 92606

                      Joshua Williams
                      111 Garfield Place
                      Apt# 906
                      Cincinnati, OH 45202-1939

                      Joshua Yan
                      29238 NE Tolt Hill Road
                      Carnation, WA 98014

                      Josiah Holtz
                      434 Walnut Dr
                      Saint Johns, FL 32259

                      Josiah Russell
                      2417 Winterberry Lane
                      York, PA 17406
                      Josiah Schulz
                      5312 Willow St
                      Weston, WI 54476
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1361 of
                                        1639



                      Joud Shehade
                      Bernard Ijzerdraathof 14
                      Haarlem 2032RR
                      NETHERLANDS

                      Jounaidi Ben Hassen
                      14 Rue Williamson
                      Gatineau QC J9A2C8
                      CANADA

                      Jovana Ivanovic
                      310-890 Sheppard Avenue West
                      Toronto ON M3H 2T5
                      CANADA

                      Joven Haye
                      60 Annie Craig Drive #912
                      Toronto ON M8V 0A8
                      CANADA

                      Joyce Fruithof
                      Esdoornlaan 11, #1.3
                      Wetteren 9230
                      BELGIUM

                      Joyce Wicker
                      313 Columbus Drive
                      Savannah, GA 31405

                      Joyti Kumar
                      P.O. Box 56173
                      Hayward, CA 94544

                      Jozef Russell
                      45 Park Terrace West
                      New York, NY 10034

                      Jozsef Vandorffy
                      Thaly Kalman U. 34. 4/22.
                      Folinfo Kft.
                      Budapest 1096
                      HUNGARY

                      Jozsef Vandorffy
                      Thaly Kalman U. 34. 4/22
                      Folinfo Kft.
                      Budapest 1096
                      HUNGARY

                      Jr Scott
                      60143 South 24th Street
                      Lacombe, LA 70445
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1362 of
                                        1639



                      Juan Abadie
                      Carrer De Sogorb 4
                      Piso 4, Puerta 10
                      Valencia V 46004
                      SPAIN

                      Juan Aguiar
                      1850 Rodman Street #3
                      Hollywood, FL 33020

                      Juan Buitrago
                      729 Northwest 170th Terrace
                      Pembroke Pines, FL 33028

                      Juan Carlos Medina Villa
                      Toltecas 166 E916
                      Col. Carola
                      Ciudad De Mexico DF 1180
                      MEXICO

                      Juan Dominguez
                      53750 South River Road
                      Clarksburg, CA 95612

                      Juan Gamboa
                      1375 East 23rd Street
                      Los Angeles, CA 90011

                      Juan Gaviria
                      660 19th St Nw
                      Naples, FL 34120

                      Juan Gonzalez
                      7638 Peters St
                      Riverside, CA 92504

                      Juan Guillermo Becker
                      Primera Cerrada San Jose 30
                      Cdmx DF 1780
                      MEXICO

                      Juan Irizarry
                      389 Clifton Ave
                      Newark, NJ 07104

                      Juan Jose Cabrera Perez
                      Calle Arquitecto Vega March 4
                      Arucas GC 35400
                      SPAIN
                      Juan Lara
                      1177 Morgan Hill Drive
                      Pennsburg, PA 18073
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1363 of
                                        1639



                      Juan Manuel Calderon
                      Xola 535 Piso 14, Col Del Valle; Deleg B
                      Torre Axa
                      Mexico DF 3100
                      MEXICO

                      Juan Manuel Imeroni
                      2945 Alpine Terrace
                      Cincinnati, OH 45208

                      Juan Pablo Jimenez Bruno
                      753 NW 42nd Way
                      Deerfield Beach, FL 33442

                      Juan Pablo Zapata
                      Carrera 1 No. 3-30 Hacienda Casablanca
                      Torre 5 Apartamento 601
                      Madrid CUN 250037
                      COLOMBIA

                      Juan Pedro Carrasco Alvarez
                      183 Manwood Road
                      London ENG SE4 1SF
                      UNITED KINGDOM

                      Juan Perez
                      Calle Tauro #54 Los Angeles
                      Carolina, PR 00979

                      Juan Suarez
                      1805 Tahoe Circle
                      Tracy, CA 95376

                      Juan Vicenty
                      3 Cooper Road
                      Danbury, CT 06811

                      Juan Videla
                      Borgemarka 31A
                      Skien 3711
                      NORWAY

                      Juana Mason
                      500 Central Ave
                      Union City, NJ 07087

                      Juana Mason
                      500 Central Avenue #713
                      Union City, NJ 07087
                      Jubin Molai
                      Saumstrasse 81
                      Monchengladbach 41063
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1364 of
                                        1639



                      Jud Beasley
                      106 Scarlet Cove
                      Sherwood Park AB T8H0X9
                      CANADA

                      Judd Lorson
                      18 North 3rd Street
                      Waterville, PA 17776

                      Judd Maw
                      3 Landley Link
                      Meadow Springs WA 6210
                      AUSTRAILA

                      Judith Rebre
                      Fontanestrasse 9
                      Holzminden 37603
                      GERMANY

                      Juha-Matti Herpio
                      Granfeltintie 5
                      Helsinki 570
                      FINLAND

                      Julia Corey
                      359 Sconticut Neck Road
                      Fairhaven, MA 02719

                      Julia Hickman
                      124 Lake Valley Rd.
                      Morristown, NJ 07960

                      Julian Alfaro
                      20422 Bryant St
                      Wildomar, CA 92595

                      Julian Douglas
                      2195 Smith Ln
                      Concord, CA 94518

                      Julian Ford
                      14 Hardwick Rd
                      Cape Town WC 7700
                      SOUTH AFRICA

                      Julian Martinez
                      111 Willard St
                      Pompton Lakes, NJ 07442

                      Julian Pretto
                      34 Hurricane
                      Marina Del Rey, CA 90292
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1365 of
                                        1639



                      Julian Rebel
                      1398 Pearson Street
                      Ferndale, MI 48220

                      Julian Roder
                      Strasse Der Pariser Kommune 21
                      Berlin 10243
                      GERMANY

                      Julian Rodriguez
                      2132 Sherborne St
                      Camarillo, CA 93010

                      Julien Braschi
                      4 Route De Flins
                      Bazemont 78580
                      FRANCE

                      Julien Gedeon
                      Brusseler Strasse 92
                      Koln 50672
                      GERMANY

                      Juliette Stevens
                      Eerste Jan Van Der Heijdenstraat 113A
                      Amsterdam 1072TN
                      NETHERLANDS

                      Julio Castro-Perdomo
                      4626 Redspruce Dr Sw
                      Lilburn, GA 30047

                      Julio David
                      325 S Biscayne Blvd
                      Apt 3220
                      Miami, FL 33131

                      Julio Garcia
                      5707 Alagon St
                      Bakersfield, CA 93311

                      Julio Jornet Monteverde
                      Capricornio, 7 Bw-106
                      Urb. Jardines De Mutxamel
                      Mutxamel A 3110
                      SPAIN

                      Juma Rajab
                      17 Chelwood Road
                      Bristol ENG BS11 9RA
                      UNITED KINGDOM

                      Yi Jun Cai
                      10304 Hunter Run
                      Frisco, TX 75035
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1366 of
                                        1639



                      Jupiter Legaspi
                      4141 Los Feliz Blvd, #26
                      Los Angeles, CA 90027

                      Juraj S Pindor
                      Klenova 13
                      Bratislava 83101
                      SLOVAKIA

                      Jurgen Van Beek
                      Bekestere 2
                      Putten 3882 WB
                      NETHERLANDS

                      Jurgen Van Erp
                      Loosbroekseweg 74
                      Nistelrode 5388VP
                      NETHERLANDS

                      Justan Bawn
                      308 Seymour River Place
                      North Vancouver BC V7H 1S7
                      CANADA

                      Justin Barley
                      60 Elmcrest Rise
                      West Henrietta, NY 14586

                      Justin Barnow
                      11245 Zelzah Ave
                      Granada Hills, CA 91344

                      Justin Becker
                      205 E Pinehurst Dr
                      Sioux Falls, SD 57108

                      Justin Bragado
                      13 Conference Drive
                      Felton, CA 95018

                      Justin Carangi
                      24881 Alicia Pkwy
                      E323
                      Laguna Hills, CA 92653

                      Justin Clouser
                      700 Infantry Drive
                      Galloway, OH 43119

                      Justin Corley
                      616 Northeast 14th Street
                      Moore, OK 73160
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1367 of
                                        1639



                      Justin Estremadura
                      7677 Yukon Street
                      Vancouver BC V5X 2Y4
                      CANADA

                      Justin Fuertes
                      Unit 101/ 19-23 Short Street West
                      Homebush NSW 2140
                      AUSTRAILA

                      Justin Goodman
                      4511 Orchard Road
                      Bowie, TX 76230

                      Justin Goodnow
                      160 Main Road South
                      Hampden, ME 04444

                      Justin Grimes
                      101 Obarr Road
                      Leeds, AL 35094

                      Justin Hernandez
                      95 Spring Lake Hills Dr
                      Altamonte Springs, FL 32714

                      Justin Renken
                      268 W Saginaw St
                      #203
                      East Lansing, MI 48823

                      Justin Rizzo
                      701 Southwest 3rd Street
                      Boynton Beach, FL 33435

                      Justin Romain
                      218 W Mason St
                      Santa Barbara, CA 93101

                      Justin Soto
                      31 Searing Avenue
                      Apt. 1
                      East Newark, NJ 07029

                      Justin Thurman
                      1900 Yorktown Street, #628
                      Houston, TX 77056

                      Justin Tsang
                      16 Hans Drive
                      Markham ON L6C 1T3
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1368 of
                                        1639



                      Justin Tsuchida
                      5765F Burke Centre Parkway #155
                      Burke, VA 22015

                      Justin Vredevoogd
                      2645 E. Colonial Ct.
                      Chandler, AZ 85249

                      Justin Wegener
                      9949 N American Way
                      Syracuse In, IN 46567

                      Justin Youngblood
                      2505 Westover Road
                      Austin, TX 78703

                      Justina Millan
                      4532 Abbey Place
                      Los Angeles, CA 90019

                      Jweb Holes
                      8296 Lee Court
                      Mason, OH 45040

                      K McIntyre
                      108 Watersound Court
                      Montgomery, TX 77316

                      Kacey Vencill
                      8416 Tapies Way
                      Elk Grove, CA 95624

                      Kacy Lumpkin
                      1801 Harwood Drive
                      Oxford, MI 48371

                      Kai Ziekursch
                      Sandweg 25
                      Dusseldorf 40468
                      GERMANY

                      Kailiang Li
                      4616 McHardy Street
                      Vancouver BC V5R 4C3
                      CANADA

                      Kaitlyn Sam
                      2490 Reservoir Street
                      Unit H
                      Harrisonburg, VA 22801

                      Amir Kajtezovic
                      2117 E. Lawrence Rd.
                      Phoenix, AZ 85016
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1369 of
                                        1639



                      Kaleb Corbin
                      19242 Olde Waterford Road
                      Hagerstown, MD 21742

                      Kaleb Johnson
                      3233 North 750 West
                      Pleasant View, UT 84414

                      Kalene Beeman
                      241 Cook Road
                      Prospect, CT 06712

                      Kaloyan Marinov
                      2 Tetovo St
                      Apartment 7
                      Ruse 7020
                      BULGARIA

                      Kaloyan Stoyanov
                      High Street 26A
                      Enniskillen NIR BT747EH
                      UNITED KINGDOM

                      Aurash Kamalipour
                      2903 Northeast Dr
                      Unit A
                      Austin, TX 78723

                      Kamar Sakrak
                      Kantstrasse 52
                      Duisburg 47166
                      GERMANY

                      Kamil Krasowski
                      1314 South Arlington Heights Road
                      Arlington Heights, IL 60005

                      Kamil Mazur
                      Suszyckich 17/14
                      Boguchwala 36-040
                      POLAND

                      Kamran Hasanov
                      7 Huntley Street
                      44 Bloomsbury Terrace
                      London ENG WC1E 6AJ
                      UNITED KINGDOM

                      Kamran Mohammed
                      1 Germain Street
                      Suite 300
                      Saint John NB E2L4V1
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1370 of
                                        1639



                      Kamran Rahimian
                      93 Ridgepark Lane
                      Halifax NS B3N 3L1
                      CANADA

                      Kantaraja Chindera
                      Flat 6 Calla Court
                      Tranquil Lane
                      London ENG HA2 0GX
                      UNITED KINGDOM

                      Karel Vanstraelen
                      Gaarveldstraat, 108, 01
                      Hasselt 3500
                      BELGIUM

                      Karen Babasyan
                      Copernicusstraat 51
                      Den Haag 2561VR
                      NETHERLANDS

                      Karen Barnes
                      1706 10th Avenue
                      Oakland, CA 94606

                      Karen Cecilio
                      10801 Hess Dr
                      La Mesa, CA 91941

                      Karen Dalzell
                      134 Sullivan St
                      Apt 2
                      New York, NY 10012

                      Karim Alami
                      65 Woodwind Crescent
                      Stittsville ON K2S 1T8
                      CANADA

                      Karim Elmasri
                      1751 North Rosevere Street
                      Dearborn, MI 48128

                      Karin Buerkler
                      Buchholzstrasse 151
                      Zurich 8053
                      SWITZERLAND

                      Karl Bajenting
                      140 Maplewood Ave
                      Clifton, NJ 07013-1106
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1371 of
                                        1639



                      Karl Eduard Von Arb
                      Wuhrstrasse 1
                      Luchingen 9450
                      SWITZERLAND

                      Karl Meiringer
                      Treustrasse 92
                      Stiege 6 / Tur 14
                      Wien 1200
                      AUSTRIA

                      Karl Mok
                      21133 Mccowan Rd.
                      Mount Albert ON L0G1M0
                      CANADA

                      Karl Nembach
                      945 South Downing Street
                      Denver, CO 80209

                      Karl Villagracia
                      8110 Mill Falls Court
                      Glen Burnie, MD 21060

                      Karlheinz Pirker
                      Wilhelmstrasse 50
                      Apartment 29
                      Wien 1120
                      AUSTRIA

                      Amitabha Karmakar
                      405 Basin Street
                      Princeton, NJ 08540

                      Karolis Kaminskas
                      Kazliskiu 17-4
                      Vilnius 9204
                      LITHUANIA

                      Karsten Eichhorn
                      Hampstraat 4
                      Egestorf 21272
                      GERMANY

                      Karsten Ramm
                      Albert-Schweitzer-Strasse 9
                      Via Sadak
                      Cottbus 3050
                      GERMANY
                      Katelyn Piszczor
                      420 Cherry Ave
                      Houston, PA 15342
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1372 of
                                        1639



                      Katerina Valle
                      21 Balmuto Street
                      Toronto ON M4Y1W4
                      CANADA

                      Katharine Rocha
                      P.O. Box 1
                      Avondale, AZ 85323

                      Katharyn Delucia
                      2319 Neill Way
                      Hanford, CA 93230

                      Katherine Felzani
                      162 NE 25th Street, #511
                      Miami, FL 33137

                      Kathleen Armstrong
                      86 San Juan Dr
                      Ponte Vedra Beach, FL 32082

                      Kathy Tsai
                      5 Hawthorne Avenue
                      Holmdel, NJ 07733

                      Katia Cavazos
                      Durazno 26
                      Los Olivos Solidaridad
                      Playa Del Carmen Q ROO 77714
                      MEXICO

                      Kaush K
                      6305 Serenade Court
                      Lawrence, KS 66049

                      Kaveh Varjavand
                      4237 Empress Avenue
                      Encino, CA 91436

                      Kaviarasu Venkatachalam
                      550 Ortega Ave
                      Apt 421
                      Mountain View, CA 94040

                      Kaycee Mcclymont
                      84 Palmerston Crescent
                      London ENG SE18 2TS
                      UNITED KINGDOM

                      Kazi Rahman
                      5770 Spring Garden Road #2009
                      Halifax NS B3H4J8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1373 of
                                        1639



                      Kazimir Lesko
                      Balokoviceva 65
                      Zagreb 10020
                      CROATIA

                      Kazmi Syed Ali
                      Eschersheimer Landstr 219
                      Frankfurt Am Main 60320
                      GERMANY

                      Kb Chowdhury
                      29 Towhee Ln
                      Glastonbury, CT 06033

                      Kealon Rodriguez
                      37 Cedar Road
                      Westbury, NY 11590

                      Keaton Klemencic
                      7545 Katella Avenue, #25
                      Stanton, CA 90680

                      Kee Choi
                      4025 Evening Breeze Ct
                      Las Vegas, NV 89107

                      Keenan Miranda
                      35 Sugarcane Avenue
                      Brampton ON L6R 3C8
                      CANADA

                      Keenan Tran
                      12330 SW North Dakota
                      Tigard, OR 97223

                      Keerthi Rangan
                      Makepeace Road, Wanstead,
                      No1, Langham House
                      London ENG E11 1UX
                      UNITED KINGDOM

                      Andrew Kehl
                      1257 Delaware Avenue Southwest
                      Washington, DC 20024

                      Keith Blalock
                      4151 Meadow Court Drive
                      Bartlett, TN 38135

                      Keith Forney
                      2119 Newport Pl NW
                      Washington, DC 20037
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1374 of
                                        1639



                      Keith Hernandez
                      157 E 118th St, #4
                      New York, NY 10035

                      Keith Milligan
                      3745C Us Highway 80 W
                      Phenix City, AL 36870

                      Keith Prince
                      208 Woodcrest Circle
                      New Iberia, LA 70560

                      Keith Rothschild
                      2366 Leisure Court
                      Dunwoody, GA 30338

                      Keith Switzer
                      20626 Chatfield Bend Way
                      Katy, TX 77449

                      Keith Woolley
                      2 Moccasin Way
                      Stafford ENG ST163GS
                      UNITED KINGDOM

                      Kelley Shinn
                      6718 Hyacinth Lane
                      Dallas, TX 75252

                      Kelli Greene
                      2506 Privet Way
                      Basking Ridge, NJ 07920

                      Kellie Taylor
                      100 Van Ness Ave
                      Unit 1304
                      San Francisco, CA 94102

                      Kelly Armitage
                      120 Riverwood Close Southeast
                      Calgary AB T2C 3Z5
                      CANADA

                      Kelly Fineman
                      283 S Autumn Ridge Dr
                      Mt Washington, KY 40047

                      Kelly Melrose
                      12314 Pissaro Drive
                      North Potomac, MD 20878

                      Kelly White
                      170 N Imperial Dr
                      Denison, TX 75020
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1375 of
                                        1639



                      Kelvin Baez
                      402 E 162 St
                      2A
                      Bronx, NY 10451

                      Kelvin Chan
                      180 Trothen Circle
                      Markham ON L3P 4H7
                      CANADA

                      Kemal Cakmak
                      27 Masi Court
                      Vaughan ON L4H 1V5
                      CANADA

                      Ken Cornell
                      22508 NE 69th Ave
                      Melrose, FL 32666

                      Ken Hernandez
                      12120 Norwalk Blvd
                      Norwalk, CA 90650

                      Ken Jones
                      5701 Poplar St
                      Port Alberni BC V9Y8V3
                      CANADA

                      Ken Nguyen
                      4201 McKenna Close
                      Chesapeake, VA 23321

                      Ken Schroeder
                      5505 Erinvale Ct
                      Holly Springs, NC 27540

                      Ken Scott
                      867 SE 14th Terrace
                      Deerfield Beach, FL 33441

                      Ken Wang
                      77 Duttonwood Ln
                      Milpitas, CA 95035

                      Kenji Fujii
                      9307 Northeast 140th Street
                      Kirkland, WA 98034

                      Andrew Kennedy
                      305 High St
                      Hampton, NH 03842-4000

                      Kenneth Caba
                      729 Sunny Meadows Dr NE
                      Rio Rancho, NM 87144
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1376 of
                                        1639



                      Kenneth Chong
                      124 Wheat Boom Drive
                      Oakville ON L6H 0M9
                      CANADA

                      Kenneth Dillon
                      5122 Morningside Dr
                      Apt 824
                      Houston, TX 77005

                      Kenneth Fobian
                      5601 Collins Avenue
                      Apt. 806
                      Miami Beach, FL 33140

                      Kenneth Harlow
                      636 Nautilus Dr.
                      Murrells Inlet, SC 29576

                      Kenneth Johnson
                      5613 W Cape Vista Way
                      West Valley City, UT 84128

                      Kenneth Leung
                      25 Montgomery St Apt 4A
                      New York, NY 10002

                      Kenneth Marshall
                      P.O. Box 766
                      Huntington, TX 75949

                      Kenneth Michel
                      19 Morning Mist Court
                      Woodstock, MD 21163

                      Kenneth Schmidt
                      14946 Shoemaker Avenue
                      Unit E
                      Santa Fe Springs, CA 90670

                      Kenneth Thorpe
                      11027 Fall Creek Road
                      Indianapolis, IN 46256

                      Kenny Cheung
                      130 Water Street
                      Apt 10C
                      Ny, NY 10005

                      Kenny Nguyen
                      19024 Kimberlite Drive
                      Pflugerville, TX 78660
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1377 of
                                        1639



                      Kenny Nguyen
                      1095 Alexis Lane
                      Redlands, CA 92374

                      Kenny Pastor
                      29 Templemont Drive NE
                      Calgary AB T1Y 4Z5
                      CANADA

                      Kenny Reid
                      46 Greenfields Drive
                      Moriac VIC 3240
                      AUSTRAILA

                      Keoni Tamashiro
                      1511 Nuuanu Avenue #81
                      Honolulu, HI 96817

                      Keonne Joseph
                      6701 JFK Blvd East
                      Apt C4
                      West New York, NJ 07093

                      Kerem Yilmaz
                      Paul-Zweigart-Strasse 3
                      Sindelfingen 71063
                      GERMANY

                      Kerry Emerson
                      64 Parkdale Drive
                      Whanganui MWT 4500
                      NEW ZEALAND

                      Kerry Masters
                      19 Danefield Road
                      Northampton ENG NN3 2LT
                      UNITED KINGDOM

                      Keston Abe
                      623 1st Place
                      Hermosa Beach, CA 90254

                      Keval Shah
                      2301 Southwest Pepperwood Road
                      Topeka, KS 66614

                      Kevin Acevedo
                      3363 SW 26th St
                      Miami, FL 33133
                      Kevin Barboza
                      921 League Ave
                      La Puente, CA 91744
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1378 of
                                        1639



                      Kevin Borsay
                      1333 Harvard Road
                      Grosse Pointe Park, MI 48230

                      Kevin Brown
                      9 Mountain Avenue
                      Mahwah, NJ 07430

                      Kevin Brown
                      616 W. Ave F.
                      Midlothian, TX 76065

                      Kevin Buchanan
                      13347 Austin Road
                      Mt. Vernon, WA 98273

                      Kevin Cai
                      4221 Irving Street
                      San Francisco, CA 94122

                      Kevin Corkish
                      5292 North Northwest Highway
                      Chicago, IL 60630

                      Kevin Davis
                      Rr1 Box 6130
                      Kingshill, VI 00850

                      Kevin Dempsey
                      811 Helmcken Street
                      Apt 701, Buzzer 202
                      Vancouver BC V6Z 1B1
                      CANADA

                      Kevin Ebeling
                      S Ngerweg
                      Bretzfeld 74626
                      GERMANY

                      Kevin Griffiths
                      90 Glenbeigh Road
                      Old Cabra
                      Dublin D D07 X4V2
                      IRELAND

                      Kevin Gurr
                      185 W 200 S
                      Pleasant Grove, UT 84062

                      Kevin He
                      341 Rolkin Road
                      Charlottesville, VA 22911
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1379 of
                                        1639



                      Kevin Hobbs
                      1072 High Point Drive NE
                      Atlanta, GA 30306

                      Kevin Huang
                      3265 Tully Rd
                      San Jose, CA 95148

                      Kevin Jones
                      235 S Grant St
                      Denver, CO 80209

                      Kevin Julien
                      12415 Asbury Drive
                      Fort Washington, MD 20744

                      Kevin Kawasaki
                      755 Holbrook Place
                      Sunnyvale, CA 94087

                      Kevin Konings
                      Hausburgstrasse 30
                      C/O Beermann
                      Berlin 10249
                      GERMANY

                      Kevin Krajewski
                      1366 Milton Way
                      San Jose, CA 95125

                      Kevin Le
                      39 E 21st St
                      #2A
                      Brooklyn, NY 11226

                      Kevin Linden
                      Rue De Beggen 309
                      Luxembourg 1221
                      LUXEMBOURG

                      Kevin Liu
                      6303 Sevilla Circle
                      San Antonio, TX 78257

                      Kevin Luc
                      2112 Thomas Ave
                      San Francisco, CA 94124

                      Kevin Lunion
                      4289 SW Winslow St
                      Port Saint Lucie, FL 34953
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1380 of
                                        1639



                      Kevin Mac Nally
                      3A Church Gardens, Rathmines
                      Dublin D D06E062
                      IRELAND

                      Kevin Marsh
                      1546 Dorrance Street
                      Philadelphia, PA 19146

                      Kevin Matthews
                      104 Alread Court
                      Fort Worth, TX 76102

                      Kevin Norris
                      1944 Loring Pl South
                      Apt 1A
                      Bronx, NY 10453

                      Kevin Proctor
                      24 Whitney Ave. Apt 3
                      Portland, ME 04102

                      Kevin Robinson
                      3775 NW Columbia Ave
                      Portland, OR 97229

                      Kevin Smith
                      760 Johnson Street, #1403
                      Victoria BC V8W 0A4
                      CANADA

                      Kevin Theiler
                      10541 Monticello Ln N
                      Maple Grove, MN 55369

                      Kevin Tiamsim
                      2805 Cedarwood Drive, #115
                      Ottawa ON K1V 0G7
                      CANADA

                      Kevin Tinajero
                      13716 Destino Pl
                      Cerritos, CA 90703

                      Kevin Turcotte
                      12312 5E Avenue Rdp
                      Montr Al QC H1E 1R2
                      CANADA

                      Kevin Vu
                      3418 Valley Forge Way
                      San Jose, CA 95117
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1381 of
                                        1639



                      Kevin Wong
                      36 Lewis Street
                      Bonnyrigg Heights NSW 2177
                      AUSTRAILA

                      Kevin Wyatt
                      855 Columbia Court
                      Avon, IN 46123

                      Kevin Yeager
                      4115 Broadmoor Dr
                      Mont Belvieu, TX 77523

                      Kevin Zanotta
                      Feldpark 1
                      Zug 6300
                      SWITZERLAND

                      Kevin Zhang
                      619 57 St.
                      Brooklyn, NY 11220

                      Keystone Marcy
                      29604 Terra Vis
                      Fair Oaks Ranch, TX 78015

                      Khadija Rhaya
                      Romerstrasse 26
                      Meerbusch 40667
                      GERMANY

                      Khaild Ahmed
                      697 Amaretto Avenue
                      Pickering ON L1X 1L7
                      CANADA

                      Khaja Khan
                      123 Woodville Road
                      Chester Hill NSW 2162
                      AUSTRAILA

                      Khaled Alktefan
                      25748 Graceland Cir
                      Dearborn, MI 48125

                      Khaled Alktefan
                      25748 Graceland Cir
                      Dearborn Heights, MI 48125

                      Khaleel Hammoudeh
                      85 North Park Road, #1007
                      Vaughan ON L4J 0H9
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1382 of
                                        1639



                      Khalid Hamoudi
                      719 Cope Rd
                      Red Springs, NC 28377-7464

                      Khalid Khalil
                      3015 Rubino Circle
                      San Jose, CA 95125

                      Khalid Motte
                      2629 N Gentry
                      Wichita, KS 67220

                      Khalid Yaqoob
                      1110-53 Thorncliffe Park Dr
                      Toronto ON M4H1L1
                      CANADA

                      Khalifa Alahmed
                      Vpost Uk, Unit 9, Britannia Industrial E
                      Suite Qc-2008-3794, Poyle Road, State Be
                      Colnbrook ENG SL3 0BH
                      UNITED KINGDOM

                      Khanum Arshad
                      157 Burgess Road
                      Southampton ENG SO16 7AA
                      UNITED KINGDOM

                      Khawaja Qais Siddiqi
                      3105 Cottage Clay Road
                      Mississauga ON L5B 4J4
                      CANADA

                      Khian Bartlett
                      2820 Sultana Ave.
                      Ontario, CA 91761

                      Khoa Chau
                      12219 West Morgan Drive
                      Houston, TX 77065

                      Khoa Truong
                      8439 Southeast 88th Avenue
                      Portland, OR 97266

                      Ki Chang
                      1106 South Ardmore Avenue
                      Apt 6
                      Los Angeles, CA 90006
                      Kibria Ahmed
                      15 Booker Close
                      London ENG E14 7DP
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1383 of
                                        1639



                      Kieng Ngoy
                      2410 New York Dr
                      Altadena, CA 91001-3616

                      Kieran Breen
                      7 Belvedere Lawn
                      Douglas
                      Cork CO T12 V6RX
                      IRELAND

                      Kieran Hearne
                      12 Goscomb Drive
                      Penarth WLS CF642LF
                      UNITED KINGDOM

                      Abdul Kikhia
                      254 Chalet Ave
                      San Jose, CA 95127

                      Kim Le
                      1252 Brighton Street
                      Philadelphia, PA 19111

                      Kim Perks
                      15 Leake Street
                      Eaton WA 6232
                      AUSTRAILA

                      Kim Roser
                      2038 Baypointe Drive
                      Newport Beach, CA 92660

                      Kim Van Nie
                      Bommelsedijk 7
                      Den Bommel 3258LA
                      NETHERLANDS

                      John Kim
                      5277 North Elston Ave
                      Chicago, IL 60630

                      Kimberly Peters
                      12233 NW 68th Court
                      Parkland, FL 33076

                      Kimberly Schoene
                      1750 SW 88th
                      Portland, OR 97205

                      Kimi Henley
                      12748 Wood Duck Ln
                      Springdale, AR 72762
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1384 of
                                        1639



                      Kimora Richards
                      154 Saint Lucie Drive
                      Toronto ON M9M 1T5
                      CANADA

                      Kingsley Amukamara
                      4844 West Rose Lane
                      Glendale, AZ 85301

                      Kiran Chepyala
                      2 Dreamcrest Court
                      Whitby ON L1R 3P7
                      CANADA

                      Kiran Dhakal
                      3121 W 65th Ave
                      Denver, CO 80221

                      Kiran Shah
                      6727 Southwest Wentley Lane
                      Topeka, KS 66614

                      Kirby George
                      982 Normandy Court
                      Sherwood Park AB T8A 5X3
                      CANADA

                      Kiril Marinov
                      1 Gloucester Mews West
                      London ENG W26DY
                      UNITED KINGDOM

                      Kirk Amundsen
                      14121 Willow Tank Drive
                      Austin, TX 78717

                      Kirk Russell
                      917 S Westnedge Ave
                      Kalamazoo, MI 49008

                      Kirk Toma
                      1750 Wili Pa Loop
                      Wailuku, HI 96793

                      Kirk Warner
                      203 South See-Gwun Avenue
                      Mount Prospect, IL 60056

                      Kishen Patel
                      8019 Wood Hollow Drive
                      Baytown, TX 77521

                      Kishore Karunakaran
                      7 Winthrop St
                      Winchester, MA 01890
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1385 of
                                        1639



                      Kjetil Hovland
                      Hamrehaugen 14
                      Laksevaag 5161
                      NORWAY

                      Klade Rodriguez
                      131 County Road 4047
                      Satin, TX 76685

                      Klaus Korsch
                      Kuhstrasse 15
                      Weeze 47652
                      GERMANY

                      Kmel I Mikhaiel
                      31 Heaton Moor Rd
                      Stockport ENG SK4 4PB
                      UNITED KINGDOM

                      Anna Koch
                      744S 231st Street
                      Des Moines, WA 98198

                      Kodi Matthews
                      15 Savage St
                      Edmonton QLD 4869
                      AUSTRAILA

                      Kole Foss
                      1266 Cleveland Ave S
                      Saint Paul, MN 55116

                      Konstantin Karadafov
                      Venjamin Macukovski 21, 1/2
                      Skopje 1000
                      NORTH MACEDONIA

                      Konstantinos Kyriazopoulos
                      Konstantinou Palaiologou
                      Athens - Glyfada 16561
                      GREECE

                      Koray Ozaydemir
                      Dr Remzi Kazancigil Cd Atakoy 3-4-11. Ki
                      O-148 Blok
                      Istanbul 34158
                      TURKEY

                      Korekontrol Germany Gmbh
                      Linienstr. 127
                      Berlin 10115
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1386 of
                                        1639



                      Dmytro Kosenko
                      2792 Fyler Pl
                      Los Angeles, CA 90065-5106

                      Dmytro Kosenko
                      2792 Fyler Pl
                      Los Angeles, CA 90065

                      Kostadin Kostadinov
                      105 Pilton Avenue
                      Edinburgh SCT EH5 2HR
                      UNITED KINGDOM

                      Krenar Komoni
                      56 Roland Street
                      Boston, MA 02129

                      Krikor Derbabian
                      1138 N. Brand Blvd
                      Suite A
                      Glendale, CA 91202

                      Kris Hayward
                      43 Cranbrook Green Southeast
                      Calgary AB T3M 2X1
                      CANADA

                      Kris Knox
                      7330 Woburn Cir Apt D
                      Anchorage, AK 99502

                      Kris Pauly
                      3350 W Rd 2 S
                      Prescott, AZ 86305

                      Krisli Dimo
                      4432 N Ottawa Ave
                      Norridge, IL 60706

                      Kristan Megeath
                      3867 W Tuscaloosa Way
                      West Jordan, UT 84084

                      Kristen Scollon
                      207 Willowoak Ct
                      Warwick, PA 18974

                      Kristian Arreguin
                      4828 Calle Brisa
                      Camarillo, CA 93012

                      Kristian Martinovic
                      6331 W Valley View Road
                      Rogers, AR 72758
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1387 of
                                        1639



                      Kristian Thornblad
                      Gullringsvagen 20
                      Savedalen 43362
                      SWEDEN

                      Kristin Babakitis
                      304 E Clearhaven Dr
                      Azusa, CA 91702

                      Kristin Theyers
                      6 Halse Road
                      Brackley ENG NN13 6EH
                      UNITED KINGDOM

                      Kristine Mccutcheon
                      10741
                      Cabot Trail Hwy
                      Belle Cote NS B0E1C0
                      CANADA

                      Kristofer Soderlund
                      866 E 6th Street
                      Unit 3
                      Boston, MA 02127

                      Kristopher Nyquist
                      1410 N Humboldt St
                      Apt 2
                      Denver, CO 80218-2326

                      Kristopher Stuart
                      1056 Shadywood Lane
                      Raleigh, NC 27603

                      Kristyna Orthova
                      1 Apriliou 54
                      Sunny House, Flat 102
                      Larnaka 6035
                      CYPRUS

                      Kumphawa Boonsirichai
                      20243 Blythe St.
                      Winnetka, CA 91306

                      Kunal Pabla
                      3877 Polton Place Way
                      San Jose, CA 95121

                      Kurt Brandly
                      400 SW 1st Ave, #802
                      Fort Lauderdale, FL 33301

                      Kurt Fowler
                      15138 Carter Loop SE
                      Yelm, WA 98597-8574
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1388 of
                                        1639



                      Kurt Kiesow
                      1115 Fairview Avenue
                      San Jose, CA 95125

                      Kurt Turley
                      1525 Wilder Avenue
                      Apt 407
                      Honolulu, HI 96822

                      Kwok Fai Kwan
                      509 Pinawa Circle
                      Ottawa ON K2J 5Y2
                      CANADA

                      Ky Luong
                      4697 Berrywood Road
                      Virginia Beach, VA 23464

                      Kyle Acheson
                      7871 Alexandra Dr
                      Hudson, OH 44236

                      Kyle Bobash
                      11 Harwin Drive
                      East Brunswick, NJ 08816

                      Kyle Edwards
                      944 Aurora Ave
                      Girard, PA 16417

                      Kyle Griffin
                      2756 Liberty Rd
                      Norton Shores, MI 49441

                      Kyle Higgenbotham
                      3738 South State Route 157
                      Apt B
                      Glen Carbon, IL 62034

                      Kyle Hogge
                      1749 Midway Rd
                      Stony Point, NC 28678

                      Kyle Hulbert
                      308 Lake Harris Drive
                      Lakeland, FL 33813

                      Kyle Humphrey
                      5865 East Garrett Avenue
                      Fresno, CA 93727

                      Kyle Kletz
                      11732 Marigold Circle
                      Fishers, IN 46038
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1389 of
                                        1639



                      Kyle Lindstrom
                      100 Cedarwood Drive
                      Galena, MD 21635

                      Kyle McBean
                      173 Canfield Ave
                      Bridgeport, CT 06605

                      Kyle Mientkiewicz
                      220 Arlington Street
                      Pittsburgh, PA 15209

                      Kyle Miller
                      2524 Doc Reeves Street
                      Austin, TX 78723

                      Kyle Nagamine
                      45-206 Halemuku Place
                      Kaneohe, HI 96744

                      Kyle Powell
                      Flat 26, Fitzgerald Court, 2B Rodney Str
                      London ENG N1 9FS
                      UNITED KINGDOM

                      Kyle Pratt
                      15649 NW 14th Lane
                      Newberry, FL 32669

                      Kyle Strohecker
                      5920 Hughes Rd.
                      Galena, OH 43021

                      Kyongjae Kim
                      34112 11th Ave Sw
                      Federal Way, WA 98023

                      Kyriakos Giannoulakis
                      Mirmidonon 9
                      Heraklion 713 04
                      GREECE

                      L Tadlock
                      30911 Roanoak Woods Drive
                      Tomball, TX 77375

                      Daniel La Salle
                      113 West G Street, #103
                      San Diego, CA 92101
                      Lacretia Compton
                      1960 W Keating Ave, #528
                      Mesa, AZ 85202
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1390 of
                                        1639



                      Ladarius Ray
                      4710 Lotus Street
                      Houston, TX 77045

                      Ladna Farah
                      14915 SE 177th P, #22D
                      Renton, WA 98058

                      Lahoussaine Habbadi
                      Carrer Nou D' Abril Numero 23 Puerta 2-1
                      Barcelona B 8170
                      SPAIN

                      Lai Chun Caleb Wong
                      10 Portland Heights, Dean Street
                      Bristol ENG BS2 8RD
                      UNITED KINGDOM

                      Laila Morneault Gomes
                      204 Avenue Seigniory, #115
                      Pointe-Claire QC H9R 1K2
                      CANADA

                      Laine Houberg
                      Advanced Interiors Inc
                      507 S 1200 E
                      Salt Lake City, UT 84102

                      Lakhvir Dosanjh
                      4375 North Golden State Blvd
                      Fresno, CA 93722

                      Lakshana Subbiyan
                      6014 Walnut Loop Road
                      Apt 5108
                      Charlotte, NC 28277

                      Lakshmi Kamala
                      3125 Fifth Line West
                      Unit 43
                      Mississauga ON L5L3S8
                      CANADA

                      Lakshmi Kanth Sunkara
                      12499 Folsom Blvd
                      Apt 200
                      Rancho Cordova, CA 95742

                      Lamar White
                      5528 North 137th Avenue
                      Litchfield Park, AZ 85340
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1391 of
                                        1639



                      Lana Willow
                      4742 Bosun Way
                      Pender Island BC V0N 2M2
                      CANADA

                      Lance Brooks
                      4242 S Dover
                      Wichita, KS 67216

                      Lance Jones
                      400 S Cowal Dr
                      Spicewood, TX 78669

                      Lance Miles
                      22926 Banff Brook Way
                      Tomball, TX 77375

                      Lance Munday
                      1 Technology Court
                      Pullenvale QLD 4069
                      AUSTRAILA

                      Lance Tsukimura
                      3837 NW 24th Ave
                      Camas, WA 98607

                      Lance Wayne
                      1820 SW 3rd Ave
                      Miami, FL 33129

                      Landen Booth
                      5872 Old Jacksonville Hwy #424
                      Tyler, TX 75703

                      Landon Gervais
                      6770 McIver Place
                      Kamloops BC V2C 5Z1
                      CANADA

                      Landon Poague
                      505 West 100 South, #309
                      Salt Lake City, UT 84101

                      Landon Spicer
                      7521 Edinger Ave, #1406
                      Huntington Beach, CA 92647

                      Lane Hashida
                      3161 Ala Ilima St
                      Apt 206
                      Honolulu, HI 96818-3009
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1392 of
                                        1639



                      Larincz Aron
                      Frakno Utca 12/A
                      Budapest 1115
                      HUNGARY

                      Larry Armstrong
                      1002 South Christine Avenue
                      Wichita, KS 67218

                      Larry Graiber
                      16925 South Callie Drive
                      Plainfield, IL 60586

                      Larry Maxey
                      P.O. Box 174
                      Hurley, NM 88043

                      Larry Sherry
                      3417 Blue Ridge Blvd
                      Independence, MO 64052

                      Larry Tolbert
                      2446 Buffalo Gap Rd Apt 285
                      Abilene, TX 79603

                      Lars Eiben Ug
                      Dorfstr. 1
                      Tos Marketing & Event Ug
                      Kirchbarkau 24245
                      GERMANY

                      Lars Plantzen
                      3 Southern Road
                      Basingstoke ENG RG21 3DX
                      UNITED KINGDOM

                      Laszlo Horvath
                      Hamzsabegi Ut 8
                      Budapest 1117
                      HUNGARY

                      Latchezar Guishin
                      9243 Susy Lane
                      Schiller Park, IL 60176

                      Latesha Watson
                      438 West Clapier Street
                      Philadelphia, PA 19144

                      Latifa Arrais
                      Ketzberger Strasse 80
                      Solingen 42653
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1393 of
                                        1639



                      Latrinia Elliott
                      3101 N Hampton Dr 1214
                      Alexandria, VA 22302

                      Laura Colban
                      747 Armada Terrace
                      San Diego, CA 92106

                      Laura Foster
                      104 Sycamore Avenue
                      Egg Harbor Twp, NJ 08234

                      Laura Gajewski
                      2826 Sand Run Parkway
                      Fairlawn, OH 44333

                      Laura Irene Diaz Abundis
                      Loma Huentitlan 9154 Poniente
                      Tonala JAL 45402
                      MEXICO

                      Laura Jacobs
                      Vaartsestraat 180
                      Utrecht 3511 TG
                      NETHERLANDS

                      Laura Jehlik
                      9424 Sprague Street
                      Omaha, NE 68134

                      Lauren Alexandru Valnoiu
                      Ion Campineanu 33
                      Bl 3 Sc B Et 6 Ap 58 Sect 1 +40727191407
                      Bucuresti B 10035
                      ROMANIA

                      Lauren Baugh
                      4115 Southeast 92nd Avenue
                      Portland, OR 97266

                      Lauren Jones
                      372 Saint Claire Dr
                      Edmond, OK 73025

                      Lawrence Aqui
                      10 Lisa Street #903
                      Brampton ON L6T 4N4
                      CANADA

                      Lawrence Boan
                      1366 40th Avenue
                      Vero Beach, FL 32960
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1394 of
                                        1639



                      Lawrence Brady
                      21062 Crestview Dr.
                      Barrington, IL 60010

                      Lawrence Kennedy
                      4 Birdsnest Court
                      Mill Valley, CA 94941

                      Angel Lazo
                      3090 24th Street
                      San Francisco, CA 94110

                      Le Tran
                      140 Chestnut Street
                      Vacaville, CA 95688

                      Leander Burgers
                      De Moesmate 183
                      Zutphen 7206 AN
                      NETHERLANDS

                      Leandro Emanuel Lopez
                      5459 Northwest 72nd Avenue
                      Arg1158458
                      Miami, FL 33166

                      Leandro Garcia
                      11010 Taft St
                      Pembroke Pines, FL 33026

                      Leann McGovern
                      2514 Truman Ave
                      Oakland, CA 94605

                      Lee Horgan
                      3-912 Dugas Street
                      Winnipeg MB R2J 0Z8
                      CANADA

                      Lee Kleiner
                      5700 Yonge Street
                      Toronto ON M2M 4K2
                      CANADA

                      Lee Pauling
                      219 San Jacinto Ct.
                      Keller, TX 76248-2517

                      Anderson Lee
                      1403 Mason Street
                      San Francisco, CA 94133
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1395 of
                                        1639



                      Jin S Lee
                      370 Northwood Way
                      1B
                      Palisades Park, NJ 07650

                      Sam Lee
                      5540 Sylmar Avenue
                      Unit 6
                      Los Angeles, CA 91401

                      Leeor Shapira
                      209 East Grant Ave
                      Roselle Park, NJ 07204

                      Lefteris Sigalas
                      L. Vouliagmenis 506
                      Alimos 17456
                      GREECE

                      Lehong Hu
                      2516 Somerset Drive
                      Belmont, CA 94002

                      Lei Gu
                      3275 Coral Lane
                      Chicago, IL 60026

                      Leif Graves
                      70518 F Street
                      Covington, LA 70433

                      Lekey Mullen
                      2201 Muriel Dr
                      Apt 48
                      Barstow, CA 92311

                      Leliet Duschkin-Martin
                      Bahia Chemuyil
                      Villas Villamar#8
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Lenin Morillo
                      124 Gale Dr
                      Wilmington, DE 19808

                      Leon Mirochnik
                      1541 Ocean Avenue, #200
                      Santa Monica, CA 90401
                      Leonard Korch
                      28 Joyce St
                      Basement
                      Webster, MA 01570
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1396 of
                                        1639



                      Leonard Owen
                      19120 59th St E
                      Lake Tapps, WA 98391

                      Leonardo Astete
                      7831 NW 104th Ave
                      Apt 22
                      Doral, FL 33178

                      Leonardo Dalessandro
                      Via Cesare Battisti 26
                      San Donato Milanese MI 20097
                      ITALY

                      Leonardo Oliveira
                      7 Defort Ct
                      Parlin, NJ 08859

                      Leonid Shtivelman
                      1325 Utica Avenue
                      Brooklyn, NY 11203

                      Anthony Lerette
                      2101 North Ursula Street
                      Aurora, CO 80045

                      Leroy Marshall
                      16 Castleglen Place Northeast
                      Calgary AB T3J 1Y5
                      CANADA

                      Leslie Kaholoaa
                      85 Pilipaa Street
                      Hilo, HI 96720

                      Lestryet Samuels
                      6625 Horsemans Circle
                      Mobile, AL 36695

                      Leta Phetbounthavong
                      40049 North High Noon Way
                      Anthem, AZ 85086

                      Lewis Farrell
                      4835 S. Memory Lane
                      Apartment 6
                      Holladay, UT 84117

                      Lewis Sayre
                      P.O. Box 3110
                      Salem, OR 97302
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1397 of
                                        1639



                      Liam Mohr
                      103 Paulin Bay
                      Fort McMurray AB T9K 0A9
                      CANADA

                      Lian Pangelinan
                      34428 Yucaipa Blvd Ste E251
                      Yucaipa, CA 92399

                      Ligaya Vosberg
                      6701 Del Rey Avenue
                      Apt 224 (Bldg 4)
                      Las Vegas, NV 89146

                      Liju John
                      9 Regent Street,
                      Apt 301
                      Jersey City, NJ 07302

                      Lillian Shepherd
                      997 S 900 E
                      Salem, UT 84653

                      Lin Nay
                      1390 Southgate Avenue
                      Daly City, CA 94015

                      Linas Venckus
                      1575 East Mountain Street
                      Pasadena, CA 91104

                      Linda Leblanc
                      45 Church Street
                      Hamilton ON L8E 2X7
                      CANADA

                      Lino Munoz
                      2037 W Bullard Ave #203
                      Fresno, CA 93722

                      Lion Rojo
                      18 Waterview Place
                      Keansburg, NJ 07734

                      Lisa Maiella
                      620 Hammond Street
                      Brookline, MA 02467

                      Lisa McDermed
                      723 W 12th Street
                      Alliance, NE 69301
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1398 of
                                        1639



                      Lisa Nowlan
                      175 Redpath Drive
                      Ottawa ON K2G 6K5
                      CANADA

                      Lisa Schwab
                      725 S 14th Ave
                      Brighton, CO 80601-3374

                      Lisa Schwab
                      725 S. 14th Ave
                      Brighton, CO 80601

                      Lissette Rosell
                      55 West Street
                      Chicopee, MA 01013

                      Liviu Bogdan Mihai
                      Strada Lectorului Nr.3
                      Bloc A, Etaj 3, Ap.7
                      Bucuresti B 12688
                      ROMANIA

                      Ljiljana Stepic
                      639 McPhillips Road
                      Lockport MB R1A3H4
                      CANADA

                      Loc Le
                      445 Veterans Memorial Blvd
                      Suite 3
                      Kenner, LA 70062

                      Logan Rittenhouse
                      3486 Laurel Lane
                      Center Valley, PA 18034

                      Lon Teague
                      5757 Campanella Pl
                      Rancho Cucamonga, CA 91739

                      Long La
                      10 Ibis Grove
                      Cairnlea VIC 3023
                      AUSTRAILA

                      Long Truong
                      6909 Westside Place
                      Sachse, TX 75048
                      Lonna Bartley
                      8501 North Macarthur Blvd, #631444
                      Irving, TX 75063
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1399 of
                                        1639



                      Lonnie Gorby
                      4727 Landing Water Path
                      Buford, GA 30519

                      Lonnie Woodard
                      4216 Hamilton Mill Rd
                      Buford, GA 30519

                      Roberto Lopes Jr.
                      15 Boulden Circle
                      Ff519-199 Fishisfast
                      New Castle, DE 19720-3400

                      Alex Lopez
                      16857 Park Rock Dr
                      La Puente, CA 91744

                      Avery Lopez
                      259 West 18th Street
                      Holland, MI 49423

                      Lorance Shabo
                      6124 Thorndike Court
                      Las Vegas, NV 89130

                      Lorenz Engels
                      Luxemburger Strasse 376
                      Cologne 50937
                      GERMANY

                      Lorenzo Contis
                      7550 Johnson Street
                      Hollywood, FL 33024

                      Lorenzo Frisoni
                      Via Cesare Corte 25C/6
                      Genova GE 16122
                      ITALY

                      Lorenzo Penati
                      73 Elm Park Mansions
                      London ENG SW100AP
                      UNITED KINGDOM

                      Lorenzo Tuccari
                      67 St. Paul'S Close
                      London ENG W5 3JX
                      UNITED KINGDOM

                      Clifton Lott Jr
                      2525 3rd Avenue South
                      Apt #110
                      Minneapolis, MN 55404
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1400 of
                                        1639



                      Louai Youssef
                      1895 Monrovia Avenue
                      Costa Mesa, CA 92627

                      Louie Hill
                      28 Hare Street
                      Ilam
                      Christchurch CAN 8041
                      NEW ZEALAND

                      Louis Baltimore
                      1475 S Fillmore St
                      Denver, CO 80210

                      Louis Castet Bellocq
                      74 Avenue Du Marechal Douglas Haig
                      Versailles 78000
                      FRANCE

                      Louis Desjardins
                      2978 Charella Drive
                      Prince George BC V2N 5K9
                      CANADA

                      Louis Huntley
                      318 Ponte Vedra Blvd
                      Ponte Vedra, FL 32082-2057

                      Louis Jasperson
                      488 South 500 West
                      Provo, UT 84601

                      Louis Schlain
                      2110 Marina Shores Drive, #414
                      Virginia Beach, VA 23451

                      Louis Silverstein
                      23858 Harbor Vista Dr
                      Malibu, CA 90265-4819

                      Louis Spencer
                      2434 Warring St
                      Berkeley, CA 94704

                      Louis Thomas
                      6008 Hasbrook Ave
                      Philadelphia, PA 19111

                      Louis Wilks-Reeves
                      4 Glebelands Close
                      Shoreham-By-Sea ENG BN436GW
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1401 of
                                        1639



                      Lovel Miguel
                      6102 Hubbell Dr
                      Pearland, TX 77584

                      Bruce Lu
                      55 Bayard St., #7
                      New York, NY 10013

                      Luan Nguyen
                      1132 Garber Place
                      San Jose, CA 95127

                      Luba Garet Selezneva-Konova
                      Pereulok Dostoevskogo 1
                      Odessa 65016
                      UKRAINE

                      Luba Ltd
                      1108 Marco Island
                      Huntingdon Street
                      Nottingham ENG NG1 1AW
                      UNITED KINGDOM

                      Luc Van Zeebroeck
                      Kasteelstraat 78
                      Buggenhout 9255
                      BELGIUM

                      Luca Pagani
                      Kehlhofstrasse 11
                      Wiesendangen 8542
                      SWITZERLAND

                      Lucas Cimiano
                      740 Sherman St.
                      Apt 101
                      Denver, CO 80203

                      Lucas Polski
                      180 Neptune Ave, Apt 2
                      Apt 2
                      Jersey City, NJ 07305

                      Lucas Worthy
                      620 Skyline Drive South
                      Lewisburg, TN 37091

                      Andrew Lucas
                      2143 Bethel Blvd
                      Boca Raton, FL 33486

                      Lucia Ibanez
                      817 SE 14th Court
                      Fort Lauderdale, FL 33316
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1402 of
                                        1639



                      Luciano Tolfo
                      Vallejos 4105
                      4 B
                      Buenos Aires C 1419
                      ARGENTINA

                      Ludwin Escamilla
                      405 West Foothill Blvd #201
                      Claremont, CA 91711

                      Jose Lugo Garcia
                      20583 SW 119th Place
                      Miami, FL 33177

                      Luice Yau
                      Pretoriastraat 44
                      Level 2
                      Berchem 2600
                      BELGIUM

                      Luis Alonso
                      11885 SW 18th Ter., #60
                      Miami, FL 33175

                      Luis Angel Yepez Isleo
                      Tulipanes #92 Fraccionamiento Flores Del
                      Veracruz VER 91948
                      MEXICO

                      Luis Colorado
                      129 West Avenue
                      Stamford, CT 06902

                      Luis Cordeiro
                      Avenue De Severy 16
                      Lausanne 1004
                      SWITZERLAND

                      Luis Du Solier
                      Cda De Veracruz 111 Dept 308
                      Jesus Del Monte, Huixquilucan, Edo De Me
                      Mexico MEX 52764
                      MEXICO

                      Luis Fernando Da Cunha
                      24 Thompson Court - Ste 7123
                      Ste 7123
                      Enfield, CT 06082

                      Luis Flores-Caban
                      B5 Calle Tabonuco Suite 216
                      PMB 251
                      Guaynabo, PR 00968
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1403 of
                                        1639



                      Luis Gonzales
                      1702 8th St
                      San Fernando, CA 91340

                      Luis Julian Sigcha
                      4866 South Semoran Blvd
                      #1808
                      Orlando, FL 32822

                      Luis Mercado
                      3124 Arnow Place
                      Apt Bsm
                      Bronx, NY 10461

                      Luis Ortiz-Herrera
                      106 Lyon St
                      Mercedes, TX 78570

                      Luis Reyes
                      3611 King Street
                      La Mesa, CA 91941

                      Luis Smith
                      11201 Grander Dr
                      Windermere, FL 34786

                      Luis Tappi
                      2250 Northwest 114th Avenue
                      Ccs 86290 Unit 1C
                      Miami, FL 33192

                      Luis Toledo
                      1900 Chapman Avenue
                      Apt 416
                      Rockville, MD 20852

                      Luis Vieira
                      Campo Grande
                      10 - 6C
                      Lisboa PT-11 1700-092
                      PORTUGAL

                      Lukaa Klein
                      Vysehradska 11
                      Petrzalka 851 06
                      SLOVAKIA

                      Lukas Hafner
                      Engerthstrasse 228/29
                      Wien 1020
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1404 of
                                        1639



                      Lukas Hermansen
                      Aldrupvej 87
                      Fjerritslev 9690
                      DENMARK

                      Lukas Kruczkowski
                      P.O. Box 861325
                      Wahiawa, HI 96786

                      Lukas Sparer
                      Josefstrasse, 33C
                      St. Polten 3100
                      AUSTRIA

                      Lukas Zahurancik
                      Domkarsky Rad 8
                      Piestany 921 01
                      SLOVAKIA

                      Luke Boustead
                      3 Dunleary Court
                      Westcote Road
                      Reading ENG RG30 2DJ
                      UNITED KINGDOM

                      Luke Frazier
                      1139 E 50 S
                      Orem, UT 84097

                      Luke Monterola
                      15306 Chahtah Ct
                      Orlando, FL 32828

                      Luke Stribling
                      925 8th St. Nw
                      Albuquerque, NM 87102

                      Luke Summerville
                      3855 Nobel Drive, #2126
                      San Diego, CA 92122

                      Luke Van Der Meij
                      Gretha Hofstralaan 89
                      Vlaardingen 3136LS
                      NETHERLANDS

                      Luther Freeman
                      2001 Empire Court
                      Unit 8
                      Grand Forks, ND 58201

                      Luuk Kicken
                      10 Bloemfonteinstraat
                      Eindhoven 5642 EG
                      NETHERLANDS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1405 of
                                        1639



                      Luz Londono
                      732 North Harrisburg Avenue
                      2nd Floor
                      Atlantic City, NJ 08401

                      Lylburn Ollie
                      9516 Wandering Way
                      Columbia, MD 21045

                      Lynda Micic
                      15 Ragamuffin Point
                      Safety Beach VIC 3936
                      AUSTRAILA

                      Lyndon Liu
                      1932 Irving Street
                      #30
                      San Francisco, CA 94122

                      Lynette Pohio
                      152 St Andrews Rd
                      Havelock North HKB 4130
                      NEW ZEALAND

                      Lynn Gee
                      400 Spear St
                      #210
                      San Francisco, CA 94105

                      Lynn Risley
                      4046 North Askew Avenue
                      Kansas City, MO 64117

                      Lyric Williams
                      8422 East Hawthorne Street
                      Tucson, AZ 85710

                      Lyss Murphey
                      17242 Santiago Canyon Rd
                      Silverado, CA 92676

                      M Riyaz Ismail
                      3515 Whitman Court
                      Thousand Oaks, CA 91360

                      Maath Alchemali
                      Kaiserstrasse 1A
                      Schwelm 58332
                      GERMANY
                      Mael Perret
                      Chemin De La Tour-De-Champel 4
                      E_Nno
                      Geneve 1206
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1406 of
                                        1639



                      Maged Ishak
                      7 Killadoon Court
                      Lutherville-Timonium, MD 21093

                      Maghadevane Segarane
                      152 Route Doberhausbergen
                      Residence Saint Antoine
                      Strasbourg 67200
                      FRANCE

                      Magnus Gabrielli
                      Amsbergsvagen 16
                      Borl Nge 78468
                      SWEDEN

                      Magnus Olsson
                      6 Heath Mead
                      London ENG SW19 5JP
                      UNITED KINGDOM

                      Magnuss Erins
                      Barona 106K2, #18
                      Riga LV-1001
                      LATVIA

                      Maha Alzarooni
                      Lumis Student Living, Capital Quarter, T
                      North Block, Room N515
                      Cardiff WLS CF10 4BZ
                      UNITED KINGDOM

                      Maha Mansour
                      3303 Don Mills Road #2801
                      North York ON M2J4T6
                      CANADA

                      Mahdi Kozbari
                      Kapellenackerstrasse 16
                      Munich 80992
                      GERMANY

                      Maida
                      10668 Zelzah Avenue
                      Los Angeles, CA 91344

                      Maiwand Nawid
                      2718 S. Uhle Street
                      Arlington, VA 22206

                      Majed Awad
                      4071 Northern Spruce Dr.
                      Spring, TX 77386
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1407 of
                                        1639



                      Majed Yohanna
                      Sigden 8
                      More Og Romsdal
                      Kristiansund 6518
                      NORWAY

                      Majed Zaid
                      6714 Miller Shadow Lane
                      Missouri City, TX 77479

                      Majid Malang
                      426 Bluebird Ln
                      Woodbury, MN 55125

                      Maksym Zymin
                      91-1001 Keaunui Drive Unit 377
                      Ewa Beach, HI 96706

                      Malachi Mickelonis
                      2760 Associated Road
                      Apt D14
                      Fullerton, CA 92835

                      Malav Shah
                      5200 Iron Horse Pkwy
                      Apt 323
                      Dublin, CA 94568

                      Malcolm Harnden
                      99 Great Brays
                      Harlow ENG CM18 6DP
                      UNITED KINGDOM

                      Malkuth Frahm
                      4340 Kingswell Avenue
                      Los Angeles, CA 90027

                      Malvia Scott
                      6947 Long Pine Circle
                      Coconut Creek, FL 33073

                      Mandy Sauler-Milbourne
                      121 John Robert Thomas Drive
                      Exton, PA 19341

                      Mangoldt Thomas
                      Karl Marx Allee 106
                      Berlin 10243
                      GERMANY
                      Manh Vu
                      3737 Peach Blossom Road
                      Fort Worth, TX 76244
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1408 of
                                        1639



                      Manil Men
                      14806 NE 80th Cir
                      Vancouver, WA 98682-3465

                      Manjeet Singh
                      3634 Green Marsh Cres
                      Regina SK S4V3H4
                      CANADA

                      Manjot Singh
                      20814 Chester Street
                      Castro Valley, CA 94546

                      Manjunath Kapu
                      16801 North 49th Street
                      Scottsdale, AZ 85254

                      Mankin Lam
                      302 Azalea Ct
                      Greenville, SC 29615

                      Naga Manohar Madduri
                      11446 Antler Dr
                      Columbia Station, OH 44028

                      Manoj Kumar Chauhan
                      1425 Afton Way
                      Fort Mill, SC 29708

                      Manoj Patel
                      61 Charbay Drive
                      Collegeviile, PA 19426

                      Mantas Kudrinas
                      3370 NE 190 St
                      Apt 714
                      Aventura, FL 33180

                      Manthan Raval
                      3 Candlewood Drive, #411
                      Guelph ON N1K 0E1
                      CANADA

                      Manu Arora
                      213-215 William Street
                      Unit 4
                      Granville NSW 2142
                      AUSTRAILA

                      Manuel Garza
                      1437 N Bibb Ave
                      Eagle Pass, TX 78852
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1409 of
                                        1639



                      Manuel Graf
                      Hinterdorfstrasse 4B
                      Pfungen 8422
                      SWITZERLAND

                      Manuel Latorre
                      198 Kensington Road
                      Marryatville SA 5068
                      AUSTRAILA

                      Manuel Martin Cinta
                      Rocio 199
                      Pedregal
                      Mexico City DF 1900
                      MEXICO

                      Manuel Martins
                      14 E Chrystal St
                      Dover, NJ 07801

                      Manuel Rappard
                      6465 Blewett Avenue
                      Los Angeles, CA 91406

                      Manvir Dhillon
                      15081 90A Ave
                      Surrey BC V3R 6Y6
                      CANADA

                      Alex Manzano
                      6201 Alverton Dr
                      Carlsbad, CA 92009

                      Maor Kirsner
                      28/34 Bay St
                      Town House
                      Botany, Sydney NSW 2030
                      AUSTRAILA

                      Marat Dreicer
                      16456 Royal Hills Dr
                      Encino, CA 91436

                      Marc Adam
                      1111 East Sunrise Blvd
                      Fort Lauderdale, FL 33304

                      Marc Andre Raymond
                      345 Avenue Leo-Lacombe
                      Laval QC H7N 3Y5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1410 of
                                        1639



                      Marc Benkendorf
                      Maerckerstrasse 5
                      Brandenburg An Der Havel 14776
                      GERMANY

                      Marc Conran
                      1237 N 31st Street
                      Philadelphia, PA 19121

                      Marc Cottini
                      P.O. Box 210863
                      Anchorage, AK 99521

                      Marc E Andrews
                      236 SE 46th Drive
                      Gresham, OR 97080

                      Marc Guillem Ballester
                      Carrer De Clementina Arderiu 5 1 3
                      Sant Quirze Del Vall S B 8192
                      SPAIN

                      Marc Gwisdek
                      3092 Palmer Drive
                      Burlington ON L7M 1S9
                      CANADA

                      Marc Husslein
                      Bachmannweg 33
                      Zurich 8046
                      SWITZERLAND

                      Marc Krause
                      Goldammerweg 1
                      Koln 50858
                      GERMANY

                      Marc Martucci
                      1117 NE 13th Ave
                      Fort Lauderdale, FL 33304

                      Marc Matt
                      Ohkampring 19
                      Hamburg 22339
                      GERMANY

                      Marc Meerkamper
                      Dorfstrasse 34
                      Vilters 7324
                      SWITZERLAND

                      Marc Romkey
                      5630 Ogilvie Street
                      Halifax NS B3H1C1
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1411 of
                                        1639



                      Marc Singh
                      4 Ladywood Court
                      Brampton ON L6Z 4T9
                      CANADA

                      Marc Smollin
                      8901 White Oak Avenue
                      Northridge, CA 91325

                      Marcco Ware
                      300 E Hillcrest Blvd. #1353
                      Inglewood, CA 90308

                      Marcel Allen
                      620 Elgin Avenue
                      Forest Park, IL 60130

                      Marcel Scheuber
                      Baarerstrasse 115
                      Systray Gmbh
                      Zug 6300
                      SWITZERLAND

                      Marcel Schneider
                      Alte Strasse, 4
                      Bad Schussenried 88427
                      GERMANY

                      Marcelin Kamdoum
                      8515 South Interstate 35 Frontage Road
                      Apt 1208
                      Austin, TX 78744

                      Marcin Muszynski
                      8 Bushey Grove Road
                      Bushey ENG WD23 2JQ
                      UNITED KINGDOM

                      Marckus Elestin
                      3350 Jackson Blvd
                      Fort Lauderdale, FL 33312

                      Marco Barnett
                      Sedelvagen 2 A
                      Hagersten 12932
                      SWEDEN

                      Marco Berardi
                      Waidlistrasse 6
                      Horgen 8810
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1412 of
                                        1639



                      Marco Draijer
                      Haarlemmerstraatweg 95
                      Halfweg 1165 MK
                      NETHERLANDS

                      Marco Houde
                      1818 Chemin Filteau
                      Saint-Nicolas QC G7A2C2
                      CANADA

                      Marco Minwegen
                      Meterstrasse 8
                      Hannover 30169
                      GERMANY

                      Marco Pilloud
                      Via Da Scola 20
                      Disentis/Muster 7180
                      SWITZERLAND

                      Marco Robutti
                      Via San Rocco 36
                      Villamagna CH 66010
                      ITALY

                      Marcolino Nafafe
                      801 Baltic Quay
                      Sweden Gate
                      London ENG E17 7AU
                      UNITED KINGDOM

                      Gianmaria Marconi
                      5704 Larry Drive
                      Texarkana, TX 75503

                      Marcos Ligero
                      Wagner 5
                      Sabadell B 8206
                      SPAIN

                      Marcus Hicks
                      8005 Chennault Avenue Unit 1775
                      Anchorage, AK 99506

                      Marcus Kemper
                      Am Quellenbusch 122
                      Bottrop 46242
                      GERMANY

                      Marcus Lee
                      316 N. El Camino Real
                      #211
                      San Mateo, CA 94401
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1413 of
                                        1639



                      Marcus Lumbert
                      3829 Yorkland Dr Nw
                      Apt 10
                      Comstock Park, MI 49321

                      Marcus Mahn
                      Margaretenstrasse 12
                      Berlin 10317
                      GERMANY

                      Marcus Rosser
                      2700 Whitney Ave
                      Apt 378
                      Harvey, La, LA 70058

                      Marcus Sailor
                      31114 Applewood Lane
                      Farmington Hills, MI 48331

                      Marcus Smith
                      662 Willow Heights Drive Northeast
                      Sandy Springs, GA 30328

                      Marcus Warkentin
                      1581 Monticello Drive
                      Hollister, CA 95023

                      Marcus Yeoh
                      4029 Walnut Grove Ave
                      Apt 2
                      Rosemead, CA 91770-5104

                      Marcus Zeigler
                      2214 Aspen Dr
                      Portland, TX 78374

                      Marek Jansen
                      Eisenacher Str. 64
                      Berlin 10823
                      GERMANY

                      Marek Lezoch
                      Barytowa 1
                      Tarnowskie Gory 42-605
                      POLAND

                      Marek Trofimiuk
                      Opaczewska 15, #46
                      Warszawa 02-368
                      POLAND

                      Maria Castellon
                      8261 Lone Boulder Street
                      Enterprise, NV 89113
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1414 of
                                        1639



                      Maria Wells
                      88 Harbour Street, #6907
                      Toronto ON M5J 0C3
                      CANADA

                      Marian Hodas
                      Na Lipovec 983
                      Rosina 1322
                      SLOVAKIA

                      Marian Petrov
                      Bd. Mamaia Nr.27
                      Cladirea Barwil, Etaj 4 Mob: 0788306428
                      Constanta CT 900189
                      ROMANIA

                      Marianne Kremiec
                      Aleja Zygmunta Krasiaskiego 9/20
                      Krakow 31-111
                      POLAND

                      Marija Temelkoska
                      Ivan Hadzinikolov 2/4
                      Skopje 1000
                      NORTH MACEDONIA

                      Marilou Gauthier
                      1526 Lapierre
                      Trois-Rivi Res QC G8W2H9
                      CANADA

                      Marin Perez
                      697 Feather Drive
                      San Marcos, CA 92069

                      Marina Baker
                      P.O. Box 243
                      West Fork, AR 72774

                      Marina Brooks
                      2025 Primrose Drive
                      Irving, TX 75063

                      Marina Cottini
                      P.O. Box 210863
                      Anchorage, AK 99521

                      AJ Marino
                      3521 Shandwick Place
                      Birmingham, AL 35242

                      Mario Albero
                      728 8th Street
                      Secaucus, NJ 07094
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1415 of
                                        1639



                      Mario Emmanuel Vega Cota
                      San Gabriel 10 Paseo San Angel
                      Hermosillo SON 83287
                      MEXICO

                      Mario Kashou
                      545 Sally Garden Court
                      San Jose, CA 95136

                      Mario Martucci
                      9803 Spring Beauty
                      San Antonio, TX 78254

                      Mario Mayerthaler
                      Stammgasse 5
                      Klingel 21
                      Vienna 1030
                      AUSTRIA

                      Mario Morgan
                      6201 Haney Drive
                      Austin, TX 78723

                      Mario Muniz
                      3093 Sandersville Rd
                      Lexington, KY 40511-8877

                      Mario Tsikis
                      30-74 43rd St
                      Astoria, NY 11103

                      Marius Andrei
                      169 Kingsbridge Road, #169
                      London ENG SM4 4PU
                      UNITED KINGDOM

                      Marius Balciunas
                      Kybartu 35
                      Kaunas LT-46207
                      LITHUANIA

                      Marius Catalin Hriscu
                      Calea Calarasilor Nr51
                      Ap9 Et3
                      Braila BR 810019
                      ROMANIA

                      Marius Mueller
                      Rudolf-Leonhard-Strasse 23
                      Dresden 1097
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1416 of
                                        1639



                      Marius Poinescu
                      Str Petru Rares, Bloc 263, Scara A, Apar
                      Vaslui VS UB7 8AA
                      ROMANIA

                      Marius Voda
                      Lucretiu Patrascanu Nr.4 Bloc T1, Scara
                      Bucuresti 30507
                      ROMANIA

                      Marjorie Ocampo
                      21308 59 Avenue Northwest
                      Edmonton AB T6M 0H5
                      CANADA

                      Mark Amuso
                      2885 Bridle Lane
                      Jupiter, FL 33458

                      Mark Bailey
                      2 Hield House Barns
                      Hield Lane, Aston-By-Budworth
                      Northwich ENG CW9 6FZ
                      UNITED KINGDOM

                      Mark Bailey
                      2 Hield House Barns
                      Hield Lane
                      Northwich ENG CW9 6FZ
                      UNITED KINGDOM

                      Mark Bennett
                      4716 North Gold Drive
                      Apache Junction, AZ 85120

                      Mark Bernardo
                      626 Lincoln Avenue
                      Apt F
                      Alameda, CA 94501

                      Mark Blum
                      95-956 Wikao St
                      Apt F302
                      Mililani, HI 96789-5069

                      Mark Booth
                      32 Main Road
                      Naphill
                      Naphill, High Wycombe ENG HP14 4QB
                      UNITED KINGDOM

                      Mark Borden
                      82534 Alda Drive
                      Indio, CA 92201
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1417 of
                                        1639



                      Mark Brown
                      4021 Fran Avenue
                      Lincoln, NE 68516

                      Mark Budd
                      551 Canterbury Circle
                      Canton, MI 48187

                      Mark Buskens
                      2 Cremona Rd
                      Sydney NSW 2226
                      AUSTRAILA

                      Mark Culver
                      199 Easton Point Way
                      Greenwood, IN 46142

                      Mark Dave Rivera
                      24464 Reserve Court
                      Menifee, CA 92584-0364

                      Mark De Groot
                      Gratamastraat 22A
                      Groningen 9714 HS
                      NETHERLANDS

                      Mark Eleshya
                      11 Harmony Way
                      Thorold ON L2V 0H1
                      CANADA

                      Mark Golton
                      1154 Pacific
                      San Francisco, CA 94103

                      Mark Hanna
                      25254 Denny Road
                      Torrance, CA 90505

                      Mark Hinton
                      2445 Saffire Way
                      Lewisville, TX 75056-6561

                      Mark Houghton
                      197 Tanglewood Drive
                      Hamilton ON L0R 1C0
                      CANADA

                      Mark Johnson
                      1380 Lake Drive
                      Woodworth, LA 71485

                      Mark Johnson
                      5702 Mustang Ridge Ln
                      Fulsher, TX 77441
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1418 of
                                        1639



                      Mark Juarez
                      2748 Del Rio Drive
                      Stockton, CA 95204

                      Mark Koellmann
                      1061 Prospect Avenue
                      Mountainside, NJ 07092

                      Mark Lawson
                      2955 Marchabnks Pl
                      Saint Louis, MO 63129

                      Mark Lloyd
                      305 Bald Eagle Way
                      Middletown, DE 19709

                      Mark M
                      101 Interocean Ave
                      Chicago Heights, IL 60411

                      Mark Malone
                      307 Citadel Heights Northwest
                      Calgary AB T3G 4A1
                      CANADA

                      Mark McDougald
                      108 East 30th Street
                      Kansas City, MO 64108

                      Mark Meister
                      709 E Cleveland St
                      Lafayette, CO 80026

                      Mark Michael
                      5135 Timber Mill Court
                      Mississauga ON L5V 2B8
                      CANADA

                      Mark Michaelis
                      1925 Stratsman Lane
                      Cave Springs, AR 72718

                      Mark Miller
                      18 Strowans Road
                      Dumbarton SCT G82 2PB
                      UNITED KINGDOM

                      Mark Mounce
                      36 Pinewood Court
                      London, KY 40744

                      Mark Newton
                      4092 Cherry Grove Road
                      Ball Ground, GA 30107
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1419 of
                                        1639



                      Mark Pace
                      7745 58th Avenue NE
                      Seattle, WA 98115

                      Mark Palsson
                      6935 North Aliante Parkway
                      Ste 104 - 350
                      North Las Vegas, NV 89084

                      Mark Paton
                      1451 Brickell Ave
                      Apt 2303
                      Miami, FL 33131

                      Mark Pellechi
                      14 Gingerbread Rd
                      Kings Park, NY 11754

                      Mark Reith
                      1690 Lago Mar Dr
                      Dayton, OH 45458

                      Mark Reynaert
                      21 Church Street
                      Huntsville ON P1H 1G8
                      CANADA

                      Mark Rojek
                      5110 Red Field Ct
                      Plainfield, IL 60586-5812

                      Mark Ryan
                      12 Colony Drive
                      Kitchener ON N2E 2W2
                      CANADA

                      Mark Schneider
                      2237 Doster Drive
                      New Smyrna Beach, FL 32168

                      Mark Schutte
                      5632 Roan Mountain Pl
                      Raleigh, NC 27613

                      Mark Skertich
                      22 Seasons Ridge Court
                      Maryville, IL 62062

                      Mark Sutton
                      7440 Star Pine Circle
                      Highland, CA 92346

                      Mark Tornabene
                      165 Maximus Drive
                      Lone Tree, CO 80124
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1420 of
                                        1639



                      Mark Twight
                      972 South 300 West
                      Salt Lake City, UT 84101

                      Mark Waldrop
                      9614 Camden Town Dr
                      Concord, NC 28027

                      Mark Williams
                      1733 North County Drive
                      Castle Hayne, NC 28429

                      Mark Williams
                      1733 County Dr N
                      Castle Hayne, NC 28429

                      Mark Williams
                      4030 Foxridge Way
                      Napa, CA 94558

                      Mark Wilson
                      2255 West 136th Street
                      Carmel, IN 46032

                      Mark Yocke
                      4 Red Oak Ct
                      Novato, CA 94949-8414

                      Mark Zarobsky
                      1704 Timberglen Drive
                      Imperial, PA 15126

                      Marko Bozic
                      45 Procure Drive
                      Box 3106
                      Stonewall MB R0C 2Z0
                      CANADA

                      Marko Kukec
                      Labinska 13
                      Varazdin 42000
                      CROATIA

                      Marko Pusnik
                      Bolfenska 4
                      Maribor 2000
                      SLOVENIA

                      Marko Rieken
                      Auerstr. 38
                      Berlin 10249
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1421 of
                                        1639



                      Marko Sovulj
                      Porton Biondi 1
                      Rovinj 52210
                      CROATIA

                      Alket Marku
                      808 North Franklin Street, #3013
                      Tampa, FL 33602

                      Markus Deffner
                      Sonnenstrasse 19
                      Crossflow Gmbh
                      Munich 80331
                      GERMANY

                      Markus Freund
                      Steinbahn 85
                      Meinpart Online Marketing
                      Siegburg 53721
                      GERMANY

                      Markus Greiner
                      Lehrer-Wirth-Strasse 17
                      Munich 81829
                      GERMANY

                      Markus Hemberg
                      Piongrand 6B
                      Saltsjo-Boo 13242
                      SWEDEN

                      Markus Rapatz
                      An Der Frauenkirche 5
                      Hilton Hotel
                      Dresden 1067
                      GERMANY

                      Marlon Manuel
                      6168 Burroughs Ave.
                      Sterling Heights, MI 48314

                      Marlon Wilks
                      2747 Hwy 28 East
                      Apt 702
                      Pineville, LA 71360

                      Marquis Wong
                      2316 W Armitage Ave
                      Chicago, IL 60647
                      Marsha Evans
                      115 Tait Road
                      Stockbridge, GA 30281
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1422 of
                                        1639



                      Martijn Van Rij
                      Soerenseweg 97
                      Apeldoorn 7313 EJ
                      NETHERLANDS

                      Martijn Vos
                      Leyweg 35
                      Den Haag 2545 CB
                      NETHERLANDS

                      Martin Allika
                      Lille 9, #1
                      Tallinn 10614
                      ESTONIA

                      Martin Barbe
                      1501 Federal Road
                      P.O. Box 11120
                      Iqaluit NU X0A 0H0
                      CANADA

                      Martin Beil
                      August Birkmaier Weg
                      3A
                      Ebersberg 85560
                      GERMANY

                      Martin Belusko
                      24 Liscombe Street
                      Newport WLS NP190HQ
                      UNITED KINGDOM

                      Martin Blakey
                      504 Farr Rd
                      Muskegon, MI 49444

                      Martin Bures
                      370 Shelburne Road
                      #4339
                      Burlington, VT 05401

                      Martin Chaput
                      1668 Elsmere Avenue
                      Windsor ON N8X 4H4
                      CANADA

                      Martin Heuseler
                      An Der Eiche 46
                      Pinneberg 25421
                      GERMANY

                      Martin Jelanek
                      Prvnaho Pluku 18
                      Praha 8 18600
                      CZECH REPUBLIC
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1423 of
                                        1639



                      Martin Kessler
                      Lindenallee 27
                      Berlin 14050
                      GERMANY

                      Martin Kimani
                      1150 Panoche Avenue
                      San Jose, CA 95122

                      Martin Neilly
                      7 Ferrymans Quay
                      Southampton ENG SO315RA
                      UNITED KINGDOM

                      Martin Odisho
                      80 Flynn Avenue
                      Middleton Grange NSW 2171
                      AUSTRAILA

                      Martin Oehlmann
                      227 Route Du Col De Leschaux
                      Saint-Eustache 74410
                      FRANCE

                      Martin Peacock
                      26A Ewell Road
                      Cheam ENG SM3 8BU
                      UNITED KINGDOM

                      Martin Salter
                      744 Mercury Avenue
                      Lompoc, CA 93436

                      Martin Sirois
                      2355 Rue De Celles #200
                      Quebec QC G2C 2B8
                      CANADA

                      Martin Stamatis
                      Iskur 27
                      Yardzhilovtsi 2355
                      BULGARIA

                      Martin Suffield
                      14 Moorside Rise
                      Cleckheaton ENG BD196AA
                      UNITED KINGDOM

                      Anthony Martin
                      P.O. Box 7026
                      Fremont, CA 94537
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1424 of
                                        1639



                      Martina Steinhoff
                      Blauwiesenweg 13
                      Frankfurt Am Main
                      GERMANY

                      Victor Martinez Ulloa
                      313 S Western Ave
                      Santa Ana, CA 92703

                      Martins Nwokeji
                      37 Abington Rd, Winnipeg
                      Winnipeg MB R2J 3S7
                      CANADA

                      Martish Kuchinsky
                      6725 Yolanda Avenue
                      Los Angeles, CA 91335

                      Martyn Briggs
                      12 Little Mill Meadow
                      Telford ENG TF1 6NZ
                      UNITED KINGDOM

                      Martynas Laurinavicius
                      Bajoru Sodu 6-Oji G. 35
                      Vilnius 8426
                      LITHUANIA

                      Marvin Petersen
                      16622 Leitner Road Southwest
                      Rochester, WA 98579

                      Marvin Torres
                      950 East 3rd Street
                      #2611
                      Los Angeles, CA 90013

                      Marvin Waite
                      P.O. Box 795
                      Logandale, NV 89021

                      Mary Evans
                      1107 Rand Way
                      Superior, CO 80027

                      Mary Grace Sultan
                      21 Walcrest Gate Southeast
                      Calgary AB T2X 4G3
                      CANADA
                      Mary Trupiano
                      1410 Hawthorne Road
                      Grosse Pointe Woods, MI 48236
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1425 of
                                        1639



                      Mashab Anwar
                      440 Wardlaw Ave
                      Lower Floor.
                      Kelowna BC V1Y 5B4
                      CANADA

                      Masis Artin
                      Astra Vintergatan 78
                      Arebro 70343
                      SWEDEN

                      Mason Anderson
                      418 Kensington Blvd
                      Saskatoon SK S7L 6N7
                      CANADA

                      Mason Oxley
                      1425 90th Street
                      Mount Pleasant, WI 53406

                      Mason Shohet
                      4737 Vista Cove Place
                      Loomis, CA 95650

                      Mason Smith
                      13333 West Road
                      Apartment 935
                      Houston, TX 77041

                      Masoud Alshoum
                      Sicksackvagen 4 Lgh 1302
                      Gavle 80632
                      SWEDEN

                      Mass Geremia
                      735 2 Ave Sw, Suite 1102
                      Calgary AB T2P 0E4
                      CANADA

                      Massimo Lazzeri
                      Via Giuseppe Richa, 68
                      Firenze FI 50134
                      ITALY

                      Massoumeh Fekri
                      4170 Rue Mackenzie
                      Laval QC H7W 1M8
                      CANADA

                      Matei Coseru
                      Str. Cetatea De Balta, Nr. 14-20, Bl. 28
                      Ap. 56, Sector 6
                      Bucuresti B 60968
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1426 of
                                        1639



                      Mateo Nevarez
                      5425 41st Street
                      Lubbock, TX 79414

                      Mathieu Allard
                      1129 Des Hirondelles
                      Boucherville QC J4B5Y8
                      CANADA

                      Mathieu Correge
                      23 Hameau Du Mardaing
                      Azereix 65380
                      FRANCE

                      Mathieu Ricard
                      144 Rue Des Francais
                      Mont-Saint-Hilaire QC J3H 6J2
                      CANADA

                      Matias Campins
                      4004 Wavertree Rd.
                      Frisco, TX 75036

                      Matil Brouillard
                      1392 Rue Du Moulin
                      Ste-Julie QC J3E2B3
                      CANADA

                      Matin Kheyrani
                      3934 Valley Ridge Dr
                      Fairfax, VA 22033

                      Mats Kallenberger
                      Rellinghauserstr. 187
                      Essen 45136
                      GERMANY

                      Mats Van Krieken
                      Zuiderlingedijk 127
                      Spijk Gem Lingewaal 4211 BC
                      NETHERLANDS

                      Matson Pearce
                      3614 South Versailles Avenue
                      Dallas, TX 75209

                      Clay Matson Pearce
                      3614 South Versailles Avenue
                      Dallas, TX 75209
                      Matt Baum
                      1869 Montclair Drive
                      Unit A
                      Mount Pleasant, SC 29464
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1427 of
                                        1639



                      Matt Crippen
                      2041 W Palmyra Ave
                      Apt A
                      Orange, CA 92868

                      Matt Digman
                      2763 Rockefeller Road
                      Willoughby Hills, OH 44092

                      Matt Ghiglieri
                      830 Munley Drive
                      Reno, NV 89503

                      Matt Guest
                      221 Reddington Lane, #306
                      Tooele, UT 84074

                      Matt Harrity
                      322 Mill Pond Lane #919
                      Salisbury, MD 21804

                      Matt Johnson
                      651 East Gulf Drive
                      Unit 114
                      Sanibel, FL 33957

                      Matt Kennedy
                      16 Eacham Ave
                      Coombabah
                      Gold Coast QLD 4216
                      AUSTRAILA

                      Matt Kimura
                      25652 Rimgate Dr
                      14F
                      Lake Forest, CA 92630

                      Matt Kimura
                      25652 Rimgate Dr
                      Unit 14 F
                      Lake Forest, CA 92630-6065

                      Matt King
                      18 Woodlands Green
                      Harrogate ENG HG2 8QD
                      UNITED KINGDOM

                      Matt Mical
                      950 W Leland Ave #610
                      Chicago, IL 60640-7100

                      Matt Roberts
                      6472 Capri Isle
                      Saint Augustine, FL 32095
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1428 of
                                        1639



                      Matt Short
                      241 Cantamar Court
                      Roseville, CA 95747

                      Matt Smith
                      7970 Rawlings Road
                      Lambton Shores ON N0N 1J2
                      CANADA

                      Matteo Cacialli
                      15 Lister Road
                      London ENG E113DS
                      UNITED KINGDOM

                      Matteo Signorelli
                      13065 Katonien Street
                      Maple Ridge BC V2W0J2
                      CANADA

                      Matthew Abbott
                      10 Havenwoods Way
                      Fredericksburg, VA 22406

                      Matthew Amacker
                      1045 Reed St
                      Santa Clara, CA 95050

                      Matthew Ash
                      26 Roker Park Avenue
                      Ickenham
                      Uxbridge ENG UB10 8ED
                      UNITED KINGDOM

                      Matthew Barron
                      446 Glenway Street
                      Madison, WI 53711

                      Matthew Beckerman
                      0S140 North Mathewson Lane
                      Geneva, IL 60134

                      Matthew Bird
                      35 Dart Avenue
                      Exeter ENG EX2 7FX
                      UNITED KINGDOM

                      Matthew Bohn
                      109 Bridal Ln
                      Oakdale, PA 15071
                      Matthew Box
                      306 Jacaranda Pl
                      Fullerton, CA 92832
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1429 of
                                        1639



                      Matthew Breen
                      70 Vestry St
                      Apt. 5F
                      New York, NY 10013

                      Matthew Brown
                      12 Amherst Road
                      New City, NY 10956

                      Matthew Buldo
                      206 SW 37th St
                      Cape Coral, FL 33914

                      Matthew Burkard
                      3491 Grandview Avenue
                      Sharonville, OH 45241

                      Matthew Clair
                      427 E Brubaker Valley Rd
                      Lititz, PA 17543

                      Matthew Cody
                      3806 W Carolina Drive
                      West Jordan, UT 84084

                      Matthew Day
                      Apt 1, The Old Mill
                      Cadnant Road
                      Menai Bridge WLS LL59 5NG
                      UNITED KINGDOM

                      Matthew Dodson
                      2333 E Greensboro Ch-Hill Rd
                      Graham, NC 27253

                      Matthew Eguchi
                      361 Arbol Drive
                      Watsonville, CA 95076

                      Matthew Farringer
                      5051 Nittany Valley Drive
                      Lamar, PA 16848

                      Matthew Ferguson
                      4792 Cox Mill Road
                      Sanford, NC 27332

                      Matthew Fiebig
                      3049 Kentucky Ave S
                      Minneapolis, MN 55426-3444

                      Matthew Garren
                      1263 SW Belle Ave.
                      Topeka, KS 66604
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1430 of
                                        1639



                      Matthew Hall
                      21A Opahi Bay Road, Mahurangi West
                      Auckland AUK 983
                      NEW ZEALAND

                      Matthew Harbin
                      113 Will Blvd
                      Searcy, AR 72143

                      Matthew Hardin
                      4300 E Caitlin Lane
                      Cottonwood, AZ 86326

                      Matthew Hargis
                      2669 Garfield Street
                      Detroit, MI 48207

                      Matthew Harris
                      1334 Clarence Drive
                      Idaho Falls, ID 83402

                      Matthew Hermsen
                      240 Crocker Drive
                      Apt C
                      Bel Air, MD 21014

                      Matthew Horvath
                      4655 W Mineral Dr
                      Unit 735
                      Littleton, CO 80128

                      Matthew Jacobs
                      17 Kandlewick Close
                      St. Albert AB T8N 6Z7
                      CANADA

                      Matthew Jordan
                      556 Village Park Dr
                      Kennesaw, GA 30144-5551

                      Matthew Kadish
                      9559 Summer Cypress St.
                      Las Vegas, NV 89123

                      Matthew Kaynak
                      25 Poplar St
                      Butler, NJ 07405

                      Matthew Kerl
                      1245 River Ridge Drive
                      Brownsburg, IN 46112

                      Matthew Kilgore
                      1041 Lake Colony Lane
                      Vestavia, AL 35242
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1431 of
                                        1639



                      Matthew Landsborough
                      280 Jackman Road
                      West St Paul MB R4A 3A3
                      CANADA

                      Matthew Liu
                      367 Santana Row Unit 6007
                      San Jose, CA 95128

                      Matthew Marin
                      31 Mises Street
                      Mount Pleasant, SC 29464

                      Matthew Markell
                      1401 Mt Airy Rd
                      Rosedale, MD 21237

                      Matthew Martin
                      6235 Whitehead St #1609
                      Granger, IN 46530

                      Matthew Meyer
                      2609 Bowie Trail
                      Temple, TX 76502

                      Matthew Meyers
                      880 Alabama St
                      Apt 411
                      Houston, TX 77002

                      Matthew Mixon
                      4530 Simsbury Road
                      Apartment E
                      Charlotte, NC 28226

                      Matthew Moniz
                      57 Petman Ave
                      Toronto ON M4S2S9
                      CANADA

                      Matthew Moroney
                      76 Elibank Road
                      London ENG SE9 1QL
                      UNITED KINGDOM

                      Matthew Nymoen
                      57 Cherry Court
                      Appleton, WI 54915

                      Matthew Opitz
                      3021 Holmes Ave S
                      Apt 504
                      Minneapolis, MN 55408
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1432 of
                                        1639



                      Matthew Page
                      268 Windrose Ct
                      Newbury Park, CA 91367

                      Matthew Passmore
                      10205 Chase Commons Dr
                      Apt 201
                      Burke, VA 22015

                      Matthew Patti
                      1506 Nightshade
                      San Antonio, TX 78260

                      Matthew Pender
                      701 Baffin St
                      Foster City, CA 94404

                      Matthew Phan
                      457 Mallorytown Avenue
                      Mississauga ON L4Z2M7
                      CANADA

                      Matthew Ridgers
                      136 East Country Club Drive
                      Brentwood, CA 94513

                      Matthew Rinaldi
                      522 Saint Pauls Ave
                      Cliffside Park, NJ 07010-1620

                      Matthew Robbins
                      4122 Bedford Ave
                      Winter Haven, FL 33884

                      Matthew Sentas
                      416 Mass Ave #2
                      Boston, MA 02118

                      Matthew Spicer
                      2119 5th St
                      Greeley, CO 80631

                      Matthew Thoman
                      2203 Bowmont Dr
                      Beverly Hills, CA 90210

                      Matthew Tully
                      1432 S Calle De Maria
                      Palm Springs, CA 92264
                      Matthew Velez
                      9800 SW 167th St
                      Miami, FL 33157
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1433 of
                                        1639



                      Matthew Waggoner
                      2726 Stearman St
                      Poplar Grove, IL 61065

                      Matthew White
                      17 - 19 Leicester Square
                      New Way Lane
                      London ENG WC2H 7LE
                      UNITED KINGDOM

                      Matthew Wolfe
                      11752 Cottonwood Ave
                      Palm Beach Gardens, FL 33410

                      Matthew Woolman
                      13403 Clayton St
                      Thornton, CO 80241-1339

                      Matthias Birk
                      Albert-Einstein-Strasse 5
                      Germaringen 87656
                      GERMANY

                      Matthias Pfeiffer
                      Am Rehkampf 1
                      Ingelheim Am Rhein 55262
                      GERMANY

                      Mattia Muratore
                      Viale Prospero Colonna 60
                      Roma RM 149
                      ITALY

                      Maude Ek
                      130 Abogado Avenue
                      Walnut, CA 91789

                      Mauricio Garcia
                      11 North Ann Street
                      Baltimore, MD 21231

                      Mauricio Vargas
                      4120 Camero Ave
                      Los Angeles, CA 90027

                      Mauro Matteucci
                      Via Pace 21
                      Orzivecchi BS 25030
                      ITALY
                      Mauro Susin
                      10/99 Ashby Street
                      Fairfield QLD 4103
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1434 of
                                        1639



                      Maury Noun
                      21 N Church Rd
                      Saddle River, NJ 07458

                      Max Benedict
                      182 Brady Street
                      Charleston, SC 29492

                      Max Breward
                      5 Flora Street
                      Leicester ENG LE3 5RN
                      UNITED KINGDOM

                      Max Diaz
                      39334 Dijon Lane
                      Palmdale, CA 93551

                      Max Gutierez
                      1160 East Oleander Street
                      Fort Worth, TX 76104

                      Max Hehr Hehr
                      Helsinkistr. 3
                      Herzogenauchrach 91074
                      GERMANY

                      Max Zupicic
                      439 6E Rue
                      Laval QC H7N 1Y6
                      CANADA

                      Maxalex Fequiere
                      403 Quaker Ridge Court
                      23435, VA 23435

                      Maxamaid Ontoro
                      Hertistrasse 30
                      Wallisellen 8304
                      SWITZERLAND

                      Maxim Ershov
                      Praha 10 Strasnice Kruhova 14/534
                      Praha 10 Strasnice Kruhova 14/534
                      Praha 10000
                      CZECH REPUBLIC

                      Maxime Delavenne
                      30 Chemin Bates
                      App 405
                      Montreal QC H2V4T4
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1435 of
                                        1639



                      Maxime Labrie
                      4926 Blvd Kimber
                      Saint-Hubert QC J3Y 7Z8
                      CANADA

                      Maximilian Heiler
                      Bokelstrasse 1
                      Bielefeld 33649
                      GERMANY

                      Maximilian Kies
                      Landskronstrasse 28
                      Darmstadt 64285
                      GERMANY

                      Maximilian Leonard
                      58 High Meadow Ln
                      Mystic, CT 06355

                      Maximiliano Manzella
                      20900 Northeast 30th Avenue
                      Aventura, FL 33180

                      Maxine Rose Mayor
                      132 Carlisle Way
                      Benicia, CA 94510

                      Maxton Lown
                      699 W 29th Ave Apt#3353
                      Denver, CO 80202

                      Maxwell Puttman
                      8 Blamey Place
                      Oconnor WA 6163
                      AUSTRAILA

                      Maxwell Traubert
                      1110 North Kensington Street
                      Apt 1
                      Arlington, VA 22205

                      Maya Layani
                      12 Rue Henri Matisse
                      Blagnac 31700
                      FRANCE

                      J Scott McCraney
                      P.O. Box 37
                      Elberta, AL 36530
                      Vincent McNeely
                      4359 Benning Rd NE
                      Washington, DC 20019
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1436 of
                                        1639



                      Graedon McRorie
                      38 Swastika Trail
                      Cambridge ON N3C2V4
                      CANADA

                      Meaghan Rettig
                      1510 Demonbreun St, #507
                      Nashville, TN 37203-3193

                      Anthony Medrano
                      10447 Amigo Ave
                      Porter Ranch, CA 91326

                      Megan Hutchison
                      304 Mayville Ave
                      Pittsburgh, PA 15226

                      Mehdi Astani
                      13 Crystal Drive
                      Richmond Hill ON L4C 7Z4
                      CANADA

                      Mehmet Kilic
                      Wedekindweg 9
                      Darmstadt 64293
                      GERMANY

                      Mehmet Ozel
                      Asan Pharmacy, Selcuk Avkiran Sok., Task
                      1 Stasinou Street, Engomi, To Be Collect
                      Nicosia 2404
                      CYPRUS

                      Meika Barclay
                      3127 Bay Road
                      Ferndale, WA 98248

                      Meili Cashy Sa
                      Wallstr. 13
                      Basel 4051
                      SWITZERLAND

                      Michael Lee Meinert
                      251 Warren Avenue
                      Hawthorne, NY 10532

                      Melisa Alina Manea
                      122 Rue Des Bourguignons
                      2nd Floor, Door On The Right
                      Asnieres-Sur-Seine 92600
                      FRANCE

                      Melissa Clouthier
                      2 Cedar Chase Place
                      Spring, TX 77381
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1437 of
                                        1639



                      Melissa Mazzeo
                      2560 Northwest 2nd Drive
                      Pompano Beach, FL 33064

                      Melissa Switzer
                      3449 Heatherwood Drive
                      Hamburg, NY 14075

                      Enrique Mendez
                      286 Lombardy Lane
                      Banning, CA 92220

                      Metzgerei Widmayer GmbH & Co.KG
                      Lichtackerstrasse 6
                      Denkendorf 73770
                      GERMANY

                      Mevrouw Jacobs
                      Herstraat 7
                      Den Hout 4911BD
                      NETHERLANDS

                      Mia Lorentzson
                      Wiboms Vag 7
                      Solna 17160
                      SWEDEN

                      Micah Linderman
                      525 N Wilton Pl Ph515
                      Los Angeles, CA 90004

                      Micah Pearce
                      13123 Regency Frst
                      San Antonio, TX 78249

                      Micah Rivoire
                      1024 Santee Street #500
                      Los Angeles, CA 90015

                      Micah Sze
                      665 Pine St., #1100
                      San Francisco, CA 94108

                      Michael Adam
                      Balders Vei 21
                      M Re Og Romsdal
                      Kristiansund N 6511
                      NORWAY

                      Michael Ahlgrim
                      29989 Happy Hunter Drive
                      Canyon Lake, CA 92587
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1438 of
                                        1639



                      Michael Alfieri
                      4 Westview Circle
                      Hingham, MA 02043

                      Michael Arlinghaus
                      261 Stage Coach Rd
                      Oceanside, CA 92057

                      Michael Atwood
                      11108 Violet Ct
                      Riverside, CA 92503

                      Michael Avermann
                      Bokenkamp 9
                      Munster 48161
                      GERMANY

                      Michael Baker
                      2404 Waterbend Dr
                      Flower Mound, TX 75028

                      Michael Baker
                      1340 New Hampshire Dr
                      Concord, CA 94521

                      Michael Beard
                      8541 88 Street
                      Edmonton AB T6J 3C4
                      CANADA

                      Michael Behrend
                      5722 Sandbirch Way
                      Lake Worth, FL 33463

                      Michael Bennett
                      2255 Village Centre Drive
                      Loganville, GA 30052

                      Michael Berio
                      1206 SE 6 St, #203
                      Cape Coral, FL 33990

                      Michael Bonfiglio
                      4012 7th Ave Apt 10
                      Brooklyn, NY 11232

                      Michael Breus
                      1905 Oak Ave
                      Manhattan Beach, CA 90266
                      Michael Brickey
                      4484 Myron Road
                      North Lakeport, MI 48059
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1439 of
                                        1639



                      Michael Brickey
                      4484 Myron Road
                      Burtchville, MI 48059

                      Michael Brown
                      3118 Kershaw St
                      Columbia, SC 29205

                      Michael Burgess
                      P.O. Box 22025 Rpo Plaza Ii
                      Fort McMurray AB T9H 5B6
                      CANADA

                      Michael Burns
                      3523 Kudrow Ln
                      Morrisville, NC 27560

                      Michael Burton
                      4009 Seashell Circle
                      Orlando, FL 32804

                      Michael Byrne
                      522 Stonebridge Court
                      Pleasant Hill, CA 94523

                      Michael Calabrese
                      741 E. Lime Avenue
                      Monrovia, CA 91016

                      Michael Caldwell
                      6585 Mohican Dr
                      Colorado Springs, CO 80915

                      Michael Camfield
                      3211 W. Division St.
                      Trlr. 223
                      Arlington, TX 76012-3408

                      Michael Carreiro
                      407R Mystic Ave Ste 20
                      Medford, MA 02155

                      Michael Cates
                      201 Front Street Suite 322
                      Key West, FL 33040

                      Michael Chagan
                      920 West Lakeside Place
                      Chicago, IL 60640
                      Michael Childs
                      P.O. Box1167
                      Stanton, TX 79782
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1440 of
                                        1639



                      Michael Clifton
                      7261 Vrain Street
                      Westminster, CO 80030

                      Michael Cortez
                      1726 Judith Resnik Drive
                      El Paso, TX 79936

                      Michael Deboer
                      16328 North Loper Street
                      Nampa, ID 83651

                      Michael Dominguez
                      2456 Cash Court
                      Las Vegas, NV 89156

                      Michael Dorgan
                      139 Park Road
                      Teddington ENG TW11 0BS
                      UNITED KINGDOM

                      Michael Dubiel
                      42 Broad Street East
                      Mount Vernon, NY 10552

                      Michael Emerson
                      209 Aegean Way #189
                      Vacaville, CA 95687

                      Michael Fleury
                      2890 West 21st Street
                      4G
                      Brooklyn, NY 11224

                      Michael Fluharty
                      1560 Hwy 9 East, Unit C
                      Longs, SC 29568

                      Michael Foley
                      725 Highland Street
                      Stoughton, MA 02072

                      Michael Franco
                      108-22 51st Ave
                      New York, NY 11368

                      Michael Fritz
                      Heinestrasse 3
                      Wuerzburg 97070
                      GERMANY

                      Michael Fry
                      10514 West Lockwood Street
                      Boise, ID 83709
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1441 of
                                        1639



                      Michael Garcia
                      3624 Northwest 12th Street
                      Miami, FL 33125

                      Michael Ginter
                      25 Christian Street
                      Wallingford, CT 06492

                      Michael Green
                      5 Theresa Court
                      Edison, NJ 08837

                      Michael Grimes
                      5776 Ormes Rd
                      Vassar, MI 48768

                      Michael Gutman
                      1160 Richmond Road
                      3I
                      Staten Island, NY 10304

                      Michael Habschmidt
                      215 Stanley Ave
                      Park Ridge, IL 60068

                      Michael Hansen
                      1318 Kater Street
                      Philadelphia, PA 19147

                      Michael Harris
                      5360 Adobe Falls Rd
                      Unit 16
                      San Diego, CA 92120

                      Michael Hasz
                      1503 North Village Road
                      Reston, VA 20194

                      Michael Hischier
                      Im Gassacher 10
                      Binz 8122
                      SWITZERLAND

                      Michael Holcomb
                      17931 Fir Road
                      Alvin, TX 77511

                      Michael Howe
                      114 Malverne Dr
                      Syracuse, NY 13208

                      Michael Jablonski
                      Christian-Volter-Strasse 30
                      Metzingen 72555
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1442 of
                                        1639



                      Michael Jachelski
                      106B White Street
                      Fort Huachuca, AZ 85613

                      Michael Jarembek
                      6630 Camino Santo
                      Scottsdale, AZ 85254

                      Michael Kallmeyer
                      1734 Broadlee Trail
                      Annapolis, MD 21401

                      Michael Karimizadeh
                      45 Driftwood Ave
                      Apt #1310
                      North York ON M3N 2M4
                      CANADA

                      Michael Kimura
                      1131 Buehler Drive
                      Las Vegas, NV 89102

                      Michael Kinsey
                      1625 Watkins Rd
                      Battle Creek, MI 49015

                      Michael Kirkman
                      148 North 6th Street
                      San Jose, CA 95112

                      Michael Klewinski
                      510 S 170 W
                      Springville, UT 84663

                      Michael Leeman
                      156 Yeardley Dr Apt 3
                      Newport News, VA 23601

                      Michael Liu
                      647 57th St
                      Street
                      Brooklyn, NY 11220

                      Michael Lyng
                      530 Grand Canyon Blvd
                      #3
                      Reno, NV 89502

                      Michael Mallon
                      165 Cattail Lane
                      Valparaiso, IN 46385

                      Michael Maltzman
                      704 Foothill Road
                      Beverly Hills, CA 90210
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1443 of
                                        1639



                      Michael McLaughlin
                      18165 Hilda Dr.
                      Ft Myers, FL 33967

                      Michael Melhorn
                      555 Clark St
                      Green River, WY 82935

                      Michael Messina
                      609 Baintree Run
                      Downingtown, PA 19335

                      Michael Minichiello
                      159 Park Avenue
                      Leonia, NJ 07605

                      Michael Mirabile
                      17 Dillon Lane
                      Smithfield, RI 02917

                      Michael Morales
                      9359Konocti St.
                      Rancho Cucamonga, CA 91730

                      Michael Morris
                      3615 Ash Street
                      Unit 13
                      San Diego, CA 92105

                      Michael Munger
                      1242 Doric Dr
                      Lafayette, CO 80026

                      Michael Najdi
                      356 Village St Medway
                      Boston, MA 02053

                      Michael Niebla
                      13461 Edwards Street
                      Westminster, CA 92683

                      Michael Omranian
                      4515 Canoga Drive
                      Los Angeles, CA 91364

                      Michael Osullivan
                      8 Oakley Park
                      Clontarf
                      Dublin D D03 PE03
                      IRELAND

                      Michael Pagliarini
                      54 Nooseneckhill Rd
                      #1 Brick Cabin
                      West Greenwich, RI 02817
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1444 of
                                        1639



                      Michael Plastina
                      39 Pagebrook Drive
                      Etobicoke ON M9P 1P4
                      CANADA

                      Michael Polen
                      26723 North 52nd Drive
                      Phoenix, AZ 85083

                      Michael Powers
                      81 Ambleside Avenue
                      Toronto ON M8Z 2H9
                      CANADA

                      Michael Pulec
                      90 Trinity Street, #511
                      Toronto ON M5A 0E4
                      CANADA

                      Michael Racic Novak
                      Stora Sallskapets Vag 50, 3Tr
                      Lgh 1302
                      Stockholm 12731
                      SWEDEN

                      Michael Rios
                      130 19th St
                      Palm Harbor, FL 34683

                      Michael Robbins
                      9158 Yates Bay Court
                      Brooklyn Park, MN 55443

                      Michael Rounds
                      119 Hoot Owl Lane North
                      Leander, TX 78641

                      Michael Salazar
                      3448 Cowboy Way
                      San Angelo, TX 76905

                      Michael Schliwa
                      263 Jersey Tea Circle.
                      Ottawa ON K1V 2L5
                      CANADA

                      Michael Schweisinger
                      23332 Adolph Avenue
                      Torrance, CA 90505
                      Michael Seeley
                      1204 Regency Park North
                      Queensbury, NY 12804
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1445 of
                                        1639



                      Michael Smith
                      829 South Park Avenue
                      Unit B
                      Independence, MO 64052

                      Michael Smith
                      16707 E Yucca Ash Farm Rd
                      Sonoita, AZ 85637

                      Michael Stokes
                      2273 Red Knot Lane
                      Apex, NC 27502

                      Michael Suhrbier
                      4709 Block Island Ln
                      Clermont, FL 34714

                      Michael Swain
                      4000 E 5th St
                      Long Beach, CA 90814

                      Michael Tang
                      327 N Todd St
                      Visalia, CA 93291

                      Michael Tayag
                      8109 28th Avenue Southwest
                      Seattle, WA 98126

                      Michael Thomas
                      6720 Laurel Avenue
                      Portage, IN 46368

                      Michael Tiano
                      975 Downing Drive
                      Woodstock ON N4T 0K4
                      CANADA

                      Michael Tsun
                      2817 Dayton Ave NE
                      Renton, WA 98056

                      Michael Turner
                      4315 E. Mission Blvd
                      Fayetteville, AR 72703

                      Michael Twells
                      391 Northeast 43rd Court
                      Oakland Park, FL 33334
                      Michael Vaticano
                      173 Edison A
                      Edison, NJ 08820
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1446 of
                                        1639



                      Michael Vick
                      4429 Maize Dr.
                      Plano, TX 75093

                      Michael Wallace
                      5190 Northwest 167th Street #102
                      Hialeah, FL 33014

                      Michael Walters
                      2 Adelaide Mews
                      Stowmarket
                      Suffolk ENG IP14 2GA
                      UNITED KINGDOM

                      Michael Waskow
                      Selliner Strasse 44
                      Dresden 1109
                      GERMANY

                      Michael Wherley
                      18987 Rossback Ter
                      Leesburg, VA 20176

                      Michael Wieser
                      Am Lowentor 10
                      Berlin 14109
                      GERMANY

                      Michael Williams
                      1305 W. Marvin St.
                      Longwood, FL 32750-6129

                      Michael Williams
                      323 Trappers Pond Ct
                      Tooele, UT 84074

                      Michael Wilson
                      606 Nara Building
                      London ENG SE137FH
                      UNITED KINGDOM

                      Michael Wilson
                      2175 Carlmont Drive #9
                      Belmont, CA 94002

                      Michael Winkler
                      Meierei 1E
                      2Consult E.K.
                      Stein 90547
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1447 of
                                        1639



                      Michael Withers
                      15 Borthwick Place
                      Balmullo
                      St. Andrews SCT KY16 0EB
                      UNITED KINGDOM

                      Michael Wurster
                      6 Grass Rd
                      Cherry Hill, NJ 08034

                      Michael Zelbel
                      Forstwaldstrasse 365
                      Zelbel Ltd & Co.Kg
                      Krefeld 47804
                      GERMANY

                      Michaela Dubois
                      3928 1st Avenue North
                      Saint Petersburg, FL 33713

                      Michal Dolinay
                      Luana 1111
                      Rajec 1501
                      SLOVAKIA

                      Michal Morawski
                      314 W Beech Dr
                      Schaumburg, IL 60193

                      Micheal Mohansingh
                      12 Carlton Rd
                      Frederiksted, VI 00840

                      Michel Portmann
                      1320 Main Street
                      Apt 4
                      Cincinnati, OH 45202

                      Michele Twitchell
                      25451 Hardy Place
                      Stevenson Ranch, CA 91381

                      Michele-Lee Barasso
                      3221 Farmington Dr
                      Chevy Chase, MD 20815

                      Michelle Broussard
                      120 Great Oak Way
                      Warner Robins, GA 31088
                      Michelle Dunner-Meli
                      Stockenstrasse 1
                      Burglen 8575
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1448 of
                                        1639



                      Michelle Maccio
                      9310 Cherokee Lane
                      Beverly Hills, CA 90210

                      Mick McGee
                      2162 31st Avenue
                      San Francisco, CA 94116

                      Miguel A Ambrosi Avila
                      Alborada 389, Parques Del Pedregal
                      Parques Del Pedregal
                      Tlalpan DF 14010
                      MEXICO

                      Miguel Alkmim
                      Kiss Jozsef Utca 7
                      4 Emelet, 405 Ajto (Buzzer45)
                      Budapest 1081
                      HUNGARY

                      Miguel Alonso Alvarez Olivas
                      Street Orleans, #217 Cerradas De Concord
                      House 217
                      Apodaca NL 66609
                      MEXICO

                      Miguel Angel Sanchez
                      1020 Rue Chateauneuf
                      Saint-Jerome QC J5L 1H7
                      CANADA

                      Miguel Bonilla
                      1527 North Cypress Avenue
                      Ontario, CA 91762

                      Miguel Delaguardia
                      2160 SW 123 Ct
                      Miami, FL 33175

                      Miguel Grau
                      Urb. Valparaiso Calle 1 K-16
                      Toa Baja, PR 00949

                      Miguel Kafati
                      Colonia Miramontes 5Ta Calle #2212
                      Tegucigalpa 0
                      HONDURAS

                      Miguel Otano
                      4406 NW 74th Ave.
                      005-002026
                      Miami, FL 33195-6407
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1449 of
                                        1639



                      Miguel Padilla
                      43 E Mcclellan Ave.
                      Livingston, NJ 07039

                      Miguel Sanchez
                      5415 Central Avenue
                      Bonita, CA 91902

                      Miguel Sanchez
                      298 S Peppertree Dr.
                      Vero Beach, FL 32963

                      Miguel Segui
                      Gran Via De Les Corts Catalanes 1040, Ba
                      Barcelona B 8020
                      SPAIN

                      Mihai Olteanu
                      1900 Van Buren St.
                      Apt 508B
                      Hollywood, FL 33020

                      Mihail Cristian Croitoru
                      6 Abbey Road
                      London ENG SW192LZ
                      UNITED KINGDOM

                      Mihail Golovin
                      Flat 4
                      7 Annandale Avenue
                      Bognor Regis ENG PO21 2ES
                      UNITED KINGDOM

                      Mihail Muntean
                      40 Glenavon Road
                      London ENG E15 4DD
                      UNITED KINGDOM

                      Mika Astono
                      9 Windmill Avenue
                      Ladera Ranch, CA 92694

                      Alireza Mikaeili
                      755 International Blvd
                      Apt#139
                      Houston, TX 77024

                      Mike Barger
                      131 S. 11th St
                      Pittsburgh, PA 15203-1241

                      Mike Benish
                      17 Woodycrest Ave
                      Toronto ON M4J 3A5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1450 of
                                        1639



                      Mike Benoit
                      188 Rue Lasalle
                      Saint-Constant QC J5A 0J1
                      CANADA

                      Mike Blakey
                      5245 SW 103 Drive
                      Gainesville, FL 32608

                      Mike Bolis
                      226 West Washington Street
                      Itasca, IL 60143

                      Mike Concannon
                      1024 Kirby Court
                      Folsom, CA 95630

                      Mike De Oliveira
                      185 Lambton Ave
                      Toronto ON M6N 2T1
                      CANADA

                      Mike Economopoulos
                      95 Chester Avenue
                      Toronto ON M4K 2Z8
                      CANADA

                      Mike Economopoulos
                      205 Wynford Drive, #2106
                      Toronto ON M3C3P4
                      CANADA

                      Mike Eielts
                      Wilgenhof 139
                      Papendrecht 3355PG
                      NETHERLANDS

                      Mike Gustavson
                      2554 Vine St.
                      Vancouver BC V6K 3L1
                      CANADA

                      Mike Hall
                      40 Hither Green Lane
                      Redditch ENG B98 9BW
                      UNITED KINGDOM

                      Mike Hintz
                      16672 Southwest Jordan Way
                      Tigard, OR 97224
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1451 of
                                        1639



                      Mike Holman
                      Flat 48 The Ironworks
                      58 Dace Road
                      Bow ENG E32NX
                      UNITED KINGDOM

                      Mike Howey
                      6171 Standing Stone Dr
                      Holland, MI 49423

                      Mike Kennedy
                      1319 Howard St
                      Mount Morris, MI 48458

                      Mike Miles
                      4608 Gates Road
                      Warrenton, VA 20187

                      Mike Miller
                      6366 NE Marina Ct
                      Hillsboro, OR 97124

                      Mike Oconnell
                      14489 Wilder Lane
                      Grass Valley, CA 95945

                      Mike Panayiotides
                      6S114 Lakewood Dr
                      Naperville, IL 60540

                      Mike Rose
                      261 Wallington Ave
                      Wallington, NJ 07057

                      Mike Sha
                      10 Tieman Circle
                      Delanco, NJ 08075

                      Mike Truxillo
                      925 State Street
                      New Orleans, LA 70118

                      Mike Ward
                      3190 Roswell Road Northwest
                      Atlanta, GA 30305

                      Mikhail Abdurakhmanov
                      16 Troy Drive
                      Apartment A
                      Springfield, NJ 07081

                      Mikhail Maximov
                      Seren Park Gardens 97
                      London ENG SE3 7RR
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1452 of
                                        1639



                      Mikhail Pakhomov
                      23 Mahogany Drive SE
                      Calgary AB T3M 2K3
                      CANADA

                      Mikkel Galsgaard
                      Arkildsdal
                      128 St
                      Norresundby 9400
                      DENMARK

                      Alex Mikul
                      10055 Southwest Sire Terrace
                      Beaverton, OR 97008

                      Milan Hodas
                      Mlynska 454
                      Rosina 1322
                      SLOVAKIA

                      Milan Jajic
                      8 Equestrian Way
                      Lemont, IL 60439

                      Milan Reichbach
                      444 South Blount Street, #117
                      Raleigh, NC 27601

                      Miles Orourke
                      237 Roesch Avenue
                      Unit A
                      Oreland, PA 19075

                      Mili Ombasic
                      220 Woodridge Crescent, #205
                      Ottawa ON K2B 8G1
                      CANADA

                      Matthew Miller
                      172 Rt 28
                      Inlet, NY 13360

                      Milly Petkovic
                      5 Hausman St, #2
                      Brooklyn, NY 11222

                      Milos Fiala
                      Oradourska 145
                      Lidice 27354
                      CZECH REPUBLIC

                      Milutin Markovic
                      Greifenstrasse 15
                      St. Gallen 9000
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1453 of
                                        1639



                      Minhaz Mishu
                      1004 Beverley Rd
                      Apt 2
                      Brooklyn, NY 11218

                      Miodrag Zarev
                      3 Beverley Close
                      Epsom ENG KT173HB
                      UNITED KINGDOM

                      Mira Ghattas
                      1277 West Cordova Street
                      Th31
                      Vancouver BC V6C 3P9
                      CANADA

                      Mircea Predut
                      Vintila Mihailescu Nr 19 Bl 62 Sc A Ap 5
                      Bucuresti B 60395
                      ROMANIA

                      Mirko Tomioli
                      Via Carotte 17 Verona
                      Cerea VR 37053
                      ITALY

                      Miroslav Stanojevic
                      Samarska 1
                      Unicom-Telecom D.O.O. Beograd
                      Belgrade 11077
                      SERBIA

                      Mirza Gubeladze
                      9035 Colby Dr, Apt 2319
                      Apt 2319
                      Fort Myers, FL 33919

                      Mirza Otovic
                      60 Monitor Street
                      Suite 2
                      Jersey City, NJ 07304

                      Mirza Otovic
                      60 Monitor St
                      Jersey City, NJ 07304

                      Misty Hutton
                      15 Rolling Hills Drive
                      Barrington, IL 60010-9333
                      Mitch Petracca
                      340 West 3rd Street, #3
                      Boston, MA 02127
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1454 of
                                        1639



                      Mitchell Ethier
                      2951 Riverside Drive
                      Unit 212
                      Ottawa ON K1V 8W6
                      CANADA

                      Mitchell Manning
                      18213 19th Drive Southeast
                      Bothell, WA 98012

                      Andy Mitchell
                      2900 Laurel Ridge Way
                      Apt 9006
                      East Point, GA 30344

                      Mithilan Thanabalasingam
                      14 Arnold Estate Lane
                      Ajax ON L1S 7L6
                      CANADA

                      Mitja Jankovi
                      Via Fabio Severo 33
                      Trieste TS 34133
                      ITALY

                      Mj Miller
                      18 Strowans Road
                      Dumbarton SCT G82 2PB
                      UNITED KINGDOM

                      Mohamad Alsalti
                      Plonzeile 38
                      Berlin 12459
                      GERMANY

                      Mohamad El Hout
                      14, Rue Veillette
                      Rue Veillette
                      Saint-Constant QC J5A 1N7
                      CANADA

                      Mohamad El-Zaru
                      17 Fox Meadow Drive
                      Westwood, MA 02090

                      Mohamad Fneich
                      Theodor Heuss Strasse 25
                      Albstadt 72459
                      GERMANY
                      Mohamad Geron
                      Auguste-Viktoria-Allee 51B
                      Berlin 13403
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1455 of
                                        1639



                      Mohamad Soufi
                      Mount Avenue
                      1 Mount View
                      London ENG W5 1PR
                      UNITED KINGDOM

                      Mohamed Abdelsamad
                      108 Ladomus Circle
                      Ridley Park, PA 19078

                      Mohamed Hadida
                      7930 Payne Ave
                      Dearborn, MI 48126

                      Mohamed Hedi Jarboua
                      Via Fratelli Zuccari, 3A
                      Fano PU 61032
                      ITALY

                      Mohamed Jarboua
                      Via Fratelli Zuccari, 3A
                      Fano PU 61032
                      ITALY

                      Mohamed Tabti
                      Chemin De La For t 14
                      Ecublens 1024
                      SWITZERLAND

                      Mohammad Ali
                      3902 Cook St
                      Alexandria, VA 22311

                      Mohammad Arshad
                      448 Bristol Road West
                      Mississauga ON L5R 2J6
                      CANADA

                      Mohammad Awad
                      St 1 , Block 3 , Bulding 93
                      Salwa 25600
                      KUWAIT

                      Mohammad Hirzallah
                      2311 Milam Street Apt 8102
                      Ganymede LLC
                      Houston, TX 77006

                      Mohammad Hussein
                      1962 Lobelia Way
                      Ottawa ON K4A 4R6
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1456 of
                                        1639



                      Mohammadamin Nikmanesh
                      1955 Alpha Way, #4904
                      Burnaby BC V5C 0K6
                      CANADA

                      Mohammed Alakhras
                      339 Rathburn Road West, #1806
                      Mississauga ON L5B0K6
                      CANADA

                      Mohammed Ali
                      519 Warden Ave
                      Toronto ON M1L3Z2
                      CANADA

                      Mohammed Almani
                      3525 Sage Road
                      Unit 912
                      Houston, TX 77056

                      Mohammed Dahir
                      7201 York Avenue South #308
                      Edina, MN 55435

                      Mohammed Ennabety
                      1628 Diamond Springs Road
                      Apt 202
                      Virginia Beach, VA 23455

                      Mohammed Ennabety
                      1628 Diamond Springs Road
                      Apt# 202
                      Virginia Beach, VA 23455

                      Mohammed Ennaoui
                      4035 Levesque Ouest #5
                      Laval QC H7W 2P3
                      CANADA

                      Mohammed Mahli
                      Testilkent Mahallesi, Demokrasi Blv. No:
                      Gaziantep 27000
                      TURKEY

                      Mohammed Miab
                      133 Copsterhill Road
                      Oldham ENG OL8 1QQ
                      UNITED KINGDOM

                      Mohammed Moosa
                      508 Centennial Blvd Ste 102
                      Richardson, TX 75081
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1457 of
                                        1639



                      Mohammed Munier Hamoud Shikh
                      Avrillastrasse 1
                      Schwalbach Am Taunus 65824
                      GERMANY

                      Mohammed Qasim
                      322 Heaton Road
                      Bradford ENG BD9 4RY
                      UNITED KINGDOM

                      Mohammed Safeek Korakkottil
                      10 Lime Tree Road
                      Birmingham ENG B82XG
                      UNITED KINGDOM

                      Mohammed Shaik
                      843 North Markoe Street
                      Philadelphia, PA 19139

                      Abdulrahaman Mohammed
                      5137 Lincoln Avenue
                      Alexandria, VA 22312

                      Mohan Singh
                      51 Adams Terrace #12
                      Kelburn WGN 6021
                      NEW ZEALAND

                      Mohd Rashad Al Bati
                      Flat A, 10 Dalrymple Court, Kirkintilloc
                      Glasgow SCT G66 3AA
                      UNITED KINGDOM

                      Moises Govea
                      9155 Telegraph Road
                      2nd Floor
                      Pico Rivera, CA 90660

                      Andrew Mondi
                      3903 Vaughan Street
                      Austin, TX 78723

                      Mondiru Cristian
                      Splaiul Independentei 313 Bl C9 Ap 93
                      Bucuresti B 60042
                      ROMANIA

                      Monet Harkin
                      7017 Wakefield St
                      Dallas, TX 75231
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1458 of
                                        1639



                      Monica Torres
                      111 Pacific Avenue
                      Suite 1803
                      Toronto ON M6P2P2
                      CANADA

                      Andrew Montanez
                      746 South Los Angeles St., #304
                      Los Angeles, CA 90014

                      Monty Johnson
                      9808 Skyline Circle
                      Johnston, IA 50131

                      Monty Slimp
                      5803 244th St Sw
                      Mountlake Terrace, WA 98043

                      Morgan Arnold
                      51 Ashwin Parade
                      Torrensville SA 5031
                      AUSTRAILA

                      Morgan Hatcher
                      4713 E Van Buren St
                      Unit 2031
                      Phoenix, AZ 85008

                      Moritz Sumera
                      Johannkamp 1
                      Hamburg 22459
                      GERMANY

                      Mostafa Ibrahim
                      110 William Smith Close
                      Cambridge ENG CB1 3QF
                      UNITED KINGDOM

                      Motin Uddin
                      172 Kenelm Rd
                      Birmingham ENG B10 9AG
                      UNITED KINGDOM

                      Mouaid Al Anbawi
                      Wolfnitzer Ring 36
                      Dresden 1169
                      GERMANY

                      Mouhssin Souici
                      435 Bourke Avenue
                      1E
                      Dorval QC H9S3W8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1459 of
                                        1639



                      Mounir Benamara
                      21 Avenue Pablo Picasso
                      Nanterre 92000
                      FRANCE

                      Verley Moyton Jr.
                      17381 35th Place N
                      Loxahatchee, FL 33470

                      Mozelle Smith
                      Yamacraw Hill Road
                      Nassau
                      THE BAHAMAS

                      Alan Mrvica
                      7436 NW 113 Ave
                      Parkland, FL 33076

                      Muaz Kawrdi
                      Jeekelstraat 32
                      Leerdam 4142 AC
                      NETHERLANDS

                      Muhamad Rich
                      Malfattigasse 16/30
                      Wien 1120
                      AUSTRIA

                      Muhamad Rich
                      Malfattigasse 16, #30
                      Wien 1120
                      AUSTRIA

                      Muhammad Affan
                      4991 Rue Ath Na
                      Montreal QC H8Z 3K9
                      CANADA

                      Muhammad Afzal
                      5602 Tenth Line West
                      Unit # 123
                      Mississauga ON L5M 7L9
                      CANADA

                      Muhammad Jamil
                      4706 Kirkdale Drive
                      Woodbridge, VA 22193

                      Muhammad Saleem
                      1869 Emerald Drive
                      Orefield, PA 18069
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1460 of
                                        1639



                      Muhammad Satti
                      504/16 Railway Parade
                      Level 5 Commercial Entry (Qpay)
                      Burwood NSW 2134
                      AUSTRAILA

                      Muhammed Bozkurt
                      3 San Marino Dr
                      Prestons NSW 2170
                      AUSTRAILA

                      Muhammed Dawood
                      135 Claremont Road
                      London ENG E7 0PY
                      UNITED KINGDOM

                      Muhammed Gunsay
                      12A Buchan Street
                      Melbourne VIC 3048
                      AUSTRAILA

                      Muhammed Kaya
                      Balikyolu Mah Ozanlar Cad No 85A Esenyur
                      T.C 27815582132
                      Istanbul 34517
                      TURKEY

                      Muhammet Orcun Kir
                      Strada Republicii 320, Barlad 731130 (Ur
                      Et.1
                      Barlad VS 731130
                      ROMANIA

                      Mukesh Graham
                      2340 Strathmore Cres
                      Pickering ON L1X2H2
                      CANADA

                      Aditya Mukherjee
                      88 Prestwick Way
                      Edison, NJ 08820

                      Mark James Mullins
                      P.O. Box 1313
                      Douglas, WY 82633

                      Mun Leo
                      3561 Homestead Road 195
                      Santa Clara, CA 95051
                      Munhall Inc
                      25 Downey Road
                      Order #2
                      Okotoks AB T1S 1H5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1461 of
                                        1639



                      Murat Gokyildiz
                      Eisenstr 29
                      Cologne 50825
                      GERMANY

                      Murat Gunes
                      Finkenwerder Norderdeich 49
                      Hamburg 21129
                      GERMANY

                      Adam Muriby
                      1354 Hamilton Grn
                      Allen, TX 75013

                      Mustafa Akar
                      Stettiner Strasse #32
                      Erlangen 91058
                      GERMANY

                      Mustafa Almusli
                      390 Wyandotte Street East
                      Windsor ON N9A 3H6
                      CANADA

                      Mustafa Hamandi
                      36-8 Fort Evans Rd NE
                      Apt 7
                      Leesburg, VA 20176

                      Mutwa Glascoe
                      10416 Bowies Knoll
                      Schertz, TX 78154

                      Myles Holmes
                      6003 Deleon Avenue
                      Fort Pierce, FL 34951

                      Myo Thein
                      731 87th Street
                      Daly City, CA 94015

                      Nabeel Alam
                      1709 - 25 Thunder Grove
                      Scarborough ON M1V 3M2
                      CANADA

                      Nadine Smith
                      4659 26th Ave S
                      St Petersburg, FL 33711
                      Nadir Mir
                      2015 South Finley Road
                      Apt 812
                      Lombard, IL 60148
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1462 of
                                        1639



                      Abdullah Naeem
                      46042 Earle Wallace Circle
                      Sterling, VA 20176

                      Nagarajendra Palapati
                      775 E Long Lake Rd
                      Troy, MI 48085

                      Najma Ali
                      5054 Warwickshire Way
                      Mississauga ON L5V 1R3
                      CANADA

                      Namo Pato
                      2381 Hidden Springs Court
                      Turlock, CA 95382

                      Namratha Vedire
                      319 Monterey Circle
                      Jonesboro, GA 30236

                      Nanci Lopez
                      5817 Rae Drive
                      Las Vegas, NV 89108

                      Nanda Sugito
                      2755 Waterway Dr
                      Grand Prairie, TX 75054

                      Naramsin Gorial
                      Prilyckegatan 101,
                      Goteborg 42532
                      SWEDEN

                      Narik Tachadjian
                      7809 Peachtree Avenue
                      Panorama City, CA 91402

                      Narik Tachadjian
                      7809 Peachtree Avenue
                      Panorama, CA 91402

                      Narik Tachadjian
                      7809 Peachtree Ave
                      Panorama, CA 91402

                      Narzan Yousef
                      Ospelgasse 1-9/1/55, 1/55
                      Wien 1200
                      AUSTRIA

                      Nasrin Mostadamiyan
                      315/23-25 North Rocks Rd #315
                      North Rocks NSW 2151
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1463 of
                                        1639



                      Natalia Duque
                      536 Northeast 69th Street
                      Miami, FL 33138

                      Natalie Higgins
                      100 Callio St.
                      Pittsburgh, PA 15210

                      Natalie Pogue
                      213 East 3rd
                      Covington, KY 41011

                      Nate Adams
                      41191 North Arbor Avenue
                      San Tan Valley, AZ 85140

                      Nate Buchanan
                      243 W 76th St
                      Apt 4B
                      New York, NY 10023

                      Nate Triebner
                      1088 St Anthony Rd
                      London ON N6H 2P6
                      CANADA

                      Nathan Bennett
                      227 Medicine Butte Dr #B
                      Evanston, WY 82930-3004

                      Nathan Bennett
                      227 Medicine Butte Drive
                      #B
                      Evanston, WY 82930

                      Nathan Bohn
                      50 Bush Avenue
                      Greenwich, CT 06830

                      Nathan Carver
                      7880 E Viewmount Ct
                      Anaheim, CA 92808

                      Nathan Everett
                      606 Country Meadow Tr
                      Ortonville, MI 48462

                      Nathan Furr
                      212 Rugby Lane
                      Mckinney, TX 75072

                      Nathan Gallegos
                      245 Benton Avenue
                      San Francisco, CA 94112
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1464 of
                                        1639



                      Nathan Harrington
                      1443 Grand Falls Drive
                      Missouri City, TX 77459

                      Nathan Liu
                      28 Tavistock Road
                      South Hurstville NSW 2221
                      AUSTRAILA

                      Nathan McFate
                      5350 E Motsinger Rd
                      Salem, IN 47167

                      Nathan McLaughlin
                      421 Lamar Avenue
                      Pittsburgh, PA 15221

                      Nathan Nakao
                      319 Ironside Cove
                      Stafford, VA 22554

                      Nathan Novak
                      1841 Wetherburn Dr
                      Columbus, OH 43235

                      Nathan Peltier
                      Avenue Albert Jonnart, 27
                      Woluwe-Saint-Lambert 1200
                      BELGIUM

                      Nathan Rich
                      4109 W 1850 N
                      Lehi, UT 84043

                      Nathan Ruston
                      170-180 Carlton Road
                      Unit 5 (Now Education)
                      Nottingham ENG NG3 2BB
                      UNITED KINGDOM

                      Nathan Schrenk
                      407 E Argonne Dr
                      Kirkwood, MO 63122

                      Nathan Strobel
                      709 S. 6th St.
                      Brainerd, MN 56401

                      Nathan Valverde
                      460 Harrison Ave #210
                      Boston, MA 02118

                      Nathanael Durant
                      1300 Pennsylvania Street, #201
                      Denver, CO 80203
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1465 of
                                        1639



                      Nathaniel Danos
                      1389 Jefferson St, Unit C305
                      Oakland, CA 94612

                      Nathaniel Hopkins
                      21 Starboard Avenue
                      Jamestown, RI 02835

                      Nathaniel Moore
                      4108 Medary Ave
                      Brookings, SD 57006

                      Nathaniel Parizi
                      117 Shallowford Way
                      Seneca, SC 29672

                      Nathaniel Rodway
                      2339 Harrison Avenue
                      Baldwin, NY 11510

                      Natt Taylor
                      563 Fernwood Ln
                      563 Fernwood Ln
                      Fairless Hills, PA 19067

                      Navdeep Devgan
                      76 Ravenswood Dr
                      Brampton ON L6Y 4A1
                      CANADA

                      Naveed Ahmad
                      180 Capp St. #004
                      San Francisco, CA 94110

                      Naveed Bawany
                      14443 Simmons Ln
                      Woodbridge, VA 22193

                      Naveed Dezfoli
                      8454 Langdon Avenue
                      Unit 5
                      North Hills, CA 91343

                      Naveen Kumar Indurti
                      1803 Canyon Oaks Lane
                      Lake Forest, CA 92679

                      Nazrry Carlos
                      14520 Dayton Avenue North
                      Apt B
                      Shoreline, WA 98133

                      Neal Cynkus
                      25849 E Calhoun Pl
                      Aurora, CO 80016
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1466 of
                                        1639



                      Neal Heinecke
                      3921 N Steele Blvd, #107
                      Fayetteville, AR 72703

                      Nebojsa Sjekloca
                      Trg Nikole Kovalevica 7, Blok V Sprat 15
                      Blok V Sprat 15
                      Podgorica 81000
                      MONTENEGRO

                      Ned Alicando
                      6-9405 121 Street
                      Surrey BC V3V 0A9
                      CANADA

                      Neeraj Mittra
                      119 Bella Luna
                      Spring, TX 77381

                      Neil Gaila
                      18017 Chatsworth Street
                      # 369
                      Northridge, CA 91344

                      Neil Gaila
                      17726 Kinzie Street
                      # 76
                      Los Angeles, CA 91325

                      Neil Haque
                      375 Lindenwood Drive East
                      Winnipeg MB R3P2H1
                      CANADA

                      Neil Nylander
                      7345 164th Ave NE
                      Suite I145-316
                      Redmond, WA 98052

                      Neil Parry
                      4 Copperbeech Drive
                      Tredegar WLS NP224FD
                      UNITED KINGDOM

                      Neil Skoglund
                      46 North Side
                      The Cardinals
                      Farnham ENG GU10 1ED
                      UNITED KINGDOM
                      Neill Macguire
                      7 Heather Avenue
                      Glasgow SCT G61 3AN
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1467 of
                                        1639



                      Nelson Lee
                      13845 Proctor Avenue
                      La Puente, CA 91746

                      Nemanja Milojevic
                      Momacka 4
                      Beograd 11050
                      SERBIA

                      Nenad Zec
                      Buchrainweg 65
                      Offenbach 63069
                      GERMANY

                      Nery Carranza-Vences
                      1046 Caldwell Ave
                      Vallejo, CA 94591

                      Neslihan Uslu
                      Neslihan Eczanesi Istasyon Mah. Leylak C
                      Ankara 6790
                      TURKEY

                      Nestor Gonzalez
                      9580 Blackbear Dr
                      Reno, NV 89506

                      Nestor Pimentel
                      3030 McKinney Ave Apt 505
                      Dallas, TX 75204-7482

                      Nevin Mcclintock
                      38 Kellett St
                      Northcote VIC 3070
                      AUSTRAILA

                      Laila and Eric New Home
                      11533 Brighton Knoll Loop
                      Riverview, FL 33579

                      Nexhmedin Hajrizi
                      Im Bans 4
                      Pinneberg 25421
                      GERMANY

                      Neysi Anderson
                      8532 Via Mallorca
                      Unit B
                      La Jolla, CA 92037
                      Anh Nguyen
                      1620 W Center St, #255
                      Rochester, MN 55902
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1468 of
                                        1639



                      Vu Nguyen
                      9625 Pine Lake Dr
                      Houston, TX 77055

                      Nhat Nguyen
                      3109 Brandywine Drive
                      San Jose, CA 95121

                      Nicholas Axcell
                      3522 Cornwall Court
                      Missouri City, TX 77459

                      Nicholas Bardoutsos
                      133 N Bread Street
                      Unit 1I1
                      Philadelphia, PA 19106

                      Nicholas Barlow
                      3628 Omalley Ln
                      Montgomery, AL 36116

                      Nicholas Bolda
                      2787 West Fox Hunters Loop
                      Lehi, UT 84043

                      Nicholas Brandenstein
                      6560 Calgary Court
                      Columbus, OH 43229

                      Nicholas Bui
                      80 Maffey Cresent
                      Richmond Hill ON L4S 0A8
                      CANADA

                      Nicholas Canada
                      2801 Walnut Hill St
                      3D
                      Philadelphia, PA 19152

                      Nicholas Christianson
                      2308 North 167th Avenue
                      Omaha, NE 68116

                      Nicholas Diederich
                      6 West Benson Street
                      Reading, OH 45215

                      Nicholas Diguido
                      11710 S Hamlin Ave
                      Alsip, IL 60803

                      Nicholas Dussault
                      156 Avenue Des Jonquilles
                      Gatineau QC J9A 2J7
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1469 of
                                        1639



                      Nicholas Fyda
                      316 Perth Ct
                      Roseville, CA 95747

                      Nicholas Gohr
                      904 Glenmont Road
                      Keller, TX 76248-0379

                      Nicholas Hahn
                      Sophienstrasse 51
                      Frankfurt 60487
                      GERMANY

                      Nicholas Karim
                      4024 Campus Willows Loop Northeast
                      Lacey, WA 98516

                      Nicholas Librandi
                      46 Wavey Willow Lane
                      Montgomery, NY 12549

                      Nicholas Lindsay
                      11 Verburg Court
                      Stuart Park NT 820
                      AUSTRAILA

                      Nicholas Longo
                      837 SW 29th St
                      Cape Coral, FL 33914

                      Nicholas Manson
                      885 Craigflower Road, #402
                      Victoria BC V9A 2X4
                      CANADA

                      Nicholas Opie
                      L3, 200 Lygon St
                      Carlton VIC 3053
                      AUSTRAILA

                      Nicholas Platt
                      78 South 1st Street, #15
                      Brooklyn, NY 11249

                      Nicholas Pownall
                      46 Burgh Heath Road
                      Epsom ENG KT17 4LX
                      UNITED KINGDOM

                      Nicholas Pucci
                      2000 South Ocean Blvd
                      17F
                      Boca Raton, FL 33432
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1470 of
                                        1639



                      Nicholas Robbins
                      5800 Martin Luther Ave
                      Birmingham, AL 35228

                      Nicholas Roua
                      37 Brumstead Drive
                      Richmond Hill ON L4E 4Y6
                      CANADA

                      Nicholas Rudolph
                      314 Richmond St
                      Philadelphia, PA 19125

                      Nicholas Ruggles
                      1065 Sullivan Rd
                      Ogden, UT 84403

                      Nicholas Soldani
                      2037 Friendship Dr
                      Spring Hill, TN 37174

                      Nicholas Stanek
                      3601 Grant Line Road
                      Rancho Cordova, CA 95742

                      Nicholas Ternes
                      #203 10624 78 Ave Nw, 203
                      Edmonton AB T6E1P5
                      CANADA

                      Nicholas Welker
                      6737 Friars Road
                      Unit 191
                      San Diego, CA 92108

                      Nick Blackburn
                      31 Danesfort Avenue
                      Acomb
                      York ENG YO243AN
                      UNITED KINGDOM

                      Nick Brookes
                      1 Grosvenor Road
                      Barnwood
                      Gloucester ENG GL2 0SA
                      UNITED KINGDOM

                      Nick Cardinale
                      48 St Pauls Ave
                      Sydney NSW 2154
                      AUSTRAILA

                      Nick Caruso
                      6326 Glenview Place
                      Pittsburgh, PA 15206
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1471 of
                                        1639



                      Nick Crowther
                      62 Regent Road
                      Chorley ENG PR7 2TL
                      UNITED KINGDOM

                      Nick Ellering
                      5652 Twin Lake Ter N
                      Crystal, MN 55429

                      Nick Gauthier
                      47 Warren Street
                      Arlington, MA 02474

                      Nick Gower
                      1907 Encino Belle
                      San Antonio, TX 78259

                      Nick Greife
                      1011 Caroline Drive
                      Washington, MO 63090

                      Nick Greufe
                      37378 Parsons Creek Road
                      Springfield, OR 97478

                      Nick Holman
                      5 Frys Meadow
                      Stanford In The Vale
                      Faringdon ENG SN78FN
                      UNITED KINGDOM

                      Nick Howard
                      13201 S Wakial Loop
                      Apt 2092
                      Phoenix, AZ 85044

                      Nick Kuzmik
                      657 Pine Point Drive
                      Akron, OH 44333

                      Nick Mooneyham
                      2365 Monarchos Ln
                      Montgomery, IL 60538

                      Nick Nicolaides
                      18 Kenmare Gardens
                      London ENG N13 5DN
                      UNITED KINGDOM

                      Nick Simec
                      545 Young Avenue
                      Apartment 1
                      Halifax NS B3H 2V4
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1472 of
                                        1639



                      Nick Speranzella
                      324 E 2nd Ave #425
                      Columbus, OH 43201

                      Nick Tann
                      17 Harper Grove
                      Spennymoor ENG DL16 6FN
                      UNITED KINGDOM

                      Nick Wilkens
                      123 West 1st Street
                      Ste D
                      Monroe, MI 48161

                      Nick Yang
                      6 Whitehaven Lane
                      Kitchener ON N2H 0B3
                      CANADA

                      Broderick Nickelberry Jr.
                      333 Alabama Street
                      Vallejo, CA 94590

                      Nicklas Astling
                      Kohagsberget 1
                      Torslanda 42351
                      SWEDEN

                      Nico Pitney
                      18 Elgin Park
                      San Francisco, CA 94103

                      Nicolae Nistor
                      Str. Vaii , Nr. 95
                      Sura Mare SB 557265
                      ROMANIA

                      Nicolas Garces
                      8818 Southwest 127th Terrace
                      Miami, FL 33176

                      Nicolas Kruk
                      908 Adeline Court
                      Durham, NC 27713

                      Nicolas Londono
                      7128 Diamond Head Rd
                      Jacksonville, FL 32216

                      Nicolas Martelli
                      532 569
                      La Plata B 1900
                      ARGENTINA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1473 of
                                        1639



                      Nicolas Massri
                      1990 Northeast 186th Drive
                      North Miami Beach, FL 33179

                      Nicolas Massri
                      1990 NE 186th Dr
                      North Miami Beach, FL 33179

                      Nicolas Sanchez
                      Siria 580
                      Hurlingham B 1686
                      ARGENTINA

                      Nicolas Swallow
                      Flat 2, 98 Brixton Hill
                      London ENG SW2 1QN
                      UNITED KINGDOM

                      Nicole Cesa
                      1555 Mesa Verde Dr E
                      Apt 32C
                      Costa Mesa, CA 92626-5201

                      Nicole Maturin
                      208 Woodcrest Circle
                      New Iberia, LA 70560

                      Nicole Williams
                      60 West 14th Street
                      4A
                      New York, NY 10011

                      Nicoleta Florenta Heica
                      Str. Sibiu 17, Bl Z5, Sc A, Et 3, Ap 20,
                      Bucharest B 61535
                      ROMANIA

                      Nicoleta Florenta Heica
                      Strada Sibiu Nr.17 Bl.Z5 Sc.A Et.3 Apart
                      Sector 6 B 61535
                      ROMANIA

                      Nicon Bordeianu
                      Alexanderstrasse 15
                      Berlin 10179
                      GERMANY

                      Niels Nielsen
                      4 Washington Avenue
                      Unit D
                      Saugerties, NY 12477
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1474 of
                                        1639



                      Niels Paulus
                      Zeilstraat 60, #3
                      Amsterdam 1075 SK
                      NETHERLANDS

                      Nigel Webb
                      125 Ladyfield Road
                      Chippenham ENG SN14 0AP
                      UNITED KINGDOM

                      Nii Amartey
                      2925 Silverthorn Dr
                      Charlotte, NC 28273

                      Nikhil Jagadeeshwar
                      5241 Stream Bank Ln
                      Greenbelt, MD 20770

                      Niklas Laninge
                      Planterarvagen 75
                      Enskede Gard 12048
                      SWEDEN

                      Nikola Bravo
                      1303 Palm Ridge Lane
                      San Jose, CA 95123

                      Nikolai Iakoubenia
                      Kantaras 9
                      Latsia, Nicosia 2221
                      CYPRUS

                      Nikolai Zapero
                      137 Beaver Street
                      San Francisco, CA 94114

                      Nikolaos Mantelos
                      Marmara #7
                      Stamata Athens 14575
                      GREECE

                      Nikolay Ivanov
                      770 Pearson St., #302
                      Des Plaines, IL 60016

                      Nikoo Parker
                      18531 Wells Drive
                      Los Angeles, CA 91356

                      Nil Patel
                      1003 North Church Street, #203
                      Elkhorn, WI 53121
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1475 of
                                        1639



                      Nile Roberts
                      603 Shale Gray Court
                      Cary, NC 27519

                      Nils Borke
                      Weserstrasse 54
                      Vintego Gmbh
                      Wilhelmshaven 26382
                      GERMANY

                      Nima Gurung
                      47-05 47th Ave
                      2F
                      Woodside, NY 11377

                      Nimalan Rajesparan
                      2 Cranbrook Drive
                      Romford ENG RM2 6AP
                      UNITED KINGDOM

                      Nina Boceva
                      Han Asparuh 18
                      Bansko 2770
                      BULGARIA

                      Ninel Bejan
                      11333 North 92nd Street
                      Unit 1042
                      Scottsdale, AZ 85260

                      Nipun Walia
                      193 Royal Street
                      Yokine WA 6060
                      AUSTRAILA

                      Nirmal Gill
                      13 Saddlelake Grove Northeast
                      Calgary AB T3J 0P1
                      CANADA

                      Nirmal Patel
                      305 Jennifer Lane
                      Roselle, IL 60172

                      Nirmit Parekh
                      2 Berkshire Ct
                      Streamwood, IL 60107

                      Niseforo Rivera
                      1345 E Loftus Lane
                      Fresno, CA 93710

                      Nithin Kantareddy
                      85 Seaport Blvd, #307
                      Boston, MA 02210
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1476 of
                                        1639



                      Nithya Racharla
                      12 Best Street, Reservoir
                      Unit 2
                      Melbourne VIC 3073
                      AUSTRAILA

                      Nizam Uddin
                      91 Fifth Avenue
                      London ENG W104DW
                      UNITED KINGDOM

                      Nizar Rafie
                      13917 River Willow Pl Tampa, Florida 336
                      Tampa, FL 33637

                      Noah Terrazas
                      12404 Snowdrop Drive
                      Austin, TX 78739

                      Noah Wrubel
                      17 Depeyster Ave
                      Tenafly, NJ 07670

                      Noe Cebreros
                      40125 Los Alamos Road
                      D131
                      Murrieta, CA 92562

                      Noel Cabadas
                      3302 North 64th Drive
                      Phoenix, AZ 85033

                      Noel Fox
                      770 Lakeview Avenue
                      San Francisco, CA 94112

                      Noemi Aguirre
                      4165 Woodlawn Avenue
                      Los Angeles, CA 90011

                      Nojem Libson
                      2962 Texcoc Drive
                      Eagle Pass, TX 78852

                      NordicCom Scandinavia AB
                      Jarnvagsgatan 8
                      Hovmantorp 36542
                      SWEDEN

                      Noreen Thur
                      4703 So Yucca Dr
                      Taylorsville, UT 84123
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1477 of
                                        1639



                      Norman Morales Vega
                      Cerrada Alberto Zamora 26
                      Villa Coyoacan
                      Mexico City DF 4000
                      MEXICO

                      Norman Roa
                      Cataluia 32-A Col. Los Portales
                      32-A
                      Hermosillo SON 83247
                      MEXICO

                      Normand Hall
                      530 South 51st Street
                      Tacoma, WA 98408

                      Andrew Norris
                      200 W. 64th Street
                      Inglewood, CA 90302-1126

                      Nour Abuhassan
                      Vpost Uk, Unit 9, Britannia Industrial E
                      Suite Qc-2040-3470, Poyle Road
                      Colnbrook ENG SL3 0BH
                      UNITED KINGDOM

                      Noureddine Mriouah
                      10 Collins Lake Place
                      Mableton, GA 30126

                      Nouri Brahmia
                      1160 Rue Belanger, Montreal, Qc
                      Ville De Montreal QC H2S1H4
                      CANADA

                      Nsilu Ferreira
                      84256 York House, Green Lane West
                      Preston ENG PR3 1NJ
                      UNITED KINGDOM

                      Nuno Correia
                      Rua De Pedroucos No 4 1o Drt
                      Lisboa PT-11 1400-289
                      PORTUGAL

                      Nuno Lopes
                      120 University Place Room B215
                      University Of Glasgow Sir Graeme Davis
                      Glasgow SCT G12 8TA
                      UNITED KINGDOM

                      Oba Vincent
                      2707 N 1700 E
                      84040, UT 84040
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1478 of
                                        1639



                      Octavio Perez
                      581 N Forest Cove Loop
                      Coldspring, TX 77331

                      Odair Civelli Junior
                      Rua Rio Mambu 27
                      Vinhedo SP 13287-594
                      BRAZIL

                      Odair Civelli Junior
                      Rua Rio Mambu 27
                      Sao Joaquim SP 13287-594
                      BRAZIL

                      Odair Civelli Junior
                      Rua Rio Mambu, 27
                      Sao Joquim SP 13287-594
                      BRAZIL

                      Oday Bisharat
                      5 Patty Ellen Dr
                      St. Peters, MO 63376

                      Odysseas Bormpoudakis
                      Urbanstrasse 94
                      Berlin 10967
                      GERMANY

                      Oele Geirnaert
                      Palmenlaan 16
                      Bus 12
                      Liedekerke 1770
                      BELGIUM

                      Oguz Aksehir
                      430 St Davids Square
                      London ENG E14 3WQ
                      UNITED KINGDOM

                      Oladapo Dosunmu
                      3306 Broken Branch Court
                      Apt 132
                      Sacramento, CA 95834

                      Aldo Olano
                      10866 Washington Blvd
                      Apt 27
                      Culver City, CA 90232

                      Olatunde Adebanjo
                      19 Eden Park Avenue
                      Beckenham
                      Kent ENG BR3 3HJ
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1479 of
                                        1639



                      Olatunde Ajanaku
                      Flat 2, Mahoney House
                      Heald Street
                      London ENG SE14 6TX
                      UNITED KINGDOM

                      Oleg Dimov
                      1607 Abram Court
                      San Leandro, CA 94577

                      Oleg Dmitiev
                      Alte Schonhauser Str 32C
                      Berlin 10119
                      GERMANY

                      Oleg Onischuk
                      Khmelnitskoe Highway 89
                      Flat 71
                      Vinnitsa 21021
                      UKRAINE

                      Oleksii Graban
                      Bolgarskaya 87 (22 Kadorr), #127
                      Odessa 65000
                      UKRAINE

                      Olgi Zenullari
                      400 5th Ave
                      49Fgh
                      New York, NY 10018

                      Oliver Chapman
                      48 Central Park Drive
                      Birmingham ENG B18 5RR
                      UNITED KINGDOM

                      Oliver Juang
                      2703 Mathews St
                      Berkeley, CA 94702

                      Oliver Wolter
                      Daniel-Greiner-Weg 8
                      Seeheim-Jugenheim 64342
                      GERMANY

                      John Oliver
                      904 Stephenstown Rd
                      Linden, TN 37096

                      Olivia Alvarez
                      1752 Sherry Lane, #21
                      Santa Ana, CA 92705
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1480 of
                                        1639



                      Olivier Boukli
                      23 Washington St
                      Port Chester, NY 10573

                      Olivier Sorin
                      321 Soudan Avenue
                      Toronto ON M4S1W6
                      CANADA

                      Agustin Olmos
                      2101 Janette Drive Napa
                      Napa, CA 94558

                      Olusegun Hundogan
                      6 Tweedsmuir Road
                      Cardiff WLS CF242RD
                      UNITED KINGDOM

                      Omaid Yaqubi
                      8 Franmar Road
                      Brampton ON L6X 0W2
                      CANADA

                      Omar Alquaseer
                      11218 Puckett River Dr
                      Cypress, TX 77433

                      Omar Marino
                      2685 Sunbranch Drive
                      Orlando, FL 32822

                      Omar Valdez Jara
                      Vinuel 5
                      Hermosillo SON 83220
                      MEXICO

                      Omer Carikcioglu
                      Buyukhanli Suadiye Konutlari A3 Blok Dai
                      Buyukhanli Suadiye Konutlari
                      Istanbul 34740
                      TURKEY

                      Omer Mert Sezgin
                      17 Baronbali Street
                      Dundas NSW 2117
                      AUSTRAILA

                      Omer Shahid
                      349 Frederick Street
                      Oldham ENG OL84HG
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1481 of
                                        1639



                      Onkar Singh
                      11 Chartwell Street
                      Aspley QLD 4034
                      AUSTRAILA

                      Onur Eginlioglu
                      4215 43rd Ave
                      C19
                      Sunnyside, NY 11104

                      Onur Ozturk
                      Onur Prestige Motors
                      Unit 3 Period Work
                      1 Lammas Road ENG E10 7QT
                      UNITED KINGDOM

                      Onur Yildirim
                      1800 22nd Ave Apt 203
                      San Francisco, CA 94122

                      Onyinye Gabriel
                      1244 Stone Castle Circle
                      Smyrna, GA 30080

                      Oprea Ovidiu
                      Str Pelbartus Nr 2 Bloc Europa 1 Ap 50
                      Timisoara TM 300649
                      ROMANIA

                      Orazio De Grazia
                      6440 NW 114th Ave Unit 432 Doral Fl 3317
                      Doral, FL 33178

                      Orestes Jimenez
                      7162 W 33 Ln
                      Hialeah Gardens, FL 33018

                      Oreva Oboghor
                      710 Childers Cres, #210
                      Saskatoon SK S7L 6W4
                      CANADA

                      Orhan Bayhan
                      Schwalbacher Strasse 26
                      Frankfurt Am Main 60326
                      GERMANY

                      Orhan Bozkurt
                      Grazer Strasse 1A
                      Top1
                      Judendorf-Strassengel 8111
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1482 of
                                        1639



                      Orin Henderson
                      935 Quincy St Nw
                      Washington Dc, DC 20011

                      Oriol Montes
                      Naciones Unidas 7
                      Terrassa B 8225
                      SPAIN

                      Orion Sorrell
                      2011 University Avenue Northeast
                      Minneapolis, MN 55418

                      Orlando Pena
                      8372 NW 68th St
                      Ep-12710
                      Santo Domingo, FL 33166

                      Orlando Pliego
                      805 N Olive Ave
                      Apt 704
                      West Palm Beach, FL 33401-3751

                      Orlando Pliego
                      805 N Olive Ave
                      Unit 704
                      West Palm Beach, FL 33401

                      Oro Whitley
                      10926 Old Manchaca Road
                      Austin, TX 78748

                      Albino Orozco Jr
                      21731 Fourth Ave
                      Stevinson, CA 95374-9608

                      Orr Koren
                      516 West 47th Street
                      S6F
                      New York, NY 10036

                      Orvel Paulin
                      2433
                      Meldrum
                      Windsor ON N8W4E7
                      CANADA

                      Osama Jamil
                      7406 Sylvia Plath Drive
                      Laredo, TX 78041

                      Oscar Couch
                      12230 Ledbury Commons Drive
                      Gibsonton, FL 33534
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1483 of
                                        1639



                      Oscar Leon
                      10012 NW 7th St
                      Unit 107
                      Miami, FL 33172

                      Oscar Montesinos Alarcon
                      Calle Azucena, 6 - 2O - 2a
                      Valencia V 46025
                      SPAIN

                      Oscar Tovar
                      8609 Cedar Brook Point Dr
                      Houston, TX 77080

                      Osilama Alemoh
                      2546 Ambling Circle
                      Crofton, MD 21114

                      Oskar Mansbacka
                      Tegnergatan 57B
                      Stockholm 11161
                      SWEDEN

                      Osmark Villasenor
                      2180 Hemlock Avenue
                      San Diego, CA 92154

                      Osvaldo Gama
                      3149 Blake St
                      Apt 211
                      Denver, CO 80205

                      Osvaldo Garcia
                      4731 Amal Saleh Dr
                      Irving, TX 75061

                      Oswald Binford
                      295 Secr 2230
                      Corsicana, TX 75109

                      Othman R'Ghioui
                      172 Leo-Lacombe
                      Laval QC H7N 3Y2
                      CANADA

                      Oudom Ky
                      5051 Colina Drive
                      La Mesa, CA 91942

                      Oudom Phommalychan
                      1931 Autumn Oak Place
                      Stockton, CA 95209
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1484 of
                                        1639



                      Oumaima El Haidi
                      12 Blvd Du General Leclerc
                      Appartement 48
                      Clichy 92110
                      FRANCE

                      Owais Jaleel
                      155 Yorkville Avenue
                      Unit 1514
                      Toronto ON M5R 0B4
                      CANADA

                      Owen Atalifo
                      79 Woodcourt Street
                      Ambarvale NSW 2560
                      AUSTRAILA

                      Owen Kroeger
                      11009 Walker Street
                      Grand Blanc, MI 48439

                      Owen Lowe
                      38178 Waterford Dr
                      Willoughby, OH 44094

                      Owen Thomas
                      Flat 4, 19- 21 Brockley Rise, London, En
                      London ENG SE231JG
                      UNITED KINGDOM

                      Ozgur Bozdogan
                      12649 Avenue Fortin
                      Montreal QC H1G 4A3
                      CANADA

                      Ozgur Cinarli
                      Tacin Mahallesi 1872 Sokak No:1 D:27
                      Caliskan Apt.
                      Aksaray 68200
                      TURKEY

                      P Coman
                      8948 E Decatur Rd
                      Mesa, AZ 85207

                      Pablo Castaneda
                      3161 Wildwood Drive
                      Concord, CA 94518

                      Pablo Martelli
                      Calle Porta 264, #701
                      Lima PE-LMA 15074
                      PERU
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1485 of
                                        1639



                      Pablo Rancier
                      36 Oak St
                      Rochelle Park, NJ 07662

                      Pablo Sanoko
                      Dreve De La Brise 6
                      Bruxelles 1170
                      BELGIUM

                      Augusto Pacis
                      1917 N Valley Street
                      Burbank, CA 91505

                      Paige Clayburn
                      1319 W 1440 N
                      Pleasant Grove, UT 84062

                      Paige Pemberton
                      224 Bermuda Street
                      New Orleans, LA 70114

                      Paiusi Razvan
                      Strada Doaman Stanca 91B Intrare Pe Livi
                      Ap.04
                      Selimbar SB 557260
                      ROMANIA

                      Pal Lande
                      Plogveien 77B
                      Oslo 681
                      NORWAY

                      Meaghan Pan
                      115 Fare Stone Dr
                      Garner, NC 27529

                      Panagiota Tragogeni
                      Kritis 8
                      4 Floor
                      Vrilissia 15235
                      GREECE

                      Pano Georgakopoulos
                      6304 Brackett Road
                      Knoxville, TN 37938

                      Parag Patel
                      6 Country Woods Drive
                      Kendall Park, NJ 08824
                      Pardeep Dosanjh
                      760 East 52nd Ave
                      Vancouver BC V5X 1H2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1486 of
                                        1639



                      Parham Sadrizadeh
                      2801 Kelvin Avenue #592
                      Irvine, CA 92614

                      Parisa Kermani
                      790 Camino De La Reina
                      Apt#173
                      San Diego, CA 92108

                      Park Pokaisawan
                      13700 Hunter Dr.
                      Platte City, MO 64079

                      Parsuram Shiv
                      68 Evergreen Ave
                      2F
                      Lynbrook, NY 11563

                      Parth Patel
                      572 Triangle Street
                      Ottawa ON K2E 0M1
                      CANADA

                      Pascal Boctor
                      337 Stanford Court
                      Irvine, CA 92612

                      Pascal Paratte
                      Avenue De Bel-Air 59
                      Chene-Bourg 1225
                      SWITZERLAND

                      Pascal Specht
                      15 Rue Paul Doumer
                      Montreuil 93100
                      FRANCE

                      Pascal Ulrich
                      Sagiweg 7C
                      Kussnacht Am Rigi 6403
                      SWITZERLAND

                      Adam Paschke
                      500 West 43rd Street
                      Apt 35A
                      New York, NY 10036

                      Pat Hanavan
                      28018 Evergreen Run
                      Imperial, PA 15126

                      Patricia Nelson
                      16 Silverbirch Road
                      Bangor, Northern Ireland NIR BT19 6EU
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1487 of
                                        1639



                      Patrick Alfred
                      124 Regimbald
                      Sainte-Therese QC J7E 4S6
                      CANADA

                      Patrick Bruno
                      128 Mill Street, #117
                      Deseronto ON K0K 1X0
                      CANADA

                      Patrick Burkholder
                      130 Nautilus Drive
                      Madison, WI 53705

                      Patrick Cain
                      14858 3/4 Dickens Street
                      Sherman Oaks, CA 91403

                      Patrick Demerecz
                      1021 Prospect Rd
                      Evans City, PA 16033

                      Patrick Doran
                      299 Cobblestone Lane
                      Bethlehem, PA 18020

                      Patrick Dubois
                      1502 Patrick Way
                      Greenacres, FL 33413

                      Patrick Geng
                      Muhlenweg 12
                      Baar 56729
                      GERMANY

                      Patrick Hachicho
                      524 Berry Chase Way
                      Cary, NC 27519

                      Patrick Henderson
                      2123 Azalea Drive S
                      Wiggins, MS 39577

                      Patrick Kenny
                      45 Maplewood Ave
                      Maplewood, NJ 07040

                      Patrick Kiely
                      2931 Fraser Street
                      Vancouver BC V5T 3W2
                      CANADA

                      Patrick Koman
                      6520 Roe Street
                      Cincinnati, OH 45227
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1488 of
                                        1639



                      Patrick Krause
                      1525 Josephine St.
                      Berkeley, CA 94703

                      Patrick Lawson
                      3211 West Wapato Drive
                      Unit 64
                      Moses Lake, WA 98837

                      Patrick Maader
                      Oldachstrasse 16
                      Hamburg 22307
                      GERMANY

                      Patrick Malone
                      83 Kingsdown Parade
                      Bristol ENG BS65UJ
                      UNITED KINGDOM

                      Patrick Nadon
                      1003 Cree Avenue
                      Woodstock ON N4T 1E7
                      CANADA

                      Patrick Osoro
                      Promenade Des Champs-Frechets 18
                      Geneva 1217
                      SWITZERLAND

                      Patrick Rice
                      50 E 13th St.
                      Unit 710
                      Kansas City, MO 64106

                      Patrick Salyer
                      645 Riviera Dr
                      Los Altos, CA 94024

                      Patrick Sidoti
                      3037 Knox Ave S, #5
                      Minneapolis, MN 55408

                      Patrick Wieth
                      Hugelstrasse 85A
                      Darmstadt 64283
                      GERMANY

                      Patrick Wilms
                      Nicodemstr. 25
                      Monchengladbach 41068
                      GERMANY

                      Thomas Patton
                      8227 Kensington Sq
                      Jacksonville, FL 32217
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1489 of
                                        1639



                      Paul Becker
                      4242 Lynnfield Cres
                      Victoria BC V8N 5C7
                      CANADA

                      Paul Biagio
                      590 26th Ave Apt 3
                      San Francisco, CA 94121-2940

                      Paul Blodgett
                      1221 Warren Ave
                      Belvidere, IL 61008

                      Paul Bradford
                      62 Woodend
                      Birmingham ENG B20 1EN
                      UNITED KINGDOM

                      Paul Capistrant
                      1814 Mariposa Drive
                      Petaluma, CA 94954

                      Paul Carroll
                      18 Primrose Lane
                      Hackettstown, NJ 07840

                      Paul Chauvet
                      198 Rue Ann, #611
                      Montreal QC H3C 0T2
                      CANADA

                      Paul Coogan
                      3 Broomfield
                      Park Street
                      St. Albans ENG AL2 2HY
                      UNITED KINGDOM

                      Paul Cooper
                      92 Percival Road
                      Nottingham ENG NG5 2EX
                      UNITED KINGDOM

                      Paul Cowley
                      5765
                      Westport Road
                      West Vancouver BC V7W 2X7
                      CANADA

                      Paul Cutting
                      11 Dunedin Road
                      Rainham ENG RM13 8LA
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1490 of
                                        1639



                      Paul Eisenberg
                      2 Sharon Drive
                      E Patchogue, NY 11772

                      Paul Foster
                      66 Beechwood Dr
                      Oakland, CA 94618

                      Paul Gadebusch
                      23028 Lake Forest Dr
                      Suite A
                      Laguna Hills, CA 92653

                      Paul Imhoff
                      139 Mardella Way
                      Holly Ridge, NC 28445

                      Paul Jhung
                      107 Pauline Avenue
                      Toronto ON M6H 3M7
                      CANADA

                      Paul Lindsey
                      3598 Aster St
                      Salem, OR 97304

                      Paul Mata
                      4643 Rim Cir, #204
                      Carlsbad, CA 92010

                      Paul Schembri
                      1616 Council Street
                      Los Angeles, CA 90026

                      Paul Shore
                      33553 1 Avenue
                      Mission BC V2V 1H4
                      CANADA

                      Paul Soroudi
                      P.O. Box 24654
                      Los Angeles, CA 90024

                      Paul Strasser
                      8728 Espacio Verde Road
                      Albuquerque, NM 87120

                      Paul Thierbach
                      Kosliner Strasse 8
                      Berlin 13357
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1491 of
                                        1639



                      Paul Tsamkiranis
                      9303 Salish Court
                      Unit 110 Buzzer 3010
                      Burnaby BC V3J 7C5
                      CANADA

                      Paul Umansky
                      2742 East 64th Street
                      Brooklyn, NY 11234

                      Paul Weber
                      Oppenheimer Strasse 25C
                      Stuttgart 70499
                      GERMANY

                      Paul Whyte
                      51 Fleece Street
                      Bradford
                      Bradford ENG BD6 2EH
                      UNITED KINGDOM

                      Paul Wrablica
                      3015 West 82nd Street
                      Leawood, KS 66206

                      Paul Ydel
                      75 Parkwood
                      Plumpton NSW 2761
                      AUSTRAILA

                      Paul Zehm
                      Wolburgstrasse 30
                      Timmendorfer Strand 23669
                      GERMANY

                      Paulo Carvalho
                      257 Hodgson Drive
                      Newmarket ON L3Y 1E3
                      CANADA

                      Pavol Azuroika
                      Rudina 552
                      Rudina 2331
                      SLOVAKIA

                      Pawel Lenik
                      13 Fernlea Close
                      Crofton ENG WF4 1HY
                      UNITED KINGDOM
                      Payam Ahmadvand
                      9502 Erickson Drive, #809
                      Burnaby BC V3J 7B5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1492 of
                                        1639



                      Pedro Aboy
                      Adri N Luna 1824
                      Hurlingham B 1686
                      ARGENTINA

                      Pedro Almeida
                      Rua Ruben A., Lote 22.7, Apt. 724
                      Coimbra PT-06 3030-506
                      PORTUGAL

                      Pedro Herrera
                      697 Ridge St
                      1st Floor
                      Newark, NJ 07104

                      Pedro Quintana
                      5400 Planz Rd
                      Apt 49
                      Bakersfield, CA 93309

                      Pedro Villeda Leal
                      Cda Deporte 30 A1
                      30 A1
                      Mexico DF
                      MEXICO

                      Joseph Peeler
                      1629 Diamond Street NE
                      Canton, OH 44721

                      Joseph Peeler
                      1629 Diamond St NE
                      Canton, OH 44721

                      Peer Tritz
                      Driesener Strasse 30
                      c/o Seelinger
                      Berlin 10439
                      GERMANY

                      Peerapon Wechsuwanmanee
                      Wirichsbongardstrasse 19
                      Aachen 52062
                      GERMANY

                      Pele Dagher
                      4001 Don Mills Road
                      Apt 123
                      Toronto ON M2H 3J8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1493 of
                                        1639



                      Pemika Jittiyakoon
                      209A
                      Woronora Rd
                      Engadine NSW 2233
                      AUSTRAILA

                      Per Olsson Gisleskog
                      28 Ashfield Road
                      London ENG W3 7JJ
                      UNITED KINGDOM

                      Pernell Cassey
                      2000 Valleyview Drive #5
                      Osoyoos BC V0H 1V6
                      CANADA

                      Petar Renic
                      Dubasnicka 13
                      Zagreb 10000
                      CROATIA

                      Pete Krekos
                      3998 Yolo Drive
                      San Jose, CA 95136

                      Pete Oheeron
                      17006 Evergreen Elm Way
                      Houston, TX 77059

                      Peter Birch
                      Montrose, Grove Road, Harwell
                      Didcot ENG OX11 0EG
                      UNITED KINGDOM

                      Peter Bonn
                      72 Lynbrook Blvd, #4
                      Lynbrook VIC 3975
                      AUSTRAILA

                      Peter Boos
                      150 Van Ness Ave, #918
                      San Francisco, CA 94102

                      Peter Chuong
                      8109 Brown Court
                      Alexandria, VA 22306

                      Peter Deyoung
                      20542 Pindale Cliff
                      San Antonio, TX 78259
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1494 of
                                        1639



                      Peter Eckert
                      434 Goward Rd
                      434 Goward Rd
                      Victoria BC V9E 2J5
                      CANADA

                      Peter Glossner
                      Turkenlouisstrasse 28
                      Freiburg D-79102
                      GERMANY

                      Peter Gmeiner
                      Sierenmoosstrasse 42
                      Konstanz 78464
                      GERMANY

                      Peter Gregory
                      104 McKellar St
                      Strathroy ON N7G 2Y2
                      CANADA

                      Peter Grisham
                      37304 North Stanton Point Road
                      Ingleside, IL 60041

                      Peter Hofmann
                      3211 E 51st St
                      Minneapolis, MN 55417

                      Peter Hogan
                      21020 Pacific City Circle, #2318
                      Huntington Beach, CA 92648

                      Peter Hong
                      3600 Shadow Grove Rd
                      Pasadena, CA 91107

                      Peter Jaggard
                      1 Colonial Drive
                      Newtown, PA 18940

                      Peter Kolodziejski
                      42 Studland St
                      London ENG W60JS
                      UNITED KINGDOM

                      Peter Korecko
                      Pribinova 43
                      Bratislava 83101
                      SLOVAKIA

                      Peter Kotesovsky
                      Tovarnicka 8
                      Topolcany 95501
                      SLOVAKIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1495 of
                                        1639



                      Peter Lai
                      702 Chemeketa Drive
                      San Jose, CA 95123

                      Peter Leipnitz
                      Charlottenburger Strasse 106
                      Berlin 13086
                      GERMANY

                      Peter Patpatian
                      10028 Meritage Ct
                      Sun Valley, CA 91352

                      Peter Pestel
                      Am Forsthaus 18
                      Pestel Ingenieurburo E.K.
                      Haldenwang 87490
                      GERMANY

                      Peter Rabasa
                      4300 Waialae Ave Apt B805
                      Honolulu, HI 96816

                      Peter Reider
                      2 McArthurs Road
                      Altona North VIC 3025
                      AUSTRAILA

                      Peter Sahin
                      2107 Branden Street
                      Los Angeles, CA 90026

                      Peter Schillaci
                      4707 N Brady St.
                      Davenport, IA 52806

                      Peter Segner
                      Beethovenstrasse 14
                      Isybox Gmbh
                      Leipzig 4107
                      GERMANY

                      Peter Shepherd
                      80 The Beeches
                      Upton-Upon-Severn
                      Worcester ENG WR8 0QQ
                      UNITED KINGDOM

                      Peter Skovron
                      23911 104th Ave W
                      Edmonds, WA 98020
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1496 of
                                        1639



                      Peter Van Le
                      U9/22-24 Wrentmore Street
                      Fairfield NSW 2165
                      AUSTRAILA

                      Peter Velikanov
                      4454 N Morris Blvd
                      Shorewood, WI 53211

                      Peter Wilcheck
                      2681 North Flamingo Road
                      404S
                      Sunrise, FL 33323

                      Peter Winkler
                      Friedrich-Engels-Bogen 13
                      Knowledge Pool GmbH
                      Munich 81735
                      GERMANY

                      Peter Wojciechowski
                      950 Lake Marion Dr
                      Altamonte Springs, FL 32701

                      Peter Wrenshall
                      Tiot Limited
                      Ocean Business Centre, Ocean Street,
                      Broadheath, Altrincham ENG WA14 5QL
                      UNITED KINGDOM

                      Peter Yeh
                      2640 Prospect Avenue
                      La Crescenta-Montrose, CA 91214

                      Petr Karniayenka
                      5788 South 1145 East
                      Murray, UT 84121

                      Petre Dumitriu
                      144 Stag Lane
                      London ENG NW9 0QP
                      UNITED KINGDOM

                      Petros Nastos
                      Kydathinaiwn 16
                      Athens 105 58
                      GREECE

                      Adam Petrzilka
                      2200 Zhale Smith Road
                      La Grange, KY 40031
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1497 of
                                        1639



                      Petter Selvehed
                      Skalsatravagen 29D
                      Tyreso 13554
                      SWEDEN

                      Philip Barnes
                      70 Faraday Road
                      Wimbledon
                      London ENG SW198PB
                      UNITED KINGDOM

                      Philip Baugh
                      7591 North Woodall Road
                      Ellettsville, IN 47429

                      Philip Conroy
                      6018 Southeast 122nd Avenue
                      Portland, OR 97236

                      Philip Elie
                      3433 NE 210th Ter
                      Aventura, FL 33180

                      Philip Jahrehorn
                      192 Rue De Javel
                      6th Floor
                      Paris 75015
                      FRANCE

                      Philip Kagalovsky
                      34 Seymour Walk
                      London ENG SW10 9NF
                      UNITED KINGDOM

                      Philip Khazzam
                      4175 Rue Sainte-Catherine
                      #1503
                      Westmount QC H3Z 3Z9
                      CANADA

                      Philip Morgan
                      993 South Central Pkwy
                      Mountain House, CA 95391

                      Philip Mwaniki
                      5409 Mohawk Court
                      The Colony, TX 75056

                      Philip Oldring
                      18032 129th Place Northeast
                      Bothell, WA 98011

                      Philip Patterson
                      1379 Golden Forest Drive
                      Bessemer, AL 35022
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1498 of
                                        1639



                      Philipp Maciej
                      Rugestrasse 4A
                      Dresden 1069
                      GERMANY

                      Philippe Rochaix
                      1Bis Rue Robert Bajac
                      Toulouse 31400
                      FRANCE

                      Philippe Schommers
                      Pfarrer-Henreco Strasse 8
                      Apyos, Be0658820832
                      Eupen 4700
                      BELGIUM

                      Phillip Choe
                      1944 Clyde Jean Place
                      Fairfield, CA 94533

                      Phillip Jackson
                      4528 Acacia Avenue
                      Ferris Square
                      La Mesa, CA 91941

                      Phillip Martucci
                      2405 Constellation Drive
                      Colorado Springs, CO 80906

                      Phillip Moult
                      643 Maryvale Way Northeast
                      Calgary AB T2A 2V6
                      CANADA

                      Phillip Smith
                      4805 Neptune Ct Flower Mound 75022
                      Flower Mound (Denton), TX 75022

                      Phirom Prang
                      38 Tofoni Place
                      Richlands QLD 4077
                      AUSTRAILA

                      Phuoc Tran
                      176 Darebin Drive
                      Lalor VIC 3075
                      AUSTRAILA

                      Phuong Nguyen
                      8193 Del Rey Drive
                      Stanton, CA 90680

                      Phyllis Walk
                      4 Meadowlake Dr
                      Heath, TX 75032
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1499 of
                                        1639



                      Pier-Luc Rioux
                      1000 Rue Des Faucons
                      App. 102
                      Sainte-Catherine QC J5C1R9
                      CANADA

                      Pierce Coggins
                      1502 Alice St
                      Apt 25
                      Oakland, CA 94612

                      Pierre Bradshaw
                      1540 NE 151st St
                      Unit 103
                      North Miami Beach, FL 33162

                      Pinchas Genger
                      439 Elmwood Terrace
                      Linden, NJ 07036

                      Pinnacle Home SRL, LLC
                      2025Nw 102Av - Unit 111 Doral
                      Attn: Jose
                      Miami, FL 33172

                      Francisco E Pinto
                      437 Eucalyptus Dr
                      Redlands, CA 92373

                      Piotr Kuznicki
                      575 Olive Street
                      Hoffman Estates, IL 60169

                      Piragathees Ravilosanan
                      5052 Rue Laurin
                      Montreal QC H8Y 3R3
                      CANADA

                      Pisau Alexandru
                      Strada Prevederii Nr 4 Bloc D8
                      Scara 1 Apartament 54
                      Bucuresti B 32301
                      ROMANIA

                      Pisau Alexandru
                      Strada Prevederii Nr 4 Bloc D8 Scara 1,
                      Bucuresti B 32301
                      ROMANIA

                      Plamen Tsvetkv
                      82 Loverock Road
                      Reading RG301DZ
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1500 of
                                        1639



                      Plamen Zafirov
                      83 Lynton Avenue
                      Romford RM7 8NH
                      UNITED KINGDOM

                      PNSCO LLC
                      8300 Greensboro Drive
                      Tysons, VA 22102

                      Podaru Andrada Mihaela
                      Strada Bradetului 84
                      Baciu CJ 407055
                      ROMANIA

                      Andrew Pogue
                      3055 East Rose Garden Lane
                      Ste 130
                      Phoenix, AZ 85050

                      Pontus Sarosdi
                      Ekensbergsvagen 93
                      Solna 16931
                      SWEDEN

                      Seyed Ali Poostanchi
                      3048 West 12th Street
                      Apt 4
                      Los Angeles, CA 90006

                      Porav Dumitru
                      58 Avenue Jean Jaures
                      Chez Mme Mumtaz Ibolya
                      Le Bourget 93350
                      FRANCE

                      A Powell
                      2830 Lexington Park Drive
                      Spring, TX 77373

                      Prabhjit Powar
                      59 Point Owoods Drive
                      Vaughan ON L4K 2E1
                      CANADA

                      Pradeep Singh
                      562 Woodfield Trail
                      Roselle, IL 60172

                      Pradeep Subramaniam
                      54 Balboa Loop
                      Aubin Grove WA 6164
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1501 of
                                        1639



                      Prash Amar
                      29 Winchester Road
                      Winchester Road
                      Northampton ENG NN4 8AZ
                      UNITED KINGDOM

                      Prashant Savanagouder
                      1390 Market Street
                      Apt 2704
                      San Francisco, CA 94102

                      Pratap Dong
                      1331 Latrace Rd
                      Saskatoon SK S7L 6E4
                      CANADA

                      Pratompong Namjaidee Namjaidee
                      209A Woronora Rd
                      Engadine NSW 2233
                      AUSTRAILA

                      Precious Masalunga
                      1110 11th Street Sw, #1305
                      Calgary AB T2R 1P1
                      CANADA

                      Predrag Tasic
                      Bjorcksgatan 32B
                      Gothenburg 41652
                      SWEDEN

                      Preet Khabra
                      4 Paul Cullen Drive
                      Bardia NSW 2565
                      AUSTRAILA

                      Santosh Kumar Premji Patel
                      116 Briarcliff Court
                      Glen Mills, PA 19342

                      Premkumar Meesala
                      1735 Southcrest Trl
                      Hoover, AL 35244

                      Prentice Denton
                      2349 Wright Rd
                      Steens, MS 39766

                      Presner Nelson
                      51 Florida Street, #1
                      Dorchester Center, MA 02124

                      Preyal Patel
                      641 N 25 Street
                      Camden, NJ 08105
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1502 of
                                        1639



                      Priscila Correa
                      3907 N Federal Hwy, #190
                      Pompano Beach, FL 33064

                      Priscylla Robles
                      1633 SE Airoso Blvd
                      Port Saint Luice, FL 34984

                      Pritesh Patel
                      2510 Windblown Drive
                      Corpus Christi, TX 78414

                      Prodromos Michailidis
                      Muhlenstrasse 4
                      Berlin 13467
                      GERMANY

                      ProWhale s.r.o
                      Detva 584
                      Detva 96212
                      SLOVAKIA

                      Francisco Pulgar Romero
                      9990 Northwest 14th Street
                      Ste 110 Cch109601
                      Doral, FL 33192

                      Puneet Udasi
                      143 Davenport Street
                      Somerville, NJ 08876

                      Purvang Lakhawala
                      25 Eleanor Dr
                      Kendall Park, NJ 08824

                      Qandeel Karim
                      621 Stockton Street, #204
                      San Francisco, CA 94108

                      Qiang Gao
                      14 Aerial St
                      Lexington, MA 02421

                      Qingshou Pei
                      48 William Saville St
                      Markham ON L3R9S3
                      CANADA

                      Quang Cao
                      16830 East Nubia Street
                      Covina, CA 91722
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1503 of
                                        1639



                      Quentin Brackers De Hugo
                      42 Rue Marguerite De Rochechouart
                      Hostnfly
                      Paris 75009
                      FRANCE

                      Quincy Marie-Anne
                      9145 Croissant Du Louvre
                      Appartement 5
                      Brossard QC J4Y 0E1
                      CANADA

                      Anthony Quinn
                      460 E Encinas Ave.
                      Gilbert, AZ 85234

                      Qusay Al-Shaikhli
                      13201 Janet Dr
                      Frisco, TX 75033

                      R. De Roos
                      Pirandellostraat 65
                      Rotterdam 3076KW
                      NETHERLANDS

                      Ra-Son Theus
                      5150 S Gramercy Pl.
                      Los Angeles, CA 90062

                      Raashi Khanduri
                      634 Presley Way
                      Sugar Land, TX 77479

                      Rachel Gross
                      1209 Savannah Ave
                      Pittsburgh, PA 15218

                      Radomir Perzina
                      U Farmy 1581
                      Karvina 73401
                      CZECH REPUBLIC

                      Radoslav Chuchev
                      36 Melrose Close
                      London ENG SE12 0AL
                      UNITED KINGDOM

                      Radouan Sadiki
                      418 Charles Street
                      Malden, MA 02148

                      Radu Cosman
                      3465 Cedarcrest Avenue
                      Baton Rouge, LA 70816
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1504 of
                                        1639



                      Radu Muncioiu
                      Aleea Pinului Nr 2
                      Malu Mare DJ 207365
                      ROMANIA

                      Rafael Alejandro Alfaro
                      Residencial Lagos Del Sol, Faisanes 58
                      Cancun Q ROO 77567
                      MEXICO

                      Rafael Cardoso
                      14 Valerie Lane
                      Danbury, CT 06811

                      Rafael Fernandes
                      6695 NW 38th Terrace
                      Virginia Gardens, FL 33166

                      Rafael Iniguez
                      822 San Jacinto Street
                      San Bernardino, CA 92408

                      Rafael Jaime Kalach
                      Paseo De Las Primaveras 12
                      House 46
                      Mexico City DF 5100
                      MEXICO

                      Rafael Paula
                      Rua Patagonia
                      953, Ap 1301 A
                      Belo Horizonte MG 30320-080
                      BRAZIL

                      Rafael Sanchez
                      2826 Peery Ave
                      Kansas City, MO 64127

                      Rafael Scholz De Carvalho
                      7613 Chaddsley Dr
                      Huntersville, NC 28078

                      Raffaele Barioli
                      2505 Par Circle
                      Delray Beach, FL 33445

                      Raffi Hartoonian
                      8811 Canoga Avenue
                      Spc 353
                      Canoga Park, CA 91304

                      Ragim Uddin
                      12116 Charest Street
                      Hamtramck, MI 48212
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1505 of
                                        1639



                      Raheem Cozier
                      400 Willow St
                      Bridgeport, CT 06610

                      Rahul Galhotra
                      1986 Oak Tree Road
                      Edison, NJ 08820

                      Rainer Ille
                      Hauptstrasse 29
                      Gerasdorf 2201
                      AUSTRIA

                      Raj Tummala
                      1309 Formal Garden Way
                      Raleigh, NC 27603

                      Raja Ahc C/O Basalat Raja
                      1835 Molino Ave
                      Apt 15
                      Signal Hill, CA 90755

                      Raja Ahc C/O Basalat Raja
                      1835 Molino Avenue, #15
                      Signal Hill, CA 90755

                      Rajan Patel
                      12001 Murphy Road
                      Houston, TX 77031

                      Rajat Sharma
                      Freyweg 32
                      Bergheim 5101
                      AUSTRIA

                      Rajesh Narayanan
                      3505 Camino Del Rio South #332
                      San Diego, CA 92108

                      Rajevekumar Rajeswaran
                      67 Fimco Cresent
                      Ontario ON L6E 0R5
                      CANADA

                      Rajinder Singh
                      1110 East Tanbark Lane
                      Jackson, MI 49203

                      Rajkumar Neelakantan
                      17 Vreeland Ct
                      E Brunswick, NJ 08816-3886
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1506 of
                                        1639



                      Raleri srl
                      Via Francesco De Sanctis 9A
                      Bologna BO 40132
                      ITALY

                      Ralf Reckenfelderbaeumer
                      Neufelder Strasse 13
                      Koeln 51067
                      GERMANY

                      Ralph Dagher
                      41 Okalpi Ln
                      Orlando, FL 32825

                      Ralph Goldschmidt
                      Weinsbergstrasse 118A
                      Koln 50823
                      GERMANY

                      Ralph Rixner
                      Seestrasse 14
                      Kirchheim Bei Munich 85551
                      GERMANY

                      Ram Chinnachamy
                      300 Emerald Ridge Drive
                      Austin, TX 78732

                      Ramazan Gozel
                      2725 Barrett Avenue
                      Richmond, CA 94804

                      Rambo Anderson-You
                      4009 Natchez Ave S
                      Edina, MN 55416

                      Ramesh Ahire
                      81 Lexington Street
                      Watertown, MA 02472

                      Ramin Samadzai
                      Paalstraat 16, #1
                      Schoten 2900
                      BELGIUM

                      Ramiro Ching
                      14931 Eastwood Avenue
                      Lawndale, CA 90260

                      Ramjee Pahadee
                      6760 Joseph Edgar Ct
                      Alexandria, VA 22310-2667
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1507 of
                                        1639



                      Ramon Rodriguez
                      1222 1st Avenue, #323
                      Seattle, WA 98101

                      Ramzi Shalby
                      4907 Loyola Ave
                      New Orleans, LA 70115

                      Randall Bogani
                      740 Spring Haven Dr
                      Saint Johns, FL 32259

                      Randall Fujinaka
                      1125 Young Street
                      Unit 408
                      Honolulu, HI 96814

                      Randall Schiff
                      617 North Main Avenue
                      Fallbrook, CA 92028

                      Randall Stine
                      302 W Spreading Oaks Ave
                      Friendswood, TX 77546

                      Randy Agudelo
                      38 Tucker Street
                      Central Falls, RI 02863

                      Randy Blomstedt
                      5397 South Elk Way
                      Aurora, CO 80016

                      Randy Brown
                      175 2nd Street
                      Bordentown, NJ 08505

                      Randy Dinh
                      11045 NE Flanders St
                      Portland, OR 97220-3230

                      Randy Foster
                      1837 Palm Place Dr
                      Palm Bay, FL 32905

                      Randy Graves
                      3507 Southwest 25th Terrace
                      Miami, FL 33133

                      Randy Price
                      913 West Kalamazoo
                      Lansing, MI 48915
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1508 of
                                        1639



                      Rania Sief
                      P.O Box 5006
                      Bloomington, IN 47407

                      Ranjit Singh
                      4 Omapere Lane, Pyes Pa
                      Tauranga BOP 3112
                      NEW ZEALAND

                      Raoul Kuiper
                      Rubenslaan 15
                      Naarden 1412 HM
                      NETHERLANDS

                      Rares-Florin Ionescu
                      Str. Dimitrie Cantemir Nr. 2
                      Bl D90 Sc E Ap 79
                      Campulung Moldovenesc SV 725100
                      ROMANIA

                      Rashaan Smith
                      2615 S Bialy Street
                      Philadelphia, PA 19153

                      Rashaen Smith
                      2615 S Bialy St
                      Philadelphia, PA 19153

                      Rashia Bell
                      5319 Irving Street
                      Philadelphia, PA 19139

                      Rashid Ibrahim
                      12141 Coral Sea Street Northeast
                      Blaine, MN 55449

                      Rasmus Meier Hansen
                      Kagsabrinken 9
                      Soborg 2860
                      DENMARK

                      Ratna Gurung
                      9145 Jackies Bend
                      Reynoldsburg, OH 43068-8049

                      Raul Medina
                      544 West Grove Street
                      Rialto, CA 92376

                      Raul Nunez
                      600 West 141st Street, #63
                      New York, NY 10031
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1509 of
                                        1639



                      Rav Brar
                      15372 110A Ave
                      Surrey BC V3R9H6
                      CANADA

                      Raven Bagy
                      45 Twin Pines Drive
                      10A
                      Brooklyn, NY 11239

                      Raven Owie
                      164 Penrose Street
                      London ENG SE17 3LU
                      UNITED KINGDOM

                      Ravi Lally
                      12008 New McLellan Road
                      Surrey BC V3X2X7
                      CANADA

                      Ravi Manglani
                      200 E 27th St Apt 11F
                      Apt 11F
                      New York, NY 10016

                      Ravinder Singh
                      15003 Ella Jane Way
                      Bakersfield, CA 93314-4299

                      Ravinder Singh
                      159 South 7th Street
                      Steubenville, OH 43952

                      Rawad Traboulsi
                      Habersaathstrasse 38C
                      Berlin 10115
                      GERMANY

                      Rawan Hamade
                      Abu Dhabi, United Arab Emirates
                      Masdar 2, B 4A2, 4th Floor, Flat 436
                      Abu Dhabi AZ
                      UNITED ARAB EMIRATES

                      Timothy Paul Rawls
                      305 East Highline Drive
                      Deer Park, TX 77536

                      Ray Hoops
                      2509 Rustic Drive
                      Saint Louis, MO 63125

                      Ray Kim
                      3932 Grand Park Dr
                      Suwanee, GA 30024
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1510 of
                                        1639



                      Ray Laming
                      10153 East Peakview Avenue
                      Englewood, CO 80111

                      Ray Pilaro
                      124 S. Berkeley Avenue
                      Pasadena, CA 91107

                      Raymond Bysheim
                      Jagerbakken 11
                      Bergen 5042
                      NORWAY

                      Raymond Combs
                      417 Cypress Place
                      Richmond, KY 40475

                      Raymond Harvey
                      14 White St
                      Fitzroy North VIC 3068
                      AUSTRAILA

                      Raymond Huff
                      3498 E. Ellsworth Ave
                      #1012
                      Denver, CO 80209

                      Raymond Spaan
                      Vogelenzangseweg 117
                      Vogelenzang 2114CE
                      NETHERLANDS

                      Raymond Strawley
                      1601 North Rhodes Street
                      Arlington, VA 22209

                      Raymond Younan
                      11500 Brymer St
                      Porter Ranch, CA 91326

                      Raymundo Gonzalez
                      6043 Prospect Ave
                      Maywood, CA 90270

                      Razvan Al-Tarcheh
                      Strada Diamantului 126-128B , Bragadiru
                      Bragadiru IF
                      ROMANIA

                      Razvan Badiu
                      Str. 1 Mai, Nr. 17
                      Sannicoara CJ 407042
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1511 of
                                        1639



                      Razvan Barsan Partners
                      Str. Simigiului Nr. 24, Camera 2, Sector
                      Bucuresti B
                      ROMANIA

                      Razvan Ringhiopol
                      Str. Harmanului
                      49S
                      Brasov BV 500222
                      ROMANIA

                      Razwan Ashiq
                      32 Gascoigne Gardens
                      Woodford Green ENG IG8 9NU
                      UNITED KINGDOM

                      Rebecca Irving
                      7 Ellenborough Old Road
                      Maryport ENG CA15 7PG
                      UNITED KINGDOM

                      Rebecca-Lynn Hislop
                      1111 Barclay Street
                      Apartment 407
                      Vancouver BC V6E1G9
                      CANADA

                      Rebecka Lecieleci
                      3610 Beckett Ridge Dr
                      Humble, TX 77396

                      Recasner Boggan
                      P.O. Box 62463
                      Virginia Beach, VA 23466

                      Reece Kiriu
                      241 Moomuku Place
                      Honolulu, HI 96821-2238

                      Reed Vida
                      11 Condon Drive
                      Ansonia, CT 06401

                      Alan Reed
                      P.O. Box 86
                      Centerville, TN 37033

                      Reem Alsabbagh
                      88 Westminster Drive
                      Oakville ON L6L 4H5
                      CANADA

                      Reem Shawar
                      308 East Wisconsin Avenue
                      Milwaukee, WI 53202
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1512 of
                                        1639



                      Refugio Villalobos
                      723 E K Ave
                      Unit B
                      Visalia, CA 93292

                      Reggie Alex
                      451 East Market Street, #444
                      Indianapolis, IN 46204

                      Reginald Constantino
                      1724 Thompson Ave
                      Chula Vista, CA 91913

                      Reginald Simington
                      P.O. Box 27257
                      San Diego, CA 92198

                      Regine Soucy
                      411 Avenue Sirois Local 70B
                      Rimouski QC G5L8B2
                      CANADA

                      Reid Huyssen
                      301 West Broad Street
                      Apartment 324
                      Falls Church, VA 22046

                      Reid Prawdzik
                      3152 34th Street
                      Apt B1
                      Astoria, NY 11106

                      Reilly Iverson
                      431 17th St
                      Ogden, UT 84404

                      Pete Reilly
                      1809 East Broadway Street
                      Suite 132
                      Oviedo, FL 32765

                      Reiner Musni
                      4357 Spooner Lake Circle
                      Las Vegas, NV 89147

                      Relax Hoja
                      13023 SE 189th Ct
                      Renton, WA 98058

                      Remco Captein
                      Meerbon 21
                      Rijnsaterwoude 2465 BP
                      NETHERLANDS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1513 of
                                        1639



                      Remo Roth
                      Hohrainstrasse 42
                      Dielsdorf 8157
                      SWITZERLAND

                      Remzi Cirit
                      2257 Merlot Ct
                      Fort Collins, CO 80528

                      Remzi Turhan
                      Frischmuthstr.4
                      Grevenbroich 41515
                      GERMANY

                      Rena Gonzalez
                      11083 Floruish Drive,
                      Rancho Cucamonga, CA 91730

                      Renato Bertello
                      Strada Terrapini 22
                      Bandito CN 12042
                      ITALY

                      Renato Galamba
                      2351 Dougals Rd
                      Apt 912
                      Miami, FL 33145

                      Renato Silva
                      Av. Raul Brandao N.61
                      Santa Iria De Azoia PT-11 2690-326
                      PORTUGAL

                      Renaud Laurent
                      Quai Du Batty 24
                      Hamoir 4180
                      BELGIUM

                      Rene Andres
                      Am Rothfeld 36
                      Trierweiler 54311
                      GERMANY

                      Rene Obaya
                      1241 Enchanted Oaks Drive
                      Driftwood, TX 78619

                      Rene Provoost
                      23827 Springwater Road
                      Crestline, CA 92325

                      Reno Ramsey
                      8950 Horizon Hyatt Avenue
                      Las Vegas, NV 89178
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1514 of
                                        1639



                      Reshad Gunga
                      20 Royce Road
                      Peterborough ENG PE15YB
                      UNITED KINGDOM

                      Rex Novenario
                      587 Shark Lane
                      Stafford Twp, NJ 08050

                      Rex Odenwalder
                      5691 West 5300 South
                      Hooper, UT 84315

                      Rex Paqueo
                      1079 Alder Avenue
                      Marysville, WA 98270

                      Rex Turner
                      6917 E 78th St
                      Tulsa, OK 74133

                      Reynard Azada
                      5120 Ebbetts Way
                      Antioch, CA 94531

                      Harold Reynolds II
                      5007 Tealgate Dr
                      Spring, TX 77373

                      B C Reynolds
                      P.O. Box 3341
                      Seward, AK 99664

                      Rhodri Rowlands
                      Disgwylfa, Waveley Street, Clydach
                      Swansea WLS SA6 5DB
                      UNITED KINGDOM

                      Ria Dasgupta
                      1108 La Sierra Dr
                      El Dorado Hills, CA 95762

                      Riaan Van Der Watt
                      3504 Fm 840 E
                      Henderson, TX 75654

                      Ric Souli Res
                      240 5Iem Avenue
                      Crabtree QC J0K1B0
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1515 of
                                        1639



                      Ricardo Abrantes
                      Rua Dr Augusto Jose Da Cunha
                      N7 4A
                      Alges PT-11 1495-240
                      PORTUGAL

                      Ricardo Ayala Gonzalez
                      21 De Mayo 1398
                      Iquique TA 1100000
                      CHILE

                      Ricardo Ayon
                      3972 Dwiggins Street
                      Los Angeles, CA 90063

                      Ricardo De Nagy Morais Correia
                      R. Diogo De Silves No24A
                      24A
                      Lisboa PT-11 1400-107
                      PORTUGAL

                      Ricardo Erik Barba Castillo
                      Lago Alberto 320 Tena 402
                      Anahuac
                      Miguel Hidalgo DF 11320
                      MEXICO

                      Ricardo Freitag
                      7311 NW 12th St
                      Suite 22 Fpy124798
                      Miami, FL 33191

                      Ricardo Garcia
                      40742 Chantaco Ct
                      Palmdale, CA 93551

                      Ricardo Garcia
                      40742 Chantaco Ct
                      Palmdale, CA 93551-5619

                      Ricardo Gierbolini
                      5022 South Himalaya Court
                      Aurora, CO 80015

                      Ricardo Queiroz
                      31 Kemsley Crescent, Broughton
                      Broughton
                      Milton Keynes ENG MK10 9LZ
                      UNITED KINGDOM
                      Ricardo Rodrigues
                      Deluxe House Unit 32 Perivale Park
                      Horsenden Lane
                      London ENG UB6 7RL
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1516 of
                                        1639



                      Ricardo Rossi
                      13224 Fernmont Street
                      Sylmar, CA 91342

                      Ricardo Sanchez
                      244 N Walcott St
                      Indianapolis, IN 46201

                      Ricardo Smith
                      Box 134
                      George Town KY1-9000
                      CAYMAN ISLANDS

                      Ricardo Venegas
                      1830 Via Petirrojo
                      Apt M
                      Newbury Park, CA 91320

                      Rich Odness
                      25021 Silverleaf Lane
                      Laguna Hills, CA 92653

                      Richard Anderson
                      7525 N 155th St
                      Bennington, NE 68007

                      Richard Barr
                      208 Misty Court
                      Destin, FL 32541

                      Richard Bell
                      135 Wynford Drive #1008
                      Toronto ON M3C 0J4
                      CANADA

                      Richard Bligaard
                      Rismyrvegen 51D
                      Nodeland 4645
                      NORWAY

                      Richard Brown
                      10626 114C Street
                      Grande Prairie AB T8V 6M5
                      CANADA

                      Richard Burns
                      5729 Sunset Rd.
                      Fort Worth, TX 76114

                      Richard Chang
                      209-25 18th Ave
                      Apt 5B
                      Bay Terrace, NY 11360
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1517 of
                                        1639



                      Richard Clark
                      4246 Willow Bay Drive
                      Winter Garden, FL 34787

                      Richard Dimov
                      110 Lexington Lane
                      Costa Mesa, CA 92626

                      Richard Downing
                      227 East Main Street
                      Unit #3
                      Tuckerton, NJ 08087

                      Richard Fabian
                      3738 Davies Manor Dr
                      Bartlett, TN 38133

                      Richard Fijolek
                      3720 Potomac Avenue
                      Dallas, TX 75205

                      Richard Griffiths
                      4 Cypress Cv.
                      Little Rock, AR 72223-4466

                      Richard Haberkorn
                      13951 Progress Parkway
                      North Royalton, OH 44133

                      Richard Kurwitz
                      4021 Austins Landing
                      Bryan, TX 77808

                      Richard Laird
                      P.O. Box 130432
                      Carlsbad, CA 92013

                      Richard Leclair
                      38 Windmill Lane
                      Arlington, MA 02474

                      Richard Lee
                      310 S Jefferson St
                      50D
                      Placentia, CA 92870

                      Richard Lee
                      310 S Jefferson St, Placentia Ca
                      50D
                      Placentia, CA 92870

                      Richard Lin
                      5826 NW Lark Meadow Ter
                      Portland, OR 97229
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1518 of
                                        1639



                      Richard McLaughlin
                      7776 Blueberry Hill Lane
                      Ellicott City, MD 21043

                      Richard Metz Jr.
                      142 East 80th Street
                      Apt 3
                      New York, NY 10075

                      Richard Meunier
                      68 Rue Rollinet
                      Notre-Dame-De-L'Ile-Perrot QC J7V 8M6
                      CANADA

                      Richard Neubert
                      Ollenhauerstrasse 1
                      Wolfsburg 38444
                      GERMANY

                      Richard Oconnell
                      77 Dalma Drive
                      Mountain View, CA 94041

                      Richard Pacchioli
                      3 Holly Rd
                      Medina, TN 38355

                      Richard Patton
                      East View, The Hills,
                      East View, Bessie Lane
                      The Hills, Bradwell ENG S33 9HZ
                      UNITED KINGDOM

                      Richard Ramirez
                      1555 Branciforte Dr
                      Santa Cruz, CA 95065

                      Richard Rea
                      13 Finnegan Boulevard
                      Deception Bay QLD 4508
                      AUSTRAILA

                      Richard Schacht
                      1412 Black Pine Court
                      Castle Rock, CO 80104

                      Richard Smith
                      49 Castlemoyne
                      Balgriffin
                      Dublin D D13 T8N4
                      IRELAND

                      Richard Stagg
                      15705 East Puma Drive
                      Fountain Hills, AZ 85268
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1519 of
                                        1639



                      Richard Tarenta
                      1273 Terrace Pl
                      Lynnwood, WA 98282

                      Richard Tyrrell
                      1605 Hallet Peak Dr
                      Longmont, CO 80503

                      Richard Wang
                      781 Janice Lane
                      Walnut, CA 91789

                      Richard Warren
                      1200 Woodruff Road
                      Ste C12
                      Greenville, SC 29607

                      Richard Winburn
                      102 Seth Ct.
                      Radcliff, KY 40160

                      Richard Woods
                      1002 Heights Avenue
                      El Campo, TX 77437

                      Rick Ashley
                      172 02 119 Ave
                      Apt 2
                      Jamaica, NY 11434

                      Rick Gales
                      1234 Elevator Road
                      Saskatoon SK S7M 3X2
                      CANADA

                      Rick Pathi
                      1100 Wendy Ave.
                      Big Bear, CA 92314

                      Rick Wilberg
                      304 Potomac Ave
                      Savoy, IL 61874-8115

                      Ricky Ariston
                      7237, 202A Street, 202A Street
                      202A Street
                      Langley BC V2Y 3G4
                      CANADA

                      Ricky May
                      1302 Kinau Street
                      Apt 7
                      Honolulu, HI 96814
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1520 of
                                        1639



                      Ricky Worthy
                      P.O. Box 6601
                      Macon, GA 31208

                      Rico Lengefeld
                      99 Ifield Road
                      London ENG SW10 9AS
                      UNITED KINGDOM

                      Rico Trevisan
                      Molierelaan 474
                      Elsene 1050
                      BELGIUM

                      Riddhi Bajracharya
                      398 Green Mountain Road
                      Mahwah, NJ 07430

                      Riddhi Shah
                      1387 Keoncrest Ave
                      San Jose, CA 95110

                      Rigoberto Delgado
                      256 Highland Circle
                      Providenciales
                      TURKS AND CAICOS ISLANDS

                      Rija Masood
                      5016 Leatherback Rd
                      Woodbridge, VA 22193

                      Rino Azurin
                      1225 Anthony St
                      Redlands, CA 92374

                      Rio Butler
                      8036 Southwest 64th Avenue
                      Portland, OR 97219

                      David Rios
                      4917 North Kimball Avenue
                      Chicago, IL 60625

                      Ritchie Macadaeg
                      16979 Hazelwood Drive
                      Riverside, CA 92503

                      Mark Dave Rivera
                      24464 Reserve Court
                      Menifee, CA 92584-0364

                      Riyad Trii
                      245 Rue Beaupre
                      Charlemagne QC J5Z 1B4
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1521 of
                                        1639



                      Rizwan Gangwani
                      12729 Beech Tree Lane
                      Euless, TX 76040

                      Rizwan Ullah
                      823 Queensdale Ave East
                      Hamilton ON L8V 1M7
                      CANADA

                      Doyoung Ro
                      165 N 1650 W
                      D208
                      Pleasant Grove, UT 84062

                      Rob Ross
                      115 Egloff Circle
                      Folsom, CA 95630-6616

                      Robb Baldwin
                      4616 SW 97th Terracd
                      Gainesville, FL 32608

                      Robby Teuchner
                      Breiteweg 194
                      Barleben 39179
                      GERMANY

                      Robert Affa
                      40 Point O Woods Drive
                      Toms River, NJ 08753

                      Robert Arredondo
                      2048 W Chicago Ave Door Code 35885
                      312 785 6790
                      Chicago, IL 60622

                      Robert Ball
                      58 Cranberry Road
                      Carver, MA 02330

                      Robert Barclay
                      11038 W Washington St
                      Avondale, AZ 85323

                      Robert Blaney
                      1403 E Holly Ave
                      Sterling, VA 20164

                      Robert Brito
                      1336 Melstone Street
                      Beaumont, CA 92223

                      Robert Brown
                      1330 East Allendale Court
                      Bloomington, IN 47401
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1522 of
                                        1639



                      Robert Cabrera
                      4022 Levonshire Dr
                      Houston, TX 77025

                      Robert Carter
                      545 Leavenworth Street, Apt. 7
                      San Francisco, CA 94109

                      Robert Ciuca
                      723 W Ocean Ave
                      Lantana, FL 33462

                      Robert Clark
                      4555 Country Glen Circle
                      Grovetown, GA 30813

                      Robert Coates
                      504 Brooktree Court
                      Lutz, FL 33548

                      Robert Coates
                      504 Brooktree Ct
                      Lutz, FL 33548

                      Robert Damisch
                      Andritzer Reichsstrasse, 89
                      Graz 8046
                      AUSTRIA

                      Robert Deese
                      507 Lohnes Drive
                      Fairborn, OH 45324

                      Robert Firestone
                      7087 S Spruce Dr W
                      Centennial, CO 80112

                      Robert Francis
                      20 Henry Street
                      Unit 7
                      Parramatta NSW 2150
                      AUSTRAILA

                      Robert Gabardi
                      58 School Street
                      Rockland, MA 02370

                      Robert Galyan
                      P.O. Box 68
                      Estes Park, CO 80517

                      Robert Gangemi
                      1243 Hermosa Ave
                      Pacifica, CA 94044
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1523 of
                                        1639



                      Robert Gonzalez
                      1612 North 6th Street
                      Mcallen, TX 78501

                      Robert Guerrero
                      5 Scarsdale Rd
                      Montgomery, IL 60538

                      Robert Harford
                      920 Justison Street
                      Wilmington, DE 19801

                      Robert Healy
                      130 Whelan Crescent
                      Saskatoon SK S7L 6V8
                      CANADA

                      Robert Henderson
                      11416 Esplanade Drive #105
                      Reston, VA 20194

                      Robert Hufault
                      37 Duggan St
                      Stoughton, MA 02072

                      Robert Hunter
                      2 Inveresk Park
                      Rathcoole
                      Newtownabbey NIR BT379EU
                      UNITED KINGDOM

                      Robert Hurst
                      482 Greenwood Road
                      Kennett Square, PA 19348

                      Robert Ingenito
                      231 Lucille Avenue
                      Apt #2
                      Elmont, NY 11003

                      Robert Jackson
                      1770 79th Street Cswy
                      Apt D-204
                      North Bay Village, FL 33141

                      Robert Jackson
                      12501 North Professor Street
                      Oberlin, OH 44074

                      Robert Klein
                      141 Robert E Lee Blvd, #1124
                      New Orleans, LA 70124
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1524 of
                                        1639



                      Robert Kraska
                      1485 Ashington Court
                      Mississauga ON L5C1R5
                      CANADA

                      Robert Kuznetsov
                      Onilovoi Lane 8/10
                      8A
                      Odessa 65011
                      UKRAINE

                      Robert L.Lundy
                      5933 Easy Street
                      I25
                      Bradenton, FL 34207

                      Robert Lew
                      7123 Zion Lane
                      San Gabriel, CA 91775

                      Robert Lewandowski
                      16901 Oak Manor Drive
                      Westfield, IN 46074

                      Robert Liang
                      23 Maques Lane
                      Thornhill ON L4J6T3
                      CANADA

                      Robert Martin
                      2047 Thompson Street
                      Innisfil ON L9S 4Z1
                      CANADA

                      Robert Martin
                      1405 N 26 Ave
                      Hollywood, FL 33020

                      Robert Moon
                      6185 Magnolia Avenue, #234
                      Riverside, CA 92506

                      Robert Morrison
                      5829 Laguna Quail Way
                      Elk Grove, CA 95758

                      Robert Mudry
                      1435 Waterfront Rd.
                      Reston, VA 20194-1251
                      Robert Parrish-Zafiratos
                      2350 Del Mar Way
                      Unit 303
                      Corona, CA 92882
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1525 of
                                        1639



                      Robert Peterson
                      15599 Glencrest Avenue
                      Delray Beach, FL 33446

                      Robert Peterson
                      25 Gilcreast Road
                      Londonderry, NH 03053

                      Robert Rizya
                      4481 South 3425 West
                      West Haven, UT 84401

                      Robert Salazar
                      5071 Southwest 119th Avenue
                      Cooper City, FL 33330

                      Robert Schroeter
                      7891 Oakhurst Dr
                      Brecksville, OH 44141

                      Robert Shirer
                      84 Abilene Drive
                      Toronto ON M9A 2N7
                      CANADA

                      Robert Sniezko
                      2439 West Augusta Blvd
                      Apt 4
                      Chicago, IL 60622

                      Robert Stein
                      15589 Paulding Blvd
                      Brook Park, OH 44142

                      Robert Szilveszter
                      158 Chiltern Drive
                      Surbiton ENG KT5 8LS
                      UNITED KINGDOM

                      Robert Toth
                      Zranyi Utca 13. Foldszint 2.
                      Budapest 1195
                      HUNGARY

                      Robert Valles
                      15511 Highway 71 West, Ste 110 #232
                      Austin, TX 78738

                      Robert Viera
                      2316 SW 22nd St
                      Cape Coral, FL 33991

                      Robert Vrshek
                      22637 Lamplight Pl
                      Santa Clarita, CA 91350
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1526 of
                                        1639



                      Robert Wallace
                      4773 Forest Grove Drive
                      Brunswick, OH 44212

                      Robert Wellesley
                      7575 Shadow Lane
                      Sparks, NV 89434

                      Robert Wilson
                      221 Timberpark Drive
                      Davenport, FL 33837

                      Robert Wisniewski
                      1540 Chapparel Way
                      Wellington, FL 33414

                      Roberto Bruno Di Pietro
                      Murguiondo 340
                      Liniers C 1408
                      ARGENTINA

                      Roberto Campolo
                      Via Vigevanese 7/A
                      Buccinasco MI 20090
                      ITALY

                      Roberto Carlos Cabanas Canela
                      Av. Central 8 Sec C Mod B 112
                      Col. Villa De Aragon
                      Gustavo A Madero DF 7570
                      MEXICO

                      Roberto Chaparro
                      Hc-03 Box 32603
                      Aguada, PR 00602

                      Roberto De Aquino Lopes Junior
                      Rua Cotiara, 400
                      Alphaville Campo Grande 1
                      Campo Grande MS 79035-510
                      BRAZIL

                      Roberto Guidarini
                      Via Antonio Cecchi 23
                      Genova GE 16129
                      ITALY

                      Roberto Medal
                      13952 SW 153 Terr
                      Miami, FL 33177

                      Roberto Molina
                      105 Laurens Ct
                      Anderson, SC 29621
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1527 of
                                        1639



                      Roberto Nigrelli
                      Via Antonio Salinas 6
                      @Tec Di Roberto Nigrelli Vat: It05231890
                      Palermo PA 90141
                      ITALY

                      Roberto Ruiz
                      1716 Wurzburg Drive
                      Fort Worth, TX 76134

                      Roberto Simao
                      Val Da Pia No 8
                      Porto De Mos PT-10 2480-043
                      PORTUGAL

                      Robin Abbott
                      6116 Bernhard Avenue
                      Richmond, CA 94805

                      Robin Alex
                      400 North Saint Paul Street, #920
                      Dallas, TX 75201

                      Robin Kraus
                      Krausstrasse 4
                      Munich 81929
                      GERMANY

                      Robin Kurian
                      2704 Rock Island Road, Apt 242
                      Irving, TX 75060

                      Robinson Doyle
                      51 McDonald Street
                      Bucksport, ME 04416

                      Robroy Heron
                      85 North Middletown Road
                      C9
                      Nanuet, NY 10954

                      Randy Robson
                      2567 E Carla Vista Dr
                      Gilbert, AZ 85295

                      Rocco Galic
                      Calvinstr. 6
                      Dusseldorf 40597
                      GERMANY
                      Rod Cartledge
                      24 Sagars Road
                      Dural NSW 2158
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1528 of
                                        1639



                      Roderick Agius Custo
                      Goodwood
                      Flt1 Triq Il-25 Ta Marzu ,
                      Tarxien TXN1182
                      MALTA

                      Rodney Brown
                      1150 Hollybrook Avenue
                      Chula Vista, CA 91913

                      Rodney Rael
                      370 North 17th Street
                      San Jose, CA 95112

                      Rodney Speight
                      2404 Skyview Circle
                      Fairfield, CA 94534

                      Rodney Vaught
                      6419 South Lorel Ave.
                      Chicago, IL 60638

                      Rodolfo Lomascolo
                      Cogoll 23 Num 3
                      Sant Andreu De Llavaneres B 8392
                      SPAIN

                      Rodolfo Robles
                      6080 Pocket Pl
                      El Paso, TX 79932

                      Rodrigo Cordova
                      19013 Horst Avenue
                      Artesia, CA 90701

                      Rodrigo Del Paso Escobedo
                      Calle Bahia Xcacel 7 Mza 23 Lote 1
                      Dep 305 Aventuras Club Marina
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Rodrigo Del Paso Escobedo
                      Calle Bahia Xcacel 7 Mza 23 Lote 1
                      Aventuras Club Marina Oficina
                      Puerto Aventuras Q ROO 77733
                      MEXICO

                      Rodrigo Ferrario
                      25 Linwood Avenue
                      Greenwich, CT 06878

                      Rodrigo Ferreira
                      Rua Henrique Medina, No 48, Flor Da Mata
                      Set bal PT-15 2840-705
                      PORTUGAL
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1529 of
                                        1639



                      Rodrigo Guanlao
                      3210 N Pemberton Circle Drive
                      Houston, TX 77025

                      Rodrigo Martinez Guajardo
                      Antiguo Camino A Villa De Santiago 3015
                      Col. Altavista Sur
                      Monterrey NL 64740
                      MEXICO

                      Rodrigo Parisi
                      21634 35th Ave SE
                      Bothell, WA 98021

                      Rodrigo Sanchez Vasquez
                      Parque Escorial
                      Alturas Del Parque 2310
                      Carolina, PR 00987

                      Nelson Rodriguez
                      188 Tortledepoint Ln
                      Thurndele
                      Philadelphia, PA 19372

                      Roger Cisneros
                      33081 Acapulco Drive
                      Dana Point, CA 92629

                      Roger Delamare
                      4 Avenue Des Noes
                      La Verriere 78320
                      FRANCE

                      Roger Forcada
                      Carrer Dantoni De Capmany 76, 5 - 1
                      Barcelona B 8014
                      SPAIN

                      Roger Nakata
                      7934 Mission Bonita Drive
                      San Diego, CA 92120

                      Roger Rodriguez
                      1710 NW 96th Ave
                      Doral, FL 33172-2415

                      Roger Rodriguez 009
                      1710 NW 96th Ave
                      Doral, FL 33172-2415
                      Roger Webb
                      1 Harewood Mews
                      Leeds ENG LS17 9LY
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1530 of
                                        1639



                      Rohin Khosla
                      52 Cityscape Mount NE
                      Calgary AB T3N 0V7
                      CANADA

                      Rohit Gopal
                      588 Bell St
                      509S
                      Seattle, WA 98121

                      Rolan Sahyouni
                      Vastra Jarnvagsgatan 7C
                      Lgh 1203
                      Hedemora 77635
                      SWEDEN

                      Roland Keller
                      25100 Watson Ranch Road
                      Montgomery, TX 77356

                      Roland Uhl
                      Fliederstrasse 11
                      Haan 42781
                      GERMANY

                      Rolando Agreda
                      2813 Westbury Court
                      Mississauga ON L5M 6B4
                      CANADA

                      Roma Cabau Vidal
                      Passatge Del Mas Rub      10
                      Molins De Rei B 8750
                      SPAIN

                      Romain Fortunet
                      24 Rue Vasco De Gama
                      Paris 75015
                      FRANCE

                      Roman Korolev
                      1428 Stanford
                      Irvine, CA 92612

                      Roman Nahaylo
                      200 E Illinois St
                      Apt 3202
                      Chicago, IL 60611

                      Roman Soltys
                      26 Quartiere Bloom, Lower Ormond Quay, D
                      Dublin D D01FA36
                      IRELAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1531 of
                                        1639



                      Romano Baglioni
                      Via Eugenio Torelli Viollier 132
                      Scala A Interno 24
                      Roma RM 157
                      ITALY

                      Romeo Arias
                      Calle Huizaches Casa 4
                      Manzana 27 Residencial Sta. Maria. Sta M
                      Oaxaca, Oaxaca OAX 71220
                      MEXICO

                      Ron Rossknecht
                      P.O. Box 333
                      Hill City, SD 57745

                      Ronald Barrett
                      367 Ridgeway Place
                      Ventura, CA 93004

                      Ronald Castro
                      83 Clark Ave
                      Bloomfield, NJ 07003

                      Ronald King
                      247 North Beville Avenue
                      Indianapolis, IN 46201

                      Ronald Shudrowitz
                      1902 North Spaulding Avenue
                      Apt 1W
                      Chicago, IL 60647

                      Ronaldy Cartaya
                      11201 SW 55th St
                      Lot H8 275
                      Miramar, FL 33025

                      Ronny Terrero
                      735 West Fisher Avenue
                      Philadelphia, PA 19120

                      Rony Melendez
                      1309 W 93rd St , 1/2
                      Los Angeles, CA 90044

                      Roopdeep Singh
                      5417 Carrotwood Ave
                      Bakersfield, CA 93313-9406
                      Rory King
                      P.O. Box 442
                      Glenmont, NY 12077
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1532 of
                                        1639



                      Rory McKenna
                      25 Midland Toad
                      Bristol ENG BS16 4NW
                      UNITED KINGDOM

                      Rosa Porto
                      7507 Wahl Road
                      Lot B3
                      Vickery, OH 43464

                      David Rosalez II
                      2821 SW Multnomah Blvd Apt 5
                      Portland, OR 97219

                      Rosario Decasanova
                      9080 Lime Bay Blvd
                      Tamarac, FL 33321

                      Rose Lam
                      150 River Street #307
                      Toronto ON M5A 0M2
                      CANADA

                      Rosemary Hilb
                      645 North Serrano Avenue
                      Los Angeles, CA 90004

                      Ross Blaising
                      2608 Kings Ridge Drive
                      Birmingham, AL 35243

                      Ross Elder
                      Flat 5
                      34 Charlotte Road
                      London ENG EC2A 3PB
                      UNITED KINGDOM

                      Ross Heironimus
                      4646 Elkhorn Ct
                      Westfield, IN 46062

                      Ross Nicklin
                      61 Anglesea Road
                      Ipswich ENG IP1 3PJ
                      UNITED KINGDOM

                      Ross Russell
                      7890 Prairie Chapel Road
                      Crawford, TX 76638
                      Rossopher Thiers
                      536 East Newmark Avenue
                      Monterey Park, CA 92335
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1533 of
                                        1639



                      Roxana Circu
                      Al Scolarilor Nr 16
                      Bucuresti B 31818
                      ROMANIA

                      Roxanne Lamonde
                      900 Woodbury Avenue
                      Portsmouth, NH 03801

                      Roy Hansen
                      1927 Morgan Avenue
                      Port Coquitlam BC V3C 1K1
                      CANADA

                      Roy Mayo
                      1319 Osprey Way
                      Apopka, FL 32712

                      Roy Virgen Jr
                      4705 Revere St
                      Chino, CA 91710

                      Royal Norman
                      15996 North 106th Way
                      Scottsdale, AZ 85255

                      The Royal Roses
                      20855 NE 16th Ave
                      C25
                      Miami, FL 33179

                      Ruben Fuentes
                      316 Apache Field Lane
                      La Marque, TX 77568

                      Ruben Oude Wesselink
                      Amtsvenn 24
                      Gronau (Westfalen) 48599
                      GERMANY

                      Ruben Shakhnazaryan
                      8433 Fenwick St
                      Sunland, CA 91040

                      Ruben Shakhnazaryan
                      8433 Fenwick Street
                      Los Angeles, CA 91040

                      Rubin Mann
                      8358 Rinauro Court
                      Tracy, CA 95304
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1534 of
                                        1639



                      Rubin Van Nieulande
                      Sebastiaan Van Noyestraat 22
                      Eindhoven 5622KH
                      NETHERLANDS

                      Rubina Khachikyan
                      3740 Mayfield Ave
                      La Crescenta, CA 91214

                      Rudolf Bom
                      Ettenbergstrasse 12A
                      Wettswil Am Albis 8907
                      SWITZERLAND

                      Rui Filipe Alves Costa De Pereira
                      Rua Ary Dos Santos No 22 1A
                      Prior Velho PT-11 2685-312
                      PORTUGAL

                      Anthony Ruiz Salinas
                      999 Old San Jose Rd #38
                      Soquel, CA 95073

                      Rune Kirkmand
                      Skaruparevej 12
                      Skarup Fyn 5881
                      DENMARK

                      Ruperto Reyes
                      Av. Urano Sn Esq. Juan Pablo Ii
                      Costa Verde
                      Boca Del Rio VER 94294
                      MEXICO

                      Rushabh Shah
                      204,15 Montgomery Court
                      Halifax,Nova Scotia
                      Halifax NS B3M 4J6
                      CANADA

                      Russ Davis
                      1644 West Blackhawk Street
                      1W
                      Chicago, IL 60622

                      Russell Britton
                      4390 Beniah Street
                      Pahrump, NV 89048

                      Russell Dempsey
                      5334 Palisades Avenue
                      Battlefield, MO 65619
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1535 of
                                        1639



                      Russell Dempsey
                      5334 S. Palisades Ave.
                      Brookline, MO 65619

                      Russell Hanzevack
                      1343 SE 16 Pl
                      Cape Coral, FL 33990

                      Russell Hoffman
                      11532 Echo Lake Circle
                      Apt. 108
                      Bradenton, FL 34211

                      Russell Norton
                      3118 W Lake St
                      Apt 210
                      Minneapolis, MN 55416

                      Russell Peterson
                      13910 Lyons Valley Rd Ste. D
                      Jamul, CA 91935

                      Rustan Laine
                      19748 Kingswood Lane
                      Huntington Beach, CA 92646

                      Rusu Gheorghe
                      Strada Buzau Nr. 7
                      Ap 6, Etaj 1
                      Cluj-Napoca CJ 400294
                      ROMANIA

                      Ruth Schneider
                      The Lodge, Whittington Court, Aylmer Roa
                      London ENG N2 0BT
                      UNITED KINGDOM

                      Ry Olson
                      1447 West Maximilian Place
                      Tucson, AZ 85704

                      Ryad Sekkal
                      24 Avenue De La Porte D'Asnieres
                      Paris 75017
                      FRANCE

                      Ryan Abel
                      3812 N 16th St
                      Tacoma, WA 98406
                      Ryan Alford
                      200 Brookwood Forest Drive
                      Blythewood, SC 29016
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1536 of
                                        1639



                      Ryan Almerico
                      4 Whipporwill Road
                      Covington, LA 70433

                      Ryan Ashrafi
                      8822 South 70th East Avenue
                      Tulsa, OK 74133

                      Ryan Austin
                      111 Bathurst Street, #606
                      Toronto ON M5V0M9
                      CANADA

                      Ryan Baker
                      4904 Tulsa Avenue
                      Olivehurst, CA 95961

                      Ryan Burnham
                      3969 Frio Way
                      Frisco, TX 75034

                      Ryan Campbell
                      221 E Beloit Ave
                      Salina, KS 67401

                      Ryan Canter
                      113 Lake Victoria Drive
                      Kingsland, GA 31548

                      Ryan Casey
                      798 Cicada Road
                      Quebeck, TN 38579

                      Ryan Clancy
                      6070 SE Pardee St
                      Portland, OR 97206

                      Ryan Clarke
                      1438 Sage Bloom Way
                      Saratoga Springs, UT 84045

                      Ryan Cole
                      5346 S Palisades Ave
                      Brookline, MO 65619

                      Ryan Connelly
                      1406/1 Freshwater Place
                      Southbank VIC 3006
                      AUSTRAILA
                      Ryan Davis
                      19 Rock Lane
                      Milford, NH 03055
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1537 of
                                        1639



                      Ryan Dela Cruz
                      730 Agnew Crescent
                      Milton ON L9T 8M6
                      CANADA

                      Ryan Doherty
                      763 Bay Street
                      Unit 3910
                      Toronto ON M5G 2R3
                      CANADA

                      Ryan Fisher
                      18820 Vinton Street
                      Omaha, NE 68130

                      Ryan Gaytan
                      5 Baywater Lane Southwest
                      Airdrie AB T4B 3V6
                      CANADA

                      Ryan Ghasemi
                      4810 Preserve Park Dr
                      Spring, TX 77389

                      Ryan Gonzales
                      7227 San Ramon Drive
                      Houston, TX 77083

                      Ryan Issa
                      153 Remsen Street
                      Apt. 4B
                      Brooklyn, NY 11201

                      Ryan Keeney
                      1 Elm Drive West
                      Suite 1102
                      Mississauga ON L5B 4M1
                      CANADA

                      Ryan Ketchum
                      6641 Tanzanite Street
                      Jurupa Valley, CA 91752

                      Ryan Kodani
                      3331 Country Club Ln
                      Sacramento, CA 95821

                      Ryan Kopf
                      2945 Brady Street
                      Davenport, IA 52803

                      Ryan Lasko
                      261 Harding Blvd
                      Matawan, NJ 07747
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1538 of
                                        1639



                      Ryan Lee
                      10 College Place
                      Albanvale VIC 3021
                      AUSTRAILA

                      Ryan Lefaivre
                      256 Seaside Dr.
                      Jamestown, RI 02835

                      Ryan Levels
                      207 Cordelia St Sw
                      North Canton, OH 44720

                      Ryan Lindke
                      9426 Foxgrove Court
                      Raleigh, NC 27617

                      Ryan Mandel
                      8 Charlotte Street, #1104
                      Toronto ON M5V 0K4
                      CANADA

                      Ryan Matze
                      10583 Joplin Street
                      Commerce City, CO 80022

                      Ryan McGee
                      1655 Farm To Market Road 665
                      Corpus Christi, TX 78415

                      Ryan Murphy
                      3560 Rambla Pl, #517
                      Santa Clara, CA 95051

                      Ryan Nguyen
                      16815 Mount Fletcher Cir.
                      Fountain Valley, CA 92708

                      Ryan Plazony
                      101 City Avenue
                      Apt 207
                      Bala Cynwyd, PA 19004

                      Ryan Poortinga
                      25 Northern Ave
                      #2120
                      Boston, MA 02210

                      Ryan Rerucha
                      5430 W Palo Alto Ave., #211
                      Fresno, CA 93722

                      Ryan Rice
                      1919 Fruitdale Ave
                      San Jose, CA 95128
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1539 of
                                        1639



                      Ryan Ridenhour
                      1741 Tustin Avenue
                      8A
                      Costa Mesa, CA 92627

                      Ryan Rojas
                      250 Richmond Circle
                      Idaho Falls, ID 83404

                      Ryan Romano
                      11435 NW Captain Ln
                      Silverdale, WA 98383

                      Ryan Rosenbaum
                      2138 Sommers Avenue
                      Madison, WI 53704

                      Ryan Rypka
                      4514 Main St, #3020
                      Jupiter, FL 33458

                      Ryan Sassounian
                      629 Westbourne Dr.
                      West Hollywood, CA 90069

                      Ryan Smith
                      332 Northeast 45th Avenue
                      Portland, OR 97213

                      Ryan Smoot
                      44-150 Paauhau St.
                      P.O. Box 1248
                      Honokaa, HI 96727

                      Ryan Stoll
                      304 1st Street East
                      Kalispell, MT 59901

                      Ryan Stoops
                      140 W Lanesfield St
                      Gardner, KS 66030

                      Ryan Sumardi
                      965 Geary Street
                      Apt. 50
                      San Francisco, CA 94109

                      Ryan Sumardi
                      965 Geary Street Apt. 50
                      San Francisco, CA 94109

                      Ryan Sumner
                      8101 Fanfair Lane
                      Pasadena, MD 21122
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1540 of
                                        1639



                      Ryan Tempel
                      1905 E Pegasus Dr
                      Tempe, AZ 85283

                      Ryan Templeton
                      5208 Fernland Way
                      North Charleston, SC 29420

                      Ryan Trumpeter
                      74 Tantany Lane
                      West Bromwich ENG B71 1DS
                      UNITED KINGDOM

                      Ryan Varney
                      19801 East Grant Highway
                      E Grant Hwy
                      Marengo, IL 60152

                      Ryan Vidon
                      13745 162A Avenue Northwest
                      Edmonton AB T6V 0J8
                      CANADA

                      Ryan Watson
                      7601 East Indian Bend Road
                      Unit 2050
                      Scottsdale, AZ 85250

                      Ryan Weiss
                      3824 SE Carlton Street
                      Portland, OR 97202

                      Ryan West
                      3213 Silver Creek Drive
                      Plano, TX 75093

                      Ryan Wojtowicz
                      17430 Southwest 297th Terrace
                      Homestead, FL 33030

                      Ryan Wong
                      1444 Blalock Road
                      Ste G
                      Houston, TX 77055

                      Ryan Wong
                      8180 Cleary Blvd
                      Apt 1808
                      Plantation, FL 33324-1378
                      Rylen Robles
                      700 West 2nd Street
                      #4
                      Azusa, CA 91702
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1541 of
                                        1639



                      S Bari
                      68 Rosedale Road
                      Forest Gate
                      London ENG E7 8AT
                      UNITED KINGDOM

                      Saad Ouacha
                      Elisabeth Str N5
                      Hagen 58095
                      GERMANY

                      Saad Vali
                      349 Mill Road
                      Valley Stream, NY 11581

                      Saadia Khan
                      4706 Kirkdale Drive
                      Woodbridge, VA 22193

                      Sabine Jobst
                      19193 Poplar Cir
                      Eden Prairie, MN 55347

                      Sabrina Rios
                      3309 West Chenango Avenue
                      Englewood, CO 80110

                      Sadie Iovenko
                      327 North Stanley Avenue
                      Los Angeles, CA 90036

                      Sadik Prushi
                      95 Liberty Street Apt D9
                      Stamford, CT 06902-4732

                      Ali Saeed
                      16 Belmont Avenue
                      Plainview, NY 11803

                      Safee Rahman
                      2001 Richard St
                      Burbank, CA 91504

                      Safiullah Rauf
                      4502 Javins Pl
                      Woodbridge, VA 22192

                      Safiullah Rauf
                      6609 Deer Gap Court
                      Alexandria, VA 22310

                      Said Sabbagh
                      70 Chaseling Street
                      Greenacre NSW 2190
                      AUSTRAILA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1542 of
                                        1639



                      Saif Hussaini
                      4 Normandy Place
                      Brampton ON L6S 3Z3
                      CANADA

                      Saikrishna Shiramshetty
                      104 Oak Hill Drive
                      Pittsburgh, PA 15213

                      Saim Mahmood
                      55 Ash Tree Road
                      Manchester M8 5AX
                      UNITED KINGDOM

                      Saira Flores
                      2335 S 61st Ave
                      2nd Floor
                      Cicero, IL 60804

                      Sajjad Shamsi
                      3405 Plateau Blvd #18
                      Coquitlam BC V3E 3L7
                      CANADA

                      Sal Martin
                      5119 S.Forestdale Cir
                      Dublin, CA 94568

                      Sam Aleen Salarda
                      9936 Sepulveda Blvd #3
                      Mission Hills, CA 91345

                      Mark Anthony Salcedo
                      17009 SE Kelly St.
                      Portland, OR 97236

                      Saleh Basamad
                      46 North Salisbury Street, #204
                      West Lafayette, IN 47906

                      Saleh Moustafa
                      4 Rue Leon Delagrange
                      Paris 75015
                      FRANCE

                      Saleh Shbli
                      Rheinstr.41
                      Waldshut-Tiengen      79761
                      GERMANY
                      Sally Lehmer
                      11440 Ridge Road
                      Nevada City, CA 95959
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1543 of
                                        1639



                      Salman Elgharbawy
                      6th Syria St, Shabas Amir
                      Qallin KFS 77377
                      EGYPT

                      Salvatore Andrea Albanese
                      Strada Lesignana 7
                      Lesignana MO 41123
                      ITALY

                      Sam Cappas
                      7311 Mallard Lane
                      Schererville, IN 46375

                      Sam Chandra
                      461 Granite Ave.
                      Monrovia, CA 91016

                      Sam Cole
                      47 Church Road
                      Kessingland
                      Lowestoft ENG NR337TJ
                      UNITED KINGDOM

                      Sam Coons
                      414 Sumner Street
                      Apt. 1
                      East Boston, MA 02128

                      Sam Deberry
                      13219 Darby Chase Drive
                      Charlotte, NC 28277

                      Sam Folorunso
                      131 Oldbury Road
                      Rowley Regis
                      Sandwell ENG B65 0NR
                      UNITED KINGDOM

                      Sam Offit
                      528 21st Street
                      Santa Monica, CA 90402

                      Sam Sawzin
                      842 Elm Ave #105
                      Long Beach, CA 90813

                      Sam Sousa
                      1850 Mount Diablo Blvd
                      Suite 100
                      Walnut Creek, CA 94596

                      Sam Thesing
                      426 Dump Hill Road
                      Rushford, MN 55971
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1544 of
                                        1639



                      Sam Welch
                      24 Ibrox Street
                      Flat 2/3
                      Glasgow SCT G51 1AQ
                      UNITED KINGDOM

                      Saman Heidari
                      145 Port
                      Irvine, CA 92618

                      Samantha Vasquez
                      1221 N Main St
                      Kissimmee, FL 34744

                      Samar Khan
                      1047 Syndenham Ln,
                      Milton ON L9T8J1
                      CANADA

                      Samer Al Khamran
                      Hermannstr. 155
                      Sam Service Express
                      Berlin 12051
                      GERMANY

                      Samer Al Khamran
                      Hermannstr. 155
                      Berlin 12051
                      GERMANY

                      Samer Alamrat
                      529 Main Street
                      P200
                      Boston, MA 02129

                      Samer Rahmeh
                      8701 Wiles Road
                      Apt 206
                      Coral Springs, FL 33067

                      Samer Serhan
                      990 Gainsborough Rd
                      London ON N6H 5L4
                      CANADA

                      Sami Arnaout
                      58 Woodland Road
                      Unit 4
                      Cape Elizabeth, ME 04107
                      Sami Hasan
                      75 Alderney Gardens
                      Northolt ENG UB55BT
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1545 of
                                        1639



                      Samiuela Tolutau
                      4700 W Delta Park Circle
                      West Valley City, UT 84120

                      Sampson Barnes
                      7650 Hanks Drive
                      Baton Rouge, LA 70812

                      Samudra Vijay
                      2511 E Nc Hwy 54
                      Ste 201
                      Durham, NC 27713

                      Samuel Brown
                      18 Castle View
                      West Kilbride SCT KA23 9HD
                      UNITED KINGDOM

                      Samuel Bush
                      14996 SW 283rd St, #305
                      Homestead, FL 33033

                      Samuel Bush
                      2705 Tally Ho Drive
                      Hurst, TX 76054

                      Samuel Cody
                      18 Weston Heights Drive
                      Asheville, NC 28803

                      Samuel Colton
                      519 Saint Thomas Street
                      Lafayette, LA 70506

                      Samuel Comer
                      66 W 38th St
                      Apt 41C
                      New York, NY 10018

                      Samuel Kelly
                      16 Terry Drive
                      Saint Charles, MO 63303

                      Samuel Kersey
                      6215 Founding Dr
                      Katy, TX 77449

                      Samuel Law
                      465 Raymerville Drive
                      Markham ON L3P 6J1
                      CANADA

                      Samuel Louis
                      6349 Small Wood Rd
                      Jacksonville, FL 32216
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1546 of
                                        1639



                      Samuel Nassar
                      1723 N Ukiah Way
                      Upland, CA 91784

                      Samuel Pagan
                      708 East Lomita Avenue
                      #G
                      Glendale, CA 91205

                      Samuel Ramo
                      2743 Henry St. Pmb 331
                      Muskegon, MI 49441

                      Samuel Riddle
                      3716 W 1650 N
                      Lehi, UT 84043

                      Samuel Spatafora
                      1244 York Mills Road
                      315A
                      Toronto ON M3A 1Y7
                      CANADA

                      Samuel Stalabrass
                      121 Benhurst Avenue
                      Hornchurch ENG RM12 4QN
                      UNITED KINGDOM

                      Samuel Tupita
                      Mornington Road
                      Greenford ENG UB6 9HL
                      UNITED KINGDOM

                      Samuel Whiteford
                      10984 W Leilani Dr.
                      Boise, ID 83709

                      Samuel Zniber
                      53 Rue De Babylone
                      Paris 75007
                      FRANCE

                      Rodney San Agustin
                      5050 Tujunga Avenue #12
                      North Hollywood, CA 91601

                      Salvador San Agustin
                      10300 W 121st Street
                      Overland Park, KS 66213
                      Martin Federico Sanchez Rubado
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1547 of
                                        1639



                      Luis Eduardo Sanchez
                      2201 Ludlam Road #223
                      Miami, FL 33155

                      Sandeep Kumar
                      22 Kent Street
                      Coolangatta QLD 4225
                      AUSTRAILA

                      Sandeep Kumar Vishnu Prasad
                      Lange Violettestraat 178
                      Gent 9000
                      BELGIUM

                      Sandeep Nagra
                      34 Warrener Close
                      Swindon ENG SN25 4AH
                      UNITED KINGDOM

                      Andrew Sanderson
                      5811 Golden Pheasant Ct
                      Dayton, OH 45424

                      Sandra Buffett
                      17 Shore Blvd
                      Shore Blvd
                      St Catharines ON L2N 5T9
                      CANADA

                      Sandra Martinez
                      P.O. Box 7664
                      Jackson Hole, WY 83002

                      Sandra Sabin
                      Am Schopfwerk 33
                      Parzelle 83
                      Vienna 1120
                      AUSTRIA

                      Sandra Snell
                      541 Charminster Road
                      Bournemouth ENG BH8 9RF
                      UNITED KINGDOM

                      Sandro Chiesa
                      Buchzelgstrasse 76
                      Zurich 8053
                      SWITZERLAND

                      Sandro Schneider
                      Bildgasse 19
                      Lustenau 6890
                      AUSTRIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1548 of
                                        1639



                      Sang Cao
                      16411-120 Street
                      Edmonton AB T5X 5K5
                      CANADA

                      Sang Ngo
                      31 Royena Court
                      Crestmead QLD 4132
                      AUSTRAILA

                      Sanghyun Lee
                      3700 W Mungall Dr
                      Apt 3
                      Anaheim, CA 92804

                      Sani Djaya
                      1707 Veirs Mill Road
                      Rockville, MD 20851

                      Sanjay Veerkar
                      2700 S Las Vegas Blvd
                      Unit 3501
                      Las Vegas, NV 89109

                      Sanju Kumar
                      23137 Timber Creek Lane
                      Clarksburg, MD 20871

                      Sanketh R Mekala
                      4623 Rundlehill Road Northeast
                      Calgary AB T1Y 2S1
                      CANADA

                      Santiago Pita
                      8470 Watson Circle
                      Crystal Lake, IL 60014

                      Santiago Torres
                      Hacienda Montenegro 66
                      Colonia Mansiones Del Valle
                      Queretaro QRO 76185
                      MEXICO

                      Santos Figueroa
                      911 Lamplighter Dr Nw
                      Palm Bay, FL 32907

                      Santosh Neupane
                      9 Lycett Avenue
                      Kellyville NSW 2155
                      AUSTRAILA

                      Sapan Patel
                      54 Noll St, #746
                      Brooklyn, NY 11206
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1549 of
                                        1639



                      Sara Andreoli
                      1250 St Clair Ave W, App 1
                      App 1
                      Toronto ON M6E 1B7
                      CANADA

                      Sara Gutierrez
                      645 Front St, Renaissance Tower
                      South Tower, Apart. 1308
                      San Diego, CA 92101

                      Sara Macek
                      402 Scone Dr
                      Troy, MI 48098

                      Sara Mueller
                      11251 10 Avenue Northwest
                      Edmonton AB T6J 6S2
                      CANADA

                      Sara Sanadgol
                      2980 District Ave, #619
                      Fairfax, VA 22031

                      Sarah Curtis-Cheng
                      62-64 Globe Road
                      Flat 5
                      London ENG E1 4DS
                      UNITED KINGDOM

                      Sarah Dennis
                      952 Huron Terrace #102
                      Kincardine ON N2Z0G4
                      CANADA

                      Sarah Huynh
                      78 Gulliver Road
                      Toronto ON M6M 2M6
                      CANADA

                      Sarah Lam
                      12057 Southeast 41st Street
                      Bellevue, WA 98006

                      Sarah McKinney
                      1721 Maplewood Drive
                      Farmington, NY 14425

                      Sarah Robins
                      5976 Tisdall Street, #102
                      Vancouver BC V5Z 3N2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1550 of
                                        1639



                      Saranyou Sanouvong
                      Meiliplatz1
                      Emmen 6032
                      SWITZERLAND

                      Sardorzhon Narzullaev
                      3025 Artesia Blvd
                      Ste 101/ Phone Electrik
                      Torrance, CA 90504

                      Sareth Thab
                      131 Warren Street, #3
                      Fall River, MA 02721

                      Sarmad Adnan
                      34 Penny Green Street
                      Sugar Land, TX 77479

                      Sarra Tsiatsos
                      11163 Aqua Vista St. #205
                      Studio City, CA 91602

                      Satpinder Mann
                      483 Kincardine Terrace
                      Milton ON L9T 8E8
                      CANADA

                      Saul Reyes
                      4915 Upland Dr
                      Alexandria, VA 22310

                      Saurabh Dubey
                      6368 Blue Water Circle
                      Castle Rock, CO 80108

                      SAV GmbH Serge Vossoughi
                      Capistrangasse 5, 2/62
                      Wien 1060
                      AUSTRIA

                      Savan Thakkar
                      4682 Chabot Dr
                      Unit # 12166
                      Pleasanton, CA 94588

                      Savannah McMachen
                      3020 E Main St
                      Lakeland, FL 33801

                      Savannah Michael
                      3000 Lillard Dr
                      Apt 113
                      Davis, CA 95618-4821
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1551 of
                                        1639



                      Sawyer Woodside
                      304 Holmwood Avenue
                      Ottawa ON K1S 2R3
                      CANADA

                      Saxon Hubble
                      6535 E Thompson Rd
                      Indianapolis, IN 46237

                      Sayed Husseini
                      10780 No. 5 Rd #110
                      Richmond BC V6W 0B8
                      CANADA

                      Sayrika Kamara
                      1802 Wetherbourne Court
                      Bowie, MD 20721

                      Alec Schleicher
                      216 Pepperwood Way
                      Durham, NC 27703

                      Schumacher & Willsau P.A.GmbH
                      Nymphenburger Strasse 42
                      Munich 80335
                      GERMANY

                      Scott Abrams
                      62 Wagon Lane
                      Centereach, NY 11720

                      Scott Allmon
                      1260 Twin Oaks Lane
                      Castle Rock, CO 80109

                      Scott Bigler
                      206 Leedom Way
                      Newtown, PA 18940

                      Scott Cartner
                      10 Oakland Avenue
                      Maryport ENG CA157BU
                      UNITED KINGDOM

                      Scott Dubritton
                      2100 Black Pine Ct.
                      Severn, MD 21144

                      Scott Espinoza
                      27432 Lovettsville Lane
                      Temecula, CA 92591
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1552 of
                                        1639



                      Scott Giles
                      367 South Gippsland Highway
                      Absolute Storage
                      Dandenong South VIC 3175
                      AUSTRAILA

                      Scott Griffin
                      212 Cameron Dr
                      Kings Mountain, NC 28086

                      Scott Grow
                      252 West 1290 North
                      Honey Pot Investments, LLC
                      American Fork, UT 84003

                      Scott Howard
                      3403 NW 112th St
                      Vancouver, WA 98685

                      Scott Keller
                      3872 Mount Royal Blvd
                      Allison Park, PA 15101

                      Scott Kingston
                      101 West End Avenue
                      Apartment 15E
                      New York, NY 10023

                      Scott Kline
                      3708 Bridge Glen Drive
                      Las Vegas, NV 89108

                      Scott Kollmorgen
                      10818 Candlewood Drive
                      Houston, TX 77042

                      Scott Lair
                      823 Orla St
                      San Marcos, CA 92069

                      Scott Lappe
                      22W353 Balsam Dr
                      Glen Ellyn, IL 60137

                      Scott Larson
                      10202 N. 40th St.
                      Phoenix, AZ 85028

                      Scott Lipman
                      Polenstraat
                      Almere 1363BB
                      NETHERLANDS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1553 of
                                        1639



                      Scott Lizura
                      22600 Middlebelt Rd
                      Trlr D9
                      Farmington Hills, MI 48336-3673

                      Scott M Lepere
                      859 Conner Street
                      Noblesville, IN 46060

                      Scott McDowell
                      24 Purley Cres.
                      Scarborough ON M1M 1E8
                      CANADA

                      Scott Milne
                      2255 E Sunset Rd
                      Apt 2117
                      Las Vegas, NV 89119

                      Scott Morgan
                      4135 S. Power Rd
                      Suite 123
                      Mesa, AZ 85212

                      Scott Schatz
                      32 Arrowhead Estates Lane
                      Chesterfield, MO 63017

                      Scott Scheidt
                      2508 Quacco Road
                      Pooler, GA 31322

                      Scott Smith
                      6770 Delor Street
                      St. Louis, MO 63109

                      Scott Steigrod
                      11622 Stein St
                      Orlando, FL 32832

                      Scott Thompson
                      2828 Mccall Rd
                      Suite 32 P.O. Box #6
                      Englewood, FL 34224

                      Scott Trento
                      6040 SW 9th St
                      Plantation, FL 33317

                      Scott True
                      509 N Oak St
                      O Fallon, IL 62269
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1554 of
                                        1639



                      Scott Vesely
                      7842 Whitehart Street
                      Frisco, TX 75035

                      Scott Westerbeck
                      13325 Malachite Drive
                      Bradenton, FL 34211

                      Scott Wissler
                      3440 South Halifax Way
                      Aurora, CO 80013

                      Scott Zilonka
                      P.O. Box 1503
                      Borrego Springs, CA 92004

                      Seamus Rogers
                      Dublin Specialist Dentistry
                      402 Q House, Furze Road
                      Sandyford Industrial Estate D D18
                      IRELAND

                      Sean Beams
                      3 Elm St
                      Owego, NY 13827

                      Sean Burrows
                      1588 East Pender St #201
                      Vancouver BC V5L 1W1
                      CANADA

                      Sean Cooke
                      Flat 69, Renaissance Square Apartments,
                      London ENG W4 2DZ
                      UNITED KINGDOM

                      Sean Dahlin
                      1631 15th Avenue West
                      Ste 305
                      Seattle, WA 98119

                      Sean Dahlin
                      33010 Southeast 118th Street
                      Issaquah, WA 98027

                      Sean Duncombe
                      6796 Rue Clark
                      Montreal QC H2S 3E9
                      CANADA
                      Sean Frogley
                      28 Hercules Street
                      Shirley
                      Christchurch CAN 8013
                      NEW ZEALAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1555 of
                                        1639



                      Sean Goodman
                      1031 Eagle View Ct
                      Prairie Du Sac, WI 53578

                      Sean Greves
                      709 W Sunshine St
                      Springfield, MO 65807

                      Sean Gross
                      847 S Logan St
                      Denver, CO 80209

                      Sean Hinke
                      100 Deerbow Circle SE
                      Calgary AB T2J6J2
                      CANADA

                      Sean Katt
                      1131 Warwick Ave
                      Thousand Oaks, CA 91360

                      Sean Keaveney
                      Corry
                      Rathowen
                      Mullingar WH BT36 4PP
                      IRELAND

                      Sean Kruse
                      14921 Southeast 177th Place
                      23G
                      Renton, WA 98058

                      Sean Lenihan
                      209 W 125th Terrace
                      Kansas City, MO 64145

                      Sean McKay
                      2142 Daylor Drive Northeast
                      Grand Rapids, MI 49525

                      Sean Moran
                      15 Larkfield Close
                      Clayfarm , Sandyford
                      Dublin D D18 W5R2
                      IRELAND

                      Sean Murashige
                      719 22nd Avenue
                      Honolulu, HI 96816
                      Sean Park
                      5555 Mockingbird Ln #4614
                      Dallas, TX 75206
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1556 of
                                        1639



                      Sean Rapley
                      22 Kilncar Crescent
                      Thirroul NSW 2515
                      AUSTRAILA

                      Sean Segura
                      115 Mount Shasta Street
                      Dallas, TX 75211

                      Sean Sherwood
                      4644 Mapleridge Dr
                      North Vancouver BC V7R 3T5
                      CANADA

                      Sebastian Armanasco
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166

                      Sebastian Cruz
                      318 Belmont Drive
                      Alpharetta, GA 30022

                      Sebastian Flores
                      4350 W Kennedy Blvd
                      #8
                      Tampa, FL 33609

                      Sebastian Meyer
                      Huebeliacker 11A
                      Suhr 5034
                      SWITZERLAND

                      Sebastian Stegrin
                      Gnejsvagen 57, #1102
                      Kungsbacka 43451
                      SWEDEN

                      Sebastian Theilmeier-Aldehoff
                      Pastorenstrasse 16
                      Hamburg 20459
                      GERMANY

                      Sebastien Bisoglio
                      Chemin De Plaisance 1
                      Fully 1926
                      SWITZERLAND

                      Sebastien Chaumontet
                      10 Rue Simone De Beauvoir
                      Avenue De Chamb Ry
                      Alfortville 94140
                      FRANCE
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1557 of
                                        1639



                      Sebastien Genoud
                      Witikonerstrasse 23
                      Zurich 8032
                      SWITZERLAND

                      Sebastien Kenny
                      383 Chartersville Rd
                      Dieppe NB E1A5G9
                      CANADA

                      Sebastien Piche
                      1808 Rue De Beaulac
                      Chambly QC J3L0S9
                      CANADA

                      Sebastien Rousseau
                      18262 De La Promenade
                      Mirabel QC J7J1B6
                      CANADA

                      Sebastien St-Laurent
                      1957 Rue Girard
                      Varennes QC J3X 1J9
                      CANADA

                      Selcuk Azyurt
                      Weiherstrasse 8
                      Jona 8645
                      SWITZERLAND

                      Senay Aydemir
                      Schwangauer Strasse 15
                      Fussen 87629
                      GERMANY

                      Alper Sennaro
                      Hawksbrow
                      Guildford Road
                      Leatherhead ENG KT22 9DY
                      UNITED KINGDOM

                      Seppo Hosio
                      Vikhusgatan 5
                      Vasteras 72223
                      SWEDEN

                      Sereda Olga
                      Myru Avenue #1
                      Chornomorsk 68001
                      UKRAINE

                      Serg Rebugio
                      5122 Likini Street #109
                      Honolulu, HI 96818
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1558 of
                                        1639



                      Serge Krasnay
                      24573 El Alicante
                      Laguna Niguel, CA 92677

                      Sergei Berenson
                      8263 Trondheim Dr
                      Delta BC V4C0B8
                      CANADA

                      Sergey Bagdasaryan
                      8007 64th Rd
                      Middle Village, NY 11379

                      Sergey Kamburov
                      280 Obikolna St. Sofia Bulgaria
                      280 Entrance G Apartment 1.2
                      Sofia 1582
                      BULGARIA

                      Sergio Amico
                      Via Gustavo Vagliasindi 9
                      Catania CT 95126
                      ITALY

                      Sergio Cabrales
                      5940 Frank Ct
                      Sacramento, CA 95824

                      Sergio Franco
                      1022 Mehlert Street
                      Kingsburg, CA 93631

                      Sergio Kuba
                      267 20th Street
                      2R
                      Brooklyn, NY 11215

                      Sergio Magallanes
                      4841 W 96th St
                      Inglewood, CA 90301

                      Sergio Martinez
                      5762 Beadnell Way
                      Sacramento, CA 95835

                      Sergio Nunes
                      Reevanagh
                      Coolcullen KK R93A4P9
                      IRELAND
                      Sergio Rodrigues
                      Rua Tenente Ferreira Durao N54 3D
                      Lisboa PT-11 1350-317
                      PORTUGAL
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1559 of
                                        1639



                      Sergio Sansanelli
                      5459 Northwest 72nd Avenue
                      Miami, FL 33166

                      Sergio Spina
                      5039 Almaden Dr.
                      Los Angeles, CA 90042-1003

                      Sergiu Sapojnic
                      35C Glenfield Rd
                      Ashford ENG TW151JJ
                      UNITED KINGDOM

                      Sergiy Dushenkovskyy
                      151 Fenimore Rd
                      Apt B62
                      Mamaroneck, NY 10543-3515

                      Sergiy Sudakov
                      212 New Avenue
                      Reisterstown, MD 21136

                      Serina Calhoun
                      1765 Oak Street
                      San Francisco, CA 94117

                      Seth Adams
                      606 Avondale Ln
                      Raymore, MO 64083

                      Seth Houts
                      P.O. Box 607
                      Trenton, GA 30752-1167

                      Sevag Hartlieb
                      200 Tall Grass Trail
                      Vaughan ON L4L 3K6
                      CANADA

                      Sevag Shaweshian
                      3050 Pharmacy Avenue, #607
                      Toronto ON M1W 2N7
                      CANADA

                      Seyoum Bage
                      1109 Greenmont Circle
                      Vienna, WV 26105

                      Shackoy Campbell
                      5911 Blackpoole Ln
                      Virginia Beach, VA 23462
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1560 of
                                        1639



                      Shadat Patwary
                      33 Saint Dunstan Drive
                      Toronto ON M1L 2V2
                      CANADA

                      Shade Hagar
                      348 NW 54th St
                      Seattle, WA 98107

                      Shae Murray
                      3504 E 2nd Ct
                      Mead, WA 99021

                      Winston Shaeffer
                      1820 State Rd 13
                      Suite 8
                      St Johns, FL 32259

                      Shafkat Ali
                      12024 Valcour Island Way
                      Manassas, VA 20109

                      Aatish Shah
                      4024 249th Avenue Southeast
                      Issaquah, WA 98029

                      Shahid Malik
                      2317 Centre Ave
                      Bellmore, NY 11710-3410

                      Shai Day
                      4 Nehring Ave
                      Staten Island, NY 10314

                      Mohamed Ali Shajahan
                      253 Barrington Circle
                      Orion Charter Twp, MI 48360

                      Shakera Begum
                      Flat 33 Bloomfield House
                      London ENG E1 5PA
                      UNITED KINGDOM

                      Shakthi Chandrasekaran
                      255 Maitland Street
                      Unit 5B
                      Kitchener ON N2R 0C8
                      CANADA

                      Adam Shamblin
                      3260 Hawks Ridge Dr
                      Lakeland, FL 33810
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1561 of
                                        1639



                      Shan Patel
                      951 West Main Street
                      Mesa, AZ 85201

                      Shane Barth
                      430 5th Avenue North
                      Unit 504, Buzz 25
                      Saskatoon SK S7K 6Z2
                      CANADA

                      Shane Bernier
                      1921 Kensington Road
                      Bethlehem, PA 18018

                      Shane Hammer
                      1706 Pine Street
                      Huntington Beach, CA 92648

                      Shane Haydon
                      9922 Vega Lane
                      Louisville, KY 40272

                      Shane Hudecek
                      1101 SE 114th Pl
                      Portland, OR 97216

                      Shane Simms
                      6586 Dysinger Rd
                      Apt 2
                      Lockport, NY 14094-9030

                      Shane Stalder
                      23 Sandpiper Drive
                      Whispering Pines, NC 28327

                      Shankar Rajupet
                      1 Miller Ln
                      Cheswick, PA 15024

                      Shanker Yerragunta
                      2131 King Arthurs Court
                      1A
                      Harrisburg, PA 17110

                      Shannon Burch
                      108 Henderson Avenue
                      Norwood, PA 19074

                      Shannon Reed
                      21409 Dewdney Trunk Road, #9
                      Maple Ridge BC V2X 3G5
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1562 of
                                        1639



                      Shanon Stephens
                      10 Woodridge Rd
                      Moultrie, GA 31768

                      Shant Artinian
                      328 West Milford Street
                      Unit 4
                      Glendale, CA 91203

                      Shantha Ranepura
                      110 Driftwood Crescent
                      Dartmouth NS B2V 1S7
                      CANADA

                      Shardul Wagh
                      520 Terry Ave
                      Unit 504
                      Seattle, WA 98104

                      Shari Mosquera-Vela
                      7937 Ivywood Rd
                      Seminole, FL 33777-3104

                      Sharlenne Zamora
                      240 Northeast 51st Street Apt 2
                      Apt 2
                      Miami, FL 33137

                      Sharon Chau
                      9699 Jane Street
                      19A
                      Maple ON L6A 0A4
                      CANADA

                      Sharon Hatcher
                      1830 Ithaca Street
                      Chula Vista, CA 91913

                      Sharon Noble
                      815 Bryan Avenue South
                      Salt Lake City, UT 84105

                      Shashank Gupta
                      98 North 1st St
                      Unit 409
                      San Jose, CA 95113

                      Shashank Pawar
                      503/220 Mona Vale Road
                      St Ives NSW 2075
                      AUSTRAILA

                      Shaun Cunningham
                      179 Lake Rd
                      Sparta, TN 38583
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1563 of
                                        1639



                      Shaun Kelleher
                      1157 Poli St
                      Ventura, CA 93001

                      Shawn Dinsmore
                      907 Oso Negro
                      San Antonio, TX 78260

                      Shawn Ludeman
                      250 Dickinson Street
                      Mount Clemens, MI 48043

                      Shawn Richer
                      2708 Chesapeake Ct
                      Grapevine, TX 76051

                      Shawn Riddle
                      1514 West Berridge Lane
                      Phoenix, AZ 85015

                      Shawn Roberts
                      708 Cross Street
                      Brooklyn Park, MD 21225

                      Shawn Warden
                      3055 Harrelson Ste 13E
                      Nm
                      Las Cruces, NM 88005

                      Shawn Weyandt
                      684 Picadilly Court
                      Columbus, OH 43230

                      Shay Morley
                      261 Walter Ave N
                      Hamilton ON L8H5R5
                      CANADA

                      Shayan Mirzadeh
                      212 Omira Dr
                      San Jose, CA 95123

                      Shealyn Brake
                      2020 Talon Way
                      San Diego, CA 92123

                      Shear Haincadto
                      1532 Rock Glen Ave
                      Glendale, CA 91205
                      Sheena Ho
                      2254 22nd Ave
                      San Francisco, CA 94116
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1564 of
                                        1639



                      Sheila Poleon
                      37 Hatherley Gardens
                      East Ham
                      London ENG E6 3EN
                      UNITED KINGDOM

                      Shelby Benoit
                      2107 North Laventure Rd. Apt #27
                      Mount Vernon, WA 98273

                      Sheldon Gordon
                      10260 Wild Apple Circle
                      Montgomery Village, MD 20886

                      Shell Station
                      Fruchtallee 95
                      Mnb Tankstellen GmbH
                      Hamburg 20259
                      GERMANY

                      Shellsan Phromkharanourak
                      46609 Balsam Avenue
                      Chilliwack BC V2P 6P6
                      CANADA

                      Shelton Stewart
                      1338 North Saint Paul
                      Mesa, AZ 85205

                      Shen Ou
                      886 Randall Ave
                      Daphne, AL 36526

                      Shenika Ludford
                      176 Mill Street South #505
                      Brampton ON L6Y 1T8
                      CANADA

                      Sherry Milowicki
                      3960 Equestrian Court
                      Middleburg, FL 32068

                      Shervin Rahimpour
                      114 Constitution Dr.
                      Durham, NC 27705

                      Shezan Andani
                      5 N Wells St
                      Chicago, IL 60606
                      Shimon Deutsch
                      1 Miele Rd
                      Monsey, NY 10952
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1565 of
                                        1639



                      Shirley Fong
                      415 Grand Street
                      E1506
                      New York, NY 10002

                      Shirley Hart
                      5601 Canyonside Road
                      La Crescenta-Montrose, CA 91214

                      Shivani Mall
                      3600 Morning Star Drive, #62
                      Mississauga ON L4T 1Y5
                      CANADA

                      Shivase Singh
                      3080 North Course Drive
                      Apt. 509
                      Pompano Beach, FL 33069

                      Shoaib Khan
                      10107, 127B St
                      Surrey BC V3V 5M4
                      CANADA

                      Shounak Gupte
                      2903/151 City Road
                      Southbank VIC 3006
                      AUSTRAILA

                      Shrey Shandilya
                      433 South Mary Avenue #33
                      Sunnyvale, CA 94086

                      Siavash Ariashah
                      63 Briens Road
                      Northmead NSW 2152
                      AUSTRAILA

                      Sibel Deshong
                      8318 Kingsgate Rd
                      Apt A
                      Springfield, VA 22152

                      Siddharth Raval
                      24 Danton Lane North
                      Locust Valley, NY 11560

                      Siddharth Verma
                      10518 113th Street, #112
                      Edmonton AB T5H 0C6
                      CANADA

                      Ameer Siddiqui
                      2001 SW 82nd Avenue
                      Davie, FL 33324
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1566 of
                                        1639



                      Sidhaartha Chauhaan
                      14 Scott Close
                      Epsom ENG KT19 9NY
                      UNITED KINGDOM

                      Sidharta Noleto
                      34 Gleason Crescent
                      Kitchener ON N2M 0B7
                      CANADA

                      Sierra Craddock-Polk
                      2660 Augusta Dr.
                      Apt. L311
                      Houston, TX 77057

                      Luis Sigcha
                      4866 South Semoran Blvd, #1808
                      Orlando, FL 32822

                      Sigert Erzeel
                      Victor Witterzeelstraat 5
                      Iddergem 9472
                      BELGIUM

                      Silverio Rodriguez
                      2104 Cowling Road
                      Scottdale, PA 15683

                      Silvia Gruschka
                      Karyatidon 18
                      Flat 401
                      Larnaca 6042
                      CYPRUS

                      Silvina Paraiba
                      Rua 31 De Janeiro De 1891 Numero 5 Charn
                      Almada PT-15 2820-483 CHARNECA DA CAPARI
                      PORTUGAL

                      Simeon Nicdao
                      9000 128 Street
                      Surrey BC V3V 5M7
                      CANADA

                      Simon Attfield
                      25 Coleridge Way
                      Borehamwood ENG WD62AE
                      UNITED KINGDOM

                      Simon Boe
                      Bergmannstr. 102
                      Onehundred.Digital Gmbh
                      Berlin 10961
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1567 of
                                        1639



                      Simon Chan
                      9029 Broadway
                      Temple City, CA 91780

                      Simon Chokoisky
                      6310 N. 15th St
                      Phoenix, AZ 85014

                      Simon Dorfman
                      608 Chippewa Court
                      Fort Atkinson, WI 53538

                      Simon Fisher
                      9 Invergarry Drive
                      Glasgow SCT G46 8UA
                      UNITED KINGDOM

                      Simon Garden
                      The Old Angel
                      The Square
                      Axbridge ENG BS26 2AP
                      UNITED KINGDOM

                      Simon Gisler
                      Rossauerstrasse 16
                      Mettmenstetten 8932
                      SWITZERLAND

                      Simon Hauser
                      Muhlenweg2
                      Mils Bei Hall 6068
                      AUSTRIA

                      Simon Lundgren
                      Skvadronsgatan 29, #1301
                      Malmo 217 49
                      SWEDEN

                      Simon Sayavanh
                      4824 Charles Lewis Way
                      San Diego, CA 92102

                      Simon Sosnitza
                      Egon-Reinert-Strasse 2
                      Saarbrucken 66111
                      GERMANY

                      Simon Stahn
                      Baumweg 15
                      Frankfurt 60316
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1568 of
                                        1639



                      Simone Serratore
                      Feldstrasse 17
                      Dottikon 5605
                      SWITZERLAND

                      Anthony Simonetti
                      32 Sandpiper Lane
                      East Islip, NY 11730

                      Amber Simpson
                      322 I Street Southeast
                      Washington, DC 20003

                      Simranjeet Pal
                      Heidestrasse 6
                      Wolfratshausen      82515
                      GERMANY

                      Sina Abed
                      7 Ken Betz Court
                      Whitchurch-Stouffville ON L4A 4P5
                      CANADA

                      Sina Ehsani
                      7514 Hearthside Way
                      Elkridge, MD 21075

                      Sinan Turkoglu
                      Mannheimerstrasse 53
                      Waghausel 68753
                      GERMANY

                      Anthony Sinatra
                      P.O. Box 3591
                      Phoenix, AZ 85030

                      Sithamparappillai Raveendran
                      95 Winston Castle Drive
                      Markham ON L6C 2G4
                      CANADA

                      Sivananda Katir
                      22424 149th Ave SE
                      Snohomish, WA 98296

                      Sjarief Bodha
                      Zandweerdsweg 127
                      Deventer 7412 XW
                      NETHERLANDS
                      Skjalg Strand
                      Laksegata 2
                      Skien 3732
                      NORWAY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1569 of
                                        1639



                      Sky Kovac
                      25100 Vista Murrieta
                      Apt 2113
                      Murrieta, CA 92562

                      Slavoljub Radosavljevic
                      Pana Djukica 5, #3
                      Belgrade 11060
                      SERBIA

                      Slavoljub Radosavljevic
                      Pana Djukica 5, #3
                      Beograd 11060
                      SERBIA

                      Slavomir Fabisik
                      Bereiteranger 14
                      Munich 81541
                      GERMANY

                      Slawomir Horodyski
                      2500 Peachtree Road Northwest
                      Atlanta, GA 30305

                      Allen Smith
                      3912 Kingston Avenue
                      Caldwell, ID 83605

                      Alysandra Smith
                      3410 State Park Rd
                      Greenville, SC 29609

                      Thomas Smith
                      2721 Beutel Road
                      Lorena, TX 76655

                      SoLoKo GmbH
                      Fiedlerstrasse 54
                      Dresden 1307
                      GERMANY

                      Solomon Hindel
                      589 Steven Court, #3
                      Newmarket ON L3Y 6Z3
                      CANADA

                      Solomon Shelton
                      2667 Pamoa Rd
                      Honolulu, HI 96822
                      Solomon Smith
                      136 Fain St
                      Nashville, TN 37210
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1570 of
                                        1639



                      Sonny Davis
                      119 Prince Regent Drive
                      Half Moon Bay
                      Auckland AUK 2012
                      NEW ZEALAND

                      Sonny Mansson
                      Unnebacksas 206
                      Unnaryd 31452
                      SWEDEN

                      Sonny Santiago
                      1832 Laniloa Place
                      Wahiawa, HI 96786

                      Sookdeo Sunder
                      123-33 146th Street
                      Queens, NY 11436

                      Sophea Kim
                      7 Tollcross Rd
                      Chelmsford, MA 01824

                      Sophia Smit
                      Van Hogendorpstraat 803
                      Amsterdam 1051 CC
                      NETHERLANDS

                      Sophia Tarquinio
                      53 Cuttysark Road
                      East Falmouth, MA 02536

                      Sophie Leach
                      Arabian Ranches, Palmera 1, Street 1, Vi
                      Dubai DU
                      UNITED ARAB EMIRATES

                      Sora Choi
                      P.O. Box 1102
                      Rosebery NSW 1445
                      AUSTRAILA

                      Sora Choi
                      Unit 1639 / 8 Ascot Ave
                      Zetland NSW 2170
                      AUSTRAILA

                      Sorinel Gavrila
                      333 Prestwick Road
                      Watford ENG WD19 6UT
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1571 of
                                        1639



                      Souharda Poudyal
                      12020 Grevillea Avenue
                      Apt 24
                      Hawthorne, CA 90250

                      Soulinthone Phonthongsy
                      1257 South 31st Street
                      Manitowoc, WI 54220

                      Sourabh Pandey
                      2880 Glenbar Cir
                      Rochester Hills, MI 48307

                      Souren Khetcho
                      14831 104 Avenue
                      #315
                      Surrey BC V3R 1M5
                      CANADA

                      Christopher J. Sparks
                      1404 Sapphire Dragon Street
                      Thousand Oaks, CA 91320

                      Spartakos Karslidis
                      Konstantinou Kalogera 8
                      Apartment 21
                      Larnaca 6021
                      CYPRUS

                      Spassimir Tchobanov
                      25 North Bishop Street
                      Chicago, IL 60607

                      Spencer Andrews
                      3456 37th Ave Sw
                      Seattle, WA 98126

                      Spencer Green
                      1500 Park Avenue
                      Apt 335
                      Emeryville, CA 94608

                      Spencer Lome
                      2627 N Ridge Ave
                      Arlington Heights, IL 60004

                      Srikanth Vadlakonda
                      3375 Cedar Creek Trail
                      Frisco, TX 75034
                      Thomas St Pierre
                      204 Saint Jacques St
                      Worthington, OH 43085
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1572 of
                                        1639



                      John St ~Pierre
                      280 Frontenac Place
                      Worthington, OH 43085

                      Stacey Bronner
                      495 Carondelett Cv Sw
                      Atlanta, GA 30331-8353

                      Adam Stainback
                      2118 Highland View Ln.
                      Charlotte, NC 28214

                      Stan Graham
                      4530 Garfield Street
                      La Mesa, CA 91941

                      Stanimir Nikolov
                      Bul. Slavqnski 26, #6
                      Shumen 9700
                      BULGARIA

                      Stanislav Domashenko
                      4200 Northern Cross Blvd #4307
                      Haltom Coty, TX 76137

                      Stanislav Porodinski
                      Malinova Dolina, Ul. Georgi Rusev 23
                      Complex Slav Stroi, Casa Solare, Mobile
                      Sofia 1797
                      BULGARIA

                      Stanislav Schlosser
                      Sonnenbergsweg 17
                      Langwedel 27299
                      GERMANY

                      Stanley Lin
                      19902 Avenida Amadis
                      Walnut, CA 91789

                      Stefan Ciobanu
                      Preot Petru Leuca Nr 9
                      Sacele BV 505600
                      ROMANIA

                      Stefan Daniel Stanciu
                      Str Garii No 33 Bl B4
                      Ap 1
                      Titu DB 135500
                      ROMANIA

                      Stefan Daniel Stanciu
                      Str Garii Nr 33 Bloc B4 Scara B, #1
                      Titu DB 135500
                      ROMANIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1573 of
                                        1639



                      Stefan Guay
                      29 Mayfair Dr
                      Welland ON L3C7A1
                      CANADA

                      Stefan Heymanns
                      2983 Rustic Drive
                      San Jose, CA 95124

                      Stefan Jagemann
                      Spreestrasse13
                      Berlin 12555
                      GERMANY

                      Stefan Kastenmueller
                      Richildenstrasse 23
                      Munich 80639
                      GERMANY

                      Stefan Kudlicki
                      Schwindgasse 19/16
                      Wien 1040
                      AUSTRIA

                      Stefan Lajszczuk
                      36 Station Road
                      Oakworth
                      Keighley ENG BD22 7RE
                      UNITED KINGDOM

                      Stefan Rosenberger
                      Zollstockgurtel 114
                      Koln 50969
                      GERMANY

                      Stefan Schubert
                      Abdeck 4B
                      Furth 84095
                      GERMANY

                      Stefan Van Immerseel
                      Zeggelaan 11
                      Vosselaar 2350
                      BELGIUM

                      Steffen Gentner
                      Beiswanger Str. 18
                      Heubach 73540
                      GERMANY
                      Steffen Kirsten
                      Hermann-Burte-Strasse 74
                      Steinen 79585
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1574 of
                                        1639



                      Steffen Wieschalla
                      Mittnachtstr. 17/3
                      Reutlingen 72760
                      GERMANY

                      Stelian Papaconstantin
                      Str.Balciului Nr.7
                      Bucharest B 21482
                      ROMANIA

                      Stella Brookes
                      1 Grosvenor Rd
                      Barnwood
                      Gloucester ENG GL2 0SA
                      UNITED KINGDOM

                      Stella Olumide
                      164 Oakdale Road
                      Toronto ON M3N 2S5
                      CANADA

                      Sten Bredenberg
                      Pipersgatan 20 #1304
                      Stockholm 11224
                      SWEDEN

                      Stephan Klaus
                      Landoltstrasse 63
                      Apps With Love AG
                      Bern 3007
                      SWITZERLAND

                      Stephan Ulrich
                      Wiihalde 5
                      Dietlikon 8305
                      SWITZERLAND

                      Stephan Zeranski
                      Giselherweg 19
                      Hannover 30455
                      GERMANY

                      Stephane Domon
                      1425 Rue Leonard
                      Apt 2
                      Sherbrooke QC J1K 2L9
                      CANADA

                      Stephane Turquay
                      Saumstrasse 25
                      Zurich 8003
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1575 of
                                        1639



                      Stephanie Abbott
                      4068 Bernice Dr.
                      San Diego, CA 92107

                      Stephanie Hogan
                      7935 Carriage Park Drive
                      Hollins, VA 24019

                      Stephany Decrooy
                      1580 South Trenton Court
                      Denver, CO 80231

                      Stephen Boyles
                      22 Brittany Lane
                      Odessa, TX 79761

                      Stephen Dimare
                      3545 Us 1 South
                      Suite 1
                      Saint Augustine, FL 32086-6345

                      Stephen Dimare
                      3545 U.S. 1
                      Suite 1
                      St. Augustine, FL 32086

                      Stephen Garrett
                      4934 Empire Ave
                      Jacksonville, FL 32207

                      Stephen Gomez
                      8616 North 48th Lane
                      Glendale, AZ 85302

                      Stephen Ho
                      82 Wolverleigh Blvd
                      Toronto ON M4J 1R9
                      CANADA

                      Stephen Jean-Jacques
                      197 Catania Way
                      Royal Palm Beach, FL 33411

                      Stephen Kosman
                      31 E 25th Street
                      Tulsa, OK 74114

                      Stephen Mansfield
                      15207 Knotty Chestnut St.
                      Cypress, TX 77429

                      Stephen Mashney
                      335 North Brookhurst Street
                      Anaheim, CA 92801
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1576 of
                                        1639



                      Stephen Moss
                      7220 Lombard Ln
                      Austin, TX 78744

                      Stephen Rogalla
                      129 Philip Avenue
                      Elmwood Park, NJ 07407

                      Stephen Shen
                      214A 10th St
                      Palisades Park, NJ 07650-4050

                      Stephen Traiforos
                      157 E Main St
                      Fl 2
                      Marlborough, MA 01752

                      Stephen Ward
                      4400 N Scottsdale Rd
                      Suite 9-285
                      Scottsdale, AZ 85251

                      Stephen Weare
                      396 Pearl Street
                      Manchester, NH 03104

                      Stephen Young
                      804 East 39th Street
                      Brooklyn, NY 11210

                      Stephen Young Young
                      804 East 39th Street
                      Brooklyn, NY 11210

                      Stephie-Lea Tabujara
                      33 Apple Blossom Cres
                      Georgetown ON L7G6L5
                      CANADA

                      Sterling Cliff
                      26319 Iowa Gardens Rd
                      San Benito, TX 78586

                      Sterling Hintze
                      Anastasius-Grun-Gasse
                      37A/4
                      Wien 1180
                      AUSTRIA

                      Sterling Mortensen
                      595 E Edgar St
                      Meridian, ID 83646
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1577 of
                                        1639



                      Sterling Scott
                      12408 15 Ave SW #220
                      Edmonton AB T6W 1X2
                      CANADA

                      Steve Anevski
                      4990 Race Road
                      Cincinnati, OH 45211

                      Steve Bosson
                      11588 South Radience Ln
                      South Jorden, UT 84009

                      Steve Erickson
                      531 Center Street
                      Iowa City, IA 52245

                      Steve Hammond
                      9812 - 100 St
                      Morinville AB T8R 1R3
                      CANADA

                      Steve Hodgson
                      10 Turnberry Way
                      Brookwater QLD 4300
                      AUSTRAILA

                      Steve Leblanc
                      45 Church Street
                      Hamilton ON L8E 2X7
                      CANADA

                      Steve Nagy
                      207 East Robertson Street
                      Suite B
                      Brandon, FL 33511

                      Steve Nagy
                      17605 Old Oak Way
                      Lithia, FL 33547

                      Steve Okrepky
                      15880 Summerlin Road
                      Ste 300-211
                      Fort Myers, FL 33908

                      Steve Pelton
                      2530 232nd Ave SE
                      Sammamish, WA 98075
                      Steve Romero
                      304 Brenda Drive
                      Hewitt, TX 76643
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1578 of
                                        1639



                      Steve Skillern
                      1795 North Fry Road, #211
                      Katy, TX 77449

                      Steve Szymczak
                      44699 Parkmeadow Dr
                      Fremont, CA 94539

                      Steve Xie
                      14 Orchard Street
                      2I
                      New York, NY 10002

                      Steven Basart
                      3450 Southwest 185th Avenue
                      Miramar, FL 33029

                      Steven Behrend
                      9623 Northwest 28th Court
                      Coral Springs, FL 33065

                      Steven Bergmann
                      Platanenstrasse 10
                      Jena 7747
                      GERMANY

                      Steven Botticelli
                      Via Milano 112
                      Porto Santelpidio FM 63821
                      ITALY

                      Steven Cook
                      1510 Meadowbrook Ave
                      Lakeland, FL 33803

                      Steven Cullen
                      1855 Maple Ridge Drive, #42
                      Mississauga ON L4W 2N7
                      CANADA

                      Steven Duong
                      117 Benjamin Hood Cres
                      Concord ON L4K 5M7
                      CANADA

                      Steven Hyatt
                      4605 Otter Road
                      Dodgeville, WI 53533

                      Steven Kim
                      28312 Hawks Ridge Drive
                      Santa Clarita, CA 91351
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1579 of
                                        1639



                      Steven Luna
                      607 High Street
                      Bethlehem, PA 18018

                      Steven Mahoney
                      2 Pukeko Grove, St Kilda
                      Cambridge WKO 3434
                      NEW ZEALAND

                      Steven Nguyen
                      130 Stevenson Road
                      Toronto ON M9V2B5
                      CANADA

                      Steven Potter
                      914 Welton St
                      Pratt, KS 67124

                      Steven Sodders
                      202 5th Ave SE
                      Box 723
                      State Center, IA 50247

                      Steven Tsiang
                      5730 South Glennie Lane
                      Unit A
                      Los Angeles, CA 90016

                      Steven Wang
                      5181 163rd Pl SE
                      Bellevue, WA 98006

                      Steven Waterson
                      16 Gray Road
                      Bray Park QLD 4500
                      AUSTRAILA

                      Steven Willis
                      16262 San Clemente
                      Huntington Beach, CA 92649

                      Steven Wright
                      9069 Brushy Creek Trail
                      Fort Worth, TX 76118

                      Stewart Jackson
                      43 Queensway Drive
                      Brantford ON N3R 4W6
                      CANADA
                      Stewart Purcell
                      11609 S Penrose
                      Olathe, KS 66061
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1580 of
                                        1639



                      Aaron Stills
                      1900 Arcturus Avenue
                      Racine, WI 53404

                      Stratos Fourlakis
                      Andrea Papandreou 93
                      Thessaloniki 56728
                      GREECE

                      Stu Reider
                      5590 Avenue Castlewood
                      C Te Saint-Luc QC H4W 1T9
                      CANADA

                      Stuart Baird
                      9 Vista Ln
                      Lake Placid, NY 12946

                      Stuart Clayton
                      47 Queen St
                      Ulverstone TAS 7315
                      AUSTRAILA

                      Stuart Farr
                      203 E Smoke Tree Rd
                      Gilbert, AZ 85296-2247

                      Stuart Hollinger
                      19 Hume Drive
                      Cambridge ON N1T1N2
                      CANADA

                      Stuart Waters
                      111 Colwell Ln
                      Conshohocken, PA 19428

                      Sudesh Weerasekara
                      Sensor House, Langley Road
                      Swindon ENG SN5 5WB
                      UNITED KINGDOM

                      Suekrue Tayfun Kilic
                      Weinhartstrasse 1
                      Innsbruck 6020
                      AUSTRIA

                      Sufian Abdalla
                      10228 S Grant Ave
                      Manassas, VA 20110
                      Suhail Khalid
                      280 Wilson Drive
                      Milton ON L9T 3K2
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1581 of
                                        1639



                      Suhail Sahabdeen
                      13550 Litza Way
                      Woodbridge, VA 22192

                      Suhib Muzuk
                      7430 Boysenberry Lane
                      Houston, TX 77095

                      Sujay Diwakar
                      2909 N Oliver St
                      Wichita, KS 67220

                      Sukhjeet Singh
                      148 Hollybush Drive
                      Vaughan ON L6A 2H3
                      CANADA

                      Sukhjinder Sidhu
                      17 Pellegrino Road
                      Brampton ON L7A4V5
                      CANADA

                      Sukhjinder Singh
                      2565 Alexis Rd Windsor On
                      Windsor ON N8W3Z6
                      CANADA

                      Suleman Akhter
                      24307 Hampton Terrace Lane
                      Spring, TX 77389

                      Sultan Alshathri
                      Alathraa Street 2170
                      Riyadh 51975
                      SAUDI ARABIA

                      Sultan Shaik
                      539 Brook Meadow Dr
                      Ballwin, MO 63021

                      Sumama Altaf
                      23 Linton Walk
                      Manchester ENG M7 3QR
                      UNITED KINGDOM

                      Suman Karanjit
                      154 Centenary Road
                      South Wentworthville NSW 2145
                      AUSTRAILA
                      Sumitabh Aggarwal
                      12123 Arbor Blue Ln.
                      Cypress, TX 77433-4012
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1582 of
                                        1639



                      Sunit Mohindroo
                      3438 North Hackett Avenue
                      Milwaukee, WI 53211

                      Surender Singh
                      18 Seaton Street
                      South Toowoomba QLD 4350
                      AUSTRAILA

                      Susan Erturan
                      297 East Paces Ferry Road
                      Unit N1807
                      Atl, GA 30305

                      Susan Jackson
                      6 Trillium Crescent
                      Barrie ON L4N 5P5
                      CANADA

                      Susan Lee
                      355 Westview Ave
                      Fort Lee, NJ 07024

                      Susan Rathe
                      Albisstrasse 20
                      Baar 6340
                      SWITZERLAND

                      Susan Struse
                      6659 S Calle De La Mango
                      Hereford, Az 85615
                      Hereford, AZ 85615-9275

                      Susana Rosales
                      135 South Abram Circle
                      Spring, TX 77382

                      Susann Richter
                      Osterholzer Landstrasse 34E
                      Bremen 28327
                      GERMANY

                      Susanna Kellogg
                      14765 Valerio Street
                      Van Nuys, CA 91405

                      Suthin John
                      10 Evergreen Lane
                      New Hyde Park, NY 11040
                      Suzanne Ennis
                      61 Saint Clair Avenue, #1503
                      Toronto ON M4V 2Y8
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1583 of
                                        1639



                      Sven Breckler Alteox Sarl
                      17 Rue Batty Weber
                      L-4346
                      Esch Alzette 4346
                      LUXEMBOURG

                      Sven Krueger
                      Schleusentwiete 1
                      Hamburg 22399
                      GERMANY

                      Sven Meyer
                      861 East 27th Street
                      Apt 5A
                      Brooklyn, NY 11210

                      Sven Niemann
                      Rosestr. 21
                      Erd
                      Essen 45276
                      GERMANY

                      Sven Simmen
                      Von-Coels-Strasse 310
                      Aachen 52080
                      GERMANY

                      Sven Soltermann
                      Weberstrasse 5
                      Aarburg 4663
                      SWITZERLAND

                      Svetoslav Sokolov
                      815 Gravesend Neck Road
                      Apt 5L
                      Brooklyn, NY 11223

                      Svetoslav Todorov
                      Mariubakki 4, #202
                      Reykjavik 109
                      ICELAND

                      Swaijit Sandhu
                      11809 84A Avenue
                      North Delta BC V4C 2T2
                      CANADA

                      Syed Naqvi
                      4 Ravenscroft Court
                      Stitsville ON K2S1R3
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1584 of
                                        1639



                      Syed Rizvi
                      147 Wentworth St N
                      Hamilton ON L8L 5V6
                      CANADA

                      Syed Waqar Abbas
                      Ruckertstrasse 12
                      Berlin 10627
                      GERMANY

                      Sylvain Blanchard
                      60 Rue Du 11 Novembre
                      Pavillon 42
                      Neuilly-Sur-Marne 93330
                      FRANCE

                      Szu-Kai Hsu
                      788 Harrison St
                      Apt 716
                      San Francisco, CA 94107

                      Tad Lucas
                      67310 Country Side Drive
                      Saint Clairsville, OH 43950

                      Tadas Sauseris
                      Biciuliu 14 Raziai
                      Domeikava
                      Kaunas 54340
                      LITHUANIA

                      Taher Ali
                      100 Ramapo Trl
                      Apt F12
                      Allentown, PA 18104

                      Tahir Salkic
                      225 Willowwood Dr.
                      Belle River ON N0R 1A0
                      CANADA

                      Taidas Akavickas
                      21 Bremore Pastures Park
                      Balbriggan D K32N353
                      IRELAND

                      Takeru Okuyama
                      890 Crescent Dr
                      Rahway, NJ 07065
                      Talal Slivy
                      IMI Int'l Mgmt Institute Ltd.
                      Z Hd. Frau Isabella Burki Seeacherweg 1
                      Kastanienbaum 6047
                      SWITZERLAND
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1585 of
                                        1639



                      Talia Volken
                      1196 Deep Cove Road
                      North Vancuver BC V7G1S3
                      CANADA

                      Dannel Tan
                      2259 52nd Ave E
                      Vancouver BC V5P 1X2
                      CANADA

                      Tanveer Uddin
                      32 Maude House, Ropley Street
                      London ENG E27RY
                      UNITED KINGDOM

                      Tanya Wurster
                      113 W Lancaster Rd
                      Orlando, FL 32809

                      Anthony Tarantino
                      100 Glen Street
                      Apt 2206
                      Glen Cove, NY 11542

                      Tarek Zaki
                      74 Deerfield Rd
                      Sharon, MA 02067

                      Tarik Aksoz
                      Feneryolu Mahallesi Fahrettin Kerim Goka
                      Kadikoy - Istanbul
                      Istanbul 34724
                      TURKEY

                      Tarik Aksoz
                      Fetih Mah. Acenaydin Sokak No:13 Atasehi
                      Boss
                      Istanbul 34704
                      TURKEY

                      Tariq Saeed
                      5980 Whitehorn Avenue #159
                      Mississauga ON L5V 2Y3
                      CANADA

                      Tarun Keram
                      6289 125A Street
                      Surrey BC V3X 3M9
                      CANADA
                      Taylor Bison
                      536 Wing Park Blvd
                      Elgin, IL 60123
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1586 of
                                        1639



                      Taylor Duffy
                      86 Bryant Lane
                      Kennebunkport, ME 04046

                      Taylor Lampman
                      456 Gorge Road East
                      #8
                      Victoria BC V8T 2W4
                      CANADA

                      Taylor Rice
                      15623 West Gelding Drive
                      Surprise, AZ 85379

                      Taylor Smith
                      5745 E 2nd St Frnt
                      Long Beach, CA 90803

                      Tayo Olabumuyi
                      66 Wintergreen Trail
                      Spring, TX 77382

                      Tayseer Samara
                      7706 159th Place
                      Tinley Park, IL 60477

                      Taysser Akkad
                      330 Burnhamthorpe Rd W
                      Mississauga ON L5B 0E1
                      CANADA

                      Alan M. Tebby
                      510 Lansdowne Road
                      Charlotte, NC 28270

                      Ted Kim
                      13902 Joel Beach Ln
                      Centreville, VA 20120

                      Ted Mejia
                      817 Columbus Ave
                      Stroudsburg, PA 18360

                      Ted Rader
                      7679 Brookstone Drive
                      Findlay, OH 45840

                      Ted Rader
                      5901 W Behrend Dr
                      Apt 1153
                      Glendale, AZ 85308

                      Ted Simpson
                      7074 Via Serena
                      San Jose, CA 95139
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1587 of
                                        1639



                      Teddy R Donselaar
                      29 Park Road
                      Titirangi
                      Auckland AUK 604
                      NEW ZEALAND

                      Tejas Patel
                      352 North Thompson Lane
                      Murfreesboro, TN 37129

                      Tejaswini Gharfalkar
                      Flat 104, Signal Building
                      Station Approach
                      Hayes ENG UB3 4FG
                      UNITED KINGDOM

                      Teo Marks
                      2449 Olive Ave
                      La Crescenta, CA 91214

                      Teodor Bogdan
                      3601 Estate Dr
                      Oxford, MI 48371

                      Teofilo Fangmann
                      729 Heritage Way
                      Weston, FL 33326

                      Terence Farrell
                      9 Shady Grove
                      Wheaton Hall
                      Drogheda LH A92 D83H
                      IRELAND

                      Terence Fernandes
                      70 Grover Drive
                      Toronto ON M1C 4V7
                      CANADA

                      Terence Martin
                      1801 McNab Ave
                      Long Beach, CA 90815

                      Teresa Hilleary
                      3054 Fredrick Circle
                      Marina, CA 93933

                      Terin Izil
                      242 West 104th Street
                      3Wf
                      New York, NY 10025

                      Terraces Dunwoody
                      4333 Dunwoody Park #2410
                      Dunwoody, GA 30338
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1588 of
                                        1639



                      Terrell Gaston
                      6623 Bela Avenue
                      Kalamazoo, MI 49009

                      Terrell Gaston-Burnett
                      6623 Bela Ave
                      Kalamazoo, MI 49009

                      Terrence Peacock
                      1713 Hixson Pike
                      Apt B
                      Chattanooga, TN 37405

                      Terry Buffington
                      6557 South University Avenue
                      Unit 204
                      Chicago, IL 60637

                      Terry Lee
                      6300 U.S. Hwy 93 South
                      Whitefish, MT 59937

                      Terry Rozmahel
                      10533 164 Street Northwest
                      Edmonton AB T5P 3R5
                      CANADA

                      Terry Slack
                      615 Swann Ave
                      #340
                      Alexandria, VA 22301

                      Terry Stevens
                      102 Rickel Road
                      Sun Prairie, WI 53590

                      Thabet Salib
                      Elbevagen 34
                      Villa Number 34
                      Huddinge 14132
                      SWEDEN

                      Thadeus Olszewski
                      102 Bank St
                      Batavia, NY 14020

                      Thai Nguyen
                      1520 Verbana Way
                      Roseville, CA 95747
                      Thai Trinh
                      10606 Trevor Drive
                      Stockton, CA 95209
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1589 of
                                        1639



                      Thang Tran
                      1933 E 26th St
                      Oakland, CA 94606

                      Thanh Dinh Hai
                      Velke Kunraticke 29/1362
                      Prague 14800
                      CZECH REPUBLIC

                      Thanh Long Vu
                      Am Hammer 12
                      Linz 53545
                      GERMANY

                      Thavatchai Patummas
                      10449 Greenhurst Street
                      Bellflower, CA 90706

                      Theo Quach
                      1764 S Caroleen Ln
                      Anaheim, CA 92804

                      Theodore Bricke
                      637 South Santa Fe Ave
                      Suite C
                      Vista, CA 92083

                      Theodore Freeman
                      8430 Parry Path
                      Converse, TX 78109

                      Theodore Hicks
                      49685 Jackson Lane
                      Canton, MI 48188

                      Theodore Kennedy
                      1041 Valmont Street
                      New Orleans, LA 70115

                      Theodore McGrath
                      1567 Hudson Ridge Road
                      Hillsboro, MO 63050

                      Theodore Nelson
                      300 South Santa Fe Ave #523
                      Los Angeles, CA 90013

                      Theodoros Christodoulou
                      Avlidos 4,
                      Flat 201, Livadia
                      Larnaca 7060
                      CYPRUS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1590 of
                                        1639



                      Theresa Crafton
                      419 Everette Avenue
                      Romeoville, IL 60446

                      Theresa Mendoza
                      73 Bonfire Ct
                      Westminster, MD 21157

                      Thibault Leroux
                      Chemin De La Lisiere 19
                      Lausanne 1018
                      SWITZERLAND

                      Thiry Gratton
                      49, 26E Avenue Sud
                      Bois-Des-Filion QC J6Z1Z1
                      CANADA

                      Tho Tran
                      33 Erskine Avenue
                      Apt 308
                      Toronto ON M4P 1Y6
                      CANADA

                      Thomas Blascyk
                      Victor-Achard-Str. 26
                      Bad Homburg Vor Der Hohe 61350
                      GERMANY

                      Thomas Bourque
                      1118 Orange Grove Dr
                      New Iberia, LA 70560

                      Thomas Brennan
                      4601 Lowell Blvd
                      Denver, CO 80211

                      Thomas Burbridge
                      43 Millwheel Court
                      Nottingham, MD 21236

                      Thomas Burch
                      2500 Royal Highlands Ln
                      Conroe, TX 77304

                      Thomas Dean
                      12 Dauntsey House
                      Bentham Close
                      Swindon ENG SN5 7FR
                      UNITED KINGDOM

                      Thomas Do
                      4520 Walnut Grove Avenue
                      Rosemead, CA 91770
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1591 of
                                        1639



                      Thomas Duncan
                      151 Linwell Road
                      Unit 42
                      St. Catharines ON L2N 6P3
                      CANADA

                      Thomas Forrester
                      140 Powhatan Parkway
                      Hampton, VA 23661

                      Thomas Gibson
                      21025 Lemarsh St
                      Unit F33
                      Chatsworth, CA 91311

                      Thomas Giesel
                      930 Carnegie Street
                      Apt 1213
                      Henderson, NV 89052

                      Thomas Gossler
                      Alte Meierstrasse 11
                      Weyhe 28844
                      GERMANY

                      Thomas Griffin
                      16B Sunset Avenue
                      East Quogue, NY 11942

                      Thomas Gruenewald
                      4424 Winding Creek Rd
                      Manlius, NY 13104

                      Thomas Helenski
                      191 Hughes Road
                      King Of Prussia, PA 19406-3709

                      Thomas Hemmi
                      Holzwiesstrasse 37
                      Jona Sg 8645
                      SWITZERLAND

                      Thomas House
                      3541 Oakdale Dr
                      Mountain Brk, AL 35223

                      Thomas Huelsmann
                      Rosenstrasse 13A
                      Schaeftlarn 82069
                      GERMANY

                      Thomas Kollath
                      Schulstrasse 1
                      Kloster Lehnin 14797
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1592 of
                                        1639



                      Thomas Lim
                      434 1/2 N Sierra Bonita Ave
                      Los Angeles, CA 90036

                      Thomas Madden
                      309-110 Switchmen St.
                      Vancouver BC V6A0C6
                      CANADA

                      Thomas McAulay
                      3 Tilman Drive
                      Peterborough ENG PE70LU
                      UNITED KINGDOM

                      Thomas Mccormick
                      200 104th Avenue
                      Suite 330
                      Treasure Island, FL 33706

                      Thomas McGinty
                      243 Flanders Drive
                      Indialantic, FL 32903

                      Thomas Newbold
                      1105 Park Avenue
                      1C
                      New York, NY 10128

                      Thomas Nguyen
                      1628 Acton St
                      Berkeley, CA 94702

                      Thomas Niewiara
                      220 E Illinois St
                      Apt 3606
                      Chicago, IL 60611

                      Thomas Niuman
                      188 Yacht Club Drive
                      Greentown, PA 18426

                      Thomas Pena
                      34249 Faircrest Street
                      Murrieta, CA 92563

                      Thomas Phommasith
                      2151 Lumberjack Drive
                      Hebron, KY 41048

                      Thomas Sauermann
                      Kortestr. 36
                      Berlin Kreuzberg 10967
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1593 of
                                        1639



                      Thomas Schauer
                      Hofer Strasse 19
                      Lochau 6911
                      AUSTRIA

                      Thomas Schupfer
                      Marktgasse 27
                      3W-Publishing Ag
                      Langenthal 4900
                      SWITZERLAND

                      Thomas Smith
                      14532 S23 Highway
                      Milo, IA 50166

                      Thomas Uzelmeier
                      217 N Lynx Trl
                      Montgomery, TX 77316

                      Thomas Wolfe
                      995 Wagon Wheel Lane,
                      Lincoln, CA 95648

                      Thorn Leung
                      28 Duke Of Cornwall Dr
                      Markham ON L6C 0L3
                      CANADA

                      James Thornton
                      1262 West Ardmore Avenue
                      Chicago, IL 60660

                      Thrasyvoulos Eikosipentaris
                      40 Union Grove
                      1Fr
                      Aberdeen SCT AB10 6SY
                      UNITED KINGDOM

                      Brian A Thuen
                      9497 Pickwick Circle East
                      Taylor, MI 48180

                      Thusekaran Shanmugatatnam
                      29 Tangmere Gardens
                      Northolt ENG UB5 6LS
                      UNITED KINGDOM

                      Tia Goodwater
                      3455 Andrew Court #102
                      Maryland City, MD 20724

                      Tiago Pereira
                      19 Heywood House, 2 Myers Lane
                      London ENG SE14 5RU
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1594 of
                                        1639



                      Tiago Rodrigues
                      Rua Batalha Reis No12
                      Guarda PT-09 6300-668
                      PORTUGAL

                      Tiago Rodrigues
                      Rua Batalha Reis N12
                      Guarda PT-09 6300-668
                      PORTUGAL

                      Tiandra Delancy
                      2727 NW 47th Terrace
                      Lauderdale Lakes, FL 33313

                      Tiffany Allred
                      1214 Foothill Drive
                      Santaquin, UT 84655

                      Till Brauner
                      Schweidnitzer Str. 2
                      Berlin 10709
                      GERMANY

                      Tim Barnett
                      2458 Crescent Park Court
                      Atlanta, GA 30339

                      Tim Crasborn
                      30 Mount Erin Road
                      Pukahu HKB 4172
                      NEW ZEALAND

                      Tim Downs
                      5314 West 103rd Place
                      Overland Park, KS 66207

                      Tim Gardner
                      101 5101 50 Ave
                      Suite 922
                      Leduc AB T9E 0B9
                      CANADA

                      Tim Giese
                      Karoline-Herschel-Strasse 10
                      Lubeck 23562
                      GERMANY

                      Tim Hoey
                      43 Randolph Ave
                      Milton, MA 02186

                      Tim Kribbs
                      213 S Reed St
                      Centralia, MO 65240
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1595 of
                                        1639



                      Tim Larin
                      3224 Estero Drive
                      San Ramon, CA 94583

                      Tim Le
                      37 Milford Street
                      Latham ACT 2615
                      AUSTRAILA

                      Tim Lindberg
                      Catella Arena- Rinkebyvagen 20
                      Danderyd 18236
                      SWEDEN

                      Tim Schultheis
                      Rather Strasse 25
                      Diginexus Gmbh
                      Dusseldorf 40476
                      GERMANY

                      Tim Settles
                      103 Laurel St
                      Loveland, OH 45140

                      Tim Stocker
                      7 Stone Run Drive
                      Mechanicsburg, PA 17050

                      Timo Parkkinen
                      Porkkatie 7 C15
                      Porkkatie 7 C15
                      Joensuu 80230
                      FINLAND

                      Timothy Catanzaro
                      519 W Us Hwy 50
                      O Fallon, IL 62269

                      Timothy Eakins
                      4954 N Hemingay Cir
                      Margate, FL 33063

                      Timothy Free Pham
                      319 Thaiphantha Road, Pho sub-district
                      Sisaket Rajabhat University
                      Sisaket TH-33 33000
                      THAILAND

                      Timothy Funderburg
                      700 Central Avenue Northeast
                      Apt 704
                      Minneapolis, MN 55414
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1596 of
                                        1639



                      Timothy Groff
                      11828 La Grange Ave.
                      Los Angeles, CA 90025

                      Timothy Hipps
                      2130 Sunset Dr Space 9
                      Vista, CA 92081

                      Timothy Hohne
                      182 Mission Ave
                      San Rafael, CA 94901

                      Timothy Jacobs
                      5618 Oakland Dr.
                      Tampa, FL 33617

                      Timothy Leaphart
                      5039 North Henry Blvd
                      Suite E
                      Stockbridge, GA 30281

                      Timothy Lindsay
                      474 Glenbrook Avenue North
                      Saint Paul, MN 55128

                      Timothy Padgett
                      1929 Tacoma Road
                      Puyallup, WA 98371

                      Timothy Park
                      113 Heather Mist
                      Irvine, CA 92618

                      Timothy Pulley
                      4 Rolla Mill Rd
                      Verona, VA 24482

                      Timothy Root
                      3557 W Warren Ln
                      Anthem, AZ 85086

                      Timothy Shih
                      4836 Mansfield St
                      San Diego, CA 92116

                      Timothy Walsh
                      3799 Harrison Street
                      Oakland, CA 94611

                      Tina Croteau
                      44 Cross Street
                      Salem, NH 03079
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1597 of
                                        1639



                      Tino Be
                      231 East Alessandro Blvd #264
                      Riverside, CA 92508

                      Tirca Ionut
                      Str Matei Basarab Nr.33
                      Bl P24 Sc C Ap3
                      Romania, Jude Ul Arges, Pitesti AG 1102
                      ROMANIA

                      Tisha Clark
                      217 South Home Street
                      Independence, MO 64053

                      Tj Caddo
                      510 12th Avenue Sw
                      Suite 908
                      Calgary AB T2R 0X5
                      CANADA

                      Tj Donahue
                      P.O. Box 300278
                      Denver, CO 80203

                      Tj Langer
                      10104 Iron Gate Road
                      Potomac, MD 20854

                      Tj Langer
                      10104 Iron Gate Rd
                      Potomac, MD 20854

                      Toan Nguyen
                      3015 Senter Rd
                      San Jose, CA 95111

                      Toan Sam
                      1741S Sunset Ave
                      West Covina, CA 91790

                      Yaakov Aryeh Tober
                      53 Hillside Blvd
                      Lakewood Twp, NJ 08701

                      Tobias Breitmann
                      Bleichstrasse 19
                      Nieder-Olm 55268
                      GERMANY

                      Tobias Leeb
                      Von-Niethammer-Strasse 1
                      Mengkofen 84152
                      GERMANY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1598 of
                                        1639



                      Toby Kennedy
                      917 Irishtown Rd.
                      New Oxford, PA 17350

                      Todd Angerman
                      208 Timber Springs Rd.
                      Lowell, IN 46356

                      Todd Bassett
                      2404 W Delmar St
                      Broken Arrow, OK 74012

                      Todd Bennett
                      809 Sutter Ct
                      Frazier Park, CA 93225

                      Todd Brekhus
                      16520 Inguadona Beach Circle Southwest
                      Prior Lake, MN 55372

                      Todd Calhoun
                      2815 28th Ave W
                      Seattle, WA 98199

                      Todd Eide
                      1850 Commons Hill Ln
                      Houston, TX 77080

                      Todd Matthews
                      7639 Peach Ave.
                      Hesperia, CA 92345

                      Todd Moore
                      9166 Saddlebrook Way
                      Douglasville, GA 30135

                      Todd Osborn
                      2418 South Main Avenue
                      Sioux Falls, SD 57105

                      Todd Scoggins
                      3200 John Ct S
                      Hurst, TX 76054

                      Todd Voght
                      5400 Radford Ave #25
                      Valley Village, CA 91607

                      Todd Weaver
                      1048 Delaware Rd
                      Burbank, CA 91504
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1599 of
                                        1639



                      Todor Kovaelvic
                      Zidarska 2, Beograd
                      Belgrade 11000
                      SERBIA

                      Tohn Sy
                      1631 Freeman Avenue
                      Long Beach, CA 90804

                      Token Ventures S.R.O.
                      Skolska 689/20
                      Praha 1 110 00
                      CZECH REPUBLIC

                      Tom Berkley
                      166 Melrose Avenue
                      Needham, MA 02492

                      Tom Blenderman
                      1803 4th St
                      Sioux City, IA 51101

                      Tom Dewine
                      20227 Standish Road
                      San Antonio, TX 78258

                      Tom Elias
                      9574 Topanga Canyon Blvd
                      Los Angeles, CA 91311

                      Tom Flanary
                      8375 SW 185th Terrace
                      Cutler Bay, FL 33157

                      Tom Greineder
                      501 West Main
                      Honey Grove, TX 75446-1506

                      Tom Jones
                      1630 Concord St
                      Framingham, MA 01701

                      Tom Kelly
                      556 Wasaga Crescent
                      Waterloo ON N2V 2Y7
                      CANADA

                      Tom Kryger
                      32 Anthony Rd
                      Glen Gardner, NJ 08826

                      Tom Loffman
                      1565 Vista Ridge Way
                      Roseville, CA 95661
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1600 of
                                        1639



                      Tom Mannings
                      205 Town Center Blvd
                      Davenport, FL 33896

                      Tom Porter
                      76 Indian Clover Drive
                      Spring, TX 77381

                      Tom Wheatley
                      36 Grove Street
                      The Wood
                      Nelson NSN 7010
                      NEW ZEALAND

                      Tom Woodward
                      156 Applewood Cres
                      Guelph ON N1H6B7
                      CANADA

                      Tomas Hnilica
                      Olomoucka 81
                      Brno-Cernovice 627 00
                      CZECH REPUBLIC

                      Tomas Lascano
                      5459 Northwest 72nd Avenue
                      Arg1141317
                      Miami, FL 33166

                      Tomas Zalagenas
                      2 Francis Road
                      Hildenborough ENG TN11 9JY
                      UNITED KINGDOM

                      Tomasz Grudniewski
                      Dokerska 6/17
                      Wroclaw 54-142
                      POLAND

                      Tomasz Szacon
                      14 Killington Rd
                      Toms River, NJ 08757

                      Tomi Dietz
                      1201 Francine St
                      Pahrump, NV 89060

                      Tomislav Turalija
                      Koledinecka 3
                      Zagreb 10040
                      CROATIA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1601 of
                                        1639



                      Tommie Goldhammer
                      Barometergatan 56
                      Autopower Sverige Ab
                      Malma 21117
                      SWEDEN

                      Tommy Giegerich
                      5904 Timber Oaks Ridge
                      Humble, TX 77346

                      Tommy Phan
                      1004 Springwood Ct.
                      Virginia Beach, VA 23455

                      Tommy Taylor
                      364 Miller Drive
                      Dawsonville, GA 30534

                      Tommy Tong
                      14041 Monfort Ct
                      San Diego, CA 92128

                      Tommy Tong
                      14041 Montfort Court
                      San Diego, CA 92128

                      Tommy Walker
                      1704 South 43rd Street
                      Temple, TX 76504

                      Tommy Wilhelmsen
                      Ryttersvingene 120A
                      Hafrsfjord 4046
                      NORWAY

                      Toni Barrera Veny
                      Eslora, 4
                      Porto Cristo PM 7680
                      SPAIN

                      Toni Nikolovski
                      Nazarennu Street
                      Christ Church Fl:6
                      Sliema SLM3011
                      MALTA

                      Tonia Emrich
                      730 S 93rd St
                      Milwaukee, WI 53214
                      Tony Ardolino
                      39 Daisy St
                      Homosassa, FL 34446
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1602 of
                                        1639



                      Tony Bao
                      2685 East 22nd St
                      1B
                      Brooklyn, NY 11235

                      Tony Beggs
                      11009 E 5th Court
                      Spokane Valley, WA 99206

                      Tony Bueno
                      878 Holborn Rd
                      Streetsboro, OH 44241

                      Tony Dang
                      8632 Jennrich Avenue
                      Westminster, CA 92683

                      Tony Hardie
                      2659 34th Ave W
                      Seattle, WA 98199

                      Tony Kim
                      106 Grand Ave
                      Suwanee, GA 30024

                      Tony Lu
                      55 Regent Park Blvd #1813
                      Toronto ON M5A0C2
                      CANADA

                      Tony Nguyen
                      3100 Chino Hills Parkway #1024
                      Chino Hills, CA 91709

                      Tony Pennix
                      201 London Downs Drive
                      Forest, VA 24551

                      Tony Romero
                      158 Temple Ave
                      Apt B
                      Old Orchard Beach, ME 04064

                      Arturo Torres Robles
                      14052 Buena St
                      Apt #3
                      Garden Grove, CA 92843

                      Torri Holliday
                      4344 Barren Brook Drive
                      Memphis, TN 38125
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1603 of
                                        1639



                      Torsten Braeunig
                      Gunter-Vogt-Ring 36
                      Frankfurt Am Main 60437
                      GERMANY

                      Torsten Tiedtke
                      4003 Governors Road
                      Hamilton ON L0R 1T0
                      CANADA

                      Toth Robert
                      Zay Utca 3.
                      3 Emelet
                      Budapest 1037
                      HUNGARY

                      Adams Toum Benchekroun
                      777 Southwest 9th Ave, #406
                      Miami, FL 33130

                      Trace McGuire
                      2486 SW Creekside Dr
                      Palm City, FL 34990

                      Tracy Gibbs
                      15934 Seahorse Dr
                      Houston, TX 77062

                      Panagiota Tragogeni
                      Kritis 8
                      4 Floor
                      Vrilissia 15235
                      GREECE

                      Trandafir Marian
                      Eufrosina Popescu, Nr 61, Bl L1, Sc B, A
                      Bucuresti
                      ROMANIA

                      Travis Ballard
                      543 Los Altos Drive
                      Chula Vista, CA 91914

                      Travis Boswell
                      26207 Serenity View Court
                      Mechanicsville, MD 20659

                      Travis McLeod
                      2643 Lacombe Crescent
                      Regina SK S4V 1T3
                      CANADA

                      Travis Nemec
                      10011 Clubhouse Cir
                      Magnolia, TX 77354
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1604 of
                                        1639



                      Travis Paakki
                      1995 Eagle Crest
                      West Linn, OR 97068

                      Travis Sari
                      394 Bill Kennedy Way Southeast
                      Atlanta, GA 30316

                      Travis Todd
                      6228 Cape Cod Dr
                      Columbus, GA 31904

                      Travis Yatsko
                      519 Stratford Ct
                      Unit F
                      Del Mar, CA 92014

                      Travon Fuller
                      2512 Grandview Avenue
                      Mckeesport, PA 15132

                      Trent Miller
                      2021 Magna Lane
                      Indian Trail, NC 28079

                      Trent Rose
                      5194 Tildy Lane
                      Idaho Falls, ID 83401

                      Trevor Bunyan
                      509 Anthonys Drive
                      Exton, PA 19341

                      Trevor Hartman
                      5298 Cheyenne Trail
                      Billings, MT 59106

                      Trevor Hopper
                      914 Vawter Cir
                      South Bend, IN 46614

                      Trevor Kimoto
                      94-810 Leomana Way
                      Waipahu, HI 96797

                      Trevor Simpson
                      36014 Hunter Avenue
                      Westland, MI 48185

                      Trevor Stewart
                      20617 Welch Road
                      Snohomish, WA 98296
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1605 of
                                        1639



                      Trevor Subero
                      15809 Seurat Drive
                      Gaithersburg, MD 20878

                      Tri Nguyen
                      5111 92nd Cres
                      Brooklyn Park, MN 55443

                      Triangle Endodontics
                      121 Edinburgh South Drive
                      Suite 101
                      Cary, NC 27511

                      Trisha Fukumoto
                      7060 Noble Flair Court
                      Las Vegas, NV 89131

                      Tristan Garcia
                      900 Southwest 8th Street #1206
                      Miami, FL 33130

                      Tristan Leung
                      1636 South 8th Street
                      Philadelphia, PA 19148

                      Tristan Pan
                      115 Fare Stone Dr
                      Garner, NC 27529

                      Troy Messick
                      8419 Summerfield Ln.
                      Huntersville, NC 28078

                      Troy Mirabito
                      63 McLeod Street, #33
                      Cairns City QLD 4870
                      AUSTRAILA

                      Troy Pantin
                      127 Bloomington Dr
                      Cambridge ON N1P1J6
                      CANADA

                      Troy Plewa
                      6815 Tyree Street
                      Dallas, TX 75209

                      Troy Rial
                      13234 Clifton Hill Lane
                      Houston, TX 77044

                      Troy Walker
                      17142 Port O Call St.
                      Crosby, TX 77532
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1606 of
                                        1639



                      Troy Ziniuk
                      #22 64009 Twp Rd 704
                      Grande Prairie AB T8W5C3
                      CANADA

                      Truc Ngo
                      1449 Suzay Court
                      San Jose, CA 95122

                      Tsun Kit Matthew Woo
                      3403 S Main St
                      Santa Ana, CA 92707

                      Tu Truong
                      2903 Warriston Dr
                      Mansfield, TX 76063

                      Rafael Tucen
                      511 SW 16th Ave
                      Miami, FL 33135

                      Tucker Baird
                      642 Palomar Street
                      Ste 406 #364
                      Chula Vista, CA 91911

                      Tucker Brooks
                      6707 Valor Ln
                      Midland, TX 79706-2229

                      Tudor Georgescu
                      14006 61st Pl W
                      Apt B
                      Edmonds, WA 98026

                      Tudoran Alin
                      Axwood 28
                      Epsom ENG KT187DR
                      UNITED KINGDOM

                      Tuerxun Yierpan
                      9506 Basilwood Dr
                      Manassas, VA 20110

                      Tyler D
                      1406 Ormsby Dr
                      Sunnyvale, CA 94087

                      Tyler Danaver
                      8708 Devine Lane
                      Austin, TX 78748
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1607 of
                                        1639



                      Tyler Deheer
                      98 Assiniboia Way West
                      Lethbridge AB T1K 6X3
                      CANADA

                      Tyler Garland
                      3811 14th Avenue West
                      Apt D103
                      Seattle, WA 98119

                      Tyler Gray
                      900566 South 3390 Road
                      Chandler, OK 74834

                      Tyler Heard
                      183 Long St
                      Harrogate, TN 37752

                      Tyler Johnson
                      5746 Logan Street Southeast
                      Rochester, MN 55904

                      Tyler Kilde
                      7704 15th St S
                      Fargo, ND 58104

                      Tyler Koch
                      726 Long Prairie Dr
                      Katy, TX 77450-3164

                      Tyler Little
                      1200 South Jbs Parkway
                      Odessa, TX 79766

                      Tyler Metzger
                      24330 226th Avenue Southeast
                      Maple Valley, WA 98038

                      Tyler Newman-Stump
                      907 Washington Street
                      Columbus, IN 47201

                      Tyler Perkins
                      7029 Via Serena
                      San Jose, CA 95139

                      Tyler Rowe
                      1836 SW Napa Valley Dr
                      Lees Summit, MO 64082
                      Tyler Talley
                      990 Northwyck Drive
                      Liberty, MO 64068
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1608 of
                                        1639



                      Tyrone Paz
                      24949 Katy Ranch Rd Apt 1012
                      Katy, TX 77494

                      Tyson Barth
                      8758 Williamson Drive
                      Elk Grove, CA 95624

                      Tyson Bickelmann
                      20 Jarlan Terrace
                      Ottawa ON K2L 3L6
                      CANADA

                      Tyson Bruce
                      7780 Joshua Villa Lane
                      Corona, CA 92881

                      Tyson Messick
                      2806 Taylorcrest
                      Missouri City, TX 77459

                      Tyson Schallipp
                      7616 West Courtney Campbell Causeway
                      Unit 640
                      Tampa, FL 33607

                      Tzekin Ip
                      28241 Crown Valley Parkway
                      F443
                      Laguna Niguel, CA 92677

                      Ufuk Kortan
                      Mustafa Mazhar Bey Caddesi Burc Apt 39/1
                      Burc Apt 39/18
                      Istanbul 34724
                      TURKEY

                      Ukesh Silwal
                      5660 Chapel Run Ct
                      Centreville, VA 20120

                      Ulrike Meyer-Borchert
                      Lofftzstrasse 4
                      Munich 80637
                      GERMANY

                      Umar Khan
                      1588 Major Oaks Rd
                      Pickering ON L1X 2G9
                      CANADA

                      Umar Qureshi
                      8024 E 99 St
                      Kansas City, MO 64134
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1609 of
                                        1639



                      Umit Uzun
                      253 Rue Dumont
                      Beloeil QC J3G 4C2
                      CANADA

                      Unki Kim
                      12028 SE 37th Pl
                      Bellevue, WA 98006

                      Unni Krishnan
                      2087 Fairview Street
                      Unit 703
                      Burlington ON L7R 0E5
                      CANADA

                      Unshackled Solutions LLC
                      P.O. Box 60
                      Kelton, PA 19346

                      Sorana Urdareanu
                      20, Soseaua Nordului
                      Sector 1
                      Bucharest B 104130
                      ROMANIA

                      Uresh Desilva
                      400 North Mcclurg Court #3514
                      Chicago, IL 60611

                      Ahsan Usmani
                      312 Touchdown Dr
                      Irving, TX 75063

                      Uvis Slakteris
                      Kareivju Street 3-32
                      Bauska, Bauskas Novads LV-3901
                      LATVIA

                      Uwe Dietzel
                      Steinlein 38
                      Wurzburg 97078
                      GERMANY

                      Uwe Kleinschmidt
                      2671 Painted Cave Road
                      Santa Barbara, CA 93105

                      Uyi-Oghosa Okunbor
                      83 Grange Park Road
                      Thornton Heath ENG CR7 8QF
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1610 of
                                        1639



                      Vaclav Dvorak
                      Pod Visnovkou 5
                      Praha 4 140 00
                      CZECH REPUBLIC

                      Vahan Melikyan
                      12846 Woodley Ave
                      Granda Hills, CA 91344

                      Vahe Mardigian
                      13462 Lochrin Ln
                      Sylmar, CA 91342-1848

                      Vahid Majoni
                      Kransbindarvagen 10
                      Hagersten 126 36
                      SWEDEN

                      Vaida Maksims
                      31 Kemsley Crescent, Milton Keynes, Milt
                      Milton Keynes
                      Milton Keynes ENG MK10 9LZ
                      UNITED KINGDOM

                      Vaidotas Bertasius
                      Taurages G. 13, Erzvilkas
                      Jurbarko Raj. Lithuania 74280
                      LITHUANIA

                      Val-Michael Kowalewich
                      10713 125 Street Nw
                      Edmonton AB T5M 0L3
                      CANADA

                      Zenaida Valencia
                      1105 58th Avenue
                      Oakland, CA 94621

                      Valentin Bogdanovic
                      Justiniskiu 67-1
                      67-1
                      Vilnius LT-05100
                      LITHUANIA

                      Valentina Vallo
                      Via Villabella 12
                      Caorsa VR 37010
                      ITALY

                      Valentine Zavgorodnev
                      1351 SW 4th Ave
                      Boca Raton, FL 33432
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1611 of
                                        1639



                      Lizzett Vallejo
                      5016 Stanton Avenue
                      Pittsburgh, PA 15201

                      Lizzett Vallejo
                      5016 Stanton Ave.
                      Pittsburgh, PA 15201

                      Valliappan Ramanathan
                      7265 Sheffield Ln
                      Dublin, CA 94568

                      Valone Brown
                      9 Marcia Lane
                      Pomona, NY 10970

                      Sjuli Senn van Basel Wag
                      4271 Desert Highlands Dr
                      Sparks, NV 89436

                      Bruce Van Buren
                      5270 Manhasset Cv
                      Atlanta, GA 30338

                      Tim Van Cleave
                      5400 E Hinsdale Pl
                      Centennial, CO 80122

                      Gunnar Van der Steur
                      1236 Town Point Rd
                      Chesapeake City, MD 21915

                      Jeremiah Van Orden
                      1415 Grackle Ct
                      Hanahan, SC 29410

                      Van Pek
                      401 Stone Hollow Lane
                      Bowling Green, KY 42101

                      Van Vuong
                      2462 Agostino Drive
                      Rowland Heights, CA 91748

                      Vance Wilson
                      152 Renola Dr
                      Archdale, NC 27263

                      Vanderson Pereira
                      7523 Brous Av
                      Philadelphia, PA 19152

                      Vanessa Garrett
                      2757 W. Oldfield St
                      Lancaster, CA 93536
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1612 of
                                        1639



                      Vanessa Lee
                      207 South 1st Street
                      Apt 2A
                      Brooklyn, NY 11211

                      Vanessa Wojcik
                      464 Cherry Lane Rd
                      E Stroudsburg, PA 18301

                      Varnel Noel
                      139 North 9th Street
                      Philadelphia, PA 19107

                      Varun Agarwal
                      1 Sterling Circuit #1201
                      Camperdown NSW 2050
                      AUSTRAILA

                      Vasile Dascaleanu
                      Bld. Alexandru Vlahuta Nr. 61 Bl. 140, #
                      Brasov BV 500398
                      ROMANIA

                      Vasile Gurau
                      Calle Paseo Cornisa, 32E, Edificio Mi Su
                      Piso 2I
                      Costa Del Silencio TF 38630
                      SPAIN

                      Vasileios Alexis
                      Baumackerstrasse 49
                      Zurich 8050
                      SWITZERLAND

                      Vasileios Cheropoulos
                      Quergasse 13
                      Cottbus 3055
                      GERMANY

                      Vasilescu Florin
                      Calea Torontalului Nr.6 Ap.3
                      Timi Oara TM 300628
                      ROMANIA

                      Vasista Raju Kurapati
                      120 West Cityline Drive, #3015
                      Richardson, TX 75082

                      Vasyl Lysohor
                      208 Flax Hill Road #9
                      Norwalk, CT 06854
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1613 of
                                        1639



                      Vasyl Sidelnikov
                      3618 Jefferson Commons Dr
                      302C
                      Tampa, FL 33613

                      Cheri Vaughn Reno
                      1050 Nathalie Fay
                      Ofallon, IL 62269

                      Vay Lien Chang
                      Fassbindstrasse 10
                      Rheinfelden 4310
                      SWITZERLAND

                      Vedat Ozan Azkan
                      1461 Longitude Dr
                      Richmond, CA 94804

                      Veenit Malik
                      230 Rue Ernest
                      Ddo QC H9A 3G7
                      CANADA

                      VELS INC
                      1647 S Cicero Ave
                      License Plates Service Store
                      Cicero, IL 60804

                      Venerando Yap
                      3530 Bainbridge Avenue
                      Apt 7F
                      Bronx, NY 10467

                      Venkat Vedam
                      14 George Rd
                      Winchester, MA 01890

                      Venkata Kishore Vemuri
                      36305 Grand River Ave
                      Apt 104
                      Farmington, MI 48335

                      Venkata Patchamatla
                      Flat 4
                      36 Diamond Drive
                      Didcot ENG OX11 6HD
                      UNITED KINGDOM

                      Alexei Verdi
                      86 Main St. Unit 1
                      Raymond, NH 03077-2349

                      Vernalene Balmania
                      9590 Gurney Court
                      Elk Grove, CA 95758
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1614 of
                                        1639



                      Vic Danh
                      4 W 14th Street
                      Unit 302
                      Cincinnati, OH 45202

                      Vicente Robinson
                      14207 Rolling Stream Pl
                      Eastvale, CA 92880

                      Victor Ansell
                      Grabenackerstrasse 44
                      Steinhausen 6312
                      SWITZERLAND

                      Victor Barbulescu
                      Karl-Marx-Allee 16
                      Berlin 10178
                      GERMANY

                      Victor Calderon
                      Av. Independencia #1614
                      Centro
                      Oaxaca De Juarez OAX 68000
                      MEXICO

                      Victor Capetillo
                      852 N. Palm Ave.
                      Unit A
                      Upland, CA 91786

                      Victor Cubillos
                      Calle 11 # 3-25
                      Apartamento
                      Fusagasuga CUN 252211
                      COLOMBIA

                      Victor deCagny
                      18, Rue Boissiere
                      Paris 75116
                      FRANCE

                      Victor Huynh
                      932 Faris Dr
                      San Jose, CA 95111-1517

                      Victor Manuel Mendoza Alvarez
                      El Colomo, Colima Francisco I Madero # 1
                      Manzanillo COL 28800
                      MEXICO
                      Victor Navarro
                      3124 Tulip St
                      Philadelphia, PA 19134
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1615 of
                                        1639



                      Victor Quezada
                      6624 Bonsallo Avenue
                      Los Angeles, CA 90044

                      Victor Reyes
                      Tegvagen 1
                      Jarfalla 17553
                      SWEDEN

                      Victor Tagle
                      6768 Cavacade Drive
                      Apt C
                      Tampa, FL 33614

                      Victoria Wan
                      505-621 Regan Avenue
                      Coquitlam BC V3J 0K1
                      CANADA

                      Vida Sargelyte
                      104 Paragon Place
                      Norwich ENG NR2 4BP
                      UNITED KINGDOM

                      Vidmantas Rapsys
                      5S439 Columbia Street
                      Naperville, IL 60563

                      Viesturs Silins Silins
                      3 Mount Milner
                      Mansfield ENG NG18 2JQ
                      UNITED KINGDOM

                      Vijay Talla
                      105 Latitude Lane
                      Austin, TX 78717

                      Vijitharan Velautham
                      6921 Cardinal Wynd Sw
                      Edmonton AB T6W2Y3
                      CANADA

                      Vikkie Patel
                      823 West Fletcher Avenue
                      Orange, CA 92865

                      Viktor Burdyey
                      802 Modena Dr
                      Cary, NC 27513
                      Viktor Szathmary
                      Tolgyfa Utca 24
                      Decent Labs Kft.
                      Budapest 1027
                      HUNGARY
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1616 of
                                        1639



                      Viktoras Kovaliovas
                      14 Plantsman Close
                      Norwich ENG NR2 2NH
                      UNITED KINGDOM

                      Viktoria Martin
                      11450 129th Avenue North
                      Largo, FL 33778

                      Vicente Teran Villalobos
                      21742 N 37th St
                      Phoenix, AZ 85050

                      Jaqueline Villalpa Arroyo
                      1349 Eldridge Road
                      Forrest City, AR 72335

                      Vinay Bachireddy
                      215 Avondale St
                      Houston, TX 77006

                      Vince Mikhail
                      71 Camlaren Crescent
                      Unit 4
                      Vaughan ON L0J 1C0
                      CANADA

                      Vince Pasztor
                      Koztelek U. 9, 1/1
                      Gyar 9025
                      HUNGARY

                      Vincent Arellano
                      364 N Whisman Rd
                      Unit B
                      Mountain View, CA 94043

                      Vincent De Vos
                      Vinkenhofje 5
                      Eindhoven 5613 CN
                      NETHERLANDS

                      Vincent Dip
                      145 N Orange Ave
                      Azusa, CA 91702

                      Vincent Eyzendooren
                      2283 Wendy Way
                      Upland, CA 91784
                      Vincent Marble
                      3701 Dorothy Lane
                      Waterford, MI 48329
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1617 of
                                        1639



                      Vincent Ng
                      1-4088 East Hastings Street
                      Burnaby BC V5C2H9
                      CANADA

                      Vincent Nguyen
                      10971 S. Oceano Dune Ct.
                      South Jordan, UT 84009

                      Vincent Quadrelli
                      137 Avenue De Saint Ouen
                      4E Gauche 0391 Et 9103
                      Paris 75017
                      FRANCE

                      Vincent Rampelbergs
                      Rue D'Anderlues #143
                      Lobbes 6540
                      BELGIUM

                      Vincent Rampelbergs
                      Rue Danderlues 143
                      Lobbes 6540
                      BELGIUM

                      Vincent Sauceda
                      787 Ashley Street
                      Hemet, CA 92545

                      Vincent Tjie
                      1635 Huntington Dr
                      Duarte, CA 91010

                      Vincent Tran
                      6549 Sequoia Drive
                      Buena Park, CA 90620

                      Vinny Dinnocenzo
                      312 Lancaster Street
                      Apt 1
                      Leominster, MA 01453

                      Vinzenz Steinbrenner
                      7613 Starshell Point Ct
                      Las Vegas, NV 89139

                      Viran Patel
                      1625 Wingfield Drive
                      Birmingham, AL 35242
                      Viresh Asokan
                      406 Sultan St
                      Orleans ON K4A 0K1
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1618 of
                                        1639



                      Virgilio Nunez Vega
                      Golfo De Finlandia 42, Colonia: Lomas Li
                      Atizapan De Zaragoza
                      Mexico MEX 52947
                      MEXICO

                      Vitaliy Pindyura
                      307-2425 West 4th Avenue
                      Vancouver BC V6K 1P4
                      CANADA

                      Vito Caloia
                      3189 Olive Drive
                      Baldwinsville, NY 13027

                      Vito Catalani
                      Herengracht 449A
                      Conspiracy Ideas
                      Amsterdam 1017 BR
                      NETHERLANDS

                      Vivek Kari Raju
                      3705 Wyewood Rd
                      Mississauga ON L4T2A3
                      CANADA

                      Vivienne Vu
                      Flat B, 312 Camberwell New Road
                      London ENG SE5 0RW
                      UNITED KINGDOM

                      Vlad Farkas
                      Str. Dacilor, Nr.1
                      Bl. G, Et.2, Ap. 11
                      Giroc TM 307220
                      ROMANIA

                      Vladimir Feldman
                      1005 Montpelier Dr
                      Greensboro, NC 27410

                      Vladimir Koev
                      5th Borovets Str. Ap.15
                      Strelbishte
                      Sofia 1408
                      BULGARIA

                      Vladimir Kostek
                      250 Commonwealth Avenue
                      Apt 16
                      Boston, MA 02116

                      Vladimir Lenchitsky
                      17761 North 77th Way
                      Scottsdale, AZ 85255
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1619 of
                                        1639



                      Vladimir Malkin
                      776 Linda Avenue
                      Thornwood, NY 10594

                      Vladimir Stamboliev
                      Antim Pyrvi 11
                      Etazh 2, Staya 204
                      Sofia 1303
                      BULGARIA

                      Vladimir Tarasenko
                      Am Filmlager 4
                      Berlin 12555
                      GERMANY

                      Vladimir Tassy
                      10345 Western Avenue Apt 42
                      Downey, CA 90241

                      Vladyslav Rea
                      Rosenweg 20
                      Wolfsburg 38446
                      GERMANY

                      Voltaire Bermudo
                      442 Andre Avenue
                      Northvale, NJ 07647

                      Vu Nguyen
                      8228 Homefield Way
                      Sacramento, CA 95828

                      Vu Nguyen
                      1843 Spivey Village Cir
                      Jonesboro, GA 30236

                      Wahab Awaiz
                      654 A Kingsbury Road
                      London ENG NW9 9HN
                      UNITED KINGDOM

                      Mhmoud Abdul Wahed
                      4426 Alan Dr
                      Apt D
                      Baltimore, MD 21229

                      Wail Aldipsi
                      626 Flatbush Avenue
                      9K
                      Brooklyn, NY 11225

                      Walaa Yassin
                      104 Pitfield Way
                      London ENG NW10 0UA
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1620 of
                                        1639



                      Walaa Yassin
                      787 High Road
                      London ENG N12 8JT
                      UNITED KINGDOM

                      Waldemar Langolf
                      Infanterieweg 68C
                      Paderborn 33104
                      GERMANY

                      Waleed Ibrahim Arr
                      13 Dekker House
                      London ENG SE57QR
                      UNITED KINGDOM

                      Wallen Blackman
                      3447 Alexandra Avenue
                      Spring Valley, CA 91977

                      Wally Kramer
                      7113 Kentucky Dr
                      Vancouver, WA 98664

                      Walter Burke
                      100 Shoal Rd
                      Unit 302
                      Toms River, NJ 08755

                      Walter Church
                      4548 Crystal Brook Way
                      Jacksonville, FL 32224

                      Walter Delorrell
                      11320 Village Ridge Road
                      San Diego, CA 92131

                      Wan Hoi Cheung
                      1007 Boul Saint-Laurent
                      #A
                      Montreal QC H2Z1J4
                      CANADA

                      Warren Chen
                      1178 Haffley Crescent #903
                      Coquitlam BC V3B0A7
                      CANADA

                      Warren Scheibe
                      P.O. Box 826
                      Twin Peaks, CA 92391

                      Waseedullah Obaid
                      4 Barlow Road
                      Scarborough ON M1G 2B4
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1621 of
                                        1639



                      Wassim Zidi
                      190 Rue Murray, Apt 707
                      Montreal
                      Montreal QC H3C 2C7
                      CANADA

                      Wayne Burke
                      26 Hampton Pl
                      Paradise NL A1L 0Y4
                      CANADA

                      Wayne Marques
                      233 Leonard St
                      Acushnet, MA 02743

                      Wayne Muse
                      34 Lessay
                      Newport Coast, CA 92657

                      Wayne Rong
                      251 Alfred Paterson Dr.
                      Markham ON L6E 2G1
                      CANADA

                      Wayne Slater
                      1837 Adonis Avenue
                      Henderson, NV 89074

                      Wayne Tolmie
                      77 Birchdale Lurgan
                      Craigavon NIR BT66 7TP
                      UNITED KINGDOM

                      Wei Qiang Peng
                      1489 Dayton Street
                      Coquitlam BC V3E 0E6
                      CANADA

                      Weisien Yu
                      5 Cressida Drive
                      Old Bridge, NJ 08857

                      Weitao Wang
                      40 Woodgreen Dr
                      Pittsford, NY 14534

                      Weldon Bollinger
                      P.O. Box 117
                      Cedar Park, TX 78630-0117
                      Jacob Welther Burchett
                      421 Stonefield Circle
                      Moncks Corner, SC 29461
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1622 of
                                        1639



                      Wendell Baptiste
                      220 Marshall Road Apt. C14
                      Monaca, PA 15061

                      Wendell McKee
                      915 N Fox Meadow Terrace
                      Crystal River, FL 34429

                      Wendpanga Compaore
                      234 Tennal Road
                      Birmingham ENG B322HJ
                      UNITED KINGDOM

                      Wendy Behrend
                      8856 West McNab Road
                      Building 11 Apt 305
                      Tamarac, FL 33321

                      Wendy Lewis
                      299 Pecan Street
                      Pierson, FL 32180

                      Anthony Wentzel
                      11036 Moorpark Street, Ph 26
                      Los Angeles, CA 91602

                      Wes Davis
                      101 Edgewood Blvd
                      Birmingham, AL 35242

                      Wes Shaffer
                      8401 E Indian School Rd
                      Scottsdale, AZ 85251

                      Wesley Fouts
                      1094 Hunt Road
                      Lexington, NC 27292

                      Wesley Park
                      708 Curtis Ct
                      Nashville, TN 37207

                      Wesley Shinault
                      113 Snowdrift Trl
                      Round Rock, TX 78664

                      Wesley Sledge
                      7317 Cedar Court
                      Colleyville, TX 76034
                      Wesley Takes
                      429 Darlington Avenue
                      Apt 307
                      Wilmington, NC 28403
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1623 of
                                        1639



                      Whatfontis Com Srl
                      Strada Podarului 11B
                      Ro38747080
                      Bucharest B 41653
                      ROMANIA

                      Whine Del Rosario
                      14858 3/4 Dickens Street
                      Sherman Oaks, CA 91403

                      Jerry White
                      450 Regency Ctr
                      Collinsville, IL 62234

                      Wierd De Boer
                      Bregeleane 22
                      Stiens 9051 PM
                      NETHERLANDS

                      Wilfinger Mario
                      Pfrundeweg 4
                      Weiler 6837
                      AUSTRIA

                      Aaron Wilkinson
                      4212 E Los Angeles, #3831
                      Simi Valley, CA 93063

                      Wilko Kraft
                      Mozartstrasse 16
                      Mauer 69256
                      GERMANY

                      Wilko Van Beusekom
                      Boveneind Zuidzijde 35
                      Benschop 3405AN
                      NETHERLANDS

                      Will Brooks
                      420 S River Rd.
                      Apt 4
                      West Bend, WI 53095

                      William Ayers
                      403 Pebble Beach Drive
                      Harrison, AR 72601

                      William Barnes
                      Flat 1
                      8-9 Hanover Crescent
                      Brighton ENG BN2 9SB
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1624 of
                                        1639



                      William Beck
                      656 SW Little Tree Cir
                      Port Orchard, WA 98367

                      William Blanchard
                      3517 Katherine Way
                      Frederick, MD 21704

                      William Breedon
                      4750 North Central Avenue
                      6C
                      Phoenix, AZ 85012

                      William Carpenter
                      5580 La Jolla Blvd.
                      #413
                      La Jolla, CA 92037

                      William Chadwick
                      Flat 1,
                      100 Clapham Common Southside
                      London ENG SW4 9DN
                      UNITED KINGDOM

                      William Chalko
                      4021 W University Dr
                      Suite 200
                      Mckinney, TX 75071

                      William Classen
                      9516 NW 80th Court
                      Tamarac, FL 33321

                      William Cole
                      848 Southwest Spring Street
                      Mill City, OR 97360

                      William Cole
                      1929 Riverside Dr
                      Cincinnati, OH 45202

                      William Corcuera
                      15044 Wilmington Drive
                      Strongsville, OH 44136

                      William Dubose
                      3626 Eagle Cove Lane
                      Northport, AL 35473

                      William Ellis
                      2580 Via Tejon
                      Palso Verdes Estates, CA 90274
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1625 of
                                        1639



                      William Erickson
                      914 16 1/2 St SE
                      Rochester, MN 55904

                      William Garrett
                      11717 Kimbolton Place
                      Glen Allen, VA 23059

                      William Gill
                      6 Laurnic Dr
                      Reisterstown, MD 21136

                      William Green
                      77 Guilfords
                      Harlow ENG CM17 0HX
                      UNITED KINGDOM

                      William Guan
                      193 Westlake Ave
                      Toronto ON M4C4S6
                      CANADA

                      William Hampton
                      5097 S Arrowhead Circle
                      Murray, UT 84107

                      William Harris
                      8160 Veterans Parkway
                      Apt 1333
                      Columbus, GA 31909

                      William Haynes
                      5575 Ave Isla Verde
                      Apt. 303
                      Carolina, PR 00979-5621

                      William Horne
                      12 The Square
                      Newtongrange SCT EH22 4QD
                      UNITED KINGDOM

                      William Hyde
                      1721 East Tumwater Ln
                      Eagle Mountain, UT 84005

                      William Iovenko
                      12605 Towne Creek Road
                      Louisville, KY 40243

                      William Jemison
                      4262 West 59th Street
                      Los Angeles, CA 90043
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1626 of
                                        1639



                      William Kievit
                      422 Northern Parkway
                      Ridgewood, NJ 07450

                      William Kilzer
                      6576 South Poplar Court
                      Centennial, CO 80111

                      William Lee
                      2236 Gallina Circle
                      Collierville, TN 38017

                      William Leet
                      245 Hyssop Court
                      Henderson, NV 89015

                      William Matthews
                      850 Vanderbilt Ter SE
                      Leesburg, VA 20175

                      William McLachlan
                      4331 Kingswell Ave.
                      Los Angeles, CA 90027

                      William Mendel
                      5000 W 131 Ter
                      Leawood, KS 66209

                      William Molyneaux
                      15391 Flight Path Drive
                      Brooksville, FL 34604

                      William Morales
                      4250 Lindblade Drive
                      Apt 3
                      Los Angeles, CA 90066

                      William Nehrenz
                      13615 Madison Avenue
                      Lakewood, OH 44107

                      William Norchi
                      2 Stowe Street
                      Fl 1
                      Pittsburgh, PA 15205

                      William Oliveira
                      6511 NW 87th Ave #Cli246746
                      Miami, FL 33178
                      William Pletcher
                      500 Spring Ave.
                      Reading, PA 19606
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1627 of
                                        1639



                      William Polick
                      15936 Avenida Villaha
                      Apt 60
                      San Diego, CA 92128

                      William Price
                      6411 S River Dr
                      Unit 55
                      Tempe, AZ 85283

                      William Reeves
                      7715 Krefeld Glen Dr #516
                      Charlotte, NC 28227

                      William Roberts
                      18328 Begonia Dr
                      Rockwood, MI 48173

                      William Rudy
                      120 W Schantz Ave
                      Oakwood, OH 45409

                      William Schneider
                      2237 Doster Drive
                      New Smyrna Beach, FL 32168

                      William Shaffer
                      947 Golden Crest Ave.
                      Newbury Park, CA 91320

                      William Smith
                      1442 Baylor Lane
                      Jacksonville, FL 32217

                      William Studley
                      1308 S Secretariat Way
                      Nampa, ID 83686

                      William Sylvester
                      20311 Kiawah Island Drive
                      Ashburn, VA 20147

                      William Thurmond
                      6090 Melbourne Ave
                      Deale, MD 20751

                      William Uzelmeier
                      6079 Creekside Dr
                      Flourtown, PA 19031
                      William Wheeler
                      805 Corner Square
                      Seabrook, TX 77586
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1628 of
                                        1639



                      William White
                      2610 Drs Drive
                      Richmond, TX 77406-1929

                      Lawrence Williams II
                      3608 Brandy Creek Ct.
                      North Las Vegas, NV 89032

                      Keith Williams Jr
                      474 Martin Street
                      Philadelphia, PA 19128

                      Anthony L Williams
                      25 Mountain Avenue
                      West Orange, NJ 07052

                      Willie Senn
                      888 W E St #2004
                      San Diego, CA 92101

                      Willie Winstead
                      3905 Brokeshire St
                      Cary, NC 27519

                      Willy Ogenia
                      Leeuwenborchweide 57
                      Helmond 5709 SB
                      NETHERLANDS

                      Wilmar Mejia
                      12 Wendell Street #15
                      Cambridge, MA 02138

                      Wilmer Sanabria
                      910 Saint Andrews Drive
                      Augusta, GA 30909

                      Wilson Lee
                      10708/19 Wilson Street
                      West End QLD 4101
                      AUSTRAILA

                      Wim Ter Laak
                      Kam. Onneslaan 4
                      Enschede 7535CS
                      NETHERLANDS

                      Wing Ng
                      129 Swingate Lane
                      London ENG SE182BZ
                      UNITED KINGDOM

                      Adam Winkler
                      4733 Potter Park Loop
                      Missoula, MT 59808
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1629 of
                                        1639



                      Winston Walker
                      6002 Black Willow Drive
                      Greensboro, NC 27405

                      Winton Forde
                      268 NE 200th Ter
                      Miami, FL 33179

                      Wisam Ali Nour
                      Svarvaregatan 7
                      Halmstad 30250
                      SWEDEN

                      Wisdom Salami
                      390 Dixon Road
                      Apt 1509
                      Etobicoke ON M9R 1T4
                      CANADA

                      Wolfram Hofgen
                      Am Lindenberg 51
                      Dresden 1328
                      GERMANY

                      King Wong Deng
                      6807 Perry Penney Drive
                      Annandale, VA 22003

                      Jennifer K Woodside
                      4660 NW 133rd St
                      Tripp G
                      Opa Locka, FL 33054

                      Woody Somvichai
                      510 Upas Street
                      #2
                      San Diego, CA 92103

                      Work Loughnane
                      2 South Greenwood Avenue 014
                      Park Ridge, IL 60068

                      Wouter Kloosters
                      Fijnjekade 304
                      Den Haag 2521 DV
                      NETHERLANDS

                      Wouter Siewers
                      Rietkamp 81
                      Vianen Ut 4133CS
                      NETHERLANDS
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1630 of
                                        1639



                      Wouter Smaardijk
                      Groene Hil 38
                      Breda 4822 RS
                      NETHERLANDS

                      Wyett Sampson
                      75 North Hill Drive West Carriere Ms
                      Carriere, MS 39426

                      Xanthos Vlasidis
                      Perikleous 64
                      Apartment
                      Orestiada 68200
                      GREECE

                      Xavier Orante
                      7488 E. Ramona Way
                      Fresno, CA 93737

                      Xavion Walls
                      3724 Berry Drive
                      Los Angeles, CA 91604

                      Xiao Zhao
                      101 Rue Du Tournoi
                      Gatineau QC J9J 3V5
                      CANADA

                      Xiaoshu Tang
                      7538 Tyndale Crescent
                      Burnaby BC V5A 4K1
                      CANADA

                      Xinyu Chen
                      7 Geddes Terrace
                      Avondale
                      Auckland AUK 1026
                      NEW ZEALAND

                      Yaarub Aloudat
                      Hauptstrasse 66
                      Ihlienworth 21775
                      GERMANY

                      Alpaslan Yagcioglu
                      487 East Boylston Street,
                      Newton Center, MA 02459

                      Yamik Aleman
                      1360 West 41st Street #203
                      Hialeah, FL 33012

                      David Yang
                      5085 Elkhart St
                      Denver, CO 80239
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1631 of
                                        1639



                      Yann Ebel
                      Elisabethenstrasse 46
                      Stuttgart 70197
                      GERMANY

                      Yanni Chabot-Valin
                      5865
                      Villeneuve
                      Sainte-Catherine QC J5C 1J6
                      CANADA

                      Yannick Amberg
                      Felsenrainstrasse 83
                      Zurich 8052
                      SWITZERLAND

                      Yannick Kwan
                      1841 N California Ave
                      3D
                      Chicago, IL 60647

                      Yansong Gao
                      550 Uptown Court
                      Apt 507
                      Kirkland, WA 98033

                      Yaroslav Shchubelka
                      Pavlivska, 18 #17
                      Kyiv 1054
                      UKRAINE

                      Yascha Savoie
                      246 Blvd Louis-XIV
                      Quebec QC G2K 1W7
                      CANADA

                      Yasen Maksimov
                      Lozenec, Tsvetna Gradina Str., No.47-51
                      5th Floor, Apertment 15
                      Sofia 1421
                      BULGARIA

                      Yasin Argac
                      Am Kortlander 3
                      Bochum 44787
                      GERMANY

                      Yasmin Boukhari
                      3 Cygnet Avenue
                      London ENG TW14 0DZ
                      UNITED KINGDOM
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1632 of
                                        1639



                      Yasmina Sanz
                      Passatge De Llu S Pellicer 19
                      Local 1
                      Barcelona B 8036
                      SPAIN

                      Yasser Syed
                      17337 Borromeo Ave
                      Pflugerville, TX 78660

                      Yassin Ouider
                      14 Avenue De Leurope
                      Montevrain 77144
                      FRANCE

                      Yassin Ouider
                      14 Avenue De Leurope
                      Mixauto
                      Montevrain 77144
                      FRANCE

                      Yau Ken Huynh
                      12 Hove Close
                      Grays ENG RM17 6PD
                      UNITED KINGDOM

                      Yazan Kawar
                      44 Hobart Avenue
                      Unit D
                      San Mateo, CA 94402

                      Yen Huang
                      734 Canary Wharf Drive
                      Las Vegas, NV 89178

                      Yennedit Garcia
                      Circuito Bilbao #3
                      Fracc. Lomas Del Sol
                      Municipio De Alvarado VER 95264
                      MEXICO

                      Yevgeniy Azimov
                      584 Walpole Crescent
                      Newmarket ON L3X 2B4
                      CANADA

                      Yi Tian
                      6125 Canada Way
                      Burnaby BC V5E 3P1
                      CANADA

                      Yichen Zhang
                      1691 156A Street
                      Surrey BC V4A 4V9
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1633 of
                                        1639



                      Yijun Yu
                      8 Venetian Court, Wavendon Gate
                      Milton Keynes ENG MK77ST
                      UNITED KINGDOM

                      Yohan Fournel
                      9977 Rue Saint-Maurice #14
                      Quebec QC G2B 3J9
                      CANADA

                      Yolfer Carvajkal
                      721 6th Street #10
                      Union City, NJ 07087

                      Yolisel Reyes
                      La Colmena Ph Pacific Coast
                      20B
                      Panama PA-8
                      PANAMA

                      Yordan Dinev
                      Business Park Varna Building B1
                      Building B1 3rd Floor It Yordan Dinev
                      Varna 9009
                      BULGARIA

                      Yosbel Sanjudo
                      8923 La Manga Ave
                      Las Vegas, NV 89147

                      Youngkeun Cha
                      100 Old Palisade Rd
                      Apt 1115
                      Fort Lee, NJ 07024

                      Yousif Khair
                      Stiglenstrasse 40
                      Zurich 8052
                      SWITZERLAND

                      Ameer Youssef
                      72 Barrow Street
                      2E
                      New York, NY 10014

                      Yousuf Alshaibani
                      Al Khawaneej 1
                      House 77 Street 2
                      Dubai DU
                      UNITED ARAB EMIRATES

                      Yovarni Yearwood
                      1130 Fullerton Avenue
                      Allentown, PA 18102
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1634 of
                                        1639



                      Yue Liu
                      144 Elmira Lane
                      Gaithersburg, MD 20878

                      Yue Sun
                      Mittelweg 50
                      Frankfurt Am Main 60318
                      GERMANY

                      Yue Ting Ferris Wong
                      49 Lakeview Avenue
                      Rowville VIC 3178
                      AUSTRAILA

                      Yufeng Wei
                      19 Prebble Drive
                      Markham ON L6E 0M9
                      CANADA

                      Yuji Nakajima
                      1893 Harley Dr.
                      Ann Arbor, MI 48103

                      Yuli Hua
                      Gibraltargatan 106
                      Apt 1202
                      Goteborg 412 79
                      SWEDEN

                      Yunus Emre Taay
                      Antalya Havalimani A Kapisi Tgs Sirketi
                      Muratpasa 7050
                      TURKEY

                      Yuqi Kong
                      218 West Main Street
                      Newark, DE 19711

                      Yura Bogdan
                      150 Northeast Danbury Avenue
                      Hillsboro, OR 97124

                      Yuri Nicholas Manahan
                      352 Cooper Street
                      Cambridge ON N3C 3X8
                      CANADA

                      Yuriy Tymchuk
                      1506 Topp Ln
                      Apt 4
                      Glenview, IL 60025
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1635 of
                                        1639



                      Yusef Lewis
                      43-57 Union St.
                      1F
                      Flushing, NY 11355

                      Yusuf Albayrak
                      43 Samford House Barnsbury Estate
                      London ENG N1 0JF
                      UNITED KINGDOM

                      Yves Baes
                      Nukkerstraat 142, #101
                      Bredene 8450
                      BELGIUM

                      Yves Fontaine
                      121 Rue De La Marqueze
                      Angresse 40150
                      FRANCE

                      Zac Joslin
                      1560 West Beebe Capps Expressway
                      Ste 159
                      Searcy, AR 72143

                      Zach Hunter
                      19011 Mathew Circle
                      Huntington Beach, CA 92646

                      Zach Janisse
                      517 Estate Pk
                      Windsor ON N8N 3C5
                      CANADA

                      Zachariah Baker
                      3807 W. Leila Ave.
                      Tampa, FL 33616

                      Zachary Ambrose
                      295 St Marks Ave Apt 4A
                      Brooklyn, NY 11238

                      Zachary Berg
                      8025 Bonhomme Ave #1607
                      Clayton, MO 63105

                      Zachary Conces
                      2208 Blucher Valley Rd
                      Sebastopol, CA 95472
                      Zachary Desutter
                      2026 18th St. Sw
                      Cedar Rapids, IA 52404
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1636 of
                                        1639



                      Zachary Garcia
                      22050 Runnymede Street
                      Canoga Park, CA 91303

                      Zachary Kojoyian
                      1409 Aldenham Lane
                      Reston, VA 20190

                      Zachary Neal
                      Dunster Cottage Telegraph Road
                      London ENG SW15 3SY
                      UNITED KINGDOM

                      Zachary Olsen
                      6228 Colbert Street
                      New Orleans, LA 70124

                      Zachary Orender
                      3909 Duval Dr.
                      Jacksonville Beach, FL 32250

                      Zachary Smith
                      6409 Lakeland Drive
                      Raleigh, NC 27612

                      Zachary Sutherland
                      154 Goodwin Dr
                      Guelph ON N1L 0B2
                      CANADA

                      Zachary Testa
                      746 SW 158 Terrace
                      Sunrise, FL 33326

                      Zack Niochet
                      476 Boler Road
                      London ON N6K 2K7
                      CANADA

                      Zaharias Fountas
                      90 Prospect Avenue
                      Hackensack, NJ 07601

                      Zahra Aljefri
                      49 Stamford Road E6 1Lp - Eastham London
                      London ENG E6 1LP
                      UNITED KINGDOM

                      Zainab Abdulrahman
                      4809 Boone Circle North
                      Minneapolis, MN 55428
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1637 of
                                        1639



                      Zak Haruna
                      4282 Blvd Dorchester #204
                      Westmount QC H3Z 1V7
                      CANADA

                      Zakir Butte
                      16827 Bothell Way Northeast
                      Lake Forest Park, WA 98155

                      Zakory Slingerland
                      823 E Sitka Ave Apt 98
                      Spokane, WA 99208

                      Zbigniew Conrady
                      Sandsteinweg 8
                      Berlin 12349
                      GERMANY

                      Zbigniew Trzupek
                      32 Birklands Avenue
                      New Ollerton
                      Newark ENG NG22 9SA
                      UNITED KINGDOM

                      Zephyrus Network LLC
                      Attn: Laura Gilbert
                      234 Morrell Rd PMB 194
                      Knoxville, TN 37919-5876

                      Zeth Herron
                      3514 Surrey Dr NE
                      Olympia, WA 98506

                      Zhanna Biletska
                      6511 North Newgard Avenue
                      Apt Bsmt
                      Chicago, IL 60626

                      Zhao Wang
                      8843 Barrette Ave
                      Rosemead, CA 91770

                      Zhennan Wang
                      311 Saint Nicholas Avenue
                      Apt 3B
                      Queens, NY 11385

                      Zheyi Liao
                      198 Twin Oak Drive
                      Lynchburg, VA 24502

                      Zhi Xiong Huo
                      7428 19th Avenue, #104
                      Burnaby BC V3N 1E1
                      CANADA
Case 23-31798-acs   Doc 1   Filed 08/03/23 Entered 08/03/23 11:39:22   Page 1638 of
                                        1639



                      Zhiming Hong
                      2225 Northwest 62nd Street
                      Seattle, WA 98107

                      Zibran Islam
                      236 Brighton Gate
                      Saskatoon SK S7V 0R1
                      CANADA

                      Zichen Liu
                      565 Proudfoot Lane
                      Apt.1005
                      London ON N6H 0A1
                      CANADA

                      Zlatan Muratovic
                      1280 Ashford Creek Way Northeast
                      Atlanta, GA 30319

                      Zoe Nalebuff
                      91 Bainbridge Street
                      Brooklyn, NY 11233

                      Zoe Togba
                      3337 West 84th Place
                      Chicago, IL 60652

                      Zoheb Imtiaz
                      1521 Boyd Pointe Way Apt 1812
                      Tysons, VA 22182

                      Zoila Gonzalez
                      616 Columbus Avenue
                      Boston, MA 02118

                      Zonglun Li
                      1382 Grand Blvd
                      Oakville ON L6H 3E5
                      CANADA

                      Zouhair Diab
                      56 Sandakan Rd
                      Revesby Heights NSW 2212
                      AUSTRAILA

                      Zubair Ali Awan
                      22 Lyme Park
                      Nottingham ENG NG2 7TR
                      UNITED KINGDOM
                      Zwe Maung Maung
                      102218 Nolu Sk, No.11, Guneykent Mah, Ef
                      Gaziantep 27470
                      TURKEY
         Case 23-31798-acs       Doc 1     Filed 08/03/23 Entered 08/03/23 11:39:22                 Page 1639 of
                                                       1639



                                         United States Bankruptcy Court
                                             Western District of Kentucky
 In re   Launch Pad LLC                                                             Case No.
                                                             Debtor(s)              Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Launch Pad LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 3, 2023                                 /s/ Charity S. Bird
Date                                           Charity S. Bird
                                               Signature of Attorney or Litigant
                                               Counsel for Launch Pad LLC
                                               Kaplan Johnson Abate & Bird LLP
                                               710 West Main Street
                                               Fourth Floor
                                               Louisville, KY 40202
                                               (502) 540-8285 Fax:(502) 540-8282
                                               cbird@kaplanjohnsonlaw.com
